     Case: 23-3166   Document: 146    Page: 1    Date Filed: 01/10/2024




                             No. 23-3166

   UNITED STATES COURT OF APPEALS FOR THE THIRD
                     CIRCUIT

     PENNSYLVANIA CONFERENCE OF THE NAACP, et al.,

                                                       Plaintiffs-Appellees,

                                     v.

         SECRETARY OF THE COMMONWEALTH, et al.,

                                                     Defendants-Appellees,

          REPUBLICAN NATIONAL COMMITTEE, et al.,

                                                    Intervenors-Appellants.

  On Appeal from the United States District Court for the Western
         District of Pennsylvania, Case No. 1:22-cv-339

Supplemental Appendix, Pa. App. 1-1082, of the Secretary of the
Commonwealth and Philadelphia, Allegheny, Bucks, Delaware,
       and Montgomery County Boards of Elections

Robert A. Wiygul                          Michael J. Fischer
HANGLEY ARONCHICK SEGAL                   Jacob B. Boyer
PUDLIN & SCHILLER                         GOVERNOR’S OFFICE OF GENERAL
One Logan Square, 27th Floor              COUNSEL
Philadelphia, PA 19103-6933               333 Market Street, 17th Floor
                                          Harrisburg, PA 17101
Sean A. Kirkpatrick                       (717) 460-6786
Elizabeth Lester-Abdalla                  jacobboyer@pa.gov
OFFICE OF ATTORNEY GENERAL
15th Floor, Strawberry Square             Counsel for Secretary of the
Harrisburg, PA 17120                      Commonwealth Al Schmidt

           [Counsel Information Continued On Next Page]
      Case: 23-3166   Document: 146    Page: 2   Date Filed: 01/10/2024




Ilana H. Eisenstein                   Allan J. Opsitnick
Brian H. Benjet                       Lisa G. Michel
Ben C. Fabens-Lassen                  ALLEGHENY COUNTY LAW DEPARTMENT
M. David Josefovits                   445 Fort Pitt Boulevard
DLA PIPER LLP (US)                    Fort Pitt Commons Suite 300
1650 Market Street, Suite 5000        Pittsburgh, PA 15129
Philadelphia, PA 19103                (412) 350-1120
(215) 656-3300                        opsitnick@opsitnickslaw.com
ilana.eisenstein@us.dlapiper.com      lisa.michel@alleghenycounty.us
brian.benjet@us.dlapiper.com
ben.fabens-lassen@us.dlapiper.com
                                      Counsel for the Allegheny County Board
david.josefovits@us.dlapiper.com
                                      of Elections
Benjamin H. Field
                                      J. Manly Parks
Aimee D. Thomson
                                      DUANE MORRIS LLP
Alison L. Stohr
                                      30 S. 17th Street
PHILADELPHIA LAW DEPARTMENT
                                      Philadelphia, PA 19103
1515 Arch Street, 15th Floor
                                      (215) 979-1342
Philadelphia, PA 19102
                                      jmparks@duanemorris.com
benjaim.field@phila.gov
aimee.thomson@phila.gov
                                      Counsel for the Delaware County Board
alison.stohr@phila.gov
                                      of Elections
Counsel for the Philadelphia
                                      John A. Marlatt
County Board of Elections
                                      Maureen E. Calder
                                      MONTGOMERY COUNTY SOLICITOR’S
Amy M. Fitzpatrick
                                      OFFICE
Tyler B. Burns
                                      One Montgomery Plaza, Suite 800
BUCKS COUNTY LAW
                                      P.O. Box 311
DEPARTMENT
                                      Norristown, PA 19404-0311
55 E. Court Street, 5th Floor
                                      (610) 278-3033
Doylestown, PA 18901
                                      john.marlatt@montgomerycountypa.gov
(215) 348-6464
                                      maureen.calder@montgomerycountypa.gov
amfitzpatrick@buckcounty.org
tbburns@buckscounty.org
                                      Counsel for the Montgomery County
                                      Board of Elections
Counsel for the Bucks County
Board of Elections
        Case: 23-3166      Document: 146       Page: 3      Date Filed: 01/10/2024




                                 TABLE OF CONTENTS

Act of June 3, 1937, P.L. 1333, No. 320 ..................................... Pa. App. 1

Act of August 1, 1941, P.L. 672, No. 273 ................................. Pa. App. 12

Act of March 9, 1945, P.L. 29, No. 17 ...................................... Pa. App. 20

Act of December 11, 1968, P.L. 1183, No. 375 ......................... Pa. App. 31

Amended Complaint (ECF No. 121) ....................................... Pa. App. 51

Plaintiffs’ Statement of Material Facts (ECF No. 276) .......... Pa. App. 90

Excerpts from Volume III of Appendix to Plaintiffs’ Statement of
Material Facts (ECF No 279)

      Department of State Guidance (Nov. 3, 2022)………. .. Pa. App. 184

      Excerpts from Deposition of Crista Miller, Lancaster County
      Election Director…………. ............................................ Pa. App. 186

      Criminal Complaint, Commonwealth v. Mihaliak (June 3,
      2022)……….................................................................... Pa. App. 235

Excerpts from Volume V of Appendix to Plaintiffs’ Statement of
Material Facts (ECF No 281)

      Department of State Guidance (Sept. 26, 2022) ……. .. Pa. App. 243

      Email from Jonathan Marks (Oct. 11, 2022) …………. Pa. App. 247

      Petition, Ball v. Chapman (Oct. 16, 2022) …………..... Pa. App. 248

       Supplemental Order, Ball v. Chapman (Nov. 5, 2022) Pa. App. 282
          Case: 23-3166         Document: 146         Page: 4       Date Filed: 01/10/2024




Excerpts from Volume VI of Appendix to Plaintiffs’ Statement of
Material Facts (ECF No. 282)

        Images of Rejected Ballot Envelopes …………. ............ Pa. App. 284

Department of State’s Response to RNC’s Statement of Material Facts
(ECF No. 299) …………. ......................................................... Pa. App. 299

Department of State’s Response to Plaintiffs’ Statement of Material
Facts (ECF No. 300) …………. ............................................... Pa. App. 377

Department of State’s Appendix to Responses to Statements of Material
Facts (ECF No. 301)…………. ................................................ Pa. App. 506

Excerpts from Lancaster County’s Response to Plaintiffs’ Statement of
Material Facts (ECF No. 302)…………. ................................. Pa. App. 884

Counties’ Response to RNC’s Statement of Material Facts (ECF No.
311) ......................................................................................... Pa. App. 889

Counties’ Appendix to Response to RNC’s Statement of Material Facts
(ECF No. 312) ......................................................................... Pa. App. 942

Opinion, In re: Contest of November 7, 2023 Election, No. 23-26306
(Mont. Cnty. C.C.P. Dec. 20, 2023) ...................................... Pa. App. 1052

Order, In re: Contest of November 7, 2023 Election, No. 1482 CD 2023
(Pa. Cmwlth. Ct. Dec. 28, 2023) ........................................... Pa. App. 1055

Opinion, In re: Contest of November 7, 2023 Election, No. 1482 CD 2023
(Pa. Cmwlth. Ct. Dec. 28, 2023) ........................................... Pa. App. 1057

Agenda, Towamencin Township Board of Supervisors, Reorganization
Meeting (Jan. 2, 2024) .......................................................... Pa. App. 1082




                                                        ii
Case: 23-3166      Document: 146              Page: 5         Date Filed: 01/10/2024
                            SESSION OF 1937.                                 1333

       been del oetive, all such bonds, securities, and obliga-
       tions, sold under defective publication of the notices of
       such sale, are hereby made valid and binding obliga-
       tions of every such county, city, borough, township,
       school district, or other municipality or incorporated
       district: Provided, That all the other requirements of
       law concerning such procedure, election, and issue of
       bonds have been complied with.
          Section 2. The provisions of this act shall become When effective.
       effective immediately upon its final enactment.
         APPROVED--The 3d day of June, A. D. 1937.
                                            GEORGE H. EARLE


                                   No. 320
                                  AN ACT
       Concerning elections, including general, municipal, special and
         primary elections, the nomination of candidates, primary and
         election expenses and election contests; creating and de-
         fining membership of county boards of elections; imposing
         duties upon the Secretary of the Commonwealth, courts, county
         boards of elections, county commissioners; imposing penalties
         for violation of the act, and codifying, revising and consolidat-
         ing the laws relating thereto; and repealing certain acts and
         parts of acts relating to elections.

                           CONTENTS
         ARTICLE       I. Preliminary Provisions.
         ARTICLE     II. The Secretary of the Common-
                          wealth.
         ARTICLE   III. County Boards of Elections.
         ARTICLE    IV. District Election Officers.
         ARTICLE     V. Election Districts and Polling
                          Places.
         ARTICLE    VI. Dates of Elections and Primaries
                          and Special Elections.
         ARTICLE   VII. Qualifications of Electors.
         ARTICLE  VIII. Party Organization.
         ARTICLE    IX. Nomination of Candidates.
         ARTICLE     X. Ballots.
         ARTICLE   XI. Voting Machines.
         ARTICLE   XII. Preparation for and Conduct of
                          Primaries and Elections.
         ARTICLE  XIII. Voting by Persons in Actual
                          Military Service.
         ARTICLE  XIV. Returns of Primaries and Elec-
                          tions.
         ARTICLE   XV. Electoral College.
         ARTICLE  XVI. Primary and Election Expenses.
         ARTICLE XVII. Recounts and Contests.
         ARTICLE XVIII. Penalties.
         ARTICLE XIX. Repeals.

                                 Pa.App.0001
Case: 23-3166    Document: 146          Page: 6       Date Filed: 01/10/2024
1334                   LAWS OF PENNSYLVANIA,
              Section 1. Be it enacted, &c., That the laws relating
           to general, municipal, special and primary elections,
           the nomination of candidates, primary and election ex-
           penses and election contests are hereby codified, revised
           and consolidated as follows:

                                  ARTICLE I
                            Preliminary Provisions
              Section 101. Short Title.-This act shall be known,
           and may be cited, as the "Pennsylvania Election Code."
              Section 102. Definitions.-The following words, when
           used in this act, shall have the following meanings,
           unless otherwise clearly apparent from the context:
              (a) The word "candidate" shall, unless the context
           otherwise requires, include both candidates for nomina-
           tion and election.
              (b) The word "county" shall mean any county of
           this Commonwealth.
              (c) The words "county board" or "board" shall
           mean the county board of elections of any county herein
           provided for.
              (d) The words "district election board" or "election
           board" shall mean the election officers required to con-
           duct primaries and elections in any election district in
           accordance with the provisions of this act.
              (e) The words "district register" shall mean the
           cards containing all or any part of the registry list of
           qualified electors of the same election district, as pre-
           pared by the registration commissions.
              (f) The word "election" shall mean any general,
           municipal, special or primary election, unless otherwise
           specified.
              (g) The words "election district" shall mean a dis-
           trict, division or precinct, established in accordance
           with the provisions of this act, within which all qualified
           electors vote at one polling place.
              (h) The words "general election" shall mean the
           election which the Constitution of this Commonwealth
           requires to be held in even-numbered years.
              (i) The words "independent nomination" shall mean
           the selection by an independent political body, in ac-
           cordance with the provisions of this act, of a candidate
           for a public office authorized to be voted for at an
           election.
              (j) The words "municipal election" shall mean the
           election which the Constitution of this Commonwealth
           requires to be held in odd-numbered years.
              (k) The word "nomination" shall mean the selection,
           in accordance with the provisions of this act, of a candi-
           date for a public office authorized to be voted for at
           an election.


                             Pa.App.0002
Case: 23-3166    Document: 146          Page: 7        Date Filed: 01/10/2024

1436                   LAWS OF PENNSYLVANIA,

                                 ARTICLE XIII
                Voting by Persons in Actual Military Service
              Section 1301. Qualified Electors in Actual Military
           Service.-Whenever any of the qualified electors of this
           Commonwealth shall be in any actual military service,
           under a requisition from the President of the United
           States or by the authority of this Commonwealth, and
           as such, absent from their place of residence on the days
           appointed by law for holding the general or municipal
           elections within this State, or on the days for holding
           special elections to fill vacancies, such electors shall be
           entitled, at such times, to exercise the right of suffrage,
           as fully as if they were present at their usual places of
           election, in the manner prescribed in this article and,
           whether at the time of voting, such electors shall be
           within the limits of this State or not; and the right of
           voting shall not be affected by reason of the failure of
           any elector to have been registered in his place of
           residence.
              Section 1302. Polls to Be Opened in Each Military
           Unit; Detached Electors.-A poll shall be opened in each
           military or naval unit, composed in whole or in part
           of Pennsylvania soldiers, at the quarters of the captain
           or other officer thereof, and all electors belonging to such
           unit who shall be within one mile of such quarters, on
           the day of election, and not prevented by orders of their
           commanders, or proximity of the enemy, from returning
           to their unit quarters, shall vote at such poll and at no
           other place; officers, other than those of a unit, and
           other electors detached and absent from their units, or
           in any military or naval hospital, or in any vessel or
           navy yard, may vote at such other polls as may be most
           convenient for them; and when there shall be ten or
           more electors at any place, who shall be unable to attend
           any unit poll, or their proper place of election as afore-
           said, the electors present may open a poll, at such place
           as they may select, and certify in the poll-book, which
           shall be a record of the proceedings at said election, sub-
           stantially in manner and form as hereinafter directed.
              Section 1303. Time of Opening and Closing Polls.-
           The polls shall be opened as early as practicable on said
           day and remain open at least three hours, and if neces-
           sary in the opinion of the election officers, in order to
           receive the votes of all the electors, they may keep the
           polls open until seven o'clock P. M. of said day; procla-
           mation thereof shall be made at or before the opening of
           the polls and one hour before closing them.
              Section 1304. Election Officers.-Before opening the
           poll on the day of election, the electors present at each
           of the places aforesaid, shall elect viva voce three per-
           sons, present at the time, and having the qualifications

                             Pa.App.0003
Case: 23-3166     Document: 146           Page: 8        Date Filed: 01/10/2024

                          SESSION OF 1937.                               1437

       of electors, for judge and inspectors of said election, and
       the inspectors so elected shall then appoint two of the
       persons present, who shall be qualified, to act as clerks
       of said election; and the judge shall prepare boxes or
       other suitable receptacles for the ballots.
          Section 1305. Oaths of Election Officers.-Before any
       votes shall be received, said judge, inspectors and clerks
       shall each take an oath or affirmation that he will per-
       form the duties of judge, inspector or clerk, as the case
       may be, of said election, according to law, and to the
       best of his abilities, and that he will studiously endeavor
       to prevent fraud, deceit or abuse in conducting the
       same, which oath or affirmation any of the said judges,
       inspectors or clerks so elected or appointed may admin-
       ister to each other; and the same shall be in writing, or
       partly written and partly printed, and signed by said
       judge, inspectors and clerks, and certified to by the
       party administering the same, and attached to or en-
       tered upon the poll-book, and there signed and certified
       as aforesaid.
          Section 1306. Manner cf Election; Challenges.-All
       elections under this article shall be by official ballots
       provided in the manner herein prescribed, and the judge
       and inspectors of elections may, and upon challenge of
       any elector shall, examine under oath or affirmation the
       applicant to vote (which oath or affirmation any of
       said judges or inspectors may administer), in respect to
       his right to vote, and his qualifications to vote in the
       particular election district, ward, precinct, city, borough,
       township or county of this State, in which he claims
       residence; and before issuing a ballot to any applicant
       to vote, the judge and inspectors, or majority of them,
       shall be satisfied that such applicant is a qualified elector
       of such place. The judge of election shall arrange one
       or more voting compartments, suitably curtaied in
       which the electors may mark their ballots.
          Section 1307. Poll-Books.-Separate poll-books shall
       be kept, and separate returns made, for the electors of
       each county; the poll-books shall name the unit and
       organization and the place, post or hospital, in which
       said election is held; the county and township, city,
       borough, ward or election district of each elector shall
       be indorsed opposite his name on the poll-books, so that
       there may be a double list of voters.
          Section 1308. Ballots.-Ballots for use by persons in
       military service under the provisions of this article shall
       be prepared sufficiently in advance by i. Secretary of
       the Commonwealth, and shall be by him distributed
       through the commissioners hereinafter provided, or in
       such other manner as he may think proper, to the
       various military or naval units containing Pennsylvania
       soldiers entitled to vote at any election. Such ballots


                               Pa.App.0004
Case: 23-3166    Document: 146           Page: 9        Date Filed: 01/10/2024

1438                    LAWS OF PENNSYLVANIA,

           shall be in substantially tile form proscribed by Article
           X of this act for ballots to be used at the same elections
           within this Commonwealth, but in cases where it is, in
           the opinion of the Secretary of the Commonwealth, not
           feasible to print on said ballots the names of the various
           candidates for district, county and local offices, the bal-
           lots shall contain blank spaces only under the titles of
           such offices in which the voters may insert the names of
           the candidates for whom they desire to vote, and in siuch
           cases the Secretary of the Commonwealth shall f,,vnisli
           to the judge of election a sufficient number of printed
           lists containing the names of all the candidates who
           have been regularly nominated under the provisions of
           this act for the use of the electors in preparing their
           ballots.
              Section 1309. Casting of Ballot.-The judge or one
           of the inspectors shall, upon the application of all elector
           to vote, pronounce his name audibly, and if no objec-
           tion is made to him, and the judge and inspectors are
           satisfied that said elector is a citizen of the United States,
           and legally entitled, according to the Constitution and
           laws of this State, to vote at said election, shall issue a
           ballot to such elector first folding it so that the words
           pr'nted on the back shall be the only words visible.
           The elector, after receiving Uis ballot, shall retire to one
           of the voting compartments and draw the curtain and
           shall there prepare his ballot. Ie shall then fold his
           ballot without displaying the markings in the same way
           it was folded when received by him, and he shall then
           leave the voting compartment and deposi the ballot
           thus folded in the ballot box or other receptacle therefor,
            and the clerks shall enter the name of the elector in the
            poll-book of his county, together with the ward, election
            district, city, borough, township and county of his
            residence.
               Section 1310. Counting of Votes.-At the close of the
            polls, the number of voters who have voted shall be
            counted and set down at the foot of the list of voters,
            and certified and signed by the judge and inspectors
            and attested by the clerks.
               Section 1311. Manner of Counting Ballots.-After
            the poll-books are signed, the ballot box shall be opened
            and the ballots therein contained shall be taken out, one
            at a time, by the judge, who shall read distinctly while
            the ballot remains in his hand, the names of the candi-
            dates voted for therein for the several offices voted for,
            and then deliver it to one of the inspectors, who shall
            examine the same and pass it to the other inspector, who
            shall place the same in an envelope prepared for the
            ballots of such count, and carefully preserve the same;
            the same method shall be pursued as to each ballot taken
            out, until all the votes are counted.


                              Pa.App.0005
Case: 23-3166       Document: 146        Page: 10        Date Filed: 01/10/2024

                              SESSION OF 1937.                         1439

          Section 1312. Rejection of Ballots.-No ballot which
       is so marked as to be capable of identification shall be
       counted, and if a ballot is marked for more candidates
       for any office than the number an elector is entitled to
       vote for for such office, the same shall not be counted
       for that office, but shall be counted for all other candi-
       dates properly marked.
          Section 1313. Tally Lists.-As a check in counting,
       each clerk shall keep a tally list for each county from
       which votes shall have been received, which tally list
       shall constitute a part of the poll-books.
          Section 1314. Enumeration of Votes.-After the ex-
       amination of the ballots shall be completed, the number
       of votes for each person in the county poll-books, as
       aforesaid, shall be enumerated under the inspection of
       the judge and inspectors, and set down in the poll-books.
          Section 1315. Form of Poll-Book and Returns.-The
       form of the poll-books t., be used at such elections shall
       be determined by the Secretary of the Commonwealth,
       who shall also prescribe the form of return to be made
       by the election officers in each poll-book of the ballots
       cast by the electors of the county for which such poll-
       book is kept.
          Section 1316. Disposition of Poll-Books and Returns.
       -After canvassing the votes in manner aforesaid, the
       judge shall put in an envelope, )ne of the poll-books
       with its tally list and return of each county, together
       with the ballots of such county, and tiansmit the same,
       properly sealed up and directed, through the nearest
       post office, or by express, a3 soon as possible thereafter,
       to the county board of elections of the county in which
       such electors would have voted if not in the military
       service aforesaid (being the county for which the poll-
       book was kept) ; and the other poll-book of said county,
       enclosed in an envelope and sealed as aforesaid, and
       properly directed, shall be delivered to one of the com-
       missioners hereinafter provided for, if such commis-
       sioner calls for the same in ten days, and if not so
       called for, the same shall be transmitted by mail or by
       express, as* soon as possible thereafter, to the Secretary
       of the Commonwealth, who shall carefully preserve the
       same, and on demand of the proper county board, de-
       liver to said county board, under his hand and official
       seal, a certified copy of the return of votes, so trans-
       mitted to and received by him, for said county.
          Section 1317. Duties of County Boards.-In the case
       of any election at which votes are cast by persons in
       military service, under the provisions of this article, it
       shall be the duty of each county board of elections to
       withhold the completion of the computation of the re-
       turns of the county until the third Friday after such
       election, within which period all returns of votes cast
         * "so" In the original.

                                   Pa.App.0006
Case: 23-3166    Document: 146          Page: 11        Date Filed: 01/10/2024

 1440                   LAWS OF PENNSYLVANIA,

            by electors of the county in military service, as pro-
            vided in this article, shall be added to and included in
            its computation of the returns of such election.
               Section 1318. Returns of Federal and State Offices.
            -In all general elections for Federal and State offices
            at which votes are cast by persons in the military ser-
            vice, under the provisions of this article, it shall be the
            duty of the Secretary of the Commonwealth before
            finally computing and certifying the returns of such
            elections, to add to the returns received by him from
            the various county boards of election any returns of
            the votes cast by persons in the military service received
            by him under the provisions of this act, which, upon an
            examination of the returns received from the county
            boards, clearly appear not to have been added to and
            included in such returns by the respective county boards.
               Section 1319. Contested Elections.-All said elections
            shal be subject to contest in the manner provided by
            Article XVII of this act; and in all cases of contested
            elections, all legal returns which shall have been bona
            fide forwarded by said judge and inspectors, in the
            manner hereinbefore prescribed, shall be counted, al-
            though the same may not have arrived or been received
            by the proper officers to be counted in the manner here-
            inbefore directed, before issuing the certificates of elec-
            tion to the persons appearing to have a majority of the
            votes then received, and the said returns shall be subject
            to all such objections, as other returns are liable to when
            received in due time.
               Section 1320. Duties of Secretary of the Common-
            wealth.-The Secretary of the Commonwealth shall
            cause to be printed a sufficient number of copies of this
            article, with such extracts from the other portions of
            this act, as shall be deemed important to accompany the
            same, and blank forms of poll-books, together with bal-
            lots, tally lists, returns and envelopes, as prescribed in
            this article, which, with the necessary postage stamps,
            to defray expenses and postage on returns, shall in suf-
            ficient time before any such election, be forwarded by
            said secretary, at the expense of the Commonwealth,
            by commissioners or otherwise, as shall be deemed most
            certain to insure delivery thereof, to the captain or
            commanding officer of each unit, or in case of detached
            voters, to the officer having charge of the post or hos-
            pital, who shall retain the same until the day of election,
            and then deliver the same to the judge elected as pro-
            vided in this article. No election shall be invalidated by
            reason of the neglect or failure of the said secretary to
            cause the delivery of said poll-books, ballots and other
            supplies to the proper persons as aforesaid.
               Section 1321. Appointment of Commissioners; Oath.
            -For the purpose of more effectually carrying out the


                              Pa.App.0007
Case: 23-3166      Document: 146          Page: 12        Date Filed: 01/10/2024

                         SESSION OF 1937.                              1441
      provisions of this article, the Governor may appoint
      and commission, under the great seal of the Common-
      wealth, such number of commissioners, having the quali-
      fications of an elector in this State, as he shall deem
      necessary, not exceeding one to each regiment or equiva
      lent organization of Pennsylvania soldiers in the service
      of this State, or of the United States, and shall appor-
      tion the work among the commissioners and supply such
      vacancies as may occur in their number. Such com-
      missioners, before they act, shall take and subscribe an
      oath or affirmation and cause the same to be filed with
      the Secretary of the Commonwealth, to the following
      effect:
         "I, ................     appointed commissioner, under
      Article XIII of the Election Law regulating elections
      by persons in actual military service, do solemnly swear
       (or affirm), that I will support the Constitution of the
      United States, and the Commonwealth of Pennsylvania,
      and impartially, fully, and without reference to political
      preference or results, perform, to the best of my knowl-
      edge and ability, the duties imposed on me by the said
      act; and that I will studiously endeavor to prevent
      fraud, deceit and abuse, not only in the elections to be
      held under the same, but in the returns thereof."
         Section 1322. Duties of the Commissioners.-Suchi
      commissioners shall deliver, as far as practicable, at
      least four of the copies of this article, and other extracts
      from this act and the rules and regulations issued here-
      under, published as hereinbefore directed, and at least
      two blank forms of poll-books, tally lists and returns
      entrusted to them, together with a suitable number of
      ballots, and other supplies, to the commanding officers
      of every unit, or part thereof, of Pennsylvania soldiers
      in the actual military or naval service of the United
      States, or of this State; and make suitable arrangements
      and provision for the opening of polls under this article.
      The said commissioners, as soon as practicable after the
      day of election, shall call upon the judge of the election,
      and procure one poll-book, containing the returns of
      the election, and safely preserve and deliver the same,
      without delay, to the Secretary of the Commonwealth.
         Section 1323. Compensation of Commissioners.-
      Said commissioners shall receive, in full compensation
      for their services under this article, ten cents (.10) per
      mile in going to and returning from their respective
      organizations, estimating the distance of travel by the
      usually traveled route; and the accounts therefor shall
      be audited and paid out of the State Treasury in the
      same manner as other claims are now audited and paid.
      All commanding and other officers shall be required to
      aid the commissioners herein appointed, and to give



                                Pa.App.0008
Case: 23-3166      Document: 146          Page: 13        Date Filed: 01/10/2024

  1442                      LAWS OF PENNSYLVANIA,

                them all proper facilities to enable them to carry out
                the design and intention of this article.
                   Section 1324. Informalities Not to Invalidate Elec-
                tions.-No mere informality in the manner of carrying
                out or executing any of the provisions of this article,
                shall invalidate any election held under the same, or
                authorize the returns thereof to be rejected or set aside;
                nor shall any failure on the part of the commissioners
                to reach or visit any unit or organization, or the failure
                of any unit, or part thereof, to vote, invalidate any
                election which may be held under this article.
                   Section 1325. Powers of Election Officers.-The sev-
                eral officers authorized to conduct such election, shall
                have the like powers, and they, as well as other persons
                who may attend, vote, or offer to vote at such election,
                shall be subject to the like penalties and restrictions
                as are declared or provided in the case of elections by
                the citizens at their usual places of election; and all of
                the provisions of this act, so far as applicable and not
                inconsistent with the provisions of this article, nor sup-
                plied thereby, shall apply to all elections held under
                this article.
                   Section 1326. No Compensation for Election Officers.
                -No compensation shall be allowed to any judge, in-
                spector or clerk under this article.
                   Section 1327. Rights of Detached Electors.-When
                any of the electors mentioned in section 1301, less than
                ten (10) in number, shall be members of companies of
                another state or territory or for any sufficient and legal
                cause shall be separated from their proper unit or shall
                be in a hospital, navy yard, vessel or on recruiting,
                provost, or any other duty, whether within or without
                this State, under such circumstances as shall render it
                probable that they will be unable to rejoin their proper
                unit or to be present at their proper place of election on
                or before the day of any election, said electors shall
                have the right to vote in the following manner.
                   Section 1328. Ballots and Envelopes for Detached
                Electors.-The Secretary of the Commonwealth shall
                prepare and distribute to the said detached electors
                through the commissioners provided for by this article
                or in such manner as lie may think proper, additional
                official ballots to be known as detached soldier's ballots.
                Such ballots shall be prepared and printed in the same
                form as the ballots provided for by section 1308 of this
                act, but shall have in addition printed thereon the words
                "Detached Soldier's Ballot."       The Secretary of the
                Commonwealth shall also provide and distribute as
                aforesaid, three envelopes for each detached soldier's
                ballot of such size and shape that will permit the plac-
                ing of one within the other. On the first shall be
                printed only the words "Detached Soldier's Ballot."


                                Pa.App.0009
Case: 23-3166     Document: 146         Page: 14       Date Filed: 01/10/2024

                         SESSION OF 1937.                            1443

       On the second shall be printed the affidavit of the de-
       tached elector, together with the jurat of the officer in
       whose presence the ballot is marked and before whom the
       affidavit is made, such affidavit and jurat to be in form
       prescribed by the Secretary of the Commonwealth. On
       the third shall be placed the name and address of the
       county board of elections of the proper county.
          Section 1329. Voting by Detached Electors.-Any
       such detached elector may make application prior to the
       day of any election to one of the commissioners ap-
       pointed under the provisions of this article or to the
       Secretary of the Commonwealth for a "Detached
       Soldier's Ballot."    At any time after receiving such
       detached soldier's ballot, but on or before the day of
       the election, such elector may appear before any com-
       missioned officer of the military or naval forces, either
       within or without the Commonwealth, and mark such
       ballot under the scrutiny of such officer in the follow-
       ing manner. The voter shall first display the ballot to
       such officer as evidence that the same is unmarked, and
       snall then proceed to mark the ballot in the presence
       of such officer, but in such manner that such officer is
       unable to see how the same is marked, and then fold
       the ballot, enclose and securely seal the same in the
       envelope on which is printed "Detached Soldier's Bal-
       lot." This envelope shall then be placed in the one
       on which is printed the affidavit of the elector and the
       jurat of the officer before whom the elector appears,
       and such envelope sealed in like manner by the elector.
       The elector shall then make out, subscribe and swear to
       the affidavit printed on the face of such envelope and
       the jurat shall be subscribed by the officer before whom
       the affidavit was taken. Such ballot and envelope shall
       then be securely sealed in the third envelope which the
       elector shall send by registered mail to the county board
       of elections of the proper county.
          Section 1330. Receipt and Counting of Detached
       Soldiers' Ballots.-The county board of elections upon
       receipt of such registered letter shall safely keep the
       same in their office until they meet to canvass the vote
       of such election under the provisions of this act, at
       which time they shall open such registered letter and
       after examining the affidavit and jurat, shall compare
       the signature of such absent voter with his signature
       upon any register or other record in their possession.
       If the county board is satisfied that the signatures cor-
       respond and that the affidavit and jurat are sufficient,
       they shall announce the name if the elector and shall
       give any person present an opportunity to challenge
       the same in like manner and for the same causes as
       such elector could have been challenged had he pre-
       sented himself in his own district to cast his vote. If

                              Pa.App.0010
Case: 23-3166   Document: 146          Page: 15        Date Filed: 01/10/2024

 1444                    LAWS OF PENNSYLVANIA,

            there are no challenges, they shall open the second en-
            velope in such manner as not to destroy the affidavit
            and jurat printed thereon, which envelope shall be kept
            in their office for a period of one year thereafter. All
            envelopes on which are printed the wor'l' "Detached
            Soldier's Ballot" and containing the baiL.ts, shall be
            put into one depository at one time and said depository
            well shaken, and the envelopes containing the ballots
            mixed before any ballot is taken therefrom. The county
            board shall then break the seals of such envelopes and
            record the said ballots in the same manner as district
            election officers are required to record votes under the
            provisions of this act. In like manner all detached
            soldier's ballots received, prior to completion of the
            computation of the returns of the county, shall be
            counted and recorded and upon the completion of the
            computation of the returns of the county the votes cast
            upon the detached soldier's ballots shall then be added
            to the votes cast within the county, city, borough, town-
            ship, ward or election district, as designated on each
            ballot. Detached soldier's ballots shall be safely kept
            by the county board of elections for a period of one year.
                                  ARTICLE XIV
                        Returns of Primaries and Elections
               Section 1401. Offices of County Boards to Remain
            Open During Primaries and Elections and Until Com-
            pletion of Count; Reports and Returns to Be Made
            Public.-Each county board of elections shall cause its
            office to remain open, in charge of one or more members
            of the board, during the entire duration of each primary
            and election, and after the close of the polls, until all
            the ballot boxes and returns have been received in the
            office of the county elections board, or received in such
            other place as has been designated by the board.
               Section 1402. Returns to Be Open to Public Inspec-
            tion; Exceptions.-The general returns from the various,
            districts which have been returned unsealed shall be
            open to public inspection at the office of the county
            board as soon as they are received from the judges of
            election. None of the envelopes s-aled by election officers
            and entrusted to the judge of Llection for delivery to
            the county board shall be opened by any person, except
            by the order of the return board, or of the court of
            common pleas.
               Section 1403. Place of Meeting for Computation of
            Votes; Notice; Papers to Be Prepared; Assistants to
            Be Sworn.-
               (a) The county board of elections shall arrange for
            the computation and canvassing of the returns of votes
            cast at each primary and election at its office or at
            some other convenient public place at the county seat

                             Pa.App.0011
Case: 23-3166                   Document: 146              Page: 16           Date Filed: 01/10/2024
                                            LAWS OF PENNSYINANIA,

   Cancelhtmon of
                            expiration of the time specified in such notice, cancel
   ,egustratton of          the registration of such person unless he personally
    'Per.ol8 In Inilitill   appears and proves his qualifications as an elector:
   ..pi vi,'
                            Provided, however, That the registration of any person in
                            military service shall not be cancelled by reason of the failure
                            of such person to reside at the address appearing upon
                            the district register, if such person did reside at such address
                            on the date of entering military service.
                               Section 7. Section thirty-six of the said act is hereby
   Said act, be'tio,        amended by adding thereto subsection (h) to read as
   36|, amended by
   adding new aul,-
   vection (I).
                            follows:
                               (h) Persons in military service shall be entitled to vote,
   Ilight of pehbonJ
  in nilitary Relvie
                            if duly registered in a manner provided by this act. Persons
   I D vot e                in military service, and by reason thereof absent from their
                            places of residence on the day of any election, shall be en-
                            titled to vote in such manner as may now or hereafter be
                            provided by law, unaffected by the provisions of this section
                            in so far as they relate to the manner of voting.
                               Section 8. This act shall become effective immediately
   Act effective            upon final enactment.
  iimmediately.
                               APPaovE--The 1st day of August, A. D. 1941.
                                                                  ARTHUR H. JAMES


                                                          No. 273
                                                        AN ACT
                            To amend the act, approved the third day of June, one thousand
                              nine hundred and thirty-seven (Pamphlet Laws, one thousand
                              three hundred thirty-three), entitled, "An act concerning elections,
                              including general, municipal, special and primary elections, the
                              nomination of candidates, primary and election expenses an d
                              election contests; creating and defining membership of county
                              boards of elections; imposing duties upon the Secretary of the
                              Commonwealth, courts, county boards of elections, county
                              commissioners; imposing penalties for violation of the act, and
                              codifying, revising and consolidating the laws relating thereto;
                              abd reeling   certain acts and parts of acts relatinF to elections"
                                   bycagng the p~rocedure for, and regulatingj voting in elections
                              sy,          in actual nilitary service; conferring powers and
                                  personsduties
                              imposing          upon the Secretary of the Commonwealth,
                              vourts, cou~nty hoards of elections and county conimissioncrq;
                              providing for reimbursement of counties for actual expens~es
                              incurred for eanv-assing the vote of electors in actual military
                              service.
  Elrrfi,,m                   The General Assembly of the Commonwealth of Penn-
                            sylvania hereby enacts as follows:
  l'ennsvlwi'a
  I':]eetion Coile.            Section 1. Section one hundred two of the act, ap-
                            proved the third day of June, one thousand nine hundred
  Act if .me 3,             and thirty-seven (Pamphlet Laws, one thousand three
  1937, 1'. L. 1333,        hundred thirty-three), entitled, "An act concerning
  section 102,
  amended.                  elections, including general, municipal, special and pri-
                            mary elections, the nomination of candidates, primary
                            and election expenses and election contests; creating
                            and defining membership of county boards of elections;


                                               Pa.App.0012
Case: 23-3166     Document: 146           Page: 17         Date Filed: 01/10/2024
                           SESSION OF 1941.
        imposing duties upon the Secretary of the Common-
        wealth, courts, county boards of elections, county com-
        missioners; imposing penalties for violation of the act,
        and codifying, revising and consolidating the laws relating
        thereto; and repealing certain acts and parts of acts re-
        lating to elections", is hereby amended to read as follows:
           Section 102. Definitions.-The following words, when
        used in this act, shall have the following meanings, unless
        otherwise clearly apparent from the context:
           (a) The word "candidate" shall, unless the context
        otherwise requires, include both candidates for nomina-
        tion and election.
           (b) The word "county" shall mean any county of this
        Commonwealth.
           (c)The words "county board" or "board" shall mean
        the county board of elections of any county herein pro-
        vided for.
           (d)The wcrds "district election board" or "election
        board" shall mean the election officers required to conduct
        primaries and elections in any election district in accord-
        ance with the provisions of this act.
           (e)The words "district register" shall mean the cards
        containing all or any part of the registry list of qualified
        electors of the same election district, as prepared by the
        registration commissions.
           (f) The word "election" shall mean any general, munic-
        ipal, special or primary election, unless otherwise specified.
           (g) The words "election district" shall mean a district,
        division or precinct, established in accordance with the
        provisions of this act, within which all qualified electors
        vote at one polling place.
           (h) The words "general election" shall mean the elec-
        tion which the Constitution of this Commonwealth
        requires to be held in even-numbered years.
           (i)The words "independent nomination" shall mean
        the selection by an independent political body, in accord-
        ance with the provisions of this act, of a candidate for a
        public office authorized to be voted for at an election.
           (j)The words "municipal election" shall mean the
        election which the Constitution of this Commonwealth
        requires to be held in odd-numbered years.
           (k) The word "nomination" shall mean the selection, in
        accordance with the provisions of this act, of a candidate
        for a public office authorized to be voted for at an election.
           (1) The words "November election" shall mean either
        the general or municipal election, or both, according to
        the context.
           (m)The word "oath" shall include affirmation and the
        word "swear" shall include affirm.
           (n) The word "party" shall mean a political party, as
        defined in seci ion 801 of this act.
           (o) The words "party nomination" shall mean the
        selection by a political party, in accordance with the
                22
                                Pa.App.0013
Case: 23-3166         Document: 146           Page: 18         Date Filed: 01/10/2024
                                LAWS OF PENNSYLVANIA,

                      provisions of this act, of a candidate for a public office
                      authorized to be voted for at an election.
                         (p) The words "political body" shall mean an inde-
                      pendent body of electors, as defined in section 801 of this
                      act.
                         (q) The words "polling place" shall mean the room
                      provided in each election district for voting at a primary
                      or election.
                         (r) The words "primary" or "primary election" shal;
                      mean any election held for the purpose of electing party
                      officers and nominating candidates for public offices to be
                      voted for at an election.
                         (s) The words "public office" shall include every public
                      office to which persons can be elected by a vote of the
                      electors under the laws of this State.
                         (t) The words "qualified elector" shall mean any per-
                      son who shall possess all of the qualifications for voting
                      now or hereafter prescribed by the Constitution of this
                      Commonwealth, or who, being otherwise qualified by
                      continued residence in his election district, shall- obtain
                      such qualifications before the next ensuing election.
                         (u) The words "registered and enrolled member of a
                      political party" shall mean any qualified elector who
                      shall be registered according to political designation, in
                      accordance with the provisions of the registration acts.
                         (v) The words "special election" shall mean any elec-
                      tion other than a regular general, municipal or primary
                      election.
  "Electors in actuai    (w) "Electors in actual military service" shall mean
  d.11it   srvice", qualified electors of this Commonwealth who are or may
                      be by enlistment, enrollment or draft in the military or
                      naval service of the United States, or any branch or unit
                      thereof, or in the military service of the Commonwealth.
  Said act, section      Section 2. Section three hundred and five of said act
  305, amended,       is hereby amended to read as follows:
                         Section 305. Expenses of County Boards and of Pri-
                      maries and Elections to Be Paid by County; Expenses of
                      Special Elections; Boards to Be Provided with Offices.-
                         (a) The county commissioners or other appropriating
                      authorities of the county shall appropriate annually, and
                      from time to time, to the county board of elections of such
                      county, the funds that shall be necessary for the mainte-
                      nance and operation of the board and for the conduct of
                      primaries and elections in such county, including the
                      payment of the compensation of the employes of the
                      board, custodians, election officers, and other assistants
                      and employes herein provided for, and the fees of witnesses
                      as herein provided; for the purchase or printing, under
                      contracts made by the board, of all ballots and other pri-
                      mary and election supplies required by this act, or which
                      the board shall consider necessary to carry out the pro-
                      visions of this act; for the purchase, under contracts made
                      by the board, and maintenance, of voting machines, when
                      adopted as herein provided, and of all other primary and

                                   Pa.App.0014
Case: 23-3166      Document: 146           Page: 19        Date Filed: 01/10/2024
                           SESSION OF 1941.

        election equipment required by this act, or which the
        board shall consider necessary to carry out the provisions
        of this act; for the publication of notices authorized by
        this act, under contracts made by the board, and for all
        other necessary expenses hereunder: Provided, however,
        That bonds or other evidences of indebtedness, payable
        not later than ten years from their dates of issuance, may
        be issued by the county commissioners or other appro-
        priating authorities of the county in accordance with
        the provisions of law relating to the increase of indebtedness
        of such county, to meet all or any part of the cost of
        voting machines.
           1. The county shall be liable for the expenses of hold-
        ing special elections for any city, borough, township,
        school district or other municipality or incorporated
        district contained therein, which is held on the day of
        any general, municipal or primary election, and on any
        special question which is required by law to be, or which
        is, at the discretion of the county board, as hereinafter
        provided, printed on the regular ballot after the list of
        the candidates, or on the same voting machine as the
        list of candidates.
           2. Any city, borough, township, school district or other
        municipality or incorporated district contained in any
        county, holding a special election, as authorized by law,
        on the question of increase of indebtedness or any other
        question to be voted on by the electors of such subdivision,
        which special election is held on the day of any general,
         municipal or primary election and which is required by
        law to be conducted or at the discretion of the county
         board, as hereinafter provided is conducted by special
         ballots for such question, shall be liable to the county for
         the expenses necessarily incurred in the printing of such
         special ballots.
           3. If any other day than the day of any general, mu-
         nicipal or primary election be fixed by the corporate
         authorities of any municipality, school district or incorpo-
         rated district for the holding of a special election on
         the question of increase of indebtedness or any other
         question, as authorized by law, such municipality, school
         district or incorporated district shall be liable for and pay
         the entire expense of holding such election, including the
         cost of printing ballots and supplies, pay of election
         officers, the rental of polling places, and the cost of can-
         vassing and computing the votes cast.
            (b) The county commissioners or other appropriating
         authorities of the county shall provide the county board
         with suitable and adequate offices at the county seat,
         properly furnished for keeping its records, holding its
         public sessions and otherwise performing its public
         duties, and shall also provide such branch offices for the
         board in cities other than the county seat, as may be
         necessary.


                                Pa.App.0015
Case: 23-3166               Document: 146                   Page: 20   Date Filed: 01/10/2024
                                        LAWS OF PENNSYLVANIA,
  Reimbursement of         (c) The Commonwealth shall reimburse each county for
  counties by
  Commonwealth          election expenses incurred at every election for the prepa'a-
  for expense of        lion handling and mailing of ballots for electors in actual
  canvassing military
  vote,.              military service, in the sum of forty-three cents for each
                      ballot mailed to an elector in actual military service in such
                      manner as is now or may hereafter be provided by law.
  Statemeit of           Each county board of elections shall file in the Department
  tonumber ofiball t  of State, not later than thirty days after every election, on a
  Department of      form prescribed by the Department of State, a statement
  State,              of the number of ballots mailed in such manner as is now
                      or may hereafter be provided by law to electors in actual
                      military service upon the written application of each such
                      elector. Such applicationsshall be preserved by each county
                      board of elections until reimbursement is made as herein
                      provided, subject to inspection or production in the Depart-
                      ment of State, if demanded by the Department of State.
  Departmt of            The Department of State shall ascertain and fix the
  State to determine
  and requisition     amount due, as herein provided, to each county for election
  payment of amount expenses incurredfor the preparation,handling and mailing
  due.                of ballots to electors in actual military service, and by requisi-
                      tion in the usual course shall provide for payment of such
                      amounts so found due from moneys appropriated to the
                      Department of State for such purpose, or shall prorate the
                      moneys so appropriated among the several counties to be
                     reimbursed, if the amount so appropriated shall not be
                     sufficient for the payment in full to each county of the amount
                     found to be due.
  Said
  XIII,act, Article
         repealed    pae Sectionbouey
                                   3. Article thirteen of said act is hereby re-
  absoltey.             pealed absolutely.
  Said act amended        Section 4. Said act is hereby amended by adding*
  by adding jew         thereto a new article thirteen to read as follows:
  Article XIII.
                                        ARTICLE XIII
                        VOTING BY PERSONS IN ACTUAL MILITARY
                                           SERVICE
                         Section 1801. Qualified Electors in Actual Military
  Electors inactual     Service.-Whenever any of the qualified electors of this
  military
  have     service
        right of to     Commonwealth shall be in any actual military service and
  =.nrage at any        as such absent from their place of residence on the days
                        appointed by law for holding any election within this State,
                        or on the days for holding special elections to fill vacancies,
                        such electors shall be entitled at such times to exercise th-
                        right of suffrage as fully as if they were present at their
                        usual places of election in the manner prescribed in this
                        article, and whether at the time of voting such electors shall
                        be within the limits of this State or not.
                           Section 1302. Ballots.-Ballots for use byj electors in
              amd
   'reparation of
  dL~triiution       actual military service under the provisions of this article
  ballots fr useof shall be prepared sufficiently in advance by the county
  persons inmilitary boards of election and shall be by such boards distributed as
  service.              hereinafter provided to the electors in actual military service
                        entitled to vote at any election. Such ballots shall be in sub-
                        stantially the form prescribed by article ten of this act for
                          *"adding" repeated in original.



                                             Pa.App.0016
Case: 23-3166     Document: 146              Page: 21           Date Filed: 01/10/2024
                                 SESSION OF 1941.

            ballots to be used at the same elections within this Com-
            monwealth, but in cases where there is not time in the opinion
            of the county boards of elections to print on said ballots the
            names of the various candidatesfor district, county and local
            offices, the ballots shall contain blank spaces only under
            the titles of such offices, in which the voters may insert the
            names of the candidates for whom they desire to vote, and
            in such cases the county boards of elections shall furnish to
            the elector in actual military service a sufficient number of
            printed lists containing the names of all the candidates who
            have been regularly nominated under the provisions of this
            act for the use of the elector in preparing his ballot.
               Section 1808. Duties of County Boards.-In the case of
            any election at which votes are cast by electors in actual Illlh Inolll. to
            military service under the provisions of this article, it shall v'rll.in eilliplilluon
            be the duty of each county board of elections to withhold the of      ietunm. of any
                                                                               Oel'rtiol1,
            completion of the computation of the returns of the county
            until the second Friday after suich election, within which
            period all votes cast by electors of the county in actual military
            service as provided in this article shall be added to and
            included in its computation of the returns of such election,
            but not afterwards.
               Section 1804. Manner of Voting by Electors in Actual Appioation for
            Military xService.-Electors mentioned in section one thousand ballot        by pero, ill
                                                                               nolitary mervicP.
            three hundred and one shall have the right to apply, not
            less than thirty (80) days, and not more than fifty (50) days,
            before any election for a "military ballot". The application
            shall be in writing signed by the applicant in his own hand
            and addressed to the county board of elections of the county
            wherein the applicant is registered to vote and shall state
            the county and the city, borough or township, and the precise
            ward or election district in, or the street and number at,
            which the applicant is registered to vote. If the application
            is for a ballot for a primary election, it shall also stale the
            political party in which the applicant is enrolled.
               Section 1805. Ballots and Envelopes for Electors in Mhthod of pre-
            Actual Military Service.-The county boards of elections tribUting   paling and dix-
                                                                                           Iallot,.
            shall prepare, and, upon request, deliver to the said electors for timeby permons
                                                                               in mlhtary wrv e.
            in actual military service a ballot by registered mail, with
            return receipt required, in an envelope addressed to each
            such elector at the address furnished by the elector in his
            applicationfor a military ballot. Such ballots shall be pre-
            pared and printed in the same form as the ballots provided
           for by section one thousand three hundred and two of this act,
            but shall have in addition printed, stamped or endorsed
            thereon the words "Military Ballot". The county boards of
           elections shall also provide and deliver, as aforesaid, three
           envelopes for each military ballot of such size and shape
           that will permit the placing of one within the other. On
           the first shall be printed, stamped or endorsed only the
           words "Military Ballot". On the second shall be printed
           the affidavit of the elector, together with the jurat of the
           officer in whoe presence the ballot is marked and before
           whom the affidavit is made, such affidavit and jurat to be in

                                 Pa.App.0017
Case: 23-3166         Document: 146                      Page: 22   Date Filed: 01/10/2024
                                         IAWS OF PENNSYIVANIA,

                           form prescribed by the Secretary of the Commonwealth.
                           On the third shall be placed the name and address of the
                            county board of elections of the proper county. All military
                            ballots and envelopes shall be mailed at least fifteen (15)
                           days before the election involved to thc electors requesting
                           them.
      List of applicants       Each county board of elections shall print and post in a
      for ballots for use
      by electors in        conspicuous public place at its office a list, setting forth the
      military service to
      be posted.
                            name, present location, the local voting district or ward of
                            every elector to whom a military ballot has been sent. This
                            list shall be posted at least ten (10) days before the primary
                            or election involved and shall also set forth the total number
                            of military ballots prepared by the county board of elections.
                            Copies of such list shall be furnished upon request to the
                            county chairman of each politicalparty and politicel body.
      Manner of marking        Section 1806. Voting by Electors in Actual Military
      and handling ballot
      by person i           Servic.--Any such elector may make applicationwithin the
      military service.     time prescribed by section one thousand three hundred and
                           four to the county boards of elections for a "Military Ballot".
                            At any time after receiving such military ballot, but on
                            or before the day of the election, such elector in actual military
                            service may appear before any commissioned officer of the
                            military or naval forces, either within or without the Com-
                            monwealth, or before any officer of this or* any other state
                            or territory of the United States authorized to administer
                           oaths, and mark such ballot under the scrutiny of such
                            officer in the following manner. The voter shall first display
                            the ballot to such officer as evidence that the same is un-
                           marked, and shall then proceed to mark the ballot in the
                           presence of such officer, but in such manner that such officer
                           is unable to see how the same is marked, and then fold
                            the ballot, enclose and securely seal the same in the envelope
                            on which is printed, stamped or endorsed "Military Ballot".
                            This envelope shall then be placed in the one on which is
                            printed the affidavit of the elector and the jurat of the officer
                            before whom the elector appears, and such envelope sealed
                            in like manner by the elector. The elector shall then make
                            out, subscribe and swear to the affidavit printed on the face
                           of such envelope, and the jurat shall be subscribed by the
                            officer before whom the affidavit was taken. Such ballot and
                            envelope shall then be securely sealed in the third envelope
                            which the elector shall send by mail to the county board of
                            elections of the proper county with postage prepaid.
      Receipt and              Section 1307. Receipt and Counting of Military Ballots.-
      conoting of military The county board of elections upon receipt of such third
      ballots by conty
      boards.               envelope shall safely keep the same in their office until
                            they meet to canvass the vote of such election under the pro-
                            visions of this act.
                               At such time the members of the county board of elections
                            may in person dispose of military ballots in the manner
                            hereinafter set forth, or they may designate a sufficient
                            number of clerks to perform such duties. When it is deter-
                            mined that clerks shall be appointed, the total number shall
                           *"or" repeated in original.


                                       Pa.App.0018
Case: 23-3166        Document: 146                    Page: 23   Date Filed: 01/10/2024
                                  SESSION OF 1941.

        in every case be in multiples of three; each member of the
        county board of elections shall appoint an equal number
        thereof.
          Watchers appointed in the manner prescribed by, and Watchers.
        subject to the restrictions imposed by section four hundred
        and seventeen of this act, in so far as applicable, shall be
        permitted to be present whenever any of the envelopes con-
        taining military ballots are opened* and whenever any
        such ballots are counted and recorded.
           In disposing of military ballots the county board of Dispomal of hollots
        elections, or the clerks designated as aforesaid, shall first and envlopes.
        examine the third envelope and set aside unopened all
        such envelopes which bear a postmark later than the date
        of the particularelection day involved. The envelopes thus
        set aside shall be retained for a period of one year and then
        destroyed unopened.
           They shall then open the third envelopes not thus set aside,
        and after examining the affidavit and jurat, shall compare
        the signature of such absent voter with his signature upon
        any register or other record in their possession. If the
        county board is satisfied that the signatures correspond,
        that the affidavit and jurat are sufficient and that the voter
        has been duly registered as provided by law, they shall
        announce the name of the elector and shall give any person
        present an opportunity to challenge the same in like manner
        and for the same causes as such elector could have been
        challenged had he presented himself in his own district to
        cast his vote. If there are no challenges, they shall open the
        second envelope in such manner as not to destroy the affidavit
        and jurat printed thereon, which envelope shall be kept in
        their office for a period of one year thereafter. All envelopes
        on which are printed, stamped or endorsed the words "Mili-
        tary Ballot", and containing the ballots, shall be put into
        one depository at one time and said depository well shaken,
        and the envelopes containing the ballots mixed before any
        ballot is taken therefrom. The county board shall then
        break the seals of such envelopes and record the said ballots
        in the same manner as district election officers are required
        to record votes under the provisions of this act. In like
        manner all military ballots received prior to completion of
        the computation of the returns of the county shall be counted
        and recorded, and, upon completion of the computation of
        the returns of the county, the votes cast upon the military
        ballots shall then be added to the votes cast within the county,
        city, borough, incorporated town, township, ward or election
        district as designated on each ballot. Military ballots shall
        be safely kept by the county board of elections for a period
        of one year.
           **Section 5. This act shall become effective immediately Act effective
        upon final enactment.                                            immediately.

           APPRovE--The 1st day of August, A. D. 1941.
                                                      ARTHUR H. JAMES
           "opaded" in original.
          *    .of Section 5 itallised in original.


                                        Pa.App.0019
Case: 23-3166      Document: 146            Page: 24          Date Filed: 01/10/2024

                               SESSION OF 1946.

                                       No. 17
                                       AN ACT
          To further amend the    act, approved the third day of June, one
            thousand nine hundred thirly-seven (Pamphlet Laws, one thou-
           sand three hundred thirty-three), entitled "An act concerning
           elections, including general, municipal, special and primary
           elections, the nomination of candidates, primary and election
           expenses and elccti-n contests; creating and defining member-
           ship of county boards of elections; imposing duties upon the
           Secretary of the Commonwealth, courts, county boards of elec-
           tions, county commissioners; imposing penalties for violation
           of the act, and codifying, revising and consolidating the laws
           relating thereto; and repealng certain acts and parts of acts
           relating to elections," by further regulating elections during
           the time of the present war and for six months thereafter;
           authorizing and providing a procedure for the voting of quali-
           tied electors in actual military service as herein defined, who
           are absent from their Place of residence while in, attached to,
           or serving with the armed forces of the United States; imposing
           addition-l duties upon the various county boards of elections
           and election ollicers; chairmen of political parties or com-
             inttees, and officers and employes of certain political sub-
           divisions; placing costs upon the Commonwealth; authorizing
           appropriations by cities of the first class and counties; further
           regulating the last day for filing nomination petitions and
           nomination papers; the withdrawal of nominated candidates;
           the payment of fees by persons nominated at primary elec-
           tions; the filing of substitute nomination certificates to fill
           vacancies caused by the withdrawal of candidates, and further
           regulating the date of the primary election.
             The General Assembly of the Commonwealth of Penn- aseuons.
          sylvania hereby enacts as follows:
             Section 1. Section one hundred two (w) of the act, secton 012 (w),
          approved the third day of June, one thousand nine hun- I937, ct of P,,j I,
                                                                                   no 5,
                                                                                   ,.1333,
          dred   thirty-seven (Pamphlet  Laws,  one  thousand   three as  aiendi   ed by
                                                                      act of Au Klst 1,
          hundred thirty-three), entitled "An act concerning elec- 1941, P.1,          672,
                                                                                   mP1lld4,l1
          tions, including general, municipal, special and primary further a
          elections, the nomination of candidates, primary and
          election expenses and election contests; creating and de-
          fining membership of county boards of elections; im-
          posing duties upon the Secretary of the Commopvealth,
          courts, county boards of elections, county commission-
          cra; imposing penalties for violation of the act, and codi-
          fying, revising and consolidating the laws relating
          thereto; and repealing certain acts and parts of acts
          relating to elections," is hereby amended to read as
          follows:
             Section 102. (w) ["Electors in actual military ser-
          vice" shall mean qualified electors of this Common- elector nillltarysI actual
                                                                                   ervice"
          wealth, who are or may be by elistment, enrollmient, defined.
          or draft in the military or naval service of the United


                                 Pa.App.0020
Case: 23-3166           Document: 146           Page: 25         Date Filed: 01/10/2024

                              LAWS' OF PENNSYLVANIA,
                   States, or any branch or unit thereof, or in the military
                   service of the Commonwealth.] The term "qualified
                   elector in actual military service" shall mean a qualified
                   elector of this Commonwealth, who is or may be in the
                   military or -naval service of the United States or any
                   branch or unit thereof, or in the Merchant Marine of
                   the United States, or serving in the American Red Cross,
                   the Society of Friends, the Women's Auxiliary Service
                   Pilots, the American Field Service or the United Service
                   Organizations attached to and serving with the armed
                   forces of the United States, and regardless of whether
                   such person is registered or enrolled in accordance with
                   law.
Section 80 (c).       Section 2. Section three hundred five (c) of said act
act of June 8
1987, P. L. 1883 is hereby amended to read as follows:
as amended by         Section 305. (e) [The Commonwealth shall reim-
act of August 1,
1941, P. L. 672, burse each county for election expenses incurred at every
further amended.
                   election for the preparation, handling and mailing of
                   ballots for electors in actual military service, in the sum
                   of forty-three cents for each ballot mailed to an elector
                   in actual military service in such manner as is now or
Cities of the Arst may hereafter be provided by law.]            The Common-
class and
counties shall be wealth shall reimburse each city of the first class and
reimbursed by
Commonwealth
                   county for the actual expenses incurred in and inci-
in sum not to dental to preparing,handling, mailing, delivering, count-
exceed 40# for     ing and storing official miltary vallots as herein pro-
each ballot
mailed or de-      vided in a sum not to exceed forty cents (4Oe) for eaplh
livered.
                   such ballot mailed or delivered.
County boards of      Each county board of elections shall file in the De-
election to file   partment of State, not later than thirty days after every
statement of
number of ballots election, on a form prescribed by the Department of
mailed or de-
livered with       State, a statement of the number of ballots mailed or
Secretary of       delivered in such manner as is now or may hereafter be
Commonwealth.
                   provided by law to electors in actual military service.
                    [upon the written application of each elector. Such
                   applications shall be preserved by each county board of
                   elections until reimbursement is made as herein pro-
                   vided, subject to inspection or production in the De-
                   partment of State, if demanded by the Department of
                   State.]
Department of
State shall fix
                      The Department of State shall ascertain and fix the
amount due and amount due, as herein provided, to each [county] city
provide for pay- of the first class and county for actual election expenses
ment.
                   incurred [for the preparation, handling and mailing of
                   ballots to electors in actual military service], and by
                   requisition in the usual course shall provide for pay-
                   ment of such amounts so found due from moneys ap-
                   propriated to the Department of State for such pur-
                   pose, or shall prorate the moneys so appropriated among
                   the several [counties] cities of the first class and counties
                    to be reimbursed, if the amount so appropriated shall


                                     Pa.App.0021
Case: 23-3166     Document: 146           Page: 26        Date Filed: 01/10/2024
                           SESSION OF 1945.
        not be sufficient for the payment in full to each
        [county] city of the first class and county of the amount
        found to be due.
          Section 3. Section six hundred four of said act is of      June G04,
                                                                  section      act
                                                                           3, 1937,
        hereby amended to read as follows:                        P. L. 1s,
          Section 604. [Fall] Summer Primary; Officers to Be amended.
                                                              Primary date In
        Nominated.-There shall be a [Fall] Summer primary add-numbered
        preceding each municipal election which shall be held years changed.
        on the [second] third Tuesday of [September] June in
        all odd-numbered years. Candidates for all offices to
        be filled at the ensuing municipal election shall be nomi-
        nated at the [Fall] Summer primary.
           Section 4. Sections nine hundred four,          hundred setions 904.
        five, nine hundred six and subsection  (d) ofnine
                                                       section nine subsecton (d) of
        hundred thirteen of said act are hereby amended to read        98 1ct    of Juno
        as follows:                                                    183, amended.
          Section 904. Municipal Clerks and Party Chairmen             Time for
                                                                       municipal c erkis
        to Furnish Information as to Offices to Be Fillcd.-To          and party chair-
        assist the respective county boards in ascertaining the men       to furnish
                                                                     information
        offices to be filled, it shall be the duty  of the clerks or changed.
        secretaries of the various cities, boroughs, towns, town-
        ships, school districts and poor districts, with the advice
        of their respective solicitors, on or before the [tenth]
        thirteenth Tuesday preceding the [Fall] Summer pri-
        mary, to send to the county boards of their respective
        counties a written notice setting forth all city, borough,
        town, township, school district and poor district offices
        to be filled in their respective subdivisions at the ensuing
        municipal election, and for which candidates are to be
        nominated at the ensuing primary. It shall also be the
        duty of the chairman of the State committee of each
        political party to forward to the Secretary of the Com-
        monwealth and to the respective county boards, on or
        before the [tenth] thirteenth Tuesday preceding the
        Spring primary, a written notice setting forth the num-
        ber of delegates and alternate delegates to the National
        convention of such party who are to be elected in the
        State at large at the ensuing primary, and the number
        of such delegates and alternate delegates who are to be
        elected at said primary in such county, or in any dis-
        trict within such county. or of which it forms a part.
        The said notice shall also set forth the number of mem-
        bers of the National committee, if any, who, under the
        national party rules, are to be elected at the said pri-
        mary in the State at large, and the number of members
        of the State committee to be elected at the said primary
        in such county, or in any district, or part of a district
        within such county. It shall also be the duty of the
        chairman of the county committee and, in cases where a
        city is coextensive with a county, the chairman of the
        city committee of each party, on or before the [tenthi


                               Pa.App.0022
Case: 23-3166          Document: 146           Page: 27         Date Filed: 01/10/2024

                             LAWS OF PENNSYLVANIA,

                   thirteenth Tuesday preceding the Spring primary, to
                   send to the county board of such county a written
                   notice setting forth all party offices to be filled in the
                   county at the ensuing primary.
Time for Secre-        Section 905. Secretary of the Commonwealth to
tary of Core-
monwealth to       Notify County Board of Certain Nominations to Be
notify county
boards of
                   Made.-On or before the rtenthl thirteenft Tuesday pre-
vacancies          eeding each primlry, the Secretary of the Commonwealth
changed.
                   .hall send to the county board of each county a written
                   notice designating all the offices for which candidates arc
                   to be nominated therein, or in any district of which
                   such county forms a part, or in the State at large, at
                   the ensuing primary, and for the nomination to which
                   candidates are required in file nomination petitions in
                   the office of the Secretary of the Commonwealth, inelud-
                   hig that of President of the United States: and shall
                   also in said notice set forth the number of prpsidential
                   electors, United States Senators, Representatives in
                   Congress and State officers. inelding senators, repre-
                   sentatives and judges of courts of record, to be elected
                   at the succeeding November election by a vote of the
                   electors of the State at large, or by a vote of the electors
                   of the county, or of any district therein, or of any dis-
                   trict of which such county forms a part.
'rime for pub-
lication of notice
                       Section 906. Publication of Notice of Officers to Be
of vacancies       Nominated and Elected.-Beginnina not earlier than
changed.
                    Inine] twelve weeks, nor later than reight] eleven weeks
                   before any regular Sprina or [Fall]nIRmmer primary,
                     ie eounty board of each county shall publish in news-
                   papers, as provided by section 106 of this act, a notice
                   setting forth the number of delegates and alternate dele-
                   gates to the National convention of each party who are
                   to be elected in the State at large at the ensuing pri-
                   mary, and the number of delegates and alternate dele-
                   mates who are to he elected at the said primary in said
                   county, or in any district of which said county or part
                   thereof forms a part, and also setting forth the names
                   of all public offices for which nominations are to be
                   mide, anl the names of all party offices, including that
                   of members of the National committee, if any, and State
                   committee, for which candidates are to be elected tit
                   said primary in said county, or in any district of which
                   such county or part thereof forms a part, or in the State
                    t, large. Said notice shall contain the date of the pri-
                   mary, and shall be published once each week for two
                   siiccessive weeks.
 Piling of nomi-       Section 913. (d) All nomination petitions shall be
nation petitions
71 days before     filed at least Ififty (50)] set,venty-one (71) days prior to
 primary.          the primary.


                                    Pa.App.0023
Case: 23-3166       Document: 146          Page: 28        Date Filed: 01/10/2024

                              SESSION OF 1945.
           Section 5. Section nine hundred fifty-three (c) of act  Section 953 (c),
                                                                        of June 3,
        said act is hereby amended to read as follows:             1937, P. L.
           Section 953. (c) All nomination papers must be          1333,   amended.
        filed at least [twenty (20)1 forty-one (41) days prior to nation ofpapers
                                                                     iling     nomi-
                                                                                     41
        the date of the primary election.                          days before
                                                                   primary.
           Section 6. Section nine hundred seventy-eight of said Section 978, ort
        act is hereby amended to read as follows:                  of June 3, 1937,
                                                                   P. L, 1333, as
            Section 978. Withdrawal of Nominated Candidates. amended           by Act
        -Any person who has been nominated by any political No.          3 of May 5,
                                                                   1944, further
        party or political body, in accordance with the provisions amended.
        of this act, as a candidate for the office of presidential Withdrawals
                                                                          105 days
        elector, United States Senator, Representative in Con- filed
                                                                   previous to
                                                                   November
        gress or for any State office, including that of senator, election.
        representative and judge of court of record, may with-
        draw his name from nomination by request in writing,
        signed by him and acknowledged before an officer quali-
        fied to take acknowledgment of deeds, and filed in the
        office of the Secretary of the Commonwealth. Any per-
        son who has been similarly nominated as a candidate for
        any other office may withdraw his name from nomina-
        tion by similar request, filed with the county board of
        elections of the proper county. Such written with-
        drawals shall be filed with the Secretary of the Com-
        monwealth or the county board of elections, as the case
        may be, at least one hundred five days previous to the
        day of the general or municipal election [and at least
        twenty-five days previous to the day of the municipal
        election]. Such withdrawals to be effective must be
        received in the office of the Secretary of the Common-
        wealth not later than five (5) o'clock P. M. on the last
        day for filing same, and in the office of any county board
        of elections not later than the ordinary closing hour of
        said office on the last day for filing same. No name
        so withdrawn shall be printed upon the ballot or ballot
        labels. No candidate may withdraw any withdrawal
        notice already received and filed, and thereby reinstate
        his nomination.
            Section 7. Section nine hundred seventy-eight and Section 978.1.
        one-tenth* of said act, added by the act, approved the act of June 3,
        twenty-seventh day of May, one thousand nine hundred added 1937, P. L. 1333.
                                                                            by act of
        forty-three (Pamphlet Laws, seven hundred forty- May 27, 11143,
                                                                   P. G. 747, as
        seven), is hereby amended to read as follows:              amended by Act
            Section 978.1. Vacancy in Party Nomination by Fail- No.      3 of May 5,
                                                                   1944, further
        ure to Pay Filing Fee.-Every person nominated at any amended.
        primary election as the candidate of any political party Nominees
                                                                   have not paid
                                                                                who
        for any office, who has not paid the filing fee required filing fee sh.I
        by section nine hundred thirteen of this act, as amended, p3y     same 105
                                                                   (lays previous to
        for the filing of a nomination petition for such office, November
        shall pay the amount of such fee to the [State Treas- election.
        urer] Secretary of the Commonwealth, or to the
         [county treasurer] county board of elections as the case
          * "one-tenths" in original.


                                    Pa.App.0024
Case: 23-3166                Document: 146         Page: 29        Date Filed: 01/10/2024
                                  LAWS OF PENNSYLVANIA,
                     may be, at least one hundred five days previous to the
                     day of the general or municipal election [or at least
                     twenty-five days previous to the day of the municipal
                     election] at which such candidate's name would appear
                     on the ballot. Failure to pay such fee within the time
                     herein prescribed shall result in a vacancy in such party
                     nomination. Such vacancy shall be filled in the manner
                     hereinafter provided for the filling of such vacancies
                     happening by reason of the death or withdrawal of any
                     candidate.
seton
act     911 8,(a).
    of June         Section 8. Section nine hundred eighty-one (a) of
1987, P. L. 1333, said act is hereby amended to read as follows:
amended by Act
No. S of May 5,     Section 981. Time for Filing Substituted Nomination
1944, further        Certificates.-
amended.
Substituted           (a) Substituted nomination certificates to fill va-
nomination
tificate to car-
            fill    cancies caused by the withdrawal of candidates nomi-
vacanuiea.            th at
           filed to nated
95 days prior              he primaries
                                 e      or by nomination papers shall be filed
November             with   the Secretary of the Commonwealth or proper
election,            county board of elections, as the case may be, at least
                     ninety-five days before the day of the general or mu-
                     nicipal election [and at least twenty days before the
                     day of the municipal election].
Article XITI of     Section 9. Article Thirteen of said act as amended
aet of June 3,
..1937,
     amended,    is hereby repealed absolutely.
        P. L. 133,
 repealed.          Section 10. Said act is hereby amended by adding
New Article XII! thereto a new Article Thirteen to read as follows:
added to act of
June 3, 1937,                            ARTICLB XIII
P. L. 1333.
                       VOTING BY PERSONS IN ACTUAL MILITARY
                                             SERVICE
Absentee               Section 1,701. Qualified Electors in Actual Military
   actual electors
qualified
in         mIll-                               quzcecco elector in
                      crvice.-Whenever any qualified               actual mili-
                                                                 nauam~-
tary service en-     tary service is absent from his place of residence on any
titled to vote,      day appointed by law for holding a general, municipal
                     or primary election within this Commonwealth, such
                     elector shall be entitled to exercise the right of suffrage
                     as fully as if he were present at his place of election,
                     in the manner prescribed in this act, whether at the
                     time of voting such elector shall be within the limits
                     of this Commonwcalth or not, and regardless of whether
                     such elector is registered or enrolled.
Applications
official       for
         military      Section 1302. Applications for Official Military Bal-
ballots,             lots.-Any qualified elector in actual military service
                     may apply at any time before any election for an official
                     military ballot on Form USVBC Form No. I or any
                     other form supplied by the Federal Government, or by
                     post card, letter or other writing, addressed to the Sec-
                     retary of the Commonwealth of 'ennsylvania or the
                     county board of election of the county wherein the vot-
                     ing residence of the elector is located.


                                         Pa.App.0025
Case: 23-3166      Document: 146          Page: 30        Date Filed: 01/10/2024

                           SESSION OF 1945.
           The application shall contain the following informa- Contents of
        tion: Residence, length of time a citizen, length of resi- application-
        dence in Pennsylvania, date of birth, length of time
        a resident of voting district, voting district, party choice
        in case of primary, name, rank or grade, military ad-
        dress, branch of service and serial number. When such
        application is received by the Secretary of the Common-
        wealth it shall be forwarded to the proper county board
        of election.
                                                                Applications for
          The applicationfor a military ballot in any November November
        election may be made or information supplied over the election.
        signature of any person who is familiar with the voting
        qualifications of the military elector, as required in the
        preceding paragraph.
           The various county boards of election, upon receipt Duty of county
                                                                    bor we
        of any application,shall ascertain from the information ption     hea-ep-
        on such applications,district register or from any other ceved.
        source that such applicant possessed all the qualifications
        of a qualified elector other than being registered or en-
        rolled.
          Section 1303. Official Military Ballots.-Ballots for Form,.prepari.
        use by such military electors under the provisions of tion of official
        this act shall be prepared sufficiently in advance by the military ballots.
        county boards of election and shall be distributed by
        such boards as hereinafter provided. Such ballots shall
        be marked "Official Military Ballot" but shall not be
        numbered and shall otherwise be in substantially the
        form for ballots required by article ten of this act, which
        form shall be determined and prescribed by the Secre-
        tary of the Commonwealth.
           In cases where there is not time, in the opinion of need Candidate's name
                                                                         not appear
        the county boards of election, to print on said ballots on bailot for
        the names of the various candidates for district, county local omces.
        and local offices, the ballots shall contain blauk spaces
        only under the titles of such offices in which electors may
        insert the names of the candidates for whom they de-
        sire to vote, and in such cases the county boards of elec-
        tion shall furnish to electors lists containing the names
        of all the candidates who have been regularly nominated
        under the provisions of this act, for the use of such
        electors in preparing their ballots.
                                                                    rorm of pre-
           Section 1304. Envelopes for Official Military Ballots. envelopes
        -The county boards of election shall provide two addi- scribed by Sec-
        tional envelopes for each official military ballot, of such meathCom
        size and shape as shall be prescribed by the Secretary
        of the Commonwealth, in order to permit the placing of
        one within the other and both within the mailing en-
        velope. On the smaller of the two envelopes to be en-
        closed in the mailing envelope shall be printed, stamped
        or endorsed the words "Official Military Ballot," and
        nothing else. On the larger of the two envelopes, to be

                                Pa.App.0026
Case: 23-3166         Document: 146           Page: 31         Date Filed: 01/10/2024

36                           LAWS OF PENNSYLVANIA,
                  enclosed within the mailing envelope, shall be printed
                  the affidavit of the elector, together with the jurat of
                  the person in whose presence the ballot is marked and
                  before whom the affidavit is made, and the name and
                  address of the county board of election of the proper
                  county. 3aid affidavit, jurat and envelope shall be in
                  the form prescribed by the Secretary of the Common-
                  wealth and shall contain among other things a statement
                  of elector's qualifications. The mailing envelope ad-
                  dressed to the elector shall contain the two envelopes,
                  the official military ballot, lists of candidates, when au-
                  thorized by section 1303 of this act, the uniform instruc-
                  tions in form and substance as prescribed by the Secre-
                  tary of the Commonwealth and nothing else.
Time for mallins     Section 1305. Duties of County Boards.-The county
military ballots. boards of election shall at least thirty-eight
                                                                 days prior to
                  the election deliver or mail official military ballots to all
                  electors whose names and addresses have been ascer-
                  tained;as additional names and addresses of electors are
                  ascertained,the board shall deliver or mail official mili-
                  tary ballots to such additional electors within forty-eight
                  hours after ascertaining their names and addresses.
Posting ot           Each county board of election shall post in a conspicu.
military ale.   ous public place at its office a master list, arranged
                 alphabetically by election districts, setting forth the
                 name, residence and the local voting district or ward of
                 every elector to whom an official military ballot has been
                 sent. This posted list shall not contain the elector's
                 military address or military organization. This list
                 shall be known as the "Military File" and shall be
                 posted at least five days before the election day involved,
                 and shall also set forth the total number of such ballots
                 prepared for use in such election. Copies of such mili-
                 tary files shall be furnished upon request to the county
                 chairman of each political party and political body, and
                 shall also be furnished to registrationcommissions.
Methed of          Section 1306. Voting by Electors in Actual Military
abentee military Service.-At any time after receiving an official military
voting.          ballot, but on or before the day of the election, the
                elector, for the purpose of voting, may appear before
                any commissioned or noncommissioned officer, not be-
                low the rank of sergeant or petty officer third class, of
                the military or naval forces or any member of the Mer-
                chant Marine of the United States designated for the
                purpose by the Administrator of the War Shipping Ad-
                ministration. Such persons are hereby authorized and
                empowered to administer oaths as requiredherein. Such
                elector may also appear before any person of this or
                any other state or territory of the United States author.
                ized to administer oaths. The elector shall first display
                the ballot to such person as evidence that the same is un-


                                    Pa.App.0027
Case: 23-3166       Document: 146            Page: 32    Date Filed: 01/10/2024

                              SESSION OF 1945.
        marked, and then shall proceed to mark the ballot with
        pencil, crayon, indelible pencil or ink, in the presence
        of such person, but in such manner that the person ad-
        ministering the oath is unable to see how the same is
        marked, and then fold the ballot, enclose and securely
        seal the same in the envelope on which is printed,
        stamped or endorsed "Official Military Ballot". This
        envelope shall then be placed in the second one, on which
        is printed the affidavit of the elector, the jurat of the
        person before whom the elector appears, and the ad-
        dress of the elector's county board of election. The
        elector shall then fill out, subscribe and swear to the
        affidavit printed on such envelope, and the jurat shall
        be subscribed and dated by the person before whom
        the affidavit was taken. Such envelope shall then be
        securely sealed and the elector shall send same by mail
        to said county board of election.
          Section 1307. Canvassing of Official Military Ballots. Time and method
        -- The county boards of election, upon receipt of such mlitary bing
                                                                        allot.
        envelopes, shall safely keep the same until they meet to
        canvass official military ballots, which canvass shall be-
        gin immediately following the official civilian canvass
        for all primary elections. After the November election,
        the canvass of official military ballots shall begin at ten
        o'clock A. M., Eastern Standard Time, on the second
        Friday following the election. No such ballots shall
        be counted which are received in their offices later than
        ten o'clock A. M., Eastern Standard Time, of the first
        Tuesday following the primary election, and ten A. M.,
        Eastern Standard Time, of said second Friday follow-
        ing the November election. At such time the members
        of the return boards or the county boards of election
        shall in person dispose of oficial military ballots in the
        manner hereinafter* set forth. The county boards of
        election may designate a sufficient number of clerks to
        perform such duties. When it is determined tT.,'1t clerks
        shall be appointed, the total number shall in every case
        be in multiples of three, and each member of a county
        board of election shall appoint an equal number thereof.
           Each candidate for nomination or election shall be en- Watcher..
        titled to appoint one watcher and each political
        party or body which has nominated candidates shall be
        entitled to appoint three watchers. Watchers shall be
        permitted to be present when the envelopes" contain-
        ing official military ballots are opened and when *
        such ballots are counted and recorded.
           In disposing of an official military ballot the county Dispositlon of
        return board or the county board of election shall      ex- oal t lIetnry
                    affidavit and jurat  and if  the jurat  bears a
        amine the
          * "herinafter" in original.
           * "envelope" In original.
              "then" in original.


                                        Pa.App.0028
Case: 23-3166           Document: 146            Page: 33         Date Filed: 01/10/2024

as                           LAWS OF PENNSYLVANIA,
                    date later than the date of the election, the envelope
                    shall be set aside unopened.
Challenges
rerdstion and  of       The board shall then further exatnine the affidavit and
Toteo,              jurat of each envelope lot so set aside and shall com-
                    pare the inforniatio. thereon" with that contained in the
                    military file. If the board is satisfied that the affidavit
                    and jurat are suflicient and that the elector has qualificd,
                    and the board has utilized the information contained in
                    the military file to verify his right to vote, the board
                    shall announce the name of the elector and shall give any
                    person present an opportunity to challenge in like man-
                     ner and for the same cause, except failure to register or
                     enroll, as the elector could have been challenged had he
                    presented himself in his own district to vote other than
                     by official military ballot. If no challenges are sus-
                     tained, the board shall open the envelope in such man-
                     ner as not to destroy the affidavit and jurat printed
                     thereon. All envelopes on which are printed, stamped
                     or endorsed the words "Official Military Ballot" shall
                     be placed in one or more depositories at one time and
                     said depository or depositories well shaken, and the
                     envelopes mixed before any envelope is taken therefrom.
                     The board shall then break the seals of such envelopes,
                     remove the ballots and record the votes in the same
                     manner as district election officers are required to record
                     votes. Upon completion of the comiputation of the re-
                     turns of the county, the votes cast upon the official mili-
                     tary ballots shall be added to the other votes cast within
                     the county.
 Military ballots,       Section 1308. Public Records.-All official military
 etc., pulcrecords.
        declared     ballots, military files, applications for such ballots  and
                     envelopes on which the jurats and affidavits appear, and
                     all information and lists are herebo designated and
                     declared to be public records and shall be safely kept
                     for a period of two years, except that no information
                     shall be made public which is expressly forbidden by
                      the War Department because of military security.
 cities empowered
 class    of first       Section 11. Cities of the first class and counties are
 to appropriate       hereby authorized and empowered to appropriate the
 money.               moneys necessary to carry out the provisions of this
                      amendment.
 Purpose of act          Section 12. The purpose of this amendment is to
 and liberal con-
 struction.           enable every qualified elector of this Commonwealth in
                      actual military service, as herein defined, during the con-
                      tinuance of the present war find for six months there-
                      after, to vote, notwithstanding the fact that such elector
                      may be absent on election day from the election district
                      in which lie resides, whether su b person is within or
                      without this Commonwealth or within or without the
                      United States, and regardless of whether such person is


                                      Pa.App.0029
Case: 23-3166     Document: 146            Page: 34         Date Filed: 01/10/2024

                            SESSION OF 1945.
         registered or enrolled as a qualified elector, and this
         amendment shall be liberally construed to effectuate such
         purpose.
           Section 13. The following supplements, acts or parts            Acts repealed.
         of acts are hereby repealed absolutely.
           Supplement No. 1, approved the fifth day of May, one            Supplement No.
         thousand nine hundred and forty-four supplementing 1repealed.of May 5, 1944,
                                                          thousand
         the act, approved the third day of June, one
         rnine hundred and thirty-seven (Pamphlet Laws, one
         thousand three hundred thirty-three), known as the
         "Pennsylvania Election Code".
            Act No. 4, approved the fifth day of May, one thou- Act No. 4 of
         sand nine hundred and forty-four, entitled "An act re- May       5, 1944,
                                                                    repealed.
         lating to voting by official military ballot; conferring
         powers and imposing duties upon the State Council of
         Defense, local and district councils of defense, county
         boards of election, election officers and the Secretary of
         the Commonwealth; providing for the promulgation of
         rules, regulations and orders; and providing penalties".
            Section 14. This act shall remain in effect until the Effective   for and
                                                                     present war
         ter.ination of hostilities in the present war, and for six 1 months there-
         mont       ereaftcr. The termination of hostilities in the after.
         preset.' war shall be the time proclaimed as such by the
         President of the United States, or the date specified as
         such in a concurrent resolution of the two houses of
         Congress.
            Section 15. The provisions of this act shall become Act effective
         effective immediately upon final enactment.                immediately.

           APPROVD-The 9th day of March, A. D. 1945.
                                             EDWARD MARTIN


                                    No. 18
                                    AN ACT
         To amend sections three hundred ten and three hundred eleven
          of Article Ill of the act, approved the third day of June, one
           thousand nine hundred and thirty-seven ('nmphlet Laws, one
           thousand two hundred twenty-five), entitled "An act concern-
           ing game anhi other wild birds and wilh animals; and amend-
           ing, revis-ing, consolidating, and changing the law relating
           thereto," by providing for nonthly returns and payments by
           certain issuing agents and requiring that amount of bond of
           issuing agents shall be fixed by Secretary of Revenue.
           The General Assembly of the Commonwealth of Penn- Wild birds and
         sylvania hereby enacts as follows:                     animals.

            Section 1. Sections three hundred ten and three Article 1I.
         hundred eleven of Article 1I1 of the act, approved the sections 310 and
                                                                all, act of June
         third day of June, one thousand nine hundred and 3, 1937, P. L.
         thirty-seven (Pamphlet Laws, one thousand two hundred 1225, amended.
         twenty-five), entitled "An act concerning game and


                                Pa.App.0030
Case: 23-3166       Document: 146         Page: 35     Date Filed: 01/10/2024

     SESSION OF 1968.                            Act Nos. 374-875        1188
    monwealth, subject to the limitations provided in any current capital
    budget, money not exceeding in the aggregate the sum of [twenty.
    four million one hundred seventy thousand dollars ($24,170,000) ]
    twenty-four million two hundred eighty-three thousand six hundred
    ninety dollars ($24,288,690) as may be found necessary to carry out
    the acquisition and construction of transportation assistance projects
    heretofore specifically itemized in a capital budget.
      Section 2. This act shall take effect immediately.

       APPROVED-The 11th day of December, A. D. 1968,
                                                 RAYMOND P. SHAFER.



                                       No. 875
                                       AN ACT

    HB 1908

    Aulnd.nnthe act, of June 3 1937 (P. L. 1833 ), entit led "An ac cncerning
              includinggleneral, municipal,          an primary elections, the
     nomination of can 14ates, primary and glection expenses and election con-
     tests; .reating and detif    memberiDo
     .im!pngl dutlee upon the Wueary     of he.ofCommonwealth,
                                                   county boardscourts,
                                                                 of elections;
                                                                        eounty
     baras of aeetins, co.unty commussoner;, lmpoung penalties for violation
     of the act, andi cotifing, revisng anti consolidating the laws relatinM
     theeto; and repealing etai act and parts of acts relating to elections,
     revisng provislons relating to absentee voting and providing penalties,
      The General Assembly of the Commonwealth of Pennsylvania
    hereby enacts as follows:
      Section 1. Subclause (9) and (10) of clause (w) of section 102,
    act of June 8, 1987 (P. L. 1888), known as the "Pennsylvania Election
    Code," added or amended August 18, 1968 (P. L. 707), are amended,
    and secton 102- is amended by adding after clause (a), z and clause
    (r) ' respectively ,new clauses, to read:
      Section 102. Deftnitions.-The following words, when used in this
    act, shall have the following meanings, unless otherwise clearly ap-
    parent from the context:
      (a. 1) "Canvass" includes gathering the ballots after the election
    and counting, computing and talying the votes,

    1 "and" not in original.
    ' "respectively" not in original
    a"and clause (z-2)" in orignl
                                 Pa.App.0031
Case: 23-3166        Document: 146        Page: 36        Date Filed: 01/10/2024

    1184           Act No. 875                LAWS OF PENNSYLVANIA,

      *    *   *

      (r. 1) "Public institution" means institutions primarily maintained
    by the Federal, State or local governments and includes but is not
    limited to veterans' hospitals and homes, State hospitals, poorhouses
    and county homes.

      (w) The words "qualified absentee elector" shall mean:
       (9) Any qualified war veteran elector who is bedridden or hos-
    pitalized due to llnes or physical disability if he is [unavoidably]
    absent from the Commonwealth or county of his residence and unable
    to attend his polling place because of such illness or physical dis-
    ability regardless of whether he isregistered and enrolled; or
       (10) Any qualified, registered and enrolled elector who expects to
    be or is [unavoidably] absent from the Commonwealth or county of
    his residence because his duties, occupation or business require him
    to be elsewhere during the entire period the polls are open for voting
    on the day of any primary or election; or
      Section 2. Clause (z-2) of section 102 of the act is repealed.
      Section 8. Section 102 of the act, amended August 18, 1968 (P. L.
    707), is amended by adding at the end thereof, a new clause to read:
      I Section 102. Definitions--The following words, when used in this
    act, shall have the following meanings, unless otherwise clearly appar-
    ent from the context:

       (z8) The words "duties, occupation or business" shall include leaves
    of absence for teaching or education, vacations, sabbatical leaves, and
    all other absences associated with the elector's duties, occupation or
    business, and also include an elector's spouse who accompanies the
    elector.
       Section 4. Subsections (I) and (j) of section 1801 of the act,
    amended August 18, 1968 (P. L. 707), are amended to read:
      Section 1801. Qualified Absentee Electors.-The following persons
    shall be entitled to vote by an official absentee ballot in any primary
    or election held in this Commonwealth in the manner hereinafter
    provided:
     "Section 102. Definitiona.-The following words., when used in this act, shall
    have the following meanings wile. otherwise 6rarly apparent from the con-
    text:" not in original.    Pa.App.0032
Case: 23-3166     Document: 146         Page: 37      Date Filed: 01/10/2024
    SESSION OF 1968.                                Act No. 875       1185

      *   0   0
       (i) Any qualified war veteran elector who in bedridden or hos-
    pitalized due to illness or physical disability if he is [unavoidably]
    absent from the Commonwealth or county of his residence and unable
    to attend his polling place because of such illness or physical disability
    regardless of whether he is registered and enrolled; or
       (j) Any qualified registered and enrolled elector who expects to be
    or is [unavoidably] absent from the Commonwealth or county of his
    residence because his duties, occupation or business require him to be
    elsewhere during the entire period the polls are open for voting on
    the day of any primary or election; or
      *   0   *
       Section 5. Subsections (a), (b), (c) and (e) of section 1802 of
    the act, amended August 18, 1988 (P. L. 707), are amended to read:
       Section 1802. Applications for Official Absentee Ballots.-(a) Any
    qualified elector defined in preceding section 1801, subsections (a)
    to (h), inclusive, may apply at any time before any primary or elec-
    tion for any official absentee ballot in person, on [post card applica.
    tion or] any [other] form supplied by the Federal Government, or
    [by post card, letter or other writing,] on any official county board
    of election form addressed to the Secretary of the Commonwealth of
    Pennsylvania or the county board of election of the county in which
    his voting residence is located. An application shall be issued only
    to an elector who appears In person at the office of the county board
    of election and signs for the application, or who, by mail, requests
    an application with a written and signed communication. No more
    than one application for an absentee ballot shall be issued to any
    elector. A copy of the request for the application shall be kept on
    record at the office of the county board of election.
       (b) The application shall contain the following information: Home
    residence at the time of entrance into actual military service or Fed-
    eral employment, length of time a citizen, length of residence in
    Pennsylvania, date of birth, length of time a resident of voting dis-
    trict, voting district if known, party choice in case of primary, name
    and, for a military elector, his [rank or grade,] stateside military
    address, [branch of service] FPO or APO number and serial number.
    Any elector other than a military elector shall in addition specify the
    nature of his employment, the address to which ballot is to be sent,
    relationship where necessary, and such other information as may be
                              Pa.App.0033
Case: 23-3166       Document: 146       Page: 38 Date Filed: 01/10/2024
    1186          Act No. 375             LAWS OF PENNSYLVANIA,

    determined and prescribed by the Secretary of the Commonwealth.
    When such application is received by the Secretary of the Common-
    wealth it shall be forwarded to the proper county board of election.
       (c) The application of any qualified military elector, as defined in
    preceding section 1801 subsection (a), for an official absentee ballot
    in any primary or election may not be made [or information supplied]
    over the signature of any person [who is familiar with the voting
    qualifications of the elector], other than the qualified elector or an
    adult member of his immediate family, as required in the preceding
    subsection.

      (e) Any qualified bedridden or hospitalized veteran [unavoidably]
    absent from the State or county of his residence and unable to attend
    his polling place because of such illness or physical disability, regard-
    less of whether he is registered or enrolled, may apply at any time
    before any primary or election for an official absentee ballot [by post
    card, letter or other writing,] on any official county board of election
    form addressed to the Secretary of the Commonwealth of Pennsyl.
    vania or the county board of elections of the county in which his
    voting residence is located. The request for an application shall be
    in writing, signed and transmitted by mail.
       The application shall contain the following information: Residence
    at the time of becoming bedridden or hospitalized, length of time a
    citizen, length of residence in Pennsylvania, date of birth, length of
    time a resident In voting district, voting district if known, party
    choice In case of primary, name and address of present residence or
    hospital at which hospitalized. When such application is received by
    the Secretary of the Commonwealth, it shall be forwarded to the
    proper county board of elections.
       The application for an official absentee ballot for any primary or
    election [may] shall be made [or] on information supplied over the
    signature [of any person who is familiar with the voting qualifica.
    tions] of the bedridden or hospitalized veteran as required In the pre-
    ceding subsection [ (f) 3. Any qualified registered elector, Including a
    spouse or dependent referred to in subsection 1(1) of section 1801,
    who expects to be or is [unavoidably] absent from the Commonwealth
    or county of his residence because his duties, occupation or business
    require him to be elsewhere on the day of any primary or election
    and any qualified registered elector who is unable to attend his polling
    place on the day of any primary or election because of illness or
    1"(1)" in original.

                                Pa.App.0034
Case: 23-3166 Document: 146             Page: 39       Date Filed: 01/10/2024
    SESSION OF 1"8.                                 Act No. 375          1187

    physical disability and any qualified registered bedridden or hospital.
     ied veteran in the county of residence, may apply to the county
    board of elections of the county in which his voting residence is
    located for an Offlial Absentee Ballot. Such application [or request
    may] shall be made upon an official application form supplied by the
    county board of elections. Such official application form shall be
    determined and prescribed by the Secretary of the Commonwealth
    of nuylvania, A~ application shall be issued only to an elector
    who appear in prson at the office of the count board of election
     ad !!a for the application, or who, by mail, requests an appltca.
    tio with a written and siged communication. A copy of the reuest
    for the application shall be kept on record at the office of the county
    board of elections.
      (1.)   The application of any qualified registered elector, including
    spouse or dependent referred to in subsection 1(1) of section 1,101,
    who expeets to be or is (unavoidably] absent from the Common.
    wealth or county of his residence because his duties, occuptio         or
    bus.s       meuire him to be elsewhere on the day of any primary
    or election, shall be signed by the applicant and shall include the
    surname and christian name or names of the applicant, his occupa.
    tion, date ,of birth, length of time a reuldent in voting district, voting
    dstrict it known, place of residence, post offico address to which
    ballot Is to be mailed, the rason for ' his absent, and such other
    Information as shall make clear to the county bored of elections the
    applicant's right to an official absentes ballot.
       (3) The application of any qualified registered elector who Is un.
    able to attend his polling plu on the day of say primary or election
    because of illness or physical disability and the application of any
    qualified registered bedridden or hoepitallsed veteran In the county
    of residence shall be signed by the applicant and shall include our.
    name and christian name or names of the applicant, his occupation,
    date of birth, residence at the time of becoming bedridden or hos.
    pitaliued, length of time a resident in voting district, voting district
    if known, place of residence, post ofe address to which ballot is
    to be mailed, and such other information as shall make clear to the
    county board of elections the applicant's right to an official ballot.
    In addition, the application of such electors shall include a declara.
    tion stating the nature of their disability or illness, and the name
    of their attending physician, if any, together with a supporting dec-
    I-tL in eftn
      zin Mgr.
    tI"

                               Pa.App.0035
Case: 23-3166 Document: 146                             Page: 40  Date Filed: 01/10/2024
    1188     Act No. 375                                   LAWS OF PENNSYLVANIA,

    laration signed by such attending physician, or, if none, by a regis-
    tered elector unrelated by blood or marriage of the election district
    of the residence of the applicant: Provided, however, That in the
    event any elector entitled to an absentee ballot under this subsection
    be unable to sign his application because of illness or physical dis-
    ability, he shall be excused from signing upon making a statement
    which shall be witnessed by one adult person in substantially the
    following form: I hereby state that I am unable to sign my applica-
    tion for an absentee ballot without assistance because I am unable to
    write by reason of my illness or physical disability. I have made or
    have received assistance in making my mark in lieu of my signature.

              ....        ................................                           (Mark)
                     (Date)
                     .~~~~   '...   O   O   O   O,      ,         ...   ..   .....



                                                               (Signature of Witness)
     (Complete Address of Witness)
    No more than one application for an absentee ballot shall be issued
    to any elector. A copy of the request for the application shall be
    kept on record at the office of the county board of election.
      Section 6. Section 1802 of the act is amended by adding after
   subsection (e), three new subsections to read:
     Section 1802. Applications for Official Absentee I Ballots.-" * *
      (f) The county chairman of each political party or the head of
   each political body shall designate one representative from his re-
    spective political party or body for each public institution. The
    representatives so appointed shall, at the same time on a date fixed
   by the county board of election visit every public institution situate
    in the county for the purpose of obtaining the names and addresses
    of public institution residents who desire to receive applications for
    absentee ballots and to act as an election board as provided in sub-
    section (g) of this section. The list of names and addresses thus
    obtained shall then be submitted by said representatives to the board
    which shall furnish applications individually to those appearing in
    the written request. If the chairman or head of a political party or
    body fails to appoint a representative within fifteen days from written

    I "Ballot" in original.
                                            Pa.App.0036
Case: 23-3166     Document: 146        Page: 41       Date Filed: 01/10/2024
    SMSION or 1968.                                Act No. 875         1139

    notce from the coun     bod of election, the count board of election
    shl !Mt a rpotative from the 1litical RM or body
      (I) The county board of election shall appoint teams of three mem-
    benr for each pblic institution that shall o to the public institutions
    and hold the election on the irst Friday prior to election day.
    member of the board shall appoint one member on ever eam After
    the vto are cast, the toems shall collect the ballots and return them
    to th eount board of election where they shall be placed unopened
    in a secure, safe and seled continer in the custody of the board
    until t    shall be distributed to the e ctive absente voters'
    elto    ditrit as provided in section 1808 of this act where they
    shal be eountol with the other absentee baW t If
      (h) The county board of election shall nUmbX   ncroooia
       od er,
           h apifjtion for an offcia absentee ballot, which number
    shal likew"Isapa on the ofiial absentee ballot for the qualied
    elector. The numbers sh      wa er leibly and in a conspicuou plae
    but beWon the balts ae distributed the number on the ballot sal
    be torn off by the ouny ba of electn. This number infoMatlou
    shall be pportel       inserte   and become a P      of the Lgistered
    Absent" Votors FIle and the M MIiay Veterans ad EMergn
    Civilian Abete Voters File provided in section 1503.8 of this act.
       Section 7. Sections 1803.1, 18o2 and 1S30. of the act, added
    Augst 18, 18 (P. L. 707), are amended to read:
       Sction 1503.1. Date of Application for Absente Baott-
        Applications for absent.. ballots unless otherwise specified shall be
    recived in the office of the county board of elections not earlier than
    fifty (50) days before the primary or election and not later than
    five o'clock P. M. of the first Tuesday prior to the day of any primary
    or election: Provided, however, That in the event any elector other-
    wise qualified who is so physically disabled or ill on or before the
    first Tuesday prior to any primar or election that he is unable to
    file his application or who becomes physically disabled or ill after
    the first Tuesday prior to any primary or election and is unable to
    appear at his polling place or any elector otherwise qualified who
    because of the conduct of his business, duties or occupation will
    neessarily be absent from the State or county of his residence on
    the day of the primary or election, which fact was not and could not
                              Pa.App.0037
Case: 23-3166      Document: 146        Page: 42       Date Filed: 01/10/2024
    1190        Act No. 375                 LAWS OF PENNSYLVANIA,
    reasonably be known to said elector on or before the first Tuesday
    prior to any primary or election, shall be entitled to an absentee
    ballot at any time prior to five o'clock P. M. on the [day first Friday
    preceding any primary or election upon execution of an Emergency
    Application in such form prescribed by the Secretary of the Common-
    wealth.
        In the came of an elector who is physically disabled or ill on or
    before the first Tuesday prior to a primary or election or becomes
    physically disabled or ill after the first Tuesday prior to a primary
    or election, such Emergency Application shall contain a supporting
    affidavit from his attending physician stating that due to physical
    disability or illness said elector was unable to apply for an absentee
    ballot on or before the first Tuesday prior to the primary or election
    or became physically disabled or Ill after that period.
        In the came of an elector who is necessarily absent because of the
    conduct of his business, duties or occupation under the unforeseen
    circumstances specified in this subsection, such Emergency Applica-
    tion shall contain a supporting affidavit from such elector stating that
    because of the conduct of his business, duties or occupation said
    elector will necessarily be absent from the Stat, or county of his resi-
    dence on the day of the primary or election which fact was not and
    could not reasonably be known to said elector on or before the first
    Tuesday prior to the primary or election.
        Section 1802.2. Approval of Application for Absentee Ballot.-
        (a) The county board of elections, upon receipt of any application
    filed by a qualified elector not required to be registered under pre-
    ceding section 1801, shall ascertain from the information on such
    application, district register or from any other source that such appli-
    cant possesses all the qualifications of a qualified elector other than
    being registered or enrolled. If the board is satisfied that the appli-
    cant is qualified to receive an official absentee ballot, the application
    shall be marked approved such approval decision shall be final and
    binding except that challenges may be made only on the ground
    that the applicant did not possess ualifications of an absentee elector.
    Such challenges must be made to the county board of elections prior
    to 5:00 o'clock P. M. on the first Friday prior to the election. When
    so approved, the county board of elections shall cause the applicant's
    name and residence (and at a primary, the party enrollment) to be
    inserted in the Military, Veterans and Emergency Civilians Absentee
    Voters File as provided in section 1302.3, subsection (b): Providing,
    however, That no application of any qualified elector in military
    service shall be rejected for failure to include on his application any
    information if such information may be ascertained within a reason-
    able time by the county board of elections.

                               Pa.App.0038
Case: 23-3166       Document: 146        Page: 43       Date Filed: 01/10/2024
    SESSION OF 19"S.                                 Act No. 375          1191

        (b) The county board of elections, upon receipt of any application
    filed by a qualified elector who isentitled, under the provisions of
    the Permanent Registration Law aj now or hereinafter enacted by
    the General Assembly, to absentee registration prior to or concur.
    rently with the time of voting as provided under preceding section
    1301, shall ascertain from the information on such application or
    from any other source that such applicant possesses all the qualifica-
    tions of a qualified elector. If the board is satisfied that the applicant
    is entitled, under the provisions of the Permanent Registration Law
    a now or hereinafter enacted by the General Assembly, to absentee
    registration prior to or concurrently with the time of voting and
    that the applicant is qualified to receive an official absentee ballot, the
    application shall be marked "approved." Such approval decision shall
    be final and binding except that challenges may be made only on
    the ground that the aplicant did not possess the qualifications of
    an absentee elector prior to or concurrently with the time of voting.
    Such challenrs must be made to the county board of elections prior
    to 6:00 o'clock P. M. on the first Friday prior to the election. When
    so approved, the county board of elections shall cause the applicant's
    name and residence (and I at a primary, the party enrollment) to be
    inserted in the Military, Veterans and Emergency Civilian Absentee
    Voters File as provided in section 1802.8 subsection (b).
       (c) The county board of elections, upon receipt of any application
    of a qualified elector required to be registered under the provisions
    of preceding section 1801, shall determine the qualifications of such
    applicant by comparing the information set forth on such application
    with the information contained on the applicant's permanent regis-
    tration card. If the board is satisfied that the applicant is qualified
    to receive an official absentee ballot, the application shall be marked
    "approved." Such approval decision shall be final and binding, except
    that challenges may be made only on the ground that the applicant
    did not posess the qualifications of an absentee elector. Such chal-
    lenges must be made to the county board of elections prior to 5:00
    o'clock P. M. on the first Friday prior to the election. When so
    approved, the registration commission shall cause [the applicant's
    permanent registration card to be removed from the district register
    and the county board of elections shall cause same to be inserted in
    the Registered Absentee Voters File as provided in section 1302.3
    subsection (a):] an absentee voter's temporary registration card to
    be inserted In the district register on top of and along with the

    I"at" not in original.
                               Pa.App.0039
Case: 23-3166 Document: 146            Page: 44  Date Filed: 01/10/2024
    1192     Act No. 375                  LAWS OF PENNSYLVANIA,

   permanent registration card. The absentee voter's temporary regis-
    tration card shall be in the color and form prescribed in subsection
    (e) of this section:
      Provided, however, That the duties of the county boards of elec-
   tions and the registration commissions with respc.t to the [removal]
   insertion of the [original] absentee voter's temporary registration
   card of any elector from the district register as set forth in section
   [1805] 1802.2 shall include only such applications and emergency
   applications as are received on or before the first Tuesday prior to
   the primary or election. In all cases where applications are received
   after the first Tuesday prior to the primary or election and before
   five o'clock P. M. on the [day] first Friday prior to the primary or
   election, the county board of elections shall determine the qualifica-
   tions of such applicant by comparing the information set forth on
   such application with the information contained on the applicant's
   duplicate registration card on file in the General Register (also re-
   ferred to as the Master File) in the office of the Registration Com-
   mission and shall cause the name and residence (and at primaries,
   the party enrollment) to be inserted in the Military, Veterans and
   Emergency Civilian Absentee Voters File as provided in section
   1802.8, subsection (b). In addition, the [county] local district boards
   of elections shall, upon canvassing the official absentee ballots under
   section 1808, examine the voting check list of the election district
   of said elector's residence and satisfy itself that such elector did not
   cast any ballot other than the one properly issued to him under his
   absentee ballot application. In all cases where the examination of
   the [county] local district board of elections discloses that an elector
   did vote a ballot other than the one properly issued to him under
   the absentee ballot application, the [county] local district board of
   elections shall thereupon cancel said absentee ballot and said elector
   shall be subject to the penalties as hereinafter set forth.
      (d) In the event that any application for an official absentee ballot
   is not approved by the county board of elections, the elector shall be
   notified immediately to that effect with a statement by the county
   board of the reasons for the disapproval.
      (e) The absentee voter's temporary registration card shall be in
   duplicate and the same size as the permanent registration card, in a
   different and contrasting color to the permanent registration card
   and shall contain the absentee voter's name and address and shall
   conspicuously contain the words "Absentee Voter." Such card shall

                             Pa.App.0040
Case: 23-3166     Document: 146        Page: 45       Date Filed: 01/10/2024
     SESSION OF 1968.                              Act No. 375          1193

     also contain the affidavit required by subsection (b) of section 1306.
       Section 1302.3. Absentee Electors Files and Lists.- (a) The
     county board of elections shall maintain at its office a file containing
     the (original] duplicate absentee voter's temporary registration cards
     of every registered elector to whom an absentee ballot has been sent.
     Such [original] duplicate absentee voter's temporary registration
     cards shall be filed by election districts and within each election dis-
     trict in exact alphabetical order and indexed. The registration cards
     so filed shall constitute the Registered Absentee Voters File for the
     Primary or Election of (date of primary or election) and shall be
     kept on file for a period commencing the [Thursday] Tuesday prior
     to the day of the primary or election until the [third Monday] day
    following the primary or election or the day the county board of
    elections certifies the returns of the primary or election, whichever
    date is later. Such file shall be open to public inspection at all times
    subject to reasonable safeguards, rules and regulations.
       (b) The county board of elections shall post in a conspicuous public
    place at its office a master list arranged in alphabetical order by
    election districts setting forth the name and residence, and at pri-
    maries, the party enrollment, of (1) every military elector to whom
    an absentee ballot is being sent, each such name to be prefixed with
    an "M"; (2) every bedridden or hospitalized veteran outside the
    county of his residence who is not registered and to whom an ab-
    sentee ballot is being sent, each such name to be prefixed with a
    "V"; and (8) every registered elector who has filed his application
    for an absentee ballot too late for the extraction of his original regis-
    tration card and to whom a ballot is being sent and every qualified
    elector who has filed his application for an absentee ballot and is
    entitled, under provisions of the Permanent Registration Law as now
    or hereinafter enacted by the General Assembly, to absentee regis-
    tration prior to or concurrently with the time of voting, each such
    name to be prefixed with a "C." This list shall be known as the
    Military, Veterans and Emergency Civilians Absentee Voters File for
    the Primary or Election of (date of primary or election) and shall
    be posted for a period commencing the Tuesday prior to the day of
     the primary or election until the [third Monday] day following the
     primary or election or the day on which the county board of elections
     certifies the returns of the primary or election, whichever date is
     later. Such file shall be open to public inspection at all times subject
     to reasonable safeguards, rules and regulations. This posted list shall
     not contain any military address or references to any military or-
     ganization. Upon written request, the county board shall furnish a
     copy of such list to any candidate or party county chairman.

                              Pa.App.0041
Case: 23-3166     Document: 146         Page: 46 Date Filed: 01/10/2024
    1194        Act No. 375               LAWS OF PENNSYLVANIA,

      (c) Not less than five days preceding the election, the chief clerk
   shall prepare a list for each election district showing the names and
   post office addresses of all voting residents thereof to whom official
   absentee ballots shall have been issued. Each such list shall be pre-
   pared in duplicate, shall be headed "Persons in (give identity of
   election district) to whom absentee ballots have been issued for the
   election of (date of election)," and shall be signed by him not less
   than four days preceding the election. He shall post the original of
   each such list in a conspicuous place in the office of the county elec-
   tion board and see that it is kept so posted until the close of the
   polls on election day. He shall cause the duplicate of each such list
   to be delivered to the judge of election in the election district in the
   same manner and at the same time a' are provided in this act for
   the delivery of other election supplies, and it shall be the duty of
   such judge of election to post such duplicate list in a conspicuous
   place within the polling place of his district and see that it is kept so
   posted throughout the time that the polls are open. Upon written
   request, he shall furnish a copy of such list to any candidate or party
   county chairman.
      Section 8. Sections 1304 and 1306, subsection (b) of section 1807
   and section 1308 of the act, amended August 18, 1963 (P. L. 707),
   are amended to read:
      Section 1304. Envelopes for Official Absentee Ballots.-
      The county boards of election shall provide two additional envelopes
   for each official absentee ballot of such size and shape as shall be
   prescribed by the Secretary of the Commonwealth, in order to permit
   the placing of one within the other and both within the mailing
   envelope. On the smaller of the two envelopes to be enclosed in the
   mailing envelope shall be printed, stamped or endorsed the words
   "Official Absentee Ballot," and nothing else. On the larger of the
   two envelopes, to be enclosed within the mailing envelope, shall be
   printed the form of the declaration of the elector, and the name and
   address of the county board of election of the proper county. The
   larger envelope shall also contain information indicating the local
   election district of the absentee voter. Said form of declaration and
   envelope shall be as prescribed by the Secretary of the Commonwealth

                              Pa.App.0042
Case: 23-3166     Document: 146        Page: 47       Date Filed: 01/10/2024
     SESSION OF 1968.                              Act No. 375          1195

     and shall contain among other things a statement of the elector's
     qualifications, together with a statement that such elector has not
     already voted in such primary or election. The mailing envelope
     addressed to the elector shall contain the two envelopes, the official
     absentee ballot, lists of candidates when authorized by section 1303
     subsection (b) of this act, the uniform instructions in form and sub.
     stance as prescribed by the Secretary of the Commonwealth and
     nothing else: Provided, however, That envelopes for electors qualified
     under preceding section 1301, subsections (a) to (h), inclusive,
     shall have printed across the face of each transmittal or return
     envelope two parallel horizontal red bars, each one-quarter inch
     wide, extending from one side of the envelope to the other side,
     with an intervening space of one-quarter inch, the top bar to be
     one and one-quarter inches from the top of the envelope and with
     the words "Official Election Balloting Material via Air Mail" be-
     tween the bars; that there be printed, in the upper right corner
     of each such envelope in a box, the words "Free of U. S. Postage,
     Including Air Mail ;" that all printing on the face of each such en-
     velope be in red, and that there be printed in red, in the upper left
     corner of each such envelope, the name and address of the county
     board of elections of the proper county or blank lines for return
     address of the sender:
        Provided further, That the aforesaid envelope addressed to the
     elector may contain absentee registration forms tand instructions]
     where required, and shall contain detailed instructions on the pro-
     cedures to be observed in casting an absentee ballot as prescribed
     by the Secretary of the Commonwealth, together with return en-
     velope upon which is printed the name and address of the registra.
     tion commission of the proper county, which envelope shall have
     printed across the face two parallel horizontal red bars, each one.
     quarter inch wide, extending from one side of the envelope to the
     other side, with an intervening space of one-quarter inch, the top
     bar to be one and one-quarter inches from the top of the en-
     velope and with the words "Official Election Balloting Material via
     Air Mail" between the bars; that there be printed in the upper
     right corner of each such envelope in a box the words "Free of
     U. S. Postage, Including Air Mail," and, in the upper left corner
     of each such envelope, blank lines for return address of the sender;
     that all printing on the face of each such envelope be in red.
        Section 1306. Voting by Absentee Electors.-(a) At any time
     after receiving an official absentee ballot, but on or before (the
     day of] five o'clock P. M. on the Friday prior to the primary or
     election, the elector shall, in secret, proceed to mark the ballot
     only in black lead pencil, indelible pencil or blue, black or blue-black
     ink, in fountain pen or ball point pen, and then fold the ballot,
     enclose and securely seal the same in the envelope on which is
                              Pa.App.0043
Case: 23-3166                 Document: 146                         Page: 48                   Date Filed: 01/10/2024
   1196                 Act No. :175                                       LAWS OF PENNSYLVANIA,

   printed, stamped or endorsed "Official Absentee Ballot." This en-
   velope shall then be placed in the second one, on which is printed
   the form of declaration of the elector, and the address of the
   elector's county board of election and the local election district of
   the elector.             The elector shall then fill out, date and sign the
   declaration printed on such envelope. Such envelope shall then be
   securely sealed and the elector shall send same by mail, postage
   prepaid, except where franked, or deliver it in person [or by repre-
   sentative3 to said county board of election:
     Provided, however, That any elector, spouse of the elector or de-
   pendent of the elector, qualified in accordance with the provisions
   of section 1301, subsections (e), (f), (g) and (h) to vote by ab-
   sentee ballot as herein provided, shall be required to include on the
   form of declaration a supporting declaration in form prescribed by
   the Secretary of the Commonwealth, to be signed by the head of
   the department or chief of division or bureau in which the elector
   is employed, setting forth the identity of the elector, spouse of
   the elector or dependent of the elector:
     Provided further, That any elector who has filed his application
   in accordance with section 1302 [, subsection (f)] subsection (e)
   (2), and is unable to sign his declaration because of illness or
   physical disability, shall be excused from signing upon making a
   declaration which shall be witnessed by one adult person in sub-
   stantially the following form: I hereby declare that I am unable
   to sign my declaration for voting my absentee ballot without as.
   sistance because I am unable to write by reason of my illness or
   physical disability. I have made or received assistance in making
   my mark in lieu of my signature.

                                                                          ......................         (M ark)

    .   .   . . . . . o.. . . I . . . . .   . . ,   . ..   . ..   ,. ..

                               (Date)

                                                                                (Signature of Witness)

        (Complete
          ,.
           . . .. . . ... . ... ,. .. , , .. .
                      Address of . Witness)

      (b) In the event that any such elector, excepting an elector in
   military service or any elector unable to go to his polling place
   because of illness or physical disability, entitled to vote an official
   absentee ballot shall be in the county of his residence on the day
   for holding the primary or election for which the ballot was issued,
   or in the event any such elector shall have recovered from his
                                                    Pa.App.0044
Case: 23-3166           Document: 146   Page: 49     Date Filed: 01/10/2024
     SESSION OF 1,968.                             Act No. :175     1197

    illness or physical disability sufficiently to permit him to present
    himself at the proper polling place for the purpose of casting his
    ballot, such absentee ballot cast by such elector shall, [upon chal-
    lenge properly sustained,] be declared void.
       [However, any] Any such elector referred to in this subsection,
    who is within the county of his residence must present himself
    at his polling place and, shall be permitted to vote upon presenting
    himself at his regular polling place in the same manner as he
    could have voted had he not received an absentee ballot: Pro-
    vided, That such elector has first presented himself [before the
    court of common pleas of his county between the hours of seven
    o'clock A. M. and five o'clock P. M. on the day of any primary or
    election and has procured an "Emergency Voting Form" signed
    by the court, which form entitles the elector to vote at his regular
    polling place upon the signing of a voter's certificate: Provided,
    however, That the court may require the surrender of said elector's
    absentee ballot where he has not already voted, which shall there-
    upon be marked "cancelled" by said court and transmitted to the
    county board of elections. In the event such elector has already
    voted, then the court shall direct the county board of elections to
    met such ballot aside unopened.] to the judge of elections in his
    local election district and shall have signed the affidavit on the
    absentee voter's temporary registration card, which affidavit shall
    be in substantially the following form:
      I hereby swear that I am a qualified registered elector who has
    obtained an absentee ballot, however, I am present in the county
    of my residence and physically able to present myself at my poll-
    ing place and therefore request that my absentee ballot be voided.


              (Date)                       (Signature of Elector)
      .o...............*o....



           (Local Judge of Elections)

      An elector who has received an absentee ballot under the
    emergency application provisions of section 1302.1, and for whom,
    therefore, no temporary absentee voter's registration card is in
    the district register, shall sign the aforementioned affidavit in any

                                Pa.App.0045
Case: 23-3166     Document: 146           Page: 50      Date Filed: 01/10/2024
   1198        Act No. 375                   LAWS OF PENNSYLVANIA,

   case, which the local judge of elections shall then cause to be
   inserted In the district register with the elector's permanent
   registration card.
     Section 1807.      Certain Electors Voting in Districts of Residence.-

      (b) Each such application shall be in the form and shall contain
   the information required by this act together with a statement by
   the applicant that he has not already voted in the election.
      The county board of elections shall ascertain from the informa-
   tion on such application or from any other source that such appli-
   cant possesses all the qualifications of a qualified elector other
   than being registered or enrolled. If the board is satisfied that
   the applicant is qualified to receive an official absentee ballot, the
   application shall be marked "Approved," subject to the limitations
   set out in section 1302.2 of this act.          When so approved, the
   county board of elections shall cause the applicant's name and resi-
   dence (and at primaries, the party enrollment) to be inserted
   in the "Military, Veterans and Emergency Civilian Absentee Voters
   File" as provided in section 1302.3 subsection (b).

      Section 1808. Canvassing of Official Absentee Ballots.-
      (a) The county boards of election, upon receipt of official absentee
   ballots in such envelopes, shall safely keep the same in sealed or locked
   containers until they [meet to canvass official absentee ballots,
   which canvass shall begin immediately following the official civilian
   canvass for the primary or November election or the second Friday
   following the primary or November election, whichever date is later.
   Said canvass to commence at ten o'clock A. M., Eastern Standard
   Time. No such ballots shall be counted which are received in their
   offices later than ten o'clock A. M., Eastern Standard Time, of the
   second Friday following the primary election or the November
   election. At such time the members of the return boards or the
   county boards of election shall in person dispose of official ab-
   sentee ballots in the manner hereinafter set forth. The county
   boards of election may designate a sufficient number of clerks to
   perform such duties. When it is determined that clerks shall be
   appointed, the total number shall in every case be in multiples
   of three, and each member of a county board of elections shall
   appoint an equal number thereof.J distribute same to the appropriate
   local election districts in a manner prescribed by the Secretary of
   the Commonwealth.
     The county board of elections shall then distribute the absentee
   ballots, unopened, to the absentee voter's respective election dis-

                                 Pa.App.0046
Case: 23-3166       Document: 146     Page: 51      Date Filed: 01/10/2024
    SESSION OF 1968.                             Act No. 375         1199

    trict concurrently with the distribution of the other election sup-
    plies. Absentee ballots shall be canvassed immediately and con-
    tinuously without interruption until completed after the close of
    the polls on the day of the election in each election district. The
    results of the I canvass of the absentee ballots shall then be in-
    cluded in and returned to the county board with the returns of
    that district. No absentee ballot shall be counted which is received
    in the office of the county board of election later than five o'clock
    P. M. on the Friday immediately preceding the primary or Novem-
    ber election.
       (b) [Each candidate for nomination or election shall be entitled
    to appoint one watcher and each political party or body which has
    nominated candidates shall be entitled to appoint three watchers.J
    Watchers shall be permitted to be present when the envelopes
    containing official absentee ballots are opened and when such ballots
    are counted and recorded.
       [(c) In disposing of an official absentee ballot the county return
    board or the county board of election shall examine the declaration
    and if the same bears a date later than the date of such primary
    or election, the envelope shall be set aside unopened.]
       (d) Whenever it shall appear by due proof that any absentee
    elector who has returned his ballot in accordance with the pro-
    visions of this act has died prior to the opening of the polls on the
    day of the primary or election, the ballot of such deceased elector
    shall be rejected by the canvassers but the counting of the ballot
    of an elector thus deceased shall not of itself invalidate any nomina-
    tion or election.
       (e) [The] At such time the local election board shall then further
    examine the declaration on each envelope not so set aside and
    shall compare the information thereon with that contained in
    the "Registered Absentee Voters File," the absentee voters' list
    and the "Military Veterans and Emergency Civilians Absentee
    Voters File." If the local election board is satisfied that the
    declaration is sufficient [and that the elector has qualified,] and
    [the board has utilized] the information contained in the "Registered
    Absentee Voters File," the absentee voters' list and the "Military
    Veterans and Emergency Civilians Absentee Voters File" [to verify]
    verifies his right to vote, the local election board shall announce

    I "canvas" in original.

                              Pa.App.0047
Case: 23-3166     Document: 146       Page: 52       Date Filed: 01/10/2024
    1200        Act No. 375                LAWS OF PENNSYLVANIA,

    the name of the elector and shall give any watcher present an
    opportunity to challenge [in like manner and for the same cause.
    except the failure of qualified electors set forth in preceding section
    1301, subsections (a) to (i), inclusive, to register or enroll, as the
    elector could have been challenged had he presented himself In his
    own district to vote other than by official absentee ballot: Pro-
    vided further, That any watcher may challenge] any absentee elector
    upon the ground or grounds (1) that the absentee elector is not a
    qualified [absentee] elector: [as defined in this act;] or (2) that
    the absentee elector was within the county of his residence on the
    day of the primary or election during the period the polls were
    open, except where he was in military service or except in the
    case where his ballot was obtained for the reason that he was un-
    able to appear personally at the polling place because of illness
    or physical disability; or (3) that the absentee elector was able
    to appear personally at the polling place on the day of the primary
    or election during the period the polls were open in the case his
    ballot was obtained for the reason that he was unable to appear
    personally at the polling place because of illness or physical dis-
    ability. Upon challenge of any absentee elector, as set forth herein
    the local election board shall mark "challenged" on the envelope
    together with the reason or reasons therefor, and the same shall
    be set aside for return to the county board unopened pending de.
    cision by the county board and shall not be counted. All absentee
    ballots not challenged for any of the reasons provided herein shall
    be counted and included with the general return of paper ballots
    or voting machines, as the case may be as follows.         Thereupon,
    the local election board shall open the envelope of every unchal-
    lenged absentee elector in such manner as not to destroy the
    declaration executed thereon. All of such envelopes on which are
    printed, stamped or endorsed the words "Official Absentee Ballot"
    shall be placed in one or more depositories at one time and said
    depository or depositories well shaken and the envelopes mixed
    before any envelope is taken therefrom. If any of these envelopes
    shall contain any extraneous marks or identifying symbols other
     than the words "Official Absentee Ballot," the envelopes and the
     ballots contained therein shall be set aside and declared void.   The
     local election board shall then break the seals of such envelopes,
     remove the ballots and record the votes in the same manner as
     district election officers are required to record votes. With re-
     spect to the challenged ballots, [the board] they shall be returned

                              Pa.App.0048
Case: 23-3166     Document: 146       Page: 53     Date Filed: 01/10/2024

     -22-ION or 100.                             Act No. 375        1201
    to the county board with the returns of the local election district
    where tbae shall be ple unoned in a secure, safe and sealed
      ontasiner n the custody of the county board until it shall fix a
    th m plAce for a formal hearing of all such challenges and
    sotie 1hUd    be givan where possible to all absentee electors thus
    challnMd and to every attorney, watcher or candidate who mad,
    such challenge. The time for the hearing shall not be later than
      ten (10)] seven ) days after the date of said challenge. On the
    day fixed for said hearing the cUt board shall proceed without
    delay to hoear aid 'challenges and, in hearing the testimony, the
    c        board shall not be bound by technical rules of evidence.
    The testimony presented shall be stenographically recorded and
    nmde part of the record of the hearing. The decision of the
         loard      in upholding or dismissing any 'challenge may be
    reviewed by the court of common pleas of the county upon a
    petn Sled by any person agrieved by the decision of the county
    board, ftch appeal shall be taWn, within two (0) days after such
    decision ha have been made, whether reduced to writing or not,
    to the court of common pleas setting forth the objections to the
     ount board's decision and praying for an order revering same.
    Pending the final determination of all appeals, the cun board
        shWuspend any action in canvasing and computing all chal-
    lenged ballots irrespective of whether or not appeal was taken
    from the c         board's decision. Upon completion of the com.
    puUAon of the returns of the county, the votes cut upon the
    cofficial            absentee ballots shall be added to the other
    votes cast within the county.
        f) a Person cl leni         an application for an absentee ballot
    or an absentee ballot for any of the reasons provided in this act
    shalldPsit the sum of ten dollars (;10.00) in cash with the local
    election board, in cam of challenges made to the local election
    board and with the county board in caes of challenges made to
    the      tunty
                board for which he shall be issued a recelpt for each
    challenge made, which sum shall only be refunded If the chal-
    leng   is sustained or if the chalen      is withdrawn within five

    '"oha!e" in originaL
     S"~e,       in or gins!.
                                Pa.App.0049
Case: 23-3166       Document: 146         Page: 54        Date Filed: 01/10/2024

    1202         Act Nos. 375-376               LAWS OF PENNSYLVANIA,

    (5) days after the primary or election.           If the challenge is dis-
    missed by any lawful order then the deposit shall be forfeited.
    All deposit money received by the local election board shall be
    turned over to the county board simultaneously with the return
    of the challenged ballots.      The county board shall deposit all de-
    posit money in the general fund of the county.
      Notice of the requirements of subsection (b) of section 1306 shall
    be printed on the envelope for the absentee ballot.
      Section 9. The act is amended by adding after section 1330, a
    new section to read:
      Section 1831. Violation of Provisions Relating to Absentee Voting.
    -Any    person who shall violate any of the provisions of this act
    relating to absentee voting shall, unless otherwise provided, be
    subject to the penalties provided for in section 1850 of this act.
      Section 10.    This act shall take effect immediately.

      APPRovED-The 11th day of December, A. D. 1968.
                                                 RAYMOND P. SHAFER.




                                      No. 876
                                     AN ACT

    SB 1086
    Prohibiting the interception and interference of certain police and fire radio
      broadcasts; regulating the manufacture, conversion, sale, possession and
      use of certain equipment adaptable for such purpose and prescribing
      penalties.

      The General Assembly of the Commonwealth of Pennsylvania
    hereby enacts as follows:

       Section 1. Police and Fire Radio Broadcasts.-(a) Police or fire
    radio broadcasts as used herein shall mean broadcasts on frequencies
    from one hundred fifty-four to one hundred fifty-six megacycles and
    four hundred fifty-three to four hundred fifty-nine megacycles only.
       (b) No unauthorized person shall interfere with or broadcast on
    any police or fire radio broadcast. No person shall intercept any such
                               Pa.App.0050
    broadcast for the purpose of aiding himself or others in the perpetra-
     Case:1:22-cv-00339-SPB
     Case  23-3166 Document:  146 Page:
                            Document 121 55    Date Filed:Page
                                         Filed 11/30/22    01/10/2024
                                                               1 of 39




             IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA STATE CONFERENCE OF THE
NAACP, LEAGUE OF WOMEN VOTERS OF
PENNSYLVANIA, PHILADELPHIANS ORGANIZED
TO WITNESS, EMPOWER AND REBUILD,
COMMON CAUSE PENNSYLVANIA, BLACK
POLITICAL EMPOWERMENT PROJECT, MAKE
THE ROAD PENNSYLVANIA, JEAN TERRIZZI,
BARRY M. SEASTEAD, MARJORIE BOYLE,
MARLENE G. GUTIERREZ, DEBORAH DIEHL,
AYNNE MARGARET PLEBAN POLINSKI, JOEL
BENCAN, and LAURENCE M. SMITH,

                      Plaintiffs,
     v.

LEIGH M. CHAPMAN, in her official capacity as
Acting Secretary of the Commonwealth,
ADAMS COUNTY BOARD OF ELECTIONS,
ALLEGHENY COUNTY BOARD OF ELECTIONS,
                                                      Civ. No. 22-339
ARMSTRONG COUNTY BOARD OF ELECTIONS,
BEAVER COUNTY BOARD OF ELECTIONS,
BEDFORD COUNTY BOARD OF ELECTIONS,
BERKS COUNTY BOARD OF ELECTIONS,
BLAIR COUNTY BOARD OF ELECTIONS,
BRADFORD COUNTY BOARD OF ELECTIONS,
BUCKS COUNTY BOARD OF ELECTIONS,
BUTLER COUNTY BOARD OF ELECTIONS,
CAMBRIA COUNTY BOARD OF ELECTIONS,
CAMERON COUNTY BOARD OF ELECTIONS,
CARBON COUNTY BOARD OF ELECTIONS,
CENTRE COUNTY BOARD OF ELECTIONS,
CHESTER COUNTY BOARD OF ELECTIONS,
CLARION COUNTY BOARD OF ELECTIONS,
CLEARFIELD COUNTY BOARD OF ELECTIONS,
CLINTON COUNTY BOARD OF ELECTIONS,
COLUMBIA COUNTY BOARD OF ELECTIONS,
CRAWFORD COUNTY BOARD OF ELECTIONS,
CUMBERLAND COUNTY BOARD OF ELECTIONS,
DAUPHIN COUNTY BOARD OF ELECTIONS,
DELAWARE COUNTY BOARD OF ELECTIONS,
ELK COUNTY BOARD OF ELECTIONS, ERIE



                                    1
                               Pa.App.0051
    Case:1:22-cv-00339-SPB
    Case  23-3166 Document:  146 Page:
                           Document 121 56    Date Filed:Page
                                        Filed 11/30/22    01/10/2024
                                                              2 of 39




COUNTY BOARD OF ELECTIONS,
FAYETTE COUNTY BOARD OF ELECTIONS,
FOREST COUNTY BOARD OF ELECTIONS,
FRANKLIN COUNTY BOARD OF ELECTIONS,
FULTON COUNTY BOARD OF ELECTIONS,
GREENE COUNTY BOARD OF ELECTIONS,
HUNTINGDON COUNTY BOARD OF ELECTIONS,
INDIANA COUNTY BOARD OF ELECTIONS,
JEFFERSON COUNTY BOARD OF ELECTIONS,
JUNIATA COUNTY BOARD OF ELECTIONS,
LACKAWANNA COUNTY BOARD OF ELECTIONS,
LANCASTER COUNTY BOARD OF ELECTIONS,
LAWRENCE COUNTY BOARD OF ELECTIONS,
LEBANON COUNTY BOARD OF ELECTIONS,
LEHIGH COUNTY BOARD OF ELECTIONS,
LUZERNE COUNTY BOARD OF ELECTIONS,
LYCOMING COUNTY BOARD OF ELECTIONS,
MCKEAN COUNTY BOARD OF ELECTIONS,
MERCER COUNTY BOARD OF ELECTIONS,
MIFFLIN COUNTY BOARD OF ELECTIONS,
MONROE COUNTY BOARD OF ELECTIONS,
MONTGOMERY COUNTY BOARD OF ELECTIONS,
MONTOUR COUNTY BOARD OF ELECTIONS,
NORTHAMPTON COUNTY BOARD OF
ELECTIONS, NORTHUMBERLAND COUNTY
BOARD OF ELECTIONS, PERRY COUNTY BOARD
OF ELECTIONS, PHILADELPHIA COUNTY BOARD
OF ELECTIONS, PIKE COUNTY BOARD OF
ELECTIONS, POTTER COUNTY BOARD OF
ELECTIONS, SCHUYLKILL COUNTY BOARD OF
ELECTIONS, SNYDER COUNTY BOARD OF
ELECTIONS, SOMERSET COUNTY BOARD OF
ELECTIONS, SULLIVAN COUNTY BOARD OF
ELECTIONS, SUSQUEHANNA COUNTY BOARD
OF ELECTIONS, TIOGA COUNTY BOARD OF
ELECTIONS, UNION COUNTY BOARD OF
ELECTIONS, VENANGO COUNTY BOARD OF
ELECTIONS, WARREN COUNTY BOARD OF
ELECTIONS, WASHINGTON COUNTY BOARD OF
ELECTIONS, WAYNE COUNTY BOARD OF
ELECTIONS, WESTMORELAND COUNTY BOARD
OF ELECTIONS, WYOMING COUNTY BOARD OF




                                   2
                             Pa.App.0052
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 121 57    Date Filed:Page
                                           Filed 11/30/22    01/10/2024
                                                                 3 of 39




ELECTIONS, and YORK COUNTY BOARD OF
ELECTIONS,

                          Defendants.


                       AMENDED COMPLAINT
              FOR DECLARATORY AND INJUNCTIVE RELIEF

                                 INTRODUCTION

      1.     Plaintiffs—nonpartisan organizations dedicated to promoting American

democracy and the participation of Pennsylvania voters in our shared civic

enterprise, and a bipartisan group of Pennsylvania voters, ages 64 through 95, all of

whom cast mail ballots in the 2022 election—bring this Complaint for declaratory

and injunctive relief pursuant to 42 U.S.C. § 1983 and 52 U.S.C. § 10101 to ensure

that qualified Pennsylvania voters are not disenfranchised based on an immaterial

paperwork error.

      2.     Defendants, Pennsylvania’s Acting Secretary of the Commonwealth and

the 67 Pennsylvania county boards of elections, will not count thousands of timely-

received mail ballots submitted for the November 2022 election and future elections

by otherwise qualified voters based on a meaningless technicality—that the ballots

are missing a handwritten date next to their signature on the return envelope, or

because the handwritten date is somehow “wrong.” This refusal to count timely mail

ballots submitted by otherwise eligible voters because of a trivial paperwork error

violates the Materiality Provision of the Civil Rights Act, which makes it unlawful to

deny the right to vote based on an “error or omission” on a voting-related “record or

paper” that is “not material in determining whether [a voter] is qualified under State



                                          3
                                   Pa.App.0053
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 121 58    Date Filed:Page
                                           Filed 11/30/22    01/10/2024
                                                                 4 of 39




law to vote in [the] election.” 52 U.S.C. § 10101(a)(2)(B). Because mail ballots in

Pennsylvania may, under state law, be completed at “any time,” and because their

timeliness is determined by when a local county board of elections receives and date-

stamps the ballot, the presence or absence of a handwritten date on the envelope is

utterly immaterial to determining whether the ballot was timely received, much less

to assessing a voter’s qualifications. See Migliori v. Cohen, 36 F.4th 153, 164 (3d Cir.),

vacated as moot, No. 22-30, 2022 WL 6571686 (U.S. Oct. 11, 2022).

      3.     In addition to the Materiality Provision, Defendants’ refusal to count

timely-received mail ballots based on an immaterial paperwork error also violates the

Equal Protection Clause of the Fourteenth Amendment because it imposes arbitrary

distinctions between different mail ballot voters that are unsupported by any

legitimate government interest (let alone a compelling one).

      4.     The Plaintiff organizations represent the interests of their combined

thousands of members. Many of the Plaintiff organizations’ members are qualified

and registered Pennsylvania voters who timely voted by mail-in ballot, some of whom

were or will be directly affected by Defendants’ enforcement of the immaterial

envelope-date rule in 2022 as well as future elections. The Plaintiff organizations’

expansive get-out-the-vote and voter education efforts are also burdened, even

undermined, by hyper-technical rules that disenfranchise thousands of Pennsylvania

voters based on an inconsequential paperwork error.

      5.     As for the individual voter Plaintiffs, they seek to vindicate their

fundamental right to vote, which includes having their votes for federal, state, and




                                            4
                                     Pa.App.0054
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 121 59    Date Filed:Page
                                           Filed 11/30/22    01/10/2024
                                                                 5 of 39




local offices counted. The individual Plaintiffs, all of whom were disenfranchised by

Defendants’ actions, care deeply about their right to vote for numerous reasons,

including ensuring representation for themselves and their families, and making

themselves heard on the issues that matter to them.

      6.     Absent declaratory and injunctive relief from this court, the individual

voter plaintiffs and the organizational plaintiffs and their members will suffer

irreparable harm.

                          JURISDICTION AND VENUE

      7.     Plaintiffs bring this civil rights action pursuant to 42 U.S.C. § 1983 to

enforce the rights guaranteed by 52 U.S.C. § 10101 and the Fourteenth Amendment.

Alternatively, Plaintiffs bring suit directly under Section 10101 via the implied right

of action contained within 52 U.S.C. § 10101.

      8.     This Court has subject matter jurisdiction over this action pursuant to

28 U.S.C. §§ 1331 (federal question jurisdiction) and 1343 (civil rights cases).

      9.     Declaratory relief is authorized by Rule 57 of the Federal Rules of Civil

Procedure and 28 U.S.C. §§ 2201 and 2202.

      10.    Venue in this district is proper under 28 U.S.C. § 1391 because a

substantial part of the events giving rise to the claims occurred in this district and

several Defendants conduct business in this district. And venue in the Erie Division

is appropriate because the Defendants include the boards of elections in Crawford,

Elk, Erie, Forest, McKean, Venango, and Warren Counties, and the Plaintiffs include




                                           5
                                    Pa.App.0055
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 121 60    Date Filed:Page
                                           Filed 11/30/22    01/10/2024
                                                                 6 of 39




organizations with members in those counties as well as individual voters who vote

in Crawford and Warren counties. See W.D. Pa. LCvR 3.

                                      PARTIES

      11.    The Pennsylvania State Conference of the NAACP (“the State

Conference”) is a non-profit, non-partisan organization that works to improve the

political, educational, social, and economic status of African-Americans and other

racial and ethnic minorities, to eliminate racial prejudice, and to take lawful action

to secure the elimination of racial discrimination, among other objectives. The State

Conference has thousands of members who live and/or work in Pennsylvania, many

of whom are registered to vote in Pennsylvania and are at risk of disenfranchisement

if Defendants fail to count timely-submitted mail-in ballots based solely on a missing

or incorrect date on the return envelope.

      12.    The State Conference advocates for civil rights, including voting rights,

for Black Americans, both nationally and in Pennsylvania. Every election cycle, the

State Conference engages in efforts to get out the vote, including by educating Black

voters in Pennsylvania on different methods of voting, providing educational guides

on local candidates to increase voter engagement, and focusing on strategies to

eliminate Black voter suppression both nationally and in Pennsylvania.

      13.    Defendants’ failure to count timely-submitted mail-in ballots based

solely on a missing or incorrect date on the return envelope will disenfranchise

potentially thousands of voters, directly affecting the State Conference’s members

and interfering with its ability to carry out its mission of increasing voter turnout and




                                            6
                                    Pa.App.0056
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 121 61    Date Filed:Page
                                           Filed 11/30/22    01/10/2024
                                                                 7 of 39




participation. Defendants’ failure to count such ballots also has caused and will cause

the State Conference to divert resources in this and future elections from its existing

voter education and mobilization efforts towards investigating and educating voters

about any available cure processes or to advocate that new processes be developed to

ensure that voters who are eligible and registered and who submitted their ballots on

time are not disenfranchised by a trivial paperwork mistake.

      14.    The League of Women Voters of Pennsylvania (“the League”) is a

nonpartisan statewide non-profit formed in 1920. The League and its members are

dedicated to helping the people of Pennsylvania exercise their right to vote, as

protected by the law. The League has 2,500 members across Pennsylvania, including

in Crawford, Elk, Erie, Forest, McKean, Venango, and Warren Counties. Members of

the League are registered voters in Pennsylvania who regularly vote in state and

federal elections, including by mail or absentee ballot. The League’s members are at

risk of disenfranchisement if Defendants fail to count ballots based solely on a

missing or incorrect handwritten date on the return envelope.

      15.    The League’s mission includes voter registration, education, and get-

out-the-vote drives. The League conducts voter-registration drives, staffs nonpartisan

voter-registration   tables,   educates   incarcerated   and   formerly   incarcerated

individuals about their voting rights, and works with local high schools to register

new 18-year-old voters. It also maintains an online database called VOTE411, a

nonpartisan and free digital voter resource with information available in both




                                           7
                                    Pa.App.0057
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 121 62    Date Filed:Page
                                           Filed 11/30/22    01/10/2024
                                                                 8 of 39




English and Spanish, including voter guides, candidate information, polling rules and

locations, and more.

      16.    Defendants’ failure to count timely-submitted mail-in ballots based

solely on a missing or incorrect date on the return envelope will disenfranchise

potentially thousands of voters, thus directly affecting the League’s members and

interfering with the League’s ability to carry out its mission of increasing voter

turnout and participation. And both now and especially in future elections, the

Defendants’ enforcement of the immaterial envelope-date rule has caused and will

cause the League to divert resources from its existing voter-mobilization and

education efforts towards identifying voters who neglected to write the date on the

return envelope, educating voters about any available cure processes, and advocating

for new cure processes to be developed in real time at the county level. For future

elections, the League will be forced to dedicate resources to educating voters about

strict compliance with hyper-technical rules of Pennsylvania election law so that

voters are not disenfranchised over trivial and immaterial paperwork errors.

      17.    Philadelphians    Organized       to   Witness,   Empower   and   Rebuild

(“POWER”) is a Pennsylvania nonprofit founded in 2011 to advance concrete policy

changes to transform and strengthen communities. POWER is an organization of

more than 100 congregations of various faith traditions, cultures and neighborhoods

committed to racial and economic justice on a livable planet. One of its five priority

areas is civic engagement and organizing communities so that the voices of all faiths,

races and income levels are counted and have a say in government.




                                           8
                                   Pa.App.0058
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 121 63    Date Filed:Page
                                           Filed 11/30/22    01/10/2024
                                                                 9 of 39




      18.    POWER engages directly with people who live in the communities that

its member congregations serve. Its civic engagement efforts include voter education

programs, voter registration drives, information about applying for mail ballots,

completing them properly and returning them on time, and “Souls to the Polls” efforts

to encourage congregants to vote. In the 2020 election cycle, POWER contacted more

than 700,000 voters and plans to reach a similar number in 2022.

      19.    In the three weeks leading up to this November’s election, POWER

launched a three-week bus tour to promote a vision for building a community in

Pennsylvania rooted in inclusivity, diversity and justice. The bus tour scheduled

numerous events, including voter registration canvasses and voter education

programs that provide information on mail voting.

      20.    Because of Defendants’ failure to count timely-submitted mail-in ballots

based solely on a missing or incorrect date on the return envelope, POWER must

divert its limited resources to re-contacting voters to make sure they dated their

ballots. Refusing to count votes based on immaterial paperwork errors has a

suppressive effect on the communities POWER serves by erecting yet another

roadblock preventing them from voting and having their votes counted. In this, as

well as future elections, the Defendants’ enforcement of the immaterial envelope-date

rule has caused and will cause POWER to divert resources from its existing voter-

mobilization and education efforts towards counteracting the disenfranchising effects

of the strict enforcement of the envelope-date requirement.




                                         9
                                   Pa.App.0059
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     64 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 10 of 39




      21.    Common Cause Pennsylvania (“Common Cause”) is a non-profit political

advocacy organization and a chapter of the national Common Cause organization.

Common Cause has approximately 36,000 members and supporters in Pennsylvania.

These members live in all 67 counties of Pennsylvania, and many members are

registered voters in Pennsylvania who are at risk of disenfranchisement if

Defendants fail to count timely-submitted mail-in ballots based solely on a missing

or incorrect date on the return envelope.

      22.    Common Cause seeks to increase the level of voter registration and voter

participation in Pennsylvania elections, especially in communities that are

historically underserved and whose populations have a low propensity for voting.

Many of these communities are communities of color.

      23.    In preparation for the statewide election, Common Cause mobilizes

hundreds of volunteers to help fellow Pennsylvanians navigate the voting process and

cast their votes without obstruction, confusion, or intimidation. Common Cause leads

the nonpartisan Election Protection volunteer program, which aims to ensure voters

have access to the ballot box, provide voters with necessary voting information and

answer their questions, quickly identify and correct any problems at polling places,

and gather information to identify potential barriers to voting. Because of

Defendants’ refusal to count timely-submitted mail-in ballots based solely on a

missing or incorrect date on the return envelope, in this and future elections Common

Cause was required and will be required to divert resources from its existing efforts

towards educating voters about the drastic consequences of failing to comply with a




                                            10
                                   Pa.App.0060
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     65 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 11 of 39




trivial paperwork requirement that was previously understood (including by a panel

of federal judges) to be superfluous, and about any available cure processes to prevent

the disenfranchisement of its members and other Pennsylvania voters.

      24.    Black Political Empowerment Project (“B-PEP”) is a non-profit, non-

partisan organization that has worked since 1986 to ensure that the Pittsburgh

African-American community votes in every election. B-PEP has numerous

supporters, of various ages and races, throughout the Pittsburgh Region, working

with numerous community organizations to empower Black and brown communities.

      25.    During every election cycle, B-PEP’s work includes voter registration

drives, get-out-the-vote activities, education and outreach about the voting process,

and election-protection work. B-PEP focuses these activities in predominantly Black

neighborhoods in Allegheny County, with some efforts in Westmoreland and

Washington Counties. In preparation for the November 8, 2022, election, B-PEP’s

work has included educating its members and voters in predominantly Black

communities about the importance of voting, and about how to vote, either in person

or by mail. B-PEP’s members include many older voters, who are at particularly high

risk of having their ballots disqualified for minor errors, such as omitting the date on

the mail-in-ballot-return envelope. B-PEP has an interest in preventing the

disenfranchisement of eligible voters who seek to have their votes counted.

      26.    Make the Road Pennsylvania (“Make the Road PA”) is a not-for-profit,

member-led organization formed in 2014 that builds the power of the working-class

in Latino and other communities to achieve dignity and justice through organizing,




                                          11
                                    Pa.App.0061
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     66 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 12 of 39




policy innovation, and education services. Make the Road PA’s more than 10,000

members are primarily working-class residents of Pennsylvania, many in

underserved communities. Many members of Make the Road PA are registered voters

in Pennsylvania and are at risk of disenfranchisement if Defendants fail to count

timely-submitted mail-in ballots based solely on a missing or incorrect date on the

return envelope.

      27.   Make the Road PA’s work includes voter protection, voter advocacy and

voter education on, for example, how to register to vote, how to apply for mail-

in/absentee ballots, how to return mail-in/absentee ballots, and where to vote. Make

the Road PA has run active programs to register voters in historically underserved

communities of color, especially in Berks, Bucks, Lehigh, Northampton and

Philadelphia Counties.

      28.   Defendants’ failure to count timely-submitted mail-in ballots based

solely on a missing or incorrect date on the return envelope will disenfranchise

potentially thousands of voters, thus directly affecting Make the Road PA’s members

and interfering with Make the Road’s ability to carry out its mission of increasing

voter turnout and participation. Indeed, because Make the Road PA’s efforts are

focused on communities where some voters are not native English speakers, the risk

that some voters may make a minor paperwork mistake in filling out various forms

related to mail or absentee ballot voting is heightened. For example, if a voter

followed the date sequencing convention used by many other countries, they may

have transposed the day before the month in dating their outer return envelope—




                                        12
                                  Pa.App.0062
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     67 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 13 of 39




and, on information and belief, that would constitute an “incorrect” date under

Defendants’ standards. Defendants’ failure to count timely-submitted mail-in ballots

based solely on a missing or incorrect date on the return envelope in this and future

elections also has caused and will cause Make the Road PA to divert resources from

its existing efforts towards focusing voters on trivial, technical mail ballot rules and

towards investigating and educating voters about any available cure processes that

might be available for the thousands who will invariably be disenfranchised by a

trivial paperwork mistake under Defendants’ current policy.

      29.    Jean Terrizzi is a Philadelphia voter facing disenfranchisement by

Defendants solely because her timely-received mail ballot purportedly lacks a date

next to the signature on the outer return envelope. Jean Terrizzi is 95 years old and

has lived on the same block in Philadelphia for her entire life. She is qualified to vote

in Pennsylvania, has been voting regularly in Philadelphia for decades, and has been

voting by mail for the past few years. For the November 8, 2022 election, Terrizzi

properly requested a mail-in ballot, marked her ballot, and inserted it into the secrecy

envelope and then into an outer envelope on which she signed the declaration.

Terrizzi believed she had followed all of the instructions and returned her mail ballot

weeks before Election Day. She does not have an email address and did not receive

any notification from Defendants that there was any problem with her ballot. She

learned on the Sunday before Election Day, after being contacted by a reporter, that

her ballot would not be counted. She is physically immobile and was not able to

attempt to cure by voting provisionally in person. Voting is important to Terrizzi




                                           13
                                    Pa.App.0063
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     68 11/30/22
                                        121 Filed Date Filed:Page
                                                              01/10/2024
                                                                  14 of 39




because she wants to elect leaders who will support her children, grandchildren, and

great-grandchildren living in the Philadelphia area, and she wants her vote for

federal and state offices to count in this election. A true and correct copy of Terrizzi’s

declaration is attached as Ex. A.

      30.    Barry M. Seastead is a Warren County voter facing disenfranchisement

by Defendants solely because his timely-received mail ballot has a purportedly-

incorrect date next to the signature on the outer return envelope. Seastead is a 68-

year-old retired welder. He has been a registered voter in Warren County for decades,

ever since he was legally eligible to vote. He votes regularly, and has been voting by

mail for the past few years. For the November 8, 2022 election, Seastead properly

requested a mail-in ballot, marked his ballot, and inserted it into the secrecy envelope

and then into an outer envelope on which he signed the declaration. Seastead also

believes he wrote the date on which he filled out the ballot, and he is unaware of why

the Warren County Board of Elections rejected the date he wrote as “incorrect.”

Because Warren County did not provide him with any notice of its determination that

the date he wrote was incorrect, he had no opportunity to cure any defect regarding

the date on his outer return envelope prior to Election Day and only learned after

Election Day that his vote was not counted. Voting is important to Seastead because

he is the grandson of an immigrant and believes that voting is the foundation of this

country, and he wants his vote for federal and state offices to count in this election.

A true and correct copy of Seastead’s declaration is attached as Ex. B.




                                           14
                                     Pa.App.0064
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     69 11/30/22
                                        121 Filed Date Filed:Page
                                                              01/10/2024
                                                                  15 of 39




      31.    Marjorie Boyle is a Crawford County voter facing disenfranchisement

by Defendants solely because her timely-received mail ballot has a missing or

purportedly-incorrect date next to the signature on the outer return envelope. Boyle

is 76 years old. Before her retirement, she performed clerical work assisting with

subsidized housing applications. Boyle is a qualified voter who has been registered to

vote in Crawford County since moving there in 2006. For the November 8, 2022

election, Boyle properly requested a mail-in ballot, marked her ballot, and inserted it

into the secrecy envelope and then into an outer envelope on which she signed the

declaration. She read all the instructions and recalls writing a date while completing

her ballot, and she believed she had completed all of the requisite steps. Because

Crawford County did not provide her with any notice of the missing date, she had no

opportunity to cure any defect regarding the date on her outer return envelope prior

to Election Day and only learned after Election Day that her vote was not counted.

Voting is important to Boyle because she believes voting allows her to stand up for

her rights and issues that are important to her, and she wants her vote for federal

and state offices to count in this election. A true and correct copy of Boyle’s declaration

is attached as Ex. C.

      32.    Marlene G. Gutierrez is a York County voter facing disenfranchisement

by Defendants solely because her timely-received mail ballot lacks a date next to the

signature on the outer return envelope. Gutierrez is 64 years old. She works as a

corporate travel agent. She first registered to vote in York County when she was 18

years old, and after residing elsewhere for several years, she most recently registered




                                            15
                                     Pa.App.0065
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     70 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 16 of 39




to vote in York County when she moved back in September 2020. She has been

regularly voting by mail for at least twenty years. For the November 8, 2022 election,

Gutierrez properly requested a mail-in ballot, marked her ballot, and inserted it into

the secrecy envelope and then into an outer envelope on which she signed the

declaration. Gutierrez believed she had followed all of the instructions but learned on

Election Day that her ballot would not be counted, and she did not have time to cure

her ballot. Voting is important to Gutierrez because she wants her preferred political

party to represent her, and she wants her vote for federal and state offices to count

in this election. A true and correct copy of Gutierrez’s declaration is attached as Ex.

D.

      33.    Deborah Diehl is a York County voter facing disenfranchisement by

Defendants solely because her timely-received mail ballot has a missing or

purportedly-incorrect date next to the signature on the outer return envelope. Diehl

is 67 years old. She is a retired nurse. Diehl is a qualified voter who participates

regularly in elections: she has been registered to vote in York County for 23 years,

and has been a registered Pennsylvania voter since she was 18 years old. She has

been voting by mail since 2018 because of a disability. For the November 8, 2022

election, Diehl properly requested a mail-in ballot, marked her ballot, and inserted it

into the secrecy envelope and then into an outer envelope on which she signed the

declaration. Because York County did not provide her with any notice of the missing

date, she had no opportunity to cure any defect regarding the date on her outer return

envelope prior to Election Day and only learned after Election Day that her vote was




                                          16
                                   Pa.App.0066
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     71 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 17 of 39




not counted. Voting is important to Diehl because she strongly believes in exercising

her constitutional right to vote and she wants her vote for federal and state offices to

count in this election. A true and correct copy of Diehl’s declaration is attached as Ex.

E.

      34.    Aynne Margaret Pleban Polinski is a York County voter who is facing

disenfranchisement by Defendants solely because her timely-received mail ballot

lacks a date next to the signature on the outer return envelope. Polinski is 71 years

old. She is a retired art educator, art therapist, and professional artist. Polinski is a

qualified voter who participates regularly in elections: she has been a registered voter

in York County since 2016 and a registered voter in the Commonwealth of

Pennsylvania since she was 18 years old. Polinski has been voting by mail since the

June 2020 presidential primary because of the COVID-19 pandemic. For the

November 8, 2022 election, Polinski properly requested a mail-in ballot, marked her

ballot, and inserted it into the secrecy envelope and then into an outer envelope on

which she signed the declaration. Because York County did not provide her with any

notice of the missing date, she had no opportunity to cure any defect regarding the

date on her outer return envelope prior to Election Day and only learned after

Election Day that her vote was not counted. Voting is important to Polinski because

she believes everyone has a right to support their preferred candidate and policies,

and she wants her vote for federal and state offices to count in this election. A true

and correct copy of Polinski’s declaration is attached as Ex. F.




                                           17
                                    Pa.App.0067
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     72 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 18 of 39




      35.    Joel Bencan is a Montgomery County voter facing disenfranchisement

by Defendants solely because his timely-received mail ballot has a purportedly-

incorrect date next to the signature on the outer return envelope. Bencan is 71 years

old. He is a retired pharmacist. He has been a registered voter for decades and has

participated regularly in elections since the Nixon Administration. Bencan began

voting by mail in 2020 because of the COVID-19 pandemic and has continued since

then to vote by mail. For the November 8, 2022 election, Bencan properly requested

a mail-in ballot, marked his ballot, and inserted it into the secrecy envelope and then

into an outer envelope on which he signed the declaration. Bencan also recalls writing

the date on which he filled out the ballot, and he is unaware of why the Montgomery

County Board of Elections rejected the date he wrote as “incorrect.” Because

Montgomery County did not provide him with any notice of its determination that

the date he wrote was incorrect, he had no opportunity to cure any defect regarding

the date on his outer return envelope prior to Election Day. Voting is important to

Bencan because he believes each individual vote can make a difference, and he wants

his vote for federal and state offices to count in this election. A true and correct copy

of Bencan’s declaration is attached as Ex. G.

      36.    Laurence M. Smith is a Montgomery County voter who is facing

disenfranchisement by Defendants solely because his timely-received mail ballot has

a missing or purportedly-incorrect date next to the signature on the outer return

envelope. Smith is 78 years old. Before his retirement, he worked as an entrepreneur

in the medical services industry. He has been a registered voter for decades, and he




                                           18
                                    Pa.App.0068
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     73 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 19 of 39




has been voting regularly in Montgomery County since moving there in 1991,

including voting by mail since 2020. For the November 8, 2022 election, Smith

properly requested a mail-in ballot, marked his ballot, and inserted it into the secrecy

envelope and then into an outer envelope on which he signed the declaration. Smith

believed he had followed all of the necessary steps to complete the declaration, and

he is unaware of what the Montgomery County Board of Elections concluded was

wrong with the date form. Because Montgomery County did not provide him with any

notice of its determination about the date form on his outer return envelope, he had

no opportunity to cure any defect prior to Election Day. Voting is important to Smith

because Smith is concerned with the increasing polarization across the country, and

he wants his vote for federal and state offices to count in this election. A true and

correct copy of Smith’s declaration is attached as Ex. H.

      37.    Defendant Acting Secretary Leigh Chapman has the duty “[t]o receive

from county boards of elections the returns of primaries and elections, to canvass and

compute the votes cast for candidates and upon [ballot] questions as required by the

provisions of this act; to proclaim the results of such primaries and elections, and to

issue certificates of election to the successful candidates at such elections.” 25 Pa.

Stat. § 2621(f). Defendant Acting Secretary Chapman has issued guidance to county

boards of elections that timely-submitted mail-in ballots that are determined to have

a missing or incorrect date on the return envelope must be segregated and excluded

from tabulation for the 2022 election.




                                          19
                                    Pa.App.0069
         Case:1:22-cv-00339-SPB
        Case    23-3166 Document: 146 Page:
                                Document     74 11/30/22
                                         121 Filed Date Filed:Page
                                                               01/10/2024
                                                                   20 of 39




        38.     Defendant County Boards of Elections are county-level executive

agencies established under the Pennsylvania Election Code with jurisdiction over the

conduct of primaries and elections in each of their respective counties. See 25 Pa.

Stat. Ann. § 2641. Each elections board Defendant manages all aspects of elections in

its respective county. Id. Their authority includes canvassing and computing the

votes cast in each county’s election districts and then certifying the results of each

race to Pennsylvania’s Secretary of the Commonwealth. See 25 Pa. Stat. Ann. § 2642.

                                        FACTS

   A.         Pennsylvania’s Mail Ballot Rules

        39.     Pennsylvania has long provided absentee-ballot options for voters who

cannot attend a polling place on election day. See 25 P.S. § 3146.1–3146.9. In 2019,

Pennsylvania enacted new mail-in voting provisions, which allow all registered,

eligible voters to vote by mail. Act of Oct. 31, 2019, P.L. 552, No. 77, § 8.

        40.     A voter seeking to vote by mail must complete an application and have

their identity and qualifications verified. The voter must provide their name, address,

and proof of identification to their county board of elections. 25 P.S. §§ 3146.2,

3150.12. Such proof of identification may include, among other things, a

Pennsylvania driver’s license number or the last four digits of the voter’s social

security number. 25 P.S. § 2602(z.5)(3). As part of the application process, voters

provide all the information necessary for county boards of elections to verify that they

are qualified to vote in Pennsylvania—namely, that they are at least 18 years old,

have been a U.S. citizen for at least one month, have resided in the election district




                                           20
                                     Pa.App.0070
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     75 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 21 of 39




for at least 30 days, and are not incarcerated on a felony conviction. 25 Pa. C.S.

§ 1301.

      41.    After the application is submitted, the county board of elections confirms

applicants’ qualifications by verifying their proof of identification and comparing the

information on the application with information contained in a voter’s record. 25 P.S.

§§ 3146.2b, 3150.12b; see also id. § 3146.8(g)(4).1 The county board’s determinations

on that score are conclusive as to voter eligibility unless challenged prior to Election

Day. Id. Once the county board verifies the voter’s identity and eligibility, it sends a

mail-ballot package that contains a ballot, a “secrecy envelope” marked with the

words “Official Election Ballot,” and the pre-addressed outer return envelope, on

which a voter declaration form is printed (the “Return Envelope”). Id. §§ 3146.6(a),

3150.16(a). Poll books kept by the county show which voters have requested mail

ballots and which have returned them. Id. §§ 3146.6(b)(3), 3150.16(b)(3).

      42.    At “any time” after receiving their mail-ballot package, the voter marks

their ballot, puts it inside the secrecy envelope, and places the secrecy envelope in the

Return Envelope. 25 P.S. §§ 3146.6(a), 3150.16(a). The voter delivers the ballot, in

the requisite envelopes, by mail or in person to their county board of elections. To be

considered timely, a county board of elections must receive a ballot by 8 p.m. on

Election Day. Id. §§ 3146.6(c), 3150.16(c). Upon receipt of a mail ballot, county boards




      1 See also Pa. Dep’t of State, Guidance Concerning Examination of Absentee

and Mail-In Ballot Return Envelopes at 2 (Sept. 11, 2020), https://www.dos.pa.gov/
VotingElections/OtherServicesEvents/Documents/Examination%20of%20Absentee%
20and%20Mail-In%20Ballot%20Return%20Envelopes.pdf.


                                           21
                                    Pa.App.0071
         Case:1:22-cv-00339-SPB
        Case    23-3166 Document: 146 Page:
                                Document     76 11/30/22
                                         121 Filed Date Filed:Page
                                                               01/10/2024
                                                                   22 of 39




of elections stamp the Return Envelope with the date of receipt to confirm its

timeliness and log it in the Statewide Uniform Registry of Electors (“SURE”) system,

the voter registration system used to generate poll books.2

        43.     Timely absentee and mail-in ballots that county boards of elections have

verified consistent with the procedures set forth in § 3146.8(g)(3), that have not been

challenged, and for which there is no proof that the voter died prior to Election Day

are counted and included with the election results. Id. § 3146.8(d), (g)(4).

        44.     Pennsylvania’s adoption of mail voting has been a boon for voter

participation     in   the   Commonwealth.    For   example,    in   2020,   2.7   million

Pennsylvanians voted by absentee or mail ballot.3

        45.     In Pennsylvania’s 2022 general election, approximately 1.4 million mail

ballots were requested.

   B.         Litigation Over the Envelope-Date Requirement

        46.     This case involves the instructions regarding the Return Envelope in

which a voter places their mail ballot, in particular the direction that a voter

“shall . . . fill out, date and sign the declaration printed on such envelope.” See 25 P.S.

§§ 3146.6(a), 3150.16(a). The issue is whether a qualified, registered voter who (1)

applies for and obtains a mail ballot, (2) fills it out, places it in the secrecy envelope


        2 See, e.g., Pa. Dep’t of State, Guidance Concerning Examination of Absentee

and Mail-In Ballot Return Envelopes at 2–3 (Sept. 11, 2020).
        3 Pa. Dep’t of State, Report on the 2020 General Election at 9 (May 14, 2021),

https://www.dos.pa.gov/VotingElections/Documents/2020-General-Election-
Report.pdf. For ease of reference, the term “mail ballots” is used herein to encompass
both absentee and mail ballots. The relevant rules governing the treatment of
absentee and mail ballots are identical.


                                            22
                                     Pa.App.0072
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     77 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 23 of 39




and the Return Envelope, and signs the declaration on the Return Envelope, and then

(3) timely returns the envelope to their local board of elections by 8 p.m. on Election

Day as confirmed by an official date stamp, may nevertheless have their vote

invalidated because they did not add a superfluous handwritten date next to their

signature on the Return Envelope, or because the date they wrote was deemed

“incorrect” by a county board of elections.

      47.    The envelope-dating provision has been the subject of repeated litigation

and guidance from the Department of State, including a unanimous Third Circuit

panel decision (which was later vacated as moot) that refusing to count ballots on

that basis violates federal law.

        i.   In re Canvass

      48.    In 2020, the Supreme Court of Pennsylvania, in the context of a fast-

moving post-election lawsuit, concluded 3-1-3 that otherwise valid mail ballots

contained in signed but undated Return Envelopes would be counted in that election.

In re Canvass of Absentee and Mail-In Ballots of Nov. 3, 2020 Gen. Election, 241 A.3d

1058, 1062 (Pa. 2020).

      49.    The decision from the Supreme Court of Pennsylvania primarily

concerned the construction of state law and did not produce a single majority opinion.

But a majority of the Court suggested (albeit without deciding) that invalidating

votes for failure to comply with the envelope-dating provision “could lead to a

violation of federal law by asking the state to deny the right to vote for immaterial

reasons,” contrary to the Materiality Provision. In re Canvass, 241 A.3d 1058 at 1074




                                          23
                                    Pa.App.0073
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     78 11/30/22
                                        121 Filed Date Filed:Page
                                                              01/10/2024
                                                                  24 of 39




n.5 (opinion announcing the judgment for three Justices); id. at 1089 n.54 (Wecht, J.,

concurring and dissenting) (expressing similar concern). Indeed, Justice Wecht was

so concerned that he urged the Pennsylvania General Assembly to review the Election

Code with “[the Materiality Provision] in mind.” Id.

        ii.     Migliori

       50.      Earlier this year, a unanimous panel of the Third Circuit concluded that

disenfranchising voters based on the envelope-dating provision would violate the

Materiality Provision. Migliori, 36 F.4th at 162–64; id. at 164–66 (Matey, J.,

concurring).4

       51.      In the 2021 Lehigh County elections, 257 timely-received mail ballots

(1% of all mail ballots) were initially excluded based on mail-ballot voters’ inadvertent

failure to handwrite a date on the Return Envelope. Three-quarters of the affected

voters were over 65 years old, and fifteen of them were older than 90.5

       52.      Consistent with the then-current guidance from the Secretary of the

Commonwealth, the Lehigh County Board of Elections counted ballots where the

Return Envelopes had “wrong” dates on them, e.g., a voter wrote their own birthdate

instead of the date they signed the envelope. As the county clerk explained, he did so

because state law “doesn’t say what date.”




       4 The undersigned counsel represented the plaintiff voters at all stages of the

Migliori litigation.
       5 These and other facts from the Migliori record are drawn from Joint App’x,

Migliori v. Cohen, No. 22-1499 (3d Cir.), Dkt.33-2.


                                            24
                                     Pa.App.0074
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     79 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 25 of 39




      53.    The Lehigh County Board of Elections ultimately voted to count the 257

mail ballots without a date on the outer envelope, explaining, among other reasons,

that the voters had made a “technical error,” that there was no question that the

ballots were “received on time,” that “the signatures [on the Return Envelopes] match

the poll book,” and that the directive on the Return Envelope to include a date was in

small print and could have been made “much more visible to the voters.”

      54.    However, a candidate for County Court of Common Pleas, who was then

leading the vote count by less than 257 votes, challenged the county board’s decision

in state court. A divided panel of the Commonwealth Court eventually ruled in his

favor in an unpublished decision that briefly mentioned, but did not resolve, the

Materiality Provision issue. See Ritter v. Lehigh Cnty. Bd. of Elections, No. 1322 C.D.

2021, 272 A.3d 989 (Tbl.), 2022 WL 16577 (Pa. Commw. Ct. Jan. 3, 2022), appeal

denied, 271 A.3d 1285 (Pa. 2022).

      55.    A bipartisan group of voters then sued in federal court. After a district

judge dismissed their case on procedural grounds, a unanimous three-judge panel of

the U.S. Court of Appeals for the Third Circuit reversed, upholding plaintiffs’ right

to have their votes counted under federal law. See Migliori, 36 F.4th at 162–64; see

also id. 164–66 (Matey, J., concurring). The court concluded that because omitting

the handwritten date on the Return Envelope was not “material in determining

whether [a voter] is qualified to vote under Pennsylvania law,” disenfranchising

voters based on that omission violated federal law, namely, the Materiality Provision.

Id. at 162–63. Judge Matey concurred that the defendants had offered “no evidence,




                                          25
                                    Pa.App.0075
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     80 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 26 of 39




and little argument, that the date requirement for voter declarations under the

Pennsylvania Election Code … is material as defined in § 10101(a)(2)(B).” Migliori,

36 F.4th at 165 (Matey, J., concurring). The court ordered Lehigh County to count the

257 mail ballots in undated envelopes.

      56.    The Court of Common Pleas candidate pressing the appeal, David

Ritter, then sought a stay from the U.S. Supreme Court.

      57.    The Supreme Court denied the stay, with three justices dissenting, thus

allowing (indeed, requiring) Lehigh County to count the 257 mail ballots. See Ritter

v. Migliori, 142 S. Ct. 1824 (2022) (mem.). The 2021 election was then certified with

all the ballots counted, which the parties agreed mooted the controversy. The

Supreme Court later granted Ritter’s request to vacate the Third Circuit’s decision

as moot, pursuant to United States v. Munsingwear, Inc., 340 U.S. 36 (1950), which

the Court did in a short-form order that did not question the correctness of the Third

Circuit’s decision, see Ritter v. Migliori, No. 22-30, 2022 WL 6571686 (U.S. Oct. 11,

2022). Vacatur for mootness is not a merits determination and decisions that have

been vacated as moot are still “persuasive” authority. See Polychrome Int’l Corp. v.

Krigger, 5 F.3d 1522, 1534 (3d Cir. 1993).

      iii.   McCormick and Berks County

      58.    After the Third Circuit’s Migliori decision, the Commonwealth Court of

Pennsylvania twice held that such mail ballots must be counted as a matter of both

state and federal law in suits arising out of the 2022 primary. Chapman v. Berks

Cnty. Bd. of Elections, No. 355 M.D. 2022, 2022 WL 4100998, at *12–*29 (Pa. Commw.




                                         26
                                   Pa.App.0076
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     81 11/30/22
                                        121 Filed Date Filed:Page
                                                              01/10/2024
                                                                  27 of 39




Ct. Aug. 19, 2022); McCormick for U.S. Senate v. Chapman, No. 286 M.D. 2022, 2022

WL 2900112, at *9–*15 (Pa. Commw. Ct. June 2, 2022). These decisions agreed with

the Migliori panel that the federal Materiality Provision required that result. See,

e.g., Berks Cnty., 2022 WL 4100998, at *12–*29 (concluding that “the failure of an

elector to handwrite a date on the declaration on the return envelope does not relate

to the timeliness of the ballot or the qualification of the elector”).

       59.    Consistent with those decisions, the Secretary of the Commonwealth

advised counties in the months leading up to the 2022 election to count otherwise

valid and timely-received mail ballots even where voters omitted a handwritten date,

or wrote a plainly wrong date like a birthdate, on the Return Envelope.6 The

Secretary reaffirmed that guidance after the U.S. Supreme Court vacated on

mootness grounds the Third Circuit’s Migliori decision.7

       iv.    Ball v. Chapman

       60.    On October 16, 2022, less than a week after the vacatur of the Migliori

decision, and with voting in the 2022 election already underway, a group of partisan

petitioners brought a King’s Bench petition in the Supreme Court of Pennsylvania




       6 See Pa. Dep’t of State, Guidance Concerning Examination of Absentee and

Mail-in Ballot Return Envelopes (Sept. 26, 2022), https://www.dos.pa.gov/
VotingElections/OtherServicesEvents/Documents/2022-09-26-Examination-
Absentee-Mail-In-Ballot-Return-Envelopes-3.0.pdf (advising county boards of
elections to “include[] in the canvass and pre-canvass ... [a]ny ballot-return envelope
that is undated or dated with an incorrect date but has been timely received”).
       7 See Pennsylvania Pressroom, Acting Secretary of State Issues Statement on

SCOTUS Order on Undated Mail Ballots (Oct. 11, 2022), https://www.media.pa.gov/
Pages/State-details.aspx?newsid=536.


                                            27
                                     Pa.App.0077
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     82 11/30/22
                                        121 Filed Date Filed:Page
                                                              01/10/2024
                                                                  28 of 39




seeking to invalidate mail ballots with no handwritten date on the Return Envelope

or with an “incorrect” handwritten date on the Return Envelope.

      61.     On November 1, 2022, the Supreme Court of Pennsylvania issued an

order directing that the mail ballots at issue should be segregated and not counted,

but indicating that the Court, which currently has only six justices, was deadlocked

on whether the federal Materiality Provision prohibited disenfranchising voters on

that basis.

      62.     Following that decision, on November 1, 2022, the Department of State’s

Deputy Secretary for Elections and Commissions, Jonathan Marks, sent an email to

counties advising elections officials of the Supreme Court of Pennsylvania’s order to

“refrain from counting any absentee and mail-in ballots received for the November 8,

2022 general election that are contained in undated or incorrectly dated outer

envelopes,” and to “segregate and preserve any ballots contained in undated or

incorrectly dated outer envelopes.” Deputy Secretary Marks instructed that the

elections officials “must remember to do two things as [they] pre-canvass and

canvass absentee and mail-in ballots: Segregate AND preserve these undated and

incorrectly dated ballots; and Do not count the votes cast on ballots with undated or

incorrectly dated ballots.” A true and correct copy of the email is attached as Ex. I (all

emphasis in original email).

      63.     On November 3, Acting Secretary Chapman issued new guidance,

instructing counties that “ballots which are administratively determined to be

undated or incorrectly dated” should be coded as “CANC – NO SIGNATURE within




                                           28
                                     Pa.App.0078
         Case:1:22-cv-00339-SPB
        Case    23-3166 Document: 146 Page:
                                Document     83 11/30/22
                                         121 Filed Date Filed:Page
                                                               01/10/2024
                                                                   29 of 39




the SURE system” (i.e., should be cancelled and not accepted) and “segregated from

other ballots.” A true and correct copy of the guidance is attached as Ex. J.

        64.      On November 5, 2022, the Supreme Court of Pennsylvania issued a

supplemental order stating that “incorrectly dated outer envelopes” include “(1) mail-

in ballot outer envelopes with dates that fall outside the date range of September 19,

2022 through November 8, 2022; and (2) absentee ballot outer envelopes with dates

that fall outside the date range of August 30, 2022 through November 8, 2022.” A true

and correct copy of that supplemental order is attached as Ex. K.

   C.         Pennsylvania’s 2022 Election

        65.      On information and belief, as of November 15, 2022, the Defendant

county boards of elections had recorded their receipt of 1,244,072 mail ballots in the

Statewide Uniform Registry of Electors.

        66.      In the 2022 midterm election, which involved elections for the U.S.

Senate, U.S. House of Representatives, and Pennsylvania House and Senate offices,

the Defendant county boards of elections segregated thousands of mail-in ballots

based on missing or incorrect dates on their outer return envelopes. For example, on

information and belief:

              a. As of November 16, 2022, Philadelphia had segregated 2,143 ballots
                 with no dates on their return envelopes and 460 ballots that listed
                 purportedly-incorrect dates on their return envelopes.

              b. As of November 7, 2022, Allegheny County had segregated 369 ballots
                 with no dates on their return envelopes and 551 ballots that listed
                 purportedly-incorrect dates on their return envelopes.

              c. As of November 18, 2022, Lehigh County had segregated a total of 223
                 ballots because there were no dates or purportedly-incorrect dates on
                 their return envelopes.


                                            29
                                      Pa.App.0079
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     84 11/30/22
                                 121 Filed Date Filed:Page
                                                       01/10/2024
                                                           30 of 39




  d. As of November 5, 2022, Lackawanna County reported that it had
     segregated 186 ballots with no dates on their return envelopes.

  e. As of November 22, 2022, Erie County had segregated 122 ballots with
     no dates on their return envelopes and 49 ballots that listed purportedly-
     incorrect dates on their return envelopes.

  f. As of November 7, 2022, Beaver County had segregated 159 ballots with
     missing or purportedly-incorrect dates on their return envelopes.

  g. As of November 7, 2022, Butler County had segregated 64 ballots with
     no dates on their return envelopes.

  h. As of November 21, 2022, Blair County had segregated 26 ballots with
     no dates on their return envelopes and 28 ballots that listed purportedly-
     incorrect dates on their return envelopes.

  i. As of November 18, 2022, Crawford County had segregated a total of 51
     ballots because there were no dates or purportedly-incorrect dates on
     their return envelopes.

  j. As of November 7, 2022, Forest County had segregated 39 ballots with
     missing or incorrect dates on their return envelopes.

  k. As of November 7, 2022, Perry County had segregated 25 ballots with
     no dates on their return envelopes and 4 ballots that listed purportedly-
     incorrect dates on their return envelopes.

  l. As of November 10, 2022, Bucks County had segregated 19 ballots with
     no dates on their return envelopes and 7 ballots that listed purportedly-
     incorrect dates on their return envelopes.

  m. As of November 14, 2022, Warren County had segregated 10 ballots with
     no dates on their return envelopes and 8 ballots that listed purportedly-
     incorrect dates on their return envelopes.

  n. As of November 7, 2022, Mifflin County had segregated 7 ballots with
     no dates on their return envelopes.

  o. As of November 7, 2022, Cameron County had segregated 5 ballots with
     no dates on their return envelopes.

  p. As of November 5, 2022, Union County had segregated 5 ballots with no
     dates on their return envelopes.




                                  30
                           Pa.App.0080
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     85 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 31 of 39




      67.    The above represents only a fraction of the total number of voters

affected by this issue, as Plaintiffs have not yet been able to gather data for many of

the counties not listed above. In Erie County, for instance, 26,170 voters submitted

mail or absentee ballots, meaning the 171 segregated ballots represent approximately

.7% of all such ballots cast in that county. And in Forest County, the 39 segregated

ballots represent more than 9% of the 412 total mail ballots submitted in that county.

Well over a million people voted by mail ballot in 2022. Across the Commonwealth,

.7% of all mail ballot voters would represent more than 8,129 votes, and 9% of mail

ballot voters would represent more than 117,764 votes.

      68.    On information and belief, at least 20 counties provided no advance

notice to voters that their ballots would not be counted due to the envelope-date rule

and/or forbade voters who had their ballot set aside due to the immaterial envelope-

date rule from voting provisionally to cure the problem. Many voters, including

Plaintiffs Seastead, Boyle, Diehl, Polinski, Bencan, and Smith, accordingly had no

opportunity to cure any purported defect involving their date because their county

boards of elections failed to provide them with any such notice before Election Day.

      69.    Moreover, some voters who did receive notice, including Plaintiffs

Terrizzi and Gutierrez, were often unable to vote in person on Election Day given

their health circumstances and/or because they were not afforded sufficient time to

cure their mistake.




                                          31
                                   Pa.App.0081
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     86 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 32 of 39




      70.    Voters—including individual Plaintiffs and organizational Plaintiffs’

members—will be disenfranchised if Defendants refuse to count their ballots based

on missing or purportedly-incorrect dates on the outer return envelopes.

      71.    Litigation over the past year has demonstrated that it is Pennsylvania

voters who will lose unless this Court enjoins Defendants from disqualifying timely

submitted ballots from eligible voters simply because they omitted a meaningless

date, or wrote the wrong date, on the Return Envelope. For example, the plaintiffs in

Migliori were senior citizens who had voted in Lehigh County for decades. They were

Republicans and Democrats alike. Like the individual voter Plaintiffs here, and like

thousands of the organizational Plaintiffs’ members, they were regular people—a

foundry blaster, a teacher, a business owner—who vote in almost every election. They

filled out their mail ballots, sent them in on time, and signed the declaration on the

Return Envelope, but made a mistake on the Return Envelope by omitting a

handwritten date.

      72.    Moreover, here as in Migliori, the affected voters are significantly older

than both other Pennsylvanians who voted by mail and all registered Pennsylvania

voters. Philadelphia provides a compelling example: There, on information and belief,

almost 50% of the affected voters are 65 or older, while only 36% of other

Philadelphians who voted by mail are 65 or older and only 20% of all registered

Philadelphia voters are 65 or older. And around 23% of the affected voters are 75 or

older, while only 15% of other Philadelphians who voted by mail are 75 or older and

only 8% of all registered Philadelphia voters are 75 or older.




                                          32
                                   Pa.App.0082
         Case:1:22-cv-00339-SPB
        Case    23-3166 Document: 146 Page:
                                Document     87 11/30/22
                                         121 Filed Date Filed:Page
                                                               01/10/2024
                                                                   33 of 39




        73.   The challenged envelope-date rule disenfranchises even voters who

reasonably believed they were complying with all of the proper requirements to cast

their ballot. For example, on information and belief, if a voter who was raised in or

spent time living overseas followed the date sequencing convention used by many

other countries (i.e., day, then month, then year) in dating their outer return

envelope, those voters could have their ballots invalidated based on an “incorrect”

date.

        74.   The Materiality Provision of the Civil Rights Act and the Fourteenth

Amendment of the United States Constitution requires that the ballots at issue here

be counted. The disenfranchisement of the affected voters in 2022 and future elections

constitutes irreparable harm for which there is no adequate remedy at law and for

which this Court’s intervention is required.

                                CLAIM FOR RELIEF

   Count I: Rejection of Ballots for Immaterial Paperwork Errors or
Omissions in Violation of the Materiality Provision of the Civil Rights Act
               (52 U.S.C. § 10101(a)(2)(B), 42 U.S.C. § 1983)

        75.   Plaintiffs rely upon all the paragraphs of this Complaint, which are

incorporated into this Count I as if fully restated here.

        76.   The Materiality Provision of the Civil Rights Act prohibits disqualifying

voters “because of an error or omission on any record or paper relating to any

application, registration, or other act requisite to voting, if such error or omission is

not material in determining whether such individual is qualified under State law to

vote in such election.” 52 U.S.C. § 10101(a)(2)(B) (formerly codified at 42 U.S.C.

§ 1971).


                                           33
                                    Pa.App.0083
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     88 11/30/22
                                        121 Filed Date Filed:Page
                                                              01/10/2024
                                                                  34 of 39




       77.     The Civil Rights Act directs that “vote” in this context means “all action

necessary to make a vote effective including, but not limited to, registration or other

action required by State law prerequisite to voting, casting a ballot, and having such

ballot counted and included in the appropriate totals of votes cast with respect to

candidates for public office and propositions for which votes are received in an

election.” Id. § 10101(a)(3)(A), (e).

       78.     The challenged conduct here tracks exactly what the statute forbids:

denying voters the right to have their ballot “counted and included in the appropriate

totals of votes cast” based on an immaterial paperwork error on a form made requisite

to voting. Specifically, Defendants are poised to invalidate voters’ mail ballots:

       (1) based on an “omission” (namely, leaving off the handwritten date) or an

             “error” (namely, writing a purportedly incorrect date);

       (2) on a “record or paper” that is “made requisite to voting” (namely, the form

             declaration printed on the outer Return Envelope);

       (3) that is immaterial to whether the voter “is qualified under State law to vote

             in [the] election,” or for that matter on whether the mail ballot was timely

             received (namely, because the handwritten date on the envelope has no

             bearing on whether a voter meets the age, residency, or citizenship and

             felony status requirements of state law, or whether the county received the

             ballot on time.

52 U.S.C. § 10101(a)(2)(B), (e).




                                            34
                                        Pa.App.0084
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     89 11/30/22
                                        121 Filed Date Filed:Page
                                                              01/10/2024
                                                                  35 of 39




      79.    In Pennsylvania, state law establishes the only “qualifications” needed

to “be entitled to vote at all elections.” See Pa. Const. art. VII, § 1. In particular, a

voter must be at least 18 years old, have been a U.S. citizen for at least one month,

have resided in the election district for at least 30 days, and is not presently

incarcerated on a felony conviction. 25 Pa. C.S. § 1301.

      80.    A voter’s failure to handwrite the date next to their signature on the

ballot return envelope is not material to determining their qualification to vote.

Indeed, as set forth supra, Pennsylvania law requires each mail-in voter to

demonstrate eligibility and qualification to vote before the voter is even issued a mail-

in ballot in the first place. See 25 P.S. §§ 3146.2, 3150.12.

      81.    The date on which a voter signed their return envelope is also

immaterial to determining the timeliness of the voter’s ballot. Because a ballot’s

timeliness under Pennsylvania law is determined by when it was received and

stamped by the county board of elections, 25 P.S. §§ 3146.6(c), 3150.16(c), the date

and time at which mail ballots are returned is objectively verifiable—regardless of

what, if any, date the voter wrote on the return envelope. Accord Migliori, 36 F.4th

at 164 (“Upon receipt, the [Board] timestamped the ballots, rendering whatever date

was written on the ballot superfluous and meaningless.”).

      82.    The rejection of otherwise-valid ballots for immaterial errors or

omissions on voting-related paperwork is contrary to the Materiality Provision of the

Civil Rights Act, 52 U.S.C. § 10101(a)(2)(B), and will result in the disenfranchisement




                                           35
                                     Pa.App.0085
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     90 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 36 of 39




of Pennsylvania voters who submitted timely mail-in ballots in the 2022 election and

all future elections, unless and until enjoined by this Court.

  Count II: Rejection of Certain Ballots for Immaterial Paperwork Errors
     or Omissions in Violation of the Fourteenth Amendment of the
                         United States Constitution
                               (42 U.S.C. § 1983)

      83.    Plaintiffs rely upon all the paragraphs of this Complaint, which are

incorporated into this Count II as if fully restated here.

      84.    The Equal Protection Clause of the Fourteenth Amendment commands

that “[n]o State shall . . . deny to any person within its jurisdiction the equal

protection of the laws.” U.S. Const. amend. XIV.

      85.    “[O]nce the franchise is granted to the electorate, lines may not be drawn

which are inconsistent with the Equal Protection Clause of the Fourteenth

Amendment.” Harper v. Va. State Bd. of Elections, 383 U.S. 663, 665 (1966). And

when an equal protection claim involves differential treatment of the right to vote,

the Supreme Court has required the application of strict scrutiny because of “the

significance of the franchise as the guardian of all other rights.” Plyler v. Doe, 457

U.S. 202, 217 n.15 (1982) (collecting cases).

      86.    Defendants’ interpretation of Pennsylvania law creates differential

treatment of the right to vote. Under their interpretation, the Pennsylvania Election

Code requires invalidating the ballots of voters who write no date or a purportedly-

incorrect date on the outer return envelope in which they submit their mail ballot to

the board of elections. 25 P.S. §§ 3146.6(a), 3150.16(a). Yet state law applies a

different rule to military and overseas voters who vote by mail, stating that a “voter’s



                                           36
                                    Pa.App.0086
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     91 11/30/22
                                        121 Filed Date Filed:Page
                                                              01/10/2024
                                                                  37 of 39




mistake or omission in the completion of a document” shall not invalidate their ballot

“as long as the mistake or omission does not prevent determining whether a covered

voter is eligible to vote.” 25 Pa. C.S. § 3515(a).

       87.    Defendants have no legitimate interest, let alone a compelling one, to

invalidate the mail ballots of otherwise-qualified domestic voters based on trivial

paperwork errors while counting the mail ballots of military and overseas voters who

make the same immaterial mistake. Nor could the chosen means of advancing such

an interest—disenfranchising qualified, registered domestic voters—be narrowly

tailored to achieving any interest the Commonwealth might proffer.

       88.    Disqualifying some, but not all, voters based on a missing or incorrect

date on the return envelope of a mail ballot is especially pernicious because that date

has “no relation to voting qualifications.” Harper, 383 U.S. at 670. “[T]he right to vote

is too precious, too fundamental to be so burdened or conditioned” on such basis. Id.

                                PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs respectfully request that this Court enter judgment

in favor of Plaintiffs and provide the following relief:

       1.     A declaration that rejecting timely submitted mail-in ballots based

solely on a missing or incorrect date next to the voter’s signature on the return

envelope violates the Materiality Provision of the Civil Rights Act, 52 U.S.C.

§ 10101(a)(2)(B), and the Fourteenth Amendment of the United States Constitution;

       2.     Injunctive relief preliminarily and permanently enjoining Defendants

and all persons acting on their behalf from:




                                            37
                                     Pa.App.0087
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     92 11/30/22
                                       121 Filed Date Filed:Page
                                                             01/10/2024
                                                                 38 of 39




           a. Rejecting and/or not counting otherwise-valid mail-in ballots timely

              submitted by 8:00 p.m. on Election Day, in 2022 and future elections,

              based solely on a missing or incorrect date on the outer return envelope;

           b. Certifying any future election in the Commonwealth of Pennsylvania or

              any Pennsylvania county or locality without counting such mail-in

              ballots; and

           c. Refusing to include these ballots when reporting the 2022 election totals

              on Commonwealth and County websites, voter files, record books, and

              any other public tallies or recordings;

      3.      Nominal damages to Plaintiffs Terrizzi, Seastead, Boyle, Gutierrez,

Diehl, Polinski, Bencan, and Smith for the completed violation of their legal right to

vote under both the Materiality Provision and the Fourteenth Amendment;

      4.      An award of costs and attorneys’ fees pursuant to 42 U.S.C. § 1988; and

      5.      Any such other relief as this Court deems just and appropriate.




                                           38
                                    Pa.App.0088
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     93 11/30/22
                                      121 Filed Date Filed:Page
                                                            01/10/2024
                                                                39 of 39




Dated: November 30, 2022              Respectfully submitted,

                                       /s/ Witold J. Walczak
Ari J. Savitzky                       Witold J. Walczak (PA 62976)
Megan C. Keenan                       Richard T. Ting (PA 200438)
Sophia Lin Lakin                      AMERICAN CIVIL LIBERTIES UNION OF
Adriel I. Cepeda Derieux              PENNSYLVANIA
AMERICAN CIVIL LIBERTIES UNION        P.O. Box 23058
FOUNDATION                            Pittsburgh, PA 15222
125 Broad Street, 18th Floor          Tel: (412) 681-7736
New York, NY 10004                    vwalczak@aclupa.org
Tel.: (212) 549-2500                  rting@aclupa.org
asavitzky@aclu.org
mkeenan@aclu.org                      Marian K. Schneider (PA 50337)
slakin@aclu.org                       Stephen Loney (PA 202535)
acepedaderieux@aclu.org               AMERICAN CIVIL LIBERTIES UNION OF
                                      PENNSYLVANIA
David Newmann (PA 82401)              P.O. Box 60173
HOGAN LOVELLS US LLP                  Philadelphia, PA 19102
1735 Market Street, 23rd Floor        mschneider@aclupa.org
Philadelphia, PA 19103                sloney@aclupa.org
Tel: (267) 675-4610
david.newmann@hoganlovells.com        Counsel for the Pennsylvania State
                                      Conference of the NAACP, League of
                                      Women Voters of Pennsylvania,
                                      Philadelphians Organized to Witness,
                                      Empower and Rebuild, Common Cause
                                      Pennsylvania, Black Political
                                      Empowerment Project, Make the Road
                                      Pennsylvania, Jean Terrizzi, Barry M.
                                      Seastead, Marjorie Boyle, Marlene G.
                                      Gutierrez, Deborah Diehl, Aynne
                                      Margaret Pleban Polinski, Joel Bencan,
                                      and Laurence M. Smith




                                     39
                                 Pa.App.0089
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 276 94    Date Filed:Page
                                           Filed 04/21/23    01/10/2024
                                                                 1 of 94




                IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PENNSYLVANIA STATE CONFERENCE OF
THE NAACP, et al.,

                          Plaintiffs,
       v.
                                                     Case No. 1:22-cv-00339-SPB
AL SCHMIDT, in his official capacity as Acting
Secretary of the Commonwealth, et al.,

                          Defendants.



            PLAINTIFFS’ LOCAL CIVIL RULE 56(B)(1) STATEMENT
      Pursuant to Local Civil Rule 56(B)(1), Plaintiffs submit the following concise

statement setting forth the undisputed and material facts essential for the Court to

decide the motion for summary judgment.

 I.   BACKGROUND

      A.      History and Practice of Mail Ballot Voting in Pennsylvania

      1.      Pennsylvania has long provided absentee-ballot options for voters who

cannot attend a polling place on Election Day. APP_00954 (Marks Dep.); 25 P.S.

§ 3146.1–3146.9.

      2.      In 2019, Pennsylvania enacted new mail-in voting provisions, which

allow all registered, eligible voters to vote by mail. APP_00954 (Marks Dep.);

APP_01180 (Greenburg Report); Act of Oct 31, 2019, P.L. 552, No. 77, § 8.

      3.      More than 2.6 million Pennsylvanians voted by absentee or mail ballot

in the November 2020 general election, and more than 1.2 million Pennsylvanians



                                         1
                                   Pa.App.0090
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 276 95    Date Filed:Page
                                           Filed 04/21/23    01/10/2024
                                                                 2 of 94




voted by absentee or mail ballot in the November 2022 general election. APP_01181

(Greenburg Report); see also APP_00981-982 (Marks Dep.).

      4.     A voter seeking to vote by mail must complete an application and have

their identity and qualifications verified before receiving a mail ballot. Voters provide

all the information necessary for county boards of elections to verify that they are

qualified to vote in Pennsylvania—namely, that on the day of the next election, they

will have been a U.S. citizen for at least one month, will be at least 18 years old, will

have resided in the election district for at least 30 days, and have not been confined

in a penal institution for a conviction of a felony within the last five years—at the

time of registration, at which time the county board of elections first determines their

eligibility to vote. 25 Pa. C.S. §§ 1301, 1327(b); see also APP_00893 (Lancaster Dep.);

APP_00995-997 (Marks Dep.).

      5.     To apply to receive a mail ballot, voters must submit an application that

contains information relevant to their qualifications—including their date of birth,

address, and length of time as a resident of the voting district—as well as proof of

identification (a Pennsylvania driver’s license number or, if the voter does not have

one, the last four digits of the voter’s social security number). APP_01036-1037 (mail

ballot application); 25 P.S. §§ 3150.12, 2602(z.5)(3).

      6.     After the application is submitted, county boards of elections verify the

voter’s proof of identification and compare the information in the mail ballot

application to the information provided at the time of registration, using the data

housed in the Statewide Uniform Registry of Electors (“SURE”) system. 25 P.S.




                                           2
                                    Pa.App.0091
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 276 96    Date Filed:Page
                                           Filed 04/21/23    01/10/2024
                                                                 3 of 94




§ 3150.12b; see also APP_01136 (Pa. Dep’t of State Guidance); APP_00894 (Lancaster

Dep.); APP_00916-917 (Westmoreland Dep.); APP_00957-961 (Marks Dep.);

APP_01182 (Greenburg Report); APP_001015, APP_001020-1025 (Greenburg Dep.).

      7.     County boards of elections issue mail ballot packages to voters only after

verifying their qualifications to vote, based on the information provided in their voter

registration records and mail ballot applications. 25 P.S. § 3150.12b; see also

APP_00917 (Westmoreland Dep.).

      8.     The county board’s determination that an individual is qualified to vote

is conclusive unless the voter’s eligibility is challenged prior to Election Day. 25 P.S.

§§ 3150.12b, 3146.8(g)(3)-(4); see also APP_01182 (Greenburg Report); APP_01136

(Pa. Dep’t of State Guidance).

      9.     Once the county board verifies the voter’s identity and eligibility, it

sends a mail-ballot package that contains a ballot, a “secrecy envelope” marked with

the words “Official Election Ballot,” and the pre-addressed outer return envelope, on

which a voter declaration form is printed (the “Return Envelope”). 25 P.S.

§§ 3146.6(a), 3150.16(a); see also APP_00965-966 (Marks Dep.); APP_01182-1183

(Greenburg Report).

      10.    A voter can mark their ballot, put it inside the secrecy envelope, and

place the secrecy envelope in the Return Envelope, and complete the form declaration

on the return envelope at “any time” between receiving their mail-ballot package from

the county board of elections and 8:00 P.M. on Election Day. 25 P.S. §§ 3146.6(a),




                                           3
                                    Pa.App.0092
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 276 97    Date Filed:Page
                                           Filed 04/21/23    01/10/2024
                                                                 4 of 94




3150.16(a); see also APP_00977 (Marks Dep.); APP_01183, APP_01189-1190

(Greenburg Report).

      11.    The voter must then deliver their ballot, in the requisite envelopes, by

mail or in person to their county board of elections. To be considered timely under the

Election Code, a county board of elections must receive a voter’s mail ballot by 8:00

P.M. on Election Day. 25 P.S. §§ 3146.6(c), 3150.16(c); see also APP_00974-76 (Marks

Dep.); APP_01183 (Greenburg Report).

      12.    Upon receipt of a mail ballot, county boards of elections stamp or

otherwise mark the Return Envelope with the date of receipt to confirm its timeliness

and log it in the SURE system. APP_01183, APP_01189 (Greenburg Report);

APP_01136-1137 (Pa. Dep’t of State Guidance); APP_00977-978 (Marks Dep.), 70:5–

8; APP_00834 (Berks Dep.).

      B.     Previous Litigation over the Date Requirement

      13.    The Election Code provides that a voter “shall … fill out, date and sign

the declaration printed on” the mail ballot Return Envelope. See 25 P.S. §§ 3146.6(a),

3150.16(a). The voter declaration forms that accompany paper mail and absentee

ballots include a line for the voter to sign and date the declaration. 1 See, e.g.,

APP_01290 (Berks mail ballot envelope); APP_01291 (Bucks military ballot

envelope).




1 UOCAVA voters have the option to submit their absentee ballots electronically, or

they can return a paper ballot by mail. See APP_00998-00999 (Marks Dep.). This case
focuses solely on the treatment of paper mail and absentee ballots.


                                          4
                                   Pa.App.0093
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 276 98    Date Filed:Page
                                           Filed 04/21/23    01/10/2024
                                                                 5 of 94




      14.    This envelope-dating provision has been the subject of repeated

litigation. APP_00824 (Berks Dep.).

      15.    In the months leading up to the 2022 election, the Secretary of the

Commonwealth advised counties to count otherwise valid and timely-received mail

ballots even where voters omitted a handwritten date, or wrote a plainly wrong date

like a birthdate, on the Return Envelope. APP_01139-1142 (Sept. 26, 2022 Pa. Dep’t

of State Guidance); APP_00824a-824c (Berks Dep.); APP_00869-870 (Lancaster

Dep.); APP_00920-921 (Westmoreland Dep.); APP_00986-989, APP_00991-992

(Marks Dep.).

      16.    The Secretary reaffirmed that guidance after the U.S. Supreme Court

vacated on mootness grounds the Third Circuit’s Migliori v. Cohen decision regarding

the envelope-date rule. APP_01143 (Oct. 11, 2022 Pa. Dep’t of State email).

      17.    On October 16, 2022, a group of petitioners including political party

entities brought a King’s Bench petition in the Supreme Court of Pennsylvania

seeking to invalidate mail ballots based on voter errors or omissions with respect to

the envelope date on the Return Envelope. APP_01202.

      18.    On November 1, 2022, the Supreme Court of Pennsylvania issued an

order directing that the mail ballots at issue should be segregated and not counted.

APP_01147-1148.

      19.    Following that decision, on November 1, 2022, the Department of State’s

Deputy Secretary for Elections and Commissions, Jonathan Marks, sent an email to

counties advising elections officials of the Supreme Court of Pennsylvania’s order to




                                         5
                                   Pa.App.0094
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 276 99    Date Filed:Page
                                           Filed 04/21/23    01/10/2024
                                                                 6 of 94




“refrain from counting any absentee and mail-in ballots received for the November 8,

2022 general election that are contained in undated or incorrectly dated outer

envelopes,” and to “segregate and preserve any ballots contained in undated or

incorrectly dated outer envelopes.” Deputy Secretary Marks instructed that the

elections officials “must remember to do two things as [they] pre-canvass and

canvass absentee and mail-in ballots: Segregate AND preserve these undated and

incorrectly dated ballots; and Do not count the votes cast on ballots with undated or

incorrectly dated ballots.” APP_01149 (all emphasis in original email).

      20.    On November 3, Acting Secretary Chapman issued new guidance,

instructing counties that “ballots which are administratively determined to be

undated or incorrectly dated” should be coded as “CANC – NO SIGNATURE within

the SURE system” (i.e., should be cancelled and not accepted) and “segregated from

other ballots.” APP_01006-1007.

      21.    On November 5, 2022, the Supreme Court of Pennsylvania issued a

supplemental order stating that “incorrectly dated outer envelopes” include “(1) mail-

in ballot outer envelopes with dates that fall outside the date range of September 19,

2022 through November 8, 2022; and (2) absentee ballot outer envelopes with dates

that fall outside the date range of August 30, 2022 through November 8, 2022.”

APP_01150-1151.

II.   PLAINTIFFS

      22.    Laurence Smith is a Montgomery County voter who sought to vote in

the November 2022 election. See APP_01047-1051 (Smith Decl.); APP_01392

(Montgomery voter list).


                                          6
                                   Pa.App.0095
      Case: 23-3166 Document:
      Case 1:22-cv-00339-SPB  146 Page:
                             Document 276 100     Date Filed:Page
                                           Filed 04/21/23     01/10/2024
                                                                  7 of 94




            a. Smith is 78 years old. Before his retirement, he worked as an

               entrepreneur in the medical services industry. APP_01047.

            b. He has been a registered voter for decades, and he has been voting

               regularly in Montgomery County since moving there in 1991, including

               voting by mail since 2020. APP_01047.

            c. For the November 8, 2022 election, Smith properly requested a mail-in

               ballot, marked his ballot, and inserted it into the secrecy envelope and

               then into an outer envelope on which he signed the declaration.

               APP_01048; APP_01392.

            d. The Montgomery County Board of Elections did not count Smith’s ballot

               on the basis of a missing date. APP_01392.

            e. Smith believed he had followed all of the necessary steps to complete the

               declaration, and he was unaware of what the Montgomery County Board

               of Elections concluded was wrong with the date form. APP_01048-1049.

            f. Mr. Smith was not notified of any opportunity to cure any defect prior

               to Election Day. APP_01049.

      23.      Joel Bencan is a Montgomery County voter who sought to vote in the

November 2022 election. See APP_01052-1056 (Bencan Decl.); APP_01392

(Montgomery voter list).

            a. Bencan is 71 years old and is a retired pharmacist. APP_01052.

            b. He has been a registered voter for decades and has participated

               regularly in elections since the Nixon Administration. Bencan began




                                            7
                                     Pa.App.0096
        Case: 23-3166 Document:
        Case 1:22-cv-00339-SPB  146 Page:
                               Document 276 101     Date Filed:Page
                                             Filed 04/21/23     01/10/2024
                                                                    8 of 94




                voting by mail in 2020 because of the COVID-19 pandemic and has

                continued since then to vote by mail. APP_01052.

             c. For the November 8, 2022 election, Bencan properly requested a mail-in

                ballot, marked his ballot, and inserted it into the secrecy envelope and

                then into an outer envelope on which he signed the declaration.

                APP_01052; APP_01392.

             d. The Montgomery County Board of Elections did not count Bencan’s

                ballot on the basis of a missing date. APP_01392.

             e. Bencan believed he had followed all of the necessary steps to complete

                the declaration, and he was unaware of why the Montgomery County

                Board of Elections rejected the date he wrote as “incorrect.” APP_01052-

                1053.

             f. Bencan was not notified of any opportunity to cure any defect prior to

                Election Day. APP_01053.

       24.      Aynne Pleban Polinski is a York County voter who sought to vote in the

November 2022 election. See APP_01057-1058 (Polinski Decl.); APP_01400 (York

voter list).

             a. Polinski is 71 years old and is a retired art educator, art therapist, and

                professional artist. APP_01057.

             b. Polinski is a qualified voter who participates regularly in elections: she

                has been a registered voter in York County since 2016 and a registered

                voter in the Commonwealth of Pennsylvania since she was 18 years old.




                                             8
                                      Pa.App.0097
         Case: 23-3166 Document:
         Case 1:22-cv-00339-SPB  146 Page:
                                Document 276 102     Date Filed:Page
                                              Filed 04/21/23     01/10/2024
                                                                     9 of 94




                  Polinski has been voting by mail since the June 2020 presidential

                  primary because of the COVID-19 pandemic. APP_01057.

               c. For the November 8, 2022 election, Polinski properly requested a mail-

                  in ballot, marked her ballot, and inserted it into the secrecy envelope

                  and then into an outer envelope on which she signed the declaration.

                  APP_01057-1058; APP_01400.

               d. The York County Board of Elections has confirmed that it did not count

                  Polinski’s ballot on the basis of a missing date. APP_01400.

               e. Polinski was not notified of any opportunity to cure any defect prior to

                  Election Day and only learned after Election Day that her vote was not

                  counted. APP_01058.

         25.      Marlene Gutierrez is a York County voter who sought to vote in the

November 2022 election. APP_01059-1061 (Gutierrez Decl.); APP_01400 (York voter

list).

               a. Gutierrez is 64 years old and works as a corporate travel agent.

                  APP_01059.

               b. She first registered to vote in York County when she was 18 years old,

                  and after residing elsewhere for several years, she most recently

                  registered to vote in York County when she moved back in September

                  2020. She has been regularly voting by mail for at least twenty years.

                  APP_01059.




                                               9
                                        Pa.App.0098
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 276 103    Date Filed:
                                           Filed 04/21/23     01/10/2024
                                                           Page  10 of 94




             c. For the November 8, 2022 election, Gutierrez properly requested a mail-

                in ballot, marked her ballot, and inserted it into the secrecy envelope

                and then into an outer envelope on which she signed the declaration.

                APP_01059-1060.

             d. Gutierrez believed she had followed all of the instructions but learned

                on Election Day that her ballot would not be counted, and she did not

                have time to cure her ballot. APP_01060.

             e. The York County Board of Elections has confirmed that it did not count

                Gutierrez’s ballot on the basis of a missing date. APP_01400.

             f. Gutierrez was not notified of any opportunity to cure any defect prior to

                Election Day. APP_01060.

       26.      Barry Seastead is a Warren County voter who sought to vote in the

November 2022 election. See APP_01062-1064 (Seastead Decl.); APP_01394 (Warren

voter list).

             a. Seastead is a 68-year-old retired welder. APP_01062.

             b. He has been a registered voter in Warren County for decades, ever since

                he was legally eligible to vote. He votes regularly, and has been voting

                by mail for the past few years. APP_01062.

             c. For the November 8, 2022 election, Seastead properly requested a mail-

                in ballot, marked his ballot, and inserted it into the secrecy envelope and

                then into an outer envelope on which he signed the declaration.

                APP_01063.




                                             10
                                      Pa.App.0099
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 104    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  11 of 94




            d. The Warren County Board of Elections has confirmed that it did not

               count Seastead’s ballot on the basis of an “invalid” date. APP_01394.

            e. Seastead believed he wrote the date on which he filled out the ballot,

               and he is unaware of why the Warren County Board of Elections rejected

               the date he wrote as “incorrect.” APP_01063.

            f. Mr. Seastead was not notified of any opportunity to cure any defect prior

               to Election Day. APP_01063; APP_01394.

            g. Because Warren County did not provide him with any notice of its

               determination that the date he wrote was incorrect, he had no

               opportunity to cure any defect regarding the date on his outer return

               envelope prior to Election Day and only learned after Election Day that

               his vote was not counted. APP_01063.

      27.      The Pennsylvania State Conference of the NAACP (the “State

Conference”) is a non-profit, non-partisan organization that works to improve the

political, educational, social, and economic status of African-Americans and other

racial and ethnic minorities, to eliminate racial prejudice, and to take lawful action

to secure the elimination of racial discrimination, among other objectives.

APP_01065-1081 (State Conf. Decl.).

            a. The State Conference has thousands of members who live and/or work

               in Pennsylvania, many of whom are registered to vote in Pennsylvania.

               APP_01065.




                                           11
                                     Pa.App.0100
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 105    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  12 of 94




  b. Every election cycle, the State Conference engages in efforts to get out

     the vote, including by educating voters in Pennsylvania on different

     methods of voting, providing educational guides on local candidates to

     increase voter engagement, and focusing on strategies to encourage new

     voters to participate in elections in Pennsylvania. For example, in the

     2022 election cycle, the State Conference coordinated Souls to the Polls

     efforts, solicited poll monitor volunteers, and organized phone- and text-

     banking to generate voter engagement and remind voters of the

     importance of the election. APP_01065-1066.

  c. During the 2022 election, the State Conference reassigned volunteers

     and staff from its existing voter education and mobilization efforts

     towards contacting and educating voters who had already submitted

     their mail ballots about how to fix problems with the mail ballot

     envelope date and avoid having their vote set aside. APP_01066-1067.

  d. For example, the time and attention of the State Conference’s

     Philadelphia branch field director, as well as volunteers (including

     approximately 17 volunteer law students from Howard University) were

     all diverted from their intended mission—conducting election protection

     at the polls on Election Day in Philadelphia—toward coordinating and

     manning the phone lines in order to contact and/or assist mail ballot

     voters affected by the envelope-date rule. APP_01067-1068.




                                  12
                           Pa.App.0101
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 106    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  13 of 94




            e. In the days leading up to the election in November 2022, multiple local

               branches of the State Conference also created and shared social media

               posts alerting the public, and especially those who had already

               submitted mail ballots, that “thousands of voters” had “accidentally left

               off or wrote the incorrect date on the outside of their absentee/mail-in

               ballots,” and that “those ballots CAN be cured, and the votes counted” if

               the affected voters took urgent action. APP_01078-1081. The time and

               attention of each of these branches that was spent on those efforts in the

               last few days before the election would otherwise have been used to

               engage and educate people who had not already voted. APP_01068-1069.

            f. The State Conference anticipates that, in future elections, it will

               similarly need to divert its staff and volunteer resources from their

               intended mission—engaging, educating, and mobilizing new voters—

               toward addressing the risk that voters who have already submitted their

               mail ballots may have their ballot set aside due to an error or omission

               of the handwritten date on the mail ballot return envelope. APP_01069.

      28.      The League of Women Voters of Pennsylvania (“the League”) is a non-

partisan statewide non-profit formed in 1920. APP_01082-1106.

                  a. The League encourages informed and active participation in

                     government, works to increase understanding of major public

                     policy issues, and seeks to influence public policy through

                     education and advocacy. APP_01082.




                                            13
                                     Pa.App.0102
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 107    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  14 of 94




        b. The League is a predominantly volunteer organization and has

           31 member chapters and one Inter-League Organization

           operating in 29 counties around the Commonwealth. LWVPA has

           more than 2,500 individual members, many of whom who are

           registered voters and regularly vote in state and federal elections

           using, among other methods, absentee and mail ballots.

           APP_01082.

        c. During every election cycle, the League conducts voter-

           registration drives, staffs nonpartisan voter-registration tables,

           educates incarcerated and formerly incarcerated individuals

           about their voting rights, and works with local high schools and

           universities to register young voters. The League maintains voter

           information resources on its website in English and Spanish.

           APP_01082-1083.

        d. During the November 2022 election, the League reassigned its

           members’ and volunteers’ time and efforts from these core

           activities towards contacting and educating voters who had

           already submitted their mail ballots about how to fix problems

           with the mail ballot envelope date and avoid having their ballot

           set aside. APP_01083.

        e. Three staff members and approximately 30 volunteers spent time

           scouring publicly available lists of affected voters and contacting




                                 14
                          Pa.App.0103
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 108    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  15 of 94




           hundreds of Pennsylvania voters to provide them with

           information to help them cure their ballot or vote provisionally.

           In particular, the Lower Merion & Narberth league directly

           emailed more than 250 members with explicit instructions on how

           to vote if their mail ballots were cancelled. APP_01083-1087.

        f. The League (and many of its local leagues) shared information on

           social media channels and the League’s websites to alert voters of

           the risk that their vote would not be counted and instruct voters

           about how to correct their mail ballot envelopes. The League also

           attended county board of elections meetings, especially in

           Montgomery, Allegheny, and Lancaster Counties, to advocate for

           notice and cure opportunities for voters whose ballots were set

           aside due to an error or omission of the handwritten date on the

           mail ballot return envelope. APP_01084-1087.

        g. The Lower Merion and Narberth League also worked in coalition

           with civic and community groups to spread the word about

           correcting errors on mail ballot envelopes and participated in an

           event with the Bethel AME Church in Ardmore to help

           congregants check their mail ballot status and instruct them on

           how to correct paperwork errors. APP_01086-1087.

        h. The League anticipates that, in future elections, it will similarly

           need to divert staff, member and volunteer resources from their




                                 15
                           Pa.App.0104
          Case:1:22-cv-00339-SPB
          Case  23-3166 Document:  146 Page:
                                 Document 276 109    Date Filed:
                                              Filed 04/21/23     01/10/2024
                                                              Page  16 of 94




                        core activities toward addressing the risk that voters who have

                        already submitted their mail ballots may have their ballot set

                        aside due to an error or omission of the handwritten date on the

                        mail ballot return envelope. For example, in advance of the 2023

                        municipal primary, the League has developed a webinar

                        featuring mail voting and how to apply and correctly submit a

                        mail ballot. Similarly, its social media posts, website content and

                        public statements will need to focus on helping voters avoid

                        disenfranchisement     for   errors   on   mail   ballot   envelopes.

                        APP_01087-1088.

          29.     Philadelphians   Organized    to    Witness,     Empower    and    Rebuild

(“POWER”) is a Pennsylvania non-profit organization of more than 100 congregations

of various faith traditions, cultures and neighborhoods committed to civic

engagement and organizing communities so that the voices of all faiths, races and

income levels are counted and have a say in government. APP_01107-1110 (POWER

Decl.).

                a. POWER’s civic engagement efforts include civic engagement efforts

                  include voter education programs, voter registration drives, and “Souls

                  to the Polls” efforts to encourage congregants to vote. In the weeks

                  leading up to the November 2022 election, POWER launched a bus tour

                  focused on engaging voters who were not already participating in the

                  political process. APP_01107-1108.




                                               16
                                       Pa.App.0105
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 110    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  17 of 94




  b. During the 2022 election, POWER reassigned volunteers and staff from

     its existing voter education and mobilization efforts towards contacting

     and educating voters who had already submitted their mail ballots

     about how to fix problems with the mail ballot envelope date and avoid

     having their vote set aside. APP_01108-1109.

  c. For example, when Philadelphia published a list of over 3,000 voters

     who were at risk of having their November 2022 general election ballots

     thrown out over technical errors, including a missing or incorrect date

     on the return envelope, POWER’s members and volunteers made more

     than 1,200 manual calls and sent more than 2,900 texts to the voters

     whose names appeared on Philadelphia’s at-risk list to provide them

     with information to help them cure their ballot or vote provisionally.

     POWER also stationed volunteers at City Hall to ensure voters

     returning their mail ballots to that location had correctly dated their

     return envelopes. APP_01108-1109.

  d. The time and attention that POWER devoted to ensuring voters who

     had already submitted their mail ballots would have their votes counted

     would otherwise have been used to engage and educate people who had

     not already attempted to vote. APP_01109.

  e. POWER anticipates that, in future elections, it will similarly need to

     divert its member and volunteer resources from their intended

     mission—engaging, educating, and mobilizing new voters—toward




                                 17
                          Pa.App.0106
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 111    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  18 of 94




              addressing the risk that voters who have already submitted their mail

              ballots may have their ballot set aside due to an error or omission of the

              handwritten date on the mail ballot return envelope. APP_01109.

     30.      Common Cause Pennsylvania (“Common Cause PA”) is a non-profit,

non-partisan organization, and a chapter of the national Common Cause

organization. APP_01111-1124 (Common Cause PA Decl.).

           a. Common Cause PA is a non-partisan good government organization

              with approximately 36,000 members and supporters who live in all 67

              counties of Pennsylvania. One of Common Cause PA’s core functions is

              to increase the level of voter registration and voter participation in

              Pennsylvania elections, especially in communities that are historically

              underserved and whose populations have a low propensity for voting.

              APP_01111.

           b. In preparation for every election cycle, and most significantly in even-

              year elections, Common Cause PA leads the Election Protection

              Coalition field program which recruits and trains volunteers to visit

              polling places and assist voters. As part of its Election Protection

              Coalition work, Common Cause PA disseminates accurate information

              about voting and instructions for navigating the voting process on its

              website, on social media, and through outreach to traditional media.

              APP_01112.




                                           18
                                    Pa.App.0107
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 112    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  19 of 94




  c. During the 2022 election, Common Cause PA reassigned its volunteers’

     time and efforts from Common Cause PA’s existing efforts toward

     contacting and educating voters who had already submitted their mail

     ballots about how to fix problems with the mail ballot envelope date and

     avoid having their vote set aside. APP_01113.

  d. When defendants announced that they would segregate and not count

     ballots with an incorrect or missing date, Common Cause PA ensured

     that accurate information was available for voters. Additionally,

     Common Cause PA organized a press briefing with Make the Road PA,

     All Voting is Local PA and Pennsylvania Voice to remind voters to date

     their mail ballot envelopes and to alert them that their ballot would not

     count if the date was missing. Common Cause PA issued the press

     advisory, held the press briefing and issued a press statement within

     the span of 24 hours, with the goal of alerting as many voters as possible

     as quickly as possible. APP_01113-1114.

  e. To protect voters from having their ballot set aside due to an error or

     omission of the handwritten date on their mail ballot return envelope,

     Common Cause PA also created and sent an email to all of its members

     and supporters immediately after the November 2022 election advising

     them that, if they cast a provisional ballot, to check and make sure the

     ballot was counted. APP_01114.




                                  19
                           Pa.App.0108
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 113    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  20 of 94




            f. Common Cause PA anticipates that, in future elections, it will continue

               to divert its volunteer resources from its intended mission—educating

               and mobilizing voters—toward addressing the risk that voters who have

               already submitted their mail ballots may have their ballot set aside due

               to an error or omission of the handwritten date on the mail ballot return

               envelope. For example, in advance of the 2023 municipal primary,

               Common Cause PA is developing a new webinar on mail voting,

               specifically focusing on the impact of the enforcement of the date

               requirement. This webinar is part of a series, but it diverts resources

               away from providing other important voter education information.

               APP_01114-1115.

      31.      Black Political Empowerment Project (“B-PEP”) is a non-profit, non-

partisan organization that has worked since 1986 to ensure that the Pittsburgh

African-American community votes in every election. APP_01125.

                  a. B-PEP has numerous supporters, of various ages and races,

                     throughout the Pittsburgh Region, working with numerous

                     community     organizations   to   empower     Black   and   brown

                     communities. APP_01125.

                  b. During every election cycle, B-PEP’s work includes voter

                     registration drives, get-out-the-vote activities, education and

                     outreach about the voting process, and election-protection work.

                     B-PEP    focuses   these   activities   in   predominantly   Black




                                           20
                                     Pa.App.0109
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 114    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  21 of 94




           neighborhoods in Allegheny County, with some efforts in

           Westmoreland and Washington Counties. For the November 2022

           election, B-PEP conducted outreach to members and constituent

           communities about the importance of voting in person or by mail.

           APP_01125-1126.

        c. When it was announced that county boards of elections would not

           count timely-submitted mail ballots based solely on missing or

           supposedly incorrect dates on return envelopes, many B-PEP

           members and others served by its mission had already submitted

           mail ballots. This abrupt change in voting rules just before

           Election Day caused B-PEP to redirect its limited resources,

           including staff and volunteer time, to efforts to inform voters of

           this   change   and   educate   them    as   to   how   to   avoid

           disenfranchisement. APP_01126.

        d. Specifically, in the days leading up to the election in November

           2022, B-PEP’s staff and volunteers also expended time and money

           developing, printing and distributing hundreds of flyers and other

           educational materials to dozens of churches for the purpose of

           informing prospective voters of the envelope dating issues

           generated by the Ball decision. APP_01126, APP_01129-1131.

        e. B-PEP staff and volunteers also spent valuable time in discussion

           with county election directors seeking clarity and guidance about




                                 21
                           Pa.App.0110
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 115    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  22 of 94




                   their handling of mail ballots, and then working with other voting

                   rights and community organizations to maximize voters’

                   understanding of the county election boards’ procedures.

                   APP_01126.

               f. B-PEP’s time and resources dedicated by B-PEP staff and

                   volunteers would otherwise have been available for the

                   organization’s other “get out the vote” efforts and other initiatives

                   serving BPEP’s mission, including its Greater Pittsburgh

                   Coalition Against Violence. APP_01126-1127.

               g. B-PEP anticipates that, in future elections, it will similarly need

                   to divert its staff and volunteer resources from voter engagement

                   and    community       initiatives    toward      preventing     the

                   disenfranchisement of voters who have already submitted their

                   ballots. APP_01127.

      32.   Make the Road Pennsylvania (“Make the Road PA”) is a not-for-profit,

member-led organization formed in 2014 that builds the power of the working class

in Latino and other communities to achieve dignity and justice through organizing,

policy innovation, and education services. APP_01132.

               a. Make the Road PA’s more than 10,000 members are primarily

                   working-class residents of Pennsylvania, many in underserved

                   communities. Many members of Make the Road PA are registered

                   voters in Pennsylvania. APP_01132.




                                         22
                                   Pa.App.0111
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 116    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  23 of 94




        b. Make the Road PA’s work includes substantial field work aimed

           at voter protection, voter advocacy and voter education on, for

           example, how to register to vote, how to apply for mail-in/absentee

           ballots, how to return mail-in/absentee ballots, and where to vote.

           Its get-out-the-vote efforts in the 2022 General Election alone

           included knocking on over 300,000 doors and speaking directly

           with over 29,000 people in Berks, Bucks, Lehigh, Northampton

           and Philadelphia Counties. APP_01132-1133.

        c. When defendants announced that they would not count timely-

           submitted mail ballots based solely on missing or supposedly

           incorrect dates on return envelopes, many Make the Road PA

           members and others served by its mission had already submitted

           mail ballots. This abrupt change in voting rules just before

           Election Day caused Make the Road PA to redirect its limited

           resources, including staff and volunteer time, to efforts to inform

           voters of this change and educate them as to how to avoid

           disenfranchisement. Moreover, because Make the Road’s efforts

           are focused on communities where many voters are not native

           English speakers, the risk that some voters may make a minor

           paperwork mistake in filling out various forms related to mail or

           absentee ballot voting is heightened. Accordingly, Make the Road

           PA’s staff and volunteers directed time and resources in the




                                 23
                          Pa.App.0112
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 117    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  24 of 94




           critical time before Election Day to contacting county election

           officials to determine how, if at all, they would inform non-

           English speakers of any problems with the dating of their mail

           ballot envelopes. APP_01133.

        d. Make the Road PA’s staff and volunteers conducted extensive

           phone and text message outreach, on an emergency basis, to its

           members informing prospective voters of the envelope dating

           issues generated. APP_01133. Make the Road PA contacted

           thousands of Pennsylvania voters to provide them with

           information to help them cure their ballot or vote provisionally to

           prevent the counties’ actions from disenfranchising them. Make

           the Road PA’s staff and volunteers also spent valuable time in

           discussion with county election directors seeking clarity and

           guidance about their handling of mail ballots. But for application

           of the rule at issue in this case, such time and resources dedicated

           by Make the Road PA staff and volunteers would have been

           available for the organization’s other “get out the vote” efforts and

           other initiatives serving Make the Road PA’s mission, including

           its Immigrant Rights, Education Justice, Housing Justice,

           Climate Justice and Worker Rights initiative. APP_01134.

        e. Make the Road PA anticipates that, in future elections, it will

           similarly need to divert its staff and volunteer resources from




                                 24
                           Pa.App.0113
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 276 118    Date Filed:
                                           Filed 04/21/23     01/10/2024
                                                           Page  25 of 94




                    voter engagement and community initiatives toward preventing

                    the disenfranchisement of voters who have already submitted

                    their ballots. APP_01134.

III.   THE 2022 ELECTION

       33.   The November 2022 general election involved elections for the U.S.

Senate, U.S. House of Representatives, Pennsylvania Governor, and Pennsylvania

House and Senate offices. APP_01194.

       34.   For the November 2022 election, different counties sent out their mail-

ballot packages at different times:

                a. Adams County began sending mail ballot packages to voters on

                    September 28, 2022. APP_00005 (Adams Interrog. Resp.).

                b. Allegheny County began sending mail ballot packages to voters

                    on September 30, 2022. APP_00027 (Allegheny Interrog. Resp.).

                c. Armstrong County began sending mail ballot packages to voters

                    on October 10, 2022. APP_00041 (Armstrong Interrog. Resp.).

                d. Beaver County began sending mail ballot packages to voters on

                    September 26, 2022. APP_00062 (Beaver Interrog. Resp.).

                e. Berks County began sending mail ballot packages to voters on

                    October 7, 2022. APP_00078 (Berks Interrog. Resp.).

                f. Blair County began sending mail ballot packages to voters on

                    October 14, 2022. APP_00097 (Blair Interrog. Resp.).

                g. Bradford County began sending mail ballot packages to voters on

                    September 27th, 2022. APP_00108 (Bradford Interrog. Resp.).


                                          25
                                      Pa.App.0114
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 119    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  26 of 94




        h. Bucks County began sending mail ballot packages to voters on

           October 5, 2022 and military/overseas ballots on September 22,

           2022. APP_00117 (Bucks Interrog. Resp.).

        i. Butler County began sending mail ballot packages to voters on

           October 12, 2022. APP_00131 (Butler Interrog. Resp.).

        j. Cambria County began sending mail ballot packages to voters on

           October 6, 2022. APP_00140 (Cambria Interrog. Resp.).

        k. Cameron County began sending mail ballot packages to voters on

           October 12, 2022. APP_00150 (Cameron Interrog. Resp.).

        l. Chester County began sending mail ballot packages to voters on

           October 10, 2022. APP_00169 (Chester Interrog. Resp.).

        m. Clarion County began sending mail ballot packages to voters on

           October 4, 2022. APP_00185 (Clarion Interrog. Resp.).

        n. Clearfield County began sending mail ballot packages to voters

           on October 3, 2022. APP_00294 (Clearfield Interrog. Resp.).

        o. Clinton County began sending mail ballot packages to voters on

           September 30, 2022. APP_00216 (Clinton Interrog. Resp.).

        p. Crawford County began sending mail ballot packages to voters on

           September 26, 2022. APP_00233 (Crawford Interrog. Resp.).

        q. Cumberland County began sending mail ballot packages to voters

           on October 3, 2022. APP_00252 (Cumberland Interrog. Resp.).




                                26
                          Pa.App.0115
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 120    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  27 of 94




        r. Delaware County began sending mail ballot packages to voters on

           October 8, 2022. APP_00267 (Delaware Interrog. Resp.).

        s. Elk County began sending mail ballot packages to voters on

           September 16, 2022. APP_00279 (Elk Interrog. Resp.).

        t. Erie County began sending mail ballot packages to voters on

           October 6, 2022. APP_00292 (Erie Interrog. Resp.).

        u. Fayette County began sending mail ballot packages to voters on

           October 11, 2022. APP_00309 (Fayette Interrog. Resp.).

        v. Forest County began sending mail ballot packages to voters on

           October 6, 2022. APP_00321 (Forest Interrog. Resp.).

        w. Franklin County began sending mail ballot packages to voters on

           October 3, 2022. APP_00336 (Franklin Interrog. Resp.).

        x. Fulton County began sending mail ballot packages to voters on

           October 21, 2022. APP_00347 (Fulton Interrog. Resp.).

        y. Greene County began sending mail ballot packages to voters on

           September 30, 2022. APP_00355 (Greene Interrog. Resp.).

        z. Juniata County began sending mail ballot packages to voters on

           September 27, 2022. APP_00363 (Juniata Interrog. Resp.).

        aa. Lackawanna County began sending mail ballot packages to voters

           on October 3, 2022. APP_00373 (Lackawanna Interrog. Resp.).

        bb. Lancaster County began sending mail ballot packages to voters

           on September 26, 2022. APP_00389 (Lancaster Interrog. Resp.).




                                27
                          Pa.App.0116
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 121    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  28 of 94




        cc. Lehigh County began sending mail ballot packages to voters on

           September 23, 2022. APP_00401 (Lehigh Interrog. Resp.).

        dd. Luzerne County began sending mail ballot packages to voters on

           October 13, 2022. APP_00417 (Luzerne Interrog. Resp.).

        ee. Lycoming County began sending mail ballot packages to voters

           on September 22, 2022. APP_00439 (Lycoming Interrog. Resp.).

        ff. McKean County began sending mail ballot packages to voters on

           September 30, 2022. APP_00453 (McKean Interrog. Resp.).

        gg. Mercer County began sending mail ballot packages to voters on

           October 7, 2022. APP_00461 (Mercer Interrog. Resp.).

        hh.Mifflin County began sending mail ballot packages to voters on

           October 10, 2022. APP_00468 (Mifflin Interrog. Resp.).

        ii. Montgomery County began sending mail ballot packages to voters

           on October 6, 2022. APP_00481 (Montgomery Interrog. Resp.).

        jj. Northampton County began sending mail ballot packages to

           voters on October 3, 2022. APP_00495 (Northampton Interrog.

           Resp.).

        kk. Perry County began sending mail ballot packages to voters on

           October 3, 2022. APP_00511 (Perry Interrog. Resp.).

        ll. Philadelphia County began sending mail ballot packages to voters

           on October 10, 2022. APP_00530 (Philadelphia Interrog. Resp.).




                                28
                          Pa.App.0117
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 122    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  29 of 94




        mm.      Pike County began sending mail ballot packages to voters

           on October 3, 2022. APP_00541 (Pike Interrog. Resp.).

        nn.Potter County began sending mail ballot packages to voters on

           September 26, 2022. APP_00575 (Potter Interrog. Resp.).

        oo. Schuylkill County began sending mail ballot packages to voters

           on October 13, 2022. APP_00587 (Schuylkill Interrog. Resp.).

        pp. Somerset County began sending mail ballot packages to voters on

           October 5, 2022. APP_00599 (Somerset Interrog. Resp.).

        qq. Sullivan County began sending mail ballot packages to voters on

           October 4, 2022. APP_00609 (Sullivan Interrog. Resp.).

        rr. Susquehanna County began sending mail ballot packages to

           voters on October 19, 2022. APP_00619 (Susquehanna Interrog.

           Resp.).

        ss. Tioga County began sending mail ballot packages to voters on

           September 21, 2022. APP_00629 (Tioga Interrog. Resp.).

        tt. Union County began sending mail ballot packages to voters on

           September 23, 2022. APP_00635 (Union Interrog. Resp.).

        uu.Warren County began sending mail ballot packages to voters on

           October 5, 2022. APP_00646 (Warren Interrog. Resp.).

        vv. Washington County began sending military overseas ballots on

           September 23, 2022 and mail ballot packages to voters on October

           4, 2022. APP_00667 (Washington Interrog. Resp.).




                                29
                          Pa.App.0118
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 123    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  30 of 94




        ww.      Wayne County began sending mail ballot packages to

           voters on August 23, 2022. APP_00691 (Wayne Interrog. Resp.).

        xx. Westmoreland County began sending mail ballot packages to

           voters on October 5, 2022. APP_00706 (Westmoreland Interrog.

           Resp.).

        yy. Wyoming County began sending mail ballot packages to voters on

           September 19, 2022. APP_00714. (Wyoming Interrog. Resp.).

        zz. Bedford County began sending mail ballot packages to voters on

           October 7, 2022. APP_00732 (Bedford Interrog. Resp.).

        aaa.     Carbon County began sending mail ballot packages to

           voters on September 27, 2022. APP_00733 (Carbon Interrog.

           Resp.).

        bbb.     Centre County began sending mail ballot packages to

           voters on September 27, 2022. APP_00733 (Centre Interrog.

           Resp.).

        ccc.     Columbia County began sending mail ballot packages to

           voters on September 27, 2022. APP_00733 (Columbia Interrog.

           Resp.).

        ddd.     Dauphin County began sending mail ballot packages to

           voters on September 2, 2022. APP_00733 (Dauphin Interrog.

           Resp.).




                               30
                          Pa.App.0119
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 124    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  31 of 94




        eee.     Jefferson County began sending mail ballot packages to

           voters on September 12, 2022. APP_00733 (Jefferson Interrog.

           Resp.).

        fff. Huntington County began sending mail ballot packages to voters

           on October 4, 2022. APP_00733 (Huntingdon Interrog. Resp.).

        ggg.     Indiana County began sending mail ballot packages to

           voters on October 3, 2022. APP_00733 (Indiana Interrog. Resp.).

        hhh.     Lawrence County began sending mail ballot packages to

           voters on September 26, 2022. APP_00733 (Lawrence Interrog.

           Resp.).

        iii. Lebanon County began sending mail ballot packages to voters on

           October 7, 2022. APP_00733 (Lebanon Interrog. Resp.).

        jjj. Monroe County began sending mail ballot packages to voters on

           October 7, 2022. APP_00733 (Monroe Interrog. Resp.).

        kkk.     Montour County began sending mail ballot packages to

           voters on September 23, 2022. APP_00733 (Montour Interrog.

           Resp.).

        lll. Northumberland County began sending mail ballot packages to

           voters on September 21, 2022. APP_00733 (Northumberland

           Interrog. Resp.).




                                31
                          Pa.App.0120
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 125    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  32 of 94




               mmm.      Snyder County began sending mail ballot packages to

                  voters on September 23, 2022. APP_00733 (Snyder Interrog.

                  Resp.).

               nnn.      Venango County began sending mail ballot packages to

                  voters on September 27, 2022. APP_00733 (Venango Interrog.

                  Resp.).

               ooo.      York County began sending mail ballot packages to voters

                  on September 28, 2022. APP_00733 (York Interrog. Resp.).

      35.   The county boards of elections reported receiving 1,238,522 mail and

absentee ballots in the November 2022 election. APP_00005 (Adams Interrog. Resp.);

APP_00035 (Allegheny Interrog. Resp.); APP_00040 (Armstrong Interrog. Resp.);

APP_00060 (Beaver Interrog. Resp.); APP_00077 (Berks Interrog. Resp.); APP_00096

(Blair Interrog. Resp.); APP_00107 (Bradford Interrog. Resp.); APP_00116 (Bucks

Interrog. Resp.); APP_00130 (Butler Interrog. Resp.); APP_00140 (Cambria Interrog.

Resp.); APP_00149 (Cameron Interrog. Resp.); APP_00168 (Chester Interrog. Resp.);

APP_00185 (Clarion Interrog. Resp.); APP_00209 (Clearfield Interrog. Resp.);

APP_00215 (Clinton Interrog. Resp.); APP_00232 (Crawford Interrog. Resp.);

APP_00251 (Cumberland Interrog. Resp.); APP_00266 (Delaware Interrog. Resp.);

APP_00278 (Elk Interrog. Resp.); APP_00291 (Erie Interrog. Resp.); APP_00308

(Fayette Interrog. Resp.); APP_00320 (Forest Interrog. Resp.); APP_00335 (Franklin

Interrog. Resp.); APP_00347 (Fulton Interrog. Resp.); APP_00354 (Greene Interrog.

Resp.); APP_00363 (Juniata Interrog. Resp.); APP_00371 (Lackawanna Interrog.




                                       32
                                 Pa.App.0121
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 126    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  33 of 94




Resp.); APP_00388 (Lancaster Interrog. Resp.); APP_00400 (Lehigh Interrog. Resp.);

APP_00416 (Luzerne Interrog. Resp.); APP_00438 (Lycoming Interrog. Resp.);

APP_00452 (McKean Interrog. Resp.); APP_00461 (Mercer Interrog. Resp.);

APP_00468 (Mifflin Interrog. Resp.); APP_00481 (Montgomery Interrog. Resp.);

APP_00494 (Northampton Interrog. Resp.); APP_00510 (Perry Interrog. Resp.);

APP_00529 (Philadelphia Interrog. Resp.); APP_00541 (Pike Interrog. Resp.);

APP_00573 (Potter Interrog. Resp.); APP_00587 (Schuylkill Interrog. Resp.);

APP_00598 (Somerset Interrog. Resp.); APP_00609 (Sullivan Interrog. Resp.);

APP_00619 (Susquehanna Interrog. Resp.); APP_00629 (Tioga Interrog. Resp.);

APP_00634 (Union Interrog. Resp.); APP_00645 (Warren Interrog. Resp.);

APP_00666 (Washington Interrog. Resp.); APP_00690 (Wayne Interrog. Resp.);

APP_00705 (Westmoreland Interrog. Resp.); APP_00714 (Wyoming Interrog. Resp.);

APP_00729-30 (Babst Calland 2 Interrog. Resp.).

      36.    In the November 2022 general election, the county boards of elections

segregated at least 10,506 mail ballots solely based on missing or incorrect dates on

their outer return envelopes:

                a. Adams County segregated 4 ballots with undated return

                    envelopes and 0 ballots with misdated envelopes. APP_00005-6

                    (Adams Interrog. Resp.).


2 Cites to the “Babst Calland” Responses to Requests for Admissions and
Interrogatories refer to the collective responses filed by the Bedford, Carbon, Centre,
Columbia, Dauphin, Huntingdon, Indiana, Jefferson, Lawrence, Lebanon, Monroe,
Montour, Northumberland, Snyder, Venango, and York County Boards of Elections.
See generally APP_00723-775.


                                          33
                                   Pa.App.0122
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 127    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  34 of 94




        b. Allegheny County segregated 1,009 ballots with undated or

           misdated return envelopes. APP_00026-27 (Allegheny Interrog.

           Resp.).

        c. Armstrong County segregated 15 ballots with undated or

           misdated return envelopes. APP_00040 (Armstrong Interrog.

           Resp.).

        d. Beaver County segregated 182 ballots with undated or misdated

           return envelopes. APP_00060 (Beaver Interrog. Resp.).

        e. Berks County segregated 782 ballots with undated or misdated

           return envelopes. APP_00078 (Berks Interrog. Resp.).

        f. Blair County segregated 55 ballots with undated or misdated

           return envelopes. APP_00096 (Blair Interrog. Resp.).

        g. Bradford County segregated 22 ballots with undated return

           envelopes and 1 ballot with misdated envelopes. APP_00107-108

           (Bradford Interrog. Resp.).

        h. Bucks County segregated 357 ballots with undated or misdated

           return envelopes. APP_00116 (Bucks Interrog. Resp.).

        i. Butler County segregated 66 ballots with undated or misdated

           return envelopes. APP_00130 (Butler Interrog. Resp.).

        j. Cambria County segregated 38 ballots with undated or misdated

           return envelopes. APP_00140 (Cambria Interrog. Resp.).




                                34
                          Pa.App.0123
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 128    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  35 of 94




        k. Cameron County segregated 5 ballots with undated return

           envelopes and 0 ballots with misdated envelopes. APP_00150

           (Cameron Interrog. Resp.).

        l. Chester County segregated 67 ballots with undated return

           envelopes and 68 ballots with misdated envelopes. APP_00168

           (Chester Interrog. Resp.).

        m. Clarion County segregated 9 ballots with undated return

           envelopes and 3 ballots with misdated envelopes. APP_00185

           (Clarion Interrog. Resp.).

        n. Clearfield County segregated 12 ballots with undated or misdated

           return envelopes. APP_00204 (Clearfield Interrog. Resp.).

        o. Clinton County segregated 20 ballots with undated or misdated

           return envelopes. APP_00216 (Clinton Interrog. Resp.).

        p. Crawford County segregated 51 ballots with undated or misdated

           return envelopes. APP_00233 (Crawford Interrog. Resp.).

        q. Cumberland County segregated 100 ballots with undated or

           misdated return envelopes. APP_00252 (Cumberland Interrog.

           Resp.).

        r. Delaware County segregated 49 ballots with undated return

           envelopes and 65 ballots with misdated envelopes. APP_00267

           (Delaware Interrog. Resp.).




                                 35
                          Pa.App.0124
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 129    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  36 of 94




        s. Elk County segregated 10 ballots with undated or misdated

           return envelopes. APP_00278 (Elk Interrog. Resp.).

        t. Erie County segregated 168 ballots with undated return

           envelopes and 51 ballots with misdated envelopes. APP_00292

           (Erie Interrog. Resp.).

        u. Fayette County segregated 137 ballots with undated or misdated

           return envelopes. APP_00309 (Fayette Interrog. Resp.).

        v. Forest County segregated 38 ballots with undated or misdated

           return envelopes. APP_00320 (Forest Interrog. Resp.).

        w. Franklin County segregated 114 ballots with undated or

           misdated return envelopes. APP_00336 (Franklin Interrog.

           Resp.).

        x. Fulton County segregated 5 ballots with undated or misdated

           return envelopes. APP_00347 (Fulton Interrog. Resp.).

        y. Greene County segregated 11 ballots with undated or misdated

           return envelopes. APP_00354 (Greene Interrog. Resp.).

        z. Juniata County segregated 5 ballots with undated or misdated

           return envelopes. APP_00363 (Juniata Interrog. Resp.).

        aa. Lackawanna County segregated 160 ballots with undated or

           misdated return envelopes. APP_00372 (Lackawanna Interrog.

           Resp.).




                                 36
                           Pa.App.0125
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 130    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  37 of 94




        bb. Lancaster County segregated 232 ballots with undated or

           misdated return envelopes. APP_00388 (Lancaster Interrog.

           Resp.).

        cc. Lehigh County segregated 176 ballots with undated return

           envelopes and 237 ballots with misdated envelopes. APP_00400

           (Lehigh Interrog. Resp.).

        dd. Luzerne County segregated 166 ballots with undated or misdated

           return envelopes. APP_00416 (Luzerne Interrog. Resp.).

        ee. Lycoming County segregated 36 ballots with undated or misdated

           return envelopes. APP_00438 (Lycoming Interrog. Resp.).

        ff. McKean County segregated 35 ballots with undated or misdated

           return envelopes. APP_00453 (McKean Interrog. Resp.).

        gg. Mercer County segregated 63 ballots with undated or misdated

           return envelopes. APP_00461 (Mercer Interrog. Resp.).

        hh.Mifflin County segregated 10 ballots with undated or misdated

           return envelopes. APP_00468 (Mifflin Interrog. Resp.).

        ii. Montgomery County segregated 460 ballots with undated or

           misdated return envelopes. APP_00481 (Montgomery Interrog.

           Resp.).

        jj. Northampton County segregated 230 ballots with undated return

           envelopes and 50 ballots with misdated envelopes. APP_00495

           (Northampton Interrog. Resp.).




                                37
                          Pa.App.0126
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 131    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  38 of 94




        kk. Perry County segregated 27 ballots with undated return

           envelopes and 8 ballots with misdated envelopes. APP_00511

           (Perry Interrog. Resp.).

        ll. Philadelphia County segregated 2,617 ballots with undated or

           misdated return envelopes. APP_00529 (Philadelphia Interrog.

           Resp.).

        mm.      Pike County segregated 55 ballots with undated or

           misdated return envelopes. APP_00541 (Pike Interrog. Resp.).

        nn.Potter County segregated 14 ballots with undated return

           envelopes and 0 ballots with misdated envelopes. APP_00574

           (Potter Interrog. Resp.).

        oo. Schuylkill County segregated 59 ballots with undated or

           misdated return envelopes. APP_00587 (Schuylkill Interrog.

           Resp.).

        pp. Somerset County segregated 63 ballots with undated or misdated

           return envelopes. APP_00598 (Somerset Interrog. Resp.).

        qq. Sullivan County segregated 4 ballots with undated or misdated

           return envelopes. APP_00609 (Sullivan Interrog. Resp.).

        rr. Susquehanna County segregated 0 ballots with undated or

           misdated return envelopes. APP_00619 (Susquehanna Interrog.

           Resp.).




                                 38
                           Pa.App.0127
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 132    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  39 of 94




        ss. Tioga County segregated 4 ballots with undated or misdated

           return envelopes. APP_00629 (Tioga Interrog. Resp.).

        tt. Union County segregated 23 ballots with undated or misdated

           return envelopes. APP_00634 (Union Interrog. Resp.).

        uu.Warren County segregated 10 ballots with undated return

           envelopes and 8 ballots with misdated envelopes. APP_00646

           (Warren Interrog. Resp.).

        vv. Washington County segregated 66 ballots with undated or

           misdated return envelopes. APP_00666 (Washington Interrog.

           Resp.).

        ww.      Wayne County segregated 40 ballots with undated return

           envelopes and 15 ballots with misdated envelopes. APP_00691

           (Wayne Interrog. Resp.).

        xx. Westmoreland County segregated 95 ballots with undated or

           misdated return envelopes. APP_00705 (Westmoreland Interrog.

           Resp.).

        yy. Wyoming County segregated 17 ballots with undated return

           envelopes and 0 ballots with misdated envelopes. APP_00714.

           (Wyoming Interrog. Resp.).

        zz. Bedford County segregated 0 ballots with undated or misdated

           return envelopes. APP_00731 (Bedford Interrog. Resp.).




                                39
                          Pa.App.0128
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 133    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  40 of 94




        aaa.     Carbon County segregated 27 ballots with undated or

           misdated return envelopes. APP_00731 (Carbon Interrog. Resp.).

        bbb.     Centre County segregated 115 ballots with undated or

           misdated return envelopes. APP_00731 (Centre Interrog. Resp.).

        ccc.     Columbia County segregated 29 ballots with undated or

           misdated return envelopes. APP_00731 (Columbia Interrog.

           Resp.).

        ddd.     Dauphin County segregated 95 ballots with undated or

           misdated return envelopes. APP_00731 (Dauphin Interrog.

           Resp.).

        eee.     Jefferson County segregated 23 ballots with undated or

           misdated return envelopes. APP_00731 (Jefferson Interrog.

           Resp.).

        fff. Huntingdon County segregated 34 ballots with undated or

           misdated return envelopes. APP_00731 (Huntingdon Interrog.

           Resp.).

        ggg.     Indiana County segregated 107 ballots with undated or

           misdated return envelopes. APP_00731 (Indiana Interrog. Resp.).

        hhh.     Lawrence County segregated 15 ballots with undated or

           misdated return envelopes. APP_00731 (Lawrence Interrog.

           Resp.).




                               40
                          Pa.App.0129
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 134    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  41 of 94




               iii. Lebanon County segregated 24 ballots with undated or misdated

                  return envelopes. APP_00731 (Lebanon Interrog. Resp.).

               jjj. Monroe County segregated 462 ballots with undated or misdated

                  return envelopes. APP_00731 (Monroe Interrog. Resp.).

               kkk.      Montour County segregated 8 ballots with undated or

                  misdated return envelopes. APP_00731 (Montour Interrog.

                  Resp.).

               lll. Northumberland County segregated 14 ballots with undated or

                  misdated    return   envelopes.   APP_00731   (Northumberland

                  Interrog. Resp.).

               mmm.      Snyder County segregated 9 ballots with undated or

                  misdated return envelopes. APP_00732 (Snyder Interrog. Resp.).

               nnn.      Venango County segregated 42 ballots with undated or

                  misdated return envelopes. APP_00732 (Venango Interrog.

                  Resp.).

               ooo.      York County segregated 1,061 ballots with undated or

                  misdated return envelopes. APP_00732 (York Interrog. Resp.).

      37.   In administering the November 2022 general election, the county boards

of elections did not count mail ballots that were timely received and submitted in

signed envelopes but without a handwritten date on the outer return envelope.

APP_00004 (Adams RFA Resp.); APP_00021 (Allegheny RFA Resp.); APP_00038

(Armstrong RFA Resp.); APP_0050 (Beaver RFA Resp.); APP_00073 (Berks RFA




                                       41
                                 Pa.App.0130
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 135    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  42 of 94




Resp.); APP_00091 (Blair RFA Resp.); APP_00106 (Bradford RFA Resp.); APP_00114

(Bucks RFA Resp.); APP_00126 (Butler RFA Resp.); APP_00137 (Cambria RFA

Resp.); APP_00160 (Chester RFA Resp.); APP_00181 (Clarion RFA Resp);

APP_00194 (Clearfield RFA Resp.); APP_00212 (Clinton RFA Resp.); APP_00226

(Crawford RFA Resp.); APP_00247 (Cumberland RFA Resp.); APP_00262 (Delaware

RFA Resp.); APP_00276 (Elk RFA Resp.); APP_00282 (Erie RFA Resp.); APP_00303

(Fayette RFA Resp.); APP_00318 (Forest RFA Resp.); APP_00330 (Franklin RFA

Resp.); APP_00348 (Fulton RFA Resp.); APP_00352 (Greene RFA Resp.); APP_00360

(Juniata RFA Resp.); APP_00368 (Lackawanna RFA Resp.); APP_00383 (Lancaster

RFA Resp.); APP_00397 (Lehigh RFA Resp.); APP_00411 (Luzerne RFA Resp.);

APP_00431 (Lycoming RFA Resp.); APP_00450 (McKean RFA Resp.); APP_00466

(Mifflin RFA Resp.); APP_00476 (Montgomery RFA Resp.); APP_00489, APP_00490

(Northampton RFA Resp.); APP_00505 (Perry RFA Resp.); APP_00524 (Philadelphia

RFA Resp.); APP_00544 (Pike RFA Resp.); APP_00550 (Potter RFA Resp.);

APP_00584 (Schuylkill RFA Resp.); APP_00593 (Somerset RFA Resp.); APP_00607

(Sullivan RFA Resp.); APP_00615 (Susquehanna RFA Resp.); APP_00625 (Tioga

RFA. Resp.); APP_00642 (Warren RFA Resp.); APP_00655 (Washington RFA Resp.);

APP_00681 (Wayne RFA Resp.); APP_00698 (Westmoreland RFA Resp.); APP_00719

(Wyoming RFA Resp.); see also APP_00822-823 (Berks Dep.); APP_00867-868

(Lancaster Dep.); APP_00918-919 (Westmoreland Dep.).

      38.   Thousands of ballots were set aside and not counted solely based on a

missing handwritten date on the return envelope in the November 2022 election. See




                                       42
                                 Pa.App.0131
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 136    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  43 of 94




APP_01494-1496, APP_01572 (Tetro Decl.) (summarizing manual review of certain

counties’ ballot envelopes); APP_01162a (Philadelphia meeting minutes stating 2,143

ballots were excluded based on a missing handwritten date on the return envelope in

Philadelphia alone).

                a. For example, Clearfield County set aside the ballot of a voter who

                   omitted the handwritten date on their return envelope, even

                   though the stamp on the envelope indicates the ballot was

                   received by the county board of elections on “OCT 11 2022.” An

                   election official wrote a note on this envelope that says “can’t come

                   in disabled.” APP_01433.

                b. Clearfield County also set aside the ballot of another voter who

                   omitted the handwritten date on their return envelope, even

                   though the stamp on the envelope indicates the ballot was

                   received by the county board of elections on “OCT 24 2022.” An

                   election official wrote a note on that envelope that says “can not

                   fix[,] in Florida.” APP_01434.

                c. Cumberland County set aside the ballot of a voter who omitted

                   the handwritten date on the “Today’s Date (Required)” line of the

                   voter declaration form of their return envelope, even though the

                   date “30 OCT 2022” appears in another signed and dated portion

                   of the envelope that was completed by a witness, who assisted the




                                         43
                                   Pa.App.0132
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 137    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  44 of 94




                  voter because the voter was unable to sign their declaration

                  because of illness or physical disability. APP_01435.

      39.   In administering the November 2022 general election, the county boards

of elections did not count mail ballots that were timely received and submitted in

signed envelopes, but had a handwritten date on the outer return envelope that

appeared to pre-date September 19, 2022, or to post-date November 8, 2022.

APP_00022 (Allegheny RFA Resp.); APP_00038 (Armstrong RFA Resp.); APP_00051

(Beaver RFA Resp.); APP_00074 (Berks RFA Resp.); APP_00091 (Blair RFA Resp.);

APP_00106 (Bradford RFA Resp.); APP_00114 (Bucks RFA Resp.); APP_00126

(Butler RFA Resp.); APP_00137 (Cambria RFA Resp.); APP_00161 (Chester RFA

Resp.); 00182 (Clarion RFA Resp.); APP_00194 (Clearfield RFA Resp.); APP_00212

(Clinton RFA Resp.); APP_00226 (Crawford RFA Resp.); APP_00262 (Delaware RFA

Resp.); APP_00276 (Elk RFA Resp.); APP_00282 (Erie RFA Resp.); APP_00304,

APP_00305 (Fayette RFA Resp.); APP_00318 (Forest RFA Resp.); APP_00330

(Franklin RFA Resp.); APP_00348 (Fulton RFA Resp.); APP_00352 (Greene RFA

Resp.); APP_00360 (Juniata RFA Resp.); APP_00369 (Lackawanna RFA Resp.);

APP_00384 (Lancaster RFA Resp.); APP_00398 (Lehigh RFA Resp.); APP_00412

(Luzerne RFA Resp.); APP_00431 (Lycoming RFA Resp.); APP_00450 (McKean RFA

Resp.); APP_00466 (Mifflin RFA Resp.); APP_00477 (Montgomery RFA Resp.);

APP_00490 (Northampton RFA Resp.); APP_00505 (Perry RFA Resp.); APP_00525

(Philadelphia RFA Resp.); APP_00544 (Pike RFA Resp.); APP_00584 (Schuylkill RFA

Resp.); APP_00593 (Somerset RFA Resp.); APP_00607 (Sullivan RFA Resp.);




                                       44
                                 Pa.App.0133
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 138    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  45 of 94




APP_00642 (Warren RFA Resp.); APP_00681 (Wayne RFA Resp.); APP_00699

(Westmoreland RFA Resp.); APP_00719 (Wyoming RFA Resp.); APP_00727 (Babst

Calland RFA Resp.); see also APP_00822-823 (Berks Dep.); APP_00868 (Lancaster

Dep.); APP_00918-919 (Westmoreland Dep.). 3

      40.    At least 21 counties admitted that they provided voters with no notice

that their ballot had been set aside because of a missing or incorrect date on the outer

return envelope. APP_00043 (Armstrong Interrog. Resp.); APP_00100 (Blair

Interrog. Resp.); APP_00109 (Bradford Interrog. Resp.); APP_00152 (Cameron

Interrog. Resp.); APP_00187 (Clarion Interrog. Resp.); APP_00219 (Clinton Interrog.

Resp.); APP_00255 (Cumberland Interrog. Resp.); APP_00323 (Forest Interrog.

Resp.); APP_00356 (Greene Interrog. Resp.); APP_00375 (Lackawanna Interrog.




3 The only counties that did not admit this are those that did not report receiving any

mail ballots in incorrectly dated envelopes. APP_00004 (Adams RFA Resp.) (“Adams
did not receive any such ballots and therefore no admission is made.”); APP_00248
(Cumberland RFA Resp.) (“The Cumberland BOE did not receive any mail ballots in
connection with the 2022 General Election that were timely received in signed
envelopes that showed a date on the outer return envelope predating September 19,
2022, or post-dating November 8, 2022.”); APP_00562 (Potter Suppl. RFA Resp.) (“As
understood the request is DENIED as all ballots set aside by Defendant regarding
date issues were ballots which had a blank date on the outer envelope.
SUPPLEMENTAL ANSWER: As an additional response the request is DENIED
because no ballots were received with dates pre or post the dates mentioned.”);
APP_00146 (Cameron RFA Resp.) (“No such mail ballots were received in connection
with the 2022 General Election.”); APP_00616 (Susquehanna RFA Resp.)
(“Defendant denies the first clause of the preceding statement insofar as no such
ballots had been received”); APP_00626 (Tioga RFA. Resp.) (“Defendant objects to the
preceding request as it assumes events contrary to fact. Subject to this objection, no
envelopes bearing dates were uncounted.); APP_00655 (Washington RFA Resp.)
(“Upon reasonable review of information in Defendant’s possession and control,
Defendant is without sufficient knowledge and/or information to admit or deny this
Request.”).


                                          45
                                    Pa.App.0134
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 139    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  46 of 94




Resp.); APP_00391 (Lancaster Interrog. Resp.); APP_00456 (McKean Interrog.

Resp.); APP_00513 (Perry Interrog. Resp.); APP_00611 (Sullivan Interrog. Resp.);

APP_00621 (Susquehanna Interrog. Resp.); APP_00636 (Union Interrog. Resp.);

APP_00648 (Warren Interrog. Resp.); APP_00671 (Washington Interrog. Resp.);

APP_00692 (Wayne Interrog. Resp.); APP_00708 (Westmoreland Interrog. Resp.);

APP_00716 (Wyoming Interrog. Resp.); see also APP_00870-871 (Lancaster Dep.);

APP_00921 (Westmoreland Dep.); APP_00980 (Marks Dep.).

      41.    At least 20 additional counties admitted that they provided voters with

no notice that their ballot had been set aside because of a missing or incorrect date

on the outer return envelope, except that they uploaded that information into the

SURE system, which sends an automatic notification to voters who provided the

county with their email address. APP_00738-739 (Bedford Interrog. Resp.);

APP_00132 (Butler Interrog. Resp.); APP_00738-739 (Carbon Interrog. Resp.);

APP_00738-739 (Centre Interrog. Resp.); APP_00738-739 (Columbia Interrog. Resp.);

APP_00738-739 (Dauphin Interrog. Resp.); APP_00738-739 (Jefferson Interrog.

Resp.); APP_00364 (Juniata Interrog. Resp.); APP_00738-739 (Huntingdon Interrog.

Resp.); APP_00738-739 (Indiana Interrog. Resp.); APP_00738-739 (Lebanon Interrog.

Resp.); APP_00462 (Mercer Interrog. Resp.); APP_00738-739 (Montour Interrog.

Resp.); APP_00738-739 (Northumberland Interrog. Resp.); APP_00542 (Pike

Interrog. Resp.); APP_00587 (Schuylkill Interrog. Resp.); APP_00738-739 (Snyder

Interrog. Resp.); APP_00601 (Somerset Interrog. Resp.); APP_00738-739 (Venango

Interrog. Resp.); APP_00738-739 (York Interrog. Resp.).




                                         46
                                   Pa.App.0135
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 140    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  47 of 94




      42.    All of the voters whose ballots were set aside in the November 2022

election solely because of a missing or incorrect handwritten date on the outer return

envelope had previously been determined to be eligible and qualified to vote in the

election by their county board of elections. APP_00008 (Adams Interrog. Resp.);

APP_00029 (Allegheny Interrog. Resp.); APP_00042 (Armstrong Interrog. Resp.);

APP_00064-65 (Beaver Interrog. Resp.); APP_00080 (Berks Interrog. Resp.);

APP_00099 (Blair Interrog. Resp.); APP_00109 (Bradford Interrog. Resp.);

APP_00118 (Bucks Interrog. Resp.); APP_00132 (Butler Interrog. Resp.); APP_00141

(Cambria Interrog. Resp.); APP_00152 (Cameron Interrog. Resp.); APP_00171

(Chester Interrog. Resp.); APP_00186 (Clarion Interrog. Resp.); APP_00205

(Clearfield Interrog. Resp.); APP_00219 (Clinton Interrog. Resp.); APP_00238

(Crawford Interrog. Resp.); APP_00255 (Cumberland Interrog. Resp); APP_00269

(Delaware Interrog. Resp.); APP_00279 (Elk Interrog. Resp.); APP_00294 (Erie

Interrog. Resp.); APP_00311 (Fayette Interrog. Resp.); APP_0032 (Forest Interrog.

Resp.); APP_00338 (Franklin Interrog. Resp.); APP_00347 (Fulton Interrog. Resp.);

APP_00356 (Greene Interrog. Resp.); APP_00363 (Juniata Interrog. Resp.);

APP_00375 (Lackawanna Interrog. Resp.); APP_00391 (Lancaster Interrog. Resp.);

APP_00419 (Luzerne Interrog. Resp.); APP_00440 (Lycoming Interrog. Resp.);

APP_00455 (McKean Interrog. Resp.); APP_00462 (Mercer Interrog. Resp.);

APP_00470 (Mifflin Interrog. Resp.); APP_00482 (Montgomery Interrog. Resp.);

APP_00497 (Northampton Interrog. Resp.); APP_00513 (Perry Interrog. Resp.);

APP_00533 (Philadelphia Interrog. Resp.); APP_00542 (Pike Interrog. Resp.);




                                         47
                                   Pa.App.0136
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 141    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  48 of 94




APP_00577 (Potter Interrog. Resp.); APP_00587 (Schuylkill Interrog. Resp.);

APP_00600 (Somerset Interrog. Resp.); APP_00611 (Sullivan Interrog. Resp.);

APP_00620 (Susquehanna Interrog. Resp.); APP_00630 (Tioga Interrog. Resp.);

APP_00636 (Union Interrog. Resp.); APP_00647 (Warren Interrog. Resp.);

APP_00670 (Washington Interrog. Resp.); APP_00692 (Wayne Interrog. Resp.);

APP_00708 (Westmoreland Interrog. Resp.); APP_00715 (Wyoming Interrog. Resp.);

APP_00736-737 (Babst Calland Interrog. Resp.); see also APP_01165-1168

(Philadelphia meeting minutes).

      43.    The county boards of elections did not identify or raise any fraud

concerns with respect to any November 2022 general election mail ballot that was

signed and timely received but set aside because of a missing or incorrect handwritten

date on the outer return envelope. APP_00009 (Adams Interrog. Resp.); APP_00029

(Allegheny Interrog. Resp.); APP_00043 (Armstrong Interrog. Resp.); APP_00064

(Beaver Interrog. Resp.); APP_00080 (Berks Interrog. Resp.); APP_00099 (Blair

Interrog. Resp.); APP_00109 (Bradford Interrog. Resp.); APP_00118 (Bucks Interrog.

Resp.); APP_00132 (Butler Interrog. Resp.); APP_00141 (Cambria Interrog. Resp.);

APP_00152 (Cameron Interrog. Resp.); APP_00172 (Chester Interrog. Resp.);

APP_00187 (Clarion Interrog. Resp.); APP_00205 (Clearfield Interrog. Resp.);

APP_00219 (Clinton Interrog. Resp.); APP_00239 (Crawford Interrog. Resp.);

APP_00255 (Cumberland Interrog. Resp.); APP_00270 (Delaware Interrog. Resp.);

APP_00279 (Elk Interrog. Resp.); APP_00294 (Erie Interrog. Resp.); APP_00311

(Fayette Interrog. Resp.); APP_0323 (Forest Interrog. Resp.); APP_00338 (Franklin




                                         48
                                   Pa.App.0137
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 142    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  49 of 94




Interrog. Resp.); APP_00347 (Fulton Interrog. Resp.); APP_00356 (Greene Interrog.

Resp.); APP_00364 (Juniata Interrog. Resp.); APP_00375 (Lackawanna Interrog.

Resp.); APP_00391 (Lancaster Interrog. Resp.); APP_00403 (Lehigh Interrog. Resp.);

APP_00417 (Luzerne Interrog. Resp.); APP_00440 (Lycoming Interrog. Resp.);

APP_00455 (McKean Interrog. Resp.); APP_00462 (Mercer Interrog. Resp.);

APP_00471 (Mifflin Interrog. Resp.); APP_00482 (Montgomery Interrog. Resp.);

APP_00497 (Northampton Interrog. Resp.); APP_00513 (Perry Interrog. Resp.);

APP_00542 (Pike Interrog. Resp.); APP_00533 (Philadelphia Interrog. Resp.);

APP_00578 (Potter Interrog. Resp.); APP_00587 (Schuylkill Interrog. Resp.);

APP_00601 (Somerset Interrog. Resp.); APP_00611 (Sullivan Interrog. Resp.);

APP_00647 (Warren Interrog. Resp.); APP_00620 (Susquehanna Interrog. Resp.);

APP_00630 (Tioga Interrog. Resp.); APP_00636 (Union Interrog. Resp.); APP_00670

(Washington Interrog. Resp.); APP_00692 (Wayne Interrog. Resp.); APP_00708

(Westmoreland Interrog. Resp.); APP_00716 (Wyoming Interrog. Resp.); APP_00737

(Babst Calland Interrog. Resp.); APP_00929r (Westmoreland Dep.); Phila Bd.

Transcript at 14-15.

      44.   The voters whose ballots were set aside based on a missing or incorrect

handwritten date include voters who identify as Democrats, Republicans, and

Independents, as well as unaffiliated voters. APP_01292-1400 (Beaver, Berks, Blair,

Butler, Centre, Erie, Franklin, Indiana, Lancaster, Lawrence, Luzerne, Venango,

Wayne, and Westmoreland voter lists).




                                        49
                                  Pa.App.0138
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 143    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  50 of 94




      45.   The voters whose ballots were set aside based on a missing or incorrect

handwritten date ranged in age from 18 to at least 101 years old, and the date

requirement had a significant impact on voters who were 65 or older. APP_01292-

1400. For example:

               a. In Beaver County, the youngest voter affected by the date

                     requirement was 18, and the oldest voter affected by the date

                     requirement was 96. Approximately 70 percent of the affected

                     voters in Beaver County were at least 65 years old, and

                     approximately 30 percent of the affected voters were at least 80

                     years old. APP_01292-01296.

               b. In Berks County, the youngest voter affected by the date

                     requirement was 18, and the oldest voter affected by the date

                     requirement was 101. Approximately 43 percent of the affected

                     voters in Berks County were at least 65 years old, and 16 percent

                     of the affected voters were at least 80 years old. APP_01298-

                     01353.

               c. In Blair County, the youngest voter affected by the date

                     requirement was 25, and the oldest voter affected by the date

                     requirement was 95. Approximately 69 percent of the affected

                     voters in Blair County were at least 65 years old, and 18 percent

                     of the affected voters were at least 80 years old. APP_01357-

                     01358.




                                          50
                                    Pa.App.0139
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 144    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  51 of 94




        d. In Butler County, the youngest voter affected by the date

           requirement was 18, and the oldest voter affected by the date

           requirement was 96. Approximately 48 percent of the affected

           voters in Butler County were at least 65 years old, and 16 percent

           of the affected voters were at least 80 years old. APP_01359-

           01360.

        e. In Centre County, the youngest voter affected by the date

           requirement was 18, and the oldest voter affected by the date

           requirement was 100. Approximately 56 percent of the affected

           voters in Centre County were at least 65 years old, and 24 percent

           of the affected voters were at least 80 years old. APP_01361-

           01364.

        f. In Erie County, the youngest voter affected by the date

           requirement was 18, and the oldest voter affected by the date

           requirement was 92. Approximately 66 percent of the affected

           voters in Erie County were at least 65 years old, and 25 percent

           of the affected voters were at least 80 years old. APP_01367-

           01372.

        g. In Franklin County, the youngest voter affected by the date

           requirement was 18, and the oldest voter affected by the date

           requirement was 96. Approximately 60 percent of the affected

           voters in Franklin County were at least 65 years old, and 30




                                51
                          Pa.App.0140
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 145    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  52 of 94




           percent of the affected voters were at least 80 years old.

           APP_01373-01375.

        h. In Indiana County, the youngest voter affected by the date

           requirement was 20, and the oldest voter affected by the date

           requirement was 94. Approximately 42 percent of the affected

           voters in Indiana County were at least 65 years old, and 10

           percent of the affected voters were at least 80 years old.

           APP_01376-01379.

        i. In Lancaster County, the youngest voter affected by the date

           requirement was 18, and the oldest voter affected by the date

           requirement was 99. Approximately 61 percent of the affected

           voters in Lancaster County were at least 65 years old, and 22

           percent of the affected voters were at least 80 years old.

           APP_01380-01386.

        j. In Lawrence County, the youngest voter affected by the date

           requirement was 19, and the oldest voter affected by the date

           requirement was 92. Approximately 66 percent of the affected

           voters in Lawrence County were at least 65 years old, and 26

           percent of the affected voters were at least 80 years old.

           APP_01387.

        k. In Luzerne County, the youngest voter affected by the date

           requirement was 18, and the oldest voter affected by the date




                               52
                          Pa.App.0141
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 146    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  53 of 94




           requirement was 97. Approximately 61 percent of the affected

           voters in Luzerne County were at least 65 years old, and 15

           percent of the affected voters were at least 80 years old.

           APP_01388-01391.

        l. In Venango County, the youngest voter affected by the date

           requirement was 24, and the oldest voter affected by the date

           requirement was 97. Approximately 77 percent of the affected

           voters in Venango County were at least 65 years old, and 30

           percent of the affected voters were at least 80 years old.

           APP_01393.

        m. In Wayne County, the youngest voter affected by the date

           requirement was 19, and the oldest voter affected by the date

           requirement was 97. Approximately 59 percent of the affected

           voters in Wayne County were at least 65 years old, and 25 percent

           of the affected voters were at least 80 years old. APP_01395-

           01396.

        n. In Westmoreland County, the youngest voter affected by the date

           requirement was 19, and the oldest voter affected by the date

           requirement was 94. Approximately 67 percent of the affected

           voters in Westmoreland County were at least 65 years old, and 28

           percent of the affected voters were at least 80 years old.

           APP_01397-01398.




                                53
                          Pa.App.0142
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 147    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  54 of 94




        o. In Philadelphia County, one of the commissioners reported: “the

           median age of voters who submitted undated ballots is 64 years

           old and the median age of voters who submitted misdated ballots

           is 66 years old. By comparison, the median age of registered

           voters in Philadelphia is 43. Looked at more closely, 74.5% of

           undated ballots were submitted by voters age 50 or older and

           77.2% of misdated ballots were submitted by voters age 50 or

           older. At age 60 or older, those numbers are 60.9% for undated

           ballots and 64.1% for misdated ballots. Over a third of the

           undated and misdated ballots were submitted by voters over 70

           years of age. 37.5% for the undated, and 40.9% for the misdated.

           14.1% of the undated ballots were submitted by voters 80 years

           or older and 13.9% of the misdated ballots were submitted by

           voters in this age group. Voters age 90 or older submitted 57

           undated ballots and 15 misdated ballots. Importantly, these

           percentages all are significantly higher than the percentage of

           Philadelphia's    registered   voters   that   these   age   groups

           represent.... In addition, the Board has reviewed the distribution

           of these ballots across Philadelphia and that analysis suggests

           that the issue disproportionately impacts certain Philadelphia

           communities. These include areas with higher poverty rates,




                                 54
                            Pa.App.0143
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 148    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  55 of 94




                    lower   rates   of   educational    attainment,    and    minority

                    communities.” APP_01163-1164 (Philadelphia meeting minutes).

IV.   THE DATE REQUIREMENT

      46.    The voter declaration forms that accompany paper mail and absentee

ballots include a line for the voter to sign and date the declaration. See, e.g.,

APP_01298 (Berks mail envelope); APP_01299 (Bucks military envelope). The exact

phrasing of the label under the date line varies by county—for example, some

counties employ the label “Today’s date (required) / Fecha de hoy (obligatorio),” while

others use “Today’s date (MM/DD/YYYY (required).” APP_01298 (Berks envelope);

APP_01486 (Lancaster envelope).

      47.    In administering the November 2022 general election, the county boards

of elections did not use the handwritten date on the outer return envelope containing

a mail or absentee ballot for any purpose related to determining or confirming the

mail ballot voter’s age. APP_00003 (Adams RFA Resp.); APP_00019-20 (Allegheny

RFA Resp.); APP_00037-38 (Armstrong RFA Resp.); APP_00049-50 (Beaver RFA

Resp.); APP_00072-73 (Berks RFA Resp.); APP_00088-90 (Blair RFA Resp.);

APP_00105 (Bradford RFA Resp.); APP_00113 (Bucks RFA Resp.); APP_00124,

APP_00125 (Butler RFA Resp.); APP_00136-137 (Cambria RFA Resp.) 4; APP_00145-



4 Cambria County responded to this request (and others) with a simple “No,” which

can only be interpreted to mean that this county, like all others, never used or
referred to the handwritten date to determine or confirm the mail ballot voter’s age.
Cambria County consistently responded to Plaintiffs’ interrogatory requests that it
does not contend the handwritten date on Return Envelope is “material in
determining whether a mail ballot voter is qualified to vote” (Interrogatory No. 14)
and agreed not to oppose Plaintiffs’ requested relief in this action (ECF No. 157).


                                          55
                                    Pa.App.0144
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 149    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  56 of 94




146 (Cameron RFA Resp.); APP_00158-159 (Chester RFA Resp.); APP_00181

(Clarion RFA Resp.); APP_00193-194 (Clearfield RFA Resp.); APP_0211-212 (Clinton

RFA Resp.); APP_00225-226 (Crawford RFA Resp.); APP_00245-246 (Cumberland

RFA Resp.); APP_00261 (Delaware RFA Resp.); APP_00276 (Elk RFA Resp.);

APP_00281-282 (Erie RFA Resp.); APP_00301-303 (Fayette RFA Resp.); APP_00317-

318 (Forest RFA Resp.); APP_00328-329 (Franklin RFA Resp.); APP_00351-352

(Greene RFA Resp.); APP_00360 (Juniata RFA Resp.); APP_00367-368 (Lackawanna

RFA Resp.); APP_00396-397 (Lehigh RFA Resp.); APP_00410-411 (Luzerne RFA

Resp.); APP_00430 (Lycoming RFA Resp.); APP_00448-449 (McKean RFA Resp.);

APP_00465 (Mifflin RFA Resp.); APP_00475-476 (Montgomery RFA Resp.);

APP_00488-489 (Northampton RFA Resp.); APP_00503-504 (Perry RFA Resp.);

APP_00523-524    (Philadelphia   RFA   Resp.);   APP_00543   (Pike   RFA   Resp.);

APP_00548-549 (Potter RFA Resp.); APP_00584 (Schuylkill RFA Resp.); APP_00592

(Somerset RFA Resp.); APP_00607 (Sullivan RFA Resp.); APP_00615 (Susquehanna

RFA Resp.); APP_00625 (Tioga RFA. Resp.); APP_00641-642 (Warren RFA Resp.);

APP_00653-654 (Washington RFA Resp.); APP_00680-681 (Wayne RFA Resp.);

APP_00697-698 (Westmoreland RFA Resp.); APP_00718-719 (Wyoming RFA Resp.);

APP_00725-726 (Babst Calland RFA Resp.); see also APP_00814-816 (Berks Dep.);

APP_00861-862, APP_00866 (Lancaster Dep.); APP_00906-910 (Westmoreland

Dep.); APP_00983-984, APP_00995-997 (Marks Dep.); APP_01190-1191 (Greenburg

Report).




                                       56
                                 Pa.App.0145
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 150    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  57 of 94




      48.    In administering the November 2022 general election, the county boards

of elections did not use the handwritten date on the outer return envelope containing

a mail or absentee ballot for any purpose related to determining or confirming the

mail ballot voter’s citizenship. APP_00003 (Adams RFA Resp.); APP_00019-20

(Allegheny RFA Resp.); APP_00037-38 (Armstrong RFA Resp.); APP_00049-50

(Beaver RFA Resp.); APP_00072-73 (Berks RFA Resp.); APP_00088-90 (Blair RFA

Resp.); APP_00105 (Bradford RFA Resp.); APP_00113 (Bucks RFA Resp.);

APP_00124-125 (Butler RFA Resp.); APP_00136-137 (Cambria RFA Resp.);

APP_00145-146 (Cameron RFA Resp.) 5; APP_00158-159 (Chester RFA Resp.);

APP_00181    (Clarion   RFA    Resp.);   APP_00193-194    (Clearfield   RFA   Resp.);

APP_00211-212 (Clinton RFA Resp.); APP_00225-226 (Crawford RFA Resp.);

APP_00245-246 (Cumberland RFA Resp.); APP_00261 (Delaware RFA Resp.);

APP_00276 (Elk RFA Resp.); APP_00281-282 (Erie RFA Resp.); APP_00301,

APP_00303 (Fayette RFA Resp.); APP_00317-318 (Forest RFA Resp.); APP_00328-

329 (Franklin RFA Resp.); APP_00351-352 (Greene RFA Resp.); APP_00360 (Juniata

RFA Resp.); APP_00367-368 (Lackawanna RFA Resp.); APP_00396-397 (Lehigh RFA

Resp.); APP_00410-411 (Luzerne RFA Resp.); APP_00430 (Lycoming RFA Resp.);

APP_00448-449 (McKean RFA Resp.); APP_00465 (Mifflin RFA Resp.); APP_00475-

476 (Montgomery RFA Resp.); APP_00488-489 (Northampton RFA Resp.);




5 Cambria County responded to this request with a simple “No,” which can only be

interpreted to mean that this county, like all others, never used or referred to the
handwritten date to determine or confirm the mail ballot voter’s citizenship. See
supra n.4.


                                         57
                                   Pa.App.0146
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 151    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  58 of 94




APP_00503-504 (Perry RFA Resp.); APP_00523-524 (Philadelphia RFA Resp.);

APP_00543 (Pike RFA Resp.); APP_00548-549 (Potter RFA Resp.); APP_00584

(Schuylkill RFA Resp.); APP_00592 (Somerset RFA Resp.); APP_00607 (Sullivan

RFA); APP_00615 (Susquehanna RFA Resp.); APP_00625 (Tioga RFA. Resp.);

APP_00641-642 (Warren RFA Resp.); APP_00653-654 (Washington RFA Resp.);

APP_00680-681 (Wayne RFA Resp.); APP_00697-698 (Westmoreland RFA Resp.);

APP_00718-719 (Wyoming RFA Resp.); APP_00725-726 (Babst Calland RFA Resp.);

see also APP_00814-816 (Berks Dep.); APP_00861-862, APP_00866 (Lancaster Dep.);

APP_00906-910 (Westmoreland Dep.); APP_00983-984, APP_00995-997 (Marks

Dep.); APP_01190-1191 (Greenburg Report).

      49.    In administering the November 2022 general election, the county boards

of elections did not use the handwritten date on the outer return envelope containing

a mail or absentee ballot for any purpose related to determining or confirming the

mail ballot voter’s county or duration of residence. APP_00003 (Adams RFA Resp.);

APP_00019-20 (Allegheny RFA Resp.); APP_00037-38 (Armstrong RFA Resp.);

APP_00049-50 (Beaver RFA Resp.); APP_00072-73 (Berks RFA Resp.); APP_00088-

90 (Blair RFA Resp.); APP_00105 (Bradford RFA Resp.); APP_00113 (Bucks RFA

Resp.); APP_00124-125 (Butler RFA Resp.); APP_00136-137 (Cambria RFA Resp.) 6;

APP_00145-146 (Cameron RFA Resp.); APP_00158-159 (Chester RFA Resp.);




6 Cambria County responded to this request with a simple “No,” which can only be

interpreted to mean that this county, like all others, never used or referred to the
handwritten date to determine or confirm the mail ballot voter’s county or duration
of residence. See supra n.4.


                                         58
                                   Pa.App.0147
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 152    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  59 of 94




APP_00181    (Clarion   RFA    Resp.);   APP_00193-194    (Clearfield   RFA   Resp.);

APP_00211-212 (Clinton RFA Resp.); APP_00225-226 (Crawford RFA Resp.);

APP_00245-246 (Cumberland RFA Resp.); APP_00261 (Delaware RFA Resp.);

APP_00276 (Elk RFA Resp.); APP_00281-282 (Erie RFA Resp.); APP_00301,

APP_00303 (Fayette RFA Resp.); APP_00317-318 (Forest RFA Resp.); APP_00328-

329 (Franklin RFA Resp.); APP_00351-352 (Greene RFA Resp.); APP_00360 (Juniata

RFA Resp.); APP_00367-368 (Lackawanna RFA Resp.); APP_00396-397 (Lehigh RFA

Resp.); APP_00410-411 (Luzerne RFA Resp.); APP_00430 (Lycoming RFA Resp.);

APP_00448-449 (McKean RFA Resp.); APP_00465 (Mifflin RFA Resp.); APP_00475-

476 (Montgomery RFA Resp.); APP_00488-489 (Northampton RFA Resp.);

APP_00503-504 (Perry RFA Resp.); APP_00523-524 (Philadelphia RFA Resp.);

APP_00543 (Pike RFA Resp.); APP_00548-549 (Potter RFA Resp.); APP_00584

(Schuylkill RFA Resp.); APP_00592 (Somerset RFA Resp.); APP_00607 (Sullivan

RFA); APP_00615 (Susquehanna RFA Resp.); APP_00625 (Tioga RFA. Resp.);

APP_00641-642 (Warren RFA Resp.); APP_00653-654 (Washington RFA Resp.);

APP_00680-681 (Wayne RFA Resp.); APP_00697-698 (Westmoreland RFA Resp.);

APP_00718-719 (Wyoming RFA Resp.); APP_00725-726 (Babst Calland RFA Resp.);

see also APP_00814-816 (Berks Dep.); APP_00861-862, APP_00866 (Lancaster Dep.);

APP_00906-910 (Westmoreland Dep.); APP_00983-984, APP_00995-997 (Marks

Dep.); APP_01190-1191 (Greenburg Report).

      50.    In administering the November 2022 general election, the county boards

of elections did not use the handwritten date on the outer return envelope containing




                                         59
                                   Pa.App.0148
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 153    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  60 of 94




a mail or absentee ballot for any purpose related to determining or confirming the

mail ballot voter’s felony status. APP_00003 (Adams RFA Resp.); APP_00019-20

(Allegheny RFA Resp.); APP_00037-38 (Armstrong RFA Resp.); APP_00049-50

(Beaver RFA Resp.); APP_00072-73 (Berks RFA Resp.); APP_00088-90 (Blair RFA

Resp.); APP_00105 (Bradford RFA Resp.); APP_00113 (Bucks RFA Resp.);

APP_00124-125 (Butler RFA Resp.); APP_00136-137 (Cambria RFA Resp.) 7;

APP_00145-146 (Cameron RFA Resp.); APP_00158-159 (Chester RFA Resp.);

APP_00181    (Clarion   RFA   Resp.);   APP_00193-194    (Clearfield   RFA   Resp.);

APP_00211-212 (Clinton RFA Resp.); APP_00225-226 (Crawford RFA Resp.);

APP_00245-246 (Cumberland RFA Resp.); APP_00261 (Delaware RFA Resp.);

APP_00276 (Elk RFA Resp.); APP_00281-282 (Erie RFA Resp.); APP_00301,

APP_00303 (Fayette RFA Resp.); APP_00317-318 (Forest RFA Resp.); APP_00328-

329 (Franklin RFA Resp.); APP_00351-352 (Greene RFA Resp.); APP_00360 (Juniata

RFA Resp.); APP_00367-368 (Lackawanna RFA Resp.); APP_00396-397 (Lehigh RFA

Resp.); APP_00410-411 (Luzerne RFA Resp.); APP_00430 (Lycoming RFA Resp.);

APP_00448-449 (McKean RFA Resp.); APP_00465 (Mifflin RFA Resp.); APP_00475-

476 (Montgomery RFA Resp.); APP_00488-489 (Northampton RFA Resp.);

APP_00503-504 (Perry RFA Resp.); APP_00523-524 (Philadelphia RFA Resp.);

APP_00543 (Pike RFA Resp.); APP_00548-549 (Potter RFA Resp.); APP_00584




7 Cambria County responded to this request with a simple “No,” which can only be

interpreted to mean that this county, like all others, never used or referred to the
handwritten date to determine or confirm the mail ballot voter’s county or duration
of residence. See supra n.4.


                                        60
                                  Pa.App.0149
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 154    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  61 of 94




(Schuylkill RFA Resp.); APP_00592 (Somerset RFA Resp.); APP_00607 (Sullivan

RFA); APP_00615 (Susquehanna RFA Resp.); APP_00625 (Tioga RFA. Resp.);

APP_00641-642 (Warren RFA Resp.); APP_00653-654 (Washington RFA Resp.);

APP_00680-681 (Wayne RFA Resp.); APP_00697-698 (Westmoreland RFA Resp.);

APP_00718-719 (Wyoming RFA Resp.); APP_00725-726 (Babst Calland RFA Resp.);

see also APP_00814-816 (Berks Dep.); APP_00861-862, APP_00866 (Lancaster Dep.);

APP_00906-910 (Westmoreland Dep.); APP_00983-984, APP_00995-997 (Marks

Dep.); APP_01190-1191 (Greenburg Report).

      51.    In administering the November 2022 general election, the county boards

of elections did not use the handwritten date on the outer return envelope containing

a mail ballot to establish whether they received the ballot by 8:00 P.M. on November

8, 2022. APP_00003 (Adams RFA Resp.); APP_00020 (Allegheny RFA Resp.);

APP_00037 (Armstrong RFA Resp.); APP_00049 (Beaver RFA Resp.); APP_00073

(Berks RFA Resp.); APP_00090 (Blair RFA Resp.); APP_00105 (Bradford RFA Resp.);

APP_0013 (Bucks RFA Resp.); APP_00125 (Butler RFA Resp.); APP_00136 (Cambria

RFA Resp.) 8; APP_00145 (Cameron RFA Resp.); APP_00158 (Chester RFA Resp.);

APP_00181 (Clarion RFA Resp.); APP_00193 (Clearfield RFA Resp.); APP_00211

(Clinton RFA Resp.); APP_00225 (Crawford RFA Resp.); APP_00246 (Cumberland

RFA Resp.); APP_00261 (Delaware RFA Resp.); APP_00276 (Elk RFA Resp.);




8 Cambria County responded to this request with a simple “No,” which can only be

interpreted to mean that this county, like all others, never used or referred to the
handwritten date to establish whether they received the ballot by the applicable
deadline. See supra n.4.


                                          61
                                   Pa.App.0150
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 155    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  62 of 94




APP_00281 (Erie RFA Resp.); APP_00302 (Fayette RFA Resp.); APP_00317 (Forest

RFA Resp.); APP_00329 (Franklin RFA); APP_00351 (Greene RFA Resp.);

APP_00360 (Juniata RFA Resp.); APP_00368 (Lackawanna RFA Resp.); APP_00396

(Lehigh RFA Resp.); APP_00410 (Luzerne RFA Resp.); APP_00430 (Lycoming RFA

Resp.); APP_00449 (McKean RFA Resp.); APP_00465 (Mifflin RFA Resp.);

APP_00476 (Montgomery RFA Resp.); APP_00488 (Northampton RFA Resp.);

APP_0504 (Perry RFA Resp.); APP_00523 (Philadelphia RFA Resp.); APP_00543

(Pike RFA Resp.); APP_00549 (Potter RFA Resp.); APP_00584 (Schuylkill RFA

Resp.); APP_00592 (Somerset RFA Resp.); APP_00607 (Sullivan RFA Resp.);

APP_00615 (Susquehanna RFA Resp.); APP_00625 (Tioga RFA. Resp); APP_00641

(Warren RFA Resp.); APP_00653 (Washington RFA Resp.); APP_00680 (Wayne RFA

Resp.); APP_00697 (Westmoreland RFA Resp.); APP_00718 (Wyoming RFA Resp.);

APP_00725 (Babst Calland RFA Resp.); see also APP_00886-887 (Lancaster Dep.);

APP_00993-995, APP_01001 (Marks Dep.); APP_01165-1166 (Philadelphia meeting

minutes).

      52.    Setting aside military-overseas ballots, in administering the November

2022 general election, the county boards of elections did not use or refer to the date

handwritten on the outer return envelope containing an absentee ballot to establish

whether they received the ballot by the applicable deadline. APP_00003 (Adams RFA

Resp.); APP_00020-21 (Allegheny RFA Resp.); APP_00037-38 (Armstrong RFA

Resp.); APP_00049-50 (Beaver RFA Resp.); APP_00073 (Berks RFA Resp.);

APP_00091 (Blair RFA Resp.); APP_00105 (Bradford RFA Resp.); APP_00113-14




                                         62
                                   Pa.App.0151
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 156    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  63 of 94




(Bucks RFA Resp.); APP_00125-26 (Butler RFA Resp.); APP_00136 (Cambria RFA

Resp.) 9; APP_00145-46 (Cameron RFA Resp.); APP_00158-59 (Chester RFA Resp.);

APP_00181 (Clarion RFA Resp.); APP_00193-94 (Clearfield RFA Resp.); APP_00211-

12 (Clinton RFA Resp.); APP_00225-26 (Crawford RFA Resp.); APP_00247

(Cumberland RFA Resp.); APP_00261 (Delaware RFA Resp.); APP_00276 (Elk RFA

Resp.); APP_00281-82 (Erie RFA Resp.); APP_00302-03 (Fayette RFA Resp.);

APP_00317-18 (Forest RFA Resp.); APP_00329 (Franklin RFA Resp.); APP_00351-

52 (Greene RFA Resp.); APP_00360 (Juniata RFA Resp.); APP_00368 (Lackawanna

RFA Resp.); APP_00396-97 (Lehigh RFA Resp.); APP_00410-11 (Luzerne RFA Resp.);

APP_00430 (Lycoming RFA Resp.); APP_00449 (McKean RFA Resp.); APP_00465-66

(Mifflin RFA Resp.); APP_00476 (Montgomery RFA Resp.); APP_00488-89

(Northampton RFA Resp.); APP_00504 (Perry RFA Resp.); APP_00543 (Pike RFA

Resp.); APP_00549-50 (Potter RFA Resp.); APP_00584 (Schuylkill RFA Resp.);

APP_00592 (Somerset RFA Resp.); APP_00607 (Sullivan RFA Resp.); APP_00615

(Susquehanna RFA Resp.); APP_00625 (Tioga RFA. Resp.); APP_00641-42 (Warren

RFA Resp.); APP_00653-54 (Washington RFA Resp.); APP_00680-81 (Wayne RFA

Resp.); APP_00697-98 (Westmoreland RFA Resp.); APP_00718-19 (Wyoming RFA

Resp.); APP_00725-26 (Babst Calland RFA Resp.); see also APP_00886-887

(Lancaster   Dep.);   APP_00993-995,   APP_01001   (Marks   Dep.);   APP_01165

(Philadelphia meeting minutes).




9 See supra n.8.




                                       63
                                  Pa.App.0152
         Case:1:22-cv-00339-SPB
         Case  23-3166 Document:  146 Page:
                                Document 276 157    Date Filed:
                                             Filed 04/21/23     01/10/2024
                                                             Page  64 of 94




      53.      A voter could not have signed the voter declaration form on the 2022

general election mail ballot outer return envelope on any date before their county

board of elections sent the mail ballot materials for the 2022 election to voters,

because the voter would not yet have the mail ballot materials in their possession.

For example, if a county board of elections did not send mail ballots to voters until

October 1, 2022, then a voter in that county could not have filled out their mail ballot

before October 1, 2022, regardless of what if any date the voter wrote on the outer

return     envelope.   APP_00827,     APP00831-832,     APP_00840-41      (Berks   Dep.);

APP_00876-877, APP_00880-881 (Lancaster Dep.); APP_00928-929 (Westmoreland

Dep.); APP_01000, APP_01002-1003 (Marks Dep.); APP_01189-1190 (Greenburg

Report).

      54.      If a county board of elections received and date-stamped a 2022 general

election mail ballot before 8:00 P.M. on Election Day (November 8, 2022), then that

ballot was timely received under the Election Code. 25 P.S. §§ 3146.6(c), 3150.16(c);

see also, e.g., APP_00834 (Berks Dep.); APP_01189 (Greenburg Report).

      55.      If a county board of elections received a 2022 general election mail ballot

by 8:00 P.M. on Election Day (November 8, 2022), then the voter who submitted that

ballot could not have filled out that ballot after 8:00 P.M. on Election Day, regardless

of what if any date the voter wrote on the outer return envelope. APP_00830 (Berks

Dep.); APP_00874-875 (Lancaster Dep.); APP_00925-926 (Westmoreland Dep.);

APP_01000 (Marks Dep.).




                                            64
                                     Pa.App.0153
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 158    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  65 of 94




      56.    If a county board of elections received a 2022 general election mail ballot

after 8:00 P.M. on Election Day (November 8, 2022), then the board of elections did

not count that ballot, regardless of what if any date the voter wrote on the outer

return envelope. APP_00830a (Berks Dep.); APP_00875-876 (Lancaster Dep.);

APP_00926-927 (Westmoreland Dep.); APP_01000-1001 (Marks Dep.).

      57.    More than 20 county boards of elections have stated that they do not

contend that the handwritten date is material in determining whether a mail ballot

voter is qualified to vote in the election in which they have cast a ballot. APP_00010

(Adams Interrog. Resp.); APP_00031-32 (Allegheny Interrog. Resp.); APP_00100

(Blair Interrog. Resp.); APP_00118 (Bucks Interrog. Resp.); APP_00142 (Cambria

Interrog. Resp.); APP_00174 (Chester Interrog. Resp.); APP_00220 (Clinton Interrog.

Resp.); APP_00271 (Delaware Interrog. Resp.); APP_00295 (Erie Interrog. Resp.);

APP_00312 (Fayette Interrog. Resp.); APP_00324 (Forest Interrog. Resp.);

APP_00364 (Juniata Interrog. Resp.); APP_00392 (Lancaster Interrog. Resp.);

APP_00404 (Lehigh Interrog. Resp.); APP_00456 (McKean Interrog. Resp.);

APP_00483 (Montgomery Interrog. Resp.); APP_00535 (Philadelphia Interrog.

Resp.); APP_00602 (Somerset Interrog. Resp.); APP_00612 (Sullivan Interrog. Resp.);

APP_00637 (Union Interrog. Resp.).

      58.    An additional ten counties have taken no position on this contention.

APP_00043 (Armstrong Interrog. Resp.); APP_00066 (Beaver Interrog. Resp.);

APP_00187 (Clarion Interrog. Resp.); APP_00240 (Crawford Interrog. Resp.);

APP_00256 (Cumberland Interrog. Resp.); APP_00357 (Greene Interrog. Resp.);




                                          65
                                   Pa.App.0154
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 159    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  66 of 94




APP_00462 (Mercer Interrog. Resp.); APP_00472 (Mifflin Interrog. Resp.);

APP_00631 (Tioga Interrog. Resp.); APP_00716 (Wyoming Interrog. Resp.).

      59.    Of those county boards of elections that identified any purported use for

the voter-written date in their discovery responses, 30 counties identified that the

only reason for looking at this date was to ensure compliance with the Election Code

and the Supreme Court of Pennsylvania’s Ball decision. APP_00080 (Berks Interrog.

Resp.); APP_00110 (Bradford Interrog. Resp.); APP_00153 (Cameron Interrog.

Resp.); APP_00339 (Franklin Interrog. Resp.); APP_00348 (Fulton Interrog. Resp.),

APP_00376 (Lackawanna Interrog. Resp.); APP_00418 (Luzerne Interrog. Resp.);

APP_00499 (Northampton Interrog. Resp.); APP_00514 (Perry Interrog. Resp.);

APP_00579 (Potter Interrog. Resp.); APP_00587 (Schuylkill Interrog. Resp.);

APP_00672 (Washington Interrog. Resp.); APP_00693 (Wayne Interrog. Resp.);

APP_00709 (Westmoreland Interrog. Resp.); APP_00740 (Babst Calland Interrog.

Resp.); see also APP_00817, APP_00820-821 (Berks Dep.); APP_00863-865

(Lancaster Dep.); APP_00914-916 (Westmoreland Dep.).

      60.    The only other purported use for the voter-written date identified in

discovery by any county is that considering the date written on a voter declaration

might aid in prosecution of voter fraud relating to deceased voters. No county

mentioned this use of the voter-written date in their interrogatory responses, but both

Lancaster County and Westmoreland County addressed it when deposed.

APP_00910-915 (Westmoreland Dep.); APP_00888-892 (Lancaster Dep.).




                                          66
                                   Pa.App.0155
         Case:1:22-cv-00339-SPB
         Case  23-3166 Document:  146 Page:
                                Document 276 160    Date Filed:
                                             Filed 04/21/23     01/10/2024
                                                             Page  67 of 94




         61.   If a county board of elections learns that a registered voter died before

8:00 P.M. on Election Day, the board of elections removes the deceased person from

the voter rolls. 25 P.S. § 3146.8(d); APP_01191 (Greenburg Report); APP_01016-1019,

APP_01026-1029 (Greenburg Dep.); APP_00888-892, APP_00895-896 (Lancaster

Dep.).

         62.   County boards of elections determine whether a voter died before 8:00

P.M. on Election Day by reviewing Department of Health records, local obituaries,

and/or death certificates. APP_00895-896 (Lancaster Dep.); APP_00911-912

(Westmoreland Dep.); APP_01032 (Greenburg Dep.).

         63.   If a county board of elections learns that a registered voter died before

8:00 P.M. on Election Day, the county board of elections will not count that person’s

vote, even if the vote was timely submitted before the voter’s death. APP_00818

(Berks Dep.); APP_00890-891 (Lancaster Dep.); APP_00911-914 (Westmoreland

Dep.); APP_01016-1019, APP_01026-1029 (Greenburg Dep.).

         64.   If a county board of elections learns that a registered voter died before

8:00 P.M. on Election Day, the county board of elections will not count that person’s

vote, regardless of what if any handwritten date appears on the outer return envelope

of the deceased voter’s ballot. 25 P.S. § 3146.8(d); APP_00819 (Berks Dep.);

APP_00890-891 (Lancaster Dep.); APP_00914 (Westmoreland Dep.); APP_01016-

1019, APP_01026-1029 (Greenburg Dep.).

                  a. For example, the Beaver County Board of Elections set aside the

                     ballot of a deceased voter who also happened to write the date on




                                           67
                                     Pa.App.0156
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 276 161    Date Filed:
                                           Filed 04/21/23     01/10/2024
                                                           Page  68 of 94




                      the wrong line of their return envelope. On the return envelope,

                      an elections official wrote “Voter passed away[,] DOH notification

                      11/3/22[,] moot on date.” APP_01485.

 V.   Defendants’ Arbitrary and Inconsistent Applications of the Date
      Requirement

      A.     Missing or incorrect year

      65.    A voter whose mail ballot was timely received by their county board of

elections could only have signed the voter declaration form in the year 2022, because

the county boards of elections did not begin sending the relevant mail ballot materials

to voters until August 2022 or later (see supra ¶ TK), and the ballots must have been

received by November 8, 2022 to be considered timely. APP_00835-81 (Berks Dep.);

APP_00878-879, APP_00884-885 (Lancaster Dep.); APP_00923-924, APP_00929g,

APP_00929l-929q (Westmoreland Dep.).

                 i.   Past year

      66.    At least 530 voters’ ballots were set aside because their handwritten

date included a year earlier than 2022. APP_01494-1496, APP_01572 (Tetro Decl.).

      67.    Of those voters whose ballots were set aside for writing a past year, at

least 474 voters wrote a day and month within the Supreme Court of Pennsylvania’s

date range, but wrote a past year (e.g., 2020 or 2021). APP_01494-1496, APP_01572

(Tetro Decl.).

                  a. For example, one voter whose ballot was set aside wrote “October

                      15, 2020” on the date line. A stamp on the envelope indicates the




                                           68
                                     Pa.App.0157
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 162    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  69 of 94




           ballot was processed by the county board of elections on

           “10/17/22.” APP_01466.

        b. Another voter whose ballot was set aside wrote “10/31/21” on the

           date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “11/02/22.”

           APP_01467.

        c. Another voter whose ballot was set aside wrote “11-06-2021” on

           the date line. A stamp on the envelope indicates the ballot was

           received by the county board of elections on “NOV 08 2022.”

           APP_01468.

        d. Another voter whose ballot was set aside wrote “10/7/1922” on the

           date line. A stamp on the envelope indicates the ballot was

           received by the county board of elections on “2022 OCT 12.”

           APP_01469.

        e. Another voter whose ballot was set aside wrote “Oct. 18, 2012” on

           the date line. A stamp on the envelope indicates the ballot was

           received by the county board of elections on “2022 OCT 20.”

           APP_01470.

        f. Another voter whose ballot was set aside wrote “10-26-2002” on

           the date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “2022 OCT 31.”

           APP_01471.




                                69
                          Pa.App.0158
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 163    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  70 of 94




                 g. Another voter whose ballot was set aside wrote “October 26, 2002”

                    on the date line. APP_01472.

                 h. Another voter whose ballot was set aside wrote “11-2-2002” on the

                    date line. A stamp on the envelope indicates the ballot was

                    processed by the county board of elections on “10/27/22.”

                    APP_01473.

      68.    Of those voters whose ballots were set aside for writing a past year, at

least 50 voters wrote their birth date instead of the date they signed the declaration.

APP_01494-1496, APP_01572 (Tetro Decl.). 10 See, e.g., APP_01474-1484 (11

envelopes with examples of this pattern).

                 a. For example, one voter whose ballot was set aside wrote “9/25/22”

                    on the date line—the date five days before the ballot was date

                    stamped by the county board of elections on “09/30/2022”—but

                    then crossed out that date (“9/25/22”) and wrote his date of birth

                    beneath it. APP_01474; APP_01365 (Dauphin voter list).

      69.    Conversely, at least one county board of elections—Montgomery—

ultimately decided to count ballots if they determined the voter had written their

birth date instead of the date they signed the declaration on the outer return

envelope. APP_01286-1289.


10 This total reflects only those birth dates that Plaintiffs could confirm via the lists

of voter date of birth that certain counties produced. Additional ballots in other
counties looked like possible birth dates, but those counties did not produce complete
dates of birth against which Plaintiffs could compare the envelopes. APP_01494-1496,
APP_01572 (Tetro Decl.).


                                           70
                                    Pa.App.0159
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 164    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  71 of 94




             ii.   Future year

      70.   At least 228 voters’ ballots were set aside because their handwritten

date included a year later than 2022 (e.g., “2023” or “2202”). APP_01494-1496,

APP_01572 (Tetro Decl.).

               a. For example, one voter whose ballot was set aside wrote

                   “11/3/2023” on the date line. A stamp on the envelope indicates

                   the ballot was processed by the county board of elections on

                   “11/07/22.” APP_01423.

               b. Another voter whose ballot was set aside wrote “November 7

                   2023” on the date line. A stamp on the envelope indicates the

                   ballot was processed by the county board of elections on

                   “11/08/22.” APP_01424.

               c. Another voter whose ballot was set aside wrote “11/03/2023” on

                   the date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “2022 NOV 04.”

                   APP_01425.

               d. Another voter whose ballot was set aside wrote “10/12/2222” on

                   the date line. APP_01426.

               e. Another voter whose ballot was set aside wrote “10/22/2122” on

                   the date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “10/25/22.”

                   APP_01427.




                                       71
                                 Pa.App.0160
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 165    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  72 of 94




        f. Another voter whose ballot was set aside wrote “10-17-2200” on

           the date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/29/22.”

           APP_01428.

        g. Another voter whose ballot was set aside wrote “10/21/31” on the

           date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/27/22.”

           APP_01429.

        h. Another voter whose ballot was set aside wrote “10-20-2202” on

           the date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/23/22.”

           APP_01430.

        i. Another voter whose ballot was set aside wrote “10/24/2024” on

           the date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/25/22.”

           APP_01431.

        j. Another voter whose ballot was set aside wrote “10-23-2033” on

           the date line. A stamp on the envelope indicates the ballot was

           received by the county board of elections on “2022 OCT 25.”

           APP_01432.




                                72
                          Pa.App.0161
         Case:1:22-cv-00339-SPB
         Case  23-3166 Document:  146 Page:
                                Document 276 166    Date Filed:
                                             Filed 04/21/23     01/10/2024
                                                             Page  73 of 94




               iii.   Omitted year

         71.   At least 60 voters’ ballots were set aside because they wrote a

handwritten date that was between September 19 and November 8, but omitted the

year. APP_01494-1496, APP_01572 (Tetro Decl.); see also APP_01153 (meeting

minutes reflecting that Luzerne Board voted to reject ballots dated “10/26” and “Oct

2nd”).

                  a. For example, one voter whose ballot was set aside wrote “October

                      8” on the date line. A stamp on the envelope indicates the ballot

                      was processed by the county board of elections on “10/13/22.”

                      APP_01446.

                  b. Another voter whose ballot was set aside wrote “Wednesday Oct.

                      26” on the date line. A stamp on the envelope indicates the ballot

                      was processed by the county board of elections on “10/31/22.”

                      APP_01447.

                  c. Another voter whose ballot was set aside wrote “11/2” on the date

                      line. A stamp on the envelope indicates the ballot was processed

                      by the county board of elections on “11/04/22.” APP_01448.

                  d. Another voter whose ballot was set aside wrote “Thu. Oct. 6” on

                      the date line. A stamp on the envelope indicates the ballot was

                      processed by the county board of elections on “10/11/22.”

                      APP_01449.




                                           73
                                     Pa.App.0162
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 167    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  74 of 94




               e. Another voter whose ballot was set aside wrote “Thursday

                  October 6” on the date line. A stamp on the envelope indicates the

                  ballot was processed by the county board of elections on

                  “10/11/22.” APP_01450.

               f. Another voter whose ballot was set aside wrote “Oct. 25” on the

                  date line. A stamp on the envelope indicates the ballot was

                  processed by the county board of elections on “10/31/22.”

                  APP_01451.

               g. Another voter whose ballot was set aside wrote “Nov. 2nd” on the

                  date line. A stamp on the envelope indicates the ballot was

                  processed by the county board of elections on “11/03/22.”

                  APP_01452.

               h. Another voter whose ballot was set aside wrote “10/15” on the

                  date line. A stamp on the envelope indicates the ballot was

                  processed by the county board of elections on “10/18/22.”

                  APP_01453.

               i. Another voter whose ballot was set aside wrote “10/04” on the

                  date line. A stamp on the envelope indicates the ballot was

                  received by the county board of elections on “2022 OCT 7.”

                  APP_01454.

      72.   Conversely, at least three county boards of elections—Blair, Fayette,

and Montgomery—ultimately decided to count ballots with “partial dates” if the




                                       74
                                 Pa.App.0163
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 168    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  75 of 94




“information in the date line [wa]s sufficient to determine that the ballot was

returned within the appropriate date range.” APP_01286-1289 (Montgomery County

voted to count ballots with “partial dates” if the “information in the date line [wa]s

sufficient to determine that the ballot was returned within the appropriate date

range”); see also APP_01177 (Blair County’s “canvassing board instructions” includes

a list of “VALID DATING FORMATS,” which includes month and day without a

year); APP_01161 (meeting minutes reflecting that Fayette Board voted to count

ballots dated “Friday November 4th, no year” and “November 3rd, no year”).

      B.     Missing or incorrect month

      73.    A voter whose mail ballot was timely received by 8:00 P.M. on November

8, 2022 could only have signed the voter declaration form in the time period between

the date that their county boards of elections sent mail ballot packages to voters and

Election Day. APP_00878-879 (Lancaster Dep.); APP_00929g-929j, APP_00929o-

929p (Westmoreland Dep.).

      74.    At least 605 voters’ timely-received ballots were set aside because their

handwritten date included an incorrect month that indicated that they signed their

ballot earlier than September 19, 2022. APP_01494-1496, APP_01572 (Tetro Decl.).

                a. For example, one voter whose ballot was set aside wrote “9/13/22”

                   on the date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “10/14/22.”

                   APP_01455.

                b. Another voter whose ballot was set aside wrote “9-17-2022” on the

                   date line. A stamp on the envelope indicates the ballot was


                                         75
                                   Pa.App.0164
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 169    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  76 of 94




           processed by the county board of elections on “10/18/22.”

           APP_01456.

        c. Another voter whose ballot was set aside wrote “09/14/2022” on

           the date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/17/22.”

           APP_01457.

        d. Another voter whose ballot was set aside wrote “9/14/2022” on the

           date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/16/22.”

           APP_01458.

        e. Another voter whose ballot was set aside wrote “9-13-2022” on the

           date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/20/22.”

           APP_01459.

        f. Another voter whose ballot was set aside wrote “9/14/2022” on the

           date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/16/22.”

           APP_01460.

        g. Another voter whose ballot was set aside wrote “Sept 12, 2022” on

           the date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10 16 22.”

           APP_01461.




                                76
                          Pa.App.0165
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 170    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  77 of 94




               h. Another voter whose ballot was set aside wrote “9/11/2022” on the

                   date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “10/16/22.”

                   APP_01462.

               i. Another voter whose ballot was set aside wrote “9/17/22” on the

                   date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “10/18/22.”

                   APP_01463.

               j. Another voter whose ballot was set aside wrote “Sept. 10, 2022”

                   on the date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “10/14/22.”

                   APP_01464.

               k. Another voter whose ballot was set aside wrote “9-6-2022” on the

                   date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “10/07/22.”

                   APP_01465.

      75.   At least 427 voters’ ballots were set aside because their handwritten

date included an incorrect month that indicated that they signed their ballot after

November 8, 2022 (e.g., “11/28/22”). APP_01494-1496, APP_01572 (Tetro Decl.).

               a. For example, one voter whose ballot was set aside wrote

                   “11/23/2022” on the date line. A stamp on the envelope indicates




                                        77
                                  Pa.App.0166
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 171    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  78 of 94




           the ballot was processed by the county board of elections on

           “10/25/22.” APP_01414.

        b. Another voter whose ballot was set aside wrote “11/27/2022” on

           the date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/31/22.”

           APP_01415.

        c. Another voter whose ballot was set aside wrote “11/12/2022” on

           the date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/15/22.”

           APP_01416.

        d. Another voter whose ballot was set aside wrote “11/19/2022” on

           the date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/24/22.”

           APP_01417.

        e. Another voter whose ballot was set aside wrote “11-13-2022” on

           the date line. A stamp on the envelope indicates the ballot was

           received by the county board of elections on “2022 OCT 13.”

           APP_01418.

        f. Another voter whose ballot was set aside wrote “11-23-2022” on

           the date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/26/22.”

           APP_01419.




                               78
                          Pa.App.0167
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 172    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  79 of 94




               g. Another voter whose ballot was set aside wrote “11/14/22” on the

                  date line. A stamp on the envelope indicates the ballot was

                  processed by the county board of elections on “10-17.” APP_01420.

               h. Another voter whose ballot was set aside wrote “11-25-22” on the

                  date line. A stamp on the envelope indicates the ballot was

                  processed by the county board of elections on “10/27/2022.”

                  APP_01421.

               i. Another voter whose ballot was set aside wrote “11-17-2022” on

                  the date line. A stamp on the envelope indicates the ballot was

                  received by the county board of elections on “2022 OCT 20.”

                  APP_01422.

      76.   At least three voters’ ballots were set aside because their handwritten

date omitted the month. APP_01494-1496, APP_01572 (Tetro Decl.).

               a. For example, one voter whose ballot was set aside wrote “Friday

                  7 2022” on the date line. A stamp on the envelope indicates the

                  ballot was received by the county board of elections on “2022 OCT

                  12.” APP_01443.

               b. Another voter whose ballot was set aside wrote “20/2022” on the

                  date line. APP_01444.

               c. Another voter whose ballot was set aside wrote “14/2022” on the

                  date line. APP_01445.




                                       79
                                 Pa.App.0168
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 173    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  80 of 94




      C.     Missing or incorrect day

      77.    At least four voters’ ballots were set aside because their handwritten

date included a day that does not exist. APP_01494-1496, APP_01572 (Tetro Decl.).

                a. For example, one voter whose ballot was set aside wrote

                   “10/111/22” on the date line. A stamp on the envelope indicates

                   the ballot was received by the county board of elections on “2022

                   OCT 13.” APP_01486.

                b. Another voter whose ballot was set aside wrote “11/0/22” on the

                   date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “11/02/22.”

                   APP_01487.

                c. Another voter whose ballot was set aside wrote “09/31/22” on the

                   date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “10/06/22.”

                   APP_01488.

      78.    Conversely, Luzerne County voted to count a ballot dated “09/31/22.”

APP_01153 (Luzerne meeting minutes).

      79.    A voter could not have signed the voter declaration form on the outer

return envelope on a date that does not exist.

      80.    At least 40 voters’ ballots with a handwritten date that omitted the day

were set aside. APP_01494-1496, APP_01572 (Tetro Decl.).

                a. The majority of these 29 ballots indicated “10,” “Oct,” or “October”

                   for the month, with the remaining indicating “11,” “Nov,” or


                                         80
                                   Pa.App.0169
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 276 174    Date Filed:
                                    Filed 04/21/23     01/10/2024
                                                    Page  81 of 94




           November” for the month. APP_01494-1496, APP_01572 (Tetro

           Decl.).

        b. All 29 of these ballots indicated 2022 for the year. APP_01494-

           1496, APP_01572 (Tetro Decl.).

        c. For example, one voter whose ballot was set aside wrote “10- -22”

           on the date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “OCT 28 2022.”

           APP_01436.

        d. Another voter whose ballot was set aside wrote “10- -2022” on the

           date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/28/2022.”

           APP_01437.

        e. Another voter whose ballot was set aside wrote “10- -2022” on the

           date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/19/2022.”

           APP_01438.

        f. Another voter whose ballot was set aside wrote “10/ /2022” on the

           date line. A stamp on the envelope indicates the ballot was

           processed by the county board of elections on “10/11/22.”

           APP_01439.

        g. Another voter whose ballot was set aside wrote “10- -2022” on the

           date line. A stamp on the envelope indicates the ballot was




                                81
                          Pa.App.0170
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 175    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  82 of 94




                   processed by the county board of elections on “OCT 11 2022.” An

                   election official wrote a note on the envelope that reads: “Left

                   message 11/3/22. . . can’t come in to fix 11/4/22.” APP_01440.

                h. Another voter whose ballot was set aside wrote “10/ /2022” on the

                   date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “10/31/22.”

                   APP_01441.

                i. Another voter whose ballot was set aside wrote “10- -22” on the

                   date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “10/11/22.”

                   APP_01442.

      81.    Conversely, at least two county board of elections—Bucks and Fayette—

voted unanimously to count a mail ballot “dated October 2022 with no day listed,”

because the board was “able to ascertain what day the ballot was mailed and what

day it was received,” and the “entire month of October is included in the date range

in the [Pennsylvania Supreme] Court’s Order.” APP_01157 (Bucks meeting minutes);

see also APP_01161 (Fayette Board voted to count ballot dated “10-no day -2022”).

      82.    Any day within October 2022 would have been within the range

provided by the Supreme Court’s supplemental order in Ball v. Chapman.

APP_01150-1151.

      D.     Wrong line

      83.    At least twelve ballots were set aside for having a missing or incorrect

date on the voter declaration form, even though the voter had written a date that was


                                         82
                                   Pa.App.0171
          Case:1:22-cv-00339-SPB
          Case  23-3166 Document:  146 Page:
                                 Document 276 176    Date Filed:
                                              Filed 04/21/23     01/10/2024
                                                              Page  83 of 94




within the Supreme Court of Pennsylvania’s date range elsewhere on the outer return

envelope. APP_01494-1496, APP_01572 (Tetro Decl.).

                   a. For example, one voter whose ballot was set aside wrote “Nov 4,

                      2022” underneath the date line instead of on it. APP_01489.

                   b. Another voter whose ballot was set aside wrote their name on the

                      “Today’s Date (Required)” line of the voter declaration, and wrote

                      “10-24-2022” on a different “Today’s Date” line intended for voters

                      who were unable to sign their declaration because of illness or

                      physical disability. APP_01490.

                   c. Another voter whose ballot was set aside wrote “10-15-22” in a

                      box beneath the date line that is intended for county election use

                      only, rather than on the date line. APP_01491.

          E.    “Election Day” as “Today’s Date”

          84.   At least 16 ballots were set aside because the voter wrote November 8,

2022 (Election Day) as “Today’s Date” instead of writing the (earlier-in-time) date

that they signed the voter declaration form. APP_01494-1496, APP_01572 (Tetro

Decl.).

                   a. For example, one voter whose ballot was set aside wrote “10-12-

                      22” on the date line—the same date the ballot was date stamped

                      “2022 OCT 12” by the county board of elections—but then crossed

                      out that date (“10-12-22”) and wrote “11-8-22” beneath it,

                      accompanied by their initials. APP_01407.




                                            83
                                     Pa.App.0172
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 177    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  84 of 94




      85.    Election Day was within the Supreme Court of Pennsylvania’s date

range. APP_01150-1151.

      F.     International dating convention

      86.    18 county boards of elections determined whether the date written on

the outer envelope was within the “correct” date range based on only the American

dating convention of writing the month, then day, then year (MM/DD/YYYY), and set

aside ballots if the voter used a European dating convention of writing the day, then

month, then year (e.g., if a voter wrote 1/11/2022 to indicate November 1, 2022).

APP_00039 (Armstrong RFA Resp.); APP_00051 (Beaver RFA Resp.); APP_00213

(Clinton RFA Resp.); APP_00106 (Bradford RFA Resp.); APP_00277 (Elk RFA Resp.);

APP_00283 (Erie RFA Resp.); APP_00319 (Forest RFA Resp.); APP_00331 (Franklin

RFA Resp.); APP_00353 (Greene RFA Resp.); APP_00369 (Lackawanna RFA Resp.);

APP_00412 (Luzerne RFA Resp.); APP_00451 (McKean RFA Resp.); APP_00467

(Mifflin RFA Resp.); APP_00506 (Perry RFA Resp.); APP_00584 (Schuylkill RFA

Resp.); APP_00594 (Somerset RFA Resp.); APP_00682 (Wayne RFA Resp.); see also

APP_00877a, APP_00882-883 (Lancaster Dep.).

      87.    Conversely, at least 31 other counties tried to account for both the

American and International dating conventions in determining whether the outer

return envelope had been correctly dated. APP_00023, APP_00024 (Allegheny RFA

Resp.); APP_00074 (Berks RFA Resp.); APP_00114 (Bucks RFA Resp.); APP_00127,

APP_00128 (Butler RFA Resp.); APP_00195 (Clearfield RFA Resp.); APP_00227

(Crawford RFA Resp.); APP_00249 (Cumberland RFA Resp.); APP_00263 (Delaware

RFA Resp.); APP_00305 (Fayette RFA Resp.); APP_00348 (Fulton RFA Resp.);


                                         84
                                   Pa.App.0173
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 178    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  85 of 94




APP_00398, APP_00399 (Lehigh RFA Resp.); APP_00432 (Lycoming RFA Resp.);

APP_00492 (Northampton RFA Resp.); APP_00700 (Westmoreland RFA Resp.);

APP_00728-729 (Babst Calland RFA Resp.); see also APP_01146 (citizen comment at

Oct. 20, 2022 Berks Board meeting, asking “whether the Election office is checking

dates on ballots that may be flipped citing that some people’s country of origin may

write a date differently”); APP_01177 (Blair County’s “canvassing board instructions”

includes a list of “VALID DATING FORMATS,” which includes day-month-year).

      88.    At least 34 ballots were set aside for having “incorrect” dates, even

though the handwritten date on the outer return envelope could be read as within

the Supreme Court of Pennsylvania’s date range, assuming the voter used the

International dating convention (DD-MM-YYYY, rather than MM-DD-YYYY

APP_01494-1496,     APP_01572     (Tetro    Decl.);   APP_00841-843   (Berks   Dep.);

APP_00929k-n (Westmoreland Dep.).

                a. For example, one voter whose ballot was set aside wrote “1/11/22”

                   on the date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “11/02/22.”

                   APP_01408.

                b. Another voter whose ballot was set aside wrote “3-10-2022” on the

                   date line. A stamp on the envelope indicates the ballot was

                   received by the county board of elections on “2022 OCT 5.”

                   APP_01409.




                                           85
                                   Pa.App.0174
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 179    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  86 of 94




                c. Another voter whose ballot was set aside wrote “4-10-22” on the

                   date line. A stamp on the envelope indicates the ballot was

                   received by the county board of elections on “2022 OCT-6.”

                   APP_01410.

                d. Another voter whose ballot was set aside wrote “06/10/2022” on

                   the date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “10/13/22.”

                   APP_01411.

                e. Another voter whose ballot was set aside wrote “06-10-2022” on

                   the date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “10/07/22.”

                   APP_01412.

                f. Another voter whose ballot was set aside wrote “5/11/2022” on the

                   date line. A stamp on the envelope indicates the ballot was

                   processed by the county board of elections on “11/06/22.”

                   APP_01413.

      G.    Adherence to date range in Ball supplemental order

      89.   The Supreme Court of Pennsylvania’s supplemental order in Ball v.

Chapman defined “incorrectly dated outer envelopes” to mean “mail-in ballot outer

envelopes with dates that fall outside the date range of September 19, 2022, through

November 8, 2022,” and “absentee ballot outer envelopes with dates that fall outside

the date range of August 30, 2022, through November 8, 2022.” APP_01150-1151.




                                        86
                                  Pa.App.0175
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 276 180    Date Filed:
                                           Filed 04/21/23     01/10/2024
                                                           Page  87 of 94




      90.     At least 17 counties set aside and did not count mail-in or absentee ballot

envelopes that bore a handwritten date within the court’s prescribed date range

(September 19–November 8) if that handwritten date was before the county started

sending out mail ballots. For example, because Westmoreland County did not begin

sending mail ballots to voters until September 30, 2022, it would not have counted

mail ballots that were dated within the Ball date range if the handwritten date on

the outer return envelope was between September 19 and September 29, 2022.

APP_921a-921c (Westmoreland Dep.). See also APP_00141 (Cambria Interrog.

Resp.); APP_00150 (Cameron Interrog. Resp.); APP_00185 (Clarion Interrog. Resp.);

APP_00234 (Crawford Interrog. Resp.); APP_00321 (Forest Interrog. Resp.);

APP_00336 (Franklin Interrog. Resp.); APP_00347 (Fulton Interrog. Resp.);

APP_00363 (Juniata Interrog. Resp.); APP_00454 (McKean Interrog. Resp.);

APP_00469 (Mifflin Interrog. Resp.); APP_00575 (Potter Interrog. Resp.); APP_00610

(Sullivan    Interrog.   Resp.);    APP_00619-620      (Susquehanna   Interrog.    Resp.);

APP_00629-630 (Tioga Interrog. Resp.); APP_00635 (Union Interrog. Resp.);

APP_00646 (Warren Interrog. Resp.); APP_00706 (Westmoreland Interrog. Resp.).

      91.     At least 25 other counties followed the date range in the Supreme Court

of Pennsylvania’s supplemental order in Ball v. Chapman, even where the

handwritten date on the mail-in or absentee ballot envelope was “incorrect” inasmuch

as it occurred before the counties sent 2022 general election mail ballot materials to

voters, or after the date that the voter’s ballot was received by their county board of

elections.   APP_00826-828         (Berks   Dep.);   APP_00872-873    (Lancaster   Dep.);




                                              87
                                       Pa.App.0176
         Case:1:22-cv-00339-SPB
         Case  23-3166 Document:  146 Page:
                                Document 276 181    Date Filed:
                                             Filed 04/21/23     01/10/2024
                                                             Page  88 of 94




APP_00027-28 (Allegheny Interrog. Resp.); APP_00062 (Beaver Interrog. Resp.);

APP_00078 (Berks Interrog. Resp.); APP_00097 (Blair Interrog. Resp.); APP_00204

(Clearfield Interrog. Resp.); APP_00268 (Delaware Interrog. Resp.); APP_00292,

APP_00293 (Erie Interrog. Resp); APP_00417 (Luzerne Interrog. Resp.); APP_00530-

531 (Philadelphia Interrog. Resp.); APP_00733-34 (Babst Calland Resp.); see also

APP_01159 (Fayette meeting minutes).

         92.   For example, Berks County counted ballots if the handwritten date on

the outer return envelope was September 20, 2022, even though it did not begin

sending mail ballots to voters until October 7, 2022. APP_00826-829, APP_00831

(Berks Dep.).

         93.   Likewise, Lancaster County counted ballots if the handwritten date on

the outer return envelope was September 20, 2022, even though it did not begin

sending mail ballots to voters until September 26, 2022. APP_00872-873 (Lancaster

Dep.).

         94.   At least one county—Fayette—counted ballots where the voter had

written an envelope date that was after the date that the board of elections had

already received and time-stamped the package. APP_01159 (Fayette Board voted to

count all ballots that fell within the Supreme Court of Pennsylvania’s date range,

including “incorrectly dated ballots within the date range of September 19, 2022,

through November 8, 2022”).

         95.   Other counties did not count ballots where the voter had written an

envelope date that was after the date that the board of elections had already received




                                          88
                                    Pa.App.0177
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 182    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  89 of 94




and time-stamped the package, even if the voter’s handwritten date was within the

Supreme Court of Pennsylvania’s date range. Appears Correct at TK.

      96.    At least two counties took different approaches to mail-in and absentee

ballots. The county boards of elections in both Elk and Somerset County counted

absentee ballots if the outer return envelope contained any date within the full Ball

date range (i.e., even before the board had sent the ballot materials to voters), but

counted mail-in ballots only if the handwritten date was after the date on which the

board had sent out the ballot materials. APP_00279 (Elk Interrog. Resp.); APP_00599

(Somerset Interrog. Resp.).

      H.     Date appears correct

      97.    At least 47 ballots were set aside for having “incorrect” dates, even

though the voter included a handwritten date on the outer return envelope that

appeared correct and was within the Supreme Court of Pennsylvania’s date range.

APP_01494-1496, APP_01572 (Tetro Decl.); Appears Correct TK; see also, e.g.,

APP_00844 (Berks Dep.).

                a. For example, one voter whose ballot was set aside wrote

                   “10/17/2020” on the date line, then crossed out the year (“2020”),

                   and wrote the year “2022” beneath it. A stamp on the envelope

                   indicates the ballot was received by the county board of elections

                   on “2022 OCT 19.” APP_01402.

                b. Another voter whose ballot was set aside wrote “10/23/2023” on

                   the date line, then crossed out the last digit of the year and wrote

                   a 2 next to it on the date line (“20232”), and wrote their initials


                                         89
                                   Pa.App.0178
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 183    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  90 of 94




                   beneath the crossed-out digit. A stamp on the envelope indicates

                   the ballot was processed by the county board of elections on

                   “10/26/22.” APP_01403.

                c. Another voter whose ballot was set aside wrote the date “9-8-22,”

                   then crossed out that date (“9-8-22”) and wrote “10-8-22” next to

                   it. A stamp on the envelope indicates the ballot was received by

                   the county board of elections on “2022 OCT 13.” APP_01404.

                d. Another voter whose ballot was set aside wrote “10/14/2023” on

                   the date line, then crossed that date out (“10/14/2023”), and wrote

                   the date “10/14/2022” next to it on the date line. The postmark on

                   that ballot reads: “14 OCT 2022.” APP_01405.

                e. Another voter whose ballot was set aside wrote “10/4/21” on the

                   date line, then crossed out the year (“21”), and wrote the year “22”

                   next to it on the date line, along with their initials. A stamp on

                   the envelope indicates the ballot was received by the county board

                   of elections on “2022 OCT 5.” APP_01406.

VI.   UNEQUAL TREATMENT AS COMPARED TO MILITARY/OVERSEAS
      BALLOTS

      98.   The Secretary of State provides envelope templates that prescribe the

form of the envelopes that county boards of elections must use for mail and absentee

ballots. APP_00963-964 (Marks Dep.).




                                         90
                                   Pa.App.0179
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 184    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  91 of 94




      99.    The templates for both the mail ballot and the absentee ballot include a

voter declaration form that the voter must sign and date on the return envelope that

contains the voter’s secrecy envelope and ballot. APP_00966-973 (Marks Dep.).

      100.   The county boards of elections vary the form and layout of the return

envelopes that they submit to voters, but each county’s mail ballot materials include

an outer return envelope (inside which the voter places their secrecy envelope and, in

turn, their ballot) bearing a voter declaration that voters are instructed to sign and

date. APP_00966-973 (Marks Dep.); see, e.g., APP_01290 (Berks mail ballot envelope).

      101.   Each county’s absentee ballot materials also include a voter declaration

that voters are instructed to sign and date. APP_00966-973 (Marks Dep.);

APP_00933-936 (Westmoreland Dep.). When UOCAVA voters request a paper ballot

from their county board of elections (rather than opting to submit their ballot

electronically), that declaration appears on the envelope containing the voter’s

secrecy envelope and ballot. APP_00933-936 (Westmoreland Dep.); see, e.g.,

APP_01291 (Bucks military-overseas ballot envelope).

      102.   The instructions that Berks County provided to domestic voters

submitting mail ballots in the November 2022 general election told the voters to “Sign

and date the pre-addressed return envelope,” and told voters that “YOUR BALLOT

WILL NOT COUNT IF IT IS NOT SIGNED AND DATED.” APP_01170.

      103.   The instructions that Berks County provided to UOCAVA voters

submitting absentee ballots in the November 2022 general election told the voters to

““Fill out the absentee elector’s declaration on the back of this envelope with your




                                         91
                                   Pa.App.0180
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 185    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  92 of 94




name and address. Be sure to sign where indicated. Your ballot will not be counted

without a signature,” but did not indicate that the ballot would not be counted if the

declaration on the return envelope lacked a handwritten date. APP_01169.

      104.   Berks County did not set aside any absentee ballots submitted by

UOCAVA voters in the November 2022 general election on the basis of a missing or

incorrect handwritten date on the ballot’s return envelope. APP_00103 (Berks Dep.);

Berks ROG Resp. at 6.

      105.   The envelopes that Westmoreland County provided to domestic voters

submitting mail ballots in the November 2022 general election instructed voters that

“YOUR BALLOT WILL NOT BE COUNTED UNLESS: You sign and date the voter’s

declaration in your own handwriting[.]” APP_01401.

      106.   The envelopes that Westmoreland County provided to UOCAVA voters

did not instruct those voters that their ballots would not be counted if the voter failed

to date the voter’s declaration. APP_01201.

      107.   Westmoreland County did not set aside any absentee ballots submitted

by UOCAVA voters in the November 2022 general election on the basis of a missing

or incorrect handwritten date on the ballot’s return envelope. APP_00936-937

(Westmoreland Dep.); Westmoreland ROG Resp. at 7.

      108.   At least three county boards of elections—Bucks, Philadelphia, and

Tioga—counted timely-received military-overseas ballots in the November 2022

general election if the voter failed to date their voter declaration or included a date

that the county deemed to be incorrect. APP_00118-119 (Bucks Interrog. Resp., Bucks




                                           92
                                    Pa.App.0181
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 276 186    Date Filed:
                                          Filed 04/21/23     01/10/2024
                                                          Page  93 of 94




counted 11 ballots with reflecting that undated or misdated declarations);

APP_00535-536 (Philadelphia Interrog. Resp., reflecting that Philadelphia counted

13 ballots with undated or misdated declarations); APP_00632 (Tioga Interrog. Resp.,

reflecting that Tioga counted 10 ballots with undated or misdated declarations).

      109.   At least one additional county board of elections—Lehigh—did not check

the date on the voter declaration for timely-received military-overseas ballots in the

November 2022 general election. APP_00405 (Lehigh Interrog. Resp.).

      110.   At least five additional county boards of elections did not segregate or

set aside any timely-received military-overseas ballots in the November 2022 general

election based on a missing or incorrect date on the voter declaration. APP_00579

(Potter Interrog. Resp.); APP_00716 (Wyoming Interrog. Resp.); APP_00673

(Washington Interrog. Resp.); APP_00484 (Montgomery Interrog. Resp.); APP_00499

(Northampton Interrog. Resp.).

      111.   Over half of the county boards of elections—37 in total—indicated that

they did not receive any military-overseas ballots in the November 2022 general

election that had a missing or incorrect date on the voter declaration, and so they did

not have to determine whether to set aside or count such ballots. APP_00010 (Adams

Interrog. Resp.); APP_00031 (Allegheny Interrog. Resp.); APP_00044 (Armstrong

Interrog. Resp.); APP_00066 (Beaver Interrog. Resp.); APP_00082 (Berks Interrog.

Resp.); APP_00101 (Blair Interrog. Resp.); APP_00110 (Bradford Interrog. Resp.);

APP_00133 (Butler Interrog. Resp.); APP_00142 (Cambria Interrog. Resp.);

APP_00153-54 (Cameron Interrog. Resp.); APP_00206 (Clearfield Interrog. Resp.);




                                          93
                                   Pa.App.0182
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 276 187    Date Filed:
                                           Filed 04/21/23     01/10/2024
                                                           Page  94 of 94




APP_00220 (Clinton Interrog. Resp); APP_00240-41 (Crawford Interrog. Resp.);

APP_00256 (Cumberland Interrog. Resp.); APP_00271 (Delaware Interrog. Resp.);

APP_00279 (Elk Interrog. Resp.); APP_00296 (Erie Interrog. Resp.); APP_00313

(Fayette Interrog. Resp.); APP_00324 (Forest Interrog. Resp.); APP_00339 (Franklin

Interrog. Resp.); APP_00348 (Fulton Interrog. Resp.); APP_00357 (Greene Interrog.

Resp.); APP_00377 (Lackawanna Interrog. Resp.); APP_00421 (Luzerne Interrog.

Resp.); APP_00442 (Lycoming Interrog. Resp.); APP_00462 (Mercer Interrog. Resp.);

APP_00472 (Mifflin Interrog. Resp.); APP_00542 (Pike Interrog. Resp.); APP_00587

(Schuylkill Interrog. Resp.); APP_00602 (Somerset Interrog. Resp.); APP_00612

(Sullivan Interrog. Resp.); APP_00621 (Susquehanna Interrog. Resp.); APP_00637

(Union Interrog. Resp.); APP_00649 (Warren Interrog. Resp.); APP_00692 (Wayne

Interrog. Resp.); APP_00709 (Westmoreland Interrog. Resp.).

VII.   RELIEF

       112.   County boards of elections are responsible for creating and retaining

official records of election results, including a copy of the returns that must be

available for public inspection at the county election board’s office. APP_01183

(Greenburg Report); 25 P.S. § 3152.

       113.   County boards of elections maintain digital and paper records of the

total number of votes received by each candidate in past elections. APP_00846 (Berks

Dep.); APP_00930-931 (Westmoreland Dep.); APP_01183 (Greenburg Report).

       114.   County boards of elections are capable of updating records of the total

number of votes received by each candidate in past elections if ordered to do so by a

court. APP_01183-1184 (Greenburg Report); APP_00931-932 (Westmoreland Dep.).


                                         94
                                   Pa.App.0183
  Case:
Case
 Case   23-3166 Document:
     1:22-cv-00339-SPB
      1:22-cv-00339-SPB    146 Page:
                        Document
                         Document279   188Filed
                                  121-10
                                      Filed   Date
                                            04/21/23Filed:
                                                11/30/22
                                                       Page01/10/2024
                                                           Page
                                                             252 2ofof292
                                                                       3

                                                                  TLP:WHITE




      Guidance on Undated and Incorrectly Dated
    Mail-in and Absentee Ballot Envelopes Based on
    the Pennsylvania Supreme Court’s Order in Ball
        v. Chapman, issued November 1, 2022

                        Date: November 3, 2022
                              Version: 1.0




                             Pa.App.0184
        Case:
      Case
       Case   23-3166 Document:
           1:22-cv-00339-SPB
            1:22-cv-00339-SPB    146 Page:
                              Document
                               Document279   189Filed
                                        121-10
                                            Filed   Date
                                                  04/21/23Filed:
                                                      11/30/22
                                                             Page01/10/2024
                                                                 Page
                                                                   253 3ofof292
                                                                             3

                                                                                           TLP:WHITE




Guidance on Undated and Incorrectly Dated Mail-in and Absentee Ballot Envelopes Based on the
Pennsylvania Supreme Court’s Order in Ball v. Chapman, issued November 1, 2022

On November 1, 2022, the Pennsylvania Supreme Court issued an Order regarding undated and
incorrectly dated outer envelopes containing mail-in and absentee ballots. A copy of that Order is
attached. This email follows an initial communication from Deputy Secretary Jonathan Marks on the
evening of November 1, 2022 and provides additional guidance to counties regarding the Court’s
Order.
In light of the Court’s Order, the Department’s September 26, 2022 Guidance Concerning Examination of
Absentee and Mail-In Return Envelopes (“Envelope Guidance”) and Guidance Concerning Civilian
Absentee and Mail-In Ballot Procedures as it relates to undated and incorrectly dated outer envelopes is
modified as stated below and counties are directed as follows:
              • Returned ballots should be scanned into the SURE system immediately upon
              receipt. County election offices should ensure that previously received mail-in and absentee
              ballots have been scanned into SURE.
                       o As a reminder, election offices should date-stamp return envelopes for all mail-
                       in and absentee ballots immediately upon receipt.
              • Examine all mail-in and absentee ballots received to determine if the return envelopes
              for those ballots are signed and dated.
              • For ballots which are administratively determined to be undated or incorrectly dated,
              code that ballot as CANC – NO SIGNATURE within the SURE system.
              • Further, for those ballots that have been administratively determined to be undated or
              incorrectly dated, the ballots must be segregated from other ballots. Counties may prefer to
              keep segregated undated and incorrectly dated ballots organized by precinct, and
              alphabetically by last name within each precinct.
                       o The department strongly recommends that counties also segregate into
                       separate groups undated ballots versus incorrectly dated ballots.
              • For voters returning their ballots in person to election offices, office personnel should
              remind voters to confirm that they signed and correctly dated their ballots, and to provide
              them an opportunity to do so prior to submission.




                                                  ###
            Version                              Date                           Description
              1.0                               11/3/22                         Original issue




Version: 1.0 | 11/03/2022                     Page 1 of 1                                  TLP:WHITE
                                           Pa.App.0185
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     190 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  70 of 292

                                                                             Page 1
·1

·2· · · IN THE UNITED STATES DISTRICT COURT

·3· · FOR THE WESTERN DISTRICT OF PENNSYLVANIA

·4· ·------------------------------------------

·5· ·PENNSYLVANIA STATE CONFERENCE

·6· ·OF THE NAACP, et al.,

·7· · · · Plaintiffs,

·8· · · · · · v.

·9· ·LEIGH M. CHAPMAN, in her official capacity as

10· ·Acting Secretary of the Commonwealth, et al.,

11· · · · Defendants.

12· · · · · · · · · · ·Case No. 1:22-cv-00339-SPB

13· · · ·-- and --

14· ·BETTY EAKIN, et al.

15· · · · Plaintiffs,

16· · · · · ·v.

17· ·ADAMS COUNTY BOARD OF ELECTIONS, et al.

18· · · · Defendants.

19· · · · · · · · · · ·Case No. 1:22-cv-340

20· ·------------------------------------------

21· · · Remote Deposition of Crista Miller

22· · · · · ·Monday, February 13, 2023

23· · · · · · · · 11:00 a.m.

24· ·Recorded Stenographically by:
· · ·Jennifer Miller, RMR, CRR, CCR
25· ·Job No.:222617


                   TSG Reporting Pa.App.0186
                                 - Worldwide· · 877-702-9580
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     191 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  71 of 292

                                                                             Page 2
·1

·2· · · · · · · A P P E A R A N C E S

·3
· · ·Counsel for Plaintiffs:
·4· ·ACLU of Pennsylvania
· · ·Hogan Lovells US LLP
·5· ·Stephen Loney, Jr., Esq.
· · ·1735 Market Street
·6· ·Philadelphia, PA 19103

·7

·8· ·Counsel for Plaintiff Eakin:
· · ·Daniel Cohen, Esq.
·9· ·Litigation Associate
· · ·Elias Law Group
10· ·10 G Street NE
· · ·Washington DC 20002
11

12

13· ·Counsel for Plaintiffs:
· · ·Ari Savitzky, Esq.
14· ·American Civil Liberties Union
· · ·125 Broad Street
15· ·New York, NY 10004

16

17

18· ·Counsel for Plaintiff:
· · ·Witold Walczak, Esq.
19· ·American Civil Liberties
· · ·Union of Pennsylvania
20· ·P.O. Box 23058
· · ·Pittsburgh, PA· 15222
21

22

23

24

25


                   TSG Reporting Pa.App.0187
                                 - Worldwide· · 877-702-9580
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     192 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  72 of 292

                                                                             Page 3
·1

·2· ·Appearances Cont'd

·3· ·Counsel for Plaintiff in the 1:22-cv-339
· · ·matter:
·4· ·Megan Keenan, Esq.
· · ·Luis Manuel Rico Román, Esq.
·5· ·American Civil Liberties Union
· · ·125 Broad Street
·6· ·New York, NY 10004

·7

·8
· · ·Counsel on behalf of Acting Secretary of the
·9· ·Commonwealth Leigh Chapman:
· · ·Elizabeth Lester-Abdalla, Esq.
10· ·Honors Deputy Attorney General
· · ·Pennsylvania Office of Attorney General
11· ·1600 Arch Street
· · ·Philadelphia, PA 19103
12

13

14· ·Counsel for behalf of the Lancaster County
· · ·Board of Elections and the Deponent:
15· ·Walter Zimolong, Esq.
· · ·James Fitzpatrick, Esq.
16· ·Zimolong Law, LLC
· · ·353 West Lancaster Avenue
17· ·Wayne, PA 19087

18

19· ·Counsel for Allegheny County BOE:
· · ·Lisa Michel, Esq.
20· ·Allegheny County Law Department
· · ·Fort Pitt Commons
21· ·445 Fort Pitt Boulevard
· · ·Pittsburgh, PA 15219
22

23

24

25


                   TSG Reporting Pa.App.0188
                                 - Worldwide· · 877-702-9580
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     193 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  73 of 292

                                                                             Page 4
·1

·2· ·Appearances Cont'd

·3· ·Counsel for Westmoreland County Board of
· · ·Elections:
·4· ·Melissa Guiddy, Esquire
· · ·Office of County Solicitor
·5· ·Westmoreland County
· · ·2 North Main Street
·6· ·Greensburg, PA 15601

·7

·8
· · ·Counsel on behalf of Chester County Board of
·9· ·Elections:
· · ·Faith Mattox-Baldini, Esq.
10· ·County of Chester Solicitor’s Office
· · ·313 W. Market Street, Suite 6702
11· ·West Chester, PA 19380

12

13· ·Counsel for Defendant, Bucks County:
· · ·Amy Fitzpatrick, Esq.
14· ·First Assistant County Solicitor
· · ·Law Department – County of Bucks
15· ·55 E. Court Street
· · ·Doylestown, PA 18901
16

17

18· ·Counsel for Acting Secretary of the
· · ·Commonwealth Al Schmidt:
19· ·Robert Wiygul, Esq.
· · ·Hangley Aronchick Segal Pudlin & Schiller
20· ·One Logan Square
· · ·Philadelphia, PA 19103
21

22

23

24

25


                   TSG Reporting Pa.App.0189
                                 - Worldwide· · 877-702-9580
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     194 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  74 of 292

                                                                             Page 5
·1

·2· ·Appearances Cont'd

·3· ·Counsel for Luzerne County Board of Elections
· · ·and Registration:
·4· ·Joseph Cosgrove, Esq.
· · ·Selingo Guagliardo LLC
·5· ·345 Market Street
· · ·Kingston, PA 18704
·6

·7

·8· ·Counsel for Berks County Board of Elections:
· · ·Cody Kauffman, Esq.
·9· ·First Assistant County Solicitor
· · ·Berks County Solicitor's Office
10· ·633 Court Street
· · ·Reading, PA 19601
11

12

13· ·Counsel on behalf of the Defendants Bedford
· · ·County, Carbon County Centre County, Columbia
14· ·County, Dauphin County, Huntingdon County,
· · ·Indiana County, Jefferson County, Lawrence
15· ·County, Lebanon County, Monroe County, Montour
· · ·County, Northumberland County, Snyder County,
16· ·Venango County, and York County Board of
· · ·Elections:
17· ·Jessica Barnes, Esq.
· · ·Two Gateway Center
18· ·Pittsburgh, PA 15222

19

20
· · ·Counsel on behalf of Defendant Philadelphia
21· ·Board of Elections:
· · ·Aimee Thomson, Esq.
22· ·City of Philadelphia Law Department
· · ·1515 Arch Street
23· ·Philadelphia, PA 19102

24

25


                   TSG Reporting Pa.App.0190
                                 - Worldwide· · 877-702-9580
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     195 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  75 of 292

                                                                             Page 6
·1

·2· ·Appearances Cont'd

·3· ·Counsel on behalf of defendant, the Delaware
· · ·County Board of Elections:
·4· ·J. Manly Parks, Esq.
· · ·Duane Morris LLP
·5· ·30 South 17th Street
· · ·Philadelphia, PA 19103
·6

·7

·8· ·Counsel on behalf of the Defendant Butler
· · ·County Board of Elections:
·9· ·H. William White, III, Esq.
· · ·Solicitor for the County of Butler
10· ·Butler County Commissioners’ Office
· · ·124 West Diamond Street
11· ·P.O. Box 1208
· · ·Butler, PA· 16003
12

13
· · ·Counsel for Intervenor-Defendants, the
14· ·Republican National Committee, National
· · ·Republican Congressional Committee, and
15· ·Republican Party of Pennsylvania:
· · ·John Gore, Esq.
16· ·Jones Day
· · ·51 Louisiana Avenue, N.W.
17· ·Washington, D.C.· 20001

18
· · ·Counsel for· Berks County Board of Elections:
19· ·Jeffrey Bukowski, Esq.
· · ·Smith Bukowski
20· ·14133 Kutztown Road
· · ·Fleetwood, PA 19522
21

22

23

24

25


                   TSG Reporting Pa.App.0191
                                 - Worldwide· · 877-702-9580
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     196 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  76 of 292

                                                                             Page 7
·1

·2· · · · · · · · · I N D E X

·3· ·WITNESS· · · · · · · · · · · · · · · ·PAGE

·4· · · · BY MR. LONEY· · · · · · · · · · · 10

·5· · · · BY MR. OSHER· · · · · · · · · · · 98

·6· · · · · · · E X H I B I T S

·7

·8· · ·Exhibit 1· Notice of Deposition· · · · · 17

·9· · ·Exhibit 2· Answers of Defendant· · · · · 20
· · · · · · · · · Lancaster County Board of
10· · · · · · · · Elections to Plaintiffs'
· · · · · · · · · First Set of Requests for
11· · · · · · · · Admission

12· · ·Exhibit 3· Answers and Objections of· · ·21
· · · · · · · · · Defendant Lancaster County
13· · · · · · · · Board of Elections to
· · · · · · · · · Plaintiffs' First Set of
14· · · · · · · · Interrogatories

15· · ·Exhibit 4· Answers and Objections of· · ·23
· · · · · · · · · Defendant Lancaster County
16· · · · · · · · Board of Elections to
· · · · · · · · · Plaintiffs' First Set of
17· · · · · · · · Requests for Production of
· · · · · · · · · Documents
18
· · · ·Exhibit 5· Ball order granting in part· ·48
19· · · · · · · · and denying in part
· · · · · · · · · injunction
20
· · · ·Exhibit 6· Chapman supplemental order· · 49
21
· · · ·Exhibit 7· Document Bates-stamped· · · · 66
22· · · · · · · · DAUPHIN000001

23· · ·Exhibit 8· Document Bates-stamped· · · · 73
· · · · · · · · · DAUPHIN000001_2
24
· · · ·Exhibit 9· Document Bates-stamped· · · · 75
25· · · · · · · · DAUPHIN000001_3


                   TSG Reporting Pa.App.0192
                                 - Worldwide· · 877-702-9580
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     197 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  77 of 292

                                                                             Page 8
·1

·2· ·Exhibits Cont'd

·3· · ·Exhibit 10 Document Bates-stamped· · · · 78
· · · · · · · · · DAUPHIN000001_5
·4· · ·Exhibit 11 Document Bates-stamped· · · · 80
· · · · · · · · · DAUPHIN000001_7
·5
· · · ·Exhibit 12 Mihaliak police report· · · · 90
·6
· · · ·Exhibit 13 Answers and Objections of· · 109
·7· · · · · · · · Defendant Lancaster County
· · · · · · · · · Board of Elections to
·8· · · · · · · · Plaintiffs' First Set of
· · · · · · · · · Requests for Productions of
·9· · · · · · · · Documents

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25


                   TSG Reporting Pa.App.0193
                                 - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     198 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  78 of 292

                                                                             Page 9
·1· · · · · · · · C. Miller
·2· · · · · · ·P R O C E E D I N G S
·3· · · · · · · ·CHRISTA MILLER, after
·4· · · · having been first duly sworn, was
·5· · · · examined and testified as follows:
·6· · · · · · ·MR. OSHER:· Before Mr. Loney
·7· ·begins his questioning, I'd like to put on
·8· ·the record an agreement that was reached
·9· ·before we went on the record here, which
10· ·is that we are here appearing in two
11· ·different cases, the NAACP case, which is
12· ·the 22-cv-339 case; and the Eakin case,
13· ·which is 22-cv-340.
14· · · · · · ·The parties have agreed that the
15· ·questioning that is elicited by the
16· ·plaintiffs in the 339 case will be usable
17· ·in the 340 case and vice versa.· And the
18· ·Eakin plaintiffs have agreed that the time
19· ·used by the 339 plaintiffs will count
20· ·against their seven hours under the rules.
21· · · · · · ·Mr. Zimolong, is that sufficient
22· ·for you?
23· · · · · · ·MR. ZIMOLONG:· That's accurate.
24· ·Thank you.
25· · · · · · ·MR. OSHER:· And, Mr. Loney, is


                   TSG Reporting Pa.App.0194
                                 - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     199 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  79 of 292

                                                                             Page 10
·1· · · · · · · · · · ·C. Miller
·2· · · · that good for you?
·3· · · · · · · · · MR. LONEY:· Yeah.· That works
·4· · · · for plaintiffs in 339.
·5· · · · · · · · · Thanks for putting that on the
·6· · · · record.
·7· · · · · · · · · MR. OSHER:· Okay.· And my
·8· · · · understanding is that there's no objection
·9· · · · from any other party, but they should
10· · · · speak up now if that is the case.
11· · · · · · · · · Thanks, all.
12· · · · · · · · · · · -· ·-· ·-
13· · · · · · · · E X A M I N A T I O N
14· · · · · · · · · · · -· ·-· ·-
15· ·BY MR. LONEY:
16· · · · Q.· ·Okay.· Good morning, Ms. Miller.
17· ·Thank you for taking the time today.
18· · · · · · · · · Just for the record, my name is
19· ·Steve Loney.· I'm an attorney with the ACLU of
20· ·Pennsylvania, and I represent the plaintiffs in
21· ·the 339 case.· That's the Pennsylvania State
22· ·Conference of the NAACP and all of the other
23· ·plaintiffs in that case.
24· · · · · · · · · Have you been deposed before?
25· · · · A.· ·I have not.


                   TSG Reporting Pa.App.0195
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     200 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  80 of 292

                                                                             Page 35
·1· · · · · · · · · · ·C. Miller
·2· · · · my questioning.
·3· · · · · · · · · MR. ZIMOLONG:· Well, you have
·4· · · · misrepresented it, but I'll let you --
·5· · · · I'll let you continue.
·6· · · · · · · · · MR. LONEY:· Okay.· So I'm going
·7· · · · to take the document production responses
·8· · · · off the screen and go back to the
·9· · · · interrogatory responses, which are Exhibit
10· · · · Lancaster 3.
11· ·BY MR. LONEY:
12· · · · Q.· ·And I have jumped here, Ms. Miller,
13· ·to Interrogatory Number 14.
14· · · · · · · · · Do you see that on your -- on
15· ·your screen?
16· · · · A.· ·I do.
17· · · · Q.· ·And, again, if you feel the need to
18· ·flip through this and look at anything else to
19· ·contextualize your answer, let me know.· But,
20· ·otherwise, I'm just going to ask about Question
21· ·Number 14 for a moment.
22· · · · · · · · · So plaintiffs' interrogatory
23· ·reads:· "Do you contend that the handwritten
24· ·date is material in determining whether a
25· ·ballot" -- "a mail ballot voter is qualified to


                   TSG Reporting Pa.App.0196
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     201 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  81 of 292

                                                                             Page 36
·1· · · · · · · · · · ·C. Miller
·2· ·vote in the election in which they have cast a
·3· ·ballot?"· If so, what is the basis for that
·4· ·contention?"
·5· · · · · · · · · Did I read that correctly?
·6· · · · A.· ·You did.
·7· · · · Q.· ·And can you take a moment to read
·8· ·over the Lancaster board's response?
·9· · · · A.· ·Yeah, I will.
10· · · · Q.· ·Let me know when you're finished
11· ·reading.
12· · · · A.· ·Okay.
13· · · · Q.· ·So the response that you just read,
14· ·you reviewed that and approved it before it was
15· ·served in this case, right?
16· · · · A.· ·Yes.
17· · · · Q.· ·And so you agree, in the first
18· ·instance, looking at the first line of the
19· ·response, that the dates written on envelopes
20· ·are not material to the question of whether a
21· ·person is qualified to vote?
22· · · · · · · · · The date written on the
23· ·envelope, for example, doesn't tell you whether
24· ·the person is over 18 years old, right?
25· · · · A.· ·Correct.


                   TSG Reporting Pa.App.0197
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     202 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  82 of 292

                                                                             Page 37
·1· · · · · · · · · · ·C. Miller
·2· · · · Q.· ·And the date written on the envelope
·3· ·doesn't tell you whether the voter is or has
·4· ·been a U.S. citizen for at least a month,
·5· ·right?
·6· · · · A.· ·Correct.
·7· · · · Q.· ·And the date written on the envelope
·8· ·doesn't tell you whether the voter has resided
·9· ·in Lancaster County for at least 30 days, does
10· ·it?
11· · · · A.· ·Correct.
12· · · · Q.· ·And it also doesn't tell you whether
13· ·the person voting is incarcerated on a felony
14· ·conviction, right?
15· · · · A.· ·Correct.
16· · · · Q.· ·For all of those other things I just
17· ·went through -- citizenship, age, residence in
18· ·the county, whether the person is
19· ·incarcerated -- the Lancaster board has other
20· ·methods of confirming all of those things that
21· ·are relevant to qualification, right?· You
22· ·don't need the -- the -- the date on the
23· ·envelope?
24· · · · · · · · · MR. ZIMOLONG:· Objection to
25· · · · form.


                   TSG Reporting Pa.App.0198
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     203 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  83 of 292

                                                                             Page 38
·1· · · · · · · · · · ·C. Miller
·2· · · · · · · · · You can answer.
·3· · · · · · · · · THE WITNESS:· That is correct.
·4· ·BY MR. LONEY:
·5· · · · Q.· ·But it's the Lancaster board's
·6· ·position that -- and looking again at
·7· ·Interrogatory Number 14 -- that the date is,
·8· ·nevertheless, material in determining whether
·9· ·the ballot was cast in compliance with the
10· ·election code; is that right?
11· · · · A.· ·That is correct.
12· · · · Q.· ·Okay.· So can you help me understand
13· ·how that is?
14· · · · · · · · · Is it because the voter who
15· ·didn't write the correct date next to their
16· ·signature didn't comply with the election code
17· ·and its requirement to sign and date the outer
18· ·envelope?
19· · · · A.· ·Correct.· The election code says that
20· ·it must be dated, and so we are looking to see
21· ·if there is a date or not to determine whether
22· ·we can open to count the ballot or not.
23· · · · Q.· ·Okay.· So you've used the date or the
24· ·absence of a date to determine whether the
25· ·voter complied with the dating requirements.


                   TSG Reporting Pa.App.0199
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     204 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  84 of 292

                                                                             Page 39
·1· · · · · · · · · · ·C. Miller
·2· · · · · · · · · Do I have that right?
·3· · · · A.· ·Correct.
·4· · · · Q.· ·And that's the only way a
·5· ·voter-written date is relevant to whether the
·6· ·vote is counted, right, to determine if the
·7· ·voter complied with that requirement to date
·8· ·and sign?
·9· · · · · · · · · MR. ZIMOLONG:· Objection to
10· · · · form.
11· · · · · · · · · You can answer.
12· · · · · · · · · THE WITNESS:· We use that date.
13· · · · We follow the court order, if there is
14· · · · one, for that election to give us the date
15· · · · range and if there is a date there at all.
16· ·BY MR. LONEY:
17· · · · Q.· ·Right.· If they don't include the
18· ·date, it's a noncompliant vote, based on the
19· ·most recent court order.· And if they did
20· ·provide a date within a particular range, it's
21· ·a compliant vote.
22· · · · · · · · · Do I have that right?
23· · · · A.· ·That is correct.
24· · · · Q.· ·And that's -- that's the end of the
25· ·analysis of the date, from the Lancaster


                   TSG Reporting Pa.App.0200
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     205 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  85 of 292

                                                                             Page 40
·1· · · · · · · · · · ·C. Miller
·2· ·board's perspective; is that right?
·3· · · · A.· ·Correct.
·4· · · · Q.· ·Okay.· So I'm going to flip back to
·5· ·Exhibit Lancaster 2, which is the requests for
·6· ·admission.
·7· · · · · · · · · Do you have that on your screen
·8· ·now?
·9· · · · A.· ·I do.
10· · · · Q.· ·And I'm going to focus on the first
11· ·one, Request for Admission Number 1, on that
12· ·first page.
13· · · · · · · · · The request is -- or the
14· ·statement that we've asked the counties to
15· ·admit is:· "You have never used or referred to
16· ·the date handwritten on the outer envelope
17· ·containing a mail ballot for any purpose
18· ·related to determining or confirming the mail
19· ·ballot voter's eligibility (that is, their age,
20· ·citizenship, county, and duration of residence
21· ·and felony status)."
22· · · · · · · · · Did I read that correctly?
23· · · · A.· ·Yes.
24· · · · Q.· ·And the Lancaster board replied to
25· ·that with one word, simply saying "Denied."


                   TSG Reporting Pa.App.0201
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     206 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  86 of 292

                                                                             Page 41
·1· · · · · · · · · · ·C. Miller
·2· · · · · · · · · Can you help me square that with
·3· ·the first sentence from the interrogatory
·4· ·response we just saw that said the handwritten
·5· ·date is not material to determining whether a
·6· ·mail ballots voter is qualified to vote?
·7· · · · · · · · · MR. ZIMOLONG:· Objection to
·8· · · · form.
·9· · · · · · · · · You can answer.
10· · · · · · · · · THE WITNESS:· We have not used
11· · · · it to determine someone's eligibility.
12· ·BY MR. LONEY:
13· · · · Q.· ·Okay.· So the board's only basis for
14· ·denying this request is -- this overlaps with
15· ·Interrogatory 14.
16· · · · · · · · · Am I right that Interrogatory 14
17· ·tells us how the Lancaster board uses the date
18· ·on the envelopes?
19· · · · A.· ·Correct.
20· · · · · · · · · MR. ZIMOLONG:· Go ahead.
21· · · · · · · · · THE WITNESS:· Correct.
22· ·BY MR. LONEY:
23· · · · Q.· ·Is there anything else -- any other
24· ·way in which the date is relevant to the
25· ·board's decision whether to open and canvas the


                   TSG Reporting Pa.App.0202
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     207 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  87 of 292

                                                                             Page 44
·1· · · · · · · · · · ·C. Miller
·2· · · · we would have to follow it.
·3· ·BY MR. LONEY:
·4· · · · Q.· ·And if there's a requirement in the
·5· ·election code, and the Court says follow it,
·6· ·that says every voter has to draw a
·7· ·self-portrait on their return envelope on their
·8· ·mail ballot, would drawing the self-portrait be
·9· ·material as to whether the ballot is eligible
10· ·to be counted?
11· · · · · · · · · MR. ZIMOLONG:· Objection.· Calls
12· · · · for improper opinion testimony.· Also
13· · · · beyond the scope of the Rule 30(b)(6)
14· · · · notice.
15· ·BY MR. LONEY:
16· · · · Q.· ·You can answer.
17· · · · A.· ·If there was a court order that we
18· ·were to follow that said it, we would have to
19· ·follow it.
20· · · · Q.· ·So I'll get back to the facts in this
21· ·case.
22· · · · · · · · · So you agree that, if a voter
23· ·returns a ballot or returned a ballot in
24· ·connection with the November 2022 election
25· ·without a handwritten date on it at all on the


                   TSG Reporting Pa.App.0203
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     208 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  88 of 292

                                                                             Page 45
·1· · · · · · · · · · ·C. Miller
·2· ·outer envelope, then Lancaster County did not
·3· ·count their ballot.
·4· · · · · · · · · Is that -- do I understand that
·5· ·correctly?
·6· · · · A.· ·That is correct.
·7· · · · Q.· ·And if a voter returned a ballot with
·8· ·a handwritten date that was outside of the
·9· ·range defined by the Pennsylvania Supreme
10· ·Court, again, Lancaster board did not count
11· ·that ballot?
12· · · · A.· ·That is correct.
13· · · · Q.· ·I'm going to put back up the
14· ·interrogatories, which is Exhibit Lancaster 3.
15· ·And I'm going to jump to page 3 and the answer
16· ·to Interrogatory Number 2.
17· · · · · · · · · Do you see that Interrogatory
18· ·Number 2 on your screen?
19· · · · A.· ·I do.
20· · · · Q.· ·So in response to Interrogatory
21· ·Number 2, the Lancaster board offered some
22· ·objections and then, after that, stated that
23· ·the Lancaster board "set aside 232 mail ballots
24· ·under the orders of the Supreme Court of
25· ·Pennsylvania dated November 1st and


                   TSG Reporting Pa.App.0204
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     209 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  89 of 292

                                                                             Page 49
·1· · · · · · · · · · ·C. Miller
·2· · · · · · · · · · · -· ·-· ·-
·3· · · · · · · · · (Whereupon, Exhibit 6 was marked
·4· · · · · ·for identification.)
·5· · · · · · · · · · · -· ·-· ·-
·6· · · · · · · · · MR. LONEY:· I'll share that now.
·7· ·BY MR. LONEY:
·8· · · · Q.· ·Ms. Miller, do you see on your screen
·9· ·another Supreme Court of Pennsylvania document
10· ·with a caption starting "David Ball"?
11· · · · A.· ·I do.
12· · · · Q.· ·So this document on your screen is
13· ·being marked as Exhibit Lancaster 6.· It is a
14· ·November 5th, 2022, supplemental order of the
15· ·Pennsylvania Supreme Court in Ball versus
16· ·Chapman, same case number as Exhibit 5.
17· · · · · · · · · Is this the November 5th order
18· ·you referenced in response to Interrogatory
19· ·Number 2?
20· · · · A.· ·Yes.
21· · · · Q.· ·Prior to these orders from the
22· ·Pennsylvania Supreme Court, the secretary of
23· ·state had instructed county boards to open and
24· ·canvass ballots received in envelopes without a
25· ·handwritten date on them, right?


                   TSG Reporting Pa.App.0205
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     210 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  90 of 292

                                                                             Page 50
·1· · · · · · · · · · ·C. Miller
·2· · · · A.· ·Correct.
·3· · · · Q.· ·And the Lancaster board was going to
·4· ·follow that guidance had the Supreme Court not
·5· ·weighed in in November; is that right?
·6· · · · A.· ·That is correct.
·7· · · · Q.· ·In other words, had these orders not
·8· ·come in the week before the election, Lancaster
·9· ·board would have canvassed and opened the mail
10· ·ballot envelopes received without a handwritten
11· ·date on them?
12· · · · A.· ·Correct.
13· · · · Q.· ·And when these orders came out, did
14· ·the Lancaster board give anyone the opportunity
15· ·to -- strike that.
16· · · · · · · · · When the orders came out, did
17· ·the Lancaster board notify Lancaster County
18· ·voters of this change in approach?
19· · · · A.· ·We did not.
20· · · · Q.· ·Did the Lancaster board give anybody
21· ·the opportunity to correct any problems with
22· ·the missing or incorrect dates on their mail
23· ·ballot envelopes?
24· · · · A.· ·No.
25· · · · Q.· ·Did the Lancaster board notify


                   TSG Reporting Pa.App.0206
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     211 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  91 of 292

                                                                             Page 51
·1· · · · · · · · · · ·C. Miller
·2· ·anybody that their ballot was going to be set
·3· ·aside on this basis?
·4· · · · A.· ·No.
·5· · · · Q.· ·If anybody had separately learned,
·6· ·you know, by reading the news or following the
·7· ·secretary of state's website, if they had
·8· ·separately learned that this issue had come up,
·9· ·could they have come in and cast a provisional
10· ·ballot on Election Day if they chose to do so?
11· · · · · · · · · MR. ZIMOLONG:· Objection.· Asks
12· · · · the witness to guess.
13· ·BY MR. LONEY:
14· · · · Q.· ·Do you know whether that was an
15· ·option?
16· · · · A.· ·Any voter could vote a provisional
17· ·ballot on Election Day at their precinct.
18· · · · · · · · · · · -· ·-· ·-
19· · · · · · · · · (Stenographer clarification.)
20· · · · · · · · · · · -· ·-· ·-
21· ·BY MR. LONEY:
22· · · · Q.· ·Do you know if anybody, in fact, cast
23· ·a provisional ballot who also had their prior
24· ·attempt at voting by mail set aside based on
25· ·the Supreme Court's orders in Ball?


                   TSG Reporting Pa.App.0207
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     212 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  92 of 292

                                                                             Page 52
·1· · · · · · · · · · ·C. Miller
·2· · · · A.· ·No, not that I can remember.
·3· · · · Q.· ·No, you don't know one way or the
·4· ·other?· Or, no, that didn't happen?
·5· · · · A.· ·I am not sure.
·6· · · · Q.· ·Okay.· So I'm going to turn back to
·7· ·Exhibit Lancaster 6, the November 5th order.
·8· · · · · · · · · Spanning the first and second
·9· ·page, the Supreme Court stated that for the
10· ·purposes of the November 8th, 2022, general
11· ·election, incorrectly dated ballots or --
12· ·strike that -- incorrectly dated outer
13· ·envelopes are those with dates that fall
14· ·outside the date range of September 19th, 2022,
15· ·through November 8th, 2022.
16· · · · · · · · · Did I read that correctly?
17· · · · A.· ·Yes, for mail ballots.
18· · · · Q.· ·So if somebody -- strike that.
19· · · · · · · · · And is this the instruction that
20· ·the Lancaster board followed in connection with
21· ·mail ballots submitted in the 2022 election?
22· · · · A.· ·Yes.
23· · · · Q.· ·So if somebody wrote a date on their
24· ·mail ballot envelope that preceded
25· ·November 19th, 2022, you would have set it


                   TSG Reporting Pa.App.0208
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     213 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  93 of 292

                                                                             Page 53
·1· · · · · · · · · · ·C. Miller
·2· ·aside?
·3· · · · A.· ·Correct.
·4· · · · Q.· ·And if somebody wrote September 20th,
·5· ·2022, and everything else appeared in order,
·6· ·that would have been in compliance with the
·7· ·election code, as interpreted by the
·8· ·Pennsylvania Supreme Court, and so the
·9· ·Lancaster board would have opened that envelope
10· ·and canvassed the ballot?
11· · · · A.· ·If the date was withinside what the
12· ·order gave us, yes, we would have counted it.
13· · · · Q.· ·Including September 20th, in
14· ·particular?
15· · · · A.· ·I believe the order was from the 19th
16· ·through the 8th.· So the 20th would have been
17· ·included.
18· · · · Q.· ·So am I correct, though, that
19· ·Lancaster County did not even start issuing
20· ·mail ballot packets until September 26th?
21· · · · A.· ·Correct.
22· · · · Q.· ·So nobody could have actually been
23· ·signing that envelope as early as
24· ·September 20th?
25· · · · A.· ·Correct.


                   TSG Reporting Pa.App.0209
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     214 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  94 of 292

                                                                             Page 60
·1· · · · · · · · · · ·C. Miller
·2· ·else appeared to be in order, the Lancaster
·3· ·board would have counted it, period, full stop,
·4· ·right?· There's no further evaluation as to
·5· ·whether or not the person signed it on
·6· ·November 8th?
·7· · · · · · · · · MR. ZIMOLONG:· Objection to
·8· · · · form.
·9· · · · · · · · · THE WITNESS:· As long as it was
10· · · · received by 8:00 p.m. on Election Day.
11· ·BY MR. LONEY:
12· · · · Q.· ·And because that's what the Supreme
13· ·Court instructed, not because you're using the
14· ·voter-written date to make a determination as
15· ·to when the voter actually signed their
16· ·envelope, right?
17· · · · A.· ·Correct.· We would not know that.
18· · · · Q.· ·Let's talk a bit about dates falling
19· ·after November 8th, and I'm going to limit
20· ·these questions to domestic mail-in ballots,
21· ·right.· So leaving aside the military ballots
22· ·that might have come in by the 15th.
23· · · · · · · · · If you receive an envelope by
24· ·8:00 p.m. on Election Day, you know for a fact
25· ·that the voter didn't fill out their ballot


                   TSG Reporting Pa.App.0210
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     215 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  95 of 292

                                                                             Page 61
·1· · · · · · · · · · ·C. Miller
·2· ·after November 8th, regardless of what they
·3· ·wrote on the envelope, right?
·4· · · · A.· ·Correct.
·5· · · · Q.· ·But pursuant to the court order, you
·6· ·still would have set aside any envelope where
·7· ·the voter wrote a date that falls after
·8· ·November 8th, 2022, even if it was received by
·9· ·8:00 p.m. on Election Day, right?
10· · · · A.· ·Correct.
11· · · · Q.· ·And that's because you're
12· ·following -- strictly following the court
13· ·order, not because you're using the
14· ·voter-written date to determine when the voter
15· ·actually filled out the ballot, right?
16· · · · A.· ·Correct.
17· · · · Q.· ·What about envelopes received after
18· ·Election Day?
19· · · · · · · · · Leaving aside for a second the
20· ·date issue on what's written on the envelope,
21· ·what does the Lancaster board do with mail
22· ·ballots received after Election Day?
23· · · · A.· ·They are time-stamped in to show when
24· ·we received them, and then they are set aside
25· ·and not -- and not counted.


                   TSG Reporting Pa.App.0211
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     216 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  96 of 292

                                                                             Page 62
·1· · · · · · · · · · ·C. Miller
·2· · · · Q.· ·And they're set aside and not counted
·3· ·regardless of the date the voter writes on
·4· ·them, right?
·5· · · · A.· ·Correct.
·6· · · · Q.· ·So if the voter doesn't get their
·7· ·mail ballot to the board by 8:00p.m.
·8· ·on Election Day, they couldn't possibly get
·9· ·their late vote counted by backdating the
10· ·signature on the envelope, right?
11· · · · A.· ·Correct.
12· · · · Q.· ·So whether or not you receive a
13· ·ballot before 8:00 p.m. on Election Day has
14· ·nothing to do with whether the voter wrote
15· ·"November 8th, 2022," or some earlier date on
16· ·the envelope?
17· · · · A.· ·Correct.
18· · · · Q.· ·Now, going to the other end of the
19· ·timeline, envelopes dated before
20· ·September 19th, 2022.· Again, I'll focus on
21· ·domestic mail ballots, leaving aside the
22· ·military ballots.
23· · · · · · · · · There is no way anybody in
24· ·Lancaster County could have actually filled out
25· ·the 2022 general election paperwork before


                   TSG Reporting Pa.App.0212
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     217 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  97 of 292

                                                                             Page 63
·1· · · · · · · · · · ·C. Miller
·2· ·September 19th, right?
·3· · · · A.· ·Correct.
·4· · · · Q.· ·So even if somebody wrote "9/1/2022"
·5· ·on their envelope, you knew for a fact they
·6· ·could not have actually tried to vote using
·7· ·this paperwork on 9/1/2022?
·8· · · · A.· ·Correct.
·9· · · · Q.· ·But you would have set aside that
10· ·envelope anyway because that's what the Supreme
11· ·Court instructed, right?
12· · · · A.· ·For mail ballots, yes.· Absentees had
13· ·a different date range.
14· · · · Q.· ·Do you know what the date range was
15· ·for absentee?
16· · · · A.· ·August 30th through November 8th.
17· · · · Q.· ·And so I can put up the document
18· ·again, but I just read it.· And good memory;
19· ·that's exactly what the document said in the
20· ·next part.· It wasn't intended to be a memory
21· ·test.
22· · · · · · · · · But it said August 30th, 2022,
23· ·through November 8th, 2022, and did not set
24· ·forth a different deadline for military
25· ·ballots, right?


                   TSG Reporting Pa.App.0213
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     218 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  98 of 292

                                                                             Page 65
·1· · · · · · · · · · ·C. Miller
·2· · · · · · · · · So, for example, some people who
·3· ·wish to indicate November 4th might write
·4· ·4/11 instead of 11/4?
·5· · · · · · · · · MR. ZIMOLONG:· Objection to
·6· · · · form.
·7· · · · · · · · · You can answer.
·8· ·BY MR. LONEY:
·9· · · · Q.· ·Is that something you're aware of
10· ·people doing out in the world?
11· · · · · · · · · MR. ZIMOLONG:· Calls for
12· · · · speculation as to what people out in the
13· · · · world do.
14· · · · · · · · · THE WITNESS:· If somebody did,
15· · · · we -- yes.· I mean, I'm sure that
16· · · · happened.· But that would be seen as
17· · · · month, date, year in our office.
18· ·BY MR. LONEY:
19· · · · Q.· ·So your office would not have done
20· ·anything to evaluate whether flipping the day
21· ·and the month in the order would have actually
22· ·cured a problem?· You just did not count it if
23· ·it didn't hit the range, assuming everybody is
24· ·writing month then day then year?
25· · · · A.· ·Correct.


                   TSG Reporting Pa.App.0214
                                 - Worldwide· · 877-702-9580
                                APP_00877a                                             YVer1f
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     219 04/21/23
                                        279 Filed Date Filed: 01/10/2024
                                                           Page  99 of 292

                                                                             Page 72
·1· · · · · · · · · · ·C. Miller
·2· · · · · · · · · If the stamp on the envelope
·3· ·indicates the mail ballot was received in time,
·4· ·right -- so the stamp is on or before
·5· ·November 8th, right?
·6· · · · A.· ·Yes.
·7· · · · Q.· ·And you know that nobody voted before
·8· ·September 26th, 2022, because nobody could have
·9· ·gotten the mail ballot forms before that,
10· ·right, in Lancaster County?
11· · · · A.· ·Correct.
12· · · · Q.· ·And so you know everybody who
13· ·submitted one of these envelopes between the
14· ·time you issued the mail ballot packages and
15· ·the November 8th stamp voted -- actually filled
16· ·out their envelope during that window, right?
17· · · · · · · · · MR. ZIMOLONG:· Objection to
18· · · · form.· Calls for speculation.
19· · · · · · · · · THE WITNESS:· One would have to
20· · · · assume that.
21· ·BY MR. LONEY:
22· · · · Q.· ·I mean, there's no way they could
23· ·have voted before September 26th, right?
24· · · · A.· ·Correct.
25· · · · Q.· ·And there's no way they could have


                   TSG Reporting Pa.App.0215
                                 - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     220 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               100 of 292

                                                                            Page 73
·1· · · · · · · · · · ·C. Miller
·2· ·voted after November 8th if you stamped the
·3· ·envelope "received" on or before November 8th,
·4· ·right?
·5· · · · A.· ·Correct.
·6· · · · Q.· ·So in those situations, does any of
·7· ·that matter once you see that somebody
·8· ·mistakenly put "2012" instead of "2022" on
·9· ·their envelope?
10· · · · A.· ·For this election, it did not because
11· ·the Supreme Court order gave us date ranges to
12· ·use.
13· · · · · · · · · MR. LONEY:· I'm going to ask the
14· · · · Court Reporter to mark the next exhibit,
15· · · · which is Tab 8, as Lancaster 8.
16· · · · · · · · · · · -· ·-· ·-
17· · · · · · · · · (Whereupon, Exhibit 8 was marked
18· · · · · ·for identification.)
19· · · · · · · · · · · -· ·-· ·-
20· · · · · · · · · MR. LONEY:· Share that on my
21· · · · screen.
22· ·BY MR. LONEY:
23· · · · Q.· ·This is another example from Dauphin
24· ·County.
25· · · · · · · · · Do you have another mail ballot


                    TSG Reporting Pa.App.0216
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     221 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               101 of 292

                                                                            Page 74
·1· · · · · · · · · · ·C. Miller
·2· ·envelope sample up on your screen?
·3· · · · A.· ·I do.
·4· · · · Q.· ·And there's also a stamp on this
·5· ·example near the top, similar to the date
·6· ·stamps that the Lancaster board applied when it
·7· ·received incoming mail ballots, right?
·8· · · · A.· ·Correct.
·9· · · · Q.· ·And there's also a handwritten date
10· ·on this envelope that reads "1/1/22," right?
11· · · · A.· ·Correct.
12· · · · Q.· ·And just like the last example, we
13· ·know nobody filled out a mail-in ballot for the
14· ·November '22 election as early as New Year's
15· ·Day 2022, right?
16· · · · A.· ·Correct.
17· · · · Q.· ·But if the person had just put an
18· ·extra 1 in front of the 1 that's currently
19· ·there for the month so that it would read
20· ·11/1/22 instead of 1/1/22, that would have been
21· ·in compliance with the dating rule, right?
22· · · · A.· ·If it said 11/1, yes.
23· · · · Q.· ·Right.· So if the Lancaster board
24· ·didn't inquire as to whether that was a simple
25· ·mistake, that somebody wrote 1 instead of 11,


                    TSG Reporting Pa.App.0217
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     222 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               102 of 292

                                                                            Page 75
·1· · · · · · · · · · ·C. Miller
·2· ·they would have set this aside based on what
·3· ·appears on the face of the envelope, right?
·4· · · · · · · · · MR. ZIMOLONG:· Objection to
·5· · · · form.
·6· · · · · · · · · You can answer.
·7· · · · · · · · · THE WITNESS:· Yes.· We take the
·8· · · · date that is written by the voter.
·9· ·BY MR. LONEY:
10· · · · Q.· ·And that's, again, because that's
11· ·what the Supreme Court instructed you to do,
12· ·not because you would look at a January date
13· ·and think that the person actually tried to
14· ·vote in January, right?
15· · · · A.· ·Correct.
16· · · · · · · · · MR. LONEY:· I'm going to ask the
17· · · · Court Reporter to mark the next one, which
18· · · · is Tab 9, as Exhibit Lancaster 9.
19· · · · · · · · · · · -· ·-· ·-
20· · · · · · · · · (Whereupon, Exhibit 9 was marked
21· · · · · ·for identification.)
22· · · · · · · · · · · -· ·-· ·-
23· · · · · · · · · MR. LONEY:· I'll share that up
24· · · · on my screen now.
25


                    TSG Reporting Pa.App.0218
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     223 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               103 of 292

                                                                            Page 76
·1· · · · · · · · · · ·C. Miller
·2· ·BY MR. LONEY:
·3· · · · Q.· ·Do you have another mail ballot
·4· ·envelope sample up on your screen?
·5· · · · A.· ·I do.
·6· · · · Q.· ·And, again, this envelope has a
·7· ·handwritten date on it that reads "8/11/22,"
·8· ·right?
·9· · · · A.· ·Correct.
10· · · · Q.· ·Now, this could be an example, could
11· ·it not, of what we were talking about before?
12· ·If somebody switched month and day, they wrote
13· ·day/month, then they were actually writing
14· ·Election Day on this envelope, right?
15· · · · · · · · · MR. ZIMOLONG:· Objection to
16· · · · form.· Calls for speculation.
17· · · · · · · · · THE WITNESS:· It's not up to our
18· · · · office to assume what someone is writing.
19· · · · We can only look at exactly what's in
20· · · · front of us and what is submitted.
21· ·BY MR. LONEY:
22· · · · Q.· ·But you did assume that everybody
23· ·wrote month/day/year, and that was their
24· ·intent, right?
25· · · · A.· ·Again, I would have to look at our


                    TSG Reporting Pa.App.0219
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     224 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               104 of 292

                                                                            Page 77
·1· · · · · · · · · · ·C. Miller
·2· ·envelope to see if that is actually on our
·3· ·envelope.
·4· · · · Q.· ·And we would also have to look at
·5· ·your envelopes to see if they are actually on
·6· ·your envelope, right?
·7· · · · A.· ·Correct.
·8· · · · Q.· ·But in any event, if somebody wrote a
·9· ·date that -- assuming it's month/day/year and
10· ·that didn't fall within the range ordered by
11· ·the Supreme Court, the Lancaster board didn't
12· ·inquire as to whether it could have been
13· ·someone intending to write day/month/year?
14· · · · A.· ·We did not.
15· · · · Q.· ·And this example up on the screen,
16· ·this is one that you would have set aside
17· ·without further inquiry, right?
18· · · · A.· ·Correct.
19· · · · · · · · · MR. LONEY:· I'll ask the Court
20· · · · Reporter to mark the next one, which is
21· · · · Tab 11, as Exhibit Lancaster 10, if that
22· · · · makes sense.
23· · · · · · · · · · · -· ·-· ·-
24· · · · · · · · · (Whereupon, Exhibit 10 was
25· · · · · ·marked for identification.)


                    TSG Reporting Pa.App.0220
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     225 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               105 of 292

                                                                            Page 81
·1· · · · · · · · · · ·C. Miller
·2· ·were voting?
·3· · · · A.· ·We did not go back to look at that.
·4· ·We took just what the date was written.
·5· · · · Q.· ·So in this example, you would have
·6· ·set it aside because the date that's not
·7· ·crossed out is from 1944, which is obviously
·8· ·outside of the date range ordered by the
·9· ·Supreme Court, right?
10· · · · A.· ·I would be speculating on that,
11· ·without seeing this unredacted, to see what
12· ·else was on this envelope and why there were
13· ·two dates.
14· · · · Q.· ·Ah.· So you're saying -- so there are
15· ·a couple of things redacted here, not just the
16· ·signature.
17· · · · · · · · · Are you saying that you might --
18· ·if somebody wrote some sort of explanation
19· ·underneath, that might have weighed into your
20· ·thinking?
21· · · · A.· ·Again, I would just need to see it
22· ·unredacted to know what we would have done.
23· · · · Q.· ·Now, if the Lancaster board had seen
24· ·an envelope or if you had seen an envelope
25· ·submitted with just "3/6/1944" in the date line


                    TSG Reporting Pa.App.0221
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     226 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               106 of 292

                                                                            Page 82
·1· · · · · · · · · · ·C. Miller
·2· ·and nothing else other than the signature, you
·3· ·would have set that aside, right?
·4· · · · A.· ·Correct.
·5· · · · Q.· ·And not because you thought somebody
·6· ·had actually filled out a ballot in 1944 and
·7· ·saved it until 2022, right?· It's just because
·8· ·you were following the Supreme Court's order
·9· ·as -- as written, right?
10· · · · A.· ·Correct.
11· · · · Q.· ·Now, does this indicate to you, if
12· ·somebody wrote a date long in the past, that
13· ·the voter was engaging in any sort of voter
14· ·fraud?
15· · · · A.· ·No.
16· · · · Q.· ·And did the Lancaster board initiate
17· ·any investigations of any voters who wrote
18· ·dates from the 1900s on their outer envelopes
19· ·to see if they were committing voter fraud?
20· · · · A.· ·No.
21· · · · Q.· ·Did you refer anybody to the police
22· ·from the November 2022 general election for
23· ·putting dates long in the past in the 1900s?
24· · · · A.· ·No.
25· · · · · · · · · MR. LONEY:· Is anybody else as


                    TSG Reporting Pa.App.0222
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     227 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               107 of 292

                                                                            Page 85
·1· · · · · · · · · · ·C. Miller
·2· · · · · · · · · So with that understanding, can
·3· ·you help me understand why this statement is
·4· ·denied?
·5· · · · · · · · · MR. ZIMOLONG:· Objection.
·6· ·BY MR. LONEY:
·7· · · · Q.· ·It doesn't sound like, from our prior
·8· ·conversation -- like the Lancaster board
·9· ·actually uses the date written to determine the
10· ·date received.
11· · · · · · · · · MR. ZIMOLONG:· Objection to
12· · · · form.
13· ·BY MR. LONEY:
14· · · · Q.· ·Is that right?
15· · · · A.· ·We don't use -- can you rephrase
16· ·that.· I'm sorry.
17· · · · Q.· ·Sure.· I'll just ask it separate from
18· ·the request for admission.
19· · · · · · · · · The Lancaster board doesn't
20· ·actually use the date written on the envelope
21· ·to establish when the ballot is received by the
22· ·board, does it?
23· · · · A.· ·No.
24· · · · Q.· ·I mean, it stamps the date received
25· ·on the envelope.


                    TSG Reporting Pa.App.0223
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     228 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               108 of 292

                                                                            Page 86
·1· · · · · · · · · · ·C. Miller
·2· · · · · · · · · It doesn't adjust the date on
·3· ·the stamp according to the date written by the
·4· ·voter, right?
·5· · · · A.· ·Correct.
·6· · · · Q.· ·So if we had written this statement
·7· ·more cleanly to say that -- to say exactly
·8· ·that, that the Lancaster board does not use the
·9· ·date written by the voter to determine whether
10· ·the envelope was received by Election Day, it
11· ·shouldn't be a denial, right?· That should be
12· ·admitted?
13· · · · · · · · · MR. ZIMOLONG:· Objection to
14· · · · form.
15· · · · · · · · · You can answer.
16· · · · · · · · · THE WITNESS:· I would be
17· · · · speculating what the board would agree to
18· · · · for that answer.· But for my own self, I
19· · · · would say correct.
20· ·BY MR. LONEY:
21· · · · Q.· ·So I asked a second ago about whether
22· ·anybody was referred to the police or
23· ·investigated for fraud.
24· · · · · · · · · Of the 232 voters whose mail
25· ·ballots were set aside in the 2022 general


                    TSG Reporting Pa.App.0224
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     229 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               109 of 292

                                                                            Page 90
·1· · · · · · · · · · ·C. Miller
·2· · · · A.· ·Yes.
·3· · · · · · · · · MR. LONEY:· I'm going to ask the
·4· · · · Court Reporter to mark as Exhibit
·5· · · · Lancaster 12 the document that we
·6· · · · previously emailed over as Tab 13.
·7· · · · · · · · · · · -· ·-· ·-
·8· · · · · · · · · (Whereupon, Exhibit 12 was
·9· · · · · ·marked for identification.)
10· · · · · · · · · · · -· ·-· ·-
11· · · · · · · · · MR. LONEY:· I'll share my
12· · · · screen.
13· ·BY MR. LONEY:
14· · · · Q.· ·Do you have the police criminal
15· ·complaint up on your screen?
16· · · · A.· ·I do.
17· · · · Q.· ·And is this -- I'm going to scroll
18· ·through it.· Tell me to slow down if I need to.
19· · · · · · · · · My first question, as I scroll
20· ·through, is:· Is the document on your screen,
21· ·Exhibit Lancaster 12, the criminal complaint
22· ·against Cheryl Mihaliak --
23· · · · A.· ·Yes.
24· · · · Q.· ·-- that we were just talking about?
25· · · · A.· ·Yes, it is.


                    TSG Reporting Pa.App.0225
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     230 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               110 of 292

                                                                            Page 91
·1· · · · · · · · · · ·C. Miller
·2· · · · Q.· ·And on the affidavit of probable
·3· ·cause -- do you see where I am?
·4· · · · A.· ·Yep.
·5· · · · Q.· ·It appears to be written by Detective
·6· ·Larry Martin.
·7· · · · · · · · · Do you know who Larry Martin is?
·8· · · · A.· ·I do.
·9· · · · Q.· ·And did you provide a report of what
10· ·you knew about Ms. Mihaliak and her alleged
11· ·voter fraud to Detective Martin?
12· · · · A.· ·I did.
13· · · · Q.· ·Okay.· In the second paragraph, it
14· ·says the ballot for the Democrat primary was
15· ·received on April 28th, 2022, by your office,
16· ·right?
17· · · · A.· ·Correct.
18· · · · Q.· ·And the mother, Teresa Mihaliak, had
19· ·been deceased since April 14th, right?
20· · · · A.· ·Correct.
21· · · · Q.· ·Now, the criminal complaint here does
22· ·not indicate what date, if any, was written on
23· ·Ms. Mihaliak's mail-in vote, right?
24· · · · A.· ·It was dated April -- it says it.· It
25· ·says it was dated April 26th, 2022.


                    TSG Reporting Pa.App.0226
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     231 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               111 of 292

                                                                            Page 92
·1· · · · · · · · · · ·C. Miller
·2· · · · Q.· ·Ah.· Thank you very much.
·3· · · · · · · · · It also says that Teresa
·4· ·Mihaliak was removed from the voter roles on
·5· ·April 25th, 2022, right?
·6· · · · A.· ·Correct.
·7· · · · Q.· ·And that was before you received any
·8· ·mail-in ballot for her?
·9· · · · A.· ·Yes, the day before -- or three days
10· ·before.
11· · · · Q.· ·Got it.
12· · · · · · · · · So Lancaster -- the Lancaster
13· ·board has some mechanism for removing people
14· ·who die before Election Day from the voter
15· ·rolls, right?
16· · · · A.· ·Correct.
17· · · · Q.· ·And you would have done that in this
18· ·case for Teresa Mihaliak before any mail-in
19· ·ballot had been submitted on her behalf, right?
20· · · · A.· ·Correct.
21· · · · Q.· ·So as soon as you or the system saw
22· ·that Teresa Mihaliak had submitted a mail-in
23· ·vote after she had been removed from the voters
24· ·rolls because she had died, you knew that this
25· ·was an invalid vote, right?


                    TSG Reporting Pa.App.0227
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     232 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               112 of 292

                                                                            Page 93
·1· · · · · · · · · · ·C. Miller
·2· · · · A.· ·Yes.
·3· · · · Q.· ·You didn't need to look at the date
·4· ·written on the envelope to determine that this
·5· ·was an invalid vote?
·6· · · · A.· ·We did.
·7· · · · Q.· ·You did need to look at the envelope
·8· ·to determine if this was an invalid vote?
·9· · · · A.· ·Yes, because of when -- because of
10· ·how the dates lined up for all of it to have
11· ·happened.
12· · · · · · · · · She could have received -- she
13· ·did -- she would have received a ballot before
14· ·she died as well as the request.· However, once
15· ·it was returned, she had already been deceased
16· ·for, I believe, almost two weeks.
17· · · · Q.· ·Right.· And dying two weeks before
18· ·the ballot comes in makes the vote invalid as a
19· ·matter of course, right?
20· · · · A.· ·Oh, yes.· It would have been
21· ·invalidated it either way.
22· · · · Q.· ·Right.· So regardless of the date
23· ·written on the envelope, that vote would not
24· ·have counted?
25· · · · A.· ·Correct.


                    TSG Reporting Pa.App.0228
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     233 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               113 of 292

                                                                            Page 94
·1· · · · · · · · · · ·C. Miller
·2· · · · Q.· ·Because you had already caught that
·3· ·Teresa Mihaliak had died and removed her from
·4· ·the voter rolls before Election Day?
·5· · · · A.· ·Yes.
·6· · · · Q.· ·And I understand that the police are
·7· ·interested in how the dates line up because
·8· ·they're, presumably, going for a fraud case
·9· ·against Cheryl Mihaliak.
10· · · · · · · · · But just focusing on whether
11· ·this was a valid vote, the date written on the
12· ·envelope didn't matter one way or the other?
13· · · · A.· ·Correct.· When we received it back,
14· ·as we had already removed her, that ballot
15· ·would have been set to the side.
16· · · · · · · · · MR. LONEY:· We can put this
17· · · · aside for a second.· I want to get back
18· · · · for a moment to military and overseas
19· · · · ballots.
20· · · · · · · · · And I'd like to go back to
21· · · · Exhibit Lancaster 3, the interrogatory
22· · · · responses.
23· · · · · · · · · If everybody would just bear
24· · · · with me for a second while I'm chopping
25· · · · things out of my outline to get us out of


                    TSG Reporting Pa.App.0229
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     234 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               114 of 292

                                                                            Page 99
·1· · · · · · · · · · ·C. Miller
·2· ·Board of Elections?
·3· · · · A.· ·The Board of Elections directly
·4· ·oversees my position at our office.
·5· · · · Q.· ·Understood.· Okay.
·6· · · · · · · · · So in terms of when the board
·7· ·actually determines when a person is eligible
·8· ·to vote, when does that occur in the process of
·9· ·a person -- let's say a person moves to
10· ·Pennsylvania, wants to register to vote and
11· ·participate in Pennsylvania's elections.
12· · · · · · · · · When does the Board of Elections
13· ·determine that that person is eligible to cast
14· ·a ballot in one of their elections?
15· · · · A.· ·When we are registering them to vote.
16· · · · Q.· ·Okay.· After that point, let's say
17· ·that the person successfully registers to vote,
18· ·does the board determine whether that voter is
19· ·eligible to cast the ballot at any point in the
20· ·future?
21· · · · A.· ·There are many voter roll maintenance
22· ·programs that we do throughout every single
23· ·year, so yes.
24· · · · Q.· ·When a person submits a mail ballot
25· ·application -- and when I say "mail ballot," I


                    TSG Reporting Pa.App.0230
                                  - Worldwide· · 877-702-9580
                                                                                      YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     235 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               115 of 292

                                                                            Page 100
·1· · · · · · · · · · ·C. Miller
·2· ·mean both mail-in ballots and absentee
·3· ·ballots -- does the board make a determination
·4· ·of whether that person is eligible to
·5· ·participate in the election?
·6· · · · A.· ·I'm not sure I understand.
·7· · · · Q.· ·Sure.· So you said -- in response to
·8· ·my question of after the person successfully
·9· ·registers to vote, I asked you does the board
10· ·make any future determinations about that
11· ·person's eligibility to participate in
12· ·elections, and you said the board does roll
13· ·maintenance.
14· · · · · · · · · And so my question was:· When a
15· ·person submits an application to vote by mail,
16· ·whether mail-in or absentee, does the board
17· ·make a determination again as to whether that
18· ·voter is eligible to vote?
19· · · · A.· ·Yes.· The first thing we do is to
20· ·make sure that that person is actually a
21· ·registered voter first before we process any
22· ·mail ballot applications.
23· · · · Q.· ·Okay.· And -- okay.· That answered my
24· ·question.· Thank you.
25· · · · · · · · · So does the Board of Elections


                    TSG Reporting Pa.App.0231
                                  - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     236 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               116 of 292

                                                                            Page 101
·1· · · · · · · · · · ·C. Miller
·2· ·use the date that is written on the mail ballot
·3· ·return envelope to determine that person's
·4· ·eligibility to vote?
·5· · · · A.· ·In a way, yes.· Because sometimes,
·6· ·when they come back, if it's a deceased voter,
·7· ·then we have to remove it.
·8· · · · Q.· ·Okay.· And when is that person's
·9· ·eligibility to vote determined?
10· · · · · · · · · Is it based on when they
11· ·submitted the ballot?· Is it based on Election
12· ·Day?
13· · · · · · · · · What is the date by which you
14· ·determine that person's eligibility to vote in
15· ·a particular election?
16· · · · A.· ·We pull deceased voter ballots up
17· ·through Election Day.
18· · · · Q.· ·So if a person passes away before the
19· ·election, you say you pull the ballot.
20· · · · · · · · · What does that mean?
21· · · · A.· ·If we received their ballot -- their
22· ·voted ballot already, we would then pull that
23· ·from those received ballots and set aside.
24· · · · Q.· ·And how do you determine whether a
25· ·person has passed away?


                    TSG Reporting Pa.App.0232
                                  - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     237 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               117 of 292

                                                                            Page 102
·1· · · · · · · · · · ·C. Miller
·2· · · · A.· ·We receive Department of Health
·3· ·records, as all counties do.· And we also use
·4· ·local obituaries or if someone has a death
·5· ·certificate that they have submitted to us.
·6· · · · Q.· ·So if a person passes away before
·7· ·Election Day and they -- and their ballot is
·8· ·received for a particular election, that
·9· ·person's ballot will not be counted?
10· · · · A.· ·Correct.
11· · · · Q.· ·And that is regardless of whether
12· ·there's a date on their return envelope,
13· ·whether the date is incorrect?
14· · · · A.· ·If there is not a date on the
15· ·envelope, we would have already pulled it for
16· ·it being no date.· But, yes, otherwise, looking
17· ·at the date, yes, we still would pull it at
18· ·that point.
19· · · · Q.· ·So in response to Mr. Loney's
20· ·questions, you said that before the
21· ·Pennsylvania Supreme Court's order in November
22· ·of 2022 the Board of Elections was prepared to
23· ·count ballots regardless of whether they
24· ·contained a date on the envelope or whether
25· ·that date was correct; is that right?


                    TSG Reporting Pa.App.0233
                                  - Worldwide· · 877-702-9580
                                                                                       YVer1f
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     238 04/21/23
                                       279 Filed Date Filed:
                                                         Page01/10/2024
                                                               118 of 292

                                                                            Page 124
·1· · · · · · · · · C. Miller
·2· · · · · · · · ·CERTIFICATE
·3· · · · · I HEREBY CERTIFY that the
·4· ·proceedings, evidence and objections are
·5· ·contained fully and accurately in the
·6· ·stenographic notes taken by me upon the
·7· ·deposition of Crista Miller, taken on
·8· ·February 13, 2023 and that this is
·9· ·a true and correct transcript of same.
10· ·Date, February 23, 2023
11
12
13· · · · · · · ·_______________________________
14· · · · · · · ·Jennifer Miller, RMR, CCR, CRR
15· · · · · · · ·and Notary Public
16
17
18
19
20
21· · · · · (The foregoing certification of
22· ·this transcript does not apply to any
23· ·reproduction of the same by any means
24· ·unless under the direct control and/or
25· ·supervision of the certifying reporter.)


                    TSG Reporting Pa.App.0234
                                  - Worldwide· · 877-702-9580
Date Filed: 01/10/2024
Page: 239
Document: 146
Case: 23-3166            Case 1:22-cv-00339-SPB Document 279 Filed 04/21/23 Page 285 of 292




                                                   Pa.App.0235
Date Filed: 01/10/2024
Page: 240
Document: 146
Case: 23-3166            Case 1:22-cv-00339-SPB Document 279 Filed 04/21/23 Page 286 of 292




                                                   Pa.App.0236
Date Filed: 01/10/2024
Page: 241
Document: 146
Case: 23-3166            Case 1:22-cv-00339-SPB Document 279 Filed 04/21/23 Page 287 of 292




                                                   Pa.App.0237
Date Filed: 01/10/2024
Page: 242
Document: 146
Case: 23-3166            Case 1:22-cv-00339-SPB Document 279 Filed 04/21/23 Page 288 of 292




                                                   Pa.App.0238
Date Filed: 01/10/2024
Page: 243
Document: 146
Case: 23-3166            Case 1:22-cv-00339-SPB Document 279 Filed 04/21/23 Page 289 of 292




                                                   Pa.App.0239
Date Filed: 01/10/2024
Page: 244
Document: 146
Case: 23-3166            Case 1:22-cv-00339-SPB Document 279 Filed 04/21/23 Page 290 of 292




                                                   Pa.App.0240
Date Filed: 01/10/2024
Page: 245
Document: 146
Case: 23-3166            Case 1:22-cv-00339-SPB Document 279 Filed 04/21/23 Page 291 of 292




                                                   Pa.App.0241
Date Filed: 01/10/2024
Page: 246
Document: 146
Case: 23-3166            Case 1:22-cv-00339-SPB Document 279 Filed 04/21/23 Page 292 of 292




                                                   Pa.App.0242
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     247 04/21/23
                                 281 Filed Date Filed: 01/10/2024
                                                    Page  20 of 171




                          Pa.App.0243
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     248 04/21/23
                                 281 Filed Date Filed: 01/10/2024
                                                    Page  21 of 171




                          Pa.App.0244
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     249 04/21/23
                                 281 Filed Date Filed: 01/10/2024
                                                    Page  22 of 171




                          Pa.App.0245
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     250 04/21/23
                                 281 Filed Date Filed: 01/10/2024
                                                    Page  23 of 171




                          Pa.App.0246
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     251 04/21/23
                                 281 Filed Date Filed: 01/10/2024
                                                    Page  24 of 171




                          Pa.App.0247
     Case:1:22-cv-00339-SPB
    Case    23-3166 Document: 146 Page:
                            Document 281   25210/16/2022
                                           Filed
                                      Received      Date10:53:53
                                                 04/21/23Filed:
                                                             Page01/10/2024
                                                                 PM 84 of 171
                                                                    Supreme Court Middle District


                                                Filed 10/16/2022 10:53:00 PM Supreme Court Middle District
                                                                                           102 MM 2022

           IN THE SUPREME COURT OF PENNSYLVANIA
__________________________________________________________________

                         No. ____ MM 2022
 ________________________________________________________________

 David Ball, James D. Bee, Jesse D. Daniel, Gwendolyn Mae DeLuca, Ross M.
Farber, Lynn Marie Kalcevic, Vallerie Siciliano-Biancaniello, S. Michael Streib,
Republican National Committee, National Republican Congressional Committee,
                    and Republican Party of Pennsylvania,

                                     Petitioners,

                                          v.

     Leigh M. Chapman, in her official capacity as Acting Secretary of the
           Commonwealth, and All 67 County Boards of Elections
             (See back of cover for list of County Respondents),

                            Respondents.
__________________________________________________________________

       PETITIONERS’ APPLICATION FOR THE EXERCISE OF
   KING’S BENCH POWER OR EXTRAORDINARY JURISDICTION
__________________________________________________________________

Kathleen A. Gallagher         John M. Gore *               Thomas W. King, III *
(PA #37950)                   E. Stewart Crosland          (PA #21580)
Russell D. Giancola           JONES DAY                    Thomas E. Breth
(PA #200058)                  51 Louisiana Ave., N.W.      (PA #66350)
GALLAGHER GIANCOLA LLC        Washington, D.C. 20001       DILLON, MCCANDLESS,
436 7th Avenue, 31st Fl.      202.879.3939 (Phone)         KING, COULTER & GRAHAM,
Pittsburgh, PA 15219                                       LLP
412.717.1900 (Phone)          * Pro hac vice motion        128 W. Cunningham St.
                              forthcoming                  Butler, PA 16001
                                                           724.283.2200 (Phone)

                                                           * General Counsel,
                                                           Republican Party of
                                                           Pennsylvania

                              Counsel for Petitioners


                                   Pa.App.0248
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     253 04/21/23
                                      281 Filed Date Filed: 01/10/2024
                                                         Page  85 of 171




Adams County Board of Elections; Allegheny County Board of Elections;
Armstrong County Board of Elections; Beaver County Board of Elections;
Bedford County Board of Elections; Berks County Board of Elections;
Blair County Board of Elections; Bradford County Board of Elections;
Bucks County Board of Elections; Butler County Board of Elections;
Cambria County Board of Elections; Cameron County Board of Elections;
Carbon County Board of Elections; Centre County Board of Elections;
Chester County Board of Elections; Clarion County Board of Elections;
Clearfield County Board of Elections; Clinton County Board of Elections;
Columbia County Board of Elections; Crawford County Board of Elections;
Cumberland County Board of Elections; Dauphin County Board of Elections;
Delaware County Board of Elections; Elk County Board of Elections;
Erie County Board of Elections; Fayette County Board of Elections;
Forest County Board of Elections; Franklin County Board of Elections;
Fulton County Board of Elections; Greene County Board of Elections;
Huntingdon County Board of Elections; Indiana County Board of Elections;
Jefferson County Board of Elections; Juniata County Board of Elections;
Lackawanna County Board of Elections; Lancaster County Board of Elections;
Lawrence County Board of Elections; Lebanon County Board of Elections;
Lehigh County Board of Elections; Luzerne County Board of Elections;
Lycoming County Board of Elections; McKean County Board of Elections;
Mercer County Board of Elections; Mifflin County Board of Elections;
Monroe County Board of Elections; Montgomery County Board of Elections;
Montour County Board of Elections; Northampton County Board of Elections;
Northumberland County Board of Elections; Perry County Board of Elections;
Philadelphia County Board of Elections; Pike County Board of Elections;
Potter County Board of Elections; Schuylkill County Board of Elections;
Snyder County Board of Elections; Somerset County Board of Elections;
Sullivan County Board of Elections; Susquehanna County Board of Elections;
Tioga County Board of Elections; Union County Board of Elections;
Venango County Board of Elections; Warren County Board of Elections;
Washington County Board of Elections; Wayne County Board of Elections;
Westmoreland County Board of Elections; Wyoming County Board of Elections;
and York County Board of Elections,

     Respondents/Appellants.




                               Pa.App.0249
         Case:1:22-cv-00339-SPB
        Case    23-3166 Document: 146 Page:
                                Document     254 04/21/23
                                         281 Filed Date Filed: 01/10/2024
                                                            Page  86 of 171




                                          TABLE OF CONTENTS

                                                                                                                       Page

INTRODUCTION ..................................................................................................... 1

PARTIES....................................................................................................................5

         I.        Petitioners .............................................................................................. 5

                   A.       Voter Petitioners ......................................................................... 5

                   B.       Republican Committees .............................................................. 7

         II.       Respondents........................................................................................... 9

STATEMENT OF THE CASE ................................................................................ 10

BASIS FOR EXERCISE OF KING’S BENCH POWER OR
EXTRAORDINARY JURISDICTION ................................................................... 11

ARGUMENT ........................................................................................................... 13

         I.        A Majority Of This Court Has Already Upheld The
                   Mandatory Date Requirement Under State Law ................................. 13

         II.       Federal Law Does Not Preempt the Date Requirement ...................... 19

         III.      The Acting Secretary’s Guidance Directly Contradicts
                   the General Assembly’s Date Requirement ........................................ 23

         IV.       The Court Should Immediately Order County Boards
                   of Elections to Segregate Any Absentee or Mail-In
                   Ballots That Do Not Comply With the Date Requirement ................. 24

RELIEF REQUESTED ............................................................................................ 26




                                                              i

                                                   Pa.App.0250
         Case:1:22-cv-00339-SPB
        Case    23-3166 Document: 146 Page:
                                Document     255 04/21/23
                                         281 Filed Date Filed: 01/10/2024
                                                            Page  87 of 171




                                    TABLE OF AUTHORITIES

Cases                                                                                                        Page

Anderson v. Celebrezze, 460 U.S. 780 (1983) ......................................................... 14

Bd. of Revisions of Taxes, City of Philadelphia v. City of Philadelphia,
   4 A.3d 610 (Pa. 2010) ......................................................................................... 11

Brnovich v. DNC, 141 S. Ct. 2321 (2021) ............................................................... 21

Chapman v. Berks County Bd. of Elecs.,
  2022 WL 4100998, *13-*25 (Pa. Commw. Aug. 19, 2022) ................................ 4

Commonwealth v. Williams, 129 A.3d 1199 (Pa. 2015) .......................................... 12

Cook v. Gralike, 531 U.S. 510 (2010) ..................................................................... 18

County of Fulton v. Sec., 276 A.3d 846 (Pa. Commw. 2022) ................................. 23

DNC v. Wisconsin State Leg., 141 S. Ct. 28 (Mem.) (Oct. 26, 2020) ..................... 21

Friends of Danny DeVito v. Wolf, 227 A.3d 872 (Pa. 2020) .............................12, 13

Hamilton v. Johnson, 141 A. 846 (Pa. 1928)........................................................... 23

Hawke v. Smith, 253 U.S. 221 (1920) ...................................................................... 19

In re Bruno, 101 A.3d 635 (Pa. 2014) ..................................................................... 12

In re Canvass of Absentee and Mail-In Ballots of November 3, 2020
General Election, 241 A.3d 1058 (2020) .........................................................passim

In re Canvass of Absentee Ballots of Nov. 4, 2003 General Election,
    843 A.2d 1223 (Pa. 2004) ................................................................................... 14

In re Election in Region 4 for Downington Sch. Bd. Precinct Uwchlan 1,
    272 A.3d 993 (Pa. Commw. Ct. 2022) .........................................................10, 16



                                                         ii

                                                Pa.App.0251
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     256 04/21/23
                                        281 Filed Date Filed: 01/10/2024
                                                           Page  88 of 171




League of Women Voters v. Commonwealth, 178 A.2d 737 (Pa. 2018) ................. 12

McCormick for U.S. Senate v. Chapman,
  2022 WL 2900112 (Pa. Commw. Ct. June 2, 2022) ...................................passim

Migliori v. Cohen, No. 22-1499 (3d Cir. May 27, 2022) ..............................1, 10, 11

Moore v. Harper, 142 S. Ct. 1089 (2022)....................................................18, 19, 24

Perzel v. Cortes, 870 A.2d 759 (Pa. 2005) .............................................................. 23

Purcell v. Gonzalez, 549 U.S. 1 (2006) .........................................................5, 13, 26

Republican Party of Pa. v. Degraffenreid,
  No. 20A84, Order (Nov. 6, 2020) ....................................................................... 24

Republican Party of Pa. v. Degraffenreid, 141 S. Ct. 732 (2021) ..............18, 19, 24

Ritter v. Lehigh Cnty. Bd. of Elecs., 272 A.3d 989 (Pa. Commw. 2022) ..........10, 16

Ritter v. Migliori,
   No. 22-30, 2022 WL 6571686 (U.S. Oct. 11, 2022) ......................................1, 10

Ritter v. Migliori, 142 S. Ct. 1824 (2022).........................................................passim

Rosario v. Rockefeller, 410 U.S. 752 (1973) ........................................................... 20

Schwier v. Cox, 340 F.3d 1284 (11th Cir. 2003) ..................................................... 21

Smiley v. Holm, 285 U.S. 355 (Pa. 1932) ....................................................18, 19, 23

Storer v. Brown, 415 U.S. 724 (1974) ..................................................................... 14

Summit Towne Centre, Inc. v. Shoe Show of Rocky Mount, Inc.,
  828 A.2d 995 (Pa. 2003) ...............................................................................24, 25

Timmons v. Twin City Area New Party, 520 U.S. 351 (1997)...........................14, 21

Vote.Org v. Callanen, 39 F.4th 297 (5th Cir. 2022) ................................................ 21


                                                      iii

                                             Pa.App.0252
         Case:1:22-cv-00339-SPB
        Case    23-3166 Document: 146 Page:
                                Document     257 04/21/23
                                         281 Filed Date Filed: 01/10/2024
                                                            Page  89 of 171




Statutes

42 Pa. C.S. § 502 ................................................................................................... 11

25 P.S. § 1301 ....................................................................................................... 22

25 P.S. § 2621 ................................................................................................... 9, 23

25 P.S. § 2641 ......................................................................................................... 9

25 P.S. § 2642 ................................................................................................... 9, 23

25 P.S. § 2831 ......................................................................................................... 8

25 P.S. § 2834 ......................................................................................................... 8

25 P.S. § 3146.6 .................................................................................... 1, 13, 23, 26

25 P.S. § 3146.8 .................................................................................................... 12

25 P.S. § 3150.16 .................................................................................. 1, 13, 23, 26

25 P.S. § 3159 ......................................................................................................... 9

52 U.S.C. § 10101 ................................................................................. 1, 20, 21, 22

52 U.S.C. § 30101 ............................................................................................... 7, 8



Constitutional Provisions

PA. CONST. art. I, § 5 ............................................................................................. 16

U.S. CONST. art. I, § 4, cl. 1....................................................................... 18, 19, 23




                                                            iv

                                                   Pa.App.0253
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     258 04/21/23
                                       281 Filed Date Filed: 01/10/2024
                                                          Page  90 of 171




                                 INTRODUCTION

      The General Assembly has mandated that a voter who uses an absentee or

mail-in ballot “shall . . . fill out, date and sign the declaration” printed on the outer

envelope of the ballot. 25 P.S. §§ 3146.6(a), 3150.16(a). A majority of this Court

has already held that any absentee or mail-in ballot that does not comply with the

General Assembly’s date requirement is invalid and cannot be counted in any

election after the 2020 general election. See In re Canvass of Absentee and Mail-In

Ballots of November 3, 2020 General Election, 241 A.3d 1058, 1079-80 (2020)

(Opinion of Justice Wecht); id. at 1090-91 (Opinion of Justices Dougherty, Saylor,

and Mundy) (“In re 2020 Canvass”). Thereafter, a panel of the Third Circuit held

that the federal materiality statute—which touches on election officials’

determination of whether an “individual is qualified under State law to vote,” 52

U.S.C. § 10101(2)(B)—somehow preempts the date requirement.                   The U.S.

Supreme Court vacated that holding last week. See Migliori v. Cohen, No. 22-1499

(3d Cir. May 27, 2022), cert. granted and judgment vacated, Ritter v. Migliori, No.

22-30, 2022 WL 6571686 (U.S. Oct. 11, 2022) (Mem.). And when addressing a

request for a stay earlier in that case, three Justices even opined that the Third

Circuit’s holding is “very likely wrong” on the merits because it rests upon a

misconstruction of federal law. Ritter v. Migliori, 142 S. Ct. 1824, 1824 (2022)

(Mem.) (Alito, J., dissenting from the denial of the application for stay).


                                           1

                                    Pa.App.0254
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     259 04/21/23
                                       281 Filed Date Filed: 01/10/2024
                                                          Page  91 of 171




      Nonetheless, following the Supreme Court’s vacatur order, the Acting

Secretary of the Commonwealth has doubled down on guidance that purports to

direct county boards of elections to “include[] in the canvass and pre-canvass . . .

[a]ny ballot-return envelope that is undated or dated with an incorrect date but has

been timely received.” See Pa. Dep’t of State, Guidance Concerning Examination

of Absentee and Mail-in Ballot Return Envelopes (Sept. 26, 2022), a copy of which

is attached as Ex. A.     The Acting Secretary premised that statement on an

unpublished, non-precedential decision of the Commonwealth Court adopting the

Third Circuit’s now-vacated reasoning that the date requirement is invalid. See

Acting Secretary of State Issues Statement on SCOTUS Order on Undated Mail

Ballots (Oct. 11, 2022), a copy of which is attached as Ex. B.

      At the same time, the Acting Secretary’s own website advises the public that

“[i]f you do not complete the declaration on the return envelope” of an absentee or

mail-in ballot, “your ballot will not be counted.” See Mail-In and Absentee Voting,

https://www.vote.pa.gov/Voting-in-PA/Pages/Mail-and-Absentee-Ballot.aspx.

County boards of elections have likewise informed voters that their ballots “will not

be counted” if they do not comply with the date requirement. See, e.g., Philadelphia

County Voter Declaration (“YOUR BALLOT WILL NOT BE COUNTED

UNLESS . . . [y]ou sign and date the voter’s declaration in your own handwriting”),

a copy of which is attached as Ex. C.


                                         2

                                   Pa.App.0255
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     260 04/21/23
                                       281 Filed Date Filed: 01/10/2024
                                                          Page  92 of 171




      Petitioners are Pennsylvania voters and political party committees that support

and seek to uphold free and fair elections on behalf of all Pennsylvanians. Petitioners

therefore ask the Court to exercise its King’s Bench power or extraordinary

jurisdiction to uphold the General Assembly’s date requirement for the imminent

2022 general election and beyond. In particular, Petitioners ask the Court to issue a

declaration that the date requirement is valid and mandatory, and that the Acting

Secretary’s contrary guidance is invalid. Moreover, to preserve the rights of all

voters and candidates, the Court should immediately issue an order directing county

boards of elections to segregate any undated or incorrectly dated ballots received for

the 2022 general election, as the Speaker and Majority Leader of the House of

Representatives have requested. See Letter from B. Cutler & K. Benninghoff to

Leigh Chapman (Oct. 13, 2022), attached as Ex. D.

      The time for the Court to act is now. The validity of undated absentee and

mail-in ballots already led to one costly and unnecessary election challenge earlier

this year. See McCormick for U.S. Senate v. Chapman, 2022 WL 2900112 (Pa.

Commw. June 2, 2022) (unpublished). Moreover, the issue “could well affect the

outcome of the fall elections” in which Petitioners seek to exercise their

constitutional rights to vote and to participate. Ritter, 142 S. Ct. at 1824 (Alito, J.,

dissenting from the denial of the application for stay). And while a few counties

have indicated that they intend to segregate any undated absentee or mail-in ballots


                                           3

                                    Pa.App.0256
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     261 04/21/23
                                       281 Filed Date Filed: 01/10/2024
                                                          Page  93 of 171




in the imminent general election, others have provided no such indication. See “Pa.

House GOP: Segregate undated ballots,” Pittsburgh Post-Gazette (Oct. 14, 2022),

attached as Ex. E.

      Thus, while the General Assembly has made the date requirement clear and

explicit in the Election Code, the actions of other courts, the Acting Secretary, and

some county boards of elections have generated a lack of clarity and transparency.

Those actions may also result in unequal treatment of otherwise identical ballots

based upon the county in which the voter resides. In particular, some county boards

of elections may follow the plain statutory text, the Acting Secretary’s website, and

their own instructions to voters and decline to count an undated or incorrectly dated

absentee or mail-in ballot. In fact, even though the Acting Secretary sued to force

all county boards to count such ballots for the 2022 primary election, at least one

county, Butler County, declined to do so. See Chapman v. Berks County Bd. of

Elecs., 2022 WL 4100998, at *6 (Pa. Commw. Aug. 19, 2022) (unpublished). On

the other hand, other county boards may choose to follow the Acting Secretary’s

guidance and to count any undated or incorrectly dated ballot. Any counting of

ballots that the General Assembly has declared invalid—and the lack of statewide

uniformity in the treatment of undated or incorrectly dated ballots—are eroding

public trust and confidence in the integrity of Pennsylvania’s elections at a vital

moment in the Nation’s and the Commonwealth’s history.


                                         4

                                   Pa.App.0257
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     262 04/21/23
                                       281 Filed Date Filed: 01/10/2024
                                                          Page  94 of 171




      The Court therefore should take immediate action to uphold the General

Assembly’s date requirement and to set aside the Secretary’s invalid guidance. Such

action will promote “[c]onfidence in the integrity of our electoral process,” facilitate

“the functioning of our participatory democracy,” and eliminate the “consequent

incentive to remain away from the polls” that the current state of affairs creates.

Purcell v. Gonzalez, 549 U.S. 1, 4–5 (2006). The Court should grant the Application.

                                         PARTIES

I.    Petitioners

      A.     Voter Petitioners

      Petitioner David Ball resides in Washington County, Pennsylvania and is a

registered Pennsylvania elector who consistently votes in each election.

      Petitioner James D. Bee resides in Cambria County, Pennsylvania and is a

registered Pennsylvania elector who consistently votes in each election.

      Petitioner Jesse D. Daniel resides in Indiana County, Pennsylvania and is a

registered Pennsylvania elector who consistently votes in each election.

      Petitioner Gwendolyn Mae Deluca resides in Beaver County, Pennsylvania

and is a registered Pennsylvania elector who consistently votes in each election.

      Petitioner Ross M. Farber resides in Westmoreland County, Pennsylvania and

is a registered Pennsylvania elector who consistently votes in each election.




                                           5

                                    Pa.App.0258
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     263 04/21/23
                                       281 Filed Date Filed: 01/10/2024
                                                          Page  95 of 171




      Petitioner Lynn Marie Kalcevic resides in Beaver County, Pennsylvania and

is a registered Pennsylvania elector who consistently votes in each election.

      Petitioner Vallerie Siciliano-Biancaniello resides in Delaware County,

Pennsylvania and is a registered Pennsylvania elector who consistently votes in each

election.

      Petitioner S. Michael Streib resides in Butler County, Pennsylvania and is a

registered Pennsylvania elector who consistently votes in each election.

      Each of the Voter Petitioners regularly votes in both primary and general

elections and intends to vote for candidates in all races on their respective ballots in

the 2022 general election, including but not limited to the races for United States

Senate, United States House of Representatives, Pennsylvania Senate, and

Pennsylvania House of Representatives. Voter Petitioners, each of whom has the

right to vote via mail-in ballot, have a particularized interest in knowing the exact

requirements for such mail-in ballots to be counted.

      Moreover, the counting of undated or incorrectly dated ballots by some or all

county boards of elections in violation of the Election Code has interfered, and

threatens to interfere, with Voter Petitioners’ right to free and equal elections. In

particular, the votes validly cast by Voter Petitioners have been and will be canceled

out and diluted by the counting of undated or incorrectly dated ballots.




                                           6

                                    Pa.App.0259
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     264 04/21/23
                                       281 Filed Date Filed: 01/10/2024
                                                          Page  96 of 171




       This substantial harm is only exacerbated by the current lack of statewide

uniformity among county boards of elections on whether to segregate any absentee

or mail-in ballots that do not comply with the General Assembly’s date requirement.

Indeed, even if the Court reiterates that the date requirement is mandatory, it will not

be able to grant effectual relief in any county where the board of elections has failed

to segregate undated and incorrectly dated ballots and, thus, cannot exclude such

invalid ballots from its final certified results.

       B.     Republican Committees

       The Republican National Committee (the “RNC”) is the national committee

of the Republican Party as defined by 52 U.S.C. § 30101(14). The RNC manages

the Republican Party’s business at the national level, including development and

promotion of the Party’s national platform and fundraising and election strategies;

supports Republican candidates for public office at all levels across the country,

including those on the ballot in Pennsylvania; and assists state parties throughout the

country, including the Republican Party of Pennsylvania, to educate, mobilize,

assist, and turnout voters.

       The National Republican Congressional Committee (the “NRCC”) is the

national congressional committee of the Republican Party as defined by 52 U.S.C.

§ 30101(14). The NRCC’s mission is to elect Republican candidates to the U.S.

House of Representatives from across the United States, including from


                                             7

                                     Pa.App.0260
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     265 04/21/23
                                       281 Filed Date Filed: 01/10/2024
                                                          Page  97 of 171




Pennsylvania’s eighteen congressional districts. The NRCC works to accomplish

its mission in Pennsylvania by, among other things, providing direct and indirect

financial contributions and support to candidates and other Republican Party

organizations; providing technical and research assistance to Republican candidates

and Party organizations; engaging in voter registration, voter education and voter

turnout programs; and other Republican party-building activities.

      Petitioner Republican Party of Pennsylvania (“RPP”) is a major political

party, 25 P.S. § 2831(a), and the “State committee” for the Republican Party in

Pennsylvania, 25 P.S. § 2834, as well as a federally registered “State Committee” of

the Republican Party as defined by 52 U.S.C. § 30101(15). RPP, on behalf of itself

and its members nominates, promotes, and assists Republican candidates seeking

election or appointment to federal, state, and local office in Pennsylvania.

      The RNC, NRCC, and RPP (collectively, “Committee Petitioners”) each have

made significant contributions and expenditures in support of Republican candidates

up and down the ballot and in mobilizing and educating voters in Pennsylvania in

past election cycles and is doing so again in 2022. These efforts include devoting

substantial time and resources toward monitoring of the voting and vote counting

process in Pennsylvania and to ensure it is conducted lawfully.           Committee

Petitioners make expenditures to ensure they and their voters understand the rules

governing the elections process, including applicable dates, deadlines, and


                                          8

                                   Pa.App.0261
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     266 04/21/23
                                       281 Filed Date Filed: 01/10/2024
                                                          Page  98 of 171




requirements for voting by mail or absentee. These efforts require a uniform

application of the law and a clear and transparent understanding of mail voting

requirements, including any allowances for notice and opportunity to cure

procedures. Committee Petitioners have a substantial and particularized interest in

ensuring that Pennsylvania administers free and fair elections.

II.   Respondents

      Respondent Leigh M. Chapman is the Acting Secretary of the Commonwealth

and is sued in her official capacity only. In that capacity, Acting Secretary Chapman

must “receive from county boards of elections the returns of primaries and

elections,” “canvass and compute the votes cast for candidates,” “proclaim the

results of such primaries and elections,” and “issue certificates of election to the

successful candidates at such elections.” See 25 P.S. § 2621(f); see also 25 P.S.

§ 3159.

      Each of the 67 County Boards of Elections in Pennsylvania are also named as

Respondents. Boards of Elections “have jurisdiction over the conduct of primaries

and elections in such count[ies].” Id. at § 2641(a). The Boards of Elections’ powers

are set forth in the Election Code. See 25 P.S. § 2642.




                                          9

                                   Pa.App.0262
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     267 04/21/23
                                      281 Filed Date Filed: 01/10/2024
                                                         Page  99 of 171




                         STATEMENT OF THE CASE

      In the first two cases after In re 2020 Canvass, the Commonwealth Court

adhered to the majority’s construction of the date requirement and denied requests

to count undated absentee or mail-in ballots. On both occasions, this Court allowed

the Commonwealth Court’s decisions to stand. See In re Election in Region 4 for

Downington Sch. Bd. Precinct Uwchlan 1, 272 A.3d 993 (Pa. Commw. 2022),

appeal denied, 273 A.3d 508 (Pa. 2022); Ritter v. Lehigh Cnty. Bd. of Elecs., 272

A.3d 989 (Pa. Commw. 2022), appeal denied 271 A.3d 1285 (Pa. 2022).

      Four days after Ritter was resolved by this Court, individual voters filed a new

lawsuit in federal court claiming that Pennsylvania’s date requirement violated the

federal materiality provision. The district court granted summary judgment against

the plaintiffs. A panel of the Third Circuit reversed, holding that the federal

materiality provision preempts the date requirement. The U.S. Supreme Court

granted certiorari and vacated that holding on October 11, 2022. See Migliori v.

Cohen, No. 22-1499 (3d Cir. May 27, 2022), cert. granted and judgment vacated,

Ritter v. Migliori, No. 22-30, 2022 WL 6571686 (U.S. Oct. 11, 2022) (Mem.).

      Meanwhile, the Commonwealth Court twice has departed from the General

Assembly’s date requirement and the majority’s construction in unpublished, non-

precedential cases arising out of the 2022 Republican primary election for U.S.

Senate.   See McCormick, 2022 WL 2900112 at *13-14; Chapman, 2022 WL


                                         10

                                   Pa.App.0263
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     268 04/21/23
                                     281 Filed Date Filed:
                                                       Page01/10/2024
                                                             100 of 171




4100998. In those cases, the Commonwealth Court has held that treating the date

requirement as mandatory violates state law and the federal materiality provision.

The Commonwealth Court relied upon the Third Circuit’s now-vacated Migliori

decision in support of its federal holding in both cases. See McCormick, 2022 WL

2900112 at *10-14; Chapman, 2022 WL 4100998 at *13-*25.

      Following the U.S. Supreme Court’s vacatur of Migliori, the Acting Secretary

reiterated her view that “[e]very county is expected to include undated ballots in

their official returns for the Nov. 8 election, consistent with” the Department of

State’s prior guidance. See Ex. B. The Secretary’s statement explicitly invoked the

Commonwealth Court’s two unpublished, non-precedential decisions from earlier

this year. See id. The Secretary’s guidance purports to direct that “[a]ny ballot-

return envelope that is undated or dated with an incorrect date but that has been

timely received by the county shall be included in the canvass and pre-canvass.” Ex.

A at 3.

          BASIS FOR EXERCISE OF KING’S BENCH POWER OR
                  EXTRAORDINARY JURISDICTION

      This Court possesses authority to “exercise the powers of the court, as fully

and amply, to all intents and purposes, as the justices of the Court of King’s Bench,

Common Pleas and Exchequer, at Westminster, or any of them, could or might do

on May 22, 1722.” 42 Pa. C.S. § 502. That authority includes the “power of general

superintendency over inferior tribunals even when no matter is pending.” Bd. of
                                         11

                                   Pa.App.0264
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     269 04/21/23
                                     281 Filed Date Filed:
                                                       Page01/10/2024
                                                             101 of 171




Revisions of Taxes, City of Philadelphia v. City of Philadelphia, 4 A.3d 610, 620

(Pa. 2010); see also Friends of Danny DeVito v. Wolf, 227 A.3d 872, 884 (Pa. 2020);

Commonwealth v. Williams, 129 A.3d 1199, 1206 (Pa. 2015).

      “King’s Bench authority is generally invoked to review an issue of public

importance that requires timely intervention by the court of last resort to avoid the

deleterious effects arising from delays incident to the ordinary process of law.”

Friends of Danny DeVito, 227 A.3d at 884 (quoting Williams, 129 A.3d at 1206); In

re Bruno, 101 A.3d 635, 670 (Pa. 2014). “[T]he power of King’s Bench allow[s]

the Court to innovate a swift process and remedy appropriate to exigencies of the

event.” In re Bruno, 101 A.3d at 672.

      The Court should grant the Application and exercise its King’s Bench

authority here.    The 2022 general election day is rapidly approaching on

November 8, 2022. The pre-canvass and canvass of absentee and mail-in ballots

begin as early as that date. See 25 P.S. § 3146.8. There is not sufficient time for the

“ordinary processes of law” to resolve the issues presented before the pre-canvass

and canvass begin—and it may be impossible to grant effectual relief after that time,

particularly if county boards of elections do not segregate undated or incorrectly

dated absentee and mail-in ballots. Friends of Danny DeVito, 227 A.3d at 884.

Those issues are of vital importance: voting is among “the most central of democratic

rights,” League of Women Voters v. Commonwealth, 178 A.3d 737, 741 (Pa. 2018),


                                          12

                                   Pa.App.0265
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     270 04/21/23
                                     281 Filed Date Filed:
                                                       Page01/10/2024
                                                             102 of 171




and Voter Petitioners face the threat of an irreparable dilution of their votes if—as

the Acting Secretary has purported to direct—county boards of elections include

invalid undated or incorrectly dated absentee or mail-in ballots in their official vote

totals. Indeed, the application of the General Assembly’s date requirement is an

“issue of public importance,” Friends of Danny DeVito, 227 A.3d at 884, bearing on

“the integrity of our electoral process” in Pennsylvania, Purcell, 549 U.S. at 5. The

Court should grant the Application and resolve it now.

                                    ARGUMENT

      The General Assembly’s straightforward mandate that any voter who uses an

absentee or mail-in ballot “shall . . . fill out, date and sign the declaration,” 25 P.S.

§§ 3146.6(a), 3150.16(a), is valid under state and federal law. The Court should

grant the Application and enter an order (i) declaring that county boards of elections

may not count any undated or incorrectly dated absentee or mail-in ballot;

(ii) declaring that the Acting Secretary’s contrary guidance is invalid; and

(iii) directing county boards of elections to segregate any undated or incorrectly

dated absentee or mail-in ballots received in connection with the 2022 general

election.

I.    A Majority Of This Court Has Already Upheld The Mandatory Date
      Requirement Under State Law.

      A majority of this Court has already held that the General Assembly said what

it meant and meant what it said: the date requirement is mandatory, and any ballot
                                           13

                                    Pa.App.0266
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     271 04/21/23
                                     281 Filed Date Filed:
                                                       Page01/10/2024
                                                             103 of 171




that does not comply with it may not be counted in any election after the 2020

general election. See In re 2020 Canvass, 241 A.3d at 1079-80 (Opinion of Justice

Wecht); see also id. at 1082 (“A court’s only ‘goal’ should be to remain faithful to

the terms of the statute that the General Assembly enacted, employing only one

juridical presumption when faced with unambiguous language: that the legislature

meant what it said.”); id. at 1090-91 (Opinion of Justices Dougherty, Saylor, and

Mundy). This holding makes perfect sense: “[t]he word ‘shall,’” particularly when

used in the Election Code, “carries an imperative or mandatory meaning.” In re

Canvass of Absentee Ballots of Nov. 4, 2003 General Election, 843 A.2d 1223, 1231

(Pa. 2004).

      Moreover, “[s]tates may, and inevitably must, enact reasonable regulations of

parties, elections, and ballots to reduce election- and campaign-related disorder.”

Timmons v. Twin City Area New Party, 520 U.S. 351, 358 (1997). “[A]s a practical

matter, there must be a substantial regulation of elections if they are to be fair and

honest and if some sort of order, rather than chaos, is to accompany the democratic

processes.” Anderson v. Celebrezze, 460 U.S. 780, 788 (1983) (quoting Storer v.

Brown, 415 U.S. 724, 730 (1974)). In Pennsylvania, the decision whether to impose

a date requirement for absentee and mail-in ballots is entrusted to the General

Assembly—and it has clearly spoken. See In re 2020 Canvass, 241 A.3d at 1079-




                                         14

                                   Pa.App.0267
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     272 04/21/23
                                     281 Filed Date Filed:
                                                       Page01/10/2024
                                                             104 of 171




80, 1082 (Opinion of Justice Wecht); id. at 1090-91 (Opinion of Justices Dougherty,

Saylor, and Mundy).

      That alone is sufficient to mandate upholding the commonsense and

evenhanded date requirement. But if more were somehow needed, Justices of this

Court have recognized that the General Assembly’s date requirement serves “an

unquestionable purpose.” Id. at 1090 (Opinion of Justices Dougherty, Saylor, and

Mundy). In particular, the date on the ballot envelope “provides proof of when the

elector actually executed the ballot in full, ensuring their desire to cast it in lieu of

appearing in person at the polling place.” Id. “The presence of the date also

establishes a point in time against which to measure the elector’s eligibility to cast

the ballot.” Id. And the date “ensures the elector completed the ballot within the

proper time frame and prevents tabulation of potentially fraudulent back-dated

votes.” Id. at 1091.

      These are no mere theoretical interests. Earlier this year, officials in Lancaster

County discovered that an individual had cast a fraudulent ballot in her deceased

mother’s name. The evidence? The date provided on the outer envelope was

April 26, 2022, twelve days after the mother had passed away. See Affidavit of

Probable Cause ¶ 2, Police Criminal Complaint, Com. v. Mihaliak, No. CR-126-22

(June 3, 2002), a copy of which is attached as Ex. F.




                                           15

                                    Pa.App.0268
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     273 04/21/23
                                     281 Filed Date Filed:
                                                       Page01/10/2024
                                                             105 of 171




      This Court’s declaration that the General Assembly’s date requirement is

mandatory should have been the end of the matter in Pennsylvania courts. For a

while, it was. See, e.g., In re Election in Region 4 for Downington Sch. Bd. Precinct

Uwchlan 1, 272 A.3d 993 (Pa. Commw. 2022), appeal denied, 273 A.3d 508 (Pa.

2022); Ritter v. Lehigh Cnty. Bd. of Elecs., 272 A.3d 989 (Pa. Commw. 2022),

appeal denied 271 A.3d 1285 (Pa. 2022). But earlier this year, the Commonwealth

Court issued two unpublished, non-precedential opinions that departed from the

Election Code’s plain text and the majority’s reasoning. The Commonwealth Court

rested this departure on two strands of reasoning, neither of which is persuasive.

      First, the Commonwealth Court pointed to the Free and Equal Elections

Clause, PA. Const. art. I, § 5, for the proposition that “the Election Code should be

liberally construed so as not to deprive electors of their right to elect the candidate

of their choice.” McCormick, 2022 WL 2900112 at *13-14; see also Chapman, 2022

WL 4100998 at *13-25. But, of course, the Free and Equal Elections Clause and

any rules of construction it requires were before this Court in 2020, when the

majority concluded that the date requirement is mandatory such that non-compliant

ballots may not be counted. See In re 2020 Canvass, 241 A.3d at 1079-80 (Opinion

of Justice Wecht); id. at 1090-91 (Opinion of Justices Dougherty, Saylor, and

Mundy). Moreover, as Justice Wecht reasoned, the Free and Equal Elections Clause

does not support, much less require, liberal construction of the date requirement. To


                                          16

                                   Pa.App.0269
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     274 04/21/23
                                     281 Filed Date Filed:
                                                       Page01/10/2024
                                                             106 of 171




the contrary, “[a] court’s only ‘goal’ should be to remain faithful to the terms of the

statute that the General Assembly enacted, employing only one juridical

presumption when faced with unambiguous language: that the legislature meant

what it said.” Id. at 1082 (Opinion of Justice Wecht) (emphasis original).

      Second, the Commonwealth Court noted that the majority in In re 2020

Canvass did not expressly address a case where “ballots that had exterior envelopes

with incorrect dates were counted and included in the election totals.” McCormick,

2022 WL 2900112, at *14; see also Chapman, 2022 WL 4100998, *24. The

Commonwealth Court, however, nowhere explains how the fact that a different

category of incorrectly dated ballots was not raised somehow erodes the General

Assembly’s clear mandate and the majority’s reading of the date requirement. See

McCormick, 2022 WL 2900112, at *14; see also Chapman, 2022 WL 4100998, *24.

Nor could it, since the majority’s reading broadly supports the General Assembly’s

date requirement in all applications, not merely as applied to some scenarios. See

In re 2020 Canvass, 241 A.3d at 1079-80 (Opinion of Justice Wecht); id. at 1090-

91 (Opinion of Justices Dougherty, Saylor, and Mundy). And, in all events, that

putative distinction is irrelevant here, where Petitioners seek a declaration that any

undated or incorrectly dated ballot is invalid and may not be counted.

      Finally, any state judicial construction—such as the construction adopted by

the Commonwealth Court this year—that fails to uphold the date requirement’s plain


                                          17

                                   Pa.App.0270
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     275 04/21/23
                                     281 Filed Date Filed:
                                                       Page01/10/2024
                                                             107 of 171




and mandatory meaning for federal elections violates the Elections Clause of the

U.S. Constitution. The Elections Clause directs: “The Times, Places and Manner of

holding Elections for Senators and Representatives, shall be prescribed in each State

by the Legislature thereof; but the Congress may at any time by Law make or alter

such Regulations, except as to the Places of chusing Senators.” U.S. CONST. art. I,

§ 4, cl. 1. “It cannot be doubted that these comprehensive words embrace authority

to provide a complete code for congressional elections,” including related to

“counting of votes.” Smiley v. Holm, 285 U.S. 355, 366 (Pa. 1932).

      Thus, the Clause “delegate[s] to” state legislatures—but not any other organ

of state government—the “authority to regulate election to” federal offices created

by the Constitution. Cook v. Gralike, 531 U.S. 510, 522 (2010); see also Republican

Party of Pa. v. Degraffenreid, 141 S. Ct. 732, 733 (2021) (Thomas, J., dissenting

from the denial of certiorari) (“the Federal Constitution, not state constitutions, gives

state legislatures authority to regulate federal elections[.]”) (emphasis added). As

Justice Alito observed, the “Clause could have said that these rules are to be

prescribed ‘by each State,’ which would have left it up to each State to decide which

branch, component, or officer of the state government should exercise that power,

as States are generally free to allocate state power as they choose.” Moore v. Harper,

142 S. Ct. 1089, 1090 (2022) (Alito, J., dissenting from the denial of application for

stay). “But that is not what the Elections Clause says. Its language specifies a


                                           18

                                    Pa.App.0271
       Case:
      Case   23-3166 Document:
           1:22-cv-00339-SPB    146 Page:
                             Document     276 04/21/23
                                      281 Filed Date Filed:
                                                        Page01/10/2024
                                                              108 of 171




particular organ of a state government, and we must take that language seriously.”

Id.; see also Hawke v. Smith, 253 U.S. 221, 227 (1920) (affirming that “legislature”

means the “representative body which made the laws of the people”); Smiley, 285

U.S. at 365 (same).

          Accordingly, state courts wield no authority to regulate federal elections and

may not deploy broad and amorphous state constitutional provisions to rewrite state

laws governing those elections. See, e.g., U.S. CONST. art. I, § 4, cl. 1; Smiley, 285

U.S. at 366; Republican Party of Pa., 141 S. Ct. at 733 (Thomas, J., dissenting from

the denial of certiorari); Moore, 142 S. Ct. at 1090 (Alito, J., dissenting from the

denial of application for stay). Thus, neither the Commonwealth Court nor this

Court may erode, much less set aside, the General Assembly’s mandatory date

requirement as applied to federal elections. The Court should grant the Application

and uphold the date requirement.

II.       Federal Law Does Not Preempt The Date Requirement.

          As three Justices of the U.S. Supreme Court already have concluded, the

notion that the federal materiality provision preempts the General Assembly’s date

requirement is “very likely wrong.” Ritter, 142 S. Ct. at 1824 (Mem.) (Alito, J.,

dissenting from the denial of the application for stay). The materiality provision

states:

          No person acting under color of law shall … deny the right of any
          individual to vote in any election because of an error or omission on
                                            19

                                      Pa.App.0272
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     277 04/21/23
                                     281 Filed Date Filed:
                                                       Page01/10/2024
                                                             109 of 171




      any record or paper relating to any application, registration, or other act
      requisite to voting, if such error or omission is not material in
      determining whether such individual is qualified under State law to vote
      in such election.

52 U.S.C. § 10101(a)(2)(B).

      This provision does not preempt the General Assembly’s express date

requirement for at least three reasons. First, the materiality provision prohibits only

“deny[ing] the right of any individual to vote,” not imposing mandatory rules on the

act of completing and casting a ballot. Id. The materiality provision therefore has

no application to the date requirement because “[w]hen a mail-in ballot is not

counted because it was not filled out correctly, the voter is not denied ‘the right to

vote.’” Ritter, 142 S. Ct. at 1825 (Mem.) (Alito, J., dissenting from the denial of the

application for stay) (quoting 52 U.S.C. § 10101(a)(2)(B)).                Rather, “that

individual’s vote is not counted because he or she did not follow the rules for casting

a ballot.” Id. An individual “may be unable to cast a vote for any number of

reasons,” such as showing up to the polls after Election Day, failing to use a secrecy

envelope for an absentee or mail-in ballot, returning the ballot to the wrong location,

or arriving at the wrong polling place. Id. Application of these rules does not deny

the right to vote; nor does application of the date requirement. See id. at 1825 (“Even

the most permissive voting rules must contain some requirements, and the failure to

follow those rules constitutes the forfeiture of the right to vote, not the denial of that

right.”); see also Rosario v. Rockefeller, 410 U.S. 752, 757 (1973) (application of
                                           20

                                     Pa.App.0273
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     278 04/21/23
                                     281 Filed Date Filed:
                                                       Page01/10/2024
                                                             110 of 171




neutral state-law voting requirement does not “disenfranchise” voters); Timmons,

520 U.S. at 358 (“States may, and inevitably must, enact reasonable regulations” for

effectuating votes); Brnovich v. Dem. Nat’l Comm., 141 S. Ct. 2321, 2338 (2021)

(“Casting a vote, whether by following the directions for using a voting machine or

completing a paper ballot, requires compliance with certain rules.”); DNC v.

Wisconsin State Leg., 141 S. Ct. 28, 35 (Mem.) (Oct. 26, 2020) (Kavanaugh, J.,

concurring) (“In other words, reasonable election deadlines do not ‘disenfranchise’

anyone under any legitimate understanding of that term.”). As the Fifth Circuit has

reasoned in a precedential, non-vacated decision, “[i]t cannot be that any

requirement that may prohibit an individual from voting if the individual fails to

comply denies the right of that individual to vote under” the federal materiality

provision. Vote.Org v. Callanen, 39 F.4th 297, 305 n.6 (5th Cir. 2022).

      Second, the materiality provision requires that the error or omission be

“material in determining whether such individual is qualified under State law to

vote.” 52 U.S.C. § 10101(a)(2)(B). It therefore regulates determinations of whether

an individual is qualified to vote, not “requirements that must be met in order to cast

a ballot that will be counted.” Ritter, 142 S. Ct. at 1825 (Mem.) (Alito, J., dissenting

from the denial of the application for stay); see also Vote.Org, 39 F.4th at 305 n.6;

Schwier v. Cox, 340 F.3d 1284, 1294 (11th Cir. 2003) (“This provision was intended

to address the practice of requiring unnecessary information for voter registration


                                          21

                                    Pa.App.0274
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     279 04/21/23
                                     281 Filed Date Filed:
                                                       Page01/10/2024
                                                             111 of 171




with the intent that such requirements would increase the number of errors or

omissions on the application forms, thus providing an excuse to disqualify voters.”)

(emphasis added). The date requirement has nothing to do with whether the

individual satisfies the four qualifications to vote in Pennsylvania: being at least 18

years of age on the date of the election, having been a citizen of Pennsylvania for at

least one month, having lived in the relevant election district for at least 30 days, and

not being imprisoned for a felony. See 25 P.S. § 1301. It therefore falls outside the

narrow sweep of the federal materiality provision for this reason as well. Ritter, 142

S. Ct. at 1825-26 (Mem.) (Alito, J., dissenting from the denial of the application for

stay).

         Third, the materiality provision demands that the “record or paper” be related

to an “application, registration, or other act requisite to voting.”         52 U.S.C.

§ 10101(a)(2)(B). To be sure, an absentee or mail-in ballot is a “record or paper.”

Id. But casting a ballot constitutes the act of voting, not an application, registration,

or other act requisite to voting. Ritter, 142 S. Ct. at 1826 n.2 (Mem.) (Alito, J.,

dissenting from the denial of the application for stay). It therefore would be an

“awkward” statutory construction at best to extend the materiality provision to

absentee and mail-in ballots and the date requirement. Id. Voting is voting; it is not

an act requisite to voting. The Court should grant the Application and uphold the

General Assembly’s date requirement.


                                           22

                                     Pa.App.0275
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     280 04/21/23
                                       281 Filed Date Filed:
                                                         Page01/10/2024
                                                               112 of 171




III.   The Acting Secretary’s Guidance Directly Contradicts The General
       Assembly’s Date Requirement.

       The Acting Secretary’s guidance documents are not binding on the county

boards of elections. See 25 P.S. §§ 2621, 2642; Perzel v. Cortes, 870 A.2d 759, 764

(Pa. 2005); Hamilton v. Johnson, 141 A. 846, 847 (Pa. 1928). Nor may the Acting

Secretary act—or direct others to act—in contravention of law. See also County of

Fulton v. Sec., 276 A.3d 846 (Pa. Commw. 2022). The Acting Secretary’s guidance

nonetheless purports to direct county boards of elections to “include[] in the canvass

and pre-canvass . . . [a]ny ballot-return envelope that is undated or dated with an

incorrect date but has been timely received,” Ex. A, in direct contravention of the

General Assembly’s date requirement.           The conflict is obvious: the Acting

Secretary’s guidance instructs county boards of elections to count ballots that the

General Assembly has mandated may not be counted. The guidance is therefore

unlawful for that reason alone. See 25 P.S. §§ 3146.6(a), 3150.16(a); see In re 2020

Canvass, 241 A.3d at 1079-80 (Opinion of Justice Wecht); id. at 1090-91 (Opinion

of Justices Dougherty, Saylor, and Mundy).

       The Acting Secretary’s guidance is unlawful for another reason as well. To

the extent the Secretary attempts to “regulate”—and vitiate the General Assembly’s

date requirement as applied to—federal elections, the guidance violates the Elections

Clause of the U.S. Constitution. See, e.g., U.S. CONST. art. I, § 4, cl. 1; Smiley, 285

U.S. at 366; Republican Party of Pa., 141 S. Ct. at 733 (Thomas, J., dissenting from
                                          23

                                   Pa.App.0276
       Case:
      Case   23-3166 Document:
           1:22-cv-00339-SPB    146 Page:
                             Document     281 04/21/23
                                      281 Filed Date Filed:
                                                        Page01/10/2024
                                                              113 of 171




the denial of certiorari); Moore, 142 S. Ct. at 1090 (Alito, J., dissenting from the

denial of application for stay). The Court should grant the Application and set aside

the Acting Secretary’s guidance.

IV.   The Court Should Immediately Order County Boards Of Elections To
      Segregate Any Absentee Or Mail-In Ballots That Do Not Comply With
      The Date Requirement.

      At a minimum, Petitioners have established a likelihood of success on the

merits of their claim that the General Assembly’s date requirement is mandatory and

valid under state and federal law. See supra Parts I-III; Summit Towne Center, Inc.

v. Shoe Show of Rocky Mount, Inc., 828 A.2d 995, 1001 (Pa. 2003). The Court

therefore should immediately order all county boards of elections to segregate any

absentee or mail-in ballots received for the 2022 general election that do not comply

with the date requirement, including because they are undated or incorrectly dated.

See, e.g., Republican Party of Pa. v. Degraffenreid, No. 20A84, Order (Nov. 6,

2020) (Alito, J.) (ordering segregation of ballots pending result of dispute regarding

Election Day received-by deadline); McCormick, 2022 WL 2900112, at *16

(ordering county boards of elections “to segregate the ballots that lack a dated

exterior envelope” pending resolution of validity of such ballots).

      This commonsense relief will protect the interests of the parties and promote

judicial economy. The issue of whether the date requirement is mandatory “could

well affect the outcome of the fall elections” in Pennsylvania. Ritter, 142 S. Ct. at


                                         24

                                   Pa.App.0277
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     282 04/21/23
                                     281 Filed Date Filed:
                                                       Page01/10/2024
                                                             114 of 171




1824 (Alito, J., dissenting from the denial of the application for stay). Ordering

county boards of elections to segregate ballots is therefore “necessary to prevent

immediate and irreparable harm that cannot be adequately compensated by

damages.” Summit Towne Center, 828 A.2d at 1001. Absent this relief, a county

board of elections that counts undated or incorrectly dated ballots cannot remove

non-compliant ballots from its certified election results if this Court upholds the

General Assembly’s date requirement. The resulting dilution of Voter Petitioners’

votes—and harm to the Republican Committees’ voters and candidates—cannot be

compensated through an award of damages.

       Ordering segregation of non-compliant ballots thus will prevent the “greater

injury” of vote dilution that “would result from refusing the injunction” and, by

protecting all interested parties’ rights pending any final resolution of the date

requirement’s validity, “will not substantially harm other interested parties.” Id.

Such an order will also “properly restore the parties to their status as it existed” under

the plain statutory terms of the General Assembly’s date requirement and the

majority’s reasoning in 2020. Id.

      Moreover, an order requiring segregation of non-compliant ballots “is

reasonably suited to abate the offending activity” of diluting Voter Petitioners’ votes

by counting invalid ballots. Id. And the order will advance the “public interest.”

Id. After all, such an order will promote “[c]onfidence in the integrity of our


                                           25

                                     Pa.App.0278
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     283 04/21/23
                                     281 Filed Date Filed:
                                                       Page01/10/2024
                                                             115 of 171




electoral process,” facilitate “the functioning of our participatory democracy,” and

eliminate the “consequent incentive to remain away from the polls” occasioned by

the Commonwealth Court’s and the Acting Secretary’s refusal to adhere to the

General Assembly’s date requirement and the majority’s reasoning. Purcell, 549

U.S. 1, 4–5 (2006). The Court should grant the Application.

                             RELIEF REQUESTED

      Petitioners respectfully request that this Honorable Court:

            a.     Grant this application for the Court to exercise its King’s Bench

                   power or extraordinary jurisdiction;

            b.     Immediately order county boards of elections to segregate all

                   absentee or mail-in ballots received for the 2022 general election

                   that do not comply with the date requirement because they are

                   undated or incorrectly dated;

            c.     Set a schedule for the expeditious resolution of this matter in

                   advance of the November 8, 2022 commencement of the pre-

                   canvass and canvass;

            d.     Declare that absentee and mail-in ballots that are undated or

                   incorrectly dated cannot be included in the pre-canvass or

                   canvass under the Election Code, 25 P.S. §§ 3146.6(a),

                   3150.16(a);


                                          26

                                  Pa.App.0279
     Case:
    Case   23-3166 Document:
         1:22-cv-00339-SPB    146 Page:
                           Document     284 04/21/23
                                    281 Filed Date Filed:
                                                      Page01/10/2024
                                                            116 of 171




           e.    Direct the Acting Secretary to withdraw any and all guidance that

                 purports to direct, require, or encourage county boards of

                 elections to include undated or incorrectly dated absentee or

                 mail-in ballots in the pre-canvass or canvass; and

           f.    Grant any other relief this Court deems necessary and

                 appropriate.

                                    Respectfully submitted,

Dated: October 16, 2022             /s/ Kathleen A. Gallagher
                                    Kathleen A. Gallagher
                                    PA I.D. #37950
                                    Russell D. Giancola
                                    PA. I.D. #200058
                                    GALLAGHER GIANCOLA LLC
                                    436 Seventh Avenue, 31st Floor
                                    Pittsburgh, PA 15219
                                    Phone: (412) 717-1900
                                    kag@glawfirm.com
                                    rdg@glawfirm.com

                                    John M. Gore *
                                    E. Stewart Crosland
                                    JONES DAY
                                    51 Louisiana Avenue, N.W.
                                    Washington, D.C. 20001
                                    Phone: (202) 879-3939
                                    jmgore@jonesday.com
                                    msowardsnewton@jonesday.com
                                    scrosland@jonesday.com

                                    * Pro hac vice application forthcoming



                                      27

                                Pa.App.0280
 Case:
Case   23-3166 Document:
     1:22-cv-00339-SPB    146 Page:
                       Document     285 04/21/23
                                281 Filed Date Filed:
                                                  Page01/10/2024
                                                        117 of 171




                              Thomas W. King, III *
                              Thomas E. Breth
                              DILLON, McCANDLESS, KING,
                              COULTER & GRAHAM, LLP
                              128 W. Cunningham St.
                              Butler, PA 16001
                              Phone: (724) 283.2200
                              tking@dmkcg.com
                              tbreth@dmkcg.com

                              * General Counsel, Republican Party of
                              Pennsylvania

                              Counsel for Petitioners




                                28

                          Pa.App.0281
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     286 04/21/23
                                       281 Filed Date Filed: 01/10/2024
                                                          Page  31 of 171




                                   [J-85-2022]
                    IN THE SUPREME COURT OF PENNSYLVANIA
                                MIDDLE DISTRICT


 DAVID BALL, JAMES D. BEE, JESSE D.                : No. 102 MM 2022
 DANIEL, GWENDOLYN MAE DELUCA,                     :
 ROSS M. FARBER, LYNN MARIE                        :
 KALCEVIC, VALLERIE SICILIANO-                     :
 BIANCANIELLO, S. MICHAEL STREIB,                  :
 REPUBLICAN NATIONAL COMMITTEE,                    :
 NATIONAL REPUBLICAN                               :
 CONGRESSIONAL COMMITTEE, AND                      :
 REPUBLICAN PARTY OF PENNSYLVANIA,                 :
                                                   :
                      Petitioners                  :
                                                   :
                                                   :
               v.                                  :
                                                   :
                                                   :
 LEIGH M. CHAPMAN, IN HER OFFICIAL                 :
 CAPACITY AS ACTING SECRETARY OF                   :
 THE COMMONWEALTH, AND ALL 67                      :
 COUNTY BOARDS OF ELECTIONS,                       :
                                                   :
                      Respondents                  :


                                SUPPLEMENTAL ORDER



PER CURIAM

       AND NOW, this 5th day of November, 2022, the Court hereby supplements its per

curiam order dated November 1, 2022, wherein we directed, in part, that “[t]he

Pennsylvania county boards of elections are hereby ORDERED to refrain from counting

any absentee and mail-in ballots received for the November 8, 2022 general election that

are contained in undated or incorrectly dated outer envelopes.” (Emphasis added.) For

purposes of the November 8, 2022 general election, “incorrectly dated outer envelopes”

are as follows: (1) mail-in ballot outer envelopes with dates that fall outside the date range



                                      Pa.App.0282
         Case:1:22-cv-00339-SPB
        Case    23-3166 Document: 146 Page:
                                Document     287 04/21/23
                                         281 Filed Date Filed: 01/10/2024
                                                            Page  32 of 171




of September 19, 2022, through November 8, 2022; and (2) absentee ballot outer

envelopes with dates that fall outside the date range of August 30, 2022, through

November 8, 2022. See 25 P.S. §§ 3150.12a, 3150.15, 3146.2a(a), 3146.5(a).




A True Copy Amy Dreibelbis, Esquire
As Of 11/05/2022


Attest: ___________________
Deputy Prothonotary
Supreme Court of Pennsylvania




                                      [J-85-2022] - 2
                                      Pa.App.0283
Case: 23-3166   Document: 146   Page: 288   Date Filed: 01/10/2024




                         Pa.App.0284
Case: 23-3166   Document: 146   Page: 289   Date Filed: 01/10/2024




                         Pa.App.0285
Case: 23-3166   Document: 146   Page: 290
                         Pa.App.0286        Date Filed: 01/10/2024
Case: 23-3166   Document: 146   Page: 291   Date Filed: 01/10/2024




                         Pa.App.0287
Case: 23-3166   Document: 146   Page: 292   Date Filed: 01/10/2024




                         Pa.App.0288
Case: 23-3166   Document: 146   Page: 293   Date Filed: 01/10/2024




                         Pa.App.0289
Case: 23-3166   Document: 146   Page: 294   Date Filed: 01/10/2024




                         Pa.App.0290
Case: 23-3166   Document: 146   Page: 295   Date Filed: 01/10/2024
                                                                     Pa.App.0291
Case: 23-3166   Document: 146   Page: 296   Date Filed: 01/10/2024




                         Pa.App.0292
Case: 23-3166   Document: 146   Page: 297   Date Filed: 01/10/2024




                         Pa.App.0293
              Case: 23-3166   Document: 146   Page: 298   Date Filed: 01/10/2024




Pa.App.0294
              Case: 23-3166   Document: 146   Page: 299   Date Filed: 01/10/2024




Pa.App.0295
              Case: 23-3166   Document: 146   Page: 300   Date Filed: 01/10/2024




Pa.App.0296
Case: 23-3166   Document: 146   Page: 301   Date Filed: 01/10/2024




                         Pa.App.0297
Case: 23-3166   Document: 146   Page: 302   Date Filed: 01/10/2024




                         Pa.App.0298
     Case: 23-3166 Document:
     Case 1:22-cv-00339-SPB  146 Page:
                            Document 299 303     Date Filed:Page
                                          Filed 05/05/23     01/10/2024
                                                                 1 of 78




                UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PENNSYLVANIA STATE CONFERENCE OF
THE NAACP, et al.,

                  Plaintiffs,
                                                 No. 1:22-cv-339
            v.                                   Judge Susan Paradise Baxter

AL SCHMIDT, in his official capacity as Acting
Secretary of the Commonwealth, et al.,

                  Defendants.




   RESPONSE OF AL SCHMIDT TO INTERVENOR-DEFENDANTS’
         CONCISE STATEMENT OF MATERIAL FACTS




                                        1

                                Pa.App.0299
        Case: 23-3166 Document:
        Case 1:22-cv-00339-SPB  146 Page:
                               Document 299 304     Date Filed:Page
                                             Filed 05/05/23     01/10/2024
                                                                    2 of 78




I.     THE PARTIES

       A.     Plaintiffs

       1.     Plaintiff the Pennsylvania State Conference of the NAACP is a “non-

 profit, nonpartisan organization” which “engages in efforts to get out the vote.” Ex.

 1, Am. Compl. ¶¶ 11-12 (Dkt. No. 121).

       Response: The Acting Secretary is not aware of any facts in the record that

 contradict the allegations of this paragraph and accordingly admits the allegations

 for purposes of this litigation only.

       2.     Plaintiff the League of Women Voters of Pennsylvania is a

 “nonpartisan statewide non-profit” whose “mission includes voter registration,

 education, and get-out-the-vote drives.” Id. ¶¶ 14-15.

       Response: The Acting Secretary is not aware of any facts in the record that

 contradict the allegations of this paragraph and accordingly admits the allegations

 for purposes of this litigation only.

       3.     Plaintiff Philadelphians Organized to Witness, Empower and Rebuild

 is “a Pennsylvania nonprofit” whose “civic engagement efforts include voter

 education programs, voter registration drives, information about applying for mail

 ballots, completing them properly and returning them on time, and ‘Souls to the

 Polls’ efforts to encourage congregants to vote.” Id. ¶¶ 17-18.




                                              2

                                     Pa.App.0300
       Case: 23-3166 Document:
       Case 1:22-cv-00339-SPB  146 Page:
                              Document 299 305     Date Filed:Page
                                            Filed 05/05/23     01/10/2024
                                                                   3 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      4.     Plaintiff Common Cause Pennsylvania is “a non-profit political

advocacy organization and a chapter of the national Common Cause organization,”

and “seeks to increase the level of voter registration and voter participation in

Pennsylvania elections.” Id. ¶¶ 21-22.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      5.     Plaintiff Black Political Empowerment Project is “a non-profit, non-

partisan organization” whose “work includes voter registration drives, get-out-the-

vote activities, education and outreach about the voting process, and election-

protection work.” Id. ¶¶ 24-25.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      6.     Plaintiff Make the Road Pennsylvania is “a not-for-profit, member-led

organization” whose “work includes voter protection voter advocacy and voter

education.” Id. ¶¶ 26-27.

                                            3

                                    Pa.App.0301
       Case: 23-3166 Document:
       Case 1:22-cv-00339-SPB  146 Page:
                              Document 299 306     Date Filed:Page
                                            Filed 05/05/23     01/10/2024
                                                                   4 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      7.     Plaintiffs Barry M. Seastead, Marlene G. Gutierrez, Aynne Margaret

Pleban Polinski, Joel Bencan, and Laurence M. Smith plead that they are registered

voters in Pennsylvania. Id. ¶¶ 30, 32, 34, 35, 36.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      B.     Named Defendants

      8.     Defendant Al Schmidt is Acting Secretary of the Commonwealth.

https://www.dos.pa.gov/about-us/Pages/Secretary-of-the-Commonwealth.aspx.

      Response: Admitted.

      9.     The Secretary of the Commonwealth has the duty “[t]o receive from

county boards of elections the returns of primaries and elections, to canvass and

compute the votes cast for candidates and upon questions as required by the

provisions of this act.” 25 P.S. § 2621(f).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

                                              4

                                    Pa.App.0302
       Case: 23-3166 Document:
       Case 1:22-cv-00339-SPB  146 Page:
                              Document 299 307     Date Filed:Page
                                            Filed 05/05/23     01/10/2024
                                                                   5 of 78




comprises only statements or conclusions of law. Accordingly, no response is

required thereto.

      10.    Defendant County Boards of Elections have “jurisdiction over the

conduct of primaries and elections in [their respective] count[ies], in accordance

with the provisions of this act.” 25 P.S. § 2641(a).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto.

      C.     Intervenor-Defendants

      11.    The Republican National Committee is the national committee of the

Republican Party as defined by 52 U.S.C. § 30101(14).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto.




                                              5

                                   Pa.App.0303
       Case: 23-3166 Document:
       Case 1:22-cv-00339-SPB  146 Page:
                              Document 299 308     Date Filed:Page
                                            Filed 05/05/23     01/10/2024
                                                                   6 of 78




      12.    The National Republican Congressional Committee is the national

congressional committee of the Republican Party as defined by 52 U.S.C. §

30101(14).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto.

      13.    The Republican Party of Pennsylvania is a major political party, 25 P.S.

§ 2831(a), and the “State committee” for the Republican Party in Pennsylvania, 25

P.S. § 2834, as well as a federally registered “State Committee” of the Republican

Party as defined by 52 U.S.C. § 30101(15).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto.

      14.    Any court order purporting to change the law and direct counting of

undated or incorrectly dated mail-in or absentee ballots would inflict significant




                                             6

                                   Pa.App.0304
       Case: 23-3166 Document:
       Case 1:22-cv-00339-SPB  146 Page:
                              Document 299 309     Date Filed:Page
                                            Filed 05/05/23     01/10/2024
                                                                   7 of 78




harm on Intervenor-Defendants. See Ex. 2, Intervenor-Defendants’ Resps. & Objs.

To Plaintiffs’ First Set of Interrogs. #1.

      Response: This paragraph purports to set forth statements or conclusions of

law to which no response is required. By way of further response, enforcement of

the Materiality Provision of the Civil Rights Act does not “change the law,” nor does

it inflict any harm.

      15.    Unlawful counting of ballots undermines the integrity of elections,

generates voter confusion, and erodes public confidence in elections. Therefore,

unlawful counting of ballots can discourage voters, including Republican voters,

from voting or otherwise participating in elections and, thus, change the outcome of

election contests in Pennsylvania. See id. at 7-8; Crawford v. Marion Cnty. Election

Bd., 553 U.S. 181, 197 (2008).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto. By way of further response, enforcement of the Materiality

Provision of the Civil Rights Act does not result in the “[u]nlawful counting of

ballots,” “generate[] voter confusion,” “erode[] public confidence in elections,” or

“change the outcome of election contests in Pennsylvania.”

                                             7

                                    Pa.App.0305
       Case: 23-3166 Document:
       Case 1:22-cv-00339-SPB  146 Page:
                              Document 299 310     Date Filed:Page
                                            Filed 05/05/23     01/10/2024
                                                                   8 of 78




      16.    Intervenor-Defendants were the prevailing parties in the Ball litigation

upholding the date requirement, so any court order invalidating the date requirement

harms Intervenor-Defendants’ rights secured in that litigation. See Ex. 2 at Interrog.

#1.

      Response: This paragraph purports to set forth statements or conclusions of

law to which no response is required. Further, this paragraph purports to summarize

the Supreme Court of Pennsylvania’s decision in Ball v. Chapman, 289 A.3d 1 (Pa.

2023), which is in writing and speaks for itself, and any characterization contrary to

that writing is denied. By way of further response, the enforcement of the Materiality

Provision of the Civil Rights Act does not inflict harm.

      17.    As political parties, Intervenor-Defendants expend substantial

resources toward educating, mobilizing, assisting, and turning out voters in

Pennsylvania and supporting Republican candidates up and down the ballot. Id.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      18.    These efforts include devoting time and resources toward training and

education programs that ensure that Intervenor-Defendants and their voters

understand the rules governing the election process, including applicable dates,

deadlines, and requirements for voting by mail or absentee. Id.

                                             8

                                    Pa.App.0306
       Case: 23-3166 Document:
       Case 1:22-cv-00339-SPB  146 Page:
                              Document 299 311     Date Filed:Page
                                            Filed 05/05/23     01/10/2024
                                                                   9 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      19.    The efforts also encompass training, education, and monitoring of the

voting and vote counting process in Pennsylvania to ensure it is conducted lawfully.

Id.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      20.    Any change in the laws governing Pennsylvania elections harms

Intervenor-Defendants by rendering their training, voter education, and monitoring

programs less effective, wasting the resources they have devoted to such programs,

and requiring them to expend new resources to update those programs. Id.

      Response: This paragraph purports to set forth conclusions of law to which

no response is required. By way of further response, the enforcement of the

Materiality Provision of the Civil Rights Act is not a “change in the laws governing

Pennsylvania elections” and does not inflict any harm.

      21.    For instance, the Republican Party of Pennsylvania has statutory rights

to appoint poll watchers to observe casting, counting, and canvassing of ballots at

the polling place, 25 P.S. § 2687(a), and an “authorized representative” to “remain

                                            9

                                    Pa.App.0307
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 299 312    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  10 of 78




in the room” at the county board of elections and observe the pre-canvass and

canvass of “absentee ballots and mail-in ballots,” id. §§ 3146.8(g)(1.1)-(2). See Ex.

2 at Interrog. #1.

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph asserts that the Republican Party of

Pennsylvania has certain “statutory rights” or characterizes those purported rights, it

sets forth conclusions of law to which no response is required.

      22.    The Republican Party of Pennsylvania has exercised these statutory

rights in the past several election cycles and will do so again in future election cycles.

See id.

      Response: To the extent this paragraph comprises factual allegations, The

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph asserts that the Republican Party of

Pennsylvania has certain “statutory rights” or characterizes those purported rights, it

sets forth conclusions of law to which no response is required.

      23.    In conjunction with its Election Integrity Operations, the Republican

Party of Pennsylvania devotes substantial time and resources toward the recruitment

                                               10

                                     Pa.App.0308
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 313    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  11 of 78




and training of poll workers, poll watchers, and volunteers throughout the 67

counties of the Commonwealth to assist voters on election day, to observe the casting

and counting of ballots at the polling place, and to observe the pre-canvass and

canvass of absentee and mail-in ballots at the county board of elections. Id.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      24.    As part of its Election Integrity Operations, the Republican Party of

Pennsylvania also devotes substantial time and resources toward the recruitment and

training of a “ground team” of lawyers throughout the Commonwealth who stand

ready on Election Day to assist poll workers, poll watchers, and volunteers should

questions arise as to elections laws or the voting process within the Commonwealth.

Id.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      25.    The Republican Party of Pennsylvania’s Election Integrity Operations,

training programs, and voter education programs include training and information

regarding the requirements for voters to cast lawful and valid ballots, and the




                                            11

                                    Pa.App.0309
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 314    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  12 of 78




governing rules delineating unlawful and invalid ballots and preventing election

officials from pre-canvassing, canvassing, or counting such ballots. Id.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      26.    Any change in the laws governing Pennsylvania elections harms the

Republican Party of Pennsylvania by rendering its Election Day Operations, training

programs, and voter education programs less effective, wasting the resources they

have devoted to such programs, and requiring them to expend new resources to

update those programs. Id.

      Response: This paragraph purports to set forth conclusions of law to which

no response is required. By way of further response, enforcement of the Materiality

Provision of the Civil Rights Act is not a “change in the laws governing

Pennsylvania elections” and does not inflict any harm.

      27.    Any change in the laws governing Pennsylvania elections could affect

the outcome of an election in which Intervenor-Defendants, their voters, and their

supported candidates exercise their constitutional rights to vote and to participate.

Id.

      Response: It is admitted only that some changes in the laws governing

Pennsylvania elections could potentially affect the outcome of an election. The

                                            12

                                    Pa.App.0310
        Case:1:22-cv-00339-SPB
        Case  23-3166 Document:  146 Page:
                               Document 299 315    Date Filed:
                                            Filed 05/05/23     01/10/2024
                                                            Page  13 of 78




allegations that any change in those laws could affect an election outcome is

overbroad and unsupported by the record. Further, to the extent this paragraph

purports to set forth conclusions of law, no response is required thereto. By way of

further response, enforcement of the Materiality Provision of the Civil Rights Act is

not a “change in the laws governing Pennsylvania elections.”

        28.   The Third Circuit’s failure to enforce the date requirement in Migliori

v. Cohen actually did change the outcome of an election in which a Republican

candidate had prevailed. See Ex. 3, Cert. Pet. at 7-12, Ritter v. Migliori, No. 22-30

(U.S.     July    7,   2022),     https://www.supremecourt.gov/DocketPDF/22/22-

30/229591/20220707140738344_Ritter%20Petition.pdf.

        Response: Denied. This paragraph purports to set forth conclusions of law to

which no response is required. Further, this paragraph purports to summarize the

Third Circuit Court of Appeals’ decision in Migliori v. Cohen, 36 F.4th 153 (3d Cir.),

cert. granted, judgment vacated sub nom. Ritter v. Migliori, 143 S. Ct. 297 (2022),

which is in writing and speaks for itself, and any characterization contrary to that

writing is denied. Additionally, in Migliori, the court did not “fail” to enforce

anything. Rather, the court applied the Materiality Provision of the Civil Rights Act

and concluded that “the dating provisions in 25 Pa. Cons. Stat. §§ 3146.6(a) and

3150.16(a) are immaterial under § 10101(a)(2)(B).” Id. at 164. Further, the court’s

decision in Migliori did not “change” the outcome of an election. The court merely

                                             13

                                   Pa.App.0311
        Case:1:22-cv-00339-SPB
        Case  23-3166 Document:  146 Page:
                               Document 299 316    Date Filed:
                                            Filed 05/05/23     01/10/2024
                                                            Page  14 of 78




  enforced the Materiality Provision of the Civil Rights Act so as to count all ballots

  required to be counted under the controlling law. See id.

II.     THE DATE REQUIREMENT

        29.    Pennsylvania’s election laws provide a date requirement for absentee

  and mail-in voting. 25 P.S. § 3146.6(a); § 3150.16(a).

        Response: This paragraph does not comply with Local Rule 56(B)(1), as it

  does not cite to a particular pleading, deposition, answer to interrogatory, admission

  on file or other part of the record in support of a factual allegation, and instead

  comprises only statements or conclusions of law. Accordingly, no response is

  required thereto.

        30.    In both provisions, the wording of the date requirement is the same:

  “The elector shall then fill out, date and sign the declaration printed on such

  envelope.” 25 P.S. § 3146.6(a); § 3150.16(a).

        Response: This paragraph does not comply with Local Rule 56(B)(1), as it

  does not cite to a particular pleading, deposition, answer to interrogatory, admission

  on file or other part of the record in support of a factual allegation, and instead

  comprises only statements or conclusions of law. Accordingly, no response is

  required thereto.

        A.     The Date Requirement Has Been A Part Of Pennsylvania’s
               Election Code Since 1945.



                                               14

                                     Pa.App.0312
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 317    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  15 of 78




      31.    The first version of the Election Code permitted some active military

members to vote by mail. Ex. 4, Act of June 3, 1937, P.L. 1333, No. 320, §§ 1327-

1330, 1937 Pa. Laws 1333, 1442-44.

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto.

      32.    In 1945, the mail ballot provision was amended to require that the jurat

on the ballot-return envelope be dated. Ex. 5, Act of Mar. 9, 1945, P.L. 29, No. 17,

sec. 10, § 1306, 1945 Pa. Laws 29, 37.

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto.

      33.    Eighteen years later, the General Assembly enacted the date

requirement in its current form, providing that “[t]he elector shall then fill out, date

and sign the declaration printed on such envelope.” Ex. 6, Act of Aug. 13, 1963, P.L.

707, No. 379, sec. 22, § 1304, 1963 Pa. Laws. 707, 736.

                                              15

                                    Pa.App.0313
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 318    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  16 of 78




      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto.

      34.    In 2019, the General Assembly passed Act 77, extending the option to

vote by mail to all qualified voters, and adopting the date requirement for such

ballots. Ex. 7, Act 77, P.L. 552, sec. 8 (Oct. 31, 2019).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto.

      35.    Act 77 also provides that section 8—containing the date requirement—

is “nonseverable,” and that “[i]f any provision of this act or its application to any

person or circumstance is held invalid, the remaining provisions or applications of

this act are void.” Ex. 8, Act 77, P.L. 552, sec. 11 (Oct. 31, 2019).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

                                             16

                                    Pa.App.0314
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 319    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  17 of 78




comprises only statements or conclusions of law. Accordingly, no response is

required thereto.

      B.     The Date Requirement Has Been A Subject Of Multiple Recent
             Lawsuits.

      36.    After seven cases in five courts over two years, the current state of the

law is that the General Assembly’s date requirement is mandatory and that any

noncompliant absentee or mail-in ballot may not be counted.

      Response: Denied. This paragraph does not comply with Local Rule

56(B)(1), as it does not cite to a particular pleading, deposition, answer to

interrogatory, admission on file or other part of the record in support of a factual

allegation, and instead comprises only statements or conclusions of law.

Accordingly, no response is required thereto. Additionally, the Third Circuit Court

of Appeal’s decision in Migliori that “the dating provisions in 25 P.S. §§ 3146.6(a)

and 3150.16(a) are immaterial under § 10101(a)(2)(B),” 36 F.4th at 164, was vacated

solely on mootness grounds, pursuant to the Munsingwear doctrine, and is still

persuasive authority. See Polychrome Int’l Corp. v. Krigger, 5 F.3d 1522, 1534 (3d

Cir. 1993). Since then, the Commonwealth Court of Pennsylvania has twice agreed

with Migliori’s materiality analysis, see McCormick for U.S. Senate v. Chapman,

No. 286 M.D. 2022, 2022 WL 2900112, at *10-12 (Pa. Commw. June 2, 2022);

Chapman v. Berks Cnty. Bd. of Elections, No. 355 M.D. 2022, 2022 WL 4100998,

at *26-29 (Pa. Commw. Aug. 19, 2022), and the Supreme Court of Pennsylvania did
                                            17

                                   Pa.App.0315
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 320    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  18 of 78




not reverse those decisions, dividing evenly 3-3 on the question of whether the dating

provisions of Pennsylvania Election Law are material under the Civil Rights Act,

see Ball v. Chapman, 284 A.3d 1189, 1192 (Pa. 2022).

      37.    In 2020, a majority of the Pennsylvania Supreme Court held that the

date requirement is mandatory and that election officials may not count any

noncompliant ballot in any election after the 2020 general election. See In re

Canvass of Absentee and Mail-In Ballots of Nov. 3, 2020 Gen. Election, 241 A.3d

1058, 1079–80 (2020) (Opinion of Justice Wecht); id. at 1090–91 (Opinion of

Justice Dougherty, Chief Justice Saylor, and Justice Mundy).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto. Further, this paragraph purports to summarize the Supreme Court

of Pennsylvania’s decision in In re Canvass of Absentee and Mail-In Ballots of Nov.

3, 2020 Gen. Election, 241 A.3d 1058 (2020), which is in writing and speaks for

itself, and any characterization contrary to that writing is denied.

      38.    In the first two cases following that ruling, the Pennsylvania

Commonwealth Court upheld mandatory application of the date requirement. See In

re Election in Region 4 for Downington Sch. Bd. Precinct Uwchlan 1, 272 A.3d 993

                                              18

                                    Pa.App.0316
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 321    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  19 of 78




(Pa. Commw. 2022) (unpublished), appeal denied, 273 A.3d 508 (Pa. 2022); Ritter

v. Lehigh Cnty. Bd. of Elections, 272 A.3d 989 (Pa. Commw. 2022) (unpublished),

appeal denied, 271 A.3d 1285 (Pa. 2022).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto. Further, this paragraph purports to summarize the Commonwealth

Court of Pennsylvania’s decisions in In re Election in Region 4 for Downington Sch.

Bd. Precinct Uwchlan 1, 272 A.3d 993 (Pa. Commw. 2022) and Ritter v. Lehigh

Cnty. Bd. of Elections, 272 A.3d 989 (Pa. Commw. 2022), which are in writing and

speak for themselves, and any characterization contrary to those writings are denied.

      39.    Four days after the Pennsylvania Supreme Court resolved Ritter,

individual voters filed a new lawsuit in federal court claiming that the date

requirement violates the federal materiality provision, 52 U.S.C. § 10101(a)(2)(B).

See Ex. 9, Compl., Migliori v. Lehigh County Bd. of Elections, No. 5:22-cv-397

(E.D. Pa. Jan. 31, 2022), ECF No. 1.

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

                                             19

                                   Pa.App.0317
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 322    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  20 of 78




comprises only statements or conclusions of law. Accordingly, no response is

required thereto. Further, this paragraph purports to summarize the complaint in

Migliori v. Lehigh County Bd. of Elections, No. 22-cv-397 (E.D. Pa.), which is in

writing and speaks for itself, and any characterization contrary to that writing is

denied.

      40.    The Third Circuit agreed with the plaintiffs, but the U.S. Supreme Court

vacated that decision. See Migliori v. Cohen, 36 F.4th 153 (3d Cir. 2022), cert.

granted and judgment vacated, Ritter v. Migliori, No. 22-30, 2022 WL 6571686

(U.S. Oct. 11, 2022) (Mem.).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto. Further, this paragraph purports to summarize the Third Circuit

Court of Appeals’ decision in Migliori, and the Supreme Court’s subsequent order

in Ritter v. Migliori, No. 22-30, 2022 WL 6571686 (U.S. Oct. 11, 2022) (Mem.),

which are in writing and speak for themselves, and any characterization contrary to

those writings are denied. By way of further response, the Supreme Court vacated

Migliori solely on mootness grounds, pursuant to the Munsingwear doctrine, see id.,




                                             20

                                   Pa.App.0318
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 323    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  21 of 78




and the opinion is still persuasive authority. See Polychrome Int’l Corp. v. Krigger,

5 F.3d at 1534.

      41.    When addressing a request for a stay at an earlier stage in that case,

three Justices opined that the Third Circuit’s now-vacated holding was “very likely

wrong” on the merits because it rested upon a misconstruction of the materiality

provision. Ritter, 142 S. Ct. at 1824 (Mem.) (Alito, J., dissenting from the denial of

the application for stay).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto. Further, this paragraph purports to summarize Justice Alito’s

dissent from denial of application for stay in Ritter v. Migliori, 142 S. Ct. 1824 (June

9, 2022) (Mem.) (Alito, J., dissenting from denial of stay), which is in writing and

speaks for itself, and any characterization contrary to that writing is denied.

      42.    The Commonwealth Court twice invoked the Third Circuit decision to

depart from the General Assembly’s date requirement in unpublished, non-

precedential cases arising out of the 2022 primary election. See McCormick for U.S.

Senate v. Chapman, 2022 WL 2900112 (Pa. Commw. June 2, 2022) (unpublished);




                                              21

                                    Pa.App.0319
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 324    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  22 of 78




Chapman v. Berks Cnty. Bd. of Elections, 2022 WL 4100998 (Pa. Commw. Aug. 19,

2022) (unpublished).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto. Further, this paragraph purports to summarize the Commonwealth

Court of Pennsylvania’s decisions in McCormick for U.S. Senate v. Chapman, 2022

WL 2900112 (Pa. Commw. June 2, 2022) and Chapman v. Berks Cnty. Bd. of

Elections, 2022 WL 4100998 (Pa. Commw. Aug. 19, 2022), which are in writing

and speak for themselves, and any characterization contrary to those writings are

denied.

      43.    Finally, in November 2022, the Pennsylvania Supreme Court exercised

its original jurisdiction to reaffirm that the General Assembly’s date requirement is

mandatory. Ball v. Chapman, 284 A.3d 1189 (Pa. 2022).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto. Further, this paragraph purports to summarize the Supreme Court

                                             22

                                   Pa.App.0320
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 325    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  23 of 78




of Pennsylvania’s Order in Ball v. Chapman, 284 A.3d 1189 (Pa. 2022), which is in

writing and speaks for itself, and any characterization contrary to that writing is

denied.

      44.    In that litigation, Acting Secretary Leigh M. Chapman agreed that the

signature requirement is valid and mandatory and does not violate the federal

materiality provision. Ex. 10, Acting Sec’y Ans. 15–23, Ball v. Chapman, No. 102

MM 2022 (Oct. 19, 2022).

      Response: This paragraph purports to summarize the Acting Secretary’s

Answer to the Application to Exercise King’s Bench Power or Extraordinary

Jurisdiction in Ball v. Chapman, which is in writing and speaks for itself, and any

characterization contrary to that writing is denied. By way of further response, the

Acting Secretary states that the provisions of Pennsylvania election law directing

voters to sign declarations in connection with their submission of absentee and mail-

in ballots are material under the Civil Rights Act. The signed declaration affirms the

“statement of the elector’s qualifications,” 25 P.S. §§ 3146.4, 3150.14, and attests

that the person who completed the ballot is qualified to vote. Accordingly, omission

of a voter’s signature is material to determining whether the person who completed

the ballot is “qualified under State law to vote in such election.” 52 U.S.C. §

10101(a)(2)(B).




                                             23

                                   Pa.App.0321
         Case:1:22-cv-00339-SPB
         Case  23-3166 Document:  146 Page:
                                Document 299 326    Date Filed:
                                             Filed 05/05/23     01/10/2024
                                                             Page  24 of 78




      45.     The Acting Secretary also conceded in that litigation that the secrecy

envelope does not violate the federal materiality provision. Id. at 39 n.15.

      Response: This paragraph purports to summarize the Acting Secretary’s

Answer to the Application to Exercise King’s Bench Power or Extraordinary

Jurisdiction in Ball v. Chapman, which is in writing and speaks for itself, and any

characterization contrary to that writing is denied. By way of further response, the

secrecy envelope provisions of Pennsylvania election law concerning absentee and

mail-in ballots do not implicate the Materiality Provision of the Civil Rights Act.

Section 10101(a)(2)(B) applies only to errors or omissions “on any record or paper.”

52 U.S.C. § 10101(a)(2)(B) (emphasis added). Failing to use a secrecy envelope is

not an error or omission on any record or paper.

      46.     In an opinion that followed, the Pennsylvania Supreme Court held that

the date requirement refers to the “day upon which an elector signs the declaration,”

and noted that “[t]o hold otherwise would be to require unnecessarily specific

drafting on the part of the General Assembly.” Ball v. Chapman, 289 A.3d 1, 23 (Pa.

2023).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

                                             24

                                   Pa.App.0322
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 327    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  25 of 78




required thereto. Further, this paragraph purports to summarize the Supreme Court

of Pennsylvania’s decision in Ball v. Chapman, 289 A.3d 1 (Pa. 2023), which is in

writing and speaks for itself, and any characterization contrary to that writing is

denied.

      47.    The Pennsylvania Supreme Court was evenly divided on whether the

federal materiality provision invalidates the date requirement. Id. at 9.

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

required thereto. Further, this paragraph purports to summarize the Supreme Court

of Pennsylvania’s decision in Ball v. Chapman, 289 A.3d 1 (Pa. 2023), which is in

writing and speaks for itself, and any characterization contrary to that writing is

denied.




                                             25

                                   Pa.App.0323
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 299 328    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  26 of 78




       C.     Commonwealth v. Mihaliak

       48.    The date requirement has already been used to detect election fraud.

See Ex. 11, Tr. of Hearing in Chapman v. Berks County Bd. of Elections, No. 355

MD 2022 (Pa. Commw. July 28, 2022), at 100-116, 141-153.

       Response: It is denied that Intervenor-Defendants’ Exhibit 11 supports the

allegations of this paragraph as stated.1 In the hearing transcript in Chapman cited

in this paragraph, Deputy Secretary for Elections and Commissions Jonathan Marks

testified that the date on a ballot submission “hypothetically … might be relevant”

in detecting fraud. Ex. A to Appendix of Acting Secretary Al Schmidt, Complete Tr.

of Hearing in Chapman v. Berks County Bd. of Elections, No. 355 MD 2022 (Pa.

Commw. July 28, 2022) at p. 103. Deputy Secretary Marks did not testify that a

declaration date had ever actually been instrumental in detecting election fraud.

Additionally, as shown by the hearing transcript in Chapman cited in this paragraph,

Lancaster County Commissioner Ray D’Agostino testified that the ballot at issue

was first flagged as potentially fraudulent because, when it was scanned, “the SURE

system popped up and said that the person was deceased,” before any review of the

date on the outer envelope of the ballot submission. Id. at p. 145. He further testified

that the ballot would “not have counted regardless of the date,” and thus the date had


       1
        A complete copy of the hearing transcript in Chapman v. Berks County Bd. of Elections,
No. 355 MD 2022 (Pa. Commw. July 28, 2022), is attached to the Appendix of Acting Secretary
Schmidt as Exhibit A.
                                                 26

                                      Pa.App.0324
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 329    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  27 of 78




no bearing on Lancaster County’s decision to reject the ballot. Id. at p. 148. By way

of further response, Intervenor-Defendants’ Exhibit 12, the Affidavit of Probable

Cause in Commonwealth v. Mihaliak, No. CR-126-22 (June 3, 2022), and Exhibit A

to Appendix of Acting Secretary Al Schmidt, Complete Tr. of Hearing in Chapman

v. Berks County Bd. of Elections, No. 355 MD 2022 (Pa. Commw. July 28, 2022) at

pp. 145-148, show that the voter in whose name the ballot at issue was submitted

had died—and was known to the county board of elections to have died—two weeks

before the ballot was received by the county board. The handwritten declaration date

was not the basis for the ballot’s disqualification, and the ballot would likely have

been the subject of a potential criminal investigation irrespective of the date, if any,

printed on the declaration.

      49.    Last year, officials in Lancaster County discovered that an individual

had cast a fraudulent ballot in her deceased mother’s name in Commonwealth v.

Mihaliak, No. CR-126-22 (June 3, 2022); see Ex. 12, Affidavit of Probable Cause ¶

2, Police Criminal Complaint, Commonwealth v. Mihaliak, No. CR-126-22 (June 3,

2022) (“Mihaliak Compl.”).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.




                                              27

                                    Pa.App.0325
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 330    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  28 of 78




      50.      In Lancaster County, the only information a voter is required to supply

on a ballot declaration is the date and a signature. See Ex. 13, Exemplar Ballot

Declaration from Lancaster County Board; see also Ex. 77, Greenburg Dep. at

114:23-115:7.

      Response: To the extent that this paragraph contains factual allegations

regarding practices of the Lancaster County Board of Elections, the Acting Secretary

is not aware of any facts in the record that contradict the allegations of this paragraph

and accordingly admits the allegations for purposes of this litigation only. To the

extent this paragraph sets forth statements regarding requirements of Pennsylvania

law, this paragraph contains statements or conclusions of law to which no response

is required.

      51.      Under the Pennsylvania Supreme Court’s current precedent, county

boards of elections lack authority to conduct signature comparisons, so they may not

check ballots for a non-matching signature, much less use any non-matching

signature to detect fraud by a third party. See In re November 3, 2020 General

Election, 240 A.3d 591 (Pa. 2020).

      Response: This paragraph does not comply with Local Rule 56(B)(1), as it

does not cite to a particular pleading, deposition, answer to interrogatory, admission

on file or other part of the record in support of a factual allegation, and instead

comprises only statements or conclusions of law. Accordingly, no response is

                                              28

                                    Pa.App.0326
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 331    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  29 of 78




required thereto. Further, this paragraph purports to summarize the Supreme Court

of Pennsylvania’s decision in In re November 3, 2020 General Election, 240 A.3d

591 (Pa. 2020), which is in writing and speaks for itself, and any characterization

contrary to that writing is denied.

      52.    In Mihaliak, the only evidence on the face of the ballot declaration

indicating that someone other than the decedent had completed the ballot was the

handwritten date of April 26, 2022, which was twelve days after the decedent had

passed away. See Ex. 12 ¶ 2.

      Response: It is denied that Intervenor-Defendants’ Exhibit 12 supports the

allegations of this paragraph as stated. It is admitted only that Intervenor-

Defendants’ Exhibit 12, the Affidavit of Probable Cause in Commonwealth v.

Mihaliak, No. CR-126-22 (June 3, 2022), states that “Christa Miller stated she

received a mail in ballot from Teresa J. Mihaliak signed and dated April 26, 2022.

The ballot for the democrat [sic] primary was received on April 28, 2022, by her

office. However, Crista Miller reported that Teresa J. Mihaliak was deceased on

April 14, 2022. Christa Miller said this was confirmed by an obituary and records

from the Department of Health. She said Teresa J. Mihaliak was removed from the

voter rolls on April 25, 2022.” By way of further response, Intervenor-Defendants’

Exhibit 12, the Affidavit of Probable Cause in Commonwealth v. Mihaliak, No. CR-

126-22 (June 3, 2022), and Exhibit A to Appendix of Acting Secretary Al Schmidt,

                                            29

                                      Pa.App.0327
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 332    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  30 of 78




Complete Tr. of Hearing in Chapman v. Berks County Bd. of Elections, No. 355 MD

2022 (Pa. Commw. July 28, 2022) at pp. 142-148, show that the voter in whose name

the ballot at issue was submitted had died—and was known to the county board of

elections to have died—two weeks before the ballot was received by the county

board and also that the county board time stamps the face of the return envelopes

when they are received. The handwritten declaration date was not the basis for the

ballot’s disqualification, and the ballot would likely have been the subject of a

potential criminal investigation irrespective of the date, if any, printed on the

declaration.

      53.      The investigation into the election fraud committed in Mihaliak was

predicated upon the date supplied on the ballot declaration. See id. ¶ 2.

      Response: It is denied that Intervenor-Defendants’ Exhibit 12 supports the

allegations of this paragraph as stated. It is admitted only that Intervenor-

Defendants’ Exhibit 12, the Affidavit of Probable Cause in Commonwealth v.

Mihaliak, No. CR-126-22 (June 3, 2022), states that “Christa Miller stated she

received a mail in ballot from Teresa J. Mihaliak signed and dated April 26, 2022.

The ballot for the democrat [sic] primary was received on April 28, 2022, by her

office. However, Crista Miller reported that Teresa J. Mihaliak was deceased on

April 14, 2022. Christa Miller said this was confirmed by an obituary and records

from the Department of Health. She said Teresa J. Mihaliak was removed from the

                                             30

                                   Pa.App.0328
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 333    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  31 of 78




voter rolls on April 25, 2022.” By way of further response, Exhibit 12, the Affidavit

of Probable Cause in Commonwealth v. Mihaliak, No. CR-126-22 (June 3, 2022),

and Exhibit A to Appendix of Acting Secretary Al Schmidt, Complete Tr. of Hearing

in Chapman v. Berks County Bd. of Elections, No. 355 MD 2022 (Pa. Commw. July

28, 2022) at pp. 145-148, show that the voter in whose name the ballot at issue was

submitted had died—and was known to the county board of elections to have died—

two weeks before the ballot was received by the county board. The handwritten

declaration date was not the basis for the ballot’s disqualification, and the ballot

would likely have been the subject of a potential criminal investigation irrespective

of the date, if any, printed on the declaration.

      54.    Plaintiffs’ putative expert agreed that the date supplied on the Mihaliak

ballot declaration was the only piece of evidence of fraud on the face of the ballot.

Ex. 77 at 114:15-118:2.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg. By way of further response, Intervenor-Defendants’ Exhibit 12, the

Affidavit of Probable Cause in Commonwealth v. Mihaliak, No. CR-126-22 (June 3,

2022), and Exhibit A to Appendix of Acting Secretary Al Schmidt, Complete Tr. of

Hearing in Chapman v. Berks County Bd. of Elections, No. 355 MD 2022 (Pa.

Commw. July 28, 2022) at pp. 145-148, show that the voter in whose name the ballot

at issue was submitted had died—and was known to the county board of elections to

                                              31

                                    Pa.App.0329
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 299 334    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  32 of 78




have died—two weeks before the ballot was received by the county board. The

handwritten declaration date was not the basis for the ballot’s disqualification, and

the ballot would likely have been the subject of a potential criminal investigation

irrespective of the date, if any, printed on the declaration.

      55.    Plaintiffs’ putative expert agreed that the date on the ballot declaration

helped to detect fraud in Mihaliak. Id. at 116:19-117:2.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg. By way of further response, Intervenor-Defendants’ Exhibit 12, the

Affidavit of Probable Cause in Commonwealth v. Mihaliak, No. CR-126-22 (June 3,

2022), and Exhibit A to Appendix of Acting Secretary Al Schmidt, Complete Tr. of

Hearing in Chapman v. Berks County Bd. of Elections, No. 355 MD 2022 (Pa.

Commw. July 28, 2022) at pp. 145-148, show that the voter in whose name the ballot

at issue was submitted had died—and was known to the county board of elections to

have died—two weeks before the ballot was received by the county board. The

handwritten declaration date was not the basis for the ballot’s disqualification, and

the ballot would likely have been the subject of a potential criminal investigation

irrespective of the date, if any, printed on the declaration..




                                              32

                                    Pa.App.0330
         Case:1:22-cv-00339-SPB
         Case  23-3166 Document:  146 Page:
                                Document 299 335    Date Filed:
                                             Filed 05/05/23     01/10/2024
                                                             Page  33 of 78




III.     THIS LITIGATION

         56.      Plaintiffs in this case filed suit on November 4, 2022, seeking to

   invalidate the General Assembly’s date requirement. ECF No. 1.

         Response: This paragraph purports to summarize the Amended Complaint,

   which is in writing and speaks for itself, and any characterization contrary to that

   writing is denied.

         57.      Plaintiffs claim that the date requirement—which has been on the books

   in some form since 1945—violates a provision of the 1964 Civil Rights Act and the

   Equal Protection Clause of the U.S. Constitution. Id.

         Response: This paragraph purports to summarize the Amended Complaint,

   which is in writing and speaks for itself, and any characterization contrary to that

   writing is denied.

         A.       County Boards Of Elections’ Responses To Discovery Requests
                  Regarding The 2022 General Election.

         58.      Allegheny County Board of Elections responded as follows.

               a. It received 161,575 mail ballots, of which 151 were military ballots. Ex.

                  14, Allegheny Cnty. Bd.’s Am. Ans. to Interrog. #1.

               b. It set aside 1,009 mail ballots with undated or misdated ballot

                  declarations. Ex. 15, Allegheny Cnty. Bd.’s Ans. to Interrog. #2.

               c. It did not receive any undated or misdated military ballots. Id. at

                  Interrog. #15.
                                                  33

                                        Pa.App.0331
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 336    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  34 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      59.      Beaver County Board of Elections responded as follows.

            a. It received 15,172 mail ballots, of which 48 were military-overseas

               ballots. Ex. 16, Beaver Cnty. Bd.’s Ans. to Interrog. #1.

            b. It received 182 mail ballots with undated or misdated ballot

               declarations, of which 41 were corrected or cured. Id. Of the non-cured

               mail ballots, 9 were also missing their inner/secrecy envelopes. Id.

               “One voter who had an error on their ballot also had a naked ballot,”

               and though that voter “corrected the ballot envelope prior to [the

               board’s] notice being published,” “the ballot was not counted as the

               error on the ballot was not determined until the pre-canvassing began.”

               Id.

            c. “No timely-received military-overseas ballots were missing a date or

               signature or were dated incorrectly.” Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      60.      Bedford County Board of Elections responded as follows.

                                               34

                                     Pa.App.0332
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 337    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  35 of 78




            a. It received 2,868 mail ballots and 6 military-overseas ballots. Ex. 17,

               Bedford Cnty. Bd., et al. (“BCCZ”) Ans. to Interrog. #1.

            b. It did not set aside any mail ballots for a date issue. Id. at Interrog. #2

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      61.      Berks Board of Elections responded as follows.

            a. It received 28,829 mail ballots, including 146 military-overseas ballots.

               Ex. 18, Berks Cnty. Bd.’s Ans. to Interrog. #1.

            b. It set aside 782 mail ballots with undated or misdated ballot

               declarations. Id. at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      62.      Blair County Board of Elections responded as follows.

            a. It received 9,022 mail ballots, and 27 military-overseas ballots. Ex. 19,

               Blair Cnty. Bd.’s Ans. Interrogs. #1.

            b. It set aside 55 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2.




                                                35

                                      Pa.App.0333
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 338    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  36 of 78




            c. It did not receive any undated or misdated military ballots for which the

               declaration was on the outside of the return envelope. Id. at Interrog.

               #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      63.      Bradford County Board of Elections responded as follows.

            a. It received 2,787 mail ballots, and 16 military-overseas ballots. Ex. 20,

               Bradford Cnty. Bd.’s Ans. to Interrogs. #1.

            b. It set aside 20 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2. An additional 3 undated/misdated ballots lacked a

               secrecy envelope. Id.

            c. It did not receive any undated or misdated military-overseas ballots. Id.

               at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      64.      Bucks County Board of Elections responded as follows.

            a. It received 87,321 mail ballots and 466 military-overseas ballots. Ex.

               21, Bucks Cnty. Bd.’s Ans. to Interrogs. #1.

                                               36

                                       Pa.App.0334
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 339    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  37 of 78




            b. It set aside 357 mail ballots with undated or misdated ballot

               declarations. Id. at Interrog. #2.

            c. It received 11 military-overseas ballots with undated or misdated ballot

               declarations. Id. at Interrog. #15.

            d. It counted military-overseas ballots with undated or misdated ballot

               declarations. Id.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      65.      Butler County Board of Elections responded as follows.

            a. It received 18,212 mail ballots. Ex. 22, Butler Cnty. Bd.’s Ans.

               Interrogs. #1.

            b. It set aside 66 mail ballots with undated or misdated ballot declarations.

               Id.

            c. It did not receive any military-overseas ballots with undated or

               misdated ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      66.      Cambria County Board of Elections responded as follows.

                                                37

                                      Pa.App.0335
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 340    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  38 of 78




            a. It received 9,848 mail and military-overseas ballots. Ex. 23, Cambria

               Cnty. Bd.’s Ans. to Interrogs. #1.

            b. It set aside 38 mail-in/absentee ballots with undated or misdated ballot

               declarations. Id. at Interrog. #2.

            c. It did not receive any military-overseas ballots with undated or

               misdated ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      67.      Cameron County Board of Elections responded as follows.

            a. It received 410 mail ballots and 2 military-overseas ballots. Ex. 24,

               Cameron Cnty. Bd.’s Ans. to Interrogs. #1.

            b. It set aside 5 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2.

            c. It did not receive any military-overseas ballots with undated or

               misdated ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      68.      Carbon County Board of Elections responded as follows.

                                                38

                                      Pa.App.0336
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 341    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  39 of 78




            a. It received 4,823 mail ballots and 14 military-overseas ballots. Ex. 17

               at Interrog. #1.

            b. It set aside 27 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      69.      Centre County Board of Elections responded as follows.

            a. It received 15,654 mail ballots and 126 military-overseas ballots. Id. at

               Interrog. #1.

            b. It set aside 116 mail ballots with undated or misdated ballot

               declarations. Ex. 25, Centre County, Montour County and York County

               Bds.’ Supp. Ans. to Interrogs. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      70.      Chester County Board of Elections responded as follows.

            a. It received 70,023 mail ballots and 638 military/overseas/federal

               absentee ballots. Ex. 26, Chester Cnty. Bd.’s Ans. to Interrogs. #1.




                                               39

                                      Pa.App.0337
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 342    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  40 of 78




            b. It set aside 116 mail ballots with undated or misdated ballot

               declarations. Id. at Interrog. #2. An additional 19 mail ballots had no

               date and no signature. Id.

            c. It set aside 12 military/overseas/federal absentee ballots with undated

               or misdated ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      71.      Clarion County Board of Elections responded as follows.

            a. It received 12 mail ballots. Ex. 27, Clarion Cnty. Bd.’s Ans. to

               Interrogs. #1.

            b. It set aside 12 mail ballots with undated or misdated ballot declarations.

               Id.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      72.      Clearfield County Board of Elections responded as follows.

            a. It received 4,564 mail ballots, including 8 military and civilian overseas

               ballots. Ex. 28, Clearfield Cnty. Bd.’s Ans. to Interrogs. #1 & Ex. “Clfd.

               1.”

                                               40

                                     Pa.App.0338
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 343    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  41 of 78




            b. It set aside 12 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2.

            c. It did not receive any military-overseas ballots with undated or

               misdated ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      73.      Clinton County Board of Elections responded as follows.

            a. It received 2,248 mail ballots and 14 military-overseas ballots. Ex. 29,

               Clinton Cnty. Bd.’s Ans. to Interrogs. #1.

            b. It set aside 20 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2.

            c. It did not receive any military-overseas ballots with undated or

               misdated ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      74.      Columbia County Board of Elections responded as follows.

            a. It received 4,168 mail ballots and 11 military-overseas ballots. Ex. 17

               at Interrog. #7.

                                               41

                                      Pa.App.0339
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 344    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  42 of 78




            b. It set aside 29 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      75.      Crawford County Board of Elections responded as follows.

            a. It received 5,917 mail ballots and 22 military-overseas ballots. Ex. 30,

               Crawford Cnty. Bd.’s Ans. to Interrogs. #1.

            b. It set aside 49 mail ballots with undated or misdated ballot declarations.

               Id. at Interrogs. #2, 8. It set aside an additional 2 mail ballots with

               undated or misdated ballot declarations that also lacked a signature. Id.

               at Interrog. #8.

            c. It did not receive any military-overseas ballots with undated or

               misdated ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      76.      Cumberland County Board of Elections responded as follows.

            a. It received 26,298 mail ballots and 113 military-overseas ballots. Ex.

               31, Cumberland Cnty. Bd.’s Ans. to Interrogs. #1.

                                               42

                                      Pa.App.0340
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 345    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  43 of 78




            b. It set aside 100 mail ballots with undated or misdated ballot

               declarations. Id. at Interrog. #2.

            c. It did not receive any military-overseas ballots with undated or

               misdated ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      77.      Dauphin County Board of Elections responded as follows.

            a. It received 25,839 mail ballots and 154 military-overseas ballots. Ex.

               17 at Interrog. #1.

            b. It set aside 95 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      78.      Delaware County Board of Elections responded as follows.

            a. It received 60,154 mail ballots. Ex. 32, Delaware Cnty. Bd.’s Ans. To

               Interrogs. #1.

            b. It set aside 114 mail ballots with undated or misdated ballot

               declarations. Id. at Interrog. #2.

                                                43

                                      Pa.App.0341
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 346    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  44 of 78




            c. It did not receive any military-overseas ballots with undated or

               misdated ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      79.      Elk County Board of Elections responded as follows.

            a. It received 2,012 absentee/mail-in ballots and 19 military-overseas

               ballots. Ex. 33, Elk Cnty. Bd.’s Ans. to Interrogs. #1.

            b. It received 10 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2. Of those, 7 voters either corrected the error or filed

               a provisional ballot. Id. at Interrog. #13.

            c. It did not receive any military-overseas ballots with undated or

               misdated ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      80.      Erie County Board of Elections responded as follows.

            a. It received 26,766 mail-in ballots and 41 military-overseas ballots. Ex.

               34, Erie Cnty. Bd.’s Ans. to Interrogs. #1.




                                                44

                                      Pa.App.0342
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 347    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  45 of 78




            b. It set aside 211 mail ballots with undated or misdated ballot

               declarations, including cured ballots. Id. at Interrog. #2. An additional

               8 mail ballots with undated ballot declarations were also missing a

               signature. Id. at Interrog. #8. 113 of these ballots were cured. Id. at

               Interrog. #13.

            c. It did not receive any military-overseas ballots with undated or

               misdated ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      81.      Fayette County Board of Elections responded as follows.

            a. It received 9,036 mail ballots and 33 military-overseas ballots. Ex. 35,

               Fayette Cnty. Bd.’s Ans. to Interrogs. #1.

            b. It set aside 137 mail ballots with undated or misdated ballot

               declarations. Id. at Interrog. #2. Eleven of these “signed another voter’s

               ballot return envelope. Id. at Interrog. #8. 93 “[v]oters whose timely

               received mail ballots were set aside and/or segregated by Fayette

               County because the signed outer return envelope was missing a date or

               showed a date the county determined to be incorrect” “came to the




                                               45

                                     Pa.App.0343
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 348    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  46 of 78




               Fayette County Election Bureau and cured their mail ballots.” Id. at

               Interrog. #13.

            c. It stated that it “did not timely receive any military-overseas ballots in

               the 2022 General Election on which the voter failed to date their voter

               declaration or included a date that the county deemed to be incorrect.”

               Id. at Interrog. #15.

            d. “Dates were not reviewed for military/overseas ballots that were timely

               received.” Ex. 36, Fayette Cnty. Bd.’s Resps. to Requests for Prod. of

               Docs. #3.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      82.      Forest County Board of Elections responded as follows.

            a. It received 447 mail ballots and 0 military-overseas ballots. Ex. 37,

               Forest Cnty. Bd.’s Ans. to Interrogs. #1.

            b. It set aside 38 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2. Of these, two mail ballots were signed by the

               incorrect person. Id. at Interrog. #8. Two ballots were cured. Id. at

               Interrog. #13.




                                               46

                                       Pa.App.0344
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 349    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  47 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      83.      Franklin County Board of Elections responded as follows.

            a. It received 10,496 mail ballots and 68 military-overseas ballots. Ex. 38,

               Franklin Cnty. Bd.’s Ans. to Interrogs. #1.

            b. It set aside 114 mail ballots with undated or misdated ballot

               declarations. Id. at Interrog. #2. Seven of those were also missing a

               signature. Id. at Interrog. #8.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      84.      Greene County Board of Elections responded as follows.

            a. It received 2,384 mail ballots and 7 military-overseas ballots. Ex. 39,

               Greene Cnty. Bd.’s Ans. to Interrogs. #1.

            b. It set aside 11 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2.

            c. It did not receive any military-overseas ballots with undated or

               misdated ballot declarations. Id. at Interrog. #15.




                                                 47

                                      Pa.App.0345
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 350    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  48 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      85.      Huntingdon County Board of Elections responded as follows.

            a. It received 2,452 mail ballots and 8 military-overseas ballots. Ex. 17 at

               Interrog. #1.

            b. It set aside 34 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      86.      Indiana County Board of Elections responded as follows.

            a. It received 2,452 mail ballots and 8 military-overseas ballots. Id. at

               Interrog. #1.

            b. It set aside 107 mail ballots with undated or misdated ballot

               declarations. Id. at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      87.      Jefferson County Board of Elections responded as follows.

                                                48

                                      Pa.App.0346
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 351    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  49 of 78




            a. It received 2,278 mail ballots and 12 military-overseas ballots. Id. at

               Interrog. #1.

            b. It set aside 23 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      88.      Juniata County Board of Elections responded as follows.

            a. It received 1,244 mail-in ballots and 7 military-overseas ballots. Ex. 40,

               Juniata Cnty. Bd.’s Ans. to Interrogs. #1.

            b. It set aside five mail ballots with undated or misdated ballot

               declarations. Id. at Interrog. #2. Of those, two were also missing

               signatures. Id. at Interrog. #8. Two ballots were cured. Id.

            c. In response to whether it counted “timely-received military-overseas

               ballots in the 2022 General Election if the voter failed to date their voter

               declaration or included a date that [it] deemed to be incorrect,” it

               responded: “No.” Id. at Interrog. #15. It set aside one military-overseas

               ballot with an undated ballot declaration. Id. at Interrog. #16. It was also

               missing a signature. Id.




                                                49

                                      Pa.App.0347
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 352    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  50 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      89.      Lackawanna County Board of Elections responded as follows.

            a. It received 20,759 mail ballots, including 29 military ballots and 26

               civilian overseas ballots. Ex. 41, Lackawanna Cnty. Bd.’s Ans. To

               Interrogs. #1.

            b. It set aside 160 mail ballots with undated ballot declarations. Id. at

               Interrog. #2.

            c. It did not deem any military-overseas ballots as incorrect. Id. at

               Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      90.      Lancaster County Board of Elections responded as follows.

            a. It received 34,202 mail ballots and 188 military-overseas ballots. Ex.

               42, Lancaster Cnty. Bd.’s Ans. to Interrogs. #1.

            b. It set aside 232 mail ballots which had undated or misdated ballot

               declarations. Id. at Interrog. #2. Of those, 51 had additional defects. Id.

               at Interrog. #8.

                                               50

                                     Pa.App.0348
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 353    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  51 of 78




            c. It did not receive any military-overseas ballots with undated or

               misdated ballot declarations. Id. at Interrog. #15; Ex. 43, Miller Dep.

               96:15-98:4.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      91.      Lawrence County Board of Elections responded as follows.

            a. It received 6,888 mail ballots and 33 military-overseas ballots. Ex. 17

               at Interrog. #1.

            b. It set aside 107 mail ballots with undated or misdated ballot

               declarations. Id. at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      92.      Lebanon County Board of Elections responded as follows.

            a. It received 10,771 mail ballots and 64 military-overseas ballots. Ex. 17

               at Interrog. #1.

            b. It set aside 24 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2.




                                                51

                                      Pa.App.0349
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 354    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  52 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      93.      Lehigh County Board of Elections responded as follows.

            a. It    received     35,425     mail-in/absentee      ballots     and     101

               military/overseas/civilian ballots. Ex. 44, Lehigh Cnty. Bd.’s Ans. To

               Interrogs. #1.

            b. It set aside 390 mail ballots with undated or misdated ballot

               declarations. Id. at Interrog. #2. An additional 23 mail ballots had no

               date and no signature on their ballot declarations. Id.

            c. It did not review military-overseas ballots for dates. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      94.      Luzerne County Board of Elections responded as follows.

            a. It received 29,002 mail ballots. Ex. 45, Luzerne Cnty. Bd.’s Ans. To

               Interrogs. #1.

            b. It set aside 166 mail ballots with undated or misdated ballot

               declarations. Ex. 46, Luzerne Cnty. Bd.’s Am. Ans. to Interrogs. 16 of

               these voters voted provisionally. Ex. 45 at Interrog. #7.

                                                52

                                      Pa.App.0350
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 355    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  53 of 78




            c. It “[d]o[es] not recall any” military-ballots with undated or misdated

               ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      95.      Lycoming County Board of Elections responded as follows.

            a. It received 6,474 mail ballots. Ex. 47, Lycoming Cnty. Bd.’s Ans. To

               Interrogs. #1.

            b. It set aside 36 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2. Six of these voters cast provisional ballots. Id. at

               Interrog. #12.

            c. It did not receive any military-overseas ballots with undated or

               misdated ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      96.      McKean County Board of Elections responded as follows.

            a. It received 1,957 mail in ballots and 5 military-overseas ballots. Ex. 48,

               McKean Cnty. Bd.’s Ans. to Interrogs. #1.




                                                53

                                      Pa.App.0351
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 356    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  54 of 78




            b. It set aside 35 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2.

            c. It set aside 5 military-overseas ballots with undated or misdated ballot

               declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      97.      Mercer County Board of Elections responded as follows.

            a. It received 8,220 mail ballots. Ex. 49, Mercer Cnty. Bd.’s Ans. To

               Interrogs. #1.

            b. It set aside 63 mail ballots with undated or misdated ballot declarations.

               Id. at Interrog. #2.

            c. Though it received “12 mail ballots where the Declaration was

               unsigned,” “[a]ny ballot that was both unsigned and missing a date were

               categorized as ‘Unsigned’ since this is a fatal defect outside the scope

               of current litigation.” Id. at Interrog. #8.

            d. In response to whether it counted “timely-received military-overseas

               ballots in the 2022 General Election if the voter failed to date their voter

               declaration or included a date that [it] deemed to be incorrect,” it

               responded: “This issue did not arise in 2022.” Id. at Interrog. #15.

                                                54

                                      Pa.App.0352
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 357    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  55 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      98.      Mifflin County Board of Elections responded as follows.

            a. It received 2,680 mail-in ballots and 8 military-overseas ballots. Ex. 50,

               Mifflin Cnty. Bd.’s Ans. to Interrogs. #1.

            b. It set aside 13 mail-in/absentee ballots with undated ballot declarations,

               exclusive of ballots with other defects. Ex. 51, Mifflin Cnty. Bd.’s

               Resps. to Requests for Prod. of Docs. #2 & Ex. 1.

            c. It did not receive any military-overseas ballots with undated or

               misdated ballot declarations. Ex. 50 at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      99.      Monroe County Board of Elections responded as follows.

            a. It received 15,651 mail ballots and 56 military-overseas ballots. Ex. 17

               at Interrog. #1.

            b. It set aside 462 mail ballots with undated or misdated ballot

               declarations. Id. at Interrog. #2. Of these, 191 were cured. Id. at

               Interrog. #13.

                                               55

                                     Pa.App.0353
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 358    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  56 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      100. Montgomery County Board of Elections responded as follows.

          a. It received 118,224 mail-in/absentee ballots and 914 military-overseas

             ballots. Ex. 52, Montgomery Cnty. Bd.’s Ans. to Interrogs. #1.

          b. It set aside 460 mail ballots with undated or misdated ballot

             declarations. Id. 44 of those ballots had other defects. Id. at Interrog.

             #2.

          c. In Montgomery County, “[m]ilitary-overseas ballots were checked to

             make sure the declarations were complete. If the declarations were

             complete, the ballot was counted. No military-overseas ballots were set

             aside for having a missing or incorrect date.” Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      101. Montour County Board of Elections responded as follows.

          a. It received 1,718 mail ballots and 3 military-overseas ballots. Ex. 25 at

             Interrog. #1.




                                             56

                                    Pa.App.0354
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 359    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  57 of 78




          b. It set aside 8 mail ballots with undated or misdated ballot declarations.

             Ex. 17 at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      102. Northampton County Board of Elections responded as follows.

          a. It received 36,401 mail/absentee ballots, including 91 UMOVA ballots.

             Ex. 53, Northampton Cnty. Bd.’s Ans. to Interrogs. #1.

          b. It set aside 280 mail ballots with undated or misdated ballot

             declarations. Id. at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      103. Northumberland County Board of Elections responded as follows.

          a. It received 4,835 mail ballots and 30 military-overseas ballots. Ex. 17

             at Interrog. #1.

          b. It set aside 14 mail ballots with undated or misdated ballot declarations.

             Id. at Interrog. #2.




                                              57

                                    Pa.App.0355
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 360    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  58 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      104. Perry County Board of Elections responded as follows.

          a. It received 2,340 mail ballots and 4 military ballots. Ex. 54, Perry Cnty.

             Bd.’s Ans. to Interrogs. #1.

          b. It set aside 35 mail ballots with undated or misdated ballot declarations.

             Id. at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      105. Philadelphia County Board of Elections responded as follows.

          a. It received 133,968 absentee and mail-in ballots, including military-

             overseas ballots. Ex. 55, Philadelphia Cnty. Bd.’s Ans. to Interrogs. #1.

             It counted 127,934 absentee and mail-in ballots and 1,014 military-

             overseas ballots. Id.

          b. It set aside 2,617 mail-in and absentee ballots. Id. at Interrog. #2. 580

             of these voters submitted provisional ballots. Id.

          c. It counted 13 military-overseas ballots with undated ballot declarations.

             Id. at Interrog. #15.

                                             58

                                     Pa.App.0356
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 361    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  59 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      106. Potter County Board of Elections responded as follows.

          a. It received 888 mail-in ballots, including 2 military-overseas ballots.

             Ex. 56, Potter Cnty. Bd.’s Ans. to Interrogs. #1.

          b. It set aside 11 mail ballots with undated or misdated ballot declarations,

             not including voters who submitted provisional ballots or ballots with

             other defects. Id. at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      107. Schuylkill County Board of Elections responded as follows.

          a. It received 8,657 mail ballots and 25 military-overseas ballots. Ex. 57,

             Schuylkill Cnty. Bd.’s Ans. to Interrogs. #1.

          b. It set aside 59 mail ballots with undated or misdated ballot declarations,

             including one ballot which also was missing a signature and another

             where the date was missing from the voter assistance declaration. Ex.

             58, Ex. 2 to Schuylkill Resp. to Requests for Prod. of Docs.




                                              59

                                    Pa.App.0357
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 362    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  60 of 78




          c. It did not receive any military-overseas ballots with undated or

             misdated ballot declarations. Ex. 57 at Interrog. #1.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      108. Snyder County Board of Elections responded as follows.

          a. It received 2,286 mail ballots and 5 military-overseas ballots. Ex. 17 at

             Interrog. #1.

          b. It set aside 9 mail ballots with undated or misdated ballot declarations.

             Id. at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      109. Somerset County Board of Elections responded as follows.

          a. It received 4,211 mail ballots, including 47 military-overseas ballots.

             Ex. 59, Somerset Cnty. Bd.’s Ans. to Interrogs. #1.

          b. It set aside 63 mail ballots with undated or misdated ballot declarations.

             Id. at Interrog. #2. Two also did not contain signatures. Id.

          c. It did not receive any military-overseas ballots with an undated or

             misdated outer return envelope. Id. at Interrog. #15.

                                             60

                                    Pa.App.0358
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 363    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  61 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      110. Sullivan County Board of Elections responded as follows.

          a. It received 505 mail ballots and 4 military-overseas ballots. Ex. 60,

             Sullivan Cnty. Bd.’s Ans. to Interrogs. #1.

          b. It set aside 4 mail ballots with undated or misdated ballot declarations.

             Id. at Interrog. #2.

          c. It did not receive any military-overseas ballots with undated or

             misdated ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      111. Susquehanna County Board of Elections responded as follows.

          a. It received 3,247 mail-in ballots and 16 military-overseas ballots. Ex.

             61, Susquehanna Cnty. Bd.’s Ans. to Interrogs. #1.

          b. It did not set aside any mail ballots for undated or misdated ballot

             declarations. Id. at Interrog. #2




                                             61

                                    Pa.App.0359
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 364    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  62 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      112. Tioga Board of Elections responded as follows.

          a. It reported that “[o]ut of 2,363 total ballots, 10 were returned.” Ex. 62,

             Tioga Cnty. Bd.’s Ans. to Interrogs. #1.

          b. It set aside four mail ballots with undated or misdated ballot

             declarations. Id. at Interrog. #2.

          c. When asked if it “count[ed] timely-received military-overseas ballots

             in the 2022 General Election if the voter failed to date their voter

             declaration or included a date that [it] deemed to be incorrect,” it

             responded: “Ten such ballots were counted.” Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      113. Union County Board of Elections responded as follows.

          a. It received 2,997 mail ballots, including 41 military-overseas ballots.

             Ex. 63, Union Cnty. Bd.’s Ans. to Interrogs. #1.

          b. It set aside 23 mail ballots with undated or misdated ballot declarations.

             Id. at Interrog. #2.

                                              62

                                    Pa.App.0360
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 365    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  63 of 78




          c. It “believes it did not receive any military-overseas ballots that were

             not counted based on a missing and/or incorrect date on the elector’s

             declaration on the return envelope.” Id. at Interrog. #16.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      114. Venango County Board of Elections responded as follows.

          a. It received 3,027 mail ballots and 35 military-overseas ballots. Ex. 17

             at Interrog. #1.

          b. It set aside 42 mail ballots with undated or misdated ballot declarations.

             Id. at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      115. Warren County Board of Elections responded as follows.

          a. It received 2,266 mail ballots and 8 military ballots. Ex. 64, Warren

             Cnty. Bd.’s Ans. to Interrogs. #1.

          b. It set aside 18 mail ballots with undated or misdated ballot declarations.

             Id. at Interrog. #2. One of these ballots also did not have a signature. Id.

             at Interrog. #8.

                                              63

                                    Pa.App.0361
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 366    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  64 of 78




          c. It did not receive any military-overseas ballots that were undated or

             misdated. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      116. Washington County Board of Elections responded as follows.

          a. It received 19,569 mail ballots, including 51 military-overseas ballots.

             Ex. 65, Washington Cnty. Bd.’s Ans. to Interrogs. #1.

          b. It set aside 66 mail ballots with undated or misdated ballot declarations.

             Id. at Interrog. #2.

          c. It reported that “none of the military-overseas ballots it received in the

             2022 General Election were required to be set aside.” Id. at Interrog.

             #155.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      117. Wayne County Board of Elections responded as follows.

          a. It received 4,692 mail ballots. Ex. 66, Wayne Cnty. Bd.’s Ans. To

             Interrogs. #1.




                                               64

                                    Pa.App.0362
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 367    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  65 of 78




          b. It set aside 55 mail ballots with undated or misdated ballot declarations.

             Id. at 8. Fewer than 10 of these were cured. Id. at Interrog. #2.

          c. It did not receive any military-overseas ballots with undated or

             misdated ballot declarations. Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      118. Westmoreland County Board of Elections responded as follows.

          a. It received 34,599 mail ballots and 109 military-overseas ballots. Ex.

             67, Westmoreland Cnty. Bd.’s Ans. to Interrogs. #1.

          b. It set aside 95 mail ballots with undated or misdated ballot declarations.

             Id. at Interrog. #2.

          c. It “did not receive any military-overseas ballots that were not counted

             based on a missing and/or incorrect date on the elector’s declaration on

             the return envelope.” Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      119. Wyoming County Board of Elections responded as follows.




                                             65

                                    Pa.App.0363
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 368    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  66 of 78




          a. It received 2,029 mail ballots and 7 military-overseas ballots. Ex. 68,

             Wyoming Cnty. Bd.’s Ans. to Interrogs. #1.

          b. It set aside 17 mail ballots with undated ballot declarations. Id. One

             ballot also was missing a signature on the declaration. Id. at Interrog.

             #2.

          c. It reported that “[n]o military-overseas ballot was set aside for incorrect

             or missing date.” Id. at Interrog. #15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      120. York County Board of Elections responded as follows.

          a. It received 37,296 mail ballots and 185 military-overseas ballots. Ex.

             25 at Interrog. #1.

          b. It set aside 1,354 mail ballots with an undated or misdated ballot

             declaration. Id. at Interrog. #2.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.




                                                 66

                                    Pa.App.0364
        Case:1:22-cv-00339-SPB
        Case  23-3166 Document:  146 Page:
                               Document 299 369    Date Filed:
                                            Filed 05/05/23     01/10/2024
                                                            Page  67 of 78




        B.    Ballot Envelopes

        121. Military/overseas voters were provided with ballot declarations to fill

out. See Ex. 69, Montgomery County Declaration for Military-Overseas Ballot at 3;

Ex. 70, Fayette County Declaration for Military-Overseas Ballot.

        Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

        122. Those ballot declarations had date fields, and instructed voters to

“SIGN AND DATE HERE.” Id.

        Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

        123. The Federal Write-In Absentee Ballot (FWAB) also contains a date

field. https://www.fvap.gov/uploads/FVAP/Forms/fwab.pdf (specifying “Today’s

date”). See Ex. 72, Federal Write-In Absentee Ballot.

        Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

        124. The fvap.gov website instructs voters to “[m]ake sure to follow your

state        instructions      when       filling       out     your       FWAB.”

                                            67

                                    Pa.App.0365
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 370    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  68 of 78




https://www.fvap.gov/eo/overview/materials/forms. See Ex. 73, Federal Voting

Assistance Program Guide.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      125. The fvap.gov website’s Pennsylvania guide in its “Hardcopy

Instructions” directs voters to “sign and date the ‘Voter Information’ page” “[o]nce

your FWAB is complete.” https://www.fvap.gov/guide/chapter2/pennsylvania. See

Ex. 74, Federal Voting Assistance Guide Regarding Pennsylvania Elections.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      C.     Mr. Jeffrey Greenburg’s Putative Expert Testimony

      126. Plaintiffs designated Mr. Jeffrey Greenburg to be an expert witness. See

Ex. 75, Plaintiffs’ Designation of Expert Witness.

      Response: Admitted.

      127. Mr. Greenburg served as the director of elections for the Mercer County

Bureau of Voter Registration and Elections from 2007 until July 2020. See Ex. 76,

Greenburg Decl. ¶ 3.




                                           68

                                    Pa.App.0366
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 371    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  69 of 78




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      128. Mr. Greenburg graduated from John Carroll University in 1982 with a

bachelor of arts in History. Ex. 76 Ex. 1.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      129. Mr. Greenburg never took any courses in elections or election

administration. Ex. 77, Greenburg Dep. at 18:10-13.

      Response: It is denied that Intervenor-Defendants’ Exhibit 77 supports the

allegations of this paragraph as stated. By way of further response, Mr. Greenburg

testified that only he did not take any courses in elections or election administration

“as part of [his] education.” Ex. 77, Greenburg Dep. at 18:10-13 (emphasis added).

      130. Mr. Greenburg has never published any articles in a peer-reviewed

journal or publication, and has never submitted any written works for peer review

that were not published. Id. at 22:18-25.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.




                                             69

                                    Pa.App.0367
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 299 372    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  70 of 78




      131. Mr. Greenburg has never authored any studies about election

administration. Id. at 23:2-4.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.

      132. Mr. Greenburg’s sole experience with statistical analysis of elections

was to analyze the age of poll workers and to calculate the number of average voters

registered in every county. Id. 23:8-24:4.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.

      133. Mr. Greenburg’s statistical analyses were never published anywhere.

Id. at 24:5-7.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.

      134. Mr. Greenburg has only ever administered elections in Mercer County,

and has never administered a statewide election in Pennsylvania. Id. at 26:2-12.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.

      135. Mr. Greenburg purports to offer the opinion that “older voters” (over

age 65) “were disproportionately affected by the date requirement” in the November

2022 general election compared to voters under the age of 65. Ex. 76 ¶ 32.

                                             70

                                   Pa.App.0368
         Case:1:22-cv-00339-SPB
         Case  23-3166 Document:  146 Page:
                                Document 299 373    Date Filed:
                                             Filed 05/05/23     01/10/2024
                                                             Page  71 of 78




         Response: Admitted that Mr. Greenburg offers the opinion that “older voters

were disproportionately affected by the date requirement in the 2022 general

election” in Pennsylvania. Intervenor-Defendants’ Ex. 76 ¶ 32

         136. This opinion is multiply flawed. See Ex. 77 at 98:8-107:7.

         Response: It is denied that Intervenor-Defendants’ Exhibit 77 supports the

allegation that Mr. Greenburg’s opinion is “multiply flawed,” which is an

argumentative characterization rather than a statement of fact.

         137.   In the first place, Mr. Greenburg’s opinion is limited to the discovery

responses from 13 Pennsylvania counties and does not address any of the 54 other

counties in Pennsylvania. See Ex. 76 ¶ 32; Ex. 77 at 105:25-107:7.

         Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

         138. Moreover, in the 13 counties Mr. Greenburg examined, he found a

disproportionate effect by looking only at voters whose absentee or mail-in ballots

were not counted due to the date requirement. See Ex. 76 ¶ 32; Ex. 77 at 98:15-

99:11.

         Response: It is denied that Intervenor-Defendants’ Exhibit 77 supports the

allegations of this paragraph as stated. Mr. Greenburg did not testify that he “only”




                                              71

                                     Pa.App.0369
         Case:1:22-cv-00339-SPB
         Case  23-3166 Document:  146 Page:
                                Document 299 374    Date Filed:
                                             Filed 05/05/23     01/10/2024
                                                             Page  72 of 78




looked at “voters whose absentee or mail-in ballots were not counted due to the date

requirement.”

         139. Mr. Greenburg calculated the “percentage of voters” from that pool

who were over the age of 65 and who were under the age of 65. Ex. 77 at 98:18; see

also Ex. 76 ¶ 32.

         Response: It is denied that Intervenor-Defendants’ Exhibit 77 supports the

allegations of this paragraph as stated. Mr. Greenburg testified that he measured the

disproportionate effect of the date requirement on older voters by reviewing “the

number of ballots that were not counted because of the date requirement” and then

calculating “the percentage of those ballots that were cast by senior citizens.” Ex. 77

at 98:10-99:5.

         140. Mr. Greenburg, however, did not know the total number of voters in

each age category who submitted absentee or mail-in ballots. See Ex. 77 at 99:12-

101:9.

         Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.

         141. Mr. Greenburg did not calculate the rate at which voters over 65 or

voters under 65 use absentee or mail-in voting. See Ex. 76 ¶ 32; Ex. 77 at 99:12-

101:21.




                                              72

                                    Pa.App.0370
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 375    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  73 of 78




      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.

      142. Mr. Greenburg also did not calculate the rate at which voters in either

category fail to comply with the date requirement. See Ex. 77 at 103:9-105:19.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.

      143. Mr. Greenburg conceded that voters over age 65 may be less affected

by the date requirement if they use absentee and mail-in voting at a higher rate—or

make mistakes in completing the date field at a lower rate—than voters under age

65. See Ex. 77 at 101:18-105:19.

      Response: It is denied that Intervenor-Defendants’ Exhibit 77 supports the

allegations of this paragraph as stated. The portions of Exhibit 77 cited in this

paragraph refer to testimony given in response to hypothetical questions only.

      144. Mr. Greenburg’s “disproportionately affected” opinion relied on data

provided by Plaintiffs. Ex. 76 at ¶ 28 n.4; ¶ 32 n.6.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      145. The data provided by Plaintiffs was incomplete; they provided age data

for voters in only 13 counties. Ex. 76 at ¶ 32 n.6.

                                             73

                                    Pa.App.0371
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 376    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  74 of 78




      Response: It is denied that Intervenor-Defendants’ Exhibit 76 supports the

allegation that the data in the exhibit is “incomplete,” which is an argumentative

characterization rather than a statement of fact. The Acting Secretary is not aware of

any facts in the record that contradict the remaining allegations of this paragraph and

accordingly admits the allegations for purposes of this litigation only.

      146. The data provided by Plaintiffs was internally inconsistent.

          a. Plaintiffs purported to exclude from their count ballots that failed some

             other requirement than the date requirement. Ex. 76 Ex. 2. But in

             Somerset, Franklin, Lancaster, Montgomery, Warren, Wyoming, and

             Crawford counties, Plaintiffs’ table failed to exclude such ballots. Id.

          b. Plaintiffs sometimes purported to exclude cured ballots from its count,

             but their table admits that those numbers are not consistently tracked.

             Id. Similarly, it does not take into account the list of ballots provided

             by Fayette County that specifies which ballots were cured. See Ex. 71,

             Fayette Cnty. Bd.’s List of Undated Ballots.

      Response: It is denied that Intervenor-Defendants’ Exhibit 76, Exhibit 2

supports the allegation that the data in the exhibit is “internally inconsistent” or “not

consistently tracked,” which are argumentative characterizations rather than

statements of fact. The Acting Secretary is not aware of any facts in the record that




                                              74

                                    Pa.App.0372
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 377    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  75 of 78




contradict the remaining allegations of this paragraph and accordingly admits the

allegations for purposes of this litigation only.

      147. Mr. Greenburg testified that voters “are required to affirm that they

meet the qualifications” to vote “on the voter registration application.” Ex. 77 at

69:13-25.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.

      148. Mr. Greenburg testified that voters “provide the information necessary

for the boards to verify they are qualified” on “their voter registrations.” Ex. 77 at

69:13-17.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.

      149. Mr. Greenburg agreed that providing a signature is not a qualification

to vote. Ex. 77, at 76:3-5.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.

      150. Mr. Greenburg’s “definition of ‘disenfranchised’” was, “in [his]

opinion,” “an eligible voter who, for one reason or another, their ballot was not

counted.” Ex. 76 at 90:8-14. He stated in his deposition:

      If a legally eligible voter’s ballot is not counted, it’s
      disenfranchisement. When you’re interpreting the law correctly or not,
                                              75

                                    Pa.App.0373
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 299 378    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  76 of 78




      the ability for them to cast that ballot is not happening because of
      something that either they did or they omitted.

Ex. 77 at 93:3-15.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.

      151. For purposes of his report, Mr. Greenburg classified such voters as

“disenfranchise[d]” even if the “election official” “follow[ed] the law” in setting

aside the voter’s ballot. Id. at 93:9-19.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.

      152. Mr. Greenburg admitted that, in the Mihaliak case, the only piece of

information on the face of the ballot indicating that a third party had attempted to

vote someone else’s ballot was the handwritten date. Id. at 115:8-20.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg. By way of further response, Intervenor-Defendants’ Exhibit 12, the

Affidavit of Probable Cause in Commonwealth v. Mihaliak, No. CR-126-22 (June 3,

2022), and Exhibit A to Appendix of Acting Secretary Al Schmidt, Complete Tr. of

Hearing in Chapman v. Berks County Bd. of Elections, No. 355 MD 2022 (Pa.

Commw. July 28, 2022) at pp. 145-148, show that the voter in whose name the ballot

at issue was submitted had died—and was known to the county board of elections to

have died—two weeks before the ballot was received by the county board. The
                                            76

                                     Pa.App.0374
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 299 379    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  77 of 78




handwritten declaration date was not the basis for the ballot’s disqualification, and

the ballot would likely have been the subject of a potential criminal investigation

irrespective of the date, if any, printed on the declaration.

      153. Mr. Greenburg admitted that, in the Mihaliak case, the date requirement

helped to identify fraud. Id. at 116:19-117:2.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg. By way of further response, Intervenor-Defendants’ Exhibit 12, the

Affidavit of Probable Cause in Commonwealth v. Mihaliak, No. CR-126-22 (June 3,

2022), and Exhibit A to Appendix of Acting Secretary Al Schmidt, Complete Tr. of

Hearing in Chapman v. Berks County Bd. of Elections, No. 355 MD 2022 (Pa.

Commw. July 28, 2022) at pp. 145-148, show that the voter in whose name the ballot

at issue was submitted had died—and was known to the county board of elections to

have died—two weeks before the ballot was received by the county board. The

handwritten declaration date was not the basis for the ballot’s disqualification, and

the ballot would likely have been the subject of a potential criminal investigation

irrespective of the date, if any, printed on the declaration.

      154. Mr. Greenburg agreed that fraud involving mail ballots is possible now

and in the future in Pennsylvania. Id. at 61:3-9.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.

                                              77

                                    Pa.App.0375
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 299 380    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  78 of 78




      155. Mr. Greenburg agreed that the date requirement applies to overseas

voters. Id. at 84:2-4.

      Response: The allegations of this paragraph fairly represent the testimony of

Mr. Greenburg.



 May 5, 2023                                Respectfully submitted,


 Robert A. Wiygul (Bar. No. 310760)         Michael J. Fischer (Bar. No. 322311)
 John B. Hill (Bar. No. 328340)             Executive Deputy General Counsel
 HANGLEY ARONCHICK SEGAL
 PUDLIN & SCHILLER                          /s/ Jacob Boyer
 One Logan Square, 27th Floor               Jacob Boyer (Bar. No. 324396)
 Philadelphia, PA 19103-6933                Deputy General Counsel
                                            333 Market Street, 17th Floor
 Elizabeth Lester-Abdalla (Bar. No.         Harrisburg, PA 17101
 327276)                                    (717) 460-6786
 Deputy Attorney General                    jacobboyer@pa.gov
 OFFICE OF ATTORNEY GENERAL
 1600 Arch Street, Suite 300
 Philadelphia, PA 19103                     Counsel for Acting Secretary Al Schmidt




                                           78

                                 Pa.App.0376
     Case:1:22-cv-00339-SPB
     Case  23-3166 Document:  146 Page:
                            Document 300 381    Date Filed:
                                         Filed 05/05/23     01/10/2024
                                                         Page  1 of 129




                UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PENNSYLVANIA STATE CONFERENCE OF
THE NAACP, et al.,

                  Plaintiffs,
                                                 No. 1:22-cv-339
            v.                                   Judge Susan Paradise Baxter

AL SCHMIDT, in his official capacity as Acting
Secretary of the Commonwealth, et al.,

                  Defendants.




                RESPONSE OF AL SCHMIDT TO
       PLAINTIFFS’ LOCAL CIVIL RULE 56(B)(1) STATEMENT




                                        1

                                Pa.App.0377
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 300 382    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  2 of 129




I.     BACKGROUND

       A.      History and Practice of Mail Ballot Voting in Pennsylvania

       1.     Pennsylvania has long provided absentee-ballot options for voters who

 cannot attend a polling place on Election Day. APP_00954 (Marks Dep.); 25 P.S. §

 3146.1–3146.9.

       Response: To the extent this paragraph comprises factual allegations, the

 Acting Secretary is not aware of any facts in the record that contradict the allegations

 of this paragraph and accordingly admits the allegations for purposes of this

 litigation only. To the extent this paragraph sets forth statements or conclusions of

 law, no response is required thereto. By way of further response, a complete copy of

 the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

 Secretary Schmidt as Exhibit B.

       2.     In 2019, Pennsylvania enacted new mail-in voting provisions, which

 allow all registered, eligible voters to vote by mail. APP_00954 (Marks Dep.);

 APP_01180 (Greenburg Report); Act of Oct 31, 2019, P.L. 552, No. 77, § 8.

       Response: To the extent this paragraph comprises factual allegations, the

 Acting Secretary is not aware of any facts in the record that contradict the allegations

 of this paragraph and accordingly admits the allegations for purposes of this

 litigation only. To the extent this paragraph sets forth statements or conclusions of

 law, no response is required thereto. By way of further response, a complete copy of

                                               2

                                     Pa.App.0378
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 300 383    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  3 of 129




the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

      3.     More than 2.6 million Pennsylvanians voted by absentee or mail ballot

in the November 2020 general election, and more than 1.2 million Pennsylvanians

voted by absentee or mail ballot in the November 2022 general election. APP_01181

(Greenburg Report); see also APP_00981-982 (Marks Dep.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

      4.     A voter seeking to vote by mail must complete an application and have

their identity and qualifications verified before receiving a mail ballot. Voters

provide all the information necessary for county boards of elections to verify that

they are qualified to vote in Pennsylvania—namely, that on the day of the next

election, they will have been a U.S. citizen for at least one month, will be at least 18

years old, will have resided in the election district for at least 30 days, and have not

been confined in a penal institution for a conviction of a felony within the last five

years—at the time of registration, at which time the county board of elections first




                                              3

                                    Pa.App.0379
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 300 384    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  4 of 129




determines their eligibility to vote. 25 Pa. C.S. §§ 1301, 1327(b); see also

APP_00893 (Lancaster Dep.); APP_00995-997 (Marks Dep.).

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

      5.     To apply to receive a mail ballot, voters must submit an application that

contains information relevant to their qualifications—including their date of birth,

address, and length of time as a resident of the voting district—as well as proof of

identification (a Pennsylvania driver’s license number or, if the voter does not have

one, the last four digits of the voter’s social security number). APP_01036-1037

(mail ballot application); 25 P.S. §§ 3150.12, 2602(z.5)(3).

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

                                              4

                                    Pa.App.0380
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 300 385    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  5 of 129




       6.    After the application is submitted, county boards of elections verify the

voter’s proof of identification and compare the information in the mail ballot

application to the information provided at the time of registration, using the data

housed in the Statewide Uniform Registry of Electors (“SURE”) system. 25 P.S.§

3150.12b; see also APP_01136 (Pa. Dep’t of State Guidance); APP_00894

(Lancaster Dep.); APP_00916-917 (Westmoreland Dep.); APP_00957-961 (Marks

Dep.); APP_01182 (Greenburg Report); APP_001015, APP_001020-1025

(Greenburg Dep.).

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

      7.     County boards of elections issue mail ballot packages to voters only

after verifying their qualifications to vote, based on the information provided in their

voter registration records and mail ballot applications. 25 P.S. § 3150.12b; see also

APP_00917 (Westmoreland Dep.).




                                              5

                                    Pa.App.0381
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 300 386    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  6 of 129




      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

      8.     The county board’s determination that an individual is qualified to vote

is conclusive unless the voter’s eligibility is challenged prior to Election Day. 25

P.S. §§ 3150.12b, 3146.8(g)(3)-(4); see also APP_01182 (Greenburg Report);

APP_01136 (Pa. Dep’t of State Guidance).

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

      9.     Once the county board verifies the voter’s identity and eligibility, it

sends a mail-ballot package that contains a ballot, a “secrecy envelope” marked with

the words “Official Election Ballot,” and the pre-addressed outer return envelope,

on which a voter declaration form is printed (the “Return Envelope”). 25 P.S. §§

3146.6(a), 3150.16(a); see also APP_00965-966 (Marks Dep.); APP_01182-1183

(Greenburg Report).

                                              6

                                    Pa.App.0382
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 300 387    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  7 of 129




      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

      10.    A voter can mark their ballot, put it inside the secrecy envelope, and

place the secrecy envelope in the Return Envelope, and complete the form

declaration on the return envelope at “any time” between receiving their mail-ballot

package from the county board of elections and 8:00 P.M. on Election Day. 25 P.S.

§§ 3146.6(a), 3150.16(a); see also APP_00977 (Marks Dep.); APP_01183,

APP_01189-1190 (Greenburg Report).

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

                                              7

                                    Pa.App.0383
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 300 388    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  8 of 129




      11.    The voter must then deliver their ballot, in the requisite envelopes, by

mail or in person to their county board of elections. To be considered timely under

the Election Code, a county board of elections must receive a voter’s mail ballot by

8:00 P.M. on Election Day. 25 P.S. §§ 3146.6(c), 3150.16(c); see also APP_00974-

76 (Marks Dep.); APP_01183 (Greenburg Report).

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

      12.    Upon receipt of a mail ballot, county boards of elections stamp or

otherwise mark the Return Envelope with the date of receipt to confirm its timeliness

and log it in the SURE system. APP_01183, APP_01189 (Greenburg Report);

APP_01136-1137 (Pa. Dep’t of State Guidance); APP_00977-978 (Marks Dep.),

70:5– 8; APP_00834 (Berks Dep.).

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

                                              8

                                    Pa.App.0384
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 300 389    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  9 of 129




litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

       B.     Previous Litigation over the Date Requirement

       13.    The Election Code provides that a voter “shall … fill out, date and sign

the declaration printed on” the mail ballot Return Envelope. See 25 P.S. §§

3146.6(a), 3150.16(a). The voter declaration forms that accompany paper mail and

absentee ballots include a line for the voter to sign and date the declaration.1 See,

e.g., APP_01290 (Berks mail ballot envelope); APP_01291 (Bucks military ballot

envelope).

       Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

       14.    This envelope-dating provision has been the subject of repeated

litigation. APP_00824 (Berks Dep.).


       1
          UOCAVA voters have the option to submit their absentee ballots electronically, or they
can return a paper ballot by mail. See APP_00998-00999 (Marks Dep.). This case focuses solely
on the treatment of paper mail and absentee ballots.
                                                   9

                                       Pa.App.0385
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     390 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  10 of 129




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      15.    In the months leading up to the 2022 election, the Secretary of the

Commonwealth advised counties to count otherwise valid and timely-received mail

ballots even where voters omitted a handwritten date, or wrote a plainly wrong date

like a birthdate, on the Return Envelope. APP_01139-1142 (Sept. 26, 2022 Pa. Dep’t

of State Guidance); APP_00824a-824c (Berks Dep.); APP_00869-870 (Lancaster

Dep.); APP_00920-921 (Westmoreland Dep.); APP_00986-989, APP_00991-992

(Marks Dep.).

      Response: Admitted that in 2022, the Acting Secretary issued guidance

consistent with judicial interpretations of state and federal election law. By way of

further response, a complete copy of the deposition transcript of Jonathan Marks is

attached to the Appendix of Acting Secretary Schmidt as Exhibit B.

      16.    The Secretary reaffirmed that guidance after the U.S. Supreme Court

vacated on mootness grounds the Third Circuit’s Migliori v. Cohen decision

regarding the envelope-date rule. APP_01143 (Oct. 11, 2022 Pa. Dep’t of State

email).

      Response: Admitted that in 2022, the Acting Secretary issued guidance

consistent with judicial interpretations of state and federal election law.

                                             10

                                    Pa.App.0386
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     391 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  11 of 129




      17.    On October 16, 2022, a group of petitioners including political party

entities brought a King’s Bench petition in the Supreme Court of Pennsylvania

seeking to invalidate mail ballots based on voter errors or omissions with respect to

the envelope date on the Return Envelope. APP_01202.

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

      18.    On November 1, 2022, the Supreme Court of Pennsylvania issued an

order directing that the mail ballots at issue should be segregated and not counted.

APP_01147-1148.

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

      19.    Following that decision, on November 1, 2022, the Department of

State’s Deputy Secretary for Elections and Commissions, Jonathan Marks, sent an

email to counties advising elections officials of the Supreme Court of Pennsylvania’s

                                              11

                                    Pa.App.0387
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     392 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  12 of 129




order to “refrain from counting any absentee and mail-in ballots received for the

November 8, 2022 general election that are contained in undated or incorrectly dated

outer envelopes,” and to “segregate and preserve any ballots contained in undated

or incorrectly dated outer envelopes.” Deputy Secretary Marks instructed that the

elections officials “must remember to do two things as [they] pre-canvass and

canvass absentee and mail-in ballots: Segregate AND preserve these undated and

incorrectly dated ballots; and Do not count the votes cast on ballots with undated or

incorrectly dated ballots.” APP_01149 (all emphasis in original email).

      Response: Admitted. By way of further answer, the Acting Secretary issued

guidance consistent with judicial interpretations of state and federal election law.

      20.    On November 3, Acting Secretary Chapman issued new guidance,

instructing counties that “ballots which are administratively determined to be

undated or incorrectly dated” should be coded as “CANC – NO SIGNATURE within

the SURE system” (i.e., should be cancelled and not accepted) and “segregated from

other ballots.” APP_01006-1007.

      Response: Admitted. By way of further answer, the Acting Secretary issued

guidance consistent with judicial interpretations of state and federal election law.

      21.    On November 5, 2022, the Supreme Court of Pennsylvania issued a

supplemental order stating that “incorrectly dated outer envelopes” include “(1)

mail- in ballot outer envelopes with dates that fall outside the date range of

                                             12

                                   Pa.App.0388
            Case:1:22-cv-00339-SPB
           Case    23-3166 Document: 146 Page:
                                   Document     393 05/05/23
                                            300 Filed Date Filed: 01/10/2024
                                                               Page  13 of 129




  September 19, 2022 through November 8, 2022; and (2) absentee ballot outer

  envelopes with dates that fall outside the date range of August 30, 2022 through

  November 8, 2022.” APP_01150-1151.

            Response: To the extent this paragraph comprises factual allegations, the

  Acting Secretary is not aware of any facts in the record that contradict the allegations

  of this paragraph and accordingly admits the allegations for purposes of this

  litigation only. To the extent this paragraph sets forth statements or conclusions of

  law, no response is required thereto.

II.      PLAINTIFFS

            22.    Laurence Smith is a Montgomery County voter who sought to vote in

      the November 2022 election. See APP_01047-1051 (Smith Decl.); APP_01392

      (Montgomery voter list).

                  a. Smith is 78 years old. Before his retirement, he worked as an

                     entrepreneur in the medical services industry. APP_01047.

                  b. He has been a registered voter for decades, and he has been voting

                     regularly in Montgomery County since moving there in 1991,

                     including voting by mail since 2020. APP_01047.

                  c. For the November 8, 2022 election, Smith properly requested a

                     mail-in ballot, marked his ballot, and inserted it into the secrecy

                     envelope and then into an outer envelope on which he signed the

                                                 13

                                        Pa.App.0389
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     394 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  14 of 129




               declaration. APP_01048; APP_01392.

            d. The Montgomery County Board of Elections did not count Smith’s

               ballot on the basis of a missing date. APP_01392.

            e. Smith believed he had followed all of the necessary steps to complete

               the declaration, and he was unaware of what the Montgomery County

               Board of Elections concluded was wrong with the date form.

               APP_01048-1049.

            f. Mr. Smith was not notified of any opportunity to cure any defect

               prior to Election Day. APP_01049

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      23.    Joel Bencan is a Montgomery County voter who sought to vote in the

November 2022 election. See APP_01052-1056 (Bencan Decl.); APP_01392

(Montgomery voter list).

                 a. Bencan is 71 years old and is a retired pharmacist. APP_01052.

                 b. He has been a registered voter for decades and has participated

                    regularly in elections since the Nixon Administration. Bencan

                    began voting by mail in 2020 because of the COVID-19




                                            14

                                    Pa.App.0390
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     395 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  15 of 129




                     pandemic and has continued since then to vote by mail.

                     APP_01052.

                 c. For the November 8, 2022 election, Bencan properly requested a

                     mail-in ballot, marked his ballot, and inserted it into the secrecy

                     envelope and then into an outer envelope on which he signed the

                     declaration. APP_01052; APP_01392.

                 d. The Montgomery County Board of Elections did not count

                     Bencan’s ballot on the basis of a missing date. APP_01392.

                 e. Bencan believed he had followed all of the necessary steps to

                     complete the declaration, and he was unaware of why the

                     Montgomery County Board of Elections rejected the date he

                     wrote as “incorrect.” APP_01052- 1053.

                 f. Bencan was not notified of any opportunity to cure any defect

                     prior to Election Day. APP_01053.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      24.    Aynne Pleban Polinski is a York County voter who sought to vote in

the November 2022 election. See APP_01057-1058 (Polinski Decl.); APP_01400

(York voter list).

                                              15

                                    Pa.App.0391
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     396 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  16 of 129




         a. Polinski is 71 years old and is a retired art educator, art therapist,

            and professional artist. APP_01057.

         b. Polinski is a qualified voter who participates regularly in

            elections: she has been a registered voter in York County since

            2016 and a registered voter in the Commonwealth of

            Pennsylvania since she was 18 years old. Polinski has been

            voting by mail since the June 2020 presidential primary because

            of the COVID-19 pandemic. APP_01057.

         c. For the November 8, 2022 election, Polinski properly requested

            a mail- in ballot, marked her ballot, and inserted it into the

            secrecy envelope and then into an outer envelope on which she

            signed the declaration. APP_01057-1058; APP_01400.

         d. The York County Board of Elections has confirmed that it did

            not count Polinski’s ballot on the basis of a missing date.

            APP_01400.

         e. Polinski was not notified of any opportunity to cure any defect

            prior to Election Day and only learned after Election Day that her

            vote was not counted. APP_01058




                                      16

                            Pa.App.0392
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     397 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  17 of 129




       Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

       25.     Marlene Gutierrez is a York County voter who sought to vote in the

November 2022 election. APP_01059-1061 (Gutierrez Decl.); APP_01400 (York

voter list).

                  a. Gutierrez is 64 years old and works as a corporate travel agent.

                     APP_01059.

                  b. She first registered to vote in York County when she was 18

                     years old, and after residing elsewhere for several years, she most

                     recently registered to vote in York County when she moved back

                     in September 2020. She has been regularly voting by mail for at

                     least twenty years. APP_01059.

                 c. For the November 8, 2022 election, Gutierrez properly requested

                     a mail- in ballot, marked her ballot, and inserted it into the

                     secrecy envelope and then into an outer envelope on which she

                     signed the declaration. APP_01059-1060.

                 d. Gutierrez believed she had followed all of the instructions but

                     learned on Election Day that her ballot would not be counted,

                     and she did not have time to cure her ballot. APP_01060.

                                              17

                                    Pa.App.0393
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     398 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  18 of 129




                 e. The York County Board of Elections has confirmed that it did

                       not count Gutierrez’s ballot on the basis of a missing date.

                       APP_01400.

                 f. Gutierrez was not notified of any opportunity to cure any defect

                       prior to Election Day. APP_01060.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      26.    Barry Seastead is a Warren County voter who sought to vote in the

November 2022 election. See APP_01062-1064 (Seastead Decl.); APP_01394

(Warren voter list).

                 a. Seastead is a 68-year-old retired welder. APP_01062.

                 b. He has been a registered voter in Warren County for decades,

                       ever since he was legally eligible to vote. He votes regularly, and

                       has been voting by mail for the past few years. APP_01062.

                 c. For the November 8, 2022 election, Seastead properly requested

                       a mail- in ballot, marked his ballot, and inserted it into the

                       secrecy envelope and then into an outer envelope on which he

                       signed the declaration. APP_01063.




                                                18

                                      Pa.App.0394
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     399 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  19 of 129




                 d. The Warren County Board of Elections has confirmed that it did

                    not count Seastead’s ballot on the basis of an “invalid” date.

                    APP_01394.

                 e. Seastead believed he wrote the date on which he filled out the

                    ballot, and he is unaware of why the Warren County Board of

                    Elections rejected the date he wrote as “incorrect.” APP_01063.

                 f. Mr. Seastead was not notified of any opportunity to cure any

                    defect prior to Election Day. APP_01063; APP_01394.

                 g. Because Warren County did not provide him with any notice of

                    its determination that the date he wrote was incorrect, he had no

                    opportunity to cure any defect regarding the date on his outer

                    return envelope prior to Election Day and only learned after

                    Election Day that his vote was not counted. APP_01063.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      27.    The Pennsylvania State Conference of the NAACP (the “State

Conference”) is a non-profit, non-partisan organization that works to improve the

political, educational, social, and economic status of African-Americans and other

racial and ethnic minorities, to eliminate racial prejudice, and to take lawful action

                                             19

                                    Pa.App.0395
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     400 05/05/23
                                      300 Filed Date Filed: 01/10/2024
                                                         Page  20 of 129




to secure the elimination of racial discrimination, among other objectives.

APP_01065-1081 (State Conf. Decl.).

              a. The State Conference has thousands of members who live and/or

                 work in Pennsylvania, many of whom are registered to vote in

                 Pennsylvania. APP_01065.

              b. Every election cycle, the State Conference engages in efforts to

                 get out the vote, including by educating voters in Pennsylvania

                 on different methods of voting, providing educational guides on

                 local candidates to increase voter engagement, and focusing on

                 strategies to encourage new voters to participate in elections in

                 Pennsylvania. For example, in the 2022 election cycle, the State

                 Conference coordinated Souls to the Polls efforts, solicited poll

                 monitor volunteers, and organized phone- and text- banking to

                 generate voter engagement and remind voters of the importance

                 of the election. APP_01065-1066.

              c. During the 2022 election, the State Conference reassigned

                 volunteers and staff from its existing voter education and

                 mobilization efforts towards contacting and educating voters

                 who had already submitted their mail ballots about how to fix




                                         20

                                Pa.App.0396
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     401 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  21 of 129




            problems with the mail ballot envelope date and avoid having

            their vote set aside. APP_01066-1067.

         d. For example, the time and attention of the State Conference’s

            Philadelphia branch field director, as well as volunteers

            (including approximately 17 volunteer law students from

            Howard University) were all diverted from their intended

            mission—conducting election protection at the polls on Election

            Day in Philadelphia—toward coordinating and manning the

            phone lines in order to contact and/or assist mail ballot voters

            affected by the envelope-date rule. APP_01067-1068.

         e. In the days leading up to the election in November 2022, multiple

            local branches of the State Conference also created and shared

            social media posts alerting the public, and especially those who

            had already submitted mail ballots, that “thousands of voters”

            had “accidentally left off or wrote the incorrect date on the

            outside of their absentee/mail-in ballots,” and that “those ballots

            CAN be cured, and the votes counted” if the affected voters took

            urgent action. APP_01078-1081. The time and attention of each

            of these branches that was spent on those efforts in the last few

            days before the election would otherwise have been used to

                                     21

                           Pa.App.0397
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     402 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  22 of 129




                    engage and educate people who had not already voted.

                    APP_01068-1069.

                 f. The State Conference anticipates that, in future elections, it will

                    similarly need to divert its staff and volunteer resources from

                    their intended mission—engaging, educating, and mobilizing

                    new voters— toward addressing the risk that voters who have

                    already submitted their mail ballots may have their ballot set

                    aside due to an error or omission of the handwritten date on the

                    mail ballot return envelope. APP_01069.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      28.    The League of Women Voters of Pennsylvania (“the League”) is a non-

partisan statewide non-profit formed in 1920. APP_01082-1106.

                 a. The League encourages informed and active participation in

                    government, works to increase understanding of major public

                    policy issues, and seeks to influence public policy through

                    education and advocacy. APP_01082.

                 b. The League is a predominantly volunteer organization and has




                                             22

                                    Pa.App.0398
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     403 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  23 of 129




         c. 31 member chapters and one Inter-League Organization

            operating in 29 counties around the Commonwealth. LWVPA

            has more than 2,500 individual members, many of whom who

            are registered voters and regularly vote in state and federal

            elections using, among other methods, absentee and mail ballots.

            APP_01082.

         d. During every election cycle, the League conducts voter-

            registration drives, staffs nonpartisan voter-registration tables,

            educates incarcerated and formerly incarcerated individuals

            about their voting rights, and works with local high schools and

            universities to register young voters. The League maintains voter

            information resources on its website in English and Spanish.

            APP_01082-1083.

         e. During the November 2022 election, the League reassigned its

            members’ and volunteers’ time and efforts from these core

            activities towards contacting and educating voters who had

            already submitted their mail ballots about how to fix problems

            with the mail ballot envelope date and avoid having their ballot

            set aside. APP_01083.




                                     23

                           Pa.App.0399
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     404 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  24 of 129




         f. Three staff members and approximately 30 volunteers spent time

            scouring publicly available lists of affected voters and contacting

            hundreds of Pennsylvania voters to provide them with

            information to help them cure their ballot or vote provisionally.

            In particular, the Lower Merion & Narberth league directly

            emailed more than 250 members with explicit instructions on

            how to vote if their mail ballots were cancelled. APP_01083-

            1087.

         g. The League (and many of its local leagues) shared information

            on social media channels and the League’s websites to alert

            voters of the risk that their vote would not be counted and instruct

            voters about how to correct their mail ballot envelopes. The

            League also attended county board of elections meetings,

            especially in Montgomery, Allegheny, and Lancaster Counties,

            to advocate for notice and cure opportunities for voters whose

            ballots were set aside due to an error or omission of the

            handwritten date on the mail ballot return envelope. APP_01084-

            1087.

         h. The Lower Merion and Narberth League also worked in coalition

            with civic and community groups to spread the word about

                                     24

                            Pa.App.0400
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     405 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  25 of 129




                    correcting errors on mail ballot envelopes and participated in an

                    event with the Bethel AME Church in Ardmore to help

                    congregants check their mail ballot status and instruct them on

                    how to correct paperwork errors. APP_01086-1087.

                 i. The League anticipates that, in future elections, it will similarly

                    need to divert staff, member and volunteer resources from their

                    core activities toward addressing the risk that voters who have

                    already submitted their mail ballots may have their ballot set

                    aside due to an error or omission of the handwritten date on the

                    mail ballot return envelope. For example, in advance of the 2023

                    municipal primary, the League has developed a webinar

                    featuring mail voting and how to apply and correctly submit a

                    mail ballot. Similarly, its social media posts, website content and

                    public statements will need to focus on helping voters avoid

                    disenfranchisement for errors on mail ballot envelopes.

                    APP_01087-1088.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.




                                             25

                                    Pa.App.0401
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     406 05/05/23
                                      300 Filed Date Filed: 01/10/2024
                                                         Page  26 of 129




      29.   Philadelphians Organized to Witness, Empower and Rebuild

(“POWER”) is a Pennsylvania non-profit organization of more than 100

congregations of various faith traditions, cultures and neighborhoods committed to

civic engagement and organizing communities so that the voices of all faiths, races

and income levels are counted and have a say in government. APP_01107-1110

(POWER Decl.).

               a. POWER’s civic engagement efforts include civic engagement

                   efforts include voter education programs, voter registration

                   drives, and “Souls to the Polls” efforts to encourage congregants

                   to vote. In the weeks leading up to the November 2022 election,

                   POWER launched a bus tour focused on engaging voters who

                   were not already participating in the political process.

                   APP_01107-1108.

               b. During the 2022 election, POWER reassigned volunteers and

                   staff from its existing voter education and mobilization efforts

                   towards contacting and educating voters who had already

                   submitted their mail ballots about how to fix problems with the

                   mail ballot envelope date and avoid having their vote set aside.

                   APP_01108-1109.




                                           26

                                  Pa.App.0402
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     407 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  27 of 129




         c. For example, when Philadelphia published a list of over 3,000

            voters who were at risk of having their November 2022 general

            election ballots thrown out over technical errors, including a

            missing or incorrect date on the return envelope, POWER’s

            members and volunteers made more than 1,200 manual calls and

            sent more than 2,900 texts to the voters whose names appeared

            on Philadelphia’s at-risk list to provide them with information to

            help them cure their ballot or vote provisionally. POWER also

            stationed volunteers at City Hall to ensure voters returning their

            mail ballots to that location had correctly dated their return

            envelopes. APP_01108-1109.

         d. The time and attention that POWER devoted to ensuring voters

            who had already submitted their mail ballots would have their

            votes counted would otherwise have been used to engage and

            educate people who had not already attempted to vote.

            APP_01109.

         e. POWER anticipates that, in future elections, it will similarly

            need to divert its member and volunteer resources from their

            intended mission—engaging, educating, and mobilizing new

            voters—toward addressing the risk that voters who have already

                                     27

                           Pa.App.0403
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     408 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  28 of 129




                    submitted their mail ballots may have their ballot set aside due to

                    an error or omission of the handwritten date on the mail ballot

                    return envelope. APP_01109.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      30.    Common Cause Pennsylvania (“Common Cause PA”) is a non-profit,

non-partisan organization, and a chapter of the national Common Cause

organization. APP_01111-1124 (Common Cause PA Decl.).

                 a. Common Cause PA is a non-partisan good government

                    organization with approximately 36,000 members and

                    supporters who live in all 67 counties of Pennsylvania. One of

                    Common Cause PA’s core functions is to increase the level of

                    voter registration and voter participation in Pennsylvania

                    elections, especially in communities that are historically

                    underserved and whose populations have a low propensity for

                    voting. APP_01111.

                 b. In preparation for every election cycle, and most significantly

                    in even- year elections, Common Cause PA leads the Election

                    Protection Coalition field program which recruits and trains

                                             28

                                    Pa.App.0404
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     409 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  29 of 129




            volunteers to visit polling places and assist voters. As part of its

            Election Protection Coalition work, Common Cause PA

            disseminates    accurate     information    about     voting    and

            instructions for navigating the voting process on its website, on

            social media, and through outreach to traditional media.

            APP_01112.

         c. During the 2022 election, Common Cause PA reassigned its

            volunteers’ time and efforts from Common Cause PA’s existing

            efforts toward contacting and educating voters who had already

            submitted their mail ballots about how to fix problems with the

            mail ballot envelope date and avoid having their vote set aside.

            APP_01113.

         d. When defendants announced that they would segregate and not

            count ballots with an incorrect or missing date, Common Cause

            PA ensured that accurate information was available for voters.

            Additionally, Common Cause PA organized a press briefing

            with Make the Road PA, All Voting is Local PA and

            Pennsylvania Voice to remind voters to date their mail ballot

            envelopes and to alert them that their ballot would not count if

            the date was missing. Common Cause PA issued the press

                                       29

                            Pa.App.0405
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     410 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  30 of 129




            advisory, held the press briefing and issued a press statement

            within the span of 24 hours, with the goal of alerting as many

            voters as possible as quickly as possible. APP_01113-1114.

         e. To protect voters from having their ballot set aside due to an error

            or omission of the handwritten date on their mail ballot return

            envelope, Common Cause PA also created and sent an email to

            all of its members and supporters immediately after the

            November 2022 election advising them that, if they cast a

            provisional ballot, to check and make sure the ballot was

            counted. APP_01114.

         f. Common Cause PA anticipates that, in future elections, it will

            continue to divert its volunteer resources from its intended

            mission—educating and mobilizing voters—toward addressing

            the risk that voters who have already submitted their mail ballots

            may have their ballot set aside due to an error or omission of the

            handwritten date on the mail ballot return envelope. For example,

            in advance of the 2023 municipal primary, Common Cause PA

            is developing a new webinar on mail voting, specifically

            focusing on the impact of the enforcement of the date

            requirement. This webinar is part of a series, but it diverts

                                      30

                            Pa.App.0406
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     411 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  31 of 129




                    resources away from providing other important voter education

                    information. APP_01114-1115

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      31.    Black Political Empowerment Project (“B-PEP”) is a non-profit, non-

partisan organization that has worked since 1986 to ensure that the Pittsburgh

African-American community votes in every election. APP_01125.

                 a. B-PEP has numerous supporters, of various ages and races,

                    throughout the Pittsburgh Region, working with numerous

                    community organizations to empower Black and brown

                    communities. APP_01125.

                 b. During every election cycle, B-PEP’s work includes voter

                    registration drives, get-out-the-vote activities, education and

                    outreach about the voting process, and election-protection work.

                    B-PEP focuses these activities in predominantly Black

                    neighborhoods in Allegheny County, with some efforts in

                    Westmoreland and Washington Counties. For the November

                    2022 election, B-PEP conducted outreach to members and




                                            31

                                    Pa.App.0407
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     412 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  32 of 129




            constituent communities about the importance of voting in

            person or by mail. APP_01125-1126.

         c. When it was announced that county boards of elections would

            not count timely-submitted mail ballots based solely on missing

            or supposedly incorrect dates on return envelopes, many B-PEP

            members and others served by its mission had already submitted

            mail ballots. This abrupt change in voting rules just before

            Election Day caused B-PEP to redirect its limited resources,

            including staff and volunteer time, to efforts to inform voters of

            this change and educate them as to how to avoid

            disenfranchisement. APP_01126.

         d. Specifically, in the days leading up to the election in November

            2022, B-PEP’s staff and volunteers also expended time and

            money developing, printing and distributing hundreds of flyers

            and other educational materials to dozens of churches for the

            purpose of informing prospective voters of the envelope dating

            issues   generated   by    the   Ball   decision.   APP_01126,

            APP_01129-1131.

         e. B-PEP staff and volunteers also spent valuable time in

            discussion with county election directors seeking clarity and

                                      32

                           Pa.App.0408
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     413 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  33 of 129




                    guidance about their handling of mail ballots, and then working

                    with other voting rights and community organizations to

                    maximize voters’ understanding of the county election boards’

                    procedures. APP_01126.

                 f. B-PEP’s time and resources dedicated by B-PEP staff and

                    volunteers would otherwise have been available for the

                    organization’s other “get out the vote” efforts and other

                    initiatives serving BPEP’s mission, including its Greater

                    Pittsburgh Coalition Against Violence. APP_01126-1127.

                 g. B-PEP anticipates that, in future elections, it will similarly need

                    to divert its staff and volunteer resources from voter

                    engagement and community initiatives toward preventing the

                    disenfranchisement of voters who have already submitted their

                    ballots. APP_01127.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      32.    Make the Road Pennsylvania (“Make the Road PA”) is a not-for-profit,

member-led organization formed in 2014 that builds the power of the working class




                                              33

                                    Pa.App.0409
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     414 05/05/23
                                      300 Filed Date Filed: 01/10/2024
                                                         Page  34 of 129




in Latino and other communities to achieve dignity and justice through organizing,

policy innovation, and education services. APP_01132.

               a. Make the Road PA’s more than 10,000 members are primarily

                  working-class residents of Pennsylvania, many in underserved

                  communities. Many members of Make the Road PA are

                  registered voters in Pennsylvania. APP_01132.

               b. Make the Road PA’s work includes substantial field work

                  aimed at voter protection, voter advocacy and voter education

                  on, for example, how to register to vote, how to apply for mail-

                  in/absentee ballots, how to return mail-in/absentee ballots, and

                  where to vote. Its get-out-the-vote efforts in the 2022 General

                  Election alone included knocking on over 300,000 doors and

                  speaking directly with over 29,000 people in Berks, Bucks,

                  Lehigh, Northampton and Philadelphia Counties. APP_01132-

                  1133.

               c. When defendants announced that they would not count timely-

                  submitted mail ballots based solely on missing or supposedly

                  incorrect dates on return envelopes, many Make the Road PA

                  members and others served by its mission had already submitted

                  mail ballots. This abrupt change in voting rules just before

                                          34

                                 Pa.App.0410
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     415 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  35 of 129




            Election Day caused Make the Road PA to redirect its limited

            resources, including staff and volunteer time, to efforts to

            inform voters of this change and educate them as to how to

            avoid disenfranchisement. Moreover, because Make the Road’s

            efforts are focused on communities where many voters are not

            native English speakers, the risk that some voters may make a

            minor paperwork mistake in filling out various forms related to

            mail or absentee ballot voting is heightened. Accordingly, Make

            the Road PA’s staff and volunteers directed time and resources

            in the critical time before Election Day to contacting county

            election officials to determine how, if at all, they would inform

            non- English speakers of any problems with the dating of their

            mail ballot envelopes. APP_01133.

         d. Make the Road PA’s staff and volunteers conducted extensive

            phone and text message outreach, on an emergency basis, to its

            members informing prospective voters of the envelope dating

            issues generated. APP_01133. Make the Road PA contacted

            thousands of Pennsylvania voters to provide them with

            information to help them cure their ballot or vote provisionally

            to prevent the counties’ actions from disenfranchising them.

                                     35

                           Pa.App.0411
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     416 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  36 of 129




                    Make the Road PA’s staff and volunteers also spent valuable

                    time in discussion with county election directors seeking clarity

                    and guidance about their handling of mail ballots. But for

                    application of the rule at issue in this case, such time and

                    resources dedicated by Make the Road PA staff and volunteers

                    would have been available for the organization’s other “get out

                    the vote” efforts and other initiatives serving Make the Road

                    PA’s mission, including its Immigrant Rights, Education

                    Justice, Housing Justice, Climate Justice and Worker Rights

                    initiative. APP_01134.

                 e. Make the Road PA anticipates that, in future elections, it will

                    similarly need to divert its staff and volunteer resources from

                    voter engagement and community initiatives toward preventing

                    the disenfranchisement of voters who have already submitted

                    their ballots. APP_01134.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.




                                             36

                                    Pa.App.0412
             Case:1:22-cv-00339-SPB
            Case    23-3166 Document: 146 Page:
                                    Document     417 05/05/23
                                             300 Filed Date Filed: 01/10/2024
                                                                Page  37 of 129




III.     THE 2022 ELECTION

             33.   The November 2022 general election involved elections for the U.S.

       Senate, U.S. House of Representatives, Pennsylvania Governor, and Pennsylvania

       House and Senate offices. APP_01194.

             Response: Admitted.

            34.    For the November 2022 election, different counties sent out their mail-

   ballot packages at different times:

                      a. Adams County began sending mail ballot packages to voters on

                         September 28, 2022. APP_00005 (Adams Interrog. Resp.).

                      b. Allegheny County began sending mail ballot packages to voters

                         on September 30, 2022. APP_00027 (Allegheny Interrog.

                         Resp.).

                      c. Armstrong County began sending mail ballot packages to

                         voters on October 10, 2022. APP_00041 (Armstrong Interrog.

                         Resp.).

                      d. Beaver County began sending mail ballot packages to voters on

                         September 26, 2022. APP_00062 (Beaver Interrog. Resp.).

                      e. Berks County began sending mail ballot packages to voters on

                         October 7, 2022. APP_00078 (Berks Interrog. Resp.).

                      f. Blair County began sending mail ballot packages to voters on

                                                  37

                                         Pa.App.0413
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     418 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  38 of 129




            October 14, 2022. APP_00097 (Blair Interrog. Resp.).

         g. Bradford County began sending mail ballot packages to voters

            on September 27th, 2022. APP_00108 (Bradford Interrog.

            Resp.).

         h. Bucks County began sending mail ballot packages to voters on

            October 5, 2022 and military/overseas ballots on September 22,

            2022. APP_00117 (Bucks Interrog. Resp.).

         i. Butler County began sending mail ballot packages to voters on

            October 12, 2022. APP_00131 (Butler Interrog. Resp.).

         j. Cambria County began sending mail ballot packages to voters

            on October 6, 2022. APP_00140 (Cambria Interrog. Resp.).

         k. Cameron County began sending mail ballot packages to voters

            on October 12, 2022. APP_00150 (Cameron Interrog. Resp.).

         l. Chester County began sending mail ballot packages to voters

            on October 10, 2022. APP_00169 (Chester Interrog. Resp.).

         m. Clarion County began sending mail ballot packages to voters

            on October 4, 2022. APP_00185 (Clarion Interrog. Resp.).

         n. Clearfield County began sending mail ballot packages to voters

            on October 3, 2022. APP_00294 (Clearfield Interrog. Resp.).

         o. Clinton County began sending mail ballot packages to voters

                                    38

                           Pa.App.0414
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     419 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  39 of 129




            on September 30, 2022. APP_00216 (Clinton Interrog. Resp.).

         p. Crawford County began sending mail ballot packages to voters

            on September 26, 2022. APP_00233 (Crawford Interrog.

            Resp.).

         q. Cumberland County began sending mail ballot packages to

            voters on October 3, 2022. APP_00252 (Cumberland Interrog.

            Resp.).

         r. Delaware County began sending mail ballot packages to voters

            on October 8, 2022. APP_00267 (Delaware Interrog. Resp.).

         s. Elk County began sending mail ballot packages to voters on

            September 16, 2022. APP_00279 (Elk Interrog. Resp.).

         t. Erie County began sending mail ballot packages to voters on

            October 6, 2022. APP_00292 (Erie Interrog. Resp.).

         u. Fayette County began sending mail ballot packages to voters on

            October 11, 2022. APP_00309 (Fayette Interrog. Resp.).

         v. Forest County began sending mail ballot packages to voters on

            October 6, 2022. APP_00321 (Forest Interrog. Resp.).

         w. Franklin County began sending mail ballot packages to voters

            on October 3, 2022. APP_00336 (Franklin Interrog. Resp.).

         x. Fulton County began sending mail ballot packages to voters on

                                    39

                           Pa.App.0415
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     420 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  40 of 129




            October 21, 2022. APP_00347 (Fulton Interrog. Resp.).

         y. Greene County began sending mail ballot packages to voters on

            September 30, 2022. APP_00355 (Greene Interrog. Resp.).

         z. Juniata County began sending mail ballot packages to voters on

            September 27, 2022. APP_00363 (Juniata Interrog. Resp.).

         aa. Lackawanna County began sending mail ballot packages to

            voters on October 3, 2022. APP_00373 (Lackawanna Interrog.

            Resp.).

         bb. Lancaster County began sending mail ballot packages to voters

            on September 26, 2022. APP_00389 (Lancaster Interrog.

            Resp.).

         cc. Lehigh County began sending mail ballot packages to voters

            on September 23, 2022. APP_00401 (Lehigh Interrog. Resp.).

         dd. Luzerne County began sending mail ballot packages to voters

            on October 13, 2022. APP_00417 (Luzerne Interrog. Resp.).

         ee. Lycoming County began sending mail ballot packages to

            voters on September 22, 2022. APP_00439 (Lycoming

            Interrog. Resp.).

         ff. McKean County began sending mail ballot packages to voters

            on September 30, 2022. APP_00453 (McKean Interrog. Resp.).

                                    40

                           Pa.App.0416
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     421 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  41 of 129




         gg. Mercer County began sending mail ballot packages to voters

            on October 7, 2022. APP_00461 (Mercer Interrog. Resp.).

         hh. Mifflin County began sending mail ballot packages to voters

            on October 10, 2022. APP_00468 (Mifflin Interrog. Resp.).

         ii. Montgomery County began sending mail ballot packages to

            voters on October 6, 2022. APP_00481 (Montgomery Interrog.

            Resp.).

         jj. Northampton County began sending mail ballot packages to

            voters on October 3, 2022. APP_00495 (Northampton Interrog.

            Resp.).

         kk. Perry County began sending mail ballot packages to voters on

            October 3, 2022. APP_00511 (Perry Interrog. Resp.).

         ll. Philadelphia County began sending mail ballot packages to

            voters on October 10, 2022. APP_00530 (Philadelphia Interrog.

            Resp.).

         mm.      Pike County began sending mail ballot packages to

            voters on October 3, 2022. APP_00541 (Pike Interrog. Resp.).

         nn. Potter County began sending mail ballot packages to voters on

            September 26, 2022. APP_00575 (Potter Interrog. Resp.).

         oo. Schuylkill County began sending mail ballot packages to

                                    41

                           Pa.App.0417
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     422 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  42 of 129




            voters on October 13, 2022. APP_00587 (Schuylkill Interrog.

            Resp.).

         pp. Somerset County began sending mail ballot packages to voters

            on October 5, 2022. APP_00599 (Somerset Interrog. Resp.).

         qq. Sullivan County began sending mail ballot packages to voters

            on October 4, 2022. APP_00609 (Sullivan Interrog. Resp.).

         rr. Susquehanna County began sending mail ballot packages to

            voters on October 19, 2022. APP_00619 (Susquehanna

            Interrog. Resp.).

         ss. Tioga County began sending mail ballot packages to voters on

            September 21, 2022. APP_00629 (Tioga Interrog. Resp.).

         tt. Union County began sending mail ballot packages to voters on

            September 23, 2022. APP_00635 (Union Interrog. Resp.).

         uu. Warren County began sending mail ballot packages to voters

            on October 5, 2022. APP_00646 (Warren Interrog. Resp.).

         vv. Washington County began sending military overseas ballots on

            September 23, 2022 and mail ballot packages to voters on

            October 4, 2022. APP_00667 (Washington Interrog. Resp.).

         ww.      Wayne County began sending mail ballot packages to

            voters on August 23, 2022. APP_00691 (Wayne Interrog.

                                   42

                           Pa.App.0418
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     423 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  43 of 129




            Resp.).

         xx. Westmoreland County began sending mail ballot packages to

            voters on October 5, 2022. APP_00706 (Westmoreland

            Interrog. Resp.).

         yy. Wyoming County began sending mail ballot packages to voters

            on September 19, 2022. APP_00714. (Wyoming Interrog.

            Resp.).

         zz. Bedford County began sending mail ballot packages to voters

            on October 7, 2022. APP_00732 (Bedford Interrog. Resp.).

         aaa.     Carbon County began sending mail ballot packages to

            voters on September 27, 2022. APP_00733 (Carbon Interrog.

            Resp.).

         bbb.     Centre County began sending mail ballot packages to

            voters on September 27, 2022. APP_00733 (Centre Interrog.

            Resp.).

         ccc.     Columbia County began sending mail ballot packages to

            voters on September 27, 2022. APP_00733 (Columbia Interrog.

            Resp.).

         ddd.     Dauphin County began sending mail ballot packages to

            voters on September 2, 2022. APP_00733 (Dauphin Interrog.

                                   43

                           Pa.App.0419
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     424 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  44 of 129




            Resp.).

         eee.     Jefferson County began sending mail ballot packages to

            voters on September 12, 2022. APP_00733 (Jefferson Interrog.

            Resp.).

         fff. Huntington County began sending mail ballot packages to

            voters on October 4, 2022. APP_00733 (Huntingdon Interrog.

            Resp.).

         ggg.     Indiana County began sending mail ballot packages to

            voters on October 3, 2022. APP_00733 (Indiana Interrog.

            Resp.).

         hhh.     Lawrence County began sending mail ballot packages to

            voters on September 26, 2022. APP_00733 (Lawrence Interrog.

            Resp.).

         iii. Lebanon County began sending mail ballot packages to voters

            on October 7, 2022. APP_00733 (Lebanon Interrog. Resp.).

         jjj. Monroe County began sending mail ballot packages to voters

            on October 7, 2022. APP_00733 (Monroe Interrog. Resp.).

         kkk.     Montour County began sending mail ballot packages to

            voters on September 23, 2022. APP_00733 (Montour Interrog.

            Resp.).

                                   44

                          Pa.App.0420
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     425 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  45 of 129




                 lll. Northumberland County began sending mail ballot packages to

                    voters on September 21, 2022. APP_00733 (Northumberland

                    Interrog. Resp.).

                 mmm.      Snyder County began sending mail ballot packages to

                    voters on September 23, 2022. APP_00733 (Snyder Interrog.

                    Resp.).

                 nnn.      Venango County began sending mail ballot packages to

                    voters on September 27, 2022. APP_00733 (Venango Interrog.

                    Resp.).

                 ooo.      York County began sending mail ballot packages to

                    voters on September 28, 2022. APP_00733 (York Interrog.

                    Resp.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      35.    The county boards of elections reported receiving 1,238,522 mail and

absentee ballots in the November 2022 election. APP_00005 (Adams Interrog.

Resp.); APP_00035 (Allegheny Interrog. Resp.); APP_00040 (Armstrong Interrog.

Resp.); APP_00060 (Beaver Interrog. Resp.); APP_00077 (Berks Interrog. Resp.);

APP_00096 (Blair Interrog. Resp.); APP_00107 (Bradford Interrog. Resp.);

                                            45

                                    Pa.App.0421
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     426 05/05/23
                                      300 Filed Date Filed: 01/10/2024
                                                         Page  46 of 129




APP_00116 (Bucks Interrog. Resp.); APP_00130 (Butler Interrog. Resp.);

APP_00140 (Cambria Interrog. Resp.); APP_00149 (Cameron Interrog. Resp.);

APP_00168 (Chester Interrog. Resp.); APP_00185 (Clarion Interrog. Resp.);

APP_00209 (Clearfield Interrog. Resp.); APP_00215 (Clinton Interrog. Resp.);

APP_00232 (Crawford Interrog. Resp.); APP_00251 (Cumberland Interrog. Resp.);

APP_00266 (Delaware Interrog. Resp.); APP_00278 (Elk Interrog. Resp.);

APP_00291 (Erie Interrog. Resp.); APP_00308 (Fayette Interrog. Resp.);

APP_00320 (Forest Interrog. Resp.); APP_00335 (Franklin Interrog. Resp.);

APP_00347 (Fulton Interrog. Resp.); APP_00354 (Greene Interrog. Resp.);

APP_00363 (Juniata Interrog. Resp.); APP_00371 (Lackawanna Interrog. Resp.);

APP_00388 (Lancaster Interrog. Resp.); APP_00400 (Lehigh Interrog. Resp.);

APP_00416 (Luzerne Interrog. Resp.); APP_00438 (Lycoming Interrog. Resp.);

APP_00452 (McKean Interrog. Resp.); APP_00461 (Mercer Interrog. Resp.);

APP_00468 (Mifflin Interrog. Resp.); APP_00481 (Montgomery Interrog. Resp.);

APP_00494 (Northampton Interrog. Resp.); APP_00510 (Perry Interrog. Resp.);

APP_00529 (Philadelphia Interrog. Resp.); APP_00541 (Pike Interrog. Resp.);

APP_00573 (Potter Interrog. Resp.); APP_00587 (Schuylkill Interrog. Resp.);

APP_00598 (Somerset Interrog. Resp.); APP_00609 (Sullivan Interrog. Resp.);

APP_00619 (Susquehanna Interrog. Resp.); APP_00629 (Tioga Interrog. Resp.);

APP_00634 (Union Interrog. Resp.); APP_00645 (Warren Interrog. Resp.);

                                        46

                               Pa.App.0422
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     427 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  47 of 129




APP_00666 (Washington Interrog. Resp.); APP_00690 (Wayne Interrog. Resp.);

APP_00705 (Westmoreland Interrog. Resp.); APP_00714 (Wyoming Interrog.

Resp.); APP_00729-30 (Babst Calland2 Interrog. Resp.).

       Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

       36.    In the November 2022 general election, the county boards of elections

segregated at least 10,506 mail ballots solely based on missing or incorrect dates on

their outer return envelopes:

                  a. Adams County segregated 4 ballots with undated return

                      envelopes and 0 ballots with misdated envelopes. APP_00005-

                      6 (Adams Interrog. Resp.).

                  b. Allegheny County segregated 1,009 ballots with undated or

                      misdated     return    envelopes.     APP_00026-27         (Allegheny

                      Interrog. Resp.).

                  c. Armstrong County segregated 15 ballots with undated or

                      misdated return envelopes. APP_00040 (Armstrong Interrog.




       2
          Cites to the “Babst Calland” Responses to Requests for Admissions and Interrogatories
refer to the collective responses filed by the Bedford, Carbon, Centre, Columbia, Dauphin,
Huntingdon, Indiana, Jefferson, Lawrence, Lebanon, Monroe, Montour, Northumberland,
Snyder, Venango, and York County Boards of Elections. See generally APP_00723-775.
                                                  47

                                       Pa.App.0423
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     428 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  48 of 129




            Resp.).

         d. Beaver County segregated 182 ballots with undated or misdated

            return envelopes. APP_00060 (Beaver Interrog. Resp.).

         e. Berks County segregated 782 ballots with undated or misdated

            return envelopes. APP_00078 (Berks Interrog. Resp.).

         f. Blair County segregated 55 ballots with undated or misdated

            return envelopes. APP_00096 (Blair Interrog. Resp.).

         g. Bradford County segregated 22 ballots with undated return

            envelopes and 1 ballot with misdated envelopes. APP_00107-

            108 (Bradford Interrog. Resp.).

         h. Bucks County segregated 357 ballots with undated or misdated

            return envelopes. APP_00116 (Bucks Interrog. Resp.).

         i. Butler County segregated 66 ballots with undated or misdated

            return envelopes. APP_00130 (Butler Interrog. Resp.).

         j. Cambria County segregated 38 ballots with undated or

            misdated return envelopes. APP_00140 (Cambria Interrog.

            Resp.).

         k. Cameron County segregated 5 ballots with undated return

            envelopes and 0 ballots with misdated envelopes. APP_00150

            (Cameron Interrog. Resp.).

                                    48

                           Pa.App.0424
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     429 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  49 of 129




         l. Chester County segregated 67 ballots with undated return

            envelopes and 68 ballots with misdated envelopes. APP_00168

            (Chester Interrog. Resp.).

         m. Clarion County segregated 9 ballots with undated return

            envelopes and 3 ballots with misdated envelopes. APP_00185

            (Clarion Interrog. Resp.).

         n. Clearfield County segregated 12 ballots with undated or

            misdated return envelopes. APP_00204 (Clearfield Interrog.

            Resp.).

         o. Clinton County segregated 20 ballots with undated or misdated

            return envelopes. APP_00216 (Clinton Interrog. Resp.).

         p. Crawford County segregated 51 ballots with undated or

            misdated return envelopes. APP_00233 (Crawford Interrog.

            Resp.).

         q. Cumberland County segregated 100 ballots with undated or

            misdated return envelopes. APP_00252 (Cumberland Interrog.

            Resp.).

         r. Delaware County segregated 49 ballots with undated return

            envelopes and 65 ballots with misdated envelopes. APP_00267

            (Delaware Interrog. Resp.).

                                     49

                           Pa.App.0425
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     430 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  50 of 129




         s. Elk County segregated 10 ballots with undated or misdated

            return envelopes. APP_00278 (Elk Interrog. Resp.).

         t. Erie County segregated 168 ballots with undated return

            envelopes and 51 ballots with misdated envelopes. APP_00292

            (Erie Interrog. Resp.).

         u. Fayette County segregated 137 ballots with undated or

            misdated return envelopes. APP_00309 (Fayette Interrog.

            Resp.).

         v. Forest County segregated 38 ballots with undated or misdated

            return envelopes. APP_00320 (Forest Interrog. Resp.).

         w. Franklin County segregated 114 ballots with undated or

            misdated return envelopes. APP_00336 (Franklin Interrog.

            Resp.).

         x. Fulton County segregated 5 ballots with undated or misdated

            return envelopes. APP_00347 (Fulton Interrog. Resp.).

         y. Greene County segregated 11 ballots with undated or misdated

            return envelopes. APP_00354 (Greene Interrog. Resp.).

         z. Juniata County segregated 5 ballots with undated or misdated

            return envelopes. APP_00363 (Juniata Interrog. Resp.).




                                      50

                           Pa.App.0426
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     431 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  51 of 129




         aa. Lackawanna County segregated 160 ballots with undated or

            misdated return envelopes. APP_00372 (Lackawanna Interrog.

            Resp.).

         bb. Lancaster County segregated 232 ballots with undated or

            misdated return envelopes. APP_00388 (Lancaster Interrog.

            Resp.).

         cc. Lehigh County segregated 176 ballots with undated return

            envelopes and 237 ballots with misdated envelopes. APP_00400

            (Lehigh Interrog. Resp.).

         dd. Luzerne County segregated 166 ballots with undated or misdated

            return envelopes. APP_00416 (Luzerne Interrog. Resp.).

         ee. Lycoming County segregated 36 ballots with undated or

            misdated return envelopes. APP_00438 (Lycoming Interrog.

            Resp.).

         ff. McKean County segregated 35 ballots with undated or misdated

            return envelopes. APP_00453 (McKean Interrog. Resp.).

         gg. Mercer County segregated 63 ballots with undated or misdated

            return envelopes. APP_00461 (Mercer Interrog. Resp.).

         hh. Mifflin County segregated 10 ballots with undated or misdated

            return envelopes. APP_00468 (Mifflin Interrog. Resp.).

                                    51

                           Pa.App.0427
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     432 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  52 of 129




         ii. Montgomery County segregated 460 ballots with undated or

            misdated return envelopes. APP_00481 (Montgomery Interrog.

            Resp.).

         jj. Northampton County segregated 230 ballots with undated return

            envelopes and 50 ballots with misdated envelopes. APP_00495

            (Northampton Interrog. Resp.).

         kk. Perry County segregated 27 ballots with undated return

            envelopes and 8 ballots with misdated envelopes. APP_00511

            (Perry Interrog. Resp.).

         ll. Philadelphia County segregated 2,617 ballots with undated or

            misdated return envelopes. APP_00529 (Philadelphia Interrog.

            Resp.).

         mm.      Pike County segregated 55 ballots with undated or

            misdated return envelopes. APP_00541 (Pike Interrog. Resp.).

         nn. Potter County segregated 14 ballots with undated return

            envelopes and 0 ballots with misdated envelopes. APP_00574

            (Potter Interrog. Resp.).

         oo. Schuylkill County segregated 59 ballots with undated or

            misdated return envelopes. APP_00587 (Schuylkill Interrog.

            Resp.).

                                        52

                           Pa.App.0428
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     433 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  53 of 129




         pp. Somerset County segregated 63 ballots with undated or misdated

            return envelopes. APP_00598 (Somerset Interrog. Resp.).

         qq. Sullivan County segregated 4 ballots with undated or misdated

            return envelopes. APP_00609 (Sullivan Interrog. Resp.).

         rr. Susquehanna County segregated 0 ballots with undated or

            misdated return envelopes. APP_00619 (Susquehanna Interrog.

            Resp.).

         ss. Tioga County segregated 4 ballots with undated or misdated

            return envelopes. APP_00629 (Tioga Interrog. Resp.).

         tt. Union County segregated 23 ballots with undated or misdated

            return envelopes. APP_00634 (Union Interrog. Resp.).

         uu. Warren County segregated 10 ballots with undated return

            envelopes and 8 ballots with misdated envelopes. APP_00646

            (Warren Interrog. Resp.).

         vv. Washington County segregated 66 ballots with undated or

            misdated return envelopes. APP_00666 (Washington Interrog.

            Resp.).

         ww.      Wayne County segregated 40 ballots with undated return

            envelopes and 15 ballots with misdated envelopes. APP_00691

            (Wayne Interrog. Resp.).

                                    53

                          Pa.App.0429
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     434 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  54 of 129




         xx. Westmoreland County segregated 95 ballots with undated or

            misdated return envelopes. APP_00705 (Westmoreland Interrog.

            Resp.).

         yy. Wyoming County segregated 17 ballots with undated return

            envelopes and 0 ballots with misdated envelopes. APP_00714.

            (Wyoming Interrog. Resp.).

         zz. Bedford County segregated 0 ballots with undated or misdated

            return envelopes. APP_00731 (Bedford Interrog. Resp.).

         aaa.     Carbon County segregated 27 ballots with undated or

            misdated return envelopes. APP_00731 (Carbon Interrog.

            Resp.).

         bbb.     Centre County segregated 115 ballots with undated or

            misdated return envelopes. APP_00731 (Centre Interrog. Resp.).

         ccc.     Columbia County segregated 29 ballots with undated or

            misdated return envelopes. APP_00731 (Columbia Interrog.

            Resp.).

         ddd.     Dauphin County segregated 95 ballots with undated or

            misdated return envelopes. APP_00731 (Dauphin Interrog.

            Resp.).




                                   54

                          Pa.App.0430
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     435 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  55 of 129




         eee.     Jefferson County segregated 23 ballots with undated or

            misdated return envelopes. APP_00731 (Jefferson Interrog.

            Resp.).

         fff. Huntingdon County segregated 34 ballots with undated or

            misdated return envelopes. APP_00731 (Huntingdon Interrog.

            Resp.).

         ggg.     Indiana County segregated 107 ballots with undated or

            misdated return envelopes. APP_00731 (Indiana Interrog.

            Resp.).

         hhh.     Lawrence County segregated 15 ballots with undated or

            misdated return envelopes. APP_00731 (Lawrence Interrog.

            Resp.).

         iii. Lebanon County segregated 24 ballots with undated or misdated

            return envelopes. APP_00731 (Lebanon Interrog. Resp.).

         jjj. Monroe County segregated 462 ballots with undated or misdated

            return envelopes. APP_00731 (Monroe Interrog. Resp.).

         kkk.     Montour County segregated 8 ballots with undated or

            misdated return envelopes. APP_00731 (Montour Interrog.

            Resp.).




                                    55

                          Pa.App.0431
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     436 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  56 of 129




                 lll. Northumberland County segregated 14 ballots with undated or

                    misdated return envelopes. APP_00731 (Northumberland

                    Interrog. Resp.).

                 mmm.      Snyder County segregated 9 ballots with undated or

                    misdated return envelopes. APP_00732 (Snyder Interrog. Resp.).

                 nnn.      Venango County segregated 42 ballots with undated or

                    misdated return envelopes. APP_00732 (Venango Interrog.

                    Resp.).

                 ooo.      York County segregated 1,061 ballots with undated or

                    misdated return envelopes. APP_00732 (York Interrog. Resp.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      37.    In administering the November 2022 general election, the county

boards of elections did not count mail ballots that were timely received and

submitted in signed envelopes but without a handwritten date on the outer return

envelope. APP_00004 (Adams RFA Resp.); APP_00021 (Allegheny RFA Resp.);

APP_00038 (Armstrong RFA Resp.); APP_0050 (Beaver RFA Resp.); APP_00073

(Berks RFA Resp.); APP_00091 (Blair RFA Resp.); APP_00106 (Bradford RFA

Resp.); APP_00114 (Bucks RFA Resp.); APP_00126 (Butler RFA Resp.);

                                           56

                                    Pa.App.0432
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     437 05/05/23
                                      300 Filed Date Filed: 01/10/2024
                                                         Page  57 of 129




APP_00137 (Cambria RFA Resp.); APP_00160 (Chester RFA Resp.); APP_00181

(Clarion RFA Resp); APP_00194 (Clearfield RFA Resp.); APP_00212 (Clinton

RFA Resp.); APP_00226 (Crawford RFA Resp.); APP_00247 (Cumberland RFA

Resp.); APP_00262 (Delaware RFA Resp.); APP_00276 (Elk RFA Resp.);

APP_00282 (Erie RFA Resp.); APP_00303 (Fayette RFA Resp.); APP_00318

(Forest RFA Resp.); APP_00330 (Franklin RFA Resp.); APP_00348 (Fulton RFA

Resp.); APP_00352 (Greene RFA Resp.); APP_00360 (Juniata RFA Resp.);

APP_00368 (Lackawanna RFA Resp.); APP_00383 (Lancaster RFA Resp.);

APP_00397 (Lehigh RFA Resp.); APP_00411 (Luzerne RFA Resp.); APP_00431

(Lycoming RFA Resp.); APP_00450 (McKean RFA Resp.); APP_00466 (Mifflin

RFA Resp.); APP_00476 (Montgomery RFA Resp.); APP_00489, APP_00490

(Northampton RFA Resp.); APP_00505 (Perry RFA Resp.); APP_00524

(Philadelphia RFA Resp.); APP_00544 (Pike RFA Resp.); APP_00550 (Potter RFA

Resp.); APP_00584 (Schuylkill RFA Resp.); APP_00593 (Somerset RFA Resp.);

APP_00607 (Sullivan RFA Resp.); APP_00615 (Susquehanna RFA Resp.);

APP_00625 (Tioga RFA. Resp.); APP_00642 (Warren RFA Resp.); APP_00655

(Washington RFA Resp.); APP_00681 (Wayne RFA Resp.); APP_00698

(Westmoreland RFA Resp.); APP_00719 (Wyoming RFA Resp.); see also

APP_00822-823 (Berks Dep.); APP_00867-868 (Lancaster Dep.); APP_00918-919

(Westmoreland Dep.).

                                        57

                               Pa.App.0433
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     438 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  58 of 129




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      38.    Thousands of ballots were set aside and not counted solely based on a

missing handwritten date on the return envelope in the November 2022 election. See

APP_01494-1496, APP_01572 (Tetro Decl.) (summarizing manual review of

certain counties’ ballot envelopes); APP_01162a (Philadelphia meeting minutes

stating 2,143 ballots were excluded based on a missing handwritten date on the

return envelope in Philadelphia alone).

                 a. For example, Clearfield County set aside the ballot of a voter

                    who omitted the handwritten date on their return envelope, even

                    though the stamp on the envelope indicates the ballot was

                    received by the county board of elections on “OCT 11 2022.”

                    An election official wrote a note on this envelope that says “can’t

                    come in disabled.” APP_01433.

                 b. Clearfield County also set aside the ballot of another voter who

                    omitted the handwritten date on their return envelope, even

                    though the stamp on the envelope indicates the ballot was

                    received by the county board of elections on “OCT 24 2022.”

                    An election official wrote a note on that envelope that says “can

                                              58

                                    Pa.App.0434
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     439 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  59 of 129




                    not fix[,] in Florida.” APP_01434.

                 c. Cumberland County set aside the ballot of a voter who omitted

                    the handwritten date on the “Today’s Date (Required)” line of the

                    voter declaration form of their return envelope, even though the

                    date “30 OCT 2022” appears in another signed and dated portion

                    of the envelope that was completed by a witness, who assisted the

                    voter because the voter was unable to sign their declaration

                    because of illness or physical disability. APP_01435.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      39.    In administering the November 2022 general election, the county

boards of elections did not count mail ballots that were timely received and

submitted in signed envelopes, but had a handwritten date on the outer return

envelope that appeared to pre-date September 19, 2022, or to post-date November

8, 2022. APP_00022 (Allegheny RFA Resp.); APP_00038 (Armstrong RFA Resp.);

APP_00051 (Beaver RFA Resp.); APP_00074 (Berks RFA Resp.); APP_00091

(Blair RFA Resp.); APP_00106 (Bradford RFA Resp.); APP_00114 (Bucks RFA

Resp.); APP_00126 (Butler RFA Resp.); APP_00137 (Cambria RFA Resp.);

APP_00161 (Chester RFA Resp.); 00182 (Clarion RFA Resp.); APP_00194

                                            59

                                    Pa.App.0435
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     440 05/05/23
                                        300 Filed Date Filed: 01/10/2024
                                                           Page  60 of 129




(Clearfield RFA Resp.); APP_00212 (Clinton RFA Resp.); APP_00226 (Crawford

RFA Resp.); APP_00262 (Delaware RFA Resp.); APP_00276 (Elk RFA Resp.);

APP_00282 (Erie RFA Resp.); APP_00304, APP_00305 (Fayette RFA Resp.);

APP_00318 (Forest RFA Resp.); APP_00330 (Franklin RFA Resp.); APP_00348

(Fulton RFA Resp.); APP_00352 (Greene RFA Resp.); APP_00360 (Juniata RFA

Resp.); APP_00369 (Lackawanna RFA Resp.); APP_00384 (Lancaster RFA Resp.);

APP_00398 (Lehigh RFA Resp.); APP_00412 (Luzerne RFA Resp.); APP_00431

(Lycoming RFA Resp.); APP_00450 (McKean RFA Resp.); APP_00466 (Mifflin

RFA Resp.); APP_00477 (Montgomery RFA Resp.); APP_00490 (Northampton

RFA Resp.); APP_00505 (Perry RFA Resp.); APP_00525 (Philadelphia RFA

Resp.); APP_00544 (Pike RFA Resp.); APP_00584 (Schuylkill RFA Resp.);

APP_00593 (Somerset RFA Resp.); APP_00607 (Sullivan RFA Resp.); APP_00642

(Warren      RFA      Resp.);     APP_00681         (Wayne      RFA       Resp.);     APP_00699

(Westmoreland RFA Resp.); APP_00719 (Wyoming RFA Resp.); APP_00727

(Babst Calland RFA Resp.); see also APP_00822-823 (Berks Dep.); APP_00868

(Lancaster Dep.); APP_00918-919 (Westmoreland Dep.).3


       3
          The only counties that did not admit this are those that did not report receiving any mail
ballots in incorrectly dated envelopes. APP_00004 (Adams RFA Resp.) (“Adams did not receive
any such ballots and therefore no admission is made.”); APP_00248 (Cumberland RFA Resp.)
(“The Cumberland BOE did not receive any mail ballots in connection with the 2022 General
Election that were timely received in signed envelopes that showed a date on the outer return
envelope predating September 19, 2022, or post-dating November 8, 2022.”); APP_00562
(Potter Suppl. RFA Resp.) (“As understood the request is DENIED as all ballots set aside by

                                                    60

                                         Pa.App.0436
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     441 05/05/23
                                        300 Filed Date Filed: 01/10/2024
                                                           Page  61 of 129




       Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

       40.     At least 21 counties admitted that they provided voters with no notice

that their ballot had been set aside because of a missing or incorrect date on the outer

return envelope. APP_00043 (Armstrong Interrog. Resp.); APP_00100 (Blair

Interrog. Resp.); APP_00109 (Bradford Interrog. Resp.); APP_00152 (Cameron

Interrog. Resp.); APP_00187 (Clarion Interrog. Resp.); APP_00219 (Clinton

Interrog. Resp.); APP_00255 (Cumberland Interrog. Resp.); APP_00323 (Forest

Interrog. Resp.); APP_00356 (Greene Interrog. Resp.); APP_00375 (Lackawanna

Interrog. Resp.); APP_00391 (Lancaster Interrog. Resp.); APP_00456 (McKean

Interrog. Resp.); APP_00513 (Perry Interrog. Resp.); APP_00611 (Sullivan

Interrog. Resp.); APP_00621 (Susquehanna Interrog. Resp.); APP_00636 (Union

Interrog. Resp.); APP_00648 (Warren Interrog. Resp.); APP_00671 (Washington

Interrog. Resp.); APP_00692 (Wayne Interrog. Resp.); APP_00708 (Westmoreland



Defendant regarding date issues were ballots which had a blank date on the outer envelope.
SUPPLEMENTAL ANSWER: As an additional response the request is DENIED because no
ballots were received with dates pre or post the dates mentioned.”); APP_00146 (Cameron RFA
Resp.) (“No such mail ballots were received in connection with the 2022 General Election.”);
APP_00616 (Susquehanna RFA Resp.) (“Defendant denies the first clause of the preceding
statement insofar as no such ballots had been received”); APP_00626 (Tioga RFA. Resp.)
(“Defendant objects to the preceding request as it assumes events contrary to fact. Subject to this
objection, no envelopes bearing dates were uncounted.); APP_00655 (Washington RFA Resp.)
(“Upon reasonable review of information in Defendant’s possession and control, Defendant is
without sufficient knowledge and/or information to admit or deny this Request.”).
                                                    61

                                         Pa.App.0437
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     442 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  62 of 129




Interrog. Resp.); APP_00716 (Wyoming Interrog. Resp.); see also APP_00870-871

(Lancaster Dep.); APP_00921 (Westmoreland Dep.); APP_00980 (Marks Dep.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

      41.    At least 20 additional counties admitted that they provided voters with

no notice that their ballot had been set aside because of a missing or incorrect date

on the outer return envelope, except that they uploaded that information into the

SURE system, which sends an automatic notification to voters who provided the

county with their email address. APP_00738-739 (Bedford Interrog. Resp.);

APP_00132 (Butler Interrog. Resp.); APP_00738-739 (Carbon Interrog. Resp.);

APP_00738-739 (Centre Interrog. Resp.); APP_00738-739 (Columbia Interrog.

Resp.); APP_00738-739 (Dauphin Interrog. Resp.); APP_00738-739 (Jefferson

Interrog.   Resp.);   APP_00364     (Juniata    Interrog.   Resp.);   APP_00738-739

(Huntingdon Interrog. Resp.); APP_00738-739 (Indiana Interrog. Resp.);

APP_00738-739 (Lebanon Interrog. Resp.); APP_00462 (Mercer Interrog. Resp.);

APP_00738-739 (Montour Interrog. Resp.); APP_00738-739 (Northumberland

Interrog. Resp.); APP_00542 (Pike Interrog. Resp.); APP_00587 (Schuylkill

                                               62

                                   Pa.App.0438
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     443 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  63 of 129




Interrog. Resp.); APP_00738-739 (Snyder Interrog. Resp.); APP_00601 (Somerset

Interrog. Resp.); APP_00738-739 (Venango Interrog. Resp.); APP_00738-739

(York Interrog. Resp.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      42.    All of the voters whose ballots were set aside in the November 2022

election solely because of a missing or incorrect handwritten date on the outer return

envelope had previously been determined to be eligible and qualified to vote in the

election by their county board of elections. APP_00008 (Adams Interrog. Resp.);

APP_00029 (Allegheny Interrog. Resp.); APP_00042 (Armstrong Interrog. Resp.);

APP_00064-65 (Beaver Interrog. Resp.); APP_00080 (Berks Interrog. Resp.);

APP_00099 (Blair Interrog. Resp.); APP_00109 (Bradford Interrog. Resp.);

APP_00118 (Bucks Interrog. Resp.); APP_00132 (Butler Interrog. Resp.);

APP_00141 (Cambria Interrog. Resp.); APP_00152 (Cameron Interrog. Resp.);

APP_00171 (Chester Interrog. Resp.); APP_00186 (Clarion Interrog. Resp.);

APP_00205 (Clearfield Interrog. Resp.); APP_00219 (Clinton Interrog. Resp.);

APP_00238 (Crawford Interrog. Resp.); APP_00255 (Cumberland Interrog. Resp);

APP_00269 (Delaware Interrog. Resp.); APP_00279 (Elk Interrog. Resp.);

APP_00294 (Erie Interrog. Resp.); APP_00311 (Fayette Interrog. Resp.);

                                             63

                                    Pa.App.0439
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     444 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  64 of 129




APP_0032 (Forest Interrog. Resp.); APP_00338 (Franklin Interrog. Resp.);

APP_00347 (Fulton Interrog. Resp.); APP_00356 (Greene Interrog. Resp.);

APP_00363 (Juniata Interrog. Resp.); APP_00375 (Lackawanna Interrog. Resp.);

APP_00391 (Lancaster Interrog. Resp.); APP_00419 (Luzerne Interrog. Resp.);

APP_00440 (Lycoming Interrog. Resp.); APP_00455 (McKean Interrog. Resp.);

APP_00462 (Mercer Interrog. Resp.); APP_00470 (Mifflin Interrog. Resp.);

APP_00482 (Montgomery Interrog. Resp.); APP_00497 (Northampton Interrog.

Resp.); APP_00513 (Perry Interrog. Resp.); APP_00533 (Philadelphia Interrog.

Resp.); APP_00542 (Pike Interrog. Resp.); APP_00577 (Potter Interrog. Resp.);

APP_00587 (Schuylkill Interrog. Resp.); APP_00600 (Somerset Interrog. Resp.);

APP_00611 (Sullivan Interrog. Resp.); APP_00620 (Susquehanna Interrog. Resp.);

APP_00630 (Tioga Interrog. Resp.); APP_00636 (Union Interrog. Resp.);

APP_00647 (Warren Interrog. Resp.); APP_00670 (Washington Interrog. Resp.);

APP_00692 (Wayne Interrog. Resp.); APP_00708 (Westmoreland Interrog. Resp.);

APP_00715 (Wyoming Interrog. Resp.); APP_00736-737 (Babst Calland Interrog.

Resp.); see also APP_01165-1168 (Philadelphia meeting minutes).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.




                                           64

                                    Pa.App.0440
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     445 05/05/23
                                      300 Filed Date Filed: 01/10/2024
                                                         Page  65 of 129




      43.   The county boards of elections did not identify or raise any fraud

concerns with respect to any November 2022 general election mail ballot that was

signed and timely received but set aside because of a missing or incorrect

handwritten date on the outer return envelope. APP_00009 (Adams Interrog. Resp.);

APP_00029 (Allegheny Interrog. Resp.); APP_00043 (Armstrong Interrog. Resp.);

APP_00064 (Beaver Interrog. Resp.); APP_00080 (Berks Interrog. Resp.);

APP_00099 (Blair Interrog. Resp.); APP_00109 (Bradford Interrog. Resp.);

APP_00118 (Bucks Interrog. Resp.); APP_00132 (Butler Interrog. Resp.);

APP_00141 (Cambria Interrog. Resp.); APP_00152 (Cameron Interrog. Resp.);

APP_00172 (Chester Interrog. Resp.); APP_00187 (Clarion Interrog. Resp.);

APP_00205 (Clearfield Interrog. Resp.); APP_00219 (Clinton Interrog. Resp.);

APP_00239 (Crawford Interrog. Resp.); APP_00255 (Cumberland Interrog. Resp.);

APP_00270 (Delaware Interrog. Resp.); APP_00279 (Elk Interrog. Resp.);

APP_00294 (Erie Interrog. Resp.); APP_00311 (Fayette Interrog. Resp.);

APP_0323 (Forest Interrog. Resp.); APP_00338 (Franklin Interrog. Resp.);

APP_00347 (Fulton Interrog. Resp.); APP_00356 (Greene Interrog. Resp.);

APP_00364 (Juniata Interrog. Resp.); APP_00375 (Lackawanna Interrog. Resp.);

APP_00391 (Lancaster Interrog. Resp.); APP_00403 (Lehigh Interrog. Resp.);

APP_00417 (Luzerne Interrog. Resp.); APP_00440 (Lycoming Interrog. Resp.);

APP_00455 (McKean Interrog. Resp.); APP_00462 (Mercer Interrog. Resp.);

                                          65

                                 Pa.App.0441
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     446 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  66 of 129




APP_00471 (Mifflin Interrog. Resp.); APP_00482 (Montgomery Interrog. Resp.);

APP_00497 (Northampton Interrog. Resp.); APP_00513 (Perry Interrog. Resp.);

APP_00542 (Pike Interrog. Resp.); APP_00533 (Philadelphia Interrog. Resp.);

APP_00578 (Potter Interrog. Resp.); APP_00587 (Schuylkill Interrog. Resp.);

APP_00601 (Somerset Interrog. Resp.); APP_00611 (Sullivan Interrog. Resp.);

APP_00647 (Warren Interrog. Resp.); APP_00620 (Susquehanna Interrog. Resp.);

APP_00630 (Tioga Interrog. Resp.); APP_00636 (Union Interrog. Resp.);

APP_00670 (Washington Interrog. Resp.); APP_00692 (Wayne Interrog. Resp.);

APP_00708 (Westmoreland Interrog. Resp.); APP_00716 (Wyoming Interrog.

Resp.); APP_00737 (Babst Calland Interrog. Resp.); APP_00929r (Westmoreland

Dep.); Phila Bd. Transcript at 14-15.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      44.    The voters whose ballots were set aside based on a missing or incorrect

handwritten date include voters who identify as Democrats, Republicans, and

Independents, as well as unaffiliated voters. APP_01292-1400 (Beaver, Berks, Blair,

Butler, Centre, Erie, Franklin, Indiana, Lancaster, Lawrence, Luzerne, Venango,

Wayne, and Westmoreland voter lists).




                                            66

                                    Pa.App.0442
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     447 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  67 of 129




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      45.    The voters whose ballots were set aside based on a missing or incorrect

handwritten date ranged in age from 18 to at least 101 years old, and the date

requirement had a significant impact on voters who were 65 or older. APP_01292-

1400. For example:

                 a. In Beaver County, the youngest voter affected by the date

                    requirement was 18, and the oldest voter affected by the date

                    requirement was 96. Approximately 70 percent of the affected

                    voters in Beaver County were at least 65 years old, and

                    approximately 30 percent of the affected voters were at least 80

                    years old. APP_01292-01296.

                 b. In Berks County, the youngest voter affected by the date

                    requirement was 18, and the oldest voter affected by the date

                    requirement was 101. Approximately 43 percent of the affected

                    voters in Berks County were at least 65 years old, and 16 percent

                    of the affected voters were at least 80 years old. APP_01298-

                    01353.

                 c. In Blair County, the youngest voter affected by the date

                                             67

                                    Pa.App.0443
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     448 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  68 of 129




            requirement was 25, and the oldest voter affected by the date

            requirement was 95. Approximately 69 percent of the affected

            voters in Blair County were at least 65 years old, and 18 percent

            of the affected voters were at least 80 years old. APP_01357-

            01358.

         d. In Butler County, the youngest voter affected by the date

            requirement was 18, and the oldest voter affected by the date

            requirement was 96. Approximately 48 percent of the affected

            voters in Butler County were at least 65 years old, and 16 percent

            of the affected voters were at least 80 years old. APP_01359-

            01360.

         e. In Centre County, the youngest voter affected by the date

            requirement was 18, and the oldest voter affected by the date

            requirement was 100. Approximately 56 percent of the affected

            voters in Centre County were at least 65 years old, and 24 percent

            of the affected voters were at least 80 years old. APP_01361-

            01364.

         f. In Erie County, the youngest voter affected by the date

            requirement was 18, and the oldest voter affected by the date

            requirement was 92. Approximately 66 percent of the affected

                                     68

                           Pa.App.0444
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     449 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  69 of 129




            voters in Erie County were at least 65 years old, and 25 percent

            of the affected voters were at least 80 years old. APP_01367-

            01372.

         g. In Franklin County, the youngest voter affected by the date

            requirement was 18, and the oldest voter affected by the date

            requirement was 96. Approximately 60 percent of the affected

            voters in Franklin County were at least 65 years old, and 30

            percent of the affected voters were at least 80 years old.

            APP_01373-01375.

         h. In Indiana County, the youngest voter affected by the date

            requirement was 20, and the oldest voter affected by the date

            requirement was 94. Approximately 42 percent of the affected

            voters in Indiana County were at least 65 years old, and 10

            percent of the affected voters were at least 80 years old.

            APP_01376-01379.

         i. In Lancaster County, the youngest voter affected by the date

            requirement was 18, and the oldest voter affected by the date

            requirement was 99. Approximately 61 percent of the affected

            voters in Lancaster County were at least 65 years old, and 22

            percent of the affected voters were at least 80 years old.

                                    69

                           Pa.App.0445
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     450 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  70 of 129




            APP_01380-01386.

         j. In Lawrence County, the youngest voter affected by the date

            requirement was 19, and the oldest voter affected by the date

            requirement was 92. Approximately 66 percent of the affected

            voters in Lawrence County were at least 65 years old, and 26

            percent of the affected voters were at least 80 years old.

            APP_01387.

         k. In Luzerne County, the youngest voter affected by the date

            requirement was 18, and the oldest voter affected by the date

            requirement was 97. Approximately 61 percent of the affected

            voters in Luzerne County were at least 65 years old, and 15

            percent of the affected voters were at least 80 years old.

            APP_01388-01391.

         l. In Venango County, the youngest voter affected by the date

            requirement was 24, and the oldest voter affected by the date

            requirement was 97. Approximately 77 percent of the affected

            voters in Venango County were at least 65 years old, and 30

            percent of the affected voters were at least 80 years old.

            APP_01393.

         m. In Wayne County, the youngest voter affected by the date

                                   70

                          Pa.App.0446
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     451 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  71 of 129




            requirement was 19, and the oldest voter affected by the date

            requirement was 97. Approximately 59 percent of the affected

            voters in Wayne County were at least 65 years old, and 25

            percent of the affected voters were at least 80 years old.

            APP_01395- 01396.

         n. In Westmoreland County, the youngest voter affected by the

            date requirement was 19, and the oldest voter affected by the

            date requirement was 94. Approximately 67 percent of the

            affected voters in Westmoreland County were at least 65 years

            old, and 28 percent of the affected voters were at least 80 years

            old. APP_01397-01398.

         o. In Philadelphia County, one of the commissioners reported: “the

            median age of voters who submitted undated ballots is 64 years

            old and the median age of voters who submitted misdated ballots

            is 66 years old. By comparison, the median age of registered

            voters in Philadelphia is 43. Looked at more closely, 74.5% of

            undated ballots were submitted by voters age 50 or older and

            77.2% of misdated ballots were submitted by voters age 50 or

            older. At age 60 or older, those numbers are 60.9% for undated

            ballots and 64.1% for misdated ballots. Over a third of the

                                     71

                           Pa.App.0447
             Case:1:22-cv-00339-SPB
            Case    23-3166 Document: 146 Page:
                                    Document     452 05/05/23
                                             300 Filed Date Filed: 01/10/2024
                                                                Page  72 of 129




                          undated and misdated ballots were submitted by voters over 70

                          years of age. 37.5% for the undated, and 40.9% for the misdated.

                          14.1% of the undated ballots were submitted by voters 80 years

                          or older and 13.9% of the misdated ballots were submitted by

                          voters in this age group. Voters age 90 or older submitted 57

                          undated ballots and 15 misdated ballots. Importantly, these

                          percentages all are significantly higher than the percentage of

                          Philadelphia's registered voters that these age groups represent.

                          In addition, the Board has reviewed the distribution of these

                          ballots across Philadelphia and that analysis suggests that the

                          issue    disproportionately       impacts     certain     Philadelphia

                          communities. These include areas with higher poverty rates

                          lower rates of      educational      attainment,        and   minority

                          communities.”       APP_01163-1164          (Philadelphia     meeting

                          minutes).

            Response: The Acting Secretary is not aware of any facts in the record that

      contradict the allegations of this paragraph and accordingly admits the allegations

      for purposes of this litigation only.

IV.         THE DATE REQUIREMENT




                                                   72

                                           Pa.App.0448
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     453 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  73 of 129




      46.    The voter declaration forms that accompany paper mail and absentee

ballots include a line for the voter to sign and date the declaration. See, e.g.,

APP_01298 (Berks mail envelope); APP_01299 (Bucks military envelope). The

exact phrasing of the label under the date line varies by county—for example, some

counties employ the label “Today’s date (required) / Fecha de hoy (obligatorio),”

while others use “Today’s date (MM/DD/YYYY (required).” APP_01298 (Berks

envelope); APP_01486 (Lancaster envelope).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      47.    In administering the November 2022 general election, the county

boards of elections did not use the handwritten date on the outer return envelope

containing a mail or absentee ballot for any purpose related to determining or

confirming the mail ballot voter’s age. APP_00003 (Adams RFA Resp.);

APP_00019-20 (Allegheny RFA Resp.); APP_00037-38 (Armstrong RFA Resp.);

APP_00049-50 (Beaver RFA Resp.); APP_00072-73 (Berks RFA Resp.);

APP_00088-90 (Blair RFA Resp.); APP_00105 (Bradford RFA Resp.); APP_00113

(Bucks RFA Resp.); APP_00124, APP_00125 (Butler RFA Resp.); APP_00136-137




                                           73

                                    Pa.App.0449
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     454 05/05/23
                                        300 Filed Date Filed: 01/10/2024
                                                           Page  74 of 129




(Cambria RFA Resp.)4; APP_00145-146 (Cameron RFA Resp.); APP_00158-159

(Chester RFA Resp.); APP_00181 (Clarion RFA Resp.); APP_00193-194

(Clearfield RFA Resp.); APP_0211-212 (Clinton RFA Resp.); APP_00225-226

(Crawford RFA Resp.); APP_00245-246 (Cumberland RFA Resp.); APP_00261

(Delaware RFA Resp.); APP_00276 (Elk RFA Resp.); APP_00281-282 (Erie RFA

Resp.); APP_00301-303 (Fayette RFA Resp.); APP_00317-318 (Forest RFA Resp.);

APP_00328-329 (Franklin RFA Resp.); APP_00351-352 (Greene RFA Resp.);

APP_00360 (Juniata RFA Resp.); APP_00367-368 (Lackawanna RFA Resp.);

APP_00396-397 (Lehigh RFA Resp.); APP_00410-411 (Luzerne RFA Resp.);

APP_00430 (Lycoming RFA Resp.); APP_00448-449 (McKean RFA Resp.);

APP_00465 (Mifflin RFA Resp.); APP_00475-476 (Montgomery RFA Resp.);

APP_00488-489 (Northampton RFA Resp.); APP_00503-504 (Perry RFA Resp.);

APP_00523-524 (Philadelphia RFA Resp.); APP_00543 (Pike RFA Resp.);

APP_00548-549 (Potter RFA Resp.); APP_00584 (Schuylkill RFA Resp.);

APP_00592 (Somerset RFA Resp.); APP_00607 (Sullivan RFA Resp.); APP_00615

(Susquehanna RFA Resp.); APP_00625 (Tioga RFA. Resp.); APP_00641-642



       4
          Cambria County responded to this request (and others) with a simple “No,” which can
only be interpreted to mean that this county, like all others, never used or referred to the
handwritten date to determine or confirm the mail ballot voter’s age. Cambria County
consistently responded to Plaintiffs’ interrogatory requests that it does not contend the
handwritten date on Return Envelope is “material in determining whether a mail ballot voter is
qualified to vote” (Interrogatory No. 14) and agreed not to oppose Plaintiffs’ requested relief in
this action (ECF No. 157).
                                                    74

                                         Pa.App.0450
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     455 05/05/23
                                      300 Filed Date Filed: 01/10/2024
                                                         Page  75 of 129




(Warren RFA Resp.); APP_00653-654 (Washington RFA Resp.); APP_00680-681

(Wayne RFA Resp.); APP_00697-698 (Westmoreland RFA Resp.); APP_00718-

719 (Wyoming RFA Resp.); APP_00725-726 (Babst Calland RFA Resp.); see also

APP_00814-816 (Berks Dep.); APP_00861-862, APP_00866 (Lancaster Dep.);

APP_00906-910 (Westmoreland Dep.); APP_00983-984, APP_00995-997 (Marks

Dep.); APP_01190-1191 (Greenburg Report).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

      48.   In administering the November 2022 general election, the county

boards of elections did not use the handwritten date on the outer return envelope

containing a mail or absentee ballot for any purpose related to determining or

confirming the mail ballot voter’s citizenship. APP_00003 (Adams RFA Resp.);

APP_00019-20 (Allegheny RFA Resp.); APP_00037-38 (Armstrong RFA Resp.);

APP_00049-50 (Beaver RFA Resp.); APP_00072-73 (Berks RFA Resp.);

APP_00088-90 (Blair RFA Resp.); APP_00105 (Bradford RFA Resp.); APP_00113

(Bucks RFA Resp.); APP_00124-125 (Butler RFA Resp.); APP_00136-137




                                           75

                                  Pa.App.0451
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     456 05/05/23
                                        300 Filed Date Filed: 01/10/2024
                                                           Page  76 of 129




(Cambria RFA Resp.); APP_00145-146 (Cameron RFA Resp.)5; APP_00158-159

(Chester RFA Resp.); APP_00181 (Clarion RFA Resp.); APP_00193-194

(Clearfield RFA Resp.); APP_00211-212 (Clinton RFA Resp.); APP_00225-226

(Crawford RFA Resp.); APP_00245-246 (Cumberland RFA Resp.); APP_00261

(Delaware RFA Resp.); APP_00276 (Elk RFA Resp.); APP_00281-282 (Erie RFA

Resp.); APP_00301, APP_00303 (Fayette RFA Resp.); APP_00317-318 (Forest

RFA Resp.); APP_00328- 329 (Franklin RFA Resp.); APP_00351-352 (Greene

RFA Resp.); APP_00360 (Juniata RFA Resp.); APP_00367-368 (Lackawanna RFA

Resp.); APP_00396-397 (Lehigh RFA Resp.); APP_00410-411 (Luzerne RFA

Resp.); APP_00430 (Lycoming RFA Resp.); APP_00448-449 (McKean RFA

Resp.); APP_00465 (Mifflin RFA Resp.); APP_00475-476                         (Montgomery

       RFA Resp.);             APP_00488-48 (Northampton RFA Resp.);

APP_00503-504 (Perry RFA Resp.); APP_00523-524 (Philadelphia RFA Resp.);

APP_00543 (Pike RFA Resp.); APP_00548-549 (Potter RFA Resp.); APP_00584

(Schuylkill RFA Resp.); APP_00592 (Somerset RFA Resp.); APP_00607 (Sullivan

RFA); APP_00615 (Susquehanna RFA Resp.); APP_00625 (Tioga RFA. Resp.);

APP_00641-642 (Warren RFA Resp.); APP_00653-654 (Washington RFA Resp.);

APP_00680-681 (Wayne RFA Resp.); APP_00697-698 (Westmoreland RFA


       5
         Cambria County responded to this request with a simple “No,” which can only be
interpreted to mean that this county, like all others, never used or referred to the handwritten date
to determine or confirm the mail ballot voter’s citizenship. See supra n.4.
                                                     76

                                         Pa.App.0452
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     457 05/05/23
                                        300 Filed Date Filed: 01/10/2024
                                                           Page  77 of 129




Resp.); APP_00718-719 (Wyoming RFA Resp.); APP_00725-726 (Babst Calland

RFA Resp.); see also APP_00814-816 (Berks Dep.); APP_00861-862, APP_00866

(Lancaster Dep.); APP_00906-910 (Westmoreland Dep.); APP_00983-984,

APP_00995-997 (Marks Dep.); APP_01190-1191 (Greenburg Report).

       Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

       49.     In administering the November 2022 general election, the county

boards of elections did not use the handwritten date on the outer return envelope

containing a mail or absentee ballot for any purpose related to determining or

confirming the mail ballot voter’s county or duration of residence. APP_00003

(Adams RFA Resp.); APP_00019-20 (Allegheny RFA Resp.); APP_00037-38

(Armstrong RFA Resp.); APP_00049-50 (Beaver RFA Resp.); APP_00072-73

(Berks RFA Resp.); APP_00088- 90 (Blair RFA Resp.); APP_00105 (Bradford RFA

Resp.); APP_00113 (Bucks RFA Resp.); APP_00124-125 (Butler RFA Resp.);

APP_00136-137 (Cambria RFA Resp.)6; APP_00145-146 (Cameron RFA Resp.);


       6
         Cambria County responded to this request with a simple “No,” which can only be
interpreted to mean that this county, like all others, never used or referred to the handwritten date
to determine or confirm the mail ballot voter’s county or duration of residence. See supra n.4.
                                                     77

                                         Pa.App.0453
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     458 05/05/23
                                      300 Filed Date Filed: 01/10/2024
                                                         Page  78 of 129




APP_00158-159 (Chester RFA Resp.); APP_00181 (Clarion RFA Resp.);

APP_00193-194 (Clearfield RFA Resp.); APP_00211-212 (Clinton RFA Resp.);

APP_00225-226 (Crawford RFA Resp.); APP_00245-246 (Cumberland RFA

Resp.); APP_00261 (Delaware RFA Resp.); APP_00276 (Elk RFA Resp.);

APP_00281-282 (Erie RFA Resp.); APP_00301, APP_00303 (Fayette RFA Resp.);

APP_00317-318 (Forest RFA Resp.); APP_00328- 329 (Franklin RFA Resp.);

APP_00351-352 (Greene RFA Resp.); APP_00360 (Juniata RFA Resp.);

APP_00367-368 (Lackawanna RFA Resp.); APP_00396-397 (Lehigh RFA Resp.);

APP_00410-411 (Luzerne RFA Resp.); APP_00430 (Lycoming RFA Resp.);

APP_00448-449 (McKean RFA Resp.); APP_00465 (Mifflin RFA Resp.);

APP_00475- 476 (Montgomery RFA Resp.); APP_00488-489 (Northampton RFA

Resp.); APP_00503-504 (Perry RFA Resp.); APP_00523-524 (Philadelphia RFA

Resp.); APP_00543 (Pike RFA Resp.); APP_00548-549 (Potter RFA Resp.);

APP_00584 (Schuylkill RFA Resp.); APP_00592 (Somerset RFA Resp.);

APP_00607 (Sullivan RFA); APP_00615 (Susquehanna RFA Resp.); APP_00625

(Tioga RFA. Resp.); APP_00641-642 (Warren RFA Resp.); APP_00653-654

(Washington RFA Resp.); APP_00680-681 (Wayne RFA Resp.); APP_00697-698

(Westmoreland RFA Resp.); APP_00718-719 (Wyoming RFA Resp.); APP_00725-

726 (Babst Calland RFA Resp.); see also APP_00814-816 (Berks Dep.);

APP_00861-862, APP_00866 (Lancaster Dep.); APP_00906-910 (Westmoreland

                                        78

                               Pa.App.0454
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     459 05/05/23
                                        300 Filed Date Filed: 01/10/2024
                                                           Page  79 of 129




Dep.); APP_00983-984, APP_00995-997 (Marks Dep.); APP_01190-1191

(Greenburg Report).

       Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

       50.     In administering the November 2022 general election, the county

boards of elections did not use the handwritten date on the outer return envelope

containing a mail or absentee ballot for any purpose related to determining or

confirming the mail ballot voter’s felony status. APP_00003 (Adams RFA Resp.);

APP_00019-20 (Allegheny RFA Resp.); APP_00037-38 (Armstrong RFA Resp.);

APP_00049-50 (Beaver RFA Resp.); APP_00072-73 (Berks RFA Resp.);

APP_00088-90 (Blair RFA Resp.); APP_00105 (Bradford RFA Resp.); APP_00113

(Bucks RFA Resp.); APP_00124-125 (Butler RFA Resp.); APP_00136-137

(Cambria RFA Resp.)7; APP_00145-146 (Cameron RFA Resp.); APP_00158-159

(Chester RFA Resp.); APP_00181 (Clarion RFA Resp.); APP_00193-194

(Clearfield RFA Resp.); APP_00211-212 (Clinton RFA Resp.); APP_00225-226


       7
         Cambria County responded to this request with a simple “No,” which can only be
interpreted to mean that this county, like all others, never used or referred to the handwritten date
to determine or confirm the mail ballot voter’s county or duration of residence. See supra n.4.
                                                     79

                                         Pa.App.0455
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     460 05/05/23
                                      300 Filed Date Filed: 01/10/2024
                                                         Page  80 of 129




(Crawford RFA Resp.); APP_00245-246 (Cumberland RFA Resp.); APP_00261

(Delaware RFA Resp.); APP_00276 (Elk RFA Resp.); APP_00281-282 (Erie RFA

Resp.); APP_00301, APP_00303 (Fayette RFA Resp.); APP_00317-318 (Forest

RFA Resp.); APP_00328- 329 (Franklin RFA Resp.); APP_00351-352 (Greene

RFA Resp.); APP_00360 (Juniata RFA Resp.); APP_00367-368 (Lackawanna RFA

Resp.); APP_00396-397 (Lehigh RFA Resp.); APP_00410-411 (Luzerne RFA

Resp.); APP_00430 (Lycoming RFA Resp.); APP_00448-449 (McKean RFA

Resp.); APP_00465 (Mifflin RFA Resp.); APP_00475- 476 (Montgomery RFA

Resp.); APP_00488-489 (Northampton RFA Resp.); APP_00503-504 (Perry RFA

Resp.); APP_00523-524 (Philadelphia RFA Resp.); APP_00543 (Pike RFA Resp.);

APP_00548-549 (Potter RFA Resp.); APP_00584 (Schuylkill RFA Resp.);

APP_00592 (Somerset RFA Resp.); APP_00607 (Sullivan RFA); APP_00615

(Susquehanna RFA Resp.); APP_00625 (Tioga RFA. Resp.); APP_00641-642

(Warren RFA Resp.); APP_00653-654 (Washington RFA Resp.); APP_00680-681

(Wayne RFA Resp.); APP_00697-698 (Westmoreland RFA Resp.); APP_00718-

719 (Wyoming RFA Resp.); APP_00725-726 (Babst Calland RFA Resp.); see also

APP_00814-816 (Berks Dep.); APP_00861-862, APP_00866 (Lancaster Dep.);

APP_00906-910 (Westmoreland Dep.); APP_00983-984, APP_00995-997 (Marks

Dep.); APP_01190-1191 (Greenburg Report).




                                        80

                               Pa.App.0456
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     461 05/05/23
                                        300 Filed Date Filed: 01/10/2024
                                                           Page  81 of 129




       Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

       51.     In administering the November 2022 general election, the county

boards of elections did not use the handwritten date on the outer return envelope

containing a mail ballot to establish whether they received the ballot by 8:00 P.M.

on November 8, 2022. APP_00003 (Adams RFA Resp.); APP_00020 (Allegheny

RFA Resp.); APP_00037 (Armstrong RFA Resp.); APP_00049 (Beaver RFA

Resp.); APP_00073 (Berks RFA Resp.); APP_00090 (Blair RFA Resp.);

APP_00105 (Bradford RFA Resp.); APP_0013 (Bucks RFA Resp.); APP_00125

(Butler RFA Resp.); APP_00136 (Cambria RFA Resp.)8; APP_00145 (Cameron

RFA Resp.); APP_00158 (Chester RFA Resp.); APP_00181 (Clarion RFA Resp.);

APP_00193 (Clearfield RFA Resp.); APP_00211 (Clinton RFA Resp.); APP_00225

(Crawford RFA Resp.); APP_00246 (Cumberland RFA Resp.); APP_00261

(Delaware RFA Resp.); APP_00276 (Elk RFA Resp.) APP_00281 (Erie RFA

Resp.); APP_00302 (Fayette RFA Resp.); APP_00317 (Forest RFA Resp.);


       8
          Cambria County responded to this request with a simple “No,” which can only be
interpreted to mean that this county, like all others, never used or referred to the handwritten date
to establish whether they received the ballot by the applicable deadline. See supra n.4.
                                                     81

                                         Pa.App.0457
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     462 05/05/23
                                      300 Filed Date Filed: 01/10/2024
                                                         Page  82 of 129




APP_00329 (Franklin RFA); APP_00351 (Greene RFA Resp.); APP_00360

(Juniata RFA Resp.); APP_00368 (Lackawanna RFA Resp.); APP_00396 (Lehigh

RFA Resp.); APP_00410 (Luzerne RFA Resp.); APP_00430 (Lycoming RFA

Resp.); APP_00449 (McKean RFA Resp.); APP_00465 (Mifflin RFA Resp.);

APP_00476 (Montgomery RFA Resp.); APP_00488 (Northampton RFA Resp.);

APP_0504 (Perry RFA Resp.); APP_00523 (Philadelphia RFA Resp.); APP_00543

(Pike RFA Resp.); APP_00549 (Potter RFA Resp.); APP_00584 (Schuylkill RFA

Resp.); APP_00592 (Somerset RFA Resp.); APP_00607 (Sullivan RFA Resp.);

APP_00615 (Susquehanna RFA Resp.); APP_00625 (Tioga RFA. Resp);

APP_00641 (Warren RFA Resp.); APP_00653 (Washington RFA Resp.);

APP_00680 (Wayne RFA Resp.); APP_00697 (Westmoreland RFA Resp.);

APP_00718 (Wyoming RFA Resp.); APP_00725 (Babst Calland RFA Resp.); see

also APP_00886-887 (Lancaster Dep.); APP_00993-995, APP_01001 (Marks

Dep.); APP_01165-1166 (Philadelphia meeting minutes).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.




                                           82

                                  Pa.App.0458
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     463 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  83 of 129




      52.      Setting aside military-overseas ballots, in administering the November

2022 general election, the county boards of elections did not use or refer to the date

handwritten on the outer return envelope containing an absentee ballot to establish

whether they received the ballot by the applicable deadline. APP_00003 (Adams

RFA Resp.); APP_00020-21 (Allegheny RFA Resp.); APP_00037-38 (Armstrong

RFA Resp.); APP_00049-50 (Beaver RFA Resp.); APP_00073 (Berks RFA Resp.);

APP_00091 (Blair RFA Resp.); APP_00105 (Bradford RFA Resp.); APP_00113-14

(Bucks RFA Resp.); APP_00125-26 (Butler RFA Resp.); APP_00136 (Cambria

RFA Resp.)9; APP_00145-46 (Cameron RFA Resp.); APP_00158-59 (Chester RFA

Resp.); APP_00181 (Clarion RFA Resp.); APP_00193-94 (Clearfield RFA Resp.);

APP_00211- 12 (Clinton RFA Resp.); APP_00225-26 (Crawford RFA Resp.);

APP_00247 (Cumberland RFA Resp.); APP_00261 (Delaware RFA Resp.);

APP_00276 (Elk RFA Resp.); APP_00281-82 (Erie RFA Resp.); APP_00302-03

(Fayette RFA Resp.); APP_00317-18 (Forest RFA Resp.); APP_00329 (Franklin

RFA Resp.); APP_00351- 52 (Greene RFA Resp.); APP_00360 (Juniata RFA

Resp.); APP_00368 (Lackawanna RFA Resp.); APP_00396-97 (Lehigh RFA

Resp.); APP_00410-11 (Luzerne RFA Resp.); APP_00430 (Lycoming RFA Resp.);

APP_00449 (McKean RFA Resp.); APP_00465-66 (Mifflin RFA Resp.);

APP_00476 (Montgomery RFA Resp.); APP_00488-89 (Northampton RFA Resp.);


      9
          See supra n.8.
                                             83

                                    Pa.App.0459
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     464 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  84 of 129




APP_00504 (Perry RFA Resp.); APP_00543 (Pike RFA Resp.); APP_00549-50

(Potter RFA Resp.); APP_00584 (Schuylkill RFA Resp.); APP_00592 (Somerset

RFA Resp.); APP_00607 (Sullivan RFA Resp.); APP_00615 (Susquehanna RFA

Resp.); APP_00625 (Tioga RFA. Resp.); APP_00641-42 (Warren RFA Resp.);

APP_00653-54 (Washington RFA Resp.); APP_00680-81 (Wayne RFA Resp.);

APP_00697-98 (Westmoreland RFA Resp.); APP_00718-19 (Wyoming RFA

Resp.); APP_00725-26 (Babst Calland RFA Resp.); see also APP_00886-887

(Lancaster Dep.); APP_00993-995, APP_01001 (Marks Dep.); APP_01165

(Philadelphia meeting minutes).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

      53.    A voter could not have signed the voter declaration form on the 2022

general election mail ballot outer return envelope on any date before their county

board of elections sent the mail ballot materials for the 2022 election to voters,

because the voter would not yet have the mail ballot materials in their possession.

For example, if a county board of elections did not send mail ballots to voters until

October 1, 2022, then a voter in that county could not have filled out their mail ballot

                                              84

                                    Pa.App.0460
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     465 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  85 of 129




before October 1, 2022, regardless of what if any date the voter wrote on the outer

return envelope. APP_00827, APP00831-832, APP_00840-41 (Berks Dep.);

APP_00876-877,        APP_00880-881         (Lancaster     Dep.);     APP_00928-929

(Westmoreland Dep.); APP_01000, APP_01002-1003 (Marks Dep.); APP_01189-

1190 (Greenburg Report).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

      54.    If a county board of elections received and date-stamped a 2022 general

election mail ballot before 8:00 P.M. on Election Day (November 8, 2022), then that

ballot was timely received under the Election Code. 25 P.S. §§ 3146.6(c),

3150.16(c); see also, e.g., APP_00834 (Berks Dep.); APP_01189 (Greenburg

Report).

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

                                              85

                                    Pa.App.0461
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     466 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  86 of 129




      55.    If a county board of elections received a 2022 general election mail

ballot by 8:00 P.M. on Election Day (November 8, 2022), then the voter who

submitted that ballot could not have filled out that ballot after 8:00 P.M. on Election

Day, regardless of what if any date the voter wrote on the outer return envelope.

APP_00830 (Berks Dep.); APP_00874-875 (Lancaster Dep.); APP_00925-926

(Westmoreland Dep.); APP_01000 (Marks Dep.).

      Response: Admitted. By way of further response, a complete copy of the

deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

      56.    If a county board of elections received a 2022 general election mail

ballot after 8:00 P.M. on Election Day (November 8, 2022), then the board of

elections did not count that ballot, regardless of what if any date the voter wrote on

the outer return envelope. APP_00830a (Berks Dep.); APP_00875-876 (Lancaster

Dep.); APP_00926-927 (Westmoreland Dep.); APP_01000-1001 (Marks Dep.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only. By way of further response, a complete copy of

the deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.




                                             86

                                   Pa.App.0462
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     467 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  87 of 129




      57.    More than 20 county boards of elections have stated that they do not

contend that the handwritten date is material in determining whether a mail ballot

voter is qualified to vote in the election in which they have cast a ballot. APP_00010

(Adams Interrog. Resp.); APP_00031-32 (Allegheny Interrog. Resp.); APP_00100

(Blair Interrog. Resp.); APP_00118 (Bucks Interrog. Resp.); APP_00142 (Cambria

Interrog. Resp.); APP_00174 (Chester Interrog. Resp.); APP_00220 (Clinton

Interrog. Resp.); APP_00271 (Delaware Interrog. Resp.); APP_00295 (Erie

Interrog. Resp.); APP_00312 (Fayette Interrog. Resp.); APP_00324 (Forest Interrog.

Resp.); APP_00364 (Juniata Interrog. Resp.); APP_00392 (Lancaster Interrog.

Resp.); APP_00404 (Lehigh Interrog. Resp.); APP_00456 (McKean Interrog.

Resp.); APP_00483 (Montgomery Interrog. Resp.); APP_00535 (Philadelphia

Interrog. Resp.); APP_00602 (Somerset Interrog. Resp.); APP_00612 (Sullivan

Interrog. Resp.); APP_00637 (Union Interrog. Resp.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      58.    An additional ten counties have taken no position on this contention.

APP_00043 (Armstrong Interrog. Resp.); APP_00066 (Beaver Interrog. Resp.);

APP_00187 (Clarion Interrog. Resp.); APP_00240 (Crawford Interrog. Resp.);

APP_00256 (Cumberland Interrog. Resp.); APP_00357 (Greene Interrog. Resp.);

                                             87

                                    Pa.App.0463
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     468 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  88 of 129




APP_00462 (Mercer Interrog. Resp.); APP_00472 (Mifflin Interrog. Resp.);

APP_00631 (Tioga Interrog. Resp.); APP_00716 (Wyoming Interrog. Resp.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      59.    Of those county boards of elections that identified any purported use

for the voter-written date in their discovery responses, 30 counties identified that the

only reason for looking at this date was to ensure compliance with the Election Code

and the Supreme Court of Pennsylvania’s Ball decision. APP_00080 (Berks

Interrog. Resp.); APP_00110 (Bradford Interrog. Resp.); APP_00153 (Cameron

Interrog. Resp.); APP_00339 (Franklin Interrog. Resp.); APP_00348 (Fulton

Interrog. Resp.), APP_00376 (Lackawanna Interrog. Resp.); APP_00418 (Luzerne

Interrog. Resp.); APP_00499 (Northampton Interrog. Resp.); APP_00514 (Perry

Interrog. Resp.); APP_00579 (Potter Interrog. Resp.); APP_00587 (Schuylkill

Interrog. Resp.); APP_00672 (Washington Interrog. Resp.); APP_00693 (Wayne

Interrog. Resp.); APP_00709 (Westmoreland Interrog. Resp.); APP_00740 (Babst

Calland Interrog. Resp.); see also APP_00817, APP_00820-821 (Berks Dep.);

APP_00863-865 (Lancaster Dep.); APP_00914-916 (Westmoreland Dep.).




                                              88

                                    Pa.App.0464
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     469 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  89 of 129




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      60.    The only other purported use for the voter-written date identified in

discovery by any county is that considering the date written on a voter declaration

might aid in prosecution of voter fraud relating to deceased voters. No county

mentioned this use of the voter-written date in their interrogatory responses, but both

Lancaster County and Westmoreland County addressed it when deposed.

APP_00910-915 (Westmoreland Dep.); APP_00888-892 (Lancaster Dep.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      61.    If a county board of elections learns that a registered voter died before

8:00 P.M. on Election Day, the board of elections removes the deceased person from

the voter rolls. 25 P.S. § 3146.8(d); APP_01191 (Greenburg Report); APP_01016-

1019, APP_01026-1029 (Greenburg Dep.); APP_00888-892, APP_00895-896

(Lancaster Dep.).

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

                                              89

                                    Pa.App.0465
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     470 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  90 of 129




litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

      62.    County boards of elections determine whether a voter died before 8:00

P.M. on Election Day by reviewing Department of Health records, local obituaries,

and/or death certificates. APP_00895-896 (Lancaster Dep.); APP_00911-912

(Westmoreland Dep.); APP_01032 (Greenburg Dep.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      63.    If a county board of elections learns that a registered voter died before

8:00 P.M. on Election Day, the county board of elections will not count that person’s

vote, even if the vote was timely submitted before the voter’s death. APP_00818

(Berks Dep.); APP_00890-891 (Lancaster Dep.); APP_00911-914 (Westmoreland

Dep.); APP_01016-1019, APP_01026-1029 (Greenburg Dep.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      64.    If a county board of elections learns that a registered voter died before

8:00 P.M. on Election Day, the county board of elections will not count that person’s

vote, regardless of what if any handwritten date appears on the outer return envelope

                                            90

                                    Pa.App.0466
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     471 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  91 of 129




of the deceased voter’s ballot. 25 P.S. § 3146.8(d); APP_00819 (Berks Dep.);

APP_00890-891 (Lancaster Dep.); APP_00914 (Westmoreland Dep.); APP_01016-

1019, APP_01026-1029 (Greenburg Dep.).

            a. For example, the Beaver County Board of Elections set aside the ballot

               of a deceased voter who also happened to write the date on the wrong

               line of their return envelope. On the return envelope, an elections

               official wrote “Voter passed away[,] DOH notification 11/3/22[,] moot

               on date.” APP_01485.

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

V.    Defendants’ Arbitrary and Inconsistent Applications of the Date
      Requirement

      A.       Missing or incorrect year

      65.      A voter whose mail ballot was timely received by their county board of

elections could only have signed the voter declaration form in the year 2022, because

the county boards of elections did not begin sending the relevant mail ballot

materials to voters until August 2022 or later (see supra ¶ TK), and the ballots must

have been received by November 8, 2022 to be considered timely. APP_00835-81
                                              91

                                    Pa.App.0467
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     472 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  92 of 129




(Berks Dep.); APP_00878-879, APP_00884-885 (Lancaster Dep.); APP_00923-

924, APP_00929g, APP_00929l-929q (Westmoreland Dep.).

      Response: Admitted.

             i.   Past year

      66.      At least 530 voters’ ballots were set aside because their handwritten

date included a year earlier than 2022. APP_01494-1496, APP_01572 (Tetro Decl.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      67.      Of those voters whose ballots were set aside for writing a past year, at

least 474 voters wrote a day and month within the Supreme Court of Pennsylvania’s

date range, but wrote a past year (e.g., 2020 or 2021). APP_01494-1496, APP_01572

(Tetro Decl.).

            a. For example, one voter whose ballot was set aside wrote “October 15,

               2020” on the date line. A stamp on the envelope indicates the ballot was

               processed by the county board of elections on “10/17/22.” APP_01466.

            b. Another voter whose ballot was set aside wrote “10/31/21” on the date

               line. A stamp on the envelope indicates the ballot was processed by the

               county board of elections on “11/02/22.” APP_01467.




                                              92

                                    Pa.App.0468
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     473 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  93 of 129




          c. Another voter whose ballot was set aside wrote “11-06-2021” on the

             date line. A stamp on the envelope indicates the ballot was received by

             the county board of elections on “NOV 08 2022.” APP_01468.

          d. Another voter whose ballot was set aside wrote “10/7/1922” on the date

             line. A stamp on the envelope indicates the ballot was received by the

             county board of elections on “2022 OCT 12.” APP_01469.

          e. Another voter whose ballot was set aside wrote “Oct. 18, 2012” on the

             date line. A stamp on the envelope indicates the ballot was received by

             the county board of elections on “2022 OCT 20.” APP_01470.

          f. Another voter whose ballot was set aside wrote “10-26-2002” on the

             date line. A stamp on the envelope indicates the ballot was processed

             by the county board of elections on “2022 OCT 31.” APP_01471.

          g. Another voter whose ballot was set aside wrote “October 26, 2002” on

             the date line. APP_01472.

          h. Another voter whose ballot was set aside wrote “11-2-2002” on the date

             line. A stamp on the envelope indicates the ballot was processed by the

             county board of elections on “10/27/22.” APP_01473.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

                                            93

                                    Pa.App.0469
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document     474 05/05/23
                                        300 Filed Date Filed: 01/10/2024
                                                           Page  94 of 129




       68.      Of those voters whose ballots were set aside for writing a past year, at

least 50 voters wrote their birth date instead of the date they signed the declaration.

APP_01494-1496, APP_01572 (Tetro Decl.).10 See, e.g., APP_01474-1484 (11

envelopes with examples of this pattern).

             a. For example, one voter whose ballot was set aside wrote “9/25/22” on

                the date line—the date five days before the ballot was date stamped by

                the county board of elections on “09/30/2022”—but then crossed out

                that date (“9/25/22”) and wrote his date of birth beneath it. APP_01474;

                APP_01365 (Dauphin voter list).

       Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

       69.      Conversely, at least one county board of elections—Montgomery—

ultimately decided to count ballots if they determined the voter had written their

birth date instead of the date they signed the declaration on the outer return envelope.

APP_01286-1289.




       10
           This total reflects only those birth dates that Plaintiffs could confirm via the lists of
voter date of birth that certain counties produced. Additional ballots in other counties looked like
possible birth dates, but those counties did not produce complete dates of birth against which
Plaintiffs could compare the envelopes. APP_01494-1496, APP_01572 (Tetro Decl.).
                                                    94

                                         Pa.App.0470
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     475 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  95 of 129




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

             ii.   Future year

      70.      At least 228 voters’ ballots were set aside because their handwritten

date included a year later than 2022 (e.g., “2023” or “2202”). APP_01494-1496,

APP_01572 (Tetro Decl.).

            a. For example, one voter whose ballot was set aside wrote “11/3/2023”

               on the date line. A stamp on the envelope indicates the ballot was

               processed by the county board of elections on “11/07/22.” APP_01423.

            b. Another voter whose ballot was set aside wrote “November 7 2023” on

               the date line. A stamp on the envelope indicates the ballot was

               processed by the county board of elections on “11/08/22.” APP_01424.

            c. Another voter whose ballot was set aside wrote “11/03/2023” on the

               date line. A stamp on the envelope indicates the ballot was processed

               by the county board of elections on “2022 NOV 04.” APP_01425.

            d. Another voter whose ballot was set aside wrote “10/12/2222” on the

               date line. APP_01426.




                                             95

                                    Pa.App.0471
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     476 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  96 of 129




   e. Another voter whose ballot was set aside wrote “10/22/2122” on the

      date line. A stamp on the envelope indicates the ballot was processed

      by the county board of elections on “10/25/22.” APP_01427.

   f. Another voter whose ballot was set aside wrote “10-17-2200” on the

      date line. A stamp on the envelope indicates the ballot was processed

      by the county board of elections on “10/29/22.” APP_01428.

   g. Another voter whose ballot was set aside wrote “10/21/31” on the date

      line. A stamp on the envelope indicates the ballot was processed by the

      county board of elections on “10/27/22.” APP_01429.

   h. Another voter whose ballot was set aside wrote “10-20-2202” on the

      date line. A stamp on the envelope indicates the ballot was processed

      by the county board of elections on “10/23/22.” APP_01430.

   i. Another voter whose ballot was set aside wrote “10/24/2024” on the

      date line. A stamp on the envelope indicates the ballot was processed

      by the county board of elections on “10/25/22.” APP_01431.

   j. Another voter whose ballot was set aside wrote “10-23-2033” on the

      date line. A stamp on the envelope indicates the ballot was received by

      the county board of elections on “2022 OCT 25.” APP_01432.




                                     96

                           Pa.App.0472
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     477 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  97 of 129




         Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

               iii.   Omitted year

         71.      At least 60 voters’ ballots were set aside because they wrote a

handwritten date that was between September 19 and November 8, but omitted the

year. APP_01494-1496, APP_01572 (Tetro Decl.); see also APP_01153 (meeting

minutes reflecting that Luzerne Board voted to reject ballots dated “10/26” and “Oct

2nd”).

               a. For example, one voter whose ballot was set aside wrote “October 8”

                  on the date line. A stamp on the envelope indicates the ballot was

                  processed by the county board of elections on “10/13/22.” APP_01446.

               b. Another voter whose ballot was set aside wrote “Wednesday Oct. 26”

                  on the date line. A stamp on the envelope indicates the ballot was

                  processed by the county board of elections on “10/31/22.” APP_01447.

               c. Another voter whose ballot was set aside wrote “11/2” on the date line.

                  A stamp on the envelope indicates the ballot was processed by the

                  county board of elections on “11/04/22.” APP_01448.




                                                 97

                                       Pa.App.0473
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     478 05/05/23
                                 300 Filed Date Filed: 01/10/2024
                                                    Page  98 of 129




   d. Another voter whose ballot was set aside wrote “Thu. Oct. 6” on the

      date line. A stamp on the envelope indicates the ballot was processed

      by the county board of elections on “10/11/22.” APP_01449.

   e. Another voter whose ballot was set aside wrote “Thursday October 6”

      on the date line. A stamp on the envelope indicates the ballot was

      processed by the county board of elections on “10/11/22.” APP_01450.

   f. Another voter whose ballot was set aside wrote “Oct. 25” on the date

      line. A stamp on the envelope indicates the ballot was processed by the

      county board of elections on “10/31/22.” APP_01451.

   g. Another voter whose ballot was set aside wrote “Nov. 2nd” on the date

      line. A stamp on the envelope indicates the ballot was processed by the

      county board of elections on “11/03/22.” APP_01452.

   h. Another voter whose ballot was set aside wrote “10/15” on the date line.

      A stamp on the envelope indicates the ballot was processed by the

      county board of elections on “10/18/22.” APP_01453.

   i. Another voter whose ballot was set aside wrote “10/04” on the date line.

      A stamp on the envelope indicates the ballot was received by the county

      board of elections on “2022 OCT 7.” APP_01454.




                                     98

                            Pa.App.0474
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     479 05/05/23
                                       300 Filed Date Filed: 01/10/2024
                                                          Page  99 of 129




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      72.    Conversely, at least three county boards of elections—Blair, Fayette,

and Montgomery—ultimately decided to count ballots with “partial dates” if the

“information in the date line [wa]s sufficient to determine that the ballot was returned

within the appropriate date range.” APP_01286-1289 (Montgomery County voted

to count ballots with “partial dates” if the “information in the date line [wa]s

sufficient to determine that the ballot was returned within the appropriate date

range”); see also APP_01177 (Blair County’s “canvassing board instructions”

includes a list of “VALID DATING FORMATS,” which includes month and day

without a year); APP_01161 (meeting minutes reflecting that Fayette Board voted

to count ballots dated “Friday November 4th, no year” and “November 3rd, no

year”).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

             B.     Missing or incorrect month

      73.    A voter whose mail ballot was timely received by 8:00 P.M. on

November 8, 2022 could only have signed the voter declaration form in the time

                                              99

                                    Pa.App.0475
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     480 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             100 of 129




period between the date that their county boards of elections sent mail ballot

packages to voters and Election Day. APP_00878-879 (Lancaster Dep.);

APP_00929g-929j, APP_00929o929p (Westmoreland Dep.).

      Response: Admitted.

      74.      At least 605 voters’ timely-received ballots were set aside because their

handwritten date included an incorrect month that indicated that they signed their

ballot earlier than September 19, 2022. APP_01494-1496, APP_01572 (Tetro

Decl.).

            a. For example, one voter whose ballot was set aside wrote “9/13/22” on

               the date line. A stamp on the envelope indicates the ballot was

               processed by the county board of elections on “10/14/22.” APP_01455.

            b. Another voter whose ballot was set aside wrote “9-17-2022” on the date

               line. A stamp on the envelope indicates the ballot was processed by the

               county board of elections on “10/18/22.” APP_01456.

            c. Another voter whose ballot was set aside wrote “09/14/2022” on the

               date line. A stamp on the envelope indicates the ballot was processed

               by the county board of elections on “10/17/22.” APP_01457.

            d. Another voter whose ballot was set aside wrote “9/14/2022” on the date

               line. A stamp on the envelope indicates the ballot was processed by the

               county board of elections on “10/16/22.” APP_01458.

                                              100

                                     Pa.App.0476
 Case:
Case   23-3166 Document:
     1:22-cv-00339-SPB    146 Page:
                       Document     481 05/05/23
                                300 Filed Date Filed:
                                                  Page01/10/2024
                                                        101 of 129




   e. Another voter whose ballot was set aside wrote “9-13-2022” on the date

      line. A stamp on the envelope indicates the ballot was processed by the

      county board of elections on “10/20/22.” APP_01459.

   f. Another voter whose ballot was set aside wrote “9/14/2022” on the date

      line. A stamp on the envelope indicates the ballot was processed by the

      county board of elections on “10/16/22.” APP_01460.

   g. Another voter whose ballot was set aside wrote “Sept 12, 2022” on the

      date line. A stamp on the envelope indicates the ballot was processed

      by the county board of elections on “10 16 22.” APP_01461.

   h. Another voter whose ballot was set aside wrote “9/11/2022” on the date

      line. A stamp on the envelope indicates the ballot was processed by the

      county board of elections on “10/16/22.” APP_01462.

   i. Another voter whose ballot was set aside wrote “9/17/22” on the date

      line. A stamp on the envelope indicates the ballot was processed by the

      county board of elections on “10/18/22.” APP_01463.

   j. Another voter whose ballot was set aside wrote “Sept. 10, 2022” on the

      date line. A stamp on the envelope indicates the ballot was processed

      by the county board of elections on “10/14/22.” APP_01464.




                                    101

                           Pa.App.0477
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     482 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             102 of 129




            k. Another voter whose ballot was set aside wrote “9-6-2022” on the date

               line. A stamp on the envelope indicates the ballot was processed by the

               county board of elections on “10/07/22.” APP_01465.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      75.      At least 427 voters’ ballots were set aside because their handwritten

date included an incorrect month that indicated that they signed their ballot after

November 8, 2022 (e.g., “11/28/22”). APP_01494-1496, APP_01572 (Tetro Decl.).

            a. For example, one voter whose ballot was set aside wrote “11/23/2022”

               on the date line. A stamp on the envelope indicates the ballot was

               processed by the county board of elections on “10/25/22.” APP_01414.

            b. Another voter whose ballot was set aside wrote “11/27/2022” on the

               date line. A stamp on the envelope indicates the ballot was processed

               by the county board of elections on “10/31/22.” APP_01415.

            c. Another voter whose ballot was set aside wrote “11/12/2022” on the

               date line. A stamp on the envelope indicates the ballot was processed

               by the county board of elections on “10/15/22.” APP_01416.




                                             102

                                    Pa.App.0478
 Case:
Case   23-3166 Document:
     1:22-cv-00339-SPB    146 Page:
                       Document     483 05/05/23
                                300 Filed Date Filed:
                                                  Page01/10/2024
                                                        103 of 129




   d. Another voter whose ballot was set aside wrote “11/19/2022” on the

      date line. A stamp on the envelope indicates the ballot was processed

      by the county board of elections on “10/24/22.” APP_01417.

   e. Another voter whose ballot was set aside wrote “11-13-2022” on the

      date line. A stamp on the envelope indicates the ballot was received by

      the county board of elections on “2022 OCT 13.” APP_01418.

   f. Another voter whose ballot was set aside wrote “11-23-2022” on the

      date line. A stamp on the envelope indicates the ballot was processed

      by the county board of elections on “10/26/22.” APP_01419.

   g. Another voter whose ballot was set aside wrote “11/14/22” on the date

      line. A stamp on the envelope indicates the ballot was processed by the

      county board of elections on “10-17.” APP_01420.

   h. Another voter whose ballot was set aside wrote “11-25-22” on the date

      line. A stamp on the envelope indicates the ballot was processed by the

      county board of elections on “10/27/2022.” APP_01421.

   i. Another voter whose ballot was set aside wrote “11-17-2022” on the

      date line. A stamp on the envelope indicates the ballot was received by

      the county board of elections on “2022 OCT 20.” APP_01422.




                                    103

                           Pa.App.0479
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     484 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             104 of 129




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      76.      At least three voters’ ballots were set aside because their handwritten

date omitted the month. APP_01494-1496, APP_01572 (Tetro Decl.).

            a. For example, one voter whose ballot was set aside wrote “Friday 7

               2022” on the date line. A stamp on the envelope indicates the ballot was

               received by the county board of elections on “2022 OCT 12.”

               APP_01443.

            b. Another voter whose ballot was set aside wrote “20/2022” on the date

               line. APP_01444.

            c. Another voter whose ballot was set aside wrote “14/2022” on the date

               line. APP_01445.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      C.       Missing or incorrect day

      77.      At least four voters’ ballots were set aside because their handwritten

date included a day that does not exist. APP_01494-1496, APP_01572 (Tetro Decl.).




                                             104

                                    Pa.App.0480
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     485 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             105 of 129




            a. For example, one voter whose ballot was set aside wrote “10/111/22”

               on the date line. A stamp on the envelope indicates the ballot was

               received by the county board of elections on “2022 OCT 13.”

               APP_01486.

            b. Another voter whose ballot was set aside wrote “11/0/22” on the date

               line. A stamp on the envelope indicates the ballot was processed by the

               county board of elections on “11/02/22.” APP_01487.

            c. Another voter whose ballot was set aside wrote “09/31/22” on the date

               line. A stamp on the envelope indicates the ballot was processed by the

               county board of elections on “10/06/22.” APP_01488.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      78.      Conversely, Luzerne County voted to count a ballot dated “09/31/22.”

APP_01153 (Luzerne meeting minutes).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      79.      A voter could not have signed the voter declaration form on the outer

return envelope on a date that does not exist.

                                             105

                                    Pa.App.0481
     Case:
    Case   23-3166 Document:
         1:22-cv-00339-SPB    146 Page:
                           Document     486 05/05/23
                                    300 Filed Date Filed:
                                                      Page01/10/2024
                                                            106 of 129




     Response: Admitted.

     80.      At least 40 voters’ ballots with a handwritten date that omitted the day

were set aside. APP_01494-1496, APP_01572 (Tetro Decl.).

           a. The majority of these 29 ballots indicated “10,” “Oct,” or “October”

              for the month, with the remaining indicating “11,” “Nov,” or

              November” for the month. APP_01494-1496, APP_01572 (Tetro

              Decl.).

           b. All 29 of these ballots indicated 2022 for the year. APP_01494- 1496,

              APP_01572 (Tetro Decl.).

           c. For example, one voter whose ballot was set aside wrote “10- -22” on

              the date line. A stamp on the envelope indicates the ballot was

              processed by the county board of elections on “OCT 28 2022.”

              APP_01436.

           d. Another voter whose ballot was set aside wrote “10- -2022” on the date

              line. A stamp on the envelope indicates the ballot was processed by the

              county board of elections on “10/28/2022.” APP_01437.

           e. Another voter whose ballot was set aside wrote “10- -2022” on the date

              line. A stamp on the envelope indicates the ballot was processed by the

              county board of elections on “10/19/2022.” APP_01438.




                                            106

                                   Pa.App.0482
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     487 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             107 of 129




            f. Another voter whose ballot was set aside wrote “10/ /2022” on the date

               line. A stamp on the envelope indicates the ballot was processed by the

               county board of elections on “10/11/22.” APP_01439.

            g. Another voter whose ballot was set aside wrote “10- -2022” on the date

               line. A stamp on the envelope indicates the ballot was processed by the

               county board of elections on “OCT 11 2022.” An election official wrote

               a note on the envelope that reads: “Left message 11/3/22. . . can’t come

               in to fix 11/4/22.” APP_01440.

            h. . Another voter whose ballot was set aside wrote “10/ /2022” on the

               date line. A stamp on the envelope indicates the ballot was processed

               by the county board of elections on “10/31/22.” APP_01441.

            i. Another voter whose ballot was set aside wrote “10- -22” on the date

               line. A stamp on the envelope indicates the ballot was processed by the

               county board of elections on “10/11/22.” APP_01442.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      81.      Conversely, at least two county board of elections—Bucks and

Fayette— voted unanimously to count a mail ballot “dated October 2022 with no

day listed,” because the board was “able to ascertain what day the ballot was mailed

                                             107

                                    Pa.App.0483
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     488 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             108 of 129




and what day it was received,” and the “entire month of October is included in the

date range in the [Pennsylvania Supreme] Court’s Order.” APP_01157 (Bucks

meeting minutes); see also APP_01161 (Fayette Board voted to count ballot dated

“10-no day -2022”).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      82.      Any day within October 2022 would have been within the range

provided by the Supreme Court’s supplemental order in Ball v. Chapman.

APP_01150-1151.

      Response: Admitted.

      D.       Wrong Line

      83.      At least twelve ballots were set aside for having a missing or incorrect

date on the voter declaration form, even though the voter had written a date that was

within the Supreme Court of Pennsylvania’s date range elsewhere on the outer return

envelope. APP_01494-1496, APP_01572 (Tetro Decl.).

            a. For example, one voter whose ballot was set aside wrote “Nov 4, 2022”

               underneath the date line instead of on it. APP_01489.

            b. Another voter whose ballot was set aside wrote their name on the

               “Today’s Date (Required)” line of the voter declaration, and wrote “10-

                                             108

                                    Pa.App.0484
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     489 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             109 of 129




               24-2022” on a different “Today’s Date” line intended for voters who

               were unable to sign their declaration because of illness or physical

               disability. APP_01490.

            c. Another voter whose ballot was set aside wrote “10-15-22” in a box

               beneath the date line that is intended for county election use only, rather

               than on the date line. APP_01491.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      E.       “Election Day” as “Today’s Date”

      84.      At least 16 ballots were set aside because the voter wrote November 8,

2022 (Election Day) as “Today’s Date” instead of writing the (earlier-in-time) date

that they signed the voter declaration form. APP_01494-1496, APP_01572 (Tetro

Decl.).

            a. For example, one voter whose ballot was set aside wrote “10-12- 22”

               on the date line—the same date the ballot was date stamped “2022 OCT

               12” by the county board of elections—but then crossed out that date

               (“10-12-22”) and wrote “11-8-22” beneath it, accompanied by their

               initials. APP_01407.




                                               109

                                      Pa.App.0485
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     490 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             110 of 129




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      85.    Election Day was within the Supreme Court of Pennsylvania’s date

range. APP_01150-1151.

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

      F.     International dating convention

      86.    18 county boards of elections determined whether the date written on

the outer envelope was within the “correct” date range based on only the American

dating convention of writing the month, then day, then year (MM/DD/YYYY), and

set aside ballots if the voter used a European dating convention of writing the day,

then month, then year (e.g., if a voter wrote 1/11/2022 to indicate November 1,

2022). APP_00039 (Armstrong RFA Resp.); APP_00051 (Beaver RFA Resp.);

APP_00213 (Clinton RFA Resp.); APP_00106 (Bradford RFA Resp.); APP_00277

(Elk RFA Resp.); APP_00283 (Erie RFA Resp.); APP_00319 (Forest RFA Resp.);

APP_00331 (Franklin RFA Resp.); APP_00353 (Greene RFA Resp.); APP_00369

                                             110

                                    Pa.App.0486
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     491 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             111 of 129




(Lackawanna RFA Resp.); APP_00412 (Luzerne RFA Resp.); APP_00451

(McKean RFA Resp.); APP_00467 (Mifflin RFA Resp.); APP_00506 (Perry RFA

Resp.); APP_00584 (Schuylkill RFA Resp.); APP_00594 (Somerset RFA Resp.);

APP_00682 (Wayne RFA Resp.); see also APP_00877a, APP_00882-883

(Lancaster Dep.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      87.    Conversely, at least 31 other counties tried to account for both the

American and International dating conventions in determining whether the outer

return envelope had been correctly dated. APP_00023, APP_00024 (Allegheny RFA

Resp.); APP_00074 (Berks RFA Resp.); APP_00114 (Bucks RFA Resp.);

APP_00127, APP_00128 (Butler RFA Resp.); APP_00195 (Clearfield RFA Resp.);

APP_00227 (Crawford RFA Resp.); APP_00249 (Cumberland RFA Resp.);

APP_00263 (Delaware RFA Resp.); APP_00305 (Fayette RFA Resp.); APP_00348

(Fulton RFA Resp.); APP_00398, APP_00399 (Lehigh RFA Resp.); APP_00432

(Lycoming RFA Resp.); APP_00492 (Northampton RFA Resp.); APP_00700

(Westmoreland RFA Resp.); APP_00728-729 (Babst Calland RFA Resp.); see also

APP_01146 (citizen comment at Oct. 20, 2022 Berks Board meeting, asking

“whether the Election office is checking dates on ballots that may be flipped citing

                                           111

                                    Pa.App.0487
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     492 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             112 of 129




that some people’s country of origin may write a date differently”); APP_01177

(Blair County’s “canvassing board instructions” includes a list of “VALID DATING

FORMATS,” which includes day-month-year).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      88.      At least 34 ballots were set aside for having “incorrect” dates, even

though the handwritten date on the outer return envelope could be read as within the

Supreme Court of Pennsylvania’s date range, assuming the voter used the

International dating convention (DD-MM-YYYY, rather than MM-DD-YYYY

APP_01494-1496, APP_01572 (Tetro Decl.); APP_00841-843 (Berks Dep.);

APP_00929k-n (Westmoreland Dep.).

            a. For example, one voter whose ballot was set aside wrote “1/11/22” on

               the date line. A stamp on the envelope indicates the ballot was

               processed by the county board of elections on “11/02/22.” APP_01408.

            b. Another voter whose ballot was set aside wrote “3-10-2022” on the date

               line. A stamp on the envelope indicates the ballot was received by the

               county board of elections on “2022 OCT 5.” APP_01409.




                                             112

                                    Pa.App.0488
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     493 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             113 of 129




            c. Another voter whose ballot was set aside wrote “4-10-22” on the date

               line. A stamp on the envelope indicates the ballot was received by the

               county board of elections on “2022 OCT-6.” APP_01410.

            d. Another voter whose ballot was set aside wrote “06/10/2022” on the

               date line. A stamp on the envelope indicates the ballot was processed

               by the county board of elections on “10/13/22.” APP_01411.

            e. Another voter whose ballot was set aside wrote “06-10-2022” on the

               date line. A stamp on the envelope indicates the ballot was processed

               by the county board of elections on “10/07/22.” APP_01412.

            f. Another voter whose ballot was set aside wrote “5/11/2022” on the date

               line. A stamp on the envelope indicates the ballot was processed by the

               county board of elections on “11/06/22.” APP_01413.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      G.       Adherence to date range in Ball supplemental order

      89.      The Supreme Court of Pennsylvania’s supplemental order in Ball v.

Chapman defined “incorrectly dated outer envelopes” to mean “mail-in ballot outer

envelopes with dates that fall outside the date range of September 19, 2022, through




                                             113

                                    Pa.App.0489
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     494 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             114 of 129




November 8, 2022,” and “absentee ballot outer envelopes with dates that fall outside

the date range of August 30, 2022, through November 8, 2022.” APP_01150-1151.

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

      90.    At least 17 counties set aside and did not count mail-in or absentee

ballot envelopes that bore a handwritten date within the court’s prescribed date range

(September 19–November 8) if that handwritten date was before the county started

sending out mail ballots. For example, because Westmoreland County did not begin

sending mail ballots to voters until September 30, 2022, it would not have counted

mail ballots that were dated within the Ball date range if the handwritten date on the

outer return envelope was between September 19 and September 29, 2022.

APP_921a-921c (Westmoreland Dep.). See also APP_00141 (Cambria Interrog.

Resp.); APP_00150 (Cameron Interrog. Resp.); APP_00185 (Clarion Interrog.

Resp.); APP_00234 (Crawford Interrog. Resp.); APP_00321 (Forest Interrog.

Resp.); APP_00336 (Franklin Interrog. Resp.); APP_00347 (Fulton Interrog. Resp.);

APP_00363 (Juniata Interrog. Resp.); APP_00454 (McKean Interrog. Resp.);

APP_00469 (Mifflin Interrog. Resp.); APP_00575 (Potter Interrog. Resp.);

                                             114

                                    Pa.App.0490
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     495 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             115 of 129




APP_00610 (Sullivan Interrog. Resp.); APP_00619-620 (Susquehanna Interrog.

Resp.); APP_00629-630 (Tioga Interrog. Resp.); APP_00635 (Union Interrog.

Resp.); APP_00646 (Warren Interrog. Resp.); APP_00706 (Westmoreland Interrog.

Resp.).

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

      91.    At least 25 other counties followed the date range in the Supreme Court

of Pennsylvania’s supplemental order in Ball v. Chapman, even where the

handwritten date on the mail-in or absentee ballot envelope was “incorrect”

inasmuch as it occurred before the counties sent 2022 general election mail ballot

materials to voters, or after the date that the voter’s ballot was received by their

county board of elections. APP_00826-828 (Berks Dep.); APP_00872-873

(Lancaster Dep.); APP_00027-28 (Allegheny Interrog. Resp.); APP_00062 (Beaver

Interrog. Resp.); APP_00078 (Berks Interrog. Resp.); APP_00097 (Blair Interrog.

Resp.); APP_00204 (Clearfield Interrog. Resp.); APP_00268 (Delaware Interrog.

Resp.); APP_00292, APP_00293 (Erie Interrog. Resp); APP_00417 (Luzerne




                                             115

                                    Pa.App.0491
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     496 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             116 of 129




Interrog. Resp.); APP_00530- 531 (Philadelphia Interrog. Resp.); APP_00733-34

(Babst Calland Resp.); see also APP_01159 (Fayette meeting minutes).

         Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

         92.   For example, Berks County counted ballots if the handwritten date on

the outer return envelope was September 20, 2022, even though it did not begin

sending mail ballots to voters until October 7, 2022. APP_00826-829, APP_00831

(Berks Dep.).

         Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

         93.   Likewise, Lancaster County counted ballots if the handwritten date on

the outer return envelope was September 20, 2022, even though it did not begin

sending mail ballots to voters until September 26, 2022. APP_00872-873 (Lancaster

Dep.).




                                             116

                                    Pa.App.0492
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     497 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             117 of 129




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      94.    At least one county—Fayette—counted ballots where the voter had

written an envelope date that was after the date that the board of elections had already

received and time-stamped the package. APP_01159 (Fayette Board voted to count

all ballots that fell within the Supreme Court of Pennsylvania’s date range, including

“incorrectly dated ballots within the date range of September 19, 2022, through

November 8, 2022”).

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

      95.    Other counties did not count ballots where the voter had written an

envelope date that was after the date that the board of elections had already received

and time-stamped the package, even if the voter’s handwritten date was within the

Supreme Court of Pennsylvania’s date range. Appears Correct at TK.

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

                                             117

                                    Pa.App.0493
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     498 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             118 of 129




of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

      96.    At least two counties took different approaches to mail-in and absentee

ballots. The county boards of elections in both Elk and Somerset County counted

absentee ballots if the outer return envelope contained any date within the full Ball

date range (i.e., even before the board had sent the ballot materials to voters), but

counted mail-in ballots only if the handwritten date was after the date on which the

board had sent out the ballot materials. APP_00279 (Elk Interrog. Resp.);

APP_00599 (Somerset Interrog. Resp.).

      Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

      97.    At least 47 ballots were set aside for having “incorrect” dates, even

though the voter included a handwritten date on the outer return envelope that

appeared correct and was within the Supreme Court of Pennsylvania’s date range.

APP_01494-1496, APP_01572 (Tetro Decl.); Appears Correct TK; see also, e.g.,

APP_00844 (Berks Dep.).

                                             118

                                    Pa.App.0494
 Case:
Case   23-3166 Document:
     1:22-cv-00339-SPB    146 Page:
                       Document     499 05/05/23
                                300 Filed Date Filed:
                                                  Page01/10/2024
                                                        119 of 129




   a. For example, one voter whose ballot was set aside wrote “10/17/2020”

      on the date line, then crossed out the year (“2020”), and wrote the year

      “2022” beneath it. A stamp on the envelope indicates the ballot was

      received by the county board of elections on “2022 OCT 19.”

      APP_01402.

   b. Another voter whose ballot was set aside wrote “10/23/2023” on the

      date line, then crossed out the last digit of the year and wrote a 2 next

      to it on the date line (“20232”), and wrote their initials beneath the

      crossed-out digit. A stamp on the envelope indicates the ballot was

      processed by the county board of elections on “10/26/22.” APP_01403.

   c. Another voter whose ballot was set aside wrote the date “9-8-22,” then

      crossed out that date (“9-8-22”) and wrote “10-8-22” next to it. A stamp

      on the envelope indicates the ballot was received by the county board

      of elections on “2022 OCT 13.” APP_01404. d.

   d. Another voter whose ballot was set aside wrote “10/14/2023” on the

      date line, then crossed that date out (“10/14/2023”), and wrote the date

      “10/14/2022” next to it on the date line. The postmark on that ballot

      reads: “14 OCT 2022.” APP_01405.

   e. Another voter whose ballot was set aside wrote “10/4/21” on the date

      line, then crossed out the year (“21”), and wrote the year “22” next to

                                     119

                            Pa.App.0495
            Case:
           Case   23-3166 Document:
                1:22-cv-00339-SPB    146 Page:
                                  Document     500 05/05/23
                                           300 Filed Date Filed:
                                                             Page01/10/2024
                                                                   120 of 129




                   it on the date line, along with their initials. A stamp on the envelope

                   indicates the ballot was received by the county board of elections on

                   “2022 OCT 5.” APP_01406.

            Response: To the extent this paragraph comprises factual allegations, the

      Acting Secretary is not aware of any facts in the record that contradict the allegations

      of this paragraph and accordingly admits the allegations for purposes of this

      litigation only. To the extent this paragraph’s reference to the “Supreme Court of

      Pennsylvania’s date range” sets forth a statement or conclusion of law, no response

      is required thereto.

VI.         UNEQUAL     TREATMENT     AS                           COMPARED               TO
            MILITARY/OVERSEAS BALLOTS

            98.    The Secretary of State provides envelope templates that prescribe the

      form of the envelopes that county boards of elections must use for mail and absentee

      ballots. APP_00963-964 (Marks Dep.).

            Response: Admitted. By way of further response, a complete copy of the

      deposition transcript of Jonathan Marks is attached to the Appendix of Acting

      Secretary Schmidt as Exhibit B.

            99.    The templates for both the mail ballot and the absentee ballot include a

      voter declaration form that the voter must sign and date on the return envelope that

      contains the voter’s secrecy envelope and ballot. APP_00966-973 (Marks Dep.).



                                                   120

                                          Pa.App.0496
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     501 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             121 of 129




      Response: Admitted that a voter declaration is printed on the exterior

envelope of the templates for absentee and mail-in ballot submissions. By way of

further response, a complete copy of the deposition transcript of Jonathan Marks is

attached to the Appendix of Acting Secretary Schmidt as Exhibit B.

      100. The county boards of elections vary the form and layout of the return

envelopes that they submit to voters, but each county’s mail ballot materials include

an outer return envelope (inside which the voter places their secrecy envelope and,

in turn, their ballot) bearing a voter declaration that voters are instructed to sign and

date. APP_00966-973 (Marks Dep.); see, e.g., APP_01290 (Berks mail ballot

envelope).

      Response: Admitted. By way of further response, a complete copy of the

deposition transcript of Jonathan Marks is attached to the Appendix of Acting

Secretary Schmidt as Exhibit B.

      101. Each county’s absentee ballot materials also include a voter declaration

that voters are instructed to sign and date. APP_00966-973 (Marks Dep.);

APP_00933-936 (Westmoreland Dep.). When UOCAVA voters request a paper

ballot from their county board of elections (rather than opting to submit their ballot

electronically), that declaration appears on the envelope containing the voter’s

secrecy envelope and ballot. APP_00933-936 (Westmoreland Dep.); see, e.g.,

APP_01291 (Bucks military-overseas ballot envelope).

                                             121

                                    Pa.App.0497
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     502 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             122 of 129




      Response: Admitted that each county’s absentee ballot materials also include

a voter declaration that voters are instructed to sign and date. For ballots sent to

UOCAVA voters, although ballot submissions still include a declaration, that

declaration is not necessarily printed on the submission’s outer envelope. See Ex. B

to Appendix of Acting Secretary Al Schmidt, Marks Dep. Tr. 146:2-147:23.

      102. The instructions that Berks County provided to domestic voters

submitting mail ballots in the November 2022 general election told the voters to

“Sign and date the pre-addressed return envelope,” and told voters that “YOUR

BALLOT WILL NOT COUNT IF IT IS NOT SIGNED AND DATED.”

APP_01170.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      103. The instructions that Berks County provided to UOCAVA voters

submitting absentee ballots in the November 2022 general election told the voters to

““Fill out the absentee elector’s declaration on the back of this envelope with your

name and address. Be sure to sign where indicated. Your ballot will not be counted

without a signature,” but did not indicate that the ballot would not be counted if the

declaration on the return envelope lacked a handwritten date. APP_01169.




                                            122

                                    Pa.App.0498
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     503 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             123 of 129




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      104. Berks County did not set aside any absentee ballots submitted by

UOCAVA voters in the November 2022 general election on the basis of a missing

or incorrect handwritten date on the ballot’s return envelope. APP_00103 (Berks

Dep.); Berks ROG Resp. at 6.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      105. The envelopes that Westmoreland County provided to domestic voters

submitting mail ballots in the November 2022 general election instructed voters that

“YOUR BALLOT WILL NOT BE COUNTED UNLESS: You sign and date the

voter’s declaration in your own handwriting[.]” APP_01401.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      106. The envelopes that Westmoreland County provided to UOCAVA

voters did not instruct those voters that their ballots would not be counted if the voter

failed to date the voter’s declaration. APP_01201.

                                             123

                                    Pa.App.0499
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     504 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             124 of 129




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      107. Westmoreland County did not set aside any absentee ballots submitted

by UOCAVA voters in the November 2022 general election on the basis of a missing

or incorrect handwritten date on the ballot’s return envelope. APP_00936-937

(Westmoreland Dep.); Westmoreland ROG Resp. at 7.

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      108. At least three county boards of elections—Bucks, Philadelphia, and

Tioga—counted timely-received military-overseas ballots in the November 2022

general election if the voter failed to date their voter declaration or included a date

that the county deemed to be incorrect. APP_00118-119 (Bucks Interrog. Resp.,

Bucks counted 11 ballots with reflecting that undated or misdated declarations);

APP_00535-536 (Philadelphia Interrog. Resp., reflecting that Philadelphia counted

13 ballots with undated or misdated declarations); APP_00632 (Tioga Interrog.

Resp., reflecting that Tioga counted 10 ballots with undated or misdated

declarations).




                                            124

                                    Pa.App.0500
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     505 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             125 of 129




      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      109. At least one additional county board of elections—Lehigh—did not

check the date on the voter declaration for timely-received military-overseas ballots

in the November 2022 general election. APP_00405 (Lehigh Interrog. Resp.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      110. At least five additional county boards of elections did not segregate or

set aside any timely-received military-overseas ballots in the November 2022

general election based on a missing or incorrect date on the voter declaration.

APP_00579 (Potter Interrog. Resp.); APP_00716 (Wyoming Interrog. Resp.);

APP_00673 (Washington Interrog. Resp.); APP_00484 (Montgomery Interrog.

Resp.); APP_00499 (Northampton Interrog. Resp.).

      Response: The Acting Secretary is not aware of any facts in the record that

contradict the allegations of this paragraph and accordingly admits the allegations

for purposes of this litigation only.

      111. Over half of the county boards of elections—37 in total—indicated that

they did not receive any military-overseas ballots in the November 2022 general

                                           125

                                    Pa.App.0501
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     506 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             126 of 129




election that had a missing or incorrect date on the voter declaration, and so they did

not have to determine whether to set aside or count such ballots. APP_00010 (Adams

Interrog. Resp.); APP_00031 (Allegheny Interrog. Resp.); APP_00044 (Armstrong

Interrog. Resp.); APP_00066 (Beaver Interrog. Resp.); APP_00082 (Berks Interrog.

Resp.); APP_00101 (Blair Interrog. Resp.); APP_00110 (Bradford Interrog. Resp.);

APP_00133 (Butler Interrog. Resp.); APP_00142 (Cambria Interrog. Resp.);

APP_00153-54 (Cameron Interrog. Resp.); APP_00206 (Clearfield Interrog. Resp.);

APP_00220 (Clinton Interrog. Resp); APP_00240-41 (Crawford Interrog. Resp.);

APP_00256 (Cumberland Interrog. Resp.); APP_00271 (Delaware Interrog. Resp.);

APP_00279 (Elk Interrog. Resp.); APP_00296 (Erie Interrog. Resp.); APP_00313

(Fayette Interrog. Resp.); APP_00324 (Forest Interrog. Resp.); APP_00339

(Franklin Interrog. Resp.); APP_00348 (Fulton Interrog. Resp.); APP_00357

(Greene Interrog. Resp.); APP_00377 (Lackawanna Interrog. Resp.); APP_00421

(Luzerne Interrog. Resp.); APP_00442 (Lycoming Interrog. Resp.); APP_00462

(Mercer Interrog. Resp.); APP_00472 (Mifflin Interrog. Resp.); APP_00542 (Pike

Interrog. Resp.); APP_00587 (Schuylkill Interrog. Resp.); APP_00602 (Somerset

Interrog. Resp.); APP_00612 (Sullivan Interrog. Resp.); APP_00621 (Susquehanna

Interrog. Resp.); APP_00637 (Union Interrog. Resp.); APP_00649 (Warren

Interrog. Resp.); APP_00692 (Wayne Interrog. Resp.); APP_00709 (Westmoreland

Interrog. Resp.).

                                            126

                                   Pa.App.0502
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     507 05/05/23
                                       300 Filed Date Filed:
                                                         Page01/10/2024
                                                               127 of 129




       Response: The Acting Secretary is not aware of any facts in the record that

 contradict the allegations of this paragraph and accordingly admits the allegations

 for purposes of this litigation only.

VII.   RELIEF

       112. County boards of elections are responsible for creating and retaining

 official records of election results, including a copy of the returns that must be

 available for public inspection at the county election board’s office. APP_01183

 (Greenburg Report); 25 P.S. § 3152.

       Response: To the extent this paragraph comprises factual allegations, the

 Acting Secretary is not aware of any facts in the record that contradict the allegations

 of this paragraph and accordingly admits the allegations for purposes of this

 litigation only. To the extent this paragraph sets forth statements or conclusions of

 law, no response is required thereto.

       113. County boards of elections maintain digital and paper records of the

 total number of votes received by each candidate in past elections. APP_00846

 (Berks Dep.); APP_00930-931 (Westmoreland Dep.); APP_01183 (Greenburg

 Report).

       Response: To the extent this paragraph comprises factual allegations, the

 Acting Secretary is not aware of any facts in the record that contradict the allegations

 of this paragraph and accordingly admits the allegations for purposes of this

                                              127

                                     Pa.App.0503
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Page:
                            Document     508 05/05/23
                                     300 Filed Date Filed:
                                                       Page01/10/2024
                                                             128 of 129




litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.

         114. County boards of elections are capable of updating records of the total

number of votes received by each candidate in past elections if ordered to do so by

a court. APP_01183-1184 (Greenburg Report); APP_00931-932 (Westmoreland

Dep.).

         Response: To the extent this paragraph comprises factual allegations, the

Acting Secretary is not aware of any facts in the record that contradict the allegations

of this paragraph and accordingly admits the allegations for purposes of this

litigation only. To the extent this paragraph sets forth statements or conclusions of

law, no response is required thereto.




                                             128

                                    Pa.App.0504
     Case:
    Case   23-3166 Document:
         1:22-cv-00339-SPB    146 Page:
                           Document     509 05/05/23
                                    300 Filed Date Filed:
                                                      Page01/10/2024
                                                            129 of 129




May 5, 2023                             Respectfully submitted,


Robert A. Wiygul (Bar. No. 310760)      Michael J. Fischer (Bar. No. 322311)
John B. Hill (Bar. No. 328340)          Executive Deputy General Counsel
HANGLEY ARONCHICK SEGAL
PUDLIN & SCHILLER                       /s/ Jacob Boyer
One Logan Square, 27th Floor            Jacob Boyer (Bar. No. 324396)
Philadelphia, PA 19103-6933             Deputy General Counsel
                                        333 Market Street, 17th Floor
Elizabeth Lester-Abdalla (Bar. No.      Harrisburg, PA 17101
327276)                                 (717) 460-6786
Deputy Attorney General                 jacobboyer@pa.gov
OFFICE OF ATTORNEY GENERAL
1600 Arch Street, Suite 300
Philadelphia, PA 19103                  Counsel for Acting Secretary Al Schmidt




                                      129

                              Pa.App.0505
     Case:1:22-cv-00339-SPB
     Case  23-3166 Document:  146 Page:
                            Document 301 510    Date Filed:
                                         Filed 05/05/23     01/10/2024
                                                         Page  1 of 378




                 UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PENNSYLVANIA STATE CONFERENCE OF
THE NAACP, et al.,

                  Plaintiffs,
                                                 No. 1:22-cv-339
            v.                                   Judge Susan Paradise Baxter

AL SCHMIDT, in his official capacity as Acting
Secretary of the Commonwealth, et al.,

                  Defendants.




            APPENDIX OF AL SCHMIDT IN SUPPORT OF
        RESPONSE TO MOTIONS FOR SUMMARY JUDGMENT


Robert A. Wiygul (Bar. No. 310760)      Michael J. Fischer (Bar No. 322311)
John B. Hill (Bar. No. 328340)          Executive Deputy General Counsel
HANGLEY ARONCHICK SEGAL                 Jacob B. Boyer (Bar. No. 324396)
PUDLIN & SCHILLER                       Deputy General Counsel
One Logan Square, 27th Floor            333 Market Street, 17th Floor
Philadelphia, PA 19103-6933             Harrisburg, PA 17101
                                        (717) 460-6786
                                        jacobboyer@pa.gov

                                        Elizabeth Lester-Abdalla (Bar. No.
                                        327276)
Counsel for Acting Secretary Al         Deputy Attorney General
Schmidt                                 OFFICE OF ATTORNEY GENERAL
                                        1600 Arch Street, Suite 300
                                        Philadelphia, PA 19103




                                  Pa.App.0506
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 301 511    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  2 of 378




                               TABLE OF CONTENTS


Complete Transcript of Hearing,
   Chapman v. Berks County Bd. of Elections,
   No. 355 MD 2022 (Pa. Commw. July 28, 2022) .................................. Exhibit A

Complete Deposition Transcript of Jonathan Marks ................................... Exhibit B




                                                 1

                                      Pa.App.0507
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 301 512    Date Filed:
                                    Filed 05/05/23     01/10/2024
                                                    Page  3 of 378




     Exhibit A



                          Pa.App.0508
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Chapman
                              Page:
                       Document
                       Leigh    301 513    Date Filed:
                                    Filed 05/05/23     01/10/2024
                                                    Page  4 of 378   1
                          7/28/2022

            IN THE COMMONWEALTH COURT OF PENNSYLVANIA


  LEIGH M. CHAPMAN, Acting      :
  Secretary of the Commonwealth :
  and the Pennsylvania          :
  Department of State,          :
                 Petitioners    :
                                :
             v.                 :       NO. 355 M.D. 2022
                                :
  BERKS COUNTY BOARD OF         :
  ELECTIONS, FAYETTE COUNTY     :
  Board of Elections, and       :
  LANCASTER COUNTY BOARD OF     :
  ELECTIONS,                    :
                 Respondents    :


  Pages 1 through 263               Courtroom 3001
                                    PA Judicial Center
                                    601 Commonwealth Avenue
                                    Harrisburg, Pennsylvania

                                    Thursday, July 28, 2022

              Met, pursuant to notice, at 10:00 a.m.

  BEFORE:
             HON. RENÉE COHN JUBELIRER, President Judge

  APPEARANCES:

             MICHAEL J. FISCHER, Esquire
             JACOB B. BOYER, Esquire
             Office of Attorney General
             1600 Arch Street, Suite 300
             Philadelphia, Pennsylvania 19103
                  (For the Petitioners)

             JEFF BUKOWSKI, Esquire
             Smith Bukowski
             1050 Spring Street, Suite 1
             Wyomissing, Pennsylvania 19610
                  (For Respondents, Berks County Board of
                   of Elections and Lancaster County Board
                   of Elections)




                       Pa.App.0509
            Strehlow and Associates/LEXITAS
                      215-504-4622
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Chapman
                              Page:
                       Document
                       Leigh    301 514    Date Filed:
                                    Filed 05/05/23     01/10/2024
                                                    Page  5 of 378   2
                          7/28/2022

  APPEARANCES (continued):

          THOMAS W. KING, III, Esquire
          THOMAS E. BRETH, Esquire
          Dillon McCandless King Coulter & Graham L.L.P.
          128 West Cunningham Street
          Butler, Pennsylvania 16001
             (For Respondent, Fayette County Board of
              Elections)

                                  ***




                       Pa.App.0510
            Strehlow and Associates/LEXITAS
                      215-504-4622
     Case:1:22-cv-00339-SPB
     Case  23-3166 Document:  146 Chapman
                                   Page:
                            Document
                            Leigh    301 515    Date Filed:
                                         Filed 05/05/23     01/10/2024
                                                         Page  6 of 378    3
                               7/28/2022

 1                              C O N T E N T S

 2     WITNESSES                 DIRECT    CROSS    REDIRECT   RECROSS

 3     Jonathan Marks

 4       (By Mr. Fischer)                 16       --      111        --

 5       (By Mr. Bukowski)                --       36       --       120

 6       (By Mr. King)                    --       61       --       121

 7     Scott Dunn

 8       (By Mr. Fischer)               125        --       --        --

 9       (By Mr. King)                    --    138         --        --

10     Ray D'Agostino

11       (By Mr. Fischer)               141        --      157        --

12       (By Mr. Bukowski)                --    150         --       159

13       (By Mr. King)                    --    155         --        --

14     Christian Leinbach

15       (By Mr. Boyer)                 160        --      181        --

16       (By Mr. Bukowski)                --    167         --       183

17       (By Mr. King)                    --    176         --        --

18
                                A R G U M E N T
19
                                                                    Page
20
       Oral Argument by Mr. Boyer                                    186
21
       Oral Argument by Mr. Bukowski                                 209
22
       Oral Argument by Mr. King                                     236
23
       Rebuttal Argument by Mr. Boyer                                251
24

25


                            Pa.App.0511
                 Strehlow and Associates/LEXITAS
                           215-504-4622
     Case:1:22-cv-00339-SPB
     Case  23-3166 Document:  146 Chapman
                                   Page:
                            Document
                            Leigh    301 516    Date Filed:
                                         Filed 05/05/23     01/10/2024
                                                         Page  7 of 378     4
                               7/28/2022

 1                              E X H I B I T S

 2                                                FOR                 IN
       NUMBER                          IDENTIFICATION      EVIDENCE
 3
       Joint
 4
        1 (Declaration Envelope
 5         Template)                                  19              109

 6      2 (9/11/20 Department of State
           Guidance)                                  42              109
 7
        3 (9/28/20 Department of State
 8         Guidance)                                  42              109

 9      4 (2022 Mail-in and Absentee
           Ballot Information)                       108              109
10
        5 (5/24/22 Department of State
11         Guidance)                                  58              109

12      6 (6/17/22 Marks E-mails)                     24              109

13      7 (6/23/22 Riegner E-mail)                    55              109

14      8 (6/27/22 Kuznik E-mail)                     28              109

15      9 (6/27/22 Pfursich E-mail)                   30              109

16     10 (6/28/22 Leinbach E-mail)                   31              109

17     11 (6/29/22 Gates Letter)                      27              109

18     12 (7/1/22 Kauffman Letter)                    32              109

19     13 (July E-mail Chain Between
           Gates and Pfursich)                        33              109
20
       14 (7/8/22 Gates E-mail)                       33              109
21
       Petitioner
22
        1 (6/2/22 Order of Judge Cohn
23         Jubelirer in McCormick)                   108              109

24

25


                            Pa.App.0512
                 Strehlow and Associates/LEXITAS
                           215-504-4622
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Chapman
                                     Page:
                              Document
                              Leigh    301 517    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  8 of 378     5
                                 7/28/2022

 1                                E X H I B I T S

 2                                                  FOR                 IN
         NUMBER                          IDENTIFICATION      EVIDENCE
 3
          2 (6/10/22 Order of Judge Cohn
 4           Jubelirer in McCormick)                   108              109

 5       Berks - Lancaster

 6        1 (Third Circuit Docket in
             Migliori)                                 108              109
 7
          2 (3/21/22 Amicus Brief of the
 8           Commonwealth of Pennsylvania
             in Migliori)                              108              109
 9
          3 (4/1/22 Amicus Brief of the
10           Commonwealth of Pennsylvania
             in Migliori)                              108              109
11
          4 (Why Are There Two Envelopes
12           With My Mail-in Ballot)                   108              109

13        5 (Dissenting Opinion of Justice
             Alito in Migliori)                        108              109
14
          6 (Complaint and Docket in
15           Commonwealth of Pennsylvania
             v. Mihaliak at
16           MJ-02202-CR-0000126-2022)          157             157
                (Maintained by Counsel)
17   *RETAINED*
         Fayette
18
          A (6/1/21 Marks E-mail)                      108              109
19
          B (Petition for Writ of
20           Certiorari in Ritter)                     108              109

21        C (U.S. Supreme Court Docket in
             Ritter)                                   108              109
22
          D (Memorandum of Law of the
23           Commonwealth of Pennsylvania
             in Ziccarelli)                             83              109
24

25


                              Pa.App.0513
                   Strehlow and Associates/LEXITAS
                             215-504-4622
     Case:1:22-cv-00339-SPB
     Case  23-3166 Document:  146 Chapman
                                   Page:
                            Document
                            Leigh    301 518    Date Filed:
                                         Filed 05/05/23     01/10/2024
                                                         Page  9 of 378     6
                               7/28/2022

 1                              E X H I B I T S

 2                                                FOR                 IN
       NUMBER                          IDENTIFICATION      EVIDENCE
 3
        E (11/23/20 PA Supreme Court
 4         Decision in In Re: Canvass of
           Absentee and Mail-in Ballots
 5         of November 3, 2020 Election)             108              109

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23                  Any reproduction of this transcript
                    is prohibited without authorization
24                      by the certifying reporter.

25                                     ***


                            Pa.App.0514
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 519 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  10 of 378   7
                                7/28/2022

 1                           P R O C E E D I N G S

 2                       JUDGE COHN JUBELIRER:      Good morning,

 3     everyone, and welcome to Commonwealth Court.          We are here

 4     today in the matter of Leigh Chapman, Acting Secretary of

 5     the Commonwealth and the Pennsylvania Department of State,

 6     Petitioners, versus Berks County Board of Elections,

 7     Fayette County Board of Elections, and Lancaster County

 8     Board of Elections, Respondents.        It is a hearing on

 9     Petitioners' Emergency Application for Peremptory Judgment

10     and Summary Relief.      So welcome.

11                       We will begin.    I understand that there are

12     some witnesses that you anticipating calling.          Would you

13     each like to make a brief opening statement or would you

14     prefer to jump right in?

15                       MR. BUKOWSKI:    I'm not sure, Your Honor, and

16     the Court's preference is, you know, one of the issues we

17     raised some threshold issues as to how we even get to an

18     evidentiary hearing; and we'll defer to Your Honor on how

19     you want to handle that, whether you want us to argue those

20     first before calling witnesses.

21                       We do think that how we got here is the

22     Secretary's filing this action late to challenge the Board,

23     the three County Boards of Elections' certified results in

24     an untimely manner in which no voter challenge exists, no

25     candidate challenge exists, and they're seeking to enforce


                            Pa.App.0515
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 520 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  11 of 378    8
                                7/28/2022

 1     a directive by the Secretary to have the three counties

 2     recertify their results of their elections in accordance

 3     with the Acting Secretary's interpretation of a Third

 4     Circuit decision that wasn't even in effect as of the

 5     deadline and actual date of certification.

 6                       So we can argue those before the Court first

 7     before putting on witnesses, but we're prepared to proceed

 8     however the Court would prefer.

 9                       MR. KING:    Good morning.    Thomas W. King,

10     III, for the Fayette County Board of Elections.          With me is

11     my partner, Thomas Breth, who has appeared before you

12     previously.

13                       I would echo what Mr. Bukowski said.        There

14     are preliminary matters that I'm certain that the Court has

15     seen the papers in the case, but there are preliminary

16     matters that call into question the jurisdiction with

17     respect to hearing this matter because of the failure to

18     comply with the statutory requirements.         Also there is no

19     case or controversy before you; and in addition to that,

20     whatever is filed is completely untimely.

21                       So I'm not sure that we shouldn't at least

22     address those preliminary issues in some way.          There are

23     witnesses here.     There are County Commissioners here.        I

24     have Commissioner Dunn and Commissioner Lohr from Fayette

25     County made the trip here today, and I know that the Deputy


                            Pa.App.0516
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 521 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  12 of 378   9
                                7/28/2022

 1     Secretary Mr. Marks is here who we would call on

 2     cross-examination.

 3                       We're prepared to go however Your Honor

 4     would see fit, but I think there are preliminary issues

 5     that we ought to at least address.        I guess we're kind of

 6     addressing them now, but I think we ought to get to those.

 7     And I would think that the Court would most likely have,

 8     with all due respect, would most likely have questions for

 9     both sides about those issues.

10                       JUDGE COHN JUBELIRER:      And --

11                       Yes?

12                       MR. BUKOWSKI:    And, Your Honor, I didn't

13     introduce myself, so I apologize.        Jeff Bukowski on behalf

14     of both Berks and Lancaster County; and I do have

15     Commissioner Christian Leinbach, Chairman of the Berks

16     County Commissioners, here and Commissioner Ray D'Agostino

17     from the Lancaster County Board of Commissioners here.

18                       And I didn't intend to argue it first other

19     than raise the issue so that if the Court preferred to go

20     that way, maybe Mr. Boyer or Mr. Fischer would try and, you

21     know, convince the Court why they should be here now and

22     then we would argue why they shouldn't be.

23                       JUDGE COHN JUBELIRER:      And thank you very

24     much.   I appreciate and I understand that you haven't

25     actually made your arguments.       You've just presented what


                            Pa.App.0517
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 522 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  13 of 378   10
                                7/28/2022

 1     you would like to, the method you would like to proceed

 2     with.

 3                       Counsel?

 4                       MR. BOYER:    Good morning, Your Honor, Jacob

 5     Boyer --

 6                       JUDGE COHN JUBELIRER:      Good morning.

 7                       MR. BOYER:    -- from the Office of Attorney

 8     General on behalf of the Acting Secretary and the

 9     Department of State.

10                       I think our view is we're prepared to

11     proceed as Your Honor sees fit.        Unless Your Honor's

12     prepared to rule on the legal issues right now, I think it

13     probably makes sense out of respect to the witnesses to

14     proceed with the evidentiary hearing and then to argument.

15                       I will say a couple of the comments that my

16     colleagues on the other side made during their presentation

17     reflects a basic --

18                       JUDGE COHN JUBELIRER:      And please, you know

19     what, before we continue and this is just more of just a

20     method of proceeding here, I have no objection if you wish

21     to speak from your tables where you're sitting because you

22     can have all your materials in front of you; and I also

23     appreciate the respect accorded to the Court by your

24     standing when you speak.

25                       With the streaming of the proceedings so


                             Pa.App.0518
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 523 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  14 of 378        11
                                7/28/2022

 1     that other people can watch this on YouTube without having

 2     to be in court, the volume of your voice is difficult to

 3     hear if you're not sitting or close to the microphone.               So

 4     I will not take it amiss if you sit while you speak to the

 5     Court so that the microphone can catch what you're saying

 6     or, of course, you may stand at the podium.          But I want to

 7     make sure that everybody can hear what you're saying.

 8                       So excuse the interruption but please --

 9           (Mr. Boyer approached the podium.)

10                       JUDGE COHN JUBELIRER:      -- okay -- feel free

11     to go wherever it's most suitable and convenient.

12                       MR. BOYER:    Thank you, Your Honor, and I

13     appreciate the courtesy.

14                       I will say we believe that these issues can

15     be resolved on the paper much like they were in the

16     McCormick matter.     If Your Honor disagrees and believes

17     there are relevant disputed facts, I think our view is that

18     it makes sense out of courtesy to the witnesses to have

19     them testify and then proceed to argument.

20                       The threshold issues that my colleagues

21     raised I think reflect a couple basic misunderstandings

22     about the issues in this case.        Number one, this is not a

23     case to enforce guidance from the Secretary.          This is a

24     case to enforce an order of this Court, state law, and

25     federal law.


                            Pa.App.0519
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 524 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  15 of 378    12
                                7/28/2022

 1                       And, number two, I think they refer to

 2     issues of timeliness.      I believe that's a reference to

 3     Section 3157 of the Election Code which doesn't apply here

 4     since it doesn't apply to contests about certification

 5     which is a ministerial duty that it's supposed to follow

 6     the resolution of issues about computation and canvassing

 7     which are the only things that can be challenged under the

 8     statutes being alluded to.       So I don't think that --

 9                       JUDGE COHN JUBELIRER:      I think are you

10     having trouble hearing?

11                       THE REPORTER:    Yes, and he needs to slow

12     down.

13                       JUDGE COHN JUBELIRER:      And you need to speak

14     a little slower, please.

15                       MR. BOYER:    I'm sorry.

16                       JUDGE COHN JUBELIRER:      Yes.

17                       MR. BOYER:    I apologize.

18                       The threshold issues, Your Honor, in our

19     view are actually quite easily resolved and don't apply in

20     this matter.     So unless Your Honor is in a position to rule

21     ahead of an evidentiary hearing, I think we should proceed

22     with that and then follow the evidentiary hearing with

23     argument.

24                       JUDGE COHN JUBELIRER:      Okay.   Thank you very

25     much.


                            Pa.App.0520
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 525 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  16 of 378    13
                                7/28/2022

 1                       I am going to be taking all of these matters

 2     under consideration, so I don't intend to rule

 3     preliminarily on the issues that you've raised which are

 4     important and I think will benefit from considered thought

 5     and research.

 6                       So given the fact that you have witnesses

 7     here that may or may not want to remain through all of the

 8     arguments, if there is no objection I think we should begin

 9     with the testimony, allow the witnesses to be questioned,

10     make the record, and then afterwards I do want to hear all

11     of the arguments that you've raised.

12                       Even though we're taking it a little out of

13     order, given the situation I think that probably makes most

14     sense although I appreciate your having brought the

15     preliminary threshold issues to the fore.

16                       MR. KING:    Yes, Your Honor.      That's fine

17     with us.    Thank you very much.

18                       MR. BUKOWSKI:    Thank you, Your Honor.      We

19     will proceed accordingly.

20                       JUDGE COHN JUBELIRER:      Thank you very much.

21                       MR. BUKOWSKI:    Thank you.

22                       MR. BOYER:    Thank you, Your Honor.

23                       JUDGE COHN JUBELIRER:      Okay.    Given the way

24     we're going to proceed, would you like to spend a few

25     minutes before we begin with an opening statement or would


                             Pa.App.0521
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 526 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  17 of 378     14
                                7/28/2022

 1     you prefer to wait and at the end do the conclusions?

 2                       MR. FISCHER:    Your Honor, I think we're fine

 3     dispensing with opening statements.

 4                       JUDGE COHN JUBELIRER:      Okay.

 5                       Would you?

 6                       MR. BUKOWSKI:    We agree, Your Honor.

 7                       JUDGE COHN JUBELIRER:      Okay.

 8                       MR. BUKOWSKI:    And since the Court has

 9     directed that we'll get a full chance to argue, we agree

10     that makes sense.

11                       JUDGE COHN JUBELIRER:      Absolutely and I will

12     place no time limitations on your arguments because I know

13     how important they are, and I want to make sure that

14     everyone has the opportunity to make their best arguments

15     and present their best case.

16                       MR. KING:    Thank you very much.

17                       MR. BUKOWSKI:    Very good, Your Honor.      Thank

18     you.

19                       JUDGE COHN JUBELIRER:      Thank you.

20                       In that case I believe it is up to the

21     Secretary to proceed.      Since you are the moving party, you

22     have the burden.

23                       MR. FISCHER:    Thank you very much, Your

24     Honor.    We'd like to call Jonathan Marks as our first

25     witness.


                             Pa.App.0522
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 527 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  18 of 378     15
                                7/28/2022

 1                       MR. HOLLAND:    Please raise your right hand.

 2     Whereupon,

 3                               JONATHAN MARKS,

 4     having been duly sworn, testified as follows:

 5                       MR. HOLLAND:    Please be seated.     Thank you.

 6                       MR. KING:    Excuse me.    May it please the

 7     Court.    Your Honor, with respect to these witnesses, will

 8     the parties be bound by the declarations made to the Court

 9     in the form of a proffer that was included in the

10     memorandum filed?     So, for example, would the Commonwealth

11     be bound by the proffer of what this witness is about to

12     testify about?

13                       JUDGE COHN JUBELIRER:      Is there any

14     objection to that?

15                       MR. FISCHER:    No objection, Your Honor.

16     We've laid out in general terms what we'd like to ask this

17     witness, but I don't intend to go much beyond that.           If Mr.

18     King on cross elicits other points, then we certainly

19     reserve the right on redirect to respond.

20                       MR. KING:    That's fine, Your Honor.      I just

21     wanted to make sure what the rules were before we got into

22     the game here.

23                       JUDGE COHN JUBELIRER:      Sure.   Thank you very

24     much.

25                       MR. KING:    Yes, ma'am.    Thank you.


                            Pa.App.0523
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 528 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  19 of 378   16
                                7/28/2022

 1                              DIRECT EXAMINATION

 2     BY MR. FISCHER:

 3     Q.          Good morning, Mr. Marks.

 4     A.          Good morning.

 5     Q.          What is your current position, sir?

 6     A.          Currently I am the Deputy Secretary for Elections

 7     and Commissions at the Pennsylvania Department of State.

 8     Q.          How long have you been employed by the

 9     Pennsylvania Department of State?

10     A.          Employed by the Pennsylvania Department of State

11     27 years, 28 years.      I started in the Corporation Bureau

12     before I came to Elections.

13     Q.          How long have you worked in the Elections Bureau?

14     A.          I've worked in Elections in a variety of

15     positions for over 18 years, since late 2003.

16     Q.          And how long have you held your current position?

17     A.          Since February of 2019.

18     Q.          Thank you.    I'd just like to ask you briefly

19     about the administration of elections in Pennsylvania.

20     What governmental entity or entities is responsible for

21     administering elections on a day-to-day basis?

22     A           Primarily the county Boards of Elections.         They

23     are statutorily given that duty to administer the

24     day-to-day on election administration.         Of course, the

25     Department of State plays an important role as well in


                            Pa.App.0524
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 529 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  20 of 378   17
                                7/28/2022

 1     election administration at the State level.

 2     Q.          Generally speaking, what are the responsibilities

 3     of the county boards?

 4     A.          Generally speaking, you know, it's to instruct

 5     poll workers, to procure and staff polling places

 6     throughout their county.       It also includes receiving and

 7     tabulating both Election Day votes as well as votes cast by

 8     absentee or through the mail.

 9     Q.          And what are the responsibilities broadly

10     speaking of the Department of State with respect to

11     elections?

12     A.          Our duties are primarily ministerial in nature.

13     We do provide guidance to the counties; but as it relates

14     to elections or a given election, you know, our

15     responsibility primarily is to certify the results of the

16     election upon receipt of the certified election returns

17     from the various 67 county Boards of Elections.

18     Q.          Now, you mentioned guidance issued by the

19     Department of State.      Is the Department of State's guidance

20     binding on the counties?

21     A.          Guidance, no, it is not binding on the counties.

22     The Secretary of the Commonwealth does have the authority

23     to issue directives in some cases.        But when we use the

24     term guidance, we're talking about something that is what

25     the name implies.     It's guidance that counties we expect


                            Pa.App.0525
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 530 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  21 of 378   18
                                 7/28/2022

 1     will follow but as we learned not always.

 2     Q.          Thank you.    And who in Pennsylvania has the final

 3     say over disputed questions relating to the administration

 4     of elections?

 5     A.          The final say, I would think the final say would

 6     be the Court, you know, a competent Court, whatever that

 7     Court happens to be.

 8     Q.          Does the Department make an effort to see that

 9     its guidance is consistent with relevant decisions from the

10     Courts?

11     A.          We do, yes.

12     Q.          So I'd like to ask you a little about the process

13     of certifying elections which you mentioned and then

14     specifically relating to the May, 2022 primary.          First of

15     all, can I ask a question?       What does it mean to canvass

16     the votes cast?

17     A.          Canvass really means the entire process of, you

18     know, the viewing and tabulating of the election returns.

19     So canvass, the county Board of Elections comes together

20     and they will review the returns submitted by the various

21     precincts in their counties.       It also includes adding those

22     totals from absentee and mail-in balloting which are done

23     centrally by the county Board of Elections.

24                 So that precanvass that we have that begins on

25     7:00 a.m. on Election Day as well as the official canvass


                            Pa.App.0526
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 531 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  22 of 378   19
                                7/28/2022

 1     that continues thereafter, all of that is part of the

 2     canvass.    So it's not just the tabulation of votes.         It's

 3     also everything that precedes that during the official

 4     canvassing.

 5     Q.          But it's fair to say that canvassing includes

 6     counting votes and tabulating votes?

 7     A.          It does, yes.

 8     Q.          Thank you.    And what does certification of the

 9     election refer to?

10     A.          Certification is essentially an act, a

11     ministerial act that occurs once the canvass is completed

12     and you've tallied up all the results.         The county will

13     then certify those results to the Secretary of the

14     Commonwealth, and subsequently the Secretary will certify

15     the final results after she compiles them.

16     Q.          So both the counties and the Secretary certify

17     results; is that correct?

18     A.          Correct.    Yes.

19     Q.          Does the Secretary strive to make sure that her

20     certification is accurate and complete?

21     A.          She does, yes.

22     Q.          Sir, I'd like to ask you specifically now about

23     mail-in and absentee ballots, and I'm going to hand you

24     what's been marked as Joint Exhibit 1.

25           (Whereupon, the document was marked as


                             Pa.App.0527
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 532 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  23 of 378   20
                                7/28/2022

 1           Joint Exhibit Number 1 for

 2           identification.)

 3                       THE WITNESS:    Thank you.

 4     BY MR. FISCHER:

 5     Q.          Sir, are you familiar with this document?

 6     A.          I am, yes.

 7     Q.          What is this document?

 8     A.          This is the declaration envelope template drafted

 9     by the Department of State.       A declaration envelope meaning

10     that outside envelope that the voter inserts their ballot

11     inside the secrecy envelope and they sign the declaration.

12     Q.          Could you just explain again?       You mentioned two

13     different envelopes.      Could you just explain the function

14     of the two envelopes?

15     A.          Sure.   So the secrecy envelope or I believe the

16     statute identifies it as official ballot envelope is just a

17     plain envelope with the wording official election ballot on

18     it that the voter inserts their voted ballot into.           The

19     declaration envelope then is the envelope that that inner

20     envelope, that secrecy envelope is inserted into, sealed,

21     and then signed by the elector.        And that is then returned

22     to the county Board of Elections for canvassing.

23     Q.          So what we're looking at as Joint Exhibit 1

24     appears on the outer envelope; is that your testimony?

25     A           Correct.    Yes.


                            Pa.App.0528
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 533 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  24 of 378   21
                                7/28/2022

 1     Q.          Now, there's a place for the voter to sign and

 2     mark, sign or mark and then a line below that for the date.

 3     Do you see that?

 4     A.          I do, yes.

 5     Q.          Could you explain under the Election Code when do

 6     mail-in and absentee ballots need to be returned to the

 7     counties?

 8     A.          A mail-in or absentee ballot must be returned to

 9     the county by 8:00 p.m. on Election Day.

10     Q.          And was that true with respect to the May, 2022

11     primary?

12     A.          It was, yes.

13     Q.          And was this certification form in use for the

14     May, 2022 primary?

15     A.          It was, yes.

16     Q.          Now, with respect to the November, 2020 general

17     election, was the deadline 8:00 p.m. on Election Day?

18     A.          No.   The deadline was not 8:00 p.m. on Election

19     Day November, 2020.      Pursuant to the order of the

20     Pennsylvania Supreme Court, that deadline for receipt was

21     extended to Friday after election.

22     Q.          How do counties determine whether mail-in and

23     absentee ballots were submitted by the deadline?

24     A.          Typically the counties will date-stamp or

25     otherwise put some indicia on the outer envelope indicating


                             Pa.App.0529
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 534 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  25 of 378   22
                                7/28/2022

 1     that it was timely received by the county Board of

 2     Elections.

 3     Q.          Do the counties use the date written by the voter

 4     on the outer envelope to determine timeliness?

 5     A.          Not that I'm aware of, no.

 6     Q.          Are you aware of any purpose for which the

 7     counties use the date as written on the outer envelope?

 8     A.          I cannot think of any administrative purpose.

 9     Q.          Do voters occasionally omit to write a date on

10     the outer envelope?

11     A.          Yes, they do.

12     Q.          And if I refer to those ballots as undated

13     ballots, do you understand what I'm referring to?

14     A.          I do.

15     Q.          And do voters sometimes write a date that is

16     obviously incorrect?

17     A.          Yes.    Voters, anecdotally we've heard from

18     counties where voters will, you know, either put their

19     birth date on there as they misunderstand what's being

20     requested or they'll put a date with the wrong year or the

21     wrong month.

22     Q.          Outside those situations where the date is

23     obviously incorrect, do the counties have a mechanism of

24     verifying whether the date is accurate?

25     A.          No, they do not.


                            Pa.App.0530
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 535 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  26 of 378     23
                                7/28/2022

 1     Q.          Now, earlier you testified about guidance issued

 2     by the Department.      Has the Department issued guidance

 3     relating to undated ballots or wrongly dated ballots as you

 4     describe them?

 5     A.          Yes.   Since early June -- well, actually since

 6     May 20th I believe when the Third Circuit ruled in the

 7     Migliori case, we issued guidance to the counties at that

 8     point indicating that the counties should -- well, sorry.

 9     I want to make sure I get the timeline correct; but, yes,

10     we've issued guidance prior to the primary.          We obviously

11     issued guidance subsequent to that in light of various

12     Court rulings.

13     Q.          So let me drill down a little bit on that.         First

14     of all, are you an attorney for the Department?

15     A.          I am not, no.

16     Q.          You had mentioned the Department issued guidance

17     before and after.     Let me ask you specifically about

18     wrongly dated ballots.      What is the Department's guidance

19     as to wrongly dated ballots such as a ballot where the

20     voter lists his or her birth date?

21     A.          It has been our guidance since I believe

22     September of 2020 that counties cannot and should not set

23     aside ballots that are wrongly dated, meaning a ballot that

24     has an incorrect date whether it's a birth date or some

25     other error by the voter.


                            Pa.App.0531
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 536 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  27 of 378   24
                                 7/28/2022

 1     Q.          And has the Department's guidance with respect to

 2     wrongly dated ballots only changed over that time?

 3     A.          It has not.

 4     Q.          Now, with respect to undated ballots, has the

 5     Department's guidance changed over time?

 6     A.          It has, yes.

 7     Q.          And what has prompted those changes?

 8     A.          Rulings by the Court, this Court as well as the

 9     Third Circuit.

10     Q.          So leading up to the May, 2022 primary, what was

11     the Department's guidance with respect to undated ballots?

12     A.          It was the Department's guidance leading up to

13     the May, 2022 primary that those ballots could not be

14     counted and based on our analysis of the 2020 decision by

15     the Pennsylvania Supreme Court.

16     Q.          I'm going to hand you what's been marked as Joint

17     Exhibit 6.

18            (Whereupon, the document was marked as

19            Joint Exhibit Number 6 for

20            identification.)

21                       THE WITNESS:    Thank you.

22                       Your Honor, is my volume okay?       I tried to

23     --

24                       JUDGE COHN JUBELIRER:      I think so.    Thank

25     you.


                            Pa.App.0532
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 537 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  28 of 378       25
                                 7/28/2022

 1                        Any problem?

 2                        THE REPORTER:    No.

 3     BY MR. FISCHER:

 4     Q.          Mr. Marks, do you recognize this exhibit?

 5     A.          I do, yes.

 6     Q.          Is this an e-mail that you sent?

 7     A.          It is, yes.

 8     Q.          Now, I notice you are the only individual listed

 9     in the recipient line.      Did you only send this e-mail to

10     yourself?

11     A.          No.    I blind copied several counties.      I believe

12     nine counties received this e-mail.

13     Q.          Is that your typical practice when you're

14     e-mailing multiple counties?

15     A.          Yes.    We typically blind copy everyone, and I'll

16     send a copy to myself.

17     Q.          Now, if I could direct you to the second page of

18     the document, the top half of that page there's a list of

19     dates.

20     A.          Yes.    I'm sorry.    I want to correct one thing.       I

21     was confused on the dates.        I believe I sent this e-mail to

22     all county Boards of Elections, June 17th e-mail.

23     Q.          Thank you for that clarification.        What is the

24     summary of events that you have here?

25     A.          This was basically a summary of, you know,


                            Pa.App.0533
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 538 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  29 of 378    26
                                 7/28/2022

 1     relevant events, mostly, you know, rulings by the Court and

 2     other events in between that led to the Department's

 3     determination as to what counties were required to do.

 4     Q.          Now, I'd like to direct you to the bottom

 5     e-mail-in this exhibit dated June 17th, 2022, at 9:08 a.m.

 6     Do you see this e-mail?

 7     A.          I do, yes.

 8     Q.          And did you write and sign this e-mail?

 9     A.          I did, yes.

10     Q.          And what were you trying to communicate to the

11     counties in this e-mail?

12     A.          We were trying to communicate -- I was trying to

13     communicate that if counties had not already done so that

14     they should canvass, tabulate, and certify votes from

15     undated or wrongly dated ballots as the case may be.           And,

16     you know, it's our belief that that should be done in an

17     open meeting if it had not already been done and that

18     subsequently they should certify those totals to the

19     Department of State.

20     Q.          And what had prompted that change in the

21     Department's guidance to counties?

22     A.          Well, it was not only the decision of the Third

23     Circuit but also the June 2nd opinion of this Court as well

24     as I believe the last item on this list of events is an

25     action by the U.S. Supreme Court denying an application for


                            Pa.App.0534
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 539 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  30 of 378   27
                                7/28/2022

 1     stay in the Migliori case.

 2     Q.          Now, you mentioned the June 2nd decision of this

 3     Court.    Did that involve litigation regarding the

 4     republican senate primary?

 5     A           It did, yes.

 6     Q.          And that was actually brought by Mr. McCormick,

 7     one of the candidates, correct?

 8     A.          Correct.

 9     Q.          Sir, I'm going to hand you what's been marked as

10     Joint Exhibit 11.

11           (Whereupon, the document was marked as

12           Joint Exhibit Number 11 for

13           identification.)

14     BY MR. FISCHER:

15     Q.          Have you seen this document before?

16     A.          I have, yes.

17     Q.          And what is the date on this letter?

18     A.          This letter is dated June 29th of 2022.

19     Q.          And who is it sent from?

20     A.          It's sent by Chief Counsel of the Department of

21     State, Timothy Gates.

22     Q.          Now, the letter is directed to the Director of

23     the Berks County Election Services.        Do you recall if this

24     letter was sent to any other county officials?

25     A.          Yes.   My recollection is this letter was sent to


                            Pa.App.0535
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 540 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  31 of 378   28
                                7/28/2022

 1     I believe four counties, Berks, Bradford, Fayette, and

 2     Lancaster.

 3     Q.          And what was the purpose of this letter?

 4     A.          The purpose of this letter was to reiterate the

 5     Department's position that counties were required, in light

 6     of relevant rulings by the Courts, the counties were

 7     required to canvass, tabulate, and certify vote totals cast

 8     on undated or wrongly dated ballots as the case may be.

 9     And it outlines how the Department arrived at that

10     conclusion, briefly summarizes it.

11     Q.          And in between your June 17th e-mail and this

12     June 29th letter, had you been in communication with any

13     counties about those certifications?

14     A.          Yes.   I certainly received questions, had some

15     phone conversations with various counties about the June

16     17th e-mail.

17     Q.          I'm going to hand you what's been marked as Joint

18     Exhibit 8 and also give you the next two to save time but

19     I'll let you know when we're ready for those.

20           (Whereupon, the document was marked as

21           Joint Exhibit Number 8 for

22           identification.)

23     BY MR. FISCHER:

24     Q           Do you recognize Joint 8?

25     A.          I do, yes.


                            Pa.App.0536
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 541 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  32 of 378    29
                                7/28/2022

 1     Q.          And this is an e-mail sent to you from Marybeth

 2     Kuznik, am I saying that right?

 3     A.          Kuznik.

 4     Q.          Kuznik, with the Fayette County Election Bureau,

 5     correct?

 6     A.          Correct.    Yes.

 7     Q.          Dated June 27th?

 8     A.          That's correct, yes.

 9     Q.          And what is Ms. Kuznik saying in her e-mail?

10     A.          So Ms. Kuznik, I'm actually going to read it if

11     that --

12     Q.          Certainly.

13     A.          -- pleases the Court.      The Board of Elections of

14     Fayette County has voted not to open or count the undated

15     ballots from the May 17th, 2022 general primary.           For this

16     reason, I am unable to provide the information you

17     requested in your e-mail below.        Dated ballots with the

18     wrong date were counted and were already included in

19     Fayette's original certification of the primary and

20     subsequent recount, referring to the recount, statewide

21     recount for U.S. Senate.

22     Q.          So now let's look at your e-mail that she was

23     responding to which begins on the bottom of the first page

24     and carries over into the second page.         Do you recall

25     sending this e-mail?


                             Pa.App.0537
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 542 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  33 of 378   30
                                 7/28/2022

 1     A.          I do, yes.    This was sort of my final reminder to

 2     the counties who at that point had not yet certified vote

 3     totals for undated and wrongly dated ballots.

 4     Q.          Did this go to all 67 counties?

 5     A.          It did not.    This one went to nine counties

 6     including Bradford, Berks, Fayette, and Lancaster.

 7     Q.          How had you selected those nine counties to

 8     receive the e-mail?

 9     A.          They were selected based on whether we received

10     from those counties a certification per my original request

11     of June 17th.

12     Q.          All right.    Thank you.    I'd like to now direct

13     you to Joint Exhibit 9 which is the next document up there.

14           (Whereupon, the document was marked as

15           Joint Exhibit Number 9 for

16           identification.)

17     BY MR. FISCHER:

18     Q.          This is another e-mail sent to you from Jacquelyn

19     Pfursich.    Am I saying that correctly?

20     A.          I don't know.    This is the first time I actually

21     had any interaction with Jacquelyn, so I believe that's

22     correct but don't quote me on that.        I'm sure one of the

23     Commissioners from Lancaster County can tell you the

24     correct pronunciation.

25                       MR. D'AGOSTINO:     Pfursich.


                            Pa.App.0538
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 543 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  34 of 378     31
                                 7/28/2022

 1                       MR. FISCHER:    Pfursich, thank you.

 2     BY MR. FISCHER:

 3     Q.     What is Ms. Pfursich's position?

 4     A.          I believe she is the Lancaster County Solicitor.

 5     Q.          And this e-mail is dated June 27th?

 6     A.          It is, yes.

 7     Q.          And I won't ask you to read the entire e-mail,

 8     but is it fair to say that in this e-mail Ms. Pfursich says

 9     that Lancaster County will not be including undated ballots

10     in its certified totals?

11     A.          Yes, that is correct.

12     Q.          And now I'd like to go to Joint Exhibit 10.

13           (Whereupon, the document was marked as

14           Joint Exhibit Number 10 for

15           identification.)

16     BY MR. FISCHER:

17     Q.          This is another e-mail sent to you from Christian

18     Leinbach.    Do you know who Mr. Leinbach is?

19     A.          I do, yes.    I believe he is the Chair of the

20     Berks County Commissioners.

21     Q.          And this is sent on June 28th, correct?

22     A.          Correct.    Yes.

23     Q.          And in this e-mail Mr. Leinbach says please help

24     me understand where the clear Court guidance is regarding

25     certification on undated ballots.        I do not see it.     Do you


                            Pa.App.0539
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 544 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  35 of 378   32
                                7/28/2022

 1     see that?

 2     A.          I do, yes.

 3     Q.          So is it fair to say that you understood this

 4     e-mail to be communicating that Mr. Leinbach did not agree

 5     with the Department's position?

 6     A.          Yes, I think that's a fair --

 7     Q.          I'm going to hand you the next three exhibits

 8     which are 12, 13, and 14.       I want to direct you to Joint

 9     Exhibit 12 first.

10           (Whereupon, the document was marked as

11           Joint Exhibit Number 12 for

12           identification.)

13     BY MR. FISCHER:

14     Q.          Now, this is the letter from the Berks County --

15     First Assistant Berks County Solicitor to Mr. Gates,

16     correct?

17     A.          Yes, that's correct.

18     Q.          And dated July 1st?

19     A.          Yes.

20     Q.          And in this letter Mr. Kauffman, the Assistant

21     County Solicitor, says in the second sentence, pursuant to

22     a majority vote of the Berks County Board of Elections, the

23     County of Berks will not be recertifying the results of the

24     May 17th, 2022 primary election as requested in your

25     correspondence?


                             Pa.App.0540
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 545 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  36 of 378   33
                                7/28/2022

 1     A.          Correct.

 2     Q.          And what correspondence is Mr. Kauffman referring

 3     to there?

 4     A.          He's referring to the June 29th letter from our

 5     Chief Counsel, from Mr. Gates to the Election Director in

 6     Berks County.

 7     Q.          I'd like to direct you to Joint Exhibit 13 and

 8     specifically the second e-mail in the chain which is from

 9     Ms. Pfursich to Mr. Gates.

10           (Whereupon, the document was marked as

11           Joint Exhibit Number 13 for

12           identification.)

13     BY MR. FISCHER:

14     Q.          Have you seen this e-mail before?

15     A.          Are you referring to the July 5th, 4:17 p.m.?

16     Q.          Yes, that's correct.

17     A.          I have, yes.

18     Q.          And is it fair to say Ms. Pfursich is reiterating

19     what she previously said to you which is that Lancaster

20     County will not be including undated ballots in its total?

21     A.          That is correct.     Yes.

22     Q.          Now, finally I'd like to direct you to Joint

23     Exhibit 14.

24           (Whereupon, the document was marked as

25           Joint Exhibit Number 14 for


                            Pa.App.0541
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 546 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  37 of 378   34
                                7/28/2022

 1           identification.)

 2     BY MR. FISCHER:

 3     Q.          This is an e-mail from Mr. Gates to Ms. Kuznik.

 4     What is the date on this e-mail?

 5     A.          This e-mail is -- are you referring to the one at

 6     the top of the chain --

 7     Q.          Yes.

 8     A.          -- which is July 8th, 2022, at 6:31 p.m.?

 9     Q.          Thank you.    Can you just read what Mr. Gates says

10     in this e-mail?

11     A.          Following up again.     Please advise on your

12     response as requested.      Fayette County is the only county

13     that I have not yet heard from.

14     Q.          And with respect to the subject that Fayette

15     County did not report to Mr. Gates on, do you have an

16     understanding of what that refers to?

17     A.          Yes.   Following all the way back to the beginning

18     of this thread, it is follow-up from the June 29th e-mail

19     from Mr. Gates where he attaches the letter, the June 29th

20     letter, the one to the four counties regarding

21     certification of undated ballot vote totals.

22     Q.          And do you see the second e-mail in the chain

23     dated July 5th, 2022?

24     A.          I do, yes.

25     Q.          Now, this is sent to two e-mail addresses, Ms.


                            Pa.App.0542
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 547 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  38 of 378   35
                                7/28/2022

 1     Kuznik and jackpurcell146@gmail.        Do you know who Mr.

 2     Purcell is?

 3     A.          I don't.    I believe Mr. Purcell may be counsel

 4     for Fayette County or I'm really not sure.

 5     Q.          And in this e-mail Mr. Gates says, Jack,

 6     following up on my e-mail and letter last week.          If you do

 7     not provide the requested information by 5:00 p.m. today,

 8     the Acting Secretary intends to pursue all necessary and

 9     appropriate legal action, Tim.        Did I read that correctly?

10     A.          You did, yes.

11     Q.          Now, I believe earlier you mentioned that Mr.

12     Gates' letter went to four counties; is that correct?

13     A.          Yes, I believe that's correct.

14     Q.          Did any of those counties ultimately comply with

15     the Department's request to include undated ballots in

16     their certified totals?

17     A.          Yes, Bradford County.

18     Q.          Bradford did.    With respect to the other three,

19     did they ultimately comply?

20     A.          No.

21     Q.          In the Department's view have those three

22     counties complied with their obligation to certify the

23     results of the May, 2022 primary?

24     A.          No.

25     Q.          Now, we've talked a little bit about undated


                            Pa.App.0543
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 548 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  39 of 378     36
                                7/28/2022

 1     ballots and wrongly dated ballots earlier.           Are you aware

 2     of any county that excluded wrongly dated ballots from its

 3     certified total?

 4     A.          I am not aware of any county other than these

 5     three that have excluded -- I'm sorry.         You said wrongly

 6     dated ballots?

 7     Q.          Wrongly dated ballots.

 8     A.          No.   I'm not aware of any county that excluded

 9     wrongly dated ballots.

10     Q.          But in the submissions from these three counties,

11     it is your understanding that undated ballots were not

12     included?

13     A.          That is correct.     Yes.

14     Q.          Thank you.

15                       MR. FISCHER:    Thank you.    We have no further

16     questions, Your Honor.

17                       JUDGE COHN JUBELIRER:      Thank you very much.

18                       Which of you would prefer to go first?

19                       MR. BUKOWSKI:    I'll go first, Your Honor.

20                       JUDGE COHN JUBELIRER:      Okay.    And if you can

21     either come up here or --

22                       MR. BUKOWSKI:    I'll come up.

23                       JUDGE COHN JUBELIRER:      Okay.

24                              CROSS-EXAMINATION

25     BY MR. BUKOWSKI:


                            Pa.App.0544
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 549 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  40 of 378   37
                                 7/28/2022

 1     Q.          Good morning, Mr. Marks.

 2     A.          Good morning.

 3     Q.          I introduced myself to the Court earlier.         My

 4     name is Jeff Bukowski.      I'm representing the Election

 5     Boards from Berks County and Lancaster County in this

 6     action.    Thank you for being here this morning and giving

 7     your testimony.

 8                 Let's go back to -- you still have the exhibit

 9     binder in front of you?

10     A.          I do.

11     Q.          You were asked about Joint Exhibit 1 which is the

12     form of the --

13     A.          Yes.

14     Q.          -- outer envelope?

15     A.          I'm putting them in order.       I have a pile of

16     paper.

17     Q.          Okay.   Take your time.

18     A.          I have it.    You're referring to this

19     (indicating) --

20     Q.          Yes.

21     A.          -- ballot envelope template?

22     Q.          And that's the form of voter declaration on the

23     outer envelope that's circulated by the Department to the

24     Boards of Elections; is that right?

25     A.          It is, yes.


                            Pa.App.0545
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 550 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  41 of 378    38
                                7/28/2022

 1     Q.          Okay.   And on that form it's two pages.        I'm not

 2     sure what the difference is.       Maybe one's if it's different

 3     for an absentee or a mail-in ballot, but I did not discern

 4     a difference other than one has a nice blue line at the

 5     top.   Are they the same?

 6     A.          The declaration is substantively the same, yes.

 7     Q.          Okay.   And the notes, the bold lettering on the

 8     side running from the left side of the page, so if you turn

 9     it sideways, that says -- the first line in all caps and

10     bold says your ballot will not be counted unless, correct?

11     A.          That's correct.     Yes.

12     Q.          And then it has two bullet points or little

13     blocks that have the two things that tell the voter what

14     would result in their vote not being counted?

15     A.          Correct.    Yes.

16     Q.          Okay.   And the first block says you sign and date

17     the voter's declaration in your own handwriting; is that

18     right?

19     A.          That is correct.

20     Q.          So this form promulgated by the Secretary and the

21     Department includes clear instructions to the voter that

22     their vote on the ballot will not be counted unless the

23     ballot is signed and dated, the voter's declaration is

24     signed and dated in the voters's own handwriting; is that

25     right?


                            Pa.App.0546
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 551 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  42 of 378   39
                                7/28/2022

 1     A.          That's correct.

 2     Q.          Okay.   And now looking at the voter's declaration

 3     and the signature block, so turning it back right side up,

 4     the voter's declaration states I hereby declare that I am

 5     qualified to vote in this election, correct?

 6     A.          Correct.

 7     Q.          Then it goes on to say that I have not already

 8     voted in this election, correct?

 9     A.          That's correct.

10     Q.          And I further declare that I marked my ballot in

11     secret, correct?

12     A.          Correct.

13     Q.          And I am qualified to vote the enclosed ballot?

14     A.          Correct.

15     Q.          It further declares I understand I am no longer

16     eligible to vote at my polling place after I returned my

17     voted ballot?

18     A.          Correct.

19     Q.          However, if my ballot is not received by the

20     county, I understand I may only vote by provisional ballot

21     at my polling place unless I surrender my balloting

22     materials to be voted to the Judge of Elections at my

23     polling place; is that right?

24     A.          To be voided to the Judge of Elections at my

25     polling place.


                            Pa.App.0547
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 552 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  43 of 378   40
                                7/28/2022

 1     Q.          To be voided, I apologize.       The last one is I

 2     understand I may only vote by provisional ballot at my

 3     polling place unless I surrender my balloting materials to

 4     be voided to the Judge of Elections at my polling place?

 5     A.          That's correct.

 6     Q.          And below that is a block with a big X that says

 7     voter sign or mark here, right?

 8     A.          Correct.

 9     Q.          And in parentheses in bold text it says required?

10     A.          That's correct.

11     Q.          And below that there's a blank, and below the

12     line on that blank it says in bold text today's date?

13     A.          Correct.

14     Q.          And next to that it says in parentheses in bold

15     text required?

16     A.          Correct.

17     Q.          Is there anything on this that would indicate to

18     the voter that the date is not required on this?

19     A.          No, nothing that would indicate to the voter that

20     the date is not required.

21     Q.          And there's nothing -- and the date in question

22     says pretty plainly, you would agree, wouldn't you, it's

23     today's date, the date you sign it?

24     A.          I would.    I'm one of those people that still puts

25     the wrong year, though, on checks four months into the


                            Pa.App.0548
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 553 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  44 of 378   41
                                7/28/2022

 1     following year, so I understand how it happens.

 2     Q.          It's a good thing we vote in the primary in May

 3     then?

 4     A.          Yes.

 5     Q.          Thank you.    Now, the next exhibit -- well, before

 6     we get into the next exhibit, you had discussed guidance

 7     issued by the Department; is that right?

 8     A.          That is correct.      Yes.

 9     Q.          And you conceded that that guidance is not

10     binding on county boards of election?

11     A.          Correct.    Yes.

12     Q.          And the guidance at issue -- well, the guidance

13     that was promulgated by the Department prior to the May,

14     2022 general primary election were two pieces of guidance.

15     There's one that's Joint Exhibit 2 which is guidance issued

16     September 11th, 2020; is that right?

17     A.          I don't have Joint Exhibit 2 in front of me, but

18     the timeline sounds correct.

19                        MR. BUKOWSKI:    Do you have that?

20                        MR. BOYER:   These are all the exhibits.

21           (Documents handed to Mr. Bukowski.)

22                        MR. BUKOWSKI:    Here's a set of all 14 so

23     I'll direct you.      Here you go.

24                        THE WITNESS:    Thank you.

25     BY MR. BUKOWSKI:


                            Pa.App.0549
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 554 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  45 of 378   42
                                7/28/2022

 1     Q.          Do you have Joint Exhibit 2 now in front of you?

 2     A.          I do, yes.

 3     Q.          Okay.    And Joint Exhibit 2 is guidance issued by

 4     the Department on September 11th, 2020?

 5     A.          That is correct.     Yes.

 6           (Whereupon, the document was marked as

 7           Joint Exhibit Number 2 for

 8           identification.)

 9     BY MR. BUKOWSKI:

10     Q.          Okay.    And now would you turn to Joint Exhibit 3?

11     That's similar guidance.       It's guidance issued by the

12     Department of State dated September 28th, 2020?

13     A.          Correct, yes.

14           (Whereupon, the document was marked as

15           Joint Exhibit Number 3 for

16           identification.)

17     BY MR. BUKOWSKI:

18     Q.          So a couple weeks after the prior guidance?

19     A.          Right.

20     Q.          And the title page of Joint Exhibit 3 says

21     Guidance Concerning Civilian Absentee and Mail-in Ballot

22     Procedures, correct?

23     A.          Correct.

24     Q.          And then if you turn to page 5 of Joint Exhibit

25     3, let me know when you're there.


                            Pa.App.0550
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 555 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  46 of 378    43
                                 7/28/2022

 1     A.          I am there.

 2     Q.          Okay.   In the middle of the page above the bullet

 3     points, the second set of bullet points, it says, with

 4     regard to the outer ballot return envelope.          And then there

 5     are three bullet points; is that right?

 6     A.          That's correct.     Yes.

 7     Q.          And the first bullet point says -- so I'll read

 8     the intro and then the bullet point says, with regard to

 9     the outer ballot return envelope, a ballot return envelope

10     with a declaration that is filled out, dated, and signed by

11     an elector who was approved to receive an absentee or a

12     mail-in ballot is sufficient and counties should continue

13     to precanvass and canvass these ballots, correct?

14     A.          Correct.

15     Q.          The next bullet says, a ballot return envelope

16     with a declaration that is not filled out, dated, and

17     signed is not sufficient and must be set aside, declared

18     void, and may not be counted.       Ballot return envelopes must

19     be opened in such a manner as not to destroy the

20     declarations executed thereon; is that right?

21     A.          That's correct.

22     Q.          Now, the language in this, filled out, dated, and

23     signed, that stems from the Election Code provision that

24     requires absentee and mail-in voters to fill out, date, and

25     sign their ballots, right?


                            Pa.App.0551
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 556 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  47 of 378   44
                                7/28/2022

 1     A.          Yes.    I think that's fair.

 2     Q.          Okay.    And the language in the second bullet,

 3     sufficient, a ballot return envelope with a declaration

 4     that is not filled out, dated, and signed is not sufficient

 5     and must be set aside.      That word sufficient comes from the

 6     language of the Election Code that directs Boards of

 7     Elections to determine if the voter's declaration is

 8     sufficient; isn't that right?

 9                        MR. FISCHER:    Your Honor, I'm just going to

10     object to the extent that there's a call for a legal

11     conclusion here since Mr. Marks is not an attorney.

12                        MR. BUKOWSKI:    He's testified about how

13     their guidance complies with the Election Code in cases

14     interpreting the Election Code.        I think he can at least

15     answer his understanding of my question.

16                        JUDGE COHN JUBELIRER:     So I will, yes, kind

17     of sustain in part that I recognize that he is not an

18     attorney.    He is not giving a legal conclusion; but if he

19     has an opinion in his position, he can give that.

20                        MR. FISCHER:    Thank you.

21                        THE WITNESS:    I don't have the Election Code

22     in front of me so I don't recall if that exact word is

23     used, but I think certainly it implies that an envelope is

24     insufficient if those items are not completed.

25                        MR. BUKOWSKI:    Okay.   And we'll provide the


                            Pa.App.0552
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 557 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  48 of 378     45
                                7/28/2022

 1     Court in our argument later with some of the specific

 2     language.    So thank you.

 3     BY MR. BUKOWSKI:

 4     Q.          Now, and this guidance, Joint Exhibit 3, I guess

 5     is guidance to the Boards of Elections on how they should

 6     canvass and count these absentee and mail-in ballots,

 7     correct?

 8     A.          Correct.    Yes.

 9     Q.          Do you recognize and does the Department

10     recognize that the canvassing and counting or canvassing

11     and computing of absentee ballots is discretionary, is a

12     discretionary act?

13     A.          Well, I think certainly the mechanics of it

14     certain are discretionary.       Whether or not to count legally

15     cast ballots I don't believe is discretionary.          I think

16     that's a duty.

17     Q.          Let me rephrase my question.       Determining whether

18     a ballot is legally cast is an act of discretion by the

19     county boards of election and subject to interpretation;

20     isn't that right?

21     A.          I think I would disagree with you there.         I think

22     the statute, you know, provides direction as to which

23     ballots should be counted; and the statute in this case as

24     interpreted by the Courts I believe that's ultimately the

25     authority on which ballots should be counted and which ones


                             Pa.App.0553
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 558 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  49 of 378   46
                                7/28/2022

 1     shouldn't.

 2     Q.          And when you say interpreted by the Courts, are

 3     you talking about the 2020 In Re: Canvass Pennsylvania

 4     Supreme Court decision?

 5     A.          Well, again you're getting a layman's

 6     interpretation here, but it would be that as well as recent

 7     decisions including the Third Circuit's decision in

 8     Migliori as well as the Commonwealth Court's decision on

 9     June 2nd.

10     Q.          Okay.    Let's limit it to decisions before

11     Election Day 2022.      Before May 17th, 2022, the only

12     decision that the Department believes is relevant is In Re:

13     Canvass by the Supreme Court in November of 2020, correct?

14     A.          I believe that's fair, yes.

15     Q.          Right.    Because this Court's decision in

16     McCormick was June 2nd, 2022, right?

17     A.          Correct.

18     Q.          And then the Migliori decision was -- and we'll

19     argue about that -- but it was issued -- it came out May

20     20th --

21     A.          Yes.

22     Q.          -- and then was stayed and then became effective

23     ultimately June 9th, 2022, when the Supreme Court vacated

24     the decision?

25     A.          Correct.    I'll concede the timing is not perfect.


                            Pa.App.0554
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 559 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  50 of 378       47
                                7/28/2022

 1     Q.          Okay.    So up through -- and is there any

 2     Departmental guidance between September 28th, 2020, and

 3     Election Day May 17th, 2022, regarding how to handle

 4     civilian absentee and mail-in ballots?

 5     A.          Generally perhaps but on the question of undated

 6     ballots if that's what you're asking, there was no change

 7     in our guidance during that period of time.

 8     Q.          So the guidance going into Election Day from the

 9     Department to the boards was if it's not signed and dated,

10     those ballots should be set aside and not counted; is that

11     fair?

12     A.          Yes.    That was certainly our guidance prior to

13     the Third Circuit's ruling in Migliori.

14     Q.          And the Department believes that that guidance is

15     consistent with In Re: Canvass, the 2020 PA Supreme Court

16     decision?

17                        MR. FISCHER:    Again, Your Honor, I'll

18     object.    It calls for a legal conclusion.

19                        MR. BUKOWSKI:    I'll withdraw the question.

20                        JUDGE COHN JUBELIRER:     Okay.   Thank you.

21     BY MR. BUKOWSKI:

22     Q           Now, going forward to your correspondence, so I

23     think that might be in the binder if you had a binder.               I

24     think the first correspondence from --

25     A.          It might be --


                            Pa.App.0555
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 560 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  51 of 378   48
                                7/28/2022

 1     Q.          -- from you, sir, is Joint Exhibit 6.        Do you

 2     have that?

 3     A.          I do.    This is the e-mail dated June 17th at 9:08

 4     a.m.?

 5     Q.          Right.    That's from you to the various county

 6     Boards of Elections, correct?

 7     A.          Correct.

 8     Q.          June 17th, 2022.     Now, you did talk about later

 9     -- and I'll get to that -- but when you talked about the

10     boards, these particular boards who are parties here,

11     Berks, Lancaster, and Fayette, you had testified earlier

12     that at least as of, you know, June 27th through July 1st

13     of 2022 they had not certified final results and sent those

14     to the Secretary, that that included votes from undated

15     mail-in or absentee ballots; is that right?

16     A.          Yes.    I believe it was June 29th.      It was

17     counties that had not done it by June 29th was held against

18     the date of the letter from our counsel.

19     Q.          So the fact that they had not done that, that

20     spurred Mr. Gates to send his letter?

21     A.          Correct.

22     Q.          Okay.    But prior to that on June 6th, June 7th,

23     and June 8th, respectively, each of these three counties

24     had submitted final certified results to the Secretary; is

25     that right?


                            Pa.App.0556
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 561 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  52 of 378   49
                                7/28/2022

 1     A.          I believe yes.     My recollection is that each of

 2     these counties had submitted a certification of election

 3     results to the Secretary.

 4     Q.          Okay.    And you had testified previously that the

 5     Secretary's role in the process is ministerial, correct?

 6     A.          Yes.    That's correct.

 7     Q.          And her role is to take in the certified results

 8     from the 67 county Boards of Elections, right, and tabulate

 9     all those from the statewide votes and to tabulate those

10     results and then certify the results of those statewide

11     elections?

12     A.          Correct.

13     Q.          Okay.    And has the Secretary done that for the

14     2022 primary?

15     A.          The Secretary has done a partial certification

16     pending resolution in these three counties.

17     Q.          What's the partial certification that the

18     Secretary has done?

19     A.          The partial certification would be certifying

20     results for all those offices that are not impacted by this

21     litigation.

22     Q.          Okay.    So for example?

23     A.          Some congressional districts, some senatorial,

24     and state house districts for example.

25     Q.          All right.    And the statute tells, you know,


                            Pa.App.0557
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 562 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  53 of 378        50
                                7/28/2022

 1     describes which elections she tabulates and certifies.               So

 2     you're saying if it's a county that didn't involve any of

 3     these three counties and there's a congressional race, that

 4     result was certified?

 5     A.          Right.    It's our position that these three

 6     counties have not completed certification; and, therefore,

 7     we've certified results for all those races in the other 64

 8     counties.

 9     Q.          Okay.    And so the Secretary has not certified a

10     single race in which -- statewide race that she would

11     otherwise be required to certify in which any voter in

12     these three counties, Berks, Lancaster, and Fayette, has

13     voted; is that right?

14     A.          Correct.

15     Q.          And her rationale is that her interpretation of

16     what the Election Code requires differs from the

17     interpretation of the independent county Boards of

18     Elections of each of those three counties?

19     A.          I don't think it's her interpretation of what the

20     Election Code requires.      I think it's the Court's

21     interpretation of what the Election Code requires.

22     Q.          Let's talk about the deadline and timing.         The

23     Election Code provides for deadlines for certification by

24     county boards, doesn't it?

25     A.          It does, yes.


                            Pa.App.0558
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 563 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  54 of 378   51
                                7/28/2022

 1     Q.          And would you agree that this year the deadline

 2     because there was a statewide recount ordered for the U.S.

 3     Senate race, that that deadline was June 8th, 2022?

 4     A.          That sounds correct.      It's June 8th I believe is

 5     correct.

 6     Q.          And isn't it true that on June 6th Lancaster

 7     submitted its certified results?

 8     A.          I don't have a copy of that certification in

 9     front of me, but the timeline roughly sounds correct.

10     Q.          And I'll rely on our stipulated facts, so I don't

11     need to explore that with you.

12                       MR. BUKOWSKI:    But the stipulated facts,

13     Your Honor, do say that Lancaster submitted certified

14     results on June 6th, 2022.       Berks did a partial

15     certification on June 6th, 2022.        It had another issue

16     regarding provisional ballots.        Berks later submitted

17     certified results, updated certified results that included

18     the provisional on June 8th, 2022.        And Fayette was in

19     between the two and submitted its certified results on June

20     7th, 2022.

21     BY MR. BUKOWSKI:

22     Q.          So Berks was the last of those three to certify,

23     and there's no issue of timeliness in this case.           As of

24     June 8th, 2022, you would agree the Third Circuit's order

25     in Migliori was not in effect?


                             Pa.App.0559
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 564 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  55 of 378   52
                                7/28/2022

 1                        MR. FISCHER:    Objection again to the extent

 2     there's a legal --

 3                        THE WITNESS:    I'm not sure I'm best

 4     qualified to make that determination.

 5                        MR. BUKOWSKI:    The order vacating the stay

 6     was issued June 9th.      I think that's in the stipulated

 7     facts.    If it's not we'll present it for argument, Your

 8     Honor.

 9                        THE WITNESS:    It is in the timeline in my

10     e-mail and that date is correct.

11     BY MR. BUKOWSKI:

12     Q.          Okay.    From Joint Exhibit 6 that's what your

13     e-mail says?

14     A.          Correct.

15     Q.          Okay.    So all of the -- your e-mail came June

16     17th which is, depending on which county, nine to 11 days

17     after the Secretary had received their certified results;

18     is that right?

19     A.          Yes.    That amount sounds correct.

20     Q.          Okay.    And the Secretary chose not to challenge

21     in Court the certified results of those three counties that

22     she had received on June 6th, 7th, and 8th; isn't that

23     right, within two days?

24     A.          Up until that point, no.

25     Q.          Okay.    Would you describe your e-mail to the


                            Pa.App.0560
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 565 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  56 of 378   53
                                7/28/2022

 1     county boards a directive?

 2     A.          I don't know that I would describe it as a

 3     directive.    Again, though, I believe that it is, you know,

 4     it was our determination, the Department's determination

 5     that, you know, based on the case law counties had a duty

 6     to certify results that included vote totals from undated

 7     ballots and that failing to do so essentially would in

 8     effect mean that the counties have not completed their

 9     statutory duty to certify vote totals from all legally cast

10     ballots.

11                 And it's my layman's, probably not the most

12     articulate but that's --

13     Q.          No, that's fine.     And does the Department and the

14     Acting Secretary leave room for any reasonable disagreement

15     as to the state of the law on certification of undated

16     ballots as of, you know, the deadline for this election?

17     A.          No.   Again I think our position is that without

18     including those vote totals from undated ballots which this

19     Court had previously asked counties to tabulate, segregate

20     and tabulate, tabulate, that without including those that

21     the certification was not complete, that all legally cast

22     ballots in this case would not be counted, you know.           So

23     that's really our position that the certification is

24     incomplete in light of the case law.

25     Q.          And you're aware that the June 2nd, 2022 order


                             Pa.App.0561
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 566 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  57 of 378   54
                                7/28/2022

 1     from this Court did not say certified ballots, correct?

 2     A.          It did not use the term certified, correct.

 3     Q           And, in fact, the order said I'm ordering you to

 4     do this, tabulate them, report the totals, and if and when

 5     a final decision on the merits is made, then we'll have the

 6     information and you can proceed quickly.         Do you agree with

 7     that?

 8     A.          Yes.   I believe generally that's the language

 9     used in this Court's ruling.

10     Q.          Now, you got in response to your June 17th e-mail

11     which was Joint Exhibit 6, you received responses from all

12     three of these counties, Fayette, Lancaster, and Berks;

13     isn't that right?

14     A.          Yes.

15     Q.          And I won't go through chapter and verse of their

16     responses, but in essence all three of these counties said

17     we disagree and we're not going to do that.          We're not

18     going to certify results that count undated ballots because

19     we view that as not being required; is that fair?

20     A.          Yes, I think it's fair.

21     Q.          So the dates of their communications, you know,

22     Joint Exhibit 7 is the Berks County Director's response.

23     That was June 23rd, so less than a week after your e-mail,

24     correct?

25     A.          Correct.


                             Pa.App.0562
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 567 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  58 of 378   55
                                7/28/2022

 1           (Whereupon, the document was marked as

 2           Joint Exhibit Number 7 for

 3           identification.)

 4     BY MR. BUKOWSKI:

 5     Q.          And then Joint Exhibit 8 was the one from Ms.

 6     Kuznik in Fayette.      That was June 27th 2022, correct?

 7     A.          Correct.

 8     Q.          And then Attorney Pfursich from Lancaster also

 9     responded in Joint Exhibit 9 on June 27th, 2022, correct?

10     A.          That's correct.

11     Q.          So by June 27th you knew all three of these

12     counties had stated they were not going to do what you had

13     requested in your e-mail, correct?

14     A.          Correct.

15     Q.          Now, I want to specifically point out Joint

16     Exhibit 10 which is the e-mail you received in response

17     from Christian Leinbach, the Chairman of the Berks County

18     Commissioners.     Do you have that?

19     A.          I do, yes.

20     Q.          That's the e-mail he sent in response to your

21     June or June 17th e-mail, and his response is dated June

22     28th, 2022, at 12:32 p.m.?

23     A.          Correct.

24     Q.          And you had read into the record the part where

25     he said please help me understand where there is clear


                            Pa.App.0563
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 568 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  59 of 378   56
                                7/28/2022

 1     guidance.    The last sentence of Mr. Leinbach's e-mail says

 2     I look forward to your response.        Do you see that?

 3     A.          Yes.

 4     Q.          Did you respond to Mr. Leinbach's e-mail?

 5     A.          Well, ultimately the Department responded the

 6     next day when Mr. Gates sent the June 29th letter to the

 7     counties who had not yet certified.

 8     Q.          But you did not respond to Mr. Leinbach?

 9     A.          I did not personally respond.       I consulted with

10     our counsel, and it was my understanding that a letter

11     would be going out to each of these counties within the

12     next 24 to 48 hours.

13     Q.          And you didn't respond saying stay tuned, our

14     Chief Counsel is going to send you a letter?

15     A.          I did not, no.

16     Q.          Okay.    And the letter, the one -- and I

17     understand this is an example of the letter -- it's the one

18     addressed to Berks County's Director of Election Services,

19     that's Joint Exhibit 11.       So if I understood your

20     testimony, the response to Christian Leinbach's and the

21     other county officials' e-mail responses was the letter

22     from Attorney Gates?

23     A.          Yeah.    Certainly the counties that asked for

24     clarification.      As I testified earlier, the letter provides

25     a summary of why the Department believed that that was the,


                            Pa.App.0564
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 569 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  60 of 378     57
                                7/28/2022

 1     you know, the mandate from the Courts.

 2     Q.          Okay.    And on July 1st Berks County's Assistant

 3     Solicitor, First Assistant County Solicitor Cody Kauffman,

 4     responded to Mr. Gates and reiterated Berks County's

 5     position?

 6     A.          Correct.    Yes.

 7     Q.          Similarly Attorney Pfursich from Lancaster County

 8     reiterated Lancaster's prior response, and she did so by

 9     her response e-mail Joint Exhibit 13 which was July 5th?

10     A.          You're referring to?

11     Q.          Joint Exhibit 13 is Ms. Pfursich -- I'm sorry.

12     Hers is, yeah, it's July 5th but it's Joint Exhibit 13

13     which starts with Mr. Gates' follow-up thanking her for

14     clarifying or responding.

15     A.          Sorry.    I'm flipping through all this.       Yes, July

16     5th, correct.

17     Q.          Okay.    And Attorney Kauffman's response, Joint

18     Exhibit 12, I think I said was July 1st?

19     A.          That's correct.     Yes.

20     Q.          Okay.    So you knew I guess for the second time

21     the Department was aware that Berks and Lancaster were not

22     going to comply because they told Mr. Gates, Attorney Gates

23     that in response to his letter they disagreed, and

24     therefore they were sticking with the certifications that

25     they had previously submitted; is that right?


                            Pa.App.0565
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 570 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  61 of 378    58
                                7/28/2022

 1     A.          Correct.    Yes.

 2     Q.          Okay.    You testified about Bradford County that

 3     they complied.      Complied with what exactly?

 4     A.          They complied with our request for them to

 5     certify vote totals that included undated ballots.

 6     Q.          And I think the language is important.         It was a

 7     request, wasn't it, to the boards to do?

 8     A.          Well, it was request based on, you know, what we

 9     believe was clear guidance from the Court as to what

10     counties were required to certify.

11     Q.          And the Department issued additional guidance

12     after the May 17th, 2022 election which was issued May

13     24th; is that right?      That's Joint Exhibit 6.      You should

14     have that, if not in your binder the one that I gave you.

15     A.          Yes.

16     Q.          Yeah.    I'm sorry.   It's --

17     A.          Joint Exhibit 5.

18     Q.          -- Joint Exhibit 5.     Joint Exhibit 5?

19     A.          Correct.

20           (Whereupon, the document was marked as

21           Joint Exhibit Number 5 for

22           identification.)

23     BY MR. BUKOWSKI:

24     Q.          And at that point this Court had not issued its

25     order in the McCormick case, correct?


                            Pa.App.0566
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 571 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  62 of 378   59
                                7/28/2022

 1     A.          That's correct.     Yes.

 2     Q.          So the only thing that had happened before

 3     issuing that May 24th guidance was the issuance by the

 4     Third Circuit panel of its decision in the Migliori v.

 5     Cohen case; is that fair?

 6     A.          Yes.

 7     Q.          Okay.    And this guidance, the guidance in Joint

 8     Exhibit 5 does a 180 on the instructions to the counties

 9     and says you must count undated ballots, absentee ballots,

10     and mail-in ballots provided there are no other

11     deficiencies, correct?

12     A.          Correct.

13     Q.          And that, you know, May 24th is the week after

14     Election Day; is that right?

15     A.          Yes.    Again the timing not ideal.

16     Q.          Now, were you aware of this Court's

17     administrative order issued May 27th stating that because a

18     statewide recount had been ordered that appeals from any of

19     the decisions -- any of the certified results from the

20     recount were to be filed in the Commonwealth Court as

21     opposed to the courts of common pleas?

22     A.          I am familiar with that.      I don't have a copy in

23     front of me, but I do recall that; and we circulated that

24     order to the campaigns as well as the counties.

25     Q.          Okay.    And counsel for Petitioners asked you if


                            Pa.App.0567
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 572 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  63 of 378   60
                                 7/28/2022

 1     you were aware of any counties that had refused or not

 2     certified votes from absentee or mail-in ballots that

 3     included wrong or incorrect dates, and I think your

 4     testimony was you were not aware that any of the counties

 5     had excluded votes from those types of ballots; is that

 6     right?

 7     A.          Correct.

 8     Q.          Now, doing that is consistent with the guidance

 9     issued by the Department -- doing that -- let me strike

10     that.    Restart over.    Certifying votes from incorrectly

11     dated voter declarations is consistent with the

12     Department's guidance; is that right?

13     A.          It is, yes.

14     Q.          Do you know whether there was any contest or

15     challenge in any of the 67 counties but more specifically

16     these three counties, Berks, Lancaster, and Fayette, as to

17     the canvassing and counting of an absentee or mail-in

18     ballot that included an incorrect date?

19     A.          I'm not aware of any.

20     Q.          Okay.

21                       MR. BUKOWSKI:    That's all I have for Mr.

22     Marks at this time.      Thank you very much, sir.

23                       THE WITNESS:    Thank you.

24                       JUDGE COHN JUBELIRER:      Thank you.

25                       MR. KING:    Thank you, Your Honor.      May it


                            Pa.App.0568
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 573 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  64 of 378   61
                                7/28/2022

 1     please the Court.

 2                       I'll wait until you're done with the water.

 3                       THE WITNESS:    Sorry.

 4                       MR. KING:    I once observed a witness pour

 5     water all over his shirt during cross-examination.           It

 6     wasn't a good thing.

 7                       THE WITNESS:    That would be something I'd be

 8     known to do, yes.     Water is okay.     I've poured coffee on

 9     myself frequently enough.

10                       MR. KING:    Thank you very much.

11                              CROSS-EXAMINATION

12     BY MR. KING:

13     Q.          Mr. Marks, my name is Thomas W. King, III, as you

14     know and I want to thank you for your service to the

15     Commonwealth.     You've spent many, many years in the Bureau

16     of Elections; am I correct?

17     A.          I have.   It's dating me now so --

18     Q.          Do you know of anyone who spent more time in the

19     Bureau of Elections than you have?

20     A.          Actually we do have one employee I think who's

21     been a year or two longer than I am.

22     Q.          Let me go back just so the record is clear on

23     this because we had this discussion about whether you're a

24     lawyer or you're not a lawyer or you're, you know,

25     seemingly whether you're an expert or not.          You have


                            Pa.App.0569
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 574 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  65 of 378   62
                                7/28/2022

 1     expertise with respect to the Pennsylvania Election Code,

 2     do you not?

 3     A.          I've been accused of being an expert on it, yes.

 4     Q.          Have you testified as an expert in cases

 5     involving the Pennsylvania Election Code?

 6     A.          I have testified in a multitude of Court cases

 7     regarding election matters over the years, yes.

 8     Q.          Have you ever been rejected as an expert in any

 9     case that you were called to testify in?

10     A.          No, I don't believe so.

11     Q.          And the Courts that you've testified in including

12     you've testified all the way to the Lycoming County Court

13     of Common Pleas where Mr. Breth examined you a couple weeks

14     ago --

15     A.          Yes.

16     Q.          -- to the Commonwealth Court to the federal

17     district courts, and your testimony has been accepted in

18     the Supreme Court of Pennsylvania and your testimony has

19     made its way to the United States Supreme Court at some

20     point; is that true?

21     A.          That's correct.     Yes.

22     Q.     All right.

23                        MR. KING:   Your Honor, I don't want to

24     belabor this, but there is nobody that knows more about the

25     Election Code.      Ask any of the jurists in this


                            Pa.App.0570
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 575 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  66 of 378   63
                                7/28/2022

 1     Commonwealth, ask the lawyers, ask anybody.          Mr. Marks is

 2     the person they all know.

 3                       So I'd like to ask him questions about the

 4     pleading and about the statute.        He is the most

 5     knowledgeable person perhaps other than Mr. Tabas who I

 6     consider to be the foremost expert, but Mr. Marks would be

 7     -- if Tabas is number 1A, Marks is 1B.         So I would like to

 8     examine him in those areas.       So I'll go on and I guess

 9     somebody can object.

10                       MR. FISCHER:    Your Honor, we have no

11     objection to Mr. Marks being asked about his understanding,

12     but he is not the Department's attorney.         He can't speak

13     for the Department's legal position, and frankly the

14     Department's legal positions are not at issue in what is a

15     factual examination.      Legal questions obviously are beyond

16     the scope of this examination.

17                       So I don't object to him again being asked

18     about his understanding of things, but he's not the

19     Department's lawyer.      He's not speaking for the Department

20     as to its legal positions.

21                       MR. KING:    I respectfully don't agree with

22     any of that because first of all, Your Honor, Mr. Marks is

23     the person who verified this complaint.         He signed on and

24     verified the complaint.       I'll ask him that, but you can see

25     it from the pleading.


                            Pa.App.0571
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 576 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  67 of 378     64
                                7/28/2022

 1                       Secondly, there is nothing involved here

 2     except statutes and regulations and that's what he does.

 3     That's what he communicates to these Commissioners who are

 4     sitting in your courtroom.       That's what he communicates to

 5     the candidates.     That's what he communicates to the public.

 6     That's what he communicates to the Courts.          He knows these

 7     statutes.    He knows whether there are statutes that would

 8     provide authority for certain things.

 9                       So that would be the nature of my inquiry.

10     But I didn't want to get into this down the road.           I wanted

11     to say it up front, so --

12                       MR. FISCHER:    Your Honor, the statutes say

13     what they say.     You know, we're not disputing the language

14     of the statutes, and I'm not sure what Mr. Marks --

15                       MR. KING:    I'll make that clear when I ask

16     the questions.

17                       JUDGE COHN JUBELIRER:      I was just going to

18     say why don't we allow for the questioning, and when you

19     hear a question that you have an objection to you can raise

20     that objection.

21                       MR. FISCHER:    Thank you.

22                       JUDGE COHN JUBELIRER:      Thank you.

23                       MR. KING:    Thank you, Your Honor.      I didn't

24     mean to get off track, but I did want to make it clear.

25                       JUDGE COHN JUBELIRER:      Thank you.


                            Pa.App.0572
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 577 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  68 of 378    65
                                 7/28/2022

 1                       MR. KING:    Thank you, Your Honor.

 2     BY MR. KING:

 3     Q.          So, Mr. Marks, let's go back for a moment.         What

 4     is your educational background beyond high school?

 5     A.          I have basically two years of college.

 6     Q.          From where?

 7     A.          From Ashford University.

 8     Q.          Okay.    And after you got out of college, when did

 9     you begin to work for the Commonwealth of Pennsylvania,

10     Department of State?

11     A.          Actually I took those college courses while I was

12     working for the Department of State.

13     Q.          Oh, you did?

14     A.          So prior to -- yes.     Prior to that I was working

15     for the Department with just a high school diploma.

16     Q.          All right.    And at some point you moved.       Within

17     the Department of State you moved into the elections arena,

18     correct?

19     A.          I did.    I started back in the early 2000s as a

20     legal assistant assigned to the Bureau of Elections, became

21     the Chief of the Division of Elections, then the Chief of

22     the Division of SURE, the Statewide Registry, then the

23     Commissioner of the Bureau of Elections, and ultimately

24     this position as Deputy Secretary.

25     Q.          So literally there is no position within that


                             Pa.App.0573
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 578 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  69 of 378         66
                                7/28/2022

 1     Department or in that Bureau that you haven't held in terms

 2     of the chain moving up to where you are; is that correct?

 3     A.          That's not entirely true; but, yes, I've worked

 4     in a lot of the positions --

 5     Q.     All right.

 6     A.     -- leadership positions related to elections,

 7     yes.

 8     Q.          Were you -- whenever litigation is filed in the

 9     Department, are you consulted?        Are you involved in a

10     general sense when litigation is indicated and commenced?

11     A.          Litigation related to elections, yes.

12     Q.          Is that -- are you -- do you oversee litigation

13     within -- in that context within the Department?

14     A.          I don't, no.    The Office of Chief Counsel

15     oversees litigation within the Department.          I'm --

16     Q.          Well, what would your role --

17     A.          -- consulted as program area expert, yes.

18     Q.          I apologize.    I don't mean to interrupt you.

19     What would your role be, for example, in the current

20     litigation?    This litigation is before Judge Jubelirer.

21     What would your role be?

22     A.          Well, you know, primarily my role is client.             You

23     know, the Department of State is client of our counsel;

24     but, you know, we are -- the Acting Secretary of the

25     Commonwealth is the chief election official in


                            Pa.App.0574
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 579 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  70 of 378       67
                                7/28/2022

 1     Pennsylvania, and I work directly for the Acting Secretary.

 2     So that's why I signed those verifications for these

 3     various things that are filed with the Courts.

 4     Q.          Mr. Bukowski earlier said that language is

 5     important here.      Language is important here in this arena;

 6     is that correct?

 7     A.          Yes.    I believe language is always important.          I

 8     believe communication is important.

 9     Q.          Okay.    And were you involved in the Ziccarelli

10     case?

11     A.          I don't recall that I was involved directly in

12     the Ziccarelli case, but I certainly was consulted.           This I

13     believe is a case out in Western Pennsylvania from 2020 if

14     I recall.

15     Q.          Well, Ziccarelli determined whether Nicole

16     Ziccarelli was going to be the senator from Westmoreland

17     and Allegheny --

18     A.          Correct.

19     Q.          -- or Senator Brewster was going to be the

20     senator from Allegheny and Westmoreland; is that correct?

21     A.          Correct.    Yes.

22     Q.          You remember that case?

23     A.          I do, yes.

24     Q.          And in that Ziccarelli case, the Secretary took

25     certain positions.      The Secretary was involved in that


                            Pa.App.0575
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 580 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  71 of 378   68
                                7/28/2022

 1     case, correct?

 2     A.          Yes.

 3     Q.          And the Secretary had counsel in that case, the

 4     Aronchick firm in Philadelphia, correct?

 5     A.          That's my recollection, yes.

 6     Q.          And generally in many of the election cases, the

 7     Aronchick Hangley firm has been counsel to the Secretary;

 8     is that correct?

 9     A.          Yes.    We've used outside counsel for various

10     cases.

11     Q.          Did you read the papers in this case?        Did you

12     read the briefs that we filed?

13                        MR. FISCHER:   I'm going to object just to

14     the extent that this calls for the substance of discussions

15     with counsel.      Certainly that's protected by

16     attorney-client privilege here.        As Mr. Marks has

17     testified, his role is that of client in these cases.

18                        MR. KING:   I didn't ask him that.

19                        THE WITNESS:   I reviewed the filings.      I

20     also reviewed other documents including the exhibits that

21     we've been going through today.

22     BY MR. KING:

23     Q.          All right.    Did you see the quote that we put in

24     our brief and in our papers from the Ziccarelli case where

25     the Secretary took the position that in Ziccarelli, however


                            Pa.App.0576
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 581 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  72 of 378   69
                                7/28/2022

 1     Westmoreland decided to count these ballots which were

 2     again undated ballots, however Westmoreland decided to

 3     count them and however Allegheny decided to count them,

 4     that that was none of the Secretary's business?

 5     A.          I think you're paraphrasing.

 6     Q.          I am paraphrasing.

 7     A.          It might be helpful to have a copy of it in front

 8     of me.    I mean I know what quote you're talking about, but

 9     I don't have the exact wording in front of me.

10     Q.          But you know that the result was that

11     Westmoreland counted them one way and Allegheny counted

12     them a different way, correct?

13     A.          Yes, that is my understanding.       Correct.

14     Q.          And had the Secretary been able to force one of

15     those two counties to count differently, the result may

16     have been different.      For example, if the Secretary had the

17     ability to say to Westmoreland you have to count these

18     undated ballots and Westmoreland counted them, Ziccarelli

19     would be a senator today and not Brewster, correct?

20     A.          Well, I'm not going to, you know.

21     Q.          The possibility exists?

22     A.          Certainly if, you know, the Courts had ruled

23     differently, the possibility exists that the outcome would

24     be different, but --

25     Q.          You are the person.     This is your signature I


                            Pa.App.0577
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 582 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  73 of 378   70
                                7/28/2022

 1     take it.

 2                       MR. KING:    May I approach, Your Honor?

 3                       JUDGE COHN JUBELIRER:      Yes.

 4           (Document shown to the witness.)

 5                       THE WITNESS:    Yes.   Sloppy as it is, that is

 6     my signature.

 7                       MR. KING:    I was thinking it looked pretty

 8     good.

 9                       MR. FISCHER:    May I just ask what document

10     it is that was shown to him?

11                       MR. KING:    It's the verification to the

12     complaint -- to the petition.

13                       MR. FISCHER:    Thank you.

14     BY MR. KING:

15     Q.          So you're the person who verified the petition in

16     this instance, correct?

17     A.          Correct.

18     Q.          So would you tell the Court the petition

19     basically asks for two things, right?         You want a mandamus.

20     You understand the term mandamus?

21     A.          I do, yes.    We're basically trying to compel some

22     action we believe is -- that the entity is duty-bound to

23     do.

24     Q.          Or mandate, correct?

25     A.          Mandate, correct.


                             Pa.App.0578
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 583 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  74 of 378   71
                                7/28/2022

 1     Q.          You want to force these three counties that are

 2     here in the courtroom, you want to force them to do

 3     something, correct?

 4     A.          Again, I'm not counsel but my understanding of

 5     mandamus is that the person who brings the action believes

 6     that that entity has failed to do some duty that they're

 7     mandated to do and that's why they come before the Court.

 8     Q.          When is the last time that you're aware of that

 9     the Department brought an action to mandate any county

10     Board of Elections?

11     A.          It has been a very long time.       I believe there

12     was one occasion and do not ask me to tell you what the

13     case was.    I believe Allegheny County had to -- no.         I'm

14     sorry.    I'm wrong about that actually.       Allegheny County

15     filed a mandamus against the Secretary asking that the

16     Secretary at that time accept an amended certification of

17     election results.

18                 I don't recall at least in my tenure at the

19     Department that the Department pursued a mandamus against a

20     county.

21     Q.          Well, let me ask you this.       You want to order

22     these folks, these Commissioners to do several things I

23     suspect.    You tell me if I'm wrong, please.        You want them

24     to go back home from here today, and you want them to have

25     to advertise and hold a meeting of their Boards of


                             Pa.App.0579
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 584 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  75 of 378     72
                                7/28/2022

 1     Elections; is that true?

 2     A.          To the extent that they did not already do that

 3     as part of the canvass and canvass the undated ballots,

 4     yes, I think that's fair.

 5     Q.          So you want Her Honor to, you want her to order

 6     them to go back and run an ad in the paper and hold a

 7     meeting, correct?

 8     A.          If it's necessary for them to do that to complete

 9     certification, then I believe that's fair, yes.

10     Q.          Now, would you be kind enough to tell me where --

11     listen, you're familiar with this Election Code.           You think

12     about it every day, don't you?

13     A.          I do.

14     Q.          Every day, Sundays, too?

15     A.          True, yes.

16     Q.          So tell me the section and tell Her Honor where

17     is it in the Election Code that says that the Secretary of

18     the Commonwealth can order county commissioners who serve

19     as Boards of Elections, who perform quasi-judicial

20     functions according to the Supreme Court of Pennsylvania to

21     go back home and have to schedule a new meeting when

22     they've already certified the election in their counties.

23     Where does it say that in the statute?

24                       MR. FISCHER:    Objection, Your Honor.      This

25     is a purely legal question.


                            Pa.App.0580
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 585 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  76 of 378     73
                                7/28/2022

 1                       MR. KING:    Listen, Your Honor, if we can't

 2     get the answer to that from this gent -- I think we can.

 3     And I think Your Honor knows he is an expert.           He's also

 4     the moving party here.      He verified the complaint.       And the

 5     threshold question here for Your Honor to answer is what

 6     authority in the world does the Secretary have to do this?

 7                       There's never been a case brought like this

 8     before that.     Mr. Marks would know of it if there was one.

 9     There hasn't been one, and there hasn't been one for good

10     reason.    There's no authority to do this.

11                       JUDGE COHN JUBELIRER:      Well, the question of

12     whether there is authority or is not authority is

13     ultimately a question of law for the Court to decide.

14                       MR. KING:    Yes, ma'am.

15                       JUDGE COHN JUBELIRER:      So whether Mr. Marks

16     is aware of the section or not aware of the section, his

17     counsel will make arguments on behalf of his client and the

18     Court will make the decision.

19                       MR. KING:    Yes, ma'am.

20                       JUDGE COHN JUBELIRER:      So if --

21                       MR. KING:    I just want to know if he knows.

22                       JUDGE COHN JUBELIRER:      If he is aware --

23                       MR. KING:    Yes, ma'am.

24                       JUDGE COHN JUBELIRER:      -- of a section.

25                       Counsel, would you object to him giving his


                            Pa.App.0581
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 586 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  77 of 378    74
                                7/28/2022

 1     opinion as well I guess based on his experience as to

 2     whether he's aware of a section or --

 3                       MR. FISCHER:    If he just testifies as a fact

 4     witness about his awareness, I would be okay.          I don't

 5     think he's giving opinion testimony frankly on anything.

 6                       JUDGE COHN JUBELIRER:      Right.   I don't think

 7     he was qualified as an expert, and that would anyway be a

 8     little questionable with regard to legal opinions.           We

 9     don't typically have those offered as testimony.

10                       MR. KING:    I'm just asking, Your Honor, if

11     he knows.    I'm asking what -- we're here in front of Your

12     Honor.    We're taking up a lot of your time today.         You

13     followed a very difficult case we've all followed in the

14     news yesterday.     So we appreciate the fact that you're with

15     us today.

16                       But the question for him is what's the basis

17     for this action?     What is the basis?      He's the person who

18     signed the complaint.      He's involved in these discussions.

19     He said that.     He's a truthful man.     He'll answer it

20     truthfully to us.

21                       MR. FISCHER:    Again, sorry.     Mr. King is

22     trying to ask him a legal question.        I'm sorry.    That is a

23     purely a legal question.

24                       JUDGE COHN JUBELIRER:      Right, and we don't

25     want a legal opinion.      But I think as a fact witness if


                            Pa.App.0582
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 587 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  78 of 378   75
                                 7/28/2022

 1     he's aware of a section, he can answer that subject to the

 2     qualifications I've given.

 3                        MR. KING:   Thank you very much, Your Honor.

 4     BY MR. KING:

 5     Q.          Back to you, Mr. Marks.

 6     A.          Okay.

 7     Q.          Do you want me to repeat the question or do you

 8     know it?

 9     A.          No.    I believe I understand your question to be

10     am I aware of a provision in the Election Code --

11     Q.          Yes.

12     A.          -- that gives the Secretary the authority to do

13     what she's doing in this case?

14     Q.          Well, yeah.    Yes.

15     A.          I'm not aware of anything.       You know, I'll

16     qualify my answer.      I'm clearly not an expert on civil law

17     and civil procedure; but I'm not aware of anything in the

18     Election Code that would enable the Secretary to, you know,

19     mandate her discretion on the counties if that makes sense.

20     Q.          All right.    I think that's fair enough.       So are

21     you aware of Section 3159 of the Code, and if you're not

22     let me --

23                        MR. KING:   If you don't mind, Your Honor,

24     I'll hand it to him.

25     BY MR. KING:


                             Pa.App.0583
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 588 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  79 of 378   76
                                7/28/2022

 1     Q.          Are you aware of this section of the Code, 3159?

 2                        MR. KING:   This is from our papers.

 3           (Document shown to Mr. Fischer.)

 4                        MR. FISCHER:   Yes.

 5     BY MR. KING:

 6     Q.          So would you read 3159, please.       It's at the top

 7     of the page.

 8     A.          Upon receiving the certified returns of any

 9     primary or election from the various county boards, the

10     Secretary of the Commonwealth shall forthwith proceed to

11     tabulate, compute, and canvass the votes cast for all

12     candidates enumerated in Section 140 and upon all questions

13     voted for by the electors of the state at large and shall

14     thereupon certify and file in his office the tabulation

15     thereof.

16     Q.          Thank you.    Now, Mr. Marks, you're familiar with

17     that section.      You were familiar before you read it; am I

18     correct?

19     A.          Yes.

20     Q.          You live this section of the Code, don't you?

21     A.          I hope I'm not that boring.       I don't live the

22     election.

23     Q.          In a manner of speaking?

24     A.          In a manner of speaking.

25     Q.          All right.    So this section says, upon receiving


                             Pa.App.0584
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 589 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  80 of 378   77
                                7/28/2022

 1     the certified returns of any primary or election from the

 2     various county boards, the Secretary of the Commonwealth

 3     shall forthwith proceed to tabulate, compute, and canvass

 4     the votes cast for all candidates, correct?          And then it

 5     goes on.    That's the language you read.

 6                 So when the county boards submit their

 7     certifications to the Secretary, what does forthwith

 8     generally mean?     How long does it generally take you to

 9     compute, tabulate, and forthwith certify these results?

10                       MR. FISCHER:    Objection.    Again this is a

11     purely legal question.

12                       JUDGE COHN JUBELIRER:      Yes.   At this point

13     you're making legal arguments which I think will be better

14     suited for the legal arguments that will come later as to

15     what the statute means.       If you want to ask how the

16     Secretary tabulates ballots --

17                       MR. KING:    Yes.

18                       JUDGE COHN JUBELIRER:      -- or other questions

19     of fact regarding an issue, facts that would be relevant

20     here, that's one thing; but I don't think that tying it to

21     the statute is within the scope of appropriate questioning.

22                       MR. KING:    Yes, ma'am.    I'll ask the

23     question that the Court just posed.

24     BY MR. KING:

25     Q.          So the question that the Court said I could ask I


                             Pa.App.0585
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 590 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  81 of 378    78
                                7/28/2022

 1     think is --

 2                       JUDGE COHN JUBELIRER:      Let's see.    Unless

 3     there is an objection.      I didn't mean to overstate.       I was

 4     just wanting to create a factual question, and maybe I

 5     overstepped my discretion.

 6                       MR. KING:    I don't mean to overstep my

 7     bounds either.     So I'll withdraw that statement and I'll

 8     just --

 9                       JUDGE COHN JUBELIRER:      Before you go

10     further, is there an objection?        I mean I'm not --

11                       MR. FISCHER:    No, Your Honor, not to the way

12     the Court phrased the question.

13                       JUDGE COHN JUBELIRER:      Okay.

14                       MR. KING:    Now at least we're all on the

15     same page.

16     BY MR. KING:

17     Q.          So, Mr. Marks, let's say that the certifications

18     come in from 67 counties in the primary election, any

19     primary election.      The 67 counties send you -- what do they

20     send you, a form?

21     A.          They do.    They basically send a report that has

22     the signatures and the seal, signatures of the Board of

23     Elections, at least two of them.

24     Q.          Are they uniform across the state?

25     A.          The format of the attestation is uniform across


                            Pa.App.0586
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 591 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  82 of 378   79
                                7/28/2022

 1     the state.    Sometimes the reports may vary a little bit

 2     based on, you know, the county's voting system, etc.

 3     Q.          So it's up to the county board that you want the

 4     results, right?

 5     A.          We want the results, yes.

 6     Q.          And the form is up to them?

 7     A.          We do provide a form through our system; but if

 8     a county sends a slightly different form, as long as it is

 9     signed and certified by, you know, a majority of the

10     members of the Board of Elections and it contains the

11     election results for all the state-level offices, we will

12     accept it.

13     Q.          All right.    So you get these forms in from the 67

14     counties.    You look at them.     You make sure they're

15     legitimate.    What do you do next?

16     A.          Well and, you know, we're looking at them to make

17     sure that they're -- you use the word legitimate.           We're

18     looking at them to make sure they're complete, that there

19     are no obvious errors.

20                 On the certification report there are occasions

21     where a county will miss something or they'll put a vote

22     total that, you know, based on our review against

23     unofficial returns that we had received from the counties

24     previously, you know, appears to be incorrect.          You know,

25     we'll reach out to the county before we finalize our


                            Pa.App.0587
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 592 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  83 of 378       80
                                7/28/2022

 1     certification to make sure that they didn't make a clerical

 2     error when they certified.

 3                 But once we've gone through that process, then

 4     we'll compile results.      How long it takes depends on the

 5     individual election.      It depends on how many offices are up

 6     for election, how many write-in votes were cast for the

 7     various offices.     But we will, you know, do that as soon as

 8     possible; and once we compile those results, we'll certify

 9     the final compiled official results.

10     Q.          So basically if we were analogizing this to a

11     hockey game -- which I'm prone to do -- you are the

12     scorekeeper, not the referee?

13                       MR. FISCHER:    Your Honor, I'm going to

14     object to that as vague and frankly beyond the scope.

15                       MR. KING:    It's the issue here.     That's the

16     whole issue.

17                       JUDGE COHN JUBELIRER:      Well, it's the legal

18     issue --

19                       MR. KING:    Yes, ma'am.

20                       JUDGE COHN JUBELIRER:      -- which is before

21     the Court.

22                       MR. KING:    Yes.   All right.    Can he answer

23     the question?

24                       JUDGE COHN JUBELIRER:      You've objected.

25                       MR. KING:    I'll withdraw it, Your Honor.         I


                             Pa.App.0588
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 593 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  84 of 378   81
                                7/28/2022

 1     don't need to prolong.

 2                       JUDGE COHN JUBELIRER:      Yes.   Thank you.

 3                       MR. KING:    I'll withdraw it but I do like

 4     the hockey analogy.

 5                       THE WITNESS:    Are you wearing an orange and

 6     black tie because you're a Flyers fan or --

 7                       MR. KING:    My son played professional hockey

 8     so I'm a big fan.     No, I'm a Penguins fan.

 9     BY MR. KING:

10     Q.          So when you do certify the election, then what do

11     you do with that?

12     A.          In the case of a primary, you know, we don't

13     certify it necessarily to any individual or body.           It

14     essentially -- you know, the Secretary will put her

15     signature and seal on the official results and that becomes

16     the, you know, official list of nominees for the November

17     election.

18                 In the case of a November election, once the

19     Secretary certifies, there are documents that have to be

20     certified to whether it's the Governor or the legislature,

21     you know, those have to be certified to certain individuals

22     or bodies so that they can swear in their members.

23     Q.          All right.    This Ziccarelli case, I want to go

24     back to it because you're aware of the result from the

25     Supreme Court of Pennsylvania with respect to that case,


                            Pa.App.0589
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 594 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  85 of 378   82
                                7/28/2022

 1     are you not?

 2     A.          I am, yes.

 3     Q.          And you're aware that the Ziccarelli case

 4     likewise ended up in federal court in Pittsburgh, correct?

 5     A.          That's my recollection, yes.

 6     Q.          Were you involved in both of those matters, the

 7     state court and the federal court actions?

 8     A.          Yes.    I would have been consulted, you know, at

 9     least during that period of time when the Secretary of the

10     Commonwealth is involved in the litigation.

11     Q.          I want to ask you to look at the brief filed by

12     your office in the Ziccarelli case in federal court.

13                        MR. KING:   It's part of the papers that we

14     filed in this matter, Your Honor.

15     BY MR. KING:

16     Q.          I want you to read from your own brief.         First

17     I'd like you to look at it and tell me it is your own

18     brief, your own being the Department, of course, not you.

19     I'm going to ask you to look at this section, the second

20     section right below the yellow line.

21           (Counsel approached the witness.)

22                        MR. KING:   Are you with me on this one?

23     Do you gentlemen know where --

24                        MR. FISCHER:   Yes.

25                        MR. KING:   Thank you.


                            Pa.App.0590
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 595 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  86 of 378   83
                                7/28/2022

 1                       MR. FISCHER:    Could you clarify, Mr. King,

 2     what page you're on?

 3                       MR. KING:    Sure.

 4                       Can I see that for a minute, Mr. Marks?

 5                       THE WITNESS:    Sure.

 6                       MR. KING:    I'm at what's marked Exhibit D

 7     and it doesn't look like Mr. Wiygul -- yes, he did.           It's

 8     page 5 of the Memorandum of Law in Support of the Motion of

 9     Secretary of the Commonwealth of Pennsylvania, Kathy

10     Boockvar, to Dismiss the Amended Complaint or, in the

11     Alternative, to Grant Summary Judgment.         It's in the United

12     States District Court, Your Honor, in Pittsburgh, in the

13     Western District.

14           (Whereupon, the document was marked as

15           Fayette Exhibit Number D for

16           identification.)

17     BY MR. KING:

18     Q.          Would you look at the second paragraph, second

19     full paragraph of your brief?

20     A.          The paragraph that begins with the Election Code

21     also gives?

22     Q.          Could you read that into the record for me,

23     please.

24     A.          Sure.   The Election Code also gives the Secretary

25     powers and duties including the duty to, in quotes, receive


                            Pa.App.0591
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 596 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  87 of 378   84
                                7/28/2022

 1     from county Boards of Elections the returns of primaries

 2     and elections, to canvass and compute the votes cast, to

 3     proclaim the results of such primaries and elections, and

 4     to issue certificates of election to the successful

 5     candidates, end quotes, and then provides two citations to

 6     the statute, 25 P.S. Section 2621(f) as well as 25 P.S.

 7     Section 3159.

 8                 Do you want me to read the whole paragraph?

 9     Q.          Yes, I do.

10     A.          Then there's a parenthetical and in quotes within

11     that, upon receiving the certified returns of any primary

12     or election from the various county boards, the Secretary

13     shall forthwith proceed to tabulate, compute, and canvass

14     the votes cast, end quote and end of the parenthetical.

15                 The next sentence says, while the Secretary

16     issues guidance to the county boards, nothing in the

17     Election Code gives her the authority to refuse to accept

18     returns or to decide which ballots are to be counted and

19     which are not.

20                 Then another quote, the Secretary has no

21     authority to declare ballots null and void.          Moreover, the

22     Secretary has no authority to order the 67 county Boards of

23     Elections take any particular action with respect to the

24     receipt of ballots.      And then it cites the November 3rd,

25     2020 case In Re: Canvass of Absentee and Mail-in Ballots of


                            Pa.App.0592
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 597 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  88 of 378    85
                                7/28/2022

 1     November 3rd, 2020 General Election.

 2     Q.          Thank you.    So what you just read was the brief

 3     filed by your own lawyers, correct?

 4     A.          That's correct.     Yes.

 5     Q.          You're aware that the Secretary has no such

 6     powers, aren't you?

 7                       MR. FISCHER:    Objection.

 8                       JUDGE COHN JUBELIRER:      Yes, I think --

 9                       MR. KING:    He's the affiant, Your Honor.

10     He's the affiant to this complaint.         The whole case depends

11     on whether the Secretary has such powers.           He's the person

12     bringing this case.

13                       JUDGE COHN JUBELIRER:      Counsel?

14                       MR. FISCHER:    He is not the person bringing

15     the case, and also he verified the facts.           The law is for

16     the Court to ultimately decide, and his opinion simply

17     isn't relevant.

18                       MR. KING:    Your Honor?

19                       JUDGE COHN JUBELIRER:      Yes.

20                       MR. KING:    I'm sorry.

21                       JUDGE COHN JUBELIRER:      No, go ahead.

22                       MR. KING:    A person appearing before Your

23     Honor needs to come in here and say whether they believe

24     that the law provides for what they're telling the Court it

25     ought to do.     This gentleman --


                            Pa.App.0593
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 598 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  89 of 378   86
                                7/28/2022

 1                       JUDGE COHN JUBELIRER:      And that's part of

 2     the question, too, is what they're asking the Court to do.

 3                       MR. KING:    Yes.

 4                       JUDGE COHN JUBELIRER:      And as I understood

 5     it, the mandamus is requesting the Court to issue the

 6     order.    It's not that the individual who's requesting the

 7     relief has the authority to issue the order.

 8                       MR. KING:    Yes.

 9                       JUDGE COHN JUBELIRER:      So I want to make

10     sure that we're all looking at all of the different legal

11     issues and potential interpretation.         So he's read the

12     brief; and, you know, I tend to agree with counsel that

13     what you're asking is for legal opinion from him.

14                       MR. KING:    I'll withdraw the question, Your

15     Honor.

16                       JUDGE COHN JUBELIRER:      Thank you.

17                       MR. KING:    Yes, ma'am.

18     BY MR. KING:

19     Q.          Mr. Marks, I want to ask you.       This may be

20     somewhat redundant but I want to make sure that I have it

21     in the record as to Fayette County at least.          As to Berks

22     County, Lancaster County, or Fayette County, are you aware

23     of any citizen who has filed within the statutory periods

24     any challenge to the certification of this election in

25     their county?


                            Pa.App.0594
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 599 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  90 of 378   87
                                7/28/2022

 1     A.          I am not, no.

 2     Q.          Is there a time limit set to file such a

 3     challenge under the Election Code?

 4     A.          There are time limits for, you know, for filing a

 5     request for recounts or contesting an election, yes.

 6     Q.          And what would those time limits be?

 7     A.          My recollection is that it's 20 days after the

 8     date of the primary election.

 9     Q.          So there's a two-day, I believe there's a two-day

10     section in the Code and there's a 20-day section, correct?

11                       MR. FISCHER:    I'll object.    That asks for a

12     legal conclusion.     I think Mr. Marks can testify about his

13     understanding of the challenge process.         I think that's

14     fine, but he's not speaking authoritatively on the law

15     here.

16                       MR. KING:    This is the case, Your Honor, so

17     I'll abide by whatever the Court tells me to do.

18                       JUDGE COHN JUBELIRER:      With that

19     qualification he can answer the question.

20                       MR. KING:    Thank you.

21                       THE WITNESS:    I believe the two-day that

22     you're referencing is -- there is a provision wherein an

23     individual who is aggrieved by a determination made by the

24     Board of Elections can appeal that determination to the

25     appropriate court of common pleas.


                            Pa.App.0595
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 600 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  91 of 378        88
                                7/28/2022

 1     BY MR. KING:

 2     Q.          All right.    So the two-day you're not aware of

 3     anybody having done that in these three counties?

 4     A.          I'm not aware of anyone doing that.

 5     Q.          Are you aware of anybody having done the 20-day

 6     challenge?

 7     A.          The election contest, no.

 8     Q.          All right.    So June 6, 7, and 8 I think Mr.

 9     Bukowski asked you this but I want to make sure it's clear.

10     June 6, 7, 8 these three counties, I don't know which

11     order, but the three of them -- it's in the stipulated

12     facts -- those three counties on three consecutive days in

13     early June certified the elections in their counties and

14     they sent them to you, correct?

15     A.          Correct.

16     Q.          That's what happened here?

17     A.          Yes.

18     Q.          All right.    So when you got them, you got these

19     three certified results.       What did you do with the forms

20     that came in?      Physically what did you do?

21     A.          Well, you know, as I said, ultimately we compile

22     all the results and certify them once we compile them.               So

23     we put those -- a lot of what we're doing now we certainly

24     have paper files, but a lot of files are now electronic.

25     So we have a central repository where we store copies of


                            Pa.App.0596
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 601 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  92 of 378   89
                                7/28/2022

 1     all of the documents submitted by the county Boards of

 2     Elections related to both unofficial and official returns.

 3     And then our staff begins to work on the compilation of the

 4     election results.

 5     Q.          So when these came in from Berks, Lancaster, and

 6     Fayette Counties, did somebody input them onto a

 7     spreadsheet or electronically?

 8     A.          So the counties actually -- the way our system

 9     works, we have a statewide election and campaign finance

10     system.    The vast majority of counties data enter them into

11     that system directly, and then they print out the

12     certification report.      So if a county has done that and

13     most counties do that, our staff it's a matter of just

14     verifying that what's on the hard copy signed by the Board

15     of Elections matches what was entered into the database.

16     Q.          Okay.   So is that what happened when these three

17     results came in?     Were they inputted into the system?

18     A.          To the extent that the data was not already

19     inputted into the system, yes, that's what would happen.

20     That's what our staff would do.

21     Q.          What you want to do here I think -- you tell me

22     if I'm wrong -- is you want to ask the Court to ask, to

23     tell these counties, to mandate these counties to recertify

24     these elections because they've already certified them

25     once, right?


                            Pa.App.0597
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 602 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  93 of 378     90
                                7/28/2022

 1     A.          I believe that's fair.      I think we're asking the

 2     Court.    We believe that these three counties have not

 3     completed certification.       They have not completed, you

 4     know, their duty in terms of certifying the election; and

 5     we're asking that the Court mandate that they do so.

 6     Q.          But they have certified them.       They've certified

 7     them to you on -- the stipulated facts say that.           They were

 8     certified on the 6th, 7th, and 8th of June of 2022,

 9     correct?

10     A.          I mean, respectfully, I think that's why we're in

11     this courtroom today.      We do not believe that these three

12     counties have completed certification, and that's really

13     the issue before the Court.

14     Q.          I'd respectfully disagree and I'm going to ask

15     you this.    You say that they need to complete

16     certification.     Did you not receive certifications from

17     each of these counties in hand?

18     A.          We received certifications from each of the three

19     counties.    Our position is that if those counties do not

20     include vote totals from the undated ballots that those

21     certifications are incomplete, and that's really the crux

22     of this argument.

23     Q.          And so not a single voter, not a single

24     candidate, no candidate filed any objection to this, did

25     they?


                             Pa.App.0598
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 603 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  94 of 378   91
                                7/28/2022

 1     A.          I'm not aware of any candidate other than the

 2     case related to McCormick before this Court regarding

 3     undated ballots generally.

 4     Q.          All right.    And that case was ultimately --

 5                        MR. KING:   And Your Honor handled that case.

 6     BY MR. KING:

 7     Q.          So that case was ultimately dismissed, correct?

 8     A.          I believe that was the outcome, yes.

 9     Q.          And but no candidate filed a challenge to the

10     certification of these three counties' certificates of

11     election?

12     A.          I'm not aware of any candidate doing that, no.

13     Q.          And you would be aware of that if it happened,

14     wouldn't you?

15     A.          I would think so, yes.

16     Q.          If anybody would be aware, you would be aware,

17     correct?

18     A.          Yes.

19     Q.          All right.

20     A.          There are local party offices, so that's why I,

21     you know, I don't want to say for absolutely.          Those have

22     not necessarily come to the Department of State.

23     Q.          You mentioned guidance, and the stipulated facts

24     here say that the guidance that you've issued in this case,

25     the guidance that's referred to in this case and in your


                             Pa.App.0599
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 604 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  95 of 378     92
                                7/28/2022

 1     pleading is not mandatory.       It's not binding on the

 2     counties, correct?

 3     A.          Correct.    When we use the term guidance, it is

 4     not mandatory.

 5     Q.          And there was never a directive issued in this

 6     case?

 7     A.          No, there was no directive issued by the

 8     Department.

 9     Q.          Are you familiar with the case of Fulton County

10     Board of Elections decided by Judge Leavitt?

11     A.          I am, yes.

12     Q.          All right.    And you're aware that with respect to

13     these issues, that the Secretary has limited powers with

14     respect to these matters?

15                       MR. FISCHER:    Objection, Your Honor.      This

16     is legal territory again, and it's simply not relevant to

17     this case.

18                       MR. KING:    I'm just asking him if he's

19     aware.

20                       JUDGE COHN JUBELIRER:      If he's aware of?

21                       MR. KING:    Of the limited powers.      He's the

22     Deputy Secretary so it's important that he knows.           He knows

23     what his powers are.      I'm just asking him if he's aware

24     that --

25                       JUDGE COHN JUBELIRER:      It's his


                            Pa.App.0600
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 605 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  96 of 378      93
                                7/28/2022

 1     understanding.

 2                       MR. KING:    Yes.

 3                       JUDGE COHN JUBELIRER:      Clearly there's

 4     counsel for the Department as well that would --

 5                       MR. KING:    Yes, ma'am.    I'll ask it that

 6     way.

 7                       JUDGE COHN JUBELIRER:      All right.    But wait.

 8                       Are you?

 9                       MR. FISCHER:    I don't object.      If the

10     question is about his understanding, I think that's

11     permissible.     I also think we've covered this ground

12     multiple times, and there's no dispute that the guidance

13     issued by the Department isn't mandatory.           That's not an

14     issue in dispute here.       So I'm not sure what the purpose of

15     this is, but I don't object to the question about his

16     understanding.

17                       MR. KING:    It was the subject of direct

18     examination.     This is cross-examination, Your Honor.         May I

19     ask a question?

20                       JUDGE COHN JUBELIRER:      Yes.

21                       MR. KING:    Thank you.

22     BY MR. KING:

23     Q.          Mr. Marks, do you know the question at this

24     point?

25     A.          I do.   I believe you're asking if there are


                            Pa.App.0601
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 606 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  97 of 378    94
                                7/28/2022

 1     limits to the Secretary of the Commonwealth's power, and

 2     the answer is yes.

 3     Q.          All right.    And isn't it true as is stated in

 4     your brief in Ziccarelli and what's been said by this

 5     Department on numerous occasions that in Pennsylvania 67

 6     counties Boards of Elections have primacy with respect to

 7     the conduct of these elections, correct?

 8     A.          I believe that's correct within the confines of

 9     election law of course.

10     Q.          In those Boards of Elections, you're familiar

11     with numerous challenges I suspect?        You tell me if I'm I

12     wrong.    You're familiar with numerous challenges over the

13     years that have been made in those Boards of Elections,

14     correct?

15     A.          Correct.    Yes.

16     Q.          And there's a reference to the Boards of

17     Elections as performing a quasi-judicial function.           Do you

18     understand what that means?

19     A.          I do, yes.    I mean they're engaging in, you know,

20     a function where they're making determinations that could

21     result in further judicial review.        I mean it's almost like

22     an administrative court if you will.

23     Q.          Right.   Thank you.    That's your understanding.

24     The Judge knows what --

25     A.          That's my understanding.


                             Pa.App.0602
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 607 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  98 of 378   95
                                7/28/2022

 1     Q.          Among all people on Earth, this Judge knows what

 2     quasi-judicial means.      But that's your understanding,

 3     right?

 4     A.     Yes.

 5     Q.     I think it's pretty appropriate.

 6     A.          Yeah.    I mean, I would liken them to an

 7     administrative court where they're making administrative

 8     determinations then that could be reviewed by a court of

 9     law.

10     Q.          So, for example -- and I don't want to get into

11     too much minutiae -- but, for example, those county Boards

12     of Elections, they will look at ballots that are challenged

13     by candidates or voters or parties or people who live there

14     or watchers.     They'll determine whether a circle is

15     completely filled in or if someone put an X instead of a

16     circle.    They decide issues like that, correct?

17     A.          Yeah.    I think where there's ambiguity it

18     certainly is the power of the Board of Elections to make

19     those determinations, and they're subject to judicial

20     review.

21     Q.          And that judicial review -- so you went through

22     your knowledge of the two-day, the 20-day deadlines in the

23     Election Code.      So if someone -- and you tell me if you

24     know this or not -- if someone wanted to challenge the

25     decision of the Board of Elections, I think you just said


                            Pa.App.0603
                 Strehlow and Associates/LEXITAS
                           215-504-4622
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Chapman
                             Document
                             Leigh   Page: 608 05/05/23
                                      301 Filed  Date Filed: 01/10/2024
                                                          Page  99 of 378    96
                                7/28/2022

 1     they would go to court, right?

 2     A.          Yes.    They would go to the court of common pleas

 3     in that county.

 4     Q.     That would be 30 days from that date; is that

 5     correct?

 6                        MR. FISCHER:    Objection again.

 7                        MR. KING:    If he knows.

 8     BY MR. KING:

 9     Q.          If you know.

10     A.          I'm not sure.      Again, there are a couple of

11     different mechanisms, but yes --

12     Q.          If you hypothetically assume that it's 30 days

13     from the decision of a Board of Elections.          So what was the

14     date that the three certifications were made to you?           That

15     was June 6, 7, and 8, correct?

16     A.          That's correct.      Yes.

17     Q.          What's the date of this lawsuit?        What is the

18     date that this lawsuit was filed?

19     A.          I don't have it in front of me so I can't give

20     you the exact date.      It was --

21     Q.          It's not a trick.      Let me get it for you.

22                        MR. KING:    If I might, Your Honor?

23                        THE WITNESS:    -- certainly subsequent to the

24     June 29th letter, early July.

25                        MR. KING:    You want to just stipulate the


                             Pa.App.0604
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 609 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               100 of 378        97
                                 7/28/2022

 1      date it was filed?

 2                       MR. FISCHER:    Certainly.    Yes, it is the

 3      complaint.

 4                       MR. KING:    I believe it to be July 11th.         We

 5      would stipulate with counsel that the filing of this

 6      complaint was July 11, 2022.

 7      BY MR. KING:

 8      Q.          So July 11, 2022, is more than 30 days beyond the

 9      date of the certifications that were given to the

10      Department here?

11      A.          That's correct.    Yes.

12      Q.          Thank you.   This election that we're talking

13      about today, the Department has not currently certified the

14      winners of the race for Governor of Pennsylvania; is that

15      correct?

16      A.          We have not certified the results of the primary

17      for Governor or U.S. Senate or Lieutenant Governor for that

18      matter, none of the statewide races.

19      Q.          The winners of the gubernatorial primary, Mr.

20      Shapiro, Mr. Mastriano, neither of them are certified as we

21      stand hereby today?

22      A.          That's correct.    Yes.

23      Q.          The winners of the United States Senate races,

24      Dr. Oz and Mr. Fetterman, Lieutenant Governor Fetterman,

25      they're not certified either?


                              Pa.App.0605
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 610 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               101 of 378   98
                                7/28/2022

 1      A.          Correct.

 2      Q.          And people running for Congress in any of those

 3      three counties, none of them are certified along with

 4      members of the Pennsylvania House and Senate.         You haven't

 5      certified any of those elections in those counties?

 6      A.          Correct.

 7      Q.          You made a comment in response to somebody's

 8      question, I don't recall who, about these undated ballots

 9      and you said I think -- you correct me if I'm wrong and I'm

10      paraphrasing -- but I think you said that you couldn't

11      think of any good reason why they would be dated; is that

12      correct?

13      A.          I couldn't think of any administrative reason why

14      the counties would need them to be dated --

15      Q.          Why is that?

16      A.          -- by the electors.    Well, in determining whether

17      they're legally cast and in determining whether they're

18      timely, I don't know that the date inserted by the voter is

19      relevant in making that determination.        It's the date that

20      the county receives the ballot from the voter that is

21      relevant.

22      Q.          You're familiar with Justice Dougherty in the

23      Supreme Court of Pennsylvania suggesting that the dating

24      does have merit with respect to preventing fraud; is that

25      correct?


                              Pa.App.0606
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 611 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               102 of 378   99
                                7/28/2022

 1      A.          I believe that was -- again, you know, I have not

 2      read that opinion recently; but that was I believe that's

 3      the long and short of Dougherty's opinion, yes.

 4      Q.          You think what I said is a fair analysis of Mr.

 5      Justice Dougherty's comments?

 6                       MR. FISCHER:    Objection.    This is plainly

 7           outside the scope of --

 8                       MR. KING:    Oh, I'm going to get to it.

 9                       JUDGE COHN JUBELIRER:      I'm going to -- is

10      there --

11                       MR. KING:    I'll be brief.

12                       JUDGE COHN JUBELIRER:      Okay.   I'm going to

13      allow him to answer this --

14                       MR. KING:    Yes, ma'am.

15                       JUDGE COHN JUBELIRER:      -- but the Court can

16      read the opinion and know what it said, and I'm sure you'll

17      be arguing about that as well.

18                       MR. KING:    I'll be brief.    The only reason I

19      ask is there was a gratuitous comment, and I don't mean

20      that in a bad way.     It was just a gratuitous comment about

21      dating.

22      BY MR. KING:

23      Q.          So with respect to the dating and I think you did

24      say it the first time, too, you couldn't think of any good

25      administrative reason for it, correct?


                              Pa.App.0607
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 612 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               103 of 378   100
                                7/28/2022

 1      A.         Correct.

 2      Q.         You can think of reasons why about it might need

 3      to -- these right mail-in ballots might need to be dated,

 4      though, whether administrative or otherwise.         There are

 5      reasons why they would need to be dated, correct?

 6      A.         You know, I suppose there are reasons I guess.

 7      You know, whether or not there are reasons that are

 8      relevant to whether the ballots should be counted or not,

 9      that's where we probably would disagree.

10      Q.         What reasons can you think of why they might need

11      to be dated?

12                       MR. FISCHER:    Objection.    This is calling

13      for speculation.    That has nothing --

14                       MR. KING:    He said he knows reasons why.

15                       JUDGE COHN JUBELIRER:     Yes.   I'm going to

16      allow him to answer if he can.

17                       THE WITNESS:    I'm conceding that there may

18      be practical reasons.     What I'm trying to say is that I'm

19      not aware -- and I think this is the Third Circuit's

20      assessment of the issue as well -- that I'm not aware of

21      any reason regarding the validity of the ballot or the

22      legality of the ballot that where the date inserted by the

23      voter is relevant.

24      BY MR. KING:

25      Q.         Are you aware of the cases -- and I believe that


                             Pa.App.0608
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 613 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               104 of 378   101
                                7/28/2022

 1      at least one of these cases is in Lancaster County.          Are

 2      you aware of the cases where someone has been accused of

 3      fraud with respect to a ballot that was cast by somebody

 4      who died, and there's a date on that envelope.         There's a

 5      date on that particular envelope that says when this ballot

 6      was allegedly filled out and that date was instrumental

 7      with respect to whether or not the person that died on or

 8      before the date that the ballot was cast.

 9                 You're familiar with that case, aren't you?

10                       MR. FISCHER:    Objection.    That was about six

11      questions in one.

12                       MR. KING:    I'll rephrase it.

13                       JUDGE COHN JUBELIRER:     Thank you.

14      BY MR. KING:

15      Q.         Do you know about any cases where somebody has

16      cast a ballot and been accused of fraud with respect to

17      these mail-in ballots and the date had any relevance?

18      A.         Yeah.   I mean there are certainly cases of fraud.

19      I think, you know, the Election Code is clear on, you know,

20      the situation where a voter is deceased before Election

21      Day.   Even if that voter legally cast a ballot, if the

22      voter is deceased before Election Day, there's direction in

23      the law to the county boards of election that they should

24      not count that ballot.

25                 I don't know that the date on the envelope,


                             Pa.App.0609
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 614 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               105 of 378   102
                                 7/28/2022

 1      though, is the relevant piece of information.         It's the

 2      date when the person is deceased.

 3      Q.          Well, in McCormick --

 4      A.          It's the date of the election that is relevant.

 5      Q.          Yes.    In the McCormick case, people argued to

 6      Judge Cohn Jubelirer about this whether it was important or

 7      not.   So what you're talking about is you're going to know

 8      whether somebody died or not as of Election Day, right?

 9      A.          Yes.

10      Q.          But you're not going to know when that person

11      allegedly voted because we now have mail-in ballots that

12      get mailed in and they come in at various times before the

13      election.    So in the case that I'm talking about out of

14      Lancaster County -- and I believe there's another one if

15      I'm not mistaken -- the date on the envelope was critically

16      important to determine whether the person was alive at the

17      time the ballot was cast.       Not as of Election Day but when

18      the ballot was cast the date was significant, correct?

19                         MR. FISCHER:   Objection.   I don't think

20      there's been any foundation established that this witness

21      knows the details of these cases.

22                         MR. KING:   I think he said he did.

23                         MR. FISCHER:   He said he's familiar with it

24      generally, but I don't think he said --

25                         MR. KING:   Well, that's what he said.


                             Pa.App.0610
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 615 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               106 of 378     103
                                7/28/2022

 1                       JUDGE COHN JUBELIRER:     Okay.   Well, if he

 2      can answer the question with specificity and based on his

 3      knowledge.

 4                       THE WITNESS:    I'm not familiar with all the

 5      details of the case, but I can certainly understand why

 6      that piece of information may be relevant if you're a

 7      district attorney who's looking into an allegation of

 8      fraud.

 9      BY MR. KING:

10      Q.           Hypothetically, I'll ask you a hypothetical

11      then.    Hypothetically Mary Jones and her mother Sally Jones

12      live in a house together, and Sally Jones cast a vote.          And

13      Sally Jones died on October the 28th, but the vote was cast

14      on October the 29th or the 30th.       Is that hypothetically

15      evidence of fraud?

16      A.          I don't like hypotheticals.      I'll go off the line

17      with that, but yes.

18      Q.          I have to ask it that way because otherwise I'm

19      going to get an objection.

20      A.          Hypothetically the date inserted in that case

21      might be relevant provided there isn't some other

22      explanation for it.

23      Q.          I get it.   But that's an example of why -- of how

24      the dating of the ballot would be significant with respect

25      to fraud, correct?


                             Pa.App.0611
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 616 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               107 of 378   104
                                7/28/2022

 1      A.         I'll accept that argument that it may be relevant

 2      in that narrow circumstance.

 3      Q.         I want to ask you about a case called Parnell.

 4      Do you remember the Parnell case?       It's a case in Allegheny

 5      County.   It was in federal court in the Western District.

 6      It involved about I think 20-some thousand misprinted

 7      ballots; do you recall that?

 8      A.         I believe so.    I don't have the details and I

 9      don't know if I'll be able to recall all the details, but

10      this is related to a ballot printing error in Allegheny

11      County that impacted roughly 20,000 ballots.

12      Q.         We've had in Pennsylvania several counties --

13      because the counties get their own ballots printed, right,

14      there's no uniform form?      We may have a uniform setup of

15      the offices, but there's no ballot form that you distribute

16      or you print on a statewide basis, right?

17      A.         Correct.    It really would depend on the different

18      voting systems.    You know, the Election Code provides for,

19      you know, instead of one statewide voting system a variety

20      of voting systems.     We have about a half a dozen different

21      vendors that provide voting systems in Pennsylvania.

22      Q.         Do you remember the Parnell case, Sean Parnell

23      case involving the --

24      A.         I do.

25      Q.         -- thousands of misprinted ballots?


                             Pa.App.0612
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 617 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               108 of 378   105
                                7/28/2022

 1      A.     I recall it.    You know, whether I can recall all

 2      the details or not, I don't know.

 3                       MR. FISCHER:    Your Honor, I'm going to

 4      object.    This is way outside the scope of the offer of

 5      proof that Mr. King offered.      It's also way outside the

 6      scope of direct, and I don't see what this has to with --

 7                       MR. KING:    It's not direct, Your Honor.

 8      It's cross-examination related to the witness's statement

 9      about the fact that he couldn't think of any good

10      administrative reason for dating.

11                       JUDGE COHN JUBELIRER:     Okay.   We are getting

12      -- it's already after noon and --

13                       MR. KING:    Sorry about that.

14                       JUDGE COHN JUBELIRER:     No, that's okay.     I

15      want to make sure -- off the record.

16           (Brief discussion held off the record at

17           12:10 p.m.)

18                       JUDGE COHN JUBELIRER:     What I'd like to do

19      is first find out how much longer you have for this

20      witness?

21                       MR. KING:    I just have a few questions, and

22      I'll try to condense those during the break.

23                       JUDGE COHN JUBELIRER:     Should we just

24      complete it now or would you --

25                       MR. KING:    I would think if we take a break,


                              Pa.App.0613
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 618 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               109 of 378   106
                                7/28/2022

 1      I'll try to condense this and get through it and not spend

 2      everyone's time.

 3                       JUDGE COHN JUBELIRER:     I don't want to

 4      short-circuit, but I want to be mindful of everyone's

 5      comfort.    Then we also have other witnesses that you want

 6      to present.    Is there a sort of time frame that you have

 7      for how long your witnesses -- I believe this will be the

 8      end.

 9                       Will you have some redirect?      You might have

10      some redirect?

11                       MR. FISCHER:    Yes, Your Honor, we will have

12      some redirect for this witness.

13                       JUDGE COHN JUBELIRER:     Okay.   And then you

14      have your own witnesses.      About how long do you think those

15      witnesses will last?

16                       MR. FISCHER:    Your Honor, it's actually our

17      intention to call the county witnesses as on cross, and

18      then obviously they will have redirect effectively.

19                       MR. BUKOWSKI:    And I think my understanding

20      of what the Commonwealth intends to do with the county

21      witnesses -- he can answer as to the direct -- I don't

22      expect much of cross, and we would cover any additional

23      topic so that they wouldn't need to be recalled in our

24      case.   So I would say we'll probably be limited to the

25      cross and cover that.     So I'm not sure.


                              Pa.App.0614
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 619 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               110 of 378    107
                                7/28/2022

 1                       Their offer of proof was, you know,

 2      relatively straightforward and condensed.        I don't want to

 3      give him a time limit, but I'd suggest, you know, probably

 4      a half hour at the most for each of those witnesses.

 5                       JUDGE COHN JUBELIRER:     Okay.

 6                       MR. FISCHER:    Your Honor, I don't expect it

 7      will take that long.     I mean it depends on the scope of

 8      cross again.    I mean we can't --

 9                       JUDGE COHN JUBELIRER:     Right.

10                       MR. KING:    This is one place I agree with

11      Mr. Fischer.    I don't think it'll take a half an hour.        I

12      think five minutes would be plenty, and I think we've

13      already covered what they would be testifying about anyway.

14                       JUDGE COHN JUBELIRER:     Okay.    So you think

15      maybe with the three of them no more than an hour or hour

16      and a half or hour and a half to two hours?

17                       MR. FISCHER:    That would be our goal, Your

18      Honor.

19                       JUDGE COHN JUBELIRER:     Okay.    And then we'll

20      have the legal arguments which I think will be substantial.

21                       MR. KING:    Yes, ma'am, hopefully.

22                       JUDGE COHN JUBELIRER:     So it's 12:15.

23      Should we take a lunch break now and then come back?

24                       MR. KING:    That makes sense.

25                       JUDGE COHN JUBELIRER:     And then we'll have


                             Pa.App.0615
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 620 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               111 of 378   108
                                  7/28/2022

 1      45 minutes.    Let's be back at one o'clock and see if we can

 2      proceed apace.    Okay.    Thank you very much.

 3           (Whereupon, a recess taken from 12:15 p.m.

 4           to 1:00 p.m.)

 5                       JUDGE COHN JUBELIRER:      So we are back and,

 6      counsel, you were --

 7                       MR. KING:    Yes, ma'am.

 8                       JUDGE COHN JUBELIRER:      -- going to finish

 9      your cross-examination.

10                       MR. KING:    Yes, Your Honor, and I think I

11      can report at this point, too, that counsel would all agree

12      that the exhibits that were submitted in this case should

13      be admitted with the Court's permission without objection

14      from any of the parties.

15                       MR. FISCHER:    No objection.

16                       JUDGE COHN JUBELIRER:      Then hearing no

17      objections, then all of the exhibits are admitted into

18      evidence.

19           (Whereupon, the documents were marked as

20           Joint Exhibit Number 4, Petitioner's

21           Exhibits Numbers 1 and 2, Berks -

22           Lancaster's Exhibits Numbers 1 through 5,

23           and Fayette's Exhibits Numbers A, B, C,

24           and E for identification; and Joint

25           Exhibits Numbers 1 through 14,


                             Pa.App.0616
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 621 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               112 of 378    109
                                7/28/2022

 1           Petitioner's Exhibits Numbers 1 and 2,

 2           Berks - Lancaster's Exhibits Numbers 1

 3           through 5, and Fayette's Exhibits

 4           Numbers A through E were received in

 5           evidence.)

 6                       MR. KING:    Thank you very much.     Your Honor,

 7      I have three questions.      I'll try to shorten this up.

 8                       JUDGE COHN JUBELIRER:     Give me one second.

 9      I dropped a --

10                       MR. KING:    Certainly.

11                       JUDGE COHN JUBELIRER:     Okay.

12                       MR. KING:    That's usually what I'm doing.

13                       JUDGE COHN JUBELIRER:     Proceed.

14      BY MR. KING:

15      Q.         Mr. Marks, you're still under examination and

16      under oath, so I'm going to ask you three things, generally

17      three things.    So the first thing I want to ask you about,

18      as the Deputy Secretary, are you aware of whether any of

19      these undated ballots -- you know the totals from the three

20      counties generally speaking.      I'm not going to ask you the

21      numbers, but --

22      A.         Generally speaking, yes,

23      Q.         -- they're in the record here.       There's a few

24      hundred in one place, and there's as few as six republican

25      undated ballots in Fayette County.       Could you tell the


                             Pa.App.0617
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 622 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               113 of 378   110
                                 7/28/2022

 1      Court whether you're aware of whether any of these undated

 2      ballots if counted or uncounted make any difference

 3      whatsoever in any election that you're aware of?

 4      A.          Not that I'm aware of, certainly not in any

 5      state-level election.      Those elections certified to the

 6      Secretary.

 7      Q.          So it's not going to affect Oz or McCormick.

 8      It's not going to make a difference in the Oz-McCormick or

 9      the Shapiro-Mastriano elections, right?

10      A.          I'm not aware of any state-level race where these

11      ballots will affect the outcome.

12      Q.          Okay.    Even the State House, State Senate,

13      nothing like that?

14      A.          Correct.

15      Q.          Thank you.    Also you spoke earlier about

16      something called partial certification and also incomplete

17      certification.      Are those two terms to your knowledge

18      contained -- is there such a definition, is there a

19      definition of, quote, partial certification within the, end

20      of quote, within the Election Code?

21      A.          There is not.

22      Q.          Is there a definition of something that you

23      mentioned which was, quote, incomplete certification, end

24      of quote?

25      A.          It's not defined in the Election Code.       I think


                             Pa.App.0618
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 623 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               114 of 378   111
                                 7/28/2022

 1      it's a term of art that I would use when a certification is

 2      not complete.

 3      Q.          It's a vernacular.    It's not something that's in

 4      the statute, right?

 5      A.          Correct.

 6      Q.          All right.   I want to lastly ask you whether

 7      you're aware as the Deputy Secretary and based on all your

 8      credentials which are extensive, are you aware of any

 9      provision in the Election Code that specifically or

10      expressly authorizes the Secretary of the Commonwealth to

11      reject a county's certification of election results?          Is

12      there some section that says that?

13      A.          I'm not aware of anything that gives the

14      Secretary of the Commonwealth unilateral authority to

15      reject the certification from a county.

16                       MR. KING:    Thank you very much, Mr. Marks.

17      Appreciate it.

18                       I'm finished, Your Honor.      Thank you.

19                       JUDGE COHN JUBELIRER:     Thank you very much,

20      counsel.

21                       MR. FISCHER:    Thank you, Your Honor.

22                       JUDGE COHN JUBELIRER:     Redirect.

23                             REDIRECT EXAMINATION

24      BY MR. FISCHER:

25      Q.          Mr. Marks, has the Department tried to


                              Pa.App.0619
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 624 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               115 of 378   112
                                7/28/2022

 1      unilaterally force these three counties to include undated

 2      ballots in their certified totals?

 3      A.         No, I don't believe so.

 4      Q.         The Department, in fact, has sought relief from

 5      the Court; is that correct?

 6      A.         Correct.    Yes.

 7      Q.         Does the Department have the power to

 8      unilaterally force these three counties to include undated

 9      ballots in their totals?

10      A.         I don't believe so, no.

11      Q.         In your position do you work with all 67 county

12      boards?

13      A.         I do, yes.

14      Q.         Do you try to maintain cordial relationships with

15      all of them?

16      A.         I do, yes.

17      Q.         At the first hint of a disagreement with a county

18      board, is your response to immediately file a lawsuit?

19      A.         No, it's not.

20      Q.         What do you typically do when there's an area of

21      disagreement with a county board?

22      A.         You know, I'm old school so I typically if I can

23      I pick up the phone and I try to talk through it.         You

24      know, certainly, you know, when we're sending guidance out

25      to all the counties I'll e-mail that guidance, you know,


                             Pa.App.0620
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 625 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               116 of 378   113
                                  7/28/2022

 1      and deliver it that way.      But, you know, typically if

 2      there's a disagreement, I usually want to talk through it

 3      and explain the Department's position before taking any

 4      other steps.

 5      Q.          And you've been asked a lot about the

 6      correspondence with some of the counties here dating

 7      roughly from the beginning of June through early July.

 8      During that time period were you also talking to certain

 9      counties over the phone?

10      A.          I was.   I wasn't the only one.     You know, there

11      were a number of counties initially.       So I was having some

12      of those conversations.      Other staff for the Department was

13      also reaching out to counties and having those

14      conversations.

15      Q.          What was your goal with those conversations?

16      A.          Our goal really was to explain the Department's

17      reasoning why we made the request; and it was our hope

18      that, you know, all 67 counties would comply with our

19      request.

20      Q.          How many did in the end?

21      A.          Sixty-four.

22      Q.          Was that the case as of June 17th that all 64 had

23      complied?

24      A.          No.   As of June 17th I believe there were still

25      -- I couldn't give you the exact number but still a number


                              Pa.App.0621
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 626 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               117 of 378   114
                                7/28/2022

 1      of counties who had not yet done that.

 2      Q.         Did some counties change their position with

 3      respect to including undated ballots during that time

 4      period?

 5      A.         Yes.   Certainly, you know, before June 29th a

 6      number of counties changed their position.

 7      Q.         Now, you were asked about the language on the

 8      outer envelope stating that undated -- if the date is

 9      omitted, the ballot will not be counted; do you recall

10      that?

11      A.         I do, yes.

12      Q.         Was that language consistent with the

13      Department's guidance as of May, 2022?

14      A.         As of the May primary, yes.

15      Q.         You also were asked a lot about the Department's

16      process with respect to certification, and I believe you

17      testified that the Department sometimes identifies obvious

18      errors in a county's certification; is that correct?

19      A.         That's correct.     Yes.

20      Q.         What happens at that point when the Department

21      identifies an obvious error in the county certification?

22      A.         You know, typically, you know, we would contact

23      the county to get clarification.       So we would identify a

24      potential error, ask the county to double-check their

25      records and determine if what they submitted to us was


                             Pa.App.0622
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 627 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               118 of 378   115
                                7/28/2022

 1      correct or if it was a clerical error.

 2      Q.          So do you believe it is your responsibility or --

 3                        JUDGE COHN JUBELIRER:    Could you put the

 4      microphone --

 5                        MR. FISCHER:   Sorry.

 6                        JUDGE COHN JUBELIRER:    Thanks.

 7      BY MR. FISCHER:

 8      Q.          Do you believe it is the Department's

 9      responsibility to certify what a county submits no matter

10      what?

11      A.          No.   I think we do have a duty to --

12                        MR. KING:   I'm going to object.     This is

13      irrelevant.    This is whether his opinion is whether they

14      should certify it or not -- I beg your pardon -- whether

15      it's his opinion that they can certify it or not.         It's

16      what you said to me earlier, Your Honor.        It's what the law

17      provides for.

18                        MR. FISCHER:   I was going to ask about that

19      process.    I'm not asking for his legal opinion.

20                        JUDGE COHN JUBELIRER:    Yes.   I think I

21      allowed you considerable latitude to ask him about his

22      opinion or let me say his --

23                        MR. KING:   Knowledge.

24                        JUDGE COHN JUBELIRER:    Knowledge, right.

25      Thank you.


                              Pa.App.0623
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 628 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               119 of 378   116
                                7/28/2022

 1                       -- his knowledge of the process.       And so to

 2      the extent that this would call for any kind of legal

 3      conclusion, thank you for the objection; and I will clarify

 4      that whatever the witness answers is not at all a legal

 5      conclusion.    Obviously questions of law, issues of law are

 6      for the Court to decide; but this is just his experience,

 7      within his experience.

 8                       MR. FISCHER:    I'll rephrase the question to

 9      make that clear.

10                       JUDGE COHN JUBELIRER:     Yeah.

11      BY MR. FISCHER:

12      Q.         Mr. Marks, does the Department tabulate and

13      certify the statewide results using the certification

14      submitted by the counties no matter what?

15      A.         No.   There are occasions when we identify an

16      error or what we believe to be an error or an omission as

17      the case may be, and we'll contact the county to get

18      clarification.

19      Q.         Thank you.    You were asked about a hypothetical

20      involving a voter who died before Election Day; do you

21      recall those questions?

22      A.         I do, yes.

23      Q.         And let me just ask you about certain different

24      scenarios.    If a voter returned a mail-in ballot before the

25      election and then subsequently died the next day before the


                             Pa.App.0624
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 629 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               120 of 378   117
                                7/28/2022

 1      ballot was counted, would that ballot count?

 2      A.         Pursuant to the Election Code, no.        If the voter

 3      casts a ballot and then dies before Election Day, the

 4      county Boards of Elections are directed to set that ballot

 5      aside.

 6      Q.         And if somebody else fraudulently cast that

 7      voter's ballot and back-dated it to before the voter had

 8      died, would that ballot count?

 9      A.         It would not, no.

10      Q.         And if the voter fraudulently cast a ballot but

11      dated it on a date after the voter had died, would it

12      count?

13      A.         No.   Again the relevant date is the date the

14      voter is deceased as compared to the date of the election.

15      Q.         So is there any situation in which the date

16      written on the envelope would be relevant to whether that

17      vote is counted?

18      A.         I don't believe so, no.

19      Q.         Now, I'd like to ask you a little bit about some

20      of the dates involved here.      So do you have Joint Exhibit

21      6?   Maybe I can hand you another copy.       This involves your

22      chronology.

23            (Document handed to the witness.)

24                       THE WITNESS:    I have it.

25      BY MR. FISCHER:


                             Pa.App.0625
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 630 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               121 of 378    118
                                7/28/2022

 1      Q.         Do you recall Mr. King asking you about the dates

 2      that the three counties involved in this litigation

 3      submitted their certifications to the Department?

 4      A.         I do, yes.

 5      Q.         And I believe he said they were on July 6th, 7th,

 6      and 8th; is that correct?

 7      A.         I agreed that those dates sounded correct.         I

 8      believe those are the dates that Mr. King provided, but

 9      those sounded correct based on my recollection.

10      Q.         And that was stipulated to, in fact?

11      A.         Correct.

12      Q.         So looking at your chronology, when did this

13      Court issue its opinion in the McCormick case?

14      A.         On June 2nd.

15      Q.         June 2nd.    So before those certifications were

16      submitted.

17      A.         Correct.

18      Q.         And do you recall Mr. King asking you whether the

19      McCormick case was voluntarily dismissed?

20      A.         I don't recall.     I think he just asked whether

21      the case was dismissed.

22      Q.         Thank you.    I appreciate that clarification.

23      Could you please look at Plaintiff's Exhibit 2 which -- I'm

24      sorry, Petitioner's Exhibit 2 which I put in front of you.

25      This is not Joint Exhibit 2.      This is separate.     Do you see


                             Pa.App.0626
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 631 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               122 of 378   119
                                 7/28/2022

 1      that this is an order entered by this Court?

 2      A.         It is, yes.

 3      Q.         And let me read it to you.      It says, now, June

 4      10th, 2022, upon consideration of the Application for

 5      Relief in the Nature of Voluntary Discontinuance or,

 6      Alternatively, a Dismissal for Mootness, parentheses,

 7      Application for Discontinuance, filed by Dave McCormick for

 8      U.S. Senate and David H. McCormick, and the answers thereto

 9      filed by the Leigh M. Chapman as Acting Secretary of the

10      Commonwealth, parentheses, Secretary, Intervenors Dr. Oz

11      for Senate and Dr. Mehmet Oz, parentheses, Oz Intervenors,

12      and Republican National Committee and Republican Party of

13      Pennsylvania, Republican Intervenors, the Application for

14      Discontinuance is granted.      Do you see that?

15      A.         I do, yes.

16      Q.         And then the next two sentences say, the

17      Prothonotary shall mark this matter closed.        In addition,

18      upon consideration of the Application to Vacate Memorandum

19      Opinion and Order of June 2nd, 2022, Application to Vacate

20      filed by Oz Intervenors in which Republican Intervenors

21      joined, and the answer filed by the Secretary, the

22      Application to Vacate is denied.       Did I read that

23      correctly?

24      A.         You did, yes.

25      Q.         And again what is the date of this order?


                             Pa.App.0627
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 632 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               123 of 378   120
                                7/28/2022

 1      A.         This order is dated June 10th of 2022.

 2                       MR. FISCHER:    Your Honor, I have no further

 3      questions.

 4                       JUDGE COHN JUBELIRER:      Thank you.

 5                       Any recross?

 6                       MR. BUKOWSKI:    Very briefly, Your Honor.

 7                             RECROSS-EXAMINATION

 8      BY MR. BUKOWSKI:

 9      Q.         During your counsel's questioning, he asked you

10      about the 64 counties who had --

11                       JUDGE COHN JUBELIRER:      Do you want to come

12      to a microphone?

13      BY MR. BUKOWSKI:

14      Q.         -- the 64 counties who had complied and you used

15      the word complied, they complied.       What were they complying

16      with?

17      A.         Well, our request to certify vote totals and

18      include undated ballots.

19      Q.         I mean the word comply to me means they were

20      required to, and you can't point to anything and have not

21      pointed to anything in response to Attorney King's question

22      that, you know, requires them to follow the Secretary's

23      interpretation of the cases; isn't that right?

24                       MR. FISCHER:    I'll object.

25                       THE WITNESS:    Correct.    I mean ultimately it


                             Pa.App.0628
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 633 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               124 of 378   121
                                7/28/2022

 1      boils down to what, you know, we outlined or our counsel

 2      outlined in the June 29th letter why we believe the

 3      counties are required to certify vote totals that include

 4      undated ballots based on rulings from the Courts.

 5      BY MR. BUKOWSKI:

 6      Q.          In the McCormick case, do you know what the

 7      Department's position was regarding the voluntary

 8      discontinuance of the case?

 9      A.          I don't recall what the Department's position

10      was, no.

11      Q.          Or what the Department's position was on vacating

12      the June 2nd order or not?

13      A.          I don't recall, no.

14                       MR. BUKOWSKI:    Nothing further, Your Honor.

15                             RECROSS-EXAMINATION

16      BY MR. KING:

17      Q.          Mr. Marks, would you tell the Court is there a

18      difference between the term because these things are

19      defined in the Election Code?      I think we agreed to that

20      earlier.    Is there a difference between the terms canvass

21      and certify?

22      A.          You know, my layman's understanding, there is.

23      You know, I believe the certification is basically the

24      memorialization of the results of the canvass where they

25      complete the canvass and then they certify the results of


                              Pa.App.0629
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 634 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               125 of 378   122
                                 7/28/2022

 1      that canvass.

 2      Q.          Two different things, right?

 3      A.          You can make an argument that they're two

 4      different things or the certification is an extension or

 5      the last step of the canvass.

 6      Q.          It either is or it isn't.     So the canvass,

 7      there's a definition of canvass in the Election Code,

 8      right?

 9      A.          There is a definition in the Election Code of

10      canvass, yes.

11      Q.          And there is a definition of certification?

12      A.          Correct.

13      Q.          Those are two different things?

14      A.          They are but one comes obviously after completion

15      of the other.

16      Q.          I understand the chicken and the egg story, but

17      they're two different things?

18      A.          They are.    They're two different actions.

19      Q.          All right.    Did you see in the opinion that you

20      were asked that Her Honor wrote, did you see anything that

21      mentioned the word certification or certify?

22      A.          If you're referring to the June 2nd order of the

23      Court --

24      Q.          Yes, sir.

25      A.          -- the word certify was not used, correct.


                              Pa.App.0630
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 635 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               126 of 378   123
                                7/28/2022

 1      Q.          Did not appear?

 2      A.          Correct.

 3                       MR. KING:    I believe that's all.     Thank you

 4      very much.

 5                       THE WITNESS:    Thank you.

 6                       MR. FISCHER:    Thank you, Mr. Marks.

 7                       JUDGE COHN JUBELIRER.      Thank you very much,

 8      Mr. Marks, for your testimony today.

 9                       MR. KING:    Judge, could I ask one more

10      question?

11                       JUDGE COHN JUBELIRER:      Quick.   Of this

12      witness?

13                       MR. KING:    Yes, ma'am.    And the reason I say

14      that is we were going to call him as on cross-examination;

15      but I would be willing to say that that's not necessary,

16      that whatever testimony he produced here he would have

17      produced as on cross.     So we'll save the Court's time and

18      our own time with that respect, but if I could ask him I

19      guess one more question I would appreciate it.

20                       JUDGE COHN JUBELIRER:      Okay.

21                       Is there any objection to that?

22                       MR. FISCHER:    No objection.

23                       JUDGE COHN JUBELIRER:      Okay.

24                       MR. KING:    Now I can't remember.

25      BY MR. KING:


                              Pa.App.0631
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 636 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               127 of 378   124
                                 7/28/2022

 1      Q.          So, Mr. Marks, with respect to this question of

 2      certification versus canvass, would you just tell us when

 3      the counties canvass the ballots, what is the process?

 4      What do they do?

 5      A.          Well, the counties -- I went into a little bit

 6      earlier in my testimony -- but the counties will receive

 7      the precinct-level results on election night; and when the

 8      official canvass begins on Friday, they'll review all of

 9      those results, compile those results.        They also add to

10      those the results from the precanvass and the canvass of

11      absentee and mail-in ballots.

12                  The canvass also includes the adjudication of

13      provisional ballots and also a second canvass where they

14      canvass military and overseas ballots, so that entire

15      process where the county is reviewing and either reviewing

16      returns submitted by precinct election officials or

17      reviewing the tabulation that they've done centrally of

18      absentee and mail-in ballots as well as provisional

19      ballots.

20      Q           And then the certification requires the calling

21      of a public meeting and then there's a vote to certify,

22      correct?

23      A.          Correct.   Yes.

24      Q.          All right.   So and we were talking earlier of the

25      two separate things that occur?


                              Pa.App.0632
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 637 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               128 of 378   125
                                 7/28/2022

 1      A.          Correct.    Yes.

 2      Q.      All right.

 3                         MR. KING:   I think that's all, Your Honor.

 4      Thank you very much.

 5                         JUDGE COHN JUBELIRER:   Thank you.

 6                         You are free to depart.    Thank you very

 7      much.

 8                         THE WITNESS:   Thank you, Your Honor.

 9                                                 (Witness excused.)

10                         MR. FISCHER:   Your Honor, at this time we

11      would call Scott Dunn of the Fayette Board of

12      Commissioners, and we're calling Mr. Dunn as if on cross.

13                         JUDGE COHN JUBELIRER:   Okay.

14                         MR. HOLLAND:   Please raise your right hand.

15      Whereupon,

16                                  SCOTT DUNN,

17      having been duly sworn, testified as follows.

18                         MR. HOLLAND:   Please be seated.

19                        DIRECT EXAMINATION (as on Cross)

20      BY MR. FISCHER:

21      Q.          Good afternoon, Mr. Dunn.

22      A.          Hi.

23      Q.          You are a member of the Fayette Board of

24      Commissioners; is that correct?

25      A.          That is correct.


                             Pa.App.0633
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 638 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               129 of 378   126
                                7/28/2022

 1      Q.         And as a result of that position, do you have

 2      certain responsibilities with respect to the management of

 3      elections in Fayette County?

 4      A.         Yes.    I serve on the Board of Elections, and we

 5      as Commissioners oversee the Election Bureau.

 6      Q.         And do you have any specific role on the Board of

 7      Elections?

 8      A.         As far as?

 9      Q.         Chair?    Vice-chair?

10      A.         I think I'm the Secretary.

11      Q.         Okay.    Thank you.   And could you briefly explain

12      the boards's role in the administration of elections in

13      Fayette County?

14      A.         We're an overseer of the department.        We have a

15      department head.     Our Election Director, Marybeth Kuznik,

16      and she oversees all facets of the election including the

17      applications for mail-in ballots, sending out the mail-in

18      ballots, receiving the mail-in ballots, training poll

19      workers for the day-of operations.

20                 Making sure that all of the equipment is prepared

21      and certified to go out to our 77 precincts, making sure

22      that all the equipment is delivered in a timely fashion,

23      set up, ready to go, and that the ballots are prepared in

24      such a way that they will -- there's a logic testing that

25      they make sure all the ballots are prepared that will be


                             Pa.App.0634
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 639 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               130 of 378   127
                                7/28/2022

 1      able to be read by the scanners.

 2      Q.         So is it fair to say as a result of your role,

 3      you are very familiar with how elections in Fayette County

 4      are administered?

 5      A.         Yeah.    You could say, yeah, but I rely on the

 6      Election Director to make sure that all that happens.

 7      Q.         You don't have day-to-day responsibility?

 8      A.         I do not.

 9      Q.         But you understand the processes --

10      A.     Correct.

11      Q.         -- generally?    Thank you.    And does the Board of

12      Elections ever make decisions about whether a specific vote

13      is or is not counted?

14      A.         We do have a meeting one week after the election

15      to decide on provisional ballots, and I believe we've never

16      had this under my -- this is my fifth election as

17      Commissioner.     I believe that if there were to be

18      questionable ballots where there were challenges, then we

19      would be in charge of that as well; but at this point I've

20      never had that happen, just the provisional aspect.

21      Q.         And if there is a challenge to a provisional

22      ballot, the board resolves those in the first instance;

23      isn't that correct?

24      A.         If there's a challenge to a provisional ballot,

25      then we decide that in the provisional ballot meeting.


                             Pa.App.0635
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 640 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               131 of 378   128
                                 7/28/2022

 1      Q.     And typically you decide that by a vote of the

 2      members of the board, correct?

 3      A.          Correct.

 4      Q.          And the board's decisions with respect to

 5      inclusion of any ballots are subject to review by Courts;

 6      is that correct?

 7      A.          I'll leave that up to the Court.      I'm not sure.

 8      If you can re-ask that question another way, I'm not sure

 9      exactly what you're asking.

10      Q.          If you vote to include or not to include a

11      particular ballot -- and I'm not asking for your legal

12      assessment -- but is it your understanding that parties can

13      challenge that decision?

14      A.          Yes.

15      Q.          And the board tries to comply with all relevant

16      orders issued by Courts, correct?

17      A.          Yes.

18      Q.          So I'd like to just focus on absentee and mail-in

19      ballots.    Do you agree with Mr. Marks that the deadline to

20      submit an absentee ballot is 8:00 p.m. on Election Day?

21      A.          The deadline for an absentee ballot is 8:00 p.m.

22      on Election Day.    That's correct.

23      Q.          Thank you.   And just to clarify, that's the

24      deadline that the ballot must be received by the county,

25      correct?


                              Pa.App.0636
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 641 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               132 of 378   129
                                7/28/2022

 1      A.          That is correct.

 2      Q.          So if a voter drops it in the mail at 7:00 p.m.

 3      on Election Day, it's probably not going to be --

 4      A.          It's not going to be at the Election Bureau in

 5      time.

 6      Q.          Now, were you on the board in 2020?

 7      A.          Yes.

 8      Q.          And you would agree with Mr. Marks that the

 9      deadline was extended for three days in that race?

10      A.          Yes.

11      Q.          But that has not happened in any subsequent

12      election?

13      A.          Correct.

14      Q.          And you take or Fayette County takes certain

15      steps to verify that their ballots are received on a timely

16      basis, correct?

17      A.          Yes.   As the ballots are received, there is a

18      time and date stamp, and so the outer ballot envelope will

19      be stamped with that time and date.

20      Q.          And do you also enter information about the

21      ballots -- I'm sorry.     Let me withdraw that.      Do the

22      election administers, do they enter information about the

23      ballot in the SURE system when they receive it?

24      A.          Yes.   Once received there is a scanning.

25      Actually we call it binking for some reason -- I'm not


                             Pa.App.0637
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 642 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               133 of 378   130
                                 7/28/2022

 1      exactly sure why -- but it is scanned as received.

 2      Q.          And you don't use the date written on the outer

 3      envelope to determine when the ballot was received,

 4      correct?

 5      A.          That is correct.

 6      Q.          And you don't use that date written, assuming

 7      there is a date, to exclude ballots?

 8      A.          We do not.

 9      Q.          Now, I'd like to focus specifically on what we're

10      referring to as undated ballots which are ballots, mail-in

11      or absentee ballots, where the voter has omitted the date

12      on the outer envelope but otherwise signed and otherwise

13      complied with the Election Code as far as --

14                       MR. FISCHER:    Can I use that phrase?

15                       MR. KING:    That's fine.

16      BY MR. FISCHER:

17      Q.          -- Fayette County did not include undated ballots

18      in the totals it submitted to the Secretary as its

19      certification, correct?

20      A.          That is correct.

21      Q.          And, in fact, Fayette County did not even open

22      undated ballots, correct?

23      A.          That is correct.

24      Q.          And are you familiar with the litigation brought

25      by Mr. McCormick relating to the republican primary for


                              Pa.App.0638
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 643 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               134 of 378   131
                                7/28/2022

 1      senate and the counting of undated ballots?

 2      A.         I was aware there was litigation, yes.

 3      Q.         Fayette County was actually respondent in that

 4      litigation, correct?

 5      A.         I believe so.    I'm not a legal.     We start using

 6      words like respondent, I'm not exactly sure what you're

 7      saying.   So --

 8      Q.         Well, so the McCormick campaign sued the

 9      Secretary and a number of counties.

10      A.         I believe all the counties.

11      Q.         It didn't sue all the counties --

12      A.         All the counties were included as I understand

13      it.

14      Q.         I believe some were omitted, but Fayette County

15      was not one that was omitted.

16      A.         Okay.

17      Q.         Are you aware that on June 2nd this Court entered

18      an order ordering counties to canvass undated ballots and

19      submit two sets of totals to the Secretary, one with the

20      undated ballots included and one without?

21      A.         I have to go back in my notes to actually look.

22      Am I allowed to look at an exhibit?       There was at one point

23      the directive that we took was from the Department of State

24      saying to count the ballots, tabulate the ballots, send the

25      Department of State the tabulation, and then they would


                             Pa.App.0639
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 644 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               135 of 378   132
                                7/28/2022

 1      decide how to proceed from there.

 2      Q.          But Fayette County did not count the ballots; is

 3      that correct?

 4      A.          That is correct.

 5      Q.          Okay.   So you chose not to comply with the order

 6      entered by the Court?

 7      A.          The order as we saw it -- and again I have to go

 8      back to the May 23rd guidance from the Department of State

 9      which said to give the Courts the number of ballots that

10      were received which we did, that were undated which we did.

11      The May 24th guidance from the Department stated then said

12      to go ahead and tabulate and submit the totals to the

13      Department of State.

14                  Again I'm going by memory here so if you're going

15      to look up something, I'm going to be factually incorrect.

16      At that point that was the day of our provisional ballot

17      meeting.    And at the close of the meeting after the meeting

18      was adjourned, our Election Director said, hey, we're going

19      to be asked to count, tabulate, send in the totals, and

20      then the Department of State will let us know the next

21      steps.

22                  At that point that was where I felt this is

23      uncomfortable, this is not the proper procedure that should

24      be applied.    And I let -- you know, I said I don't feel

25      comfortable complying with this if that's the word, and


                              Pa.App.0640
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 645 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               136 of 378   133
                                   7/28/2022

 1      that's where it started.       So actually it started before the

 2      June 2nd date.     It started May 24th with this guidance that

 3      said, you know, submit and we will tell you the next steps.

 4      Q.           At that meeting you just discussed, did the board

 5      take a vote on this question?

 6      A.           We did not.    The meeting was adjourned, and we

 7      never reconvened a meeting of the board of election to take

 8      up this matter.

 9      Q.           So even after this Court issued its order on June

10      2nd, you did not reconvene the board to address its

11      implications?

12      A.     No.    Our opinion --

13                        MR. KING:    Your Honor, this is beyond the

14      proffer.     The proffer is pretty simple what the Attorney

15      General said they were going to ask this witness about.

16      And because I was granted great latitude, I've let this go

17      somewhat.

18                        But at page 2 of the proffer the county

19      commissioner witnesses will be questioned about the

20      Respondent board's practices for the 2022 general primary

21      election with respect to determining the timeliness of an

22      absentee or mail-in ballot with respect to recording the

23      date that absentee and mail-in ballots are received and

24      with respect to assessing the sufficiency of the

25      declaration on a ballot return envelope.


                              Pa.App.0641
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 646 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               137 of 378    134
                                7/28/2022

 1                       These questions are beyond the proffer that

 2      was made in this case.

 3                       MR. FISCHER:    Your Honor, I think this

 4      really goes to the sufficiency of the evidence about

 5      timeliness and particularly since we're talking about          --

 6                       JUDGE COHN JUBELIRER:     It's hard to hear you

 7      when you stand, so you can sit for this.

 8                       MR. FISCHER:    I think this line of

 9      questioning goes directly to the sufficiency of the

10      evidence they had to consider about timeliness.         And what I

11      understand the witness to be saying is that even after the

12      Court entered an order, the county did not open these

13      ballots that were timely received.

14                       MR. KING:    Well, that's not what the proffer

15      says, Your Honor.     You can read it yourself, of course, but

16      this is beyond that.     He's asking for legal opinions

17      actually.    This gentleman is a county commissioner.        He's

18      not a lawyer, and he sits on a board that are advised by a

19      solicitor.    That's not me.    I wasn't representing the

20      county at that time when I was representing the republican

21      party in the McCormick case.

22                       But on B it says we're going to ask him

23      about the practices for the '22 primary election with

24      respect to determining timeliness, with respect to

25      recording dates, and with respect to assessing sufficiency


                             Pa.App.0642
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 647 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               138 of 378   135
                                7/28/2022

 1      of the declaration.     That's what this witness was prepared

 2      to come here today to testify about.

 3                       MR. FISCHER:    And, Your Honor, if I may just

 4      briefly respond, the last phrase, with respect to assessing

 5      the sufficiency of the declaration on a ballot return

 6      envelope, what I understand this witness to be saying is

 7      that if a ballot did not include the date, they assessed

 8      that that declaration was insufficient and did not count

 9      it.   So this is squarely within what we --

10                       MR. KING:    He's testified to that.     We're

11      now into did he intentionally violate some Court order?

12      Well, that's not part of this.

13                       JUDGE COHN JUBELIRER:     Okay.   Why don't we

14      get the exact question that was asked because I do think

15      that in broad terms how the board approached assessing the

16      sufficiency of the declaration in this primary given all of

17      the various guidances and information is within that broad

18      scope of that particular statement.

19                       But to the extent that you are making an

20      objection as well about whether he's being asked for, you

21      know, a legal opinion or an opinion on the law, that

22      obviously is something that I would sustain.

23                       So if we could maybe hear the question or if

24      you want to ask the question again for the witness?

25                       MR. FISCHER:    Certainly.    I'll ask the


                             Pa.App.0643
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 648 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               139 of 378     136
                                 7/28/2022

 1      question again.

 2      BY MR. FISCHER:

 3      Q.         After this Court entered its injunction on June

 4      2nd, did the board meet again to discuss whether undated

 5      ballots should be counted?

 6      A.         We did not.

 7      Q.         Did the board in any way reconsider its decision?

 8      A.     There would have been a discussion between the

 9      Election Director and the board members to say how do you

10      want to go forward, and at this point I believe the word

11      certification was still not in the -- was in the Court

12      order and I could be wrong to that.       And again, I still

13      felt, you know, the law as of Election Day said that those

14      votes should not count; and that's kind of where I was

15      going.

16                 As a Commissioner and as a member of the board of

17      election since 2020, we have had all kind of lawsuits filed

18      which make everything that we do confusing, ambiguous,

19      uncertain.   And so what happens is, you know, you add this

20      to it.   Now I have the Constitution of the state of

21      Pennsylvania which says to do one thing.        Act 77 is now

22      saying do another thing or, you know, the Constitution

23      doesn't even cover mail-in ballots.       Act 77 says one thing.

24                 Now I have a Court order saying, you know, forget

25      Act 77 which was found unconstitutional in January.          So the


                             Pa.App.0644
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 649 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               140 of 378   137
                                 7/28/2022

 1      confusion and the ambiguousness if that's a word --

 2                         THE WITNESS:    Sorry if you have to type

 3      that.

 4                         So it comes into play here where, you know,

 5      you have different people telling you different things, and

 6      then you have the Department of State saying hey, just

 7      count them and we'll decide what to do.         And so that's

 8      where in my mind that's where I stopped, and I said the law

 9      was the law on May 17th.       That's what I'm following.

10                         As a Commissioner I put my hand on my

11      daddy's bible, put my hand in the air and I swore to defend

12      the Constitution of the state of Pennsylvania and the laws

13      of the state of Pennsylvania, and that's what I'm doing.

14      BY MR. FISCHER:

15      Q.          So you chose not to follow this Court's order as

16      a result?

17      A.          Yes.

18                         MR. FISCHER:    Excuse me, Your Honor.

19                         JUDGE COHN JUBELIRER:     Sure.

20                         MR. FISCHER:    Just one minute to consult.

21           (Discussion between counsel.)

22                         MR. FISCHER:    Your Honor, I have nothing

23      further for this witness.

24                         MR. BUKOWSKI:    I have nothing.

25                         MR. KING:   Your Honor?


                             Pa.App.0645
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 650 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               141 of 378   138
                                 7/28/2022

 1                       JUDGE COHN JUBELIRER:     Yes.

 2                     CROSS-EXAMINATION (as on Redirect)

 3      BY MR. KING:

 4      Q.         Mr. Dunn, in beautiful Fayette County, do you

 5      understand when somebody has a reasonable disagreement with

 6      respect to something, when two people have a reasonable

 7      disagreement on what the law might be or what a question

 8      might be, do you have an understanding of what that means?

 9      A.         Absolutely.

10      Q.         What would your understanding be?

11      A.         You know, the question of -- it comes to a

12      question of what's right and wrong, and a disagreement is

13      something you have to work out between people.         And, you

14      know, at the same time you have to kind of hold your ground

15      a little bit to say this is my understanding of, you know,

16      this situation and this is how I'm going to go forward.

17      Q.         You're aware that the Migliori case is on appeal

18      to the United States Supreme Court?

19      A.         I'll leave that to the legal people and I'm

20      actually not.

21      Q.         Okay.

22      A.         I'm not aware of all the cases, and again I go

23      back to the confusion in all the cases all along.         You

24      know, they start contradicting themselves and make it

25      confusing for us.


                             Pa.App.0646
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 651 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               142 of 378   139
                                 7/28/2022

 1      Q.          Do you have a legitimate disagreement with

 2      perhaps the people on the other side of the aisle from us

 3      with respect to whether undated ballots ought to be counted

 4      or not?

 5      A.          Yes.

 6      Q.          Okay.    You still think they should not be

 7      counted?

 8      A.          I believe they should not be counted.

 9      Q.          All right.    And if so, if you're ordered to

10      convene a meeting of your board and you're asked to vote on

11      that, you understand that you're going to be asked to vote

12      on whether to certify an election counting undated ballots?

13      A.          I know that we will more than likely be asked

14      that, yes.

15      Q.          All right.    And I want to put on the --

16                         MR. KING:   I want to make sure this is in

17      the record, Your Honor, from the stipulated facts.

18      BY MR. KING:

19      Q.          Fayette County's election results were certified

20      on June 7th?

21      A.          That is correct.

22      Q.          So I'm not sure whether -- I think Berks was 6

23      and Fayette was 7 and Lancaster was 8.        Of course, I have

24      them reversed.

25                         MR. KING:   Since I'm only Fayette, I know


                              Pa.App.0647
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 652 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               143 of 378   140
                                7/28/2022

 1      we're in the middle, Your Honor.

 2      BY MR. KING:

 3      Q.         So we're June 7th, correct?

 4      A.         That is correct.

 5      Q.         All right.    And since that certification, have

 6      you had another meeting of the Board of Elections?

 7      A.         No.

 8                       MR. KING:    Thank you.

 9                       Thank you, Your Honor.

10                       JUDGE COHN JUBELIRER:     Thank you.

11                       MR. FISCHER:    Your Honor, nothing further.

12                       JUDGE COHN JUBELIRER:     Thank you very much.

13      We appreciate your testimony.

14                                                 (Witness excused.)

15                       MR. FISCHER:    Your Honor, can I just consult

16      with counsel for a minute?      I want to try to speed things

17      up as much as possible.

18           (Discussion among all counsel held off the

19           record at 1:43 p.m.)

20                       MR. FISCHER:    I apologize, Your Honor.

21                       JUDGE COHN JUBELIRER:     That's okay.

22                       MR. FISCHER:    So, Your Honor, at this point

23      we would call Ray D'Agostino with the Lancaster County

24      Board of Commissioners.

25                       JUDGE COHN JUBELIRER:     Okay.


                             Pa.App.0648
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 653 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               144 of 378   141
                                 7/28/2022

 1                       MR. HOLLAND:    Please raise your right hand.

 2      Whereupon,

 3                               RAY D'AGOSTINO,

 4      having been duly sworn, testified as follows.

 5                       MR. HOLLAND:    Please be seated.

 6                      DIRECT EXAMINATION (as on Cross)

 7      BY MR. FISCHER:

 8      Q.          Good afternoon, Mr. D'Agostino.

 9      A.          Good afternoon.    And sorry, I don't know your

10      name.

11      Q.          Mr. Fischer with the Attorney General's office,

12      Michael Fischer.

13      A.          Mr. Fischer, good afternoon.

14      Q.          Thank you.   You currently serve on the Lancaster

15      County Board of Commissioners; is that correct?

16      A.          That is correct.

17      Q.          And as a result you have certain responsibilities

18      with respect to elections in Lancaster County?

19      A.          That is correct.

20      Q.          And did you hear all of Mr. Dunn's testimony

21      earlier?

22      A.          I did.

23      Q.          Would you agree that his description of how

24      Fayette County administers elections at least as to your

25      responsibilities is roughly similar to how Lancaster County


                              Pa.App.0649
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 654 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               145 of 378       142
                                 7/28/2022

 1      administers them?

 2      A.         I would agree we have oversight of elections.            I

 3      would just say that we have oversight of elections in

 4      connection with and making sure that we abide by the

 5      Election Code and all decisions of the Courts of competent

 6      jurisdiction.

 7      Q.         And you do in that role you receive guidance from

 8      the Department of State occasionally, correct?

 9      A.         Yes, we do.

10      Q.         But you do not treat that guidance as binding

11      upon the Commissioners; is that correct?

12      A.         That is correct.

13      Q.         But you do treat judicial decisions as binding?

14      A.         Judicial decisions, yes, as long as they're

15      applicable.

16      Q.         Yes, certainly.     Is it your understanding that

17      the deadline for the receipt -- I'm sorry.        Let me strike

18      that.   I want to focus now on absentee and mail-in ballots.

19      Is it your understanding that the deadline for receipt of

20      absentee and mail-in ballots is 8:00 p.m. on Election Day?

21      A.         Correct.

22      Q.         And does Lancaster County time-stamp ballots when

23      they are received?

24      A.         We do time-stamp ballots.

25      Q.         And do you use that time stamp to determine


                             Pa.App.0650
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 655 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               146 of 378   143
                                  7/28/2022

 1      whether a ballot is timely received?

 2      A.          We do use that as one method.

 3      Q.          And if a ballot is received at the Board of

 4      Elections at 8:01 on Election Day, would that ballot be

 5      counted?

 6      A.          No.

 7      Q.          Would it matter when that ballot had been filled

 8      out to the decision whether to count it?

 9      A.          Repeat the question.

10      Q.          Certainly.    If a ballot is received at 8:01,

11      would it matter when the voter filled it out in determining

12      whether to count it?

13      A.          Potentially, yes.

14      Q.          And how so?

15      A.          Well, there is the provision that the declaration

16      has to be dated and signed.      The date which is the date

17      that's put on there by presumably the voter could make a

18      difference in whether that ballot is actually counted or

19      not.

20      Q.          So there are circumstances under which a ballot

21      received after the 8:00 p.m. deadline would nonetheless be

22      counted because of what that voter wrote?

23      A.          No.   That was by accident what you asked me.

24      Q.          Okay.   So just to clarify, in determining whether

25      a ballot was received by the deadline, you use the time


                              Pa.App.0651
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 656 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               147 of 378   144
                                7/28/2022

 1      stamp on the envelope, correct?

 2      A.         We time-stamp them, yes.

 3      Q.         And do you also enter information about the

 4      ballot into the SURE system?

 5      A.         Yes.

 6      Q.         Now, with respect to the date on the outer

 7      envelope, in the May, 2022 election, did Lancaster County

 8      refuse to count any ballots that had dates based on what

 9      the date was?

10      A.         There were -- there was one occasion where the

11      date -- we do check the date.      We do believe that the date

12      is material, that it could go to the validity and

13      authenticity of the ballot received.       And so depending on

14      the date, it may be set aside for further research and

15      determination whether it should go forward and count or

16      not.

17      Q.         So in May, I'm just asking about the May, 2022

18      primary --

19      A.         Yes.

20      Q.         -- did you decline to count any ballots based on

21      the date that was written?

22      A.         Based on the date, we are aware of a voter fraud

23      case that we did not count the ballot because of the date.

24      It was determined -- it was found out that the voter fraud

25      occurred because of that date.


                             Pa.App.0652
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 657 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               148 of 378   145
                                7/28/2022

 1      Q.          Explain to me the circumstances of that voter

 2      fraud case.

 3      A.          Sure.   So we received mail ballots or absentee

 4      ballots.    When I say mail ballots, I mean absentee and no

 5      excuse mail ballots.     We receive them.     They are

 6      date-stamped and then they are scanned to go into the SURE

 7      system.

 8                  In this one case it happened to be our Chief

 9      Clerk of the Board of Elections that scanned this

10      particular ballot that came in the outer envelope, the

11      declaration; and the SURE system popped up and said that

12      the person was deceased.      Our Chief Clerk put that aside to

13      then look at later; and when the Chief Clerk looked at it

14      again, realized that the date that someone put on that

15      declaration was a date after the person had died.

16                  And so at that point she did more research and

17      actually pulled up the obituary and found out that person

18      was deceased, referred it to our District Attorney's

19      office.    Our District Attorney's office is now prosecuting

20      that person and that person has admitted to voter fraud.

21      Q.          So in that case it led to a criminal

22      investigation, correct?

23      A.          That is correct.

24      Q.          But it did not affect whether you counted that

25      ballot, correct?


                              Pa.App.0653
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 658 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               149 of 378   146
                                7/28/2022

 1      A.          Not that one but there can be instances where it

 2      could be.    So, for instance, if it was a person who moved

 3      and is alive, we may not count that ballot because we've

 4      determined that the date is different than the date they

 5      may have moved out.     So it is material to us, and we do

 6      treat it as such.

 7                  The plain language of the law says that obviously

 8      if -- I say obviously -- that if there's no date, you set

 9      them aside.    We treat those that have dates as potentially

10      ones that can be processed; but depending on the date

11      that's put in there, it may not be.

12      Q.          So just so I understand, Lancaster County

13      election officials review every date on every mail-in

14      ballot that you receive?

15      A.          There's instances where it depends on whether the

16      date looks to be something that makes sense like within the

17      time period of the election.      It might cause our staff to

18      then take another look.

19      Q.          But just to clarify my question was, you look at

20      every date on every mail-in ballot; is that correct?

21      A.          I'm not the one that does it, but I understand

22      the staff does take it seriously.       It does look at the

23      dates, but I can't say for certain whether every single

24      one.

25      Q.          And with respect to a voter who moves, is it your


                             Pa.App.0654
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 659 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               150 of 378   147
                                 7/28/2022

 1      understanding that a vote cast by a voter who moves before

 2      Election Day can nonetheless still be counted?         Moves from

 3      the Commonwealth.

 4      A.          Say that again.    I'm sorry.

 5      Q.          If a voter moves before Election Day having sent

 6      in a mail-in ballot, is it your understanding that that

 7      ballot can be counted?

 8      A.          I can't say unless I look at the situation and

 9      the law itself.    I can't say.

10      Q.          Have there been any specific situations in which

11      Lancaster has used the date written to exclude a ballot

12      cast by a voter who moved?

13      A.          I'm sorry.   Say the question again.

14      Q.          So you testified that a voter could move before

15      Election Day, and you could use the date to determine

16      whether the ballot was filled out before or after the voter

17      had moved; do you recall that?

18      A.          Yes.

19      Q.          Has that ever presented itself?

20      A.          I'm not aware.    It doesn't mean it didn't happen.

21      I'm not aware of it, though.

22      Q.          But it is your understanding that if a voter

23      fills out a ballot, sends it in, and then moves from the

24      Commonwealth before Election Day, that vote should be

25      counted?


                              Pa.App.0655
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 660 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               151 of 378   148
                                7/28/2022

 1      A.          Again I'm not sure.

 2      Q.          So let me just get back to my earlier question.

 3      Are you aware of any instance in the May, 2022 primary

 4      where the date written on the ballot was used to exclude

 5      that ballot from being counted?       On the envelope, sorry.

 6      A.          To exclude it based on the date itself other than

 7      the case I mentioned, no.

 8      Q.          Other than the fraud case?

 9      A.          Other than the fraud case.

10      Q.          And you would agree that ballot should not have

11      counted regardless of the date?

12      A.          That is correct.

13      Q.          Because if a voter dies before Election Day, we

14      can agree their ballot doesn't count?

15      A.          Right.   But our mantra in Lancaster County is our

16      election should be having integrity, veracity, and

17      transparency.    And so to us that date does fit into

18      integrity, veracity, and transparency of our elections

19      which is of utmost importance.

20      Q.          And this person was referred for prosecution,

21      correct?

22      A.          That is correct.

23      Q.          And Lancaster County submitted a list of

24      certified returns in early June; is that correct, to the

25      Secretary?


                              Pa.App.0656
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 661 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               152 of 378   149
                                7/28/2022

 1      A.         I believe it's on June the 6th.

 2      Q.         And those certified returns did not include

 3      totals from undated ballots?

 4      A.         Certified results did not, but we did submit

 5      separately in accordance with the Court order the results

 6      of the undated ballots.     We did do what the Court order

 7      said.

 8      Q.         So you complied with this Court's June 2nd order

 9      directing --

10      A.         Yes.

11      Q.         -- canvass of those ballots, and you counted them

12      and submitted two sets of returns?

13      A.         That is correct.

14      Q.         And just so we're clear, when we're talking about

15      undated ballots, these are all ballots cast by legal voters

16      with no other deficiencies, correct?

17      A.         Maybe.    Again it depends on the case.      I mean as

18      I said, the person wasn't legally allowed to cast that

19      ballot, so I can't say that.

20      Q.         So if for instance the voter omitted the

21      signature and date, there's no dispute that ballot wouldn't

22      be counted?

23      A.         That's correct.

24      Q.         Okay.    And if a voter omitted the date and also

25      didn't use the secrecy envelope, that ballot would not be


                             Pa.App.0657
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 662 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               153 of 378   150
                                7/28/2022

 1      counted, correct?

 2      A.         Correct.

 3      Q.         No dispute about that?

 4      A.         Correct.

 5      Q.         So we're not talking about those types of ballots

 6      in this case.    Can we agree on that?

 7      A.         Sure.

 8      Q.         Okay.   We're talking about ballots where the only

 9      deficiency identified is the omission of the date?

10      A.         If the date is omitted, it will not count.

11      Q.         Okay.   And Lancaster was a party to the McCormick

12      case, correct?

13      A.         Correct.

14      Q.         Okay.   And as you testified, you complied with

15      the Court's order and submitted two sets of returns to the

16      Secretary?

17      A.         Correct.

18                       MR. FISCHER:    Nothing further, Your Honor.

19                     CROSS-EXAMINATION (as on Redirect)

20      BY MR. BUKOWSKI:

21      Q.         Good afternoon, Mr. D'Agostino.       The case of the

22      voter fraud that you were referring to, is that the case

23      that's now pending, Commonwealth of Pennsylvania versus

24      Cheryl Mihaliak?

25      A.         Correct.


                             Pa.App.0658
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 663 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               154 of 378   151
                                7/28/2022

 1                       MR. BUKOWSKI:    I have the police criminal

 2      complaint, Your Honor, and the Magisterial District Judge

 3      docket.   I'd like to add that and admit it as an exhibit

 4      for the record since it came up during Mr. D'Agostino's

 5      testimony.    I don't need to spend time with this witness on

 6      it if they agree to its admission.

 7                       MR. FISCHER:    Your Honor, this is the first

 8      we've seen this, so I haven't had time to review it.          I

 9      can't say it's admissible certainly.       We exchanged exhibits

10      yesterday, and this was never mentioned.

11                       MR. KING:    I have no objections, Your Honor.

12                       MR. BUKOWSKI:    And we just learned of it

13      actually, you know, after we had submitted our exhibits,

14      Your Honor.    We think the Court can take judicial notice of

15      it anyway.    I think for completeness of the record we ought

16      to include this and we move to admit it.

17                       MR. FISCHER:    We would reserve the right to

18      object just based on the fact that we haven't reviewed it

19      and can't really assess relevance or anything.

20                       JUDGE COHN JUBELIRER:     Okay.   I'll tell you

21      what.   I will wait to rule on your request to admit it and

22      give counsel the opportunity.      Do you have any objection?

23      Were you going to ask him any questions about it?

24                       MR. BUKOWSKI:    I'm actually not, Your Honor,

25      because I think the testimony covered it.        I just wanted


                             Pa.App.0659
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 664 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               155 of 378    152
                                7/28/2022

 1      the Court to have the benefit of some of the details for

 2      its record.

 3                       JUDGE COHN JUBELIRER:     Sure.

 4                       MR. BUKOWSKI:    And frankly --

 5                       JUDGE COHN JUBELIRER:     As a judicial record

 6      I believe I could take judicial notice of it, but if you

 7      want to give me the docket number or any of the --

 8                       MR. BUKOWSKI:    Sure.   The docket number is

 9      it's for Magisterial District Judge 02-2-02.         So the docket

10      number is MJ-02202-CR-0000126-2022.

11                       JUDGE COHN JUBELIRER:     Thank you.

12                       MR. BUKOWSKI:    And I would just point out

13      this came into the record.      The answer that Mr. D'Agostino

14      gave was in response to the question about the materiality

15      of dates on the voter declaration, and I'm sure Ms.

16      Mihaliak would agree that her putting the date on that

17      voter declaration has become very material to her.

18                       But I'm not going ask questions about these

19      documents, Your Honor, and we'll let the Court take

20      judicial notice and hopefully admit it into the record.

21      BY MR. BUKOWSKI:

22      Q.          Mr. D'Agostino, getting back to the Lancaster

23      County board's practices during the 2022, May, 2022 primary

24      election.    You were asked questions about whether

25      incorrectly dated ballots were counted or not counted; do


                             Pa.App.0660
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 665 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               156 of 378   153
                                7/28/2022

 1      you recall that?

 2      A.          Yes.

 3      Q.          And how does Lancaster County handle incorrectly

 4      dated ballots or ballots that where the date might be in

 5      question?

 6      A.          They're set aside and then there's more research

 7      done; and if it can be determined that there is more

 8      follow-up to be done, that can be done.        I would also note

 9      that there's a potential of a challenge to ballots that

10      come in.    So that's something we take notice of as well.

11      Q.          Yeah.   And that was going to my next question.

12      Are those incorrectly dated ballots or ballots that have

13      dates that may or may not be correct, those are subject to

14      challenge by voters and candidates; is that correct?

15      A.          That is correct.

16      Q.          Are you aware of any instance in which a voter or

17      candidate in the 2022 May election did challenge the date

18      on a ballot because it had a date that was incorrect?

19      A.          No.

20      Q.          Okay.   And in that instance when there is no

21      challenge, then what happens in Lancaster County?

22      A.          If there's a date, the plain reading of the

23      language of the Code is that we'll count that ballot.

24      Q.          Okay.   And is that consistent with guidance sent

25      to the county Boards of Elections by the Department of


                              Pa.App.0661
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 666 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               157 of 378   154
                                7/28/2022

 1      State?

 2      A.         Yes.

 3      Q.         And I think you said that the dates -- the

 4      undated ballots are not counted; is that right?

 5      A.         That is correct.

 6      Q.         And why is that?

 7      A.         Again, the plain reading of the language of the

 8      Code, the Election Code is that it should not be counted.

 9      Q.     As a member of the Lancaster --

10                        MR. FISCHER:    I have an objection.    This is

11      a legal opinion.     I mean if that's his understanding,

12      that's fine.    But that's --

13                        JUDGE COHN JUBELIRER:    And thank you for the

14      clarification.

15                        I don't think you intended to ask him for

16      his legal opinion.

17                        MR. BUKOWSKI:    I wasn't and although when

18      someone says the plain language of the statute says this

19      and it does, I'm not sure that's a legal opinion; but I

20      wasn't trying to elicit a legal opinion.        We'll save that

21      for argument.

22                        MR. FISCHER:    Your Honor?

23                        THE WITNESS:    I would say, though, that as

24      my role as a Board of Commissioner and Board of Elections

25      member that I can be called upon to interpret the Code.


                             Pa.App.0662
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 667 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               158 of 378    155
                                7/28/2022

 1      That's one of our jobs that we've already stipulated and so

 2      that my opinion on how that is one vote of three.

 3      BY MR. BUKOWSKI:

 4      Q.         And you're guided by a solicitor; is that right?

 5      A.         That is correct.

 6      Q.         And in your role as a member of the Lancaster

 7      County Board of Elections, do you believe you have the

 8      discretion to ignore what you understand to be the plain

 9      language of the Election Code?

10      A.         No.

11                       MR. BUKOWSKI:    I have nothing further, Your

12      Honor.

13                       MR. KING:    Very briefly, Your Honor.

14                       MR. FISCHER:    I thought Mr. King had no

15      questions.

16                       MR. BUKOWSKI:    That was me.

17                     CROSS-EXAMINATION (as on Redirect)

18      BY MR. KING:

19      Q.         Commissioner, do you know how many democratic and

20      republican undated ballots there were in Lancaster?          I can

21      give you the numbers.

22      A.         I don't know the breakdown.       I'm pretty sure it

23      was 82 total, but I don't remember the breakdown.

24      Q.         I think it was 50-some and 40-some if I'm not

25      mistaken but somewhere in that neighborhood.


                             Pa.App.0663
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 668 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               159 of 378   156
                                 7/28/2022

 1      A.         That sounds familiar.

 2      Q.         That's not my question but my question is, do you

 3      know whether if you had to go back and recertify this

 4      election, would you have to recertify all the positions

 5      that were on the ballot?

 6      A.         All the positions on the ballot?

 7      Q.         Well, for example, state committee post,

 8      democrat, republican, local committee?

 9      A.         Well, sure.

10      Q.         Those are all on the ballot?

11      A.         Those are all on the ballot so we have to

12      recertify.

13      Q.         Do you know whether if you were ordered to

14      recertify this election, do you know whether that would

15      make any difference potentially in the down-ballot races,

16      committee posts?    Were some of them decided by a vote or

17      two?

18      A.         It could.    I don't know for sure but it could.

19      Q.         What about the House races or the Senate races or

20      the --

21      A.         No.

22      Q.         -- other races?

23      A.         No.   Those were decided handily.

24      Q.         But they might change the result, for example, in

25      those down-ballot races?


                             Pa.App.0664
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 669 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               160 of 378   157
                                  7/28/2022

 1      A.          It could.    I'd have to look at it obviously but

 2      it could.

 3                         MR. KING:   Thank you.

 4                         MR. FISCHER:   Thank you.   Just a few more

 5      questions, Your Honor.      We do not object to the admission

 6      of the exhibits.      We don't necessarily concede that they're

 7      relevant, but we don't object to their admission at this

 8      point.

 9                         JUDGE COHN JUBELIRER:    Okay.

10           (Whereupon, the documents were marked as

11           Berks - Lancaster Exhibit Number 6 for

12           identification and received in evidence.)

13                    REDIRECT EXAMINATION (as on Recross)

14      BY MR. FISCHER:

15      Q.          Sir, when the board or when the county receives a

16      mail-in or absentee ballot, do you confirm that it was

17      submitted by a registered voter?

18      A.          Well, I told you we do.     It comes in and then

19      it's scanned.      It goes into the SURE system, and then it's

20      processed from there.

21      Q.          And if a voter was not on the rolls, would the

22      SURE system reflect that fact?

23      A.          If they were not on the rolls?

24      Q.          Yes.

25      A.          Well, sure.    They wouldn't show up.


                             Pa.App.0665
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 670 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               161 of 378   158
                                7/28/2022

 1      Q.         They wouldn't show up, okay.       Now, could you look

 2      at the police criminal complaint?       Do you have a copy of

 3      that?

 4      A.         I do not have a copy of that.

 5           (Documents handed to the witness.)

 6      BY MR. FISCHER:

 7      Q.         I'll direct you to page 4 which is the Affidavit

 8      of Probable Cause.     Do you see that?

 9      A.         Yes.

10      Q.         Can you take a look at paragraph 2?

11      A.         Yes.

12      Q.         It says Christa Miller stated she received a

13      mail-in ballot from Teresa J. Mihaliak signed and dated

14      April 26th, 2022, correct?

15      A.         Correct.

16      Q.         And then it says the ballot for the democrat

17      primary was received on April 28th, 2022, by her office?

18      A.         Correct.

19      Q.         And then it says, however, Christa Miller

20      reported that Teresa J. Mihaliak was deceased on April

21      14th, 2022, correct?

22      A.         Correct.

23      Q.         So that's two weeks before the date the ballot

24      was received?

25      A.         Correct.


                             Pa.App.0666
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 671 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               162 of 378   159
                                7/28/2022

 1      Q.          Christa Miller said this was confirmed by an

 2      obituary and records for the Department of Health.          She

 3      said Teresa J. Mihaliak was removed from the voter rolls on

 4      April 25th, 2022; is that correct?

 5      A.          That's correct.

 6                       MR. FISCHER:    Nothing further, Your Honor.

 7                       MR. BUKOWSKI:    I just have one brief

 8      redirect based on Mr. King's question which was Mr.

 9      D'Agostino because I wasn't sure if your answer included

10      this.

11               RECROSS-EXAMINATION (as on Further Redirect)

12      BY MR. BUKOWSKI:

13      Q.          As you know, the Secretary has refused to certify

14      the statewide election results that include votes from

15      Berks, Lancaster, and Fayette Counties.        Do you have an

16      understanding of whether any of those elections would be

17      affected -- the outcome of any of those elections that the

18      Secretary has to certify would be from the counting or not

19      counting of any of the undated absentee or mail-in ballots

20      in question?

21      A.          I'm not aware of any of those races that would be

22      affected.

23                       MR. BUKOWSKI:    That's all I have.

24                       MR. FISCHER:    Nothing further, Your Honor.

25                       JUDGE COHN JUBELIRER:     Thank you.


                             Pa.App.0667
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 672 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               163 of 378   160
                                7/28/2022

 1                       Thank you very much, Mr. D'Agostino.        We

 2      appreciate your time today and your testimony.

 3                       THE WITNESS:    Thank you.

 4                                                 (Witness excused.)

 5                       MR. BOYER:    Thank you, Your Honor.     We're

 6      going to call Mr. Christian Leinbach as if on cross.

 7                       JUDGE COHN JUBELIRER:     Okay.   Thank you.

 8                       MR. HOLLAND:    Raise your right hand.

 9      Whereupon,

10                             CHRISTIAN LEINBACH,

11      having been duly sworn, testified as follows.

12                       MR. HOLLAND:    Please be seated.

13                      DIRECT EXAMINATION (as on Cross)

14      BY MR. BOYER:

15      Q.         Good afternoon, Mr. Leinbach.

16      A.         Good afternoon.

17      Q.         My name is Jacob Boyer.      I'm an attorney with the

18      Office of Attorney General and represent the Department of

19      State and the Acting Secretary in this matter.         Are you a

20      member of the Berks County Commissioners?

21      A.         Yes, I am.

22      Q.         And what's your role on that commission?

23      A.         I chair the Board of Commissioners.

24      Q.         Okay.   As the Chair of the Board of

25      Commissioners, do you have certain responsibilities for the


                             Pa.App.0668
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 673 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               164 of 378   161
                                 7/28/2022

 1      administration of elections?

 2      A.         No more than any other Commissioner.

 3      Q.         Forgive me.

 4      A.         With the exception of the year in which we run,

 5      we serve as the Board of Elections.

 6      Q.         Actually I meant to ask as a Commissioner as

 7      opposed to as the Chair, do you have responsibilities for

 8      the administration of elections?

 9      A.         Yes, I do.

10      Q.         Okay.   And have you heard the testimony from the

11      prior Commissioners about their roles with respect to

12      elections?

13      A.         I have.

14      Q.         Okay.   And is your role as Commissioner

15      relatively the same?

16      A.         Relatively similar.

17      Q.         Which is to say you don't have day-to-day

18      management responsibilities over elections, but you do have

19      a say in the final decisions, for example, about whether

20      certain ballots should or should not be counted?

21      A.         We adjudicate issues as they are brought to us

22      from our Election Director.

23      Q.         Okay.   And that includes adjudication about

24      whether certain ballots meet the statutory requirements for

25      canvassing for example?


                             Pa.App.0669
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 674 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               165 of 378   162
                                 7/28/2022

 1      A.         Yes, it does.

 2      Q.         Okay.   I'd like to turn to what we've been

 3      talking about which is absentee and mail-in ballots, and I

 4      may refer to undated ballots and what I mean is ballots

 5      that are returned by the 8:00 p.m. deadline that have no

 6      irregularities other than the fact that they don't have a

 7      date written on the return envelope.       If I use undated

 8      ballots, that's what I'm referring to if that makes sense?

 9      A.         Yes, it does.

10      Q.         Okay.   Do you know the deadline by which absentee

11      and mail-in ballots must be received by the county in order

12      to be counted in an election?

13      A.         8:00 p.m. on Election Day with the exception of

14      military and civilian overseas ballots which are later.

15      Q.         Thank you for that correction, yes.        I'll put

16      those ballots aside and refer only to ballots that are not

17      cast by military members or their families.        If a ballot is

18      received anytime after 8:00 p.m., again excluding military

19      members and their families, will the county board receive

20      it -- or excuse me, count it?

21      A.         Excluding.

22      Q.         Excluding those ballots.

23      A.         I think you said including.

24      Q.         Forgive me.    I meant to say excluding.

25      A.         If they are received after 8:00 p.m. on Election


                             Pa.App.0670
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 675 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               166 of 378   163
                                7/28/2022

 1      Day, they will not be counted.

 2      Q.         Okay.   And that's true even if the date written

 3      on the return envelope is sometime before Election Day; is

 4      that correct?

 5      A.         That is correct.

 6      Q.         Okay.   Now, if the date written on the return

 7      envelope is sometime before Election Day so, for example,

 8      let's say it said May 10th for the 2022 primary, what does

 9      that date mean to you?     What do you assume the voter meant

10      by writing May 10th?

11      A.         Let me answer that by explaining how we receive

12      the ballots if that's appropriate.

13      Q.         I'd rather you --

14      A.         As it relates to the date --

15      Q.         I'll ask a different question --

16      A.         Okay.

17      Q.         -- then instead.     If a voter writes May 10th on

18      the ballot for let's say a May 17th election, would you

19      disqualify that ballot based on the date that's written?

20      A.         Absolutely not.

21      Q.         Okay.   Would you investigate what the voter meant

22      by May 10th meaning, for example, would you have any means

23      to determine if the voter who wrote May 10th, in fact,

24      signed the ballot on May 10th?

25      A.         That would only be investigated if there were


                             Pa.App.0671
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 676 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               167 of 378   164
                                7/28/2022

 1      other circumstances that caused us to look at that date.

 2      Q.          Okay.   So absent external circumstances, when you

 3      receive and review a ballot that says May 10th, for

 4      example, you're not conducting any investigation of whether

 5      the voter, for example, actually signed the ballot on May

 6      10th?

 7      A.          When Berks County receives a properly timely

 8      presented absentee or mail-in ballot, we look to see if it

 9      is dated and signed.

10      Q.          Okay.   But you don't conduct an investigation to

11      determine if the date that's written on the ballot --

12      A.          We simply determine is the ballot dated and is it

13      signed.

14      Q.          Okay.   So for all you know, if someone wrote May

15      10th, they could have signed the ballot on May 9th?

16      A.          We simply determine is it dated or signed?

17      Q.          Okay.   If a voter returns a ballot that, for

18      example, has no birth date on it, would you exclude that

19      ballot on the basis of the date?

20      A.          We simply determine is the ballot dated or

21      signed.

22      Q.          Okay.   I don't believe I asked you.      When Berks

23      receives absentee or mail-in ballots, does it date-stamp

24      the outer envelope to indicate when that ballot was

25      received?


                             Pa.App.0672
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 677 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               168 of 378   165
                                 7/28/2022

 1      A.          There are two ways that it can be determined

 2      relative to date.      One is the outer envelope of the ballot

 3      has a unique bar code unique to the election and unique to

 4      Berks County.    If someone uses some other or an older outer

 5      envelope, it will not be accepted.       That is the first test

 6      of timeliness.      It only relates to that election.

 7                  When it's received in the office, whether from a

 8      drop box, from the mail, or by the voters themselves, it is

 9      dated and time-stamped upon receipt.

10      Q.          Sorry.    I want to make sure I understand the

11      first part of your answer.      With respect to the scanning,

12      is what you're saying the bar code that appears on the

13      return envelope is scanned upon the county's receipt of the

14      envelope?

15      A.          It is and it is unique to that specific election

16      and to Berks County.

17      Q.          Okay.    And what is scanning the envelope's bar

18      code, what does that do?      If you scan that into SURE, does

19      that generate some information into the SURE system?

20      A.          It does and it also generates information to the

21      voter.   So when it is scanned in, it notifies the system

22      that the absentee and/or mail-in ballot has been received;

23      and a notification goes to the voter letting them know it

24      has been received.      If it is undated, a notification goes

25      to the voter that it's been received but it is not dated or


                             Pa.App.0673
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 678 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               169 of 378    166
                                7/28/2022

 1      if it's not signed that it's not signed letting them know

 2      that that is the case.

 3      Q.         Okay.   And is one of the pieces of information

 4      that appears after the envelope is scanned the date on

 5      which the ballot was received?

 6      A.         Please repeat that question.

 7      Q.         Certainly.    Yes.   You said that scanning the

 8      ballot or, excuse me, scanning the return envelope, the

 9      unique bar code on the return envelope generates certain

10      information.    Is one piece of information generated by --

11      A.         It does not gener -- that is a manual process.

12      So when the ballots are received in the election office,

13      the first thing that happens is they're viewed.         If there's

14      a missing date or a missing signature, they are set aside.

15      If everything is there, they are immediately scanned.          The

16      ones that are missing -- into SURE.       The ones that are --

17      and I might add when they're scanned into SURE, they look

18      again.   So that's a second look to make sure they're signed

19      and dated.   If they are signed and dated, they go into the

20      SURE system.

21                       If for some reason, there's a third check

22      and that's precanvassing that begins on 7:00 a.m. on

23      Election Day.    As part of the precanvassing process in

24      Berks County, before they are opened they're determined

25      again is there a missing date or signature.        In the rare


                             Pa.App.0674
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 679 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               170 of 378   167
                                 7/28/2022

 1      case that that would happen, in that case they're set aside

 2      and the information in the SURE system would be reversed

 3      indicating that it lacked either a signature or a date.

 4      Q.         Understood.    And I believe for the 2022 primary

 5      election Berks had sent to the Acting Secretary a

 6      certification of results; is that correct?

 7      A.         That is correct.

 8      Q.         Okay.   And what date was that?

 9      A.         Actually I believe two dates.       I'm not going to

10      stipulate exactly, but I believe the second date which

11      included the provisionals I believe was June 8th.

12      Q.         Okay.   But that did not include any ballot for

13      which the voter had omitted a date on the return envelope;

14      is that correct?

15      A.         It did not.

16      Q.     Okay.

17                       MR. BOYER:    Nothing further, Your Honor.

18                     CROSS-EXAMINATION (as on Redirect)

19      BY MR. BUKOWSKI:

20      Q.         Good afternoon, Mr. Leinbach.

21      A.         Good afternoon.

22      Q.         Why does Berks County and the Berks County Board

23      of Elections require that absentee and mail-in ballots be

24      both signed and dated in order to be canvassed and counted?

25      A.         Because we believe the statute is quite clear in


                             Pa.App.0675
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 680 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               171 of 378   168
                                7/28/2022

 1      requiring that the outer envelope must be or shall be

 2      signed and dated.     And we act on the clear direction of the

 3      statute as well as the prior direction of the Secretary of

 4      the Commonwealth.

 5                       MR. BOYER:    Objection, just to the extent as

 6      all previous objections.      This is just his opinion of the

 7      law.

 8                       JUDGE COHN JUBELIRER:     Thank you.

 9                       THE WITNESS:    It's my clear reading of the

10      law.

11      BY MR. BUKOWSKI:

12      Q.          Okay.   As of Election Day for the May, 2022

13      primary election, what was the guidance from the Department

14      of State on counting undated ballots?

15      A.          The guidance was undated ballots should not be

16      counted.

17      Q.          And is that what Berks County did when it

18      processed mail-in and absentee ballots for the May, 2022

19      primary?

20      A.          That is correct.    We did not count undated

21      ballots.

22      Q.          You had mentioned information going into the SURE

23      system and then notifications being sent to voters about

24      how their mail-in or absentee ballot was being processed.

25      Does a voter have an opportunity to cure a ballot if it's


                              Pa.App.0676
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 681 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               172 of 378   169
                                7/28/2022

 1      missing a signature or a date?

 2      A.          A voter has the opportunity to come in to the

 3      election department and voluntarily fill in their signature

 4      or the date prior to the election.

 5      Q.          Do you know whether that happened in the May,

 6      2022 primary election?

 7      A.          I cannot say with certainty.

 8      Q.          Okay.   For ballots that had the date, for

 9      example, May 10th, I don't think there's any issue that

10      that would look odd, a May 10th signature or a ballot dated

11      May 10th.    But if there's a ballot that had an incorrect

12      date, you know, I think counsel pointed out you don't know

13      whether the person signed it on May 9th and dated it May

14      10th or vice versa.     Why are those ballots -- if there's a

15      belief that there's an incorrect date on the ballot, how

16      does Berks County process that?

17      A.          If there's something that would cause us to

18      believe there is an irregularity and it involves the date

19      or involves the signature or both, we would set that aside.

20      And in setting it aside initially the Director of Elections

21      would look at it to see if she is able to make a

22      determination, and if not that would come before the Board

23      of Elections to adjudicate.

24      Q.          And in the May, 2022 primary election, were any

25      absentee or mail-in ballots submitted to the Board of


                             Pa.App.0677
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 682 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               173 of 378   170
                                7/28/2022

 1      Elections of Berks County to be adjudicated where the date

 2      was -- where the question to be adjudicated was the

 3      accuracy of the date?

 4      A.          I'm not aware of any.

 5      Q.          Okay.   Do you feel in your role as a member of

 6      the Berks County Board of Elections you can ignore the

 7      language of the Election Code that states that the

 8      declaration of a voter shall be signed and dated?

 9      A.          No.   And I stated to that fact when the McCormick

10      and Oz campaign came before the Board of Commissioners, one

11      calling for us not to count undated ballots, the other

12      calling for the board to count undated ballots; and I made

13      it very clear that I don't have the leeway or discretion to

14      determine what I think the law should say.

15                  I don't have the discretion to determine whether

16      or not a date is material or immaterial.        I simply am

17      obligated to follow the clear and plain language of the law

18      that says undated and/or unsigned ballots shall not be

19      counted.

20      Q.          And did the McCormick campaign appeal any

21      determination by the Berks County Board of Elections with

22      respect to handling either of the issues adjudicated by the

23      board?

24      A.          They did.

25      Q.          What did the McCormick campaign appeal?


                              Pa.App.0678
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 683 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               174 of 378     171
                                 7/28/2022

 1      A.          They appealed our decision to not count the

 2      undated ballots.

 3      Q.          And was that the case that came up to the

 4      Commonwealth Court?

 5      A.          Yes, it was.

 6      Q.          Okay.   And Berks County was a party, a respondent

 7      in that action?

 8      A.          Yes, we were.

 9      Q.          Okay.   And as we've heard testimony, this Court

10      issued a June 2nd, 2022 order in that case.        You're

11      familiar with that order?

12      A.          Yes, I am.

13      Q.          Did Berks County comply with that order?

14      A.          Yes, we did.    I will stipulate that we asked our

15      counsel to clarify exactly what the order directed.          It was

16      clear to us that this was an interim directive that

17      anticipated a more complete decision at a future date, and

18      we believed it was appropriate.       We were not asked to

19      certify.    We were simply asked to provide the numbers and

20      separated dated and undated ballots which we did.

21      Q.          And so is it your understanding that the June

22      2nd, 2022 order from this Court in the McCormick case did

23      not require certification of certified returns to include

24      votes from undated ballots?

25      A.          There was no mention of certification at all.


                              Pa.App.0679
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 684 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               175 of 378   172
                                7/28/2022

 1      Q.         Okay.   You're aware that the Third Circuit Court

 2      of Appeals issued a decision May 20th, 2022, in the case

 3      captioned Migliori v. Cohen?

 4      A.         I am.

 5      Q.         And are you also aware that that did not involve

 6      an election in the May, 2022 primary?

 7      A.         Yes, that is what I understood.

 8      Q.         Okay.   And after that decision was issued, did

 9      Berks County receive further guidance from the Department

10      of State regarding the processing of undated mail-in and

11      absentee ballots?

12      A.         We did.

13      Q.         Okay.   And what did that guidance say?

14      A.         There were a couple of different or possibly

15      three different pieces of communication that I'm familiar

16      with but basically directed the county to recertify the

17      totals including undated ballots.

18      Q.         And are you referring to the communications that

19      were -- that Mr. Marks had testified to earlier --

20      A.         I am.

21      Q.         -- in some e-mails?     And, in fact, one of those

22      e-mails that was Joint Exhibit 6 was Mr. Marks's June 17th,

23      2022 e-mail, and then he had also sent a June 27th, 2022

24      e-mail to the election officials; do you recall that?

25      A.         Yes, I do.


                             Pa.App.0680
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 685 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               176 of 378   173
                                7/28/2022

 1      Q.         Do you have those over there or not?

 2      A.         I have them in front of me now.

 3      Q.         Okay.   Would you refer to the June 27th, 2022

 4      e-mail from Mr. Marks?

 5      A.         Yes.

 6      Q.         I believe it's probably part of Joint Exhibit 10

 7      because that's the one --

 8      A.         It was.

 9      Q.         -- where you responded?

10      A.         Yes.

11      Q.         So just describe again for the Court what Joint

12      Exhibit 10 is.

13      A.         So Joint Exhibit 10 is directed to Dear County

14      Election Official.     I received it along with a number of

15      others, and it is clearly directed to a group of counties

16      who have either not yet certified vote totals from undated

17      ballots or have not provided the Department with

18      information about when we will be able to do so.         It

19      directs us to send those certified vote totals by a certain

20      date.

21                 And at the bottom it says, as noted in my

22      original e-mail, please send copies of your certifications

23      and any questions or responses to all three of the

24      following DOS staff members, one of which is Jonathan

25      Marks.


                             Pa.App.0681
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 686 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               177 of 378   174
                                7/28/2022

 1      Q.         And did you respond to that e-mail?

 2      A.         I did respond the following day, June the 28th.

 3      Q.         And your response is what's at the top of the

 4      first page of the exhibit marked Joint Exhibit 10; is that

 5      right?

 6      A.         That is correct.

 7      Q.         And as we noted earlier in my examination of Mr.

 8      Marks -- well, before we get to the last paragraph, what

 9      did you say in your response?

10      A.         It's rather brief.     Jonathan, please help me

11      understand where the clear Court guidance is regarding

12      certification on undated ballots.       I do not see it.     And

13      then I quoted from his letter, quote, rulings in the

14      Commonwealth Court of Pennsylvania and the U.S. Court Of

15      Appeals for the Third Circuit makes it clear that we will

16      have to certify vote totals that include the vote totals

17      from undated ballots, end quote.

18                 I then went on to say I believe the rulings are

19      anything but clear at best.      The issue is not settled.      I

20      look forward to your response.

21      Q.         And did you receive a response to your June 28th,

22      2022 e-mail to Mr. Marks?

23      A.         I received no further communication from Mr.

24      Marks.

25      Q.         And was the next communication from the


                             Pa.App.0682
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 687 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               178 of 378    175
                                7/28/2022

 1      Department of State the letter from Attorney Gates dated

 2      June 29th, 2022, addressed to the Berks County Director of

 3      Elections Services, Paige Riegner?

 4      A.          That is correct.

 5      Q.          And that is what is marked as Joint Exhibit 11,

 6      correct?

 7      A.          That is correct.

 8      Q.          After receiving the June 29th letter from

 9      Attorney Gates and your exchange with Mr. Marks, did the

10      Berks County Board of Elections have another meeting?

11      A.          We did on July the 1st.

12      Q.          What happened at that meeting?

13      A.          Well, I did my best to get additional information

14      prior to any vote on this important decision.         I did not

15      receive a response from Jonathan Marks.        The only response

16      was, as noted, from counsel for the Department of State.

17      And so at that meeting I reiterated my clear reading of the

18      current statute that ballots, outer envelopes of the

19      ballots that are either undated or not signed shall not be

20      counted.

21                  And I also noted that the two decisions cited,

22      neither one of them dealt with certification.         Both of them

23      occurred -- the one where we abided by the Commonwealth

24      Court, this Court, we did exactly what the Court asked us

25      to do.   And based on the lack of clear judicial guidance


                              Pa.App.0683
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 688 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               179 of 378   176
                                7/28/2022

 1      and the plain language of the statute, I could not in good

 2      conscience vote to certify undated ballots.

 3                 I also noted that this type of issue is what is

 4      causing a lack of trust in the system.        When plain language

 5      we're being told is no longer plain, no longer means what

 6      it says it means, we damage the credibility of our

 7      elections.

 8      Q.         And when Berks County sent its certified results

 9      to the Department of State on June 8th, 2022, do you know

10      whether or not the Third Circuit decision in Migliori v.

11      Cohen was in effect?

12      A.         I do not know.

13      Q.         Okay.   And was June -- did the Berks County Board

14      of Elections view its deadline to provide certified results

15      to the Acting Secretary of the Commonwealth as June 8th?

16      A.         That is correct.

17                       MR. BUKOWSKI:    Nothing further, Your Honor.

18                       JUDGE COHN JUBELIRER:     Thank you.

19                       MR. KING:    May it please the Court.

20                     CROSS-EXAMINATION (as on Redirect)

21      BY MR. KING:

22      Q.         Commissioner, good afternoon.

23      A.         Good afternoon.

24      Q.         I'm Thomas W. King, III.      We've met?

25      A.         Yes, we have.


                             Pa.App.0684
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 689 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               180 of 378   177
                                7/28/2022

 1      Q.          I wanted to ask you, in Berks County according to

 2      the stipulated facts, we show 507 democratic ballots and

 3      138 republican ballots that were undated and not counted,

 4      correct?

 5      A.          Total of 645, that is correct.

 6      Q.          And are you familiar enough with the results in

 7      Berks County to know down-ballot whether the state

 8      committee posts in either party, republican or democrat,

 9      local county committee posts, if any of those might be

10      affected by 507 democratic ballots and 138 republicans if

11      you're ordered to recertify this election?

12      A.          That's a fairly substantial number of undated

13      ballots, 645.    Obviously it would change the results in any

14      elections where votes were cast for a particular race.

15      Based on the number of races down-ballot, committee slots

16      in particular, that were ties or extremely close, I would

17      not be surprised to understand that it would impact the

18      outcome of some of those races.

19      Q.          And do you know whether the Berks County

20      republican party, the Berks County democratic party, the

21      Pennsylvania republican party, or the democratic party of

22      Pennsylvania, do you know if they've had meetings after

23      this primary election has taken place at which people from

24      Berks County participated because they were certified by

25      the County of Berks as having won the elections?


                              Pa.App.0685
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 690 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               181 of 378   178
                                 7/28/2022

 1      A.          That is correct.    They have.

 2      Q.          And some of those people would have attended --

 3      for example, I'm most familiar with the republican state

 4      committee meeting -- so that meeting of the republican

 5      state committee, were you there at the last meeting?

 6      A.          I was.

 7      Q.          It was just a week or so ago, and so the Berks

 8      County representatives were seated and voted at that

 9      meeting, correct?

10      A.          That is correct.

11      Q.          And that's based on the county certification that

12      took place earlier?

13      A.          That is correct.

14      Q.          All right.   Have you ever had to recertify an

15      election in Berks County?

16      A.          I'm in my 15th year and I've never been requested

17      to recertify.

18      Q.          Have you ever heard of the recertification of an

19      election?

20      A.          I didn't know there was such a term.       I think if

21      you certify an election it's certified.

22      Q.          Now, you're familiar at least a little bit

23      because you all were deeply involved in the McCormick and

24      Oz election debate?

25      A.          Yes.


                             Pa.App.0686
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 691 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               182 of 378   179
                                7/28/2022

 1      Q.          And so are you aware of whether the Secretary

 2      herself was, in fact, a participant in that case before

 3      Judge Cohn Jubelirer?

 4      A.          I can only speak to my experience, and the

 5      individuals that appeared before our election board were

 6      representatives of the McCormick campaign and

 7      representatives of the Oz campaign.       I was not -- we had no

 8      one from the Secretary of the Commonwealth weigh in in our

 9      hearing or in the meeting where we made subsequent

10      decisions.

11      Q.          Now, of course, the Attorney General himself is

12      on the ballot this year, correct?

13      A.     He is not.

14                       MR. BOYER:    Objection to relevance.

15                       THE WITNESS:    Yes, I take it back.

16                       JUDGE COHN JUBELIRER:      He is.

17                       THE WITNESS:    Yes, not as the Attorney

18      General.

19                       JUDGE COHN JUBELIRER:      Just --

20                       MR. KING:     I'm sorry.    The sitting Attorney

21      General is on the ballot running for Governor of

22      Pennsylvania.    I just want to know whether he filed an

23      appeal.

24                       MR. BOYER:    And my objection is to

25      relevance, Your Honor.


                              Pa.App.0687
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 692 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               183 of 378   180
                                7/28/2022

 1                       JUDGE COHN JUBELIRER:      He objected to

 2      relevance.   Do you want to respond?

 3                       MR. KING:    Yes, Your Honor.      The relevance

 4      is unclean hands.     The action that's been brought here is

 5      in the nature of equity.      With respect to the mandamus

 6      action, that's an equitable action.       You have to come here

 7      with clean hands.     And so what's happened here is that not

 8      only are these appeals untimely, but the people who are

 9      participating in these appeals had every right to file an

10      appeal if they wanted to.      They could have filed it timely.

11      They could have filed it at all.

12                       JUDGE COHN JUBELIRER:      I'm sorry but as I'm

13      looking at the caption, I don't see anybody having brought

14      this action --

15                       MR. KING:    Yes, ma'am.

16                       JUDGE COHN JUBELIRER:      -- who's running for

17      office.

18                       MR. KING:    No, not that's brought it but --

19                       JUDGE COHN JUBELIRER:      Okay.

20                       MR. KING:    -- the lawyer for the party who's

21      brought it is a candidate.

22                       JUDGE COHN JUBELIRER:      So that's a different

23      -- I mean I'm not sure that that --

24                       MR. KING:    I'll withdraw the question.

25                       JUDGE COHN JUBELIRER:      Yes.    Thank you.


                             Pa.App.0688
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 693 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               184 of 378   181
                                7/28/2022

 1                       MR. KING:    Yes, ma'am.

 2                       Thank you very much, Commissioner.

 3                       THE WITNESS:    Thank you.

 4                       MR. BOYER:    Just a few follow-ups, Mr.

 5      Leinbach.

 6                       THE WITNESS:    Sure.

 7                    REDIRECT EXAMINATION (as on Recross)

 8      BY MR. BOYER:

 9      Q.          I believe you said in your experience you've

10      never recertified election results; is that right?

11      A.          From my experience I have not been involved in

12      recertifying an election.

13      Q.          Okay.   Have you ever updated incomplete

14      certifications?

15      A.          We may have.   I don't recall right now.

16      Q.          Well, what about in this election?       Did you

17      certify certain results on July [sic] 6th to the

18      Department?

19      A.          I've already testified that there were two

20      separate reports.     The second one on June the 8th included

21      the provisional ballots.

22      Q.          Okay.   So you sent one certification on July 6th,

23      correct?

24      A.          Yeah.   We did not recertify.     We certified what

25      we were able and certified the provisional ballots as I


                              Pa.App.0689
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 694 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               185 of 378   182
                                  7/28/2022

 1      understand it on June the 8th.

 2      Q.          Okay.   So on June 8th you updated the

 3      certification that you sent on June 6th; is that correct?

 4      A.          I don't know what it's called.      I'm simply

 5      telling you what we did.      We certified everything we had on

 6      June the 6th and certified as I understand it the

 7      provisional ballots that were not yet completed on June the

 8      8th.

 9      Q.          Okay.   I believe you said you're obligated to

10      follow your interpretation of the Election Code; is that

11      correct?

12      A.          I did not.    I said I'm obligated to follow the

13      plain language of this election statute.

14      Q.          Forgive me.    Thank you for that clarification.

15      If a Court decides what the language of the election

16      statute means, would the Berks County Commissioners follow

17      that decision?

18      A.          If it's a definitive decision, yes.

19                       MR. BOYER:    Nothing further, Your Honor.

20                       JUDGE COHN JUBELIRER:     And before we finish,

21      I want to make sure, counsel, did you make an unclean hands

22      argument in your papers?      Is that before the Court?      I

23      don't recall seeing that.

24                       MR. KING:    I think we raised the -- I'm not

25      sure about that to be honest with you.        I know that we


                              Pa.App.0690
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 695 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               186 of 378    183
                                7/28/2022

 1      raised equitable defenses.

 2                       JUDGE COHN JUBELIRER:     I know you did.     I

 3      wasn't sure if unclean hands was one of them.

 4                       MR. KING:    I'm not sure either.

 5                       JUDGE COHN JUBELIRER:     If you did and there

 6      are factual questions that would assist you obviously in a

 7      defense that you've raised to this action, I don't want to

 8      preclude that.

 9                       MR. KING:    I appreciate that.     I don't think

10      it's necessary at this point.

11                       JUDGE COHN JUBELIRER:     Okay.

12                       MR. KING:    Thank you, Your Honor.

13                       JUDGE COHN JUBELIRER:     Thank you.

14                       MR. BUKOWSKI:    Just one last follow-up

15      question, Commissioner Leinbach.

16               RECROSS-EXAMINATION (as on Further Redirect)

17      BY MR. BUKOWSKI:

18      Q.          In response to the last question about following

19      clear Court guidance, is it the -- is it your understanding

20      that the November, 2020 Pennsylvania Supreme Court decision

21      in In Re:    Canvass is clear guidance stating that undated

22      absentee and mail-in ballots should not be counted for all

23      elections after November, 2020?

24      A.          It is based on my consultation with our

25      solicitor, our county solicitor, our election board


                             Pa.App.0691
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 696 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               187 of 378   184
                                7/28/2022

 1      solicitor.    Yes, we believe that is clear.

 2                       MR. BUKOWSKI:    Nothing further.

 3                       MR. KING:    No, thank you, Your Honor.

 4                       MR. BOYER:    Nothing further, Your Honor.

 5                       JUDGE COHN JUBELIRER:     Okay.   Thank you

 6      very, very much.    We appreciate your testimony and your

 7      time today.

 8                       THE WITNESS:    Thank you, Your Honor.

 9                                                 (Witness excused.)

10                       JUDGE COHN JUBELIRER:     Are there any further

11      witnesses?    Let's see.   You had a --

12                       MR. BOYER:    Not from the Petitioners, Your

13      Honor.

14                       JUDGE COHN JUBELIRER:     Okay.

15                       MR. BUKOWSKI:    Not from Berks and Lancaster

16      Respondents, Your Honor.

17                       MR. KING:    Nor from Fayette, Your Honor.

18                       JUDGE COHN JUBELIRER:     Okay.   How are we

19      with time?    I mean does anybody need a break?

20                       THE REPORTER:    I'm good.

21                       JUDGE COHN JUBELIRER:     Okay.

22                       MR. BOYER:    I think we could take a five --

23                       JUDGE COHN JUBELIRER:     I was going to say

24      maybe we should take a five-minute break before we begin

25      with the legal arguments.      We'll proceed with Petitioners


                             Pa.App.0692
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 697 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               188 of 378   185
                                7/28/2022

 1      first.    Well, wait.   Let me just clarify.

 2                       The Respondents here do have some legal

 3      arguments that are threshold issues.       Do you want to begin

 4      with those or do you want to argue about them in the normal

 5      course when you would otherwise be arguing as Respondents?

 6                       MR. KING:    I think that in the interest of

 7      the Court's time and our time, that we just roll that all

 8      in one.    I think your suggestion that the Petitioners go

 9      first would be fine, and we would respond in kind even

10      though some of our arguments are going to relate to

11      preliminary objections which otherwise would normally be

12      heard first.    So we're --

13                       JUDGE COHN JUBELIRER:     Well, the preliminary

14      objections themselves to the PFR are not technically before

15      the Court because the PFR isn't before the Court yet;

16      however, you did raise many of the legal arguments that are

17      in your preliminary objections in response to this

18      emergency application.     And so the legal issues are before

19      the Court.    They have the effect of a kind of threshold

20      position but technically are not --

21                       MR. KING:    Per se.

22                       JUDGE COHN JUBELIRER:     Right.    So I think

23      then that will work well.      If we start with the

24      Petitioners, Respondents, you will have the opportunity to

25      make your arguments and then if there's any rebuttal.


                             Pa.App.0693
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 698 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               189 of 378   186
                                7/28/2022

 1                       MR. KING:    Thank you very much.

 2                       JUDGE COHN JUBELIRER:     Okay.   Thank you for

 3      the clarifications.     And so we'll take five minutes, I

 4      think is that sufficient --

 5                       MR. BOYER:    Thank you, Your Honor.

 6                       JUDGE COHN JUBELIRER:     -- in order to keep

 7      everything moving?

 8                       MR. KING:    Thank you, Your Honor.

 9                       MR. BUKOWSKI:    Yes, Your Honor.

10                       JUDGE COHN JUBELIRER:     Thank you very much.

11           (A recess was taken from 2:42 p.m. to 2:50 p.m.)

12                       MR. BOYER:    Thank you, Your Honor.     And

13      again for the record, Jacob Boyer on behalf of the

14      Department of State and the Acting Secretary.

15                       The three counties in this case, Your Honor,

16      are holding up final certification of the primary election

17      because they refuse to complete their duty to certify

18      results that reflect every lawfully cast ballot.         Now, the

19      counties don't meaningfully dispute that they have a duty

20      to certify results that include every lawfully cast ballot.

21      Instead they say it is they and not the Secretary that

22      decides what constitutes a lawfully cast ballot, but that

23      misses the issues in this case.

24                       It's neither the Secretary nor the county

25      boards of election that ultimately decide what constitutes


                             Pa.App.0694
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 699 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               190 of 378     187
                                7/28/2022

 1      a lawfully cast ballot.     It's an order of this Court.       It's

 2      Pennsylvania law and it's federal law.        And all three of

 3      those in this case, Your Honor, require that the ballots at

 4      issue here be included in final certification of the 2022

 5      primary election.

 6                       And until the counties provide the Secretary

 7      with a certification that includes the ballots at issue

 8      here, the Secretary cannot complete her own duty to finally

 9      certify the results of the primary election.

10                       Now, I'm going to begin discussing our

11      mandamus count, count one of the petition for relief on

12      which we have sought an order, a peremptory judgment; and

13      I'd like to begin that discussion with a bit of context

14      about what is and is not at issue with this count.

15                       The mandamus count proceeds exclusively on

16      the basis of this Court's June 2nd order.        It is not a

17      count to enforce any guidance of the Secretary.         Had there

18      been complete silence between the Secretary following this

19      Court's order in McCormick and now, the mandamus count

20      would be legally indistinguishable.       It is not a count to

21      enforce any guidance by the Secretary as the briefs on the

22      other side would suggest and as the questioning today would

23      suggest.

24                       And as I will get to momentarily, we readily

25      acknowledge that the Court's order does not use the word


                              Pa.App.0695
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 700 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               191 of 378   188
                                7/28/2022

 1      certification; but as I will describe, the consequence of

 2      this Court's order that the counties must canvass and count

 3      these ballots is that their exercise of discretion was told

 4      -- they were informed or ordered by the Court how to

 5      exercise their canvassing discretion.

 6                       And after that order there is no further

 7      discussion to remove lawfully cast ballots from the

 8      certification.    The Election Code simply does not permit

 9      counties that freedom.

10                       Now, moving on to the Court's order from

11      June 2nd and why it counts -- excuse me, why it requires

12      that the counties here include the ballots at issue in this

13      certification.    The Court's order was quite clear the

14      ballots -- and just for purposes of clarity of the record,

15      the ballots we are talking about are ballots that are

16      lacking a date on the return envelope, either an absentee

17      or a mail-in ballot, but ballots that otherwise were timely

18      received ballots that otherwise as the Court's order said

19      have no deficiencies or irregularities.

20                       So we are talking exclusively about ballots

21      in which the only basis the county asserts for denying

22      their inclusion and certification is that the voter failed

23      to include a handwritten date on the ballot return

24      envelope.   So I may refer to undated ballots throughout,

25      but that is the class of ballots that I'm talking about.


                             Pa.App.0696
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 701 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               192 of 378   189
                                7/28/2022

 1      If a ballot, for example, is undated and unsigned, we're

 2      not contesting that.     So I do --

 3                       JUDGE COHN JUBELIRER:     Without a handwritten

 4      date?

 5                       MR. BOYER:    On the outer envelope, exactly.

 6      So if there is a missing date and other errors, those

 7      ballots are not at issue.      We do not believe that the law

 8      requires or permits those ballots to be counted.         For

 9      example, an envelope that lacks both a date and a

10      signature.

11                       The Court's order on June 2nd was quite

12      clear that the counties here must canvass.        On page 14 of

13      the Court's opinion, it was clear that by canvass it meant

14      count the ballots at issue here.       And it's clear from

15      throughout the opinion the basis of that order was the

16      Court's legal conclusion that both Pennsylvania law and

17      federal law require those ballots be counted.

18                       It was also clear at pages 6, 14, 18 of the

19      Court's opinion that the Court understood the request to be

20      from the petitioners there a request that the Court order

21      the counties to count these ballots, not to merely

22      segregate the ballots, not merely to identify how many

23      ballots there are, but to count the ballots and report the

24      tallies on the basis of the Court's conclusion that

25      Pennsylvania law and federal law likely require these


                             Pa.App.0697
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 702 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               193 of 378   190
                                7/28/2022

 1      ballots to be counted.

 2                       Now, under the Election Code there are clear

 3      consequences of a Court order that certain ballots must be

 4      canvassed and must be counted.

 5                       JUDGE COHN JUBELIRER:     And just to clarify,

 6      when the context of the Court's opinion was in a request

 7      for preliminary injunction and so the Court was technically

 8      -- I mean, do you agree that the Court was technically

 9      examining the likelihood of success on the merits prong of

10      the preliminary injunction test?

11                       MR. BOYER:    Yes.   That is the standard the

12      Court was applying.     The order that the Court entered which

13      is what we believe guides here was a clear order to canvass

14      on the basis of that legal analysis.       That's quite

15      comprehensively described in Your Honor's opinion from June

16      2nd.   And the consequences of an order to canvass and count

17      ballots under the Election Code is that those ballots must

18      also be reflected in the final certification.

19                       And I will walk --

20                       JUDGE COHN JUBELIRER:     Okay.   And you're

21      going to walk me through that analysis?

22                       MR. BOYER:    And I'm going to walk through

23      why that is.    So this is for Your Honor's reference is this

24      is pages 8 through 9 of our brief sort of walks through the

25      Election Code and makes clear that once it's determined


                             Pa.App.0698
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 703 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               194 of 378     191
                                7/28/2022

 1      that a ballot is canvassed and counted, there is no further

 2      discretion on the part of the counties, on the part of the

 3      Secretary to overrule a Court's decision that ballots must

 4      be canvassed.

 5                       So the relevant section of the Election Code

 6      here, Your Honor, is 25 P.S. 3146.8 which is the section

 7      that governs canvassing of both absentee and mail-in

 8      ballots.    Paragraph (g)(3) of that section proscribes the

 9      conditions that a ballot must meet to be canvassed.          One of

10      those is that the declaration is sufficient.

11                       Now, the consequences of the Court's

12      reasoning in the Court's order was a determination that

13      return envelopes lacking a date are sufficient.         Once that

14      determination is made and there's an order to canvass and

15      count those ballots, there is no further discretion under

16      the Election Code as to what happens under those ballots.

17                       Under paragraph (g)(4) of that same section

18      -- and I will read this directly, Your Honor, and this is

19      quoted in our brief as well.

20                       Paragraph (g)(4), all absentee ballots which

21      have not been challenged under Section 1302.2 -- which

22      prescribes some provisions and procedures for challenging

23      ballots -- and all mail-in ballots which have not been

24      challenged under Section 1302(d)(a)(2) -- which is another

25      set of challenges -- that have been verified under


                              Pa.App.0699
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 704 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               195 of 378   192
                                7/28/2022

 1      paragraph 3 -- paragraph 3 refers to the paragraph

 2      describing the conditions for canvassing -- shall be

 3      counted and included with the returns of the applicable

 4      election district as follows.      And then it goes on to

 5      report that.

 6                       Section 3154 sort of picks up the process

 7      after there is computation and canvassing, and there it

 8      directs that the election districts which are actually

 9      conducting the canvassing and counting under 3146.8(g) and

10      (4) are to report to the county board of commissioners the

11      results that they have canvassed and that they have

12      computed.

13                       There is no discretion under 3154 that

14      authorizes the county Board of Elections to decide the

15      ballots that have already been counted and canvassed under

16      3146.8 are no longer going to be included in the

17      certification, meaning there is a process.        You know, you

18      heard Mr. Marks testify about a process that begins with

19      canvassing, counting, and ultimately concludes with

20      certification.

21                       Any discretion that the county boards have

22      exists at the canvassing and counting.        Of course that

23      discretion is subject to the Election Code and subject to

24      orders of the Court; and in this case because there was a

25      Court order dictating how to exercise that discretion which


                             Pa.App.0700
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 705 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               196 of 378   193
                                7/28/2022

 1      ballots must be canvassed and counted, there was no further

 2      discretion under the Election Code on the back end to

 3      remove ballots that this Court ordered must be counted.

 4                       For that reason, Your Honor, I think much of

 5      the case law in the present and, in fact, all of the case

 6      law in the present -- and I'll walk through some of the

 7      statutes as well -- that my colleagues cite is actually

 8      irrelevant.    There is a case cited several times, In re:

 9      McCracken, that speaks about the discretion county boards

10      have for canvassing and computing ballots.

11                       We don't dispute that.      The Court ordered

12      them how to exercise that discretion.        There is no

13      subsequent discretion at the certification stage.

14                       JUDGE COHN JUBELIRER:     And so how do you

15      define certification?     Is there a provision in the statute?

16                       MR. BOYER:    Yes.   The most relevant

17      provision is 3154 paragraph F which speaks about the

18      process of what election boards are supposed to do once

19      they have received canvassed and computed results from

20      their election districts.      They're to receive them.      They

21      are to add them together.

22                       And I can read through that paragraph if it

23      would be helpful, Your Honor, but it is 3154(f) that

24      describes that process that the county boards are to go

25      through during certification.      And throughout the language


                             Pa.App.0701
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 706 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               197 of 378   194
                                7/28/2022

 1      is directory.    The ballots that have been canvassed and

 2      computed shall be certified.

 3                       Now, there's been a couple mentions about

 4      the timing of this mandamus case and what options the

 5      Secretary or the Department should have availed themselves

 6      of.   I want to make a broader point and then a more

 7      specific point about the relevant statutes.

 8                       The broader point is the Department is not

 9      an ordinary litigant.     As you heard Mr. Marks testify,

10      there are often disputes between counties and the

11      Department about various aspects of election

12      administration; and because the Department, you know, does

13      not have authority to tell the counties in the main what to

14      do, they try to resolve those disagreements.

15                       And between the order in McCormick, the

16      discontinuance in McCormick, and this case, the Department

17      was in constant communication with the counties about this.

18      And throughout that communication, they were able to

19      prevail upon quite a few counties and convince quite a few

20      counties to change their view based on discussions about

21      what the law heard.

22                       I think you heard Mr. Marks testify his June

23      17th e-mail went to every county.       His June 27th e-mail, I

24      think he said at that point there was a handful that had

25      certified undated but most did not.       By June 27th that


                             Pa.App.0702
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 707 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               198 of 378    195
                                7/28/2022

 1      number was down to nine.      By June 29th that number was down

 2      to four.    By July 1 that number was down to three.        If the

 3      expectation is that the Department is going to sue county

 4      boards every time there is a disagreement, there will be a

 5      flood of litigation.     It is not a productive way and there

 6      is no need for it, and there is nothing that requires it.

 7                       As to the specific statutes that the

 8      counties believe required the Department to act more

 9      expeditiously, not only do they misread those statutes, but

10      those statutes confirm exactly what I was just saying about

11      the lack of discretion with respect to certification.

12                       So the one that they've cited most commonly

13      in their brief is 25 P.S. 3157 which provides two days for

14      an aggrieved person to challenge a decision of any county

15      board regarding the computation or canvassing of the

16      returns.    It does not permit challenges to the

17      certification.

18                       And the reason for that as this Court has

19      cited and I'll get to it in a minute is quite clear.          All

20      discretion happens at the computation and the canvassing

21      stage.   There is no expectation under the Election Code

22      that a board or that any ballot that meets the standards

23      for computation or canvassing or even more that a Court has

24      ordered must be canvassed and be counted can on the back

25      end be removed at the certification stage.        There is not an


                              Pa.App.0703
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 708 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               199 of 378   196
                                7/28/2022

 1      existing process for that because that is not how the

 2      Election Code works.

 3                       As this Court said in In re:      2003 Election

 4      for Jackson Township Supervisor, 3157 requires immediate

 5      resolutions of disputes that prevent certification.          3157

 6      is to have everything resolved in advance of certification.

 7      It is not a process for challenging certification because

 8      there is no expectation under the Election Code that

 9      certification is anything other than a ministerial -- there

10      is no expectation that ballots that had been adjudged to be

11      eligible for computation and canvassing will be removed at

12      the certification stage.

13                       And counsel for Fayette asked Mr. Marks are

14      computation, canvassing, and certification different stages

15      and they are.    3157 is clear that it applies to computation

16      and canvassing.    3157(d) separately refers to staying

17      certification pending certain challenges.        There is no

18      ambiguity that when we are talking about computation and

19      canvassing, that does not include certification.

20                       So the statute that they have pointed to

21      saying we should have proceeded under this, you had two

22      days, it's plainly inapplicable and it confirms our point

23      that once you have canvassed and computed certain ballots

24      there is no additional --

25                       JUDGE COHN JUBELIRER:     So your point is that


                             Pa.App.0704
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 709 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               200 of 378   197
                                7/28/2022

 1      3157 specifies that it's an order or decision of any county

 2      board regarding the computation or canvassing of the

 3      returns or recount or recanvass thereof and that there are

 4      different things that canvassing and computation are not

 5      certification --

 6                       MR. BOYER:    Correct.

 7                       JUDGE COHN JUBELIRER:     -- because they're

 8      two separate things?     Okay.

 9                       MR. BOYER:    Absolutely.    And as it applies

10      to absentee and mail-in ballots, the decision as to what

11      ballots are canvassed as I mentioned earlier is controlled

12      by 3146.8 paragraph (g)(3).      You count ballots that are

13      canvassed unless there is an error on the face of the

14      ballot.

15                       For example, you have multiple votes or

16      something like that.     Those ballots are canvassed.       The

17      ballot meets the standards for canvassing, meets the

18      standards for counting.     There is no dispute that ballot

19      must be reflected in the certification of election results.

20                       So in addition to the reading of the

21      Election Code that I walked through between 3146.8, 3154,

22      3157 is even further evidence that there is no expectation

23      of discretion that will happen at the certification stage

24      with respect to what ballots have been canvassed and

25      counted.    If they are canvassed and counted, they must be


                              Pa.App.0705
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 710 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               201 of 378   198
                                7/28/2022

 1      certified.

 2                       I'd like to move now to our second count

 3      which is the count for declaratory and injunctive relief

 4      and walk through a bit more broadly what it is that the

 5      Election Code requires, not just this Court's June 2nd

 6      order but stepping back what it is that the Election Code

 7      requires with respect to ballots that a voter has failed to

 8      write a date on the return envelope but otherwise are

 9      timely and otherwise have no deficiencies or irregularities

10      as Your Honor described in the June 2nd order.

11                       Now, there's been a great deal of attention

12      paid to Section 3146.6 which is the section that describes

13      the process by which a voter completes an absentee.          That

14      one is specific to absentee ballots.       There is a parallel

15      section with substantively identical language for mail-in

16      ballots, and that's the section that's been alluded to that

17      says a voter shall date the return envelope.         That section

18      alone does not dictate whether a ballot that's missing or a

19      return envelope that's missing a date meets the conditions

20      for canvassing.

21                       As I mentioned earlier, the process that

22      describes canvassing or rather the section that describes

23      canvassing is not 3146.6, but instead is 3146.8 and

24      specifically paragraph (g)(3) and that section says that a

25      declaration -- excuse me, a ballot may be canvassed if the


                             Pa.App.0706
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 711 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               202 of 378       199
                                7/28/2022

 1      declaration's return envelope is sufficient.         The word is

 2      is sufficient.    And to understand the consequences of these

 3      two statutes, they must be read together.

 4                       Under the Statutory Construction Act, we are

 5      directed to read statutes in conjunction under section 1

 6      Pa.C.S. 1932.    And I think the Supreme Court's decision in

 7      the Pennsylvania Democratic Party versus Boockvar is

 8      illuminative of how this interpretative methodology must

 9      proceed.

10                       There was a question there as to whether

11      ballots, absentee and mail-in ballots in particular, can be

12      counted if a voter has failed to use the inner secrecy

13      envelope, meaning they have omitted that and they have put

14      their ballot directly in the return envelope.         There just

15      as here there is language saying a voter shall do that.             A

16      ballot needs to be in the inner envelope.        The inner

17      envelope shall be in the outer envelope, and that's the

18      process for a voter to return.

19                       That section alone did not dictate the

20      Supreme Court's analysis of this question.        Instead it read

21      that section in tandem with the canvassing section which is

22      again 3146.8 to determine what exactly the legislative

23      intent was; and there because in the canvassing section

24      there is specific language that says if when a county is

25      precanvassing and they can determine who cast a ballot,


                              Pa.App.0707
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 712 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               203 of 378   200
                                7/28/2022

 1      that ballot needs to be invalidated.

 2                       So by implication the ballot is missing a

 3      secrecy envelope even though there's nothing in the

 4      canvassing section that says, you know, toss out ballots

 5      without a secrecy envelope.      The clear implication of the

 6      canvassing section's direction that if you can determine

 7      who cast a ballot that it needs to be voided informed the

 8      Court's analysis of what's to happen with ballots lacking

 9      the inner secrecy envelope.

10                       So following the exact methodology that the

11      Supreme Court used in PDP v. Boockvar, and the cite there

12      for reference is 238 A.3d at 378, shall date alone does not

13      dictate the consequences.      The canvassing section that

14      binds the counties and dictates their determination of

15      whether a ballot meets the standards for precanvassing says

16      the declaration must be sufficient.

17                       Now, sufficient, of course, is not the same

18      as complete, is not the same as a ballot must perfectly

19      comply.   What sufficient means is that the declaration must

20      be adequate for its purpose; and the statute, the Election

21      Code, is quite clear about what the purpose of the

22      declaration is.

23                       In 3146.4 for absentee ballots and 3150.14

24      for mail-in ballots, the statutes identify what the purpose

25      of the declaration is; and that's for the voter to attest


                             Pa.App.0708
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 713 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               204 of 378    201
                                7/28/2022

 1      that they are qualified to vote, that they have not already

 2      voted.   A signature alone is sufficient for that purpose,

 3      and the Election Code itself provides that answer.

 4                       25 P.S. 3553 says that someone alone --

 5      excuse me, someone who only signs the declaration envelope

 6      if it is false, that's sufficient for prosecution for any

 7      consequences that may follow.      It is the signature, not a

 8      signature and a date that confirms the voter is everything

 9      that the declaration says the voter is.

10                       So when we are determining sufficiency by

11      the plain text of the Election Code, all of the answers for

12      what the purpose is and what the Election Code and what the

13      General Assembly deemed sufficient for that purpose are

14      straight in the text of the Election Code.        The shall date

15      language that most of the county commissioners referred to

16      as directing their discretion here is not by itself what

17      dictates the answers.

18                       You know, but even, Your Honor, if reading

19      the shall date language and the sufficiency language

20      together, if there's a conclusion that the language isn't

21      clear but instead there is some sort of ambiguity.          Again,

22      following the Statutory Construction Act's directions for

23      how we approach ambiguous statutory language, we end up in

24      the exact same place.

25                       For example, under 1 Pa.C.S. 1922, paragraph


                             Pa.App.0709
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 714 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               205 of 378    202
                                7/28/2022

 1      1, the Statutory Construction Act directs we are to avoid

 2      statutory interpretations that produce absurd results.          As

 3      you've heard from Mr. Marks, as you heard from the County

 4      Commissioners from Berks, from Lancaster, across the board

 5      or I'll say nearly across the board, counties do not review

 6      the accuracy of the date.      They do not determine if the

 7      date that the voter writes is right.       In fact, they don't

 8      even have a method to do that.

 9                       If a voter writes May 10th, a county board

10      has no way of confirming that that was, in fact, the date

11      that the voter signed the ballot if the date of the

12      signature is the date that the statute otherwise

13      contemplates.    It is an absurd result to think that the

14      Election Code cares deeply about the presence of a date if

15      it cares not what that date says.

16                       Additionally, there are other instances if

17      we are to rely only on shall as dictating the answer here

18      of absurd results that would follow.       For example, for

19      those who vote in person -- and this is again in our brief

20      -- they are directed that they shall close the door behind

21      them.   If they don't, it doesn't state what the consequence

22      is.

23                       But under an interpretation that shall by

24      itself dictates the answer here, if you apply that

25      throughout the Election Code, you end up in a situation


                             Pa.App.0710
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 715 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               206 of 378   203
                                7/28/2022

 1      where voters who don't fold their ballots right, voters who

 2      don't fully close the door behind them, their votes will

 3      also be invalidated.

 4                       Additionally, if there is ambiguity here,

 5      the Supreme Court has said repeatedly including in

 6      Pennsylvania Democratic Party v. Boockvar and Your Honor

 7      said this in the June 2nd Memorandum Opinion when there are

 8      ambiguities in the Election Code, we interpret them to

 9      effectuate the statute's purpose; and that means we avoid

10      disenfranchising voters for minor irregularities.         And

11      there is no doubt that omitting a date where the content of

12      the date does not even matter to the counties is a minor

13      irregularity.

14                       Now, you heard some examples of what

15      function the date might serve.       For example, you heard,

16      well, there may be someone who died before Election Day and

17      their daughter or someone else, you know, cast a ballot in

18      their name and sent it in.      In that instance no matter what

19      date is on the ballot, that vote will not count.         A voter

20      who dies before Election Day cannot vote.        Same with a

21      voter who moves out of state.

22                       Across the board voters must meet the

23      eligibility criteria as of Election Day.        So the date, you

24      know, if we're trying to figure out, well, you voted on May

25      24th -- May 10th and you left on May 12th, then, you know,


                             Pa.App.0711
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 716 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               207 of 378   204
                                7/28/2022

 1      how do we reconcile all this?      None of that matters.      The

 2      date is not in any way instructive as to whether the vote

 3      that was cast should be counted.

 4                       And no one, whether it was in Migliori,

 5      whether it was in McCormick, whether it was today, no one

 6      has come up with a function for the date that is relevant

 7      to whether the vote is valid; and, of course, that is

 8      further confirmed by the fact that counties regularly,

 9      including the Respondents here, count ballots independent

10      of the accuracy of the date.      And, as Your Honor mentioned

11      or wrote in the June 2nd opinion, it's hard to find that

12      the date is anything more than a minor irregularity when

13      its accuracy is unimportant.

14                       JUDGE COHN JUBELIRER:     Do you have a

15      position about whether a challenge could be made to ballots

16      that, for example, include a birth date instead of a date

17      that's a possible signing date?       Is that something that

18      could be challenged by a candidate or a voter?

19                       MR. BOYER:    I think it could be challenged.

20      I don't think that challenge would succeed.        I don't think

21      the Election Code contemplates -- you know, it says sign

22      and date.   Of course it doesn't say what date.        Counties

23      treat that to mean any date.      And I think even if there was

24      arguments to be made that, all right, well, it means X date

25      and so if anyone puts a different date, you know, their


                             Pa.App.0712
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 717 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               208 of 378   205
                                7/28/2022

 1      vote doesn't meet the statutory criteria.

 2                       Perhaps I think it would still be the case

 3      that the date doesn't matter because it is not -- it

 4      doesn't make the declaration sufficient.        The date is

 5      really beside the point when we're determining the

 6      sufficiency of the declaration which again is the language

 7      that dictates which absentee and mail-in ballots counties

 8      are to canvass.

 9                       Count two, Your Honor, we've not only sought

10      declaratory and injunctive relief as a matter of what the

11      Pennsylvania Election Code requires but, of course, is in

12      addition to what federal law requires.

13                       I don't think I need to spend too much time

14      on this point, Your Honor, because the June 2nd opinion

15      that Your Honor wrote, everything that was written there

16      applies equally here because the definition of vote under

17      101(e) -- this is 52 U.S.C. 101(e) which is the federal

18      statute at issue -- applies to the certification process

19      given how that statute defines vote, and it specifically

20      says the protections under the relevant statute apply all

21      the way through the final certification of the election.

22                       So I'll finish and I'll respond to other

23      points as needed on rebuttal, but I do want to make sort of

24      this overarching point about what this case is about.

25                       JUDGE COHN JUBELIRER:     And just before you


                             Pa.App.0713
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 718 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               209 of 378   206
                                7/28/2022

 1      do that, we heard today that a recertification in some

 2      counties, I think for example Berks, could end up changing

 3      the results that have been certified by the counties for

 4      certain positions such as state committee people or other

 5      elections that didn't cover the whole county.

 6                       Is that a concern here that an order from

 7      this Court at this time would upset that and the

 8      expectations that the individuals who have been certified

 9      as winners by the county would then find themselves not?

10                       MR. BOYER:    So I'll say I have not thought

11      about that as much.     I can provide more information as the

12      Court wants, but I'll say two points that I think are

13      relevant.

14                       The basis for count one, the mandamus

15      action, is because the Secretary under Section 3158 and

16      3159 must receive accurate certifications of election

17      results for the elections that she also is responsible for

18      certifying.    She has no responsibility and no statutory

19      relationship to those elections.       So I think there is not

20      much that she can do with respect to them.

21                       Under the statute, she must receive from

22      counties certified results for the races that she also has

23      responsibility for, and she doesn't have responsibility for

24      those.   And I think also generally, you know,

25      certifications, final certifications of elections are


                             Pa.App.0714
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 719 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               210 of 378    207
                                7/28/2022

 1      generally thought to moot election [inaudible].

 2                       For example, the Migliori petition that's

 3      been mentioned a number of times and there are arguments

 4      being made that no matter whether the Third Circuit

 5      decision was right or wrong and whether the Supreme Court

 6      might otherwise have granted review, the candidates have

 7      conceded the election result was certified.         The case is

 8      moot.

 9                       JUDGE COHN JUBELIRER:     Is the case moot?

10      Has one of those candidates taken a position in Lehigh

11      County Court?

12                       MR. BOYER:    One of the candidates there did

13      concede the election, yes.      And I am not saying the

14      Department's position right now is the case is moot.

15                       JUDGE COHN JUBELIRER:     Correct.

16                       MR. BOYER:    I'm saying there is a petition

17      from the candidate who did concede saying this petition is

18      moot.

19                       JUDGE COHN JUBELIRER:     I see.

20                       MR. BOYER:    So I'd like to conclude for now

21      with where I started which is what this case is about.          As

22      I mentioned at the outset, this is not a case where the

23      Secretary believes she can order the counties to do certain

24      things.   If she had that power, we would not be before Your

25      Honor asking for an order that the counties do certain


                             Pa.App.0715
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 720 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               211 of 378   208
                                7/28/2022

 1      things.

 2                       The testimony that's been elicited, the

 3      arguments that have been made about the primacy of the

 4      counties relative to the Secretary is all beside the point.

 5      The Secretary, the county, we are all subject to the

 6      Election Code as finally interpreted by this Court and the

 7      Supreme Court of Pennsylvania and, of course, federal law

 8      ultimately as determined by the federal courts.

 9                       At the same time the Secretary, even if she

10      has no independent authority to receive elections and say

11      those ballots are null and void, she is not a rubber stamp.

12      When the Secretary receives certifications, whether there's

13      clerical errors where it's clear a county has excluded

14      certain ballots maybe inadvertently or inadvertently, the

15      Secretary returns to the counties and addresses that and

16      raises that point.

17                       Where there is clear case law saying ballots

18      are being excluded that are lawful and, in fact, an order

19      that says the very ballots at issue here must be canvassed

20      and there is no further discretion under the Election Code,

21      the Secretary simply has not received from the counties the

22      certifications that they are required to provide to her

23      under 3154 and the following statutes and in turn she

24      cannot complete her own statutory duties to certify the

25      accurate election results.


                             Pa.App.0716
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 721 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               212 of 378   209
                                7/28/2022

 1                       Unless there are further questions now, I'll

 2      save the rest of my points for rebuttal.

 3                       JUDGE COHN JUBELIRER:     Okay.

 4                       MR. BOYER:    Thank you, Your Honor.

 5                       MR. BUKOWSKI:    May it please the Court, Your

 6      Honor.   It's been my pleasure to represent the Berks County

 7      Board of Elections and the Lancaster County Board of

 8      Elections before Your Honor today.

 9                       We're here under circumstances where no

10      candidate and no voter is challenging the final certified

11      results timely submitted by the Berks County Board of

12      Elections, the Lancaster County Board of Elections, and the

13      Fayette County Board of Elections; and yet Petitioners are

14      seeking a writ of mandamus and declaratory and injunctive

15      relief from this Court to enforce what I understood until

16      today to be the Petitioners' directive based on no

17      statutory authority.

18                       But now I understand that Petitioners are

19      not trying to enforce their directives to the county Boards

20      of Elections but trying to enforce this Court's June 2nd,

21      2020 [sic] order in the McCormick challenge, and I'll

22      address that as we get into the elements of Petitioners'

23      claim for emergency relief.

24                       There's no dispute about the timeline, but

25      you would have thought from counsel's argument that the In


                             Pa.App.0717
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 722 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               213 of 378       210
                                7/28/2022

 1      re:   Canvass decision in November, 2020, never occurred.           I

 2      didn't hear him mention that one time during his argument

 3      to this Court and that case at least on the issues before

 4      the Court is binding on this Court and the county Boards of

 5      Elections.

 6                       In that case there clearly was a

 7      four-to-three majority of the Pennsylvania Supreme Court

 8      that concluded under the plain language of the Pennsylvania

 9      Election Code that undated ballots, undated absentee and

10      mail-in ballots with no other defects shall not be counted

11      in any election after November, 2020.

12                       JUDGE COHN JUBELIRER:     Well, would you agree

13      that it is a plurality decision?

14                       MR. BUKOWSKI:    Not on that issue, Your

15      Honor.   There was a three -- it's three, three, one; and if

16      you take the three Justices and the Justice Dougherty's

17      opinion --

18                       JUDGE COHN JUBELIRER:     Well, I understand

19      but what you're doing -- I mean, and my question let's take

20      it in steps.

21                       MR. BUKOWSKI:    Sure.

22                       JUDGE COHN JUBELIRER:     It is a -- do you

23      disagree that in the opinion announcing the judgment of the

24      Court in that case it states, we conclude the dating, the

25      declaration is a directory rather than a mandatory


                             Pa.App.0718
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 723 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               214 of 378   211
                                7/28/2022

 1      instruction, and thus the inadvertent failure to comply

 2      does not require that ballots lacking a date be excluded

 3      from counting?

 4                       MR. BUKOWSKI:    I agree that that opinion

 5      announcing the judgment of the Court says that.

 6                       JUDGE COHN JUBELIRER:     Okay.

 7                       MR. BUKOWSKI:    And that was signed on by

 8      three Justices.    Justice Wecht signed on to that opinion

 9      for the limited purpose of applying --

10                       JUDGE COHN JUBELIRER:     Right.

11                       MR. BUKOWSKI:    -- it to that election.

12                       JUDGE COHN JUBELIRER:     But that doesn't

13      change then that it was a plurality opinion that then -- I

14      mean I think it at least is and I believe that there's been

15      some comments that the -- it's, well, a bit confusing.

16                       MR. BUKOWSKI:    I think it's not confusing,

17      Your Honor, if you look at -- if you look at Justice

18      Wecht's opinion, his opinion concurring in the result where

19      he says, I agree this election I agree but going forward --

20      and I'll quote from that.

21                       JUDGE COHN JUBELIRER:     Yes.    And I mean

22      that's fine and Justice Dougherty, I've read, of course,

23      all of their opinions.     But there is also case law that

24      sort of cautions if you will against overly interpreting

25      should I say the effect of plurality opinions that they --


                             Pa.App.0719
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 724 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               215 of 378   212
                                7/28/2022

 1      to the extent that we interpret them to establish binding

 2      precedent going forward.      I think we have to proceed with

 3      caution.

 4                       MR. BUKOWSKI:    I don't --

 5                       JUDGE COHN JUBELIRER:     That's all I would

 6      say with that, and I'm fine for you to quote the language

 7      of what is not a majority opinion but what is a concurring

 8      opinion.

 9                       MR. BUKOWSKI:    And I think what -- I

10      understand what Your Honor is saying; and I would commend

11      Your Honor to review, although it's not binding on this

12      Court, two of Your Honor's colleagues on this Court.

13                       JUDGE COHN JUBELIRER:     In the Ritter?

14                       MR. BUKOWSKI:    In the Ritter case.

15                       JUDGE COHN JUBELIRER:     Right.

16                       MR. BUKOWSKI:    Came to the exact result I'm

17      urging you to come to today.      And so I adopt wholesale

18      their analysis of In Re:      Canvass and urge you to do the

19      same, and that would make three of you and who knows what

20      the rest of the Court would do.       Obviously Judge Wojcik had

21      his own view on that and set it forth there.

22                       But I do believe that Judge McCullough's

23      opinion in Ritter is persuasive and that this Court should

24      take a hard look at that analysis.       And they concluded

25      there that there's a majority as to the narrow issue, and


                              Pa.App.0720
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 725 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               216 of 378   213
                                7/28/2022

 1      I'm only talking the narrow issue on whether the statute

 2      says -- whether the statute requires that an undated ballot

 3      be rejected.

 4                       There is a sliver of light certainly on the

 5      federal statute question that In Re:       Canvass left open;

 6      and the opinions, you know, Justice Wecht's opinion, you

 7      know, mentioned it but said I'm not going to step into that

 8      without the benefit of full advocacy and I think that was

 9      wise.   But I didn't hear really any thorough analysis or

10      argument from opposing counsel on that point.

11                       But so on that narrow issue I do -- and

12      ironically I guess the opinion in Ritter, the unreported,

13      unpublished opinion in Ritter by Judge McCullough was

14      January of 2022.    It involved the same election as Migliori

15      which was the federal court case which reached a different

16      result, and I will address briefly what's before the

17      Supreme Court now because I think the timeline is pretty

18      clear though that we established through the record today

19      and the stipulated facts.

20                       You know, the guidance from the Department

21      all the way up through Election Day was don't count undated

22      ballots.    You know, the timing being what it is, May 20th

23      was three days after Election Day, the Migliori Third

24      Circuit opinion comes out.      That mandate never takes

25      effect.    The Supreme Court stay took effect on May 31st


                              Pa.App.0721
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 726 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               217 of 378   214
                                7/28/2022

 1      before the mandate became effective.       The stay was lifted

 2      June 9th.

 3                       Meanwhile these county Boards of Elections

 4      are facing deadlines trying to timely certify the results

 5      of this election which Migliori really doesn't address

 6      because it's a different election, and I think the opinion

 7      makes it clear that that decision applies only to that 2021

 8      judicial race in Lehigh County although certainly the

 9      analysis, you know, one could argue would apply.

10                       JUDGE COHN JUBELIRER:     How could you argue

11      that it would not apply?

12                       MR. BUKOWSKI:    Well, I would argue that it's

13      wrong.

14                       JUDGE COHN JUBELIRER:     Well, I mean but

15      that's arisen and I'm sure that, you know, that there could

16      be disagreement and I respect that with regard to the June

17      2nd order and the opinion that went with that that, you

18      know, you thought that was incorrect, too.

19                       MR. BUKOWSKI:    Right.

20                       JUDGE COHN JUBELIRER:     So there are I don't

21      think -- well, certainly at the time I don't want to

22      prejudge.   So there's always a question as to whether a

23      judicial decision when you look back on it you might

24      whatever.   But otherwise what we think of in, you know,

25      stare decisis has particularly I think if not stare decisis


                             Pa.App.0722
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 727 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               218 of 378   215
                                7/28/2022

 1      let's say that certainty --

 2                       MR. BUKOWSKI:    Sure.

 3                       JUDGE COHN JUBELIRER:     -- that opinions that

 4      can be read, understood, and applied in the future so that

 5      all of these hardworking people who are trying to make

 6      decisions now how to apply the statutes and the law when

 7      they're counting votes and so the voters know what's

 8      required of them is really important.

 9                       And so to that end, I wonder why or if you

10      would agree that having a decision on the merits in a case

11      like this where probably with any decisions in our original

12      jurisdiction here appealed as of right to our Supreme Court

13      might provide a decision that could be then applied with

14      more certainty in these upcoming elections?

15                       MR. BUKOWSKI:    I was hoping you didn't ask

16      that question because thinking about coming in here today,

17      but I knew you would.     And let me answer it to say

18      certainly, certainly if this Court issued a decision on the

19      merits in this case which is subject obviously to appeal as

20      of right to the Supreme Court, as the Court indicated would

21      provide some clarity and at least a means by which Boards

22      of Elections could, you know, hopefully sooner rather than

23      later get clearer guidance on all the relevant issues.

24                       What my response to your question, however,

25      is, we're not here -- unfortunately I think probably the


                             Pa.App.0723
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 728 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               219 of 378   216
                                7/28/2022

 1      best chance for that decision on the merits to have been

 2      made was the McCormick case because it was a real challenge

 3      by a real voter, a real candidate who -- there's no issue

 4      on timeliness.    All the Boards of Elections were parties.

 5      The Acting Secretary was a party.

 6                       And I understand what happened and the

 7      voluntary discontinuance, but so therefore I believe this

 8      is not an actual case or controversy.        It's I'll use the

 9      vernacular a ginned up case or controversy, and I don't

10      mean that in a pejorative way.       I'll assume good faith on

11      the part of the Acting Secretary that she's trying to, you

12      know, provide some clarity, too.

13                       If I were bringing the action, I would have

14      teed it up a little differently and said maybe for

15      declaratory judgment and said, you know, 64 counties ruled

16      one way, three ruled another way.       We need clarity.

17                       JUDGE COHN JUBELIRER:     Well, then I was

18      going to ask because there is a request for declaratory

19      relief and one of the requirements in the Election Code --

20      or let me just ask how you interpret in the Section 2642,

21      Powers and Duties of County Boards, it says, you know, to

22      the end that primaries and elections may be honestly,

23      efficiently, and uniformly conducted and whether you

24      perceive there to be a concern?

25                       I mean and the Secretary, of course, takes


                             Pa.App.0724
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 729 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               220 of 378   217
                                7/28/2022

 1      the same oath or at least an oath that the county board

 2      officials take to protect, obey, and defend the

 3      Constitution and the laws.      So as she's certifying her

 4      results, she has as well a duty arguably, or we can see if

 5      you disagree.

 6                       But anyway the concern about uniformity and

 7      whether there's a concern if in three counties or five

 8      counties or ten counties certain ballots are not counted

 9      and in the remaining counties those ballots are counted and

10      does that create an issue either under the Election Code or

11      the Constitution?

12                       MR. BUKOWSKI:    I think my answer to that is

13      this Court should not take on and issue a declaratory

14      judgment.    This is an advisory opinion that there's no

15      candidate challenging, there's no voter challenging.

16                       JUDGE COHN JUBELIRER:     Are candidates and

17      voters the only parties that can challenge?

18                       MR. BUKOWSKI:    I don't believe that's -- the

19      language in the statute says an aggrieved person.         I don't

20      know whether --

21                       JUDGE COHN JUBELIRER:     The language in which

22      statute?

23                       MR. BUKOWSKI:    In the statute that allows

24      for appeals from -- let me get it -- appeals from the

25      decisions of Boards of Elections.       I have it here.


                              Pa.App.0725
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 730 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               221 of 378   218
                                7/28/2022

 1                       JUDGE COHN JUBELIRER:     I think you're

 2      looking at 3146.8 which refers to canvassing.

 3                       MR. BUKOWSKI:    I think 3157 is what I was --

 4                       JUDGE COHN JUBELIRER:     3157, yes, and it was

 5      from decisions of the county board.       But it still says

 6      regarding the computation or canvassing of the returns.

 7                       MR. BUKOWSKI:    I agree.

 8                       JUDGE COHN JUBELIRER:     How would you read

 9      that?   Maybe I should ask your colleague because I think he

10      made a very clear distinction when questioning Mr. Marks

11      about the distinction between canvassing and certification.

12                       MR. BUKOWSKI:    I think canvassing, you know,

13      counting votes, whether or not to count votes as part of

14      the canvass is a decision.      So the decision not to count

15      the undated ballots in my view is a decision by the Board

16      of Elections with respect to canvassing.        That decision,

17      you know, the statute provides there's two days for any

18      aggrieved person to challenge that decision.

19                       I argue that June 6, 7th, and 8th,

20      respectively, were the dates when those decisions were made

21      final when these county Boards of Elections submitted their

22      certified results to the Secretary and that, within two

23      days if somebody was going to challenge that including the

24      Secretary -- and I'll assume without conceding that the

25      Acting Secretary could be an aggrieved person under the


                             Pa.App.0726
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 731 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               222 of 378     219
                                7/28/2022

 1      statute.

 2                       But assuming that to be true, then by June

 3      10th then she would have had to have filed an action to

 4      this Court because this Court's May 27th administrative

 5      order said because there is a statewide recount now all

 6      appeals, even though it's original jurisdiction, all

 7      appeals will come to this Court.

 8                       I guess I alternatively argue that the

 9      appropriate date would have been the date on which the July

10      1st date on which -- I mean you could argue serially the

11      first time Berks County said we're not going to do it, you

12      know, because it didn't need to be committed to writing or

13      the first time Lancaster or Fayette County said we're not

14      going to recertify, that would have been a decision of the

15      respective boards from which such an appeal would have been

16      required to be filed within two days.

17                       And lastly I think at least as to Lancaster

18      and Berks they sent correspondence July 1st for Berks, July

19      5th each from one of -- the solicitor in Lancaster was July

20      5th, the first assistant deputy in Berks was July 1st.          And

21      even if you extended grace to those dates -- I think

22      Fayette's might have been earlier -- but even if you said

23      okay, two days from those dates, you know, we're at July

24      11th and it's not timely.

25                       So even a lot of assumptions in favor of the


                              Pa.App.0727
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 732 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               223 of 378   220
                                7/28/2022

 1      Acting Secretary and Department make this case untimely

 2      filed, but I think it also has the hallmarks of that we've

 3      argued a lack of an actual case or controversy.         And I'll

 4      come back to the mandamus later, but because the Court is

 5      focused on the declaratory judgment --

 6                       JUDGE COHN JUBELIRER:     But we can look at

 7      both.   I just mentioned declaratory so --

 8                       MR. BUKOWSKI:    What I'll say is that the

 9      Declaratory Judgments Act precludes, you know, relief when

10      there's not an actual case or controversy.        And I guess the

11      Secretary's arguing that she's aggrieved somehow; but she's

12      really not because when you look at the Code, the certified

13      results were submitted.     She has no discretion.

14                       If anybody doesn't have discretion at this

15      stage of the 2022 May primary it's the Acting Secretary

16      because these three boards have sent her the certified

17      results, and Mr. Marks did testify when the Secretary gets

18      certified results from the county boards she has no

19      discretion.    She has the ministerial duty to certify the

20      election.

21                       JUDGE COHN JUBELIRER:     I think that's a

22      legal question.

23                       MR. BUKOWSKI:    No.   And I'm not suggesting

24      that that's an admission, but that's the argument is that

25      the statute says that and provides for that.         And having


                             Pa.App.0728
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 733 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               224 of 378   221
                                7/28/2022

 1      received the certified results from these county Boards of

 2      Elections, the Secretary had an option at that point,

 3      certify; or if she believes what she's asserting now,

 4      appeal to this Court within two days not a month and a week

 5      or so after those results were received.

 6                       So it's not timely and it's not an actual

 7      case or controversy because there's no -- I still think

 8      there has to be a candidate or, you know, some outcome that

 9      would be hanging in the balance for this.

10                       JUDGE COHN JUBELIRER:     Did all of the

11      counties do what Berks County did and notify the people who

12      voted by mail or absentee that their ballot was received

13      but without a signature or date so that they had an

14      opportunity to cure?

15                       MR. BUKOWSKI:    I believe what Commissioner

16      Leinbach was testifying to was that when --

17                       JUDGE COHN JUBELIRER:     Oh, was it --

18                       MR. BUKOWSKI:    It was Berks.

19                       JUDGE COHN JUBELIRER:     It was Berks, okay.

20                       MR. BUKOWSKI:    It was Berks.    But when the

21      SURE system itself puts, sends the notices when those are

22      scanned in, then that will --

23                       JUDGE COHN JUBELIRER:     So the SURE system.

24                       MR. BUKOWSKI:    Notifies voters as to what

25      the status -- it will send an e-mail if they included an


                             Pa.App.0729
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 734 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               225 of 378   222
                                7/28/2022

 1      e-mail address.

 2                       JUDGE COHN JUBELIRER:     Correct.

 3                       MR. BUKOWSKI:    And then also there's a way

 4      for voters to check the status of their ballot, and then

 5      they can come in.

 6                       JUDGE COHN JUBELIRER:     But that status is

 7      more than just it was received?

 8                       MR. BUKOWSKI:    Correct.

 9                       JUDGE COHN JUBELIRER:     It will tell them if

10      it was -- if it did not have a date or did not have a

11      signature?

12                       MR. BUKOWSKI:    Yeah.   The answer to your

13      question is I see Mr. King nodding no.        I know it is for

14      Berks.   I believe it is for Lancaster, but I don't want to

15      swear to it and those folks have left.

16                       JUDGE COHN JUBELIRER:     Yes.   And he maybe

17      can answer later and that wasn't put on the record, but I

18      was not aware of that if it does exist.

19                       MR. BUKOWSKI:    And then going back to -- let

20      me shift because I want to come back to this Court's order

21      on June 2nd --

22                       JUDGE COHN JUBELIRER:     Yes.

23                       MR. BUKOWSKI:    -- because I was left -- my

24      first thought and then my second thought was, wow, after

25      hearing the way the Secretary interpreted this Court's June


                             Pa.App.0730
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 735 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               226 of 378   223
                                7/28/2022

 1      2nd preliminary injunction order because I will come back

 2      to that.

 3                       But on the mandamus piece, I think, you

 4      know, the canvassing and counting of ballots is clearly an

 5      act of discretion and whether to count ballots or set aside

 6      undated ballots also is an act of discretion.         And I think

 7      what their argument is, is no it's not because the Court

 8      told you to do this.

 9                       But we cited Appeal of McCracken which is a

10      1952 Pennsylvania Supreme Court case that says canvassing

11      and computing necessarily embrace acts of discretion, and

12      then it cites the older case which we also quoted Boord v.

13      Maurer which was I think 1941 or so Pennsylvania Supreme

14      Court.

15                       And based on that alone and then the

16      requirement that mandamus is improper when there's

17      discretion, that should result in the denial/dismissal of

18      count one of their petition.

19                       JUDGE COHN JUBELIRER:     Okay.   And that's

20      based on the idea that the canvassing and counting is

21      included in the certification?

22                       MR. BUKOWSKI:    Correct.

23                       JUDGE COHN JUBELIRER:     Okay.   So those are

24      different --

25                       MR. BUKOWSKI:    Although I guess you only


                              Pa.App.0731
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 736 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               227 of 378    224
                                7/28/2022

 1      certify once you canvass and count; and so once your

 2      canvassing and counting is done, then you certify.          So the

 3      discretionary -- and what they're complaining about is the

 4      not counting these votes.      So I know they're saying and

 5      then you certified votes without counting them, but you

 6      can't get around the fact that the complaint is that these

 7      counties did not count undated absentee and mail-in

 8      ballots.

 9                       JUDGE COHN JUBELIRER:     Okay.

10                       MR. BUKOWSKI:    And their rationale for that

11      and this is where I come back to this Court's June 2nd,

12      2020 [sic] order in McCormick.       First as Your Honor pointed

13      out in the colloquy with counsel that that was a

14      preliminary order, and I think it's instructive to quote

15      from parts of Your Honor's opinion in that because it sheds

16      light on what the meaning of the order itself -- and

17      obviously no one knows better than you do what the Court

18      meant.

19                       But on page 21 of your opinion, you're

20      talking about the likelihood of success on the merits prong

21      of the requested preliminary injunction; and you concluded

22      that based on the review of the undisputed facts and the

23      parties' arguments and relevant case law, the Court

24      concludes Petitioners have established they are likely to

25      succeed on the merits.


                              Pa.App.0732
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 737 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               228 of 378   225
                                7/28/2022

 1                       And I think it's helpful to read the rest of

 2      that sentence because Your Honor said, because they have,

 3      quote, demonstrated that substantial legal questions must

 4      be resolved to determine the rights of the party, end

 5      quote; and then there's the cite to the SEIU case and then

 6      going on is and their claim is, quote, more than merely

 7      viable or plausible, end quote.       And so that was the

 8      Court's preliminary assessment of the arguments.

 9                       And I don't think any of the counties -- I

10      know Berks and Lancaster had no issue with the preliminary

11      order to say okay, let's segregate and count these and

12      submit two tallies.     I don't think but I think I understood

13      what the Secretary is arguing now is by saying the magic

14      words canvass, that the Court ordered these counties to

15      certify because they were required as part of this Court's

16      order in Canvass to count.

17                       And once they've counted them, the genie is

18      out of the bottle and they've got to then certify those

19      counted votes; and they have no discretion despite the fact

20      that this Court at the very end of Your Honor's opinion the

21      concluding paragraph states thus when a final decision on

22      the merits of whether the ballots that lacked a dated

23      exterior envelope must be counted or not, the Acting

24      Secretary will have the necessary reports from the county

25      boards.


                             Pa.App.0733
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 738 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               229 of 378       226
                                7/28/2022

 1                       And then Your Honor went on in the order to

 2      say what it says, and it does say if they're not already do

 3      so.   Doing so segregate the ballots that lack a dated

 4      exterior envelope, canvass those ballots.        Assuming there

 5      are no deficiencies or irregularities that would require

 6      otherwise, report the two vote tallies to the Acting

 7      Secretary, include votes with from dated and undated.

 8                       And based on all the other language and it's

 9      going to be for Your Honor to decide, I cannot imagine that

10      that order meant what the Acting Secretary says it means

11      and then what the results from that are that this Court

12      concluded on the merits and made a final decision that

13      these undated ballots must be counted and therefore

14      included in the certified results.

15                       And if that's their argument, it's up to the

16      Court to decide whether that's what this Court intended.            I

17      guess I would ask on behalf of the Berks County and

18      Lancaster County if that's what this Court ordered, the

19      Court should reconsider that order or clarify that order.

20      The Court denied the request to vacate it, and I'd even

21      renew that motion to vacate the order.

22                       JUDGE COHN JUBELIRER:     Right.

23                       MR. BUKOWSKI:    As I believe, that wasn't

24      what you intended.     I think clarification probably does it.

25                       JUDGE COHN JUBELIRER:     Well, and yes, I


                             Pa.App.0734
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 739 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               230 of 378   227
                                7/28/2022

 1      stand by my opinion and order of course.

 2                       MR. BUKOWSKI:    Of course.    And I think

 3      clarity in this case as to what that meant --

 4                       JUDGE COHN JUBELIRER:      Well, every opinion

 5      and order of a Court in a sense takes on a life of its own

 6      as it is interpreted and applied in the future.

 7                       MR. BUKOWSKI:    Right.

 8                       JUDGE COHN JUBELIRER:      And --

 9                       MR. BUKOWSKI:    And I do think it's helpful

10      that it was a preliminary order only because --

11                       JUDGE COHN JUBELIRER:      Although it was an

12      extensive analysis of the likelihood of success on the

13      merits.

14                       MR. BUKOWSKI:    It was.    It was.   And what I

15      would say is at that point in time, again June 2nd, the

16      Court did not have the benefit of Justice Alito's

17      dissenting opinion in the --

18                       JUDGE COHN JUBELIRER:      Although isn't his

19      dissenting opinion also qualified with the fact that it was

20      preliminary, that he was essentially relying on the request

21      for stay that had been given which expressed what

22      Pennsylvania law was at the time and he was relying on that

23      interpretation?

24                       MR. BUKOWSKI:    I do think what he -- and I

25      looked at it very closely.      I read that dissenting opinion


                             Pa.App.0735
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 740 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               231 of 378   228
                                7/28/2022

 1      and compared it to the Third Circuit's opinion.         It's

 2      certainly -- I was shocked when I reread preparing for

 3      today how little the Third Circuit opinion breaks down the

 4      elements of the statute in question the way Justice Alito

 5      did in, you know, the elements one through five.         There's

 6      no discussion like that at all in the Third Circuit

 7      opinion.

 8                       And so I do think for having it a few days

 9      even Justice Alito's preliminary analysis and I think he

10      left some room there, but I think he's spot on when it

11      comes to analyzing elements I think it's two and five of

12      the federal statute in describing that you can't possibly

13      -- that statute does not really go to the qualifications of

14      a voter to vote.

15                       It is the or this statute the dating

16      requirement is the act of voting itself and doesn't affect

17      the qualifications of the voter to vote, and therefore it's

18      kind of a circular argument that the Appellant in Migliori

19      and the Third Circuit adopted.       And I think the concurring

20      opinion in Migliori I think was quite candid in pointing

21      out that Ritter conceded a couple points that he didn't

22      argue that really left no room.

23                       But I think the statutory analysis that

24      Justice Alito did applies here, and this Court should take

25      that into account and revisit its preliminary analysis of


                              Pa.App.0736
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 741 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               232 of 378   229
                                7/28/2022

 1      in McCormick as it contemplates where it will come down on

 2      that because I think if it does so the analysis is such

 3      that it becomes clear that the federal statute does not

 4      apply to abrogate the dating requirement on those absentee

 5      ballots.

 6                       JUDGE COHN JUBELIRER:     Well, I'm not sure

 7      that anything required the abrogation.        It's an

 8      interpretation if you will of the statutory requirement and

 9      whether it's, you know -- well, we can --

10                       MR. BUKOWSKI:    That's right.    It was a

11      suggestion that that was not material to the qualification,

12      and what Justice Alito points out and I agree and urge the

13      Court to consider and agree as well is that that dating

14      requirement doesn't go to the qualification to vote.          It

15      goes to whether the vote that was cast will be counted.

16      It's not disenfranchising.

17                       It's not saying the voter, you know, was not

18      qualified to vote; and, therefore, it doesn't have the

19      effect -- let me just say that -- it doesn't have the

20      effect that the Third Circuit concluded it does.         And,

21      therefore, the result is that that statute should not

22      result in county Boards of Elections being required to

23      count undated ballots.

24                       I guess I'll leave -- conclude really with

25      and obviously we've filed extensive papers, but I think I'd


                              Pa.App.0737
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 742 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               233 of 378   230
                                7/28/2022

 1      like to conclude with what I think is the key language in

 2      the In re:   Canvass decision from Justice Wecht's opinion.

 3      And he goes back time and time again to the Court's

 4      decision in the PDP case.

 5                       JUDGE COHN JUBELIRER:     Before you conclude

 6      just one final question and that is the difference between

 7      and we can call them, you know, wrongly dated ballots or I

 8      hate to -- let's say ballots that contain handwritten dates

 9      on the envelopes that are incorrect --

10                       MR. BUKOWSKI:    Okay.

11                       JUDGE COHN JUBELIRER:     -- or wrong --

12                       MR. BUKOWSKI:    Sure.

13                       JUDGE COHN JUBELIRER:     -- and ballots that

14      do not contain handwritten dates on them on the outside

15      envelope.

16                       MR. BUKOWSKI:    Understood.

17                       JUDGE COHN JUBELIRER:     Is that what you

18      believe the Legislature intended in the dating requirement

19      and, if so, how is that helpful?

20                       For example, let's say the Lancaster County

21      case and if the person there, if the daughter had put her

22      birth date, her mother's birth date on there, that wouldn't

23      have helped; but it wouldn't have been -- let me just say

24      this -- it wouldn't have been found not to be counted,

25      right?   But it would not have enabled anybody to determine


                             Pa.App.0738
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 743 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               234 of 378     231
                                7/28/2022

 1      whether it had been cast prior to her mother's death.

 2                       MR. BUKOWSKI:    I believe that's absolutely

 3      right, and she probably would not be facing criminal

 4      charges.

 5                       JUDGE COHN JUBELIRER:      Right.   So how does

 6      the dating requirement assist county boards in any way if

 7      it's only those people who for whatever reason, and I'm

 8      guessing inadvertently, forget to put a date down?          Because

 9      if people go to all the effort of doing everything else

10      correctly to vote, this is inadvertent, or inadvertently

11      write their birth date on the envelope, why should one be

12      counted versus one not; is that the legislative intent?

13                       MR. BUKOWSKI:    Right.    And that's the

14      question that keeps coming up because time and time again

15      the Courts come back to that question and say, you know, if

16      you're counting incorrect dates, why aren't you -- why

17      should we not just say, you know, the date requirement is

18      immaterial and count them all?

19                       Two answers I guess.      One, the plain

20      language of the statute says it shall be filled out,

21      signed, and dated.     Maybe that's not the answer the Court

22      would like to hear, but it's clear language --

23                       JUDGE COHN JUBELIRER:      No.   That's --

24                       MR. BUKOWSKI:    -- and it's mandatory

25      language.    And as you did hear uniformly I think from all


                              Pa.App.0739
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 744 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               235 of 378   232
                                7/28/2022

 1      the Commissioners, you know, all those ballots that are

 2      incorrectly dated as they're processed they're subject to

 3      challenge.

 4                       And I'm going to make a prediction here I

 5      guess -- maybe that's dangerous -- but because the Courts

 6      keep saying, you know, that we, that counting the undated

 7      ballots somehow means we should count -- or counting the

 8      incorrectly dated ballots means we shouldn't, you know,

 9      enforce the date requirement that's plainly written in the

10      statute, I suggest that's probably the next set of cases

11      that candidates are going to start challenging ballots that

12      have incorrect dates.

13                       And then we're going to have hearings at

14      county Boards of Elections on that issue because I don't

15      think that's what the Legislature intended, and I think

16      what it intended is that it would be the date that the

17      ballot was signed.     The instructions say that.      The ballot

18      itself says today's date trying to comply with Justice

19      Wecht's concern or satisfy his concern that there be clear

20      language so the voter knows what's required and what the

21      consequences of not complying are.

22                       And I think that ballot that's Joint Exhibit

23      1 does that.    The instructions, we stipulated the

24      instructions are not in dispute here, that those do that.

25      I'm more familiar with the Berks instructions than


                             Pa.App.0740
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 745 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               236 of 378   233
                                7/28/2022

 1      Lancaster, but I've seen them both.       They both have

 2      detailed instructions that say when you're voting, it's got

 3      to be signed and dated or it will not count.

 4                       JUDGE COHN JUBELIRER:     Okay.   Well, you've

 5      answered my question.     Thank you.

 6                       MR. BUKOWSKI:    Yeah.   Okay.    And it really

 7      does come down to where I was going to conclude anyway

 8      because the language, this language from near the end of

 9      Justice Wecht's opinion -- it's on page star 1088 of the

10      Westlaw version, so it seems to be the second from the last

11      paragraph in his opinion before Justice Dougherty's

12      opinion.

13                       And it says, quote, I've returned throughout

14      this opinion to our decision in PDP and I do so once more.

15      I maintained in that case that the Election Code should be

16      interpreted with unstinting fidelity to its terms and that

17      election officials should disqualify ballots that do not

18      comply with unambiguous statutory requirements when

19      determining noncompliance requires no exercise of

20      subjective judgment by election officials.

21                       The date requirement here presents such a

22      case, and that is really -- and to me that's where you can

23      -- that distinguishes the undated from the incorrectly

24      dated ballots because it does not require any subjective

25      judgment by an election official to conclude this ballot is


                              Pa.App.0741
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 746 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               237 of 378   234
                                7/28/2022

 1      missing a date and as opposed to trying to interpret

 2      whether the date is correct.

 3                       So I do believe those incorrectly dated

 4      ballots are subject to challenge, and we try and twist

 5      ourselves in knots to come up with hypotheticals.         And

 6      Justice Wecht, you know, said the open-ended inquiry into

 7      instead of applying the statute as written and, you know,

 8      shall in the same sentence having two meanings, one for the

 9      signature and one for the date, you know, we're twisting

10      ourselves in knots trying to come up with materiality, you

11      know, immaterial, minor, you know, discrepancy and words to

12      that effect.

13                       JUDGE COHN JUBELIRER:     So it's your position

14      because you see it in Justice Wecht in the final sentence

15      of his last footnote says it is inconsistent with

16      protecting the right to vote to insert more impediments to

17      its exercise than considerations of fraud, election

18      security, and voter qualifications require and that in your

19      opinion, although that may be correct under the way we've

20      interpreted the Election Code, that is up to the General

21      Assembly?

22                       MR. BUKOWSKI:    It is and he's calling on and

23      has called for clarification, and I think that's a good

24      idea.   But the way it's written right now, it's got to be

25      enforced.


                             Pa.App.0742
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 747 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               238 of 378   235
                                7/28/2022

 1                       And because again I come back to where these

 2      Boards of Election were by June 8th was Migliori's not in

 3      effect.   They're facing a deadline to certify.        This

 4      Court's opinion in my view did not intend to require

 5      certification of the undated ballots.        It never reached a

 6      final decision on the merits -- and maybe Your Honor would

 7      have gotten there eventually -- but by then we would have

 8      had some other arguments to make about the statutory

 9      interpretation.

10                       And as I said previously, that's the case

11      that really was best teed up for this Court to make a

12      nonadvisory declaratory judgment.       This is not the case.

13      Even though it might provide the clarity and get the issue

14      before the Supreme Court sooner rather than later, I urge

15      the Court to exercise restraint in not taking on that job

16      in this case.

17                       JUDGE COHN JUBELIRER:     And so essentially

18      you would ask us to issue an order dismissing --

19                       MR. BUKOWSKI:    Correct.

20                       JUDGE COHN JUBELIRER:     -- the action?

21                       MR. BUKOWSKI:    Correct.

22                       JUDGE COHN JUBELIRER:     Okay.   Thank you very

23      much.

24                       MR. BUKOWSKI:    And then I guess I would also

25      clarify that in doing so I would ask that the Secretary be


                             Pa.App.0743
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 748 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               239 of 378   236
                                7/28/2022

 1      ordered to, you know, certify the results of the election.

 2                       JUDGE COHN JUBELIRER:     Thank you.

 3                       MR. BUKOWSKI:    Thank you, Your Honor.

 4                       MR. KING:    May it please the Court.      I'll

 5      try not to repeat the excellent argument that my colleague

 6      just made.   I will say that with respect to this action, we

 7      join in the request that this action be terminated, be

 8      dismissed.

 9                       I think it's pretty clear what this action

10      is, Your Honor.    It's simply an attempt to ask this Court

11      to modify the order that you entered in McCormick.          The

12      order in McCormick did not and certainly Your Honor could

13      have included an order to certify those results.         Had Your

14      Honor ordered the certification of those results, I would

15      suggest respectfully that there would have been -- that the

16      appeal that was taken and later discontinued and other

17      appeals would have been taken and that that matter with

18      respect to certification would have been in front of the

19      Court.

20                       I would also suggest that the Secretary has

21      every ability -- she has done it on numerous occasions as

22      this Court knows -- she has every ability to file a King's

23      Bench action in front of the Supreme Court to get this

24      issue in front of them.      She could do that tomorrow if she

25      wanted to.   And I would suggest that it's likely that there


                             Pa.App.0744
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 749 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               240 of 378    237
                                7/28/2022

 1      will be somebody there soon with respect to this issue.

 2                       This case is not the case, respectfully,

 3      that should go up because this case in particular has other

 4      problems with it.     It has problems with respect to the fact

 5      that Your Honor entered an order that didn't say to

 6      certify.    And so now what we have is we have a month and a

 7      half later, almost two months later we have an action here

 8      that is nothing more than a thinly veiled attempt to ask

 9      you to modify your order beyond the Judicial Code's

10      provisions for the modification of an order.

11                       So that case was discontinued.       The case was

12      no longer pending.     No one came back in that case.       In the

13      McCormick Oz case, no one came back in that case and said

14      to Your Honor, Your Honor, would you please modify this and

15      require the certification of these results.

16                       And so when you look at, for example,

17      there's a recent case in the Pennsylvania Superior Court

18      which I understand is not binding but it's illustrative and

19      also by Judge King in that Court that talks about this

20      30-day requirement.     It had to do -- you've probably seen

21      it.   It's a recent decision.     It's published.     It has to do

22      with someone asking for counsel fees after the conclusion

23      of a case, and it cites correctly the 30-day requirement,

24      the 30-day provision even though counsel fees seem to be

25      whether they're directly related to the case or not.


                              Pa.App.0745
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 750 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               241 of 378   238
                                7/28/2022

 1                       And that's exactly what's happening here.

 2      This is an attempt by the Secretary, and she was the named

 3      Respondent in the McCormick case.       It's McCormick versus

 4      Chapman, and then we have all these other, you know, Boards

 5      of Elections.    But she had every opportunity in that case

 6      to do exactly what she's trying to do here.        She could have

 7      asked you to modify your order.       She could have said order

 8      them to certify it.     She could have done all those things.

 9      She didn't do that.

10                       And in the absence of doing it, what she's

11      doing is she's doing it here; and this isn't the place to

12      do it.    And this case has the great potential to expand the

13      powers of the Secretary of the Commonwealth beyond that

14      contemplated by the Legislature or even that addressed by

15      the Courts.    So in this Court we've addressed in the past,

16      in the Fulton County case we've addressed the Secretary's

17      exercising powers that are beyond those granted by the

18      Legislature; and that's exactly what this is an attempt to

19      do.

20                       The Secretary's duties are -- and this is

21      the reason why we asked that this matter be dismissed among

22      others.    The Secretary's duties are much like in my hockey

23      analogy which didn't get too far earlier, but I'll try it

24      again.    She is much like in a hockey game.      She is the

25      scorekeeper.    She is not the referee.      She is not an


                             Pa.App.0746
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 751 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               242 of 378     239
                                7/28/2022

 1      aggrieved party.    She is the Commonwealth.

 2                       When she comes here -- and I'm telling the

 3      Court something that you know better than I.         When the

 4      Secretary comes here as the Acting Secretary, she comes as

 5      the Commonwealth.     She doesn't come as Leigh Chapman.        She

 6      comes as the Honorable Leigh Chapman, the Secretary of the

 7      Commonwealth, which means she's invoking the Commonwealth.

 8      She's not an aggrieved person.

 9                       There is no aggrieved person in this matter.

10      There is no case or controversy here.        This is asking for

11      an advisory opinion.     It's asking even worse to seek to

12      modify your opinion in the McCormick case which I would

13      suggest at this point is res judicata with respect to this

14      matter and certainly is the rule or law of the case, and no

15      one asked in that case to modify it to include

16      certification.    It never happened.

17                       JUDGE COHN JUBELIRER:      But let me give you

18      just a hypothetical.

19                       MR. KING:    Yes, ma'am.

20                       JUDGE COHN JUBELIRER:      Assume that one of

21      the counties certified results that are not consistent with

22      the law for whatever reason and nobody, you know, there was

23      no challenge but left out a municipality.        Or I mean I'm

24      trying to think of something where it's clear to the

25      Secretary and it would be clear that what they've done is


                             Pa.App.0747
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 752 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               243 of 378   240
                                7/28/2022

 1      not consistent.

 2                       Is she still required by law then, she has

 3      no discretion, she must certify that or would she be able

 4      to in that case file a mandamus saying no, you have to

 5      certify, you have to include in your totals what is

 6      required under the law?

 7                       MR. KING:    In our opinion, since you asked,

 8      in our opinion, she is already certifying results which are

 9      inconsistent from county to county.       I spoke about the

10      Ziccarelli case.    Clearly the Ziccarelli case is a

11      startling result to me that two counties can count the

12      votes differently.     That's exactly what they did in

13      Ziccarelli, and we have a Senator Brewster sitting in the

14      Pennsylvania Senate right now as a result of the largesse

15      of the federal court in not invoking the Bush Gore doctrine

16      which should have applied.

17                       And so I would also suggest, Your Honor,

18      since you asked me, I would also suggest that this is

19      happening as we sit here, as we stand here because what's

20      happening with respect -- you asked about the SURE system

21      and the signatures and the curing.       That's commonly

22      referred to as curing.     Somebody sends it in and it needs

23      to be fixed.

24                       And so there is a great debate in this

25      Commonwealth about whether curing -- and the Court, the


                             Pa.App.0748
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 753 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               244 of 378     241
                                7/28/2022

 1      Supreme Court addressed it only in passing.        And so there

 2      is a mention in the Boockvar case that there is no

 3      provision in the Election Code for curing.        There is none.

 4                       So in the 2020 election people were talking

 5      about all sorts of curing.      They were talking about they

 6      might have voted for the wrong person.        They wanted to come

 7      in after the mail ballot came in.       They want to come in and

 8      get their mail ballot back and vote for the other guy.          And

 9      so there was that sort of curing.

10                       There is also this curing which is of great

11      controversy over all these counties.       Some counties allow

12      curing.   Some counties don't allow curing.       Some counties

13      like Montgomery put the ballots out on a card table out in

14      the hall and allow people from political parties to come in

15      and bring people in to try to cure the ballots.         Some

16      people --

17                       JUDGE COHN JUBELIRER:     They don't allow for

18      opening, but you mean allow them to come in.         I mean I'm

19      asking.   I wouldn't imagine they would be allowed to open

20      them; but if somebody forgets to put a date on --

21                       MR. KING:    Yes.

22                       JUDGE COHN JUBELIRER:     -- they can come in

23      and put a date on.

24                       MR. KING:    That's what I --

25                       JUDGE COHN JUBELIRER:     Is that what you're


                             Pa.App.0749
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 754 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               245 of 378   242
                                7/28/2022

 1      talking about curing?

 2                       MR. KING:    It is what I'm talking about

 3      curing.   However, there are also -- what also happens is

 4      that people have been advised that it's okay to vote

 5      provisionally after they've already voted by this mail-in

 6      system.   So then they vote by the mail-in system.        It goes

 7      into the SURE system, and somebody shows up and votes

 8      provisionally afterwards.      We have --

 9                       JUDGE COHN JUBELIRER:      But they have a

10      method of checking that, right?        Everybody has their --

11                       MR. KING:    Yes.

12                       JUDGE COHN JUBELIRER:      Right.

13                       MR. KING:    But --

14                       JUDGE COHN JUBELIRER:      So and this isn't

15      really of record.     You know, we're talking about evidence

16      --

17                       MR. KING:    You asked.

18                       JUDGE COHN JUBELIRER:      -- that wasn't

19      presented.   Yes.   And thank you.      I appreciate your answer

20      but --

21                       MR. KING:    I was getting back to your

22      question.

23                       JUDGE COHN JUBELIRER:      Yes.

24                       MR. KING:    I was getting back to your

25      question which was, well, what would the Secretary do if


                             Pa.App.0750
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 755 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               246 of 378    243
                                7/28/2022

 1      she saw that counties --

 2                       JUDGE COHN JUBELIRER:     Well, I was just

 3      asking about limits of discretion, and you seem to be

 4      arguing that there are -- that she has absolutely no

 5      discretion.

 6                       MR. KING:    That's what the statute says.

 7      She is a member of the executive branch.        She is -- that's

 8      the executive branch's role.      The Legislature set up the

 9      Election Code, set up the methods.       They've set up the

10      rules of who did what, and the statute -- I'm not going to

11      read it again -- but it's crystal clear.        It says exactly

12      what the Secretary is to do.      She is to tabulate.     She is

13      to receive.    She is to tabulate, and she is to announce the

14      results.

15                       And here we are in Pennsylvania we're in

16      July, almost August and to the surprise of lots of people

17      out there, whoever's watching this on YouTube or elsewhere,

18      that the Governor's race isn't certified yet and the United

19      States Senate race isn't certified, Congressional races

20      aren't certified, House races aren't certified, and Senate

21      races aren't certified in these three counties.         And across

22      the state the Governor's race isn't certified or the U.S.

23      Senate race.

24                       So we do have -- she does have the -- and

25      this is why and I'll just go through these quickly as to


                              Pa.App.0751
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 756 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               247 of 378   244
                                7/28/2022

 1      why we say that this case is inappropriate.        But she does

 2      have the mandatory obligation to tally these results from

 3      the counties.    There's nothing that the counties have done

 4      here which is incorrect or inaccurate.        And I say that

 5      because Your Honor's order did not say to certify.

 6                       And also I say this because the Migliori

 7      case which was once the Ritter case and became Migliori is

 8      pending on certiorari before the United States Supreme

 9      Court.   So if this Court were to enter an order today,

10      tomorrow, the next day, next week and all of a sudden the

11      Supreme Court of the United States grants certiorari and

12      will hear the argument of whether it's correct or not, then

13      Your Honor has read Mr. Justice Alito's opinion that he

14      says that in almost in these words that he thinks the Third

15      Circuit likely got it wrong.

16                       And I agree with my colleague that when you

17      look at Justice Alito's opinion, his dissent on the grant

18      of an emergency order -- and we know that these emergency

19      orders are currently disfavored by the Court because they

20      --

21                       JUDGE COHN JUBELIRER:     Well, and he also

22      said that it's based on the review that he's been able to

23      conduct in the time allowed and that he doesn't rule out

24      the possibility that further briefing and argument, you

25      know, might convince him that his current view is


                             Pa.App.0752
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 757 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               248 of 378   245
                                7/28/2022

 1      unfounded.    So it's a preliminary review --

 2                       MR. KING:    Yes.

 3                       JUDGE COHN JUBELIRER:     -- without benefit of

 4      argument.    But then so we still do have a Third Circuit

 5      opinion that is in effect.

 6                       MR. KING:    Yes, except it's also on appeal.

 7                       So I would also add these things because I

 8      know we've taken up a lot of your time, and we appreciate

 9      it very much.    I would add these.     There is no emergency in

10      this matter.    This is an emergency petition before you.

11      The party who comes here created the emergency by not

12      performing her duties.     She didn't certify the election,

13      and she didn't perform her --

14                       You heard the testimony from the Deputy

15      Secretary, and he's a real gentleman.        And I want to say

16      that we work with him all the time.       He is just a terrific

17      person to have in government, and he's a truthful witness.

18      And he said, our duties are ministerial.        That's exactly

19      what their duties are.

20                       They're not supposed to and this Court

21      should not, I say respectfully, should not vest the

22      Secretary with the power to start to investigate how these

23      certifications took place because, for example -- I won't

24      go off on a tangent -- for example, with respect to this

25      thing about curing, the next Secretary of the Commonwealth


                             Pa.App.0753
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 758 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               249 of 378    246
                                7/28/2022

 1      -- let's say that a republican Governor is elected this

 2      fall and the next Secretary of the Commonwealth says that

 3      curing's not permitted, will that Secretary of the

 4      Commonwealth be in here saying to you that these counties

 5      like Allegheny and Philadelphia and so forth now have to

 6      recertify their results because they allowed curing?

 7                       And I will tell you, curing is a very real

 8      issue that's likely to be before this Court and that Court

 9      soon, and the Supreme Court soon.       So there is no emergency

10      other than that created by the party that's here before you

11      asking to get emergency relief.

12                       There is also no case or controversy.        This

13      action is merely, this merely masquerades as a request for

14      an advisory opinion at best.      At worst it's an attempt to

15      circumvent the system by attempting to get you, Your Honor,

16      to modify -- and that's the exact word to modify -- your

17      prior order which did not include the term certify.          Had

18      Your Honor wanted to say that everybody should certify,

19      then you could have said that and I suggest you would have

20      said it if you wanted to.

21                       I would also say that the Petitioners here

22      have taken opposite and contrary positions in their

23      guidance and in their briefs and pleadings.        I will also

24      say that with respect to this issue of the undated ballots

25      and the wrong dated ballots, part of the problem created in


                             Pa.App.0754
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 759 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               250 of 378     247
                                7/28/2022

 1      this Commonwealth is from the guidance issued by the

 2      Secretary of the Commonwealth telling these county boards

 3      that they must count the wrong dated ballots.

 4                       And I would suggest to you and I agree with

 5      in the question that you posed to Mr. Bukowski I want to

 6      join in his answer.     I think it's entirely correct to

 7      challenge the dates that, for example, predate the issuance

 8      of the ballots.    I think that's entirely correct.       I think

 9      that people who put dates on here that would perhaps go

10      past the eight o'clock receipt date, I think that if you

11      put dates like that that they could be challenged.

12                       So I think that that guidance that was

13      issued was incorrect.     And so we have the Secretary who

14      issued the incorrect guidance now suggesting that because

15      people have counted ballots with other dates on them, that

16      now we have to count them all.       I just don't think that's

17      right.

18                       I would also say, of course, I've said this

19      the Ritter case is still pending in the Supreme Court.          The

20      Petitioners come -- I did say and I'm really proud to have

21      found this, Your Honor, because you asked me earlier and I

22      got a little nervous.     You asked me if I raised unclean

23      hands.   So I'm proud to tell you that I found it, and I did

24      raise unclean hands.

25                       JUDGE COHN JUBELIRER:     In the papers in the


                             Pa.App.0755
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 760 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               251 of 378   248
                                7/28/2022

 1      emergency --

 2                       MR. KING:    In my response.

 3                       JUDGE COHN JUBELIRER:     In your response.

 4                       MR. KING: Yes, Your Honor.

 5                       JUDGE COHN JUBELIRER:     Okay.

 6                       MR. KING:    And so what we said is the

 7      Petitioners have come before this Court with unclean hands

 8      and having failed to comply with statutory limitations and

 9      having failed to comply with statutory obligations to

10      certify the election.     We said they have unclean hands

11      because she has this affirmative duty to do this.

12                       And, you know, the unfortunate part about

13      mandamus is that, as the Court well knows, you can't file a

14      counterclaim.    So it's not possible to do that in a

15      mandamus case.    Had it been possible, I would have filed;

16      and Mr. Bukowski pointed that out to me right away the

17      first time we spoke, you can't do that.        And so I said

18      well, that's too bad.     I'd like to do it.     So had I been

19      able to do it, I would file a counterclaim here and say you

20      need to certify this election.

21                       And as the Court understood and heard, there

22      are consequences to this.      The consequences to this are

23      drastic because this case would seemingly give people the

24      opportunity to make a collateral attack on an order that's

25      already been entered and to do so in an untimely manner in


                             Pa.App.0756
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 761 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               252 of 378   249
                                7/28/2022

 1      a different case than the case in which the order arose.

 2      And so nobody did it in McCormick; and, therefore, nobody

 3      appealed it in McCormick because it wasn't there.

 4                       The parties who were in McCormick, only some

 5      of them are here today.     The rest of the parties in

 6      McCormick -- which is what they're asking you to do is

 7      modify the order from that case -- all the rest of those

 8      parties aren't here.     There's a whole bunch of other county

 9      boards who were parties and would be entitled to be here.

10                       I would also suggest that as I said earlier

11      McCormick does not require, your opinion in McCormick does

12      not require the result that's sought here.        And for all of

13      these reasons and for the reason that expanding the

14      Secretary's powers would not be something that we would

15      expect the Commonwealth Court of Pennsylvania to

16      countenance, this would expand her power to investigate as

17      opposed to perform the ministerial function of calculating

18      the tallies of the votes.

19                       And it would give her the ability -- this

20      case for the first time I think you heard the witness say,

21      Mr. Marks, the Deputy Secretary, say he's never heard of

22      this happening before.     I've never heard of it happening

23      before, but certainly the Court would have more experience

24      than we would.    I've not ever heard of this happening

25      before, and I don't think it has happened before.


                             Pa.App.0757
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 762 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               253 of 378     250
                                7/28/2022

 1                       It's a ministerial function, and these

 2      boards -- by the way on the opposite side of that coin,

 3      these boards perform a quasi-judicial function.         So it's

 4      not the question of whether the ballot is to be counted.

 5      It's whether these people make the decision of whether to

 6      count it or not, right?     That's the discretion that they're

 7      exercising is whether to count the ballot that has the

 8      signature -- or the date missing on it and that's a

 9      discretionary -- and that's exactly the discretion that

10      they exercised here or all three of them wouldn't be here.

11                       So when people exercise discretionary

12      functions like that, then certainly mandamus does not lie;

13      and this is clearly a case where mandamus should not lie.

14      If anything were to survive today's proceeding, the

15      declaratory judgment action at best would survive.          But

16      again with respect -- and the mandamus action just simply

17      cannot survive.    With all due respect, Judge, the mandamus

18      cannot for all the reasons we've all said, there's no way

19      in the world this is a mandamus case.

20                       Secondly, there's no way in the world this

21      is a proper dec action case.      It's not a proper dec action

22      case because there is no aggrieved party, and they've

23      failed to follow the requirements of the statutes.          There's

24      no candidate.    There is no person.     There is no contest.

25      There is no election in question.       This is simply an


                             Pa.App.0758
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 763 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               254 of 378   251
                                7/28/2022

 1      advisory opinion that they seek.

 2                       And by the way, if they want such an

 3      opinion, when you read the King's Bench rules -- which I

 4      know Your Honor has read many times -- when you read the

 5      King's Bench rules, you can likely take that issue up with

 6      the Supreme Court and you'll likely get some decision on

 7      it.   And so that would be the appropriate place for them to

 8      take this, not by using this vehicle.

 9                       There are so many -- you know, we filed

10      preliminary objections.      I'm not going to go into all those

11      details.    I think we've raised all the things I talked

12      about.   We incorporated them into our response here, but

13      there are so many issues.      This is not a great case to

14      ultimately decide this issue, and they have other means to

15      do it.

16                       So thank you very much for your time, Your

17      Honor.   Glad to answer any other questions if you have any.

18                       JUDGE COHN JUBELIRER:     I don't believe I

19      have any other.    You've answered them all.

20                       MR. KING:    Thank you very much.     It's my

21      honor to be here.

22                       JUDGE COHN JUBELIRER:     Thank you.

23                       MR. BOYER:    Thank you, Your Honor.     I know

24      it's been a long day, so I will endeavor to keep this brief

25      and just make a few what I believe to be important points.


                              Pa.App.0759
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 764 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               255 of 378   252
                                7/28/2022

 1                       Number one, this is exactly the right action

 2      for these circumstances.      There's no statute that

 3      contemplates what the counties are doing here which is

 4      refusing to include from their certifications lawfully cast

 5      and canvassed ballots.     Under 3158 and 3159 of the Election

 6      Code by refusing to do that, they are interfering with the

 7      Secretary's statutory obligation to receive those

 8      accurately completed certifications and then perform her

 9      own certifications of those results.

10                       You heard allusions to this may not be the

11      right time, that Mr. Marks has made clear what the

12      Department was doing.     It was communicating with the

13      counties and was prevailing upon the counties, it was

14      convincing the counties successfully in those back and

15      forths; and I do not think we want the precedent to be the

16      Department must sue a county immediately if there's a hint

17      of disagreement.

18                       There's been a lot of talk including from us

19      about the significance of Your Honor's decision in

20      McCormick.   I think --

21                       JUDGE COHN JUBELIRER:     Listen, if you could

22      just talk a little slower and louder, that would be

23      helpful.

24                       MR. BOYER:    Forgive me.    I will.   I didn't

25      want to take up any more of your time --


                              Pa.App.0760
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 765 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               256 of 378   253
                                7/28/2022

 1                       JUDGE COHN JUBELIRER:     I know.

 2                       MR. BOYER:    -- but I will slow down.

 3                       JUDGE COHN JUBELIRER:     Thank you.

 4                       MR. BOYER:    We have made our points on

 5      McCormick clear.    I'll add a few additional ones.       I

 6      recognize that it was a preliminary injunction, but the

 7      order is the order and it says what it says.

 8                       And we have laid out our belief of the

 9      consequences of what follows from that order and our

10      understanding of, you know, the direction to separately

11      tally ballots that -- excuse me, votes that -- separately

12      tally a count that excludes undated ballots was to preserve

13      the opportunity for a different decision and final judgment

14      on appeal.    Of course that never same.

15                       JUDGE COHN JUBELIRER:     So what is the effect

16      of that?    Did the order to separately tally the ballots the

17      way it was written you think then what happened convert to

18      a final order of certification or --

19                       MR. BOYER:    It didn't convert to a final

20      order of certification.     I think the clear consequence of

21      the Court's legal analysis and ultimately its order was

22      that these ballots at issue which are the same ballots

23      we're here talking about today were lawfully cast.          That

24      order was never -- it wasn't vacated.        It wasn't

25      contravened by a final judgment by Your Honor.


                              Pa.App.0761
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 766 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               257 of 378   254
                                7/28/2022

 1                       JUDGE COHN JUBELIRER:     So if the case hadn't

 2      been dismissed and there had been further arguments and

 3      orders, in that case what would have happened to this

 4      order?

 5                       MR. BOYER:    I think it depends on what order

 6      Your Honor ultimately entered.       If Your Honor entered an

 7      order saying much like the order granting preliminary

 8      injunction these are lawful ballots, they must be

 9      canvassed, they must be canvassed -- excuse me, canvassed,

10      counted, we'd be in the exact same position.

11                       JUDGE COHN JUBELIRER:     So it really in your

12      mind the effect of the order not vacating the opinion and

13      order is somehow influencing your argument here?

14                       MR. BOYER:    I think it's one, the existence

15      of the order; two, Your Honor's decision not to vacate it;

16      and three, no other order whether from a final judgment

17      from Your Honor or on appeal.      There's only been one order.

18      It's to canvass these ballots.       It said separately exclude

19      ballots in case there's a different decision.         That

20      theoretical possibility never arrived.

21                       JUDGE COHN JUBELIRER:     Okay.

22                       MR. BOYER:    I'd like to move quickly to In

23      Re:   Canvass and make a couple of points about that.         I

24      think Your Honor's questions got at this, but it is

25      absolutely not precedential.      I know there is one decision,


                             Pa.App.0762
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 767 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               258 of 378   255
                                7/28/2022

 1      an unprecedential decision from this Court in Ritter

 2      reaching a contrary conclusion; but respectfully, the case

 3      law cited there doesn't support what the Court did.          In

 4      Pennsylvania we follow the Marks rule which means the

 5      narrowest rationale in support of a judgment is

 6      precedential.

 7                       So no matter what the narrowest rationale

 8      is, the judgment was that the ballots be counted; and the

 9      only precedent that can follow is a rationale in support of

10      counting those votes.

11                       JUDGE COHN JUBELIRER:      When you say the

12      narrowest -- and again you're speeding up --

13                       MR. BOYER:    I'm sorry.

14                       JUDGE COHN JUBELIRER:      But the narrowest

15      interpretation in support of the judgment in your mind,

16      that would be the judgment of the Court which was to count

17      the ballots?

18                       MR. BOYER:    Yes.   The judgment of the Court

19      was unequivocally to count the ballots.        Under the Marks

20      principle which Pennsylvania follows and the Supreme Court

21      said that as recently as in 2020 in a decision called

22      Commonwealth v. Alexander, and I'm looking for the

23      citation.

24                       JUDGE COHN JUBELIRER:      That was in your

25      brief?


                             Pa.App.0763
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 768 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               259 of 378    256
                                7/28/2022

 1                       MR. BOYER:    I don't believe it was in our

 2      papers, so we weren't responding to the argument about --

 3                       JUDGE COHN JUBELIRER:     Right.    I think it

 4      was cited in the Ritter.

 5                       MR. BOYER:    I think it was cited in Ritter

 6      as well; but it makes clear Pennsylvania follows the rule

 7      that says if there is to be precedent when there is no

 8      majority opinion, it can only be a rationale that supports

 9      the judgment.    In Downington, another decision of this

10      Court from earlier this year, all three Judges of this

11      Court agreed that no precedent from In Re:        Canvass.    Your

12      Honor, of course, reached that conclusion correctly as

13      well.

14                       I'd like to make a couple points about what

15      to do with Justice Wecht and why under the circumstances it

16      would be particularly appropriate notwithstanding that the

17      case law doesn't support treating it as precedential.

18      There were five days in In Re:       Canvass between when the

19      Court granted emergency jurisdiction and issued its

20      decision.   There was not extensive time for the Court to

21      consider the issue.     There was not oral argument.

22                       So under these circumstances whereby the law

23      of Pennsylvania it is dicta at most for Justice Wecht to

24      say in a future election I would do so and so, number one,

25      it's dicta; and number two, under those circumstances given


                             Pa.App.0764
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 769 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               260 of 378   257
                                7/28/2022

 1      how expedited the review was and the narrowest briefing was

 2      mostly on the emergency petitions anyway, the arguments are

 3      not as fully developed as they are now as you acknowledge,

 4      as Your Honor acknowledged in McCormick.

 5                       So, number one, under Pennsylvania precedent

 6      there's nothing there that's precedential; and number two,

 7      the circumstances are particularly compelling to sort of

 8      consider this issue freshly.

 9                       I'd like to make just two final points.

10      Number one, counsel referred to some of the inconsistencies

11      about the Secretary's authority and the positions she has

12      taken and made specific mention and also questioned Mr.

13      Marks about the Ziccarelli matter but without giving any

14      context for what the request from the plaintiffs was there.

15                       After the In Re:     Canvass decision in which

16      the Supreme Court of Pennsylvania told Allegheny County it

17      can count undated ballots, the plaintiffs then sued the

18      Secretary in federal court for refusing to follow the

19      Supreme Court's order.     And in that context she said she

20      has no authority to overrule a Court to say if a Court says

21      these ballots may be counted, I, the Secretary, have no

22      authority to overrule a Court.

23                       And if you look at page 8 of Fayette

24      County's Exhibit D, it's quite clear what the context of

25      that brief is; and the same is true here.        We're here


                             Pa.App.0765
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 770 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               261 of 378   258
                                7/28/2022

 1      because the Court's order and because case law compels the

 2      counties to include in their certifications the ballots

 3      that are at issue.

 4                       Much like in Ziccarelli, we have no

 5      independent authority.     We're bound by the decisions of the

 6      Court.   We're bound by the Election Code; and until we

 7      receive complete certifications of all lawfully cast votes

 8      from the counties as the Courts have defined it, the

 9      Secretary cannot complete her statutory duties.

10                       JUDGE COHN JUBELIRER:     And so in your mind

11      the Secretary has the discretion to -- well, am I correct

12      in understanding your argument is that when she certifies

13      the results, she must do it in a way that follows the law,

14      and what she's here asking is essentially in some way for

15      the Court to determine what is the law and what is required

16      by these counties so that the certification will be

17      accurate and her understanding is that these three counties

18      like the other 64 counties should count the undated

19      ballots?

20                       MR. BOYER:    Yes, but I'll add a caveat --

21                       JUDGE COHN JUBELIRER:     Yes, thank you.     I

22      want to make sure --

23                       MR. BOYER:    -- to clarify what the

24      Secretary's --

25                       JUDGE COHN JUBELIRER:     -- I fully


                              Pa.App.0766
                   Strehlow and Associates/LEXITAS
                             215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 771 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               262 of 378     259
                                7/28/2022

 1      understand.    It's a little --

 2                       MR. BOYER:    It is correct to say the

 3      Secretary cannot certify results if she receives from the

 4      counties incomplete certifications and incomplete by virtue

 5      of them excluding lawfully cast ballots.        She does not have

 6      the independent authority to decide what constitutes a

 7      lawfully cast ballot or not.      That's up to the Courts.      And

 8      in this context the Courts have spoken as to what qualifies

 9      as a lawfully cast ballot.

10                       JUDGE COHN JUBELIRER:     So she's here trying

11      to give effect to a Court's decision and how she

12      understands it?

13                       MR. BOYER:    Correct.   If you imagine two

14      poles, at one a Secretary who believes she has the

15      independent authority to review and make her own judgments

16      of the law; another a Secretary that's purely a rubber

17      stamp even if there are patently mistakes in the

18      certifications whether they're clerical, whether there are

19      whole swaths of ballots.      I think the Secretary's authority

20      clearly falls somewhere in between those.

21                       And when there is a decision or decisions of

22      the Court that say the certifications are excluding ballots

23      that under state law, under federal law, under the

24      consequences of this Court's order must be canvassed and

25      counted, those ballots cannot be excluded from


                             Pa.App.0767
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 772 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               263 of 378   260
                                7/28/2022

 1      certification.    The Secretary is aware of those Court

 2      decisions and not --

 3                       JUDGE COHN JUBELIRER:     And now a final

 4      question by me is, if I just assume for the sake of

 5      argument that I don't agree with your interpretation of the

 6      June 2nd order, is that the end of it or are you still

 7      relying on the Migliori case or federal law or any other

 8      opinion of the Court that would support your position?

 9                       MR. BOYER:    If Your Honor disagrees with our

10      read of the June 2nd order, I believe that's it for the

11      mandamus count but not for the declaratory and injunctive

12      relief count.    I think the arguments we have presented make

13      it clear as to why even in the absence of that order the

14      law does require the counties to include these

15      certifications under the reasoning announced and

16      articulated in the opinion from Your Honor, in the opinion

17      from the Third Circuit.

18                       So yes, the mandamus count does depend on

19      the consequence of the order.      The declaratory and

20      injunctive relief count does not.

21                       JUDGE COHN JUBELIRER:     Okay.   Thank you.

22                       MR. BOYER:    I would like to make one last

23      point about uniformity and finality.       The Secretary has

24      been pushing for uniformity and finality on this issue for

25      quite some time now, and it's desperately needed.


                             Pa.App.0768
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 773 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               264 of 378   261
                                7/28/2022

 1                       I'll say and this is exactly the right case

 2      to do it, and there is a clear case in controversy.          The

 3      issues are squarely presented, thoroughly briefed in

 4      Pennsylvania law, and voters generally need clarity on

 5      these issues; and I think we have presented reasons why

 6      clarity should counsel for counting these ballots and

 7      ultimately have them included in the final certifications

 8      of elections.

 9                       Thank you, Your Honor.

10                       JUDGE COHN JUBELIRER:     Thank you very much.

11                       As we conclude this very long day, I want to

12      thank all of you for your preparation, for your thoughtful

13      legal arguments, and a very thorough presentation of the

14      issues.   Clearly you're all extremely knowledgeable; and

15      while you and the parties have different interpretations of

16      the law, you are united in appreciating the importance of

17      your common purpose to assure that ballots are accurately

18      counted and that the voters of Pennsylvania can exercise

19      their right to vote for the candidates of their choice in a

20      free and fair election.

21                       I want to recognize all the county boards,

22      the county boards that were here as well as all of the

23      county boards and election workers who steadfastly and

24      tirelessly work to meet the challenge; and we heard some of

25      what is involved with that today.


                             Pa.App.0769
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 774 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               265 of 378   262
                                7/28/2022

 1                       It is now the Court's responsibility to

 2      render a decision based on the law and applying the law to

 3      the facts of this case.     While it's a challenging task in

 4      this very interesting and very important case, your

 5      advocacy, both oral and written, will guide the Court's

 6      decision.

 7                       So I thank you all very much, and with that

 8      I believe we can conclude.

 9           (Whereupon, at 4:45 p.m., the hearing was

10           adjourned.)

11                                      ***

12

13

14

15

16

17

18

19

20

21

22

23

24

25


                             Pa.App.0770
                  Strehlow and Associates/LEXITAS
                            215-504-4622
      Case:
     Case   23-3166 Document:
          1:22-cv-00339-SPB    146 Chapman
                            Document
                             Leigh   Page: 775 05/05/23
                                     301 Filed   Date Filed:
                                                         Page01/10/2024
                                                               266 of 378   263
                                7/28/2022

 1                            C E R T I F I C A T E

 2                 I hereby certify that the foregoing proceedings,

 3      docket number 355 M.D. 2022, were reported by me on July

 4      28, 2022, and that I, Judith E. Shuller, have read this

 5      transcript and attest that this transcript is a true and

 6      accurate record of the proceedings.

 7

 8                                        By:__________________________
                                                 Judith E. Shuller
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25


                             Pa.App.0771
                  Strehlow and Associates/LEXITAS
                            215-504-4622
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Chapman
                                   Document
                                    Leigh   Page: 776 05/05/23
                                            301 Filed   Date Filed:
                                                                Page01/10/2024
                                                                      267 of 378                               1
                                                  7/28/2022

     WORD             125 3:8                                4                 10 203:7          4:17 33:15
    INDEX             128 2:1           <2>                  209 3:17           204:11 205:14    4:45 262:9
                      12th 203:25       2 4:6 5:2, 6         20-day 87:10       209:20 214:17    40-some
<0>                   13 4:19 32:8       41:15, 17 42:1,      88:5 95:22        222:21 223:1      155:24
02-2-02 152:9          33:7, 11 57:9,   3, 7 108:21          20-some 104:6      224:11 227:15    42 4:6, 8
                      11, 12             109:1 118:23,       20th 23:6          260:6, 10        45 108:1
<1>                   1302(d)(a)(2      24, 25 133:18         46:20 172:2                        48 56:12
1 1:1 4:2, 19          191:24            158:10               213:22           <3>
 5:6 19:24            1302.2 191:21     2:42 186:11          21 224:19         3 4:6 5:8 6:5     <5>
 20:1, 23 37:11       138 3:9 177:3,    2:50 186:11          22 134:23          42:10, 15, 20,   5 4:9 5:13
 108:21, 22, 25       10                20 87:7              236 3:17          25 45:4 192:1      42:24 58:17,
 109:1, 2 195:2       14 4:19 32:8      20,000 104:11        238 200:12        3/21/22 5:6       18, 21 59:8
 199:5 201:25          33:23, 25        2000s 65:19          23rd 54:23        30 4:15 96:4,      83:8 108:22
 202:1 232:23          41:22 108:25     2003 16:15            132:8            12 97:8            109:3
1:00 108:4             189:12, 18        196:3               24 4:12 56:12     300 1:1           5/24/22 4:9
1:43 140:19           140 76:12         2019 16:17           24th 58:13        3001 1:1          5:00 35:7
10 4:16 31:12,        141 3:11          2020 6:5              59:3, 13         30-day 237:20,    507 177:2, 10
14 55:16              14th 158:21        21:16, 19            132:11 133:2     23, 24            50-some
 173:6, 12, 13        150 3:12           23:22 24:14          203:25           30th 103:14        155:24
 174:4                155 3:13           41:16 42:4, 12      25 84:6 191:6     31 4:16           52 205:17
10:00 1:1             157 3:11 5:16      46:3, 13 47:2,       195:13 201:4     3146.4 200:23     55 4:13
101(e 205:17          159 3:12          15 67:13             251 3:17          3146.6 198:12,    58 4:11
1050 1:1              15th 178:16        84:25 85:1          25th 159:4        23                5th 33:15
108 4:9, 23           16 3:4             129:6 136:17        2621(f 84:6       3146.8 191:6       34:23 57:9, 12,
 5:4, 6, 8, 10, 12,   160 3:15           183:20, 23          263 1:1            192:16 197:12,   16 219:19, 20
13, 17, 20, 21        1600 1:1           209:21 210:1,       2642 216:20       21 198:23
 6:5                  16001 2:1         11 224:12            26th 158:14        199:22 218:2     <6>
1088 233:9            167 3:16           241:4 255:21        27 4:17 16:11     3146.8(g 192:9    6 4:12 5:13
109 4:5, 6, 8, 9,     176 3:17          2021 214:7           27th 29:7         3150.14 200:23     24:17, 19 48:1
11, 12, 13, 14,       17th 25:22        2022 1:1 4:9          31:5 48:12       3154 192:6, 13     52:12 54:11
15, 16, 17, 18,        26:5 28:11, 16    18:14 21:10,         55:6, 9, 11       193:17 197:21     58:13 88:8, 10
19, 23 5:4, 6, 8,      29:15 30:11      14 24:10, 13          59:17 172:23      208:23            96:15 117:21
10, 12, 13, 17,        32:24 46:11       26:5 27:18           173:3 194:23,    3154(f 193:23      139:22 157:11
20, 21, 23 6:5         47:3 48:3, 8      29:15 32:24         25 219:4          3157 12:3          172:22 189:18
10th 119:4             52:16 54:10       34:8, 23 35:23      28 1:1 4:14        195:13 196:4,     218:19
 120:1 163:8,          55:21 58:12       41:14 46:11,         16:11 263:4      5, 15 197:1, 22   6/1/21 5:17
10, 17, 22, 23,        113:22, 24       16, 23 47:3          28th 31:21         218:3, 4         6/10/22 5:2
24 164:3, 6, 15        137:9 163:18      48:8, 13 49:14       42:12 47:2       3157(d 196:16     6/17/22 4:12
 169:9, 10, 11,        172:22 194:23     51:3, 14, 15, 18,    55:22 103:13     3158 206:15       6/2/22 4:19
14 202:9              18 16:15          20, 24 53:25          158:17 174:2,     252:5            6/23/22 4:13
 203:25 219:3          189:18            55:6, 9, 22         21                3159 75:21        6/27/22 4:14,
11 4:17 27:10,        180 59:8           58:12 90:8          29th 27:18         76:1, 6 84:7     15
12 52:16              181 3:15           97:6, 8 114:13       28:12 33:4        206:16 252:5     6/28/22 4:16
 56:19 97:6, 8        183 3:16           119:4, 19            34:18, 19        31st 213:25       6/29/22 4:17
 175:5                186 3:17           120:1 133:20         48:16, 17 56:6   32 4:18           6:31 34:8
11/23/20 6:2          19 4:5             144:7, 17            96:24 103:14     33 4:19           601 1:1
111 3:4               19103 1:1          148:3 152:23         114:5 121:2      355 1:1 263:3     61 3:6
11th 41:16            1922 201:25        153:17 158:14,       175:2, 8 195:1   3553 201:4        64 50:7
 42:4 97:4            1932 199:6        17, 21 159:4         2nd 26:23         36 3:5             113:22 120:10,
 219:24               1941 223:13        163:8 167:4          27:2 46:9, 16    378 200:12        14 216:15
12 4:18 32:8,         1952 223:10        168:12, 18           53:25 118:14,    3rd 84:24          258:18
9, 11 57:18           19610 1:1          169:6, 24           15 119:19          85:1             645 177:5, 13
12:10 105:17          1A 63:7            171:10, 22           121:12 122:22                      67 17:17 30:4
12:15 107:22          1B 63:7            172:2, 6, 23         131:17 133:2,    <4>                49:8 60:15
 108:3                1st 32:18          173:3 174:22        10 136:4          4 4:9 5:10         78:18, 19
12:32 55:22            48:12 57:2, 18    175:2 176:9          149:8 171:10,     108:20 158:7      79:13 84:22
120 3:5                175:11 219:10,    187:4 213:14        22 187:16          192:10            94:5 112:11
121 3:6               18, 20             220:15 263:3,        188:11 189:11    4/1/22 5:8         113:18
                                                              190:16 198:5,


                                         Pa.App.0772
                              Strehlow and Associates/LEXITAS
                                        215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 777 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    268 of 378                            2
                                             7/28/2022

6th 48:22         a.m 1:1 18:25      accepted          add 124:9         admissible         agreed 118:7
 51:6, 14, 15      26:5 48:4          62:17 165:5       136:19 151:3      151:9              121:19 256:11
 52:22 90:8        166:22            accident           166:17 193:21    admission          ahead 12:21
 118:5 149:1      abide 87:17         143:23            245:7, 9 253:5    151:6 157:5, 7     85:21 132:12
 181:17, 22        142:4             accorded 10:23     258:20            220:24            air 137:11
 182:3, 6         abided 175:23      account 228:25    adding 18:21      admit 151:3,       aisle 139:2
                  ability 69:17      accuracy          addition 8:19     16, 21 152:20      Alexander
<7>                236:21, 22         170:3 202:6       119:17 197:20    admitted            255:22
7 4:13 54:22       249:19             204:10, 13        205:12            108:13, 17        Alito 5:13
 55:2 88:8, 10    able 69:14         accurate          additional         145:20             228:4, 24
 96:15 139:23      104:9 127:1        19:20 22:24       58:11 106:22     adopt 212:17        229:12
7/1/22 4:18        169:21 173:18      206:16 208:25     175:13 196:24    adopted            Alito's 227:16
7/8/22 4:19        181:25 194:18      258:17 263:6      253:5             228:19             228:9 244:13,
7:00 18:25         240:3 244:22      accurately        Additionally      advance 196:6      17
 129:2 166:22      248:19             252:8 261:17      202:16 203:4     advertise 71:25    alive 102:16
77 126:21         abrogate 229:4     accused 62:3      address 8:22      advise 34:11        146:3
 136:21, 23, 25   abrogation          101:2, 16         9:5 133:10       advised            allegation
7th 48:22          229:7             acknowledge        209:22 213:16     134:18 242:4       103:7
 51:20 52:22      absence             187:25 257:3      214:5 222:1      advisory           allegedly
 90:8 118:5        238:10 260:13     acknowledged      addressed          217:14 239:11      101:6 102:11
 139:20 140:3     absent 164:2        257:4             56:18 175:2       246:14 251:1      Allegheny
 218:19           Absentee 4:9       act 19:10, 11      238:14, 15, 16   advocacy            67:17, 20 69:3,
                   6:4 17:8           45:12, 18         241:1             213:8 262:5       11 71:13, 14
<8>                18:22 19:23        136:21, 23, 25   addresses         affect 110:7,       104:4, 10
8 4:14 28:18,      21:6, 8, 23        168:2 195:8       34:25 208:15     11 145:24           246:5 257:16
21, 24 55:5        38:3 42:21         199:4 202:1      addressing 9:6     228:16            allow 13:9
 88:8, 10 96:15    43:11, 24 45:6,    220:9 223:5, 6   adequate          affiant 85:9, 10    64:18 99:13
 139:23 190:24    11 47:4 48:15       228:16            200:20           Affidavit 158:7     100:16 241:11,
 257:23            59:9 60:2, 17     Acting 1:1        adjourned         affirmative        12, 14, 17, 18
8:00 21:9, 17,     84:25 124:11,      7:4 8:3 10:8      132:18 133:6      248:11            allowed
18 128:20, 21     18 128:18, 20,      35:8 53:14        262:10           afternoon           115:21 131:22
 142:20 143:21    21 130:11           66:24 67:1       adjudged           125:21 141:8,      149:18 241:19
 162:5, 13, 18,    133:22, 23         119:9 160:19      196:10           9, 13 150:21        244:23 246:6
25                 142:18, 20         167:5 176:15     adjudicate         160:15, 16        allows 217:23
8:01 143:4, 10     145:3, 4           186:14 216:5,     161:21 169:23     167:20, 21        alluded 12:8
82 155:23          157:16 159:19     11 218:25         adjudicated        176:22, 23         198:16
83 5:23            162:3, 10          220:1, 15         170:1, 2, 22     aggrieved          allusions
8th 34:8           164:8, 23          225:23 226:6,    adjudication       87:23 195:14       252:10
 48:23 51:3, 4,    165:22 167:23     10 239:4           124:12 161:23     217:19 218:18,    Alternative
18, 24 52:22       168:18, 24        action 7:22       administer        25 220:11           83:11
 90:8 118:6        169:25 172:11      26:25 35:9        16:23             239:1, 8, 9       Alternatively
 167:11 176:9,     183:22 188:16      37:6 70:22       administered       250:22             119:6 219:8
15 181:20          191:7, 20          71:5, 9 74:17     127:4            ago 62:14          ambiguities
 182:1, 2, 8       197:10 198:13,     84:23 171:7      administering      178:7              203:8
 218:19 235:2     14 199:11           180:4, 6, 14      16:21            agree 14:6, 9      ambiguity
                   200:23 205:7       183:7 206:15     administers        32:4 40:22         95:17 196:18
<9>                210:9 221:12       216:13 219:3      129:22 141:24     51:1, 24 54:6      201:21 203:4
9 4:15 30:13,      224:7 229:4        235:20 236:6,     142:1             63:21 86:12       ambiguous
15 55:9           Absolutely         7, 9, 23 237:7    administration     107:10 108:11      136:18 201:23
 190:24            14:11 91:21        246:13 250:15,    16:19, 24 17:1    128:19 129:8      ambiguousness
9/11/20 4:6        138:9 163:20      16, 21 252:1       18:3 126:12       141:23 142:2       137:1
9/28/20 4:6        197:9 231:2       actions 82:7       161:1, 8          148:10, 14        amended
9:08 26:5 48:3     243:4 254:25       122:18            194:12            150:6 151:6        71:16 83:10
9th 46:23         absurd 202:2,      acts 223:11       administrative     152:16 190:8      Amicus 5:6, 8
 52:6 164:15      13, 18             Act's 201:22       22:8 59:17        210:12 211:4,     amiss 11:4
 169:13 214:2     accept 71:16       actual 8:5         94:22 95:7       19 215:10          amount 52:19
                   79:12 84:17        216:8 220:3,      98:13 99:25       218:7 229:12,     analogizing
<A>                104:1             10 221:6           100:4 105:10     13 244:16           80:10
A.3d 200:12                          ad 72:6            219:4             247:4 260:5


                                     Pa.App.0773
                          Strehlow and Associates/LEXITAS
                                    215-504-4622
          Case:
         Case   23-3166 Document:
              1:22-cv-00339-SPB    146 Chapman
                                Document
                                 Leigh   Page: 778 05/05/23
                                         301 Filed   Date Filed:
                                                             Page01/10/2024
                                                                   269 of 378                              3
                                              7/28/2022

analogy 81:4      appeal 87:24          183:9 184:6     10, 16, 25        aspect 127:20      Attorney's
 238:23            138:17 170:20,       242:19 245:8     204:24 207:3     aspects 194:11      145:18, 19
analysis 24:14    25 179:23            appreciating      208:3 224:23     Assembly           August 243:16
 99:4 190:14,      180:10 215:19        261:16           225:8 235:8       201:13 234:21     authenticity
21 199:20          219:15 221:4        approach 70:2     254:2 257:2      asserting 221:3     144:13
 200:8 212:18,     223:9 236:16         201:23           260:12 261:13    asserts 188:21     authoritatively
24 213:9           245:6 253:14        approached       arisen 214:15     assess 151:19       87:14
 214:9 227:12      254:17               11:9 82:21      Aronchick         assessed 135:7     authority
 228:9, 23, 25    appealed              135:15           68:4, 7          assessing           17:22 45:25
 229:2 253:21      171:1 215:12        appropriate      arose 249:1        133:24 134:25      64:8 73:6, 10,
analyzing          249:3                35:9 77:21      arrived 28:9       135:4, 15         12 75:12
 228:11           appeals 59:18         87:25 95:5       254:20           assessment          84:17, 21, 22
and/or 165:22      172:2 174:15         163:12 171:18   art 111:1          100:20 128:12      86:7 111:14
 170:18            180:8, 9             219:9 251:7     articulate         225:8              194:13 208:10
anecdotally        217:24 219:6,        256:16           53:12            assigned 65:20      209:17 257:11,
 22:17            7 236:17             approved         articulated       assist 183:6       20, 22 258:5
announce          appear 123:1          43:11            260:16            231:6              259:6, 15, 19
 243:13           APPEARANCE           April 158:14,    Ashford 65:7      Assistant          authorization
announced         S 1:1 2:1            17, 20 159:4     aside 23:23        32:15, 20 57:2,    6:23
 260:15           appeared 8:11        Arch 1:1          43:17 44:5       3 65:20            authorizes
announcing         179:5               area 66:17        47:10 117:5       219:20             111:10 192:14
 210:23 211:5     appearing             112:20           144:14 145:12    assume 96:12       availed 194:5
answer 44:15       85:22               areas 63:8        146:9 153:6       163:9 216:10      Avenue 1:1
 73:2, 5 74:19    appears 20:24        arena 65:17       162:16 166:14     218:24 239:20     avoid 202:1
 75:1, 16 80:22    79:24 165:12         67:5             167:1 169:19,     260:4              203:9
 87:19 94:2        166:4               arguably 217:4   20 223:5          assuming           aware 22:5, 6
 99:13 100:16     Appellant            argue 7:19       asked 37:11        130:6 219:2        36:1, 4, 8
 103:2 106:21      228:18               8:6 9:18, 22     53:19 56:23       226:4              53:25 57:21
 119:21 152:13    applicable            14:9 46:19       59:25 63:11,     assumptions         59:16 60:1, 4,
 159:9 163:11      142:15 192:3         185:4 214:9,    17 88:9 113:5      219:25            19 71:8 73:16,
 165:11 201:3     Application          10, 12 218:19     114:7, 15        assure 261:17      22 74:2 75:1,
 202:17, 24        7:9 26:25            219:8, 10        116:19 118:20    attaches 34:19     10, 15, 17, 21
 215:17 217:12     119:4, 7, 13, 18,    228:22           120:9 122:20     attack 248:24       76:1 81:24
 222:12, 17       19, 22 185:18        argued 102:5      132:19 135:14,   attempt             82:3 85:5
 231:21 242:19    applications          220:3           20 139:10, 11,     236:10 237:8       86:22 88:2, 4,
 247:6 251:17      126:17              arguing 99:17    13 143:23          238:2, 18         5 91:1, 12, 13,
answered          applied               185:5 220:11     152:24 164:22     246:14            16 92:12, 19,
 233:5 251:19      132:24 215:4,        225:13 243:4     171:14, 18, 19   attempting         20, 23 100:19,
answers 116:4     13 227:6             Argument          175:24 196:13     246:15            20, 25 101:2
 119:8 201:11,     240:16               3:17 10:14       238:7, 21        attended 178:2      109:18 110:1,
17 231:19         applies 196:15        11:19 12:23      239:15 240:7,    attention          3, 4, 10 111:7,
anticipated        197:9 205:16,        45:1 52:7       18, 20 242:17      198:11            8, 13 131:2, 17
 171:17           18 214:7              90:22 104:1      247:21, 22       attest 200:25       138:17, 22
anticipating       228:24               122:3 154:21    asking 47:6        263:5              144:22 147:20,
 7:12             apply 12:3, 4,        182:22 209:25    71:15 74:10,     attestation        21 148:3
anybody 63:1      19 202:24             210:2 213:10    11 86:2, 13        78:25              153:16 159:21
 88:3, 5 91:16     205:20 214:9,        220:24 223:7     90:1, 5 92:18,   Attorney 1:1        170:4 172:1, 5
 180:13 184:19    11 215:6              226:15 228:18   23 93:25           10:7 23:14         179:1 222:18
 220:14 230:25     229:4                236:5 244:12,    115:19 118:1,     44:11, 18 55:8     260:1
anytime           applying             24 245:4         18 128:9, 11       56:22 57:7, 17,   awareness 74:4
 162:18            190:12 211:9         254:13 256:2,    134:16 144:17    22 63:12
anyway 74:7        234:7 262:2         21 258:12         207:25 237:22     103:7 120:21      <B>
 107:13 151:15    appreciate            260:5            239:10, 11        133:14 141:11     back 34:17
 217:6 233:7       9:24 10:23          arguments         241:19 243:3      160:17, 18         37:8 39:3
 257:2             11:13 13:14          9:25 13:8, 11    246:11 249:6      175:1, 9           61:22 65:3, 19
apace 108:2        74:14 111:17         14:12, 14        258:14            179:11, 17, 20     71:24 72:6, 21
apologize 9:13     118:22 123:19        73:17 77:13,    asks 70:19        attorney-client     75:5 81:24
 12:17 40:1        140:13 160:2        14 107:20         87:11             68:16              107:23 108:1,
 66:18 140:20                           184:25 185:3,                                        5 131:21


                                      Pa.App.0774
                           Strehlow and Associates/LEXITAS
                                     215-504-4622
            Case:
           Case   23-3166 Document:
                1:22-cv-00339-SPB    146 Chapman
                                  Document
                                   Leigh   Page: 779 05/05/23
                                           301 Filed   Date Filed:
                                                               Page01/10/2024
                                                                     270 of 378                                       4
                                                    7/28/2022

 132:8 138:23         165:2, 22           18, 20, 24            246:24, 25        26:24 28:1          23 33:6 37:5
 148:2 152:22         166:5, 8             132:2, 9             247:3, 8, 15      30:21 31:4, 19       48:11 50:12
 156:3 179:15         167:12 168:24,       133:23 134:13        252:5 253:11,     35:3, 11, 13         51:14, 16, 22
 193:2 195:24        25 169:10, 11,        136:5, 23           12, 16, 22         45:15, 24            54:12, 22
 198:6 214:23        15 179:12, 21         139:3, 12            254:8, 18, 19     46:14 48:16          55:17 56:18
 220:4 222:19,        186:18, 20, 22       142:18, 20, 22,      255:8, 17, 19     49:1 51:4            57:2, 4, 21
20 223:1              187:1 188:17,       24 144:8, 20          257:17, 21        53:3 54:8            60:16 86:21
 224:11 230:3        23 189:1              145:3, 4, 5          258:2, 19         58:9 62:10           89:5 108:21
 231:15 235:1         191:1, 9             149:3, 6, 11, 15     259:5, 19, 22,    67:7, 8, 13          109:2 139:22
 237:12, 13           195:22 197:14,       150:5, 8            25 261:6, 17       70:22 71:11,         157:11 159:15
 241:8 242:21,       17, 18 198:18,        152:25 153:4,       bar 165:3, 12,    13 72:9 75:9          160:20 164:7,
24 252:14            25 199:14, 16,       9, 12 154:4          17 166:9           85:23 87:9, 21      22 165:4, 16
back-dated           25 200:1, 2, 7,       155:20 159:19       based 24:14        90:1, 2, 11          166:24 167:5,
 117:7               15, 18 202:11         161:20, 24           30:9 53:5         91:8 93:25          22 168:17
background            203:17, 19           162:3, 4, 8, 11,     58:8 74:1         94:8 97:4            169:16 170:1,
 65:4                 213:2 221:12        14, 16, 22            79:2, 22 103:2    99:1, 2 100:25      6, 21 171:6, 13
bad 99:20             222:4 232:17,        163:12 164:23        111:7 118:9       102:14 104:8         172:9 175:2,
 248:18              22 233:25             166:12 167:23        121:4 144:8,      106:7 112:3,        10 176:8, 13
balance 221:9         241:7, 8 250:4,      168:14, 15, 18,     20, 22 148:6      10 113:24             177:1, 7, 19, 20,
Ballot 4:9           7 259:7, 9           21 169:8, 14,         151:18 159:8      114:16 115:2,       24, 25 178:7,
 5:12 20:10, 16,     balloting            25 170:11, 12,        163:19 175:25    8 116:16             15 182:16
17, 18 21:8           18:22 39:21         18 171:2, 20,         177:15 178:11     117:18 118:5,        184:15 202:4
 23:19, 23            40:3                24 172:11, 17         183:24 194:20    8 121:2, 23           206:2 209:6,
 34:21 37:21         Ballots 6:4           173:17 174:12,       209:16 223:15,    123:3 127:15,       11 219:11, 18,
 38:3, 10, 22, 23     19:23 21:6, 23      17 175:18, 19        20 224:22         17 131:5, 10,        20 221:11, 18,
 39:10, 13, 17,       22:12, 13 23:3,      176:2 177:2, 3,      226:8 244:22     14 136:10            19, 20 222:14
19, 20 40:2          18, 19, 23 24:2,     10, 13 181:21,        262:2             139:8 144:11         225:10 226:17
 42:21 43:4, 9,      4, 11, 13 26:15      25 182:7             basic 10:17        149:1 152:6          232:25
12, 15, 18 44:3       28:8 29:15, 17       183:22 187:3,        11:21             155:7 164:22        best 14:14, 15
 45:18 60:18          30:3 31:9, 25       7 188:3, 7, 12,      basically          167:4, 9, 10, 11,    52:3 174:19
 98:20 100:21,        33:20 35:15         14, 15, 17, 18,       25:25 65:5       25 169:18             175:13 216:1
22 101:3, 5, 8,       36:1, 2, 6, 7, 9,   20, 24, 25            70:19, 21         173:6 174:18         235:11 246:14
16, 21, 24           11 43:13, 25          189:7, 8, 14, 17,    78:21 80:10       181:9 182:9          250:15
 102:17, 18           45:6, 11, 15, 23,   21, 22, 23            121:23 172:16     184:1 189:7         better 77:13
 103:24 104:10,      25 47:4, 6, 10        190:1, 3, 17        basis 16:21        190:13 195:8         224:17 239:3
15 114:9              48:15 51:16          191:3, 8, 15, 16,    74:16, 17         211:14 212:22       beyond 15:17
 116:24 117:1,        53:7, 10, 16, 18,   20, 23 192:15         104:16 129:16     216:7 217:18         63:15 65:4
3, 4, 7, 8, 10       22 54:1, 18           193:1, 3, 10         164:19 187:16     221:15 222:14        80:14 97:8
 127:22, 24, 25       58:5 59:9, 10        194:1 196:10,        188:21 189:15,    226:23 230:18        133:13 134:1,
 128:11, 20, 21,      60:2, 5 69:1, 2,    23 197:10, 11,       24 190:14          231:2 234:3         16 237:9
24 129:18, 23        18 72:3 77:16        12, 16, 24            206:14            251:18, 25           238:13, 17
 130:3 132:16         84:18, 21, 24,       198:7, 14, 16       beautiful 138:4    256:1 260:10        bible 137:11
 133:22, 25          25 90:20 91:3         199:11 200:4,       beg 115:14         262:8               big 40:6 81:8
 135:5, 7 143:1,      95:12 98:8          8, 23, 24 203:1      beginning         believed 56:25       binder 37:9
3, 4, 7, 10, 18,      100:3, 8             204:9, 15            34:17 113:7       171:18               47:23 58:14
20, 25 144:4,         101:17 102:11        205:7 208:11,       begins 18:24      believes 11:16       binding 17:20,
13, 23 145:10,        104:7, 11, 13,      14, 17, 19            29:23 83:20       46:12 47:14         21 41:10 92:1
25 146:3, 14,        25 109:19, 25         210:9, 10            89:3 124:8        71:5 207:23          142:10, 13
20 147:6, 7, 11,      110:2, 11            211:2 213:22         166:22 192:18     221:3 259:14         210:4 212:1,
16, 23 148:4, 5,      112:2, 9 114:3       217:8, 9            behalf 9:13       Bench 236:23         11 237:18
10, 14 149:19,        120:18 121:4         218:15 223:4,        10:8 73:17        251:3, 5            binds 200:14
21, 25 153:18,        124:3, 11, 13,      5, 6 224:8            186:13 226:17    benefit 13:4         binking 129:25
23 156:5, 6, 10,     14, 18, 19            225:22 226:3,       belabor 62:24      152:1 213:8         birth 22:19
11 157:16             126:17, 18, 23,     4, 13 229:5, 23      belief 26:16       227:16 245:3         23:20, 24
 158:13, 16, 23      25 127:15, 18         230:7, 8, 13         169:15 253:8     BERKS 1:1             164:18 204:16
 162:17 163:18,       128:5, 19            232:1, 7, 8, 11     believe 11:14      5:5 7:6 9:14,        230:22 231:11
19, 24 164:3, 5,      129:15, 17, 21       233:17, 24           12:2 14:20       15 27:23 28:1        bit 23:13
8, 11, 12, 15, 17,    130:7, 10, 11,       234:4 235:5          20:15 23:6, 21    30:6 31:20           35:25 79:1
19, 20, 24           17, 22 131:1,         241:13, 15           25:11, 21         32:14, 15, 22,       117:19 124:5


                                         Pa.App.0775
                              Strehlow and Associates/LEXITAS
                                        215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 780 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    271 of 378                                    5
                                               7/28/2022

 138:15 178:22      94:6, 10, 13, 16    254:5, 14, 22    BUKOWSKI             Butler 2:1           190:13, 16
 187:13 198:4       95:11 101:23        255:13, 18        1:1 3:5, 12, 16,                         191:14 205:8
 211:15             112:12 117:4        256:1, 5         17 7:15 8:13         <C>                  210:1 212:18
black 81:6          153:25 186:25       258:20, 23        9:12, 13 13:18,     calculating          213:5 218:14
blank 40:11,        192:21 193:9,       259:2, 13        21 14:6, 8, 17        249:17              224:1 225:14,
12                 18, 24 195:4         260:9, 22         36:19, 22, 25       call 8:16 9:1       16 226:4
blind 25:11, 15     209:19 210:4       Bradford 28:1      37:4 41:19, 21,      14:24 44:10         230:2 254:18,
block 38:16         214:3 215:21        30:6 35:17, 18   22, 25 42:9, 17       106:17 116:2       23 256:11, 18
 39:3 40:6          216:4, 21           58:2              44:12, 25 45:3       123:14 125:11       257:15
blocks 38:13        217:25 218:21      branch 243:7       47:19, 21            129:25 140:23      canvassed
blue 38:4           219:15 220:16,     branch's 243:8     51:12, 21 52:5,      160:6 230:7         167:24 190:4
BOARD 1:1          18 221:1            break 105:22,     11 55:4 58:23        called 62:9          191:1, 4, 9
 2:1 7:6, 7, 8,     225:25 229:22      25 107:23          60:21 67:4           104:3 110:16        192:11, 15
22 8:10 9:17        231:6 232:14        184:19, 24        88:9 106:19          154:25 182:4        193:1, 19
 18:19, 23          235:2 238:4        breakdown          120:6, 8, 13         234:23 255:21       194:1 195:24
 20:22 22:1         247:2 249:9         155:22, 23        121:5, 14           calling 7:12,        196:23 197:11,
 29:13 32:22        250:2, 3           breaks 228:3       137:24 150:20       20 100:12           13, 16, 24, 25
 71:10 78:22        261:21, 22, 23     BRETH 2:1          151:1, 12, 24        124:20 125:12       198:25 208:19
 79:3, 10 87:24    board's 128:4        8:11 62:13        152:4, 8, 12, 21     170:11, 12          252:5 254:9
 89:14 92:10        133:20 152:23      Brewster           154:17 155:3,        234:22              259:24
 95:18, 25         boards's             67:19 69:19      11, 16 159:7,        calls 47:18         canvassing
 96:13 112:18,      126:12              240:13           12, 23 167:19         68:14               12:6 19:4, 5
21 125:11, 23      bodies 81:22        Brief 5:6, 8       168:11 176:17       campaign             20:22 45:10
 126:4, 6          body 81:13           7:13 68:24        183:14, 17           89:9 131:8          60:17 161:25
 127:11, 22        boils 121:1          82:11, 16, 18     184:2, 15            170:10, 20, 25      188:5 191:7
 128:2, 15         bold 38:7, 10        83:19 85:2        186:9 209:5          179:6, 7            192:2, 7, 9, 19,
 129:6 133:4, 7,    40:9, 12, 14        86:12 94:4        210:14, 21          campaigns           22 193:10
10 134:18          Boockvar             99:11, 18         211:4, 7, 11, 16     59:24               195:15, 20, 23
 135:15 136:4,      83:10 199:7         105:16 159:7      212:4, 9, 14, 16    candid 228:20        196:11, 14, 16,
7, 9, 16 139:10     200:11 203:6        174:10 190:24     214:12, 19          candidate           19 197:2, 4, 17
 140:6, 24          241:2               191:19 195:13     215:2, 15            7:25 90:24          198:20, 22, 23
 141:15 143:3      Boord 223:12         202:19 251:24     217:12, 18, 23       91:1, 9, 12         199:21, 23
 145:9 154:24      boring 76:21         255:25 257:25     218:3, 7, 12         153:17 180:21       200:4, 6, 13
 155:7 157:15      bottle 225:18       briefed 261:3      220:8, 23            204:18 207:17       218:2, 6, 11, 12,
 160:23, 24        bottom 26:4         briefing           221:15, 18, 20,      209:10 216:3       16 223:4, 10,
 161:5 162:19       29:23 173:21        244:24 257:1     24 222:3, 8, 12,      217:15 221:8       20 224:2
 167:22 169:22,    bound 15:8,         briefly 16:18     19, 23 223:22,        250:24             caps 38:9
25 170:6, 10,      11 258:5, 6          28:10 120:6      25 224:10            candidates          caption 180:13
12, 21, 23         bounds 78:7          126:11 135:4      226:23 227:2,        27:7 64:5          captioned
 175:10 176:13     box 165:8            155:13 213:16    7, 9, 14, 24          76:12 77:4          172:3
 179:5 183:25      BOYER 1:1           briefs 68:12       229:10 230:10,       84:5 95:13         card 241:13
 192:10, 14         3:15, 17 9:20       187:21 246:23    12, 16 231:2,         153:14 207:6,      cares 202:14,
 195:15, 22         10:4, 5, 7 11:9,   bring 241:15      13, 24 233:6         10, 12 217:16       15
 197:2 202:4, 5,   12 12:15, 17        bringing           234:22 235:19,       232:11 261:19      carries 29:24
9 203:22            13:22 41:20         85:12, 14        21, 24 236:3         Canvass 6:4         case 8:15, 19
 209:7, 11, 12,     160:5, 14, 17       216:13            247:5 248:16         18:15, 17, 19,      11:22, 23, 24
13 217:1            167:17 168:5       brings 71:5       bullet 38:12         25 19:2, 11          14:15, 20 23:7
 218:5, 15          179:14, 24         broad 135:15,      43:2, 3, 5, 7, 8,    26:14 28:7          26:15 27:1
Boards 7:23         181:4, 8           17                15 44:2               43:13 45:6          28:8 45:23
 16:22 17:3, 17     182:19 184:4,      broader 194:6,    bunch 249:8           46:3, 13 47:15      51:23 53:5, 22,
 25:22 37:5, 24    12, 22 186:5,       8                 burden 14:22          72:3 76:11         24 58:25 59:5
 41:10 44:6        12, 13 189:5        broadly 17:9      Bureau 16:11,         77:3 84:2, 13,      62:9 67:10, 12,
 45:5, 19 47:9      190:11, 22          198:4            13 29:4 61:15,       25 121:20, 24,      13, 22, 24 68:1,
 48:6, 10 49:8      193:16 197:6,      brought 13:14     19 65:20, 23         25 122:1, 5, 6,     3, 11, 24 71:13
 50:17, 24 53:1    9 204:19             27:6 71:9         66:1 126:5          7, 10 124:2, 3,      73:7 74:13
 58:7 71:25         206:10 207:12,      73:7 130:24       129:4               8, 10, 12, 13, 14    75:13 81:12,
 72:19 76:9        16, 20 209:4         161:21 180:4,    Bush 240:15           131:18 149:11      18, 23, 25 82:3,
 77:2, 6 84:1,      251:23 252:24      13, 18, 21        business 69:4         183:21 188:2       12 84:25
12, 16, 22 89:1     253:2, 4, 19                                               189:12, 13          85:10, 12, 15


                                       Pa.App.0776
                            Strehlow and Associates/LEXITAS
                                      215-504-4622
            Case:
           Case   23-3166 Document:
                1:22-cv-00339-SPB    146 Chapman
                                  Document
                                   Leigh   Page: 781 05/05/23
                                           301 Filed   Date Filed:
                                                               Page01/10/2024
                                                                     272 of 378                                 6
                                                 7/28/2022

 87:16 91:2, 4,       138:22, 23         112:24 114:5        173:22 181:14       178:21 181:17    change 26:20
5, 7, 24, 25          232:10             135:25 142:16       206:16, 25          186:17, 20        47:6 114:2
 92:6, 9, 17         cast 17:7           143:10 151:9        208:12, 22          187:9 208:24      156:24 177:13
 101:9 102:5,         18:16 28:7         166:7 213:4         245:23 252:4,       214:4 220:19      194:20 211:13
13 103:5, 20          45:15, 18 53:9,    214:8, 21          8, 9 258:2, 7        221:3 224:1, 2   changed 24:2,
 104:3, 4, 22, 23    21 76:11 77:4       215:18 228:2        259:4, 18, 22       225:15, 18       5 114:6
 106:24 108:12        80:6 84:2, 14      236:12 239:14       260:15 261:7        235:3 236:1,     changes 24:7
 113:22 116:17        98:17 101:3, 8,    249:23 250:12      certified 7:23      13 237:6          changing 206:2
 118:13, 19, 21      16, 21 102:17,     certainty            17:16 30:2          238:8 240:3, 5   CHAPMAN
 121:6, 8 134:2,     18 103:12, 13       169:7 215:1,        31:10 35:16         244:5 245:12      1:1 7:4 119:9
21 138:17             117:6, 10         14                   36:3 48:13, 24      246:17, 18        238:4 239:5, 6
 144:23 145:2,        147:1, 12         certificates         49:7 50:4, 7, 9     248:10, 20       chapter 54:15
8, 21 148:7, 8,       149:15, 18         84:4 91:10          51:7, 13, 17, 19    259:3 263:2      charge 127:19
9 149:17              162:17 177:14     certification        52:17, 21 54:1,    certifying 6:24   charges 231:4
 150:6, 12, 21,       186:18, 20, 22     8:5 12:4 19:8,     2 56:7 59:19         18:13 49:19      check 144:11
22 166:2              187:1 188:7       10, 20 21:13         60:2 72:22          60:10 90:4        166:21 222:4
 167:1 171:3,         199:25 200:7       29:19 30:10         76:8 77:1           206:18 217:3     checking
10, 22 172:2          203:17 204:3       31:25 34:21         79:9 80:2           240:8             242:10
 179:2 186:15,        229:15 231:1       49:2, 15, 17, 19    81:20, 21          Certiorari        checks 40:25
23 187:3              252:4 253:23       50:6, 23 51:8,      84:11 88:13,        5:20 244:8, 11   Cheryl 150:24
 192:24 193:5,        258:7 259:5, 7,   15 53:15, 21,       19 89:24 90:6,      Chain 4:19        chicken 122:16
8 194:4, 16          9                  23 71:16 72:9       8 97:13, 16, 20,     33:8 34:6, 22    Chief 27:20
 205:2, 24           casts 117:3         79:20 80:1         25 98:3, 5           66:2              33:5 56:14
 207:7, 9, 14, 21,   catch 11:5          86:24 89:12         110:5 112:2        Chair 31:19        65:21 66:14,
22 208:17            cause 146:17        90:3, 12, 16        126:21 139:19       126:9 160:23,    25 145:8, 12,
 210:3, 6, 24         158:8 169:17       91:10 110:16,       148:24 149:2,      24 161:7          13
 211:23 212:14       caused 164:1       17, 19, 23          4 171:23            Chairman          choice 261:19
 213:15 215:10,      causing 176:4       111:1, 11, 15       173:16, 19          9:15 55:17       chose 52:20
19 216:2, 8, 9       caution 212:3       114:16, 18, 21      176:8, 14          challenge 7:22,    132:5 137:15
 220:1, 3, 10        cautions            116:13 121:23       177:24 178:21      24, 25 52:20      Christa
 221:7 223:10,        211:24             122:4, 11, 21       181:24, 25          60:15 86:24       158:12, 19
12 224:23            caveat 258:20       124:2, 20           182:5, 6 194:2,     87:3, 13 88:6     159:1
 225:5 227:3         Center 1:1          130:19 136:11      25 198:1             91:9 95:24       Christian 3:14
 230:4, 21           central 88:25       140:5 167:6         206:3, 8, 22        127:21, 24        9:15 31:17
 233:15, 22          centrally           171:23, 25          207:7 209:10        128:13 153:9,     55:17 56:20
 235:10, 12, 16       18:23 124:17       174:12 175:22       218:22 220:12,     14, 17, 21         160:6, 10
 237:2, 3, 11, 12,   certain 8:14        178:11 181:22      16, 18 221:1         195:14 204:15,   chronology
13, 17, 23, 25        45:14 64:8         182:3 186:16        224:5 226:14       20 209:21          117:22 118:12
 238:3, 5, 12, 16     67:25 81:21        187:4, 7 188:1,     239:21 243:18,      216:2 217:17     circle 95:14, 16
 239:10, 12, 14,      113:8 116:23      8, 13, 22           19, 20, 21, 22       218:18, 23       Circuit 5:6
15 240:4, 10          126:2 129:14       190:18 192:17,     certifies 50:1       232:3 234:4       8:4 23:6 24:9
 241:2 244:1, 7       141:17 146:23     20 193:13, 15,       81:19 258:12        239:23 247:7      26:23 59:4
 246:12 247:19        160:25 161:20,    25 195:11, 17,      certify 17:15        261:24            172:1 174:15
 248:15, 23          24 166:9           25 196:5, 6, 7,      19:13, 14, 16      challenged         176:10 207:4
 249:1, 7, 20         173:19 181:17     9, 12, 14, 17, 19    26:14, 18 28:7      12:7 95:12        213:24 228:3,
 250:13, 19, 21,      190:3 196:17,      197:5, 19, 23       35:22 49:10         191:21, 24       6, 19 229:20
22 251:13            23 206:4            205:18, 21          50:11 51:22         204:18, 19        244:15 245:4
 254:1, 3, 19         207:23, 25         218:11 223:21       53:6, 9 54:18       247:11            260:17
 255:2 256:17         208:14 217:8       235:5 236:14,       58:5, 10 76:14     challenges        Circuit's 46:7
 258:1 260:7         certainly          18 237:15            77:9 80:8           94:11, 12         47:13 51:24
 261:1, 2 262:3,      15:18 28:14        239:16 253:18,      81:10, 13           127:18 191:25     100:19 228:1
4                     29:12 44:23       20 258:16            88:22 115:9,        195:16 196:17    circular 228:18
cases 17:23           45:13 47:12        260:1              14, 15 116:13       challenging       circulated
 44:13 62:4, 6        56:23 67:12       certifications       120:17 121:3,       191:22 196:7      37:23 59:23
 68:6, 10, 17         68:15 69:22        28:13 57:24        21, 25 122:21,       209:10 217:15    circumstance
 100:25 101:1,        88:23 95:18        77:7 78:17         25 124:21            232:11 262:3      104:2
2, 15, 18             96:23 97:2         90:16, 18, 21       139:12 159:13,     chance 14:9       circumstances
 102:21 120:23        101:18 103:5       96:14 97:9         18 171:19            216:1             143:20 145:1
                      109:10 110:4       118:3, 15           174:16 176:2                          164:1, 2 209:9


                                        Pa.App.0777
                             Strehlow and Associates/LEXITAS
                                       215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 782 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    273 of 378                                     7
                                                 7/28/2022

 252:2 256:15,     21 201:21            203:8 204:21         183:2, 5, 11, 13   come 36:21,           182:16 192:10
22, 25 257:7        208:13, 17          205:11 208:6,        184:5, 10, 14,     22 71:7 77:14         201:15 202:4
circumvent          213:18 214:7       20 210:9             18, 21, 23           78:18 85:23          232:1
 246:15             218:10 229:3        216:19 217:10        185:13, 22          91:22 102:12        Commissions
citation 255:23     231:22 232:19       220:12 233:15        186:2, 6, 10        107:23 120:11        16:7
citations 84:5      236:9 239:24,       234:20 241:3         189:3 190:5,        135:2 153:10        committed
cite 193:7         25 243:11            243:9 252:6         20 193:14            169:2, 22            219:12
 200:11 225:5       252:11 253:5,       258:6                196:25 197:7        180:6 204:6         Committee
cited 175:21       20 256:6            Code's 237:9          204:14 205:25       212:17 219:7         119:12 156:7,
 193:8 195:12,      257:24 260:13      Cody 57:3             207:9, 15, 19       220:4 222:5,        8, 16 177:8, 9,
19 223:9            261:2              coffee 61:8           209:3 210:12,      20 223:1             15 178:4, 5
 255:3 256:4, 5    clearer 215:23      Cohen 59:5           18, 22 211:6,        224:11 229:1         206:4
cites 84:24        clearly 75:16        172:3 176:11        10, 12, 21           231:15 233:7        common
 223:12 237:23      93:3 173:15        COHN 1:1              212:5, 13, 15       234:5, 10            59:21 62:13
citizen 86:23       210:6 223:4         4:19 5:2 7:2         214:10, 14, 20      235:1 239:5          87:25 96:2
civil 75:16, 17     240:10 250:13       9:10, 23 10:6,       215:3 216:17        241:6, 7, 14, 18,    261:17
Civilian 42:21      259:20 261:14      18 11:10 12:9,        217:16, 21         22 247:20            commonly
 47:4 162:14       clerical 80:1       13, 16, 24            218:1, 4, 8         248:7                195:12 240:21
claim 209:23        115:1 208:13        13:20, 23 14:4,      220:6, 21          comes 18:19          COMMONWE
 225:6              259:18             7, 11, 19 15:13,      221:10, 17, 19,     44:5 122:14         ALTH 1:1
clarification      Clerk 145:9,        23 24:24             23 222:2, 6, 9,      137:4 138:11         5:8, 10, 15, 23
 25:23 56:24       12, 13               36:17, 20, 23       16, 22 223:19,       157:18 213:24        7:3, 5 15:10
 114:23 116:18     client 66:22,        44:16 47:20         23 224:9             228:11 239:2,        17:22 19:14
 118:22 154:14     23 68:17             60:24 64:17,         226:22, 25         4, 6 245:11           46:8 59:20
 182:14 226:24      73:17              22, 25 70:3           227:4, 8, 11, 18   comfort 106:5         61:15 62:16
 234:23            close 11:3           73:11, 15, 20,       229:6 230:5,       comfortable           63:1 65:9
clarifications      132:17 177:16      22, 24 74:6, 24      11, 13, 17           132:25               66:25 72:18
 186:3              202:20 203:2        77:12, 18 78:2,      231:5, 23          coming 215:16         76:10 77:2
clarify 83:1       closed 119:17       9, 13 80:17, 20,      233:4 234:13        231:14               82:10 83:9
 116:3 128:23      closely 227:25      24 81:2 85:8,         235:17, 20, 22     commenced             106:20 111:10,
 143:24 146:19     Code 12:3           13, 19, 21 86:1,      236:2 239:17,       66:10               14 119:10
 171:15 185:1       21:5 43:23         4, 9, 16 87:18       20 241:17, 22,      commend               147:3, 24
 190:5 226:19       44:6, 13, 14, 21    92:20, 25 93:3,     25 242:9, 12,        212:10               150:23 168:4
 235:25 258:23      50:16, 20, 21,     7, 20 99:9, 12,      14, 18, 23          comment 98:7          171:4 174:14
clarifying         23 62:1, 5, 25      15 100:15             243:2 244:21        99:19, 20            175:23 176:15
 57:14              72:11, 17           101:13 102:6         245:3 247:25       comments              179:8 238:13
clarity 188:14      75:10, 18, 21       103:1 105:11,        248:3, 5            10:15 99:5           239:1, 5, 7
 215:21 216:12,     76:1, 20 83:20,    14, 18, 23            251:18, 22          211:15               240:25 245:25
16 227:3           24 84:17 87:3,       106:3, 13            252:21 253:1,      commission            246:2, 4 247:1,
 235:13 261:4,     10 95:23             107:5, 9, 14, 19,   3, 15 254:1, 11,     160:22              2 249:15
6                   101:19 104:18      22, 25 108:5, 8,     21 255:11, 14,      Commissioner          255:22
class 188:25        110:20, 25         16 109:8, 11,        24 256:3             8:24 9:15, 16
clean 180:7         111:9 117:2        13 111:19, 22         258:10, 21, 25      65:23 127:17        Commonwealth'
clear 31:24         121:19 122:7,       115:3, 6, 20, 24     259:10 260:3,       133:19 134:17       s 94:1
 38:21 55:25       9 130:13             116:10 120:4,       21 261:10            136:16 137:10       communicate
 58:9 61:22         142:5 153:23       11 123:7, 11,        coin 250:2           154:24 155:19        26:10, 12, 13
 64:15, 24 88:9     154:8, 25          20, 23 125:5,        collateral           161:2, 6, 14        communicates
 101:19 116:9       155:9 165:3,       13 134:6              248:24              176:22 181:2         64:3, 4, 5, 6
 149:14 167:25     12, 18 166:9         135:13 137:19       colleague            183:15 221:15       communicating
 168:2, 9           170:7 182:10        138:1 140:10,        218:9 236:5        Commissioners         32:4 252:12
 170:13, 17         188:8 190:2,       12, 21, 25            244:16              8:23 9:16, 17       communication
 171:16 174:11,    17, 25 191:5,        151:20 152:3,       colleagues           30:23 31:20          28:12 67:8
15, 19 175:17,     16 192:23           5, 11 154:13          10:16 11:20         55:18 64:3           172:15 174:23,
25 183:19, 21       193:2 195:21        157:9 159:25         193:7 212:12        71:22 72:18         25 194:17, 18
 184:1 188:13       196:2, 8            160:7 168:8         college 65:5, 8,     125:12, 24          communication
 189:12, 13, 14,    197:21 198:5,       176:18 179:3,       11                   126:5 140:24        s 54:21
18 190:2, 13,      6 200:21            16, 19 180:1,        colloquy             141:15 142:11        172:18
25 195:19           201:3, 11, 12,     12, 16, 19, 22,       224:13              160:20, 23, 25      compared
 196:15 200:5,     14 202:14, 25       25 182:20                                 161:11 170:10


                                       Pa.App.0778
                            Strehlow and Associates/LEXITAS
                                      215-504-4622
          Case:
         Case   23-3166 Document:
              1:22-cv-00339-SPB    146 Chapman
                                Document
                                 Leigh   Page: 783 05/05/23
                                         301 Filed   Date Filed:
                                                             Page01/10/2024
                                                                   274 of 378                               8
                                             7/28/2022

 117:14 228:1     complying          condensed         consistent        controversy         20, 21 68:1, 4,
compel 70:21       120:15 132:25      107:2             18:9 47:15        8:19 216:8, 9      8 69:12, 13, 19
compelling         232:21            conditions         60:8, 11          220:3, 10           70:16, 17, 24,
 257:7            comprehensivel      191:9 192:2       114:12 153:24     221:7 239:10       25 71:3 72:7
compels 258:1     y 190:15            198:19            239:21 240:1      241:11 246:12       76:18 77:4
competent         computation        conduct 94:7      constant           261:2               82:4 85:3, 4
 18:6 142:5        12:6 192:7         164:10 244:23     194:17           convene              87:10 88:14,
compilation        195:15, 20, 23    conducted         constitutes        139:10             15 90:9 91:7,
 89:3              196:11, 14, 15,    216:23            186:22, 25       convenient          17 92:2, 3
compile 80:4,     18 197:2, 4        conducting         259:6             11:11               94:7, 8, 14, 15
8 88:21, 22        218:6              164:4 192:9      Constitution      conversations        95:16 96:5, 15,
 124:9            compute            confines 94:8      136:20, 22        28:15 113:12,      16 97:11, 15,
compiled 80:9      76:11 77:3, 9     confirm            137:12 217:3,    14, 15              22 98:1, 6, 9,
compiles 19:15     84:2, 13           157:16 195:10    11                convert             12, 25 99:25
complaining       computed           confirmed         Construction       253:17, 19          100:1, 5
 224:3             192:12 193:19      159:1 204:8       199:4 201:22     convince 9:21        102:18 103:25
Complaint          194:2 196:23      confirming         202:1             194:19 244:25       104:17 110:14
 5:13 63:23, 24   computing           202:10           consult 137:20    convincing           111:5 112:5, 6
 70:12 73:4        45:11 193:10      confirms           140:15            252:14              114:18, 19
 74:18 83:10       223:11             196:22 201:8     consultation      copied 25:11         115:1 118:6, 7,
 85:10 97:3, 6    concede 46:25      confused 25:21     183:24           copies 88:25        9, 11, 17
 151:2 158:2       157:6 207:13,     confusing         consulted 56:9     173:22              120:25 122:12,
 224:6            17                  136:18 138:25     66:9, 17 67:12   copy 25:15, 16      25 123:2
complete          conceded 41:9       211:15, 16        82:8              51:8 59:22          124:22, 23
 19:20 53:21       207:7 228:21      confusion         contact 114:22     69:7 89:14          125:1, 24, 25
 72:8 79:18       conceding           137:1 138:23      116:17            117:21 158:2,       127:10, 23
 90:15 105:24      100:17 218:24     Congress 98:2     contain 230:8,    4                    128:2, 3, 6, 16,
 111:2 121:25     concern 206:6      congressional     14                cordial 112:14      22, 25 129:1,
 171:17 186:17     216:24 217:6,      49:23 50:3       contained         Corporation         13, 16 130:4, 5,
 187:8, 18        7 232:19            243:19            110:18            16:11              19, 20, 22, 23
 200:18 208:24    Concerning         conjunction       contains 79:10    correct 19:17,       131:4 132:3, 4
 258:7, 9          42:21              199:5            contemplated      18 20:25 23:9        139:21 140:3,
completed         conclude           connection         238:14            25:20 27:7, 8      4 141:15, 16,
 19:11 44:24       207:20 210:24      142:4            contemplates       29:5, 6, 8         19 142:8, 11,
 50:6 53:8         229:24 230:1,     conscience         202:13 204:21     30:22, 24          12, 21 144:1
 90:3, 12 182:7   5 233:7, 25         176:2             229:1 252:3       31:11, 21, 22       145:22, 23, 25
 252:8             261:11 262:8      consecutive       content 203:11     32:16, 17 33:1,     146:20 148:12,
completely        concluded           88:12            contest 60:14     16, 21 35:12,       21, 22, 24
 8:20 95:15        210:8 212:24      consequence        88:7 250:24      13 36:13             149:13, 16, 23
completeness       224:21 226:12      188:1 202:21     contesting         38:10, 11, 15,      150:1, 2, 4, 12,
 151:15            229:20             253:20 260:19     87:5 189:2       19 39:1, 5, 6, 8,   13, 17, 25
completes         concludes          consequences      contests 12:4     9, 11, 12, 14, 18    153:13, 14, 15
 198:13            192:19 224:24      190:3, 16        context 66:13      40:5, 8, 10, 13,    154:5 155:5
completion        concluding          191:11 199:2      187:13 190:6     16 41:8, 11, 18      158:14, 15, 18,
 122:14            225:21             200:13 201:7      257:14, 19, 24    42:5, 13, 22, 23   21, 22, 25
complied          conclusion          232:21 248:22     259:8             43:6, 13, 14, 21    159:4, 5 163:4,
 35:22 58:3, 4     28:10 44:11,       253:9 259:24     continue           45:7, 8 46:13,     5 167:6, 7, 14
 113:23 120:14,   18 47:18           consider 63:6      10:19 43:12      17, 25 48:6, 7,      168:20 174:6
15 130:13          87:12 116:3, 5     134:10 229:13    continued 2:1     21 49:5, 6, 12       175:4, 6, 7
 149:8 150:14      189:16, 24         256:21 257:8     continues 19:1     50:14 51:4, 5,      176:16 177:4,
complies 44:13     201:20 237:22     considerable      contradicting     9 52:10, 14, 19     5 178:1, 9, 10,
comply 8:18        255:2 256:12       115:21            138:24            54:1, 2, 24, 25    13 179:12
 35:14, 19        conclusions        consideration     contrary           55:6, 7, 9, 10,     181:23 182:3,
 57:22 113:18      14:1               13:2 119:4, 18    246:22 255:2     13, 14, 23 57:6,    11 197:6
 120:19 128:15    concurring         considerations    contravened       16, 19 58:1, 19,     207:15 222:2,
 132:5 171:13      211:18 212:7       234:17            253:25           25 59:1, 11, 12     8 223:22
 200:19 211:1      228:19            considered        controlled         60:7 61:16          234:2, 19
 232:18 233:18    condense            13:4              197:11            62:21 65:18         235:19, 21
 248:8, 9          105:22 106:1                                           66:2 67:6, 18,      244:12 247:6,


                                      Pa.App.0779
                           Strehlow and Associates/LEXITAS
                                     215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 784 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    275 of 378                                       9
                                                 7/28/2022

8 258:11            213:21 218:13,      28:1, 5, 6, 13,      168:14 192:9,       152:23 153:3,        216:25 227:1,
 259:2, 13         14 223:5, 18        15 30:2, 4, 5, 7,    19, 22 197:18       21, 25 155:7         2 247:18
correction          224:1, 7           10 34:20              211:3 215:7         157:15 160:20        253:14 256:12
 162:15             225:11, 16          35:12, 14, 22        218:13 223:4,       162:11, 19          courses 65:11
correctly           229:23 231:18       36:10 43:12         20 224:2, 4, 5       164:7 165:4,        COURT 1:1
 30:19 35:9         232:7 233:3         48:17, 23 49:2,      231:16 232:6,      16 166:24             5:21 6:2 7:3
 119:23 231:10      240:11 247:3,      16 50:3, 6, 8,       7 255:10             167:22 168:17        8:6, 8, 14 9:7,
 237:23 256:12     16 250:6, 7         12, 18 52:21          261:6               169:16 170:1,       19, 21 10:23
                    253:12 255:16,      53:5, 8, 19         counts 188:11       6, 21 171:6, 13       11:2, 5, 24
correspondence     19 257:17            54:12, 16           COUNTY 1:1           172:9, 16            14:8 15:7, 8
 32:25 33:2         258:18 260:11,      55:12 56:7, 11,      2:1 7:6, 7, 23      173:13 175:2,        18:6, 7 21:20
 47:22, 24         12, 18, 20          23 58:10 59:8,        8:10, 23, 25       10 176:8, 13          23:12 24:8, 15
 113:6 219:18      counted 24:14       24 60:1, 4, 15,       9:14, 16, 17        177:1, 7, 9, 19,     26:1, 23, 25
Coulter 2:1         29:18 38:10,       16 69:15 71:1         16:22 17:3, 6,     20, 24, 25            27:3 29:13
Counsel 5:16       14, 22 43:18         72:22 75:19         17 18:19, 23         178:8, 11, 15        31:24 37:3
 10:3 27:20         45:23, 25           78:18, 19            19:12 20:22         182:16 183:25        45:1 46:4, 13,
 33:5 35:3          47:10 53:22         79:14, 23 88:3,      21:9 22:1           186:24 188:21       23 47:15
 48:18 56:10,       69:11, 18          10, 12, 13 89:6,      25:22 27:23,        192:10, 14, 21       52:21 53:19
14 59:25            84:18 100:8        8, 10, 13, 23        24 29:4, 14          193:9, 24            54:1 58:9, 24
 66:14, 23 68:3,    110:2 114:9         90:2, 12, 17, 19     30:23 31:4, 9,      194:23 195:3,        59:20 61:1
7, 9, 15 71:4       117:1, 17           91:10 92:2          20 32:14, 15,       14 197:1              62:6, 12, 16, 18,
 73:17, 25          127:13 136:5        94:6 98:3, 5,       21, 22, 23 33:6,     199:24 201:15       19 70:18 71:7
 82:21 85:13        139:3, 7, 8        14 104:12, 13        20 34:12, 15         202:3, 9 206:5,      72:20 73:13,
 86:12 93:4         143:5, 18, 22       109:20 112:1,        35:4, 17 36:2,     9 207:11             18 77:23, 25
 97:5 108:6, 11     145:24 147:2,      8, 25 113:6, 9,      4, 8 37:5            208:5, 13            78:12 80:21
 111:20 121:1      7, 25 148:5, 11     11, 13, 18            39:20 41:10         209:6, 7, 11, 12,    81:25 82:4, 7,
 137:21 140:16,     149:11, 22          114:1, 2, 6          45:19 48:5         13, 19 210:4         12 83:12
18 151:22           150:1 152:25        116:14 118:2         49:8 50:2, 17,      214:3, 8             85:16, 24 86:2,
 169:12 171:15      154:4, 8            120:10, 14          24 52:16 53:1        216:21 217:1        5 87:17, 25
 175:16 182:21      161:20 162:12       121:3 124:3, 5,      54:22 55:17         218:5, 21            89:22 90:2, 5,
 196:13 213:10      163:1 167:24       6 131:9, 10, 11,      56:21 57:3, 7       219:11, 13          13 91:2 94:22
 224:13 237:22,     168:16 170:19      12, 18 159:15         58:2 62:12          220:18 221:1,        95:7, 8 96:1, 2
24 257:10           175:20 177:3        173:15 186:15,       71:9, 13, 14, 20   11 225:24             98:23 99:15
 261:6              183:22 189:8,      19 187:6              72:18 76:9          226:17, 18           104:5 110:1
counsel's          17 190:1, 4          188:2, 9, 12         77:2, 6 79:3, 8,    229:22 230:20        112:5 116:6
 120:9 209:25       191:1 192:3,        189:12, 21          21, 25 84:1, 12,     231:6 232:14         118:13 119:1
count 29:14        15 193:1, 3          191:2 194:10,       16, 22 86:21,        238:16 240:9         121:17 122:23
 45:6, 14 54:18     195:24 197:25      13, 17, 19, 20       22, 25 89:1, 12      247:2 249:8          128:7 131:17
 59:9 69:1, 3,      199:12 204:3        195:8 200:14         92:9 95:11          252:16 257:16        132:6 133:9
15, 17 101:24       210:10 217:8,       202:5 203:12         96:3 98:20          261:21, 22, 23       134:12 135:11
 117:1, 8, 12      9 225:17, 19,        204:8, 22            101:1, 23          County's              136:3, 11, 24
 131:24 132:2,     23 226:13            205:7 206:2, 3,      102:14 104:5,       56:18 57:2, 4        138:18 149:5,
19 135:8            229:15 230:24      22 207:23, 25        11 106:17, 20        79:2 111:11         6 151:14
 136:14 137:7       231:12 247:15       208:4, 15, 21        109:25 111:15       114:18 139:19        152:1, 19
 143:8, 12          250:4 254:10        216:15 217:7,        112:11, 17, 21      165:13 257:24        171:4, 9, 22
 144:8, 15, 20,     255:8 257:21       8, 9 221:11           114:21, 23, 24     couple 10:15          172:1 173:11
23 146:3            259:25 261:18       224:7 225:9,         115:9 116:17        11:21 42:18          174:11, 14
 148:14 150:10     countenance         14 239:21             117:4 124:15        62:13 96:10          175:24 176:19
 153:23 162:20      249:16              240:11 241:11,       126:3, 13           172:14 194:3         182:15, 22
 168:20 170:11,    counterclaim        12 243:1, 21          127:3 128:24        228:21 254:23        183:19, 20
12 171:1            248:14, 19          244:3 246:4          129:14 130:17,      256:14               185:15, 19
 187:11, 14, 15,   counties 8:1         252:3, 13, 14       21 131:3, 14        course 11:6           187:1 188:4
17, 19, 20          17:13, 20, 21,      258:2, 8, 16, 17,    132:2 133:18        16:24 82:18          189:19, 20
 188:2 189:14,     25 18:21            18 259:4              134:12, 17, 20      94:9 134:15          190:3, 7, 8, 12
21, 23 190:16       19:16 21:7, 22,     260:14               138:4 140:23        139:23 179:11        192:24, 25
 191:15 197:12     24 22:3, 7, 18,     counting 19:6         141:15, 18, 24,     185:5 192:22         193:3, 11
 198:2, 3          23 23:7, 8, 22       45:10 60:17         25 142:22            200:17 204:7,        195:18, 23
 203:19 204:9       25:11, 12, 14       131:1 139:12         144:7 146:12       22 205:11             196:3 200:11
 205:9 206:14       26:3, 11, 13, 21    159:18, 19           148:15, 23          208:7 211:22         203:5 206:7,


                                       Pa.App.0780
                            Strehlow and Associates/LEXITAS
                                      215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 785 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    276 of 378                                  10
                                                7/28/2022

12 207:5, 11       16, 19, 24         current 16:5,        18, 19 165:2         7, 8 134:25         23 50:22 51:1,
 208:6, 7 209:5,    190:6 191:3,      16 66:19              166:4, 14, 25        144:8 146:9,       3 53:16
15 210:3, 4, 7,    11, 12 198:5        175:18 244:25        167:3, 8, 10, 13    23 152:15            128:19, 21, 24
24 211:5            199:6, 20         Currently             169:1, 4, 8, 12,     153:13 154:3        129:9 142:17,
 212:12, 20, 23     200:8 209:20       16:6 97:13          15, 18 170:1, 3,      167:9 218:20       19 143:21, 25
 213:15, 17, 25     219:4 222:20,      141:14 244:19       16 171:17             219:21, 23          162:5, 10
 215:12, 18, 20    25 224:11                                173:20 188:16,       230:8, 14           176:14 235:3
 217:13 219:4,      225:8, 15         <D>                  23 189:4, 6, 9        231:16 232:12      deadlines
7 220:4 221:4       230:3 235:4       daddy's 137:11        191:13 198:8,        247:7, 9, 11, 15    50:23 95:22
 223:7, 10, 14      253:21 257:19     D'Agostino           17, 19 200:12        date-stamp           214:4
 224:17, 23         258:1 259:11,      3:10 9:16            201:8, 14, 19        21:24 164:23       deal 198:11
 225:14, 20        24 262:1, 5         30:25 140:23         202:6, 7, 10, 11,   date-stamped        dealt 175:22
 226:11, 16, 18,   cover 106:22,       141:3, 8            12, 14, 15            145:6              Dear 173:13
19, 20 227:5,      25 136:23           150:21 152:13,       203:11, 12, 15,     dating 61:17        death 231:1
16 228:24           206:5             22 159:9             19, 23 204:2, 6,      98:23 99:21,       debate 178:24
 229:13 231:21     covered 93:11       160:1               10, 12, 16, 17,      23 103:24            240:24
 235:11, 14, 15     107:13 151:25     D'Agostino's         22, 23, 24, 25        105:10 113:6       dec 250:21
 236:4, 10, 19,    create 78:4         151:4                205:3, 4 211:2       210:24 228:15      deceased
22, 23 237:17,      217:10            damage 176:6          219:9, 10            229:4, 13           101:20, 22
19 238:15          created            dangerous             221:13 222:10        230:18 231:6        102:2 117:14
 239:3 240:15,      245:11 246:10,     232:5                230:22 231:8,       daughter             145:12, 18
25 241:1           25                 data 89:10, 18       11, 17 232:9,         203:17 230:21       158:20
 244:9, 11, 19     credentials        database 89:15       16, 18 233:21        Dave 119:7          decide 73:13
 245:20 246:8,      111:8             date 8:5 21:2         234:1, 2, 9         David 119:8          84:18 85:16
9 247:19           credibility         22:3, 7, 9, 15,      241:20, 23          Day 17:7             95:16 116:6
 248:7, 13, 21      176:6             19, 20, 22, 24        247:10 250:8         18:25 21:9, 17,     127:15, 25
 249:15, 23        criminal            23:20, 24           dated 23:3, 18,      19 46:11 47:3,       128:1 132:1
 251:6 255:1, 3,    145:21 151:1       27:17 29:18         19, 23 24:2          8 56:6 59:14         137:7 186:25
16, 18, 20          158:2 231:3        34:4 38:16           26:5, 15 27:18       72:12, 14           192:14 226:9,
 256:10, 11, 19,   criteria            40:12, 18, 20,       28:8 29:7, 17        101:21, 22         16 251:14
20 257:16, 18,      203:23 205:1      21, 23 43:24          30:3 31:5            102:8, 17           259:6
20, 22 258:6,      critically          48:18 52:10          32:18 34:23          116:20, 25         decided 69:1,
15 259:22           102:15             60:18 87:8           36:1, 2, 6, 7, 9     117:3 128:20,      2, 3 92:10
 260:1, 8          CROSS 3:2           96:4, 14, 17, 18,    38:23, 24           22 129:3             156:16, 23
courtesy 11:13,     15:18 106:17,     20 97:1, 9            42:12 43:10,         132:16 136:13      decides 182:15
18                 22, 25 107:8        98:18, 19           16, 22 44:4           142:20 143:4        186:22
Courtroom           123:17 125:12,     100:22 101:4,        47:9 48:3            147:2, 5, 15, 24   Decision 6:4
 1:1 64:4 71:2     19 141:6           5, 6, 8, 17, 25       55:21 60:11          148:13 162:13       8:4 24:14
 90:11              160:6, 13          102:2, 4, 15, 18     98:11, 14            163:1, 3, 7         26:22 27:2
Courts 18:10       cross-              103:20 114:8         100:3, 5, 11         166:23 168:12       46:4, 7, 8, 12,
 28:6 45:24        examination         117:11, 13, 14,      117:11 120:1         174:2 203:16,      15, 18, 24
 46:2 57:1          9:2 36:24         15 119:25             143:16 152:25       20, 23 213:21,       47:16 54:5
 59:21 62:11,       61:5, 11 93:18     129:18, 19           153:4, 12           23 244:10            59:4 73:18
17 64:6 67:3        105:8 108:9        130:2, 6, 7, 11      158:13 164:9,        251:24 261:11       95:25 96:13
 69:22 121:4        123:14 138:2       133:2, 23           12, 16, 20           day-of 126:19        128:13 136:7
 128:5, 16          150:19 155:17      135:7 143:16         165:9, 25           days 52:16, 23       143:8 171:1,
 132:9 142:5        167:18 176:20      144:6, 9, 11, 14,    166:19 167:24        87:7 88:12         17 172:2, 8
 208:8 231:15      crux 90:21         21, 22, 23, 25        168:2 169:10,        96:4, 12 97:8       175:14 176:10
 232:5 238:15      crystal 243:11      145:14, 15          13 170:8              129:9 195:13        182:17, 18
 258:8 259:7, 8    Cunningham          146:4, 8, 10, 13,    171:20 175:1         196:22 213:23       183:20 191:3
Court's 7:16        2:1               16, 20 147:11,        225:22 226:3,        218:17, 23          195:14 197:1,
 46:8, 15 50:20    cure 168:25        15 148:4, 6, 11,     7 230:7               219:16, 23         10 199:6
 54:9 59:16         221:14 241:15     17 149:21, 24         231:21 232:2,        221:4 228:8         207:5 210:1,
 108:13 123:17     curing 240:21,      150:9, 10           8 233:3, 24           256:18             13 214:7, 23
 137:15 149:8      22, 25 241:3, 5,    152:16 153:4,        234:3 246:25        day-to-day           215:10, 13, 18
 150:15 185:7      9, 10, 12 242:1,   17, 18, 22            247:3                16:21, 24           216:1 218:14,
 187:16, 19, 25    3 245:25            158:23 162:7        dates 25:19,          127:7 161:17       15, 16, 18
 188:2, 10, 13,     246:6, 7           163:2, 6, 9, 14,    21 54:21 60:3        deadline 8:5         219:14 225:21
18 189:11, 13,     curing's 246:3     19 164:1, 11,         117:20 118:1,        21:17, 18, 20,      226:12 230:2,


                                      Pa.App.0781
                           Strehlow and Associates/LEXITAS
                                     215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 786 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    277 of 378                                 11
                                               7/28/2022

4 233:14            defenses 183:1      111:25 112:4,     desperately        difference            134:9 191:18
 235:6 237:21       defer 7:18         7 113:12            260:25             38:2, 4 110:2,       199:14 237:25
 250:5 251:6        deficiencies        114:17, 20        despite 225:19     8 121:18, 20         Director 27:22
 252:19 253:13       59:11 149:16       116:12 118:3      destroy 43:19       143:18 156:15        33:5 56:18
 254:15, 19, 25      188:19 198:9       126:14, 15        detailed 233:2      230:6                126:15 127:6
 255:1, 21           226:5              131:23, 25        details 102:21     different             132:18 136:9
 256:9, 20          deficiency          132:8, 11, 13,     103:5 104:8, 9     20:13 38:2           161:22 169:20
 257:15 259:11,      150:9             20 137:6            105:2 152:1        69:12, 16, 24        175:2
21 262:2, 6         define 193:15       142:8 153:25       251:11             79:8 86:10          Director's
decisions 18:9      defined             159:2 160:18      determination       96:11 104:17,        54:22
 46:7, 10 59:19      110:25 121:19      168:13 169:3       26:3 52:4         20 116:23            directory
 127:12 128:4        258:8              172:9 173:17       53:4 87:23, 24     122:2, 4, 13, 17,    194:1 210:25
 142:5, 13, 14      defines 205:19      175:1, 16          98:19 144:15      18 137:5             directs 44:6
 161:19 175:21      definition          176:9 181:18       169:22 170:21      146:4 163:15         173:19 192:8
 179:10 215:6,       110:18, 19, 22     186:14 194:5,      191:12, 14         172:14, 15           202:1
11 217:25            122:7, 9, 11      8, 11, 12, 16       200:14             180:22 196:14       disagree 45:21
 218:5, 20           205:16             195:3, 8          determinations      197:4 204:25         54:17 90:14
 258:5 259:21       definitive          213:20 220:1       94:20 95:8, 19     213:15 214:6         100:9 210:23
 260:2               182:18             252:12, 16        determine           223:24 249:1         217:5
decisis 214:25      deliver 113:1      Departmental        21:22 22:4         253:13 254:19       disagreed
Declaration         delivered           47:2               44:7 95:14         261:15               57:23
 4:2 20:8, 9, 11,    126:22            Department's        102:16 114:25     differently          disagreement
19 37:22 38:6,      democrat            23:18 24:1, 5,     130:3 142:25       69:15, 23            53:14 112:17,
17, 23 39:2, 4       156:8 158:16      11, 12 26:2, 21     147:15 163:23      216:14 240:12       21 113:2
 43:10, 16 44:3,     177:8              28:5 32:5          164:11, 12, 16,   differs 50:16         138:5, 7, 12
7 133:25            democratic          35:15, 21 53:4    20 170:14, 15      difficult 11:2        139:1 195:4
 135:1, 5, 8, 16     155:19 177:2,      60:12 63:12,       199:22, 25         74:13                214:16 252:17
 143:15 145:11,     10, 20, 21         13, 14, 19          200:6 202:6       Dillon 2:1           disagreements
15 152:15, 17        199:7 203:6        113:3, 16          225:4 230:25      diploma 65:15         194:14
 170:8 191:10       demonstrated        114:13, 15         258:15            DIRECT 3:2           disagrees
 198:25 200:16,      225:3              115:8 121:7, 9,   determined          16:1 25:17           11:16 260:9
19, 22, 25                             11 207:14           67:15 144:24       26:4 30:12          discern 38:3
 201:5, 9 205:4,    denial/dismissal   depend 104:17       146:4 153:7        32:8 33:7, 22       Discontinuance
6 210:25             223:17             260:18             165:1 166:24       41:23 93:17          119:5, 7, 14
declarations        denied 119:22      depending           190:25 208:8       105:6, 7             121:8 194:16
 15:8 43:20          226:20             52:16 144:13      Determining         106:21 125:19        216:7
 60:11              denying 26:25       146:10             45:17 98:16,       141:6 158:7         discontinued
declaration's        188:21            depends 80:4,      17 133:21           160:13               236:16 237:11
 199:1              depart 125:6       5 85:10 107:7       134:24 143:11,    directed 14:9        discrepancy
declaratory         Department          146:15 149:17     24 201:10           27:22 117:4          234:11
 198:3 205:10        1:1 4:6, 9 7:5     254:5              205:5 233:19       171:15 172:16       discretion
 209:14 216:15,      10:9 16:7, 9,     Deputy 8:25        developed           173:13, 15           45:18 75:19
18 217:13           10, 25 17:10,       16:6 65:24         257:3              199:5 202:20         78:5 155:8
 220:5, 7, 9        19 18:8 20:9        92:22 109:18      dicta 256:23,      directing             170:13, 15
 235:12 250:15       23:2, 14, 16       111:7 219:20      25                  149:9 201:16         188:3, 5 191:2,
 260:11, 19          26:19 27:20        245:14 249:21     dictate 198:18     direction            15 192:13, 21,
declare 39:4,        28:9 37:23        describe 23:4       199:19 200:13      45:22 101:22        23, 25 193:2, 9,
10 84:21             38:21 41:7, 13     52:25 53:2        dictates            168:2, 3 200:6      12, 13 195:11,
declared 43:17       42:4, 12 45:9      173:11 188:1       200:14 201:17      253:10              20 197:23
declares 39:15       46:12 47:9, 14    described           202:24 205:7      directions            201:16 208:20
decline 144:20       53:13 56:5, 25     190:15 198:10     dictating           201:22               220:13, 14, 19
deemed 201:13        57:21 58:11       describes 50:1      192:25 202:17     directive 8:1         223:5, 6, 11, 17
deeply 178:23        60:9 63:19         193:24 198:12,    died 101:4, 7       53:1, 3 92:5, 7      225:19 240:3
 202:14              65:10, 12, 15,    22                  102:8 103:13       131:23 171:16        243:3, 5 250:6,
defects 210:10      17 66:1, 9, 13,    describing          116:20, 25         209:16              9 258:11
defend 137:11       15, 23 71:9, 19     192:2 228:12       117:8, 11         directives           discretionary
 217:2               82:18 91:22       description         145:15 203:16      17:23 209:19         45:11, 12, 14,
defense 183:7        92:8 93:4, 13      141:23            dies 117:3         directly 67:1,       15 224:3
                     94:5 97:10, 13                        148:13 203:20     11 89:11


                                       Pa.App.0782
                            Strehlow and Associates/LEXITAS
                                      215-504-4622
          Case:
         Case   23-3166 Document:
              1:22-cv-00339-SPB    146 Chapman
                                Document
                                 Leigh   Page: 787 05/05/23
                                         301 Filed   Date Filed:
                                                             Page01/10/2024
                                                                   278 of 378                                12
                                             7/28/2022

 250:9, 11        districts 49:23,   due 9:8           effectively          127:6, 14, 16       252:5 256:24
discuss 136:4     24 192:8            250:17            106:18              128:20, 22          258:6 261:20,
discussed 41:6     193:20            duly 15:4         effectuate           129:3, 4, 12, 22   23
 133:4            Division 65:21,     125:17 141:4      203:9               130:13 132:18      ELECTIONS
discussing        22                  160:11           efficiently          133:7, 21           1:1 2:1 7:6, 7,
 187:10           Docket 5:6, 13,    Dunn 3:7           216:23              134:23 136:9,      8, 23 8:2, 10
discussion        21 151:3            8:24 125:11,     effort 18:8         13, 17 139:12,       16:6, 12, 13, 14,
 61:23 105:16      152:7, 8, 9       12, 16, 21         231:9              19 142:5, 20        19, 21, 22
 136:8 137:21      263:3              138:4            egg 122:16           143:4 144:7         17:11, 14, 17
 140:18 187:13    doctrine           Dunn's 141:20     eight 247:10         146:13, 17          18:4, 13, 19, 23
 188:7 228:6       240:15            duties 17:12      either 22:18         147:2, 5, 15, 24    20:22 22:2
discussions       document            83:25 208:24      36:21 78:7          148:13, 16          25:22 29:13
 68:14 74:18       19:25 20:5, 7      216:21 238:20,    97:25 122:6         152:24 153:17       32:22 37:24
 194:20            24:18 25:18       22 245:12, 18,     124:15 167:3        154:8 155:9         39:22, 24 40:4
disenfranchisin    27:11, 15         19 258:9           170:22 173:16       156:4, 14           44:7 45:5
g 203:10           28:20 30:13,      duty 12:5          175:19 177:8        159:14 161:22       48:6 49:8, 11
 229:16           14 31:13            16:23 45:16       183:4 188:16        162:12, 13, 25      50:1, 18 61:16,
disfavored         32:10 33:10,       53:5, 9 71:6      217:10              163:3, 7, 18       19 65:17, 20,
 244:19           24 42:6, 14         83:25 90:4       elected 246:1        165:3, 6, 15       21, 23 66:6, 11
Dismiss 83:10      55:1 58:20         115:11 186:17,   Election 6:5         166:12, 23          71:10 72:1, 19
Dismissal          70:4, 9 76:3      19 187:8           12:3 16:24          167:5 168:12,       78:23 79:10
 119:6             83:14 117:23       217:4 220:19      17:1, 7, 14, 16    13 169:3, 4, 6,      84:1, 2, 3, 23
dismissed 91:7    Documents           248:11            18:18, 25 19:9     24 170:7             87:24 88:13
 118:19, 21        41:21 68:20       duty-bound         20:17 21:5, 9,      172:6, 24           89:2, 15, 24
 236:8 238:21      81:19 89:1         70:22            17, 18, 21           173:14 177:11,      92:10 94:6, 7,
 254:2             108:19 152:19                        27:23 29:4         23 178:15, 19,      10, 13, 17
dismissing         157:10 158:5      <E>                32:24 33:5         21, 24 179:5         95:12, 18, 25
 235:18           doing 60:8, 9      earlier 23:1       37:4 39:5, 8        181:10, 12, 16      96:13 98:5
dispensing         75:13 88:4, 23     35:11 36:1        41:10, 14           182:10, 13, 15      110:5, 9 117:4
 14:3              91:12 109:12       37:3 48:11        43:23 44:6, 13,     183:25 186:16,      126:3, 4, 7, 12
dispute 93:12,     137:13 210:19      56:24 67:4       14, 21 45:19        25 187:5, 9          127:3, 12
14 149:21          226:3 231:9        110:15 115:16     46:11 47:3, 8       188:8 190:2,        140:6 141:18,
 150:3 186:19      235:25 238:10,     121:20 124:6,     49:2 50:16, 20,    17, 25 191:5,       24 142:2, 3
 193:11 197:18    11 252:3, 12       24 141:21         21, 23 53:16        16 192:4, 8, 23      143:4 145:9
 209:24 232:24    door 202:20         148:2 172:19      56:18 58:12         193:2, 18, 20       148:18 153:25
disputed           203:2              174:7 178:12      59:14 62:1, 5,      194:11 195:21       154:24 155:7
 11:17 18:3       DOS 173:24          197:11 198:21    7, 25 66:25          196:2, 3, 8         159:16, 17
disputes          double-check        219:22 238:23     68:6 71:17          197:19, 21          161:1, 5, 8, 12,
 194:10 196:5      114:24             247:21 249:10     72:11, 17, 22       198:5, 6           18 167:23
disputing         doubt 203:11        256:10            75:10, 18 76:9,     200:20 201:3,       169:20, 23
 64:13            Dougherty          early 23:5        22 77:1 78:18,      11, 12, 14           170:1, 6, 21
disqualify         98:22 211:22       65:19 88:13      19 79:11 80:5,       202:14, 25          175:3, 10
 163:19 233:17    Dougherty's         96:24 113:7      6 81:10, 17, 18      203:8, 16, 20,      176:7, 14
dissent 244:17     99:3, 5 210:16     148:24            83:20, 24 84:4,    23 204:21            177:14, 25
Dissenting         233:11            Earth 95:1        12, 17 85:1          205:11, 21          183:23 192:14
 5:13 227:17,     down-ballot        easily 12:19       86:24 87:3, 5,      206:16 207:1,       206:5, 17, 19,
19, 25             156:15, 25        echo 8:13         8 88:7 89:4, 9      7, 13 208:6, 20,    25 208:10
distinction        177:7, 15         educational        90:4 91:11         25 210:9, 11         209:7, 8, 12, 13,
 218:10, 11       Downington          65:4              94:9 95:23          211:11, 19         20 210:5
distinguishes      256:9             effect 8:4         97:12 101:19,       213:14, 21, 23      214:3 215:14,
 233:23           dozen 104:20        51:25 53:8       20, 22, 23           214:5, 6           22 216:4, 22
distribute        Dr 97:24            176:11 185:19     102:4, 8, 13, 17    216:19 217:10       217:25 218:16,
 104:15            119:10, 11         211:25 213:25     104:18 110:3,       220:20 233:15,     21 221:2
district 62:17    drafted 20:8        229:19, 20       5, 20, 25 111:9,    17, 20, 25           229:22 232:14
 83:12, 13        drastic 248:23      234:12 235:3     11 116:20, 25        234:17, 20          238:5 261:8
 103:7 104:5      drill 23:13         245:5 253:15      117:2, 3, 14        235:2 236:1        elector 20:21
 145:18, 19       drop 165:8          254:12 259:11     121:19 122:7,       241:3, 4 243:9      43:11
 151:2 152:9      dropped 109:9      effective 46:22   9 124:7, 16          245:12 248:10,     electors 76:13
 192:4            drops 129:2         214:1             126:5, 15, 16      20 250:25            98:16


                                     Pa.App.0783
                          Strehlow and Associates/LEXITAS
                                    215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 788 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    279 of 378                               13
                                                7/28/2022

electronic           251:24              43:18 175:18     6, 18 240:12        145:5 162:20       expand 238:12
 88:24              ended 82:4           191:13 230:9      243:11 245:18      166:8 188:11        249:16
electronically      enforce 7:25        envelope's         250:9 252:1        198:25 201:5       expanding
 89:7                11:23, 24           165:17            261:1              253:11 254:9        249:13
elements             187:17, 21         equally 205:16    EXAMINATIO         excused 125:9       expect 17:25
 209:22 228:4,       209:15, 19, 20     equipment         N 16:1 63:15,       140:14 160:4        106:22 107:6
5, 11                232:9               126:20, 22       16 93:18            184:9               249:15
elicit 154:20       enforced            equitable          109:15 111:23     executed 43:20      expectation
elicited 208:2       234:25              180:6 183:1       125:19 141:6      executive            195:3, 21
elicits 15:18       engaging 94:19      equity 180:5       157:13 160:13      243:7, 8            196:8, 10
eligibility         enter 89:10         error 23:25        174:7 181:7       exercise 188:3,      197:22
 203:23              129:20, 22          80:2 104:10      examine 63:8       5 192:25            expectations
eligible 39:16       144:3 244:9         114:21, 24       examined            193:12 233:19       206:8
 196:11             entered 89:15        115:1 116:16      62:13              234:17 235:15      expedited
E-mail 4:13,         119:1 131:17        197:13           examining           250:11 261:18       257:1
14, 15, 16, 19       132:6 134:12       errors 79:19       190:9             exercised           expeditiously
 5:17 25:6, 9,       136:3 190:12        114:18 189:6     example 15:10       250:10              195:9
12, 21, 22 26:6,     236:11 237:5        208:13            49:22, 24         exercising          experience
8, 11 28:11, 16      248:25 254:6       Esquire 1:1        56:17 66:19        238:17 250:7        74:1 116:6, 7
 29:1, 9, 17, 22,   entire 18:17         2:1               69:16 95:10,      Exhibit 19:24        179:4 181:9,
25 30:8, 18          31:7 124:14        essence 54:16     11 103:23           20:1, 23 24:17,    11 249:23
 31:5, 7, 8, 17,    entirely 66:3       essentially        156:7, 24         19 25:4 26:5        expert 61:25
23 32:4 33:8,        247:6, 8            19:10 53:7        161:19, 25         27:10, 12           62:3, 4, 8 63:6
14 34:3, 4, 5,      entities 16:20       81:14 227:20      163:7, 22          28:18, 21           66:17 73:3
10, 18, 22, 25      entitled 249:9       235:17 258:14     164:4, 5, 18       30:13, 15           74:7 75:16
 35:5, 6 48:3       entity 16:20        establish 212:1    169:9 178:3        31:12, 14 32:9,    expertise 62:1
 52:10, 13, 15,      70:22 71:6         established        189:1, 9          11 33:7, 11, 23,    explain 20:12,
25 54:10, 23        enumerated           102:20 213:18     197:15 201:25     25 37:8, 11         13 21:5 113:3,
 55:13, 16, 20,      76:12               224:24            202:18 203:15      41:5, 6, 15, 17    16 126:11
21 56:1, 4, 21      Envelope 4:2        events 25:24       204:16 206:2       42:1, 3, 7, 10,     145:1
 57:9 112:25         20:8, 9, 10, 11,    26:1, 2, 24       207:2 230:20      15, 20, 24 45:4     explaining
 172:23, 24         15, 16, 17, 19,     eventually         237:16 245:23,     48:1 52:12          163:11
 173:4, 22          20, 24 21:25         235:7            24 247:7            54:11, 22 55:2,    explanation
 174:1, 22           22:4, 7, 10        everybody         examples           5, 9, 16 56:19       103:22
 194:23 221:25       37:14, 21, 23       11:7 242:10       203:14             57:9, 11, 12, 18   explore 51:11
 222:1               43:4, 9, 15         246:18           excellent 236:5     58:13, 17, 18,     expressed
e-mail-in 26:5       44:3, 23 101:4,    everyone's        exception          21 59:8 83:6,        227:21
e-mailing           5, 25 102:15         106:2, 4          161:4 162:13      15 108:20           expressly
 25:14               114:8 117:16       EVIDENCE          exchange            117:20 118:23,      111:10
E-mails 4:12         129:18 130:3,       4:2 5:2 6:2       175:9             24, 25 131:22       extended
 172:21, 22         12 133:25            103:15 108:18    exchanged           151:3 157:11        21:21 129:9
embrace              135:6 144:1, 7      109:5 134:4,      151:9              172:22 173:6,       219:21
 223:11              145:10 148:5       10 157:12         exclude 130:7      12, 13 174:4        extension
Emergency            149:25 162:7        197:22 242:15     147:11 148:4,      175:5 232:22        122:4
 7:9 185:18          163:3, 7           evidentiary       6 164:18            257:24             extensive
 209:23 244:18       164:24 165:2,       7:18 10:14        254:18            exhibits 32:7        111:8 227:12
 245:9, 10, 11      5, 13, 14 166:4,     12:21, 22        excluded 36:2,      41:20 68:20         229:25 256:20
 246:9, 11          8, 9 167:13         exact 44:22       5, 8 60:5           108:12, 17, 21,    extent 44:10
 248:1 256:19        168:1 188:16,       69:9 96:20        208:13, 18        22, 23, 25           52:1 68:14
 257:2              24 189:5, 9          113:25 135:14     211:2 259:25       109:1, 2, 3         72:2 89:18
employed 16:8,       198:8, 17, 19       200:10 201:24    excludes            151:9, 13           116:2 135:19
10                   199:1, 13, 14,      212:16 246:16     253:12             157:6               168:5 212:1
employee            16, 17 200:3, 5,     254:10           excluding          exist 222:18        exterior
 61:20              9 201:5             exactly 58:3       162:18, 21, 22,   existence            225:23 226:4
enable 75:18         225:23 226:4        128:9 130:1      24 259:5, 22        254:14             external 164:2
enabled 230:25       230:15 231:11       131:6 167:10     exclusively        existing 196:1      extremely
enclosed 39:13      Envelopes            171:15 175:24     187:15 188:20     exists 7:24, 25      177:16 261:14
endeavor             5:10 20:13, 14      189:5 195:10     excuse 11:8         69:21, 23
                                         199:22 238:1,     15:6 137:18        192:22


                                        Pa.App.0784
                             Strehlow and Associates/LEXITAS
                                       215-504-4622
          Case:
         Case   23-3166 Document:
              1:22-cv-00339-SPB    146 Chapman
                                Document
                                 Leigh   Page: 789 05/05/23
                                         301 Filed   Date Filed:
                                                             Page01/10/2024
                                                                   280 of 378                           14
                                             7/28/2022

<F>                178:3, 22          240:4 248:13,     first 7:20 8:6     14 158:6          Forgive 161:3
face 197:13        232:25            19                  9:18 14:24         159:6, 24         162:24 182:14
facets 126:16     families           filed 8:20          18:14 23:13       fit 9:4 10:11      252:24
facing 214:4       162:17, 19         15:10 59:20        29:23 30:20        148:17           form 15:9
 231:3 235:3      fan 81:6, 8         66:8 67:3          32:9, 15 36:18,   five 107:12        21:13 37:12,
fact 13:6         far 126:8           68:12 71:15       19 38:9, 16         184:22 186:3     22 38:1, 20
 48:19 54:3        130:13 238:23      82:11, 14 85:3     43:7 47:24         217:7 228:5,      78:20 79:6, 7,
 74:3, 14, 25     fashion 126:22      86:23 90:24        57:3 63:22        11 256:18         8 104:14, 15
 77:19 105:9      favor 219:25        91:9 96:18         82:16 99:24       five-minute       format 78:25
 112:4 118:10     FAYETTE             97:1 119:7, 9,     105:19 109:17      184:24           forms 79:13
 130:21 151:18     1:1 2:1 5:17      20, 21 136:17       112:17 127:22     fixed 240:23       88:19
 157:22 162:6      7:7 8:10, 24       179:22 180:10,     151:7 165:5,      flipping 57:15    forth 212:21
 163:23 170:9      28:1 29:4, 14     11 219:3, 16       11 166:13          flood 195:5        246:5
 172:21 179:2      30:6 34:12, 14     220:2 229:25       174:4 185:1, 9,   Flyers 81:6       forths 252:15
 193:5 202:7,      35:4 48:11         248:15 251:9      12 219:11, 13,     focus 128:18      forthwith
10 204:8           50:12 51:18       files 88:24        20 222:24           130:9 142:18      76:10 77:3, 7,
 208:18 224:6      54:12 55:6        filing 7:22         224:12 248:17     focused 220:5     9 84:13
 225:19 227:19     60:16 83:15        87:4 97:5          249:20            fold 203:1        forward 47:22
 237:4             86:21, 22 89:6    filings 68:19      FISCHER 1:1        folks 71:22        56:2 136:10
facts 11:17        109:25 125:11,    fill 43:24          3:4, 8, 11 9:20    222:15            138:16 144:15
 51:10, 12 52:7   23 126:3, 13        169:3              14:2, 23 15:15    follow 12:5, 22    174:20 211:19
 77:19 85:15       127:3 129:14      filled 43:10,       16:2 20:4          18:1 120:22       212:2
 88:12 90:7        130:17, 21        16, 22 44:4         25:3 27:14         137:15 170:17    found 136:25
 91:23 139:17      131:3, 14          95:15 101:6        28:23 30:17        182:10, 12, 16    144:24 145:17
 177:2 213:19      132:2 138:4        143:7, 11          31:1, 2, 16        201:7 202:18      230:24 247:21,
 224:22 262:3      139:19, 23, 25     147:16 231:20      32:13 33:13        250:23 255:4,    23
factual 63:15      141:24 159:15     fills 147:23        34:2 36:15        9 257:18          foundation
 78:4 183:6        184:17 196:13     final 18:2, 5       44:9, 20 47:17    followed 74:13     102:20
factually          209:13 219:13      19:15 30:1         52:1 63:10        Following         four 28:1
 132:15            257:23             48:13, 24 54:5     64:12, 21          34:11, 17 35:6    34:20 35:12
failed 71:6       Fayette's           80:9 161:19        68:13 70:9, 13     41:1 137:9        40:25 195:2
 188:22 198:7      29:19 108:23       186:16 187:4       72:24 74:3, 21     173:24 174:2     four-to-three
 199:12 248:8,     109:3 219:22       190:18 205:21      76:3, 4 77:10      183:18 187:18     210:7
9 250:23          February            206:25 209:10      78:11 80:13        200:10 201:22    frame 106:6
failing 53:7       16:17              218:21 225:21      82:24 83:1         208:23           frankly 63:13
failure 8:17      federal 11:25       226:12 230:6       85:7, 14 87:11    follows 15:4       74:5 80:14
 211:1             62:16 82:4, 7,     234:14 235:6       92:15 93:9         125:17 141:4      152:4
fair 19:5 31:8    12 104:5            253:13, 18, 19,    96:6 97:2          160:11 192:4     fraud 98:24
 32:3, 6 33:18     187:2 189:17,     25 254:16           99:6 100:12        253:9 255:20      101:3, 16, 18
 44:1 46:14       25 205:12, 17       257:9 260:3        101:10 102:19,     256:6 258:13      103:8, 15, 25
 47:11 54:19,      208:7, 8 213:5,    261:7             23 105:3           follow-up          144:22, 24
20 59:5 72:4,     15 228:12          finality 260:23,    106:11, 16         34:18 57:13       145:2, 20
9 75:20 90:1       229:3 240:15      24                  107:6, 11, 17      153:8 183:14      148:8, 9
 99:4 127:2        257:18 259:23     finalize 79:25      108:15 111:21,    follow-ups         150:22 234:17
 261:20            260:7             finally 33:22      24 115:5, 7, 18     181:4            fraudulently
fairly 177:12     feel 11:10          187:8 208:6        116:8, 11         footnote           117:6, 10
faith 216:10       132:24 170:5      finance 89:9        117:25 120:2,      234:15           free 11:10
fall 246:2        fees 237:22, 24    find 105:19        24 123:6, 22       force 69:14        125:6 261:20
falls 259:20      felt 132:22         204:11 206:9       125:10, 20         71:1, 2 112:1,   freedom 188:9
false 201:6        136:13            fine 13:16          130:14, 16        8                 frequently
familiar 20:5     Fetterman           14:2 15:20         134:3, 8 135:3,   fore 13:15         61:9
 59:22 72:11       97:24              53:13 87:14       25 136:2           foregoing         freshly 257:8
 76:16, 17 92:9   fidelity 233:16     130:15 154:12      137:14, 18, 20,    263:2            Friday 21:21
 94:10, 12        fifth 127:16        185:9 211:22      22 140:11, 15,     foremost 63:6      124:8
 98:22 101:9      figure 203:24       212:6             20, 22 141:7,      forget 136:24     front 10:22
 102:23 103:4     file 76:14         finish 108:8       11, 12, 13          231:8             37:9 41:17
 127:3 130:24      87:2 112:18        182:20 205:22      150:18 151:7,     forgets 241:20     42:1 44:22
 156:1 171:11      180:9 236:22      finished 111:18    17 154:10, 22                         51:9 59:23
 172:15 177:6                        firm 68:4, 7        155:14 157:4,                        64:11 69:7, 9


                                     Pa.App.0785
                          Strehlow and Associates/LEXITAS
                                    215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 790 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    281 of 378                             15
                                              7/28/2022

 74:11 96:19        Generally          131:21 132:7,     16:3, 4 37:1, 2    23:1, 2, 7, 10,     247:23, 24
 118:24 173:2        17:2, 4 47:5     12 133:16          41:2 61:6         11, 16, 18, 21       248:7, 10
 236:18, 23, 24      54:8 68:6         136:10 138:16,    70:8 73:9          24:1, 5, 11, 12    handwriting
full 14:9            77:8 91:3        22 144:12, 15      98:11 99:24        26:21 31:24         38:17, 24
 83:19 213:8         102:24 109:16,    145:6 156:3       105:9 125:21       41:6, 9, 12, 14,   handwritten
fully 203:2         20, 22 127:11      166:19 185:8      141:8, 9, 13      15 42:3, 11, 18,     188:23 189:3
 257:3 258:25        206:24 207:1      193:24 228:13     150:21 160:15,    21 44:13 45:4,       230:8, 14
Fulton 92:9          261:4             229:14 231:9     16 167:20, 21      5 47:2, 7, 8, 12,   hanging 221:9
 238:16             General's          237:3 243:25      176:1, 22, 23     14 56:1 58:9,       Hangley 68:7
function 20:13       141:11            245:24 247:9      184:20 216:10     11 59:3, 7          happen 89:19
 94:17, 20          generate           251:10            234:23             60:8, 12 84:16      127:20 147:20
 203:15 204:6        165:19           goal 107:17       Gore 240:15         91:23, 24, 25       167:1 197:23
 249:17 250:1,      generated          113:15, 16       gotten 235:7        92:3 93:12          200:8
3                    166:10           goes 39:7         government          112:24, 25         happened
functions           generates          77:5 134:4, 9     245:17             114:13 132:8,       59:2 88:16
 72:20 250:12        165:20 166:9      157:19 165:23,   governmental       11 133:2             89:16 91:13
further 36:15       genie 225:17      24 192:4           16:20              142:7, 10           129:11 145:8
 39:10, 15          gent 73:2          229:15 230:3     Governor            153:24 168:13,      169:5 175:12
 78:10 94:21        gentleman          242:6             81:20 97:14,      15 172:9, 13         180:7 216:6
 120:2 121:14        85:25 134:17     going 13:1, 24    17, 24 179:21       174:11 175:25       239:16 249:25
 137:23 140:11       245:15            19:23 24:16       246:1              183:19, 21          253:17 254:3
 144:14 150:18      gentlemen          27:9 28:17       Governor's          187:17, 21         happening
 155:11 159:6,       82:23             29:10 32:7        243:18, 22         213:20 215:23       238:1 240:19,
11, 24 167:17       getting 46:5       44:9 47:8, 22    governs 191:7       246:23 247:1,      20 249:22, 24
 172:9 174:23        105:11 152:22     54:17, 18        grace 219:21       12, 14              happens 18:7
 176:17 182:19       242:21, 24        55:12 56:11,     Graham 2:1         guidances            41:1 114:20
 183:16 184:2,      ginned 216:9      14 57:22          Grant 83:11         135:17              127:6 136:19
4, 10 188:6         give 28:18         64:17 67:16,      244:17            guide 262:5          153:21 166:13
 191:1, 15           44:19 96:19      19 68:13, 21      granted            guided 155:4         191:16 195:20
 193:1 197:22        107:3 109:8       69:20 80:13       119:14 133:16     guides 190:13        242:3
 204:8 208:20        113:25 132:9      82:19 90:14       207:6 238:17      guy 241:8           hard 89:14
 209:1 244:24        151:22 152:7      99:8, 9, 12       256:19                                 134:6 204:11
 254:2               155:21 239:17     100:15 102:7,    granting 254:7     <H>                  212:24
future 171:17        248:23 249:19    10 103:19         grants 244:11      half 25:18          hardworking
 215:4 227:6         259:11            105:3 108:8      gratuitous          104:20 107:4,       215:5
 256:24             given 13:6, 13,    109:16, 20        99:19, 20         11, 16 237:7        Harrisburg 1:1
                    23 16:23           110:7, 8         great 133:16       hall 241:14         hate 230:8
<G>                  17:14 75:2        115:12, 18        198:11 238:12     hallmarks           head 126:15
g)(3 191:8           97:9 135:16       123:14 129:3,     240:24 241:10      220:2              Health 159:2
 197:12 198:24       205:19 227:21    4 132:14, 15,      251:13            hand 15:1           hear 11:3, 7
g)(4 191:17, 20      256:25           18 133:15         ground 93:11        19:23 24:16         13:10 64:19
game 15:22          gives 75:12        134:22 136:15     138:14             27:9 28:17          134:6 135:23
 80:11 238:24        83:21, 24         138:16 139:11    group 173:15        32:7 75:24          141:20 210:2
Gates 4:17, 19       84:17 111:13      151:23 152:18    gubernatorial       90:17 117:21        213:9 231:22,
 27:21 32:15        giving 37:6        153:11 160:6      97:19              125:14 137:10,     25 244:12
 33:5, 9 34:3, 9,    44:18 73:25       167:9 168:22     guess 9:5          11 141:1            heard 22:17
15, 19 35:5, 12      74:5 257:13       184:23 185:10     45:4 57:20         160:8               34:13 161:10
 48:20 56:6, 22     Glad 251:17        187:10 190:21,    63:8 74:1         handed 41:21         171:9 178:18
 57:4, 13, 22       go 9:3, 19        22 192:16          100:6 123:19       117:23 158:5        185:12 192:18
 175:1, 9            11:11 15:17       195:3 211:19      213:12 219:8      handful 194:24       194:9, 21, 22
gener 166:11         30:4 31:12        212:2 213:7       220:10 223:25     handily 156:23       202:3 203:14,
General 1:1          36:18, 19 37:8    216:18 218:23     226:17 229:24     handle 7:19         15 206:1
 10:8 15:16          41:23 54:15       219:11, 14        231:19 232:5       47:3 153:3          245:14 248:21
 21:16 29:15         61:22 63:8        222:19 225:6      235:24            handled 91:5         249:20, 21, 22,
 41:14 66:10         65:3 71:24        226:9 232:4,     guessing 231:8     handling            24 252:10
 85:1 133:15,        72:6, 21 78:9    11, 13 233:7      Guidance 4:6,       170:22              261:24
20 160:18            81:23 85:21       243:10 251:10    8, 11 11:23        hands 180:4, 7      hearing 7:8,
 179:11, 18, 21      96:1, 2 103:16   Good 7:2 8:9       17:13, 18, 19,     182:21 183:3       18 8:17 10:14
 201:13 234:20       126:21, 23        10:4, 6 14:17    21, 24, 25 18:9                         12:10, 21, 22


                                       Pa.App.0786
                            Strehlow and Associates/LEXITAS
                                      215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 791 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    282 of 378                            16
                                                7/28/2022

 108:16 179:9       93:18 96:22         hopefully         immaterial        included 15:9     indicating
 222:25 262:9       105:3, 7             107:21 152:20     170:16 231:18     29:18 36:12       21:25 23:8
hearings            106:11, 16           215:22            234:11            48:14 51:17       37:19 167:3
 232:13             107:6, 18           hoping 215:15     immediate          53:6 58:5        indicia 21:25
held 16:16          108:10 109:6        hour 107:4, 11,    196:4             60:3, 18         indistinguishabl
 48:17 66:1         111:18, 21          15, 16            immediately        131:12, 20       e 187:20
 105:16 140:18      115:16 120:2,       hours 56:12        112:18 166:15     159:9 167:11     individual
He'll 74:19        6 121:14              107:16            252:16            181:20 187:4      25:8 80:5
help 31:23          122:20 125:3,       house 49:24       impact 177:17      192:3, 16         81:13 86:6
 55:25 174:10      8, 10 133:13          98:4 103:12      impacted           221:25 223:21     87:23
helped 230:23       134:3, 15            110:12 156:19     49:20 104:11      226:14 236:13    individuals
helpful 69:7        135:3 137:18,        243:20           impediments        261:7             81:21 179:5
 193:23 225:1      22, 25 139:17        hundred            234:16           includes 17:6      206:8
 227:9 230:19       140:1, 9, 11, 15,    109:24           implication        18:21 19:5       influencing
 252:23            20, 22 150:18        hypothetical       200:2, 5          38:21 124:12      254:13
hey 132:18          151:2, 7, 11, 14,    103:10 116:19    implications       161:23 187:7     Information
 137:6             24 152:19             239:18            133:11           including 30:6     4:9 29:16
Hi 125:22           154:22 155:12,      hypothetically    implies 17:25      31:9 33:20        35:7 54:6
high 65:4, 15      13 157:5              96:12 103:10,     44:23             46:7 53:18, 20    102:1 103:6
hint 112:17         159:6, 24           11, 14, 20        importance         62:11 68:20       129:20, 22
 252:16             160:5 167:17        hypotheticals      148:19 261:16     83:25 114:3       135:17 144:3
hockey 80:11        176:17 179:25        103:16 234:5     important          126:16 162:23     165:19, 20
 81:4, 7 238:22,    180:3 182:19                           13:4 14:13        172:17 203:5      166:3, 10
24                  183:12 184:3,       <I>                16:25 58:6        204:9 218:23      167:2 168:22
hold 71:25         4, 8, 13, 16, 17     idea 223:20        67:5, 7, 8        252:18            173:18 175:13
 72:6 138:14        186:5, 8, 9, 12,     234:24            92:22 102:6,     inclusion          206:11
holding 186:16     15 187:3             ideal 59:15       16 175:14          128:5 188:22     informed
HOLLAND             191:6, 18           identical          215:8 251:25     incomplete         188:4 200:7
 15:1, 5 125:14,    193:4, 23            198:15            262:4             53:24 90:21      initially
18 141:1, 5         198:10 201:18       IDENTIFICAT       improper           110:16, 23        113:11 169:20
 160:8, 12          203:6 204:10        ION 4:2 5:2        223:16            181:13 259:4     injunction
home 71:24          205:9, 14, 15        6:2 20:2         inaccurate        inconsistencies    136:3 190:7,
 72:21              207:25 209:4,        24:20 27:13       244:4             257:10           10 223:1
HON 1:1            6, 8 210:15           28:22 30:16      inadvertent       inconsistent       224:21 253:6
honest 182:25       211:17 212:10,       31:15 32:12       211:1 231:10      234:15 240:9      254:8
honestly           11 224:12             33:12 34:1       inadvertently     incorporated      injunctive
 216:22             225:2 226:1, 9       42:8, 16 55:3     208:14 231:8,     251:12            198:3 205:10
Honor 7:15,         235:6 236:3,         58:22 83:16      10                incorrect          209:14 260:11,
18 9:3, 12         10, 12, 14            108:24 157:12    inapplicable       22:16, 23        20
 10:4, 11 11:12,    237:5, 14           identified         196:22            23:24 60:3, 18   inner 20:19
16 12:18, 20        240:17 244:13        150:9            inappropriate      79:24 132:15      199:12, 16
 13:16, 18, 22      246:15, 18          identifies         244:1             153:18 169:11,    200:9
 14:2, 6, 17, 24    247:21 248:4         20:16 114:17,    inaudible         15 214:18         input 89:6
 15:7, 15, 20       251:4, 17, 21,      21                 207:1             230:9 231:16     inputted 89:17,
 24:22 36:16,      23 253:25            identify          include 35:15      232:12 244:4     19
19 44:9 47:17       254:6, 17            114:23 116:15     90:20 112:1, 8    247:13, 14       inquiry 64:9
 51:13 52:8         256:12 257:4         189:22 200:24     120:18 121:3     incorrectly        234:6
 60:25 62:23        260:9, 16           ignore 155:8       128:10 130:17     60:10 152:25     insert 234:16
 63:10, 22          261:9                170:6             135:7 149:2       153:3, 12        inserted 20:20
 64:12, 23 65:1    Honorable            III 2:1 8:10       151:16 159:14     232:2, 8          98:18 100:22
 70:2 72:5, 16,     239:6                61:13 176:24      167:12 171:23     233:23 234:3      103:20
24 73:1, 3, 5      Honor's 10:11        illuminative       174:16 186:20    independent       inserts 20:10,
 74:10, 12 75:3,    190:15, 23           199:8             188:12, 23        50:17 204:9      18
23 78:11            212:12 224:15       illustrative       196:19 204:16     208:10 258:5     inside 20:11
 80:13, 25          225:20 244:5         237:18            226:7 239:15      259:6, 15        instance 70:16
 82:14 83:12        252:19 254:15,      imagine 226:9      240:5 246:17     indicate 40:17,    127:22 146:2
 85:9, 18, 23      24                    241:19 259:13     252:4 258:2      19 164:24          148:3 149:20
 86:15 87:16       hope 76:21                              260:14           indicated          153:16, 20
 91:5 92:15         113:17                                                   66:10 215:20      203:18


                                       Pa.App.0787
                            Strehlow and Associates/LEXITAS
                                      215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 792 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    283 of 378                                  17
                                              7/28/2022

instances           208:6 222:25       80:15, 16, 18     227:5 228:25        23 24:24              221:10, 17, 19,
 146:1, 15          227:6 233:16       84:4 86:5, 7      233:16 234:17        36:17, 20, 23       23 222:2, 6, 9,
 202:16             234:20             90:13 93:14       253:21 256:19        44:16 47:20         16, 22 223:19,
instruct 17:4      interpreting        100:20 118:13                          60:24 64:17,        23 224:9
instruction         44:14 211:24       169:9 174:19      <J>                 22, 25 66:20          226:22, 25
 211:1             interrupt           176:3 187:4, 7,   Jack 35:5            70:3 73:11, 15,      227:4, 8, 11, 18
instructions        66:18             14 188:12          jackpurcell146      20, 22, 24 74:6,      229:6 230:5,
 38:21 59:8        interruption        189:7, 14         @gmail 35:1         24 77:12, 18         11, 13, 17
 232:17, 23, 24,    11:8               205:18 208:19     Jackson 196:4        78:2, 9, 13          231:5, 23
25 233:2           Intervenors         210:14 212:25     JACOB 1:1            80:17, 20, 24        233:4 234:13
instructive         119:10, 11, 13,    213:1, 11          10:4 160:17         81:2 85:8, 13,       235:17, 20, 22
 204:2 224:14      20                  216:3 217:10,      186:13             19, 21 86:1, 4,       236:2 239:17,
instrumental       intro 43:8         13 225:10          Jacquelyn           9, 16 87:18          20 241:17, 22,
 101:6             introduce 9:13      232:14 235:13,     30:18, 21           92:20, 25 93:3,     25 242:9, 12,
insufficient       introduced         18 236:24          January             7, 20 99:9, 12,      14, 18, 23
 44:24 135:8        37:3               237:1 246:8,       136:25 213:14      15 100:15             243:2 244:21
integrity          invalidated        24 251:5, 14       JEFF 1:1             101:13 102:6         245:3 247:25
 148:16, 18         200:1 203:3        253:22 256:21      9:13 37:4           103:1 105:11,        248:3, 5
intend 9:18        investigate         257:8 258:3       job 235:15          14, 18, 23            251:18, 22
 13:2 15:17         163:21 245:22      260:24            jobs 155:1           106:3, 13            252:21 253:1,
 235:4              249:16            issued 17:18       join 236:7           107:5, 9, 14, 19,   3, 15 254:1, 11,
intended           investigated        23:1, 2, 7, 10,    247:6              22, 25 108:5, 8,     21 255:11, 14,
 154:15 226:16,     163:25            11, 16 41:7, 15    joined 119:21       16 109:8, 11,        24 256:3
24 230:18          investigation       42:3, 11 46:19    Joint 4:2           13 111:19, 22         258:10, 21, 25
 232:15, 16         145:22 164:4,      52:6 58:11, 12,    19:24 20:1, 23      115:3, 6, 20, 24     259:10 260:3,
intends 35:8       10                 24 59:17 60:9       24:16, 19           116:10 120:4,       21 261:10
 106:20            invoking            91:24 92:5, 7      27:10, 12          11 123:7, 11,        Judge 1:1
intent 199:23       239:7 240:15       93:13 128:16       28:17, 21, 24      20, 23 125:5,         4:19 5:2 7:2
 231:12            involve 27:3        133:9 171:10       30:13, 15          13 134:6              9:10, 23 10:6,
intention           50:2 172:5         172:2, 8           31:12, 14 32:8,     135:13 137:19       18 11:10 12:9,
 106:17            involved 64:1       215:18 247:1,     11 33:7, 11, 22,     138:1 140:10,       13, 16, 24
intentionally       66:9 67:9, 11,    13, 14 256:19      25 37:11            12, 21, 25            13:20, 23 14:4,
 135:11            25 74:18 82:6,     issues 7:16, 17     41:15, 17 42:1,     151:20 152:3,       7, 11, 19 15:13,
interaction        10 104:6            8:22 9:4, 9       3, 7, 10, 15, 20,   5, 11 154:13         23 24:24
 30:21              117:20 118:2       10:12 11:14,      24 45:4 48:1         157:9 159:25         36:17, 20, 23
interest 185:6      178:23 181:11     20, 22 12:2, 6,     52:12 54:11,        160:7 168:8          39:22, 24 40:4
interesting         213:14 261:25     18 13:3, 15        22 55:2, 5, 9,       176:18 179:3,        44:16 47:20
 262:4             involves            84:16 86:11       15 56:19 57:9,      16, 19 180:1,         60:24 64:17,
interfering         117:21 169:18,     92:13 95:16       11, 12, 17          12, 16, 19, 22,      22, 25 66:20
 252:6             19                  116:5 161:21       58:13, 17, 18,     25 182:20             70:3 73:11, 15,
interim 171:16     involving 62:5      170:22 185:3,     21 59:7              183:2, 5, 11, 13    20, 22, 24 74:6,
interpret           104:23 116:20     18 186:23           108:20, 24          184:5, 10, 14,      24 77:12, 18
 154:25 203:8      ironically          210:3 215:23       117:20 118:25      18, 21, 23            78:2, 9, 13
 212:1 216:20       213:12             251:13 261:3,      172:22 173:6,       185:13, 22           80:17, 20, 24
 234:1             irregularities     5, 14              11, 13 174:4         186:2, 6, 10         81:2 85:8, 13,
interpretation      162:6 188:19      issuing 59:3        175:5 232:22        189:3 190:5,        19, 21 86:1, 4,
 8:3 45:19          198:9 203:10      item 26:24         Jonathan 3:3        20 193:14            9, 16 87:18
 46:6 50:15, 17,    226:5             items 44:24         14:24 15:3          196:25 197:7         92:10, 20, 25
19, 21 86:11       irregularity       it'll 107:11        173:24 174:10       204:14 205:25        93:3, 7, 20
 120:23 182:10      169:18 203:13     its 18:9 31:10      175:15              207:9, 15, 19        94:24 95:1
 202:23 227:23      204:12             33:20 36:2        Jones 103:11,        209:3 210:12,        99:9, 12, 15
 229:8 235:9       irrelevant          51:7, 19 58:24    12, 13              18, 22 211:6,         100:15 101:13
 255:15 260:5       115:13 193:8       59:4 62:19        JUBELIRER           10, 12, 21            102:6 103:1
interpretations    issuance 59:3       63:20 118:13       1:1 4:23 5:4        212:5, 13, 15        105:11, 14, 18,
 202:2 261:15       247:7              130:18 133:9,      7:2 9:10, 23        214:10, 14, 20      23 106:3, 13
interpretative     issue 9:19         10 136:3, 7         10:6, 18 11:10      215:3 216:17         107:5, 9, 14, 19,
 199:8              17:23 41:12        151:6 152:2        12:9, 13, 16, 24    217:16, 21          22, 25 108:5, 8,
interpreted         51:15, 23          176:8, 14          13:20, 23 14:4,     218:1, 4, 8         16 109:8, 11,
 45:24 46:2         63:14 77:19        200:20 204:13     7, 11, 19 15:13,     220:6, 21           13 111:19, 22


                                      Pa.App.0788
                           Strehlow and Associates/LEXITAS
                                     215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 793 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    284 of 378                                    18
                                                 7/28/2022

 115:3, 6, 20, 24   24 256:3             12 122:22          185:9, 19            237:19 239:19       156:3, 13, 14,
 116:10 120:4,       258:10, 21, 25       131:17 133:2,     228:18               240:7 241:21,      18 159:13
11 123:7, 9, 11,     259:10 260:3,       9 136:3           KING 2:1             24 242:2, 11,        162:10 164:14
20, 23 125:5,       21 261:10             139:20 140:3      3:6, 9, 13, 17      13, 17, 21, 24       165:23 166:1
13 134:6            Judges 256:10         148:24 149:1,     8:9 13:16            243:6 245:2, 6      169:5, 12
 135:13 137:19      Judgment 7:9         8 167:11           14:16 15:6, 18,      248:2, 4, 6         176:9, 12
 138:1 140:10,       83:11 187:12         171:10, 21       20, 25 60:25          251:20              177:7, 19, 22
12, 21, 25           210:23 211:5         172:22, 23        61:4, 10, 12, 13    King's 120:21        178:20 179:22
 151:2, 20           216:15 217:14        173:3 174:2,      62:23 63:21          159:8 236:22        182:4, 25
 152:3, 5, 9, 11     220:5 233:20,       21 175:2, 8        64:15, 23 65:1,      251:3, 5            183:2 192:17
 154:13 157:9       25 235:12             176:9, 13, 15    2 68:18, 22          knew 55:11           194:12 200:4
 159:25 160:7        250:15 253:13,       181:20 182:1,     70:2, 7, 11, 14      57:20 215:17        201:18 203:17,
 168:8 176:18       25 254:16            2, 3, 6, 7         73:1, 14, 19, 21,   knots 234:5, 10     24, 25 204:21,
 179:3, 16, 19       255:5, 8, 15, 16,    187:16 188:11    23 74:10, 21         know 7:16           25 206:24
 180:1, 12, 16,     18 256:9              189:11 190:15     75:3, 4, 23, 25      8:25 9:21           213:6, 7, 20, 22
19, 22, 25          Judgments             194:22, 23, 25    76:2, 5 77:17,       10:18 14:12         214:9, 15, 18,
 182:20 183:2,       220:9 259:15         195:1 198:5,     22, 24 78:6, 14,      17:4, 14 18:6,     24 215:7, 22
5, 11, 13 184:5,    judicata             10 203:7          16 80:15, 19,        18 22:18             216:12, 15, 21
10, 14, 18, 21,      239:13               204:11 205:14    22, 25 81:3, 7,       25:25 26:1, 16      217:20 218:12,
23 185:13, 22       Judicial 1:1          209:20 214:2,    9 82:13, 15, 22,      28:19 30:20        17 219:12, 23
 186:2, 6, 10        94:21 95:19,        16 218:19         25 83:1, 3, 6,        31:18 35:1          220:9 221:8
 189:3 190:5,       21 142:13, 14         219:2 222:21,    17 85:9, 18, 20,      42:25 45:22         222:13 223:4
20 193:14            151:14 152:5,       25 224:11         22 86:3, 8, 14,       48:12 49:25         224:4 225:10
 196:25 197:7       6, 20 175:25          227:15 235:2     17, 18 87:16,         53:2, 3, 5, 16,     228:5 229:9,
 204:14 205:25       214:8, 23            260:6, 10        20 88:1 91:5,        22 54:21 57:1       17 230:7
 207:9, 15, 19       237:9               jurisdiction      6 92:18, 21           58:8 59:13          231:15, 17
 209:3 210:12,      Judith 263:4, 8       8:16 142:6        93:2, 5, 17, 21,     60:14 61:14,        232:1, 6, 8
18, 22 211:6,       July 1:1 4:19         215:12 219:6     22 96:7, 8, 22,      18, 24 63:2          234:6, 7, 9, 11
10, 12, 21           32:18 33:15          256:19           25 97:4, 7            64:13 66:22,        236:1 238:4
 212:5, 13, 15,      34:8, 23 48:12      jurists 62:25      99:8, 11, 14, 18,   23, 24 69:8, 10,     239:3, 22
20, 22 213:13        57:2, 9, 12, 15,    Justice 5:13      22 100:14, 24        20, 22 73:8, 21      242:15 244:18,
 214:10, 14, 20     18 96:24 97:4,        98:22 99:5        101:12, 14           75:8, 15, 18       25 245:8
 215:3 216:17       6, 8 113:7            210:16 211:8,     102:22, 25           79:2, 9, 16, 22,    248:12 251:4,
 217:16, 21          118:5 175:11        17, 22 213:6       103:9 105:5, 7,     24 80:7 81:12,      9, 23 253:1, 10
 218:1, 4, 8         181:17, 22           227:16 228:4,    13, 21, 25           14, 16, 21 82:8,     254:25
 220:6, 21           195:2 219:9,        9, 24 229:12       107:10, 21, 24      23 86:12 87:4       knowledge
 221:10, 17, 19,    18, 19, 20, 23        230:2 232:18      108:7, 10            88:10, 21 90:4      95:22 103:3
23 222:2, 6, 9,      243:16 263:3         233:9, 11         109:6, 10, 12,       91:21 93:23         110:17 115:23,
16, 22 223:19,      jump 7:14             234:6, 14        14 111:16             94:19 95:24        24 116:1
23 224:9            June 23:5             244:13, 17        115:12, 23           96:9 98:18         knowledgeable
 226:22, 25          25:22 26:5, 23       256:15, 23        118:1, 8, 18         99:1, 16 100:6,     63:5 261:14
 227:4, 8, 11, 18    27:2, 18 28:11,     Justices           121:16 123:3,       7 101:15, 19,       known 61:8
 229:6 230:5,       12, 15 29:7           210:16 211:8     9, 13, 24, 25        25 102:7, 10        knows 62:24
11, 13, 17           30:11 31:5, 21                         125:3 130:15         104:9, 18, 19       64:6, 7 73:3,
 231:5, 23           33:4 34:18, 19      <K>                133:13 134:14        105:1, 2 107:1,    21 74:11
 233:4 234:13        46:9, 16, 23        Kathy 83:9         135:10 137:25       3 109:19             92:22 94:24
 235:17, 20, 22      48:3, 8, 12, 16,    Kauffman           138:3 139:16,        112:22, 24, 25      95:1 96:7
 236:2 237:19       17, 22, 23 51:3,      4:18 32:20       18, 25 140:2, 8       113:1, 10, 18       100:14 102:21
 239:17, 20         4, 6, 14, 15, 18,     33:2 57:3         151:11 155:13,       114:5, 22           212:19 224:17
 241:17, 22, 25     19, 24 52:6, 15,     Kauffman's        14, 18 157:3          120:22 121:1,       232:20 236:22
 242:9, 12, 14,     22 53:25              57:17             176:19, 21, 24      6, 22, 23            248:13
18, 23 243:2         54:10, 23 55:6,     keep 186:6         179:20 180:3,        132:20, 24         Kuznik 4:14
 244:21 245:3       9, 11, 21 56:6        232:6 251:24     15, 18, 20, 24        133:3 135:21        29:2, 3, 4, 9, 10
 247:25 248:3,       88:8, 10, 13        keeps 231:14       181:1 182:24         136:13, 19, 22,     34:3 35:1
5 250:17             90:8 96:15, 24      key 230:1          183:4, 9, 12        24 137:4             55:6 126:15
 251:18, 22          113:7, 22, 24       kind 9:5           184:3, 17            138:11, 14, 15,
 252:21 253:1,       114:5 118:14,        44:16 72:10       185:6, 21           24 139:13, 25       <L>
3, 15 254:1, 11,    15 119:3, 19          116:2 136:14,     186:1, 8             141:9 151:13       L.L.P 2:1
21 255:11, 14,       120:1 121:2,        17 138:14          222:13 236:4         155:19, 22


                                        Pa.App.0789
                             Strehlow and Associates/LEXITAS
                                       215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 794 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    285 of 378                             19
                                              7/28/2022

lack 175:25         231:20, 22, 25    leadership         Leinbach 3:14      litigation 27:3     219:25 245:8
 176:4 195:11       232:20 233:8       66:6               4:16 9:15          49:21 66:8, 10,    252:18
 220:3 226:3       large 76:13        leading 24:10,      31:18, 23 32:4    11, 12, 15, 20     lots 243:16
lacked 167:3       largesse 240:14    12                  55:17 56:8         82:10 118:2       louder 252:22
 225:22            lastly 111:6       learned 18:1        160:6, 10, 15      130:24 131:2,     lunch 107:23
lacking 188:16      219:17             151:12             167:20 181:5      4 195:5            Lycoming
 191:13 200:8      late 7:22          leave 53:14         183:15 221:16     little 12:14        62:12
 211:2              16:15              128:7 138:19      Leinbach's          13:12 18:12
lacks 189:9        latitude            229:24             56:1, 4, 20        23:13 35:25       <M>
laid 15:16          115:21 133:16     Leavitt 92:10      Letter 4:17,        38:12 74:8        M.D 1:1
 253:8             Law 5:21           led 26:2           18 27:17, 18,       79:1 117:19        263:3
LANCASTER           11:24, 25 53:5,    145:21            22, 24, 25 28:3,    124:5 138:15      ma'am 15:25
 1:1 5:5 7:7       15, 24 73:13       leeway 170:13      4, 12 32:14, 20     178:22 216:14      73:14, 19, 23
 9:14, 17 28:2      75:16 83:8        left 38:8           33:4 34:19, 20     228:3 247:22       77:22 80:19
 30:6, 23 31:4,     85:15, 24          203:25 213:5       35:6, 12 48:18,    252:22 259:1       86:17 93:5
9 33:19 37:5        87:14 94:9         222:15, 23        20 56:6, 10, 14,   live 76:20, 21      99:14 107:21
 48:11 50:12        95:9 101:23        228:10, 22        16, 17, 21, 24      95:13 103:12       108:7 123:13
 51:6, 13 54:12     115:16 116:5       239:23             57:23 96:24       local 91:20         180:15 181:1
 55:8 57:7, 21      135:21 136:13     legal 10:12         121:2 174:13       156:8 177:9        239:19
 60:16 86:22        137:8, 9 138:7     35:9 44:10, 18     175:1, 8          logic 126:24       magic 225:13
 89:5 101:1         146:7 147:9        47:18 52:2        lettering 38:7     Lohr 8:24          Magisterial
 102:14 139:23      168:7, 10          63:13, 14, 15,    letting 165:23     long 16:8, 13,      151:2 152:9
 140:23 141:14,     170:14, 17        20 65:20            166:1             16 71:11 77:8      mail 17:8
18, 25 142:22       187:2 189:7,       72:25 74:8, 22,   level 17:1          79:8 80:4          129:2 145:3, 4,
 144:7 146:12      16, 17, 25         23, 25 77:11,      lie 250:12, 13      99:3 106:7, 14    5 165:8
 147:11 148:15,     193:5, 6          13, 14 80:17       Lieutenant          107:7 142:14       221:12 241:7,
23 150:11           194:21 205:12      86:10, 13          97:17, 24          251:24 261:11     8
 152:22 153:3,      208:7, 17          87:12 92:16       life 227:5         longer 39:15       mailed 102:12
21 154:9            211:23 215:6       107:20 115:19     lifted 214:1        61:21 105:19      Mail-in 4:9
 155:6, 20          224:23 227:22      116:2, 4          light 23:11         176:5 192:16       5:12 6:4
 157:11 159:15      239:14, 22         128:11 131:5       28:5 53:24         237:12             18:22 19:23
 184:15 202:4       240:2, 6 255:3     134:16 135:21      213:4 224:16      look 29:22          21:6, 8, 22
 209:7, 12          256:17, 22         138:19 149:15     likelihood          56:2 79:14         38:3 42:21
 219:13, 17, 19     258:1, 13, 15      154:11, 16, 19,    190:9 224:20       82:11, 17, 19      43:12, 24 45:6
 222:14 225:10      259:16, 23        20 184:25           227:12             83:7, 18 95:12     47:4 48:15
 226:18 230:20      260:7, 14          185:2, 16, 18     liken 95:6          118:23 131:21,     59:10 60:2, 17
 233:1              261:4, 16          189:16 190:14     likewise 82:4      22 132:15           84:25 100:3
Lancaster's         262:2              220:22 225:3      limit 46:10         145:13 146:18,     101:17 102:11
 57:8 108:22       lawful 208:18       253:21 261:13      87:2 107:3        19, 22 147:8        116:24 124:11,
 109:2              254:8             legality 100:22    limitations         157:1 158:1,      18 126:17, 18
language           lawfully           legally 45:14,      14:12 248:8       10 164:1, 8         128:18 130:10
 43:22 44:2, 6      186:18, 20, 22    18 53:9, 21        limited 92:13,      166:17, 18         133:22, 23
 45:2 54:8          187:1 188:7        98:17 101:21      21 106:24           169:10, 21         136:23 142:18,
 58:6 64:13         252:4 253:23       149:18 187:20      211:9              174:20 211:17     20 146:13, 20
 67:4, 5, 7 77:5    258:7 259:5, 7,   legislative        limits 87:4, 6      212:24 214:23      147:6 157:16
 114:7, 12         9                   199:22 231:12      94:1 243:3         220:6, 12          158:13 159:19
 146:7 153:23      laws 137:12        legislature        line 21:2 25:9      237:16 244:17      162:3, 11
 154:7, 18          217:3              81:20 230:18       38:4, 9 40:12      257:23             164:8, 23
 155:9 170:7,      lawsuit 96:17,      232:15 238:14,     82:20 103:16      looked 70:7         165:22 167:23
17 176:1, 4        18 112:18          18 243:8            134:8              145:13 227:25      168:18, 24
 182:13, 15        lawsuits           legitimate         list 25:18         looking 20:23       169:25 172:10
 193:25 198:15      136:17             79:15, 17          26:24 81:16        39:2 79:16, 18     183:22 188:17
 199:15, 24        lawyer 61:24        139:1              148:23             86:10 103:7        191:7, 23
 201:15, 19, 20,    63:19 134:18      Lehigh 207:10      listed 25:8         118:12 180:13      197:10 198:15
23 205:6            180:20             214:8             listen 72:11        218:2 255:22       199:11 200:24
 210:8 212:6       lawyers 63:1       LEIGH 1:1           73:1 252:21       looks 146:16        205:7 210:10
 217:19, 21         85:3               7:4 119:9         lists 23:20        lot 66:4 74:12      224:7 242:5, 6
 226:8 230:1       layman's 46:5       239:5, 6          literally 65:25     88:23, 24         main 194:13
                    53:11 121:22                         litigant 194:9      113:5 114:15


                                      Pa.App.0790
                           Strehlow and Associates/LEXITAS
                                     215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 795 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    286 of 378                          20
                                              7/28/2022

maintain            14:24 15:3         82:6 92:14       meanings          memory             military
 112:14             16:3 25:4          204:1             234:8             132:14             124:14 162:14,
Maintained          37:1 44:11        Maurer 223:13     means 18:17       mention            17, 18
 5:16 233:15        60:22 61:13       McCandless         77:15 94:18       171:25 210:2      Miller 158:12,
majority            63:1, 6, 7, 11,    2:1               95:2 120:19       241:2 257:12      19 159:1
 32:22 79:9        22 64:14 65:3      McCormick          138:8 163:22     mentioned          mind 75:23
 89:10 210:7        68:16 73:8, 15     4:23 5:4          176:5, 6          17:18 18:13        137:8 254:12
 212:7, 25          75:5 76:16         11:16 27:6        182:16 200:19     20:12 23:16        255:15 258:10
 256:8              78:17 83:4         46:16 58:25       203:9 204:24      27:2 35:11        mindful 106:4
making 77:13        86:19 87:12        91:2 102:3, 5     215:21 226:10     91:23 110:23      ministerial
 94:20 95:7         93:23 109:15       110:7 118:13,     232:7, 8 239:7    122:21 148:7       12:5 17:12
 98:19 126:20,      111:16, 25        19 119:7, 8        251:14 255:4      151:10 168:22      19:11 49:5
21 135:19           116:12 121:17      121:6 130:25     meant 161:6        197:11 198:21      196:9 220:19
 142:4              123:6, 8 124:1     131:8 134:21      162:24 163:9,     204:10 207:3,      245:18 249:17
man 74:19           128:19 129:8       150:11 170:9,    21 189:13         22 213:7            250:1
management          172:19 173:4,     20, 25 171:22      224:18 226:10     220:7             minor 203:10,
 126:2 161:18      25 174:8, 22,       178:23 179:6      227:3            mentions 194:3     12 204:12
mandamus           24 175:9, 15        187:19 194:15,   mechanics         merely 189:21,      234:11
 70:19, 20 71:5,    192:18 194:9,     16 204:5           45:13            22 225:6           minute 83:4
15, 19 86:5        22 196:13           209:21 216:2     mechanism          246:13             137:20 140:16
 180:5 187:11,      202:3 218:10       224:12 229:1      22:23            merit 98:24         195:19
15, 19 194:4        220:17 249:21      236:11, 12       mechanisms        merits 54:5        minutes 13:25
 206:14 209:14      252:11 255:4,      237:13 238:3      96:11             190:9 215:10,      107:12 108:1
 220:4 223:3,      19 257:13           239:12 249:2,    meet 136:4        19 216:1            186:3
16 240:4           Marks's            3, 4, 6, 11        161:24 191:9      224:20, 25        minutiae 95:11
 248:13, 15         172:22             252:20 253:5      203:22 205:1      225:22 226:12     misprinted
 250:12, 13, 16,   Mary 103:11         257:4             261:24            227:13 235:6       104:6, 25
17, 19 260:11,     Marybeth           McCracken         meeting 26:17     Met 1:1            misread 195:9
18                  29:1 126:15        193:9 223:9       71:25 72:7, 21    176:24            misses 186:23
mandate 57:1       masquerades        McCullough         124:21 127:14,   method 10:1,       missing
 70:24, 25 71:9     246:13             213:13           25 132:17         20 143:2            166:14, 16, 25
 75:19 89:23       Mastriano          McCullough's       133:4, 6, 7       202:8 242:10       169:1 189:6
 90:5 213:24        97:20              212:22            139:10 140:6     methodology         198:18, 19
 214:1             matches 89:15      mean 18:15         175:10, 12, 17    199:8 200:10       200:2 234:1
mandated 71:7      material            53:8 64:24        178:4, 5, 9      methods 243:9       250:8
mandatory           144:12 146:5       66:18 69:8        179:9            MICHAEL            mistaken
 92:1, 4 93:13      152:17 170:16      77:8 78:3, 6,    meetings           1:1 141:12         102:15 155:25
 210:25 231:24      229:11            10 90:10           177:22           microphone         mistakes
 244:2             materiality         94:19, 21 95:6   meets 195:22       11:3, 5 115:4      259:17
manner 7:24         152:14 234:10      99:19 101:18      197:17 198:19     120:12            misunderstand
 43:19 76:23,      materials           107:7, 8          200:15           middle 43:2         22:19
24 248:25           10:22 39:22        120:19, 25       Mehmet             140:1             misunderstandi
mantra 148:15       40:3               145:4 147:20      119:11           Migliori 5:6, 8,   ngs 11:21
manual 166:11      matter 7:4          149:17 154:11    member            10, 13 23:7        MJ-02202-CR-
mark 21:2           8:17 11:16         162:4 163:9       125:23 136:16     27:1 46:8, 18     0000126-2022
 40:7 119:17        12:20 82:14        180:23 184:19     154:9, 25         47:13 51:25        5:16 152:10
marked 19:24,       89:13 97:18        190:8 204:23      155:6 160:20      59:4 138:17       modification
25 24:16, 18        115:9 116:14       210:19 211:14,    170:5 243:7       172:3 176:10       237:10
 27:9, 11 28:17,    119:17 133:8      21 214:14         members            204:4 207:2       modify 236:11
20 30:14            143:7, 11          216:10, 25        79:10 81:22       213:14, 23         237:9, 14
 31:13 32:10        160:19 203:12,     219:10 239:23     98:4 128:2        214:5 228:18,      238:7 239:12,
 33:10, 24         18 205:3, 10        241:18            136:9 162:17,    20 244:6, 7        15 246:16
 39:10 42:6, 14     207:4 236:17      meaning 20:9      19 173:24          260:7              249:7
 55:1 58:20         238:21 239:9,      23:23 163:22     Memorandum        Migliori's         moment 65:3
 83:6, 14          14 245:10           192:17 199:13     5:21 15:10        235:2             momentarily
 108:19 157:10      255:7 257:13       224:16            83:8 119:18      Mihaliak 5:15       187:24
 174:4 175:5       matters 8:14,      meaningfully       203:7             150:24 152:16     Montgomery
Marks 3:3          16 13:1 62:7        186:19           memorializatio     158:13, 20         241:13
 4:12 5:17 9:1                                          n 121:24           159:3


                                      Pa.App.0791
                           Strehlow and Associates/LEXITAS
                                     215-504-4622
            Case:
           Case   23-3166 Document:
                1:22-cv-00339-SPB    146 Chapman
                                  Document
                                   Leigh   Page: 796 05/05/23
                                           301 Filed   Date Filed:
                                                               Page01/10/2024
                                                                     287 of 378                            21
                                               7/28/2022

month 22:21         necessary 35:8     notice 1:1          80:14 87:11      o'clock 108:1      140:21, 25
 221:4 237:6         72:8 123:15        25:8 151:14        93:9, 15 105:4    247:10            143:24 149:24
months 40:25         183:10 225:24      152:6, 20          115:12 120:24    October            150:8, 11, 14
 237:7              need 12:13          153:10             151:18 157:5,     103:13, 14        151:20 153:20,
moot 207:1, 8,       21:6 51:11        notices 221:21     7                 odd 169:10        24 157:9
9, 14, 18            81:1 90:15        notification       objected 80:24    offer 105:4        158:1 160:7,
Mootness             98:14 100:2, 3,    165:23, 24         180:1             107:1            24 161:10, 14,
 119:6              5, 10 106:23       notifications      objection         offered 74:9      23 162:2, 10
morning 7:2          151:5 184:19       168:23             10:20 13:8        105:5             163:2, 6, 16, 21
 8:9 10:4, 6         195:6 205:13      notifies 165:21     15:14, 15 52:1   Office 1:1         164:2, 10, 14,
 16:3, 4 37:1, 2,    216:16 219:12      221:24             63:11 64:19,      10:7 66:14       17, 22 165:17
6                    248:20 261:4      notify 221:11      20 72:24           76:14 82:12       166:3 167:8,
mother 103:11       needed 205:23      notwithstandin      77:10 78:3, 10    141:11 145:19    12, 16 168:12
mother's             260:25            g 256:16            85:7 90:24        158:17 160:18     169:8 170:5
 230:22 231:1       needs 12:11        November 6:5        92:15 96:6        165:7 166:12      171:6, 9 172:1,
Motion 83:8          85:23 199:16       21:16, 19          99:6 100:12       180:17           8, 13 173:3
 226:21              200:1, 7           46:13 81:16,       101:10 102:19    offices 49:20      176:13 180:19
move 147:14          240:22            18 84:24 85:1       103:19 108:13,    79:11 80:5, 7     181:13, 22
 151:16 198:2       neighborhood        183:20, 23        15 116:3           91:20 104:15      182:2, 9
 254:22              155:25             210:1, 11          123:21, 22       official 18:25     183:11 184:5,
moved 65:16,        neither 97:20      null 84:21          135:20 151:22     19:3 20:16, 17   14, 18, 21
17 146:2, 5          175:22 186:24      208:11             154:10 168:5      66:25 80:9        186:2 190:20
 147:12, 17         nervous 247:22     NUMBER 4:2          179:14, 24        81:15, 16 89:2    197:8 209:3
moves 146:25        never 73:7          5:2 6:2 11:22     objections         124:8 173:14      211:6 219:23
 147:1, 2, 5, 23     92:5 127:15,       12:1 20:1          108:17 151:11     233:25            221:19 223:19,
 203:21             20 133:7            24:19 27:12        168:6 185:11,    officials 27:24   23 224:9
moving 14:21         151:10 178:16      28:21 30:15       14, 17 251:10      56:21 124:16      225:11 230:10
 66:2 73:4           181:10 210:1       31:14 32:11       obligated          146:13 172:24     233:4, 6
 186:7 188:10        213:24 235:5       33:11, 25 42:7,    170:17 182:9,     217:2 233:17,     235:22 242:4
multiple 25:14       239:16 249:21,    15 55:2 58:21      12                20                 248:5 254:21
 93:12 197:15       22 253:14, 24       63:7 83:15        obligation        Oh 65:13           260:21
multitude 62:6       254:20             108:20 113:11,     35:22 244:2       99:8 221:17      old 112:22
municipality        new 72:21          25 114:6            252:7            okay 11:10        older 165:4
 239:23             news 74:14          131:9 132:9       obligations        12:24 13:23       223:12
                    nice 38:4           152:7, 8, 10       248:9             14:4, 7 24:22    omission
<N>                 Nicole 67:15        157:11 173:14     observed 61:4      36:20, 23         116:16 150:9
name 17:25          night 124:7         177:12, 15        obvious 79:19      37:17 38:1, 7,   omit 22:9
 37:4 61:13         nine 25:12          195:1, 2 207:3     114:17, 21       16 39:2 42:3,     omitted 114:9
 141:10 160:17       30:5, 7 52:16      252:1 256:24,     obviously         10 43:2 44:2,      130:11 131:14,
 203:18              195:1             25 257:5, 6, 10     22:16, 23        25 46:10 47:1,    15 149:20, 24
named 238:2         nodding             263:3              23:10 63:15      20 48:22 49:4,     150:10 167:13
narrow 104:2         222:13            Numbers             106:18 116:5     13, 22 50:9        199:13
 212:25 213:1,      nominees            108:21, 22, 23,    122:14 135:22     52:12, 15, 20,   omitting
11                   81:16             25 109:1, 2, 4,     146:7, 8 157:1   25 56:16 57:2,     203:11
narrowest           nonadvisory        21 155:21           177:13 183:6     17, 20 58:2       once 19:11
 255:5, 7, 12, 14    235:12             171:19             212:20 215:19     59:7, 25 60:20    61:4 80:3, 8
 257:1              noncompliance      numerous            224:17 229:25     61:8 65:8         81:18 88:22
National             233:19             94:5, 11, 12      occasion 71:12     67:9 74:4         89:25 129:24
 119:12             noon 105:12         236:21             144:10            75:6 78:13        190:25 191:13
nature 17:12        normal 185:4                          occasionally       89:16 99:12       193:18 196:23
 64:9 119:5         normally           <O>                 22:9 142:8        103:1 105:11,     224:1 225:17
 180:5               185:11            oath 109:16        occasions         14 106:13          233:14 244:7
near 233:8          note 153:8          217:1              79:20 94:5        107:5, 14, 19    ones 45:25
nearly 202:5        noted 173:21       obey 217:2          116:15 236:21     108:2 109:11      146:10 166:16
necessarily          174:7 175:16,     obituary           occur 124:25       110:12 123:20,    253:5
 81:13 91:22        21 176:3            145:17 159:2      occurred          23 125:13         one's 38:2
 157:6 223:11       notes 38:7         object 44:10        144:25 175:23     126:11 131:16    open 26:17
                     131:21             47:18 63:9, 17     210:1             132:5 135:13      29:14 130:21
                                        68:13 73:25       occurs 19:11       138:21 139:6


                                       Pa.App.0792
                            Strehlow and Associates/LEXITAS
                                      215-504-4622
            Case:
           Case   23-3166 Document:
                1:22-cv-00339-SPB    146 Chapman
                                  Document
                                   Leigh   Page: 797 05/05/23
                                           301 Filed   Date Filed:
                                                               Page01/10/2024
                                                                     288 of 378                               22
                                                  7/28/2022

 134:12 213:5        opposing              260:6, 10, 13,   overstate 78:3     193:17, 22         245:11 246:10
 241:19               213:10              19                overstep 78:6      197:12 198:24      250:22
opened 43:19         opposite             ordered 51:2      overstepped        201:25 225:21     passing 241:1
 166:24               246:22 250:2         59:18 139:9       78:5              233:11            patently
open-ended           option 221:2          156:13 177:11    Oz 97:24          parallel 198:14     259:17
 234:6               options 194:4         188:4 193:3,      110:7 119:10,    paraphrasing       PDP 200:11
opening 7:13         Oral 3:17            11 195:24         11, 20 170:10      69:5, 6 98:10      230:4 233:14
 13:25 14:3           256:21 262:5         225:14 226:18     178:24 179:7     pardon 115:14      pejorative
 241:18              orange 81:5           236:1, 14         237:13           parentheses         216:10
operations           Order 4:19           ordering 54:3     Oz-                40:9, 14 119:6,   pending 49:16
 126:19               5:2 11:24            131:18           McCormick         10, 11              150:23 196:17
Opinion 5:13          13:13 21:19         orders 128:16      110:8            parenthetical       237:12 244:8
 26:23 44:19          37:15 51:24          192:24 244:19                       84:10, 14          247:19
 74:1, 5, 25          52:5 53:25           254:3            <P>               Parnell 104:3,     Penguins 81:8
 85:16 86:13          54:3 58:25          ordinary 194:9    p.m 21:9, 17,     4, 22              PENNSYLVAN
 99:2, 3, 16          59:17, 24           original 29:19    18 33:15 34:8     part 19:1          IA 1:1 2:1
 115:13, 15, 19,      71:21 72:5, 18       30:10 173:22      35:7 55:22        44:17 55:24        5:8, 10, 15, 23
22 118:13             84:22 86:6, 7        215:11 219:6      105:17 108:3,     72:3 82:13         7:5 16:7, 9, 10,
 119:19 122:19        88:11 119:1,        ought 9:5, 6      4 128:20, 21       86:1 135:12       19 18:2 21:20
 133:12 135:21       19, 25 120:1          85:25 139:3       129:2 140:19      165:11 166:23      24:15 46:3
 154:11, 16, 19,      121:12 122:22        151:15            142:20 143:21     173:6 191:2        62:1, 5, 18
20 155:2              131:18 132:5,       outcome 69:23      162:5, 13, 18,    216:11 218:13      65:9 67:1, 13
 168:6 189:13,       7 133:9               91:8 110:11      25 186:11          225:15 246:25      72:20 81:25
15, 19 190:6,         134:12 135:11        159:17 177:18     262:9             248:12             83:9 94:5
15 203:7              136:12, 24           221:8            P.S 84:6          partial 49:15,      97:14 98:4, 23
 204:11 205:14        137:15 149:5,       outer 20:24        191:6 195:13     17, 19 51:14        104:12, 21
 210:17, 23          6, 8 150:15           21:25 22:4, 7,    201:4             110:16, 19         119:13 136:21
 211:4, 8, 13, 18     162:11 167:24       10 37:14, 23      PA 1:1 6:2        participant         137:12, 13
 212:7, 8, 23         171:10, 11, 13,      43:4, 9 114:8     47:15             179:2              150:23 174:14
 213:6, 12, 13,      15, 22 186:6          129:18 130:2,    Pa.C.S 199:6      participated        177:21, 22
24 214:6, 17          187:1, 12, 16,      12 144:6           201:25            177:24             179:22 183:20
 217:14 224:15,      19, 25 188:2, 6,      145:10 164:24    Page 3:17         participating       187:2 189:16,
19 225:20            10, 13, 18            165:2, 4 168:1    25:17, 18         180:9             25 199:7
 227:1, 4, 17, 19,    189:11, 15, 20       175:18 189:5      29:23, 24 38:8   particular          203:6 205:11
25 228:1, 3, 7,       190:3, 12, 13,       199:17            42:20, 24 43:2    48:10 84:23        208:7 210:7, 8
20 230:2             16 191:12, 14        outlined 121:1,    76:7 78:15        101:5 128:11       223:10, 13
 233:9, 11, 12,       192:25 194:15       2                  83:2, 8 133:18    135:18 145:10      227:22 237:17
14 234:19             197:1 198:6,        outlines 28:9      158:7 174:4       177:14, 16         240:14 243:15
 235:4 239:11,       10 206:6             outset 207:22      189:12 224:19     199:11 237:3       249:15 255:4,
12 240:7, 8           207:23, 25          outside 20:10      233:9 257:23     particularly       20 256:6, 23
 244:13, 17           208:18 209:21        22:22 68:9       Pages 1:1          134:5 214:25       257:5, 16
 245:5 246:14         214:17 219:5         99:7 105:4, 5     38:1 189:18       256:16 257:7       261:4, 18
 249:11 251:1,        222:20 223:1         230:14            190:24           parties 15:8       people 11:1
3 254:12              224:12, 14, 16      overarching       paid 198:12        48:10 95:13        40:24 95:1, 13
 256:8 260:8,         225:11, 16           205:24           Paige 175:3        108:14 128:12      98:2 102:5
16                    226:1, 10, 19,      overly 211:24     panel 59:4         216:4 217:17       137:5 138:6,
opinions 74:8        21 227:1, 5, 10      overrule 191:3    paper 11:15        224:23 241:14     13, 19 139:2
 134:16 211:23,       235:18 236:11,       257:20, 22        37:16 72:6        249:4, 5, 8, 9     177:23 178:2
25 213:6             12, 13 237:5, 9,     overseas           88:24             261:15             180:8 206:4
 215:3               10 238:7              124:14 162:14    papers 8:15       partner 8:11        215:5 221:11
opportunity           244:5, 9, 18        oversee 66:12      68:11, 24 76:2   parts 224:15        231:7, 9 241:4,
 14:14 151:22         246:17 248:24        126:5             82:13 182:22     party 14:21        14, 15, 16
 168:25 169:2         249:1, 7 253:7,     overseer           229:25 247:25     73:4 91:20         242:4 243:16
 185:24 221:14       9, 16, 18, 20, 21,    126:14            256:2             119:12 134:21      247:9, 15
 238:5 248:24        24 254:4, 5, 7,      oversees 66:15    paragraph          150:11 171:6       248:23 250:5,
 253:13              12, 13, 15, 16,       126:16            83:18, 19, 20     177:8, 20, 21     11
opposed 59:21        17 257:19            oversight          84:8 158:10       180:20 199:7      perceive
 161:7 234:1          258:1 259:24         142:2, 3          174:8 191:8,      203:6 216:5        216:24
 249:17                                                     17, 20 192:1       225:4 239:1


                                         Pa.App.0793
                              Strehlow and Associates/LEXITAS
                                        215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 798 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    289 of 378                           23
                                              7/28/2022

Peremptory          118:24            pleadings          police 151:1        238:13, 17        126:20, 23, 25
 7:9 187:12        petitions 257:2     246:23             158:2              249:14            135:1
perfect 46:25      PFR 185:14,        pleas 59:21        political          practical         preparing
perfectly          15                  62:13 87:25        241:14             100:18            228:2
 200:18            Pfursich 4:15,      96:2              poll 17:5          practice 25:13    prescribes
perform 72:19      19 30:19, 25       please 10:18        126:18            practices          191:22
 245:13 249:17      31:1, 8 33:9,      11:8 12:14        polling 17:5        133:20 134:23    presence
 250:3 252:8       18 55:8 57:7,       15:1, 5, 6         39:16, 21, 23,     152:23            202:14
performing         11                  31:23 34:11       25 40:3, 4         precanvass        present 14:15
 94:17 245:12      Pfursich's 31:3     55:25 61:1        popped 145:11       18:24 43:13       52:7 106:6
period 47:7        Philadelphia        71:23 76:6        posed 77:23         124:10            193:5, 6
 82:9 113:8         1:1 68:4           83:23 118:23       247:5             precanvassing     presentation
 114:4 146:17       246:5              125:14, 18        position 12:20      166:22, 23        10:16 261:13
periods 86:23      phone 28:15         141:1, 5           16:5, 16 28:5      199:25 200:15    presented
permissible         112:23 113:9       160:12 166:6       31:3 32:5         precedent          9:25 147:19
 93:11             phrase 130:14       173:22 174:10      44:19 50:5         212:2 252:15      164:8 242:19
permission          135:4              176:19 209:5       53:17, 23 57:5     255:9 256:7,      260:12 261:3,
 108:13            phrased 78:12       236:4 237:14       63:13 65:24,      11 257:5          5
permit 188:8       Physically         pleases 29:13      25 68:25           precedential      presents
 195:16             88:20             pleasure 209:6      90:19 112:11       254:25 255:6      233:21
permits 189:8      pick 112:23        plenty 107:12       113:3 114:2, 6     256:17 257:6     preserve
permitted          picks 192:6        plurality           121:7, 9, 11      precedes 19:3      253:12
 246:3             piece 102:1         210:13 211:13,     126:1 185:20      precinct          President 1:1
person 63:2, 5,     103:6 166:10      25                  204:15 207:10,     124:16           presumably
23 69:25            223:3             podium 11:6, 9     14 234:13          precinct-level     143:17
 70:15 71:5        pieces 41:14       point 23:8          254:10 260:8       124:7            pretty 40:22
 74:17 85:11,       166:3 172:15       30:2 43:7, 8      positions          precincts          70:7 95:5
14, 22 101:7       pile 37:15          52:24 55:15        16:15 63:14,       18:21 126:21      133:14 155:22
 102:2, 10, 16     Pittsburgh          58:24 62:20       20 66:4, 6         preclude 183:8     213:17 236:9
 145:12, 15, 17,    82:4 83:12         65:16 77:12        67:25 156:4, 6    precludes         prevail 194:19
20 146:2           place 14:12         93:24 108:11       206:4 246:22       220:9            prevailing
 148:20 149:18      21:1 39:16, 21,    114:20 120:20      257:11            predate 247:7      252:13
 169:13 195:14     23, 25 40:3, 4      127:19 131:22     possibility        prediction        prevent 196:5
 202:19 217:19      107:10 109:24      132:16, 22         69:21, 23          232:4            preventing
 218:18, 25         177:23 178:12      136:10 140:22      244:24 254:20     prefer 7:14        98:24
 230:21 239:8,      201:24 238:11      145:16 152:12     possible 80:8       8:8 14:1         previous 168:6
9 241:6             245:23 251:7       157:8 183:10       140:17 204:17      36:18            previously
 245:17 250:24     places 17:5         194:6, 7, 8, 24    248:14, 15        preference         8:12 33:19
personally         plain 20:17         196:22, 25        possibly            7:16              49:4 53:19
 56:9               146:7 153:22       205:5, 14, 24      172:14 228:12     preferred 9:19     57:25 79:24
persuasive          154:7, 18          208:4, 16         post 156:7         prejudge           235:10
 212:23             155:8 170:17       213:10 221:2      posts 156:16        214:22           primacy 94:6
Petition 5:17       176:1, 4, 5        227:15 239:13      177:8, 9          preliminarily      208:3
 70:12, 15, 18      182:13 201:11      260:23            potential           13:3             primaries
 187:11 207:2,      210:8 231:19      pointed             86:11 114:24      preliminary        84:1, 3 216:22
16, 17 223:18      plainly 40:22       120:21 169:12      153:9 238:12       8:14, 15, 22     Primarily
 245:10             99:6 196:22        196:20 224:12     Potentially         9:4 13:15         16:22 17:12,
Petitioner 4:19     232:9              248:16             143:13 146:9       185:11, 13, 17   15 66:22
Petitioners 1:1    plaintiffs         pointing            156:15             190:7, 10        primary 18:14
 7:6, 9 59:25       257:14, 17         228:20            pour 61:4           223:1 224:14,     21:11, 14
 184:12, 25        Plaintiff's        points 15:18       poured 61:8        21 225:8, 10       23:10 24:10,
 185:8, 24          118:23             38:12 43:3, 5     power 94:1          227:10, 20       13 27:4 29:15,
 189:20 209:13,    plausible 225:7     205:23 206:12      95:18 112:7        228:9, 25        19 32:24
16, 18, 22         play 137:4          209:2 228:21       207:24 245:22      245:1 251:10      35:23 41:2, 14
 224:24 246:21     played 81:7         229:12 251:25      249:16             253:6 254:7       49:14 76:9
 247:20 248:7      plays 16:25         253:4 254:23      powers 83:25       preparation        77:1 78:18, 19
Petitioner's       pleading 63:4,      256:14 257:9       85:6, 11 92:13,    261:12            81:12 84:11
 108:20 109:1      25 92:1            poles 259:14       21, 23 216:21      prepared 8:7       87:8 97:16, 19
                                                                             9:3 10:10, 12     114:14 130:25


                                      Pa.App.0794
                           Strehlow and Associates/LEXITAS
                                     215-504-4622
          Case:
         Case   23-3166 Document:
              1:22-cv-00339-SPB    146 Chapman
                                Document
                                 Leigh   Page: 799 05/05/23
                                         301 Filed   Date Filed:
                                                             Page01/10/2024
                                                                   290 of 378                           24
                                           7/28/2022

 133:20 134:23    process 18:12,   protecting         21, 24 201:2,       123:10, 19        24 174:13, 17
 135:16 144:18    17 49:5 80:3      234:16            12, 13 203:9        124:1 128:8        211:20 212:6
 148:3 152:23      87:13 114:16    protections         211:9 261:17       133:5 135:14,      224:14 225:3,
 158:17 163:8      115:19 116:1     205:20            purposes           23, 24 136:1       5, 6, 7 233:13
 167:4 168:13,     124:3, 15       Prothonotary        188:14             138:7, 11, 12     quoted 174:13
19 169:6, 24       166:11, 23       119:17            pursuant 1:1        143:9 146:19       191:19 223:12
 172:6 177:23      169:16 192:6,   proud 247:20,       21:19 32:21        147:13 148:2      quotes 83:25
 186:16 187:5,    17, 18 193:18,   23                  117:2              152:14 153:5,      84:5, 10
9 220:15          24 196:1, 7      provide 17:13      pursue 35:8        11 156:2
principle          198:13, 21       29:16 35:7        pursued 71:19       159:8, 20         <R>
 255:20            199:18 205:18    44:25 64:8        pushing 260:24      163:15 166:6      race 50:3, 10
print 89:11       processed         79:7 104:21       put 21:25           170:2 180:24       51:3 97:14
 104:16            146:10 157:20    171:19 176:14      22:18, 20          183:15, 18         110:10 129:9
printed 104:13     168:18, 24       187:6 206:11       68:23 79:21        199:10, 20         177:14 214:8
printing           232:2            208:22 215:13,     81:14 88:23        210:19 213:5       243:18, 19, 22,
 104:10           processes        21 216:12           95:15 115:3        214:22 215:16,    23
prior 23:10        127:9            235:13             118:24 137:10,    24 220:22          races 50:7
 41:13 42:18      processing       provided           11 139:15           222:13 228:4       97:18, 23
 47:12 48:22       172:10           59:10 103:21       143:17 145:12,     230:6 231:14,      156:15, 19, 22,
 57:8 65:14       proclaim 84:3     118:8 173:17      14 146:11          15 233:5           25 159:21
 161:11 168:3     procure 17:5     provides            162:15 199:13      242:22, 25         177:15, 18
 169:4 175:14     produce 202:2     45:22 50:23        222:17 230:21      247:5 250:4,       206:22 243:19,
 231:1 246:17     produced          56:24 84:5         231:8 241:13,     25 260:4           20, 21
privilege 68:16    123:16, 17       85:24 104:18      20, 23 247:9,      questionable       raise 9:19
Probable 158:8    productive        115:17 195:13     11                  74:8 127:18        15:1 64:19
probably           195:5            201:3 218:17      puts 40:24         questioned          125:14 141:1
 10:13 13:13      professional      220:25             204:25 221:21      13:9 133:19        160:8 185:16
 53:11 100:9       81:7            provision          putting 8:7         257:12             247:24
 106:24 107:3     proffer 15:9,     43:23 75:10        37:15 152:16      questioning        raised 7:17
 129:3 173:6      11 133:14, 18     87:22 111:9                           64:18 77:21        11:21 13:3, 11
 215:11, 25        134:1, 14        143:15 193:15,    <Q>                 120:9 134:9        182:24 183:1,
 226:24 231:3     program 66:17    17 237:24          qualification       187:22 218:10     7 247:22
 232:10 237:20    prohibited        241:3              87:19 229:11,     questions 9:8       251:11
problem 25:1       6:23            provisional        14                  18:3 28:14        raises 208:16
 246:25           prolong 81:1      39:20 40:2        qualifications      36:16 63:3, 15    rare 166:25
problems          prompted          51:16, 18          75:2 228:13,       64:16 76:12       rationale
 237:4             24:7 26:20       124:13, 18        17 234:18           77:18 101:11       50:15 224:10
procedure         promulgated       127:15, 20, 21,   qualified 39:5,     105:21 109:7       255:5, 7, 9
 75:17 132:23      38:20 41:13     24, 25 132:16      13 52:4 74:7        116:5, 21          256:8
Procedures        prone 80:11       181:21, 25         201:1 227:19       120:3 134:1       Ray 3:10
 42:22 191:22     prong 190:9       182:7              229:18             151:23 152:18,     9:16 140:23
proceed 8:7        224:20          provisionally      qualifies 259:8    24 155:15           141:3
 10:1, 11, 14     pronunciation     242:5, 8          qualify 75:16       157:5 173:23      reach 79:25
 11:19 12:21       30:24           provisionals       quasi-judicial      183:6 209:1       reached
 13:19, 24        proof 105:5       167:11             72:19 94:17        225:3 251:17       213:15 235:5
 14:21 54:6        107:1           provisions          95:2 250:3         254:24             256:12
 76:10 77:3       proper 132:23     191:22 237:10     question 8:16      Quick 123:11       reaching
 84:13 108:2       250:21          public 64:5         18:15 40:21       quickly 54:6        113:13 255:2
 109:13 132:1     properly 164:7    124:21             44:15 45:17        243:25 254:22     read 29:10
 184:25 199:9     proscribes       published           47:5, 19 64:19    quite 12:19         31:7 34:9
 212:2             191:8            237:21             72:25 73:5, 11,    167:25 188:13      35:9 43:7
proceeded         prosecuting      pulled 145:17      13 74:16, 22,       189:11 190:14      55:24 68:11,
 196:21            145:19          Purcell 35:2, 3    23 75:7, 9          194:19 195:19     12 76:6, 17
proceeding        prosecution      purely 72:25        77:11, 23, 25      200:21 228:20      77:5 82:16
 10:20 250:14      148:20 201:6     74:23 77:11        78:4, 12 80:23     257:24 260:25      83:22 84:8
proceedings       protect 217:2     259:16             86:2, 14 87:19    quote 30:22         85:2 86:11
 10:25 263:2, 6   protected        purpose 22:6,       93:10, 15, 19,     68:23 69:8         99:2, 16 119:3,
proceeds           68:15           8 28:3, 4          23 98:8 103:2       84:14, 20         22 127:1
 187:15                             93:14 200:20,      116:8 120:21       110:19, 20, 23,    134:15 191:18


                                    Pa.App.0795
                         Strehlow and Associates/LEXITAS
                                   215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 800 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    291 of 378                               25
                                                7/28/2022

 193:22 199:3,      147:17 153:1        12, 14 172:16       167:18 176:20    regulations        relying 227:20,
5, 20 211:22        172:24 181:15        177:11 178:14,     181:7 183:16      64:2              22 260:7
 215:4 218:8        182:23              17 181:24          redundant         reiterate 28:4     remain 13:7
 225:1 227:25      recalled 106:23       219:14 246:6       86:20            reiterated         remaining
 243:11 244:13     recanvass            recertifying       refer 12:1         57:4, 8 175:17     217:9
 251:3, 4           197:3                32:23 181:12       19:9 22:12       reiterating        remember
 260:10 263:4      receipt 17:16        recess 108:3        162:4, 16         33:18              67:22 104:4,
readily 187:24      21:20 84:24          186:11             173:3 188:24     reject 111:11,     22 123:24
reading             142:17, 19          recipient 25:9     referee 80:12     15                  155:23
 153:22 154:7       165:9, 13           recognize 25:4      238:25           rejected 62:8      reminder 30:1
 168:9 175:17       247:10               28:24 44:17       reference 12:2     213:3             remove 188:7
 197:20 201:18     receive 30:8          45:9, 10 253:6     94:16 190:23     relate 185:10       193:3
ready 28:19         43:11 83:25          261:21             200:12           related 66:6,      removed
 126:23             90:16 124:6         recollection       referencing       11 89:2 91:2        159:3 195:25
real 216:2, 3       129:23 142:7         27:25 49:1         87:22             104:10 105:8       196:11
 245:15 246:7       145:5 146:14         68:5 82:5         referred 91:25     237:25            render 262:2
realized 145:14     162:19 163:11        87:7 118:9         145:18 148:20    relates 17:13      RENÉE 1:1
really 18:17        164:3 172:9         reconcile 204:1     201:15 240:22     163:14 165:6      renew 226:21
 35:4 53:23         174:21 175:15       reconsider          257:10           relating 18:3,     repeat 75:7
 90:12, 21          193:20 206:16,       136:7 226:19      referring         14 23:3             143:9 166:6
 104:17 113:16     21 208:10            reconvene           22:13 29:20       130:25             236:5
 134:4 151:19       243:13 252:7         133:10             33:2, 4, 15      relationship       repeatedly
 205:5 213:9        258:7               reconvened          34:5 37:18        206:19             203:5
 214:5 215:8       received 22:1         133:7              57:10 122:22     relationships      rephrase
 220:12 228:13,     25:12 28:14         record 13:10        130:10 150:22     112:14             45:17 101:12
22 229:24           30:9 39:19           55:24 61:22        162:8 172:18     relative 165:2      116:8
 233:6, 22          52:17, 22            83:22 86:21       refers 34:16       208:4             report 34:15
 235:11 242:15      54:11 55:16          105:15, 16         192:1 196:16     relatively          54:4 78:21
 247:20 254:11      79:23 90:18          109:23 139:17      218:2             107:2 161:15,      79:20 89:12
re-ask 128:8        109:4 128:24         140:19 151:4,     reflect 11:21     16                  108:11 189:23
reason 29:16        129:15, 17, 24      15 152:2, 5, 13,    157:22 186:18    relevance           192:5, 10
 73:10 98:11,       130:1, 3            20 186:13          reflected          101:17 151:19      226:6
13 99:18, 25        132:10 133:23        188:14 213:18      190:18 197:19     179:14, 25        reported
 100:21 105:10      134:13 142:23        222:17 242:15     reflects 10:17     180:2, 3           158:20 263:3
 123:13 129:25      143:1, 3, 10, 21,    263:6             refuse 84:17      relevant 11:17     reporter 6:24
 166:21 193:4      25 144:13            recording           144:8 186:17      18:9 26:1          12:11 25:2
 195:18 231:7       145:3 157:12         133:22 134:25     refused 60:1       28:6 46:12         184:20
 238:21 239:22      158:12, 17, 24      records             159:13            77:19 85:17       reports 79:1
 249:13             162:11, 18, 25       114:25 159:2      refusing 252:4,    92:16 98:19,       181:20 225:24
reasonable          164:25 165:7,       recount 29:20,     6 257:18          21 100:8, 23       repository
 53:14 138:5, 6    22, 24, 25           21 51:2 59:18,     regard 43:4, 8     102:1, 4 103:6,    88:25
reasoning           166:5, 12           20 197:3            74:8 214:16      21 104:1           represent
 113:17 191:12      173:14 174:23        219:5             regarding          117:13, 16         160:18 209:6
 260:15             188:18 193:19       recounts 87:5       27:3 31:24        128:15 157:7      representatives
reasons 100:2,      208:21 221:1,       RECROSS             34:20 47:3        191:5 193:16       178:8 179:6, 7
5, 6, 7, 10, 14,   5, 12 222:7           3:2 120:5          51:16 62:7        194:7 204:6       representing
18 249:13          receives 98:20        157:13 181:7       77:19 91:2        205:20 206:13      37:4 134:19,
 250:18 261:5       157:15 164:7,       RECROSS-            100:21 121:7      215:23 224:23     20
Rebuttal 3:17      23 208:12            EXAMINATIO          172:10 174:11    Relief 7:10        reproduction
 185:25 205:23      259:3               N 120:7             195:15 197:2      86:7 112:4         6:23
 209:2             receiving 17:6        121:15 159:11      218:6             119:5 187:11      republican
recall 27:23        76:8, 25 84:11       183:16            regardless         198:3 205:10       27:4 109:24
 29:24 44:22        126:18 175:8        REDIRECT            148:11            209:15, 23         119:12, 13, 20
 59:23 67:11,      recertification       3:2 15:19         registered         216:19 220:9       130:25 134:20
14 71:18 98:8       178:18 206:1         106:9, 10, 12,     157:17            246:11 260:12,     155:20 156:8
 104:7, 9 105:1    recertified          18 111:22, 23      Registry 65:22    20                  177:3, 8, 20, 21
 114:9 116:21       181:10               138:2 150:19      regularly         rely 51:10          178:3, 4 246:1
 118:1, 18, 20     recertify 8:2         155:17 157:13      204:8             127:5 202:17      republicans
 121:9, 13          89:23 156:3, 4,      159:8, 11                                               177:10


                                       Pa.App.0796
                            Strehlow and Associates/LEXITAS
                                      215-504-4622
          Case:
         Case   23-3166 Document:
              1:22-cv-00339-SPB    146 Chapman
                                Document
                                 Leigh   Page: 801 05/05/23
                                         301 Filed   Date Filed:
                                                             Page01/10/2024
                                                                   292 of 378                             26
                                              7/28/2022

request 30:10     research 13:5      Respondent          24 49:3, 7, 10,     192:3 195:16       160:8 174:5
 35:15 58:4, 7,    144:14 145:16      2:1 131:3, 6       20 50:7 51:7,       197:3 208:15       178:14 180:9
8 87:5 113:17,     153:6              133:20 171:6       14, 17, 19          218:6              181:10, 15
19 120:17         reserve 15:19       238:3               52:17, 21 53:6    reversed            185:22 202:7
 151:21 189:19,    151:17            Respondents          54:18 59:19        139:24 167:2       203:1 204:24
20 190:6          resolution          1:1 7:8             71:17 77:9        review 18:20        207:5, 14
 216:18 226:20     12:6 49:16         184:16 185:2,       79:4, 5, 11        79:22 94:21        211:10 212:15
 227:20 236:7     resolutions        5, 24 204:9          80:4, 8, 9         95:20, 21          214:19 215:12,
 246:13 257:14     196:5             responding           81:15 84:3         124:8 128:5       20 226:22
requested         resolve 194:14      29:23 57:14         88:19, 22 89:4,    146:13 151:8       227:7 229:10
 22:20 29:17      resolved 11:15      256:2              17 97:16            164:3 202:5        230:25 231:3,
 32:24 34:12       12:19 196:6       response             111:11 116:13      207:6 212:11      5, 13 234:16,
 35:7 55:13        225:4              34:12 54:10,        121:24, 25         224:22 244:22     24 240:14
 178:16 224:21    resolves 127:22    22 55:16, 20,        124:7, 9, 10       245:1 257:1        242:10, 12
requesting        respect 8:17       21 56:2, 20          139:19 149:4,      259:15             247:17 248:16
 86:5, 6           9:8 10:13, 23      57:8, 9, 17, 23    5 159:14           reviewed            250:6 252:1,
require            15:7 17:10         98:7 112:18         167:6 176:8,       68:19, 20 95:8    11 256:3
 167:23 171:23     21:10, 16 24:1,    120:21 152:14      14 177:6, 13        151:18             261:1, 19
 187:3 189:17,    4, 11 34:14         174:3, 9, 20, 21    181:10, 17        reviewing          rights 225:4
25 211:2           35:18 62:1         175:15 183:18       186:18, 20         124:15, 17        Ritter 5:20, 21
 226:5 233:24      81:25 84:23        185:17 215:24       187:9 192:11      revisit 228:25      212:13, 14, 23
 234:18 235:4      92:12, 14 94:6     248:2, 3            193:19 197:19     Riegner 4:13        213:12, 13
 237:15 249:11,    98:24 99:23        251:12              202:2, 18          175:3              228:21 244:7
12 260:14          101:3, 7, 16      responses            206:3, 17, 22     right 7:14          247:19 255:1
required 26:3      103:24 114:3,      54:11, 16           208:25 209:11      10:12 15:1, 19     256:4, 5
 28:5, 7 40:9,    16 123:18           56:21 173:23        214:4 217:4        29:2 30:12        road 64:10
15, 18, 20         124:1 126:2       responsibilities     218:22 220:13,     37:24 38:18,      role 16:25
 50:11 54:19       128:4 133:21,      17:2, 9 126:2      17, 18 221:1, 5    25 39:3, 23         49:5, 7 66:16,
 58:10 120:20     22, 24 134:24,      141:17, 25          226:11, 14         40:7 41:7, 16     19, 21, 22
 121:3 195:8      25 135:4            160:25 161:7,       236:1, 13, 14      42:19 43:5, 20,    68:17 126:6,
 208:22 215:8      138:6 139:3       18                   237:15 239:21     25 44:8 45:20      12 127:2
 219:16 225:15     141:18 144:6      responsibility       240:8 243:14       46:15, 16 48:5,    142:7 154:24
 229:7, 22         146:25 161:11      17:15 115:2, 9      244:2 246:6       15, 25 49:8, 25     155:6 160:22
 232:20 240:2,     165:11 170:22      127:7 206:18,       252:9 258:13       50:5, 13 52:18,    161:14 170:5
6 258:15           180:5 195:11      23 262:1             259:3             23 54:13            243:8
requirement        197:24 198:7      responsible         RETAINED            57:25 58:13       roles 161:11
 223:16 228:16     206:20 214:16      16:20 206:17        5:17               59:14 60:6, 12    roll 185:7
 229:4, 8, 14      218:16 236:6,     rest 209:2          return 43:4, 9,     62:22 65:16       rolls 157:21,
 230:18 231:6,    18 237:1, 4         212:20 225:1       15, 18 44:3         66:5 68:23        23 159:3
17 232:9           239:13 240:20      249:5, 7            133:25 135:5       70:19 74:6, 24    room 53:14
 233:21 237:20,    245:24 246:24     Restart 60:10        162:7 163:3, 6     75:20 76:25        228:10, 22
23                 250:16, 17        restraint            165:13 166:8,      79:4, 13 80:22    roughly 51:9
requirements      respectfully        235:15             9 167:13            81:23 82:20        104:11 113:7
 8:18 161:24       63:21 90:10,      result 38:14         188:16, 23         88:2, 8, 18        141:25
 216:19 233:18    14 236:15           50:4 69:10, 15      191:13 198:8,      89:25 91:4, 19    rubber 208:11
 250:23            237:2 245:21       81:24 94:21        17, 19 199:1,       92:12 93:7         259:16
requires 43:24     255:2              126:1 127:2        14, 18              94:3, 23 95:3     rule 10:12
 50:16, 20, 21    respective          137:16 141:17      returned            96:1 100:3         12:20 13:2
 120:22 124:20     219:15             156:24 202:13       20:21 21:6, 8      102:8 104:13,      151:21 239:14
 188:11 189:8     respectively        207:7 211:18        39:16 116:24      16 107:9            244:23 255:4
 195:6 196:4       48:23 218:20       212:16 213:16       162:5 233:13       110:9 111:4, 6     256:6
 198:5, 7         respond 15:19       223:17 229:21,     returns 17:16       115:24 120:23     ruled 23:6
 205:11, 12        56:4, 8, 9, 13    22 240:11, 14        18:18, 20 76:8     122:2, 8, 19       69:22 216:15,
 213:2 233:19      135:4 174:1, 2     249:12              77:1 79:23         124:24 125:2,     16
requiring          180:2 185:9       results 7:23         84:1, 11, 18      14 138:12          rules 15:21
 168:1             205:22             8:2 17:15           89:2 124:16        139:9, 15          243:10 251:3,
reread 228:2      responded           19:12, 13, 15,      148:24 149:2,      140:5 141:1       5
res 239:13         55:9 56:5         17 32:23            12 150:15           148:15 151:17     ruling 47:13
                   57:4 173:9         35:23 48:13,        164:17 171:23      154:4 155:4        54:9


                                     Pa.App.0797
                          Strehlow and Associates/LEXITAS
                                    215-504-4622
          Case:
         Case   23-3166 Document:
              1:22-cv-00339-SPB    146 Chapman
                                Document
                                 Leigh   Page: 802 05/05/23
                                         301 Filed   Date Filed:
                                                             Page01/10/2024
                                                                   293 of 378                              27
                                              7/28/2022

rulings 23:12      226:2, 10         17:22 19:13,        Section 12:3        send 25:9, 16      87:2 117:4
 24:8 26:1         231:20 232:18    14, 16, 19 35:8       72:16 73:16,        48:20 56:14       126:23 144:14
 28:6 121:4        233:13 234:15     38:20 48:14,        24 74:2 75:1,        78:19, 20, 21     146:8 153:6
 174:13, 18        243:6, 11        24 49:3, 13, 15,     21 76:1, 12, 17,     131:24 132:19     166:14 167:1
run 72:6           244:14 246:2     18 50:9 52:17,       20, 25 82:19,        173:19, 22        169:19 191:25
 161:4             253:7 256:7      20 53:14             20 84:6, 7           221:25            212:21 223:5
running 38:8       257:20            65:24 66:24          87:10 111:12       sending 29:25      232:10 243:8,
 98:2 179:21      scan 165:18        67:1, 24, 25         191:5, 6, 8, 17,    112:24 126:17    9
 180:16           scanned 130:1      68:3, 7, 25         21, 24 192:6        sends 79:8        sets 131:19
                   145:6, 9          69:14, 16            198:12, 15, 16,     147:23 221:21     149:12 150:15
<S>                157:19 165:13,    71:15, 16           17, 22, 24           240:22           setting 169:20
sake 260:4        21 166:4, 15,      72:17 73:6           199:5, 19, 21,     sense 10:13       settled 174:19
Sally 103:11,     17 221:22          75:12, 18           23 200:4, 13         11:18 13:14      setup 104:14
12, 13            scanners 127:1     76:10 77:2, 7,       206:15 216:20       14:10 66:10      Shapiro 97:20
satisfy 232:19    scanning          16 81:14, 19         section's 200:6      75:19 107:24     Shapiro-
save 28:18         129:24 165:11,    82:9 83:9, 24       security 234:18      146:16 162:8     Mastriano
 123:17 154:20    17 166:7, 8        84:12, 15, 20,      see 9:4 18:8         227:5             110:9
 209:2            scenarios         22 85:5, 11           21:3 26:6          sent 25:6, 21     sheds 224:15
saw 132:7          116:24            92:13, 22 94:1       31:25 32:1          27:19, 20, 24,   shift 222:20
 243:1            schedule 72:21     109:18 110:6         34:22 56:2         25 29:1 30:18     shirt 61:5
saying 11:5, 7    school 65:4,       111:7, 10, 14        63:24 68:23         31:17, 21        shocked 228:2
 29:2, 9 30:19    15 112:22          119:9, 10, 21        78:2 83:4           34:25 48:13      short 99:3
 50:2 56:13       scope 63:16        126:10 130:18        105:6 108:1         55:20 56:6       short-circuit
 131:7, 24         77:21 80:14       131:9, 19            118:25 119:14       88:14 147:5       106:4
 134:11 135:6      99:7 105:4, 6     148:25 150:16        122:19, 20          153:24 167:5     shorten 109:7
 136:22, 24        107:7 135:18      159:13, 18           158:8 164:8         168:23 172:23    show 157:25
 137:6 165:12     scorekeeper        160:19 167:5         169:21 174:12       176:8 181:22      158:1 177:2
 195:10 196:21     80:12 238:25      168:3 176:15         180:13 184:11       182:3 203:18     shown 70:4,
 199:15 207:13,   Scott 3:7          179:1, 8             207:19 217:4        219:18 220:16    10 76:3
16, 17 208:17      125:11, 16        186:14, 21, 24       222:13 234:14      sentence 32:21    shows 242:7
 212:10 224:4     se 185:21          187:6, 8, 17, 18,   seeing 182:23        56:1 84:15       Shuller 263:4,
 225:13 229:17    seal 78:22        21 191:3             seek 239:11          225:2 234:8,     8
 232:6 240:4       81:15             194:5 206:15         251:1              14                sic 181:17
 246:4 254:7      sealed 20:20       207:23 208:4,       seeking 7:25        sentences          209:21 224:12
says 31:8, 23     Sean 104:22       5, 9, 12, 15, 21      209:14              119:16           side 10:16
 32:21 34:9       seated 15:5        216:5, 11, 25       seemingly           separate           38:8 39:3
 35:5 38:9, 10,    125:18 141:5      218:22, 24, 25       61:25 248:23        118:25 124:25     139:2 187:22
16 40:6, 9, 12,    160:12 178:8      220:1, 15, 17       seen 8:15            181:20 197:8      250:2
14, 22 42:20      second 25:17       221:2 222:25         27:15 33:14        separated         sides 9:9
 43:3, 7, 8, 15    29:24 32:21       225:13, 24           151:8 233:1         171:20           sideways 38:9
 52:13 56:1        33:8 34:22        226:7, 10            237:20             separately        sign 20:11
 59:9 72:17        43:3 44:2         235:25 236:20       sees 10:11           149:5 196:16      21:1, 2 26:8
 76:25 84:15       57:20 82:19       238:2, 13           segregate            253:10, 11, 16    38:16 40:7, 23
 101:5 111:12      83:18 109:8       239:4, 6, 25         53:19 189:22        254:18            43:25 204:21
 119:3 134:15,     124:13 166:18     242:25 243:12        225:11 226:3       September         signature 39:3
22 136:21, 23      167:10 181:20     245:15, 22, 25      SEIU 225:5           23:22 41:16       69:25 70:6
 146:7 154:18      198:2 222:24      246:2, 3 247:2,     selected 30:7, 9     42:4, 12 47:2     81:15 149:21
 158:12, 16, 19    233:10           13 249:21            senate 27:4         serially 219:10    166:14, 25
 164:3 170:18     Secondly 64:1      257:18, 21           29:21 51:3         seriously          167:3 169:1, 3,
 173:21 176:6      250:20            258:9, 11            97:17, 23 98:4      146:22           10, 19 189:10
 198:17, 24       secrecy 20:11,     259:3, 14, 16        110:12 119:8,      serve 72:18        201:2, 7, 8
 199:24 200:4,    15, 20 149:25      260:1, 23           11 131:1             126:4 141:14      202:12 221:13
15 201:4, 9        199:12 200:3,    Secretary's           156:19 240:14       161:5 203:15      222:11 234:9
 202:15 204:21    5, 9               7:22 8:3 49:5        243:19, 20, 23     service 61:14      250:8
 205:20 208:19    secret 39:11       69:4 120:22         senator 67:16,      Services 27:23    signatures
 211:5, 19        Secretary 1:1      220:11 238:16,      19, 20 69:19         56:18 175:3       78:22 240:21
 213:2 216:21      7:4 8:1 9:1      20, 22 249:14         240:13             set 23:22         signed 20:21
 217:19 218:5      10:8 11:23        252:7 257:11        senatorial           41:22 43:3, 17    38:23, 24
 220:25 223:10     14:21 16:6        258:24 259:19        49:23               44:5 47:10        43:10, 17, 23


                                     Pa.App.0798
                          Strehlow and Associates/LEXITAS
                                    215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 803 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    294 of 378                             28
                                              7/28/2022

 44:4 47:9          slow 12:11         87:14 109:20,    standards          statewide          steadfastly
 63:23 67:2          253:2            22                 195:22 197:17,     29:20 49:9, 10     261:23
 74:18 79:9         slower 12:14      speaks 193:9,     18 200:15           50:10 51:2        stems 43:23
 89:14 130:12        252:22           17                standing 10:24      59:18 65:22       step 122:5
 143:16 158:13      Smith 1:1         specific 45:1     star 233:9          89:9 97:18         213:7
 163:24 164:5,      Solicitor 31:4     126:6 127:12     stare 214:25        104:16, 19        stepping 198:6
9, 13, 15, 16, 21    32:15, 21 57:3    147:10 165:15    start 131:5         116:13 159:14     steps 113:4
 166:1, 18, 19       134:19 155:4      194:7 195:7       138:24 185:23      219:5              129:15 132:21
 167:24 168:2        183:25 184:1      198:14 199:24     232:11 245:22     stating 59:17       133:3 210:20
 169:13 170:8        219:19            257:12           started 16:11       114:8 183:21      sticking 57:24
 175:19 202:11      somebody          specifically       65:19 133:1, 2    status 221:25      stipulate
 211:7, 8            63:9 89:6         18:14 19:22       207:21             222:4, 6           96:25 97:5
 231:21 232:17       101:3, 15         23:17 33:8       startling          statute 20:16       167:10 171:14
 233:3               102:8 117:6       55:15 60:15       240:11             45:22, 23         stipulated
significance         138:5 218:23      111:9 130:9      starts 57:13        49:25 63:4         51:10, 12 52:6
 252:19              237:1 240:22      198:24 205:19    State 1:1 4:6,      72:23 77:15,       88:11 90:7
significant          241:20 242:7     specificity       9 7:5 10:9         21 84:6 111:4       91:23 118:10
 102:18 103:24      somebody's         103:2             11:24 16:7, 9,     154:18 167:25      139:17 155:1
signing 204:17       98:7             specifies 197:1   10, 25 17:1, 10,    168:3 175:18       177:2 213:19
signs 201:5         somewhat          speculation       19 20:9 26:19       176:1 182:13,      232:23
silence 187:18       86:20 133:17      100:13            27:21 42:12       16 193:15          stopped 137:8
similar 42:11       son 81:7          speed 140:16       49:24 53:15        196:20 200:20     store 88:25
 141:25 161:16      soon 80:7         speeding           65:10, 12, 17      202:12 205:18,    story 122:16
Similarly 57:7       237:1 246:9       255:12            66:23 76:13       19, 20 206:21      straight 201:14
simple 133:14       sooner 215:22     spend 13:24        78:24 79:1         213:1, 2, 5
simply 85:16         235:14            106:1 151:5       82:7 91:22         217:19, 22, 23    straightforward
 92:16 164:12,      sorry 12:15        205:13            110:12 131:23,     218:17 219:1       107:2
16, 20 170:16        23:8 25:20       spent 61:15, 18   25 132:8, 13,       220:25 228:4,     streaming
 171:19 182:4        36:5 57:11, 15   spoke 110:15      20 136:20          12, 13, 15          10:25
 188:8 208:21        58:16 61:3        240:9 248:17      137:6, 12, 13      229:3, 21         Street 1:1 2:1
 236:10 250:16,      71:14 74:21,     spoken 259:8       142:8 154:1        231:20 232:10     strike 60:9
25                  22 85:20          spot 228:10        156:7 160:19       234:7 243:6,       142:17
single 50:10         105:13 115:5     spreadsheet        168:14 172:10     10 252:2           strive 19:19
 90:23 146:23        118:24 129:21     89:7              175:1, 16         statutes 12:8      subject 34:14
sir 16:5 19:22       137:2 141:9      Spring 1:1         176:9 177:7        64:2, 7, 12, 14    45:19 75:1
 20:5 27:9           142:17 147:4,    spurred 48:20      178:3, 5           193:7 194:7        93:17 95:19
 48:1 60:22         13 148:5          squarely           186:14 202:21      195:7, 9, 10       128:5 153:13
 122:24 157:15       165:10 179:20     135:9 261:3       203:21 206:4       199:3, 5           192:23 208:5
sit 11:4 134:7       180:12 255:13    staff 17:5         243:22 259:23      200:24 208:23      215:19 232:2
 240:19             sort 30:1          89:3, 13, 20     stated 55:12        215:6 250:23       234:4
sits 134:18          106:6 190:24      113:12 146:17,    94:3 132:11       statute's 203:9    subjective
sitting 10:21        192:6 201:21     22 173:24          158:12 170:9      statutorily         233:20, 24
 11:3 64:4           205:23 211:24    stage 193:13      state-level         16:23             submissions
 179:20 240:13       241:9 257:7       195:21, 25        79:11 110:5,      statutory 8:18      36:10
situation           sorts 241:5        196:12 197:23    10                  53:9 86:23        submit 77:6
 13:13 101:20       sought 112:4       220:15           statement           161:24 199:4       128:20 131:19
 117:15 138:16       187:12 205:9     stages 196:14      7:13 13:25         201:22, 23         132:12 133:3
 147:8 202:25        249:12           stamp 129:18       78:7 105:8         202:1, 2 205:1     149:4 225:12
situations          sounded 118:7,     142:25 144:1      135:18             206:18 208:24     submits 115:9
 22:22 147:10       9                  208:11 259:17    statements          209:17 228:23     submitted
six 101:10          sounds 41:18      stamped            14:3               229:8 233:18       18:20 21:23
 109:24              51:4, 9 52:19     129:19           states 39:4         235:8 248:8, 9     48:24 49:2
Sixty-four           156:1            stand 11:6         62:19 83:12        252:7 258:9        51:7, 13, 16, 19
 113:21             speak 10:21,       97:21 134:7       97:23 138:18      stay 27:1           57:25 89:1
slightly 79:8       24 11:4 12:13      227:1 240:19      170:7 210:24       52:5 56:13         108:12 114:25
sliver 213:4         63:12 179:4      standard           225:21 243:19      213:25 214:1       116:14 118:3,
Sloppy 70:5         speaking 17:2,     190:11            244:8, 11          227:21            16 124:16
slots 177:15        4, 10 63:19                         State's 17:19      stayed 46:22        130:18 148:23
                     76:23, 24                                             staying 196:16      149:12 150:15


                                       Pa.App.0799
                            Strehlow and Associates/LEXITAS
                                      215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 804 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    295 of 378                              29
                                               7/28/2022

 151:13 157:17     Summary             156:9, 18           tabulates 50:1    tangent 245:24      192:18 194:9,
 169:25 209:11      7:10 25:24, 25     157:19, 22, 25       77:16            task 262:3         22 220:17
 218:21 220:13      56:25 83:11        159:9 165:10,       tabulating        technically        testifying
subsequent         Sundays 72:14      18, 19 166:16,        17:7 18:18        185:14, 20         107:13 221:16
 23:11 29:20       Superior           17, 18, 20            19:6              190:7, 8          testimony
 96:23 129:11       237:17             167:2 168:22        tabulation        teed 216:14         13:9 20:24
 179:9 193:13      Supervisor          180:23 181:6         19:2 76:14        235:11             37:7 56:20
subsequently        196:4              182:21, 25           124:17 131:25    tell 30:23          60:4 62:17, 18
 19:14 26:18       Support 83:8        183:3, 4            take 11:4          38:13 70:18        74:5, 9 123:8,
 116:25             255:3, 5, 9, 15    210:21 214:15        37:17 49:7        71:12, 23         16 124:6
substance           256:17 260:8       215:2 221:21,        70:1 77:8         72:10, 16          140:13 141:20
 68:14             supports 256:8     23 229:6              84:23 105:25      82:17 89:21,       151:5, 25
substantial        suppose 100:6       230:12 240:20        107:7, 11, 23    23 94:11            160:2 161:10
 107:20 177:12     supposed 12:5       242:7 258:22         129:14 133:5,     95:23 109:25       171:9 184:6
 225:3              193:18 245:20     surprise             7 146:18, 22       121:17 124:2       208:2 245:14
substantively      Supreme 5:21        243:16               151:14 152:6,     133:3 151:20      testing 126:24
 38:6 198:15        6:2 21:20         surprised            19 153:10          194:13 222:9      text 40:9, 12,
succeed             24:15 26:25        177:17               158:10 179:15     246:7 247:23      15 201:11, 14
 204:20 224:25      46:4, 13, 23      surrender             184:22, 24       telling 85:24      thank 9:23
success 190:9       47:15 62:18,       39:21 40:3           186:3 210:16,     137:5 182:5        11:12 12:24
 224:20 227:12     19 72:20           survive 250:14,      19 212:24          239:2 247:2        13:17, 18, 20,
successful 84:4     81:25 98:23       15, 17                217:2, 13        tells 49:25        21, 22 14:16,
successfully        138:18 183:20     suspect 71:23         228:24 251:5,     87:17             17, 19, 23 15:5,
 252:14             199:6, 20          94:11               8 252:25          Template 4:5       23, 25 16:18
sudden 244:10       200:11 203:5      sustain 44:17        taken 108:3        20:8 37:21         18:2 19:8
sue 131:11          207:5 208:7        135:22               177:23 186:11    ten 217:8           20:3 24:21, 24
 195:3 252:16       210:7 213:17,     swaths 259:19         207:10 236:16,   tend 86:12          25:23 30:12
sued 131:8         25 215:12, 20      swear 81:22          17 245:8          tenure 71:18        31:1 34:9
 257:17             223:10, 13         222:15               246:22 257:12    Teresa 158:13,      36:14, 15, 17
sufficiency         235:14 236:23     swore 137:11         takes 80:4        20 159:3            37:6 41:5, 24
 133:24 134:4,      241:1 244:8,      sworn 15:4            129:14 213:24    term 17:24          44:20 45:2
9, 25 135:5, 16    11 246:9            125:17 141:4         216:25 227:5      54:2 70:20         47:20 60:22,
 201:10, 19         247:19 251:6       160:11              talk 48:8          92:3 111:1        23, 24, 25
 205:6              255:20 257:16,    system 79:2, 7        50:22 112:23      121:18 178:20      61:10, 14
sufficient         19                  89:8, 10, 11, 17,    113:2 252:18,     246:17             64:21, 22, 23,
 43:12, 17 44:3,   sure 7:15          19 104:19            22                terminated         25 65:1 70:13
4, 5, 8 186:4       8:21 11:7          129:23 144:4        talked 35:25       236:7              75:3 76:16
 191:10, 13         14:13 15:21,       145:7, 11            48:9 251:11      terms 15:16         81:2 82:25
 199:1, 2          23 19:19            157:19, 22          talking 17:24      66:1 90:4          85:2 86:16
 200:16, 17, 19     20:15 23:9         165:19, 21           46:3 69:8         110:17 121:20      87:20 93:21
 201:2, 6, 13       30:22 35:4         166:20 167:2         97:12 102:7,      135:15 233:16      94:23 97:12
 205:4              38:2 52:3          168:23 176:4        13 113:8          terrific 245:16     101:13 108:2
suggest 107:3       64:14 65:22        221:21, 23           124:24 134:5     territory 92:16     109:6 110:15
 187:22, 23         79:14, 17, 18      240:20 242:6,        149:14 150:5,    test 165:5          111:16, 18, 19,
 232:10 236:15,     80:1 83:3, 5,     7 246:15             8 162:3            190:10            21 115:25
20, 25 239:13      24 86:10, 20       systems               188:15, 20, 25   testified 15:4      116:3, 19
 240:17, 18         88:9 93:14         104:18, 20, 21       196:18 213:1      23:1 44:12         118:22 120:4
 246:19 247:4       96:10 99:16                             224:20 241:4,     48:11 49:4         123:3, 5, 6, 7
 249:10             105:15 106:25     <T>                  5 242:1, 2, 15     56:24 58:2         125:4, 5, 6, 8
suggesting          126:20, 21, 25    Tabas 63:5, 7         253:23            62:4, 6, 11, 12    126:11 127:11
 98:23 220:23       127:6 128:7, 8    table 241:13         talks 237:19       68:17 114:17       128:23 140:8,
 247:14             129:23 130:1      tables 10:21         tallied 19:12      125:17 135:10     9, 10, 12
suggestion          131:6 137:19      tabulate 26:14       tallies 189:24     141:4 147:14       141:14 152:11
 185:8 229:11       139:16, 22         28:7 49:8, 9         225:12 226:6      150:14 160:11      154:13 157:3,
suitable 11:11      142:4 144:4        53:19, 20 54:4       249:18            172:19 181:19     4 159:25
Suite 1:1           145:3, 6, 11       76:11 77:3, 9       tally 244:2       testifies 74:3      160:1, 3, 5, 7
suited 77:14        148:1 150:7        84:13 116:12         253:11, 12, 16   testify 11:19       162:15 168:8
summarizes          152:3, 8, 15       131:24 132:12,      tandem 199:21      15:12 62:9         176:18 180:25
 28:10              154:19 155:22     19 243:12, 13                           87:12 135:2        181:2, 3


                                      Pa.App.0800
                           Strehlow and Associates/LEXITAS
                                     215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 805 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    296 of 378                            30
                                                 7/28/2022

 182:14 183:12,     17, 25 98:9, 10,   Third 5:6 8:3         185:3, 19        timing 46:25     transcript
13 184:3, 5, 8      11, 13 99:4, 23,    23:6 24:9           Thursday 1:1       50:22 59:15      6:23 263:5
 186:1, 2, 5, 8,    24 100:2, 10,       26:22 46:7          tie 81:6           194:4 213:22    transparency
10, 12 209:4        19 101:19           47:13 51:24         ties 177:16       Timothy 27:21     148:17, 18
 233:5 235:22        102:19, 22, 24     59:4 100:19         Tim 35:9          tirelessly       treat 142:10,
 236:2, 3            104:6 105:9,       166:21 172:1        time 14:12         261:24          13 146:6, 9
 242:19 251:16,     25 106:14, 19       174:15 176:10        24:2, 5 28:18    title 42:20       204:23
20, 22, 23           107:11, 12, 14,    207:4 213:23         30:20 37:17      today 7:4        treating 256:17
 253:3 258:21       20 108:10           228:1, 3, 6, 19      47:7 57:20        8:25 35:7       trick 96:21
 260:21 261:9,       110:25 115:11,     229:20 244:14        60:22 61:18       68:21 69:19     tried 24:22
10, 12 262:7        20 118:20           245:4 260:17         71:8, 11, 16      71:24 74:12,     111:25
thanking 57:13       121:19 125:3      THOMAS 2:1            74:12 82:9       15 90:11         tries 128:15
Thanks 115:6         126:10 134:3,      8:9, 11 61:13        87:2, 4, 6        97:13, 21       trip 8:25
theoretical         8 135:14            176:24               99:24 102:17      123:8 135:2     trouble 12:10
 254:20              139:6, 22         thorough              106:2, 6 107:3    160:2 184:7     true 21:10
thereof 76:15        151:14, 15, 25     213:9 261:13         113:8 114:3       187:22 204:5     51:6 62:20
 197:3               154:3, 15         thoroughly            123:17, 18        206:1 209:8,     66:3 72:1, 15
thereon 43:20        155:24 162:23      261:3                125:10 129:5,    16 212:17         94:3 163:2
thereto 119:8        169:9, 12         thought 13:4         18, 19 134:20      213:18 215:16    219:2 257:25
thing 25:20          170:14 178:20      155:14 206:10        138:14 142:25     228:3 244:9      263:5
 41:2 59:2           182:24 183:9       207:1 209:25         143:25 146:17     249:5 253:23    trust 176:4
 61:6 77:20          184:22 185:6,      214:18 222:24        151:5, 8 160:2    261:25          truthful 74:19
 109:17 136:21,     8, 22 186:4        thoughtful            184:7, 19        today's 40:12,    245:17
22, 23 166:13        193:4 194:22,      261:12               185:7 195:4      23 232:18        truthfully
 245:25             24 199:6           thousand              205:13 206:7      250:14           74:20
things 12:7          202:13 204:19,     104:6                208:9 210:2      told 57:22       try 9:20
 38:13 63:18        20, 23 205:2,      thousands             214:21 219:11,    157:18 176:5     105:22 106:1
 64:8 67:3          13 206:2, 12,       104:25              13 227:15, 22      188:3 223:8      109:7 112:14,
 70:19 71:22        19, 24 211:14,     thread 34:18          230:3 231:14      257:16          23 140:16
 109:16, 17         16 212:2, 9        three 7:23            244:23 245:8,    tomorrow          194:14 234:4
 121:18 122:2,       213:8, 17          8:1 32:7            16 248:17          236:24 244:10    236:5 238:23
4, 13, 17            214:6, 21, 24,     35:18, 21 36:5,      249:20 251:16    top 25:18         241:15
 124:25 137:5       25 215:25          10 43:5 48:23         252:11, 25        34:6 38:5       trying 26:10,
 140:16 197:4,       217:12 218:1,      49:16 50:3, 5,       256:20 260:25     76:6 174:3      12 70:21
8 207:24            3, 9, 12 219:17,   12, 18 51:22         timeline 23:9     topic 106:23      74:22 100:18
 208:1 238:8        21 220:2, 21        52:21 54:12,         41:18 51:9       toss 200:4        154:20 203:24
 245:7 251:11        221:7 223:3, 6,   16 55:11              52:9 209:24      total 33:20       209:19, 20
think 7:21          13 224:14           60:16 71:1           213:17            36:3 79:22       214:4 215:5
 9:4, 6, 7 10:10,    225:1, 9, 12       88:3, 10, 11, 12,   timeliness         155:23 177:5     216:11 232:18
12 11:17, 21         226:24 227:2,     19 89:16 90:2,        12:2 22:4        totals 18:22      234:1, 10
 12:1, 8, 9, 21     9, 24 228:8, 9,    11, 18 91:10          51:23 133:21      26:18 28:7       238:6 239:24
 13:4, 8, 13        10, 11, 19, 20,     96:14 98:3           134:5, 10, 24     30:3 31:10       259:10
 14:2 18:5          23 229:2, 25        107:15 109:7,        165:6 216:4       34:21 35:16     tuned 56:13
 22:8 24:24          230:1 231:25      16, 17, 19           timely 22:1        53:6, 9, 18     turn 38:8
 32:6 44:1, 14,      232:15, 22         112:1, 8 118:2       98:18 126:22      54:4 58:5        42:10, 24
23 45:13, 15,        234:23 236:9       129:9 155:2          129:15 134:13     90:20 109:19     162:2 208:23
21 47:23, 24         239:24 247:6,      172:15 173:23        143:1 164:7       112:2, 9        turning 39:3
 50:19, 20 52:6     8, 10, 12, 16       186:15 187:2         180:10 188:17     120:17 121:3    twist 234:4
 53:17 54:20         249:20, 25         195:2 210:15,        198:9 209:11      130:18 131:19   twisting 234:9
 57:18 58:6          251:11 252:15,    16 211:8              214:4 219:24      132:12, 19      Two 5:10
 60:3 61:20         20 253:17, 20       212:19 213:23        221:6             149:3 172:17     12:1 20:12, 14
 69:5 72:4, 11       254:5, 14, 24      216:16 217:7        times 93:12        173:16, 19       28:18 34:25
 73:2, 3 74:5, 6,    256:3, 5           220:16 243:21        102:12 193:8      174:16 240:5     38:1, 12, 13
25 75:20             259:19 260:12      250:10 254:16        207:3 251:4      Township          41:14 51:19
 77:13, 20 78:1      261:5              256:10 258:17       time-stamp         196:4            52:23 61:21
 85:8 87:12, 13     thinking 70:7      threshold 7:17        142:22, 24       track 64:24       65:5 69:15
 88:8 89:21          215:16             11:20 12:18          144:2            training          70:19 78:23
 90:1, 10 91:15     thinks 244:14       13:15 73:5          time-stamped       126:18           84:5 107:16
 93:10, 11 95:5,    thinly 237:8                             165:9                              110:17 119:16


                                       Pa.App.0801
                            Strehlow and Associates/LEXITAS
                                      215-504-4622
            Case:
           Case   23-3166 Document:
                1:22-cv-00339-SPB    146 Chapman
                                  Document
                                   Leigh   Page: 806 05/05/23
                                           301 Filed   Date Filed:
                                                               Page01/10/2024
                                                                     297 of 378                             31
                                                7/28/2022

 122:2, 3, 13, 17,   uncomfortable       146:12, 21         138:18 243:18    28:15 48:5       vote 28:7
18 124:25             132:23             155:8 165:10       244:8, 11        67:3 68:9         30:2 32:22
 131:19 138:6        unconstitutiona     174:11 177:17      261:16           76:9 77:2         34:21 38:14,
 149:12 150:15       l 136:25            182:1, 6 199:2    University        80:7 84:12       22 39:5, 13, 16,
 156:17 158:23       uncounted           209:18 210:18      65:7             102:12 135:17    20 40:2 41:2
 165:1 167:9          110:2              212:10 216:6      unofficial        194:11            53:6, 9, 18
 175:21 181:19       undated 22:12       237:18 259:1       79:23 89:2      vary 79:1          58:5 79:21
 195:13 196:21        23:3 24:4, 11     understanding      unprecedential   vast 89:10         90:20 103:12,
 197:8 199:3          26:15 28:8         34:16 36:11        255:1           vehicle 251:8     13 117:17
 205:9 206:12         29:14 30:3         44:15 56:10       unpublished      veiled 237:8       120:17 121:3
 212:12 218:17,       31:9, 25 33:20     63:11, 18          213:13          vendors 104:21     124:21 127:12
22 219:16, 23         34:21 35:15,       69:13 71:4        unreported       veracity           128:1, 10
 221:4 225:12        25 36:11 47:5       87:13 93:1, 10,    213:12           148:16, 18        133:5 139:10,
 226:6 228:11         48:14 53:6, 15,   16 94:23, 25       unsigned         verification      11 147:1, 24
 231:19 234:8        18 54:18 58:5       95:2 106:19        170:18 189:1     70:11             155:2 156:16
 237:7 240:11         59:9 69:2, 18      121:22 128:12     unstinting       verifications      173:16, 19
 254:15 256:25        72:3 90:20         138:8, 10, 15      233:16           67:2              174:16 175:14
 257:6, 9             91:3 98:8          142:16, 19        untimely 7:24    verified 63:23,    176:2 201:1
 259:13               109:19, 25         147:1, 6, 22       8:20 180:8      24 70:15 73:4      202:19 203:19,
two-day 87:9,         110:1 112:1, 8     154:11 159:16      220:1 248:25     85:15 191:25     20 204:2, 7
21 88:2 95:22         114:3, 8           171:21 183:19     upcoming         verify 129:15      205:1, 16, 19
tying 77:20           120:18 121:4       253:10 258:12,     215:14          verifying          226:6 228:14,
type 137:2            130:10, 17, 22    17                 updated 51:17     22:24 89:14      17 229:14, 15,
 176:3                131:1, 18, 20     understands         181:13 182:2    vernacular        18 231:10
types 60:5            132:10 136:4       259:12            upset 206:7       111:3 216:9       234:16 241:8
 150:5                139:3, 12         understood         urge 212:18      versa 169:14       242:4, 6
typical 25:13         149:3, 6, 15       32:3 56:19         229:12 235:14   verse 54:15        261:19
Typically             154:4 155:20       86:4 167:4        urging 212:17    version 233:10    voted 20:18
 21:24 25:15          159:19 162:4,      172:7 189:19      use 17:23        versus 7:6         29:14 39:8, 17,
 74:9 112:20,        7 165:24            209:15 215:4       21:13 22:3, 7    124:2 150:23     22 50:13
22 113:1              168:14, 15, 20     225:12 230:16      54:2 79:17       199:7 231:12      76:13 102:11
 114:22 128:1         170:11, 12, 18     248:21             92:3 111:1       238:3             178:8 201:2
                      171:2, 20, 24     undisputed          130:2, 6, 14    vest 245:21        203:24 221:12
<U>                   172:10, 17         224:22             142:25 143:2,   viable 225:7       241:6 242:5
U.S 5:21              173:16 174:12,    unequivocally      25 147:15        vice 169:14       voter 7:24
26:25 29:21          17 175:19           255:19             149:25 162:7    Vice-chair         20:10, 18 21:1
51:2 97:17            176:2 177:3,      unfortunate         187:25 199:12    126:9             22:3 23:20, 25
119:8 174:14         12 183:21           248:12             216:8           view 10:10         37:22 38:13,
243:22                188:24 189:1      unfortunately      uses 165:4        11:17 12:19      21 40:7, 18, 19
U.S.C 205:17          194:25 210:9       215:25            usually 109:12    35:21 54:19       50:11 60:11
ultimately            213:2, 21         unfounded           113:2            176:14 194:20     90:23 98:18,
35:14, 19             218:15 223:6       245:1             utmost 148:19     212:21 218:15    20 100:23
45:24 46:23           224:7 226:7,      uniform 78:24,                       235:4 244:25      101:20, 21, 22
56:5 65:23           13 229:23          25 104:14          <V>              viewed 166:13      116:20, 24
73:13 85:16           232:6 233:23      uniformity         Vacate 119:18,   viewing 18:18      117:2, 7, 10, 11,
88:21 91:4, 7         235:5 246:24       217:6 260:23,     19, 22 226:20,   violate 135:11    14 129:2
120:25 186:25         253:12 257:17     24                 21 254:15        virtue 259:4       130:11 143:11,
192:19 208:8          258:18            uniformly          vacated 46:23    voice 11:2        17, 22 144:22,
251:14 253:21        understand          216:23 231:25      253:24          void 43:18        24 145:1, 20
254:6 261:7           7:11 9:24         unilateral         vacating 52:5     84:21 208:11      146:25 147:1,
unable 29:16          22:13 31:24        111:14             121:11 254:12   voided 39:24      5, 12, 14, 16, 22
unambiguous           39:15, 20 40:2    unilaterally       vague 80:14       40:1, 4 200:7     148:13 149:20,
233:18                41:1 55:25         112:1, 8          valid 204:7      volume 11:2       24 150:22
uncertain             56:17 70:20       unimportant        validity          24:22             152:15, 17
136:19                75:9 94:18         204:13             100:21 144:12   voluntarily        153:16 157:17,
unclean 180:4         103:5 122:16      unique 165:3,      variety 16:14     118:19 169:3     21 159:3
182:21 183:3          127:9 131:12      15 166:9            104:19          Voluntary          163:9, 17, 21,
247:22, 24            134:11 135:6      United 62:19       various 17:17     119:5 121:7      23 164:5, 17
248:7, 10             138:5 139:11       83:11 97:23        18:20 23:11      216:7             165:21, 23, 25


                                        Pa.App.0802
                             Strehlow and Associates/LEXITAS
                                       215-504-4622
           Case:
          Case   23-3166 Document:
               1:22-cv-00339-SPB    146 Chapman
                                 Document
                                  Leigh   Page: 807 05/05/23
                                          301 Filed   Date Filed:
                                                              Page01/10/2024
                                                                    298 of 378                             32
                                             7/28/2022

 167:13 168:25      62:23 64:10,      234:19, 24         256:6, 13         wholesale          words 131:6
 169:2 170:8       24 70:19 71:1,     250:2, 18, 20      258:11 261:22      212:17             225:14 234:11
 188:22 198:7,     2, 21, 23, 24      251:2 253:17      went 30:5          willing 123:15      244:14
13, 17 199:12,      72:5 73:21        258:13, 14         35:12 95:21       winners 97:14,     work 65:9
15, 18 200:25       74:25 75:7       ways 165:1          124:5 174:18      19, 23 206:9        67:1 89:3
 201:8, 9 202:7,    77:15 79:3, 5    wearing 81:5        194:23 214:17     wise 213:9          112:11 138:13
9, 11 203:19,       81:23 82:11,     Wecht 211:8         226:1             wish 10:20          185:23 245:16
21 204:18          16 84:8 86:9,      234:6, 14         we're 8:7 9:3,     withdraw            261:24
 209:10 216:3      19, 20 88:9        256:15, 23        5 10:10 13:12,      47:19 78:7        worked 16:13,
 217:15 228:14,     89:21, 22        Wecht's            24 14:2 17:24       80:25 81:3        14 66:3
17 229:17           91:21 95:10       211:18 213:6       20:23 28:19        86:14 129:21      workers 17:5
 232:20 234:18      96:25 104:3       230:2 232:19       54:17 64:13        180:24             126:19 261:23
voters 22:9, 15,    105:15 106:3,     233:9              70:21 74:11,      witness 14:25      working 65:12,
17, 18 43:24       4, 5 107:2        week 35:6          12 78:14            15:11, 17 20:3    14
 95:13 149:15       109:17 111:6      54:23 59:13        79:16, 17          24:21 41:24       works 89:9
 153:14 165:8       113:2 120:11      127:14 178:7       86:10 88:23        44:21 52:3, 9      196:2
 168:23 203:1,      135:24 136:10     221:4 244:10       90:1, 5, 10        60:23 61:3, 4,    world 73:6
10, 22 215:7        139:15, 16       weeks 42:18         97:12 112:24      7 68:19 70:4,       250:19, 20
 217:17 221:24      140:16 142:18     62:13 158:23       125:12 126:14     5 74:4, 25         worse 239:11
 222:4 261:4,       152:7 165:10     weigh 179:8         130:9 132:18       81:5 82:21        worst 246:14
18                  179:22 180:2     welcome 7:3,        134:5, 22          83:5 87:21        wow 222:24
voter's 38:17,      182:21 183:7     10                  135:10 140:1,      96:23 100:17      Writ 5:17
23 39:2, 4          185:3, 4 194:6   well 16:25         3 149:14            102:20 103:4       209:14
 44:7 117:7         205:23 214:21     17:7 18:25         150:5, 8 160:5     105:20 106:12     write 22:9, 15
voters's 38:24      222:14, 20        23:5, 8 24:8       176:5 185:12       116:4 117:23,      26:8 198:8
votes 17:7          241:7 245:15      26:22, 23 41:5,    189:1 203:24      24 120:25           231:11
 18:16 19:2, 6      247:5 251:2      12 45:13 46:5,      205:5 209:9        123:5, 12         write-in 80:6
 26:14 48:14        252:15, 25       6, 8 56:5 58:8      215:25 219:11,     125:8, 9          writes 163:17
 49:9 60:2, 5,      258:22 261:11,    59:24 66:16,      13, 23 232:13       133:15 134:11      202:7, 9
10 76:11 77:4      21                22 67:15            234:9 242:15       135:1, 6, 24      writing 163:10
 80:6 84:2, 14     wanted 15:21       69:20 71:21        243:15 253:23      137:2, 23          219:12
 136:14 159:14      64:10 95:24       73:11 74:1         257:25 258:5,      140:14 151:5      written 22:3, 7
 171:24 177:14      151:25 177:1      75:14 79:16       6                   154:23 158:5       117:16 130:2,
 197:15 203:2       180:10 236:25     80:17 84:6        West 2:1            160:3, 4 168:9    6 144:21
 215:7 218:13       241:6 246:18,     88:21 93:4        Western 67:13       179:15, 17         147:11 148:4
 224:4, 5          20                 98:16 99:17        83:13 104:5        181:3, 6 184:8,    162:7 163:2, 6,
 225:19 226:7      wanting 78:4       100:20 102:3,     Westlaw            9 245:17           19 164:11
 240:12 242:7      wants 206:12      25 103:1            233:10             249:20             205:15 232:9
 249:18 253:11     watch 11:1         120:17 124:5,     Westmoreland       WITNESSES           234:7, 24
 255:10 258:7      watchers 95:14    18 127:19           67:16, 20 69:1,    3:2 7:12, 20       253:17 262:5
voting 79:2        watching           131:8 134:14      2, 11, 17, 18       8:7, 23 10:13     wrong 22:20,
 104:18, 19, 20,    243:17            135:12, 20        We've 15:16         11:18 13:6, 9     21 29:18
21 228:16          water 61:2, 5,     143:15 153:10      22:17 23:10        15:7 106:5, 7,     40:25 60:3
 233:2             8                  156:7, 9           35:25 50:7        14, 15, 17, 21      71:14, 23
                   way 8:22           157:18, 25         68:9, 21 74:13     107:4 133:19       89:22 94:12
<W>                 9:20 13:23        168:3 174:8        80:3 93:11         184:11             98:9 136:12
wait 14:1           34:17 62:12,      175:13 181:16      104:12 107:12     witness's 105:8     138:12 207:5
 61:2 93:7         19 69:11, 12       185:1, 13, 23      127:15 146:3      Wiygul 83:7         214:13 230:11
 151:21 185:1       78:11 89:8        191:19 193:7       151:8 155:1       Wojcik 212:20       241:6 244:15
walk 190:19,        93:6 99:20        203:16, 24         162:2 171:9       won 177:25          246:25 247:3
21, 22 193:6        103:18 105:4,     204:24 210:12,     176:24 205:9      wonder 215:9       wrongly 23:3,
 198:4             5 113:1           18 211:15           220:2 229:25      word 44:5, 22      18, 19, 23 24:2
walked 197:21       126:24 128:8      214:12, 14, 21     234:19 238:15,     79:17 120:15,      26:15 28:8
walks 190:24        136:7 195:5       216:17 217:4      16 245:8           19 122:21, 25       30:3 36:1, 2, 5,
want 7:19           202:10 204:2      226:25 227:4       250:18 251:11      132:25 136:10     7, 9 230:7
 11:6 13:7, 10      205:21 213:21     229:6, 9, 13      whatsoever          137:1 187:25      wrote 122:20
 14:13 23:9         216:10, 16        233:4 242:25       110:3              199:1 246:16       143:22 163:23
 25:20 32:8         222:3, 25         243:2 244:21      whoever's          wording 20:17       164:14 204:11
 55:15 61:14        228:4 231:6       248:13, 18         243:17             69:9               205:15


                                      Pa.App.0803
                           Strehlow and Associates/LEXITAS
                                     215-504-4622
            Case:
           Case   23-3166 Document:
                1:22-cv-00339-SPB    146 Chapman
                                  Document
                                   Leigh   Page: 808 05/05/23
                                           301 Filed   Date Filed:
                                                               Page01/10/2024
                                                                     299 of 378   33
                                      7/28/2022

Wyomissing
1:1

<Y>
Yeah 56:23
 57:12 58:16
 75:14 95:6, 17
 101:18 116:10
 127:5 153:11
 181:24 222:12
 233:6
year 22:20
 40:25 41:1
 51:1 61:21
 161:4 178:16
 179:12 256:10
years 16:11,
15 61:15 62:7
 65:5 94:13
yellow 82:20
yesterday
 74:14 151:10
YouTube 11:1
 243:17

<Z>
Ziccarelli 5:23
 67:9, 12, 15, 16,
24 68:24, 25
 69:18 81:23
 82:3, 12 94:4
 240:10, 13
 257:13 258:4




                                   Pa.App.0804
                        Strehlow and Associates/LEXITAS
                                  215-504-4622
 Case:
Case   23-3166 Document:
     1:22-cv-00339-SPB    146 Page:
                       Document     809 05/05/23
                                301 Filed Date Filed:
                                                  Page01/10/2024
                                                        300 of 378




      Exhibit B



                          Pa.App.0805
        Case:
       Case   23-3166 Document:
            1:22-cv-00339-SPB    146 Page:
                              Document     810 05/05/23
                                       301 Filed Date Filed:
                                                         Page01/10/2024
                                                               301 of 378

                                                                            Page 1
·1· · · · · · · · · · · · J. Marks

·2· · · · · · · ·IN THE UNITED STATES DISTRICT COURT

·3· · · · · · FOR THE WESTERN DISTRICT OF PENNSYLVANIA
· · ·------------------------------------------------------x
·4· ·PENNSYLVANIA STATE CONFERENCE OF THE NAACP, et al.,

·5· · · · · · · · · Plaintiffs,· · · · ·Case No.
· · · · · · · · · · · · · · · · · · · · 1:22-cv-00339-SPB
·6· · · · · · · vs.

·7· ·LEIGH M. CHAPMAN, In Her Official Capacity as Acting
· · ·Secretary of the Commonwealth, et al.,
·8
· · · · · · · · · · Defendants.
·9
· · · · · · · ·- and -
10
· · ·EAKIN, et al.,
11
· · · · · · · · · · Plaintiffs,· · · · ·Case No.
12· · · · · · · · · · · · · · · · · · · 1:22-cv-00340
· · · · · · · ·vs.
13
· · ·ADAMS COUNTY BOARD OF ELECTIONS, et al.,
14
· · · · · · · · · · Defendants.
15· ·------------------------------------------------------x

16· · · · · · · · ·REMOTE VIDEOTAPED DEPOSITION OF

17· · · · · · · · · · · · JONATHAN M. MARKS

18· · · · · · · · · Jefferson Hills, Pennsylvania

19· · · · · · · · · · Tuesday, February 14, 2023

20

21

22

23· ·Reported by:

24· ·THOMAS A. FERNICOLA, RPR

25· ·JOB NO. 222618


                    TSG Reporting Pa.App.0806
                                  - Worldwide· · 877-702-9580
                  Case:
                 Case   23-3166 Document:
                      1:22-cv-00339-SPB    146 Page:
                                        Document     811 05/05/23
                                                 301 Filed Date Filed:
                                                                   Page01/10/2024
                                                                         302 of 378

                                                           Page 2                                                              Page 3
·1· · · · · · · · · · · J. Marks                                    ·1· · · · · · · · · · · · J. Marks
·2                                                                  ·2· ·A P P E A R A N C E S:
·3                                                                  ·3· ·(All Attendees Appearing Via Videoconference and/or
·4                                                                  ·4· ·Telephonically)
·5· · · · · · · · ·Tuesday, February 14, 2023                       ·5
·6· · · · · · · · · · · · · 9:00 a.m.                               ·6· · · · · · ·ACLU-PA
·7                                                                  ·7· · · · · · ·Attorneys for the Plaintiff(s)
·8                                                                  ·8· · · · · · · · · 1800 JFK Parkway
·9· · · · · · REMOTE VIDEOTAPED DEPOSITION of JONATHAN M.           ·9· · · · · · · · · Philadelphia, PA 19103
10· ·MARKS, held before Thomas A. Fernicola, a Registered           10· · · · · · ·BY:· VIC WALCZAK, ESQ.
11· ·Professional Reporter and Notary Public of the State of        11· · · · · · · · · MARIAN SCHNEIDER, ESQ.
12· ·New York.                                                      12· · · · · · · · · STEPHEN LONEY, ESQ.
13                                                                  13
14                                                                  14
15                                                                  15· · · · · · ·ELIAS LAW GROUP
16                                                                  16· · · · · · ·Attorneys for Eakin Plaintiffs in
17                                                                  17· · · · · · ·1:22-cv-00340
18                                                                  18· · · · · · · · · 10 G Street NE
19                                                                  19· · · · · · · · · Washington, DC 20002
20                                                                  20· · · · · · ·BY:· JUSTIN BAXENBERG, ESQ.
21                                                                  21· · · · · · · · · DANIEL COHEN, ESQ.
22                                                                  22· · · · · · · · · DAN OSHER, ESQ.
23                                                                  23
24                                                                  24
25                                                                  25


                                                           Page 4                                                              Page 5
·1· · · · · · · · · · · · J. Marks                                  ·1· · · · · · · · · · · · J. Marks
·2· ·A P P E A R A N C E S (Cont'd):                                ·2· ·A P P E A R A N C E S (Cont'd):
·3                                                                  ·3
·4· · · · · · ·PENNSYLVANIA OFFICE OF GENERAL COUNSEL               ·4· · · · · · ·DLA PIPER (US)
·5· · · · · · ·Attorneys for the Acting Secretary of the            ·5· · · · · · ·Attorneys for the Philadelphia County Board of
·6· · · · · · ·Commonwealth                                         ·6· · · · · · ·Elections
·7· · · · · · · · · 306 North Office Building                       ·7· · · · · · · · · 1650 Market Street
·8· · · · · · · · · Harrisburg, PA 17120                            ·8· · · · · · · · · Philadelphia, PA 19103
·9· · · · · · ·BY:· KATHLEEN MULLEN, ESQ.                           ·9· · · · · · ·BY:· M. DAVID JOSEFOVITS, ESQ.
10                                                                  10
11                                                                  11
12                                                                  12· · · · · · ·AMERICAN CIVIL LIBERTIES UNION
13· · · · · · ·ZIMOLONG LAW, LLC                                    13· · · · · · ·Attorneys for Plaintiffs in the 00339 Case
14· · · · · · ·Attorneys for the Lancaster County Board of          14· · · · · · · · · 125 Broad Street
15· · · · · · ·Elections                                            15· · · · · · · · · New York, NY 10004
16· · · · · · · · · 353 W. Lancaster Avenue                         16· · · · · · ·BY:· MEGAN KEENAN, ESQ.
17· · · · · · · · · Wayne, PA 19087                                 17· · · · · · · · · LUIS ROMAN, ESQ.
18· · · · · · ·BY:· JAMES FITZPATRICK, ESQ.                         18
19                                                                  19
20                                                                  20
21                                                                  21
22                                                                  22
23                                                                  23
24                                                                  24
25                                                                  25



                                     TSG Reporting Pa.App.0807
                                                   - Worldwide· · 877-702-9580
               Case:
              Case   23-3166 Document:
                   1:22-cv-00339-SPB    146 Page:
                                     Document     812 05/05/23
                                              301 Filed Date Filed:
                                                                Page01/10/2024
                                                                      303 of 378

                                                         Page 6                                                             Page 7
·1· · · · · · · · · · · · J. Marks                                ·1· · · · · · · · · · · · J. Marks
·2· ·A P P E A R A N C E S (Cont'd):                              ·2· ·A P P E A R A N C E S (Cont'd):
·3                                                                ·3
·4· · · · · · ·PENNSYLVANIA OFFICE OF ATTORNEY GENERAL            ·4
·5· · · · · · ·Attorneys for the Acting Secretary                 ·5· · · · · · ·SMITH BUKOWSKI
·6· · · · · · · · · 1600 Arch Street                              ·6· · · · · · ·Attorneys for Defendant Berks County Board of
·7· · · · · · · · · Philadelphia, PA 19103                        ·7· · · · · · ·Elections
·8· · · · · · ·BY:· ELIZABETH LESTER-ABDALLA, ESQ.                ·8· · · · · · · · · 14133 Kutztown Road
·9                                                                ·9· · · · · · · · · Fleetwood, PA 19522
10                                                                10· · · · · · ·BY:· JEFFREY BUKOWSKI, ESQ.
11· · · · · · ·DUANE MORRIS LLP                                   11
12· · · · · · ·Attorneys for the Delaware County Board of         12
13· · · · · · ·Elections                                          13· · · · · · ·GALLAGHER GIANCOLA, LLC
14· · · · · · · · · 30 South 17th Street                          14· · · · · · ·Attorneys for Intervenor-Defendants,
15· · · · · · · · · Philadelphia, PA 19103                        15· · · · · · ·Republican National Committee, National
16· · · · · · ·BY:· J. MANLY PARKS, ESQ.                          16· · · · · · ·Republican Congressional Committee, and
17                                                                17· · · · · · ·Republican Party of Pennsylvania (both
18                                                                18· · · · · · ·actions)
19                                                                19· · · · · · · · · 436 Seventh Avenue
20                                                                20· · · · · · · · · Pittsburgh, PA 15219
21                                                                21· · · · · · ·BY:· RUSSELL GIANCOLA, ESQ.
22                                                                22
23                                                                23
24                                                                24
25                                                                25


                                                         Page 8                                                             Page 9
·1· · · · · · · · · · · · J. Marks                                ·1· · · · · · · · · · · · J. Marks
·2· ·A P P E A R A N C E S (Cont'd):                              ·2· ·A P P E A R A N C E S (Cont'd):
·3                                                                ·3
·4· · · · · · ·BABST, CALLAND, CLEMENTS & ZOMNIR, P.C.            ·4
·5· · · · · · ·Attorneys for Bedford, Carbon, Centre,             ·5· · · · · · ·BUTLER COUNTY SOLICITOR'S OFFICE
·6· · · · · · ·Columbia, Dauphin, Huntingdon, Indiana,            ·6· · · · · · ·Attorneys for the Butler County Board of
·7· · · · · · ·Jefferson, Lawrence, Lebanon, Montour, Monroe,     ·7· · · · · · ·Elections
·8· · · · · · ·Northampton, Snyder, Venango and York County       ·8· · · · · · · · · 124 W. Diamond Street
·9· · · · · · ·Board of Elections                                 ·9· · · · · · · · · Butler, PA 16001
10· · · · · · · · · 603 Stanwix Street                            10· · · · · · ·BY:· H. WILLIAM WHITE, III, ESQ.
11· · · · · · · · · Pittsburgh, PA 15222                          11
12· · · · · · ·BY:· SEAN KEEGAN, ESQ.                             12
13                                                                13· · · · · · ·BACHARACH & MICHEL
14                                                                14· · · · · · ·Attorneys for Allegheny County
15· · · · · · ·WESTMORELAND COUNTY                                15· · · · · · · · · 564 Forbes Avenue
16· · · · · · ·Attorneys for the Westmoreland County Board of     16· · · · · · · · · Pittsburgh, PA 15219
17· · · · · · ·Elections                                          17· · · · · · ·BY:· LISA MICHEL, ESQ.
18· · · · · · · · · 2 N Main Street                               18
19· · · · · · · · · Greensburg, PA 15601                          19
20· · · · · · ·BY:· MELISSA GUIDDY, ESQ.                          20
21                                                                21· ·ALSO PRESENT:
22                                                                22· · · · · · JACOB BOYER, ESQ.
23                                                                23· · · · · · MARK VON LANKEN, Videographer.
24                                                                24
25                                                                25



                                     TSG Reporting Pa.App.0808
                                                   - Worldwide· · 877-702-9580
                                                                                                                                     YVer1f
               Case:
              Case   23-3166 Document:
                   1:22-cv-00339-SPB    146 Page:
                                     Document     813 05/05/23
                                              301 Filed Date Filed:
                                                                Page01/10/2024
                                                                      304 of 378

                                                    Page 10                                                  Page 11
·1· · · · · · · · · J. Marks                                  ·1· · · · · · · · · J. Marks
·2· · · · ·THE VIDEOGRAPHER:· Good morning.                   ·2· · · · ·This is the start of media
·3· ·My name is Mark Von Lanken.· I'm a                       ·3· ·labeled No. 1 of the video-recorded
·4· ·Legal Videographer in association with                   ·4· ·deposition of Jonathan M. Marks in the
·5· ·TSG Reporting.                                           ·5· ·matter:· Pennsylvania State Conference
·6· · · · ·Because this is a remote                           ·6· ·of the NAACP, et al. versus Leigh M.
·7· ·deposition, I will not be in the same                    ·7· ·Chapman, et at., in the United States
·8· ·room as the witness.· I will be                          ·8· ·District Court for the Western District
·9· ·recording this videotaped deposition                     ·9· ·of Pennsylvania, Case No.
10· ·remotely.                                                10· ·1:22-cv-00339-SPB.
11· · · · ·The reporter, Tom Fernicola, also                  11· · · · ·This deposition is being held on
12· ·will not be in the same room and will                    12· ·Tuesday, February 14, 2023, at
13· ·swear the witness remotely.                              13· ·approximately 9:07 a.m. Eastern time
14· · · · ·Do all parties stipulate to the                    14· ·zone.
15· ·validity of this video recording and                     15· · · · ·All counsel will be noted on the
16· ·remote swearing, and that it will be                     16· ·stenographic record.
17· ·admissible in the courtroom following                    17· · · · ·Will the court reporter please
18· ·Rule 30 of the Federal Rules of Civil                    18· ·swear in the witness.
19· ·Procedure and the State's rules where                    19
20· ·this case is pending?                                    20
21· · · · ·As we spoke and agreed to before                   21
22· ·we went on the record, if you do                         22
23· ·object, please state your objection                      23
24· ·now.                                                     24
25· · · · ·Thank you.                                         25
                                                    Page 12                                                  Page 13
·1· · · · · · · · · · · · J. Marks                            ·1· · · · · · · · · J. Marks
·2· ·JONATHAN M. MARKS,                                       ·2· ·issue here of undated mail-in ballot
·3· ·called as a witness, having been duly sworn by a         ·3· ·envelopes.
·4· ·Notary Public, was examined and testified as follows:    ·4· · · · ·Those cases are not consolidated,
·5· ·BY THE REPORTER:                                         ·5· ·but we have counsel from the other
·6· · · · ·Q.· · Please state your full name and              ·6· ·case, the Eakin case, on.
·7· · ·address for the record.                                ·7· · · · ·Mr. Baxenberg, I don't know if
·8· · · · ·A· · ·My name is Jonathan Marks.· First            ·8· ·you want to state for the record your
·9· · ·name, J-o-n-a-t-h-a-n; last name,                      ·9· ·role or involvement or the arrangements
10· · ·M-a-r-k-s.                                             10· ·we have for today?
11· ·BY MR. WALCZAK:                                          11· · · · ·MR. BAXENBERG:· Yes.
12· · · · ·Q· · ·Good morning, Mr. Marks.                     12· · · · ·This is Justin Baxenberg with
13· · · · ·A· · ·Good morning.                                13· ·Elias Law Group representing the Eakin
14· · · · ·Q· · ·We've done this at a time or five            14· ·plaintiffs.
15· · ·so we know each other, but for the record,             15· · · · ·And we have separately noticed a
16· · ·my name is Vic Walczak.· I'm one of the                16· ·deposition for the same date and time,
17· · ·lawyers for the plaintiffs and NAACP versus            17· ·and have agreed that the deposition
18· · ·Chapman, I believe now Schmidt.                        18· ·given today will be admissible in both
19· · · · · · · ·So I know you've been deposed,               19· ·cases so that we don't have to go back
20· · ·that's correct, before?                                20· ·through the same set of questions.· And
21· · · · ·A· · ·That's correct, yes.                         21· ·the time for the depositions will run
22· · · · ·Q· · ·I want to go over, I think, some             22· ·concurrent.
23· · ·ground rules here before we get started.               23· · · · ·MR. WALCZAK:· Is that acceptable,
24· · · · · · · ·MR. WALCZAK:· So I note that                 24· ·Ms. Mullen?
25· · · · ·there are two cases involving the same             25· · · · ·MS. MULLEN:· Yes, no objection.

                                TSG Reporting Pa.App.0809
                                              - Worldwide· · 877-702-9580
                                                                                                                       YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     814 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    305 of 378

                                               Page 14                                                Page 15
·1· · · · · · · · · J. Marks                             ·1· · · · · · · · · · · · J. Marks
·2· · · · ·MR. WALCZAK:· So ordinarily, I                ·2· · · · · · · ·MR. WALCZAK:· Thank you,
·3· ·would ask all counsel in the room to                ·3· · · · ·Mr. Fitzpatrick.
·4· ·identify themselves, but because we are             ·4· · · · · · · ·MR. GIANCOLA:· This is Russ
·5· ·in a virtual room, and there's an awful             ·5· · · · ·Giancola on behalf of the intervenor
·6· ·lot of counsel, Mr. Fernicola has asked             ·6· · · · ·defendant, and we'll probably have some
·7· ·that everybody email or put in the chat             ·7· · · · ·questions.
·8· ·their names and law firms and who they              ·8· · · · · · · ·MR. WALCZAK:· I'm sorry, who is
·9· ·represent.                                          ·9· · · · ·that?
10· · · · ·If folks could please do that.                10· · · · · · · ·MR. BUKOWSKI:· Yes, this is Jeff
11· · · · ·I would like to ask counsel who               11· · · · ·Bukowski on behalf of the Berks County
12· ·expect to ask Mr. Marks questions after             12· · · · ·Board of Elections.
13· ·I'm finished and Mr. Baxenberg is                   13· · · · · · · ·I may or may not have some
14· ·finished, if you could identify                     14· · · · ·questions.
15· ·yourselves on the record now.                       15· · · · · · · ·MR. WALCZAK:· So we have
16· · · · ·I'm saying if you might because,              16· · · · ·Lancaster, Berks, and Republican
17· ·of course, you may or may not want to               17· · · · ·intervenors; is that correct?
18· ·do so after you've heard the                        18· · · · · · · ·MR. BUKOWSKI:· Right.
19· ·questioning.· But if you think you                  19· ·BY MR. WALCZAK:
20· ·might, please identify yourselves now.              20· · · · ·Q· · ·All right.
21· · · · ·You're on mute.                               21· · · · · · · ·Mr. Marks, you're under oath
22· · · · ·MR. FITZPATRICK:· This is James               22· · ·here.· What you testify to, everything
23· ·Fitzpatrick from the Lancaster County               23· · ·that's said here, unless we go off the
24· ·Board of Elections.                                 24· · ·record, is going to be transcribed.
25· · · · ·I may or may not have questions.              25· · · · · · · ·I'm going to ask you a series of
                                               Page 16                                                Page 17
·1· · · · · · · · · · · J. Marks                         ·1· · · · · · · · · · · J. Marks
·2· ·questions.· I'm going to ask that you wait          ·2· · · ·Q· · ·She is your attorney today?
·3· ·until I finish asking the question before           ·3· · · ·A· · ·She is.
·4· ·responding, and I will try to do likewise.          ·4· · · ·Q· · ·Is there any reason that you
·5· · · · · · ·I'm sure Tom is a fantastic court         ·5· ·cannot answer questions honestly and
·6· ·reporter, but if we are talking at the same         ·6· ·truthfully today?· For instance, are you on
·7· ·time, there's just no way that he's going           ·7· ·any kind of medication?
·8· ·to be able to get that in a transcript.             ·8· · · ·A· · ·I am not, no.
·9· · · · · · ·Is that acceptable?                       ·9· · · ·Q· · ·If at any time you want to break,
10· · · ·A· · ·Yes.                                      10· ·please ask me.· This is not inquisition by
11· · · ·Q· · ·Also, if you don't hear a                 11· ·deposition.· We're here to have a friendly
12· ·question or don't understand a question,            12· ·exchange of information.
13· ·please tell me, and I'm happy to rephrase           13· · · · · · ·I would just ask that if you want
14· ·it or restate it.                                   14· ·a break, that you not do so when I have a
15· · · · · · ·If you answer the question, I             15· ·question outstanding.· If I have a question
16· ·will assume that you both heard and                 16· ·outstanding, I'm going to ask that you
17· ·understood the question.                            17· ·complete that, and then we'll go on the
18· · · · · · ·Is that fair?                             18· ·break.
19· · · ·A· · ·Yes.                                      19· · · · · · ·But, if for any reason, you need
20· · · ·Q· · ·Is there anybody else in the room         20· ·to take a few minutes, by all means, feel
21· ·with you there today?                               21· ·free to do that.
22· · · ·A· · ·Other than Ms. Mullen, no.                22· · · ·A· · ·Understood.· Thank you.
23· · · ·Q· · ·So it's just you and Ms. Mullen           23· · · ·Q· · ·Are you familiar with the lawsuit
24· ·there?                                              24· ·NAACP versus Chapman, or now Schmidt?
25· · · ·A· · ·That's correct, yes.                      25· · · ·A· · ·I am, yes.

                            TSG Reporting Pa.App.0810
                                          - Worldwide· · 877-702-9580
                                                                                                                YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     815 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    306 of 378

                                             Page 18                                                Page 19
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·Q· · ·What do you know about it?              ·2· · · ·A· · ·I reviewed previous testimony in
·3· · · ·A· · ·Well, very high level, what I           ·3· ·other cases related to this issue.· I also,
·4· ·know about it is that this is sort of a           ·4· ·of course, did a little bit of prep with my
·5· ·culmination of over two years of                  ·5· ·counsel.
·6· ·litigation, court opinions, but on the            ·6· · · ·Q· · ·When you say reviewed testimony,
·7· ·issue of undated, and now as of last year,        ·7· ·whose testimony?
·8· ·the term "incorrectly dated" ballots.             ·8· · · ·A· · ·My testimony.
·9· · · · · · ·And this is addressing that             ·9· · · ·Q· · ·Do you recall what other case
10· ·issue, whether those ballots should be            10· ·testimony you looked at?
11· ·counted.                                          11· · · ·A· · ·I can't recall the case, off the
12· · · · · · ·My understanding is this case is,       12· ·top of my head.· I testified in
13· ·at least, largely about whether the date on       13· ·Commonwealth Court last year on the issue
14· ·the ballot is material in determining the         14· ·of undated and incorrectly dated ballots,
15· ·qualifications of the voter.                      15· ·and I cannot recall the case at the moment.
16· · · ·Q· · ·You said that the litigation has        16· · · ·Q· · ·Would that be Chapman versus
17· ·been going on two years.· You mean the            17· ·Berks County?
18· ·issue has been litigated for two years?           18· · · ·A· · ·I believe that is correct, yes.
19· · · ·A· · ·The issue has been litigated for        19· · · ·Q· · ·Have you read the complaint in
20· ·two years, yes.                                   20· ·this lawsuit?
21· · · ·Q· · ·And this lawsuit was filed in           21· · · ·A· · ·I have, yes.
22· ·early November; is that correct?                  22· · · ·Q· · ·Let's go over your background
23· · · ·A· · ·That's my recollection, yes.            23· ·briefly here.
24· · · ·Q· · ·What did you do to prepare for          24· · · · · · ·What is your title and position?
25· ·today's deposition, if anything?                  25· · · ·A· · ·Currently, I'm the Deputy
                                             Page 20                                                Page 21
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·Secretary for Elections and Commissions at        ·2· ·of Electors, which is our statewide voter
·3· ·the Pennsylvania Department of State.             ·3· ·registration database.
·4· · · ·Q· · ·So in the pecking order, where          ·4· · · · · · ·After that, I became commissioner
·5· ·does that fall?                                   ·5· ·of the Bureau of Commissions, Elections,
·6· · · ·A· · ·Well, it falls below the                ·6· ·and Legislation.· And then in 2019, I
·7· ·Executive Deputy Secretary, who answers           ·7· ·entered this position.
·8· ·directly to the Secretary of the                  ·8· · · ·Q· · ·You're not a lawyer?
·9· ·Commonwealth.                                     ·9· · · ·A· · ·I am not, no.
10· · · ·Q· · ·So does that make you number 3 in       10· · · ·Q· · ·What year did you start at the
11· ·the department?                                   11· ·Department?
12· · · ·A· · ·Yes.· I've never really gave it         12· · · ·A· · ·Well, I worked nine years in the
13· ·deep thought.· But, yes, I would expect           13· ·Corporation Bureau, so I believe it was
14· ·that makes me No. 3.                              14· ·1993.· So I'm coming up on 30 years.
15· · · ·Q· · ·What kind of training do you have       15· · · ·Q· · ·When did you start working at --
16· ·for this job?                                     16· · · ·A· · ·It was late 2002 as legal
17· · · ·A· · ·Well, I actually have nearly 20         17· ·assistant.
18· ·years of experience in election                   18· · · ·Q· · ·That's when you started working
19· ·administration in a variety of positions at       19· ·on elections?
20· ·the Department of State, first as a legal         20· · · ·A· · ·Correct, yes.
21· ·assistant assigned to the Bureau of               21· · · ·Q· · ·So you've worked consistently and
22· ·Elections, then chief of the Division of          22· ·without interruption on elections since
23· ·Elections.                                        23· ·2002?
24· · · · · · ·And then I became chief of the          24· · · ·A· · ·I have, yes.
25· ·Division of the Statewide Uniform Registry        25· · · ·Q· · ·You said you became Commissioner

                            TSG Reporting Pa.App.0811
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     816 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    307 of 378

                                             Page 22                                                  Page 23
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·of Corrections [sic].· When was that?             ·2· ·registration, notaries, certifications,
·3· · · ·A· · ·Commissioner of corrections?            ·3· ·campaign finance, lobbying, disclosure.
·4· · · ·Q· · ·Not corrections, sorry.· I do too       ·4· · · ·Q· · ·Are you a career civil servant?
·5· ·much prison work.· Sorry, I'm not trying to       ·5· · · ·A· · ·Well, I'm not -- I don't know
·6· ·change your job title here.· Sorry,               ·6· ·what -- civil service means a specific
·7· ·Commissioner of Elections.                        ·7· ·thing in State government.· But I did work
·8· · · ·A· · ·Yes, that was in 2011.                  ·8· ·in private enterprise prior coming to the
·9· · · ·Q· · ·What is a commissioner                  ·9· ·Department of State for a few years.
10· ·responsible for?                                  10· · · · · · ·But, yes, you could probably
11· · · ·A· · ·At that point in time, the              11· ·characterize me as a career public servant.
12· ·commissioner oversaw all of the program           12· · · ·Q· · ·I'm sorry, my question was
13· ·areas including elections.· So it was             13· ·imprecise.· Let me put it a different way.
14· ·elections, notaries, legislation,                 14· · · · · · ·Are you a political appointee at
15· ·certification -- certifications, excuse me,       15· ·this point?
16· ·campaign finance, lobbying, disclosure.           16· · · ·A· · ·Yes, I do serve at the pleasure
17· · · ·Q· · ·When did you change roles at the        17· ·of the governor.
18· ·Department of State after that?                   18· · · ·Q· · ·But before that, were you a civil
19· · · ·A· · ·After that, I became Deputy             19· ·service employee?
20· ·Secretary in my current position in               20· · · ·A· · ·I was not at any time in civil
21· ·February of 2019.                                 21· ·service.· All of those positions I held
22· · · ·Q· · ·What are your job                       22· ·were non-civil service jobs.
23· ·responsibilities in that position?                23· · · ·Q· · ·Now, are you familiar with the
24· · · ·A· · ·Well, I oversee, basically, that        24· ·Pennsylvania Election Code?
25· ·deputate, that includes elections, voter          25· · · ·A· · ·I am, yes.
                                             Page 24                                                  Page 25
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · J. Marks
·2· · · ·Q· · ·How so?                                 ·2· · · · ·MR. WALCZAK:· I'm going to try my
·3· · · ·A· · ·Well, my first experience with it       ·3· ·technological wizardry by sharing a
·4· ·was as a legal assistant assigned to the          ·4· ·document on the screen, but it's not
·5· ·Bureau of Commissions, Elections, and             ·5· ·working here.
·6· ·Legislation.                                      ·6· · · · ·I'm going to put in the chat for
·7· · · · · · ·I've dealt with it quite a bit          ·7· ·counsel a link to the PDF.
·8· ·over the years, of course, in consultation        ·8· · · · ·MS. MULLEN:· Are these what were
·9· ·with our counsel, but I have a pretty good        ·9· ·emailed this morning?
10· ·working knowledge of the Election Code.           10· · · · ·MR. WALCZAK:· Correct.
11· · · · · · ·You know, it's been a relevant          11· · · · ·MS. MULLEN:· Okay.· We do have
12· ·requirement of each of the positions I've         12· ·printouts of them.
13· ·held is to have some firm understanding of        13· · · · ·THE WITNESS:· Yes, we printed
14· ·Pennsylvania Election Code as well as             14· ·those out just in case.
15· ·Federal law related to elections.                 15· · · · ·MR. WALCZAK:· Ms. Mullen, I don't
16· · · ·Q· · ·What is your role, currently, in        16· ·know if you can see.· Did it show up in
17· ·the making of policy by the Department of         17· ·the chat, just to make sure I did that
18· ·State?                                            18· ·correctly?
19· · · ·A· · ·Well, I certainly have input into       19· · · · ·MS. MULLEN:· Yes.
20· ·the making of policy.· I'm usually                20· · · · ·MR. WALCZAK:· Okay.
21· ·consulted by the Secretary of the                 21· · · · ·Mr. Fernicola, do you have a copy
22· ·Commonwealth, you know, on policy matters         22· ·of that exhibit?
23· ·certainly related to elections, and the           23· · · · ·(A Discussion was Held off the
24· ·other things I named that are within my           24· ·Record.)
25· ·deputate as well.                                 25

                            TSG Reporting Pa.App.0812
                                          - Worldwide· · 877-702-9580
                                                                                                                YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     817 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    308 of 378

                                             Page 26                                                Page 27
·1· · · · · · · · · · · · J. Marks                     ·1· · · · · · · · · · · J. Marks
·2· · · · · · · ·(Marks' Exhibit 1, Initial            ·2· ·for Elections and Commissions, is likely to
·3· · · · ·Disclosures of Defendant Al Schmidt,        ·3· ·have information about the purpose, or lack
·4· · · · ·was marked for identification, as of        ·4· ·thereof, served by the statutory
·5· · · · ·this date.)                                 ·5· ·instruction directing voters to handwrite a
·6· ·BY MR. WALCZAK:                                   ·6· ·date on the outer envelope enclosing
·7· · · · ·Q· · ·Mr. Marks, I'm showing you what       ·7· ·absentee mail-in ballots, as well as
·8· · ·we've labeled Marks' Exhibit 1.                 ·8· ·Pennsylvania's guidance concerning
·9· · · · · · · ·Do you recognize this document?       ·9· ·Pennsylvania election procedures, in
10· · · · ·A· · ·This the initial disclosures of       10· ·particular regarding undated or incorrectly
11· · ·the Defendant Al Schmidt?                       11· ·dated absentee and mail-in ballot
12· · · · ·Q· · ·Correct.                              12· ·submissions."
13· · · · ·A· · ·I have it, yes.                       13· · · · · · ·Did I read that correctly?
14· · · · ·Q· · ·If you would turn to the second       14· · · ·A· · ·You did, yes.
15· · ·page, first paragraph under the "I"             15· · · ·Q· · ·So you have been identified by
16· · ·heading.                                        16· ·the Department of State as a person who is
17· · · · · · · ·Do you see that?                      17· ·knowledgeable in this area?
18· · · · ·A· · ·I do, yes.                            18· · · ·A· · ·Correct.
19· · · · ·Q· · ·I'm going to read that.               19· · · ·Q· · ·I would like to spend a little
20· · · · · · · ·"Individuals likely to have           20· ·bit of time here discussing the
21· · ·discoverable information that the acting        21· ·responsibilities of the Department of State
22· · ·secretary may use to support his claims or      22· ·vis-a-vis the County Board of Elections, so
23· · ·defenses."                                      23· ·how elections work in Pennsylvania.
24· · · · · · · ·And then No. 1 says:                  24· · · · · · ·So you are, of course, with the
25· · · · · · · ·"Jonathan Marks, Deputy Secretary     25· ·Department of State, correct?
                                             Page 28                                                Page 29
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·A· · ·Correct.                                ·2· ·matters.
·3· · · ·Q· · ·And that is an agency of the            ·3· · · ·Q· · ·You used two terms there.· One
·4· ·Commonwealth of Pennsylvania, correct?            ·4· ·was "directives," I believe, on voting
·5· · · ·A· · ·Correct.                                ·5· ·machines, and then you also used the term
·6· · · ·Q· · ·What are the responsibilities of        ·6· ·"guidance."
·7· ·the Department of State when it comes to          ·7· · · · · · ·Is there a difference in those
·8· ·elections?                                        ·8· ·two terms?
·9· · · ·A· · ·Well, so the Secretary of the           ·9· · · ·A· · ·There is a difference.· You know,
10· ·Commonwealth has a variety of                     10· ·based on my understanding, a directive is
11· ·responsibilities outlined in the                  11· ·something -- the Election Code very
12· ·Pennsylvania Election Code related to             12· ·explicitly gives the Secretary of the
13· ·administration of elections that includes         13· ·Commonwealth the authority to issue
14· ·certifying the list of State-level                14· ·directives.
15· ·candidates to the Counties, certifying            15· · · · · · ·It's not quite the same as
16· ·election returns that are submitted to the        16· ·regulations, but it is something that the
17· ·Department by the 67 County Board of              17· ·Secretary has explicit authority to do.
18· ·Elections.                                        18· · · · · · ·Guidance, on the other hand, is
19· · · · · · ·It includes maintaining the             19· ·something that the Department issues to
20· ·statewide voter registry for the Counties'        20· ·Counties on election administration matters
21· ·use.                                              21· ·to ensure that each County is complying
22· · · · · · ·It also includes issuing                22· ·with the various statutory requirements in
23· ·directives on electronic voting systems and       23· ·the Election Code or in Federal law, as the
24· ·issuing guidance to the Counties, as              24· ·case may be.
25· ·necessary, on election administration             25· · · · · · ·So, you know, for example, we

                            TSG Reporting Pa.App.0813
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     818 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    309 of 378

                                             Page 30                                                Page 31
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·issue guidance on voting by military and          ·2· ·certain forms and envelopes, envelopes, for
·3· ·overseas civilian citizens.                       ·3· ·example, for absentee and mail-in ballots.
·4· · · · · · ·So we issue guidance on the issue       ·4· ·That is something that the Secretary has
·5· ·of absentee and mail-in ballots, and we've        ·5· ·authority to prescribe.
·6· ·issued guidance on the I.D. requirements          ·6· · · · · · ·But I think the term "directive,"
·7· ·that are outlined in the Election Code.           ·7· ·if I'm not mistaken, is used exclusively as
·8· · · ·Q· · ·So when you issue a directive, is       ·8· ·it relates to electronic voting systems.
·9· ·that something that the County Board of           ·9· · · ·Q· · ·So is it fair to say that
10· ·Elections are required to follow?                 10· ·guidance is sort of an "ask and advice"
11· · · ·A· · ·Yes, they're obligated to follow        11· ·kind of --
12· ·directives issued by the                          12· · · ·A· · ·Guidance is partly advice.· You
13· ·Department of State.                              13· ·know, certainly when we issue guidance, it
14· · · ·Q· · ·And you mentioned directives            14· ·is, you know, firmly rooted in our
15· ·related to voting means.                          15· ·interpretation of the Election Code, and,
16· · · · · · ·Is the Secretary's authority to         16· ·in many cases, on the very plain language
17· ·issue directives limited to that area, or         17· ·of the statute.
18· ·are there other areas of elections where          18· · · · · · ·So when we issue guidance, it's
19· ·you also have that authority?                     19· ·our expectation that Counties are going to
20· · · ·A· · ·I don't recall that there are           20· ·follow it, but it is not a directive, it is
21· ·other sections of the Election Code that          21· ·not a regulation, so that's kind of the
22· ·use the term directive as it relates to the       22· ·distinction between the two terms.
23· ·Secretary's authority.                            23· · · ·Q· · ·How is guidance developed?
24· · · · · · ·The Secretary also has authority        24· · · ·A· · ·Guidance is usually developed in
25· ·under the Election Code to prescribe              25· ·consultation with -- in many cases, in
                                             Page 32                                                Page 33
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·consultation with Counties.                       ·2· · · · · · ·So all of those individuals or
·3· · · · · · ·Counties are asking questions           ·3· ·program areas have input into most of our
·4· ·about an issue.· The Department determines        ·4· ·guidance, with very few exceptions.
·5· ·that it would be beneficial to issue, you         ·5· · · ·Q· · ·As Deputy Secretary, do you play
·6· ·know, a uniform set of guidelines for the         ·6· ·any role in --
·7· ·Counties to follow in answering that              ·7· · · ·A· · ·I do.
·8· ·question.                                         ·8· · · ·Q· · ·Let's try not to step on each
·9· · · · · · ·So we'll work with Counties.            ·9· ·other here.· So I'll ask you to wait.· So
10· ·We'll work with -- you know, with our             10· ·let me just repeat that.
11· ·policy folks, of course, our counsel as           11· · · · · · ·So what, if any, role do you play
12· ·well in developing written guidance for the       12· ·in formulating guidance?
13· ·Counties to ensure that it, No. 1, meets          13· · · ·A· · ·In some cases, I do initial
14· ·their needs; and No. 2, that the guidance         14· ·drafts.· In a lot of cases, I reviewed
15· ·we're issuing is consistent with the law.         15· ·initial drafts done by the program area,
16· · · ·Q· · ·Who, not by name but by role or         16· ·whoever was assigned with writing the
17· ·position at the Department, is involved in        17· ·guidance.
18· ·developing guidance?                              18· · · · · · ·Then I work with our counsel and
19· · · ·A· · ·So, certainly, our policy               19· ·the Secretary of the Commonwealth to
20· ·director, the chief of our bureau -- or,          20· ·finalize and sign off on it.
21· ·excuse me, the director of our Bureau of          21· · · ·Q· · ·You mentioned that you look at
22· ·Elections, our Chief Counsel's Office.            22· ·the Election Code, and sometimes the
23· · · · · · ·You know, ultimately, the               23· ·guidance flows directly from the plain
24· ·Secretary of the Commonwealth would review        24· ·language of the Election Code; is that
25· ·and sign off on that guidance.                    25· ·correct?

                            TSG Reporting Pa.App.0814
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     819 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    310 of 378

                                             Page 34                                                Page 35
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·A· · ·That's correct.                         ·2· ·ballots.
·3· · · ·Q· · ·Do you also -- I mean, does the         ·3· · · · · · ·Are you familiar with the undated
·4· ·Department also consider court decisions,         ·4· ·ballot issue involved in this litigation?
·5· ·for instance, or any other law that may           ·5· · · ·A· · ·I am, yes.
·6· ·impact on the issue in formulating                ·6· · · ·Q· · ·How would you characterize the
·7· ·guidance?                                         ·7· ·issue?
·8· · · ·A· · ·We do, yes.                             ·8· · · ·A· · ·I guess I will characterize it
·9· · · ·Q· · ·Do you sometimes issue guidance         ·9· ·the way I always characterize it when asked
10· ·after a court decision has issued that may        10· ·about it.· The issue is sort of a cloud
11· ·have changed the, let's say, electoral --         11· ·that is hanging over our heads.
12· ·elections law landscape?                          12· · · · · · ·As I said, you know, the
13· · · ·A· · ·We do.                                  13· ·litigation regarding this issue has been
14· · · ·Q· · ·But this guidance, as opposed to        14· ·going on for the better part of two years,
15· ·a directive, is not binding on the County         15· ·and we've had some competing decisions from
16· ·Board of Elections?                               16· ·State and Federal courts on whether undated
17· · · ·A· · ·That's my understanding, yes.           17· ·or incorrectly dated ballots should be
18· · · ·Q· · ·And do the Counties generally           18· ·counted.
19· ·follow your guidance or the Department's          19· · · · · · ·And the Department has tried
20· ·guidance?                                         20· ·to -- you know, has tried to be responsive
21· · · ·A· · ·In the overwhelming majority of         21· ·to all of those changes that have occurred
22· ·cases, yes.                                       22· ·over that two-year period.· But it really
23· · · ·Q· · ·But not always?                         23· ·is whether these ballots count or not.
24· · · ·A· · ·Not always.                             24· · · · · · ·And, you know, we've been through
25· · · ·Q· · ·I want to turn now to mail-in           25· ·multiple elections now with sort of this
                                             Page 36                                                Page 37
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·question mark hanging out there.                  ·2· ·civilians.· So I would consider that a
·3· · · · · · ·That's kind of how I characterize       ·3· ·subgroup of absentee ballots.
·4· ·it, as a cloud hanging over our heads until       ·4· · · · · · ·The rules are a little different.
·5· ·we get finality to this issue.                    ·5· ·They can return their ballots a little
·6· · · ·Q· · ·I want to take you through, not         ·6· ·later.
·7· ·in great perspective, but just so we have a       ·7· · · · · · ·Also, the Counties are obligated
·8· ·little bit of historical context through          ·8· ·to send their balloting materials out
·9· ·the history of the litigation surrounding         ·9· ·earlier than for civilian absentee voters.
10· ·this issue since 2020.                            10· · · ·Q· · ·We'll come back to UOCAVA a
11· · · · · · ·But before I do that, let me ask        11· ·little bit later.· Let's just focus on
12· ·you a question.                                   12· ·absentee and mail-in.
13· · · · · · ·So there are, as I understand it,       13· · · · · · ·What's the difference between the
14· ·three different types of ballots that can         14· ·two?
15· ·be submitted by mail.· And one is an              15· · · ·A· · ·The difference between the two is
16· ·absentee ballot, one is a mail-in ballot,         16· ·really based on the reason.
17· ·and the third is UOCAVA.                          17· · · · · · ·So an absentee ballot is being
18· · · · · · ·Is that how you say it?                 18· ·requested for a specific reason.· Either
19· · · ·A· · ·UOCAVA, Uniform Overseas Civilian       19· ·the voter is going to be out of their
20· ·and Absentee Voter Act.                           20· ·municipality on Election Day, or the voter
21· · · · · · ·That is, technically, an absentee       21· ·has an illness or disability that prevents
22· ·ballot.· It's a specific type of absentee         22· ·the voter from appearing at their polling
23· ·ballot for the covered voters, which would        23· ·place.
24· ·be military voters, their spouses,                24· · · · · · ·A mail-in ballot, on the other
25· ·independents, as well as overseas                 25· ·hand, is, you don't need a reason to vote a

                            TSG Reporting Pa.App.0815
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     820 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    311 of 378

                                             Page 38                                                Page 39
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·mail-in ballot; you simply have to make the       ·2· · · · · · ·But, yes, effectively every
·3· ·request.                                          ·3· ·election after the November 2019 election,
·4· · · · · · ·So that's really the main               ·4· ·voters had the option to cast a mail-in
·5· ·distinction between the two.                      ·5· ·ballot.
·6· · · ·Q· · ·And so the absentee ballots where       ·6· · · ·Q· · ·In terms of sort of how those are
·7· ·you needed an excuse or a reason to request       ·7· ·processed from seeking one to delivering
·8· ·an absent ballot, those have been in              ·8· ·one to accepting by the Board of Elections,
·9· ·existence since the mid-20th century; is          ·9· ·is there any legal difference between the
10· ·that right?                                       10· ·two, if you know?
11· · · ·A· · ·That's correct, yes.                    11· · · · · · ·I know you're not a lawyer, but,
12· · · ·Q· · ·And then in 2019, the                   12· ·if you know.
13· ·Pennsylvania General Assembly passed              13· · · ·A· · ·I'm not an attorney, so I'll
14· ·something called Act 77 which added mail-in       14· ·answer it this way.
15· ·ballots, correct?                                 15· · · · · · ·Process-wise, there's no
16· · · ·A· · ·Correct.                                16· ·difference.· You know, the application
17· · · ·Q· · ·And so after November of -- I           17· ·process, with the exception of having to
18· ·think it was November of 2019, anybody            18· ·provide a reason on the absentee ballot
19· ·could request a mail-in ballot regardless         19· ·request, the application process is the
20· ·of whether they had some reason to do so,         20· ·same.
21· ·correct?                                          21· · · · · · ·The way the Counties process the
22· · · ·A· · ·Correct.                                22· ·request is the same.· The way the voters
23· · · · · · ·I believe Act 77 was signed in          23· ·vote the ballot is the same.· And the way
24· ·October.· I don't recall if every provision       24· ·the voters, you know, enclose the ballot in
25· ·became effective immediately.                     25· ·the envelope and return it to the Counties
                                             Page 40                                                Page 41
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·is the same.                                      ·2· · · ·A· · ·I have no objection to that.
·3· · · ·Q· · ·So, let's say, I'm a person with        ·3· · · ·Q· · ·Is there a term you would prefer
·4· ·a disability who would qualify to vote            ·4· ·to use, or is there a term of art you use
·5· ·absentee.· There's no reason I couldn't ask       ·5· ·at the Department?
·6· ·for just a mail-in ballot, correct?               ·6· · · ·A· · ·"Mail-in ballots" is fine.
·7· · · ·A· · ·Correct.                                ·7· · · ·Q· · ·I want to talk about the
·8· · · ·Q· · ·And the process and my ability to       ·8· ·application process.
·9· ·vote would be the same under either avenue?       ·9· · · · · · ·Can you walk us through -- I'm a
10· · · ·A· · ·Correct.· You are qualified to do       10· ·voter.· I can't go on Election Day to the
11· ·either one.                                       11· ·polls, and I want to vote by mail, what do
12· · · ·Q· · ·And both absentee and mail-in           12· ·I have to do?
13· ·ballot processes have what I guess is             13· · · ·A· · ·So the application process,
14· ·colloquially now referred to as the               14· ·whether you're doing it online or doing it
15· ·signature and date requirement on the             15· ·on paper, you have to provide your name,
16· ·return envelope; is that correct?                 16· ·your address, I believe the length of time
17· · · ·A· · ·That's correct.                         17· ·you've been a resident of the district.
18· · · ·Q· · ·So the language in those two,           18· · · · · · ·You have to provide, I believe,
19· ·while in separate provisions of the code,         19· ·your municipality of residence.· And you
20· ·is the same?                                      20· ·also have to provide either a driver's
21· · · ·A· · ·Correct.                                21· ·license or the last four digits of your
22· · · ·Q· · ·Let's talk a bit about -- well,         22· ·Social Security number.
23· ·so would it be okay with you if we just           23· · · · · · ·And then, of course, you have to
24· ·referred to both absentee and mail-in             24· ·sign the application.
25· ·ballots just as "mail-in ballots"?                25· · · ·Q· · ·And so you can submit this either

                            TSG Reporting Pa.App.0816
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     821 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    312 of 378

                                             Page 42                                                Page 43
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·online or on paper?                               ·2· ·registered voter within the County entitled
·3· · · ·A· · ·That's correct, yes.                    ·3· ·to receive a ballot.
·4· · · ·Q· · ·And is there a time when I would        ·4· · · ·Q· · ·So the voter returns this
·5· ·have to do this?                                  ·5· ·application form.
·6· · · ·A· · ·Yes.· You have the deadline to          ·6· · · · · · ·Now, is the application form
·7· ·request either an absentee or mail-in             ·7· ·standardized?
·8· ·ballot.                                           ·8· · · ·A· · ·It is, yes.· The Department
·9· · · · · · ·I will qualify that.· There is an       ·9· ·issues a standardized form, both paper and
10· ·emergency absentee period after the normal        10· ·electronic.
11· ·deadline, but for most voters, they would         11· · · · · · ·I do believe third parties like
12· ·have to make their request by the seventh         12· ·political parties and other -- you know,
13· ·day or the Tuesday before Election Day.           13· ·other campaigns, can issue absentee or
14· · · ·Q· · ·What are the reasons for the            14· ·mail-in ballot request forms as well, but
15· ·application process and the information you       15· ·they have to conform with the statutory
16· ·request?                                          16· ·requirements that are in our prescribed
17· · · · · · ·MS. MULLEN:· Objection.                 17· ·form.
18· · · · · · ·You can answer.                         18· · · ·Q· · ·By "statutory requirements,"
19· · · ·A· · ·Well, my understanding of the           19· ·you're talking about the types of
20· ·reasons, you know, the County first has to        20· ·information that the voter must provide,
21· ·know that the individual wants to avail           21· ·including the I.D.?
22· ·themselves of this method of voting,              22· · · ·A· · ·Correct.
23· ·whether it be absentee or mail-in.                23· · · ·Q· · ·So an application comes in, and
24· · · · · · ·And the County also has to              24· ·it goes to the Department of State or the
25· ·determine if that individual is a qualified       25· ·County?
                                             Page 44                                                Page 45
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·A· · ·It goes to the individual's             ·2· ·voters within the County.· So they have the
·3· ·County Board of Elections.                        ·3· ·voters record that they can compare the
·4· · · ·Q· · ·What are the County Board's             ·4· ·application to.
·5· ·obligations, if you know?                         ·5· · · ·Q· · ·Wait, I'm sorry.· What do you
·6· · · ·A· · ·Well, the County has to review          ·6· ·mean have their record?· What's in the
·7· ·the application, verify that the                  ·7· ·record that they're comparing?
·8· ·identification provided by the voter checks       ·8· · · ·A· · ·It would be the voter
·9· ·out.· And they do that systematically in          ·9· ·registration records.· So the County,
10· ·the SURE system.                                  10· ·within the SURE system, maintain their
11· · · · · · ·And, upon approval, then the            11· ·official voter rolls.
12· ·County has to deliver a ballot along with         12· · · · · · ·Each County maintains its
13· ·the necessary envelopes that the voter must       13· ·official voter rolls.· The Counties then
14· ·insert their ballot into after they're done       14· ·use the SURE system to verify the
15· ·voting for return to the County Election          15· ·identification provided by the voter.
16· ·Office.                                           16· · · · · · ·So if the voter provides their
17· · · ·Q· · ·You used a phrase I want you to         17· ·driver's license number, the system will
18· ·unpack for me.· Systematically through the        18· ·actually send out a call to PennDOT's
19· ·SURE system is how Counties verify, I             19· ·database to verify that that driver's
20· ·guess, voter eligibility.                         20· ·license number matches the name provided by
21· · · · · · ·Explain a little bit more what          21· ·the registered voter.
22· ·that means.                                       22· · · · · · ·Likewise, the last four of SSN
23· · · ·A· · ·Well, so, obviously, the SURE           23· ·goes -- it also goes through PennDOT.
24· ·system, Statewide Uniform Registry of             24· · · · · · ·They have an agreement with the
25· ·Electors, houses all of the registered            25· ·Social Security Administration, so the last

                            TSG Reporting Pa.App.0817
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     822 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    313 of 378

                                             Page 46                                                Page 47
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· ·four of SSN can also be verified against          ·2· · · · · · · ·MS. MULLEN:· It did.
·3· ·the Social Security Administration's              ·3· · · · · · · ·MR. WALCZAK:· Okay.
·4· ·database.                                         ·4· · · · · · · ·So I've never done this.· Are
·5· · · ·Q· · ·What is SSN?                            ·5· · · · ·folks able to pull that document up
·6· · · ·A· · ·Social Security number.· Excuse         ·6· · · · ·from the chat, Kathy or Jacob?
·7· ·me.                                               ·7· · · · · · · ·MR. BAXENBERG:· Yes, we are.
·8· · · ·Q· · ·So, I'm sorry --                        ·8· · · · · · · ·MR. WALCZAK:· Good.· Thank you.
·9· · · ·A· · ·Sorry, we use lot of acronyms in        ·9· · · · · · · ·(Marks' Exhibit 2, DOS Envelope
10· ·government, and I forget sometimes.               10· · · · ·Guide, was marked for identification,
11· · · ·Q· · ·Not a problem.                          11· · · · ·as of this date.)
12· · · · · · ·And so the Counties take all            12· ·BY MR. WALCZAK:
13· ·these steps to verify that the individual         13· · · · ·Q· · ·Mr. Marks, I show you what's been
14· ·applying for a mail-in ballot is, in fact,        14· · ·marked as Marks' Exhibit 2.
15· ·an eligible voter; is that correct?               15· · · · · · · ·Do you recognize this document?
16· · · ·A· · ·That's correct.                         16· · · · ·A· · ·I do.· This appears to be the
17· · · ·Q· · ·I want to walk you through or           17· · ·absentee ability and mail-in ballot
18· ·have you walk me through the return process       18· · ·envelope templates that we provide to
19· ·for a mail-in ballot.                             19· · ·Counties.
20· · · · · · ·I'm going to direct you to              20· · · · · · · ·So, basically, this is the
21· ·Exhibit 2.                                        21· · ·prescribed form of the envelopes that
22· · · · · · ·MR. WALCZAK:· I'll try to put           22· · ·Counties must uses for absentee and mail-in
23· · · ·that in the chat for folks following          23· · ·ballots.
24· · · ·along.                                        24· · · · ·Q· · ·And do you know who put this out
25· · · · · · ·Kathy, did that come through?           25· · ·or who developed and put this out?
                                             Page 48                                                Page 49
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·A· · ·The Department of the State put         ·2· ·the voter's balloting materials into when
·3· ·these envelope templates out.                     ·3· ·they send the ballot out to the voter.
·4· · · ·Q· · ·What is it that's on the first          ·4· · · ·Q· · ·So after the voter has applied
·5· ·page of Exhibit 2?· I mean, I wasn't sure         ·5· ·for a mail-in ballot, and the County Board
·6· ·this related to elections until I opened          ·6· ·of Elections has verified their
·7· ·this.                                             ·7· ·eligibility, the County sends out this kind
·8· · · ·A· · ·Sorry.· Color palate and                ·8· ·of envelope containing certain contents; is
·9· ·graphics.· These are just kind of outlining       ·9· ·that right?
10· ·the different colors and graphics that we         10· · · ·A· · ·Correct, yes.
11· ·use on the envelope templates.                    11· · · ·Q· · ·And so let's talk about what --
12· · · ·Q· · ·Is there anything on that first         12· ·well, before I do that, tell us what's on
13· ·page that would be relevant to the dating         13· ·the bottom.
14· ·issue?                                            14· · · · · · ·It looks like that's the back of
15· · · ·A· · ·No.                                     15· ·the envelope that the County would send
16· · · ·Q· · ·If you could turn to page 2 of          16· ·out?
17· ·Exhibit 2, it looks like there's two              17· · · ·A· · ·It is, yes.
18· ·graphics:· One on top and one on bottom.          18· · · ·Q· · ·Coming back to our discussion
19· · · · · · ·Tell us what the top graphic on         19· ·about, you know, how much latitude Counties
20· ·page 2 of Exhibit 2 shows.                        20· ·have, I mean, do Counties have latitude to
21· · · ·A· · ·The top graphic -- so at the top        21· ·vary the envelope and materials they send
22· ·of the page, it says, "Outer envelope             22· ·to voters?
23· ·elements."                                        23· · · ·A· · ·They can add to prescribed
24· · · · · · ·The top graphic is the front side       24· ·elements, but, generally, the envelope
25· ·of the envelope that the Counties insert          25· ·templates, our expectation is that they

                            TSG Reporting Pa.App.0818
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     823 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    314 of 378

                                             Page 50                                                Page 51
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· ·will follow the prescribed form of the            ·2· · · · ·Q· · ·Let's talk about what Counties
·3· ·envelope.                                         ·3· · ·put into the envelope that we've just been
·4· · · · · · ·Some Counties may lay it out            ·4· · ·discussing, page 2 of Exhibit 2.
·5· ·differently.· Different Counties use              ·5· · · · · · · ·Now, is there a legally
·6· ·different envelope systems.                       ·6· · ·prescribed set of documents or forms that
·7· · · · · · ·So the artwork may be laid out          ·7· · ·Counties must send to the voter in response
·8· ·differently depending on what size envelope       ·8· · ·to having submitted a valid mail-in voter
·9· ·a County uses.· And some Counties may add         ·9· · ·application?
10· ·some helpful information in addition to           10· · · · · · · ·MS. MULLEN:· I'm just going to
11· ·that prescribed by the Department.                11· · · · ·object.· This document, I think, is a
12· · · ·Q· · ·When you say Counties may add           12· · · · ·template.· I'm not sure it's
13· ·helpful information, what kind of                 13· · · · ·established whether it's a current
14· ·information, for example?                         14· · · · ·template or not and whether all
15· · · ·A· · ·You know, information, additional       15· · · · ·Counties use that particular envelope.
16· ·contact information that may be relevant          16· · · · · · · ·MR. WALCZAK:· Yes, I think we
17· ·for the voters, or, you know, any other           17· · · · ·established the second part, that they
18· ·instruction that they want to add.                18· · · · ·may vary those.
19· · · · · · ·There is an insert that Counties        19· · · · · · · ·But I will ask the first
20· ·provide to voters with the ballot materials       20· · · · ·question.· Thank you for that.
21· ·that have more specific instructions on how       21· ·BY MR. WALCZAK:
22· ·to fill out the ballot correctly, and also        22· · · · ·Q· · ·Mr. Marks, is this a current --
23· ·how to enclose the ballot in the secrecy          23· · ·is the information contained on Exhibit 2
24· ·envelope and the declaration envelope for         24· · ·something that is current from the
25· ·return to the County Election Office.             25· · ·Department of State?
                                             Page 52                                                Page 53
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·A· · ·I don't believe so.· Just looking       ·2· · · · · · ·So all of those things, in
·3· ·at it, I'd have to double-check to know for       ·3· ·addition to an instructions insert, as I
·4· ·sure.                                             ·4· ·said earlier, that would explain to the
·5· · · · · · ·But just looking at the back of         ·5· ·voter how to complete the ballot and return
·6· ·the return envelope, it does not appear to        ·6· ·it to the County Election Office.
·7· ·be the most current version.                      ·7· · · ·Q· · ·What you call a "declaration
·8· · · ·Q· · ·We'll come back to that when we         ·8· ·envelope," is that the outer envelope that
·9· ·review those two pages.                           ·9· ·the voter mails their ballot in to the
10· · · · · · ·So what is it that Counties send        10· ·County Board of Elections?
11· ·back in that envelope to the voter?               11· · · ·A· · ·That's correct.· That's the outer
12· · · ·A· · ·So the Counties will send out the       12· ·envelope within which is contained the
13· ·official ballot for the voter.                    13· ·secrecy envelope that contains the official
14· · · · · · ·The Counties will also insert a         14· ·ballot voted by the voter.
15· ·secrecy envelope that has -- it's a plain         15· · · ·Q· · ·And the declaration envelope,
16· ·envelope that just has the words, you know,       16· ·and, in fact, the declaration, is where the
17· ·"Official Election Ballot," I believe is          17· ·signature and the dating requirement at
18· ·the term.                                         18· ·issue in this litigation can be found; is
19· · · · · · ·Then also insert a declaration          19· ·that right?
20· ·envelope that the voter is supposed to use.       20· · · ·A· · ·That's correct, yes.
21· · · · · · ·After they've completed voting          21· · · ·Q· · ·So let's turn back to Exhibit 2
22· ·the ballot, the voter inserts the ballot          22· ·and look at page 3.
23· ·into that secrecy envelope, and then the          23· · · · · · ·And I'm not trying to pull a fast
24· ·declaration envelope is what then contains        24· ·one here, Mr. Marks.· I had trouble finding
25· ·the secrecy envelope.                             25· ·a template.· So to the extent there's

                            TSG Reporting Pa.App.0819
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     824 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    315 of 378

                                             Page 54                                                Page 55
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·something not accurate on here, I would           ·2· · · ·Q· · ·Essentially, in what way are they
·3· ·certainly ask Mr. Marks to point that out         ·3· ·different?
·4· ·as we go through this.                            ·4· · · ·A· · ·I mean, one says "official
·5· · · · · · ·So looking at pages 3 and 4 of          ·5· ·absentee ballot," the other says "official
·6· ·Exhibit 2, page 3 has absentee return             ·6· ·mail-in ballot."· But, otherwise, the
·7· ·envelope elements, and page 4 says,               ·7· ·elements are the same.
·8· ·"Mail-in return envelope requirement."            ·8· · · ·Q· · ·To make sure I understand this,
·9· · · · · · ·So the first is what we were            ·9· ·the voter gets their ballot, which is
10· ·talking about at the outset of the                10· ·tailored to where they live, right, where
11· ·deposition.· That relates to absentee             11· ·they're registered, correct?
12· ·ballots where people have an excuse, and          12· · · ·A· · ·That's correct.
13· ·mail-in ballots are the no-excuse, mail-in        13· · · ·Q· · ·And they fill that out, and then
14· ·ballot, correct?                                  14· ·they put that in the secrecy envelope which
15· · · ·A· · ·That's correct.                         15· ·they seal, correct?
16· · · ·Q· · ·So let's look at page 3 at the          16· · · ·A· · ·Correct.
17· ·official absentee ballot.                         17· · · ·Q· · ·And then the sealed secrecy
18· · · · · · ·And I believe you said that these       18· ·envelope bearing the ballot goes in this
19· ·are in all relevant respects the same?            19· ·declaration envelope for transmission back
20· · · · · · ·MS. MULLEN:· Objection.                 20· ·to the County Board of Elections, correct?
21· · · ·A· · ·Meaning the absentee and the            21· · · ·A· · ·That's correct.
22· ·mail-in templates are the same?                   22· · · ·Q· · ·So look at the bottom of Exhibit
23· · · ·Q· · ·Yes.· I'm sorry, yes.                   23· ·2, page 3.· What's the purpose of this?
24· · · ·A· · ·Yes, they're essentially the            24· · · ·A· · ·The bottom -- I'm assuming you're
25· ·same.                                             25· ·referring to the back of the declaration
                                             Page 56                                                Page 57
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·envelope template?                                ·2· · · · · · ·I mean, I have some ballots from
·3· · · · · · ·The purpose of this, basically,         ·3· ·the most recent election, which I'll show
·4· ·this is where the voter would sign a              ·4· ·you in just a minute, and we can compare
·5· ·declaration declaring that the voter is           ·5· ·those.
·6· ·qualified to vote in the election.                ·6· · · · · · ·Now, I note there's a second
·7· · · · · · ·That the voter is acknowledging         ·7· ·declaration on the bottom.· What's the
·8· ·that, by voting by absentee or mail-in            ·8· ·purpose of that?
·9· ·ballot, they're no longer eligible to vote        ·9· · · ·A· · ·The second declaration is to be
10· ·at their polling place.                           10· ·completed if the voter is unable to sign
11· · · · · · ·So it's basically where the voter       11· ·their declaration because of an illness or
12· ·is affirming that they're qualified to vote       12· ·a physical disability.
13· ·in the election.                                  13· · · · · · ·So this is where they would make
14· · · · · · ·And I will point out, the one           14· ·their mark indicating that they received
15· ·reason I don't believe this is the current        15· ·assistance in completing their ballot.
16· ·template, the date area on this version, if       16· · · ·Q· · ·If you would turn to page 4 of
17· ·I'm not mistaken, the Department changed in       17· ·Exhibit 2, and, again, looking at the back
18· ·light of the litigation on the issue of the       18· ·of the return envelope at the bottom of the
19· ·date.                                             19· ·page, this is for mail-in return envelopes,
20· · · · · · ·I believe the current template          20· ·correct?
21· ·says "today's date" instead of just "date"        21· · · ·A· · ·That's correct, yes.
22· ·on that line.                                     22· · · ·Q· · ·And with the exception of
23· · · · · · ·We were trying to clarify which         23· ·recognizing that the format of the date on
24· ·date the voter should insert there.               24· ·here may have changed, otherwise, are the
25· · · ·Q· · ·Okay.                                   25· ·elements of this declaration the same as

                            TSG Reporting Pa.App.0820
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     825 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    316 of 378

                                             Page 58                                                Page 59
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· ·for mail-in ballots?                              ·2· · ·Counties failing to comply with what you
·3· · · ·A· · ·They are, yes.                          ·3· · ·believe the requirements are for these
·4· · · ·Q· · ·Now, I want to just ask you about       ·4· · ·declaration envelopes?
·5· ·what Counties can vary in sending this out,       ·5· · · · ·A· · ·I don't recall that we've had any
·6· ·this mail-in ballot packet out.                   ·6· · ·Counties failing to comply with the
·7· · · · · · ·So they have to send the ballot,        ·7· · ·requirements.
·8· ·the secrecy envelope, and an outer                ·8· · · · · · · ·I know there have been questions
·9· ·declaration envelope, correct?                    ·9· · ·in some Counties about things like font
10· · · ·A· · ·Correct.                                10· · ·size and color.
11· · · ·Q· · ·What is it that Counties can do         11· · · · · · · ·And, you know, we've worked with
12· ·may vary in terms of that outer envelope,         12· · ·individual Counties, you know, if an issue
13· ·just the format or layout?                        13· · ·is raised to ensure that the template meets
14· · · ·A· · ·It's really the format and the          14· · ·the needs of their voters while still
15· ·layout.                                           15· · ·complying with the statutory mandates.
16· · · · · · ·Some Counties decided to put            16· · · · · · · ·(Marks' Exhibit 3, Dauphin MIB
17· ·boxes or arrows next to certain fields to         17· · · · ·Envelopes, was marked for
18· ·prompt voters to, you know, insert relevant       18· · · · ·identification, as of this date.)
19· ·information there, but it's really just the       19· ·BY MR. WALCZAK:
20· ·layout and the formatting.                        20· · · · ·Q· · ·I'm going to direct your
21· · · · · · ·The language of the declaration,        21· · ·attention to Marks' Exhibit 3, which I just
22· ·our expectation is that every County is           22· · ·circulated on the chat.
23· ·going to use that declaration language            23· · · · · · · ·Do you have that in front of you?
24· ·verbatim.                                         24· · · · ·A· · ·I do, yes.
25· · · ·Q· · ·Have you had any problems with          25· · · · ·Q· · ·I'm going to assert to you that
                                             Page 60                                                Page 61
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· ·this is a production of mail-in ballots           ·2· · · · · · · ·MR. BOYER:· Correct.· Yes, I just
·3· ·that we received from Dauphin County in the       ·3· · · · ·wanted to put that on the record.
·4· ·course of the NAACP versus Chapman                ·4· · · · · · · ·MR. WALCZAK:· Okay, thank you.
·5· ·litigation.                                       ·5· ·BY MR. WALCZAK:
·6· · · · · · ·I've pulled it here just so we          ·6· · · · ·Q· · ·So, to your knowledge, all
·7· ·could look at the declaration layout and          ·7· · ·Pennsylvania Counties use some variation of
·8· ·language.                                         ·8· · ·this declaration, correct?
·9· · · · · · ·Does what's been marked as Marks'       ·9· · · · ·A· · ·That's correct.
10· ·Exhibit 3 -- does this appear to be the           10· · · · ·Q· · ·So the language on the voter
11· ·back of a declaration envelope from the           11· · ·declaration, is that the same everywhere?
12· ·most recent election in November of 2022?         12· · · · ·A· · ·It better be, yes.
13· · · ·A· · ·It does, yes.· And it appears to        13· · · · ·Q· · ·Why do you say, "It better be"?
14· ·follow the most recent template provided by       14· · · · ·A· · ·Well, as I said, that portion of
15· ·the Department that says "today's date" and       15· · ·this is prescribed by the Secretary.· I'm
16· ·has "required" in parentheses where the           16· · ·not aware of a County that has altered
17· ·voter must sign and date.                         17· · ·either of the declarations on this
18· · · · · · ·MR. BOYER:· Vic, can I just             18· · ·envelope.
19· · · ·interject a second?                           19· · · · ·Q· · ·And then, to your knowledge, are
20· · · · · · ·I just want to note for the             20· · ·there different layouts for the signature,
21· · · ·record if these are confidential              21· · ·which is where you see that "redacted" on
22· · · ·exhibits and subject to the protective        22· · ·the left side of the page, and then the
23· · · ·order.                                        23· · ·date below that?
24· · · · · · ·MR. WALCZAK:· Correct.· It is           24· · · · · · · ·What is your familiarity with how
25· · · ·redacted, Jacob, I will note.                 25· · ·Counties have laid that out?

                            TSG Reporting Pa.App.0821
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     826 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    317 of 378

                                             Page 62                                                Page 63
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·A· · ·I can't say that I can recall,          ·2· · · ·Q· · ·Any other changes from the
·3· ·you know, each of the 67 Counties' layouts.       ·3· ·template that we reviewed at Exhibit 2?
·4· ·But, generally, there are a few different         ·4· · · ·A· · ·There do not appear to be any
·5· ·types of layout.                                  ·5· ·other changes, no.
·6· · · · · · ·One is the more traditional             ·6· · · ·Q· · ·Now, on that first page of
·7· ·layout, which is similar to the previous          ·7· ·Exhibit 3, there's a 10/28/2022, 4:32 p.m.
·8· ·exhibit that we reviewed.                         ·8· ·It looks like a stamp there.
·9· · · · · · ·This one, the two declarations          ·9· · · · · · ·Do you know what this is?
10· ·are presented side by side, and this is a         10· · · ·A· · ·I believe I do, but I could not
11· ·slightly larger envelope size.· And in            11· ·say with certainty.
12· ·other cases, it may be a larger envelope          12· · · · · · ·I've been to the Dauphin Election
13· ·but still presented, you know, one                13· ·Office, and I believe this is probably a
14· ·declaration on top of the other.                  14· ·date stamp, date and time stamp provided by
15· · · · · · ·So the size of the envelope             15· ·the machine that they use to scan and sort
16· ·really seems to determine how the County          16· ·ballot envelopes that are returned by
17· ·lays out the declarations more than any           17· ·voters.
18· ·other factor.                                     18· · · ·Q· · ·So that would be something that's
19· · · ·Q· · ·One difference I note here              19· ·put on the envelope when it arrives at the
20· ·between the first page of Exhibit 3 and           20· ·Board of Elections, correct?
21· ·pages 3 and 4 on Exhibit 2, which were, I         21· · · ·A· · ·Yes.· When it's scanned through
22· ·think, the somewhat outdated template, you        22· ·the equipment, they have to process and
23· ·said there's no address for the voter to          23· ·sort absentee and mail-in ballots.
24· ·complete; is that correct?                        24· · · ·Q· · ·Let's talk about this return
25· · · ·A· · ·That's correct, yes.                    25· ·process.
                                             Page 64                                                Page 65
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · · · · ·How does the voter return a             ·2· ·they process it until Election Day, until
·3· ·mail-in ballot?                                   ·3· ·it can be canvassed or pre-canvassed,
·4· · · ·A· · ·So, as I said earlier, after the        ·4· ·excuse me.
·5· ·voter votes the ballot, completes the             ·5· · · ·Q· · ·Is there a requirement that they
·6· ·ballot, they fold it, insert the ballot           ·6· ·date and time stamp the ballot when it
·7· ·into the secrecy envelope.                        ·7· ·arrives or the declaration envelope when it
·8· · · · · · ·They insert that then into the          ·8· ·arrives?
·9· ·declaration envelope and seal it, sign it,        ·9· · · ·A· · ·The Counties do have to determine
10· ·and they return it to the Board of                10· ·whether a ballot has been timely received.
11· ·Elections either through the mail, or if          11· · · · · · ·So the Counties -- I believe most
12· ·the County has a drop box available, or           12· ·Counties have some date stamp mechanism,
13· ·drop boxes available, they can drop it            13· ·but I have seen Counties use slightly
14· ·there, or they can return it in person            14· ·different mechanisms.
15· ·directly to their County Board of                 15· · · · · · ·One County, at least previously,
16· ·Elections.                                        16· ·used a color coding system to determine or
17· · · ·Q· · ·When it arrives at the County           17· ·to segregate ballots that were received by
18· ·Board of Elections, are there any legal           18· ·the statutory deadline versus those that
19· ·obligations that the Board has with respect       19· ·were received after the statutory deadline.
20· ·to these mail-in ballot envelopes, if you         20· · · · · · ·But each County has some
21· ·know?                                             21· ·mechanism in place to identify which
22· · · · · · ·MS. MULLEN:· Objection.                 22· ·ballots were timely received and which ones
23· · · ·A· · ·My understanding, the primary           23· ·were not.
24· ·legal obligation after they receive the           24· · · ·Q· · ·Is there a uniform deadline for
25· ·ballot is to keep that ballot secure after        25· ·receipt of ballots?

                            TSG Reporting Pa.App.0822
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     827 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    318 of 378

                                             Page 66                                                Page 67
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·A· · ·There is.· There's a statutory          ·2· ·the hands of the County Board of Elections,
·3· ·deadline of 8:00 p.m. on Election Day for         ·3· ·it's timely?
·4· ·receipt of ballots.                               ·4· · · ·A· · ·Correct.
·5· · · ·Q· · ·So if a ballot is received at           ·5· · · ·Q· · ·When do voters get their mail-in
·6· ·7:59 on Election Day, is it timely?               ·6· ·ballots?
·7· · · ·A· · ·It is, yes.                             ·7· · · ·A· · ·Well, voters -- at the very
·8· · · ·Q· · ·If it's received at 8:01 or             ·8· ·latest, if a voter has applied prior to
·9· ·after, is that timely?                            ·9· ·that time, at very latest, the voters will
10· · · ·A· · ·No.                                     10· ·get their ballots around two weeks prior to
11· · · ·Q· · ·What happens with untimely              11· ·Election Day.· Counties have a deadline to
12· ·ballots?                                          12· ·send ballots out.
13· · · ·A· · ·Well, they're set aside and not         13· · · · · · ·In most cases, Counties begin
14· ·counted, but they remain in their -- you          14· ·sending absentee and mail-in ballots as
15· ·know, unopened in their envelopes.· They          15· ·soon as they have them printed, and they're
16· ·are set aside by the Board of Elections.          16· ·ready to go, which is, you know, typically
17· · · · · · ·And, ultimately, they're rejected       17· ·several weeks prior to Election Day.
18· ·or canceled, because they were not timely         18· · · ·Q· · ·So when the voter gets the
19· ·received.                                         19· ·ballot, is that relevant at all to whether
20· · · ·Q· · ·So the critical date and time,          20· ·or not the ballot is going to be timely?
21· ·for purposes of submitting a valid mail-in        21· · · ·A· · ·By "timely," you mean?
22· ·ballot, is 8:00 on the night of Election          22· · · ·Q· · ·Receipt --
23· ·Day; is that correct?                             23· · · ·A· · ·-- whether it's going to be
24· · · ·A· · ·That's correct.                         24· ·timely received by the County Board of
25· · · ·Q· · ·So as long as the ballot is in          25· ·Elections after the voter votes the ballot?
                                             Page 68                                                Page 69
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·Q· · ·Yes.                                    ·2· ·vote history is assigned.
·3· · · ·A· · ·No.                                     ·3· · · · · · ·So, you know, as a County
·4· · · ·Q· · ·Does the date that the voter            ·4· ·receives ballots, or at least shortly after
·5· ·filled out the ballot and signs the               ·5· ·receiving ballots, the Counties will
·6· ·declaration envelope, is that at all              ·6· ·record.
·7· ·relevant to whether or not the ballot is          ·7· · · · · · ·There is a barcode, a unique
·8· ·timely?                                           ·8· ·barcode on each envelope that's returned to
·9· · · ·A· · ·No.                                     ·9· ·the County that the County uses to scan.
10· · · ·Q· · ·So the voter could fill out the         10· ·And that unique barcode is attached to that
11· ·declaration, the ballot and declaration, as       11· ·specific voter who requested the absentee
12· ·soon as they get the ballot two or more           12· ·or mail-in ballots.
13· ·weeks before, or they could fill it out the       13· · · · · · ·So, yes, the Counties record
14· ·day before, or the day of Election Day, and       14· ·those envelopes as returned in the
15· ·drop it off at the Board of Elections, as         15· ·SURE system.
16· ·long as it's there by 8:00 on Election            16· · · ·Q· · ·Does the SURE system assign a
17· ·Night, it is timely received, correct?            17· ·time to when they're scanned?
18· · · ·A· · ·Correct.                                18· · · ·A· · ·It does.· So it defaults to the
19· · · ·Q· · ·Now, you talked about the SURE          19· ·current date and time, as I recall.
20· ·database system before.                           20· · · · · · ·Now, the Counties do have the
21· · · · · · ·Is there any obligation by the          21· ·ability to edit that, if necessary, in a
22· ·Counties to enter the return mail-in ballot       22· ·circumstance where the County is recording
23· ·into the SURE system?                             23· ·it at some point after the voter actually
24· · · ·A· · ·The Counties do record returned         24· ·returned the ballot to the County.
25· ·ballots in the SURE system.· That's how           25· · · ·Q· · ·So if all the staff are really

                            TSG Reporting Pa.App.0823
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     828 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    319 of 378

                                             Page 70                                                Page 71
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·busy when the ballot comes in and couldn't        ·2· ·Elections of the return ballot into the
·3· ·enter it right away, they can change that?        ·3· ·SURE system trigger any kind of notice to
·4· · · ·A· · ·Yes, that's my recollection, yes.       ·4· ·the voter?
·5· · · ·Q· · ·There is a statutory obligation         ·5· · · ·A· · ·It does.· If the voter provided
·6· ·for the Counties to record when the ballot        ·6· ·an email address at the time they applied,
·7· ·comes in; is that correct?                        ·7· ·the voter will receive a notification via
·8· · · ·A· · ·There is, yes.                          ·8· ·email letting them know that the County has
·9· · · · · · ·Act 77 of 2019, you know, in            ·9· ·received their absentee or mail-in ballot.
10· ·addition to what we talked about earlier,         10· · · · · · ·And it will also indicate the
11· ·also added a requirement that Counties            11· ·disposition, generally, the disposition of
12· ·provide lists of individuals who requested        12· ·that ballot.
13· ·absentee and mail-in ballots.                     13· · · ·Q· · ·What do you mean by "disposition
14· · · · · · ·And that list has to contain the        14· ·of the ballot"?
15· ·date the individual applied for the ballot,       15· · · ·A· · ·So if a County cancels a ballot
16· ·the date the County sent the ballot to the        16· ·because there is a problem with the ballot,
17· ·voter, the date that the ballot was               17· ·either the voter did not include -- you
18· ·returned to the County.· All of those             18· ·know, didn't insert it in a secrecy
19· ·elements have to be provided in that list.        19· ·envelope, for example, or the voter didn't
20· · · · · · ·And I believe they have to              20· ·sign the declaration, and the County
21· ·provide that within 48 hours of receiving a       21· ·records that disposition in SURE, the voter
22· ·request for production list from a                22· ·would get a notification letting them know
23· ·candidate or a political party or a               23· ·that their ballot was received, but it was
24· ·campaign.                                         24· ·canceled.
25· · · ·Q· · ·Does entry by the County Board of       25· · · · · · ·And it gives them kind of a
                                             Page 72                                                Page 73
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·general description of the reason it was          ·2· · · ·A· · ·There are, yes.
·3· ·canceled.                                         ·3· · · ·Q· · ·What are those codes?
·4· · · ·Q· · ·So the County Board of Elections        ·4· · · ·A· · ·Well, now you're quizzing me. I
·5· ·does not actually open the declaration            ·5· ·can't recall all of them.
·6· ·envelope when it's received; is that              ·6· · · · · · ·If it's okay with you, I will
·7· ·correct?                                          ·7· ·mention the relevant ones.
·8· · · ·A· · ·That's correct, yes.· Those             ·8· · · ·Q· · ·Please, yes.
·9· ·ballots remain sealed and secured until           ·9· · · ·A· · ·One of the codes is, "canceled,
10· ·such time that they're able to begin              10· ·no signature," at least until very
11· ·pre-canvassing or canvassing those ballots.       11· ·recently, within the last few weeks.
12· · · · · · ·And right now, the earliest they        12· · · · · · ·And that, actually, is inclusive
13· ·can do that is 7:00 a.m. on Election Day.         13· ·of -- we didn't have separate codes for,
14· · · ·Q· · ·You say if the County spots a           14· ·you know, unsigned versus undated, versus
15· ·defect.· So that's what they see on the           15· ·incorrectly dated.
16· ·declaration envelope?                             16· · · · · · ·So if it was "canceled, no
17· · · ·A· · ·Yes, that was an example.· If           17· ·signature," the message the voter got if
18· ·they noticed that there's a problem on the        18· ·they provided an email address indicated to
19· ·declaration envelope, and when they               19· ·them that their ballot was canceled because
20· ·recorded it in the SURE system, they would        20· ·there's a problem with their declaration
21· ·put that disposition in there.                    21· ·envelope, meaning they either didn't sign
22· · · ·Q· · ·Are there certain codes that the        22· ·it or didn't provide a date.
23· ·Department of State asks Counties to use to       23· · · · · · ·We have since, just within the
24· ·identify the type of problem that resulted        24· ·last month, month and a half, added
25· ·in cancellation of the ballot?                    25· ·cancellation reasons specific to those

                            TSG Reporting Pa.App.0824
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     829 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    320 of 378

                                             Page 74                                                Page 75
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·three things.                                     ·2· ·with the reason that the ballot is going to
·3· · · · · · ·There's also, "canceled, no             ·3· ·be declined by specifying, starting in the
·4· ·secrecy envelope," I believe is the term,         ·4· ·May 2023 primary, that it's either a
·5· ·if, at the point that the Counties canvas         ·5· ·missing signature, no date, or incorrect
·6· ·the ballot, they determine it wasn't              ·6· ·date?
·7· ·included in the secrecy envelope.                 ·7· · · · · · ·MS. MULLEN:· Objection.
·8· · · · · · ·So those are a couple of                ·8· · · ·A· · ·We added -- I don't recall the
·9· ·examples.· I can't recall all of them.            ·9· ·exact date, but we -- in January of this
10· · · · · · ·There are also cancellation             10· ·year, we added two additional cancellation
11· ·reasons if an application is rejected, for        11· ·codes so that we could delineate between
12· ·some reason.                                      12· ·unsigned, undated, and incorrectly dated,
13· · · ·Q· · ·So, to be clear, up through the         13· ·so there would be three separate codes for
14· ·November 2022 election putting in the             14· ·those things.
15· ·cancel code would apply to missing                15· · · · · · ·And that was deployed live in the
16· ·signature and either no date or incorrect         16· ·SURE system back in January.
17· ·date; is that right?                              17· · · ·Q· · ·Why did the Department do that?
18· · · ·A· · ·Yes.· They were all kind of in          18· · · ·A· · ·As I said, we have been sort of
19· ·the same bucket, if that makes sense.             19· ·trying to be responsive to the changes in
20· · · ·Q· · ·But all of which should alert the       20· ·the law regarding, you know, undated and
21· ·voter that, unless they take some kind of         21· ·incorrectly dated ballots.
22· ·action, their ballot will not be counted?         22· · · · · · ·And, certainly, given the request
23· · · ·A· · ·Correct.                                23· ·that we've received for details and
24· · · ·Q· · ·And it's now the Department's           24· ·detailed information about how many of
25· ·intention to be a little bit more detailed        25· ·these there are, it made sense to us that
                                             Page 76                                                Page 77
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·we needed to get as much detail through the       ·2· ·correct?
·3· ·SURE system as possible so that individuals       ·3· · · ·A· · ·Correct.
·4· ·who were seeking that information didn't          ·4· · · ·Q· · ·Is there any other form of notice
·5· ·have to go individually to each of the 67         ·5· ·that a County Board of Elections would give
·6· ·County Board of Elections to get that.            ·6· ·to a voter if they returned a ballot that
·7· · · ·Q· · ·So if a Board spots a                   ·7· ·the Board thinks is deficient and would
·8· ·defect -- strike that.                            ·8· ·decline?
·9· · · · · · ·So if it goes in the SURE system,       ·9· · · ·A· · ·I don't recall.· I think there
10· ·you said a voter would get a notice if they       10· ·may be an option within SURE for the County
11· ·provided an email at the time of                  11· ·to generate a hard copy, a paper copy of a
12· ·registration or they are updated                  12· ·notification to the voter.
13· ·thereafter; is that correct?                      13· · · · · · ·But, obviously, as you get closer
14· · · ·A· · ·Correct.                                14· ·to Election Day, that doesn't practically
15· · · ·Q· · ·So if the Board of Elections has        15· ·make a whole lot of sense.· The voter is
16· ·an accurate email that's entered into the         16· ·not going to find out until long after
17· ·SURE system, then that should -- entry of         17· ·Election Day, in most cases.
18· ·the return ballot, whether it's canceled or       18· · · · · · ·I don't recall, though, whether
19· ·accepted, should trigger a notice to the          19· ·that's -- I believe there may be that
20· ·voter, correct?                                   20· ·ability in SURE.· I just don't recall for
21· · · ·A· · ·Correct, yes.                           21· ·certain.
22· · · ·Q· · ·If the email that the voter has         22· · · ·Q· · ·Outside of the SURE system, do
23· ·provided is outdated or the voter has             23· ·the County Boards of Elections have any
24· ·failed to provide an email, obviously, no         24· ·obligation to notify voters of a ballot
25· ·email notification will go to them,               25· ·that appears to be defective?

                            TSG Reporting Pa.App.0825
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     830 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    321 of 378

                                             Page 78                                                Page 79
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·A· · ·My recollection of the statute is       ·2· ·envelope, so when the declaration envelope
·3· ·no, they don't.                                   ·3· ·is opened and there's no secrecy envelope,
·4· · · ·Q· · ·Are you aware of any legal              ·4· ·is the ballot counted?
·5· ·prohibition on Counties giving notice to          ·5· · · ·A· · ·No.· That ballot is set aside.
·6· ·voters of defective ballots?                      ·6· · · ·Q· · ·Is there a Pennsylvania Supreme
·7· · · ·A· · ·I'm not, no.                            ·7· ·Court ruling to that effect?
·8· · · ·Q· · ·Do you know what the practice is        ·8· · · · · · ·MS. MULLEN:· Objection.
·9· ·in the 67 Pennsylvania Counties?                  ·9· · · ·A· · ·I believe there is.
10· · · · · · ·MS. MULLEN:· Objection.                 10· · · ·Q· · ·If the voter has failed to put a
11· · · ·A· · ·Each of the 67?                         11· ·signature or to sign the declaration
12· · · ·Q· · ·If you know.                            12· ·envelope, is that ballot set aside as well
13· · · ·A· · ·No, I don't know the practice in        13· ·and not counted?
14· ·each individual County.                           14· · · ·A· · ·It is, yes.
15· · · ·Q· · ·Is it fair to say that some may         15· · · ·Q· · ·So that leaves the date to talk
16· ·provide additional notice outside the             16· ·about.
17· ·SURE system, and others don't?                    17· · · · · · ·MR. WALCZAK:· I probably got
18· · · ·A· · ·Yes, I believe that's fair to           18· · · ·another hour here.· I'm happy to
19· ·say.                                              19· · · ·continue, or if you want to take a
20· · · ·Q· · ·So when the ballot comes back,          20· · · ·10-minute break?
21· ·and we get to Election Day and canvassing,        21· · · · · · ·MS. MULLEN:· Can we take a break,
22· ·which means counting the ballot, right,           22· · · ·five minutes?
23· ·whether you count or not, correct?                23· · · · · · ·MR. WALCZAK:· Five minutes.
24· · · ·A· · ·Correct, yes.                           24· · · ·Okay, let's say 10:35.
25· · · ·Q· · ·So if there's no secrecy                25· · · · · · ·THE VIDEOGRAPHER:· We're off the
                                             Page 80                                                Page 81
·1· · · · · · · · · · · · J. Marks                     ·1· · · · · · · · · · · J. Marks
·2· · · · ·record the time is 10:29.                   ·2· ·the voter provided an email address, the
·3· · · · · · · ·(Recess taken from 10:29 a.m. to      ·3· ·voter would receive notification that the
·4· · · · ·10:35 a.m.)                                 ·4· ·ballot was received.
·5· · · · · · · ·THE VIDEOGRAPHER:· We are on the      ·5· · · · · · ·If the County cancels the ballot
·6· · · · ·record.· The time is 10:35 a.m.             ·6· ·because there's some issue with it, they
·7· ·BY MR. WALCZAK:                                   ·7· ·would receive notification of that as well.
·8· · · · ·Q· · ·I just want to follow up with a       ·8· · · · · · ·So how the County records it in
·9· · ·couple of questions about Counties entering     ·9· ·the SURE system would be relevant, yes.
10· · ·return ballot information into the              10· · · ·Q· · ·So can the County just record it
11· · ·SURE system.                                    11· ·as ballot received at 7:00 p.m. on Election
12· · · · · · · ·Do you know whether all Counties,     12· ·Night, or do they have to say that it's
13· · ·in fact, enter the return ballot at or near     13· ·either accepted or declined?
14· · ·the time it's returned into the                 14· · · ·A· · ·They could record it as received,
15· · ·SURE system?                                    15· ·and then later make a determination that
16· · · · ·A· · ·It does vary from County to           16· ·the ballot should be declined.· So it
17· · ·County, mostly because of operational           17· ·somewhat depends on their own internal
18· · ·issues, whether it's, you know, staffing,       18· ·process.
19· · ·so I can't say that all 67 Counties record      19· · · · · · ·If they're not -- you know, if
20· · ·ballots in SURE immediately upon their          20· ·they're simply, you know, doing intake and
21· · ·return.                                         21· ·not necessarily reviewing the ballots as
22· · · · ·Q· · ·Does how they enter that              22· ·they come in, they're going to record them
23· · ·information impact, what, if anything, the      23· ·as returned.
24· · ·voter would get?                                24· · · · · · ·And then at some later point
25· · · · ·A· · ·Yes.· As I said previously, if        25· ·during the pre-canvass, likely they will

                            TSG Reporting Pa.App.0826
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     831 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    322 of 378

                                             Page 82                                                Page 83
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·make a determination that there's an issue        ·2· ·scan of the barcode that's on the
·3· ·with the outer envelope.· And they may at         ·3· ·declaration envelope, or is there something
·4· ·that time change the disposition of the           ·4· ·more that needs to be done?
·5· ·ballot in the SURE system.                        ·5· · · ·A· · ·You know, I do not work in SURE
·6· · · ·Q· · ·So that determination that a            ·6· ·myself, so, you know, my high-level
·7· ·ballot has a deficient declaration envelope       ·7· ·understanding is that you would also -- you
·8· ·could come after 8:00 on Election Night?          ·8· ·scan it, mark it as returned.
·9· · · ·A· · ·It could, yes.                          ·9· · · · · · ·You also would, at some point,
10· · · ·Q· · ·In which case, the SURE system          10· ·identify the disposition of the ballot as
11· ·itself could not trigger any kind of notice       11· ·well.· So if it were to be canceled, you
12· ·to the voter that their ballot had been           12· ·would have to update that record to
13· ·declined?                                         13· ·indicate why the ballot was canceled.
14· · · ·A· · ·Well, the SURE system -- unless         14· · · ·Q· · ·So the scanning indicates time of
15· ·I'm mistaken and something has changed            15· ·return, and that determines whether it's
16· ·recently, the SURE system would still send        16· ·timely or not, correct?
17· ·the notification to the voter irrespective        17· · · ·A· · ·Correct.
18· ·of when the County recorded that                  18· · · ·Q· · ·And then the code would be
19· ·disposition.                                      19· ·important to denote whether or not
20· · · · · · ·Our guidance to the Counties has        20· ·facially, based on what you can tell from
21· ·been consistently over the last couple of         21· ·the declaration envelope, the ballot
22· ·years to record ballots in SURE as quickly        22· ·either -- the declaration envelope is
23· ·as possible after they're received.               23· ·either compliant or it's not?
24· · · ·Q· · ·I'm sorry.· To try and clarify,         24· · · ·A· · ·Correct.· And that may also be
25· ·so when you say "enter," is that just the         25· ·used for some other reason.· As I said, you
                                             Page 84                                                Page 85
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·know, the secrecy envelope was not included       ·2· ·as possible.
·3· ·or the ballot was not included in the             ·3· · · · · · ·Other Counties, that comes a
·4· ·secrecy envelope.                                 ·4· ·little bit later in the process.
·5· · · · · · ·And that determination, you know,       ·5· · · ·Q· · ·And, conversely, are you aware of
·6· ·those determinations may not be made until        ·6· ·Counties that do not take steps to notify
·7· ·during the pre-canvass or even the canvas         ·7· ·voters of deficient ballots before the
·8· ·after 8:00 p.m. on Election Day depending         ·8· ·deadline?
·9· ·on when the ballot was returned.                  ·9· · · ·A· · ·Correct, yes.
10· · · ·Q· · ·Is there uniformity in the              10· · · ·Q· · ·So you are aware of such
11· ·Counties in how and when they enter those         11· ·Counties?
12· ·determinations?                                   12· · · ·A· · ·I am, yes.
13· · · ·A· · ·There isn't.· As I said, you            13· · · ·Q· · ·Do you know how many of those
14· ·know, each County, based on their workflow,       14· ·Counties there are?
15· ·based on their staffing level, it's going         15· · · ·A· · ·It would be a guess, so I'm not
16· ·to vary from one County to another.               16· ·going to make a guess.
17· · · ·Q· · ·So is it fair to say that some          17· · · ·Q· · ·Is it more than five?
18· ·Counties endeavor to alert voters of              18· · · ·A· · ·Yes, I believe so.· I believe
19· ·deficient, facially deficient, ballots            19· ·it's double digits, based on my
20· ·prior to the return deadline?                     20· ·recollection and what I know.
21· · · ·A· · ·That's my understanding.                21· · · ·Q· · ·And how is it that the Department
22· · · · · · ·You know, I, obviously, cannot          22· ·knows what the Board of Elections'
23· ·speak for all 67 Counties on this issue,          23· ·practices are?
24· ·but I am aware that some Counties record          24· · · ·A· · ·Well, you know, we are certainly
25· ·those ballots, try to notify voters as soon       25· ·in communication with the Boards of

                            TSG Reporting Pa.App.0827
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     832 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    323 of 378

                                             Page 86                                                Page 87
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·Elections, you know, prior to, during, and        ·2· · · ·A· · ·Yes, that's a fair statement.
·3· ·even after each election.                         ·3· · · ·Q· · ·And it may have been a
·4· · · · · · ·And in some cases, we survey            ·4· ·combination of Act 77 and the COVID
·5· ·Counties to try to obtain information that        ·5· ·shutdown?
·6· ·we may not be able to ascertain via the           ·6· · · ·A· · ·Yes.· I mean, certainly, we
·7· ·SURE system.                                      ·7· ·expected that there would be an increase in
·8· · · · · · ·So we've had some communications        ·8· ·voters who voted by mail.
·9· ·with the Counties, and during that process,       ·9· · · · · · ·The global pandemic certainly
10· ·we've learned that some Counties do not           10· ·changed the dynamics and probably
11· ·notify voters and others do.                      11· ·contributed to the amounts certainly in
12· · · ·Q· · ·Do you have, as we sit here             12· ·2020.
13· ·today, or does the Department of State have       13· · · ·Q· · ·But there was mail voting prior
14· ·any kind of systematic review of how the          14· ·to 2019 in the form of either absentee
15· ·respective Counties handled these return          15· ·ballots or UOCAVA ballots, correct?
16· ·issues in the latest election?                    16· · · ·A· · ·Correct, yes.
17· · · ·A· · ·I'm not aware of us having that,        17· · · ·Q· · ·There were just a lot fewer of
18· ·no.                                               18· ·them prior to the passage of Act 77?
19· · · ·Q· · ·I want to turn now to sort of the       19· · · ·A· · ·Correct, yes.
20· ·history of this date issue litigation.            20· · · ·Q· · ·Do you recall the date, or
21· · · · · · ·I'll try to go through it quickly       21· ·absence of a date, or incorrect date ever
22· ·here.                                             22· ·being an issue prior to 2019?
23· · · · · · ·Would you agree with me that the        23· · · ·A· · ·I do not, no.
24· ·passage of Act 77 in 2019 dramatically            24· · · ·Q· · ·Are you aware of whether voters
25· ·increased the number of mail-in ballots?          25· ·sometimes forgot to put a date on their
                                             Page 88                                                Page 89
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·declaration envelope prior to 2019?               ·2· ·recall Counties using that as a reason or,
·3· · · ·A· · ·I would expect that there were          ·3· ·you know.
·4· ·occasions where voters forgot to put a            ·4· · · · · · ·Yes, that's probably not the best
·5· ·date.                                             ·5· ·use of words there, but I don't recall
·6· · · · · · ·I don't have any empirical data         ·6· ·Counties rejecting ballots on the basis
·7· ·on that, but I can't imagine that voter           ·7· ·that they were incorrectly dated,
·8· ·behavior was a whole lot different then           ·8· ·certainly, and probably did not reject them
·9· ·than it is now.                                   ·9· ·when they were undated.
10· · · ·Q· · ·Are you aware of any, I'll use          10· · · · · · ·And that's kind of based on the
11· ·the term, "controversies," discussion about       11· ·questions that we got about the issue
12· ·whether to count absentee and UOCAVA              12· ·during 2020.
13· ·ballots without a date on them prior to           13· · · · · · ·Once it became a controversy, it
14· ·2019?                                             14· ·was pretty clear that Counties
15· · · ·A· · ·I'm not, no.                            15· ·traditionally had been -- you know, kind of
16· · · ·Q· · ·Are you aware of any litigation         16· ·erred on the side of the voter.
17· ·around that prior to 2019?                        17· · · ·Q· · ·Did the Department have any
18· · · ·A· · ·I don't recall any litigation, at       18· ·guidance prior to 2020 about what to do
19· ·least not at the State level.                     19· ·with undated or incorrectly dated mail
20· · · ·Q· · ·Do you know whether or not prior        20· ·ballots?
21· ·to 2019 those absentee ballots without a          21· · · ·A· · ·I don't recall that we had any
22· ·date or an incorrect date would have been         22· ·guidance on that specific issue prior to
23· ·counted?                                          23· ·2020.
24· · · ·A· · ·I cannot say that they would have       24· · · ·Q· · ·Is it fair to say that prior to
25· ·been counted in all 67 Counties.· I don't         25· ·2020, a missing date on an absentee ballot

                            TSG Reporting Pa.App.0828
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     833 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    324 of 378

                                             Page 90                                                Page 91
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·was not an issue?                                 ·2· ·was on June 2 or June 3.
·3· · · ·A· · ·I think that's fair to say.             ·3· · · · · · ·It was early June as opposed to
·4· ·Again, based on my recollection, I cannot         ·4· ·April.
·5· ·speak for all 67 Counties and what their          ·5· · · · · · ·It would have been April in 2020
·6· ·practices were prior to 2020 or even now,         ·6· ·because it as a presidential year.· So it
·7· ·for that matter.                                  ·7· ·was pushed back from the fourth Tuesday in
·8· · · · · · ·But based on my recollection            ·8· ·April to, I believe it was, the first
·9· ·of -- you know, from our discussions with         ·9· ·Tuesday in June, if I'm not mistaken.
10· ·Counties or questions we received from            10· · · ·Q· · ·And do you recall there being any
11· ·Counties, I believe that's true.                  11· ·issues around mail-in ballot missing a date
12· · · ·Q· · ·So the first election that              12· ·or with an incorrect date in that June 2020
13· ·occurred after Act 77 went into effect,           13· ·Primary?
14· ·right, so what I mean by that is where            14· · · ·A· · ·I don't recall that being an
15· ·no-excuse, absentee mail balloting was            15· ·issue in June, no.
16· ·allowed, would have been the Primary of           16· · · ·Q· · ·Do you know whether Counties were
17· ·2020?                                             17· ·counting undated and misdated mail-in
18· · · ·A· · ·Correct, yes.                           18· ·ballots?
19· · · ·Q· · ·So that was sometime in May. I          19· · · ·A· · ·I don't recall.· Again, I can't
20· ·don't think I have the date.                      20· ·speak for, you know, each individual
21· · · ·A· · ·It was actually in June.· Because       21· ·County.
22· ·of the pandemic, the legislature passed --        22· · · · · · ·But based on my recollection, it
23· ·I forget the act number now, but they             23· ·was not a controversy, and I was not
24· ·pushed back the date of the Primary to give       24· ·aware -- at least not aware of a
25· ·Counties more time.· So I want to say it          25· ·significant number of Counties who weren't
                                             Page 92                                                Page 93
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·counting them on that basis.                      ·2· · · ·A· · ·That's correct, yes.
·3· · · ·Q· · ·I'm sorry, you were not aware of        ·3· · · ·Q· · ·And I believe the name of that
·4· ·a significant number of Counties that were        ·4· ·case was In Re:· Canvass of absentee and
·5· ·not counting?                                     ·5· ·mail-in ballots of the November 3, 2020,
·6· · · ·A· · ·Right.                                  ·6· ·General Election.
·7· · · ·Q· · ·Prior to the Primary of 2020, did       ·7· · · · · · ·Does that sound right?
·8· ·the Department put out any guidance about         ·8· · · ·A· · ·I believe that's correct, yes.
·9· ·dating mail-in ballots?                           ·9· · · ·Q· · ·Yes, it just rolls off the
10· · · ·A· · ·I don't recall that we put out          10· ·tongue.
11· ·guidance that highlighted the dating of           11· · · · · · ·To move us along here, is it your
12· ·absentee and mail-in ballots.                     12· ·understanding that the Supreme Court issued
13· · · ·Q· · ·Why is that?                            13· ·a split decision, 3-1-3 decision, where
14· · · ·A· · ·Well, you know, as I said, it           14· ·three justices held that undated ballots
15· ·wasn't a controversy at that point in time.       15· ·should be counted, three justices ruled
16· · · · · · ·As I recall, our guidance was           16· ·that undated ballots should not be counted,
17· ·around, you know, implementation of Act 77,       17· ·and one justice, Justice Wecht, issued a
18· ·and, you know, what Counties needed to know       18· ·concurring dissenting opinion in which he
19· ·to meet what, you know, certainly by March        19· ·said that, generally or in the future,
20· ·of 2020, we understood would be a very high       20· ·undated ballots should not be counted, but
21· ·demand for this new mail-in ballot option.        21· ·for the 2020 General Election, they should
22· · · ·Q· · ·So the legal landscape around           22· ·be counted?
23· ·mail-in ballots began to change with a            23· · · · · · ·Is that a fair understanding of
24· ·decision of the Pennsylvania Supreme Court        24· ·what the Pennsylvania Supreme Court
25· ·in the fall of 2020; is that correct?             25· ·decided?

                            TSG Reporting Pa.App.0829
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     834 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    325 of 378

                                             Page 94                                                Page 95
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · · · · ·MS. MULLEN:· Objection.                 ·2· ·had determined that ballots could be
·3· · · ·A· · ·Yes, I believe that's a fair            ·3· ·received up through Friday after Election
·4· ·summary of the Supreme Court's decision.          ·4· ·Day.
·5· · · ·Q· · ·And that's your understanding of        ·5· · · · · · ·So I do recall asking Counties to
·6· ·the decision?                                     ·6· ·segregate ballots that were not received by
·7· · · ·A· · ·That's correct, yes.                    ·7· ·the normal statutory deadline because that
·8· · · ·Q· · ·And the Department of State             ·8· ·was still being litigated, and I think that
·9· ·conformed its guidance on whether to count        ·9· ·was pursuant to a U.S. Supreme Court
10· ·or not count undated or misdated ballots          10· ·ruling.
11· ·based on that decision, correct?                  11· · · · · · ·I don't recall, though, us
12· · · ·A· · ·Yes.                                    12· ·segregating ballots or directing Counties
13· · · ·Q· · ·So in the November 2020 General         13· ·to segregate ballots based on them being
14· ·Election, were undated ballots counted?           14· ·undated or incorrectly dated.
15· · · ·A· · ·In the November 2020 Election?          15· · · · · · ·My recollection is that we asked
16· · · ·Q· · ·Yes.                                    16· ·them to segregate based on when they were
17· · · ·A· · ·Yes, that's my recollection, yes.       17· ·received.
18· · · ·Q· · ·Do you recall if maybe they were        18· · · ·Q· · ·So undated ballots were, in fact,
19· ·not counted and segregated pursuant to U.S.       19· ·counted if they were received by 8:00 p.m.
20· ·Supreme Court order, if you know?                 20· ·on Election Night in November of 2020?
21· · · ·A· · ·I don't recall.· What I'm               21· · · ·A· · ·Yes, that's my recollection.
22· ·recalling now is the extension and us             22· · · ·Q· · ·Incorrectly dated envelopes are
23· ·asking Counties to segregate ballots that         23· ·different than undated envelopes; is that
24· ·were received during that period of time.         24· ·right?
25· · · · · · ·The Pennsylvania Supreme Court          25· · · ·A· · ·Yes.· I think the term is not
                                             Page 96                                                Page 97
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·easily understood even by me.                     ·2· · · ·Q· · ·So now moving to the May 18,
·3· · · · · · ·But, yes, incorrectly dated             ·3· ·2021, Primary.
·4· ·generally means it has a date, but that           ·4· · · · · · ·So during that election, were
·5· ·date is determined by the County to be            ·5· ·undated ballots counted?
·6· ·incorrect, at least within the context of         ·6· · · ·A· · ·My recollection is that they
·7· ·the election.                                     ·7· ·weren't with the exception of a handful of
·8· · · · · · ·So maybe an example would be            ·8· ·Counties that, in spite of the Department's
·9· ·helpful.· A birthday versus, you know, a          ·9· ·guidance to the contrary, decided to count
10· ·current date.                                     10· ·them.
11· · · ·Q· · ·So somebody next to or under            11· · · ·Q· · ·So, at some point, in late 2020,
12· ·their signature on the declaration page           12· ·early 2021, the Department put out guidance
13· ·would have written their birthday instead         13· ·about how to handle undated and misdated
14· ·of the date on which they filled out the          14· ·mail-in ballots?
15· ·ballot?                                           15· · · ·A· · ·Yes, I believe based on, you
16· · · ·A· · ·Correct.                                16· ·mentioned, Justice Wecht's concurring and
17· · · ·Q· · ·In November of 2020, were               17· ·dissenting opinion, I think it was our
18· ·incorrectly counted ballots counted?              18· ·interpretation as well that, moving forward
19· · · · · · ·MS. MULLEN:· Objection.                 19· ·after the November 2020 Election, that the
20· · · ·A· · ·Incorrectly dated ballots,              20· ·expectation was that those ballots would
21· ·certainly, the Department did not issue any       21· ·not be counted if they weren't dated.
22· ·guidance directing Counties not to count          22· · · ·Q· · ·And how about incorrectly dated?
23· ·them.· So I would expect that Counties            23· · · ·A· · ·I'd have to review our guidance
24· ·counted incorrectly dated ballots just as         24· ·as it existed at the time.· I don't recall
25· ·they did undated ballots.                         25· ·when incorrectly dated -- you know, that is

                            TSG Reporting Pa.App.0830
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     835 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    326 of 378

                                             Page 98                                                Page 99
·1· · · · · · · · · · · · J. Marks                     ·1· · · · · · · · · · · J. Marks
·2· · ·a term that doesn't exist in the Election       ·2· · · · · · ·Is it fair to say that the email
·3· · ·Code.· It doesn't have a definition.            ·3· ·you sent did not bear either of those?
·4· · · · · · · ·Our Supreme Court last year           ·4· · · ·A· · ·Those indicia, no.
·5· · ·before the November election attempted to       ·5· · · ·Q· · ·Now, I note at the top, it says
·6· · ·provide some guidance, but I don't recall       ·6· ·this is from Marks Jonathan to Marks
·7· · ·if we directly addressed incorrectly dated,     ·7· ·Jonathan.
·8· · ·but we certainly addressed undated ballots.     ·8· · · · · · ·Are you in the habit of just
·9· · · · ·Q· · ·If I could ask you to take a look     ·9· ·sending emails to yourself, or does this go
10· · ·at Exhibit 4 there.                             10· ·a little bit broader?
11· · · · · · · ·(Marks' Exhibit 4, Marks' 6-1-21      11· · · ·A· · ·No, I have talked to myself on
12· · · · ·Email, was marked for identification,       12· ·occasion.· But, no, we typically -- when we
13· · · · ·as of this date.)                           13· ·blast an email out to Counties, we will
14· ·BY MR. WALCZAK:                                   14· ·blind copy everyone so that we don't have a
15· · · · ·Q· · ·Do you recognize what's marked as     15· ·big list of email addresses in the "to"
16· · ·Marks' Exhibit 4?                               16· ·field.
17· · · · ·A· · ·I do, yes.                            17· · · · · · ·So I'll send it to myself and
18· · · · ·Q· · ·What is it?                           18· ·blind copy everyone else who receives it.
19· · · · ·A· · ·This is an email that I sent out      19· ·But this email did go out to all of our
20· · ·to Counties in June of 2021 as a follow-up      20· ·Election Director contacts in the 67
21· · ·from the May 18 Primary.                        21· ·Counties.
22· · · · ·Q· · ·I'll represent to you that this       22· · · ·Q· · ·So this was not targeted just to
23· · ·was taken from an exhibit in the Migliori       23· ·a select number of Counties, this went to
24· · ·case, hence, the blue lettering at the top      24· ·all Counties?
25· · ·and the exhibit sticker at the bottom.          25· · · ·A· · ·Correct, yes.
                                            Page 100                                               Page 101
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·Q· · ·And the subject line there says,        ·2· · · ·Q· · ·If you could go down to that
·3· ·"DOS Email Reminder Regarding Requirement         ·3· ·third paragraph in Exhibit 4?
·4· ·to Sign and Date Declaration Envelopes."          ·4· · · ·A· · ·Yes.
·5· · · · · · ·Did I read that correctly?              ·5· · · ·Q· · ·Reminder of previous
·6· · · ·A· · ·That's correct, yes.                    ·6· ·clarification of 10/25/2020, it says:
·7· · · ·Q· · ·So are you, in this email,              ·7· · · · · · ·"There is no basis to reject a
·8· ·conveying your view, or are you                   ·8· ·ballot for putting the wrong date on the
·9· ·representing the Department of State?             ·9· ·envelope."
10· · · ·A· · ·I'm representing the Department         10· · · · · · ·Is that correct?
11· ·of State's view.                                  11· · · ·A· · ·Correct, yes.
12· · · ·Q· · ·Was this reviewed by lawyers at         12· · · ·Q· · ·So undated ballots should not be
13· ·the Department?                                   13· ·counted, but if there is any date on the
14· · · ·A· · ·It was, yes.                            14· ·ballot, then it should be counted.
15· · · ·Q· · ·Why did you send this?                  15· · · · · · ·Is that the Department's advice
16· · · ·A· · ·Well, I think the first paragraph       16· ·here?
17· ·in the email indicates the why.                   17· · · ·A· · ·Yes.
18· · · · · · ·You know, we had received               18· · · ·Q· · ·Then it says, "Nor is the date
19· ·information, not only through news                19· ·written used to determine the eligibility
20· ·articles, but also calls and questions that       20· ·of the voter."
21· ·some Counties were continuing to accept and       21· · · · · · ·What does that mean?
22· ·count ballots that did not contain both a         22· · · ·A· · ·Well, I mean, it speaks for
23· ·signature and a date.· So it was sent as a        23· ·itself.· You know, it's the Department's
24· ·reminder to Counties what the current state       24· ·opinion that the date that the voter
25· ·of the law was on the issue.                      25· ·inserts on that envelope, whether it's the

                            TSG Reporting Pa.App.0831
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     836 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    327 of 378

                                            Page 102                                               Page 103
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·date they're assigning it or some other           ·2· ·that undated ballots should not be counted,
·3· ·date, has no bearing on the voter's               ·3· ·but ballots bearing any date, even one that
·4· ·qualifications to vote.                           ·4· ·appears to be incorrect, should be counted;
·5· · · ·Q· · ·Those qualifications are what?          ·5· ·is that accurate?
·6· · · ·A· · ·Well, they have to be, you know,        ·6· · · ·A· · ·That is my recollection, yes.
·7· ·of age, a citizen, and a resident of the          ·7· · · ·Q· · ·And the May Primary in 2022 was
·8· ·Commonwealth for 30 days before an                ·8· ·May 17; is that right?
·9· ·election.                                         ·9· · · ·A· · ·That sounds right, yes.
10· · · · · · ·Those are the only ones that I'm        10· · · ·Q· · ·And then you referenced a minute
11· ·aware of.                                         11· ·ago Migliori.
12· · · ·Q· · ·And the date that the voter             12· · · · · · ·What is Migliori?
13· ·writes on their verification envelope does        13· · · ·A· · ·Well, that was the case that
14· ·not bear on any of those qualifications?          14· ·originated in Lehigh County in the, I
15· · · ·A· · ·That's correct, yes.                    15· ·believe, Third Circuit Federal Court.
16· · · ·Q· · ·Did this guidance carry through         16· · · · · · ·That decision, if I recall,
17· ·the November 2021 General Election?               17· ·became very shortly after the May Primary
18· · · ·A· · ·I believe it did.· As I recall          18· ·in 2022.· It would sort of change the
19· ·the timeline, we did not have a decision in       19· ·landscape on the question of undated
20· ·Migliori until after the November 2021            20· ·ballots.
21· ·Election.                                         21· · · ·Q· · ·When you say, "change the
22· · · ·Q· · ·So the guidance from the                22· ·landscape," how did it do so?
23· ·Department for the May Primary, or, yes,          23· · · ·A· · ·Well, the Federal Court -- you
24· ·May 2021 Primary, the November 2021               24· ·know, I'll be succinct.· I mean, the
25· ·Election, and then the May 2022 Primary was       25· ·Federal Court basically determined that
                                            Page 104                                               Page 105
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·those ballots -- that that error was              ·2· ·Circuit issued its decision, Justice Alito
·3· ·immaterial for purposes of Federal law, and       ·3· ·granted a stay, and then at some point
·4· ·that those ballots should be counted.             ·4· ·thereafter, the full court lifted that
·5· · · ·Q· · ·When you say "that error," you          ·5· ·stay?
·6· ·mean the voters --                                ·6· · · ·A· · ·Yes, that's my recollection.
·7· · · ·A· · ·The voter failing to provide a          ·7· · · ·Q· · ·And this all occurred after the
·8· ·date, yes.                                        ·8· ·voting in the May 17 Primary; is that
·9· · · ·Q· · ·So Migliori held that a voter's         ·9· ·correct?
10· ·failure to list the date on the declaration       10· · · ·A· · ·That's correct, yes.
11· ·envelope was immaterial to their                  11· · · ·Q· · ·Did Migliori become an issue in
12· ·eligibility, and, therefore, it should be         12· ·any way after that for the May 2022
13· ·counted under Federal law?                        13· ·election?
14· · · · · · ·MS. MULLEN:· Objection.                 14· · · · · · ·MS. MULLEN:· Objection.
15· · · ·A· · ·That's my understanding, yes,           15· · · ·Q· · ·If you know.
16· ·that the Court determined it was not              16· · · ·A· · ·I don't recall.· As I said
17· ·material in determining their eligibility.        17· ·earlier, I know this is still hanging out
18· · · ·Q· · ·Do you recall that late May,            18· ·there, that's why we're here today, but I
19· ·early June of 2022, there were further            19· ·don't recall anything specifically related
20· ·proceedings in Migliori in the U.S. Supreme       20· ·to Migliori after that point in time.
21· ·Court?                                            21· · · ·Q· · ·After the Supreme Court denied a
22· · · · · · ·Were you aware of that?                 22· ·stay in Migliori, did the Department change
23· · · ·A· · ·Yes.                                    23· ·its guidance around the undated/misdated
24· · · ·Q· · ·And is it your recollection that        24· ·ballot issue?
25· ·you guys, at some point, after the Third          25· · · ·A· · ·Can you ask that again?· After

                            TSG Reporting Pa.App.0832
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     837 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    328 of 378

                                            Page 106                                               Page 107
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· ·the U.S. Supreme Court?· You're referring         ·2· · · · ·A· · ·Yes, I believe that's correct.
·3· ·to the Pennsylvania Supreme Court?                ·3· · · · ·Q· · ·Let's put a pin in that and come
·4· · · ·Q· · ·Yes, sorry.                             ·4· · ·back to that.· I want to come back to
·5· · · · · · ·When the Supreme Court eventually       ·5· · ·Migliori.
·6· ·decided in June of 2022 that they were not        ·6· · · · · · · ·(Marks' Exhibit 5, 2022-09-26 DOS
·7· ·going to stay the Third Circuit's ruling in       ·7· · · · ·Mail-In Ballot Procedures, was marked
·8· ·Migliori, right, lifting any question at          ·8· · · · ·for identification, as of this date.)
·9· ·that time whether the Third Circuit's             ·9· ·BY MR. WALCZAK:
10· ·opinion is going forward, did the                 10· · · · ·Q· · ·If you could look at Marks'
11· ·Department change its guidance?                   11· · ·Exhibit 5, do you recognize what's been
12· · · ·A· · ·I don't recall that we changed          12· · ·marked as Marks' Exhibit 5?
13· ·our guidance in June of 2022?                     13· · · · ·A· · ·I do, yes.
14· · · ·Q· · ·Did you change it thereafter?           14· · · · ·Q· · ·So I was trying to find the
15· · · ·A· · ·We changed it prior to the              15· · ·actual guidance that was issued on
16· ·November 2022 election based on a ruling of       16· · ·September 26, 2022.
17· ·the Pennsylvania Supreme Court on the issue       17· · · · · · · ·This is not that, correct?
18· ·of undated ballots.· And the Court also           18· · · · ·A· · ·You were trying to find the
19· ·referenced incorrectly dated ballots as           19· · ·guidance issued on what date?
20· ·well, and then subsequently provided some         20· · · · ·Q· · ·September 26, 2022.· It
21· ·level of guidance as to what they believed        21· · ·appears -- let me ask you, did the
22· ·was an incorrectly dated ballot.                  22· · ·Department issue guidance around --
23· · · ·Q· · ·So that Pennsylvania Supreme            23· · · · ·A· · ·Oh, the original.· So, no, we
24· ·Court decision you're referring to is known       24· · ·basically provided the notice, this notice
25· ·as Ball versus Chapman?                           25· · ·at the top of this guidance.
                                            Page 108                                               Page 109
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · · · · ·As you recall, that Supreme Court       ·2· · · ·Q· · ·And it reads:
·3· ·decision came immediately prior, within a         ·3· · · · · · ·"Any ballot return envelope that
·4· ·week of the November election.· So it was         ·4· ·is undated or dated with an incorrect date,
·5· ·not practical at that time for us to update       ·5· ·but that has been timely received by the
·6· ·our guidance.                                     ·6· ·County, shall be included in the
·7· · · · · · ·So we noted -- we basically             ·7· ·pre-canvass and canvas."
·8· ·struck through portions of this guidance          ·8· · · · · · ·Did I read that correctly?
·9· ·that were inconsistent with the Supreme           ·9· · · ·A· · ·You did, yes.
10· ·Court's decision, and then noted that on          10· · · ·Q· · ·So in the guidance issued on
11· ·the cover of this guidance document, as           11· ·September 26, 2022, that language was not
12· ·opposed to attempting within a few days to        12· ·stricken, correct?
13· ·issue brand new guidance on the issue.            13· · · ·A· · ·That's correct, yes.
14· · · ·Q· · ·Let me try this again.                  14· · · ·Q· · ·And that language, in fact,
15· · · · · · ·So this is, for lack of a better        15· ·reflected a change in Department guidance
16· ·term, a redline of guidance that the              16· ·about what to do with undated ballots,
17· ·Department issued on September 26, 2022,          17· ·correct?
18· ·correct?                                          18· · · ·A· · ·Correct, yes, based on the
19· · · ·A· · ·That's correct, yes.                    19· ·Migliori decision that occurred after the
20· · · ·Q· · ·And if you would turn to                20· ·May Primary.
21· ·Exhibit 5 to page 6, and in the first full        21· · · ·Q· · ·Right.
22· ·paragraph, third bullet point, you see some       22· · · · · · ·So in the May Primary, undated
23· ·struck out language there that begins, "Any       23· ·ballot guidance was do not count, correct?
24· ·ballot return envelope"?                          24· · · ·A· · ·Correct.
25· · · ·A· · ·Correct, yes.                           25· · · ·Q· · ·And then in September of 2022,

                            TSG Reporting Pa.App.0833
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     838 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    329 of 378

                                            Page 110                                               Page 111
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·based on the Department's interpretation of       ·2· ·5 is stricken, that was the change that was
·3· ·Migliori, the Department changed its              ·3· ·reflected in this November 3 guidance that
·4· ·guidance to say count not just incorrectly        ·4· ·now Counties should no longer count undated
·5· ·dated ballots, but also undated mail-in           ·5· ·ballots, correct?
·6· ·ballots, correct?                                 ·6· · · ·A· · ·Correct.
·7· · · · · · ·MS. MULLEN:· Objection.                 ·7· · · ·Q· · ·Just for completeness, if you
·8· · · ·A· · ·Correct, yes.                           ·8· ·could look on page 10 of Exhibit 5, there's
·9· · · ·Q· · ·But that guidance was never             ·9· ·language with a strike-through under
10· ·actually implemented for any Pennsylvania         10· ·pre-canvass and canvas procedures, third
11· ·election; is that correct?                        11· ·bullet.
12· · · · · · ·MS. MULLEN:· Objection.                 12· · · · · · ·Do you see that?
13· · · ·A· · ·When you say "that guidance,"           13· · · ·A· · ·I do, yes.
14· ·you're referring to the September 26              14· · · ·Q· · ·And that says also don't canvas
15· ·guidance?                                         15· ·the ballots, which means don't count them,
16· · · ·Q· · ·Correct.                                16· ·correct?
17· · · ·A· · ·That's correct, yes.                    17· · · ·A· · ·Correct, yes.
18· · · ·Q· · ·Hence, the document that we're          18· · · ·Q· · ·But set them aside, save them,
19· ·looking at as Exhibit 5 is updated guidance       19· ·don't destroy them, put them aside,
20· ·that the Department issued on November 3,         20· ·correct?
21· ·or thereabouts, correct?                          21· · · ·A· · ·Correct.
22· · · ·A· · ·Yes, that sounds -- yes, that's         22· · · ·Q· · ·Was the Department's change in
23· ·correct.                                          23· ·guidance from September 26 to the November
24· · · ·Q· · ·And that's the reason why the           24· ·General Election based on action by the
25· ·language we looked at on page 6 of Exhibit        25· ·U.S. Supreme Court vacating the Third
                                            Page 112                                               Page 113
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· ·Circuit's Migliori decision?                      ·2· · ·would be follow-on litigation related to
·3· · · · · · ·MS. MULLEN:· Objection.                 ·3· · ·this issue.· So that's why they wanted the
·4· · · ·A· · ·That's my recollection.                 ·4· · ·undated and incorrectly dated ballots
·5· · · ·Q· · ·But it also reflected a                 ·5· · ·segregated from all other ballots that were
·6· ·subsequent decision by the Pennsylvania           ·6· · ·set aside and not counted.
·7· ·Supreme Court in the case we referenced           ·7· · · · ·Q· · ·So one might say the justices
·8· ·earlier, Ball versus Chapman; is that             ·8· · ·were quite prescient in directing that?
·9· ·right?                                            ·9· · · · ·A· · ·I would think so, yes.
10· · · ·A· · ·Right.                                  10· · · · · · · ·(Marks' Exhibit 6, 2022-11-3
11· · · ·Q· · ·What's your understanding of what       11· · · · ·Guidance Re: Ball Order, was marked for
12· ·Ball versus Chapman ruled?                        12· · · · ·identification, as of this date.)
13· · · ·A· · ·Well, you know, the part that           13· ·BY MR. WALCZAK:
14· ·matters most to us in terms of                    14· · · · ·Q· · ·So if you could take a look at
15· ·administration of elections is that the           15· · ·Marks' Exhibit 6 -- because of the genius
16· ·Court basically held that undated and             16· · ·of Adobe and the new court requirements, I
17· ·incorrectly dated ballots should also not         17· · ·would not disentangle this exhibit.
18· ·be counted, but that the County should            18· · · · · · · ·So we'll represent that
19· ·segregate those ballots from all other            19· · ·Exhibit J -- this is just taken from an
20· ·ballots.                                          20· · ·entry in the litigation that this
21· · · · · · ·And, as I understand it, the            21· · ·deposition is taking place in.
22· ·Court was not in agreement on the Federal         22· · · · · · · ·But if you could turn to the
23· ·question.· And I would expect, at least my        23· · ·second page of Marks' Exhibit 6, do you
24· ·belief, I'm not an attorney, so take it for       24· · ·recognize this?
25· ·what it's worth, the Court expected that          25· · · · ·A· · ·Yes, page 2 of 3, it's the cover

                            TSG Reporting Pa.App.0834
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     839 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    330 of 378

                                            Page 114                                               Page 115
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·page for the standalone guidance that we          ·2· · · ·Q· · ·Was the purpose of this to
·3· ·issued on November 3 with detailed guidance       ·3· ·basically alert the Counties to what the
·4· ·on how Counties should handle undated and         ·4· ·Department viewed as the impact or
·5· ·incorrectly dated ballots based on the Ball       ·5· ·requirements of the Ball decision?
·6· ·decision on November 1.                           ·6· · · ·A· · ·That's correct, yes.
·7· · · ·Q· · ·And, obviously, the Court marking       ·7· · · ·Q· · ·So what this did was kind of
·8· ·at the top was not part of your guidance;         ·8· ·formally amend the Department's
·9· ·is that correct?                                  ·9· ·September 26 guidance which we looked at as
10· · · ·A· · ·That's correct, yes.                    10· ·Marks' Exhibit 5; is that right?
11· · · ·Q· · ·So let's look at page 3 of              11· · · · · · ·MS. MULLEN:· Objection.
12· ·Exhibit 6.                                        12· · · ·A· · ·Yes, that's correct.
13· · · · · · ·Again, were you involved in             13· · · · · · ·The supplement is probably a word
14· ·development of this guidance?                     14· ·I would -- we struck through the
15· · · ·A· · ·I was, yes.                             15· ·no-longer-relevant portions, and then
16· · · ·Q· · ·Were your lawyers involved in           16· ·supplemented the guidance with this.
17· ·this?                                             17· · · ·Q· · ·Would you agree with me that the
18· · · ·A· · ·Yes.                                    18· ·biggest change Ball instituted was that now
19· · · · · · ·MS. MULLEN:· Objection.                 19· ·incorrectly dated ballots, whatever that
20· · · ·Q· · ·I'm sorry, I don't mean your            20· ·means, could not be counted?
21· ·personal lawyers.· They may have been, but        21· · · · · · ·MS. MULLEN:· Objection.
22· ·I'm really more --                                22· · · ·A· · ·Yes.· Substantively, that was the
23· · · ·A· · ·The Department's Office of Chief        23· ·biggest change.· Incorrectly dated ballots
24· ·Counsel was involved in the drafting and          24· ·could not be counted.
25· ·review of this guidance, yes.                     25· · · · · · ·And, you know, prior to that, the
                                            Page 116                                               Page 117
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·Department's guidance on that issue was           ·2· · · ·Q· · ·So looking at the second and
·3· ·that if there's a date on the ballot, it          ·3· ·third bullet points there, they essentially
·4· ·should be counted, even at the point in           ·4· ·ask the Counties to examine the declaration
·5· ·time where we were telling Counties not to        ·5· ·envelopes for signature and date, and then
·6· ·count undated ballots.                            ·6· ·code them appropriately if they're missing
·7· · · ·Q· · ·So after Ball, the Department's         ·7· ·either of those; is that correct?
·8· ·read of that decision was that neither            ·8· · · ·A· · ·That's correct, yes.
·9· ·undated nor incorrectly dated ballots could       ·9· · · ·Q· · ·And why did the Department
10· ·be counted; is that right?                        10· ·include that?
11· · · ·A· · ·That's correct, yes.                    11· · · ·A· · ·Well, we wanted -- for a couple
12· · · ·Q· · ·Looking down on page 3 of               12· ·reasons, we wanted -- to the extent that
13· ·Exhibit 6, the first bullet point talks           13· ·the voter provided an email address, we
14· ·about directing Counties to scan return           14· ·wanted to make sure the voter was alerted
15· ·ballots into the SURE system immediately?         15· ·to the status of their ballot.
16· · · ·A· · ·Correct, yes.                           16· · · · · · ·We also wanted to make sure that
17· · · ·Q· · ·And to date-stamp those; is that        17· ·Counties were putting -- were coding these
18· ·correct?                                          18· ·correctly so that we would have data on
19· · · ·A· · ·Yes.                                    19· ·which ballots were set aside, because there
20· · · ·Q· · ·Why did you include that in this?       20· ·was a problem with the declaration
21· · · ·A· · ·Well, we wanted to remind               21· ·envelope.
22· ·Counties that they should have a mechanism        22· · · ·Q· · ·Do you know whether all the
23· ·for determining which ballots were timely         23· ·Counties complied with that guidance?
24· ·received and on what date those ballots           24· · · ·A· · ·I don't.· I can't say that every
25· ·were received.                                    25· ·County did everything that was outlined in

                            TSG Reporting Pa.App.0835
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     840 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    331 of 378

                                            Page 118                                               Page 119
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·this guidance, including the, you know,           ·2· ·ten?
·3· ·immediately recording ballots returned in         ·3· · · ·A· · ·I believe there were probably
·4· ·the SURE system.                                  ·4· ·more than ten, that it was in the double
·5· · · ·Q· · ·Do you know that some Counties          ·5· ·digits, based on what I know.
·6· ·did not immediately record some ballots           ·6· · · · · · ·Again, I don't have any empirical
·7· ·into the SURE system?                             ·7· ·data to back that up, but, anecdotally,
·8· · · ·A· · ·My recollection is that that is         ·8· ·yes.
·9· ·true, yes.                                        ·9· · · ·Q· · ·Looking at the last bullet on
10· · · ·Q· · ·Are you aware that some Counties        10· ·page 3 of Exhibit 6, is it fair to term
11· ·may have recorded it but not have put in          11· ·that as advice to provide notice and an
12· ·the cancellation code?                            12· ·opportunity to cure for voters?
13· · · ·A· · ·That's my recollection as well,         13· · · ·A· · ·Yes.· We believe that if a voter
14· ·yes.                                              14· ·was returning their ballot by hand, and the
15· · · ·Q· · ·And do you recall how many              15· ·person who was receiving the ballot should
16· ·Counties did not follow that guidance?            16· ·review it, and if they identified an error
17· · · ·A· · ·I don't recall the exact number         17· ·on the outside of the envelope, that it was
18· ·of Counties, and I don't know that we             18· ·appropriate to give that voter an
19· ·necessarily surveyed the Counties on that         19· ·opportunity to fix that error before
20· ·issue.                                            20· ·submitting it to the County.
21· · · ·Q· · ·Based on what you do know, do you       21· · · ·Q· · ·Do you know whether all Counties'
22· ·believe that it was more than five Counties       22· ·Board of Elections complied with that
23· ·that did not comply with that guidance?           23· ·guidance?
24· · · ·A· · ·I believe that's true, yes.             24· · · ·A· · ·I do not, no.
25· · · ·Q· · ·Do you believe it was more than         25· · · ·Q· · ·Do you know whether any Counties
                                            Page 120                                               Page 121
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·did not comply with that guidance?                ·2· ·Primary?
·3· · · ·A· · ·I don't recall.· I don't know           ·3· · · ·A· · ·Yes, that's my recollection, yes.
·4· ·that -- if there are any Counties who did         ·4· · · ·Q· · ·Do you know the different ways
·5· ·not comply with that guidance on in-person,       ·5· ·that Counties may have done "notice and
·6· ·you know, handing the ballot over the             ·6· ·cure" in that situation?
·7· ·counter, no, I don't know.                        ·7· · · ·A· · ·I'm not sure exactly what you
·8· · · ·Q· · ·So that "notice and cure" applies       ·8· ·mean by "different ways."
·9· ·to people who were returning their ballots        ·9· · · ·Q· · ·Did some Counties --
10· ·in person, but there's also potentially           10· · · ·A· · ·It would have involved, you
11· ·"notice and cure" to people who submitted         11· ·know -- at the very least, it would have
12· ·their ballots by mail or just dropped them        12· ·involved the Counties recording the ballot
13· ·off in a drop box or delivered in some            13· ·and generating that notification to the
14· ·fashion as well; is that right?                   14· ·voter.
15· · · ·A· · ·That's correct, yes.                    15· · · · · · ·Some Counties may have gone
16· · · ·Q· · ·As I believe you said earlier,          16· ·beyond that and reached out directly to
17· ·it's your understanding of the law that           17· ·voters with additional contact information
18· ·there's no prohibition on that, but there's       18· ·that they may have had for the voter.
19· ·also no requirement of that on the Counties       19· · · ·Q· · ·Are you aware of some Counties
20· ·to do that "notice and cure"; is that             20· ·maybe publishing lists of voters whose
21· ·correct?                                          21· ·ballots were noncompliant?
22· · · ·A· · ·That's correct, yes.                    22· · · ·A· · ·Yes, I'm aware of at least two
23· · · ·Q· · ·Are you aware of some Counties          23· ·Counties, actually, I think three that I'm
24· ·that did do some variation of "notice and         24· ·aware, that I recall actually seeing lists
25· ·cure" opportunity in the November 8, 2022,        25· ·on their website of individuals whose

                            TSG Reporting Pa.App.0836
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     841 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    332 of 378

                                            Page 122                                               Page 123
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·ballots had a defect on the declaration           ·2· ·also did not provide any other type of
·3· ·envelope.                                         ·3· ·notice to voters?
·4· · · ·Q· · ·What's your understanding of why        ·4· · · · · · ·MS. MULLEN:· Objection.
·5· ·they did that?                                    ·5· · · ·A· · ·I can't speak for each individual
·6· · · ·A· · ·It was to make sure that voters         ·6· ·County, but it is my recollection that
·7· ·could become aware that there was a problem       ·7· ·there were some Counties who did not record
·8· ·that -- you know, that there was awareness        ·8· ·ballots immediately upon receipt, and also
·9· ·that there was a place voters who may be          ·9· ·did not do any outreach to voters who
10· ·worried about whether or not they correctly       10· ·notified them that their ballots were
11· ·completed their declaration envelope, that        11· ·defective in some way.
12· ·there was a central place they could go to        12· · · ·Q· · ·So in those Counties, a voter
13· ·to find out if their ballot may have been         13· ·would not have received any notice from the
14· ·one of those ballots that was not correctly       14· ·Board of Elections that their mail-in
15· ·completed.                                        15· ·ballot was facially defective prior to the
16· · · ·Q· · ·On the other end of the spectrum        16· ·deadline?
17· ·from those Counties that were trying to           17· · · ·A· · ·I think that's fair to say that
18· ·alert voters to defects, I believe you            18· ·they did not receive any notice from their
19· ·testified before that there were some             19· ·County Board of Elections.
20· ·Counties that did not do the timely entry         20· · · ·Q· · ·Do you know how many Counties
21· ·into the SURE system before the deadline;         21· ·fall into that category?
22· ·is that correct?                                  22· · · ·A· · ·I don't know how many Counties
23· · · ·A· · ·That's my recollection, yes.            23· ·fall into that category.
24· · · ·Q· · ·And are you aware whether those         24· · · ·Q· · ·More than five?
25· ·Counties that didn't timely enter into SURE       25· · · ·A· · ·I believe certainly more than
                                            Page 124                                               Page 125
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· ·five, and perhaps double digits.                  ·2· · · · ·engagement that he has got to attend to
·3· · · · · · ·Again, I don't have a firm              ·3· · · · ·at noon.
·4· ·number.· But anecdotally, I think it was,         ·4· · · · · · · ·How do you want to proceed?
·5· ·you know, more than a handful of Counties,        ·5· · · · · · · ·(A Discussion was Held off the
·6· ·let's put it that way.                            ·6· · · · ·Record.)
·7· · · ·Q· · ·So are you aware of any Counties        ·7· · · · · · · ·(Marks' Exhibit 7, SCOPA Supp
·8· ·that counted undated or incorrectly dated         ·8· · · · ·Order 2022-11-5, was marked for
·9· ·ballots in the November 2020 Election?            ·9· · · · ·identification, as of this date.)
10· · · ·A· · ·I'm not aware of any Counties           10· ·BY MR. WALCZAK:
11· ·that counted undated or incorrectly dated         11· · · · ·Q· · ·If I could ask you to take a look
12· ·ballots.                                          12· · ·at the exhibit marked as Marks' Exhibit 7.
13· · · ·Q· · ·So that guidance from the               13· · · · · · · ·Do you have that?
14· ·Department of State will not change going         14· · · · ·A· · ·I do, yes.
15· ·forward as of now, in other words, the            15· · · · ·Q· · ·Again, as with the last exhibit,
16· ·guidance will remain that Counties should         16· · ·I could not disentangle these exhibits
17· ·not count undated or incorrectly dated            17· · ·through Adobe.· So this is taken from a
18· ·ballots in the upcoming Primary election,         18· · ·filing in the NAACP Chapman case.· And,
19· ·correct?                                          19· · ·hence, the Exhibit K on the first page.
20· · · · · · ·MS. MULLEN:· Objection.                 20· · · · · · · ·If you could take a look the
21· · · ·A· · ·That's correct, yes.                    21· · ·second page of Marks' Exhibit 7, do you
22· · · · · · ·MR. WALCZAK:· Jacob, I have a           22· · ·recognize this?
23· · · ·little bit more to go.· I don't know          23· · · · ·A· · ·I do, yes.· It is a supplemental
24· · · ·that I'll be done by noon.                    24· · ·order from the Pennsylvania Supreme Court
25· · · · · · ·I know Jonathan's got another           25· · ·supplementing its order involving Chapman.

                            TSG Reporting Pa.App.0837
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     842 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    333 of 378

                                            Page 126                                               Page 127
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·Q· · ·And this was issued on                  ·2· · · ·A· · ·Yes, that's correct.
·3· ·November 5, 2022?                                 ·3· · · ·Q· · ·Is there any way for the County
·4· · · ·A· · ·That's correct, yes.                    ·4· ·Board of Elections to know whether the date
·5· · · ·Q· · ·So that's before Election Day,          ·5· ·the voter has put on the declaration form
·6· ·correct?                                          ·6· ·is, in fact, the date that they filled out
·7· · · ·A· · ·It is, yes.                             ·7· ·the ballot?
·8· · · ·Q· · ·What's your understanding of the        ·8· · · ·A· · ·No.· Unless the voter is doing it
·9· ·purpose of this supplemental order?               ·9· ·in person in front of the County Election
10· · · ·A· · ·My understanding of the purpose         10· ·official, no, they would not.
11· ·was to provide some standard, or some             11· · · ·Q· · ·But if it's being done at home or
12· ·guidance, if you will, on how a County            12· ·away from an Elections Office, put in an
13· ·would go about determining whether a ballot       13· ·envelope and somehow delivered by mail or
14· ·is incorrectly dated or not.                      14· ·dropped off, the County Election Board
15· · · ·Q· · ·If I'm reading this correctly,          15· ·can't know whether the date the voter has
16· ·they set out a range of dates that if the         16· ·marked is, in fact, the date that they
17· ·date that was written on the declaration          17· ·filled out the ballot, correct?
18· ·envelope fell between or fell in that             18· · · ·A· · ·Correct, yes.
19· ·range, one range for absentee, one for            19· · · ·Q· · ·For purposes of timeliness, as we
20· ·mail-in ballots, that the ballots should be       20· ·discussed earlier, the date that the voter
21· ·counted, correct?                                 21· ·actually fills out the ballot is
22· · · ·A· · ·If the date inserted by the voter       22· ·irrelevant, correct?
23· ·fell within that range, the ballot should         23· · · ·A· · ·The date the voter fills out the
24· ·be counted, is that your...                       24· ·ballot, no.
25· · · ·Q· · ·Yes.                                    25· · · ·Q· · ·So as long as it's received prior
                                            Page 128                                               Page 129
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·to the deadline, 8:00 on Election Night,          ·2· ·any kind of guidance to the County Board of
·3· ·the date the voter fills out the ballot is        ·3· ·Elections about how to handle,
·4· ·irrelevant?                                       ·4· ·quote/unquote, incorrect dates for the
·5· · · ·A· · ·Correct.· The date the voter            ·5· ·May 2023 Primary?
·6· ·fills out the ballot, the date the voter          ·6· · · ·A· · ·We have not.· Our current
·7· ·signs the declaration envelope and returns        ·7· ·guidance on the issue will remain unchanged
·8· ·the ballot to the County is irrelevant.           ·8· ·barring, you know, another ruling by this
·9· · · · · · ·What's relevant is the date that        ·9· ·court or another court on the issue.
10· ·it's received by the County in determining        10· · · · · · ·But we did provide a reminder to
11· ·whether the ballot should be counted or           11· ·the Counties who recently had special
12· ·not.                                              12· ·elections that this was the current status
13· · · ·Q· · ·And if a voter is filling this          13· ·of our guidance on the issue of undated and
14· ·out in privacy, as they are supposed to do,       14· ·incorrectly dated ballots, meaning the
15· ·the ballots are secret, there's no way for        15· ·guidance that we issued shortly before the
16· ·the Elections Board to know whether that          16· ·November election in response to Ball v.
17· ·date is, in fact, representative of when          17· ·Chapman.· So that's the current status quo
18· ·they filled out the ballot, or when they          18· ·right now.
19· ·signed the declaration, or when they, in          19· · · ·Q· · ·Does the Department have any
20· ·fact, put it in the mail, correct?                20· ·guidance on whether or not a date is
21· · · ·A· · ·Correct.                                21· ·incorrect for the upcoming election?
22· · · ·Q· · ·So this order applied to the            22· · · ·A· · ·We do not.
23· ·November 8 Election, correct?                     23· · · ·Q· · ·Does the Department expect to put
24· · · ·A· · ·Correct, yes.                           24· ·out guidance for the upcoming election
25· · · ·Q· · ·Has the Department of State given       25· ·around what is an incorrect date?

                            TSG Reporting Pa.App.0838
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     843 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    334 of 378

                                            Page 130                                               Page 131
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· · · ·A· · ·I can't say that yet whether            ·2· · · · · · · · A F T E R N O O N· ·S E S S I O N
·3· ·we're going to do that.· I know it's              ·3· · · · · · · · · · (Time noted:· 11:42 a.m.)
·4· ·certainly a question Counties asked last          ·4
·5· ·November, and it's a question they continue       ·5· · · · · · · ·THE VIDEOGRAPHER:· We are on the
·6· ·to ask.                                           ·6· · · · ·record.· The time is 1:17 p.m.
·7· · · · · · ·But I don't know.· There's no           ·7
·8· ·standard.· There's no definition in law, to       ·8· ·JONATHAN M. MARKS,
·9· ·my knowledge.· So I'm not sure whether we         ·9· · · · resumed and testified as follows:
10· ·will or will not.· That will be a decision        10· ·CONTINUED EXAMINATION
11· ·they make in consultation with our counsel.       11· ·BY MR. WALCZAK:
12· · · · · · ·MR. WALCZAK:· Jacob and Kathy,          12· · · · ·Q· · ·Good afternoon, Mr. Marks.
13· · · ·you know, now might be a good time to         13· · · · ·A· · ·Good afternoon.
14· · · ·break.                                        14· · · · ·Q· · ·Early in this deposition, I
15· · · · · · ·I'm guessing I only have probably       15· · ·raised the concept of incorrect ballot
16· · · ·about 15 minutes for folks who may want       16· · ·date, incorrect date on a ballot.
17· · · ·to ask questions after I'm done.              17· · · · · · · ·And you made -- I can't remember
18· · · · · · ·Do you want to reconvene at 1:15,       18· · ·exactly what you said, but you kind of
19· · · ·I think you said earlier?                     19· · ·rolled your eyes.
20· · · · · · ·Does that work?                         20· · · · · · · ·Is the whole concept of an
21· · · · · · ·(A Discussion was Held off the          21· · ·incorrect date a problem for the
22· · · ·Record.)                                      22· · ·Department of State?
23· · · · · · ·THE VIDEOGRAPHER:· We are off the       23· · · · ·A· · ·Well, I think it's certainly a
24· · · ·record.· The time is 11:42 a.m.               24· · ·problem from the perspective that there's
25                                                     25· · ·no standard or definition for the term
                                            Page 132                                               Page 133
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·"incorrect date."· That's been our biggest        ·2· · · · · · ·MS. MULLEN:· Objection.
·3· ·challenge.                                        ·3· · · ·A· · ·That's a possibility, yes.
·4· · · · · · ·You know, we can't issue guidance       ·4· · · ·Q· · ·But if that voter put down a date
·5· ·if we don't understand the term.                  ·5· ·before when they got it, but after the
·6· · · ·Q· · ·So the Pennsylvania Supreme             ·6· ·start date identified by the Supreme Court,
·7· ·Court, as we talked about earlier, issued a       ·7· ·that ballot would have been counted in
·8· ·supplemental ruling saying that as long as        ·8· ·November 2022, correct?
·9· ·the voter put in a date in a certain range        ·9· · · ·A· · ·Yes, I would expect so.
10· ·for either absentee or mail-in ballots,           10· · · ·Q· · ·Even though that date clearly
11· ·that it would count, correct?                     11· ·would not have been accurate in terms of
12· · · ·A· · ·Yes, that's my recollection.            12· ·reflecting when the voter filled out the
13· · · ·Q· · ·And Counties may allow their            13· ·ballot or mailed it?
14· ·ballots on all different dates, correct?          14· · · ·A· · ·Correct.
15· · · ·A· · ·That's correct, yes.                    15· · · ·Q· · ·But under the law as the
16· · · ·Q· · ·It may depend on any number of          16· ·Pennsylvania Supreme Court has announced
17· ·factors, mostly around when the ballot is         17· ·it, that ballot would have been counted?
18· ·ready to go, and they get it back from the        18· · · ·A· · ·Yes, based on the Court's
19· ·printer?                                          19· ·supplemental ruling in the Ball case.
20· · · ·A· · ·Right.                                  20· · · ·Q· · ·So, to some extent, an incorrect
21· · · ·Q· · ·And so, in fact, a voter may not        21· ·date or a date that doesn't accurately
22· ·have gotten their ballot, and likely didn't       22· ·reflect when the voter filled it out was
23· ·get their ballot until after the earliest         23· ·still allowed under Ball in that
24· ·of the dates specified by the Supreme             24· ·circumstance that I just described?
25· ·Court, correct?                                   25· · · ·A· · ·Yes, if that circumstance -- it's

                            TSG Reporting Pa.App.0839
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     844 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    335 of 378

                                            Page 134                                               Page 135
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· ·a hypothetical.· I don't know whether it          ·2· · · · · · · ·MR. WALCZAK:· It was brilliant.
·3· ·actually happened or not.                         ·3· · · · ·I don't know that I can repeat it.
·4· · · · · · ·But, yes, hypothetically if that        ·4· · · · ·I'll do my best.
·5· ·were the case with an individual voter,           ·5· ·BY MR. WALCZAK:
·6· ·under the Supreme Court's supplemental            ·6· · · · ·Q· · ·So because there's no witness
·7· ·order, that ballot would have been counted        ·7· · ·requirement to that date, there's no way
·8· ·irrespective of the fact that the voter did       ·8· · ·that the Board of Elections can know
·9· ·not put the date on which they signed the         ·9· · ·whether or not the voter inserted a date
10· ·declaration on the declaration.                   10· · ·that reflects the date on which they filled
11· · · ·Q· · ·So to that extent, if a voter           11· · ·out the ballot or mailed the declaration
12· ·simply made a mistake in the date, as long        12· · ·envelope, correct?
13· ·as that date was within that range, it            13· · · · ·A· · ·Correct.· There would be no way
14· ·would have counted?                               14· · ·for the County to independently verify, if
15· · · ·A· · ·Correct.                                15· · ·that's what you're asking.
16· · · ·Q· · ·And, you know, without a notary         16· · · · ·Q· · ·And, ultimately, the only date
17· ·requirement -- and I'm not certainly urging       17· · ·that matters here is whether or not that
18· ·the legislature to take that up, but some         18· · ·ballot is received by the statutory
19· ·states do have that, it's impossible to           19· · ·deadline of 8:00 on Election Night,
20· ·tell whether or not that date accurately          20· · ·correct?
21· ·reflects when the voter -- discussed              21· · · · ·A· · ·Correct.
22· ·earlier, is that right?                           22· · · · ·Q· · ·And the County Board of
23· · · · · · ·MS. MULLEN:· Vic, you broke up          23· · ·Elections, because they received that date,
24· · · ·there.· Could you repeat your question?       24· · ·are in the best position to determine that,
25· · · ·The video froze.                              25· · ·correct?
                                            Page 136                                               Page 137
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·A· · ·Correct.                                ·2· · · · · · ·MS. MULLEN:· Objection.
·3· · · ·Q· · ·I want to talk about what other         ·3· · · ·Q· · ·I'm sorry, so citizenship is
·4· ·possible uses the date on the declaration         ·4· ·evaluated at the time of registration,
·5· ·envelope may serve in the election process.       ·5· ·correct?
·6· · · · · · ·So it's not relevant to whether         ·6· · · ·A· · ·Yes.· At the time of
·7· ·it's timely received, correct?                    ·7· ·registration, you have to have been a
·8· · · ·A· · ·Correct.                                ·8· ·citizen resident of Pennsylvania for 30
·9· · · ·Q· · ·So correct me if I am wrong, one        ·9· ·days prior to the election, so that would
10· ·of the eligibility requirements is that the       10· ·have been part of the election process as
11· ·voter has to be 18, right?                        11· ·well.
12· · · ·A· · ·Correct, yes.                           12· · · ·Q· · ·Right.
13· · · ·Q· · ·And the person's age would be           13· · · · · · ·So what date the voter writes on
14· ·ascertained at the time of registration,          14· ·the declaration envelope is irrelevant to
15· ·correct?                                          15· ·establishing either of those two
16· · · ·A· · ·That's correct, yes.                    16· ·eligibility criteria, correct?
17· · · ·Q· · ·So if they submit an application,       17· · · ·A· · ·Correct.
18· ·and the application is returned to them,          18· · · ·Q· · ·And same holds true for whether
19· ·they're 18 years old, correct?                    19· ·they've lived in their district for at
20· · · ·A· · ·Correct, or they will at least be       20· ·least 30 days, right?
21· ·18 years old by the date of the next              21· · · ·A· · ·Correct.
22· ·election.                                         22· · · ·Q· · ·So the verification that the
23· · · ·Q· · ·Same for whether they have been a       23· ·voter is eligible is really made at the
24· ·citizen?                                          24· ·time of the application for the ballot,
25· · · ·A· · ·Correct.                                25· ·correct?

                            TSG Reporting Pa.App.0840
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     845 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    336 of 378

                                            Page 138                                               Page 139
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· · · ·A· · ·That's correct, yes.                    ·2· · · · · · · ·(Marks' Exhibit 9, 2022-09-26 DOS
·3· · · ·Q· · ·So the only other factor when the       ·3· · · · ·Guidance Federal Voters, was marked for
·4· ·voter returns the ballot that the County          ·4· · · · ·identification, as of this date.)
·5· ·Board of Elections really needs to pay            ·5· ·BY MR. WALCZAK:
·6· ·attention to is whether it's signed,              ·6· · · · ·Q· · ·Do you have what's been marked as
·7· ·correct, whether the declaration is signed?       ·7· · ·Marks' Exhibit 9?
·8· · · ·A· · ·Correct.                                ·8· · · · ·A· · ·Yes, guidance concerning Federal
·9· · · ·Q· · ·There's a secrecy envelope?             ·9· · ·voters under UOCAVA?
10· · · ·A· · ·Correct.                                10· · · · ·Q· · ·Correct.
11· · · ·Q· · ·And that it's timely received?          11· · · · ·A· · ·I do.
12· · · ·A· · ·Correct.                                12· · · · ·Q· · ·And do you recognize this
13· · · ·Q· · ·And whether the date is written         13· · ·document?
14· ·on there is irrelevant to any of that,            14· · · · ·A· · ·I do, yes.
15· ·correct?                                          15· · · · ·Q· · ·What is it?
16· · · ·A· · ·Yes, that's correct.                    16· · · · ·A· · ·It is our guidance to Counties
17· · · ·Q· · ·I want to turn just briefly here        17· · ·regarding voters who are covered under
18· ·to UOCAVA.                                        18· · ·UOCAVA, specifically, Federal voters,
19· · · · · · ·MR. WALCZAK:· And, Kathy, I             19· · ·meaning those voters who are entitled to
20· · · ·emailed you Exhibit 9 a little bit out        20· · ·vote in Federal elections per the Federal
21· · · ·of order here.· I'll put it in the            21· · ·law.
22· · · ·chat.                                         22· · · · ·Q· · ·So we don't have to get into the
23                                                     23· · ·details here because I'm not sure they're
24                                                     24· · ·relevant, but those are basically American
25                                                     25· · ·citizens living abroad who intend to return
                                            Page 140                                               Page 141
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·at some point; is that fair?                      ·2· ·the preferred form for a military or
·3· · · ·A· · ·Well, Federal voters are a              ·3· ·overseas civilian voter so that the
·4· ·specific subset.· These are either                ·4· ·Counties are aware that they are a covered
·5· ·individuals who either do not intend to           ·5· ·voter.
·6· ·return or their intention is unknown, so          ·6· · · · · · ·The other substantive difference
·7· ·they fall into that Federal...                    ·7· ·is that this group of voters is exempt from
·8· · · · · · ·If they're simply temporarily           ·8· ·the I.D. requirements of the Pennsylvania
·9· ·overseas, they may also be eligible to vote       ·9· ·Election Code.
10· ·in State elections.· So that's why we use         10· · · ·Q· · ·And are the deadlines different
11· ·the term "Federal" voter.                         11· ·for these voters than they are for, say,
12· · · ·Q· · ·And is the process for applying         12· ·absentee or mail-in ballot?
13· ·for a ballot, and then voting that ballot,        13· · · ·A· · ·Yes, they are.· Ballots from this
14· ·the same for UOCAVA as it is for absentee?        14· ·group of voters can be received up to seven
15· · · · · · ·I believe you said this is a            15· ·days after Election Day with some caveats.
16· ·subset of absentee ballots at the outset of       16· · · ·Q· · ·Can you recall what those caveats
17· ·the deposition?                                   17· ·are?
18· · · ·A· · ·Right.· The process is similar,         18· · · ·A· · ·Yes.· The voter has to affirm
19· ·but it's not the same.· The requirements          19· ·under penalty of perjury, and I believe
20· ·are a little different.· The form they use        20· ·there's a declaration or an affirmation,
21· ·is different.                                     21· ·that they transmitted the ballot to the
22· · · ·Q· · ·I'm sorry, "form," do you mean          22· ·County on or before 11:59 p.m. on the day
23· ·the application form?                             23· ·prior to Election Day.
24· · · ·A· · ·Yes, the application form.· We've       24· · · ·Q· · ·And that it has to be received
25· ·adopted the Federal postcard application as       25· ·within one week of Election Day?

                            TSG Reporting Pa.App.0841
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     846 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    337 of 378

                                            Page 142                                               Page 143
·1· · · · · · · · · · · · J. Marks                     ·1· · · · · · · · · · · J. Marks
·2· · · · ·A· · ·Correct, yes.                         ·2· ·the materials that accompany the UOCAVA
·3· · · · · · · ·MR. WALCZAK:· I'm going to            ·3· ·ballot return?
·4· · · · ·circulate Marks' Exhibit 8.                 ·4· · · ·A· · ·I am, yes.
·5· · · · · · · ·I will note that these are            ·5· · · ·Q· · ·So what is the first page of
·6· · · · ·ballots -- are a sample ballot I think      ·6· ·Exhibit 8?
·7· · · · ·we got from Berks County.                   ·7· · · ·A· · ·This is the instructions that are
·8· · · · · · · ·I have actually redacted the name     ·8· ·sent out with the balloting materials.· So
·9· · · · ·of the voter who is on here, but I do       ·9· ·this appears, perhaps, to be a ballot --
10· · · · ·believe this is still subject to a          10· ·balloting materials, part of a ballot
11· · · · ·confidentiality order.                      11· ·package that was delivered electronically
12· · · · · · · ·(Marks' Exhibit 8, Berks County       12· ·to the voter.
13· · · · ·UOCAVA, was marked for identification,      13· · · · · · ·There are statutory requirements
14· · · · ·as of this date.)                           14· ·that require Counties, if a voter requests
15· ·BY MR. WALCZAK:                                   15· ·it, to deliver the ballot electronically.
16· · · · ·Q· · ·Mr. Marks, do you have what's         16· · · · · · ·And this is sort of the general
17· · ·been marked as Marks' Exhibit 8 in front of     17· ·instruction sheet that is part of that
18· · ·you?                                            18· ·packet that goes out to the voters.
19· · · · ·A· · ·I do, yes.                            19· · · ·Q· · ·So is the first page of
20· · · · ·Q· · ·So I've represented to you this       20· ·Exhibit 8 -- so would this be the front of
21· · ·was taken from documents produced by Berks      21· ·the declaration envelope that County sends
22· · ·County.· And I wanted to use this just as       22· ·to the UOCAVA voter?
23· · ·an illustration of the return envelope or       23· · · ·A· · ·No.· This first page, absentee
24· · ·packet for UOCAVA.                              24· ·ballot instructions for military and
25· · · · · · · ·Are you familiar generally with       25· ·overseas voters, is a separate page.· It's
                                            Page 144                                               Page 145
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·an instructional page that's included             ·2· ·application, this is the instructions that
·3· ·within the packet.                                ·3· ·is sent with the ballot and the package?
·4· · · ·Q· · ·So I'm looking at the first page        ·4· · · ·A· · ·Correct.· This is the general
·5· ·of Exhibit 8.                                     ·5· ·instructions that are sent with a ballot.
·6· · · ·A· · ·Okay.· The hard copy I have is          ·6· · · ·Q· · ·So I note that number 6 there
·7· ·the instruction sheet.                            ·7· ·says 6B on page 1 of Exhibit 8.
·8· · · · · · ·Are you looking, perhaps, at            ·8· · · · · · ·"Be sure to sign where indicated.
·9· ·the --                                            ·9· ·Your ballot will not be counted without a
10· · · ·Q· · ·You know what?                          10· ·signature."
11· · · ·A· · ·The number at the bottom,               11· · · · · · ·Did I read that correctly?
12· ·Berks --                                          12· · · ·A· · ·You did, yes.· 6B, it's
13· · · ·Q· · ·Sorry, yes.                             13· ·underlined and bolded.
14· · · · · · ·The problem is on my end, not           14· · · ·Q· · ·Does it say anywhere on there
15· ·your end.· I have a wrong hard copy.              15· ·that you have to date the declaration page?
16· · · ·A· · ·We're looking for the one that          16· · · ·A· · ·On this instruction page?
17· ·has at the bottom Berks 39?                       17· · · ·Q· · ·Yes.
18· · · ·Q· · ·Yes.                                    18· · · ·A· · ·It does not.
19· · · ·A· · ·Okay.                                   19· · · ·Q· · ·Let's go to the second page of
20· · · ·Q· · ·Let's go to the first page on           20· ·this exhibit which has 00039 on the bottom.
21· ·what you've got, and I think what I               21· · · · · · ·What would this be?
22· ·circulated.                                       22· · · ·A· · ·This is the envelope,
23· · · · · · ·So these are instructions that          23· ·essentially, that the voter would -- the
24· ·are sent along with the ballot.                   24· ·front of the envelope that the voter would
25· · · · · · ·So after the voter has made an          25· ·return the ballot in.

                            TSG Reporting Pa.App.0842
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     847 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    338 of 378

                                            Page 146                                               Page 147
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·Q· · ·So is this similar to the return        ·2· ·put that on the envelope.
·3· ·envelope that domestic mail-in voter would        ·3· · · · · · ·The next page, Berks 40, is where
·4· ·get?                                              ·4· ·the -- so the declaration is a separate
·5· · · ·A· · ·It is similar, but certainly not        ·5· ·sheet of paper that is contained inside the
·6· ·the same.· The declaration is not                 ·6· ·outward envelope when it's returned to the
·7· ·necessarily included in the outer envelope.       ·7· ·County but outside the secrecy envelope.
·8· · · · · · ·As I said, this appears to be           ·8· · · · · · ·So the process is a little
·9· ·part of a packet that went out                    ·9· ·different for this group of voters in that
10· ·electronically to a covered voter.· But,          10· ·respect.
11· ·yes, it is similar.                               11· · · · · · ·There's still a secrecy envelope,
12· · · ·Q· · ·So are you saying -- because I          12· ·there's still an outer envelope, but the
13· ·was just looking at that second page,             13· ·declaration that the voter signs is
14· ·00039, which appears to be the front of the       14· ·actually a separate sheet of paper that
15· ·return envelope.                                  15· ·goes inside the outer envelope -- back of
16· · · · · · ·Is that what you think it is?           16· ·the outer envelope.
17· · · ·A· · ·Yes.                                    17· · · ·Q· · ·So if I understand this
18· · · ·Q· · ·Are you saying, then, that the          18· ·correctly, instead of having the
19· ·back of this envelope would be different          19· ·declaration page on the outward envelope,
20· ·from the reverse side of a domestic mail-in       20· ·it's contained on a separate paper that
21· ·ballot envelope?                                  21· ·goes inside the return envelope but outside
22· · · ·A· · ·Yes.· In this case, there would         22· ·the secrecy envelope?
23· ·really be no back.· The voter would insert        23· · · ·A· · ·Yes, in this case, yes.
24· ·this in an envelope.· They would use this         24· · · ·Q· · ·And you say, "in this case."· Are
25· ·template that we just reviewed at Berks 39,       25· ·there situations where the County might do
                                            Page 148                                               Page 149
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·it differently?                                   ·2· ·to determine that the voter completed the
·3· · · ·A· · ·I'm not aware of any.· There's a        ·3· ·ballot and timely returned it to the County
·4· ·lot of text on this sheet of paper, so I'm        ·4· ·Election Office.
·5· ·not aware of a County that prints this all        ·5· · · ·Q· · ·But the signing of this
·6· ·on an envelope.                                   ·6· ·declaration is some assurance that the
·7· · · · · · ·Even if they send out the ballot        ·7· ·voter is who he or she says they are, and
·8· ·via paper, the majority of voters have            ·8· ·that if they are lying about that, that
·9· ·adopted the electronic delivery process, so       ·9· ·subjects them to potential criminal
10· ·the majority of covered voters would get          10· ·prosecution?
11· ·exactly -- or a packet that looks very much       11· · · ·A· · ·Correct, yes.
12· ·like this.                                        12· · · ·Q· · ·The text of the declaration is a
13· · · ·Q· · ·So I'm not asking whether the           13· ·little bit different here, it appears to
14· ·text is the same.· We'll come back to that.       14· ·me, from domestic ballots; is that right?
15· · · · · · ·Is the purpose for having the           15· · · ·A· · ·Yes.
16· ·declaration on this ballot return the same        16· · · ·Q· · ·And that just reflects the
17· ·as the purpose for having that declaration        17· ·additional requirement that the voter has
18· ·for domestic voters?                              18· ·to mail the ballot by 11:59 on the day
19· · · ·A· · ·It is.· The purpose is similar.         19· ·before the election.
20· ·Again, as you noted, the requirements are         20· · · · · · ·So that would be the Monday
21· ·different.                                        21· ·before Election Day; is that right?
22· · · · · · ·Voters can return the ballot up         22· · · ·A· · ·That's correct, yes.
23· ·to seven days past Election Day so the            23· · · ·Q· · ·Now, you note that on this third
24· ·affirmation is different.                         24· ·page of Exhibit 8 that there's also a
25· · · · · · ·But, yes, the purpose is the same       25· ·signature line here, and it says "print

                            TSG Reporting Pa.App.0843
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     848 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    339 of 378

                                            Page 150                                               Page 151
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·name."· There's also a date, a place to put       ·2· ·envelope, return envelope that went out to
·3· ·a date.                                           ·3· ·voters.
·4· · · · · · ·Do you see that?                        ·4· · · · · · ·I'm not sure that it's relevant
·5· · · ·A· · ·Yes.                                    ·5· ·in the case of a UOCAVA voter.· It's
·6· · · ·Q· · ·Do you see anything anywhere in         ·6· ·redundant, I guess, for lack of a better
·7· ·this packet that indicates that the voter         ·7· ·word.
·8· ·must sign or must put a date next to their        ·8· · · ·Q· · ·So I note that the text of the
·9· ·signature?                                        ·9· ·declaration itself still has that, "mail
10· · · ·A· · ·I do not, no.                           10· ·the ballot no later than 11:59 on the day
11· · · ·Q· · ·Let's look at the fourth page of        11· ·before the election" language there.
12· ·Exhibit 8, 00041 at the bottom.                   12· · · · · · ·So that wouldn't be on a regular
13· · · · · · ·This looks to be the same as the        13· ·absentee ballot declaration, would it?
14· ·second page, no?                                  14· · · ·A· · ·No, it would not.· This would be
15· · · · · · ·Does this appear to be the return       15· ·specifically on...
16· ·envelope for the voter?                           16· · · · · · ·So if the County -- it appears
17· · · ·A· · ·It's substantially the same.            17· ·that perhaps the County was able to squeeze
18· · · ·Q· · ·I'm not sure I see a difference         18· ·all of that on this declaration.
19· ·either here.                                      19· · · · · · ·I don't know if maybe this is
20· · · · · · ·So let's go to the last page of         20· ·part of another packet, but this may be --
21· ·Exhibit 8.· What is this?                         21· ·I can't speak for the County, but this may
22· · · ·A· · ·This appears to be sort of the          22· ·be if a voter -- if a covered voter
23· ·traditional -- the old absentee elector's         23· ·requested their balloting materials to be
24· ·declaration that would have been on the           24· ·sent out on paper and not electronically,
25· ·back of every envelope, absentee ballot           25· ·this appears to be, perhaps, part of the
                                            Page 152                                               Page 153
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· ·envelope that the County would have               ·2· · · · ·A· · ·Right, correct.
·3· ·supplied for them to return their envelope,       ·3· · · · ·Q· · ·What is the Department's view
·4· ·or for them to return their ballot.               ·4· · ·about whether the date is required on this
·5· · · ·Q· · ·So I believe we're taking a             ·5· · ·return envelope for the ballot to count?
·6· ·deposition of the Berks County Director at        ·6· · · · · · · ·MS. MULLEN:· Objection.
·7· ·some point later this week, so we'll ask          ·7· · · · · · · ·You're talking with this
·8· ·that.                                             ·8· · · · ·particular exhibit?
·9· · · · · · ·So both what's on this fifth page       ·9· · · · · · · ·MR. WALCZAK:· I'm sorry.· No,
10· ·and what's on the third page could be             10· · · · ·thank you, Ms. Mullen.
11· ·currently in use.· I mean, you wouldn't say       11· ·BY MR. WALCZAK:
12· ·either one of these is outdated?                  12· · · · ·Q· · ·So for UOCAVA voters when they
13· · · ·A· · ·No, I would not.· Like I said, it       13· · ·return their ballots, do they have to write
14· ·looks like most of this maybe was part of         14· · ·the date on -- in the view of the
15· ·an electronic package that went out.              15· · ·Department, do they have to include the
16· · · · · · ·The last page appears to be,            16· · ·date on the declaration order for their
17· ·perhaps, something that the County would          17· · ·ballot to be counted?
18· ·mail if they were sending the ballot out,         18· · · · ·A· · ·No.
19· ·hard copy of the ballot.                          19· · · · ·Q· · ·Why not?
20· · · ·Q· · ·And I note in the middle of that        20· · · · ·A· · ·Well, it's not an explicit
21· ·fifth page of this exhibit, it again says,        21· · ·requirement, No. 1; and No. 2, I believe --
22· ·"sign and date here."                             22· · ·and don't ask me to tell you chapter and
23· · · · · · ·There's a space for signature,          23· · ·verse, but I believe part of the Federal
24· ·putting in a name, and then the date,             24· · ·law that covers these voters indicates that
25· ·correct?                                          25· · ·their balloting materials should not be set

                            TSG Reporting Pa.App.0844
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     849 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    340 of 378

                                            Page 154                                               Page 155
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· ·aside for immaterial reasons.                     ·2· · ·ballots?
·3· · · · · · ·So whether it's, you know, that         ·3· · · · ·A· · ·That's correct, yes.
·4· ·they use a different type of paper, whether       ·4· · · · · · · ·MR. WALCZAK:· I have no further
·5· ·some minor requirement is missed, again, I        ·5· · · · ·questions for Mr. Marks.
·6· ·can't give you chapter and verse, but I           ·6· · · · · · · ·Jacob or Kathy, do you want to
·7· ·understand this group of these covered            ·7· · · · ·let Mr. Baxenberg have a shot first?
·8· ·voters is additional protection for them          ·8· · · · · · · ·MR. BOYER:· Yes, why doesn't
·9· ·that -- directs jurisdiction is not to set        ·9· · · · ·Mr. Baxenberg go next.· And then I may
10· ·their ballot aside for minor errors.              10· · · · ·have a small number of questions to
11· · · ·Q· · ·I don't believe in what was             11· · · · ·follow up.· Then after he is done, if
12· ·marked as Marks' Exhibit 9, which is the          12· · · · ·there's other defendant Counties who
13· ·UOCAVA guidance, that there is any language       13· · · · ·want to question, maybe they can go
14· ·in there about telling the Counties whether       14· · · · ·after I have.
15· ·to count or not count ballots without a           15· ·BY MR. BAXENBERG:
16· ·date written on the declaration; is that          16· · · · ·Q· · ·Good afternoon, Mr. Marks.
17· ·right?                                            17· · ·Justin Baxenberg here representing the
18· · · ·A· · ·I believe you're correct.               18· · ·plaintiffs in the other lawsuit, the Eakin
19· · · · · · ·If you don't mind, let me --            19· · ·lawsuit.
20· · · ·Q· · ·Please.                                 20· · · · · · · ·I just have maybe seven or eight
21· · · ·A· · ·-- peruse it one more time.             21· · ·questions for you we can move through
22· · · · · · ·You're correct, it does not.            22· · ·pretty quick.
23· · · ·Q· · ·And so the Department has not           23· · · · · · · ·Other than the deadline for
24· ·taken the position that the Ball ruling           24· · ·receiving mail ballots, is there any
25· ·applies to UOCAVA ballots -- yes, UOCAVA          25· · ·requirement that voters return mail ballot
                                            Page 156                                               Page 157
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·within a certain period of time after they        ·2· ·handy anymore.
·3· ·have dated and signed the ballot?                 ·3· · · ·Q· · ·Mail ballots are only sent to
·4· · · ·A· · ·No.                                     ·4· ·voters who have timely completed and
·5· · · ·Q· · ·So a voter could receive and            ·5· ·submitted an application to vote by mail,
·6· ·complete their mail ballot, and then wait a       ·6· ·is that correct?
·7· ·few weeks before submitting it as long as         ·7· · · ·A· · ·That's correct, yes.
·8· ·it's submitted it by the deadline, is that        ·8· · · ·Q· · ·And mail ballots are specific to
·9· ·correct?                                          ·9· ·each election?
10· · · ·A· · ·That's correct, yes.                    10· · · ·A· · ·They are, yes, they are unique to
11· · · ·Q· · ·And a voter could, at least             11· ·each election, yes.
12· ·hypothetically, sign their ballot one day,        12· · · ·Q· · ·Anyone who returns a mail ballot
13· ·put it aside for a couple weeks, and then         13· ·for a particular election, therefore, must
14· ·realize, oh, I need to date it and sign it,       14· ·have received that ballot at some point
15· ·put that day's date, send in the ballot,          15· ·after the ballots for that election were
16· ·correct, and as long as it's received by          16· ·distributed; is that correct?
17· ·the deadline, it will be counted?                 17· · · ·A· · ·Correct.
18· · · · · · ·MR. WALCZAK:· Objection.                18· · · ·Q· · ·And if a mail-in ballot is
19· · · ·A· · ·Yes, that's correct.· I've done         19· ·returned with a signature, the ballot must
20· ·that myself.· I've completed the ballot and       20· ·have been signed at some point between when
21· ·waited a few days afterwards because I            21· ·ballots were distributed and when the
22· ·needed a stamp.                                   22· ·ballot was returned; is that correct?
23· · · ·Q· · ·It's one of those things that           23· · · ·A· · ·Correct, yes.
24· ·people used to have.                              24· · · ·Q· · ·If a mail-in ballot is received
25· · · ·A· · ·Yes.· It's not something we keep        25· ·after the return deadline but dated before

                            TSG Reporting Pa.App.0845
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     850 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    341 of 378

                                            Page 158                                               Page 159
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· ·the return deadline, will the ballot be           ·2· · ·immediate intention.· Our counsel has
·3· ·counted?                                          ·3· · ·reviewed, you know, last week's, you know,
·4· · · ·A· · ·No, it will not.                        ·4· · ·opinions by the Supreme Court.
·5· · · ·Q· · ·Does the handwritten date on the        ·5· · · · · · · ·MS. MULLEN:· I just caution you
·6· ·outer envelope provide any other                  ·6· · · · ·not to reveal attorney-client
·7· ·information or any information at all as to       ·7· · · · ·communications.
·8· ·whether the ballot was timely received?           ·8· · · · ·A· · ·So I don't know that that
·9· · · ·A· · ·It does not, no.                        ·9· · ·decision has been made yet, I guess.
10· · · ·Q· · ·Since the Supreme Court's               10· · · · · · · ·MR. BAXENBERG:· No other
11· ·decision, the Pennsylvania Supreme Court's        11· · · · ·questions at this time.
12· ·decision, which we have been speaking about       12· · · · · · · ·MR. BOYER:· Good afternoon,
13· ·earlier today, has your office provided any       13· · · · ·Mr. Marks, I just have a very few
14· ·guidance to Counties with respect to how to       14· · · · ·number of questions.
15· ·determine whether the date on a ballot            15· ·BY MR. BOYER:
16· ·envelope is the correct date?                     16· · · · ·Q· · ·During your exchange with
17· · · ·A· · ·We have not, other than to remind       17· · ·Mr. Walczak, on a number of occasions you
18· ·Counties that we've recommended that              18· · ·each used the phrase "undated ballots."
19· ·Counties should continue to segregate those       19· · · · · · · ·Do you recall that?
20· ·ballots, but we have not given them any           20· · · · ·A· · ·Yes.
21· ·guidance in terms of determining what is an       21· · · · ·Q· · ·Is there any place for voters to
22· ·incorrect date.                                   22· · ·write a date on the actual ballot itself?
23· · · ·Q· · ·Does your office intend to              23· · · · ·A· · ·No.
24· ·provide guidance of that sort?                    24· · · · ·Q· · ·So when you used the phrase
25· · · ·A· · ·I don't believe so.· There's no         25· · ·"undated ballot," do you mean ballots that
                                            Page 160                                               Page 161
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·are returned in mail-in envelopes, and the        ·2· · · ·Q· · ·And if there are facial
·3· ·mailing envelope itself is either undated         ·3· ·deficiencies on the return envelope, and,
·4· ·or incorrectly dated?                             ·4· ·ultimately, they're not corrected prior to
·5· · · ·A· · ·Yes.· We have kind of gone              ·5· ·Election Day, will the County open up the
·6· ·shorthand, but, technically, it's an              ·6· ·return envelope, or will it never open up
·7· ·undated declaration envelope in which the         ·7· ·the return envelope and review the ballots?
·8· ·voter has returned their ballot.                  ·8· · · ·A· · ·Yes, if that ballot -- you know,
·9· · · ·Q· · ·And the ballot and the return           ·9· ·if that ballot is not cured in any way, the
10· ·envelope, those are separate documents,           10· ·County would never open up the ballot.
11· ·correct?                                          11· · · ·Q· · ·It would never open up the return
12· · · ·A· · ·They are, yes.                          12· ·envelope?
13· · · ·Q· · ·And I believe during your               13· · · ·A· · ·Correct.· They set them aside.
14· ·discussion with Mr. Walczak, you also said        14· ·And the process is not to open them unless
15· ·that Counties will sometimes set aside            15· ·they need to open them and canvass the
16· ·ballot packages because of facial                 16· ·ballot.
17· ·deficiencies such as a missing date or a          17· · · ·Q· · ·And they wouldn't canvass the
18· ·missing signature on the ballot.                  18· ·ballot if there was no signature on the
19· · · · · · ·Do you recall that?                     19· ·envelope, for example?
20· · · ·A· · ·I do, yes.                              20· · · ·A· · ·Correct.
21· · · ·Q· · ·And those facial deficiencies,          21· · · · · · ·MR. BOYER:· I have nothing
22· ·would they appear on the face of the ballot       22· · · ·further.
23· ·or on the return envelope?                        23· · · · · · ·MR. WALCZAK:· Do any defendants'
24· · · ·A· · ·On the return envelope, the             24· · · ·counsel wish to ask questions here?
25· ·declaration envelope.                             25· · · · · · ·MR. GIANCOLA:· If nobody minds,

                            TSG Reporting Pa.App.0846
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     851 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    342 of 378

                                            Page 162                                               Page 163
·1· · · · · · · · · · · · J. Marks                     ·1· · · · · · · · · · · J. Marks
·2· · · · ·I'll go next.                               ·2· ·talking about any specific guidance.
·3· ·BY MR. GIANCOLA:                                  ·3· · · · · · ·But just in general, the
·4· · · · ·Q· · ·Deputy Secretary Marks, my name       ·4· ·Department issues guidance, and it's based
·5· · ·is Russ Giancola.· I represent the              ·5· ·on its interpretation of the Election Code,
·6· · ·intervenor defendants in both actions, the      ·6· ·then, correct?
·7· · ·RNC, the NRCC, and the Republican party of      ·7· · · ·A· · ·Interpretation of the Election
·8· · ·Pennsylvania.· I've got a series of             ·8· ·Code and relevant case law.
·9· · ·questions for you.                              ·9· · · ·Q· · ·The Department has issued
10· · · · · · · ·First, I just wanted to confirm       10· ·guidance regarding pre-canvass procedures,
11· · ·something that my connection cut out a          11· ·correct?
12· · ·little earlier.                                 12· · · ·A· · ·Correct, yes.
13· · · · · · · ·You indicated before that the         13· · · ·Q· · ·What is your understanding of the
14· · ·Department of State issues guidance, and I      14· ·meaning of "pre-canvass"?
15· · ·believe you had said something that it was      15· · · ·A· · ·Pre-canvass is -- basically, it's
16· · ·firmly rooted in the Department's               16· ·virtually identical to the canvas
17· · ·interpretation of the Election Code; is         17· ·procedures.· The main difference is when it
18· · ·that correct?                                   18· ·occurs.
19· · · · · · · ·MS. MULLEN:· Objection.               19· · · · · · ·So pre-canvass occurs no earlier
20· · · · ·A· · ·I believe so.· I don't recall         20· ·than 7:00 a.m. on Election Day, and no
21· · ·which guidance we were referring to at the      21· ·later than 8:00 p.m. on Election Day.
22· · ·moment, but certainly our -- generally that     22· · · · · · ·So ballots that are returned up
23· · ·is true of any guidance that we issue.          23· ·to, you know, any time prior to 7:00 a.m.
24· · · · ·Q· · ·Sure.                                 24· ·on Election Day are included in the
25· · · · · · · ·That was early on before we were      25· ·pre-canvass procedures of the County.
                                            Page 164                                               Page 165
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · · · · ·By contrast, the canvass would be       ·2· ·front of me, so I apologize if I miss
·3· ·ballots that are received after that group        ·3· ·something.
·4· ·and canvassed after 8:00 p.m. on Election         ·4· · · · · · ·But, you know, they're looking at
·5· ·Night.                                            ·5· ·the outer envelope to verify that it's been
·6· · · ·Q· · ·Understood.                             ·6· ·signed, that the declaration on the outer
·7· · · · · · ·And what takes place during the         ·7· ·envelope is complete, verify that the
·8· ·pre-canvass?                                      ·8· ·ballot was received timely.
·9· · · ·A· · ·Well, Counties examine the outer        ·9· · · · · · ·Obviously, during the
10· ·envelope.· They would open the outer              10· ·pre-canvass, all of those ballots have been
11· ·envelope if they determine that the ballot        11· ·received timely.
12· ·should be counted.                                12· · · · · · ·You know, they may -- if a
13· · · · · · ·If it's not set aside for some          13· ·challenge was issued by the Friday before
14· ·reason, they would open the outer envelope.       14· ·Election Day to one of those ballots, they
15· ·They would then commingle the ballot in           15· ·would, you know, check to make sure that
16· ·their secrecy envelopes, and, ultimately,         16· ·that ballot should not be set aside for a
17· ·they would open those ballot envelopes and        17· ·challenge proceeding, things like that.
18· ·proceed to tabulate the ballots.                  18· · · · · · ·That's kind of the process
19· · · ·Q· · ·Thank you.                              19· ·they're going through.
20· · · · · · ·I just want to focus on that            20· · · · · · ·And then, subsequently,
21· ·first part.· You said they examine the            21· ·there's -- you know, once they start
22· ·outer envelopes.                                  22· ·opening those outer envelopes, assuming
23· · · · · · ·What during the pre-canvass are         23· ·there are no issues with them, if they find
24· ·County Boards examining, in particular?           24· ·a ballot that is not contained in the
25· · · ·A· · ·I don't have the Election Code in       25· ·secrecy envelope, they're obligated to set

                            TSG Reporting Pa.App.0847
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     852 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    343 of 378

                                            Page 166                                               Page 167
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· ·those ballots aside as well.                      ·2· · ·correct?
·3· · · ·Q· · ·Apologies if I missed it, but is        ·3· · · · ·A· · ·Correct, yes.
·4· ·one of the things the Boards are required         ·4· · · · · · · ·MR. GIANCOLA:· I'd like to -- I
·5· ·to examine during this pre-canvass whether        ·5· · · · ·need to upload what -- I think we're up
·6· ·the declaration on the outer envelope is          ·6· · · · ·to Exhibit 10.
·7· ·dated?                                            ·7· · · · · · · ·MS. MULLEN:· Can you speak up a
·8· · · ·A· · ·I don't recall if the Election          ·8· · · · ·little bit?
·9· ·Code explicitly says that.· I believe -- it       ·9· · · · · · · ·MR. GIANCOLA:· I'm trying to
10· ·requires them to examine the declaration          10· · · · ·upload an exhibit for you.· It should
11· ·envelope.                                         11· · · · ·be marked as Exhibit 10.
12· · · · · · ·Presumably, they would -- you           12· · · · · · · ·Let me know if you can see that.
13· ·know, in light of the current state of the        13· · · · · · · ·(Marks' Exhibit 10, 2022-09-26
14· ·law, they would be reviewing it not only          14· · · · ·DOS Guidance, was marked for
15· ·for a signature, but also for a date.             15· · · · ·identification, as of this date.)
16· · · ·Q· · ·You said that's all part of the         16· ·BY MR. GIANCOLA:
17· ·pre-canvass process, correct?                     17· · · · ·Q· · ·Are you able to see that?
18· · · ·A· · ·Correct.                                18· · · · · · · ·(A Discussion was Held off the
19· · · ·Q· · ·That's not permitted on the             19· · · · ·Record.)
20· ·Election Code to start before 7:00 a.m. on        20· · · · ·A· · ·Guidance concerning exhibition of
21· ·Election Day, correct?                            21· · ·absentee and mail-in ballot return
22· · · ·A· · ·That's correct, yes.                    22· · ·envelopes.
23· · · ·Q· · ·Prior to 7:00 a.m. on Election          23· · · · ·Q· · ·Correct.
24· ·Day, the Boards are required to keep the          24· · · · · · · ·And this is the version that's
25· ·ballots in a sealed or locked container,          25· · ·dated September 26, 2022, and it's version
                                            Page 168                                               Page 169
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·3.0, correct?                                     ·2· ·outer envelope to identify errors, if
·3· · · ·A· · ·That's correct, yes.                    ·3· ·that's the question.· But the determination
·4· · · ·Q· · ·I'm going to ask you, if you turn       ·4· ·of the Board as to whether a ballot will be
·5· ·to page 3 of this document, Section 3, just       ·5· ·counted occurs during the precanvass or
·6· ·the very first sentence there, and it             ·6· ·canvass.
·7· ·reads:                                            ·7· · · ·Q· · ·Correct.
·8· · · · · · ·"The County Board of Elections is       ·8· · · · · · ·And you said before that part of
·9· ·responsible for approval ballots to be            ·9· ·that precanvass process is the examination
10· ·counted during precanvassing and                  10· ·of the outer envelope, correct?
11· ·canvassing," correct?                             11· · · ·A· · ·Yes, it is part of the
12· · · ·A· · ·Correct.                                12· ·precanvass, as is opening the envelopes,
13· · · ·Q· · ·This guidance doesn't provide any       13· ·tabulating the ballots, provided you don't
14· ·indications that the Board of Elections           14· ·release any of the results prior to
15· ·should be doing anything about approving          15· ·8:00 p.m.
16· ·what ballots can or can't be counted before       16· · · ·Q· · ·Certainly.
17· ·the precanvass, correct?                          17· · · · · · ·And part of the precanvass, then,
18· · · · · · ·MS. MULLEN:· Objection.                 18· ·is, in fact, the examination of the outer
19· · · ·A· · ·That's correct, yes.                    19· ·envelope to confirm that it complies with
20· · · ·Q· · ·That's consistent with your             20· ·the requirements of the Election Code?
21· ·understanding of the Election Code,               21· · · · · · ·MS. MULLEN:· Objection.
22· ·correct?                                          22· · · ·A· · ·Yes.· To the extent that the
23· · · · · · ·MS. MULLEN:· Objection.                 23· ·County has not already looked at the outer
24· · · ·A· · ·I don't think there's anything          24· ·envelope, yes.
25· ·that prohibits them from looking at the           25· · · · · · ·In other words, I don't think

                            TSG Reporting Pa.App.0848
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     853 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    344 of 378

                                            Page 170                                               Page 171
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·there's anything that precludes them from         ·2· ·of the Election Code provides for the
·3· ·doing that during both of those processes.        ·3· ·County Board's intake of ballots that would
·4· · · ·Q· · ·I'm sorry, what processes?              ·4· ·allow for this?
·5· · · ·A· · ·Well, we're talking about intake        ·5· · · ·A· · ·I don't know that the Election
·6· ·of ballots as Counties are receiving              ·6· ·Code explicitly addresses this.· I believe
·7· ·ballots back from voters, recording them in       ·7· ·our Supreme Court has, though.
·8· ·the SURE system, I don't think there's            ·8· · · · · · ·They've determined that actions
·9· ·anything that precludes them from looking         ·9· ·taken by Boards -- though not required,
10· ·at the outer envelope and determining if          10· ·actions taken by Boards to notify voters of
11· ·there's an issue with that ballot, and also       11· ·minor defects is not prohibited by the
12· ·doing that as part of the precanvass, and         12· ·Election Code.· That's my understanding.
13· ·ultimately the canvass as well.                   13· · · · · · ·Again, I'm not an attorney, but
14· · · ·Q· · ·And that's your position knowing        14· ·that's -- I dealt with this quite a bit
15· ·that the examination of the outer envelope        15· ·over the last two years, so I'm somewhat
16· ·is part of the precanvass, and that the           16· ·familiar with it.
17· ·precanvass cannot start before 7:00 a.m. on       17· · · ·Q· · ·Do you have a recollection as to
18· ·Election Day?                                     18· ·what particular case you think made that
19· · · · · · ·MS. MULLEN:· Objection.                 19· ·holding?
20· · · ·A· · ·Yes, I mean, I would argue that         20· · · ·A· · ·I don't recall the specific case.
21· ·it's not exclusively part of the                  21· ·I believe it may have been the "In Re:
22· ·precanvass.· It can be part of the                22· ·Canvass of Absentee and Mail Ballots" that
23· ·precanvass and part of the County's process       23· ·we were discussing earlier.
24· ·for doing intake of ballots.                      24· · · · · · ·But I believe the current -- my
25· · · ·Q· · ·Are you familiar with what part         25· ·understanding, anyway, is that the current
                                            Page 172                                               Page 173
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·state of the law is that Counties can allow       ·2· ·Elections should," and then if you scroll
·3· ·voters to correct minor errors, can notify        ·3· ·down to the third bullet point, "set aside
·4· ·them and allow them to correct minor              ·4· ·any ballots without a signed declaration
·5· ·errors, though they're not required to do         ·5· ·envelope."
·6· ·so.                                               ·6· · · · · · ·And, previously, there was an
·7· · · ·Q· · ·If you could pull back up               ·7· ·indication about what should be done with
·8· ·Exhibit 5 which we reviewed previously?           ·8· ·incorrectly dated ballots.
·9· · · ·A· · ·This is Plaintiff's Exhibit 5           ·9· · · · · · ·You agree that this guidance says
10· ·that we reviewed earlier?                         10· ·this is to be done at the precanvass or
11· · · ·Q· · ·Correct.                                11· ·canvass, correct?
12· · · · · · ·And this is to make sure we're          12· · · ·A· · ·Correct, yes.
13· ·all on the same page.                             13· · · ·Q· · ·It doesn't make any mention in
14· · · · · · ·This is guidance concerning             14· ·this guidance as to whether County Boards
15· ·civilian absentee and mail-in ballot              15· ·are free to do so before the precanvass,
16· ·procedures updated September 26, 2022,            16· ·correct?
17· ·version 2.0.                                      17· · · · · · ·MS. MULLEN:· Objection.
18· · · · · · ·And if you could, just let me           18· · · ·A· · ·That's correct, yes.
19· ·know when you're on page 10 of that               19· · · ·Q· · ·During the precanvass, candidates
20· ·document.                                         20· ·and parties are permitted to have
21· · · ·A· · ·I'm there.                              21· ·authorized representatives in attendance,
22· · · ·Q· · ·This section titled "Precanvass         22· ·correct?
23· ·and Canvass Procedures" states:                   23· · · · · · ·MS. MULLEN:· Objection.
24· · · · · · ·"At the precanvass or canvass, as       24· · · ·A· · ·They are, correct.
25· ·the case may be, the County Boards of             25· · · ·Q· · ·If a County Board is reviewing or

                            TSG Reporting Pa.App.0849
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     854 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    345 of 378

                                            Page 174                                               Page 175
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·is examining the outer envelopes of               ·2· ·that examination should take place?
·3· ·absentee and mail-in ballots before the           ·3· · · · · · ·MS. MULLEN:· Objection.
·4· ·precanvass, are candidates and parties            ·4· · · ·A· · ·Well, it indicates -- so it
·5· ·allowed to have authorized representatives        ·5· ·indicates that Counties should record the
·6· ·present at that time?                             ·6· ·ballots in the SURE system, which is
·7· · · · · · ·MS. MULLEN:· Objection.                 ·7· ·necessary to meet the transparency
·8· · · ·A· · ·If a County -- you're talking           ·8· ·requirements of Act 77.
·9· ·about the intake process when they received       ·9· · · · · · ·The second bullet addresses
10· ·the ballots, no, there's no explicit              10· ·examination of the mail-in and absentee
11· ·requirement in the Election Code for that.        11· ·ballots received to determine if they are
12· · · ·Q· · ·If we could pull up what's been         12· ·signed and dated.
13· ·previously marked as Exhibit 6.                   13· · · · · · ·Then it goes on, in bullet 3:
14· · · ·A· · ·Guidance on undated and                 14· · · · · · ·"For ballots which are
15· ·incorrectly dated mail-in and absentee            15· ·administratively determined to be undated
16· ·ballot envelopes based on the Supreme             16· ·or incorrectly dated, code those ballots as
17· ·Court's order in Ball v. Chapman?                 17· ·cancel, no signature."
18· · · ·Q· · ·Correct.                                18· · · · · · ·We wanted to ensure that Counties
19· · · · · · ·If we scroll to the last page of        19· ·were providing the correct reason code in
20· ·this document, that second bullet point           20· ·the system.
21· ·directs the County Boards to examine all          21· · · ·Q· · ·I appreciate that.
22· ·mail-in and absentee ballots received to          22· · · · · · ·My question is just:· Does this
23· ·determine if the return envelopes for those       23· ·guidance indicate when, with respect to
24· ·ballots are signed and dated.                     24· ·that second bullet point, that examination
25· · · · · · ·Does this guidance indicate when        25· ·is supposed to occur?
                                            Page 176                                               Page 177
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · · · · ·MS. MULLEN:· Objection.                 ·2· ·phrase in there, "administratively
·3· · · · · · ·I'm going to object to this whole       ·3· ·determined."
·4· · · ·line of questioning.· You seem to be          ·4· · · · · · ·What is an administrative
·5· · · ·asking questions with regard to a             ·5· ·determination?
·6· · · ·different case.· So, I mean, we have a        ·6· · · ·A· · ·Well, I think in the context, its
·7· · · ·lot of parties on this case.                  ·7· ·meaning is that as the Counties are
·8· · · ·A· · ·I think implicit here is -- if          ·8· ·receiving the ballots similar -- I think
·9· ·you read through the guidance from the            ·9· ·when I was previously questioned, we talked
10· ·beginning and throughout, I think it's            10· ·about an in-person interaction where
11· ·implicit that the Counties would be doing         11· ·somebody is returning their ballot in
12· ·this upon receipt of the ballots.                 12· ·person to the Board of Elections, and the
13· · · ·Q· · ·Is the Department's position that       13· ·person who received the ballot, the County
14· ·Counties should be examining the ballots          14· ·official who receives the ballot, notices
15· ·before the precanvass?                            15· ·that there's an error on the outside of the
16· · · · · · ·MS. MULLEN:· Objection.                 16· ·ballot allowing...
17· · · ·A· · ·I think it's certainly our              17· · · · · · ·So this would be similar to that
18· ·recommendation that the Counties -- because       18· ·process where the individual during intake
19· ·they are not precluded from notifying             19· ·notices that there is an error apparent on
20· ·voters of the minor error and allowing them       20· ·the outer envelope, and sorts the ballot
21· ·to correct it, that Counties can and should       21· ·accordingly in preparation for the
22· ·do that as they're doing the intake of            22· ·precanvass.
23· ·ballots, but it's not required.                   23· · · · · · ·So that's what the administrative
24· · · ·Q· · ·With respect to that third bullet       24· ·determination means in this context.
25· ·point that you read a moment ago, there's a       25· · · ·Q· · ·Has the Department ever issued

                            TSG Reporting Pa.App.0850
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     855 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    346 of 378

                                            Page 178                                               Page 179
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·guidance regarding the procedures to be           ·2· ·the moment a voter applies for a ballot all
·3· ·used for -- you've used different terms for       ·3· ·the way through the canvass of the ballot.
·4· ·it, ballot intake, or this administrative         ·4· · · · · · ·So I would expect that there may
·5· ·determination?                                    ·5· ·be other guidance similar to this.
·6· · · · · · ·MS. MULLEN:· Objection.                 ·6· · · ·Q· · ·The fourth bullet point in this
·7· · · ·A· · ·Well, I think this guidance             ·7· ·guidance directs the County Boards to
·8· ·actually addresses it pretty directly.            ·8· ·segregate undated or incorrectly dated
·9· · · ·Q· · ·Has there been any other guidance       ·9· ·ballots.
10· ·issued in that area?                              10· · · · · · ·Is it your position that ballots
11· · · ·A· · ·I would have to look.· I'm              11· ·can be segregated before the precanvass?
12· ·certain we've issued other guidance on            12· · · · · · ·MS. MULLEN:· Objection.
13· ·generally mail ballot procedures which may        13· · · ·A· · ·I wouldn't see why not, so long
14· ·include our guidance on not only the              14· ·as they're kept until the Board makes a
15· ·process of issuing ballots, but also              15· ·decision.
16· ·processing return ballots.                        16· · · · · · ·Sorting them into logical groups
17· · · ·Q· · ·Just to be clear, I'm talking           17· ·just like sorting them by precinct makes
18· ·about, specifically, the period before the        18· ·sense.· I don't know why the County would
19· ·precanvass, this intake process, or this          19· ·want to just have a big jumble of ballots
20· ·administrative determination process that         20· ·going into the precanvass.
21· ·you've referenced.                                21· · · ·Q· · ·Is it your position that the
22· · · ·A· · ·I'd have to review it, but I'm          22· ·Election Code does not address this?
23· ·certain the Department has issued guidance.       23· · · ·A· · ·Yes, I don't know that the
24· · · · · · ·Again, we've issued guidance that       24· ·Election Code goes into this level of
25· ·covers, you know, mail-in balloting from          25· ·granularity regarding the -- you know, the
                                            Page 180                                               Page 181
·1· · · · · · · · · · · · J. Marks                     ·1· · · · · · · · · · · J. Marks
·2· · ·workflow of the County.· And it varies from     ·2· ·be easier just to create a file and a
·3· · ·one County to another, as we discussed          ·3· ·separate folder to download all of these
·4· · ·earlier.                                        ·4· ·into.
·5· · · · ·Q· · ·You can put that exhibit away for     ·5· · · · · · ·Yes, at the top, it has "your
·6· · ·the time being.                                 ·6· ·name," there's information redacted.· Then
·7· · · · · · · ·You've testified earlier today        ·7· ·it appears to be a copy of a November 5,
·8· · ·that you're familiar with the Pennsylvania      ·8· ·2022, email from our elections resource
·9· · ·Supreme Court's decision in Ball.· It's         ·9· ·account to the County Election Offices.
10· · ·called the Ball case?                           10· · · ·Q· · ·Were you familiar with this email
11· · · · ·A· · ·Yes.                                  11· ·when it was sent in November of 2022?
12· · · · ·Q· · ·That was the decision in, I           12· · · ·A· · ·Yes.
13· · ·believe it was, November 1 of last year         13· · · ·Q· · ·Do you know who sent it?
14· · ·regarding undated and incorrectly dated         14· · · ·A· · ·I don't recall.· It would have
15· · ·ballots?                                        15· ·been somebody in elections, perhaps the
16· · · · ·A· · ·That's correct, yes.                  16· ·director of elections or one of her staff.
17· · · · · · · ·MR. GIANCOLA:· I'm going to           17· · · ·Q· · ·It references a survey, correct?
18· · · · ·upload what we'll mark as Exhibit 11.       18· · · ·A· · ·Correct, yes.
19· · · · · · · ·(Marks' Exhibit 11, Email Re:         19· · · ·Q· · ·We can take that off, and I will
20· · · · ·Survey, Redacted, was marked for            20· ·upload Exhibit 12.
21· · · · ·identification, as of this date.)           21· · · · · · ·Do you have it?
22· ·BY MR. GIANCOLA:                                  22· · · ·A· · ·Did you post it in the chat?
23· · · · ·Q· · ·Let me know if you're able to         23· · · · · · ·MS. MULLEN:· I'm not seeing it.
24· · ·access it.                                      24· · · · · · ·(A Discussion was Held off the
25· · · · ·A· · ·I apologize.· I figured it would      25· · · ·Record.)

                            TSG Reporting Pa.App.0851
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     856 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    347 of 378

                                            Page 182                                               Page 183
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · · · · ·(Marks' Exhibit 12, Document            ·2· · · · · · ·We were fresh off our experience
·3· · · ·Titled Survey, was marked for                 ·3· ·in the 2022 Primary where we were
·4· · · ·identification, as of this date.)             ·4· ·repeatedly asked how many outstanding
·5· · · ·A· · ·I have it.                              ·5· ·ballots there were.
·6· · · ·Q· · ·Are you able to see it now?             ·6· · · · · · ·So we expected that we would get
·7· · · ·A· · ·Yes.                                    ·7· ·requests for this information.· So we were
·8· · · ·Q· · ·So what we've marked as                 ·8· ·trying to collect as much of it as we
·9· ·Exhibit 12, is this a copy of the survey,         ·9· ·could.
10· ·the web survey, that was linked to in that        10· · · ·Q· · ·So I think you just mentioned it.
11· ·email?                                            11· ·It requests information not just about the
12· · · ·A· · ·Yes, it appears to be a copy of         12· ·number of undated ballots or incorrectly
13· ·that, yes.                                        13· ·dated ballots, but also a party breakdown
14· · · ·Q· · ·And what was the purpose of this        14· ·for each category?
15· ·survey?                                           15· · · ·A· · ·Yes, it was -- basically, it was,
16· · · ·A· · ·Well, the purpose of this survey        16· ·essentially, a copy of the same survey we
17· ·was to collect as much information as we          17· ·sent out in the Primary.
18· ·could about the number of undated and             18· · · ·Q· · ·How would a Board -- sorry, to
19· ·incorrectly dated ballots expecting that --       19· ·clarify, this email was sent to all the
20· ·we had already received requests for the          20· ·Boards of Elections?
21· ·information.· We expected that those              21· · · ·A· · ·It was, yes.
22· ·requests were going to continue to come           22· · · ·Q· · ·Was it sent to anybody else?
23· ·both from the press, the political parties.       23· · · ·A· · ·No, just the County Election
24· ·So we were trying to wrap our head around         24· ·Director contacts.
25· ·it.                                               25· · · ·Q· · ·How would a Board, in responding
                                            Page 184                                               Page 185
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·to this survey, determine the party               ·2· · · ·Q· · ·The party affiliation of a voter
·3· ·affiliation of each voter?                        ·3· ·is not on the outer envelope, correct?
·4· · · ·A· · ·Well, either -- a couple of ways        ·4· · · ·A· · ·Not in the November election.· It
·5· ·to determine it.                                  ·5· ·is in the Primary, but it's not on that.
·6· · · · · · ·You know, relying on the list           ·6· · · · · · ·I believe it's on the label,
·7· ·that the Counties maintain, certainly, when       ·7· ·actually, that goes on the return envelope.
·8· ·they record the ballots.· In SURE, they           ·8· · · · · · ·It's there in the Primary, but
·9· ·would be able to determine.                       ·9· ·it's not in the November election.
10· · · · · · ·At that point, some Counties may,       10· · · ·Q· · ·Thank you.· I appreciate that
11· ·you know, depending on their workflow, may        11· ·clarification.
12· ·actually -- they certainly do it in the           12· · · · · · ·Is it the Department's view that
13· ·Primary, not necessarily in the November          13· ·this sort of data collection is permitted
14· ·election.                                         14· ·under the Election Code?
15· · · · · · ·But, you know, we were asking           15· · · ·A· · ·Certainly, the Department -- I
16· ·them if they had that information to              16· ·mean, this was a request to the Counties.
17· ·provide it.                                       17· · · · · · ·But, certainly, the Department,
18· · · · · · ·Later in the survey, we indicated       18· ·the Secretary of the Commonwealth, has
19· ·if all you have is a grand total, if you          19· ·authority to require additional reports of
20· ·can supply that, that would be adequate.          20· ·the Counties.
21· · · · · · ·So it would depend on the               21· · · · · · ·I wouldn't say a survey is a
22· ·workflow, and how they maintained their           22· ·requirement, though.· And I think even
23· ·internal list.                                    23· ·judging by the plain language of the
24· · · · · · ·So some Counties may have them,         24· ·survey, it was clear that it wasn't a
25· ·some may not.                                     25· ·requirement.

                            TSG Reporting Pa.App.0852
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     857 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    348 of 378

                                            Page 186                                               Page 187
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·Q· · ·There is nothing in the Supreme         ·2· · · · · · ·"The survey is perfectly
·3· ·Court's decision involved that required           ·3· ·appropriate under the circumstances.
·4· ·this information be gathered, correct?            ·4· ·They're asking for a partisan breakdown
·5· · · · · · ·MS. MULLEN:· Objection.                 ·5· ·because we cannot collect that data
·6· · · ·A· · ·No, there was nothing in the            ·6· ·systematically, and in anticipation of the
·7· ·Supreme Court's decision.· It required            ·7· ·information being potentially requested in
·8· ·Counties to segregate this group of               ·8· ·the anticipated litigation."
·9· ·ballots, but it didn't require any                ·9· · · · · · ·You can see that there's a text
10· ·additional information, as I recall.              10· ·box that doesn't populate when we tried to
11· · · · · · ·MR. GIANCOLA:· I'm going to             11· ·convert this to PDF.
12· · · ·upload what was marked as Exhibit 13.         12· · · · · · ·If you would scroll to the last
13· · · · · · ·(Marks' Exhibit 13, Document            13· ·page, I'll represent to you that this is
14· · · ·Titled Lai Tweet, was marked for              14· ·what was embedded within that tweet.
15· · · ·identification, as of this date.)             15· · · · · · ·Do you recognize the text on that
16· · · ·A· · ·I have it.                              16· ·last page?
17· · · ·Q· · ·I'll represent to you, this is a        17· · · ·A· · ·Sorry, I have to blow it up a
18· ·tweet from Jonathan Lai.                          18· ·little bit.
19· · · · · · ·Are you familiar with who he is?        19· · · · · · ·Yes, this appears that -- with
20· · · ·A· · ·Jonathan Lai?· Yes, I believe           20· ·the exception of the "Hi, Jonathan," this
21· ·he's a reporter at the Philadelphia               21· ·appears to be a response that I believe I
22· ·Inquirer.                                         22· ·may have sent to one of the County Election
23· · · ·Q· · ·If we scroll down to the bottom         23· ·Directors.
24· ·of page 2, there's a tweet indicating, the        24· · · ·Q· · ·So that is a message that you
25· ·Department of State responds:                     25· ·provided to a County Elections Director?
                                            Page 188                                               Page 189
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · ·A· · ·Yes, it looks like it.                  ·2· ·be filed.
·3· · · · · · ·Like I said, with the exception         ·3· · · · · · ·We didn't believe that this was
·4· ·of the "Hi, Jonathan," the rest of it             ·4· ·going to be the last word on the issue of
·5· ·appears to be the text of a response that I       ·5· ·undated and incorrectly dated ballots.
·6· ·sent to a County Election Director.               ·6· ·And, obviously, it wasn't, so...
·7· · · ·Q· · ·Understood.                             ·7· · · ·Q· · ·I've heard you use the pronouns
·8· · · · · · ·The last sentence of that first         ·8· ·"we" a few times with this.
·9· ·paragraph indicates that:                         ·9· · · · · · ·Who specifically made the
10· · · · · · ·"The rationale for including            10· ·decision to create this survey and
11· ·party affiliation was the anticipation of         11· ·disseminate it to the Boards?
12· ·that information being potentially                12· · · ·A· · ·Well, when I say "we," I'm
13· ·requested from the departments and Counties       13· ·talking about the Department and the
14· ·in anticipated litigation."                       14· ·Department's executive staff in
15· · · · · · ·Can you explain what you meant          15· ·consultation with counsel.
16· ·there?                                            16· · · · · · ·So we made the decision to
17· · · ·A· · ·Well, I think we expected -- you        17· ·essentially recirculate, you know, after
18· ·know, again, this has been nearly a               18· ·the Supreme Court issued its ruling.
19· ·two-year, or I guess it's been over two           19· · · · · · ·In fact, we were certain that
20· ·years.· A two-year saga.                          20· ·people were going to ask us for this data,
21· · · · · · ·So I think -- you know, as was          21· ·and we were kind of caught a little behind
22· ·the case in the Primary, I think we were          22· ·the eight ball in the Primary.
23· ·expecting that we would be asked for this         23· · · · · · ·And we were asking for it after
24· ·information, and it would potentially be          24· ·Election Day, and, you know, obviously, the
25· ·relevant in additional litigation that may        25· ·Primary was different because we had a

                            TSG Reporting Pa.App.0853
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     858 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    349 of 378

                                            Page 190                                               Page 191
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·recount in one of the two Primaries, and it       ·2· ·Court issued its ruling that if we were
·3· ·was extremely relevant to that.                   ·3· ·going to be asked for the data, we should
·4· · · · · · ·But, you know, we kind of               ·4· ·recirculate the survey, essentially the
·5· ·universally decided in the Department that        ·5· ·same one that we did in the Primary, and we
·6· ·it was a near certainty that we'd be asked        ·6· ·were trying to get a head start on that and
·7· ·for this information at some point in the         ·7· ·start collecting the data as quickly as
·8· ·near future.· And we didn't want to be            ·8· ·possible.
·9· ·caught sort of behind the eight ball again        ·9· · · ·Q· · ·Prior to either the lawsuit filed
10· ·as we were in the Primary.                        10· ·by the NAACP or by the Eakin plaintiffs,
11· · · ·Q· · ·Do you -- I believe you called it       11· ·did anyone request the information that was
12· ·the executive committee -- consult with           12· ·in the survey?
13· ·anyone other than counsel other than the          13· · · ·A· · ·I'd have to check.· We may have
14· ·Department's counsel with respect to              14· ·gotten requests from the press.
15· ·whether to create the survey?                     15· · · · · · ·I don't know that we got any
16· · · ·A· · ·"Executive staff" is the term I         16· ·request from litigants prior to these two
17· ·used --                                           17· ·cases being filed.
18· · · ·Q· · ·Executive staff.                        18· · · · · · ·But I'm fairly certain -- I'd
19· · · ·A· · ·-- and other executive office           19· ·have to review my records, but I'm fairly
20· ·members.                                          20· ·certain we were receiving press requests
21· · · · · · ·But, no, I don't recall that we         21· ·for the information.
22· ·consulted with anybody.                           22· · · ·Q· · ·How many responses did you
23· · · · · · ·We may have.· It's the normal           23· ·receive to the survey?
24· ·sort of chain of command, but we were all         24· · · ·A· · ·We only received a handful.
25· ·in agreement very shortly after the Supreme       25· · · · · · ·As I mentioned earlier, I
                                            Page 192                                               Page 193
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·received an email from at least one of the        ·2· ·individual submitted it.
·3· ·Election Directors who was purported to be        ·3· · · · · · ·I don't recall, though, that
·4· ·speaking on behalf of a number of Election        ·4· ·there were login credentials to complete
·5· ·Directors who objected to, I guess, the           ·5· ·the survey, meaning that if you --
·6· ·timing and the content of the survey.· So         ·6· · · ·Q· · ·The Department --
·7· ·we did not push hard on this.                     ·7· · · ·A· · ·-- forward the email within the
·8· · · · · · ·Again, it was a request.· We did        ·8· ·County, that some other individual within
·9· ·not indicate at any point that this was a         ·9· ·the County could complete the survey on the
10· ·requirement.                                      10· ·County's behalf.
11· · · · · · ·So I think in the end, we had           11· · · ·Q· · ·What measures did the Department
12· ·less than ten Counties who responded to the       12· ·use to determine whether the responses it
13· ·survey.                                           13· ·received were actually legitimately from
14· · · ·Q· · ·You indicated that you had less         14· ·Counties?
15· ·than ten Counties that responded to the           15· · · · · · ·MS. MULLEN:· Objection.
16· ·survey.                                           16· · · ·A· · ·I don't know that we used any
17· · · · · · ·How were you -- let me rephrase         17· ·additional procedure.
18· ·that.                                             18· · · · · · ·Again, it's a survey.· It's an
19· · · · · · ·Were there login credentials            19· ·informal survey it was sent through Survey
20· ·required to submit a survey response?             20· ·Monkey.
21· · · ·A· · ·I believe we used Survey Monkey,        21· · · · · · ·Obviously, if we were requesting
22· ·and I'm not an expert on -- it goes to            22· ·mandatory information or sensitive
23· ·specific individuals.                             23· ·information, we'd probably request it in a
24· · · · · · ·I think there is a way to track         24· ·more formal way than require the Counties
25· ·either via email address, like which              25· ·to submit a report to the Department.

                            TSG Reporting Pa.App.0854
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     859 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    350 of 378

                                            Page 194                                               Page 195
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· · · · · · ·This was -- you know, we do these       ·2· · ·that if a County has a "notice and cure"
·3· ·ad hoc surveys to collect information from        ·3· · ·procedure, that there's nothing that
·4· ·Counties when we believe it may be relevant       ·4· · ·prohibits them from continuing to undertake
·5· ·or helpful for the Counties to collect it.        ·5· · ·those efforts.
·6· · · ·Q· · ·If a voter casts an absentee or a       ·6· · · · ·Q· · ·Does the Department take the
·7· ·mail-in ballot that isn't dated, is it            ·7· · ·position whether a voter can cast a
·8· ·still currently the Department's position         ·8· · ·provisional ballot if they already cast an
·9· ·that that ballot cannot be counted,               ·9· · ·absentee or mail-in ballot that does not
10· ·correct?                                          10· · ·include a date?
11· · · ·A· · ·Repeat the question.· You kind of       11· · · · · · · ·MS. MULLEN:· Objection.
12· ·trailed off.                                      12· · · · · · · ·Again, I'm going to object to
13· · · · · · ·I think I know what you asked,          13· · · · ·this line of questioning.· I think it's
14· ·but if you don't mind.                            14· · · · ·not relevant.
15· · · ·Q· · ·Certainly.                              15· · · · ·A· · ·I believe it is the Department's
16· · · · · · ·If a voter casts an absentee or         16· · ·opinion that a voter who casts a ballot,
17· ·mail-in ballot but fails to date the              17· · ·and that ballot -- they determine that that
18· ·declaration on the outer envelope, that           18· · ·ballot is invalid, for some reason, has the
19· ·voter's absentee or mail-in ballot cannot         19· · ·ability to cast a provisional ballot.
20· ·be counted, correct?                              20· · · · ·Q· · ·Are you familiar with the
21· · · ·A· · ·That's correct.                         21· · ·declaration that's contained within a
22· · · ·Q· · ·Is it the Department's position         22· · ·provisional ballot?
23· ·that the voter is able to cure that ballot?       23· · · · · · · ·MS. MULLEN:· You're breaking up.
24· · · · · · ·MS. MULLEN:· Objection.                 24· ·BY MR. GIANCOLA:
25· · · ·A· · ·It's the Department's position          25· · · · ·Q· · ·Are you familiar with the
                                            Page 196                                               Page 197
·1· · · · · · · · · · · · J. Marks                     ·1· · · · · · · · · · · J. Marks
·2· · ·declaration that is contained on the outer      ·2· · · ·Relevance.
·3· · ·envelope for a provisional ballot?              ·3· · · ·A· · ·Yes, it is -- this would be the
·4· · · · · · · ·MS. MULLEN:· Objection.               ·4· ·language that is included in the affidavit
·5· · · · ·A· · ·At a high level, yes.· I haven't      ·5· ·that's part of the outer envelope for the
·6· · ·reviewed it recently.                           ·6· ·provisional ballot.
·7· · · · · · · ·MR. GIANCOLA:· I'll upload what's     ·7· · · ·Q· · ·And a voter there needs to swear
·8· · · · ·been marked as Exhibit 14.                  ·8· ·or affirm, in part, that this is the only
·9· · · · · · · ·(Marks' Exhibit 14, Document          ·9· ·ballots they have cast in this election,
10· · · · ·Titled 25 P.S. 3050, was marked for         10· ·correct?
11· · · · ·identification, as of this date.)           11· · · · · · ·MS. MULLEN:· Objection.
12· ·BY MR. GIANCOLA:                                  12· · · ·A· · ·Correct.
13· · · · ·Q· · ·Once you have it open, I'll           13· · · ·Q· · ·What is your understanding, or
14· · ·represent to you that this is a copy of 25      14· ·the Department's understanding, of the
15· · ·P.S. Section 3550 dealing with provisional      15· ·meaning of the word "cast"?
16· · ·ballots.                                        16· · · · · · ·MS. MULLEN:· Objection.
17· · · · · · · ·And I'm specifically going to         17· · · ·A· · ·Well, I don't know that the term
18· · ·deal with subsection A.4, subsection 2 on       18· ·is necessarily -- I don't recall if the
19· · ·page 2.                                         19· ·term is defined in the Election Code, but
20· · · · ·A· · ·Okay, I have that.                    20· ·usually it's what occurs after the voter
21· · · · ·Q· · ·The language that's set forth in      21· ·has voted, they cast.
22· · ·subsection A.4(2), does this refresh your       22· · · · · · ·So the best example I can think
23· · ·recollection as to the language on the          23· ·of actually predates our current voting
24· · ·outer envelope for a provisional ballot?        24· ·systems where a direct electronic recording
25· · · · · · · ·MS. MULLEN:· Objection.               25· ·system -- it would be that moment that you

                            TSG Reporting Pa.App.0855
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     860 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    351 of 378

                                            Page 198                                               Page 199
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·push the button to cast your ballot after         ·2· · · ·Q· · ·You agree, however, the absentee
·3· ·you've voted it.                                  ·3· ·ballots, or for absentee ballots, the
·4· · · ·Q· · ·Is there any particular document        ·4· ·Election Code explicitly states that the
·5· ·or rule or statute that informs that              ·5· ·voter needs to, quote, "Fill out a date and
·6· ·understanding?                                    ·6· ·sign the declaration printed on the outer
·7· · · · · · ·MS. MULLEN:· Objection.                 ·7· ·envelope"?
·8· · · ·A· · ·Again, I don't believe the term         ·8· · · · · · ·MS. MULLEN:· Objection.
·9· ·"cast" is necessarily defined in the              ·9· · · ·A· · ·I don't have the Election Code's
10· ·Election Code.                                    10· ·provision in front of me, but I believe
11· · · · · · ·It's a term of art, and it's been       11· ·that's correct, that those instructions...
12· ·understood to mean the act of finalizing          12· · · ·Q· · ·And the same for mail-in ballots?
13· ·your ballot and submitting it to the County       13· · · ·A· · ·Yes, I believe those
14· ·or the local Election Officials.                  14· ·instructions --
15· · · ·Q· · ·Earlier today, you were asked a         15· · · ·Q· · ·I'm sorry, I didn't mean to
16· ·series of questions about the relevance of        16· ·interrupt.
17· ·the voter including the date in the               17· · · ·A· · ·No, I believe those are the
18· ·declaration.                                      18· ·instructions that are outlined in the
19· · · · · · ·Just so I'm clear, what did you         19· ·Election Code to the voter.
20· ·mean by "relevance"?                              20· · · ·Q· · ·It's the same for mail-in
21· · · ·A· · ·Well, I think in the context of         21· ·ballots, correct, the same language, that
22· ·the questioning, at least I understood that       22· ·the voter must fill out, date, and sign the
23· ·relevance to whether the voter was                23· ·declaration?
24· ·qualified and relevant as to whether the          24· · · ·A· · ·Yes, that's correct.
25· ·ballot should be counted or not.                  25· · · ·Q· · ·That was what the Pennsylvania
                                            Page 200                                               Page 201
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·Supreme Court just held this past November        ·2· ·absentee or mail-in ballot?
·3· ·in Ball, correct?                                 ·3· · · ·A· · ·Again, I couldn't see how that
·4· · · · · · ·MS. MULLEN:· Objection.                 ·4· ·would be possible.
·5· · · ·A· · ·Again, to my laymen's                   ·5· · · ·Q· · ·Would you agree that a voter
·6· ·understanding of it, but, yes, that's             ·6· ·could not date and sign the declaration
·7· ·correct.                                          ·7· ·envelope before a County Board issues an
·8· · · ·Q· · ·Would you agree that a voter            ·8· ·absentee or mail-in ballot to that voter?
·9· ·could not date and sign a declaration             ·9· · · ·A· · ·I agree.· I don't see how that
10· ·envelope before the County Board printed          10· ·would be possible.
11· ·absentee or mail-in ballots?                      11· · · ·Q· · ·Would you agree that a voter
12· · · ·A· · ·If I understand the question            12· ·could not date and sign the declaration
13· ·you're asking, whether it would be possible       13· ·envelope after Election Day?
14· ·for a voter to date and sign before the           14· · · ·A· · ·Well, they could -- if they still
15· ·County has mailed the ballot, the answer          15· ·had the ballot, they could date and sign it
16· ·would be no.                                      16· ·after Election Day, but it wouldn't be
17· · · ·Q· · ·My specific question there was          17· ·counted.
18· ·whether a voter could sign and date a             18· · · ·Q· · ·That's fair.
19· ·declaration and vote before a County Board        19· · · · · · ·Would you agree that a voter
20· ·printed the absentee or mail-in ballot.           20· ·could not date and sign the declaration
21· · · ·A· · ·I don't see how that would be           21· ·envelope after that absentee or mail-in
22· ·possible.                                         22· ·ballot was received by the County Board?
23· · · ·Q· · ·Would you agree that a voter            23· · · ·A· · ·Well, that might depend on -- so
24· ·could not date and sign the declaration           24· ·if they omitted it -- and I go back to my
25· ·envelope before that voter applied for an         25· ·exchange earlier with Mr. Walczak, if they

                            TSG Reporting Pa.App.0856
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     861 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    352 of 378

                                            Page 202                                               Page 203
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·hand their ballot over to an Election             ·2· · · ·A· · ·Well, again, I think, you know,
·3· ·Official, and that Election Official looks        ·3· ·the Board would make a determination when
·4· ·at it and determines that it's not dated,         ·4· ·examining.
·5· ·certainly, the Election Official could give       ·5· · · · · · ·But I think the assumption is
·6· ·the voter the opportunity to date it at           ·6· ·that the voter has signed the envelope
·7· ·that moment in time.                              ·7· ·after having their I.D. verified receiving
·8· · · · · · ·But, generally, the answer would        ·8· ·the ballot.
·9· ·be no, but that may be -- you know, the           ·9· · · · · · ·I'm not sure I understand the
10· ·specific facts or, you know, the specific         10· ·question, but I think the Board would be
11· ·circumstances would be relevant in the case       11· ·able to look at the outer envelope to
12· ·of that question.                                 12· ·determine whether the voter signed it or
13· · · ·Q· · ·You indicated earlier that a            13· ·not.
14· ·Board needs to confirm that a voter               14· · · ·Q· · ·Well, my specific question was:
15· ·declaration is signed, correct?                   15· ·How would the Board know that it's the
16· · · ·A· · ·Correct.                                16· ·voter him or herself that signed?
17· · · ·Q· · ·Why does the Board need to              17· · · ·A· · ·I suppose if the Board noticed
18· ·determine that a declaration is signed?           18· ·the signature of another individual or an
19· · · ·A· · ·Well, a declaration is an               19· ·individual with a different name, I think
20· ·important component of the process.· It is        20· ·that would indicate that perhaps there was
21· ·the voter affirming under penalty of              21· ·a mixup there.
22· ·perjury that they're qualified to vote in         22· · · · · · ·And we've seen that occur where a
23· ·the election.                                     23· ·spouse signed.· You know, they got it mixed
24· · · ·Q· · ·How does the Board know that it's       24· ·up, and they signed on behalf of their
25· ·the voter that signed it?                         25· ·spouse.
                                            Page 204                                               Page 205
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· · · · · · ·I'm not sure what your question         ·2· · · · · · ·And if it were to be, it would
·3· ·is.· I mean, if you're asking me --               ·3· ·require a whole lot of training and
·4· · · ·Q· · ·As I understand it --                   ·4· ·upgrading of our infrastructure.
·5· · · ·A· · ·-- analysis, the answer is no.          ·5· · · ·Q· · ·So for this important purpose
·6· · · ·Q· · ·But I'm trying to understand the        ·6· ·that you stated of determining that they
·7· ·Department's position as to why the               ·7· ·are representing that it's their vote,
·8· ·declaration is relevant or important but          ·8· ·there's no way for the Board to determine
·9· ·the date is not?                                  ·9· ·that it's the actual voter making that
10· · · · · · ·MS. MULLEN:· Objection.                 10· ·determination?
11· · · ·A· · ·Well, again, I think without a          11· · · · · · ·MS. MULLEN:· Objection.
12· ·signature, the person who is returning the        12· · · ·A· · ·Absolutely determine, I suppose
13· ·ballot is not affirming that they're              13· ·you're correct.
14· ·qualified to vote in the election.· And I         14· · · · · · ·MR. GIANCOLA:· I'm going to go
15· ·think that's a relevant fact.                     15· · · ·over my notes, but I'm happy to pass to
16· · · · · · ·Whether they correctly dated that       16· · · ·the next attorney to keep things
17· ·affirmation or not, I don't believe, is           17· · · ·moving.
18· ·relevant in terms of the truthfulness of          18· · · · · · ·Thanks for your time.
19· ·the affirmation.                                  19· · · · · · ·MS. MULLEN:· Can we take just a
20· · · ·Q· · ·But to your point, there's no           20· · · ·five-minute break?
21· ·basis for the -- you agree that the               21· · · · · · ·Does anybody have an objection to
22· ·Department can't set aside a ballot based         22· · · ·that?
23· ·on signature analysis, correct?                   23· · · · · · ·MR. WALCZAK:· Kathy, I would just
24· · · ·A· · ·Correct.· Yes, that's not a             24· · · ·ask if Mr. Giancola has additional
25· ·requirement.                                      25· · · ·questions, that he go ahead and ask

                            TSG Reporting Pa.App.0857
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     862 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    353 of 378

                                            Page 206                                               Page 207
·1· · · · · · · · · · · · J. Marks                     ·1· · · · · · · · · · · J. Marks
·2· · · · ·those and not come back at some future      ·2· · · ·Q· · ·As far as you're aware, is the
·3· · · · ·time.                                       ·3· ·term "pre-canvass" something that the
·4· · · · · · · ·So when we come back, if he's got     ·4· ·Election Code specifically defines?
·5· · · · ·additional questions, he should ask         ·5· · · ·A· · ·I believe it does.· I believe
·6· · · · ·them at the time.                           ·6· ·there's a definition of pre-canvass in the
·7· · · · · · · ·MS. MULLEN:· Right.· I mean, we       ·7· ·Election Code.· I'd have to look, though,
·8· · · · ·intend to conclude this afternoon on a      ·8· ·to confirm that.
·9· · · · ·timely basis, so thank you.                 ·9· · · ·Q· · ·You were also asked questions
10· · · · · · · ·THE VIDEOGRAPHER:· We are off the     10· ·about canvassing.
11· · · · ·record.· The time is 2:54.                  11· · · · · · ·Do you recall that?
12· · · · · · · ·(Recess taken from 2:54 p.m. to       12· · · ·A· · ·I do, yes.
13· · · · ·3:07 p.m.)                                  13· · · ·Q· · ·Do you know, is the term
14· · · · · · · ·THE VIDEOGRAPHER:· We're on the       14· ·"canvass" something that the Election Code
15· · · · ·record.· The time is 3:07 p.m.              15· ·specifically defines?
16· ·BY MR. BOYER:                                     16· · · ·A· · ·Yes.· I can't recall whether it's
17· · · · ·Q· · ·Good afternoon, Mr. Marks. I          17· ·a definition of the term or if the Election
18· · ·just have a few additional questions, in        18· ·Code provisions regarding each -- I think
19· · ·light of some of the things that were asked     19· ·they certainly define what doesn't happen
20· · ·of you by counsel for the intervenors.          20· ·during those.
21· · · · · · · ·You were asked during your            21· · · · · · ·I'd have to review it to say for
22· · ·exchange with Mr. Giancola some questions       22· ·sure, but it certainly identifies what is
23· · ·about precanvassing.                            23· ·pre-canvass versus what is canvass.
24· · · · · · · ·Do you recall that?                   24· · · ·Q· · ·I believe Mr. Giancola showed you
25· · · · ·A· · ·I do, yes.                            25· ·something marked as Marks' Exhibit 14.
                                            Page 208                                               Page 209
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· · · · · · ·Do you have that in front of you?       ·2· · · · · · · ·MR. WALCZAK:· I actually have a
·3· · · ·A· · ·I do, yes.                              ·3· · · · ·little bit of follow-up at this point.
·4· · · ·Q· · ·That's a printout of a section of       ·4· · · · · · · ·It's okay, just a few questions.
·5· ·the Election Code at 25 P.S. 3050; is that        ·5· ·BY MR. WALCZAK:
·6· ·correct?                                          ·6· · · · ·Q· · ·Mr. Marks, when the ballot comes
·7· · · ·A· · ·That's correct, yes.                    ·7· · ·into the elections, Bureau of Elections,
·8· · · ·Q· · ·I believe, in the course of             ·8· · ·right, the mail-in ballot comes into the
·9· ·asking you questions about this, he asked         ·9· · ·Bureau of Elections, they can't just throw
10· ·you to define the word "cast" as it appears       10· · ·it into a bin, correct?· They actually have
11· ·in this section.                                  11· · ·to look at it, right?
12· · · · · · ·Do you recall that?                     12· · · · ·A· · ·Correct.
13· · · ·A· · ·I do.                                   13· · · · ·Q· · ·The Election Code actually
14· · · ·Q· · ·And the answer you gave to that         14· · ·requires that the Board of Elections log in
15· ·question, is that your opinion of what the        15· · ·the fact that the time and date of when --
16· ·word "cast" means?                                16· · ·or at least, the date when the ballot has
17· · · ·A· · ·It is, yes.· I don't believe            17· · ·been received, correct?
18· ·there's a definition for the term.· It's a        18· · · · ·A· · ·Correct.
19· ·term of art.· So, yes, that is my opinion         19· · · · ·Q· · ·And to note that a ballot was
20· ·of what it means.                                 20· · ·received, they've got to look and see who
21· · · ·Q· · ·I believe you said a number of          21· · ·it came from, et cetera, correct?
22· ·times you are not a lawyer, correct?              22· · · · ·A· · ·Correct, yes.
23· · · ·A· · ·That is correct, yes.                   23· · · · ·Q· · ·So there's no prohibition that
24· · · · · · ·MR. BOYER:· I have nothing              24· · ·you know of that prohibits the County Board
25· · · ·further.                                      25· · ·of Elections from looking at the outside --

                            TSG Reporting Pa.App.0858
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     863 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    354 of 378

                                            Page 210                                               Page 211
·1· · · · · · · · · · · · J. Marks                     ·1· · · · · · · · · · · J. Marks
·2· · ·examining, looking at, investigating the        ·2· · · ·A· · ·Yes.
·3· · ·outside of the envelope for purposes of         ·3· · · ·Q· · ·And if, in completing that
·4· · ·noting its receipt?                             ·4· ·ballot, they turn it into the elections
·5· · · · ·A· · ·That's correct, yes.                  ·5· ·employee, and that employee looks and sees
·6· · · · ·Q· · ·And I believe, as you noted, if a     ·6· ·that they did not complete the declaration
·7· · ·voter chooses to vote a mail-in ballot at a     ·7· ·either with a signature or a date, there's
·8· · ·Board of Elections, that's something that's     ·8· ·nothing improper about that employee
·9· · ·provided for by Act 77, correct?                ·9· ·advising the voter about how to -- that
10· · · · ·A· · ·It is, yes.                           10· ·they need to, you know, sign it or date it,
11· · · · ·Q· · ·And it would not be improper for      11· ·or whatever is missing; is that correct?
12· · ·an elections employee, when they're handed      12· · · ·A· · ·Correct.
13· · ·the ballot that's been completed by the         13· · · ·Q· · ·Now, when a voter comes to vote
14· · ·person who's there to cast that ballot,         14· ·at the polls, there's various requirements
15· · ·from looking at it and saying, "Oh, you         15· ·to vote, correct?
16· · ·forgot to sign this"; is that correct?          16· · · ·A· · ·Correct, yes.
17· · · · · · · ·MS. MULLEN:· Objection.               17· · · ·Q· · ·So you come in, and you have to
18· · · · · · · ·It's a double negative.· Can you      18· ·sign a poll book, correct?
19· · · · ·rephrase that?· It's confusing.             19· · · ·A· · ·Correct.
20· · · · · · · ·MR. WALCZAK:· I think I confused      20· · · ·Q· · ·Now, if you sign in the wrong
21· · · · ·myself, too.                                21· ·place, are you disenfranchised?· Is that
22· ·BY MR. WALCZAK:                                   22· ·voter disenfranchised?
23· · · · ·Q· · ·So if you have a person coming in     23· · · ·A· · ·No.
24· · ·a Board of Elections to cast a mail ballot,     24· · · ·Q· · ·Would it be appropriate for one
25· · ·right, that's permissible?                      25· ·of the elections workers at the polls to
                                            Page 212                                               Page 213
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · J. Marks
·2· ·inform the voter that they signed in the          ·2· ·to push that button; is that correct?
·3· ·wrong place and ask them to sign in the           ·3· · · ·A· · ·Yes, that occurred, yes.
·4· ·correct place?                                    ·4· · · ·Q· · ·And if they walked away without
·5· · · ·A· · ·Yes.                                    ·5· ·pushing that button, their ballot wouldn't
·6· · · ·Q· · ·There's no reason they couldn't         ·6· ·be counted, correct?
·7· ·do that, correct?                                 ·7· · · ·A· · ·It would not be counted.· We
·8· · · ·A· · ·Correct.                                ·8· ·did -- and this is kind of dated now, but
·9· · · ·Q· · ·And do you know whether that's          ·9· ·we did issue guidance at one point
10· ·done on occasion at polling places?               10· ·indicating that the Board of Elections, if
11· · · ·A· · ·Yes, I believe it has happened.         11· ·they noticed that, could press the vote
12· · · · · · ·MR. BUKOWSKI:· Objection.· Lack         12· ·button to finalize the ballot while trying
13· · · ·of foundation.                                13· ·to preserve the secrecy of that voter's
14· · · · · · ·MR. WALCZAK:· Go ahead.                 14· ·ballot.
15· · · ·A· · ·I am aware that voters have             15· · · ·Q· · ·So not only would, in that
16· ·signed in the wrong location on a poll            16· ·situation, they go to the voter and say,
17· ·book.· I have seen that, yes.                     17· ·"Hey, hey, you've got to go back and push
18· · · ·Q· · ·And when a voter is voting on a         18· ·the button," they might actually take that
19· ·machine, maybe not now, but I recall times        19· ·last ministerial step to enable that
20· ·where you had to fill out the complex             20· ·voter's ballot to count, correct?
21· ·ballot, and then you had to push an actual        21· · · · · · ·MR. BUKOWSKI:· Objection.· Lacks
22· ·vote button for the vote to take place.           22· · · ·foundation.· Hypothetical.
23· · · · · · ·Do you recall that?                     23· · · · · · ·This whole line of questioning is
24· · · ·A· · ·I believe so, yes.                      24· · · ·out of bounds.
25· · · ·Q· · ·And people would sometimes forget       25· · · · · · ·MR. WALCZAK:· I'm sorry, who is

                            TSG Reporting Pa.App.0859
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     864 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    355 of 378

                                            Page 214                                               Page 215
·1· · · · · · · · · · · · J. Marks                     ·1· · · · · · · · · · · J. Marks
·2· · · · ·objecting?                                  ·2· · · ·Q· · ·And there's no indication that
·3· · · · · · · ·MR. BUKOWSKI:· This is Jeff           ·3· ·that voter is actually eligible to vote; is
·4· · · · ·Bukowski.                                   ·4· ·that correct?
·5· · · · · · · ·You guys -- you know, you said        ·5· · · ·A· · ·Correct.
·6· · · · ·you had no questions two minutes before     ·6· · · ·Q· · ·So this person would be
·7· · · · ·Jacobs', you know, response, and now        ·7· ·disenfranchised because of that mistake,
·8· · · · ·you've got a whole new line of              ·8· ·correct?
·9· · · · ·questioning that is beyond the scope of     ·9· · · ·A· · ·Yes.
10· · · · ·Attorney Giancola's and anybody else's      10· · · ·Q· · ·And so any effort to interpret
11· · · · ·questions.                                  11· ·the law in a way that County elections
12· · · · · · · ·So I'm objecting on that basis.       12· ·officials could not assist a voter to
13· · · · · · · ·MS. MULLEN:· Let's proceed.           13· ·ensure that their ballot is properly signed
14· · · · · · · ·MR. WALCZAK:· Thank you.· I've        14· ·and dated would result in the
15· · · · ·noted your objection.                       15· ·disenfranchisement of ineligible voters; is
16· ·BY MR. WALCZAK:                                   16· ·that correct?
17· · · · ·Q· · ·So in a situation where a voter's     17· · · · · · ·MR. BUKOWSKI:· Objection.
18· · ·ballot, mail ballot, was submitted without      18· · · · · · ·Again, this is Jeffrey Bukowski.
19· · ·a signature on there, that vote is not          19· · · · · · ·The definition of
20· · ·going to count, correct?                        20· · · ·disenfranchisement, vague and
21· · · · ·A· · ·That's correct, yes.                  21· · · ·ambiguous, subject to multiple
22· · · · ·Q· · ·And, currently, if a voter            22· · · ·interpretations.
23· · ·submits a mail-in ballot without a date,        23· · · · · · ·So we object to that basis, but
24· · ·that vote is not going to count, correct?       24· · · ·the witness may answer, if he can.
25· · · · ·A· · ·Correct.                              25· · · · · · ·MS. MULLEN:· Well, he doesn't
                                            Page 216                                               Page 217
·1· · · · · · · · · · · · J. Marks                     ·1· · · · · · · · · · · J. Marks
·2· · · · ·take instructions from you, but             ·2· ·rephrase.
·3· · · · ·proceed.                                    ·3· · · · · · ·A worker for the County Board
·4· · · · ·A· · ·I mean, I think that is a fair        ·4· ·would not need to inspect an outer envelope
·5· · ·characterization.· It's fair to                 ·5· ·for a signature or date in order to scan it
·6· · ·characterize that that would result in          ·6· ·into the SURE system, correct?
·7· · ·disenfranchisement of the voter.                ·7· · · · · · ·MS. MULLEN:· Objection.
·8· · · · · · · ·MR. WALCZAK:· I have no further       ·8· · · ·A· · ·I think that's fair, yes.
·9· · · · ·questions.                                  ·9· · · ·Q· · ·Would a worker working on behalf
10· · · · · · · ·MS. MULLEN:· Any other questions?     10· ·of the Board be required to inspect an
11· · · · · · · ·MR. GIANCOLA:· I have a few           11· ·outer envelope for signature or date in
12· · · · ·follow-up based on Mr. Boyer's              12· ·order to date-stamp it or time-stamp it?
13· · · · ·questions.                                  13· · · · · · ·MS. MULLEN:· Objection.
14· ·BY MR. GIANCOLA:                                  14· · · · · · ·Outside the scope.
15· · · · ·Q· · ·To scan an absentee or mail-in        15· · · ·A· · ·No, they would not have to
16· · ·ballot, is it required to inspect the outer     16· ·examine the contents of the declaration
17· · ·envelope?                                       17· ·envelope to time-stamp it.
18· · · · ·A· · ·To scan it, you would certainly       18· · · ·Q· · ·Mr. Boyer asked you about whether
19· · ·have to handle the envelope.                    19· ·pre-canvass, the term "pre-canvass," was
20· · · · · · · ·The Counties use handheld contact     20· ·defined in the Election Code.
21· · ·scanners, but I suppose you could scan the      21· · · · · · ·MR. GIANCOLA:· I'm going to
22· · ·barcode on the outer envelope without           22· · · ·upload what is marked as Exhibit 15.
23· · ·closely examining the contents of the outer     23
24· · ·envelope.                                       24
25· · · · ·Q· · ·I appreciate that.· Let me            25

                            TSG Reporting Pa.App.0860
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
             Case:
            Case   23-3166 Document:
                 1:22-cv-00339-SPB    146 Page:
                                   Document     865 05/05/23
                                            301 Filed Date Filed:
                                                              Page01/10/2024
                                                                    356 of 378

                                            Page 218                                               Page 219
·1· · · · · · · · · · · · J. Marks                     ·1· · · · · · · · · · · J. Marks
·2· · · · · · · ·(Marks' Exhibit 15, Document          ·2· · · ·Q· · ·It's on page 2.
·3· · · · ·Titled 25 P.S. 2602, was marked for         ·3· · · ·A· · ·Got it.· I'm sorry.
·4· · · · ·identification, as of this date.)           ·4· · · · · · ·"The word 'pre-canvass' shall
·5· · · · · · · ·THE WITNESS:· It's a copy of --       ·5· ·mean the inspection and opening of all
·6· · · · · · · ·MS. MULLEN:· Wait for the             ·6· ·envelopes containing official absentee
·7· · · · ·question.                                   ·7· ·ballots or mail-in ballots, the removal of
·8· · · · · · · ·THE WITNESS:· I'm sorry, I was        ·8· ·such ballots from the envelope and the
·9· · · · ·just --                                     ·9· ·counting, computing, and tallying of the
10· ·BY MR. GIANCOLA:                                  10· ·votes reflected on the ballots.
11· · · · ·Q· · ·Do you have the document marked       11· · · · · · ·"The term does not include the
12· · ·as Exhibit 5?                                   12· ·recording or publishing of the votes
13· · · · ·A· · ·Yes, 25 P.S. Section 2602.            13· ·reflected on the ballots."
14· · · · · · · ·Is that what I'm supposed to be       14· · · ·Q· · ·Would you agree that this is the
15· · ·looking at?                                     15· ·definition set forth in the Election Code
16· · · · ·Q· · ·Okay, yes.                            16· ·for the term "pre-canvass"?
17· · · · · · · ·And I'm going to direct you to        17· · · · · · ·MS. MULLEN:· Objection.
18· · ·subsection 2.1, which is the second page.       18· · · ·A· · ·I do, yes.
19· · · · · · · ·Would you agree with me that that     19· · · ·Q· · ·As you just read, that definition
20· · ·sets forth a definition of pre-canvass in       20· ·includes -- the definition of "pre-canvass"
21· · ·the Election Code?                              21· ·includes the inspection of envelopes
22· · · · · · · ·MS. MULLEN:· Objection.               22· ·containing absentee and mail-in ballots,
23· · · · ·A· · ·Subsection?                           23· ·correct?
24· · · · ·Q· · ·2.1.                                  24· · · · · · ·MS. MULLEN:· Objection.· It
25· · · · ·A· · ·Which page is it on?                  25· · · ·speaks for itself.
                                            Page 220                                               Page 221
·1· · · · · · · · · · · J. Marks                       ·1· · · · · · · · · · · · J. Marks
·2· · · ·A· · ·Correct, yes.                           ·2· ·BY MR. BUKOWSKI:
·3· · · ·Q· · ·You've confirmed that the               ·3· · · · ·Q· · ·Deputy Secretary Marks, good
·4· ·Election Code prohibits the pre-canvass           ·4· · ·afternoon.· My name is Jeff Bukowski. I
·5· ·from starting before 7:00 a.m. on Election        ·5· · ·represent the Berks County Board of
·6· ·Day, correct?                                     ·6· · ·Elections.
·7· · · · · · ·MS. MULLEN:· Objection.                 ·7· · · · · · · ·We met during the hearing in the
·8· · · ·A· · ·Yes, that's my understanding,           ·8· · ·Chapman vs. Berks County, et al., matter.
·9· ·that pre-canvass cannot start prior               ·9· · ·Good to see you again.· And thanks for your
10· ·to 7:00 a.m. on Election Day.                     10· · ·time today.
11· · · · · · ·MR. GIANCOLA:· Thank you.· No           11· · · · ·A· · ·Sure.
12· · · ·further questions.                            12· · · · ·Q· · ·Hopefully, this will be short and
13· · · · · · ·MR. BUKOWSKI:· This is Jeffrey          13· · ·quick.
14· · · ·Bukowski.                                     14· · · · · · · ·Attorney Walczak asked you a few
15· · · · · · ·I have a few questions based on         15· · ·questions about disenfranchisement in his
16· · · ·Attorney Walczak's last round of              16· · ·last round of questioning.· I just wanted
17· · · ·questions.                                    17· · ·to ask a few questions to clarify.
18· · · · · · ·MS. MULLEN:· Can you please put a       18· · · · · · · ·The act of not counting a voter's
19· · · ·camera on?                                    19· · ·ballot mail-in or absentee for
20· · · · · · ·MR. BOYER:· You really want me          20· · ·noncompliance with the date requirement has
21· · · ·to?                                           21· · ·no effect, one way or another, on the
22· · · · · · ·MS. MULLEN:· I'd appreciate it,         22· · ·voter's qualification to vote, is that
23· · · ·yes.                                          23· · ·true?
24· · · · · · ·MR. BUKOWSKI:· I'm happy to.            24· · · · · · · ·MS. MULLEN:· Objection.
25                                                     25· · · · ·A· · ·If I understand the question

                            TSG Reporting Pa.App.0861
                                          - Worldwide· · 877-702-9580
                                                                                                              YVer1f
               Case:
              Case   23-3166 Document:
                   1:22-cv-00339-SPB    146 Page:
                                     Document     866 05/05/23
                                              301 Filed Date Filed:
                                                                Page01/10/2024
                                                                      357 of 378

                                                     Page 222                                                         Page 223
·1· · · · · · · · · · · J. Marks                                ·1· · · · · · · · · ·J. Marks
·2· ·you're asking, if the decision ultimately                  ·2· · · · · THE VIDEOGRAPHER:· We are off the
·3· ·to not count a voter's ballot, whether that                ·3· · record.· The time is 3:24 p.m.
·4· ·has any bearing on the qualifications of                   ·4· · · · · (Whereupon, the Deposition was
·5· ·the voter, is that your question?                          ·5· · Concluded at 3:24 p.m.)
·6· · · ·Q· · ·It is.                                           ·6· · · · · (The Exhibits were not retained
·7· · · ·A· · ·No, it does not.                                 ·7· · by the Court Reporter.)
·8· · · ·Q· · ·And so when the vote is not                      ·8· · · · · · · · · · · oOo
·9· ·counted for noncompliance, the voter still                 ·9
10· ·remains on the voter rolls as a qualified                  10
11· ·elector in that election and other                         11
12· ·elections unless and until there's some                    12
13· ·other disqualification; is that right?                     13
14· · · · · · ·MS. MULLEN:· Objection.                          14
15· · · · · · ·Outside the scope.                               15
16· · · ·A· · ·That's correct, yes.                             16
17· · · · · · ·MR. BUKOWSKI:· That's all I have,                17
18· · · ·thanks.                                                18· · · · · · · · · · · · ______________________
19· · · · · · ·MS. MULLEN:· Any other questions?                19· · · · · · · · · · · · JONATHAN M. MARKS
20· · · · · · ·MR. WALCZAK:· Not here.                          20
21· · · · · · ·MS. MULLEN:· Hearing none, we'll                 21· ·Subscribed and sworn to before me
22· · · ·reserve the right to read and sign.                    22· ·this· · ·day of· · · · · · · 2023.
23· · · · · · ·THE VIDEOGRAPHER:· Are we ready                  23
24· · · ·to go off the record?                                  24· ·_________________________________
25· · · · · · ·MR. WALCZAK:· Yes.                               25
                                                     Page 224                                                         Page 225
·1· · · · · · · · · · · · J. Marks                              ·1· · · · · · · · · · · · J. Marks
·2· · · · · · · · · · · · · ·CERTIFICATE                        ·2· · · · · · · · · · · · · · · INDEX
·3· ·STATE OF NEW YORK· )                                       ·3· ·EXAMINATION OF JONATHAN M. MARKS· · · · · · · · · ·PAGE
· · · · · · · · · · · · :· ss                                   ·4· ·By Mr. Walczak· · · · · · · · · · · · · · · · · · · ·12
·4· ·COUNTY OF NEW YORK )                                       ·5· ·By Mr. Baxenberg· · · · · · · · · · · · · · · · · · 155
·5                                                              ·6· ·By Mr. Boyer· · · · · · · · · · · · · · · · · · · · 159
·6· · · · · · · ·I, THOMAS A. FERNICOLA, a                      ·7· ·By Mr. Giancola· · · · · · · · · · · · · · · · · · ·162
·7· · · · ·Registered Reporter and Notary Public                ·8· ·By Mr. Walczak· · · · · · · · · · · · · · · · · · · 209
·8· · · · ·within and for the State of New York,
                                                                ·9· ·By Mr. Giancola· · · · · · · · · · · · · · · · · · ·216
·9· · · · ·do hereby certify:
                                                                10· ·By Mr. Bukowski· · · · · · · · · · · · · · · · · · ·221
10· · · · · · · ·That JONATHAN M. MARKS, the
                                                                11
11· · · · ·witness whose deposition is herein
                                                                12
12· · · · ·before set forth, was duly sworn by me,
                                                                13
13· · · · ·and that such deposition is a true
                                                                14
14· · · · ·record of the testimony given by such
                                                                15
15· · · · ·witness on Tuesday, February 14, 2023.
                                                                16
16· · · · · · · ·I further certify that I am not
                                                                17
17· · · · ·related to any of the parties to this
                                                                18
18· · · · ·action by blood or marriage, and that I
                                                                19
19· · · · ·am in no way interested in the outcome
20· · · · ·of this matter.                                      20

21· · · · · · · ·IN WITNESS WHEREOF, I have                     21

22· · · · ·hereunto set my hand this 24th day of                22

23· · · · ·February 2023.                                       23

24· · · · · · · · · · · · ________________________              24

25· · · · · · · · · · · · THOMAS A. FERNICOLA, RPR              25



                                     TSG Reporting Pa.App.0862
                                                   - Worldwide· · 877-702-9580
                   Case:
                  Case   23-3166 Document:
                       1:22-cv-00339-SPB    146 Page:
                                         Document     867 05/05/23
                                                  301 Filed Date Filed:
                                                                    Page01/10/2024
                                                                          358 of 378

                                                       Page 226                                                          Page 227
·1· · · · · · · · · · · · J. Marks                                ·1· · · · · · · · · · · · J. Marks
·2· · · · · · · · · · · · · ·EXHIBITS                             ·2· · · · · · · · · · · · · ERRATA SHEET
·3· ·MARKS' EXHIBITS:· · · · · · · · · · · · · · · · · · · PAGE
                                                                  ·3· ·Case Name:
·4· ·Exhibit 1 Initial Disclosures of Defendant Al· · · · · ·26
                                                                  ·4· ·Deposition Date:
· · ·Schmidt
·5                                                                ·5· ·Deponent:
· · ·Exhibit 2 DOS Envelope Guide· · · · · · · · · · · · · · 47   ·6· ·Page Line· Now Reads· · ·Should Read· · ·Reason
·6                                                                ·7· ·____ ____· _____________ _______________ _______________
· · ·Exhibit 3 Dauphin MIB Envelopes· · · · · · · · · · · · ·59
                                                                  ·8· ·____ ____· _____________ _______________ _______________
·7
                                                                  ·9· ·____ ____· _____________ _______________ _______________
· · ·Exhibit 4 Marks' 6-1-21 Email· · · · · · · · · · · · · ·98
·8                                                                10· ·____ ____· _____________ _______________ _______________
· · ·Exhibit 5 2022-09-26 DOS Mail-In Ballot· · · · · · · · 107   11· ·____ ____· _____________ _______________ _______________
·9· ·Procedures                                                   12· ·____ ____· _____________ _______________ _______________
10· ·Exhibit 6 2022-11-3 Guidance Re: Ball Order· · · · · · 113
                                                                  13· ·____ ____· _____________ _______________ _______________
11· ·Exhibit 7 SCOPA Supp Order 2022-11-5· · · · · · · · · ·125
                                                                  14· ·____ ____· _____________ _______________ _______________
12· ·Exhibit 8 Berks County UOCAVA· · · · · · · · · · · · · 142
13· ·Exhibit 9 2022-09-26 DOS Guidance Federal Voters· · · ·138   15· ·____ ____· _____________ _______________ _______________
14· ·Exhibit 10 2022-09-26 DOS Guidance· · · · · · · · · · ·167   16· ·____ ____· _____________ _______________ _______________
15· ·Exhibit 11 Email Re:· Survey, Redacted· · · · · · · · ·180   17· ·____ ____· _____________ _______________ _______________
16· ·Exhibit 12 Document Titled Survey· · · · · · · · · · · 182
                                                                  18· ·____ ____· _____________ _______________ _______________
17· ·Exhibit 13 Document Titled Lai Tweet· · · · · · · · · ·186
                                                                  19· ·____ ____· _____________ _______________ _______________
18· ·Exhibit 14 Document Titled 25 P.S. 3050· · · · · · · · 196
19· ·Exhibit 15 Document Titled 25 P.S. 2602· · · · · · · · 217   20

20                                                                21· · · · · · · · · · · · · · · · · · · ____________________
21                                                                22· · · · · · · · · · · · · · · · · · · Signature of Deponent
22
                                                                  23· ·SUBSCRIBED AND SWORN TO BEFORE ME
23
                                                                  24· ·THIS ______ DAY OF __________________, 2023.
24
25                                                                25· ·(Notary Public) MY COMMISSION EXPIRES:_________________




                                     TSG Reporting Pa.App.0863
                                                   - Worldwide· · 877-702-9580
                Case:
               Case   23-3166 Document:
                    1:22-cv-00339-SPB    146 Page:
                                      Document     868 05/05/23
                                               301 Filed Date Filed:
                                                                 Page01/10/2024
                                                                       359 of 378

                                                                                               Index: 00039..addition
                          186:24 196:18,19         60:10 62:20,21 63:7    77 38:14,23 70:9           67:14 69:11 70:13
          0               219:2                    91:2 93:5 110:20        86:24 87:4,18 90:13       71:9 87:14 88:12,21
                                                   111:3 113:25 114:3,     92:17 175:8 210:9         89:25 90:15 92:12
                         2.0 172:17
00039 145:20 146:14                                11 116:12 119:10                                  93:4 126:19 132:10
                                                                          7:00 72:13 81:11
                         2.1 218:18,24             168:5 175:13                                      140:14,16 141:12
00041 150:12                                                               163:20,23 166:20,23
                                                                                                     143:23 150:23,25
                         20 20:17                 3-1-3 93:13              170:17 220:5,10
                                                                                                     151:13 167:21
          1              2002 21:16,23            3.0 168:2               7:59 66:6                  171:22 172:15 174:3,
                                                                                                     15,22 175:10 194:6,
                         2011 22:8                30 10:18 21:14 102:8                               16,19 195:9 199:2,3
1 11:3 26:2,8,24 32:13                             137:8,20                           8
                         2019 21:6 22:21                                                             200:11,20 201:2,8,21
 114:6 145:7 153:21
                          38:12,18 39:3 70:9      3050 196:10 208:5                                  216:15 219:6,22
 180:13                                                                   8 120:25 128:23
                          86:24 87:14,22 88:2,                                                       221:19
10 111:8 167:6,11,13                              3550 196:15              142:4,12,17 143:6,20
                          14,17,21                                                                  Absolutely 205:12
 172:19                                           39 144:17 146:25         144:5 145:7 149:24
                         2020 36:10 87:12                                  150:12,21                accept 100:21
10-minute 79:20           89:12,18,23,25 90:6,    3:07 206:13,15
                          17 91:5,12 92:7,20,                             8:00 66:3,22 68:16        acceptable 13:23
10/25/2020 101:6                                  3:24 223:3,5             82:8 84:8 95:19
                          25 93:5,21 94:13,15                                                        16:9
10/28/2022 63:7           95:20 96:17 97:11,19                             128:2 135:19 163:21
                                                                           164:4 169:15             accepted 76:19
                          124:9                               4
10:29 80:2,3                                                                                         81:13
                         2021 97:3,12 98:20                               8:01 66:8
10:35 79:24 80:4,6                                4 54:5,7 57:16 62:21                              accepting 39:8
                          102:17,20,24
11 180:18,19                                       98:10,11,16 101:3                                access 180:24
                         2022 60:12 74:14                                             9
11:42 130:24 131:3        102:25 103:7,18         40 147:3                                          accompany 143:2
                          104:19 105:12 106:6,    48 70:21                9 138:20 139:2,7
11:59 141:22 149:18                                                        154:12
                                                                                                    account 181:9
                          13,16 107:16,20
 151:10                                           4:32 63:7
                          108:17 109:11,25
                                                                          9:07 11:13                accurate 54:2 76:16
12 181:20 182:2,9         120:25 126:3 133:8                                                         103:5 133:11
                          167:25 172:16 181:8,                5
13 186:12,13                                                                          A             accurately 133:21
                          11 183:3
                                                                                                     134:20
14 11:12 196:8,9         2022-09-26 107:6         5 107:6,11,12 108:21
 207:25                                                                   A.4 196:18                acknowledging
                          139:2 167:13             110:19 111:2,8
                                                                                                     56:7
15 130:16 217:22         2022-11-3 113:10
                                                   115:10 126:3 172:8,9   A.4(2) 196:22
 218:2                                             181:7 218:12                                     acronyms 46:9
                         2022-11-5 125:8                                  a.m. 11:13 72:13
17 103:8 105:8                                                             80:3,4,6 130:24          act 36:20 38:14,23
                         2023 11:12 75:4                      6            131:3 163:20,23           70:9 86:24 87:4,18
18 97:2 98:21 136:11,     129:5 223:22                                     166:20,23 170:17          90:13,23 92:17 175:8
 19,21
                                                  6 108:21 110:25          220:5,10                  198:12 210:9 221:18
                         25 196:10,14 208:5
1993 21:14                                         113:10,15,23 114:12
                          218:3,13                                        ability 40:8 47:17        acting 26:21
1:15 130:18                                        116:13 119:10 145:6
                         26 107:16,20 108:17                               69:21 77:20 195:19
                                                   174:13                                           action 74:22 111:24
1:17 131:6                109:11 110:14                                   abroad 139:25
                                                  6-1-21 98:11                                      actions 162:6 171:8,
                          111:23 115:9 167:25
1:22-cv-00339-spb                                                         absence 87:21              10
                          172:16                  67 28:17 62:3 76:5
 11:10
                                                   78:9,11 80:19 84:23    absent 38:8               actual 107:15 159:22
                         2602 218:3,13
                                                   88:25 90:5 99:20                                  205:9 212:21
          2              2:54 206:11,12                                   absentee 27:7,11
                                                  6B 145:7,12              30:5 31:3 36:16,20,      ad 194:3
                                                                           21,22 37:3,9,12,17
2 32:14 46:21 47:9,14                                                                               add 49:23 50:9,12,18
                                     3                                     38:6 39:18 40:5,12,
 48:5,16,17,20 51:4,                                          7                                     added 38:14 70:11
                                                                           24 42:7,10,23 43:13
 23 53:21 54:6 55:23                                                       47:17,22 54:6,11,17,      73:24 75:8,10
                         3 20:10,14 53:22 54:5,
 57:17 62:21 63:3                                 7 125:7,12,21            21 55:5 56:8 63:23
                          6,16 55:23 59:16,21                                                       addition 50:10 53:3
 91:2 113:25 153:21



                                TSG Reporting - Worldwide· · 877-702-9580

                                                   Pa.App.0864
                 Case:
                Case   23-3166 Document:
                     1:22-cv-00339-SPB    146 Page:
                                       Document     869 05/05/23
                                                301 Filed Date Filed:
                                                                  Page01/10/2024
                                                                        360 of 378

                                                                                       Index: additional..ballot
 70:10                  age 102:7 136:13         143:9 146:8,14         Assembly 38:13           148:3,5 207:2 212:15
                                                 149:13 150:22
additional 50:15        agency 28:3                                     assert 59:25            awareness 122:8
                                                 151:16,25 152:16
 75:10 78:16 121:17
                        agree 86:23 115:17       181:7 182:12 187:19,   assign 69:16            awful 14:5
 149:17 154:8 185:19
                         173:9 199:2 200:8,23    21 188:5 208:10
 186:10 188:25                                                          assigned 20:21 24:4
                         201:5,9,11,19 204:21
 193:17 205:24 206:5,                           application 39:16,19     33:16 69:2                       B
                         218:19 219:14
 18                                              41:8,13,24 42:15
                                                                        assigning 102:2
                        agreed 10:21 13:17       43:5,6,23 44:7 45:4                            back 13:19 37:10
address 12:7 41:16
                                                 51:9 74:11 136:17,18   assist 215:12            49:14,18 52:5,8,11
 62:23 71:6 73:18       agreement 45:24          137:24 140:23,24,25
 81:2 117:13 179:22      112:22 190:25                                  assistance 57:15         53:21 55:19,25 57:17
                                                 145:2 157:5                                     60:11 75:16 78:20
 192:25
                        ahead 205:25 212:14     applied 49:4 67:8       assistant 20:21          90:24 91:7 107:4
addressed 98:7,8                                                         21:17 24:4              119:7 132:18 146:19,
                        alert 74:20 84:18        70:15 71:6 128:22
addresses 99:15          115:3 122:18            200:25                 association 10:4         23 147:15 148:14
 171:6 175:9 178:8                                                                               150:25 170:7 172:7
                        alerted 117:14          applies 120:8 154:25    assume 16:16             201:24 206:2,4
addressing 18:9                                  179:2                                           213:17
                        Alito 105:2                                     assuming 55:24
adequate 184:20                                 apply 74:15              165:22                 background 19:22
                        allowed 90:16
administration           133:23 174:5           applying 46:14          assumption 203:5        ball 106:25 112:8,12
 20:19 28:13,25 29:20                            140:12                                          113:11 114:5 115:5,
 45:25 112:15
                        allowing 176:20                                 assurance 149:6
                                                appointee 23:14                                  18 116:7 129:16
                         177:16
Administration's                                                        attached 69:10           133:19,23 154:24
                        altered 61:16           appropriately 117:6                              174:17 180:9,10
 46:3                                                                   attempted 98:5
                                                approval 44:11                                   189:22 190:9 200:3
administrative          ambiguous 215:21
                                                 168:9                  attempting 108:12
 177:4,23 178:4,20                                                                              ballot 13:2 18:14
                        amend 115:8
                                                approving 168:15        attend 125:2             27:11 35:4 36:16,22,
administratively        American 139:24                                                          23 37:17,24 38:2,8,
 175:15 177:2                                   approximately           attendance 173:21
                                                                                                 19 39:5,18,23,24
                        amounts 87:11            11:13
admissible 10:17                                                        attention 59:21          40:6,13 42:8 43:3,14
 13:18                  analysis 204:5,23       April 91:4,5,8           138:6                   44:12,14 46:14,19
                                                                                                 47:17 49:3,5 50:20,
Adobe 113:16            anecdotally 119:7       area 27:17 30:17        attorney 17:2 39:13      22,23 52:13,17,22
 125:17                  124:4                   33:15 56:16 178:10      112:24 171:13
                                                                                                 53:5,9,14 54:14,17
                                                                         205:16 214:10
adopted 140:25          announced 133:16        areas 22:13 30:18                                55:5,6,9,18 56:9
                                                                         220:16 221:14
                                                                                                 57:15 58:6,7 63:16
 148:9                  answering 32:7           33:3
                                                                        attorney-client          64:3,5,6,20,25 65:6,
advice 31:10,12         answers 20:7            argue 170:20             159:6                   10 66:5,22,25 67:19,
 101:15 119:11                                                                                   20,25 68:5,7,11,12,
                        anticipated 187:8       arrangements 13:9       authority 29:13,17       22 69:24 70:2,6,15,
advising 211:9           188:14                                          30:16,19,23,24 31:5
                                                arrives 63:19 64:17                              16,17 71:2,9,12,14,
affidavit 197:4                                  65:7,8                  185:19                  15,16,23 72:25 73:19
                        anticipation 187:6
                         188:11                                         authorized 173:21        74:6,22 75:2 76:18
affiliation 184:3                               arrows 58:17
                                                                         174:5                   77:6,24 78:20,22
 185:2 188:11           anymore 157:2           art 41:4 198:11                                  79:4,5,12 80:10,13
affirm 141:18 197:8                              208:19                 avail 42:21              81:4,5,11,16 82:5,7,
                        Apologies 166:3
                                                                        avenue 40:9              12 83:10,13,21 84:3,
affirmation 141:20      apologize 165:2         articles 100:20                                  9 89:25 91:11 92:21
 148:24 204:17,19        180:25                                         aware 61:16 78:4
                                                artwork 50:7                                     96:15 101:8,14
affirming 56:12                                                          84:24 85:5,10 86:17     105:24 106:22 107:7
                        apparent 177:19         ascertain 86:6
 202:21 204:13                                                           87:24 88:10,16 91:24    108:24 109:3,23
                        appearing 37:22         ascertained 136:14       92:3 102:11 104:22      116:3 117:15 119:14,
afternoon 131:12,13                                                      118:10 120:23           15 120:6 121:12
 155:16 159:12 206:8,   appears 47:16 60:13     asks 72:23               121:19,22,24 122:7,
                         77:25 103:4 107:21                                                      122:13 123:15
 17 221:4                                                                24 124:7,10 141:4       126:13,23 127:7,17,


                                 TSG Reporting - Worldwide· · 877-702-9580

                                                 Pa.App.0865
               Case:
              Case   23-3166 Document:
                   1:22-cv-00339-SPB    146 Page:
                                     Document     870 05/05/23
                                              301 Filed Date Filed:
                                                                Page01/10/2024
                                                                      361 of 378

                                                                                       Index: balloting..canvass
 21,24 128:3,6,8,11,      97:5,14,20 98:8        Baxenberg 13:7,11,        19 127:4,14 128:16     Bukowski 15:10,11,
 18 131:15,16 132:17,     100:22 101:12 103:2,    12 14:13 47:7 155:7,     129:2 135:8,22 138:5    18 212:12 213:21
 22,23 133:7,13,17        3,20 104:2,4 106:18,    9,15,17 159:10           168:8,14 169:4          214:3,4 215:17,18
 134:7 135:11,18          19 109:16 110:5,6                                173:25 177:12           220:13,14,24 221:2,4
                                                 bear 99:3 102:14
 137:24 138:4 140:13      111:5,15 112:17,19,                              179:14 183:18,25        222:17
 141:12,21 142:6          20 113:4,5 114:5       bearing 55:18 102:3       200:10,19 201:7,22
                                                                                                  bullet 108:22 111:11
 143:3,9,10,15,24         115:19,23 116:6,9,      103:3 222:4              202:14,17,24 203:3,
                                                                                                   116:13 117:3 119:9
 144:24 145:3,5,9,25      15,23,24 117:19                                  10,15,17 205:8
 146:21 148:7,16,22       118:3,6 120:9,12
                                                 began 92:23               209:14,24 210:8,24
                                                                                                   173:3 174:20 175:9,
                                                                                                   13,24 176:24 179:6
 149:3,18 150:25          121:21 122:2,14        begin 67:13 72:10         213:10 217:3,10
 151:10,13 152:4,18,      123:8,10 124:9,12,18                             221:5                  bureau 20:21 21:5,
 19 153:5,17 154:10       126:20 128:15          beginning 176:10                                  13 24:5 32:20,21
                                                                          Board's 44:4 171:3
 155:25 156:3,6,12,       129:14 132:10,14       begins 108:23                                     209:7,9
 15,20 157:12,14,18,      140:16 141:13 142:6                             Boards 77:23 85:25
 19,22,24 158:2,8,15      149:14 153:13          behalf 15:5,11 192:4                             busy 70:2
                                                                           164:24 166:4,24
 159:22,25 160:8,9,       154:15,25 155:2,24      193:10 203:24 217:9      171:9,10 172:25        button 198:2 212:22
 16,18,22 161:8,9,10,     157:3,8,15,21 158:20   behavior 88:8             173:14 174:21 179:7     213:2,5,12,18
 16,18 164:11,15,17       159:18,25 161:7                                  183:20 189:11
 165:8,16,24 167:21       163:22 164:3,18        belief 112:24
 169:4 170:11 172:15      165:10,14 166:2,25
                                                                          bolded 145:13                     C
                                                 believed 106:21
 174:16 177:11,13,14,     168:9,16 169:13                                 book 211:18 212:17
 16,20 178:4,13           170:6,7,24 171:3,22    beneficial 32:5                                  call 45:18 53:7
 179:2,3 194:7,9,17,      173:4,8 174:3,10,22,                            bottom 48:18 49:13
                                                 Berks 15:11,16 19:17      55:22,24 57:7,18       called 12:3 38:14
 19,23 195:8,9,16,17,     24 175:6,11,14,16       142:7,12,21 144:12,                              180:10 190:11
 18,19,22 196:3,24        176:12,14,23 177:8                               98:25 144:11,17
                                                  17 146:25 147:3          145:20 150:12
 197:6 198:2,13,25        178:15,16 179:9,10,     152:6 221:5,8                                   calls 100:20
 200:15,20 201:2,8,       19 180:15 182:19                                 186:23
                                                 big 99:15 179:19                                 camera 220:19
 15,22 202:2 203:8        183:5,12,13 184:8                               bounds 213:24
 204:13,22 209:6,8,       186:9 189:5 196:16     biggest 115:18,23                                campaign 22:16
 16,19 210:7,13,14,24     197:9 199:3,12,21                               box 64:12 120:13         23:3 70:24
                                                  132:2                    187:10
 211:4 212:21 213:5,      200:11 219:7,8,10,
                                                 bin 209:10                                       campaigns 43:13
 12,14,20 214:18,23       13,22                                           boxes 58:17 64:13
 215:13 216:16                                   binding 34:15                                    cancel 74:15 175:17
                         barcode 69:7,8,10                                Boyer 60:18 61:2
 221:19 222:3
                          83:2 216:22            birthday 96:9,13          155:8 159:12,15        canceled 66:18
balloting 37:8 49:2                                                        161:21 206:16           71:24 72:3 73:9,16,
                         barring 129:8           bit 19:4 24:7 27:20
 90:15 143:8,10                                                            208:24 217:18           19 74:3 76:18 83:11,
 151:23 153:25           based 29:10 37:16        36:8 37:11 40:22         220:20                  13
 178:25                   83:20 84:14,15 85:19    44:21 74:25 85:4
                                                  99:10 124:23 138:20     Boyer's 216:12          cancellation 72:25
                          89:10 90:4,8 91:22
ballots 18:8,10 19:14                             149:13 167:8 171:14                              73:25 74:10 75:10
                          94:11 95:13,16 97:15                            brand 108:13
 27:7 30:5 31:3 35:2,                             187:18 209:3                                     118:12
                          106:16 109:18 110:2
 17,23 36:14 37:3,5                                                       break 17:9,14,18
                          111:24 114:5 118:21    blast 99:13                                      cancels 71:15 81:5
 38:6,15 40:25 41:6                                                        79:20,21 130:14
                          119:5 133:18 163:4
 47:23 54:12,13 57:2
                                                 blind 99:14,18            205:20                 candidate 70:23
                          174:16 204:22
 58:2 60:2 63:23
 65:17,22,25 66:4,12
                          216:12 220:15
                                                 blow 187:17              breakdown 183:13        candidates 28:15
                                                                           187:4                   173:19 174:4
 67:6,10,12,14 68:25     basically 22:24         blue 98:24
 69:4,5,12 70:13 72:9,    47:20 56:3,11 103:25                            breaking 195:23         canvas 74:5 84:7
 11 75:21 78:6 80:20      107:24 108:7 112:16    Board 14:24 15:12                                 109:7 111:10,14
 81:21 82:22 84:19,25     115:3 139:24 163:15     27:22 28:17 30:9        briefly 19:23 138:17     163:16
 85:7 86:25 87:15         183:15                  34:16 39:8 44:3 49:5    brilliant 135:2
 88:13,21 89:6,20                                 53:10 55:20 63:20                               canvass 93:4
 91:18 92:9,12,23
                         basis 89:6 92:2 101:7                            broader 99:10            161:15,17 164:2
                                                  64:10,15,18,19 66:16
                          204:21 206:9 214:12                                                      169:6 170:13 171:22
 93:5,14,16,20 94:10,                             67:2,24 68:15 70:25     broke 134:23
                          215:23                                                                   172:23,24 173:11
 14,23 95:2,6,12,13,                              72:4 76:6,7,15 77:5,7
 18 96:18,20,24,25                                85:22 119:22 123:14,    bucket 74:19             179:3 207:14,23



                                TSG Reporting - Worldwide· · 877-702-9580

                                                  Pa.App.0866
                Case:
               Case   23-3166 Document:
                    1:22-cv-00339-SPB    146 Page:
                                      Document     871 05/05/23
                                               301 Filed Date Filed:
                                                                 Page01/10/2024
                                                                       362 of 378

                                                                                       Index: canvassed..contrary
canvassed 65:3           109:15 111:2,22         claims 26:22            committee 190:12       Conference 11:5
 164:4                   115:18,23 124:14
                                                 clarification 101:6     Commonwealth           confidential 60:21
canvassing 72:11        changed 34:11             185:11                  19:13 20:9 24:22
                                                                                                confidentiality
 78:21 168:11 207:10     56:17 57:24 82:15                                28:4,10 29:13 32:24
                                                 clarify 56:23 82:24                             142:11
                         87:10 106:12,15                                  33:19 102:8 185:18
career 23:4,11                                    183:19 221:17
                         110:3                                                                  confirm 162:10
                                                                         communication
carry 102:16                                     clear 74:13 89:14                               169:19 202:14 207:8
                        Chapman 11:7 12:18                                85:25
                                                  178:17 185:24
case 10:20 11:9 13:6     17:24 19:16 60:4                                                       confirmed 220:3
                                                  198:19                 communications
 18:12 19:9,11,15        106:25 112:8,12
                                                                          86:8 159:7            conform 43:15
 25:14 29:24 82:10       125:18,25 129:17        closely 216:23
 93:4 98:24 103:13       174:17 221:8                                    compare 45:3 57:4      conformed 94:9
                                                 closer 77:13
 112:7 125:18 133:19
                        chapter 153:22                                   comparing 45:7         confused 210:20
 134:5 146:22 147:23,
                         154:6
                                                 cloud 35:10 36:4
 24 151:5 163:8                                                          competing 35:15        confusing 210:19
 171:18,20 172:25       characterization         code 23:24 24:10,14
 176:6,7 180:10          216:5
                                                  28:12 29:11,23 30:7,   complaint 19:19        connection 162:11
                                                  21,25 31:15 33:22,24
 188:22 202:11                                                           complete 17:17 53:5    consistent 32:15
                        characterize 23:11        40:19 74:15 83:18
                                                                          62:24 156:6 165:7      168:20
cases 12:25 13:4,19      35:6,8,9 36:3 216:6      98:3 117:6 118:12
                                                                          193:4,9 211:6
 19:3 31:16,25 33:13,                             141:9 162:17 163:5,8                          consistently 21:21
                        chat 14:7 25:6,17
 14 34:22 62:12 67:13                             164:25 166:9,20        completed 52:21         82:21
                         46:23 47:6 59:22
 77:17 86:4 191:17                                168:21 169:20 171:2,    57:10 122:11,15
                         138:22 181:22                                                          consolidated 13:4
                                                  6,12 174:11 175:16,     149:2 156:20 157:4
cast 39:4 195:7,8,19
                        check 165:15 191:13       19 179:22,24 185:14     210:13                consult 190:12
 197:9,15,21 198:2,9
                                                  197:19 198:10 199:4,
 208:10,16 210:14,24    checks 44:8                                      completeness           consultation 24:8
                                                  19 207:4,7,14,18
                                                                          111:7                  31:25 32:2 130:11
casts 194:6,16          chief 20:22,24 32:20,     208:5 209:13 217:20
 195:16                                           218:21 219:15 220:4                            189:15
                         22 114:23                                       completes 64:5
category 123:21,23      chooses 210:7            Code's 199:9            completing 57:15       consulted 24:21
 183:14                                                                                          190:22
                                                                          211:3
                        Circuit 103:15 105:2     codes 72:22 73:3,9,
caught 189:21 190:9                               13 75:11,13                                   contact 50:16 121:17
                                                                         complex 212:20
                        Circuit's 106:7,9                                                        216:20
caution 159:5            112:2                   coding 65:16 117:17     compliant 83:23
                                                                                                contacts 99:20
caveats 141:15,16       circulate 142:4          collect 182:17 183:8    complied 117:23         183:24
                                                  187:5 194:3,5           119:22
central 122:12          circulated 59:22                                                        contained 51:23
                         144:22                  collecting 191:7        complies 169:19         53:12 147:5,20
century 38:9
                                                 collection 185:13                               165:24 195:21 196:2
                        circumstance 69:22                               comply 59:2,6
certainty 63:11
                         133:24,25                                        118:23 120:2,5        container 166:25
 190:6                                           colloquially 40:14
                        circumstances                                    complying 29:21        content 192:6
certification 22:15                              color 48:8 59:10
                         187:3 202:11                                     59:15
                                                  65:16                                         contents 49:8
certifications 22:15
                        citizen 102:7 136:24                             component 202:20        216:23 217:16
 23:2                                            colors 48:10
                         137:8
certifying 28:14,15                              combination 87:4        computing 219:9        context 36:8 96:6
                        citizens 30:3 139:25                                                     177:6,24 198:21
cetera 209:21                                    command 190:24          concept 131:15,20
                        citizenship 137:3                                                       continue 79:19
chain 190:24                                     commingle 164:15        conclude 206:8
                                                                                                 130:5 158:19 182:22
                        civil 10:18 23:4,6,18,
challenge 132:3          20                      commissioner 21:4,      Concluded 223:5
                                                                                                CONTINUED 131:10
 165:13,17                                        25 22:3,7,9,12         concurrent 13:22
                        civilian 30:3 36:19                                                     continuing 100:21
change 22:6,17 70:3      37:9 141:3 172:15       Commissions 20:2        concurring 93:18        195:4
 82:4 92:23 103:18,21                             21:5 24:5 27:2          97:16
                        civilians 37:2                                                          contrary 97:9
 105:22 106:11,14



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                  Pa.App.0867
                Case:
               Case   23-3166 Document:
                    1:22-cv-00339-SPB    146 Page:
                                      Document     872 05/05/23
                                               301 Filed Date Filed:
                                                                 Page01/10/2024
                                                                       363 of 378

                                                                                         Index: contrast..database
contrast 164:2            137:5,16,17,21,25        66:14 74:22 79:4,13      216:20                   5,17,18,24 108:2
                          138:2,7,8,10,12,15,      88:23,25 93:15,16,                                111:25 112:7,16,22,
contributed 87:11                                                          Counties' 28:20 62:3
                          16 139:10 142:2          20,22 94:14,19 95:19                              25 113:16 114:7
                                                                            119:21
controversies 88:11       145:4 149:11,22          96:18,24 97:5,21                                  125:24 129:9 132:7,
                          152:25 153:2 154:18,     101:13,14 103:2,4       counting 78:22            25 133:6,16 159:4
controversy 89:13         22 155:3 156:9,10,       104:4,13 112:18          91:17 92:2,5 219:9       171:7 189:18 191:2
 91:23 92:15
                          16,19 157:6,7,16,17,     113:6 115:20,24          221:18                   200:2 223:7
conversely 85:5           22,23 158:16 160:11      116:4,10 124:8,11
                                                                           County 14:23 15:11       Court's 94:4 108:10
                          161:13,20 162:18         126:21,24 128:11
convert 187:11                                                              19:17 27:22 28:17        133:18 134:6 158:10,
                          163:6,11,12 166:17,      133:7,17 134:7,14
                                                                            29:21 30:9 34:15         11 174:17 180:9
conveying 100:8           18,21,22 167:2,3,23      145:9 153:17 156:17
                                                                            42:20,24 43:2,25         186:3,7
                          168:2,3,11,12,17,19,     158:3 164:12 168:10,
copy 25:21 77:11                                                            44:3,4,6,12,15 45:2,
                          22 169:7,10 172:3,4,     16 169:5 194:9,20                                courtroom 10:17
 99:14,18 144:6,15                                                          9,12 49:5,7,15 50:9,
                          11 173:11,12,16,18,      198:25 201:17 213:6,
 152:19 181:7 182:9,      22,24 174:18 175:19      7 222:9
                                                                            25 53:6,10 55:20        courts 35:16
 12 183:16 196:14                                                           58:22 60:3 61:16
                          176:21 180:16                                                             cover 108:11 113:25
 218:5                                            counter 120:7             62:16 64:12,15,17
                          181:17,18 185:3
                          186:4 194:10,20,21      Counties 28:15,24
                                                                            65:15,20 67:2,24        covered 36:23
Corporation 21:13                                                           69:3,9,22,24 70:16,
                          197:10,12 199:11,21,                                                       139:17 141:4 146:10
                                                   29:20 31:19 32:2,3,7,
correct 12:20,21                                                            18,25 71:8,15,20         148:10 151:22 154:7
                          24 200:3,7 202:15,16     9,13 34:18 37:7
 15:17 16:25 18:22                                                          72:4,14 76:6 77:5,10,
                          204:23,24 205:13         39:21,25 44:19 45:13                             covers 153:24
 19:18 21:20 25:10                                                          23 78:14 80:16,17
                          208:6,7,22,23            46:12 47:19,22 48:25                              178:25
 26:12 27:18,25 28:2,                                                       81:5,8,10 82:18
                          209:10,12,17,18,21,      49:19,20 50:4,5,9,12,
 4,5 33:25 34:2 38:11,                                                      84:14,16 91:21 96:5     COVID 87:4
                          22 210:5,9,16            19 51:2,7,15 52:10,
 15,16,21,22 40:6,7,                                                        103:14 109:6 112:18
                          211:11,12,15,16,18,      12,14 58:5,11,16                                 create 181:2 189:10
 10,16,17,21 42:3                                                           117:25 119:20 123:6,
                          19 212:4,7,8 213:2,6,    59:2,6,9,12 61:7,25                               190:15
 43:22 46:15,16 49:10                                                       19 126:12 127:3,9,14
                          20 214:20,21,24,25       65:9,11,12,13 67:11,
 53:11,20 54:14,15                                                          128:8,10 129:2          credentials 192:19
                          215:4,5,8,16 217:6       13 68:22,24 69:5,13,
 55:11,12,15,16,20,21                                                       135:14,22 138:4          193:4
                          219:23 220:2,6           20 70:6,11 72:23
 57:20,21 58:9,10                                                           141:22 142:7,12,22
                          222:16                   74:5 78:5,9 80:9,12,                             criminal 149:9
 60:24 61:2,8,9 62:24,                                                      143:21 147:7,25
                                                   19 82:20 84:11,18,
 25 63:20 66:23,24       corrected 161:4                                    148:5 149:3 151:16,     criteria 137:16
                                                   23,24 85:3,6,11,14
 67:4 68:17,18 70:7                                                         17,21 152:2,6,17
                         corrections 22:2,3,4      86:5,9,10,15 88:25                               critical 66:20
 72:7,8 74:23 76:13,                                                        161:5,10 163:25
                                                   89:2,6,14 90:5,10,11,
 14,20,21 77:2,3         correctly 25:18                                    164:24 168:8 169:23     culmination 18:5
                                                   25 91:16,25 92:4,18
 78:23,24 83:16,17,24     27:13 50:22 100:5                                 171:3 172:25 173:14,
                                                   94:23 95:5,12 96:22,                             cure 119:12 120:8,
 85:9 87:15,16,19         109:8 117:18 122:10,                              25 174:8,21 177:13
                                                   23 97:8 98:20 99:13,                              11,20,25 121:6
 90:18 92:25 93:2,8       14 126:15 145:11                                  179:7,18 180:2,3
                                                   21,23,24 100:21,24                                194:23 195:2
 94:7,11 96:16 99:25      147:18 204:16                                     181:9 183:23 187:22,
                                                   111:4 114:4 115:3
 100:6 101:10,11                                                            25 188:6 193:8,9        cured 161:9
                         counsel 11:15 13:5        116:5,14,22 117:4,
 102:15 105:9,10                                                            195:2 198:13 200:10,
                          14:3,6,11 19:5 24:9      17,23 118:5,10,16,                               current 22:20 51:13,
 107:2,17 108:18,19,                                                        15,19 201:7,22
                          25:7 32:11 33:18         18,19,22 119:25                                   22,24 52:7 56:15,20
 25 109:12,13,17,18,                                                        209:24 215:11 217:3
                          114:24 130:11 159:2      120:4,19,23 121:5,9,                              69:19 96:10 100:24
 23,24 110:6,8,11,16,                                                       221:5,8
                          161:24 189:15            12,15,19,23 122:17,                               129:6,12,17 166:13
 17,21,23 111:5,6,16,     190:13,14 206:20         20,25 123:7,12,20,22    County's 170:23
 17,20,21 114:9,10                                                                                   171:24,25 197:23
                                                   124:5,7,10,16 129:11     193:10
 115:6,12 116:11,16,     Counsel's 32:22           130:4 132:13 139:16                              cut 162:11
 18 117:7,8 120:15,                                141:4 143:14 154:14
                                                                           couple 74:8 80:9
                         count 35:23 78:23
 21,22 122:22 124:19,                                                       82:21 117:11 156:13
                          88:12 94:9,10 96:22      155:12 158:14,18,19                                        D
 21 126:4,6,21 127:2,                                                       184:4
                          97:9 100:22 109:23       160:15 164:9 170:6
 17,18,22 128:5,20,                                172:2 175:5,18
                          110:4 111:4,15 116:6                             court 11:8,17 16:5
 21,23,24 132:11,14,                               176:11,14,18,21                                  data 88:6 117:18
                          124:17 132:11 153:5                               18:6 19:13 34:4,10
 15,25 133:8,14                                    177:7 184:7,10,24                                 119:7 185:13 187:5
                          154:15 213:20                                     79:7 92:24 93:12,24
 134:15 135:12,13,20,                              185:16,20 186:8                                   189:20 191:3,7
                          214:20,24 222:3                                   94:20,25 95:9 98:4
 21,25 136:2,7,8,9,12,                             188:13 192:12,15         103:15,23,25 104:16,    database 21:3 45:19
 15,16,19,20,25          counted 18:11 35:18       193:14,24 194:4,5        21 105:4,21 106:2,3,     46:4 68:20



                                TSG Reporting - Worldwide· · 877-702-9580

                                                   Pa.App.0868
              Case:
             Case   23-3166 Document:
                  1:22-cv-00339-SPB    146 Page:
                                    Document     873 05/05/23
                                             301 Filed Date Filed:
                                                               Page01/10/2024
                                                                     364 of 378

                                                                                           Index: date..determined
date 13:16 18:13 26:5    180:14 182:19          decisions 34:4            21 161:3                185:12 189:14
 27:6 40:15 47:11        183:13 189:5 194:7      35:15                                            190:14 194:8,22,25
                                                                         deficient 77:7 82:7
 56:16,19,21,24 57:23    202:4 204:16 213:8                                                       195:15 197:14 204:7
                                                declaration 50:24         84:19 85:7
 59:18 60:15,17 61:23    215:14
                                                 52:19,24 53:7,15,16                             departments 188:13
 63:14 65:6,12 66:20                                                     define 207:19 208:10
                        dates 126:16 129:4       55:19,25 56:5 57:7,9,
 68:4 69:19 70:15,16,                                                                            depend 132:16
 17 73:22 74:16,17
                         132:14,24               11,25 58:9,21,23        defined 197:19 198:9
                                                                                                  184:21 201:23
                                                 59:4 60:7,11 61:8,11     217:20
 75:5,6,9 79:15 86:20   dating 48:13 53:17
 87:20,21,25 88:5,13,
                                                 62:14 64:9 65:7 68:6,                           depending 50:8 84:8
                         92:9,11
                                                 11 71:20 72:5,16,19
                                                                         defines 207:4,15
                                                                                                  184:11
 22 89:25 90:20,24
 91:11,12 96:4,5,10,
                        Dauphin 59:16 60:3       73:20 79:2,11 82:7      definition 98:3 130:8
                                                 83:3,21,22 88:2
                                                                                                 depends 81:17
                         63:12                                            131:25 207:6,17
 14 98:13 100:4,23
                                                 96:12 100:4 104:10       208:18 215:19          deployed 75:15
 101:8,13,18,24         day 37:20 41:10          117:4,20 122:2,11        218:20 219:15,19,20
 102:2,3,12 103:3        42:13 65:2 66:3,6,23                                                    deposed 12:19
                                                 126:17 127:5 128:7,
 104:8,10 107:8,19       67:11,17 68:14 72:13                            delineate 75:11
                                                 19 134:10 135:11                                deposition 10:7,9
 109:4 113:12 116:3,     77:14,17 78:21 84:8
                                                 136:4 137:14 138:7      deliver 44:12 143:15     11:4,11 13:16,17
 24 117:5 125:9          95:4 126:5 141:15,
                                                 141:20 143:21                                    17:11 18:25 54:11
 126:17,22 127:4,6,      22,23,25 148:23                                 delivered 120:13
                                                 145:15 146:6 147:4,                              113:21 131:14
 15,16,20,23 128:3,5,    149:18,21 151:10                                 127:13 143:11
                                                 13,19 148:16,17                                  140:17 152:6 223:4
 6,9,17 129:20,25        156:12 161:5 163:20,
                                                 149:6,12 150:24         delivering 39:7
 131:16,21 132:2,9       21,24 165:14 166:21,                                                    depositions 13:21
                                                 151:9,13,18 153:16
 133:4,6,10,21 134:9,    24 170:18 189:24                                delivery 148:9
                                                 154:16 160:7,25                                 deputate 22:25
 12,13,20 135:7,9,10,    201:13,16 220:6,10
                                                 165:6 166:6,10 173:4    demand 92:21             24:25
 16,23 136:4,21          223:22
                                                 194:18 195:21 196:2
 137:13 138:13 139:4                                                     denied 105:21           Deputy 19:25 20:7
                        day's 156:15             198:18 199:6,23
 142:14 145:15 150:2,                                                                             22:19 26:25 33:5
                                                 200:9,19,24 201:6,      denote 83:19
 3,8 152:22,24 153:4,   days 102:8 108:12                                                         162:4 221:3
                                                 12,20 202:15,18,19
 14,16 154:16 156:14,    137:9,20 141:15                                 department 20:3,11,
                                                 204:8 211:6 217:16                              description 72:2
 15 158:5,15,16,22       148:23 156:21                                    20 21:11 22:18 23:9
 159:22 160:17                                  declarations 61:17        24:17 27:16,21,25      destroy 111:19
 166:15 167:15          deadline 42:6,11         62:9,17
                         65:18,19,24 66:3                                 28:7,17 29:19 30:13
 180:21 182:4 186:15                                                                             detail 76:2
                         67:11 84:20 85:8       declaring 56:5            32:4,17 34:4 35:19
 194:17 195:10                                                            41:5 43:8,24 48:2      detailed 74:25 75:24
 196:11 198:17 199:5,    95:7 122:21 123:16
                                                decline 77:8              50:11 51:25 56:17       114:3
 22 200:9,14,18,24       128:2 135:19 155:23
                         156:8,17 157:25        declined 75:3 81:13,      60:15 72:23 75:17
 201:6,12,15,20 202:6                                                                            details 75:23 139:23
                         158:2                   16 82:13                 85:21 86:13 89:17
 204:9 209:15,16                                                          92:8 94:8 96:21        determination
 211:7,10 214:23        deadlines 141:10        deep 20:13                97:12 100:9,10,13       81:15 82:2,6 84:5
 217:5,11 218:4                                                           102:23 105:22           169:3 177:5,24
 221:20                 deal 196:18             defaults 69:18
                                                                          106:11 107:22           178:5,20 203:3
date-stamp 116:17       dealing 196:15          defect 72:15 76:8         108:17 109:15 110:3,    205:10
 217:12                                          122:2                    20 115:4 117:9
                        dealt 24:7 171:14                                                        determinations
                                                defective 77:25 78:6      124:14 128:25
dated 18:8 19:14        decided 58:16 93:25                                                       84:6,12
                                                 123:11,15                129:19,23 131:22
 27:11 35:17 73:15       97:9 106:6 190:5                                 153:15 154:23          determine 42:25
 75:12,21 89:7,19                               defects 122:18            162:14 163:4,9          62:16 65:9,16 74:6
 95:14,22 96:3,20,24    decision 34:10 92:24     171:11                   177:25 178:23           101:19 135:24 149:2
 97:21,22,25 98:7        93:13 94:4,6,11
                                                                          185:15,17 186:25        158:15 164:11
 106:19,22 109:4         102:19 103:16 105:2    defendant 15:6 26:3,
                                                                          189:13 190:5 193:6,     174:23 175:11 184:2,
 110:5 112:17 113:4      106:24 108:3,10         11 155:12
                                                                          11,25 195:6 204:22      5,9 193:12 195:17
 114:5 115:19,23         109:19 112:2,6 114:6
                                                defendants 162:6                                  202:18 203:12 205:8,
 116:9 124:8,11,17       115:5 116:8 130:10                              Department's 34:19
                         158:11,12 159:9        defendants' 161:23                                12
 126:14 129:14 156:3                                                      74:24 97:8 101:15,23
 157:25 160:4 166:7      179:15 180:9,12                                  110:2 111:22 114:23    determined 95:2
                                                defenses 26:23
 167:25 173:8 174:15,    186:3,7 189:10,16                                115:8 116:2,7 153:3     96:5 103:25 104:16
 24 175:12,16 179:8      222:2                  deficiencies 160:17,      162:16 176:13           171:8 175:15 177:3



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                 Pa.App.0869
                 Case:
                Case   23-3166 Document:
                     1:22-cv-00339-SPB    146 Page:
                                       Document     874 05/05/23
                                                301 Filed Date Filed:
                                                                  Page01/10/2024
                                                                        365 of 378

                                                                                           Index: determines..end
determines 32:4         discussing 27:20        drafting 114:24           50:25 52:17 53:6         210:8,12,24 211:4,25
 83:15 202:4             51:4 171:23                                      56:6,13 57:3 60:12       213:10 215:11 221:6
                                                drafts 33:14,15
                                                                          63:12 65:2 66:3,6,22     222:12
determining 18:14       discussion 25:23
                                                dramatically 86:24        67:11,17 68:14,16
 104:17 116:23           49:18 88:11 125:5                                                        Elections' 85:22
                                                                          72:13 74:14 77:14,17
 126:13 128:10           130:21 160:14          driver's 41:20 45:17,     78:21 81:11 82:8        elector 222:11
 158:21 170:10 205:6     167:18 181:24           19
                                                                          84:8 86:3,16 90:12
                                                                                                  elector's 150:23
developed 31:23,24      discussions 90:9        drop 64:12,13 68:15       93:6,21 94:14,15
 47:25                                           120:13                   95:3,20 96:7 97:4,19    electoral 34:11
                        disenfranchised                                   98:2,5 99:20 102:9,
developing 32:12,18      211:21,22 215:7        dropped 120:12            17,21,25 105:13         Electors 21:2 44:25
                                                 127:14                   106:16 108:4 110:11
development             disenfranchisemen                                                         electronic 28:23
 114:14                 t 215:15,20 216:7       duly 12:3                 111:24 124:9,18          31:8 43:10 148:9
                         221:15                                           126:5 127:9,14           152:15 197:24
difference 29:7,9                               dynamics 87:10            128:2,23 129:16,21,
 37:13,15 39:9,16       disentangle 113:17                                24 135:19 136:5,22      electronically
 62:19 141:6 150:18      125:16                                           137:9,10 141:9,15,       143:11,15 146:10
                                                            E
 163:17                                                                   23,25 148:23 149:4,      151:24
                        disposition 71:11,
differently 50:5,8       13,21 72:21 82:4,19                              19,21 151:11 157:9,     elements 48:23
                                                Eakin 13:6,13 155:18
 148:2                   83:10                                            11,13,15 161:5           49:24 54:7 55:7
                                                 191:10
                                                                          162:17 163:5,7,20,       57:25 70:19
digits 41:21 85:19      disqualification        earlier 37:9 53:4 64:4    21,24 164:4,25
 119:5 124:2             222:13                  70:10 105:17 112:8       165:14 166:8,20,21,     Elias 13:13
direct 46:20 59:20      disseminate 189:11       120:16 127:20            23 168:21 169:20        eligibility 44:20 49:7
 197:24 218:17                                   130:19 132:7 134:22      170:18 171:2,5,12        101:19 104:12,17
                        dissenting 93:18         158:13 162:12            174:11 179:22,24         136:10 137:16
directing 27:5 95:12     97:17                   163:19 171:23            181:9 183:23 184:14
 96:22 113:8 116:14                              172:10 180:4,7           185:4,9,14 187:22       eligible 46:15 56:9
                        distinction 31:22
                                                 191:25 198:15            188:6 189:24 192:3,4     137:23 140:9 215:3
directive 29:10 30:8,    38:5
 22 31:6,20 34:15                                201:25 202:13            197:9,19 198:10,14      else's 214:10
                        distributed 157:16,                               199:4,9,19 201:13,16
directives 28:23         21                     earliest 72:12 132:23                             email 14:7 71:6,8
                                                                          202:2,3,5,23 204:14
 29:4,14 30:12,14,17                            early 18:22 91:3          207:4,7,14,17 208:5      73:18 76:11,16,22,
                        district 11:8 41:17
                                                 97:12 104:19 131:14      209:13 217:20            24,25 81:2 98:12,19
directly 20:8 33:23      137:19
                                                 162:25                   218:21 219:15 220:4,     99:2,13,15,19 100:3,
 64:15 98:7 121:16
                        Division 20:22,25                                 5,10 222:11              7,17 117:13 180:19
 178:8                                          easier 181:2                                       181:8,10 182:11
director 32:20,21       document 25:4 26:9                               elections 14:24           183:19 192:2,25
                         47:5,15 51:11 108:11   easily 96:2
 99:20 152:6 181:16                                                       15:12 20:2,22,23         193:7
 183:24 187:25 188:6     110:18 139:13 168:5    Eastern 11:13             21:5,19,22 22:7,13,
                         172:20 174:20 182:2                              14,25 24:5,15,23        emailed 25:9 138:20
Directors 187:23         186:13 196:9 198:4     edit 69:21                27:2,22,23 28:8,13,     emails 99:9
 192:3,5                 218:2,11               effect 79:7 90:13         18 30:10,18 32:22
                                                 221:21                   34:12,16 35:25 39:8     embedded 187:14
directs 154:9 174:21    documents 51:6
 179:7                                                                    44:3 48:6 49:6 53:10    emergency 42:10
                         142:21 160:10          effective 38:25           55:20 63:20 64:11,
disability 37:21 40:4   domestic 146:3,20       effectively 39:2          16,18 66:16 67:2,25     empirical 88:6 119:6
 57:12                   148:18 149:14                                    68:15 71:2 72:4 76:6,
                                                effort 215:10                                     employee 23:19
disclosure 22:16                                                          15 77:5,23 86:2
                        DOS 47:9 100:3                                                             210:12 211:5,8
 23:3                                           efforts 195:5             112:15 119:22
                         107:6 139:2 167:14
                                                                          123:14,19 127:4,12      enable 213:19
disclosures 26:3,10     double 85:19 119:4      election 20:18 23:24      128:16 129:3,12
                                                 24:10,14 27:9 28:12,                             enclose 39:24 50:23
                         124:2 210:18                                     135:8,23 138:5
discoverable 26:21                               16,25 29:11,20,23        139:20 140:10 168:8,    enclosing 27:6
discussed 127:20        double-check 52:3        30:7,21,25 31:15         14 173:2 177:12
 134:21 180:3                                    33:22,24 37:20 39:3                              end 122:16 144:14,15
                        download 181:3                                    181:8,15,16 183:20
                                                 41:10 42:13 44:15                                 192:11
                                                                          187:25 209:7,9,14,25


                                 TSG Reporting - Worldwide· · 877-702-9580

                                                 Pa.App.0870
               Case:
              Case   23-3166 Document:
                   1:22-cv-00339-SPB    146 Page:
                                     Document     875 05/05/23
                                              301 Filed Date Filed:
                                                                Page01/10/2024
                                                                      366 of 378

                                                                                           Index: endeavor..finding
endeavor 84:18            217:4,11,17 219:8      excuse 22:15 32:21      expert 192:22            familiar 17:23 23:23
                                                  38:7 46:6 54:12 65:4                             35:3 142:25 170:25
engagement 125:2         envelopes 13:3 31:2                             explain 44:21 53:4
                                                                                                   171:16 180:8 181:10
                          44:13 47:21 57:19      executive 20:7           188:15
ensure 29:21 32:13                                                                                 186:19 195:20,25
                          59:4,17 63:16 64:20     189:14 190:12,16,18,
 59:13 175:18 215:13                                                     explicit 29:17 153:20
                          66:15 69:14 95:22,23    19                                              familiarity 61:24
                                                                          174:10
enter 68:22 70:3          100:4 117:5 160:2
                                                 exempt 141:7                                     fantastic 16:5
 80:13,22 82:25 84:11     164:16,17,22 165:22                            explicitly 29:12
 122:25                   167:22 169:12 174:2,   exhibit 25:22 26:2,8     166:9 171:6 199:4       fashion 120:14
                          16,23 219:6,21          46:21 47:9,14 48:5,
entered 21:7 76:16                                                       extension 94:22          fast 53:23
                                                  17,20 51:4,23 53:21
                         equipment 63:22
entering 80:9                                     54:6 55:22 57:17       extent 53:25 117:12      February 11:12
                         erred 89:16              59:16,21 60:10 62:8,    133:20 134:11            22:21
enterprise 23:8                                   20,21 63:3,7 98:10,     169:22
                         error 104:2,5 119:16,                                                    Federal 10:18 24:15
entitled 43:2 139:19                              11,16,23,25 101:3
                          19 176:20 177:15,19
                                                  107:6,11,12 108:21
                                                                         extremely 190:3           29:23 35:16 103:15,
entry 70:25 76:17        errors 154:10 169:2      110:19,25 111:8
                                                                                                   23,25 104:3,13
                                                                         eyes 131:19
 113:20 122:20                                                                                     112:22 139:3,8,18,20
                          172:3,5                 113:10,15,17,19,23
                                                                                                   140:3,7,11,25 153:23
envelope 27:6 39:25                               114:12 115:10
                         essentially 54:24        116:13 119:10 125:7,
                                                                                      F
 40:16 47:9,18 48:3,                                                                              feel 17:20
                          55:2 117:3 145:23
 11,22,25 49:8,15,21,                             12,15,19,21 138:20
                          183:16 189:17 191:4
                                                  139:2,7 142:4,12,17    face 160:22              fell 126:18,23
 24 50:3,6,8,24 51:3,
 15 52:6,11,15,16,20,    established 51:13,       143:6,20 144:5         facial 160:16,21         Fernicola 10:11 14:6
 23,24,25 53:8,12,13,     17                      145:7,20 149:24         161:2                    25:21
 15 54:7,8 55:14,18,                              150:12,21 152:21
                         establishing 137:15      153:8 154:12 167:6,    facially 83:20 84:19     fewer 87:17
 19 56:2 57:18 58:8,9,
 12 60:11 61:18          et al 11:6 221:8         10,11,13 172:8,9        123:15                  field 99:16
 62:11,12,15 63:19                                174:13 180:5,18,19
                         evaluated 137:4                                 fact 46:14 53:16         fields 58:17
 64:7,9 65:7 68:6 69:8                            181:20 182:2,9
                                                                          80:13 95:18 109:14
 71:19 72:6,16,19        eventually 106:5         186:12,13 196:8,9                               figured 180:25
                                                                          127:6,16 128:17,20
 73:21 74:4,7 79:2,3,                             207:25 217:22 218:2,
                         exact 75:9 118:17                                132:21 134:8 169:18     file 181:2
 12 82:3,7 83:3,21,22                             12
                                                                          189:19 204:15
 84:2,4 88:2 101:9,25    examination 131:10      exhibition 167:20        209:15                  filed 18:21 189:2
 102:13 104:11            169:9,18 170:15                                                          191:9,17
 108:24 109:3 117:21      175:2,10,24            exhibits 60:22          factor 62:18 138:3
 119:17 122:3,11                                  125:16 223:6                                    filing 125:18
                         examine 117:4                                   factors 132:17
 126:18 127:13 128:7                                                                              fill 50:22 55:13 68:10,
                          164:9,21 166:5,10      exist 98:2              facts 202:10
 135:12 136:5 137:14                                                                               13 199:5,22 212:20
 138:9 142:23 143:21      174:21 217:16          existed 97:24           failed 76:24 79:10       filled 68:5 96:14
 145:22,24 146:3,7,      examined 12:4           existence 38:9          failing 59:2,6 104:7      127:6,17 128:18
 15,19,21,24 147:2,6,
 7,11,12,15,16,19,21,    examining 164:24        expect 14:12 20:13                                133:12,22 135:10
                          174:2 176:14 203:4                             fails 194:17
 22 148:6 150:16,25                               88:3 96:23 112:23                               filling 128:13
 151:2 152:2,3 153:5      210:2 216:23            129:23 133:9 179:4     failure 104:10
 158:6,16 160:3,7,10,    examples 74:9                                                            fills 127:21,23 128:3,
                                                 expectation 31:19       fair 16:18 31:9 78:15,    6
 23,24,25 161:3,6,7,
                         exception 39:17          49:25 58:22 97:20       18 84:17 87:2 89:24
 12,19 164:10,11,14                                                                               finality 36:5
                          57:22 97:7 187:20                               90:3 93:23 94:3 99:2
 165:5,7,25 166:6,11                             expected 87:7            119:10 123:17 140:2
 169:2,10,19,24           188:3                   112:25 182:21 183:6                             finalize 33:20 213:12
                                                                          201:18 216:4,5 217:8
 170:10,15 173:5         exceptions 33:4          188:17                                          finalizing 198:12
 177:20 185:3,7                                                          fairly 191:18,19
 194:18 196:3,24         exchange 17:12          expecting 182:19                                 finance 22:16 23:3
                          159:16 201:25           188:23                 fall 20:5 92:25
 197:5 199:7 200:10,                                                                              find 77:16 107:14,18
                          206:22                                          123:21,23 140:7
 25 201:7,13,21                                  experience 20:18                                  122:13 165:23
 203:6,11 210:3          exclusively 31:7         24:3 183:2             falls 20:6
 216:17,19,22,24          170:21                                                                  finding 53:24



                                TSG Reporting - Worldwide· · 877-702-9580

                                                  Pa.App.0871
                 Case:
                Case   23-3166 Document:
                     1:22-cv-00339-SPB    146 Page:
                                       Document     876 05/05/23
                                                301 Filed Date Filed:
                                                                  Page01/10/2024
                                                                        367 of 378

                                                                                     Index: fine..identification
fine 41:6              forward 97:18            give 77:5 90:24          132:4 139:3,8,16       heads 35:11 36:4
                        106:10 124:15 193:7      119:18 154:6 202:5      154:13 158:14,21,24
finish 16:3                                                                                     hear 16:11
                                                                         162:14,21,23 163:2,
                       found 53:18              giving 78:5
finished 14:13,14                                                        4,10 167:14,20         heard 14:18 16:16
                       foundation 212:13        global 87:9              168:13 172:14 173:9,    189:7
firm 24:13 124:3
                        213:22                                           14 174:14,25 175:23
                                                good 10:2 12:12,13       176:9 178:2,7,9,12,
                                                                                                hearing 221:7
firmly 31:14 162:16
                       fourth 91:7 150:11        24:9 47:8 130:13
                                                                         14,23,24 179:5,7
                                                                                                 222:21
firms 14:8              179:6                    131:12,13 155:16
                                                                         213:9                  held 11:11 23:21
                                                 159:12 206:17 221:3,
Fitzpatrick 14:22,23   free 17:21 173:15                                Guide 47:10              24:13 25:23 93:14
                                                 9
 15:3                                                                                            104:9 112:16 125:5
                       fresh 183:2                                      guidelines 32:6
                                                government 23:7                                  130:21 167:18
five-minute 205:20
                       Friday 95:3 165:13        46:10
                                                                        guys 104:25 214:5
                                                                                                 181:24 200:2
fix 119:19                                      governor 23:17                                  helpful 50:10,13 96:9
                       friendly 17:11
flows 33:23                                                                                      194:5
                       front 48:24 59:23        grand 184:19                        H
focus 37:11 164:20      127:9 142:17 143:20                                                     hey 213:17
                                                granted 105:3
                        145:24 146:14 165:2                             habit 99:8
fold 64:6                                                                                       high 18:3 92:20
                        199:10 208:2            granularity 179:25
                                                                        half 73:24               196:5
folder 181:3           froze 134:25             graphic 48:19,21,24
                                                                        hand 29:18 37:25        high-level 83:6
folks 14:10 32:11      full 12:6 105:4 108:21   graphics 48:9,10,18      119:14 202:2           highlighted 92:11
 46:23 47:5 130:16
                       future 93:19 190:8       great 36:7              handed 210:12
follow 30:10,11                                                                                 historical 36:8
                        206:2
 31:20 32:7 34:19                               ground 12:23            handful 97:7 124:5      history 36:9 69:2
 50:2 60:14 80:8                                                         191:24
                                                group 13:13 141:7,                               86:20
 118:16 155:11                    G
                                                 14 147:9 154:7 164:3   handheld 216:20         hoc 194:3
follow-on 113:2                                  186:8
                       gathered 186:4                                   handing 120:6           holding 171:19
follow-up 98:20                                 groups 179:16
 209:3 216:12          gave 20:12 208:14                                handle 97:13 114:4      holds 137:18
                                                guess 35:8 40:13         129:3 216:19
font 59:9              general 38:13 72:2        44:20 85:15,16 151:6                           home 127:11
                        93:6,21 94:13 102:17     159:9 188:19 192:5     handled 86:15
forget 46:10 90:23      111:24 143:16 145:4                                                     honestly 17:5
 212:25                                         guessing 130:15         hands 67:2
                        163:3                                                                   hour 79:18
forgot 87:25 88:4                               guidance 27:8 28:24     handwrite 27:5
                       generally 34:18                                                          hours 70:21
 210:16                 49:24 62:4 71:11         29:6,18 30:2,4,6       handwritten 158:5
                        93:19 96:4 142:25        31:10,12,13,18,23,24                           houses 44:25
form 43:5,6,9,17                                 32:12,14,18,25 33:4,   handy 157:2
                        162:22 178:13 202:8
 47:21 50:2 77:4
                                                 12,17,23 34:7,9,14,
                                                                                                hypothetical 134:2
 87:14 127:5 140:20,                                                    hanging 35:11 36:2,      213:22
                       generate 77:11            19,20 82:20 89:18,22
 22,23,24 141:2                                                          4 105:17
                       generating 121:13         92:8,11,16 94:9                                hypothetically
formal 193:24                                    96:22 97:9,12,23       happen 207:19            134:4 156:12
                       genius 113:15             98:6 102:16,22
formally 115:8                                                          happened 134:3
                       Giancola 15:4,5           105:23 106:11,13,21     212:11
                                                 107:15,19,22,25
                                                                                                          I
format 57:23 58:13,     161:25 162:3,5
 14                                              108:6,8,11,13,16       happy 16:13 79:18
                        167:4,9,16 180:17,22
                        186:11 195:24 196:7,     109:10,15,23 110:4,     205:15 220:24          I.D. 30:6 43:21 141:8
formatting 58:20                                 9,13,15,19 111:3,23                             203:7
                        12 205:14,24 206:22                             hard 77:11 144:6,15
forms 31:2 43:14        207:24 216:11,14         113:11 114:2,3,8,14,    152:19 192:7           identical 163:16
 51:6                   217:21 218:10            25 115:9,16 116:2
                        220:11                   117:23 118:2,16,23     head 19:12 182:24       identification 26:4
formulating 33:12                                119:23 120:2,5          191:6                   44:8 45:15 47:10
 34:6                  Giancola's 214:10         124:13,16 126:12                                59:18 98:12 107:8
                                                                        heading 26:16
                                                 129:2,7,13,15,20,24                             113:12 125:9 139:4



                                TSG Reporting - Worldwide· · 877-702-9580

                                                 Pa.App.0872
                 Case:
                Case   23-3166 Document:
                     1:22-cv-00339-SPB    146 Page:
                                       Document     877 05/05/23
                                                301 Filed Date Filed:
                                                                  Page01/10/2024
                                                                        368 of 378

                                                                                   Index: identified..justices
 142:13 167:15         inclusive 73:12          26:21 27:3 42:15        intention 74:25          issued 30:6,12 34:10
 180:21 182:4 186:15                            43:20 50:10,13,14,       140:6 159:2              93:12,17 105:2
                       inconsistent 108:9
 196:11 218:4                                   15,16 51:23 58:19                                 107:15,19 108:17
                                                                        interaction 177:10
                       incorrect 74:16 75:5     75:24 76:4 80:10,23                               109:10 110:20 114:3
identified 27:15
                        87:21 88:22 91:12       86:5 100:19 121:17      interject 60:19           126:2 129:15 132:7
 119:16 133:6
                        96:6 103:4 109:4        158:7 181:6 182:17,                               163:9 165:13 177:25
                                                                        internal 81:17
identifies 207:22       129:4,21,25 131:15,     21 183:7,11 184:16                                178:10,12,23,24
                                                                         184:23
                        16,21 132:2 133:20      186:4,10 187:7                                    189:18 191:2
identify 14:4,14,20                             188:12,24 190:7
                        158:22                                          interpret 215:10         issues 29:19 43:9
 65:21 72:24 83:10
                                                191:11,21 193:22,23
 169:2                 incorrectly 18:8         194:3                   interpretation 31:15      80:18 86:16 91:11
                        19:14 27:10 35:17                                97:18 110:2 162:17       162:14 163:4 165:23
illness 37:21 57:11                            informs 198:5                                      201:7
                        73:15 75:12,21 89:7,                             163:5,7
illustration 142:23     19 95:14,22 96:3,18,
                                               infrastructure 205:4                              issuing 28:22,24
                        20,24 97:22,25 98:7
                                                                        interpretations
imagine 88:7                                                             215:22                   32:15 178:15
                        106:19,22 110:4        initial 26:2,10 33:13,
immaterial 104:3,11     112:17 113:4 114:5      15                      interrupt 199:16
 154:2                  115:19,23 116:9                                                                    J
                                               input 24:19 33:3         interruption 21:22
                        124:8,11,17 126:14
immediately 38:25       129:14 160:4 173:8     Inquirer 186:22          intervenor 15:5          J-O-N-A-T-H-A-N
 80:20 108:3 116:15     174:15 175:16 179:8                              162:6                    12:9
 118:3,6 123:8          180:14 182:19
                                               inquisition 17:10
                        183:12 189:5           insert 44:14 48:25       intervenors 15:17        Jacob 47:6 60:25
impact 34:6 80:23
                                                                         206:20                   124:22 130:12 155:6
 115:4                                          50:19 52:14,19 53:3
                       increase 87:7
                                                56:24 58:18 64:6,8      invalid 195:18           Jacobs' 214:7
implementation         increased 86:25          71:18 146:23
 92:17                                                                  investigating 210:2      James 14:22
                       independently           inserted 126:22
implemented             135:14                  135:9                   involved 32:17 35:4      January 75:9,16
 110:10                                                                  114:13,16,24 121:10,
                       independents 36:25      inserts 52:22 101:25      12 186:3                Jeff 15:10 214:3
implicit 176:8,11                                                                                 221:4
                       indicating 57:14        inside 147:5,15,21       involvement 13:9
important 83:19         186:24 213:10                                                            Jeffrey 215:18
 202:20 204:8 205:5                            inspect 216:16           involving 12:25           220:13
                       indication 173:7         217:4,10                 125:25
impossible 134:19       215:2                                                                    job 20:16 22:6,22
                                               inspection 219:5,21      irrelevant 127:22
imprecise 23:13        indications 168:14                                                        jobs 23:22
                                                                         128:4,8 137:14
                                               instance 17:6 34:5
improper 210:11        indicia 99:4                                      138:14                  Jonathan 11:4 12:2,
 211:8                                         instituted 115:18                                  8 26:25 99:6,7 131:8
                       individual 42:21,25                              irrespective 82:17
in-person 120:5                                instruction 27:5          134:8                    186:18,20 187:20
                        46:13 59:12 70:15                                                         188:4 223:19
 177:10                                         50:18 143:17 144:7
                        78:14 91:20 123:5                               issue 13:2 18:7,10,
                                                145:16                                           Jonathan's 124:25
include 71:17 116:20    134:5 177:18 193:2,8                             18,19 19:3,13 29:13
 117:10 153:15          203:18,19              instructional 144:2       30:2,4,8,17 31:13,18    judging 185:23
 178:14 195:10         individual's 44:2                                 32:4,5 34:6,9 35:4,7,
                                               instructions 50:21                                jumble 179:19
 219:11                                                                  10,13 36:5,10 43:13
                                                53:3 143:7,24 144:23
                       individually 76:5                                 48:14 53:18 56:18       June 90:21 91:2,3,9,
included 74:7 84:2,3                            145:2,5 199:11,14,18
                                                                         59:12 81:6 82:2          12,15 98:20 104:19
 109:6 144:2 146:7     individuals 26:20        216:2
                                                                         84:23 86:20 87:22        106:6,13
 163:24 197:4           33:2 70:12 76:3
                        121:25 140:5 192:23
                                               intake 81:20 170:5,       89:11,22 90:2 91:15
includes 22:25                                  24 171:3 174:9           96:21 100:25 105:11,    jurisdiction 154:9
 28:13,19,22 219:20,   ineligible 215:15        176:22 177:18 178:4,     24 106:17 107:22        justice 93:17 97:16
 21                                             19                       108:13 113:3 116:2       105:2
                       inform 212:2
                                                                         118:20 129:7,9,13
including 22:13                                intend 139:25 140:5                               justices 93:14,15
                       informal 193:19                                   132:4 162:23 170:11
 43:21 118:2 188:10                             158:23 206:8                                      113:7
                                                                         189:4 213:9
 198:17                information 17:12



                                TSG Reporting - Worldwide· · 877-702-9580

                                                Pa.App.0873
                 Case:
                Case   23-3166 Document:
                     1:22-cv-00339-SPB    146 Page:
                                       Document     878 05/05/23
                                                301 Filed Date Filed:
                                                                  Page01/10/2024
                                                                        369 of 378

                                                                                               Index: Justin..Marks
Justin 13:12 155:17     latest 67:8,9 86:16    license 41:21 45:17,     lying 149:8                184:7
                                                20
                        latitude 49:19,20                                                         maintained 184:22
          K                                    lifted 105:4                       M
                        law 13:13 14:8 24:15                                                      maintaining 28:19
                         29:23 32:15 34:5,12   lifting 106:8
Kathy 46:25 47:6                                                        M-A-R-K-S 12:10           maintains 45:12
                         75:20 100:25 104:3,
 130:12 138:19 155:6                           light 56:18 166:13
                         13 120:17 130:8                                machine 63:15             majority 34:21
 205:23                                         206:19
                         133:15 139:21                                   212:19                    148:8,10
kind 17:7 20:15          153:24 163:8 166:14   likewise 16:4 45:22
                         172:2 215:11                                   machines 29:5             make 20:10 25:17
 31:11,21 36:3 48:9                            limited 30:17                                       38:2 42:12 55:8
 49:7 50:13 71:3,25     lawsuit 17:23 18:21                             made 75:25 84:6            57:13 77:15 81:15
 74:18,21 82:11 86:14    19:20 155:18,19
                                               link 25:7                 131:17 134:12             82:2 85:16 117:14,16
 89:10,15 115:7 129:2    191:9                 linked 182:10             137:23 144:25 159:9       122:6 130:11 165:15
 131:18 160:5 165:18                                                     171:18 189:9,16           172:12 173:13 203:3
 189:21 190:4 194:11    lawyer 21:8 39:11      list 28:14 70:14,19,22
 213:8                   208:22                 99:15 104:10 184:6,     mail 36:15 41:11          makes 20:14 74:19
                                                23                       64:11 87:8,13 89:19       179:14,17
knowing 170:14          lawyers 12:17                                    90:15 120:12 127:13
                         100:12 114:16,21      lists 70:12 121:20,24     128:20 149:18 151:9      making 24:17,20
knowledge 24:10                                                                                    205:9
                        lay 50:4               litigants 191:16          152:18 155:24,25
 61:6,19 130:9
                                                                         156:6 157:3,5,8,12       mandates 59:15
knowledgeable           laymen's 200:5         litigated 18:18,19        171:22 178:13
 27:17                                          95:8                     210:24 214:18            mandatory 193:22
                        layout 58:13,15,20
                         60:7 62:5,7           litigation 18:6,16       mail-in 13:2 27:7,11      March 92:19
          L                                     35:4,13 36:9 53:18       30:5 31:3 34:25
                        layouts 61:20 62:3                                                        mark 10:3 36:2 57:14
                                                56:18 60:5 86:20         36:16 37:12,24 38:2,      83:8 180:18
label 185:6             lays 62:17              88:16,18 113:2,20        14,19 39:4 40:6,12,
                                                187:8 188:14,25          24,25 41:6 42:7,23       marked 26:4 47:10,
labeled 11:3 26:8       learned 86:10
                                                                         43:14 46:14,19            14 59:17 60:9 98:12,
                                               live 55:10 75:15
lack 27:3 108:15        leaves 79:15                                     47:17,22 49:5 51:8        15 107:7,12 113:11
 151:6 212:12                                  lived 137:19              54:8,13,22 55:6 56:8      125:8,12 127:16
                        left 61:22
                                                                         57:19 58:2,6 60:2         139:3,6 142:13,17
Lacks 213:21                                   living 139:25
                        legal 10:4 20:20                                 63:23 64:3,20 66:21       154:12 167:11,14
                         21:16 24:4 39:9       lobbying 22:16 23:3       67:5,14 68:22 69:12       174:13 180:20 182:3,
Lai 186:14,18,20
                         64:18,24 78:4 92:22                             70:13 71:9 86:25          8 186:12,14 196:8,10
laid 50:7 61:25                                local 198:14                                        207:25 217:22 218:3,
                                                                         91:11,17 92:9,12,21,
                        legally 51:5                                                               11
Lancaster 14:23                                location 212:16           23 93:5 97:14 107:7
 15:16                  legislation 21:6                                 110:5 123:14 126:20
                                                                                                  marking 114:7
                         22:14 24:6
                                               locked 166:25             132:10 141:12 146:3,
landscape 34:12                                log 209:14                20 157:18,24 160:2       Marks 10:1 11:1,4
 92:22 103:19,22        legislature 90:22                                                          12:1,2,8,12 13:1
                                                                         167:21 172:15 174:3,
                         134:18                logical 179:16            15,22 175:10 178:25       14:1,12 15:1,21 16:1
language 31:16
                        legitimately 193:13    login 192:19 193:4        194:7,17,19 195:9         17:1 18:1 19:1 20:1
 33:24 40:18 58:21,23
                                                                         199:12,20 200:11,20       21:1 22:1 23:1 24:1
 60:8 61:10 108:23      Lehigh 103:14          long 66:25 68:16          201:2,8,21 209:8          25:1 26:1,7,25 27:1
 109:11,14 110:25                               77:16 127:25 132:8
                        Leigh 11:6                                       210:7 214:23 216:15       28:1 29:1 30:1 31:1
 111:9 151:11 154:13                            134:12 156:7,16          219:7,22 221:19           32:1 33:1 34:1 35:1
 185:23 196:21,23       length 41:16            179:13                                             36:1 37:1 38:1 39:1
 197:4 199:21                                                           mailed 133:13
                        lettering 98:24        longer 56:9 111:4                                   40:1 41:1 42:1 43:1
                                                                         135:11 200:15
Lanken 10:3                                                                                        44:1 45:1 46:1 47:1,
                        letting 71:8,22        looked 19:10 110:25      mailing 160:3              13 48:1 49:1 50:1
largely 18:13                                   115:9 169:23
                        level 18:3 84:15                                                           51:1,22 52:1 53:1,24
                                                                        mails 53:9
larger 62:11,12          88:19 106:21 179:24   lot 14:6 33:14 46:9                                 54:1,3 55:1 56:1 57:1
                         196:5                  77:15 87:17 88:8        main 38:4 163:17           58:1 59:1 60:1 61:1
late 21:16 97:11                                                                                   62:1 63:1 64:1 65:1
 104:18                                         148:4 176:7 205:3       maintain 45:10             66:1 67:1 68:1 69:1



                               TSG Reporting - Worldwide· · 877-702-9580

                                                Pa.App.0874
              Case:
             Case   23-3166 Document:
                  1:22-cv-00339-SPB    146 Page:
                                    Document     879 05/05/23
                                             301 Filed Date Filed:
                                                               Page01/10/2024
                                                                     370 of 378

                                                                                        Index: marks'..November
 70:1 71:1 72:1 73:1     167:13 180:19 182:2   Migliori 98:23 102:20    54:20 64:22 75:7       no-longer-relevant
 74:1 75:1 76:1 77:1     186:13 196:9 207:25    103:11,12 104:9,20      78:10 79:8,21 94:2      115:15
 78:1 79:1 80:1 81:1     218:2                  105:11,20,22 106:8      96:19 104:14 105:14
                                                                                               non-civil 23:22
 82:1 83:1 84:1 85:1                            107:5 109:19 110:3      110:7,12 112:3
                        matches 45:20
 86:1 87:1 88:1 89:1                            112:2                   114:19 115:11,21       noncompliance
 90:1 91:1 92:1 93:1    material 18:14                                  123:4 124:20 133:2      221:20 222:9
                                               military 30:2 36:24
 94:1 95:1 96:1 97:1     104:17                                         134:23 137:2 153:6,
 98:1 99:1,6 100:1
                                                141:2 143:24
                                                                        10 159:5 162:19
                                                                                               noncompliant
                        materials 37:8 49:2,                                                    121:21
 101:1 102:1 103:1                             mind 154:19 194:14       167:7 168:18,23
                         21 50:20 143:2,8,10
 104:1 105:1 106:1                                                      169:21 170:19          noon 124:24 125:3
 107:1 108:1 109:1
                         151:23 153:25         minds 161:25             173:17,23 174:7
 110:1 111:1 112:1                                                      175:3 176:2,16 178:6   normal 42:10 95:7
                        matter 11:5 90:7       ministerial 213:19
 113:1 114:1 115:1                                                      179:12 181:23 186:5     190:23
                         221:8
 116:1 117:1 118:1                             minor 154:5,10           193:15 194:24          notaries 22:14 23:2
 119:1 120:1 121:1      matters 24:22 29:2,     171:11 172:3,4          195:11,23 196:4,25
 122:1 123:1 124:1       20 112:14 135:17       176:20                  197:11,16 198:7        notary 12:4 134:16
 125:1 126:1 127:1      meaning 54:21          minute 57:4 103:10       199:8 200:4 204:10     note 12:24 57:6
 128:1 129:1 130:1       73:21 129:14 139:19                            205:11,19 206:7         60:20,25 62:19 99:5
 131:1,8,12 132:1                              minutes 17:20            210:17 214:13
                         163:14 177:7 193:5                                                     142:5 145:6 149:23
 133:1 134:1 135:1                              79:22,23 130:16         215:25 216:10 217:7,
                         197:15                                                                 151:8 152:20 209:19
 136:1 137:1 138:1                              214:6                   13 218:6,22 219:17,
 139:1 140:1 141:1      means 17:20 23:6                                24 220:7,18,22         noted 11:15 108:7,10
                                               misdated 91:17
 142:1,16 143:1 144:1    30:15 44:22 78:22                              221:24 222:14,19,21     131:3 148:20 210:6
                                                94:10 97:13
 145:1 146:1 147:1       96:4 111:15 115:20                                                     214:15
                         177:24 208:16,20      missed 154:5 166:3      multiple 35:25
 148:1 149:1 150:1                                                                             notes 205:15
                                                                        215:21
 151:1 152:1 153:1      meant 188:15           missing 74:15 75:5
 154:1 155:1,5,16                                                      municipality 37:20      notice 71:3 76:10,19
                                                89:25 91:11 117:6
 156:1 157:1 158:1      measures 193:11                                 41:19                   77:4 78:5,16 82:11
                                                160:17,18 211:11
 159:1,13 160:1 161:1                                                                           107:24 119:11 120:8,
                        mechanism 65:12,                               mute 14:21
 162:1,4 163:1 164:1                           mistake 134:12                                   11,20,24 121:5
                         21 116:22
 165:1 166:1 167:1                              215:7                                           123:3,13,18 195:2
 168:1 169:1 170:1      mechanisms 65:14                                         N
                                               mistaken 31:7 56:17                             noticed 13:15 72:18
 171:1 172:1 173:1      media 11:2              82:15 91:9                                      203:17 213:11
 174:1 175:1 176:1                                                     NAACP 11:6 12:17
 177:1 178:1 179:1      medication 17:7        mixed 203:23                                    notices 177:14,19
                                                                        17:24 60:4 125:18
 180:1 181:1 182:1      meet 92:19 175:7       mixup 203:21             191:10                 notification 71:7,22
 183:1 184:1 185:1                                                                              76:25 77:12 81:3,7
 186:1 187:1 188:1      meets 32:13 59:13      moment 19:15            named 24:24
                                                                                                82:17 121:13
 189:1 190:1 191:1                              162:22 176:25 179:2
                        members 190:20                                 names 14:8
 192:1 193:1 194:1                              197:25 202:7                                   notified 123:10
 195:1 196:1 197:1      mention 73:7 173:13                            necessarily 81:21
                                               Monday 149:20                                   notify 77:24 84:25
 198:1 199:1 200:1                                                      118:19 146:7 184:13
                        mentioned 30:14                                                         85:6 86:11 171:10
 201:1 202:1 203:1                             Monkey 192:21            197:18 198:9
                         33:21 97:16 183:10                                                     172:3
 204:1 205:1 206:1,17                           193:20
                         191:25                                        needed 38:7 76:2
 207:1 208:1 209:1,6                                                                           notifying 176:19
                                               month 73:24              92:18 156:22
 210:1 211:1 212:1      message 73:17
                                                                                               noting 210:4
 213:1 214:1 215:1       187:24                morning 10:2 12:12,     negative 210:18
 216:1 217:1 218:1                              13 25:9                                        November 18:22
                        met 221:7                                      news 100:19
 219:1 220:1 221:1,3                                                                            38:17,18 39:3 60:12
                                               move 93:11 155:21
 222:1 223:1,19         method 42:22                                   night 66:22 68:17        74:14 93:5 94:13,15
                                               moving 97:2,18           81:12 82:8 95:20        95:20 96:17 97:19
marks' 26:2,8 47:9,     MIB 59:16                                                               98:5 102:17,20,24
                                                205:17                  128:2 135:19 164:5
 14 59:16,21 60:9
                        mid-20th 38:9                                                           106:16 108:4 110:20
 98:11,16 107:6,10,12                          Mullen 13:24,25         no-excuse 54:13          111:3,23 114:3,6
 113:10,15,23 115:10    middle 152:20           16:22,23 25:8,11,15,    90:15
                                                                                                120:25 124:9 126:3
 125:7,12,21 139:2,7                            19 42:17 47:2 51:10
                                                                                                128:23 129:16 130:5
 142:4,12,17 154:12


                                 TSG Reporting - Worldwide· · 877-702-9580

                                                Pa.App.0875
               Case:
              Case   23-3166 Document:
                   1:22-cv-00339-SPB    146 Page:
                                     Document     880 05/05/23
                                              301 Filed Date Filed:
                                                                Page01/10/2024
                                                                      371 of 378

                                                                                                Index: NRCC..places
 133:8 180:13 181:7,    occasion 99:12           153:16 174:17 217:5,   packages 160:16           Penndot's 45:18
 11 184:13 185:4,9       212:10                  12
                                                                        packet 58:6 142:24        Pennsylvania 11:5,
 200:2
                        occasions 88:4          ordinarily 14:2          143:18 144:3 146:9        9 20:3 23:24 24:14
NRCC 162:7               159:17                                          148:11 150:7 151:20       27:9,23 28:4,12
                                                original 107:23
                                                                                                   38:13 61:7 78:9 79:6
number 20:10 41:22      occur 175:25 203:22                             pages 52:9 54:5
                                                originated 103:14                                  92:24 93:24 94:25
 45:17,20 46:6 86:25                                                     62:21
                        occurred 35:21                                                             106:3,17,23 110:10
 90:23 91:25 92:4                               outdated 62:22
                         90:13 105:7 109:19                             palate 48:8                112:6 125:24 132:6
 99:23 118:17 124:4                              76:23 152:12
                         213:3                                                                     133:16 137:8 141:8
 132:16 144:11 145:6                                                    pandemic 87:9              158:11 162:8 180:8
                                                outer 27:6 48:22
 155:10 159:14,17       occurs 163:18,19                                 90:22
                                                                                                   199:25
                                                 53:8,11 58:8,12 82:3
 182:18 183:12 192:4     169:5 197:20
 208:21
                                                 146:7 147:12,15,16     paper 41:15 42:2          Pennsylvania's
                        October 38:24            158:6 164:9,10,14,22    43:9 77:11 147:5,14,
                                                                                                   27:8
                                                 165:5,6,22 166:6        20 148:4,8 151:24
          O             office 32:22 44:16                                                        people 54:12 120:9,
                                                 169:2,10,18,23          154:4
                         50:25 53:6 63:13
                                                 170:10,15 174:2                                   11 156:24 189:20
                         114:23 127:12 149:4                            paragraph 26:15            212:25
oath 15:21                                       177:20 185:3 194:18
                         158:13,23 190:19                                100:16 101:3 108:22
                                                 196:2,24 197:5 199:6
object 10:23 51:11                                                       188:9                    perfectly 187:2
                        Offices 181:9            203:11 216:16,22,23
 176:3 195:12 215:23                             217:4,11               parentheses 60:16         period 35:22 42:10
                        official 45:11,13                                                          94:24 156:2 178:18
objected 192:5           52:13,17 53:13 54:17   outlined 28:11 30:7     part 35:14 51:17
objecting 214:2,12       55:4,5 127:10 177:14    117:25 199:18           112:13 114:8 137:10      perjury 141:19
                         202:3,5 219:6                                   143:10,17 146:9           202:22
objection 10:23                                 outlining 48:9
                                                                         151:20,25 152:14
 13:25 41:2 42:17       officials 198:14                                                          permissible 210:25
                                                outreach 123:9           153:23 164:21
 54:20 64:22 75:7        215:12
                                                                         166:16 169:8,11,17       permitted 166:19
 78:10 79:8 94:2                                outset 54:10 140:16
                        omitted 201:24                                   170:12,16,21,22,23,       173:20 185:13
 96:19 104:14 105:14                            outstanding 17:15,       25 197:5,8
 110:7,12 112:3         online 41:14 42:2                                                         person 27:16 40:3
                                                 16 183:4
 114:19 115:11,21                                                       parties 10:14 43:11,       64:14 119:15 120:10
                        open 72:5 161:5,6,
 123:4 124:20 133:2                             outward 147:6,19         12 173:20 174:4           127:9 177:12,13
                         10,11,14,15 164:10,
 137:2 153:6 156:18                                                      176:7 182:23              204:12 210:14,23
                         14,17 196:13           oversaw 22:12                                      215:6
 162:19 168:18,23                                                       partisan 187:4
 169:21 170:19          opened 48:6 79:3        overseas 30:3                                     person's 136:13
 173:17,23 174:7                                 36:19,25 140:9 141:3   partly 31:12
                        opening 165:22                                                            personal 114:21
 175:3 176:2,16 178:6                            143:25
                         169:12 219:5                                   party 70:23 162:7
 179:12 186:5 193:15                                                                              perspective 36:7
                                                oversee 22:24            183:13 184:2 185:2
 194:24 195:11 196:4,   operational 80:17                                188:11                    131:24
 25 197:11,16 198:7                             overwhelming
                        opinion 93:18 97:17                             pass 205:15
 199:8 200:4 204:10                              34:21                                            peruse 154:21
                         101:24 106:10
 205:11,21 210:17
                         195:16 208:15,19                               passage 86:24 87:18       Philadelphia 186:21
 212:12 213:21
                                                            P
 214:15 215:17 217:7,   opinions 18:6 159:4                             passed 38:13 90:22        phrase 44:17 159:18,
 13 218:22 219:17,24                                                                               24 177:2
                        opportunity 119:12,     p.m. 63:7 66:3 81:11    past 148:23 200:2
 220:7 221:24 222:14
                         19 120:25 202:6         84:8 95:19 131:6                                 physical 57:12
                                                                        pay 138:5
obligated 30:11 37:7                             141:22 163:21 164:4
                        opposed 34:14 91:3                                                        pin 107:3
 165:25                                          169:15 206:12,13,15    PDF 25:7 187:11
                         108:12
                                                 223:3,5                                          place 37:23 56:10
obligation 64:24                                                        pecking 20:4
                        option 39:4 77:10                                                          65:21 113:21 122:9,
 68:21 70:5 77:24                               P.S. 196:10,15 208:5
                         92:21                                          penalty 141:19             12 150:2 159:21
obligations 44:5                                 218:3,13                202:21                    164:7 175:2 211:21
                        order 20:4 60:23
 64:19                                          package 143:11                                     212:3,4,22
                         94:20 113:11 125:8,                            pending 10:20
obtain 86:5              24,25 126:9 128:22      145:3 152:15                                     places 212:10
                                                                        Penndot 45:23
                         134:7 138:21 142:11



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                 Pa.App.0876
                 Case:
                Case   23-3166 Document:
                     1:22-cv-00339-SPB    146 Page:
                                       Document     881 05/05/23
                                                301 Filed Date Filed:
                                                                  Page01/10/2024
                                                                        372 of 378

                                                                                                Index: plain..put
plain 31:16 33:23        187:7 188:12,24        press 182:23 191:14,     193:17 195:3            104:7 119:11 123:2
 52:15 185:23                                    20 213:11                                       126:11 129:10 158:6,
                        practical 108:5                                 procedures 27:9
                                                                                                 24 168:13 184:17
Plaintiff's 172:9                               pretty 24:9 89:14        107:7 111:10 163:10,
                        practically 77:14
                                                 155:22 178:8            17,25 172:16,23        provided 44:8 45:15,
plaintiffs 12:17
                        practice 78:8,13                                 178:2,13                20 60:14 63:14 70:19
 13:14 155:18 191:10                            prevents 37:21
                                                                                                 71:5 73:18 76:11,23
                        practices 85:23 90:6                            proceed 125:4
play 33:5,11                                    previous 19:2 62:7                               81:2 106:20 107:24
                                                                         164:18 214:13 216:3
                        pre-canvass 81:25        101:5                                           117:13 158:13
pleasure 23:16
                         84:7 109:7 111:10                              proceeding 165:17        169:13 187:25 210:9
                                                previously 65:15
point 22:11 23:15        163:10,14,15,19,25
                                                                                                providing 175:19
                                                 80:25 172:8 173:6      proceedings 104:20
 54:3 56:14 69:23        164:8,23 165:10
                                                 174:13 177:9
 74:5 81:24 83:9         166:5,17 207:3,6,23                            process 39:17,19,21     provision 38:24
 92:15 97:11 104:25      217:19 218:20 219:4,   Primaries 190:2          40:8 41:8,13 42:15      199:10
 105:3,20 108:22         16,20 220:4,9                                   46:18 63:22,25 65:2
                                                primary 64:23 75:4                              provisional 195:8,
 116:4,13 140:2 152:7                                                    81:18 85:4 86:9
                        pre-canvassed 65:3       90:16,24 91:13 92:7                             19,22 196:3,15,24
 157:14,20 173:3                                                         136:5 137:10 140:12,
                                                 97:3 98:21 102:23,                              197:6
 174:20 175:24          pre-canvassing                                   18 147:8 148:9
                                                 24,25 103:7,17 105:8
 176:25 179:6 184:10     72:11                                           161:14 165:18          provisions 40:19
                                                 109:20,22 121:2
 190:7 192:9 204:20                                                      166:17 169:9 170:23     207:18
 209:3 213:9
                        precanvass 168:17        124:18 129:5 183:3,
                                                                         174:9 177:18 178:15,
                         169:5,9,12,17           17 184:13 185:5,8                              public 12:4 23:11
                                                                         19,20 202:20
points 117:3             170:12,16,17,22,23      188:22 189:22,25
                                                                                                publishing 121:20
                         172:22,24 173:10,15,    190:10 191:5           Process-wise 39:15
policy 24:17,20,22                                                                               219:12
                         19 174:4 176:15
 32:11,19                                       print 149:25            processed 39:7
                         177:22 178:19                                                          pull 47:5 53:23 172:7
political 23:14 43:12    179:11,20              printed 25:13 67:15     processes 40:13          174:12
 70:23 182:23                                    199:6 200:10,20         170:3,4
                        precanvassing                                                           pulled 60:6
poll 211:18 212:16       168:10 206:23          printer 132:19          processing 178:16
                                                                                                purported 192:3
polling 37:22 56:10     precinct 179:17         printout 208:4          produced 142:21
                                                                                                purpose 27:3 55:23
 212:10
                        precluded 176:19        printouts 25:12         production 60:2          56:3 57:8 115:2
polls 41:11 211:14,                                                      70:22                   126:9,10 148:15,17,
                        precludes 170:2,9       prints 148:5
 25                                                                                              19,25 182:14,16
                                                                        program 22:12 33:3,
                        predates 197:23         prior 23:8 67:8,10,17                            205:5
populate 187:10                                                          15
                                                 84:20 86:2 87:13,18,
                        prefer 41:3                                                             purposes 66:21
portion 61:14                                    22 88:2,13,17,20       prohibited 171:11
                                                                                                 104:3 127:19 210:3
                        preferred 141:2          89:18,22,24 90:6
portions 108:8                                                          prohibition 78:5
                                                 92:7 106:15 108:3                              pursuant 94:19 95:9
 115:15                 prep 19:4                115:25 123:15
                                                                         120:18 209:23
                                                                                                push 192:7 198:2
position 19:24 21:7     preparation 177:21       127:25 137:9 141:23    prohibits 168:25
                                                                                                 212:21 213:2,17
 22:20,23 32:17                                  161:4 163:23 166:23     195:4 209:24 220:4
 135:24 154:24
                        prepare 18:24            169:14 191:9,16                                pushed 90:24 91:7
                                                 220:9
                                                                        prompt 58:18
 170:14 176:13          prescient 113:8                                                         pushing 213:5
 179:10,21 194:8,22,
                                                prison 22:5             pronouns 189:7
 25 195:7 204:7         prescribe 30:25 31:5                                                    put 14:7 23:13 25:6
                                                privacy 128:14          properly 215:13
                        prescribed 43:16                                                         46:22 47:24,25 48:2
positions 20:19
 23:21 24:12             47:21 49:23 50:2,11    private 23:8            prosecution 149:10       51:3 55:14 58:16
                         51:6 61:15                                                              61:3 63:19 72:21
possibility 133:3                               problem 46:11 71:16     protection 154:8         79:10 87:25 88:4
                        present 174:6            72:18,24 73:20                                  92:8,10 97:12 107:3
post 181:22                                                             protective 60:22
                        presented 62:10,13       117:20 122:7 131:21,                            111:19 118:11 124:6
postcard 140:25                                  24 144:14              provide 39:18 41:15,     127:5,12 128:20
                        preserve 213:13                                  18,20 43:20 47:18       129:23 132:9 133:4
potential 149:9                                 problems 58:25           50:20 70:12,21 73:22
                        presidential 91:6                                                        134:9 138:21 147:2
                                                                         76:24 78:16 98:6
potentially 120:10                              procedure 10:19                                  150:2,8 156:13,15



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                 Pa.App.0877
                 Case:
                Case   23-3166 Document:
                     1:22-cv-00339-SPB    146 Page:
                                       Document     882 05/05/23
                                                301 Filed Date Filed:
                                                                  Page01/10/2024
                                                                        373 of 378

                                                                                            Index: putting..repeat
 180:5 220:18           quote/unquote           recalling 94:22           176:18                 registered 43:2
                         129:4                                                                    44:25 45:21 55:11
putting 74:14 101:8                             receipt 65:25 66:4       recommended
 117:17 152:24                                   67:22 123:8 176:12       158:18                 registration 21:3
                                   R             210:4                                            23:2 45:9 76:12
                                                                         reconvene 130:18
                                                                                                  136:14 137:4,7
          Q                                     receive 43:3 64:24
                        raised 59:13 131:15                              record 10:22 11:16
                                                 71:7 81:3,7 123:18                              registry 20:25 28:20
                                                                          12:7,15 13:8 14:15
qualification 221:22    range 126:16,19,23       156:5 191:23                                     44:24
                                                                          15:24 25:24 45:3,6,7
                         132:9 134:13           received 57:14 60:3       60:21 61:3 68:24       regular 151:12
qualifications 18:15
 102:4,5,14 222:4       rationale 188:10         65:10,17,19,22 66:5,     69:6,13 70:6 80:2,6,
                                                                                                 regulation 31:21
                                                 8,19 67:24 68:17         19 81:10,14,22 82:22
qualified 40:10         reached 121:16           71:9,23 72:6 75:23       83:12 84:24 118:6      regulations 29:16
 42:25 56:6,12 198:24                            81:4,11,14 82:23         123:7 125:6 130:22,
                        read 19:19 26:19                                                         reject 89:8 101:7
 202:22 204:14                                   90:10 94:24 95:3,6,      24 131:6 167:19
                         27:13 100:5 109:8
 222:10                                          17,19 100:18 109:5       175:5 181:25 184:8     rejected 66:17 74:11
                         116:8 145:11 176:9,
qualify 40:4 42:9        25 219:19 222:22        116:24,25 123:13         206:11,15 222:24
                                                 127:25 128:10            223:3                  rejecting 89:6
question 16:3,12,15,    reading 126:15           135:18,23 136:7                                 related 19:3 24:15,23
 17 17:15 23:12 32:8                                                     recorded 72:20
                        reads 109:2 168:7        138:11 141:14,24                                 28:12 30:15 48:6
 36:2,12 51:20 103:19                                                     82:18 118:11
                                                 156:16 157:14,24                                 105:19 113:2
 106:8 112:23 130:4,5   ready 67:16 132:18       158:8 164:3 165:8,11    recording 10:9,15
 134:24 155:13 169:3     222:23                  174:9,22 175:11          69:22 118:3 121:12     relates 30:22 31:8
 175:22 194:11                                   177:13 182:20            170:7 197:24 219:12     54:11
 200:12,17 202:12
                        realize 156:14
                                                 191:24 192:2 193:13                             release 169:14
 203:10,14 204:2        reason 17:4,19           201:22 209:17,20
                                                                         records 45:9 71:21
 208:15 218:7 221:25     37:16,18,25 38:7,20                              81:8 191:19            relevance 197:2
 222:5                   39:18 40:5 56:15       receives 69:4 99:18                               198:16,20,23
                                                 177:14
                                                                         recount 190:2
                         72:2 74:12 75:2                                                         relevant 24:11 48:13
questioned 177:9                                                         redacted 60:25
                         83:25 89:2 110:24      receiving 69:5 70:21                              50:16 54:19 58:18
questioning 14:19        164:14 175:19                                    61:21 142:8 180:20
                                                 119:15 155:24 170:6                              67:19 68:7 73:7 81:9
 176:4 195:13 198:22     195:18 212:6                                     181:6
                                                 177:8 191:20 203:7                               128:9 136:6 139:24
 213:23 214:9 221:16                                                     redline 108:16           151:4 163:8 188:25
                        reasons 42:14,20        recent 57:3 60:12,14
questions 13:20          73:25 74:11 117:12                                                       190:3 194:4 195:14
                                                recently 73:11 82:16     redundant 151:6
 14:12,25 15:7,14        154:2                                                                    198:24 202:11 204:8,
 16:2 17:5 32:3 59:8                             129:11 196:6            referenced 103:10        15,18
 80:9 89:11 90:10
                        recall 19:9,11,15                                 106:19 112:7 178:21
                         30:20 38:24 59:5       recess 80:3 206:12                               relying 184:6
 100:20 130:17 155:5,                                                    references 181:17
                         62:2 69:19 73:5 74:9   recirculate 189:17                               remain 66:14 72:9
 10,21 159:11,14
                         75:8 77:9,18,20         191:4                   referred 40:14,24        124:16 129:7
 161:24 162:9 176:5
                         87:20 88:18 89:2,5,
 198:16 205:25 206:5,                           recognize 26:9           referring 55:25
                         21 91:10,14,19                                                          remains 222:10
 18,22 207:9 208:9                               47:15 98:15 107:11       106:2,24 110:14
                         92:10,16 94:18,21                                                       remember 131:17
 209:4 214:6,11                                  113:24 125:22            162:21
                         95:5,11 97:24 98:6
 216:9,10,13 220:12,                             139:12 187:15
                         102:18 103:16                                   reflect 133:22          remind 116:21
 15,17 221:15,17
                         104:18 105:16,19       recognizing 57:23                                 158:17
 222:19
                         106:12 108:2 118:15,                            reflected 109:15
                                                recollection 18:23        111:3 112:5 219:10,
                                                                                                 reminder 100:3,24
quick 155:22 221:13      17 120:3 121:24
                                                 70:4 78:2 85:20 90:4,                            101:5 129:10
                         141:16 159:19                                    13
quickly 82:22 86:21                              8 91:22 94:17 95:15,
                         160:19 162:20 166:8                             reflecting 133:12       remote 10:6,16
 191:7                                           21 97:6 103:6 104:24
                         171:20 181:14
                                                 105:6 112:4 118:8,13    reflects 134:21         remotely 10:10,13
quizzing 73:4            186:10 190:21 193:3
                         197:18 206:24           121:3 122:23 123:6       135:10 149:16          removal 219:7
quo 129:17                                       132:12 171:17
                         207:11,16 208:12
                                                 196:23                  refresh 196:22          repeat 33:10 134:24
quote 199:5              212:19,23
                                                                                                  135:3 194:11
                                                recommendation           regard 176:5



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                 Pa.App.0878
                 Case:
                Case   23-3166 Document:
                     1:22-cv-00339-SPB    146 Page:
                                       Document     883 05/05/23
                                                301 Filed Date Filed:
                                                                  Page01/10/2024
                                                                        374 of 378

                                                                                   Index: repeatedly..separately
repeatedly 183:4         155:25 174:11          retained 223:6           room 10:8,12 14:3,5      secret 128:15
                         185:22,25 192:10                                 16:20
rephrase 16:13                                  return 37:5 39:25                                 secretary 20:2,7,8
                         204:25 221:20
 192:17 210:19 217:2                             40:16 44:15 46:18       rooted 31:14 162:16       22:20 24:21 26:22,25
                        requirements 29:22       50:25 52:6 53:5 54:6,                             28:9 29:12,17 30:24
report 193:25                                                            round 220:16 221:16
                         30:6 43:16,18 59:3,7    8 57:18,19 63:24                                  31:4 32:24 33:5,19
reporter 10:11 11:17     113:16 115:5 136:10     64:2,10,14 68:22        rule 10:18 198:5          61:15 162:4 185:18
 12:5 16:6 186:21        140:19 141:8 143:13     71:2 76:18 80:10,13,                              221:3
                         148:20 169:20 175:8     21 83:15 84:20 86:15
                                                                         ruled 93:15 112:12
 223:7
                                                                                                  Secretary's 30:16,
                         211:14                  108:24 109:3 116:14     rules 10:18,19 12:23
Reporting 10:5                                   139:25 140:6 142:23
                                                                                                   23
                                                                          37:4
                        requires 166:10
reports 185:19                                   143:3 145:25 146:2,                              section 168:5 172:22
                         209:14                                          ruling 79:7 95:10
                                                 15 147:21 148:16,22                               196:15 208:4,11
represent 14:9 98:22    reserve 222:22           150:15 151:2 152:3,4     106:7,16 129:8 132:8
                                                                                                   218:13
 113:18 162:5 186:17                             153:5,13 155:25          133:19 154:24
 187:13 196:14 221:5    residence 41:19          157:25 158:2 160:9,      189:18 191:2            sections 30:21
representative          resident 41:17 102:7     23,24 161:3,6,7,11      run 13:21                secure 64:25
 128:17                  137:8                   167:21 174:23
                                                 178:16 185:7            Russ 15:4 162:5          secured 72:9
representatives         resource 181:8
                                                returned 63:16 68:24                              Security 41:22 45:25
 173:21 174:5
                        respect 64:19 147:10     69:8,14,24 70:18                    S             46:3,6
represented 142:20       158:14 175:23           77:6 80:14 81:23                                 seeking 39:7 76:4
                         176:24 190:14           83:8 84:9 118:3         saga 188:20
representing 13:13
                                                 136:18 147:6 149:3                               sees 211:5
 100:9,10 155:17        respective 86:15                                 sample 142:6
 205:7                                           157:19,22 160:2,8                                segregate 65:17
                        respects 54:19           163:22                  save 111:18               94:23 95:6,13,16
Republican 15:16
                        responded 192:12,       returning 119:14         scan 63:15 69:9 83:2,     112:19 158:19 179:8
 162:7
                         15                      120:9 177:11 204:12      8 116:14 216:15,18,      186:8
request 38:3,7,19                                                         21 217:5
                        responding 16:4         returns 28:16 43:4                                segregated 94:19
 39:19,22 42:7,12,16
                         183:25                  128:7 138:4 157:12      scanned 63:21 69:17       113:5 179:11
 43:14 70:22 75:22
 185:16 191:11,16       responds 186:25         reveal 159:6             scanners 216:21          segregating 95:12
 192:8 193:23
                        response 51:7           reverse 146:20           scanning 83:14           select 99:23
requested 37:18          129:16 187:21 188:5
                                                review 32:24 44:6        Schmidt 12:18 17:24      send 37:8 45:18
 69:11 70:12 151:23      192:20 214:7
                                                 52:9 86:14 97:23         26:3,11                  49:3,15,21 51:7
 187:7 188:13
                        responses 191:22         114:25 119:16 161:7                               52:10,12 58:7 67:12
requesting 193:21        193:12                                          SCOPA 125:7               82:16 99:17 100:15
                                                 178:22 191:19
                                                 207:21                  scope 214:9 217:14        148:7 156:15
requests 143:14         responsibilities
 182:20,22 183:7,11      22:23 27:21 28:6,11                              222:15                  sending 58:5 67:14
                                                reviewed 19:2,6
 191:14,20                                       33:14 62:8 63:3         screen 25:4               99:9 152:18
                        responsible 22:10
require 143:14           168:9                   100:12 146:25 159:3                              sends 49:7 143:21
                                                                         scroll 173:2 174:19
 185:19 186:9 193:24                             172:8,10 196:6
                        responsive 35:20                                  186:23 187:12           sense 74:19 75:25
 205:3                                          reviewing 81:21
                         75:19                                           seal 55:15 64:9           77:15 179:18
required 30:10 60:16                             166:14 173:25
                        rest 188:4                                       sealed 55:17 72:9        sensitive 193:22
 153:4 166:4,24 171:9                           RNC 162:7
 172:5 176:23 186:3,7   restate 16:14                                     166:25                  sentence 168:6
 192:20 216:16                                  role 13:9 24:16 32:16                              188:8
                        result 215:14 216:6                              secrecy 50:23 52:15,
 217:10                                          33:6,11
                                                                          23,25 53:13 55:14,17    separate 40:19
requirement 24:12       resulted 72:24          roles 22:17               58:8 64:7 71:18 74:4,    73:13 75:13 143:25
 40:15 53:17 54:8       results 169:14                                    7 78:25 79:3 84:2,4      147:4,14,20 160:10
                                                rolled 131:19
 65:5 70:11 100:3                                                         138:9 147:7,11,22        181:3
 120:19 134:17 135:7    resumed 131:9           rolls 45:11,13 93:9       164:16 165:25
 149:17 153:21 154:5                             222:10                   213:13                  separately 13:15


                                 TSG Reporting - Worldwide· · 877-702-9580

                                                 Pa.App.0879
                Case:
               Case   23-3166 Document:
                    1:22-cv-00339-SPB    146 Page:
                                      Document     884 05/05/23
                                               301 Filed Date Filed:
                                                                 Page01/10/2024
                                                                       375 of 378

                                                                                      Index: September..support
September 107:16,       200:9,14,18,24         sorting 179:16,17      start 11:2 21:10,15      115:14
 20 108:17 109:11,25    201:6,12,15,20                                 133:6 165:21 166:20
                                               sorts 177:20                                   subgroup 37:3
 110:14 111:23 115:9    210:16 211:10,18,20                            170:17 191:6,7 220:9
 167:25 172:16          212:3 222:22           sound 93:7                                     subject 60:22 100:2
                                                                      started 12:23 21:18
                                                                                               142:10 215:21
series 15:25 162:8     signature 40:15         sounds 103:9 110:22
                                                                      starting 75:3 220:5
 198:16                 53:17 61:20 73:10,17                                                  subjects 149:9
                                               space 152:23
                        74:16 75:5 79:11                              state 10:23 11:5 12:6
servant 23:4,11                                                                               submissions 27:12
                        96:12 100:23 117:5     speak 84:23 90:5        13:8 20:3,20 22:18
serve 23:16 136:5       145:10 149:25 150:9     91:20 123:5 151:21     23:7,9 24:18 27:16,    submit 41:25 136:17
                        152:23 157:19           167:7                  21,25 28:7 30:13        192:20 193:25
served 27:4             160:18 161:18                                  35:16 43:24 48:2
                        166:15 175:17          speaking 158:12                                submits 214:23
service 23:6,19,21,                                                    51:25 72:23 86:13
                        203:18 204:12,23        192:4
 22                                                                    88:19 94:8 100:9,24    submitted 28:16
                        211:7 214:19 217:5,    speaks 101:22           124:14 128:25           36:15 51:8 120:11
set 13:20 32:6 51:6     11                                             131:22 140:10
                                                219:25                                         156:8 157:5 193:2
 66:13,16 79:5,12
                                                                       162:14 166:13 172:2     214:18
 111:18 113:6 117:19   signed 38:23 128:19     special 129:11          186:25
 126:16 153:25 154:9    134:9 138:6,7 156:3                                                   submitting 66:21
 160:15 161:13          157:20 165:6 173:4     specific 23:6 36:22    State's 10:19 100:11     119:20 156:7 198:13
                        174:24 175:12           37:18 50:21 69:11
 164:13 165:16,25
                        202:15,18,25 203:6,     73:25 89:22 140:4     State-level 28:14       Subscribed 223:21
 173:3 196:21 204:22
                        12,16,23,24 212:2,16    157:8 163:2 171:20
 219:15                                                               stated 205:6            subsection 196:18,
                        215:13                  192:23 200:17
                                                                                               22 218:18,23
sets 218:20                                     202:10 203:14         statement 87:2
                       significant 91:25                                                      subsequent 112:6
seventh 42:12           92:4                   specifically 105:19    states 11:7 134:19
                                                139:18 151:15          172:23 199:4           subsequently
sharing 25:3           signing 149:5            178:18 189:9 196:17                            106:20 165:20
                                                                      statewide 20:25 21:2
sheet 143:17 144:7     signs 68:5 128:7         207:4,15
                                                                       28:20 44:24            subset 140:4,16
 147:5,14 148:4         147:13                 spectrum 122:16
                                                                      status 117:15           substantially
short 221:12           similar 62:7 140:18     spend 27:19             129:12,17               150:17
shorthand 160:6         146:2,5,11 148:19
                        177:8,17 179:5         spite 97:8             statute 31:17 78:2      substantive 141:6
shortly 69:4 103:17                                                    198:5
                       simply 38:2 81:20       split 93:13                                    Substantively
 129:15 190:25
                        134:12 140:8                                  statutory 27:4 29:22     115:22
                                               spoke 10:21
shot 155:7                                                             43:15,18 59:15
                       sit 86:12                                       65:18,19 66:2 70:5     succinct 103:24
                                               spots 72:14 76:7
show 25:16 47:13                                                       95:7 135:18 143:13
                       situation 121:6                                                        summary 94:4
 57:3                                          spouse 203:23,25
                        213:16 214:17                                 stay 105:3,5,22 106:7   Supp 125:7
showed 207:24                                  spouses 36:24
                       situations 147:25                              stenographic 11:16      supplement 115:13
showing 26:7                                   squeeze 151:17
                       size 50:8 59:10                                step 33:8 213:19        supplemental
shows 48:20             62:11,15               SSN 45:22 46:2,5
                                                                      steps 46:13 85:6         125:23 126:9 132:8
shutdown 87:5          slightly 62:11 65:13    staff 69:25 181:16                              133:19 134:6
                                                189:14 190:16,18      sticker 98:25
sic 22:2               small 155:10                                                           supplemented
                                               staffing 80:18 84:15   stipulate 10:14          115:16
side 48:24 61:22       Social 41:22 45:25
 62:10 89:16 146:20     46:3,6                 stamp 63:8,14 65:6,    stricken 109:12         supplementing
                                                12 156:22              111:2                   125:25
sign 32:25 33:20       sort 18:4 31:10
 41:24 56:4 57:10       35:10,25 39:6 63:15,   standalone 114:2       strike 76:8             supplied 152:3
 60:17 64:9 71:20       23 75:18 86:19         standard 126:11        strike-through          supply 184:20
 73:21 79:11 100:4      103:18 143:16           130:8 131:25           111:9
 145:8 150:8 152:22     150:22 158:24                                                         support 26:22
 156:12,14 199:6,22     185:13 190:9,24        standardized 43:7,9    struck 108:8,23



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                Pa.App.0880
                Case:
               Case   23-3166 Document:
                    1:22-cv-00339-SPB    146 Page:
                                      Document     885 05/05/23
                                               301 Filed Date Filed:
                                                                 Page01/10/2024
                                                                       376 of 378

                                                                                  Index: suppose..understanding
suppose 203:17                                  testified 12:4 19:12    timing 192:6            138:17 168:4 211:4
 205:12 216:21                     T             122:19 131:9 180:7
                                                                        title 19:24 22:6       tweet 186:14,18,24
supposed 52:20                                  testify 15:22                                   187:14
                        tabulate 164:18                                 titled 172:22 182:3
 128:14 175:25
                                                testimony 19:2,6,7,      186:14 196:10 218:3   two-year 35:22
 218:14                 tabulating 169:13        8,10                                           188:19,20
                                                                        today 13:10,18 16:21
Supreme 79:6 92:24      tailored 55:10          text 148:4,14 149:12     17:2,6 86:13 105:18   type 36:22 72:24
 93:12,24 94:4,20,25
                        takes 164:7              151:8 187:9,15 188:5    158:13 180:7 198:15    123:2 154:4
 95:9 98:4 104:20
                                                                         221:10
 105:21 106:2,3,5,17,   taking 113:21 152:5     thereabouts 110:21                             types 36:14 43:19
 23 108:2,9 111:25                                                      today's 18:25 56:21     62:5
 112:7 125:24 132:6,    talk 40:22 41:7 49:11   thereof 27:4
                                                                         60:15
 24 133:6,16 134:6       51:2 63:24 79:15                                                      typically 67:16 99:12
                                                thing 23:7
 158:10,11 159:4         136:3                                          Tom 10:11 16:5
 171:7 174:16 180:9                             things 24:24 53:2
                        talked 68:19 70:10                              tongue 93:10                     U
 186:2,7 189:18                                  59:9 74:2 75:14
                         99:11 132:7 177:9       156:23 165:17 166:4    top 19:12 48:18,19,
 190:25 200:2                                                                                  U.S. 94:19 95:9
                        talking 16:6 43:19       205:16 206:19           21,24 62:14 98:24
surrounding 36:9                                                         99:5 107:25 114:8      104:20 106:2 111:25
                         54:10 153:7 163:2      thinks 77:7
                         170:5 174:8 178:17                              181:5                 ultimately 32:23
survey 86:4 180:20
 181:17 182:3,9,10,      189:13                 thought 20:13                                   66:17 135:16 161:4
                                                                        total 184:19
 15,16 183:16 184:2,                            throw 209:9                                     164:16 170:13 222:2
                        talks 116:13                                    track 192:24
 18 185:21,24 187:2                                                                            unable 57:10
 189:10 190:15 191:4,   tallying 219:9          time 11:13 12:14
                                                                        traditional 62:6
 12,23 192:6,13,16,                              13:16,21 16:7 17:9                            unchanged 129:7
                        targeted 99:22                                   150:23
 20,21 193:5,9,18,19                             22:11 23:20 27:20
                                                 41:16 42:4 63:14       traditionally 89:15    undated 13:2 18:7
                        technically 36:21
surveyed 118:19                                  65:6 66:20 67:9                                19:14 27:10 35:3,16
                         160:6                                          trailed 194:12
                                                 69:17,19 71:6 72:10                            73:14 75:12,20 89:9,
surveys 194:3           technological 25:3                                                      19 91:17 93:14,16,20
                                                 76:11 80:2,6,14 82:4   training 20:15 205:3
swear 10:13 11:18                                83:14 90:25 92:15                              94:10,14 95:14,18,23
                        telling 116:5 154:14                            transcribed 15:24       96:25 97:5,13 98:8
 197:7                                           94:24 97:24 105:20
                        template 51:12,14        106:9 108:5 116:5      transcript 16:8         101:12 103:2,19
swearing 10:16           53:25 56:2,16,20                                                       106:18 109:4,16,22
                                                 130:13,24 131:3,6
sworn 12:3 223:21        59:13 60:14 62:22       136:14 137:4,6,24      transmission 55:19      110:5 111:4 112:16
                         63:3 146:25             154:21 156:2 159:11                            113:4 114:4 116:6,9
system 44:10,19,24                                                      transmitted 141:21
                                                 163:23 174:6 180:6                             124:8,11,17 129:13
 45:10,14,17 65:16      templates 47:18                                 transparency 175:7      159:18,25 160:3,7
                         48:3,11 49:25 54:22     202:7 205:18 206:3,
 68:20,23,25 69:15,16                                                                           174:14 175:15 179:8
                                                 6,11,15 209:15         trigger 71:3 76:19
 71:3 72:20 75:16       temporarily 140:8                                                       180:14 182:18
                                                 221:10 223:3            82:11
 76:3,9,17 77:22                                                                                183:12 189:5
 78:17 80:11,15 81:9    ten 119:2,4 192:12,15   time-stamp 217:12,      trouble 53:24
 82:5,10,14,16 86:7                              17                                            undated/misdated
                        term 18:8 29:5 30:22                            true 90:11 118:9,24     105:23
 116:15 118:4,7
                         31:6 41:3,4 52:18      timeline 102:19          137:18 162:23
 122:21 170:8 175:6,                                                                           underlined 145:13
                         74:4 88:11 95:25                                221:23
 20 197:25 217:6                                timeliness 127:19
                         98:2 108:16 119:10                                                    understand 16:12
systematic 86:14         131:25 132:5 140:11    timely 65:10,22 66:6,   truthfully 17:6
                                                                                                36:13 55:8 112:21
                         190:16 197:17,19        9,18 67:3,20,21,24
systematically                                                          truthfulness 204:18     132:5 147:17 154:7
                         198:8,11 207:3,13,17    68:8,17 83:16 109:5                            200:12 203:9 204:4,6
 44:9,18 187:6           208:18,19 217:19                               TSG 10:5
                                                 116:23 122:20,25                               221:25
systems 28:23 31:8       219:11,16               136:7 138:11 149:3     Tuesday 11:12 42:13
 50:6 197:24                                     157:4 158:8 165:8,11                          understanding
                        terms 29:3,8 31:22                               91:7,9
                                                 206:9                                          18:12 24:13 29:10
                         39:6 58:12 112:14
                                                                        turn 26:14 34:25        34:17 42:19 64:23
                         133:11 158:21 178:3    times 189:8 208:22                              83:7 84:21 93:12,23
                                                                         48:16 53:21 57:16
                         204:18                  212:19                                         94:5 104:15 112:11
                                                                         86:19 108:20 113:22



                                 TSG Reporting - Worldwide· · 877-702-9580

                                                 Pa.App.0881
               Case:
              Case   23-3166 Document:
                   1:22-cv-00339-SPB    146 Page:
                                     Document     886 05/05/23
                                              301 Filed Date Filed:
                                                                Page01/10/2024
                                                                      377 of 378

                                                                                        Index: understood..wrong
 120:17 122:4 126:8,   validity 10:15          voted 53:14 87:8          78:6 84:18,25 85:7      ways 121:4,8 184:4
 10 163:13 168:21                               197:21 198:3             86:11 87:8,24 88:4
                       variation 61:7                                                            web 182:10
 171:12,25 197:13,14                                                     104:6 119:12 121:17,
                        120:24                 voter 18:15 21:2
 198:6 200:6 220:8                                                       20 122:6,9,18 123:3,    website 121:25
                                                22:25 28:20 36:20
                       varies 180:2                                      9 139:3,9,17,18,19
understood 16:17                                37:19,20,22 41:10                                Wecht 93:17
                                                                         140:3 141:7,11,14
 17:22 92:20 96:2      variety 20:19 28:10      43:2,4,20 44:8,13,20
                                                                         143:18,25 147:9
 164:6 188:7 198:12,                            45:8,11,13,15,16,21
                                                                                                 Wecht's 97:16
                       vary 49:21 51:18                                  148:8,10,18,22 151:3
 22                                             46:15 49:3,4 51:7,8                              week 108:4 141:25
                        58:5,12 80:16 84:16                              153:12,24 154:8
                                                52:11,13,20,22 53:5,                              152:7
undertake 195:4                                                          155:25 157:4 159:21
                       verbatim 58:24           9,14 55:9 56:4,5,7,
                                                                         170:7 171:10 172:3      week's 159:3
uniform 20:25 32:6                              11,24 57:10 60:17
                                                                         176:20 212:15
 36:19 44:24 65:24
                       verification 102:13      61:10 62:23 64:2,5
                                                                         215:15                  weeks 67:10,17
                        137:22                  67:8,18,25 68:4,10                                68:13 73:11 156:7,13
uniformity 84:10                                69:11,23 70:17 71:4,    votes 64:5 67:25
                       verified 46:2 49:6
unique 69:7,10                                  5,7,17,19,21 73:17       219:10,12               Western 11:8
                        203:7
 157:10                                         74:21 76:10,20,22,23                             wizardry 25:3
                       verify 44:7,19 45:14,                            voting 28:23 29:4
                                                77:6,12,15 79:10
United 11:7             19 46:13 135:14                                  30:2,15 31:8 42:22      word 115:13 151:7
                                                80:24 81:2,3 82:12,
                        165:5,7                                          44:15 52:21 56:8         189:4 197:15 208:10,
universally 190:5                               17 88:7 89:16
                                                                         87:13 105:8 140:13       16 219:4
                       verse 153:23 154:6       101:20,24 102:12
unknown 140:6                                                            197:23 212:18
                                                104:7 117:13,14                                  words 52:16 89:5
                       version 52:7 56:16       119:13,18 121:14,18
unopened 66:15                                                                                    124:15 169:25
                        167:24,25 172:17        123:12 126:22 127:5,              W
unpack 44:18                                    8,15,20,23 128:3,5,6,                            work 22:5 23:7 27:23
                       versus 11:6 12:17
                                                13 132:9,21 133:4,                                32:9,10 33:18 83:5
unsigned 73:14          17:24 19:16 60:4                                wait 16:2 33:9 45:5
                                                12,22 134:5,8,11,21                               130:20
 75:12                  65:18 73:14 96:9                                 156:6 218:6
                        106:25 112:8,12         135:9 136:11 137:13,                             worked 21:12,21
untimely 66:11                                  23 138:4 140:11         waited 156:21
                        207:23                                                                    59:11
UOCAVA 36:17,19                                 141:3,5,18 142:9        Walczak 12:11,16,24
                       Vic 12:16 60:18          143:12,14,22 144:25                              worker 217:3,9
 37:10 87:15 88:12                                                       13:23 14:2 15:2,8,15,
                        134:23                  145:23,24 146:3,10,
 138:18 139:9,18                                                         19 25:2,10,15,20        workers 211:25
 140:14 142:13,24      video 10:15 134:25       23 147:13 149:2,7,17     26:6 46:22 47:3,8,12
 143:2,22 151:5                                 150:7,16 151:5,22                                workflow 84:14
                                                                         51:16,21 59:19 60:24
                       video-recorded           156:5,11 160:8 179:2                              180:2 184:11,22
 153:12 154:13,25                                                        61:4,5 79:17,23 80:7
                        11:3                    184:3 185:2 194:6,
upcoming 124:18
                                                                         98:14 107:9 113:13      working 21:15,18
                       view 100:8,11 153:3,     16,23 195:7,16           124:22 125:10            24:10 25:5 217:9
 129:21,24                                      197:7,20 198:17,23
                        14 185:12                                        130:12 131:11 135:2,
update 83:12 108:5                              199:5,19,22 200:8,       5 138:19 139:5
                                                                                                 worried 122:10
                       viewed 115:4             14,18,23,25 201:5,8,     142:3,15 153:9,11       worth 112:25
updated 76:12                                   11,19 202:6,14,21,25
                       virtual 14:5                                      155:4 156:18 159:17
 110:19 172:16                                  203:6,12,16 205:9                                wrap 182:24
                                                                         160:14 161:23
                       virtually 163:16         210:7 211:9,13,22
upgrading 205:4                                                          201:25 205:23 209:2,    write 153:13 159:22
                                                212:2,18 213:16          5 210:20,22 212:14
                       vis-a-vis 27:22
upload 167:5,10                                 214:22 215:3,12          213:25 214:14,16        writes 102:13 137:13
 180:18 181:20         Von 10:3                 216:7 222:5,9,10         216:8 221:14 222:20,
 186:12 196:7 217:22                                                                             writing 33:16
                       vote 37:25 39:23        voter's 49:2 102:3        25
urging 134:17           40:4,9 41:11 56:6,9,
                                                                                                 written 32:12 96:13
                                                104:9 194:19 213:13,    Walczak's 220:16          101:19 126:17
                        12 69:2 102:4 139:20    20 214:17 221:18,22
                                                                        walk 41:9 46:17,18        138:13 154:16
                        140:9 157:5 200:19      222:3
          V
                        202:22 204:14 205:7                                                      wrong 101:8 136:9
                                               voters 27:5 36:23,24     walked 213:4
                        210:7 211:13,15                                                           144:15 211:20 212:3,
vacating 111:25                                 37:9 39:4,22,24         wanted 61:3 113:3
                        212:22 213:11                                                             16
                                                42:11 45:2,3 49:22       116:21 117:11,12,14,
vague 215:20            214:19,24 215:3
                                                50:17,20 58:18 59:14     16 142:22 162:10
                        221:22 222:8
valid 51:8 66:21                                63:17 67:5,7,9 77:24     175:18 221:16



                                TSG Reporting - Worldwide· · 877-702-9580

                                                Pa.App.0882
               Case:
              Case   23-3166 Document:
                   1:22-cv-00339-SPB    146 Page:
                                     Document     887 05/05/23
                                              301 Filed Date Filed:
                                                                Page01/10/2024
                                                                      378 of 378

                                                                          Index: year..zone


          Y

year 18:7 19:13 21:10
 75:10 91:6 98:4
 180:13
years 18:5,17,18,20
 20:18 21:12,14 23:9
 24:8 35:14 82:22
 136:19,21 171:15
 188:20


          Z

zone 11:14




                           TSG Reporting - Worldwide· · 877-702-9580

                                        Pa.App.0883
         Case: 23-3166 Document:
         Case 1:22-cv-00339-SPB  146 Page:
                                Document 302 888     Date Filed:Page
                                              Filed 05/05/23     01/10/2024
                                                                     1 of 98



                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                              ERIE DIVISION


 PENNSYLVANIA STATE                             :
 CONFERENCE OF THE NAACP,                       :
 ET. AL.                                        :        Case No. 1:22-CV-339-SPB
                                                :
                      Plaintiffs,               :
                                                :
          v.                                    :
 AL SCHMIDT, ET. AL.                            :
                                                :
                      Defendants.               :


RESPONSE OF DEFENDANT, LANCASTER COUNTY BOARD OF ELECTIONS, TO
       PLAINTIFFS’ CONCISE STATEMENT OF MATERIAL FACTS

      Defendant, Lancaster County Board of Elections (“LCBOE”), files this response to

plaintiffs’ concise statement of material facts (ECF No. 283).


        1.     Pennsylvania has long provided absentee-ballot options for voters who

  cannot attend a polling place on Election Day. APP_00954 (Marks Dep.); 25 P.S.

  § 3146.1–3146.9.

      Not disputed.


        2.     In 2019, Pennsylvania enacted new mail-in voting provisions, which

  allow all registered, eligible voters to vote by mail. APP_00954 (Marks Dep.);

  APP_01180 (Greenburg Report); Act of Oct 31, 2019, P.L. 552, No. 77, § 8.

      Not disputed.


        3.     More than 2.6 million Pennsylvanians voted by absentee or mail ballot

  in the November 2020 general election, and more than 1.2 million Pennsylvanians

                                            1
                                     Pa.App.0884
         Case:1:22-cv-00339-SPB
         Case  23-3166 Document:  146 Page:
                                Document 302 889    Date Filed:
                                             Filed 05/05/23     01/10/2024
                                                             Page  67 of 98



         60.    The only other purported use for the voter-written date identified in

discovery by any county is that considering the date written on a voter declaration

might aid in prosecution of voter fraud relating to deceased voters. No county

mentioned this use of the voter-written date in their interrogatory responses, but both

Lancaster County and Westmoreland County addressed it when deposed.

APP_00910-915 (Westmoreland Dep.); APP_00888-892 (Lancaster Dep.).



         Not disputed.
         61.    If a county board of elections learns that a registered voter died before

8:00 P.M. on Election Day, the board of elections removes the deceased person from

the voter rolls. 25 P.S. § 3146.8(d); APP_01191 (Greenburg Report); APP_01016-1019,

APP_01026-1029 (Greenburg Dep.); APP_00888-892, APP_00895-896 (Lancaster

Dep.).

    Not disputed.


         62.    County boards of elections determine whether a voter died before 8:00

P.M. on Election Day by reviewing Department of Health records, local obituaries,

and/or death certificates. APP_00895-896 (Lancaster Dep.); APP_00911-912

(Westmoreland Dep.); APP_01032 (Greenburg Dep.).

               Not disputed.


         63.    If a county board of elections learns that a registered voter died before

8:00 P.M. on Election Day, the county board of elections will not count that person’s

vote, even if the vote was timely submitted before the voter’s death. APP_00818

(Berks Dep.); APP_00890-891 (Lancaster Dep.); APP_00911-914 (Westmoreland
                                    67
                                      Pa.App.0885
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 302 890    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  68 of 98



Dep.); APP_01016-1019, APP_01026-1029 (Greenburg Dep.).

      Not disputed.


      64.    If a county board of elections learns that a registered voter died before

8:00 P.M. on Election Day, the county board of elections will not count that person’s

vote, regardless of what if any handwritten date appears on the outer return envelope

of the deceased voter’s ballot. 25 P.S. § 3146.8(d); APP_00819 (Berks Dep.);

APP_00890-891 (Lancaster Dep.); APP_00914 (Westmoreland Dep.); APP_01016-

1019, APP_01026-1029 (Greenburg Dep.).

                 a. For example, the Beaver County Board of Elections set aside the

                    ballot of a deceased voter who also happened to write the date on

                    the wrong line of their return envelope. On the return envelope,

                    an elections official wrote “Voter passed away[,] DOH notification

                    11/3/22[,] moot on date.” APP_01485.

            Not disputed.

      65.    A voter whose mail ballot was timely received by their county board of

elections could only have signed the voter declaration form in the year 2022, because

the county boards of elections did not begin sending the relevant mail ballot materials

to voters until August 2022 or later (see supra ¶ TK), and the ballots must have been

received by November 8, 2022 to be considered timely. APP_00835-81 (Berks Dep.);

APP_00878-879, APP_00884-885 (Lancaster Dep.); APP_00923-924, APP_00929g,

APP_00929l-929q (Westmoreland Dep.).

            Not disputed.



                                          68
                                   Pa.App.0886
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 302 891    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  97 of 98




 (Berks Dep.); APP_00930-931 (Westmoreland Dep.); APP_01183 (Greenburg

 Report).

      Not disputed.


       114.     County boards of elections are capable of updating records of the

 total number of votes received by each candidate in past elections if ordered to do

 so   by    a   court.   APP_01183-1184    (Greenburg   Report);   APP_00931-932

 (Westmoreland Dep.).

      Not disputed.


                                                    Respectfully submitted,

Date: May 5, 2023                                   /s/ Walter S. Zimolong
                                                    WALTER S. ZIMOLONG III, ESQ.
                                                    wally@zimolonglaw.com
                                                    JAMES J. FITZPATRICK III, ESQ.
                                                    james@zimolonglaw.com
                                                    P.O. Box 552
                                                    Villanova, PA 19085
                                                    (215) 665-0842
                                                    Attorneys for Defendant
                                                    Lancaster County Board of
                                                    Elections




                                          97
                                  Pa.App.0887
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 302 892    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  98 of 98




                            CERTIFICATE OF SERVICE


      I hereby certify the foregoing has been filed electronically and is available for

viewing and downloading from the Electronic Case Filing System of the United States

District Court for the Western District of Pennsylvania. I further hereby certify that,

in accordance with Fed. R. Civ. P. 5, service has been made upon counsel of record

via ECF.

                                                     Respectfully submitted,

Date: May 5, 2023                                    /s/ Walter S. Zimolong III
                                                     Walter S. Zimolong III, Esq.
                                                     wally@zimolonglaw.com
                                                     James J. Fitzpatrick III, Esq.
                                                     james@zimolonglaw.com
                                                     P.O. Box 552
                                                     Villanova, PA 19085
                                                     (215) 665-0842
                                                     Attorneys for Defendant
                                                     Lancaster County Board of
                                                     Elections




                                          98
                                   Pa.App.0888
        Case: 23-3166 Document:
        Case 1:22-cv-00339-SPB  146 Page:
                               Document 311 893     Date Filed:Page
                                             Filed 05/05/23     01/10/2024
                                                                    1 of 53




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 PENNSYLVANIA STATE CONFERENCE OF
 THE NAACP, et al.,

                Plaintiffs,
                                                      Case No. 1:22-cv-00339
        v.

 AL SCHMIDT, et al.,

                Defendants.



    DEFENDANTS’ COUNTY BOARDS OF ELECTIONS ADDITIONAL CONCISE
          STATEMENT OF MATERIAL FACTS AND RESPONSES TO
   INTERVENOR-DEFENDANTS’ CONCISE STATEMENT OF MATERIAL FACTS

       Defendants Allegheny, Bucks, Chester, Montgomery, and Philadelphia County Boards of

Elections (“Responding Counties”) hereby submit an Additional Concise Statement of Material

Facts followed by Responses to Intervenor-Defendants’ Concise Statement of Material Facts

(which Responses begin at page 7 below).

       Responding Counties believe that enforcement of the requirement to handwrite a date on

the outer return envelope of an absentee or mail-in ballot violates the materiality provision of the

Civil Rights Act as a matter of law. Responding Counties, however, take no position on the merits

of the separate constitutional claims raised by the Plaintiffs in this action or the merits of the

“standing” arguments raised by Plaintiff’s and Intervenor-Defendants.




                                                 1
                                         Pa.App.0889
        Case: 23-3166 Document:
        Case 1:22-cv-00339-SPB  146 Page:
                               Document 311 894     Date Filed:Page
                                             Filed 05/05/23     01/10/2024
                                                                    2 of 53




  RESPONDING COUNTIES’ ADDITIONAL STATEMENT OF MATERIAL FACTS

  I.    Philadelphia County Board of Elections (“Philadelphia County”) does not use the
        handwritten date to determine the qualification of the voter, the timeliness of the
        ballot, or prevent fraud

       1.      To vote by absentee or mail-in ballot in Philadelphia County, prospective voters

must first send a voter application to Philadelphia County. APP-70 (Custodio Decl. ¶ 6).

       2.      Philadelphia County then reviews the application and determines whether the voter

is registered and qualified to vote. APP-70–71 (Custodio Decl. ¶¶ 6, 12); 25 P.S §§ 3146.2b,

§ 3146.8(g)(4), 3150.12b.

       3.      If Philadelphia County approves the application, it mails an absentee or mail-in

ballot package to the approved voter. APP-70 (Custodio Decl. ¶ 6).

       4.      This review and approval process at the application stage confirms the voter’s

identity and eligibility to vote. APP-70–71 (Custodio Decl. ¶¶ 6, 12).

       5.      Philadelphia County’s determination that an individual is qualified to vote is

conclusive unless the voter’s eligibility is challenged before Election Day. 25 P.S. §§ 3150.12b,

3146.8(g)(3)-(4).

       6.      Each absentee and mail-in ballot envelope contains a correspondence ID that is

unique to both the voter and election for export to the Statewide Uniform Registry of Electors

(SURE) system. APP-71–72 (Custodio Decl. ¶¶ 10, 16).

       7.      When Philadelphia County receives absentee and mail-in ballot envelopes, it runs

those envelopes through a sorting machine that scans the unique ID and records that the voter has

returned an absentee or mail-in ballot. APP-70–71 (Custodio Decl. ¶¶ 8-10).

       8.      This system prevents a voter from using outdated ballot material because

Philadelphia County will only count absentee and mail-in ballot that contain the correspondence

ID unique to both the voter and the election. APP-72 (Custodio Decl. ¶¶ 15-16).


                                                2
                                        Pa.App.0890
        Case: 23-3166 Document:
        Case 1:22-cv-00339-SPB  146 Page:
                               Document 311 895     Date Filed:Page
                                             Filed 05/05/23     01/10/2024
                                                                    3 of 53




      9.      This process does not rely on the voter’s handwritten date on the outer return

envelope to determine the voter’s qualifications to vote. APP-70–71 (Custodio Decl. ¶¶ 6, 12).

      10.     Philadelphia County also ensures that each absentee and mail-in ballot is timely

received, because absentee and mail-in voter must fill out and return the ballot to Philadelphia

County by 8:00 p.m. on Election Day. APP-70–71 (Custodio Decl. ¶¶ 6, 8-11) 25 P.S. §§ 3146.6,

3150.16.

      11.     Philadelphia County records the time it receives each returned absentee or mail-in

ballot envelope. APP-70 (Custodio Decl. ¶ 9).

      12.     The vast majority of all ballots are run through the sorting machine, which stamps

each ballot envelope with the date and time the ballot was returned to Philadelphia County. APP-

70 (Custodio Decl. ¶ 9).

      13.     A small number of ballots are manually marked with the date and time the ballot

was returned to Philadelphia County. APP-70 (Custodio Decl. ¶¶ 8-9).

      14.     Philadelphia County then confirms the timeliness of each absentee and mail-in

ballot by referring to the date and time that it was either stamped by the sorting machine or

manually marked by Philadelphia County. APP-71 (Custodio Decl. ¶ 11).

      15.     A voter’s handwritten date is irrelevant to this process and is not used to determine

whether a mail-in or absentee ballot is timely received. It serves no purpose to Philadelphia

County. APP-71–72 (Custodio Decl. ¶¶ 12, 16). The Allegheny, Bucks, Chester, and Montgomery

County Boards of Elections likewise do not use the handwritten date to determine whether a voter

is qualified, or whether a ballot was timely. APP-79–80 (Allegheny County Response to

Interrogatory No. 14); APP-85 (Bucks County Response to Interrogatory No. 14); APP-97




                                                3
                                       Pa.App.0891
        Case: 23-3166 Document:
        Case 1:22-cv-00339-SPB  146 Page:
                               Document 311 896     Date Filed:Page
                                             Filed 05/05/23     01/10/2024
                                                                    4 of 53




(Chester County Response to Interrogatory No. 14); APP-102–103 (Montgomery County

Response to RFA Nos 1, 2).

       16.     Philadelphia County has not identified any actual or suspected instances of voting-

related fraud connected with absentee or mail-in ballots, and it has no reason to believe that non-

enforcement of the handwritten date requirement would cause an increase in voter-related fraud.

APP-72 (Custodio Decl. ¶¶ 15-16).

       17.     Philadelphia County will need to expend significant time and labor to check for a

handwritten date that is not relevant to determining that any ballots were timely received, whether

the voter is qualified to vote, or any other purpose. APP-71 (Custodio Decl. ¶¶ 12, 14).

       18.     Philadelphia County receives many absentee and mail-in ballots each election

cycle. APP-71–72 (Custodio Decl. ¶ 14).

       19.     For example, in the 2022 General Election, Philadelphia County received nearly

134,000 absentee and mail-in ballots before the Election Day deadline. APP-71–72 (Custodio

Decl. ¶ 14).

       20.     Given the volume, Philadelphia County does not manually review the vast majority

absentee and mail-in ballots. APP-71 (Custodio Decl. ¶ 13 & n.1).

       21.     Rather, automated sorting machines are configured to recognize when a ballot is

returned without a handwritten signature or without the internal secrecy envelope that is required

by the Pennsylvania Election Code. APP-71 (Custodio Decl. ¶ 13 & n.1).

       22.     These machines cannot be configured to detect a ballot missing a “correct”

handwritten date. APP-71 (Custodio Decl. ¶ 13 & n.1).




                                                4
                                        Pa.App.0892
          Case: 23-3166 Document:
          Case 1:22-cv-00339-SPB  146 Page:
                                 Document 311 897     Date Filed:Page
                                               Filed 05/05/23     01/10/2024
                                                                      5 of 53




          23.        To enforce the dating requirement, Philadelphia County is required to devote

considerable extra time and labor to manually identify ballots that have a missing or incorrect date.

APP-71–72 (Custodio Decl. ¶¶ 13-14).

II.       The dating requirement disproportionately affects elderly Pennsylvania residents.

          24.        In the 2022 General Election, pursuant to orders of the Pennsylvania Supreme

Court, Philadelphia County was required to segregate and not count 2,617 timely ballots by

otherwise qualified voters solely because the voters failed to comply with the handwritten date

requirement. APP-3 (Philadelphia County Response to Interrogatory No. 2).

          25.        None of the voters who submitted those ballots submitted replacement ballots, but

580 of those voters submitted provisional ballots. APP-3 (Philadelphia County Response to

Interrogatory No. 2).

          26.        Elderly voters were disproportionately overrepresented in the number of segregated

and uncounted ballots:

         The median age of voters who submitted undated ballots is 64-years old. The median

          jumps to 66-years old for voters who submitted misdated ballots.

         Voters over the age of 50 submitted nearly 75% of undated ballots and 77% of misdated

          ballots.

         Voters over the age of 60 submitted more than 60% of the undated ballots and 64% of

          the misdated ballots.

         Voters over the age of 70 submitted more than 40% of misdated ballots and 37.5% of

          undated ballots.

         Voters in their 80s submitted approximately 14% of the undated and misdated ballots.




                                                     5
                                              Pa.App.0893
        Case: 23-3166 Document:
        Case 1:22-cv-00339-SPB  146 Page:
                               Document 311 898     Date Filed:Page
                                             Filed 05/05/23     01/10/2024
                                                                    6 of 53




      And more than 70 ballots from voters 90-years old and older were segregated and not

       counted as either misdated or undated.

APP-18-20 (Philadelphia County Board of Elections 11/18/2022 Meeting Transcript at 4-6,

PHILA-000041-43).

        27.   “[T]hese percentages all are significantly higher than the percentage of

Philadelphia’s registered voters that these age groups represent.” APP-20 (Philadelphia County

Board of Elections 11/18/2022 Meeting Transcript at 6:2-5, PHILA-000043).

        28.   Philadelphia County’s review of the data suggests that enforcement of the dating

requirement in the 2022 General Election also disproportionately impacted discrete Philadelphia

communities, including areas with higher poverty rates and lower rates of educational attainment.

APP-20 (Philadelphia County Board of Elections 11/18/2022 Meeting Transcript at 6:13-20,

PHILA-000043).




                                                6
                                       Pa.App.0894
        Case: 23-3166 Document:
        Case 1:22-cv-00339-SPB  146 Page:
                               Document 311 899     Date Filed:Page
                                             Filed 05/05/23     01/10/2024
                                                                    7 of 53




     RESPONDING COUNTIES’ RESPONSES TO INTERVENOR-DEFENDANTS’
               CONCISE STATEMENT OF MATERIAL FACTS

I.     THE PARTIES

       A.       Plaintiffs

STATEMENT OF MATERIAL FACT

        1.     Plaintiff the Pennsylvania State Conference of the NAACP is a “non-profit, non-
partisan organization” which “engages in efforts to get out the vote.” Ex. 1, Am. Compl. ¶¶ 1112
(Dkt. No. 121).

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

        2.       Plaintiff The League of Women Voters of Pennsylvania is a “nonpartisan
statewide non-profit” whose “mission includes voter registration, education, and get-out-the-vote
drives.” Id. ¶¶ 14-15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

        3.       Plaintiff Philadelphians Organized to Witness, Empower and Rebuild is “a
Pennsylvania nonprofit” whose “civic engagement efforts include voter education programs, voter
registration drives, information about applying for mail ballots, completing them properly and
returning them on time, and `Souls to the Polls’ efforts to encourage congregants to vote.” Id. ¶¶
17-18.
RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

        4.       Plaintiff Common Cause Pennsylvania is “a non-profit political advocacy
organization and a chapter of the national Common Cause organization,” and “seeks to increase
the level of voter registration and voter participation in Pennsylvania elections.” Id. ¶¶ 21-22.

RESPONSE

Responding Counties do not dispute this fact.




                                                7
                                        Pa.App.0895
        Case: 23-3166 Document:
        Case 1:22-cv-00339-SPB  146 Page:
                               Document 311 900     Date Filed:Page
                                             Filed 05/05/23     01/10/2024
                                                                    8 of 53




       5.      Plaintiff Black Political Empowerment Project is “a non-profit, non-partisan
organization” whose “work includes voter registration drives, get-out-the-vote activities,
education and outreach about the voting process, and election-protection work.” Id. ¶¶ 24-25.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       6.      Plaintiff Make the Road Pennsylvania is “a not-for-profit, member-led
organization” whose “work includes voter protection voter advocacy and voter education.” Id.
¶¶ 26-27.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       7.      Plaintiffs Barry M. Seastead, Marlene G. Gutierrez, Aynne Margaret Pleban
Polinski, Joel Bencan, and Laurence M. Smith plead that they are registered voters in
Pennsylvania. Id. ¶¶ 30, 32, 34, 35, 36.

RESPONSE

Responding Counties do not dispute this fact.

B.             Named Defendants

STATEMENT OF MATERIAL FACT

        8.    Defendant Al Schmidt is Acting Secretary of the Commonwealth.
https://www.dos.pa.gov/about-us/Pages/Secretary-of-the-Commonwealth.aspx.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

        9.      The Secretary of the Commonwealth has the duty “[t]o receive from county boards
of elections the returns of primaries and elections, to canvass and compute the votes cast for
candidates and upon questions as required by the provisions of this act.” 25 P.S. § 2621(f).

RESPONSE

Responding Counties do not dispute this legal conclusion.



                                                8
                                       Pa.App.0896
        Case: 23-3166 Document:
        Case 1:22-cv-00339-SPB  146 Page:
                               Document 311 901     Date Filed:Page
                                             Filed 05/05/23     01/10/2024
                                                                    9 of 53




STATEMENT OF MATERIAL FACT

        10.      Defendant County Boards of Elections have “jurisdiction over the conduct of
primaries and elections in [their respective] count[ies], in accordance with the provisions of this
act.” 25 P.S. § 2641(a).

RESPONSE

Responding Counties do not dispute this legal conclusion.

       C.      Intervenor-Defendants

STATEMENT OF MATERIAL FACT

        11.     The Republican National Committee is the national committee of the Republican
Party as defined by 52 U.S.C. § 30101(14).

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

      12.      The National Republican Congressional Committee is the national congressional
committee of the Republican Party as defined by 52 U.S.C. § 30101(14).

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

        13.     The Republican Party of Pennsylvania is a major political party, 25 P.S. § 2831(a),
and the “State committee” for the Republican Party in Pennsylvania, 25 P.S. § 2834, as well as a
federally registered “State Committee” of the Republican Party as defined by 52 U.S.C. §
30101(15).

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

       14.     Any court order purporting to change the law and direct counting of undated or
incorrectly dated mail-in or absentee ballots would inflict significant harm on Intervenor-
Defendants. See Ex. 2, Intervenor-Defendants’ Resps. & Objs. To Plaintiffs’ First Set of Interrogs.
#1.




                                                9
                                        Pa.App.0897
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 902    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  10 of 53




RESPONSE

This is an assertion of opinion, lacking non-speculative factual support. Responding Counties
dispute this opinion, which is immaterial to the issue of whether the dating requirement violates
the materiality provision of the Civil Rights Act.1

STATEMENT OF MATERIAL FACT

       15.     Unlawful counting of ballots undermines the integrity of elections, generates voter
confusion, and erodes public confidence in elections. Therefore, unlawful counting of ballots can
discourage voters, including Republican voters, from voting or otherwise participating in elections
and, thus, change the outcome of election contests in Pennsylvania. See id. at 7-8; Crawford v.
Marion Cnty. Election Bd., 553 U.S. 181, 197 (2008).

RESPONSE

Responding Counties do not dispute that unlawful counting of ballots has the potential to
undermine the integrity of elections. Responding Counties do dispute the underlying legal
conclusion that counting ballots with an undated or incorrectly dated outer return envelope
constitutes an unlawful counting of ballots.

STATEMENT OF MATERIAL FACT

       16.     Intervenor-Defendants were the prevailing parties in the Ball litigation upholding
the date requirement, so any court order invalidating the date requirement harms Intervenor-
Defendants’ rights secured in that litigation. See Ex. 2 at Interrog. #1.

RESPONSE

This is a legal conclusion, not a fact. Responding Counties dispute this legal conclusion, which is
immaterial to the issue of whether the dating requirement violates the materiality provision of the
Civil Rights Act.

STATEMENT OF MATERIAL FACT

       17.     As political parties, Intervenor-Defendants expend substantial resources toward
educating, mobilizing, assisting, and turning out voters in Pennsylvania and supporting Republican
candidates up and down the ballot. Id.




1
 Responding Counties understand that reference in Statement of Material Fact No. 14 to “undated
or incorrectly dated mail-in or absentee ballots” is a reference to the undated or incorrectly dated
outer return envelopes of mail-in or absentee ballots. For purposes of this Response to Intervenor
Defendants’ Concise Statement of Material Facts, Responding Counties will treat those two
phrases as synonymous.


                                                10
                                         Pa.App.0898
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 903    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  11 of 53




RESPONSE

Responding Counties do not dispute the facts that Intervenor-Defendants expend resources toward
educating, mobilizing, assisting, and turning out voters in Pennsylvania and supporting Republican
candidates up and down the ballot. Responding Counties dispute the characterization of these
efforts as “substantial,” which is not a fact, and which is immaterial to the issue of whether the
dating requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        18.     These efforts include devoting time and resources toward training and education
programs that ensure that Intervenor-Defendants and their voters understand the rules governing
the election process, including applicable dates, deadlines, and requirements for voting by mail or
absentee. Id.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       19.     The efforts also encompass training, education, and monitoring of the voting and
vote counting process in Pennsylvania to ensure it is conducted lawfully. Id.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       20.     Any change in the laws governing Pennsylvania elections harms Intervenor-
Defendants by rendering their training, voter education, and monitoring programs less effective,
wasting the resources they have devoted to such programs, and requiring them to expend new
resources to update those programs. Id.

RESPONSE

This is an assertion of opinion, lacking non-speculative factual support. Responding Counties
dispute this opinion, which is immaterial to the issue of whether the dating requirement violates
the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        21.     For instance, the Republican Party of Pennsylvania has statutory rights to appoint
poll watchers to observe casting, counting, and canvassing of ballots at the polling place, 25 P.S.
§ 2687(a), and an “authorized representative” to “remain in the room” at the county board of
elections and observe the pre-canvass and canvass of “absentee ballots and mail-in ballots,” id. §§
3146.8(g)(1.1)-(2). See Ex. 2 at Interrog. #1.



                                                11
                                        Pa.App.0899
        Case:1:22-cv-00339-SPB
        Case  23-3166 Document:  146 Page:
                               Document 311 904    Date Filed:
                                            Filed 05/05/23     01/10/2024
                                                            Page  12 of 53




RESPONSE

This is a legal conclusion, not a fact.

STATEMENT OF MATERIAL FACT

        22.     The Republican Party of Pennsylvania has exercised these statutory rights in the
past several election cycles and will do so again in future election cycles. See Id.

RESPONSE

Responding Counties do not dispute that the Republican Party of Pennsylvania has exercised its
perceived statutory rights in the past several election cycles. The existence of those rights is a legal
conclusion, not a fact.

STATEMENT OF MATERIAL FACT

        23.     In conjunction with its Election Integrity Operations, the Republican Party of
Pennsylvania devotes substantial time and resources toward the recruitment and training of poll
workers, poll watchers, and volunteers throughout the 67 counties of the Commonwealth to assist
voters on election day, to observe the casting and counting of ballots at the polling place, and to
observe the pre-canvass and canvass of absentee and mail-in ballots at the county board of
elections. Id.

RESPONSE

Responding Counties do not dispute that in conjunction with its Election Integrity Operations, the
Republican Party of Pennsylvania devotes time and resources toward the recruitment and training
of poll workers, poll watchers, and volunteers throughout the 67 counties of the Commonwealth
to assist voters on election day, to observe the casting and counting of ballots at the polling place,
and to observe the pre-canvass and canvass of absentee and mail-in ballots at the county board of
elections. Responding Counties dispute the characterization of these efforts as “substantial,” which
is not a fact, and which is immaterial to the issue of whether the dating requirement violates the
materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        24.     As part of its Election Integrity Operations, the Republican Party of Pennsylvania
also devotes substantial time and resources toward the recruitment and training of a “ground team”
of lawyers throughout the Commonwealth who stand ready on Election Day to assist poll workers,
poll watchers, and volunteers should questions arise as to elections laws or the voting process
within the Commonwealth. Id.

RESPONSE

Responding Counties do not dispute that as part of its Election Integrity Operations, the Republican
Party of Pennsylvania also devotes time and resources toward the recruitment and training of a
“ground team” of lawyers throughout the Commonwealth who stand ready on Election Day to


                                                  12
                                          Pa.App.0900
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 905    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  13 of 53




assist poll workers, poll watchers, and volunteers should questions arise as to elections laws or the
voting process within the Commonwealth. Responding Counties dispute the characterization of
these efforts as “substantial,” which is not a fact, and which is immaterial to the issue of whether
the dating requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

       25.     The Republican Party of Pennsylvania’s Election Integrity Operations, training
programs, and voter education programs include training and information regarding the
requirements for voters to cast lawful and valid ballots, and the governing rules delineating
unlawful and invalid ballots and preventing election officials from pre-canvassing, canvassing, or
counting such ballots. Id.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

        26.     Any change in the laws governing Pennsylvania elections harms the Republican
Party of Pennsylvania by rendering its Election Day Operations, training programs, and voter
education programs less effective, wasting the resources they have devoted to such programs, and
requiring them to expend new resources to update those programs. Id.

RESPONSE

This is an assertion of opinion, lacking non-speculative factual support. Responding Counties
dispute this opinion, which is immaterial to the issue of whether the dating requirement violates
the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        27.      Any change in the laws governing Pennsylvania elections could affect the outcome
of an election in which Intervenor-Defendants, their voters, and their supported candidates exercise
their constitutional rights to vote and to participate. Id.

RESPONSE

This is an assertion of opinion, lacking non-speculative factual support. Responding Counties
dispute this opinion, which is immaterial to the issue of whether the dating requirement violates
the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

       28.     The Third Circuit’s failure to enforce the date requirement in Migliori v. Cohen
actually did change the outcome of an election in which a Republican candidate had prevailed.
See Ex. 3, Cert. Pet. at 7-12, Ritter v. Migliori, No. 22-30 (U.S. July 7, 2022), https://www.
supremecourt.gov/DocketPDF/22/2230/229591/20220707140738344 Ritter%20Petition.pdf.


                                                 13
                                         Pa.App.0901
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 906    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  14 of 53




RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the
date requirement violates the materiality provision of the Civil Rights Act.

II.     THE DATE REQUIREMENT

STATEMENT OF MATERIAL FACT

        29.     Pennsylvania’s election laws provide a date requirement for absentee and mail-in
voting. 25 P.S. § 3146.6(a); § 3150.16(a).

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

        30.      In both provisions, the wording of the date requirement is the same: “The elector
shall then fill out, date and sign the declaration printed on such envelope.” 25 P.S. § 3146.6(a); §
3150.16(a).

RESPONSE

Responding Counties do not dispute this legal conclusion.

       A.      The Date Requirement Has Been A Part Of Pennsylvania’s Election Code
               Since 1945.

STATEMENT OF MATERIAL FACT

       31.     The first version of the Election Code permitted some active military members to
vote by mail. Ex. 4, Act of June 3, 1937, P.L. 1333, No. 320, §§ 1327-1330, 1937 Pa. Laws 1333,
1442-44.

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

        32.     In 1945, the mail ballot provision was amended to require that the jurat on the
ballot-return envelope be dated. Ex. 5, Act of Mar. 9, 1945, P.L. 29, No. 17, sec. 10, § 1306, 1945
Pa. Laws 29, 37.

RESPONSE

Responding Counties do not dispute this legal conclusion.



                                                14
                                         Pa.App.0902
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 907    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  15 of 53




STATEMENT OF MATERIAL FACT

        33.     Eighteen years later, the General Assembly enacted the date requirement in its
current form, providing that “[t]he elector shall then fill out, date and sign the declaration printed
on such envelope.” Ex. 6, Act of Aug. 13, 1963, P.L. 707, No. 379, sec. 22, § 1304, 1963 Pa.
Laws. 707, 736.

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

         34.      In 2019, the General Assembly passed Act 77, extending the option to vote by mail
to all qualified voters, and adopting the date requirement for such ballots. Ex. 7, Act 77, P.L. 552,
sec. 8 (Oct. 31, 2019).

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

       35.      Act 77 also provides that section 8—containing the date requirement—is
“nonseverable,” and that “[i]f any provision of this act or its application to any person or
circumstance is held invalid, the remaining provisions or applications of this act are void.” Ex. 8,
Act 77, P.L. 552, sec. 11 (Oct. 31, 2019).

RESPONSE

Responding Counties do not dispute this legal conclusion.

       B.      The Date Requirement Has Been A Subject Of Multiple Recent Lawsuits.

STATEMENT OF MATERIAL FACT

       36.      After seven cases in five courts over two years, the current state of the law is that
the General Assembly’s date requirement is mandatory and that any noncompliant absentee or
mail-in ballot may not be counted.

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

        37.      In 2020, a majority of the Pennsylvania Supreme Court held that the date
requirement is mandatory and that election officials may not count any noncompliant ballot in any
election after the 2020 general election. See In re Canvass of Absentee and Mail-In Ballots of Nov.


                                                 15
                                          Pa.App.0903
        Case:1:22-cv-00339-SPB
        Case  23-3166 Document:  146 Page:
                               Document 311 908    Date Filed:
                                            Filed 05/05/23     01/10/2024
                                                            Page  16 of 53




3, 2020 Gen. Election, 241 A.3d 1058, 1079-80 (2020) (Opinion of Justice Wecht); id. at 1090-91
(Opinion of Justice Dougherty, Chief Justice Saylor, and Justice Mundy).

RESPONSE

This is a legal conclusion, and a characterization of the Pennsylvania Supreme Court’s opinion in
In re Canvass of Absentee and Mail-In Ballots of Nov. 3, 2020 Gen. Election, 241 A.3d 1058,
1079-80 (2020). Responding Counties dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

       38.      In the first two cases following that ruling, the Pennsylvania Commonwealth Court
upheld mandatory application of the date requirement. See In re Election in Region 4 for
Downington Sch. Bd. Precinct Uwchlan 1, 272 A.3d 993 (Pa. Commw. 2022) (unpublished),
appeal denied, 273 A.3d 508 (Pa. 2022); Ritter v. Lehigh Cnty. Bd. of Elections, 272 A.3d 989 (Pa.
Commw. 2022) (unpublished), appeal denied, 271 A.3d 1285 (Pa. 2022).

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

        39.     Four days after the Pennsylvania Supreme Court resolved Ritter, individual voters
filed a new lawsuit in federal court claiming that the date requirement violates the federal
materiality provision, 52 U.S.C. § 10101(a)(2)(B). See Ex. 9, Compl., Migliori v. Lehigh County
Bd. of Elections, No. 5:22-cv-397 (E.D. Pa. Jan. 31, 2022), ECF No. 1.

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

       40.      The Third Circuit agreed with the plaintiffs, but the U.S. Supreme Court vacated
that decision. See Migliori v. Cohen, 36 F.4th 153 (3d Cir. 2022), cert. granted and judgment
vacated, Ritter v. Migliori, No. 22-30, 2022 WL 6571686 (U.S. Oct. 11, 2022) (Mem.).

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

        41.       When addressing a request for a stay at an earlier stage in that case, three Justices
opined that the Third Circuit’s now-vacated holding was “very likely wrong” on the merits because
it rested upon a misconstruction of the materiality provision. Ritter, 142 S. Ct. at 1824 (Mem.)
(Alito, J., dissenting from the denial of the application for stay).



                                                  16
                                          Pa.App.0904
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 909    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  17 of 53




RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

       42.     The Commonwealth Court twice invoked the Third Circuit decision to depart from
the General Assembly’s date requirement in unpublished, non-precedential cases arising out of the
2022 primary election. See McCormick for U.S. Senate v. Chapman, 2022 WL 2900112 (Pa.
Commw. June 2, 2022) (unpublished); Chapman v. Berks Cnty. Bd. of Elections, 2022 WL
4100998 (Pa. Commw. Aug. 19, 2022) (unpublished).

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

        43.     Finally, in November 2022, the Pennsylvania Supreme Court exercised its original
jurisdiction to reaffirm that the General Assembly’s date requirement is mandatory. Ball v.
Chapman, 284 A.3d 1189 (Pa. 2022).

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

       44.      In that litigation, Acting Secretary Leigh M. Chapman agreed that the signature
requirement is valid and mandatory and does not violate the federal materiality provision. Ex. 10,
Acting Sec’y Ans. 15-23, Ball v. Chapman, No. 102 MM 2022 (Oct. 19, 2022).

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       45.      The Acting Secretary also conceded in that litigation that the secrecy envelope
does not violate the federal materiality provision. Id. at 39 n.15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       46.     In an opinion that followed, the Pennsylvania Supreme Court held that the date
requirement refers to the “day upon which an elector signs the declaration,” and noted that “[t]o


                                                17
                                        Pa.App.0905
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 910    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  18 of 53




hold otherwise would be to require unnecessarily specific drafting on the part of the General
Assembly.” Ball v. Chapman, 289 A.3d 1, 23 (Pa. 2023).

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

       47.      The Pennsylvania Supreme Court was evenly divided on whether the federal
materiality provision invalidates the date requirement. Id. at 9.

RESPONSE

Responding Counties do not dispute this legal conclusion.

       C.      Commonwealth v. Mihaliak

STATEMENT OF MATERIAL FACT

        48.     The date requirement has already been used to detect election fraud. See Ex. 11,
Tr. of Hearing in Chapman v. Berks County Bd. of Elections, No. 355 MD 2022 (Pa. Commw. July
28, 2022), at 100-116, 141-153.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act. Moreover, the handwritten
date played no role in determining the qualification of a voter or eligibility of a ballot because the
records showed—without any reference to the handwritten date—that the decedent in whose name
the ballot was cast had died before Primary Election Day. Chapman v. Berks Cnty. Bd. of Elections,
2022 WL 4100998 at *21 n.14 (Pa. Commw. Ct. Aug. 19, 2022).

STATEMENT OF MATERIAL FACT

       49.      Last year, officials in Lancaster County discovered that an individual had cast a
fraudulent ballot in her deceased mother’s name in Commonwealth v. Mihaliak, No. CR-126-22
(June 3, 2022); see Ex. 12, Affidavit of Probable Cause ¶ 2, Police Criminal Complaint,
Commonwealth v. Mihaliak, No. CR-126-22 (June 3, 2022) (“Mihaliak Compl.”).

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.




                                                 18
                                          Pa.App.0906
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 911    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  19 of 53




STATEMENT OF MATERIAL FACT

       50.       In Lancaster County, the only information a voter is required to supply on a ballot
declaration is the date and a signature. See Ex. 13, Exemplar Ballot Declaration from Lancaster
County Board; see also Ex. 77, Greenburg Dep. at 114:23-115:7.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        51.     Under the Pennsylvania Supreme Court’s current precedent, county boards of
elections lack authority to conduct signature comparisons, so they may not check ballots for a non-
matching signature, much less use any non-matching signature to detect fraud by a third party. See
In re November 3, 2020 General Election, 240 A.3d 591 (Pa. 2020).

RESPONSE

Responding Counties do not dispute this legal conclusion.

STATEMENT OF MATERIAL FACT

       52.    In Mihaliak, the only evidence on the face of the ballot declaration indicating that
someone other than the decedent had completed the ballot was the handwritten date of April 26,
2022, which was twelve days after the decedent had passed away. See Ex. 12 ¶ 2.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act. Moreover, the handwritten
date played no role in determining the eligibility of ballot because the records showed—without
any reference to the handwritten date—that the decedent in whose name the ballot was cast had
died before Primary Election Day. Chapman v. Berks Cnty. Bd. of Elections, 2022 WL 4100998
at *21 n.14 (Pa. Commw. Ct. Aug. 19, 2022).

STATEMENT OF MATERIAL FACT

       53.      The investigation into the election fraud committed in Mihaliak was predicated
upon the date supplied on the ballot declaration. See id. ¶ 2.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act. Moreover, the handwritten
date played no role in determining the eligibility of ballot because the records showed—without
any reference to the handwritten date—that the decedent in whose name the ballot was cast had



                                                19
                                         Pa.App.0907
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 912    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  20 of 53




died before Primary Election Day. Chapman v. Berks Cnty. Bd. of Elections, 2022 WL 4100998
at *21 n.14 (Pa. Commw. Ct. Aug. 19, 2022).

STATEMENT OF MATERIAL FACT

       54.      Plaintiffs’ putative expert agreed that the date supplied on the Mihaliak ballot
declaration was the only piece of evidence of fraud on the face of the ballot. Ex. 77 at 114:15118:2.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act. Moreover, the handwritten
date played no role in determining the eligibility of ballot because the records showed—without
any reference to the handwritten date—that the decedent in whose name the ballot was cast had
died before Primary Election Day. Chapman v. Berks Cnty. Bd. of Elections, 2022 WL 4100998
at *21 n.14 (Pa. Commw. Ct. Aug. 19, 2022).

STATEMENT OF MATERIAL FACT

        55.     Plaintiffs’ putative expert agreed that the date on the ballot declaration helped to
detect fraud in Mihaliak. Id. at 116:19-117:2.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act. Moreover, the handwritten
date played no role in determining the eligibility of ballot because the records showed—without
any reference to the handwritten date—that the decedent in whose name the ballot was cast had
died before Primary Election Day. Chapman v. Berks Cnty. Bd. of Elections, 2022 WL 4100998
at *21 n.14 (Pa. Commw. Ct. Aug. 19, 2022).

III. THIS LITIGATION

STATEMENT OF MATERIAL FACT

      56.    Plaintiffs in this case filed suit on November 4, 2022, seeking to invalidate the
General Assembly’s date requirement. ECF No. 1.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       57.     Plaintiffs claim that the date requirement—which has been on the books in some
form since 1945—violates a provision of the 1964 Civil Rights Act and the Equal Protection
Clause of the U.S. Constitution. Id.




                                                 20
                                         Pa.App.0908
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 913    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  21 of 53




RESPONSE

Responding Counties do not dispute this fact.

       A.     County Boards Of Elections’ Responses To Discovery Requests Regarding
              The 2022 General Election.

STATEMENT OF MATERIAL FACT

       58.    Allegheny County Board of Elections responded as follows.

              a.      It received 161,575 mail ballots, of which 151 were military ballots. Ex.
                      14, Allegheny Cnty. Bd.’s Am. Ans. to Interrog. #1.

              b.      It set aside 1,009 mail ballots with undated or misdated ballot declarations.
                      Ex. 15, Allegheny Cnty. Bd.’s Ans. to Interrog. #2.

              c.      It did not receive any undated or misdated military ballots. Id. at Interrog.
                      #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       59.    Beaver County Board of Elections responded as follows.

              a.      It received 15,172 mail ballots, of which 48 were military-overseas ballots.
                      Ex. 16, Beaver Cnty. Bd.’s Ans. to Interrog. #1.

              b.      It received 182 mail ballots with undated or misdated ballot declarations, of
                      which 41 were corrected or cured. Id. Of the non-cured mail ballots, 9 were
                      also missing their inner/secrecy envelopes. Id. “One voter who had an error
                      on their ballot also had a naked ballot,” and though that voter “corrected the
                      ballot envelope prior to [the board’s] notice being published,” “the ballot
                      was not counted as the error on the ballot was not determined until the pre-
                      canvassing began.” Id.

              c.      “No timely-received military-overseas ballots were missing a date or
                      signature or were dated incorrectly.” Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.




                                                21
                                        Pa.App.0909
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 914    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  22 of 53




STATEMENT OF MATERIAL FACT

       60.    Bedford County Board of Elections responded as follows.

              a.      It received 2,868 mail ballots and 6 military-overseas ballots. Ex. 17,
                      Bedford Cnty. Bd., et al. (“BCCZ”) Ans. to Interrog. #1.

              b.      It did not set aside any mail ballots for a date issue. Id. at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       61.    Berks County Board of Elections responded as follows.

              a.      It received 28,829 mail ballots, including 146 military-overseas ballots. Ex.
                      18, Berks Cnty. Bd.’s Ans. to Interrog. #1.

              b.      It set aside 782 mail ballots with undated or misdated ballot declarations.
                      Id. at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       62.    Blair County Board of Elections responded as follows.

              a.      It received 9,022 mail ballots, and 27 military-overseas ballots. Ex. 19,
                      Blair Cnty. Bd.’s Ans. Interrogs. #1.

              b.      It set aside 55 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

              c.      It did not receive any undated or misdated military ballots for which the
                      declaration was on the outside of the return envelope. Id. at Interrog. #15.

       63.    Bradford County Board of Elections responded as follows.

              a.      It received 2,787 mail ballots, and 16 military-overseas ballots. Ex. 20,
                      Bradford Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 20 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2. An additional 3 undated/misdated ballots lacked a secrecy
                      envelope. Id.



                                                 22
                                         Pa.App.0910
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 915    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  23 of 53




              c.      It did not receive any undated or misdated military-overseas ballots. Id. at
                      Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       64.    Bucks County Board of Elections responded as follows.

              a.      It received 87,321 mail ballots and 466 military-overseas ballots. Ex. 21,
                      Bucks Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 357 mail ballots with undated or misdated ballot declarations.
                      Id. at Interrog. #2.

              c.      It received 11 military-overseas ballots with undated or misdated ballot
                      declarations. Id. at Interrog. #15.

              d.      It counted military-overseas ballots with undated or misdated ballot
                      declarations. Id.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       65.    Butler County Board of Elections responded as follows.

              a.      It received 18,212 mail ballots. Ex. 22, Butler Cnty. Bd.’s Ans. Interrogs.
                      #1.

              b.      It set aside 66 mail ballots with undated or misdated ballot declarations.
                      Id.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.




                                                23
                                       Pa.App.0911
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 916    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  24 of 53




STATEMENT OF MATERIAL FACT

       66.    Cambria County Board of Elections responded as follows.

              a.      It received 9,848 mail and military-overseas ballots. Ex. 23, Cambria Cnty.
                      Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 38 mail-in/absentee ballots with undated or misdated ballot
                      declarations. Id. at Interrog. #2.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       67.    Cameron County Board of Elections responded as follows.

              a.      It received 410 mail ballots and 2 military-overseas ballots. Ex.         24,
                      Cameron Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 5 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       68.    Carbon County Board of Elections responded as follows.

              a.      It received 4,823 mail ballots and 14 military-overseas ballots. Ex. 17 at
                      Interrog. #1.

              b.      It set aside 27 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.




                                                24
                                        Pa.App.0912
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 917    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  25 of 53




STATEMENT OF MATERIAL FACT

       69.    Centre County Board of Elections responded as follows.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       70.    Chester County Board of Elections responded as follows.

              a.      It received 70,023 mail ballots and 638 military/overseas/federal absentee
                      ballots. Ex. 26, Chester Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 116 mail ballots with undated or misdated ballot declarations.
                      Id. at Interrog. #2. An additional 19 mail ballots had no date and no
                      signature. Id.

              c.      It set aside 12 military/overseas/federal absentee ballots with undated or
                      misdated ballot declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       71.    Clarion County Board of Elections responded as follows.

              a.      It received 12 mail ballots. Ex. 27, Clarion Cnty. Bd.’s Ans. to Interrogs.
                      #1.

              b.      It set aside 12 mail ballots with undated or misdated ballot declarations.
                      Id.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       72.    Clearfield County Board of Elections responded as follows.

              a.      It received 4,564 mail ballots, including 8 military and civilian overseas
                      ballots. Ex. 28, Clearfield Cnty. Bd.’s Ans. to Interrogs. #1 & Ex. “Clfd.
                      1.”




                                                25
                                       Pa.App.0913
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 918    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  26 of 53




              b.      It set aside 12 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       73.    Clinton County Board of Elections responded as follows.

              a.      It received 2,248 mail ballots and 14 military-overseas ballots. Ex. 29,
                      Clinton Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 20 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       74.    Columbia County Board of Elections responded as follows.

              a.      It received 4,168 mail ballots and 11 military-overseas ballots. Ex. 17 at
                      Interrog. #7.

              b.      It set aside 29 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       75.    Crawford County Board of Elections responded as follows.

              a.      It received 5,917 mail ballots and 22 military-overseas ballots. Ex. 30,
                      Crawford Cnty. Bd.’s Ans. to Interrogs. #1.




                                                26
                                        Pa.App.0914
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 919    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  27 of 53




              b.      It set aside 49 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrogs. #2, 8. It set aside an additional 2 mail ballots with undated or
                      misdated ballot declarations that also lacked a signature. Id. at Interrog. #8.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       76.    Cumberland County Board of Elections responded as follows.

              a.      It received 26,298 mail ballots and 113 military-overseas ballots. Ex. 31,
                      Cumberland Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 100 mail ballots with undated or misdated ballot declarations.
                      Id. at Interrog. #2.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       77.    Dauphin County Board of Elections responded as follows.

              a.      It received 25,839 mail ballots and 154 military-overseas ballots. Ex. 17 at
                      Interrog. #1.

              b.      It set aside 95 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.




                                                27
                                        Pa.App.0915
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 920    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  28 of 53




STATEMENT OF MATERIAL FACT

       78.    Delaware County Board of Elections responded as follows.

              a.      It received 60,154 mail ballots. Ex. 32, Delaware Cnty. Bd.’s Ans. to
                      Interrogs. #1.

              b.      It set aside 114 mail ballots with undated or misdated ballot declarations.
                      Id. at Interrog. #2.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       79.    Elk County Board of Elections responded as follows.

              a.      It received 2,012 absentee/mail-in ballots and 19 military-overseas ballots.
                      Ex. 33, Elk Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It received 10 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2. Of those, 7 voters either corrected the error or filed a
                      provisional ballot. Id. at Interrog. #13.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       80.    Erie County Board of Elections responded as follows.

              a.      It received 26,766 mail-in ballots and 41 military-overseas ballots. Ex. 34,
                      Erie Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 211 mail ballots with undated or misdated ballot declarations,
                      including cured ballots. Id. at Interrog. #2. An additional 8 mail ballots with
                      undated ballot declarations were also missing a signature. Id. at Interrog.
                      #8. 113 of these ballots were cured. Id. at Interrog. #13.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15.


                                                28
                                        Pa.App.0916
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 921    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  29 of 53




RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       81.    Fayette County Board of Elections responded as follows.

              a.      It received 9,036 mail ballots and 33 military-overseas ballots. Ex. 35,
                      Fayette Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 137 mail ballots with undated or misdated ballot declarations.
                      Id. at Interrog. #2. Eleven of these “signed another voter’s ballot return
                      envelope. Id. at Interrog. #8. 93 “[v]oters whose timely received mail ballots
                      were set aside and/or segregated by Fayette County because the signed outer
                      return envelope was missing a date or showed a date the county determined
                      to be incorrect” “came to the Fayette County Election Bureau and cured
                      their mail ballots.” Id. at Interrog. #13.

              c.      It stated that it “did not timely receive any military-overseas ballots in the
                      2022 General Election on which the voter failed to date their voter
                      declaration or included a date that the county deemed to be incorrect.” Id.
                      at Interrog. #15.

              d.      “Dates were not reviewed for military/overseas ballots that were timely
                      received.” Ex. 36, Fayette Cnty. Bd.’s Resps. to Requests for Prod. of Docs.
                      #3.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       82.    Forest County Board of Elections responded as follows.

              a.      It received 447 mail ballots and 0 military-overseas ballots. Ex. 37, Forest
                      Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 38 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2. Of these, two mail ballots were signed by the incorrect
                      person. Id. at Interrog. #8. Two ballots were cured. Id. at Interrog. #13.

RESPONSE

Responding Counties do not dispute this fact.




                                                29
                                        Pa.App.0917
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 922    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  30 of 53




STATEMENT OF MATERIAL FACT

       83.    Franklin County Board of Elections responded as follows.

              a.      It received 10,496 mail ballots and 68 military-overseas ballots. Ex. 38,
                      Franklin Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 114 mail ballots with undated or misdated ballot declarations.
                      Id. at Interrog. #2. Seven of those were also missing a signature. Id. at
                      Interrog. #8.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       84.    Greene County Board of Elections responded as follows.

              a.      It received 2,384 mail ballots and 7 military-overseas ballots. Ex. 39,
                      Greene Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 11 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       85.    Huntingdon County Board of Elections responded as follows.

              a.      It received 2,452 mail ballots and 8 military-overseas ballots. Ex. 17 at
                      Interrog. #1.

              b.      It set aside 34 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.




                                                30
                                        Pa.App.0918
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 923    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  31 of 53




STATEMENT OF MATERIAL FACT

       86.    Indiana County Board of Elections responded as follows.

              a.      It received 2,452 mail ballots and 8 military-overseas ballots. Id. at Interrog.
                      #1.

              b.      It set aside 107 mail ballots with undated or misdated ballot declarations.
                      Id. at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       87.    Jefferson County Board of Elections responded as follows.

               a.     It received 2,278 mail ballots and 12 military-overseas ballots. Id. at
                      Interrog. #1.

               b.     It set aside 23 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       88.    Juniata County Board of Elections responded as follows.

              a.      It received 1,244 mail-in ballots and 7 military-overseas ballots. Ex. 40,
                      Juniata Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside five mail ballots with undated or misdated ballot declarations.
                      Id. at Interrog. #2. Of those, two were also missing signatures. Id. at
                      Interrog. #8. Two ballots were cured. Id.

              c.      In response to whether it counted “timely-received military-overseas ballots
                      in the 2022 General Election if the voter failed to date their voter declaration
                      or included a date that [it] deemed to be incorrect,” it responded: “No.” Id.
                      at Interrog. #15. It set aside one military-overseas ballot with an undated
                      ballot declaration. Id. at Interrog. #16. It was also missing a signature. Id.

RESPONSE

Responding Counties do not dispute this fact.



                                                31
                                        Pa.App.0919
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 924    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  32 of 53




STATEMENT OF MATERIAL FACT

       89.    Lackawanna County Board of Elections responded as follows.

              a.      It received 20,759 mail ballots, including 29 military ballots and 26 civilian
                      overseas ballots. Ex. 41, Lackawanna Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 160 mail ballots with undated ballot declarations. Id. at Interrog.
                      #2.

              c.      It did not deem any military-overseas ballots as incorrect. Id. at Interrog.
                      #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       90.    Lancaster County Board of Elections responded as follows.

              a.      It received 34,202 mail ballots and 188 military-overseas ballots. Ex. 42,
                      Lancaster Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 232 mail ballots which had undated or misdated ballot
                      declarations. Id. at Interrog. #2. Of those, 51 had additional defects. Id. at
                      Interrog. #8.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15; Ex. 43, Miller Dep. 96:15-98:4.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       91.    Lawrence County Board of Elections responded as follows.

              a.      It received 6,888 mail ballots and 33 military-overseas ballots. Ex. 17 at
                      Interrog. #1.

              b.      It set aside 107 mail ballots with undated or misdated ballot declarations.
                      Id. at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.



                                                32
                                        Pa.App.0920
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 925    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  33 of 53




STATEMENT OF MATERIAL FACT

       92.    Lebanon County Board of Elections responded as follows.

              a.      It received 10,771 mail ballots and 64 military-overseas ballots. Ex. 17 at
                      Interrog. #1.

              b.      It set aside 24 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       93.    Lehigh County Board of Elections responded as follows.

              a.      It    received     35,425      mail-in/absentee  ballots   and    101
                      military/overseas/civilian ballots. Ex. 44, Lehigh Cnty. Bd.’s Ans. to
                      Interrogs. #1.

              b.      It set aside 390 mail ballots with undated or misdated ballot declarations.
                      Id. at Interrog. #2. An additional 23 mail ballots had no date and no
                      signature on their ballot declarations. Id.

              c.      It did not review military-overseas ballots for dates. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       94.    Luzerne County Board of Elections responded as follows.

              a.      It received 29,002 mail ballots. Ex. 45, Luzerne Cnty. Bd.’s Ans. to
                      Interrogs. #1.

              b.      It set aside 166 mail ballots with undated or misdated ballot declarations.
                      Ex. 46, Luzerne Cnty. Bd.’s Am. Ans. to Interrogs. 16 of these voters voted
                      provisionally. Ex. 45 at Interrog. #7.

              c.      It “[d]o[es] not recall any” military-ballots with undated or misdated ballot
                      declarations. Id. at Interrog. #15.




                                                33
                                        Pa.App.0921
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 926    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  34 of 53




RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       95.    Lycoming County Board of Elections responded as follows.

              a.      It received 6,474 mail ballots. Ex. 47, Lycoming Cnty. Bd.’s Ans. to
                      Interrogs. #1.

              b.      It set aside 36 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2. Six of these voters cast provisional ballots. Id. at Interrog.
                      #12.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       96.    McKean County Board of Elections responded as follows.

              a.      It received 1,957 mail in ballots and 5 military-overseas ballots. Ex. 48,
                      McKean Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 35 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

              c.      It set aside 5 military-overseas ballots with undated or misdated ballot
                      declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       97.    Mercer County Board of Elections responded as follows.

              a.      It received 8,220 mail ballots. Ex. 49, Mercer Cnty. Bd.’s Ans. to Interrogs.
                      #1.

              b.      It set aside 63 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.



                                                34
                                        Pa.App.0922
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 927    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  35 of 53




              c.      Though it received “12 mail ballots where the Declaration was unsigned,”
                      “[a]ny ballot that was both unsigned and missing a date were categorized as
                      `Unsigned’ since this is a fatal defect outside the scope of current litigation.”
                      Id. at Interrog. #8.

              d.      In response to whether it counted “timely-received military-overseas ballots
                      in the 2022 General Election if the voter failed to date their voter declaration
                      or included a date that [it] deemed to be incorrect,” it responded: “This issue
                      did not arise in 2022.” Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       98.    Mifflin County Board of Elections responded as follows.

              a.      It received 2,680 mail-in ballots and 8 military-overseas ballots. Ex. 50,
                      Mifflin Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 13 mail-in/absentee ballots with undated ballot declarations,
                      exclusive of ballots with other defects. Ex. 51, Mifflin Cnty. Bd.’s Resps.
                      to Requests for Prod. of Docs. #2 & Ex. 1.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Ex. 50 at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       99.    Monroe County Board of Elections responded as follows.

              a.      It received 15,651 mail ballots and 56 military-overseas ballots. Ex. 17 at
                      Interrog. #1.

              b.      It set aside 462 mail ballots with undated or misdated ballot declarations.
                      Id. at Interrog. #2. Of these, 191 were cured. Id. at Interrog. #13.

RESPONSE

Responding Counties do not dispute this fact.




                                                35
                                         Pa.App.0923
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 928    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  36 of 53




STATEMENT OF MATERIAL FACT

       100.   Montgomery County Board of Elections responded as follows.

              a.      It received 118,224 mail-in/absentee ballots and 914 military-overseas
                      ballots. Ex. 52, Montgomery Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 460 mail ballots with undated or misdated ballot declarations.
                      Id. 44 of those ballots had other defects. Id. at Interrog. #2.

              c.      In Montgomery County, “[m]ilitary-overseas ballots were checked to make
                      sure the declarations were complete. If the declarations were complete, the
                      ballot was counted. No military-overseas ballots were set aside for having
                      a missing or incorrect date.” Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       101.   Montour County Board of Elections responded as follows.

              a.      It received 1,718 mail ballots and 3 military-overseas ballots. Ex. 25 at
                      Interrog. #1.

              b.      It set aside 8 mail ballots with undated or misdated ballot declarations. Ex.
                      17 at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       102.   Northampton County Board of Elections responded as follows.

              a.      It received 36,401 mail/absentee ballots, including 91 UMOVA ballots. Ex.
                      53, Northampton Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 280 mail ballots with undated or misdated ballot declarations.
                      Id. at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.




                                                36
                                        Pa.App.0924
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 929    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  37 of 53




STATEMENT OF MATERIAL FACT

       103.   Northumberland County Board of Elections responded as follows.

              a.      It received 4,835 mail ballots and 30 military-overseas ballots. Ex. 17 at
                      Interrog. #1.

              b.      It set aside 14 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       104.    Perry County Board of Elections responded as follows.

              a.      It received 2,340 mail ballots and 4 military ballots. Ex. 54, Perry Cnty.
                      Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 35 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       105.    Philadelphia County Board of Elections responded as follows.

              a.      It received 133,968 absentee and mail-in ballots, including military-
                      overseas ballots. Ex. 55, Philadelphia Cnty. Bd.’s Ans. to Interrogs. #1. It
                      counted 127,934 absentee and mail-in ballots and 1,014 military-overseas
                      ballots. Id.

              b.      It set aside 2,617 mail-in and absentee ballots. Id. at Interrog. #2. 580 of
                      these voters submitted provisional ballots. Id.

              c.      It counted 13 military-overseas ballots with undated ballot declarations. Id.
                      at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.




                                                37
                                        Pa.App.0925
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 930    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  38 of 53




STATEMENT OF MATERIAL FACT

       106.   Potter County Board of Elections responded as follows.

              a.      It received 888 mail-in ballots, including 2 military-overseas ballots. Ex.
                      56, Potter Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 11 mail ballots with undated or misdated ballot declarations, not
                      including voters who submitted provisional ballots or ballots with other
                      defects. Id. at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       107.   Schuylkill County Board of Elections responded as follows.

              a.      It received 8,657 mail ballots and 25 military-overseas ballots. Ex. 57,
                      Schuylkill Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 59 mail ballots with undated or misdated ballot declarations,
                      including one ballot which also was missing a signature and another where
                      the date was missing from the voter assistance declaration. Ex. 58, Ex. 2
                      to Schuylkill Resp. to Requests for Prod. of Docs.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Ex. 57 at Interrog. #1.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       108.   Snyder County Board of Elections responded as follows.

              a.      It received 2,286 mail ballots and 5 military-overseas ballots. Ex. 17 at
                      Interrog. #1.

              b.      It set aside 9 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.




                                                38
                                        Pa.App.0926
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 931    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  39 of 53




STATEMENT OF MATERIAL FACT

       109.   Somerset County Board of Elections responded as follows.

              a.      It received 4,211 mail ballots, including 47 military-overseas ballots. Ex.
                      59, Somerset Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 63 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2. Two also did not contain signatures. Id.

              c.      It did not receive any military-overseas ballots with an undated or misdated
                      outer return envelope. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       110.   Sullivan County Board of Elections responded as follows.

              a.      It received 505 mail ballots and 4 military-overseas ballots. Ex. 60, Sullivan
                      Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 4 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       111.   Susquehanna County Board of Elections responded as follows.

              a.      It received 3,247 mail-in ballots and 16 military-overseas ballots. Ex. 61,
                      Susquehanna Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It did not set aside any mail ballots for undated or misdated ballot
                      declarations. Id. at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.




                                                39
                                        Pa.App.0927
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 932    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  40 of 53




STATEMENT OF MATERIAL FACT

       112. Tioga County Board of Elections responded as follows.

              a.      It reported that “[o]ut of 2,363 total ballots, 10 were returned.” Ex. 62,
                      Tioga Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside four mail ballots with undated or misdated ballot declarations.
                      Id. at Interrog. #2.

              c.      When asked if it “count[ed] timely-received military-overseas ballots in the
                      2022 General Election if the voter failed to date their voter declaration or
                      included a date that [it] deemed to be incorrect,” it responded: “Ten such
                      ballots were counted.” Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       113. Union County Board of Elections responded as follows.

              a.      It received 2,997 mail ballots, including 41 military-overseas ballots. Ex.
                      63, Union Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 23 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

              c.      It “believes it did not receive any military-overseas ballots that were not
                      counted based on a missing and/or incorrect date on the elector’s declaration
                      on the return envelope.” Id. at Interrog. #16.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       114. Venango County Board of Elections responded as follows.

              a.      It received 3,027 mail ballots and 35 military-overseas ballots. Ex. 17 at
                      Interrog. #1.

              b.      It set aside 42 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.




                                                40
                                        Pa.App.0928
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 933    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  41 of 53




RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       115. Warren County Board of Elections responded as follows.

              a.      It received 2,266 mail ballots and 8 military ballots. Ex. 64, Warren Cnty.
                      Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 18 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2. One of these ballots also did not have a signature. Id. at
                      Interrog. #8.

              c.      It did not receive any military-overseas ballots that were undated or
                      misdated. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       116.   Washington County Board of Elections responded as follows.

              a.      It received 19,569 mail ballots, including 51 military-overseas ballots. Ex.
                      65, Washington Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 66 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

              c.      It reported that “none of the military-overseas ballots it received in the
                      2022 General Election were required to be set aside.” Id. at Interrog. #155.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       117.   Wayne County Board of Elections responded as follows.

              a.      It received 4,692 mail ballots. Ex. 66, Wayne Cnty. Bd.’s Ans. to Interrogs.
                      #1.

              b.      It set aside 55 mail ballots with undated or misdated ballot declarations. Id.
                      at 8. Fewer than 10 of these were cured. Id. at Interrog. #2.



                                                41
                                        Pa.App.0929
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 934    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  42 of 53




              c.      It did not receive any military-overseas ballots with undated or misdated
                      ballot declarations. Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       118.   Westmoreland County Board of Elections responded as follows.

              a.      It received 34,599 mail ballots and 109 military-overseas ballots. Ex. 67,
                      Westmoreland Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 95 mail ballots with undated or misdated ballot declarations. Id.
                      at Interrog. #2.

              c.      It “did not receive any military-overseas ballots that were not counted based
                      on a missing and/or incorrect date on the elector’s declaration on the return
                      envelope.” Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       119.   Wyoming County Board of Elections responded as follows.

              a.      It received 2,029 mail ballots and 7 military-overseas ballots. Ex. 68,
                      Wyoming Cnty. Bd.’s Ans. to Interrogs. #1.

              b.      It set aside 17 mail ballots with undated ballot declarations. Id. One ballot
                      also was missing a signature on the declaration. Id. at Interrog. #2.

              c.      It reported that “[n]o military-overseas ballot was set aside for incorrect or
                      missing date.” Id. at Interrog. #15.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       120.   York County Board of Elections responded as follows.

              a.      It received 37,296 mail ballots and 185 military-overseas ballots. Ex. 25 at
                      Interrog. #1.



                                                42
                                        Pa.App.0930
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 935    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  43 of 53




               b.     It set aside 1,354 mail ballots with an undated or misdated ballot
                      declaration. Id. at Interrog. #2.

RESPONSE

Responding Counties do not dispute this fact.

B.             Ballot Envelopes

STATEMENT OF MATERIAL FACT

       121. Military/overseas voters were provided with ballot declarations to fill out. See Ex.
69, Montgomery County Declaration for Military-Overseas Ballot at 3; Ex. 70, Fayette County
Declaration for Military-Overseas Ballot.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

     122. Those ballot declarations had date fields, and instructed voters to “SIGN AND DATE
HERE.” Id.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        123. The Federal Write-In Absentee Ballot (FWAB) also contains a date field.
https://www.fvap.gov/uploads/FVAP/Forms/fwab.pdf (specifying “Today’s date”). See Ex. 72,
Federal Write-In Absentee Ballot.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

       124. The fvap.gov website instructs voters to “[m]ake sure to follow your state instructions
when filling out your FWAB.” https://www.fvap.gov/eo/overview/materials/fonns. See Ex. 73,
Federal Voting Assistance Program Guide.




                                                43
                                        Pa.App.0931
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 936    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  44 of 53




RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

         125. The fvap.gov website’s Pennsylvania guide in its “Hardcopy Instructions” directs
voters to “sign and date the `Voter Information’ page” “[o]nce your FWAB is complete.”
https://www.fvap.gov/guide/chapter2/pennsylvania. See Ex. 74, Federal Voting Assistance Guide
Regarding Pennsylvania Elections.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

C.             Mr. Jeffrey Greenburg’s Putative Expert Testimony

STATEMENT OF MATERIAL FACT

         126. Plaintiffs designated Mr. Jeffrey Greenburg to be an expert witness. See Ex. 75,
Plaintiffs’ Designation of Expert Witness.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

       127. Mr. Greenburg served as the director of elections for the Mercer County Bureau of
Voter Registration and Elections from 2007 until July 2020. See Ex. 76, Greenburg Decl. ¶ 3.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

         128. Mr. Greenburg graduated from John Carroll University in 1982 with a bachelor of
arts in History. Ex. 76 Ex. 1.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.




                                               44
                                        Pa.App.0932
          Case:1:22-cv-00339-SPB
          Case  23-3166 Document:  146 Page:
                                 Document 311 937    Date Filed:
                                              Filed 05/05/23     01/10/2024
                                                              Page  45 of 53




STATEMENT OF MATERIAL FACT

        129. Mr. Greenburg never took any courses in elections or election administration. Ex.
77, Greenburg Dep. at 18:10-13.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

         130. Mr. Greenburg has never published any articles in a peer-reviewed journal or
publication, and has never submitted any written works for peer review that were not published.
Id. at 22:18-25.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

          131. Mr. Greenburg has never authored any studies about election administration. Id. at
23:2-4.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        132. Mr. Greenburg’s sole experience with statistical analysis of elections was to
analyze the age of poll workers and to calculate the number of average voters registered in every
county. Id. 23:8-24:4.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

          133. Mr. Greenburg’s statistical analyses were never published anywhere. Id. at 24:5-
7.




                                                45
                                         Pa.App.0933
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 938    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  46 of 53




RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        134. Mr. Greenburg has only ever administered elections in Mercer County, and has
never administered a statewide election in Pennsylvania. Id. at 26:2-12.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        135. Mr. Greenburg purports to offer the opinion that “older voters” (over age 65) “were
disproportionately affected by the date requirement” in the November 2022 general election
compared to voters under the age of 65. Ex. 76 ¶ 32.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

        136. This opinion is multiply flawed. See Ex. 77 at 98:8-107:7.

RESPONSE

This is an assertion of opinion, lacking non-speculative factual support. Responding Counties
dispute this opinion, which is immaterial to the issue of whether the date requirement violates the
materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        137. In the first place, Mr. Greenburg’s opinion is limited to the discovery responses
from 13 Pennsylvania counties and does not address any of the 54 other counties in Pennsylvania.
See Ex. 76 ¶ 32; Ex. 77 at 105:25-107:7.

RESPONSE

Responding Counties do not dispute this fact, which does not undermine the conclusion that, as a
matter of law, the date requirement violates the materiality provision of the Civil Rights Act.




                                                46
                                        Pa.App.0934
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 939    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  47 of 53




STATEMENT OF MATERIAL FACT

         138. Moreover, in the 13 counties Mr. Greenburg examined, he found a disproportionate
effect by looking only at voters whose absentee or mail-in ballots were not counted due to the date
requirement. See Ex. 76 ¶ 32; Ex. 77 at 98:15-99:11.

RESPONSE

Responding Counties do not dispute this fact, which does not undermine the conclusion that, as a
matter of law, the date requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        139. Mr. Greenburg calculated the “percentage of voters” from that pool who were over
the age of 65 and who were under the age of 65. Ex. 77 at 98:18; see also Ex. 76 ¶ 32.

RESPONSE

Responding Counties do not dispute this fact, which does not undermine the conclusion that, as a
matter of law, the date requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        140. Mr. Greenburg, however, did not know the total number of voters in each age
category who submitted absentee or mail-in ballots. See Ex. 77 at 99:12-101:9.

RESPONSE

Responding Counties do not dispute this fact, which does not undermine the conclusion that, as a
matter of law, the date requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        141. Mr. Greenburg did not calculate the rate at which voters over 65 or voters under 65
use absentee or mail-in voting. See Ex. 76 ¶ 32; Ex. 77 at 99:12-101:21.

RESPONSE

Responding Counties do not dispute this fact, which does not undermine the conclusion that, as a
matter of law, the date requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

       142. Mr. Greenburg also did not calculate the rate at which voters in either category fail
to comply with the date requirement. See Ex. 77 at 103:9-105:19.




                                                47
                                        Pa.App.0935
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 940    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  48 of 53




RESPONSE

Responding Counties do not dispute this fact, which does not undermine the conclusion that, as a
matter of law, the date requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        143. Mr. Greenburg conceded that voters over age 65 may be less affected by the date
requirement if they use absentee and mail-in voting at a higher rate—or make mistakes in
completing the date field at a lower rate—than voters under age 65. See Ex. 77 at 101:18105:19.

RESPONSE

Responding Counties do not dispute this fact, which does not undermine the conclusion that, as a
matter of law, the date requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        144. Mr. Greenburg’s “disproportionately affected” opinion relied on data provided by
Plaintiffs. Ex. 76 at ¶ 28 n.4; ¶ 32 n.6.

RESPONSE

Responding Counties do not dispute this fact, which does not undermine the conclusion that, as a
matter of law, the date requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        145. The data provided by Plaintiffs was incomplete; they provided age data for voters
in only 13 counties. Ex. 76 at ¶ 32 n.6.

RESPONSE

This is an assertion of opinion, lacking any non-speculative factual support. Responding Counties
dispute this opinion, which does not undermine the conclusion that, as a matter of law, the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

       146.    The data provided by Plaintiffs was internally inconsistent.

              a.      Plaintiffs purported to exclude from their count ballots that failed some
                      other requirement than the date requirement. Ex. 76 Ex. 2. But in Somerset,
                      Franklin, Lancaster, Montgomery, Warren, Wyoming, and Crawford
                      counties, Plaintiffs’ table failed to exclude such ballots. Id.

              b.      Plaintiffs sometimes purported to exclude cured ballots from its count, but
                      their table admits that those numbers are not consistently tracked. Id.
                      Similarly, it does not take into account the list of ballots provided by Fayette


                                                48
                                        Pa.App.0936
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 941    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  49 of 53




                       County that specifies which ballots were cured. See Ex. 71, Fayette Cnty.
                       Bd.’s List of Undated Ballots.

RESPONSE

This is an assertion of opinion, lacking any non-speculative factual support. Responding Counties
dispute this opinion, which does not undermine the conclusion that, as a matter of law, the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        147. Mr. Greenburg testified that voters “are required to affirm that they meet the
qualifications” to vote “on the voter registration application.” Ex. 77 at 69:13-25.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

       148. Mr. Greenburg testified that voters “provide the information necessary for the
boards to verify they are qualified” on “their voter registrations.” Ex. 77 at 69:13-17.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

        149. Mr. Greenburg agreed that providing a signature is not a qualification to vote. Ex. 77,
at 76:3-5.

RESPONSE

Responding Counties do not dispute this fact.

STATEMENT OF MATERIAL FACT

        150. Mr. Greenburg’s “definition of `disenfranchised’ was, “in [his] opinion,” “an
eligible voter who, for one reason or another, their ballot was not counted.” Ex. 76 at 90:8-14.

He stated in his deposition:

       If a legally eligible voter’s ballot is not counted, it’s disenfranchisement. When
       you’re interpreting the law correctly or not, the ability for them to cast that ballot
       is not happening because of something that either they did or they omitted.

Ex. 77 at 93:3-15.



                                                49
                                         Pa.App.0937
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 311 942    Date Filed:
                                           Filed 05/05/23     01/10/2024
                                                           Page  50 of 53




RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

         151. For purposes of his report, Mr. Greenburg classified such voters as
“disenfranchise[d]” even if the “election official” “follow[ed] the law” in setting aside the voter’s
ballot. Id. at 93:9-19.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

        152. Mr. Greenburg admitted that, in the Mihaliak case, the only piece of information
on the face of the ballot indicating that a third party had attempted to vote someone else’s ballot
was the handwritten date. Id. at 115:8-20.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

         153. Mr. Greenburg admitted that, in the Mihaliak case, the date requirement helped to
identify fraud. Id. at 116:19-117:2.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.

STATEMENT OF MATERIAL FACT

         154. Mr. Greenburg agreed that fraud involving mail ballots is possible now and in the
future in Pennsylvania. Id. at 61:3-9.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.




                                                 50
                                         Pa.App.0938
          Case:1:22-cv-00339-SPB
          Case  23-3166 Document:  146 Page:
                                 Document 311 943    Date Filed:
                                              Filed 05/05/23     01/10/2024
                                                              Page  51 of 53




STATEMENT OF MATERIAL FACT

          155. Mr. Greenburg agreed that the date requirement applies to overseas voters. Id. at
84:2-4.

RESPONSE

Responding Counties do not dispute this fact, which is immaterial to the issue of whether the date
requirement violates the materiality provision of the Civil Rights Act.




                                               51
                                        Pa.App.0939
     Case:1:22-cv-00339-SPB
     Case  23-3166 Document:  146 Page:
                            Document 311 944    Date Filed:
                                         Filed 05/05/23     01/10/2024
                                                         Page  52 of 53




Dated: May 5, 2023                            Respectfully submitted,

By: /s/ George M. Janocsko                    By: /s/ Ilana H. Eisenstein
George M. Janocsko (PA 26408)                 Ilana H. Eisenstein (pro hac vice)
Allan J. Opsitnick (PA 28126)                    (PA 94907)
Lisa G. Michel (PA 59997)                     Brian H. Benjet (pro hac vice)
Allegheny County Law Department                 (PA 205392)
445 Fort Pitt Boulevard                       DLA Piper LLP (US)
Fort Pitt Commons Suite 300                   1650 Market Street, Suite 5000
Pittsburgh, PA 15129                          Philadelphia, PA 19103
george.janocsko@alleghenycounty.us            T (215) 656-3300
opsitnick@opsitnickslaw.com                   ilana.eisenstein@us.dlapiper.com
lisa.michel@alleghenycounty.us                brian.benject@us.dlapiper.com
T (412) 350-1120
                                              Zachary G. Strassburger
Counsel for the Allegheny County Board          (PA 313991)
of Elections                                  Aimee D. Thomson (pro hac vice)
                                                (PA 326328)
By: /s/ Amy M. Fitzpatrick                    Philadelphia Law Department
Amy M. Fitzpatrick (pro hac vice)             1515 Arch Street, 17th Floor
(PA 324672)                                   Philadelphia, PA 19102
Daniel D. Grieser (PA 325445)                 zachary.strassburger@phila.gov
Law Department – County of Bucks              aimee.thomson@phila.gov
55 E. Court St., 5th Floor
                                              Counsel for Defendant Philadelphia
Doylestown, PA 18901
                                              County Board of Elections
amfitzpatrick@buckscounty.org
ddgrieser@buckscounty.org
                                              By: /s/ John A. Marlatt
                                              John A. Marlatt
Counsel for the Bucks County Board
                                              (PA 210141)
of Elections
                                              Maureen Calder (pro hac vice)
                                                (PA 68055)
By: /s/ Colleen M. Frens
                                              Montgomery County Solicitor’s Office
Colleen M. Frens (pro hac vice)
                                              PO Box 311
  (PA 309604)
                                              Norristown, PA 19404
Faith Mattox-Baldini (PA 323868)
Chester County Solicitor’s Office
                                              Counsel for Respondent Montgomery
313 W. Market Street, Suite 6702
                                              County Board of Elections
West Chester, PA 19382
T 610.344.6195
cfrens@chesco.org
fmattoxbaldini@chesco.org

Counsel for the Chester County Board
of Elections



                                         52
                                Pa.App.0940
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 311 945    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  53 of 53




                         CERTIFICATE OF CONSENT

      I hereby certify that I have obtained the consent of the non-filing signatories

to this Response to the Intervenor-Defendants’ Concise Statement of Material Facts

and Responding Counties Additional Statement of Material Facts—the above-listed

counsel for Defendants the Allegheny, Bucks, Chester, and Montgomery County

Boards of Elections.



Dated: May 5, 2023                            By: /s/ Ilana H. Eisenstein

                                              Counsel for Defendant Philadelphia
                                              County Board of Elections




                                         53
                                  Pa.App.0941
     Case:1:22-cv-00339-SPB
     Case  23-3166 Document:  146 Page:
                            Document 312 946    Date Filed:
                                         Filed 05/05/23     01/10/2024
                                                         Page  1 of 109




              IN THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF PENNSYLVANIA


PENNSYLVANIA STATE CONFERENCE
OF THE NAACP, et al.,

            Plaintiffs,
                                           Case No. 1:22-cv-339
      v.

AL SCHMIDT, in his official capacity as
Acting Secretary of the Commonwealth, et
al.,

            Defendants.


BETTE EAKIN, et al.,

            Plaintiffs,
                                           Case No. 1:22-cv-340
      v.

ADAMS COUNTY BOARD OF
ELECTIONS, et al.,

            Defendants.



DEFENDANTS ALLEGHENY, BUCKS, CHESTER, MONTGOMERY, AND
  PHILADELPHIA COUNTY BOARDS OF ELECTIONS’ APPENDIX

                             (APP-1—APP-105)




                                Pa.App.0942
     Case:1:22-cv-00339-SPB
     Case  23-3166 Document:  146 Page:
                            Document 312 947    Date Filed:
                                         Filed 05/05/23     01/10/2024
                                                         Page  2 of 109




Dated: May 5, 2023                           Respectfully submitted,

By: /s/ George M. Janocsko                   By: /s/ Ilana H. Eisenstein
George M. Janocsko (PA 26408)                Ilana H. Eisenstein (pro hac vice)
Allan J. Opsitnick (PA 28126)                   (PA 94907)
Lisa G. Michel (PA 59997)                    Brian H. Benjet (pro hac vice)
Allegheny County Law Department                (PA 205392)
445 Fort Pitt Boulevard                      DLA Piper LLP (US)
Fort Pitt Commons Suite 300                  1650 Market Street, Suite 5000
Pittsburgh, PA 15129                         Philadelphia, PA 19103
george.janocsko@alleghenycounty.us           T (215) 656-3300
opsitnick@opsitnickslaw.com                  ilana.eisenstein@us.dlapiper.com
lisa.michel@alleghenycounty.us               brian.benject@us.dlapiper.com
T (412) 350-1120
                                             Zachary G. Strassburger
Counsel for the Allegheny County Board         (PA 313991)
of Elections                                 Aimee D. Thomson (pro hac vice)
                                               (PA 326328)
By: /s/ Amy M. Fitzpatrick                   Philadelphia Law Department
Amy M. Fitzpatrick (pro hac vice)            1515 Arch Street, 17th Floor
(PA 324672)                                  Philadelphia, PA 19102
Daniel D. Grieser (PA 325445)                zachary.strassburger@phila.gov
Law Department – County of Bucks             aimee.thomson@phila.gov
55 E. Court St., 5th Floor
                                             Counsel for Defendant Philadelphia
Doylestown, PA 18901
                                             County Board of Elections
amfitzpatrick@buckscounty.org
ddgrieser@buckscounty.org
                                             By: /s/ John A. Marlatt
                                             John A. Marlatt
Counsel for the Bucks County Board
                                             (PA 210141)
of Elections
                                             Maureen Calder (pro hac vice)
                                               (PA 68055)
By: /s/ Colleen M. Frens
                                             Montgomery County Solicitor’s Office
Colleen M. Frens (pro hac vice)
                                             PO Box 311
  (PA 309604)
                                             Norristown, PA 19404
Faith Mattox-Baldini (PA 323868)
Chester County Solicitor’s Office
                                             Counsel for Respondent Montgomery
313 W. Market Street, Suite 6702
                                             County Board of Elections
West Chester, PA 19382
T 610.344.6195
cfrens@chesco.org
fmattoxbaldini@chesco.org

Counsel for the Chester County Board
of Elections



                                         i
                                Pa.App.0943
    Case:1:22-cv-00339-SPB
    Case  23-3166 Document:  146 Page:
                           Document 312 948    Date Filed:
                                        Filed 05/05/23     01/10/2024
                                                        Page  3 of 109




                          TABLE OF CONTENTS

             Document                             Date        Appendix Page #


Philadelphia County Board of Elections’        January 25,     APP-1—APP-14
Responses and Objections to Plaintiffs’           2023
      First Set of Interrogatories


Philadelphia County Board of Elections         November 18,   APP-15—APP-67
Meeting Transcript (PHILA-000038–90)              2023


     Declaration of Nick Custodio              May 5, 2023    APP-68—APP-72


Allegheny County Board of Elections’           January 25,    APP-73—APP-82
Responses and Objections to Plaintiffs’           2023
     First Set of Interrogatories


  Bucks County Board of Elections’             January 25,    APP-83—APP-87
Responses and Objections to Plaintiffs’           2023
     First Set of Interrogatories


 Chester County Board of Elections’            January 25,    APP-88—APP-101
Responses and Objections to Plaintiffs’           2023
     First Set of Interrogatories


Montgomery County Board of Elections’          January 25,    APP-102—APP-105
Responses and Objections to Plaintiffs’           2023
 First Set of Requests for Admissions




                                          ii
                                Pa.App.0944
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 312 949    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  4 of 109




               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

PENNSYLVANIA STATE CONFERENCE
OF THE NAACP, et al.,                          Case No. 1:22-cv-339

              Plaintiffs,                      DEFENDANT PHILADELPHIA
                                               COUNTY BOARD OF
       v.                                      ELECTIONS’ RESPONSES AND
                                               OBJECTIONS TO PLAINTIFFS’
LEIGH M. CHAPMAN, in her official              FIRST SET OF
capacity as Acting Secretary of the            INTERROGATORIES TO
Commonwealth, et al.,                          PHILADELPHIA COUNTY (NOS.
                                               1–22)
              Defendants.


      Pursuant to Fed. R. Civ. P. 26 and 33 and the applicable Local Rules of the

United States District Court for the Western District of Pennsylvania, Defendant

Philadelphia County Board of Elections (“Philadelphia County”) sets forth its

responses and objections (the “Responses”) to Plaintiffs’ First Set of Interrogatories

(Nos. 1–22) (the “Requests”) as follows:

                            PRELIMINARY STATEMENT

      These Responses represent Philadelphia County’s good faith and reasonable

effort to respond to the Requests based on information and documents available at

this time. Philadelphia County is conducting a reasonable investigation into the

existence and location of potentially responsive information. Philadelphia County’s

investigation to date informs each of these Responses and Objections. Philadelphia

County’s investigation of this matter is ongoing. Philadelphia County thus reserves

the right to amend, supplement, correct, or clarify the responses in accordance with




PHILADELPHIA COUNTY BOARD OF ELECTIONS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
FIRST SET OF INTERROGATORIES (NOS. 1–22)                                            1
                                   Pa.App.0945
                                     APP-1
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 312 950    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  5 of 109




the Federal Rules of Civil Procedure and the Local Rules of the United States

District Court for the Western District of Pennsylvania

                                GENERAL OBJECTIONS

      1.      Philadelphia County objects to any instruction to the extent that it seeks

to impose a burden in excess of what it required under Rule 26 and 33 of the Federal

Rules of Civil Procedure.

      2.      Pursuant to an agreement with Plaintiffs, Philadelphia County

construes these Requests as temporally limited to the 2022 General Election.

      3.      Philadelphia County objects to the undefined term of “military-overseas

ballots” as vague and ambiguous. For purposes of these Responses, Philadelphia

County construes that term to mean all ballots returned under the Uniformed and

Overseas Citizens Absentee Voting Act (UOCAVA) or The Uniform Military and

Overseas Voter Act (UMOVA).

                    SPECIFIC RESPONSES AND OBJECTIONS

      The following responses are subject to and without waiver of the above General

Statement and Objections here. Any specific objections to a Request are made in

addition to the General Statement and Objections, not as a replacement for such

objections.

INTERROGATORY NO. 1:

      State how many mail ballots and how many military-overseas ballots voters
returned to You for the 2022 General Election.




PHILADELPHIA COUNTY BOARD OF ELECTIONS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
FIRST SET OF INTERROGATORIES (NOS. 1–22)                                              2
                                    Pa.App.0946
                                      APP-2
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 312 951    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  6 of 109




RESPONSE TO INTERROGATORY NO. 1:

      As of 8 p.m. on Election Day, voters returned 133,968 absentee and mail-in

ballots to Philadelphia County. This number includes military-overseas ballots and

ballots that Philadelphia County ultimately did not count due to a deficiency.

Philadelphia County counted 127,934 absentee and mail-in ballots and 1,014

military-overseas ballots.

INTERROGATORY NO. 2:

       State how many mail ballots You received in connection with the 2022 General
Election that were signed and timely received but set aside and/or segregated because
they lacked a handwritten date on the outer return envelope or showed a date on the
outer return envelope that You deemed to be incorrect. If you allowed voters to correct
or cure the envelope-date issue, specify whether your response includes ballots that
were ultimately corrected or cured.

RESPONSE TO INTERROGATORY NO. 2:

      Pursuant to the Pennsylvania Supreme Court’s November 1st and November

5th 2022 orders, Philadelphia County set aside 2,617 mail-in and absentee ballots that

were timely received in signed envelopes and which had a missing or “incorrect”

handwritten date on the outer return envelope. None of the voters who submitted

those ballots submitted replacement ballots, but 580 of those voters submitted

provisional ballots.

INTERROGATORY NO. 3:

      Identify and describe how you determined if a date on a mail ballot outer return
envelope was “incorrect.”

RESPONSE TO INTERROGATORY NO. 3:

      Philadelphia County objects to this Request as irrelevant and not

proportionate to the needs of this case.


PHILADELPHIA COUNTY BOARD OF ELECTIONS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
FIRST SET OF INTERROGATORIES (NOS. 1–22)                                             3
                                    Pa.App.0947
                                      APP-3
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 312 952    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  7 of 109




      Notwithstanding this objection, Philadelphia County determined whether the

date on a mail ballot’s outer envelope was “incorrect” in compliance with the

Pennsylvania Supreme Court’s November 1st and 5th, 2022 orders. Pursuant to those

orders, Philadelphia County treated as “incorrect” any mail ballot in an outer return

envelope with a handwritten date that fell outside the date range of September 19,

2022, through November 8, 2022.

INTERROGATORY NO. 4:

      State the date on which you began sending the mail ballot packages to voters.

RESPONSE TO INTERROGATORY NO. 4:

      Philadelphia County objects to this Request as irrelevant and not

proportionate to the needs of this case.

      Notwithstanding this objection, Philadelphia County began sending mail

ballot packages to voters on October 10, 2022.

INTERROGATORY NO. 5:

      State whether you opened and/or counted mail ballots where the handwritten
date on the return envelope was after September 19, 2022, but before the date on
which you began sending the mail ballot package to voters.

RESPONSE TO INTERROGATORY NO. 5:

      Philadelphia County objects to this Request as irrelevant and not

proportionate to the needs of this case.

      Notwithstanding this objection, in compliance with the Pennsylvania Supreme

Court’s November 1st and 5th, 2022 orders, Philadelphia County treated as “correct”

any mail ballot in an outer return envelope with a handwritten date that fell within

the date range of September 19, 2022, through November 8, 2022.


PHILADELPHIA COUNTY BOARD OF ELECTIONS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
FIRST SET OF INTERROGATORIES (NOS. 1–22)                                           4
                                    Pa.App.0948
                                      APP-4
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 312 953    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  8 of 109




INTERROGATORY NO. 6:

      State whether you opened and/or counted absentee ballots where the
handwritten date on the return envelope was after August 30, 2022, but before the
date on which you began sending the mail ballot package to voters.

RESPONSE TO INTERROGATORY NO. 6:

      Philadelphia County objects to this Request as irrelevant and not

proportionate to the needs of this case.

      Notwithstanding this objection, because absentee and mail-in ballots

envelopes are identical and because the vast majority of mail ballots requested during

the 2022 General Election consisted of mail-in rather than absentee ballots,

Philadelphia County treated as “correct” any absentee ballot in an outer return

envelope with a handwritten date that fell within the date range of September 19,

2022, through November 8, 2022, in compliance with the Pennsylvania Supreme

Court’s November 1st and 5th, 2022 orders.

INTERROGATORY NO. 7:

       Identify, by name, birthdate, address, party affiliation and any other
demographic information available to you, the voters whose timely received mail
ballots You set aside and/or segregated because they were received in signed outer
return envelopes that lacked a handwritten date or showed a date on the voter
declaration that You deemed to be incorrect. In responding to this Interrogatory, state
the specific reason why each such ballot was set aside and, if You allowed voters to
correct or cure the date issue, specify whether each voter was able to correct or cure
the issue.

RESPONSE TO INTERROGATORY NO. 7:

      Philadelphia County objects to this Request because it seeks information and

data that would be disproportionately burdensome to produce or that Philadelphia

County does not keep or maintain in the ordinary course—namely, full birthdate,



PHILADELPHIA COUNTY BOARD OF ELECTIONS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
FIRST SET OF INTERROGATORIES (NOS. 1–22)                                             5
                                    Pa.App.0949
                                      APP-5
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 312 954    Date Filed:
                                          Filed 05/05/23     01/10/2024
                                                          Page  9 of 109




address, and party affiliation, and whether each voter whose ballot was set aside cast

a provisional ballot after receiving notice of a potential defect in their ballot during

the 2022 election. Philadelphia County also objects to the undefined term “any other

demographic information available to you” as vague, unduly burdensome,

disproportionate, and overbroad.

      Pursuant to these objections, for the ballots that were set aside, Philadelphia

County will produce documents sufficient to identify the voter—including name,

precinct, birthyear, and zip code—and whether the ballot was set aside because it

lacked a handwritten date on the outer envelope or because it had an “incorrect”

handwritten date on the outer envelope as defined by the Pennsylvania Supreme

Court’s November 1st and 5th, 2022 orders.

INTERROGATORY NO. 8:

       Did any mail ballots described in Interrogatory 2 have any other defects,
besides a missing or incorrect handwritten date on the outer return envelope, that
would cause You not to count them? If so, state how many such mail ballots had an
additional defect, describe those defects, and identify the voters whose timely
received mail ballots had such additional defect(s).

RESPONSE TO INTERROGATORY NO. 8:

      Consistent with the Election Code and Philadelphia County’s established

practices, all mail ballot envelopes returned to the County are first scanned and

sorted by mail sorting machines that detect whether the mail ballot envelope is

missing a signature or a secrecy envelope. Consistent with the Election Code and the

Pennsylvania Supreme Court’s November 1st and 5th, 2022 orders, Philadelphia

County then conducted a manual review of the outer envelopes of all mail ballot

envelopes not identified as missing a signature or secrecy envelope. To the best of

PHILADELPHIA COUNTY BOARD OF ELECTIONS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
FIRST SET OF INTERROGATORIES (NOS. 1–22)                                              6
                                    Pa.App.0950
                                      APP-6
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     955 05/05/23
                                       312 Filed Date Filed: 01/10/2024
                                                          Page  10 of 109




Philadelphia County’s knowledge, based on its review process, all mail ballots

identified in Interrogatory 2 do not have any other defect besides a missing or

“incorrect” handwritten date on the outer return envelope.

INTERROGATORY NO. 9:

      Did You determine that any voters who sent timely mail ballots described in
Interrogatory 2 were not qualified, eligible voters? If so, describe how you determined
such voters to be ineligible and identify, for each such voter, the basis for ineligibility.

RESPONSE TO INTERROGATORY NO. 9:

       Philadelphia County did not determine that any voters who sent timely mail

ballots described in Interrogatory 2 were not qualified, eligible voters,

INTERROGATORY NO. 10:

       State whether You or any of Your agents identified or raised any credible fraud
concerns specifically as to any individual mail ballot described in Interrogatory 2. If
so, describe the nature of such fraud concerns.

RESPONSE TO INTERROGATORY NO. 10:

       Philadelphia County did not identify or raise any credible fraud concerns with

respect to the ballots that were set aside pursuant to the Pennsylvania Supreme

Court’s November 1st and 5th, 2022 orders.

INTERROGATORY NO. 11:

       Did You provide notice to voters whose timely received mail ballots were set
aside and/or segregated because the signed outer return envelope was missing a date
or showed a date that You determined to be incorrect? If so, identify and describe how
and when you notified voters of missing or incorrect dates on the signed outer return
envelope.

RESPONSE TO INTERROGATORY NO. 11:

       Philadelphia County objects to this Request as irrelevant and not

proportionate to the needs of this case.


PHILADELPHIA COUNTY BOARD OF ELECTIONS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
FIRST SET OF INTERROGATORIES (NOS. 1–22)                                                  7
                                     Pa.App.0951
                                       APP-7
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     956 05/05/23
                                       312 Filed Date Filed: 01/10/2024
                                                          Page  11 of 109




      Notwithstanding this objection, on November 5, 2022, Philadelphia County

published online a list of mail-in and absentee voters whose ballot envelopes were

administratively determined to lack a handwritten signature on the outer mailing

envelope or who wrote a date on the outer mailing envelope that may be considered

to be potentially incorrect under the Pennsylvania Supreme Court’s November 1st and

5th, 2022 orders.

INTERROGATORY NO. 12:

       Did You provide mail ballot voters described in Interrogatory 11 with an
opportunity to correct or cure the identified issues with dating the outer return
envelope? If so, identify and describe the cure methods offered and how you instructed
notified voters to cure any missing or incorrect date issues.

RESPONSE TO INTERROGATORY NO. 12:

      Philadelphia County objects to this Request as irrelevant and not

proportionate to the needs of this case.

      Notwithstanding this objection, when publishing the list referred to in

Response to Interrogatory 11, Philadelphia County encouraged the listed voters to

request a replacement ballot at the County Board of Elections office in City Hall or,

if they were unable to request a replacement ballot, to cast a provisional ballot.

INTERROGATORY NO. 13:

       If you provided notice and an opportunity to cure as described in
Interrogatories 11 and 12, how many mail ballot voters cured their envelope date
issue?

RESPONSE TO INTERROGATORY NO. 13:

      Philadelphia County objects to this Request as irrelevant and not

proportionate to the needs of this case. Philadelphia County further objects to this



PHILADELPHIA COUNTY BOARD OF ELECTIONS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
FIRST SET OF INTERROGATORIES (NOS. 1–22)                                             8
                                    Pa.App.0952
                                      APP-8
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     957 05/05/23
                                       312 Filed Date Filed: 01/10/2024
                                                          Page  12 of 109




Request because it seeks information and data that would be disproportionately

burdensome to produce or that Philadelphia County does not keep or maintain in the

ordinary course—namely, whether each voter who was included in the list described

in Interrogatory 11 cast a replacement ballot or a provisional ballot, and whether any

voter who did cast a replacement or provisional ballot did so after receiving notice

from Philadelphia County of a potential defect in their ballot.

      Notwithstanding these objections, as stated in response to Interrogatory No. 2,

pursuant to the Pennsylvania Supreme Court’s November 1st and 5th, 2022 orders,

Philadelphia County set aside 2,617 timely received mail-in and absentee ballots that

were timely received in signed envelopes and which had a missing or “incorrect”

handwritten date on the outer return envelope. None of the voters who submitted

those ballots submitted replacement ballots, but 580 of those voters submitted

provisional ballots.

INTERROGATORY NO. 14:

        Do You contend that the handwritten date is material in determining whether
a mail ballot voter is qualified to vote in the election in which they have cast a ballot?
If so, what is the basis for that contention?

RESPONSE TO INTERROGATORY NO. 14:

      Philadelphia County does not contend that the handwritten date is material in

determining whether a mail ballot voter is qualified to vote in the election in which

they have cast a ballot.

INTERROGATORY NO. 15:

       Did You count timely-received military-overseas ballots in the 2022 General
Election if the voter failed to date their voter declaration or included a date that You
deemed to be incorrect? If so, state how many such military-overseas ballots You

PHILADELPHIA COUNTY BOARD OF ELECTIONS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
FIRST SET OF INTERROGATORIES (NOS. 1–22)                                                9
                                     Pa.App.0953
                                       APP-9
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     958 05/05/23
                                       312 Filed Date Filed: 01/10/2024
                                                          Page  13 of 109




counted. If not, state how many such military-overseas ballots You set aside and/or
segregated due to missing or purportedly-incorrect dates on the outer return
envelope.

RESPONSE TO INTERROGATORY NO. 15:

      Philadelphia County did count timely received military-overseas ballots

irrespective of whether there was a handwritten date on outer return envelope or on

the “Absentee Voter Declaration / Affirmation” form. Philadelphia County counted 13

timely received military-overseas ballots where the voter failed to include a

handwritten date.

INTERROGATORY NO. 16:

      Identify, by name, birthdate, address, party affiliation and any other
demographic information available to you, the voters who timely submitted military-
overseas ballots but failed to date their voter declaration or included a date that You
deemed to be incorrect.

RESPONSE TO INTERROGATORY NO. 16:

      Philadelphia County objects to disclosing this information prior to the entry of

a protective order. Philadelphia County also objects to the undefined term “any other

demographic information available to you” as vague, unduly burdensome, and

overbroad. Philadelphia County further objects to this Request because it seeks

information and data that would be disproportionately burdensome to produce or that

Philadelphia County does not keep or maintain in the ordinary course—namely, full

birthdate, address, and party affiliation.

      Pursuant to these objections, for the ballots identified in response to

Interrogatory No. 15, Philadelphia County will produce documents sufficient to

identify each voter’s voter identification number, name, birthyear, and Country and



PHILADELPHIA COUNTY BOARD OF ELECTIONS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
FIRST SET OF INTERROGATORIES (NOS. 1–22)                                            10
                                    Pa.App.0954
                                      APP-10
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     959 05/05/23
                                       312 Filed Date Filed: 01/10/2024
                                                          Page  14 of 109




will designate that information as responsive to this Interrogatory pursuant to

Federal Rule of Civil Procedure 33(d).

INTERROGATORY NO. 17:

        Did the military-overseas ballots described in Interrogatory 15 have any other
defects, besides a missing or incorrect date, that would cause You not to count them?
If so, state how many such military-overseas ballots had an additional defect, describe
those defects, and identify the voters whose timely received military-overseas ballots
had such additional defect(s).

RESPONSE TO INTERROGATORY NO. 17:

      To the best of Philadelphia County’s knowledge based its review process, all

ballots identified in Interrogatory 15 do not have any other defect that would cause

the County not to count them.

INTERROGATORY NO. 18:

       Did You determine that any voters who sent timely military-overseas ballots
described in Interrogatory 15 were not qualified, eligible voters? If so, describe how
you determined such voters to be ineligible and identify, for each such voter, the basis
for ineligibility.

RESPONSE TO INTERROGATORY NO. 18:

      Philadelphia County did not determine that any voter who sent timely

military-overseas ballots described in Interrogatory 15 were not qualified, eligible

voters.

INTERROGATORY NO. 19:

      State whether You or any of Your agents identified or raised any credible fraud
concerns specifically as to any of the military-overseas ballots described in
Interrogatory 15. If so, describe the nature of such fraud concerns.

RESPONSE TO INTERROGATORY NO. 19:

      Philadelphia County did not identify or raise any credible fraud concerns with

respect to any military overseas ballots.

PHILADELPHIA COUNTY BOARD OF ELECTIONS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
FIRST SET OF INTERROGATORIES (NOS. 1–22)                                             11
                                    Pa.App.0955
                                      APP-11
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document     960 05/05/23
                                       312 Filed Date Filed: 01/10/2024
                                                          Page  15 of 109




INTERROGATORY NO. 20:

      If You did not count the timely received military-overseas ballots described in
Interrogatory 15, did you provide notice to the voters whose military-overseas ballots
were set aside and/or segregated because the voter failed to date their voter
declaration or included a date that You determined to be incorrect? If so, identify and
describe how and when you notified those voters.

RESPONSE TO INTERROGATORY NO. 20:

      Philadelphia County objects to this Request as irrelevant and not

proportionate to the needs of this case.

      Notwithstanding this objection, this interrogatory does not apply to

Philadelphia County. See Response to Interrogatory No. 15.

INTERROGATORY NO. 21:

       If You did not count the timely received military-overseas ballots described in
Interrogatory 15, did You provide the voters who submitted such military-overseas
ballots with an opportunity to correct or cure the identified issues with the date? If
so, identify and describe the cure methods offered and how you instructed notified
voters to cure any date issues.

RESPONSE TO INTERROGATORY NO. 21:

      Philadelphia County objects to this Request as irrelevant and not

proportionate to the needs of this case.

      Notwithstanding this objection, this interrogatory does not apply to

Philadelphia County. See Response to Interrogatory No. 15.

INTERROGATORY NO. 22:

      If you provided notice and an opportunity to cure as described in
Interrogatories 20 and 21, how many military-overseas voters cured their date issue?

RESPONSE TO INTERROGATORY NO. 22:

      Philadelphia County objects to this Request as irrelevant and not

proportionate to the needs of this case.

PHILADELPHIA COUNTY BOARD OF ELECTIONS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
FIRST SET OF INTERROGATORIES (NOS. 1–22)                                            12
                                    Pa.App.0956
                                      APP-12
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     961 05/05/23
                                      312 Filed Date Filed: 01/10/2024
                                                         Page  16 of 109




      Notwithstanding this objection, this interrogatory does not apply to

Philadelphia County. See Response to Interrogatory Nos. 15, 20, and 21.



Dated: January 25, 2023                    By:      /s/ Ilana H. Eisenstein
                                                 DLA PIPER LLP (US)
                                                 Ilana H. Eisenstein (pro hac vice)
                                                 (Bar No. PA-94907)
                                                 Brian Benjet (pro hac vice)
                                                 (Bar No. PA-205392)
                                                 1650 Market Street, Suite 5000
                                                 One Liberty Place 1650 Market
                                                 Street Suite 5000
                                                 Philadelphia, Pennsylvania 19103-
                                                 7300
                                                 ilana.eisenstein@us.dlapiper.com
                                                 brian.benjet@us.dlapiper.com
                                                 Telephone: 215.656.3351

                                                 PHILADELPHIA LAW
                                                 DEPARTMENT
                                                 Zachary G. Strassburger (pro hac
                                                 vice)
                                                 Aimee D. Thomson (pro hac vice)
                                                 zachary.srassburger@phila.gov
                                                 aimee.thomson@phila.gov
Attorneys for Defendant Philadelphia
                                                 1515 Arch Street, 15th floor
County Board of Elections
                                                 Philadelphia, PA 19102




PHILADELPHIA COUNTY BOARD OF ELECTIONS’ OBJECTIONS AND RESPONSES TO PLAINTIFFS’
FIRST SET OF INTERROGATORIES (NOS. 1–22)                                            13
                                  Pa.App.0957
                                    APP-13
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     962 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  17 of 109




                          Pa.App.0958
                            APP-14
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     963 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  18 of 109




                          Pa.App.0959
                            APP-15
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     964 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  19 of 109




                          Pa.App.0960
                            APP-16
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     965 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  20 of 109




                          Pa.App.0961
                            APP-17
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     966 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  21 of 109




                          Pa.App.0962
                            APP-18
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     967 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  22 of 109




                          Pa.App.0963
                            APP-19
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     968 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  23 of 109




                          Pa.App.0964
                            APP-20
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     969 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  24 of 109




                          Pa.App.0965
                            APP-21
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     970 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  25 of 109




                          Pa.App.0966
                            APP-22
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     971 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  26 of 109




                          Pa.App.0967
                            APP-23
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     972 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  27 of 109




                          Pa.App.0968
                            APP-24
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     973 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  28 of 109




                          Pa.App.0969
                            APP-25
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     974 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  29 of 109




                          Pa.App.0970
                            APP-26
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     975 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  30 of 109




                          Pa.App.0971
                            APP-27
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     976 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  31 of 109




                          Pa.App.0972
                            APP-28
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     977 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  32 of 109




                          Pa.App.0973
                            APP-29
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     978 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  33 of 109




                          Pa.App.0974
                            APP-30
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     979 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  34 of 109




                          Pa.App.0975
                            APP-31
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     980 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  35 of 109




                          Pa.App.0976
                            APP-32
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     981 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  36 of 109




                          Pa.App.0977
                            APP-33
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     982 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  37 of 109




                          Pa.App.0978
                            APP-34
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     983 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  38 of 109




                          Pa.App.0979
                            APP-35
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     984 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  39 of 109




                          Pa.App.0980
                            APP-36
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     985 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  40 of 109




                          Pa.App.0981
                            APP-37
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     986 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  41 of 109




                          Pa.App.0982
                            APP-38
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     987 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  42 of 109




                          Pa.App.0983
                            APP-39
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     988 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  43 of 109




                          Pa.App.0984
                            APP-40
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     989 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  44 of 109




                          Pa.App.0985
                            APP-41
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     990 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  45 of 109




                          Pa.App.0986
                            APP-42
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     991 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  46 of 109




                          Pa.App.0987
                            APP-43
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     992 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  47 of 109




                          Pa.App.0988
                            APP-44
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     993 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  48 of 109




                          Pa.App.0989
                            APP-45
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     994 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  49 of 109




                          Pa.App.0990
                            APP-46
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     995 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  50 of 109




                          Pa.App.0991
                            APP-47
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     996 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  51 of 109




                          Pa.App.0992
                            APP-48
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     997 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  52 of 109




                          Pa.App.0993
                            APP-49
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     998 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  53 of 109




                          Pa.App.0994
                            APP-50
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     999 05/05/23
                                 312 Filed Date Filed: 01/10/2024
                                                    Page  54 of 109




                          Pa.App.0995
                            APP-51
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1000    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          55 of 109




                          Pa.App.0996
                            APP-52
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1001    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          56 of 109




                          Pa.App.0997
                            APP-53
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1002    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          57 of 109




                          Pa.App.0998
                            APP-54
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1003    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          58 of 109




                          Pa.App.0999
                            APP-55
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1004    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          59 of 109




                          Pa.App.1000
                            APP-56
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1005    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          60 of 109




                          Pa.App.1001
                            APP-57
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1006    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          61 of 109




                          Pa.App.1002
                            APP-58
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1007    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          62 of 109




                          Pa.App.1003
                            APP-59
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1008    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          63 of 109




                          Pa.App.1004
                            APP-60
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1009    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          64 of 109




                          Pa.App.1005
                            APP-61
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1010    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          65 of 109




                          Pa.App.1006
                            APP-62
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1011    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          66 of 109




                          Pa.App.1007
                            APP-63
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1012    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          67 of 109




                          Pa.App.1008
                            APP-64
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1013    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          68 of 109




                          Pa.App.1009
                            APP-65
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1014    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          69 of 109




                          Pa.App.1010
                            APP-66
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1015    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          70 of 109




                          Pa.App.1011
                            APP-67
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 312 1016    Date Filed:
                                          Filed 05/05/23  Page01/10/2024
                                                                71 of 109




               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA


 PENNSYLVANIA STATE CONFERENCE
 OF THE NAACP, et al.,

              Plaintiffs,
                                               Case No. 1:22-cv-339
       v.

 AL SCHMIDT, Acting Secretary of the
 Commonwealth, et al.,

              Defendants.


 BETTE EAKIN, et al,

              Plaintiffs,
                                               Case No. 1:22-cv-340
       v.

 ADAMS COUNTY BOARD OF
 ELECTIONS, et al.,

              Defendants.


                      DECLARATION OF NICK CUSTODIO

      I, Nick Custodio, have personal knowledge of the facts contained in this

affidavit and declare as follows:

      1.     I am of legal age and competent to provide this Declaration. All the

information herein is based on my own personal knowledge. If called and sworn as a

witness, I could and would competently testify to these facts.

      2.     Since January 29, 2018, I have served as Deputy City Commissioner for

Philadelphia City Commissioner Lisa Deeley, Chairwoman. By virtue of my work as

Deputy Commissioner for Chairwoman Deeley, I have a thorough knowledge of




                                    Pa.App.1012
                                      APP-68
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 312 1017    Date Filed:
                                          Filed 05/05/23  Page01/10/2024
                                                                72 of 109




Philadelphia’s election procedures and administration. I have firsthand knowledge of

the Board’s handling of absentee ballots going back to January 2018 and of mail-in

ballots dating back to the adoption of Act 77.

      3.     The Philadelphia City Commissioners are three elected officials in

charge of elections and voter registration for the City of Philadelphia. Each

Commissioner is elected to serve a four-year term. The Commissioners set and

enforce department policies to administer voter registration and conduct elections in

accordance with federal and Commonwealth voter registration and election laws.

      4.     Pursuant to the Pennsylvania Election Code and the Philadelphia Home

Rule Charter, the Commissioners constitute the Board of Elections for Philadelphia

County. Because all three Commissioners are on the ballot in the 2023 municipal

election, per the Pennsylvania Election Code, the President Judge of the Court of

Common Pleas has appointed three judges from the Philadelphia Court of Common

Pleas to serve on the Board of Elections in their stead. Deputy Commissioners serve

as deputies to members of the Board of Elections.

      5.     The day-to-day operations of the Board, including much of the work

described below that is performed in preparation for elections, is conducted by the

Board’s employees, overseen by Executive Director Joseph Lynch. The Executive

Director reports to the Board of the City Commissioners and is supervised day-to-day

by the Chairwoman’s Office. References below to “the Board” include the work of the

Board staff, the offices of the City Commissioners, and the Philadelphia County




                                          2
                                   Pa.App.1013
                                     APP-69
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 312 1018    Date Filed:
                                          Filed 05/05/23  Page01/10/2024
                                                                73 of 109




Board of Elections, and are not limited to matters on which the three-member Board

has reached a formal determination.

      6.     Pennsylvania allows qualified voters to vote in-person or by absentee or

mail-in ballot. See 25 P.S. §§ 3146.1, 3150.11(a), 3050. To vote by absentee or mail-in

ballot, qualified voters must apply to their county board of elections. 25 P.S. §§ 3146.2,

3146.2a, 3150.12, 3150.12a. Once the Board approves an elector’s application, the

Board mails them an absentee or mail-in ballot package; if the voter is applying in

person, the Board hands them the ballot package. 25 P.S. §§ 3146.5, 3150.15. The

voter must fill out and return the ballot package by 8:00 p.m. on Election Day. 25 P.S.

§§ 3146.6, 3150.16.

      7.     Since the adoption of no-excuse mail-in voting in Pennsylvania, the

Board has developed procedures to efficiently process the large volume of returned

absentee and mail-in ballots while complying with its obligations under the Election

Code and with guidance from the Department of State.

      8.     The Board records every returned absentee and mail-in ballot envelope,

either by running the envelope through a mail sorting machine or by using a manual

process.

      9.     The vast majority of ballots are run through the sorting machine, which

stamps each ballot envelope with the date and time the ballot envelope is returned to

the Board. The manual process similarly marks the ballot with the date and time the

ballot envelope is returned to the Board.




                                            3
                                     Pa.App.1014
                                       APP-70
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 312 1019    Date Filed:
                                           Filed 05/05/23  Page01/10/2024
                                                                 74 of 109




        10.     The sorting machine further scans the unique correspondence ID of each

ballot envelope for export to the Statewide Uniform Registry of Electors (SURE)

system. This process records that the voter has returned an absentee or mail-in ballot.

        11.     Because of the date stamp, the handwritten date on the ballot envelope

is not necessary for the Board to determine that any ballot envelope was timely

returned.

        12.     The Board does not use the handwritten date to determine whether a

voter is qualified to vote, whether a mail-in or absentee ballot is timely received, or

for any other purpose.

        13.     The Board has configured the sorting machine to recognize a ballot

envelope returned without a handwritten signature or that is too thin to contain the

internal secrecy envelope.1 Due to technical limitations, the sorting machines are not

configured to detect whether a voter has returned a ballot envelope that is missing a

handwritten date. The sorting machines cannot be configured to recognize a ballot

envelope with an “incorrect” date.

        14.     Since the adoption of no-excuse mail-in voting, the Board consistently

receives a large number of mail-in ballots each election cycle. For example, in the

November 2022 general election, Philadelphia voters returned nearly 134,000



1 The Board sorts and scans returned ballot envelopes to comply with other obligations under the

Election Code and to engage in enfranchising procedures that notify voters of obvious technical errors
and permit the voter to cast a valid ballot. The Board’s use of a sorting machine to sort and scan ballot
envelopes is entirely separate from the Board’s pre-canvass and canvass of the ballots themselves,
which does not begin until 7:00 a.m. on Election Day. See 25 P.S. § 2602(a.1), (q.1). Although the
sorting machines can identify ballots missing a handwritten date or signature, the Board does not
make final determination about whether a ballot has been validly cast until after 7:00 a.m. on Election
Day.


                                                   4
                                           Pa.App.1015
                                             APP-71
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 312 1020    Date Filed:
                                          Filed 05/05/23  Page01/10/2024
                                                                75 of 109




absentee and mail-in ballots before 8 p.m. on Election Day. As a result, identifying

and segregating ballot envelopes that have a missing or “incorrect” handwritten

requires significant additional time and labor by the Board.

      15.    The Board has not identified any actual or suspected instances of voting-

related fraud, such as fraudulent backdating of ballots, connected with mail-in or

absentee ballots returned in undated or misdated envelopes. The Board has no reason

to believe that counting ballots returned in undated or misdated envelopes would

cause an increase in incidents of voting-related fraud.

      16.    The Board does not use the handwritten date to detect fraud or outdated

ballot materials. Each absentee or mail-in ballot envelope has a correspondence ID

that is unique to that voter and that election. When the Board receives envelopes

from older elections, they are out-sorted by the mail sorting machine and not counted.



      Under 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.



Date: 5/5/2023
                                                     Nick Custodio




                                          5
                                   Pa.App.1016
                                      APP-72
         Case:1:22-cv-00339-SPB
         Case  23-3166 Document:  146 Page:
                                Document 277 1021
                                         312         Date Filed:
                                             Filed 05/05/23
                                                   04/21/23  Page01/10/2024
                                                                   76 of 374
                                                                   40    109




                   IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF PENNSYLVANIA
                              CIVIL DIVISION


PENNSYLVANIA STATE CONFERNCE
OF THE NAACP, et al.

          Plaintiffs,
                v.                                       1:22-CV-00339-SPB
LEIGH M. CHAPMAN, et al.
          Defendants.

      RESPONSES OF DEFENDANT ALLEGHENY COUNTY BOARD OF
      ELECTIONS TO PLAINTIFFS’ FIRST SET OF INTERROGATORIES

         Pursuant to Fed. R. Civ. P. 36, Defendant Allegheny County Board of Elections

(“Allegheny BOE”), by and through its attorneys, George Janocsko, Allegheny County

Solicitor, and Allan J. Opsitnick and Lisa G. Michel, Assistant County Solicitors, files this

Response to Plaintiffs’ First Set of Interrogatories, subject to Plaintiffs’ counsel’s

clarification and amendment to the discovery stated in their January 4, 2023 1:25 P.M.

email:

            o   In responding to the Requests for Admission, please read the questions to
                be limited temporally to the 2021 and 2022 elections;


            o   The Request for Production and Interrogatories are all intended to relate
                to the 2022 General Election;


            o   and References to “orders of November 1 and 8, 2022” in Requests for
                Admissions 6 and 7 should read “orders of November 1 and 5, 2022.”


                                  GENERAL OBJECTIONS

   1. Allegheny BOE objects to the definitions and instructions set forth above to these

Interrogatories to the extent that they impose any obligations greater than those imposed

by the Federal Rules of Civil Procedure.




                                      Pa.App.1017
                                      APP_00025
                                           APP-73
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 277 1022
                                      312         Date Filed:
                                          Filed 05/05/23
                                                04/21/23  Page01/10/2024
                                                                77 of 374
                                                                41    109




   2. Allegheny BOE objects to any and all Interrogatories that seek any information

protected by the attorney-client privilege, work product doctrine, joint defense or any

other applicable privilege.

   3. Allegheny BOE objects to these Interrogatories to the extent that they seek

disclosure of information not in in its possession, custody or control.

   4. Allegheny BOE reserves the right to supplement, correct or revise any the responses

and objections raised in the Interrogatories or assert       additional objections in any

subsequent supplemental response.


1. State how many mail ballots and how many military-overseas ballots

voters returned to You for the 2022 General Election.

ANSWER: Allegheny BOE received 161,575 mail ballots and 152 military ballots for the

2022 General Election.



2. State how many mail ballots You received in connection with the 2022

General Election that were signed and timely received but set aside and/or

segregated because they lacked a handwritten date on the outer return envelope or

showed a date on the outer return envelope that You deemed to be incorrect. If you

allowed voters to correct or cure the envelope-date issue, specify whether your

response includes ballots that were ultimately corrected or cured.

ANSWER: The total number of ballots that were set aside by the Allegheny BOE because

the ballot either lacked a handwritten date on the outer return envelope or stated a date

outside of the date ranges set forth by the Pennsylvania Supreme Court in its Orders of

November 1 and 5, 2022 is approximately 1009. This total is exclusive of the any ballots




                                     Pa.App.1018
                                     APP_00026
                                         APP-74
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 277 1023
                                      312         Date Filed:
                                          Filed 05/05/23
                                                04/21/23  Page01/10/2024
                                                                78 of 374
                                                                42    109




that were cured or corrected as such ballots were included in the canvass of the November

8, 2022 election and therefore were not set aside.



3. Identify and describe how you determined if a date on a mail ballot

outer return envelope was “incorrect.”

ANSWER: Allegheny BOE objects to the term “incorrect” as it is not defined in the

discovery request. Without waiving such objection, Allegheny BOE responds that the

Pennsylvania Supreme Court in its November 1, 2022 and November 5, 2022 orders

mandated date ranges for absentee and mail-in ballots and proscribed the canvassing of

ballots that either had no dates or set forth dates outside of those respective time periods.

Allegheny BOE, via sworn personnel, reviewed the exterior ballot envelopes and, if there

was no date, then the ballot was set aside. If the date written on the envelope was not

within the mandated date range under the Pennsylvania Supreme Court’s orders, then

the ballot was set aside.



4. State the date on which you began sending the mail ballot packages to

voters?

ANSWER: Absentee and overseas ballots were mailed out to voters commencing

September 30, 2022. On October 1, 2022 the first set of mail-in ballots was mailed to

voters.



5. State whether you opened and/or counted mail ballots where the

handwritten date on the return envelope was after September 19, 2022, but before

the date on which you began sending the mail ballot package to voters.



                                      Pa.App.1019
                                      APP_00027
                                         APP-75
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 277 1024
                                      312         Date Filed:
                                          Filed 05/05/23
                                                04/21/23  Page01/10/2024
                                                                79 of 374
                                                                43    109




ANSWER: Yes. Allegheny BOE complied with the Pennsylvania Supreme Court’s

Supplemental Order dated November 5, 2022 in Ball v. Chapman, 102 MM 2022, which

mandated the range of dates that the Boards of Elections were to apply in counting mail-

in ballots and such ballots were opened and counted commencing at 7:00 A.M. on

Election Day - November 8, 2022.



6. State whether you opened and/or counted absentee ballots where the

handwritten date on the return envelope was after August 30, 2022, but before the

date on which you began sending the mail ballot package to voters.

ANSWER: Yes. Allegheny BOE complied with the Pennsylvania Supreme Court’s

Supplemental Order dated November 5, 2022 in Ball v. Chapman, 102 MM 2022, which

mandated the range of dates that the Boards of Elections were to apply in counting mail

ballots and such ballots were opened and counted commencing at 7:00 A.M. on

November 8, 2022.



7. Identify, by name, birthdate, address, party affiliation and any other

demographic information available to you, the voters whose timely received mail

ballots You set aside and/or segregated because they were received in signed outer

return envelopes that lacked a handwritten date or showed a date on the voter

declaration that You deemed to be incorrect. In responding to this Interrogatory, state

the specific reason why each such ballot was set aside and, if You allowed voters to

correct or cure the date issue, specify whether each voter was able to correct or cure

the issue.




                                     Pa.App.1020
                                     APP_00028
                                         APP-76
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 277 1025
                                       312         Date Filed:
                                           Filed 05/05/23
                                                 04/21/23  Page01/10/2024
                                                                 80 of 374
                                                                 44    109




ANSWER: Allegheny BOE will provide a response under separate cover after the entry of

the Protective Order and consistent with extensions granted by Plaintiff because

Allegheny BOE is presently engaged in preparations for the three special elections to file

vacant state House of Representatives seats in three Allegheny County districts scheduled

for February 7, 2023.




8. Did any mail ballots described in Interrogatory 2 have any other

defects, besides a missing or incorrect handwritten date on the outer return envelope,

that would cause You not to count them? If so, state how many such mail ballots had

an additional defect, describe those defects, and identify the voters whose timely

received mail ballots had such additional defect(s).

ANSWER: No. The only reasons that these ballots were set aside were that they were

undated or the date set forth on the outer envelope was outside of the date range set forth

by the Pennsylvania Supreme Court in its Supplemental Order of November 5, 2022.



9. Did You determine that any voters who sent timely mail ballots

described in Interrogatory 2 were not qualified, eligible voters? If so, describe how

you determined such voters to be ineligible and identify, for each such voter, the

basis for ineligibility.

ANSWER: No. Allegheny BOE complied with the Pennsylvania Supreme Court’s

Supplemental Order of November 5, 2022 and set aside mail and absentee ballots that

did not comply with the Court’s Order. No further inspection or inquiry was made

regarding the voter’s eligibility or ineligibility.



                                        Pa.App.1021
                                        APP_00029
                                            APP-77
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 277 1026
                                      312         Date Filed:
                                          Filed 05/05/23
                                                04/21/23  Page01/10/2024
                                                                81 of 374
                                                                45    109




10. State whether You or any of Your agents identified or raised any

credible fraud concerns specifically as to any individual mail ballot described in

Interrogatory 2. If so, describe the nature of such fraud concerns.

ANSWER: None.



11. Did You provide notice to voters whose timely received mail ballots

were set aside and/or segregated because the signed outer return envelope was

missing a date or showed a date that You determined to be incorrect? If so, identify

and describe how and when you notified voters of missing or incorrect dates on the

signed outer return envelope.

ANSWER: Allegheny BOE again objects to the undefined term “incorrect date” as

undefined. Without waiving that objection, Allegheny BOE responds as follows: Yes. The

Elections Division made a good faith effort to review all the mail and absentee ballots that

had been received by November 5, 2022 and to identify those ballots not conforming with

the Pennsylvania Supreme Court’s Orders of November 1 and 5, 2022. On November 6,

2022, Allegheny BOE published a list of the ballots that were either undated or did not

show a date within the Pennsylvania Supreme Court’s Order of November 5, 2022

mandating the date ranges for mail-in or absentee ballots. Individuals were provided

notice that they could cure the defect by presenting themselves to the Office of the

Elections Division at the County Office Building, 542 Forbes Avenue, Pittsburgh, PA

15219, by inserting a date in compliance with the Pennsylvania Supreme Court orders.

The list was revised on November 7, 2022 to include additional ballots delivered to the

Elections Division on that date. Individuals were permitted to cure the deficiency through

8:00 P.M. on November 8, 2022. For those ballots received on November 8, 2022 or



                                     Pa.App.1022
                                     APP_00030
                                         APP-78
         Case:1:22-cv-00339-SPB
         Case  23-3166 Document:  146 Page:
                                Document 277 1027
                                         312         Date Filed:
                                             Filed 05/05/23
                                                   04/21/23  Page01/10/2024
                                                                   82 of 374
                                                                   46    109




ballots that upon review at the time of canvass had no dates or dates outside of the

November 5, 2022 dates ranges, there was no reasonable opportunity due to time and

manpower constraints to provide notice to such voters.



12. Did You provide mail ballot voters described in Interrogatory 11 with

an opportunity to correct or cure the identified issues with dating the outer return

envelope? If so, identify and describe the cure methods offered and how you

instructed notified voters to cure any missing or incorrect date issues.

ANSWER: Allegheny BOE incorporates its response to Interrogatory 11 as though set

forth at length herein.



13. If you provided notice and an opportunity to cure as described in

Interrogatories 11 and 12, how many mail ballot voters cured their envelope date

issue?

ANSWER: Allegheny BOE does not have a complete record of the number of persons who

cured their ballots. As of close of its office (i.e. – The Allegheny County Elections Division)

on the afternoon of November 7, 2022, Allegheny BOE tallied that 106 ballots were cured.

The Elections Division did not record the number of mail ballot voters who cured their

envelope date issues on November 8, 2022.



14. Do You contend that the handwritten date is material in determining

whether a mail ballot voter is qualified to vote in the election in which they have cast

a ballot? If so, what is the basis for that contention?




                                      Pa.App.1023
                                      APP_00031
                                          APP-79
         Case:1:22-cv-00339-SPB
         Case  23-3166 Document:  146 Page:
                                Document 277 1028
                                         312         Date Filed:
                                             Filed 05/05/23
                                                   04/21/23  Page01/10/2024
                                                                   83 of 374
                                                                   47    109




ANSWER: No. Allegheny BOE does not contend that the handwritten date is material to

whether a mail ballot voter is qualified to vote in the election for which they have cast a

ballot.



15. Did You count timely-received military-overseas ballots in the 2022

General Election if the voter failed to date their voter declaration or included a date

that You deemed to be incorrect? If so, state how many such military-overseas

ballots You counted. If not, state how many such military-overseas ballots You set

aside and/or segregated due to missing or purportedly-incorrect dates on the outer

return envelope.

ANSWER: There were no military ballots returned to the Allegheny BOE that lacked a

date or were dated outside of the range set forth in the Pennsylvania Supreme Court’s

Supplemental Order dated November 5, 2022. Therefore, no military ballots were set

aside.



16. Identify, by name, birthdate, address, party affiliation and any other

demographic information available to you, the voters who timely submitted military

overseas ballots but failed to date their voter declaration or included a date that You

deemed to be incorrect.

ANSWER: Not applicable. See response to Interrogatory 15 above.



17. Did the military-overseas ballots described in Interrogatory 15 have any

other defects, besides a missing or incorrect date, that would cause You not to count

them? If so, state how many such military-overseas ballots had an additional defect,



                                     Pa.App.1024
                                     APP_00032
                                         APP-80
       Case:1:22-cv-00339-SPB
       Case  23-3166 Document:  146 Page:
                              Document 277 1029
                                       312         Date Filed:
                                           Filed 05/05/23
                                                 04/21/23  Page01/10/2024
                                                                 84 of 374
                                                                 48    109




describe those defects and identify the voters who’s timely received military overseas

ballots had such additional defect(s).

ANSWER: Not applicable. See response to Interrogatory 15 above.



18. Did You determine that any voters who sent timely military-overseas

ballots described in Interrogatory 15 were not qualified, eligible voters? If so,

describe how you determined such voters to be ineligible and identify, for each such

voter, the basis for ineligibility.

ANSWER: Not applicable. See response to Interrogatory 15 above.



19. State whether You or any of Your agents identified or raised any

credible fraud concerns specifically as to any of the military-overseas ballots

described in Interrogatory 15. If so, describe the nature of such fraud concerns.

ANSWER: Not applicable. See response to Interrogatory 15 above.



20. If You did not count the timely received military-overseas ballots

described in Interrogatory 15, did you provide notice to the voters whose military overseas

ballots were set aside and/or segregated because the voter failed to date

their voter declaration or included a date that You determined to be incorrect? If so,

identify and describe how and when you notified those voters.

ANSWER: Not applicable. See response to Interrogatory 15 above.



21. If You did not count the timely received military-overseas ballots

described in Interrogatory 15, did You provide the voters who submitted such



                                      Pa.App.1025
                                      APP_00033
                                         APP-81
      Case:1:22-cv-00339-SPB
      Case  23-3166 Document:  146 Page:
                             Document 277 1030
                                      312         Date Filed:
                                          Filed 05/05/23
                                                04/21/23  Page01/10/2024
                                                                85 of 374
                                                                49    109




military-overseas ballots with an opportunity to correct or cure the identified issues

with the date? If so, identify and describe the cure methods offered and how you

instructed notified voters to cure any date issues.

ANSWER: Not applicable. See response to Interrogatory 15 above.



22. If you provided notice and an opportunity to cure as described in

Interrogatories 20 and 21, how many military-overseas voters cured their date issue?

ANSWER: Not applicable. See response to Interrogatory 15 above.



                                          Respectfully submitted,

Date: January 25, 2023                    By: George M. Janocsko
                                          George M. Janocsko (PA 26408)
                                          Allan J. Opsitnick (PA 28126)
                                          Lisa G. Michel (PA 59997)
                                          Allegheny County Law Department
                                          445 Fort Pitt Boulevard
                                          Fort Pitt Commons Suite 300
                                          Pittsburgh, PA 15129
                                          george.janocsko@alleghenycounty.us
                                          opsitnick@opsitnickslaw.com
                                          lisa.michel@alleghenycounty.us
                                          T (412) 350-1120
                                          Counsel for the Allegheny County Board of
                                          Elections




                                     Pa.App.1026
                                     APP_00034
                                         APP-82
       Case:1:22-cv-00339-SPB
      Case
      Case    23-3166 Document:
             1:22-cv-00339-SPB   146 Page:
                               Document
                               Document 277 1031
                                        312 Filed   Date Filed:
                                            Filed04/21/23
                                                  05/05/23  Page
                                                           Page 01/10/2024
                                                                  86 of
                                                                 131  of109
                                                                         374




               IN THE UNITED STATES DISTRICT COURT FOR
               THE WESTERN DISTRICT OF PENNSYLVANIA

  PENNSYLVANIA STATE CONFERENCE OF
  THE NAACP, et al.,

                                Plaintiffs,
          v.
                                                                 Case No. 1:22-cv-00339-SPB
  LEIGH M. CHAPMAN, in her official capacity as
  Acting Secretary of the Commonwealth, et al.,

                               Defendants.


      BUCKS COUNTY BOARD OF ELECTIONS’ RESPONSES TO PLAINTIFFS’
                    FIRST SET OF INTERROGATORIES


       1.      State how many mail ballots and how many military-overseas ballots voters
returned to you for the 2022 General Election.

        RESPONSE: Upon reasonable investigation, unknown to the Bucks County Board of
Elections (“BCBOE”) at this time. By way of further response, BCBOE counted 87,321 mail-
in ballots (“MIB”) and absentee ballots (“AB”) and 466 military-overseas ballots. However,
these numbers do not include canceled MIB, AB, and military-overseas ballots that were
returned. By way of additional response, BCBOE is only able to access the number of
counted votes in the SURE system. The Department of State might be able to access the
number of cancelled ballots in SURE.

       2.      State how many mail ballots you received in connection with the 2022 General
Election that were signed and timely received but set aside and/or segregated because they lacked
a handwritten date on the outer return envelope or showed a date on the outer return envelope that
you deemed to be incorrect. If you allowed voters to correct or cure the envelope-date issue, specify
whether your response includes ballots that were ultimately corrected or cured.

       RESPONSE: For MIB and AB, BCBOE received 357 ballots that were signed and
timely received but, in accordance with the orders of the Pennsylvania Supreme Court, were
set aside and/or segregated because they lacked a handwritten date on the outer return
envelope or showed an incorrect date on the outer return envelope. This number does not
include ballots that were corrected or cured.

       3.     Identify and describe how you determined if a date on a mail ballot outer return
envelope was “incorrect”.



                                                 1

                                         Pa.App.1027
                                         APP_00116
                                              APP-83
       Case:1:22-cv-00339-SPB
      Case
      Case    23-3166 Document:
             1:22-cv-00339-SPB   146 Page:
                               Document
                               Document 277 1032
                                        312 Filed   Date Filed:
                                            Filed04/21/23
                                                  05/05/23  Page
                                                           Page 01/10/2024
                                                                  87 of
                                                                 132  of109
                                                                         374




      RESPONSE: BCBOE’s determination was based upon the Supreme Court of
Pennsylvania’s (“SCOPA”) order and supplemental order, guidelines provided by
Johnathan Marks, Deputy Secretary for Elections and Commissions, and the advice of
counsel. A poster was also created and displayed to aid election workers processing MIB/AB.

       4.      State the date on which you began sending the mail ballot packages to voters.

       RESPONSE: September 22, 2022 is the earliest date that military/overseas ballots
were sent. October 5, 2022 is the earliest date that MIB/AB were sent.

       5.      State whether you opened and/or counted mail ballots where the handwritten date
on the return envelope was after September 19, 2022, but before the date on which you began
sending the mail ballot package to voters.

       RESPONSE: Upon reasonable investigation, unknown. In order for BCBOE to
determine this information all mail ballots would have to be individually reviewed. By way
of further response, the BCBOE complied with the SCOPA order and supplemental order.

       6.      State whether you opened and/or counted absentee ballots where the handwritten
date on the return envelope was after August 30, 2022, but before the date on which you began
sending the mail ballot package to voters.

       RESPONSE: See response to Interrogatory No. 5, which is incorporated fully herein.

        7.      Identify, by name, birthdate, address, party affiliation and any other demographic
information available to you, the voters whose timely received mail ballots you set aside and/or
segregated because they were received in signed outer return envelopes that lacked a handwritten
date or showed a date on the voter declaration that you deemed to be incorrect. In responding to
this Interrogatory, state the specific reason why each such ballot was set aside and, if you allowed
voters to correct or cure the date issue, specify whether each voter was able to correct or cure the
issue.

       RESPONSE: A spreadsheet with responsive information will be produced following
entry of a Protective Order by the Court, as agreed upon by the parties.

        8.     Did any mail ballots described in Interrogatory 2 have any other defects, besides a
missing or incorrect handwritten date on the outer return envelope, that would cause you not to
count them? If so, state how many such mail ballots had an additional defect, describe those
defects, and identify the voters whose timely received mail ballots had such additional defect(s).

       RESPONSE: None. By way of a further answer, BCBOE did have 75 envelopes
lacking both a date and signature. These ballots are not reflected in the response to
Interrogatory No. 2.

        9.     Did you determine that any voters who sent timely mail ballots described in
Interrogatory 2 were not qualified, eligible voters? If so, describe how you determined such voters

                                                 2

                                        Pa.App.1028
                                        APP_00117
                                            APP-84
       Case:1:22-cv-00339-SPB
      Case
      Case    23-3166 Document:
             1:22-cv-00339-SPB   146 Page:
                               Document
                               Document 277 1033
                                        312 Filed   Date Filed:
                                            Filed04/21/23
                                                  05/05/23  Page
                                                           Page 01/10/2024
                                                                  88 of
                                                                 133  of109
                                                                         374




to be ineligible and identify, for each such voters, the basis for ineligibility.

        RESPONSE: No.

        10.     State whether you or any of your agents identified or raised any credible fraud
concerns specifically as to any individual mail ballot described in Interrogatory 2. If so, describe
the nature of such fraud concerns.

        RESPONSE: No.

        11.    Did you provide notice to voters whose timely received mail ballots were set aside
and/or segregated because the signed outer return envelope was missing a date or showed a date
that you determined to be incorrect? If so, identify and describe how and when you notified voters
of missing or incorrect dates on the signed outer return envelope.

       RESPONSE: Yes, after issuance of the SCOPA order, BCBOE sent postcards out to
voters whose outer return envelope was missing a date or had an incorrect date. Prior to
and on Election Day, 8 voters arrived at the BCBOE to cure their MIB/AB. Once the ballots
were remedied, voter’s names were documented on a log of cured ballots and the ballots were
properly secured in their precinct storage bin for canvassing.

        12.    Did you provide mail ballot voters described in Interrogatory 11 with an
opportunity to correct or cure the identified issues with dating the outer return envelope? If so,
identify and describe the cure methods offered and how you instructed notified voters to cure any
missing or incorrect date issues.

        RESPONSE: See response Interrogatory No. 11.

       13.   If you provided notice and an opportunity to cure as described in Interrogatories 11
and 12, how many mail ballot voters cured their envelope date issue?

       RESPONSE: Eight voters cured their envelope date issue in person at the BCBOE
and 4 voters cured by provisional ballot.

        14.     Do you contend that the handwritten date is material in determining whether a mail
ballot voter is qualified to vote in the election in which they have cast a ballot? If so, what is the
basis for that contention?

        RESPONSE: No.

       15.      Did you count timely-received military-overseas ballots in the 2022 General
Election if the voter failed to date their voter declaration or included a date that you deemed to be
incorrect? If so, state how many such military-overseas ballots you counted. If not, state how many
such military-overseas ballots you set aside and/or segregated due to missing or purportedly-
incorrect dates on the outer return envelope.


                                                   3

                                          Pa.App.1029
                                          APP_00118
                                              APP-85
       Case:1:22-cv-00339-SPB
      Case
      Case    23-3166 Document:
             1:22-cv-00339-SPB   146 Page:
                               Document
                               Document 277 1034
                                        312 Filed   Date Filed:
                                            Filed04/21/23
                                                  05/05/23  Page
                                                           Page 01/10/2024
                                                                  89 of
                                                                 134  of109
                                                                         374




        RESPONSE: Yes. We had 10 undated and one incorrectly dated for a total of 11
ballots.

        16.     Identify, by name, birthdate, address, party affiliation and any other demographic
information available to you, the voters who timely submitted military-overseas ballots but failed
to date their voter declaration or included a date that you deemed to be incorrect.

       RESPONSE: A spreadsheet with responsive information will be produced following
entry of a Protective Order by the Court, as agreed upon by the parties.

        17.     Did the military-overseas ballots described in Interrogatory 15 have any other
defects, besides a missing or incorrect date, that would cause you not to count them? If so, state
how many such military-overseas ballots had an additional defect, describe those defects, and
identify the voters whose timely received military-overseas ballots had such additional defect(s).

       RESPONSE: The BCBOE had two other issue categories associated with the
military/civilian overseas ballots obtained during the 2022 General Election. Two ballots
were considered “naked” and were not in a secrecy envelope upon canvassing. One ballot
did not include any voter declaration upon canvassing.

       18.    Did you determine that any voters who sent timely military-overseas ballots
described in Interrogatory 15 were not qualified, eligible voters? If so, describe how you
determined such voters to be ineligible and identify, for each such voter, the basis for ineligibility.

       RESPONSE: No. All Federal Postcard Applications (FPCA) are thoroughly checked
and compared to the SURE voter records to determine if the voter is actively registered
within the County of Bucks at their most recent residential address. When all details of the
application match the voter’s record, the application is then processed.

Upon return from voters abroad, completed ballots contain a barcode that acts as a direct
link to the voter’s record in SURE. Should any changes to a voter’s status occur between
the time their application is processed and when BCBOE receives the ballot, SURE will
notify BCBOE staff once they use the barcode to record the ballot as returned on time. Any
ballots belonging to voters who are ineligible due to a change in their record’s status are set
aside and stored.

       19.     State whether you or any of your agents identified or raised any credible fraud
concerns specifically as to any of the military-overseas ballots described in Interrogatory 15. If so,
describe the nature of such fraud concerns.

       RESPONSE: None.

        20.    If you did not count the timely received military-overseas ballots described in
Interrogatory 15, did you provide notice to the voters whose military-overseas ballots were set
aside and/or segregated because the voter failed to date their voter declaration or included a date
that you determined to be incorrect? If so, identify and describe how and when you notified those

                                                  4

                                          Pa.App.1030
                                          APP_00119
                                              APP-86
       Case:1:22-cv-00339-SPB
      Case
      Case    23-3166 Document:
             1:22-cv-00339-SPB   146 Page:
                               Document
                               Document 277 1035
                                        312 Filed   Date Filed:
                                            Filed04/21/23
                                                  05/05/23  Page
                                                           Page 01/10/2024
                                                                  90 of
                                                                 135  of109
                                                                         374




voters.

          RESPONSE: Not applicable.

        21.    If you did not count the timely received military-overseas ballots described in
Interrogatory 15, did you provide the voters who submitted such military-overseas ballots with an
opportunity to correct or cure the identified issues with the date? If so, identify and describe the
cure methods offered and how you instructed notified voters to cure any date issues.

          RESPONSE: Not applicable.

       22.   If you provided notice and an opportunity to cure as described in Interrogatories 20
and 21, how many military-overseas voters cured their date issue?

          RESPONSE: Not applicable.




DATED: January 25, 2023                              BUCKS COUNTY LAW DEPARTMENT

                                                     BY:     /s/ Amy M. Fitzpatrick
                                                               Amy M. Fitzpatrick, Esquire
                                                               First Assistant County Solicitor
                                                               PA I.D. No. 324672
                                                               55 East Court Street, 5th floor
                                                               Doylestown, PA 18901




                                                 5

                                        Pa.App.1031
                                        APP_00120
                                            APP-87
Case:1:22-cv-00339-SPB
Case  23-3166 Document:  146 Page:
                       Document 312 1036    Date Filed:
                                    Filed 05/05/23  Page01/10/2024
                                                          91 of 109




                          Pa.App.1032
                             APP-88
        Case:1:22-cv-00339-SPB
       Case
       Case    23-3166 Document:
              1:22-cv-00339-SPB   146 Page:
                                Document
                                Document 277 1037
                                         312 Filed   Date Filed:
                                             Filed04/21/23
                                                   05/05/23  Page
                                                            Page 01/10/2024
                                                                   92 of
                                                                  181  of109
                                                                          374



any proceeding.

       2. Chester County objects to Plaintiffs’ interrogatories to the extent they seek

information or documents that contain or constitute confidential or proprietary information.

       3. Chester County objects to Plaintiffs’ interrogatories to the extent they purport to

seek information or documents which were prepared in anticipation of litigation or for trial,

are protected from disclosure by the Federal Rules of Civil Procedure or are otherwise

protected from disclosure. Inadvertent production of any such information or document

shall not constitute a waiver of any privilege or any other grounds for objecting to

discovery with respect to such information or document, nor shall inadvertent disclosure or

production waive the right of Chester County to object to the use of any such information

or document in any proceeding.

       4. Chester County objects to Plaintiffs’ interrogatories to the extent they seek

information or documents relating to claims and defenses not raised in the pleadings.

       5. Chester County objects to Plaintiffs’ interrogatories, including the definitions and

instruction contained therein, to the extent they seek to impose obligations upon Chester

County greater than those imposed by the Federal Rules of Civil Procedure.

       6. Chester County objects to Plaintiffs’ interrogatories to the extent they are

premature at this point in the litigation. Chester County reserves the right to amend and/or

supplement their objections and responses to each interrogatory based upon subsequent

rulings by the Court, as well as any facts, documents, or other evidence that may develop

or come to Chester County’s attention at a later time. Chester County objects to each

interrogatory to the extent that it is overly broad, unduly burdensome and seeks

information which is neither relevant to this case nor likely to lead to the discovery of

admissible evidence, or because such seeks information unrelated to any of the claims,

                                              2

                                       Pa.App.1033
                                       APP_00166
                                          APP-89
        Case:1:22-cv-00339-SPB
       Case
       Case    23-3166 Document:
              1:22-cv-00339-SPB   146 Page:
                                Document
                                Document 277 1038
                                         312 Filed   Date Filed:
                                             Filed04/21/23
                                                   05/05/23  Page
                                                            Page 01/10/2024
                                                                   93 of
                                                                  182  of109
                                                                          374



allegations or defenses germane to this case.

       7. Chester County objects to each interrogatory to the extent it seeks information

already within the possession, control and knowledge of Plaintiffs.

       8. Chester County objects to each interrogatory as overly broad and unduly

burdensome, to the extent it is not limited as to time.

B.     PRESERVATION OF RIGHTS

       All responses to Plaintiffs’ interrogatories are made without, in any way, waiving or

intending to waive, but on the contrary, intending to preserve and preserving:

       1. All questions as to competency, relevancy, materiality, and admissibility for any

purpose in any subsequent proceeding, the trial of this action, or any other action.

       2. The right to object on grounds of relevance, hearsay, or any other proper ground

to the use of any of these responses, or the subject matter thereof, in any subsequent

proceeding, the trial of this action, or any other action.

       3. The right to object on any grounds at any time to a demand for further responses

to these or any other interrogatory or other discovery proceedings involving or relating to

the subject matter of the interrogatories herein answered.

C.     GENERAL ANSWER

       The averments contained in all pleadings, motions and/or memoranda of law filed

in this case by Chester County including, without limitation, all attachments and exhibits

thereto, are incorporated herein by reference in each specific answer below.

D.     RESPONSES TO SPECIFIC REQUESTS

        1.     State how many mail ballots and how many military-overseas ballots voters

 returned to You for the 2022 General Election.

RESPONSE: Chester County incorporates by reference the above-stated General
                                   3

                                        Pa.App.1034
                                        APP_00167
                                           APP-90
       Case:1:22-cv-00339-SPB
      Case
      Case    23-3166 Document:
             1:22-cv-00339-SPB   146 Page:
                               Document
                               Document 277 1039
                                        312 Filed   Date Filed:
                                            Filed04/21/23
                                                  05/05/23  Page
                                                           Page 01/10/2024
                                                                  94 of
                                                                 183  of109
                                                                         374



Objections, Preservations of Rights, and General Answer. Notwithstanding the foregoing,

Chester County responds as follows:

               Chester County counted 70,023 mail-in and absentee ballots (hereinafter

referred to together as “mail ballots”). Chester County counted 638 military/overseas/federal

absentee ballots (hereinafter referred to as “UMOVA ballots”.

        2.     State how many mail ballots You received in connection with the 2022

 General Election that were signed and timely received but set aside and/or segregated

 because they lacked a handwritten date on the outer return envelope or showed a date

 on the outer return envelope that You deemed to be incorrect. If you allowed voters to

 correct or cure the envelope-date issue, specify whether your response includes ballots

 that were ultimately corrected or cured.

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Notwithstanding the foregoing,

Chester County responds as follows:

      Of the mail ballots that were timely received by Chester County, 19 mail ballots had

no date and no signature, 48 mail ballots were missing a date entirely, and 68 mail ballots

had an incorrect date.as defined by the Pennsylvania Supreme Court’s supplemental

order in Ball v. Chapman, No. 102 MM 2022, 2022 WL 16569702 (Pa. Nov. 1, 2022).

These numbers do not include ballots that were ultimately corrected or cured.

        3.     Identify and describe how you determined if a date on a mail ballot outer

 return envelope was “incorrect.”

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Notwithstanding the foregoing,


                                              4

                                      Pa.App.1035
                                      APP_00168
                                            APP-91
       Case:1:22-cv-00339-SPB
      Case
      Case    23-3166 Document:
             1:22-cv-00339-SPB   146 Page:
                               Document
                               Document 277 1040
                                        312 Filed   Date Filed:
                                            Filed04/21/23
                                                  05/05/23  Page
                                                           Page 01/10/2024
                                                                  95 of
                                                                 184  of109
                                                                         374



Chester County responds as follows:

               Chester County followed the Pennsylvania Supreme Court’s order and

supplemental order in Ball v. Chapman, No. 102 MM 2022, 2022 WL 16569702 (Pa. Nov.

1, 2022).

        4.     State the date on which you began sending the mail ballot packages to

 voters?

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Notwithstanding the foregoing,

Chester County responds as follows:

      Chester County began printing and sending mail ballot packages to voters on

October 10, 2022.

        5.     State whether you opened and/or counted mail ballots where the

 handwritten date on the return envelope was after September 19, 2022, but before the

 date on which you began sending the mail ballot package to voters.

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Furthermore, Chester County

objects to the relevance of this Interrogatory. Notwithstanding the foregoing, Chester County

responds as follows:

               Chester County followed the Pennsylvania Supreme Court’s Order and

Supplemental Order in Ball v. Chapman, No. 102 MM 2022, 2022 WL 16569702 (Pa. Nov.

1, 2022).

        6.     State whether you opened and/or counted absentee ballots where the

 handwritten date on the return envelope was after August 30, 2022, but before the date


                                             5

                                      Pa.App.1036
                                      APP_00169
                                         APP-92
       Case:1:22-cv-00339-SPB
      Case
      Case    23-3166 Document:
             1:22-cv-00339-SPB   146 Page:
                               Document
                               Document 277 1041
                                        312 Filed   Date Filed:
                                            Filed04/21/23
                                                  05/05/23  Page
                                                           Page 01/10/2024
                                                                  96 of
                                                                 185  of109
                                                                         374



 on which you began sending the mail ballot package to voters.

RESPONSE: Chester County incorporates the response to Interrogatory 5 as if stated fully

herein.

          7.   Identify, by name, birthdate, address, party affiliation and any other

 demographic information available to you, the voters whose timely received mail ballots

 You set aside and/or segregated because they were received in signed outer return

 envelopes that lacked a handwritten date or showed a date on the voter declaration that

 You deemed to be incorrect. In responding to this Interrogatory, state the specific reason

 why each such ballot was set aside and, if You allowed voters to correct or cure the date

 issue, specify whether each voter was able to correct or cure the issue.

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Notwithstanding the foregoing,

Chester County responds as follows:

               See Exhibit A to Interrogatories (to be provided upon execution by the Court

of a Protective Order and only provided to those other parties other than Plaintiff who agree

to be bound by it by executing Exhibit A to the Protective Order). The information contained

within Exhibit A is the only requested demographic information readily available to Chester

County. To acquire the additional requested demographic information, Chester County

would be required to manually generate such information on a voter-by-voter basis by

utilizing the statewide SURE system to research each voter individually.

          8.   Did any mail ballots described in Interrogatory 2 have any other defects,

 besides a missing or incorrect handwritten date on the outer return envelope, that would

 cause You not to count them? If so, state how many such mail ballots had an additional


                                             6

                                      Pa.App.1037
                                      APP_00170
                                         APP-93
       Case:1:22-cv-00339-SPB
      Case
      Case    23-3166 Document:
             1:22-cv-00339-SPB   146 Page:
                               Document
                               Document 277 1042
                                        312 Filed   Date Filed:
                                            Filed04/21/23
                                                  05/05/23  Page
                                                           Page 01/10/2024
                                                                  97 of
                                                                 186  of109
                                                                         374



defect, describe those defects, and identify the voters whose timely received mail ballots

had such additional defect(s).

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Notwithstanding the foregoing,

Chester County responds as follows:

              There is no such report that exists with this information. For Chester County

to determine this information, all ballots would have to be reviewed again. Additionally,

since the outer envelope was not opened, Chester County would be unable to ascertain

whether any deficiencies exist inside the outer envelope that would cause the ballot not

to be counted (i.e., lack of secrecy envelopes, identifying marks on secrecy envelopes,

etc.) However, as stated in Interrogatory No. 2, there were 19 mail ballots pre-canvassed

on Election Day missing both a date and a signature.

       9.     Did You determine that any voters who sent timely mail ballots described in

Interrogatory 2 were not qualified, eligible voters? If so, describe how you determined

such voters to be ineligible and identify, for each such voter, the basis for ineligibility.

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Notwithstanding the foregoing,

Chester County responds as follows:

              Chester County did not determine that any voters described in Interrogatory

No. 2 were not qualified, eligible voters.

       10.    State whether You or any of Your agents identified or raised any credible

fraud concerns specifically as to any individual mail ballot described in Interrogatory 2. If

so, describe the nature of such fraud concerns.


                                               7

                                       Pa.App.1038
                                       APP_00171
                                             APP-94
        Case:1:22-cv-00339-SPB
       Case
       Case    23-3166 Document:
              1:22-cv-00339-SPB   146 Page:
                                Document
                                Document 277 1043
                                         312 Filed   Date Filed:
                                             Filed04/21/23
                                                   05/05/23  Page
                                                            Page 01/10/2024
                                                                   98 of
                                                                  187  of109
                                                                          374



RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Notwithstanding the foregoing,

Chester County responds as follows:

               If a returned ballot was not in compliance with the requirements set forth in

Ball v. Chapman, No. 102 MM 2022, 2022 WL 16569702 (Pa. Nov. 1, 2022), it was set

aside, segregated, and preserved, as required by the Pennsylvania Supreme Court’s

Orders. Chester County did not undertake a subsequent review to determine if there were

“credible fraud concerns,” as Chester County understands that term, nor was Chester

County made aware of any issues of potential fraud related to any of these ballots.

        11.    Did You provide notice to voters whose timely received mail ballots were

 set aside and/or segregated because the signed outer return envelope was missing a

 date or showed a date that You determined to be incorrect? If so, identify and describe

 how and when you notified voters of missing or incorrect dates on the signed outer return

 envelope.

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Furthermore, Chester County

objects to the relevance of this Interrogatory. Notwithstanding the foregoing, Chester

County responds as follows:

               Chester County contacted voters whose mail ballots were received before

Election Day and were set aside and/or segregated because the date on the return

envelope was missing or showed a date outside of the date range ordered by the

Pennsylvania Supreme Court’s supplemental order in Ball by email and/or phone numbers

obtained from their voter registration and mail ballot application records. Additionally, the

information of voters whose mail ballots were identified as deficient on Election Day were
                                            8

                                       Pa.App.1039
                                       APP_00172
                                          APP-95
        Case:1:22-cv-00339-SPB
       Case
       Case    23-3166 Document:
              1:22-cv-00339-SPB   146 Page:
                                Document
                                Document 277 1044
                                         312 Filed   Date Filed:
                                             Filed04/21/23
                                                   05/05/23  Page
                                                            Page 01/10/2024
                                                                   99 of
                                                                  188  of109
                                                                          374



provided to the solicitor of the Republican Committee of Chester County and the solicitor

of the Chester County Democratic Committee to afford them an opportunity to contact the

affected voters and inform them that their mail ballots were deficient.

        12.    Did You provide mail ballot voters described in Interrogatory 11 with an

 opportunity to correct or cure the identified issues with dating the outer return envelope?

 If so, identify and describe the cure methods offered and how you instructed notified

 voters to cure any missing or incorrect date issues.

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Furthermore, Chester County

objects to the relevance of this Interrogatory. Notwithstanding the foregoing, Chester County

responds as follows:

               Chester County provided the voters described in Interrogatory No. 11 with

the opportunity to come in-person to the office of Chester County Voter Services located at

601 Westtown Road, West Chester, Pennsylvania, to cure their ballots if Chester County

received their mail ballot before Election Day and was able to contact the voters before

Election Day. These voters were also informed that they had the option of voting

provisionally at their polling place on Election Day. If the voter was contacted on Election

Day, they were told they had the option of voting provisionally at their polling place.

        13.    If you provided notice and an opportunity to cure as described in

 Interrogatories 11 and 12, how many mail ballot voters cured their envelope date issue?

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Furthermore, Chester County

objects to the relevance of this Interrogatory. Notwithstanding the foregoing, Chester


                                              9

                                       Pa.App.1040
                                       APP_00173
                                          APP-96
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document 312 1045 04/21/23
                                        277 Filed    Date Filed:
                                                  05/05/23  Page01/10/2024
                                                                 100 of 109
                                                                 189    374



County responds as follows:

               Chester County did not specifically track that information, as cured ballots

were then placed in the “general population” of ballots received that did not have

deficiencies, and new ballots with a date deficiency continued to be received. The undated

and incorrectly dated ballot numbers fluctuated on a daily basis and were not otherwise

tracked.

        14.    Do You contend that the handwritten date is material in determining whether

 a mail ballot voter is qualified to vote in the election in which they have cast a ballot? If so,

 what is the basis for that contention?

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Notwithstanding the foregoing,

Chester County responds as follows:

       Chester County’s position on this question is a matter of public record. See Brief of

Respondents Allegheny, Bucks, Chester, Delaware, Montgomery, and Philadelphia Board

of Elections at § III, filed on October 25, 2022 in Ball v. Chapman, No. 102 MM 2022, 2022

WL 16569702 (Pa. Nov. 1, 2022).

        15.    Did You count timely-received military-overseas ballots in the 2022 General

 Election if the voter failed to date their voter declaration or included a date that You

 deemed to be incorrect? If so, state how many such military-overseas ballots You

 counted. If not, state how many such military-overseas ballots You set aside and/or

 segregated due to missing or purportedly-incorrect dates on the outer return envelope.

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Notwithstanding the foregoing,

Chester County responds as follows:
                                                10

                                        Pa.App.1041
                                        APP_00174
                                            APP-97
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document 312 1046 04/21/23
                                        277 Filed    Date Filed:
                                                  05/05/23  Page01/10/2024
                                                                 101 of 109
                                                                 190    374



                Chester County did not count timely-received, military-overseas ballots if

the voter failed to date their voter declaration or included an incorrect date as defined by

the Pennsylvania Supreme Court in Ball v. Chapman, No. 102 MM 2022, 2022 WL

16569702 (Pa. Nov. 1, 2022). Chester County set aside and/or segregated 2 ballots that

had incorrect handwritten dates and 10 ballots that lacked a handwritten date.

        16.     Identify, by name, birthdate, address, party affiliation and any other

 demographic information available to you, the voters who timely submitted military-

 overseas ballots but failed to date their voter declaration or included a date that You

 deemed to be incorrect.

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Notwithstanding the foregoing,

Chester County responds as follows:

                See Exhibit A to Interrogatories (to be provided upon execution by the

Court of a Protective Order and only provided to those other parties other than Plaintiff

who agree to be bound by it by executing Exhibit A to the Protective Order). The

information contained within Exhibit A is the only requested demographic information

readily available to Chester County. To acquire the additional requested demographic

information, Chester County would be required to manually generate such information on

a voter-by-voter basis by utilizing the statewide SURE system to research each voter

individually.

        17.     Did the military-overseas ballots described in Interrogatory 15 have any other

 defects, besides a missing or incorrect date, that would cause You not to count them? If

 so, state how many such military-overseas ballots had an additional defect, describe

 those defects, and identify the voters whose timely received military- overseas ballots had
                                              11

                                       Pa.App.1042
                                       APP_00175
                                           APP-98
         Case:1:22-cv-00339-SPB
        Case    23-3166 Document: 146 Page:
                                Document 312 1047 04/21/23
                                         277 Filed    Date Filed:
                                                   05/05/23  Page01/10/2024
                                                                  102 of 109
                                                                  191    374



 such additional defect(s).

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Notwithstanding the foregoing,

Chester County responds as follows:

                   Chester County is not aware of any other defects of the ballots described in

Interrogatory No. 15 that would cause them not to be counted.

         18.       Did You determine that any voters who sent timely military-overseas ballots

 described in Interrogatory 15 were not qualified, eligible voters? If so, describe how you

 determined such voters to be ineligible and identify, for each such voter, the basis for

 ineligibility.

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Notwithstanding the foregoing,

Chester County responds as follows:

                   Chester County did not determine that any voters described in Interrogatory

No. 18 were not qualified, eligible voters.

         19.       State whether You or any of Your agents identified or raised any credible

 fraud concerns specifically as to any of the military-overseas ballots described in

 Interrogatory 15. If so, describe the nature of such fraud concerns.

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Notwithstanding the foregoing,

Chester County responds as follows:

                  Chester County did not undertake a subsequent review to determine if

there were “credible fraud concerns,” as Chester County understands that term, nor was


                                                12

                                         Pa.App.1043
                                         APP_00176
                                             APP-99
        Case:1:22-cv-00339-SPB
       Case    23-3166 Document: 146 Page:
                               Document 312 1048 04/21/23
                                        277 Filed    Date Filed:
                                                  05/05/23  Page01/10/2024
                                                                 103 of 109
                                                                 192    374



Chester County made aware of any issues of potential fraud related to any of ballots

described in Interrogatory No. 15.

        20.    If You did not count the timely received military-overseas ballots described

 in Interrogatory 15, did you provide notice to the voters whose military- overseas ballots

 were set aside and/or segregated because the voter failed to date their voter declaration

 or included a date that You determined to be incorrect? If so, identify and describe how

 and when you notified those voters.

RESPONSE: Chester County incorporates by reference the above-stated General

Objections, Preservations of Rights, and General Answer. Furthermore, Chester County

objects to the relevance of this Interrogatory. Notwithstanding the foregoing, Chester

County responds as follows:

              Chester County was not able to provide notice or an opportunity to cure to

UMOVA voters. With respect to UMOVA voters who requested that mail ballots be mailed

to them, the outside of the return envelope contains the declaration with a place for the

date. However, with respect to UMOVA voters who requested their ballots be emailed, the

declaration page with the affirmation is printed out by the voter on a separate sheet of

paper that is placed inside the regular mailing envelope used to mail the ballot to the

County. This prevents Chester County from viewing the affirmation until the outer mailing

envelopes are opened during computation.

        21.    If You did not count the timely received military-overseas ballots described

 in Interrogatory 15, did You provide the voters who submitted such military-overseas

 ballots with an opportunity to correct or cure the identified issues with the date? If so,

 identify and describe the cure methods offered and how you instructed notified voters to

 cure any date issues.

                                             13

                                       Pa.App.1044
                                       APP_00177
                                         APP-100
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document 312 1049 04/21/23
                                       277 Filed    Date Filed:
                                                 05/05/23  Page01/10/2024
                                                                104 of 109
                                                                193    374



RESPONSE: Not Applicable.
     22.  If you provided notice and an opportunity to cure as described in

 Interrogatories 20 and 21, how many military-overseas voters cured their date issue?

RESPONSE: Not Applicable.




Dated: January 25, 2023
                                                      Respectfully submitted,

                                                      Colleen M. Frens
                                                      Colleen M. Frens
                                                      PA 309604
                                                      Faith Mattox-Baldini
                                                      PA 323868
                                                      The County of Chester
                                                      Solicitor’s Office
                                                      313 W. Market Street, Suite 6702
                                                      West Chester, PA 19382
                                                      T 610.344.6195, F 610.344.5995
                                                      cfrens@chesco.org
                                                      fmattoxbaldini@chesco.org
                                                      Attorneys for the Chester County
                                                      Board of Elections




                                            14

                                     Pa.App.1045
                                     APP_00178
                                        APP-101
 Case:1:22-cv-00339-SPB
Case    23-3166 Document: 146 Page:
                        Document     1050 05/05/23
                                 312 Filed   Date Filed:
                                                    Page01/10/2024
                                                         105 of 109




                          Pa.App.1046
                            APP-102
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document 312 1051 04/21/23
                                       278 Filed    Date Filed:
                                                 05/05/23  Page01/10/2024
                                                                106 of 109
                                                                132    455




       2.      You have never used or referred to the date handwritten on the mail ballot return

envelope to establish whether you received the ballot by the applicable deadline.

Answer: Admitted




       3.      You have never used or referred to the date handwritten on the outer return

envelope or on any other paperwork accompanying a returned military-overseas ballots for

any purpose related to determining or confirming a voter’s eligibility (i.e., their age, citizenship,

county and duration of residence, and felony status).

ANSWER: Admitted




       4.      You have never used or referred to the date handwritten on the outer return envelope

or on any other paperwork accompanying a returned military- overseas ballots to establish whether

you received the ballot by the applicable deadline.

ANSWER: Admitted




       5.      You have not counted mail ballots in connection with the 2022 General Election that

were timely received and submitted in signed envelopes but without a handwritten date on the

outer return envelope, and You will not count such ballots absent an order of the Court.

ANSWER: Admitted




                                         Pa.App.1047
                                         APP_00476
                                            APP-103
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document 312 1052 04/21/23
                                       278 Filed    Date Filed:
                                                 05/05/23  Page01/10/2024
                                                                107 of 109
                                                                133    455




       6.       Pursuant to the Pennsylvania Supreme Court’s orders of November 1 and 8, 2022,

You have not counted mail ballots in connection with the 2022 General Election that were timely

received in signed envelopes that showed a date on the outer return envelope appearing to You to

pre-date September 19, 2022, or to post- date November 8, 2022, and You will not count such

ballots absent an order of the Court.

       OBJECTION AND ANSWER: Montgomery County objects to this interrogatory as it

 calls for privileged information within the attorney-client privilege. Montgomery County

 Admits that it followed the Orders of the Pennsylvania Supreme Court from November 1st, and

 8th of 2022.




       7.       Pursuant to the Pennsylvania Supreme Court’s orders of November 1 and 8, 2022,

You have not counted absentee ballots in connection with the 2022 General Election that were

timely received in signed envelopes that showed a date on the outer return envelope appearing to

You to pre-date August 30, 2022, or to post-date November 8, 2022, and You will not count such

ballots absent an order of the Court.

       OBJECTION AND ANSWER: Montgomery County objects to this interrogatory as it

 calls for privileged information within the attorney-client privilege. Montgomery County

 Admits that it followed the Orders of the Pennsylvania Supreme Court from November 1st, and

 8th of 2022.




                                        Pa.App.1048
                                        APP_00477
                                          APP-104
       Case:1:22-cv-00339-SPB
      Case    23-3166 Document: 146 Page:
                              Document 312 1053 04/21/23
                                       278 Filed    Date Filed:
                                                 05/05/23  Page01/10/2024
                                                                108 of 109
                                                                134    455




       8.       In carrying out the instructions set forth in the Pennsylvania Supreme Court’s order

referenced in Requests 4 and 5, You determined whether the date written on the outer envelope

was within the “correct” date range based on the American dating convention of writing the month,

then day, then year (e.g., MM/DD/YYYY). Thus, for example, if a voter wrote 1/11/2022 as the

date on a mail ballot return envelope, You set aside that envelope without counting the ballot or

endeavoring to determine whether the date noted was written using a European dating convention

of writing the day before the month (i.e., November 1, 2022).

       OBJECTION AND ANSWER: Montgomery County objects to this interrogatory as it

 calls for privileged information within the attorney-client privilege. Montgomery County

 Admits that it followed the Orders of the Pennsylvania Supreme Court from November 1st, and

 8th of 2022.



                                      Respectfully submitted,
                                      MONTGOMERY COUNTY SOLICITOR’S OFFICE


                                  By: /s/ John A. Marlatt
                                      John A. Marlatt, Esquire
                                      Attorney I.D. No. 210141
                                      One Montgomery Plaza, Suite 800
                                      P.O. Box 311
                                      Norristown, PA 19404-0311
                                      610-278-3033

                                      Attorney for Defendant,
                                      Montgomery County Board of Elections

Dated: January 25, 2023




                                         Pa.App.1049
                                         APP_00478
                                            APP-105
      Case:1:22-cv-00339-SPB
     Case    23-3166 Document: 146 Page:
                             Document     1054 05/05/23
                                      312 Filed   Date Filed:
                                                         Page01/10/2024
                                                              109 of 109




                         CERTIFICATE OF CONSENT

      I hereby certify that I have obtained the consent of the non-filing signatories

to this Appendix—the above-listed counsel for Defendants the Allegheny, Bucks,

Chester, and Montgomery County Boards of Elections.

Dated: May 5, 2023                           By: /s/ Ilana H. Eisenstein

                                             Counsel for Defendant Philadelphia
                                             County Board of Elections




                                  Pa.App.1050
Case: 23-3166   Document: 146   Page: 1055   Date Filed: 01/10/2024




                         Pa.App.1051
Case: 23-3166   Document: 146   Page: 1056   Date Filed: 01/10/2024




                         Pa.App.1052
Case: 23-3166   Document: 146   Page: 1057   Date Filed: 01/10/2024




                         Pa.App.1053
Case: 23-3166   Document: 146   Page: 1058   Date Filed: 01/10/2024




                         Pa.App.1054
       Case: 23-3166       Document: 146        Page: 1059       Date Filed: 01/10/2024




           IN THE COMMONWEALTH COURT OF PENNSYLVANIA

In re: Contest of November 7, 2023      :
Election of Towamencin Township         :
                                        :
Appeal of: Shannon L. Main, Holly A. :
Bechtel, Nancy J. Becker, David Allen :
Brady, Richard D. Costlow, George       :
H. Frisch, Earl G. Godshall, Marilyn    :
Godshall, Alyson Horcher, Leo F.        :            No. 1482 C.D. 2023
Horcher III, Kris A. Kazmar, Michael E. :            Heard: December 28, 2023
Main, Cynthia M. Manero, Bruce C.       :
Marger, Bruce R. Marger III, Kathryn J. :
Marger, Margrit D. Marino, Joseph F.    :
Meehan, Richard Mullen, Karen L.        :
Nuss, Thomas A. Nuss III, Beth          :
Pickford, Scott E. Pickford, Delyne     :
D. Rogiani, Kevin Rossi, Nicole M.      :
Rossi, Janella J. Santiago, Kelly L.    :
Secoda, Michael Secoda and Kristin      :
R. Warner                               :

                                          ORDER

               NOW, December 29, 2023, following a proceeding on Appellants’
“Application for Relief in the Nature of a Motion for Summary Judgment/Relief[1]
or, in the Alternative, Application for Relief in the Nature of a Request for
Emergency Preliminary Injunction” (Application), and upon consideration of the
Application, the Answers in opposition thereto, the stipulated facts and the
arguments presented, the Application is DENIED.



       1
         Appellants filed a new proposed order with their December 28, 2023 memorandum of
law in support of the Application, which withdrew Appellants’ prior request in the Application for
summary judgement or summary relief, and on that basis the Court considers the Application to
be seeking only injunctive relief. To the extent the prior request for summary judgment/relief was
not so withdrawn, it is DISMISSED as improvidently filed.



                                        Pa.App.1055
Case: 23-3166   Document: 146     Page: 1060   Date Filed: 01/10/2024




     Opinion to follow.



                                __________________________________________
                                RENÉE COHN JUBELIRER, President Judge




                                                                 Order Exit
                                  2                              12/29/2023


                          Pa.App.1056
       Case: 23-3166      Document: 146       Page: 1061      Date Filed: 01/10/2024




           IN THE COMMONWEALTH COURT OF PENNSYLVANIA

In re: Contest of November 7, 2023      :
Election of Towamencin Township         :
                                        :
Appeal of: Shannon L. Main, Holly A. :
Bechtel, Nancy J. Becker, David Allen :
Brady, Richard D. Costlow, George       :
H. Frisch, Earl G. Godshall, Marilyn    :
Godshall, Alyson Horcher, Leo F.        :          No. 1482 C.D. 2023
Horcher III, Kris A. Kazmar, Michael E. :          Heard: December 28, 2023
Main, Cynthia M. Manero, Bruce C.       :
Marger, Bruce R. Marger III, Kathryn J. :
Marger, Margrit D. Marino, Joseph F.    :
Meehan, Richard Mullen, Karen L.        :
Nuss, Thomas A. Nuss III, Beth          :
Pickford, Scott E. Pickford, Delyne     :
D. Rogiani, Kevin Rossi, Nicole M.      :
Rossi, Janella J. Santiago, Kelly L.    :
Secoda, Michael Secoda and Kristin      :
R. Warner                               :


BEFORE:       HONORABLE RENÉE COHN JUBELIRER, PRESIDENT JUDGE

OPINION NOT REPORTED

MEMORANDUM OPINION BY
PRESIDENT JUDGE COHN JUBELIRER                                FILED: December 29, 2023


       By order dated December 29, 2023, the Court disposed of Appellants’1
“Application for Relief in the Nature of a Motion for Summary Judgment/Relief or,

       1
         The appellants in this appeal include: Shannon L. Main, Holly A. Bechtel, Nancy J.
Becker, David Allen Brady, Richard D. Costlow, George H. Frisch, Earl G. Godshall, Marilyn
Godshall, Alyson Horcher, Leo F. Horcher III, Kris A. Kazmar, Michael E. Main, Cynthia M.
Manero, Bruce C. Marger, Bruce R. Marger III, Kathryn J. Marger, Margrit D. Marino, Joseph F.
Meehan, Richard Mullen, Karen L. Nuss, Thomas A. Nuss III, Beth Pickford, Scott E. Pickford,
Delyne D. Rogiani, Kevin Rossi, Nicole M. Rossi, Janella J. Santiago, Kelly L. Secoda, Michael
Secoda, and Kristin R. Warner (collectively, Appellants).



                                      Pa.App.1057
       Case: 23-3166         Document: 146        Page: 1062         Date Filed: 01/10/2024




In the Alternative, Application for Relief in the Nature of a Request for an
Emergency Preliminary Injunction” (Application), filed “pursuant to Pa.[]R.A.P.
123, Pa.R.A.P. 1501(a)(2), and Pa.R.C[iv.]P. 1035.1[,]”2 and Appellees Kofi Osei’s
(Osei) and the Montgomery County Board of Elections’ (Board or Montgomery
Board) respective Answers in opposition thereto. This opinion sets forth the reasons
for that disposition.
       The Application was filed ancillary to an appeal from the Court of Common
Pleas of Montgomery County’s (Common Pleas) December 7, 2023 order (Common
Pleas’ Order), which denied Appellants’ “Petition for Election Contest Or in the
alternative, Petition for Election Contest Nunc Pro Tunc” (Petition), relying on the
reasoning set forth in the United States District Court for the Western District of
Pennsylvania’s (District Court) November 21, 2023 Order (District Court Order) in
Pennsylvania State Conference of the NAACP v. Schmidt, Civil Action No. 1:22-CV-


       2
          Initially, the Court notes that this is an appeal from a trial court order in a matter arising
under the Pennsylvania Election Code (Code), Act of June 3, 1937, P.L. 1333, as amended, 25 P.S.
§§ 2600-3591, and, as such, it is governed by Chapter 9 of the Pennsylvania Rules of Appellate
Procedure (Appellate Rules). See Pa.R.A.P. 901 (providing that Chapter 9 “applies to all appeals
from a trial court to an appellate court[,]” with certain exceptions not applicable herein), 903(c)(ii)
(providing that “[a]n appeal from . . . [a]n order in any matter arising under the . . . Code” “shall
be taken within ten days after the entry of the order from which the appeal is taken”). To clarify,
this is not an appeal governed by Chapter 15 of the Appellate Rules, as Appellants contend. See
Pa.R.A.P. 1501(b)(1) (providing that Chapter 15 of the Appellate Rules “does not apply to any
appeal within the scope of . . . Chapter 9”).
         Additionally, because this is an appeal under Chapter 9 of the Appellate Rules, the
Pennsylvania Rules of Civil Procedure (Civil Rules) are inapplicable. See Pa.R.A.P. 103
(providing that the Appellate Rules “govern practice and procedure in . . . Commonwealth Court,
including procedure in appeals to such courts from lower courts . . .”); see also Pa.R.A.P. 106
(providing that the general rules applicable to practice and procedure in the courts of common
pleas, i.e., the Civil Rules, apply to matters brought before an appellate court in its original
jurisdiction, unless otherwise prescribed by the Appellate Rules). Therefore, to the extent
Appellants’ Application sought relief in the form of summary judgment in their favor, such relief
is not available in this Chapter 9 proceeding, as will be discussed infra.
                                                   2

                                          Pa.App.1058
       Case: 23-3166       Document: 146        Page: 1063       Date Filed: 01/10/2024




00339, 2023 WL 8091601 (W.D. Pa. 2023 Nov. 21. 2023), and dismissed the case.
       The Application initially requested summary judgment/relief for Appellants
directing the Board (1) to certify Richard Marino (Marino), who is not a party to this
action, as the winner of the November 7, 2023 General Municipal Election
(Municipal Election) for Towamencin Township Supervisor (Township Supervisor),
and (2) to decertify Osei as the winner for the office of Township Supervisor. The
Application sought injunctive relief in the alternative. However, as discussed infra,
summary relief is not available in this proceeding, and Appellants later withdrew
that request and modified the relief they proposed.3
       As their requested relief is presently constituted, Appellants seek temporary
emergency injunctive relief pending final determination in this matter in the form of
an order enjoining Osei from assuming office as Township Supervisor. Because the
Court finds that Appellants failed to satisfy the stringent requirements for a stay
and/or injunction pending appeal under Pa.R.A.P. 1732(b), the Court issued an order
on the morning of December 29, 2023, denying the Application with opinion to
follow (Order). In the Order, the Court considered the prior request for summary
judgment/relief to have been withdrawn; however, to the extent the request for
summary judgment/relief was not so withdrawn, the Court dismissed it as
improvidently filed.


       3
          During the December 28, 2023 proceeding on the Application, Appellants clarified that
they no longer seek relief compelling the Board to decertify Osei and certify Marino; instead,
Appellants sought only injunctive relief that would prevent any candidate from taking office until
their appeal is resolved. In response to the Court’s inquiry as to whether the Court could enjoin
the Township from administering the oath of office of Osei (as Appellants had initially requested),
given that the Township is not a party to this litigation, Appellants essentially withdrew their
requested relief in the nature of summary judgment/relief, and reframed the Application as seeking
an injunction against Osei himself “prohibiting [him] from taking the oath of office.” (Appellants’
Br. at 5 (emphasis added)); accord id. (proposed order).
                                                3

                                        Pa.App.1059
       Case: 23-3166       Document: 146       Page: 1064       Date Filed: 01/10/2024




I.     BACKGROUND & PROCEDURAL HISTORY
       This matter involves a close race between Osei and Marino for the office of
Township Supervisor and the recurring issue of whether undated and/or misdated4
declarations on the outer return envelopes of mail-in ballots that are timely received
should be counted in this Commonwealth. Before explaining the background and
procedural history of this matter, the Court initially observes that this case touches
upon important constitutional principles that “[e]lections shall be free and equal; and
no power, civil or military, shall at any time interfere to prevent the free exercise of
the right of suffrage.” Article I, section 5 of the Pennsylvania Constitution, PA.
CONST. art. I, § 5. In considering election-related matters, the Court notes that it is
“[t]he longstanding and overriding policy in this Commonwealth to protect the
elective franchise[,]” and that “[o]ur goal must be to enfranchise and not to
disenfranchise.” Pa. Democratic Party v. Boockvar, 238 A.3d 345, 360-61 (Pa.
2020) (citing Shambach v. Bickhart, 845 A.2d 793, 798 (Pa. 2004), and In re Luzerne
Cnty. Return Bd., 290 A.2d 108, 109 (Pa. 1972)). Further, the courts have long held
that the Pennsylvania Election Code (Code) must be construed liberally “so as not
to deprive . . . voters of their right to elect a candidate of their choice.” In Re Masino,
293 A.3d 752, 760 (Pa. Cmwlth. 2023) (single-Judge op.) (Cohn Jubelirer, P.J.).
With those overarching principles in mind, and for purposes of clarity in this unique
case, the Court will first explain the procedural history of the matter and the relevant
facts, which are largely not in dispute, followed by the averments of the Application,


       4
           This matter involves ballots returned in envelopes that were either “undated [or]
improperly dated.” (Joint Stipulation (Stip.) Ex. C at 1.). It is somewhat imprecise, however, to
refer to the envelopes as “undated” because counties time-stamp the outer envelopes as they
receive them, Ball v. Chapman, 289 A.3d 1, 16 n.77 (Pa. 2023), and the envelopes may also be
postmarked if sent by postal mail. More precisely, the issue is “the lack of a handwritten date”
Id. at 10 (emphasis added).
                                               4

                                       Pa.App.1060
         Case: 23-3166      Document: 146         Page: 1065        Date Filed: 01/10/2024




the arguments presented,5 and the Court’s reasoning for its December 29, 2023
Order.
         On December 12, 2023, Appellants timely appealed Common Pleas’ Order to
this Court. Eleven days later, Appellants filed the instant Application. By Order
dated December 26, 2023, this Court directed expedited answers to the Application,
scheduled a hearing on the Application for Thursday, December 28, 2023, at 10:00
a.m. in Harrisburg, Pennsylvania, further directed the parties to consult in good faith
and file any stipulations, if possible, prior to the hearing, and permitted briefs in
support of and/or in opposition to the Application to be filed no later than 4:00 p.m.
on the date of the hearing. On December 26, 2023, the parties filed a “Joint
Application for Relief in the Nature of a Motion to Appear via Video Conference[,]”
which this Court granted by Order dated December 27, 2023, given the parties’
representations in that application and the time-sensitive nature of this election
matter, thus permitting the December 28 proceeding to be held via WebEx. Osei and
the Board filed their respective answers and briefs in opposition to the Application
on December 27, 2023, as directed, as well as a “Joint Stipulation of Facts and
Evidence Not in Dispute” (Joint Stipulation). Per agreement of the parties in the
Joint Stipulation, and as gleaned from the record in this case, the facts are as follows.




         5
          In addition to the arguments presented by the parties in their filings, before disposing of
the Application, the Court considered the arguments presented in the “Brief for Amicus Curiae
Secretary of the Commonwealth Al Schmidt [(Secretary)] and the Pennsylvania Department of
State” (Secretary’s Brief) filed on December 28, 2023. The Court notes that the Secretary did not
seek leave of court before filing or within the Secretary’s Brief itself, as is required. See Pa.R.A.P.
531(b) (“An amicus curiae may file a brief (i) during merits briefing; (ii) [regarding] a petition for
allowance of appeal, . . . or (iii) by leave of court.”) However, given the Secretary’s obvious
interest in election administration, which are highly salient here, the Court fully considered the
Secretary’s arguments.
                                                  5

                                          Pa.App.1061
      Case: 23-3166     Document: 146      Page: 1066      Date Filed: 01/10/2024




      On November 7, 2023, the Municipal Election was held for, inter alia,
Township Supervisor, for which both Marino and Osei were candidates. (Joint
Stipulation (Stip.) ¶¶ 1-2.) The unofficial results of the Municipal Election, as of
November 14, 2023, initially showed Marino as the winner of the Township
Supervisor race by four votes over Osei. (Stip. ¶ 3.) The Board initially completed
the canvassing and computation of all ballots on November 14, 2023. (Stip. ¶ 4.)
Pursuant to Section 1404(f) of the Code, 25 P.S. § 3154(f), the Board was required
to submit the unofficial results to the Secretary of the Commonwealth (Secretary) no
later than 5:00 p.m. on November 14, 2023. (Stip. ¶ 5.) The Board complied with
Section 1404(f) and submitted the unofficial results of the Municipal Election to the
Secretary. (Stip. ¶ 6.) No petitions for recount or recanvass were filed in relation to
the Municipal Election. (Stip. ¶ 7.) The Board thereafter scheduled its certification
vote for November 22, 2023. (Stip. ¶ 8.)
      On November 21, 2023, the District Court issued the District Court Order in
Pennsylvania State Conference of the NAACP v. Schmidt, Civil Action No. 1:22-CV-
00339, 2023 WL 8091601 (W.D. Pa. 2023 Nov. 21. 2023), dismissing 55 county
boards of election from the action for lack of standing, but retaining the Montgomery
Board as a defendant in the action. (Stip. ¶ 9 & Exhibit (Ex.) B, at 3-4.) The District
Court Order also granted in part the plaintiffs’ motion for summary judgment to the
extent it requested, inter alia, that two mail-in ballots from Montgomery County be
counted for the November 2022 general election, and entered declaratory judgment
in the plaintiffs’ favor declaring that the rejection of timely submitted mail-in ballots
based solely on the voter’s failure to include a date on the outer return envelope, or
a correct date thereon, violates the Materiality Provision of the Civil Rights Act of



                                           6

                                    Pa.App.1062
       Case: 23-3166        Document: 146        Page: 1067        Date Filed: 01/10/2024




1964, 52 U.S.C. § 10101(a)(2)(B) (Materiality Provision).6 (Stip., Ex. B, at 4.) The
District Court Order further permanently enjoined the Secretary from directing any
county board of elections to segregate, reject, exclude, or in any way not count timely
received mail-in ballots based on such error or omission regarding the date on the
voter’s declaration, dismissed the plaintiffs’ equal protection claim, and granted in
part and denied in part other relief requested by other parties in the case. (Stip., Ex.
B, at 5.)
       Pursuant to the District Court Order, on November 22, 2023, the Board issued
a public statement postponing its certification to canvass six mail-in and absentee
ballots it had previously determined to be defective and void for lack of a date or an
incorrect date. (Stip. ¶ 10 & Ex. C.) The ballots were opened on November 27,
2023, in the presence of candidates or their designated representatives, and, as a




       6
           Section 10101(a)(2)(B) of the Civil Rights Act of 1964 provides, in relevant part, as
follows:

               (a) Race, color, or previous condition not to affect right to vote; uniform
       standards for voting qualifications; errors or omissions from papers; literacy
       tests; agreements between Attorney General and State or local authorities;
       definitions
               ....

                (2) No person acting under color of law shall--
                ....

               (B) deny the right of any individual to vote in any election because of an
       error or omission on any record or paper relating to any application, registration, or
       other act requisite to voting, if such error or omission is not material in determining
       whether such individual is qualified under State law to vote in such election[.]

52 U.S.C. § 10101(a)(2)(B) (emphasis in the original).
                                                 7

                                         Pa.App.1063
       Case: 23-3166        Document: 146        Page: 1068        Date Filed: 01/10/2024




result, Marino and Osei each received 3,035 votes.7 (Stip. ¶ 11.) The Board
announced these new unofficial results on November 28, 2023, and, on November
30, 2023, Marino and Osei drew lots pursuant to Section 1418 of the Code, 25 P.S.
§ 3168, which resulted in Osei being declared the winner of the Municipal Election
for Township Supervisor. (Stip. ¶¶ 12-13.) The Board thereafter certified the results
on December 4, 2023, and Appellants filed their Petition on that same date. (Stip.
¶¶ 14-15.)
       On December 5, 2023, Osei filed an “Unopposed Petition to Intervene” and a
“Demurrer and Application to Quash” in Common Pleas, alleging that Appellants’
Petition was both time-barred and substantively deficient, and that the Board
correctly complied with the District Court Order. (Stip. ¶ 16; Original Record (O.R.)
at 54-56, 57-72.) By order dated December 5, 2023, Common Pleas granted Osei
intervention, observed that the “Demurrer and Application to Quash” was filed of
record, and noted that the court only addressed intervention and not the merits of the
matter at issue. (See O.R. at 73.)
       On December 7, 2023, Common Pleas’ Order was issued, denying Appellants’
Petition, dismissing the case, and adopting by reference the reasoning of the District
Court Order. (Stip. ¶ 17 & Ex. D.) Appellants filed their notice of appeal to this
Court on December 12, 2023. (Stip. ¶ 18.)
       Common Pleas thereafter issued an Opinion on December 20, 2023,
explaining its reasoning for its December 7, 2023 Order. (Stip. ¶ 17 & Ex. E.)
Noting the above facts, Common Pleas opined that Appellants’ appeal should be

       7
         This matter, arising in part from a tie vote, joins a long line of cases demonstrating that
“elections can be decided by a very small number of votes.” Arizona Democratic Party v. Hobbs,
18 F.4th 1179, 1204 (9th Cir. 2021) (Tashima, J., dissenting) (collecting cases and examples). As
may be true of any election, this is literally “an election where every vote matters.” Pub. Int. Legal
Found. v. Boockvar, 495 F. Supp. 3d 354, 356 (M.D. Pa. 2020).
                                                  8

                                          Pa.App.1064
       Case: 23-3166       Document: 146        Page: 1069       Date Filed: 01/10/2024




denied because no appeal was filed within the two-day period set forth in Section
1407(a) of the Code, 25 P.S. § 3157(a); no recount or recanvas of the results of the
election for Township Supervisor was requested within the time period allowed
under the Code, see Sections 1701-1703 of the Code, 25 P.S. §§ 3261-3263; the
Petition was untimely filed; and no application to appeal nunc pro tunc was granted.
(Common Pleas’ Opinion (Op.) at 1-2.) Common Pleas further observed that its
decision to uphold the counting of the 349 ballots at issue complied with applicable
federal law on the subject, namely, the District Court Order. (Id. at 2; see also Stip.,
Ex. C.) Relying on that decision and the United States Court of Appeals for the
Third Circuit’s (Third Circuit) recent decision in Migliori v. Cohen, 36 F.4th 153 (3d
Cir. 2022), petition for writ of certiorari granted, judgment vacated, Ritter v.
Migliori, 143 S. Ct. 297 (2022),8 both of which held that failure to comply with the
dating provisions of Sections 1306(a) and 1306-D(a) of the Code, 25 P.S. §§
3146.6(a) and 3150.16(a), is not a material defect under the Materiality Provision
and thus could not prevent the counting of those ballots, and the Supremacy Clause
of the United States Constitution, U.S. CONST. art. VI, cl. 2, Common Pleas
explained that it found the Board properly counted the mail-in ballots at issue in this
case pursuant to the District Court Order. (Common Pleas’ Op. at 3.) Common
Pleas therefore opined that it properly dismissed Appellants’ Petition. (Common
Pleas’ Op. at 3.)
       Following Appellants’ appeal to this Court, proceedings continued in the
federal courts. On December 13, 2023, the Third Circuit entered an order granting


       8
          In Ritter v. Migliori, 143 S. Ct. 297 (2022), the Supreme Court granted, inter alia, the
petition for writ of certiorari, vacated the Third Circuit’s decision, and remanded the case to the
Third Circuit with instructions to dismiss the case as moot, citing United States v. Munsingwear,
Inc., 340 U.S. 36 (1950).
                                                9

                                        Pa.App.1065
      Case: 23-3166     Document: 146      Page: 1070       Date Filed: 01/10/2024




Marino intervention and staying the District Court Order. (Stip. ¶ 19 & Ex. F.) On
December 14, 2023, the Third Circuit entered another order expediting merits
briefing and the appeal of the District Court Order. (Stip. ¶ 20 & Ex. G.). On
December 27, 2023, the Third Circuit ordered that oral argument would be held on
March 4, 2024.
II.   APPELLANTS’ ARGUMENTS
      In support of their request for emergency injunctive relief, Appellants argue
they satisfy each of the six factors required for a preliminary injunction. Summit
Towne Centre, Inc. v. Shoe Show of Rocky Mountain, Inc., 828 A.2d 995, 1001 (Pa.
2003). With respect to irreparable harm, they assert that in the absence of an
injunction, the electors of the Township will be “depriv[ed] of the candidate of their
choice” and “subject[] . . . to the governance [of] an unelected official.” (Appellants’
Memorandum of Law in Support of Their Application (Appellants’ Br.) at 11.) In
their view, greater harm would result from refusing to grant, than from granting, the
injunction. They focus on the fact they do not ask to have a particular candidate
seated, but rather to have the Township “refrain from seating anyone[,]” which
would also serve to preserve the status quo. (Id. at 12.)
      Appellants emphasize that demonstrating a clear right to relief does not
require them to “prove the merits of the underlying claim,” but rather requires that
they “only demonstrate that substantial legal questions must be resolved to
determine the rights of the parties.” (Appellants’ Br. at 12 (quoting SEIU Healthcare
Pa. v. Commonwealth, 104 A.3d 495, 590-91 (Pa. 2014)).) They support their clear
right to relief arugment with two main points. First, the Board lacked authority under
the Code to postpone certification of Marino; they specifically assert that the Board’s
failure to certify Marino as the winner ran afoul of Section 1404(f) of the Code, 25


                                          10

                                    Pa.App.1066
       Case: 23-3166        Document: 146         Page: 1071        Date Filed: 01/10/2024




P.S. § 3154(f). In support of this argument, they cite Petition to Open Ballot Box of
Oneida District in East Union Township, 103 A.2d 652 (Pa. 1954). Second, they
assert that it is unclear whether the District Court Order “even authorized the [Board]
to canvass and count” the ballots at issue. (Appellants’ Br. at 14.) Because that
determination presents a “substantial legal question[,]” and because the District
Court Order has been stayed, they argue their right to relief is clear. (Appellants’
Br. at 12 (citing SEIU Healthcare, 104 A.3d at 591).) Further, they argue the District
Court Order is in conflict with the Pennsylvania Supreme Court’s pronouncement in
Ball v. Chapman, 289 A.3d 1 (Pa. 2023).
       Appellants also explain that they should have been allowed to proceed nunc
pro tunc in Common Pleas, citing Appeal of Koch, 41 A.2d 657 (Pa. 1945).9 They
emphasize that they are members of the public who did not learn “that the winning
candidate had now somehow lost” until November 30, 2023. (Appellants’ Br. at 7.)
Appellants further argue that they are not guilty of laches because there is nothing
in the record to suggest that Osei was prejudiced by the delay, given that “[p]rior to
the statutory deadline, [he] had no reason to believe that the election was settled in
his favor.” (Appellants’ Br. at 8.) They argue the harm they seek to correct can be
traced back to November 28, suggesting that “[t]o deny the Petition as untimely
would mean that the [Board’s] clear violation of the [] Code is unchallengeable
merely because [it] ran out [Appellants’] clock before altering the results of an
election[.]” (Appellants’ Br. at 9.)
       Next, they argue that a preliminary injunction is reasonably suited to abate the
offending activity, as preventing “an individual who lost the [Municipal] Election”

       9
         Although Appellants do not specifically place the nunc pro tunc issue under the
“Injunctive Relief” section of their Brief, the Court notes that the nunc pro tunc issue falls squarely
within the clear right to relief prerequisite it must consider.
                                                  11

                                          Pa.App.1067
       Case: 23-3166        Document: 146         Page: 1072         Date Filed: 01/10/2024




from being seated avoids violations of the Code and “preserve[s] the will of the
electorate.” (Appellants’ Br. at 14.) Finally, they assert, citing Oliviero v. Diven,
902 A.2d 933 (Pa. Cmwlth. 2006), that granting their requeusted relief is not
contrary to the public interest, but rather consistent with the public interest, because
it would “prevent an individual who lost the [Municipal] Election . . . from assuming
office during the pendency of the litigation.” (Appellants’ Br. at 15.)
III.   DISCUSSION
       A.      Standard for Injunctive Relief Pending Appeal
       Although Appellants’ Application initially requested summary judgment and
injunctive relief under “Pa.[]R.A.P. 123, Pa.R.A.P. 1501(a)(2), and Pa.R.C[iv.]P.
1035.1[,]” (see Application at 1), there is no basis for this Court to issue the
requested summary judgment in favor of Appellants under those rules in this appeal
invoking the Court’s appellate jurisdiction. See RONALD G. DARLINGTON ET AL.,
20A PENNSYLVANIA APPELLATE PRACTICE § 1732:1 (2023-2024 ed.) (PA. APPELLATE
PRAC.) (enumerating the four species of ancillary relief available incident to an
appeal, among which is not summary relief). Therefore, after argument, Appellants
essentially withdrew that request, and seek only an injunction pending appeal, which
the Court considered based on the standards governing such relief under Pa.R.A.P.
1732.10

       10
          Appellate Rule 1732(a) provides that generally, a party seeking a stay or injunction
pending appeal must first seek that relief in the trial court. Pa.R.A.P. 1732(a). Applications for
injunctive relief pending appeal

       may be made to the appellate court or to a judge thereof, but the application shall
       show that application to the trial court for the relief sought is not practicable, or that
       the trial court has denied an application, or has failed to afford the relief which the
       applicant requested, with the reasons given by the trial court for its action. The
       application shall also show the reasons for the relief requested and the facts relied

                                                  12

                                          Pa.App.1068
       Case: 23-3166        Document: 146         Page: 1073        Date Filed: 01/10/2024




       An injunction pending appeal is an extraordinary remedy carrying a heavy
burden of proof. Tri-State Asphalt Corp. v. Dep’t of Transp., 582 A.2d 55, 60 (Pa.
Cmwlth. 1990); see also 20A PA. APPELLATE PRAC. § 1732:9 (describing such relief as
“[t]he most esoteric form . . . available under [Appellate] Rule 1732 and explaining
“the burden of obtaining an injunction pending appeal is extremely heavy”). This
Court has held

       that where a party requests relief in the nature of an injunction pending
       review, the applicant must satisfy not only the standard announced by our
       Supreme Court in [Pennsylvania Public Utility Commission v. Process
       Gas] Consumers Group, 467 A.2d 805 (Pa. 1983)], but also that the
       party satisfy the stringent requirements for a preliminary injunction,
       particularly the requirements that greater injury would result by refusing
       the injunction than by granting it and that the plaintiff’s right to relief is
       clear.

Tri-State Asphalt, 582 A.2d at 60 (emphasis added). Under Process Gas, 467 A.2d
805, an applicant must make a “strong showing” on all of the following criteria to
warrant the grant of a stay:

       1. The petitioner makes a strong showing that he is likely to prevail on

       upon, and if the facts are subject to dispute the application shall be supported by
       sworn or verified statements or copies thereof. With the application shall be filed
       such parts of the record as are relevant. Where practicable, the application should
       be accompanied by the briefs, if any, used in the trial court. The application shall
       contain the certificate of compliance required by Pa.R.A.P. 127.

Pa.R.A.P. 1732(b). The Court notes that Appellants did not comply with Appellate Rule 1732(a)
or (b) in filing their Application. However, given the time-sensitive nature of this election-related
matter, the Court exercised its discretion under Appellate Rule 105 and disregarded Appellants’
noncompliance with these requirements in disposing of the Application. See Pa.R.A.P. 105
(providing that the Appellate Rules “shall be liberally construed to secure the just, speedy, and
inexpensive determination of every matter to which they are applicable” and that “[i]n the interest
of expediting decision . . . , an appellate court may . . . disregard the requirements or provisions of
any of these rules in a particular case . . . on its own motion and may order proceedings in
accordance with its direction”).
                                                 13

                                          Pa.App.1069
       Case: 23-3166     Document: 146       Page: 1074      Date Filed: 01/10/2024




          the merits.

       2. The petitioner has shown that without the requested relief, he will
          suffer irreparable injury.

       3. The issuance of a stay will not substantially harm other interested
          parties in the proceedings.

       4. The issuance of a stay will not adversely affect the public interest.

Id. at 808-09.
       To meet the standard for a preliminary injunction, the applicant must establish
each of the following “essential prerequisites”:

       (1) the injunction is necessary to prevent immediate and irreparable harm
       that cannot be compensated adequately by damages; (2) greater injury
       would result from refusing the injunction than from granting it, and,
       concomitantly, the issuance of an injunction will not substantially harm
       other interested parties in the proceedings; (3) the preliminary injunction
       will properly restore the parties to their status as it existed immediately
       prior to the alleged wrongful conduct; (4) the party seeking injunctive
       relief has a clear right to relief and is likely to prevail on the merits; (5)
       the injunction is reasonably suited to abate the offending activity; and[]
       (6) the preliminary injunction will not adversely affect the public interest.

SEIU Healthcare, 104 A.3d at 502 (citing, inter alia, Summit Towne Ctr., Inc., 828 A.2d
at 1001). “For a preliminary injunction to issue, every one of these prerequisites must
be established; if the petitioner fails to establish any one of them, there is no need to
address the others.” County of Allegheny v. Commonwealth, 544 A.2d 1305, 1307 (Pa.
1988) (emphasis added). As the Court noted during the proceeding on the Application,
the Process Gas factors for a stay pending appeal are largely duplicative of the more
stringent test for injunctive relief, and the Court principally focused on the latter.
       After a proceeding during which both parties presented argument and stipulated
facts, and a thorough review of the filings and the trial court record, this Court


                                            14

                                     Pa.App.1070
      Case: 23-3166      Document: 146      Page: 1075   Date Filed: 01/10/2024




concludes that Appellants fell short of satisfying the stringent requirements for the
issuance of an injunction pending appeal.
      B.     Analysis
                1. Clear Right to Relief
                        a. Was the Petition Timely Filed in Common Pleas?
      To determine whether Appellants have demonstrated a clear right to relief, the
Court first turns to whether it is clear that the underlying Petition was timely filed,
and if not, whether it is clear that nunc pro tunc relief is warranted. Compliance with
any mandatory appeal or filing period would be a prerequisite to Common Pleas’
ability to grant any relief to Appellants. Appeal of Orsatti, 598 A.2d 1341, 1342 (Pa.
Cmwlth. 1991). See also Pa. Dental Ass’n v. Ins. Dep’t, 516 A.2d 647, 654 (Pa.
1986) (“Periods of time set for filing appeals are jurisdictional.”). “Compliance with
statutorily imposed time limitations is especially important in election cases.”
Appeal of Walko, 325 A.2d 303, 307 (Pa. 1974); see also In re James, 944 A.2d 69,
73 (Pa. 2008) (holding statutory period for filing objection petitions under the Code
is mandatory). Thus, Common Pleas considered whether the Petition was timely
filed, concluding that it could have properly dismissed Appellants’ Petition on the
basis of untimeliness alone. (See Common Pleas’ Op. at 2.) This Court will
ultimately be reviewing that issue on a plenary basis on appeal. See Narberth
Borough v. Lower Merion Twp., 915 A.2d 626, 634 (Pa. 2007) (timeliness presents
a question of law; our standard of review is de novo, and our scope of review is
plenary); Brown v. Levy, 993 A.2d 364, 365 n.1 (Pa. Cmwlth. 2010) (whether trial
court erred in declining to grant nunc pro tunc relief is a question of law for which
our standard of review is de novo, and our scope of review is plenary). Accordingly,
whether the Petition was timely filed below significanly affects the likelihood that


                                            15

                                   Pa.App.1071
       Case: 23-3166        Document: 146       Page: 1076        Date Filed: 01/10/2024




Appellants will prevail on the merits of their appeal, the fourth factor.
       The parties dispute the proper characterization of the Petition. Appellants
styled the Petition as a “Petition for Election Contest Or in the alternative, Petition
for Election Contest Nunc Pro Tunc.” (O.R., Item No. 0, at 1.) They argue it was
filed pursuant to Section 1756 of the Code, which requires that any petition to
commence an election contest of the fifth class11 “shall be made and filed, as herein
required, within twenty days after the day of the primary or election, as the case
may be.” 25 P.S. § 3456 (emphasis added). The parties do not dispute that the
Municipal Election occurred on November 7, 2023, such that a petition under
Section 1756 of the Code was required to be filed no later than November 27, 2023.
Appellants filed the Petition on December 4, 2023, so it was not timely filed as a
contest petition under Section 1756.
       Common Pleas and Appellees take the position that the Petition did not, in
substance, seek to initiate a contest of the election, but rather sought to appeal the
Board’s decision to recompute or recanvass returns pursuant to the District Court
Order. Such a challenge is authorized by Section 1407(a) of the Code, which
provides in relevant part:

       Any person aggrieved by any order or decision of any county board
       regarding computation or canvassing of the returns of any . . . election,
       or regarding any recount or recanvass thereof under [S]ections 1701,
       1702 and 1703 of [the Code12], may appeal therefrom within two days
       after such order or decision shall have been made, whether then
       reduced to writing or not, to the court specified in this subsection . . . .

25 P.S. § 3157(a) (emphasis added). Appeals under this section from decisions such

       11
           Under Section 1711 of the Code, the election at issue here would be subject to a Class V
contest, i.e., a contest of the election of an officer “elected by the qualified voters of . . . [a]
township[].” 25 P.S. § 3291.
        12
           25 P.S. §§ 3261, 3262, 3263.
                                                16

                                         Pa.App.1072
      Case: 23-3166     Document: 146     Page: 1077     Date Filed: 01/10/2024




as the one at issue here (i.e., decisions which do not result from a recount or
recanvass ordered by the Secretary under Section 1404(g) of the Code, 25 P.S.
§ 3154(g)) are properly filed in the courts of common pleas. Id. The parties do not
dispute that, on November 22, 2023, the Board issued a public statement announcing
its decision that it would comply with the District Court Order by recavassing all
349 disputed ballots on November 27, 2023. (Stip. ¶ 10 & Ex. C.) The Board’s
decision at a public meeting, which included scheduling a specific future date for the
recanvass, could be the relevant “decision of [the B]oard” for purposes of
commencing the two-day appeal period under Section 1407(a), 25 P.S. § 3157(a).
Alternatively, the actual recanvassing, which occured on November 27, 2023, could
also be the start of the appeal period.        See Perles v. Cnty. Return Bd. of
Northumberland Cnty., 202 A.2d 538, 539 & 540 n.5 (Pa. 1964) (holding that “[t]he
counting of . . . absentee ballots” constituted the board of elections’ “order” for
purposes of the Section 1407(a) appeal period) (emphasis added). The December 4,
2023 filing of the Petition occurred 12 days after the Board’s public statement that
it would recanvass the disputed ballots, and 7 days after the actual counting occurred,
and, thus, the Petition could be untimely under Section 1407(a), which would
generally be grounds for Common Pleas to dismiss the Petition. See Perles, 202
A.2d at 540 n.5.
       Appellants argue, alternatively, that Common Pleas should have accepted the
Petition nunc pro tunc. To support the timing of their filing, Appellants argue that
“the impermissible re[]canvass took place after the permitted statutory period for
filing a timely election contest petition.” (Application ¶ 31 (emphasis added).)
Further, they contend that “it was not until the [Board] completed its re[]canvass that
[Appellants] sustain[ed] the harm they seek to remedy.” (Id. ¶ 32.)


                                          17

                                   Pa.App.1073
      Case: 23-3166     Document: 146      Page: 1078      Date Filed: 01/10/2024




      Our Supreme Court has explained that “where a petitioner does not learn of a
problem with the election until the filing period has expired and his ignorance is not
due to any fault or dereliction on his part . . . the petitioner [may] seek relief nunc
pro tunc.” Appeal of Zupsic, 670 A.2d 629, 635-36 (Pa. 1996). Further, in
determining whether nunc pro tunc relief is warranted, the court will consider
whether the petitioner is guilty of laches, which requires “lack of due diligence in
pursuing a cause of action and resulting prejudice to the other party.” Id. at 636.
Finally, nunc pro tunc relief is generally only warranted where a petitioner can point
to fraud or a breakdown in the administrative process on the part of the court or the
election board. Appeal of Orsatti, 598 A.2d 1341, 1342 (Pa. Cmwlth. 1991).
      Appellants rely on Appeal of Koch, 41 A.2d 657 (Pa. 1945), to support their
position that Common Pleas erred in denying nunc pro tunc relief. There, the
appellant had received a majority of the votes, and the return sheets posted outside
the precincts reflected that. However, a clerical error (that the board of elections
declined to correct) resulted in the candidate who won fewer votes being erroneously
certified as the winner; the board of elections issued a certificate of elections to that
losing candidate. All appeal or contest periods under the Code had run by the time
the appellant learned of the board’s error. The court of common pleas denied nunc
pro tunc relief, reasoning that the appellant was guilty of laches for having “made
no effort to acquire knowledge of the board’s action until after the expiration of the
statutory period[.]” Id. at 658. On appeal, the appellant argued that the board’s
negligence rose to the level of fraud, in that “the general returns posted outside the
polling places showed his election; that the election board failed to publicly
announce the result of the election . . . thus prevented him from receiving notice of
the discrepancy in time to correct it.” Id.


                                           18

                                    Pa.App.1074
      Case: 23-3166     Document: 146      Page: 1079      Date Filed: 01/10/2024




      Embracing the appellant’s argument, the Supreme Court focused on the
board’s negligence in failing to carry out its statutory duties to compare sealed and
unsealed returns with tally sheets to discover discrepancies, along with its failure to
publicly announce the final result of the election. It noted that had the board
complied with those statutory requirements, the appellant would have discovered the
issue before the statute of limitations ran. Id. at 659. Noting that “those seeking . .
. nunc pro tunc [relief] in an election matter must be held to a stricter rule than those
in a controversy between individuals[,]” the Court was satisfied that the appellant
was not guilty of laches where the board’s failure to perform its duties completely
deprived the appellant of his only means of correcting the mistake. Id. at 660
(emphasis added).
      Appellants characterize Koch to say “the common pleas court erred in not
allowing an appeal nunc pro tunc from the action of the election board after the
Board clearly violated the [] Code.” (Application ¶ 29.) It is not clear that this
characterization fully captures the meaning of Koch, as the Court was arguably
concerned about the violations of the Code insofar as they deprived the appellant
of the opportunity to learn in the first instance that there had been a mistake. The
board in Koch did not publicly post the results in violation of the Code, thereby
depriving the appellant of the ability to file a timely challenge. It does not appear
that here the Board did anything to prevent Appellants from discovering the alleged
error (canvassing the ballots in accordance with the District Court Order); rather, it
issued a press release publicly explaining the reason for delay of the certification,
and its intent to canvass the votes in accordance with the District Court Order on
November 22 following a public meeting. (Stip. ¶ 10 & Ex. C.) Arguably, Koch
reflects the type of paradigmatic breakdown in a board of elections’ operations that


                                           19

                                    Pa.App.1075
         Case: 23-3166    Document: 146      Page: 1080     Date Filed: 01/10/2024




would generally justify nunc pro tunc relief. In Koch, a clerical error the board
refused to correct—and of which the appellant had no notice—thwarted his ability
to learn of the issue to appeal within the appropriate timeframe. In this matter, it
was not a clerical error, but an order entered by a federal court, to which the Board
was a party, that caused the alleged problem with the election which Appellants
raise.
         Appellants also argue that nunc pro tunc relief is justified because the period
to file an election contest petition expired on November 27, and the Board’s
announcement of the tie occurred a day later. It is not clear that the relevant inquiry
for nunc pro tunc relief is whether a breakdown thwarted Appellants’ timely learning
of when the “harm” was sustained or whether the focus is on their timely learning of
a problem with the election.
         For example, in In re Election of Tax Collector, Horsham Township, 51 A.2d
692 (Pa. 1947), a day after the election, the appellant heard a rumor that there was a
possible issue with the count. Instead of immediately going to court, she “awaited
the ascertainment of the results of the ballot box opening, and then sought to file her
appeal nunc pro tunc.” Id. at 693.           The Supreme Court distinguished Koch,
emphasizing that the appellant there “who in fact was elected, and the public, were
. . . deceived.” Id. at 695. The Horsham Township appellant waited for the results
of a recount—instead of immediately bringing an election contest petition—and was
found not to have timely filed the petition and was not entitled to nunc pro tunc
relief. Based on that case, there is an argument that Appellants, who awaited the
recanvassing and did not file their Petition until their candidate was not successful,
would also not have timely filed their Petition or be entitled to nunc pro tunc relief.
         Finally, it is unclear that the Board could render any “clear violation of the []


                                            20

                                      Pa.App.1076
      Case: 23-3166      Document: 146     Page: 1081      Date Filed: 01/10/2024




Code . . . unchallengeable” by waiting until the day after the 20-day contest period
runs, as Appellants argue. (Appellants’ Br. at 9.) The Code states that “[a]ny person
aggrieved by any order or decision of any county board regarding the computation
or canvasing of the returns . . . may appeal therefrom within two days after such
order or decision shall have been made,” irrespective of whether that order or
decision falls outside of the 20-day contest period. 25 P.S. § 3157(a).
      Taking the record as a whole, the Court cannot say that Appellants’
explanation for the time of their filing establishes that they had a clear right to nunc
pro tunc relief. First, it is likely the relevant question here is not when the Board
actually recanvassed the votes, but when Appellants learned of the problem. If they
“learn[ed] of a problem with the election [after] the filing period ha[d] expired and
[their] ignorance [wa]s not due to any ‘fault or dereliction’ on [their] part[,]” then an
appeal nunc pro tunc is warranted. Zupsic, 670 A.2d at 635. Here, there is a strong
argument that Appellants were on notice as soon as the Board publicly announced
the delayed certification and the reasons for that delay on November 22. (Stip. ¶ 10
& Ex. C.)
      In sum, it is not clear that Appellants would be found to have timely filed their
Petition under either the provision Appellants themselves claim to have relied upon
(a Section 1756 petition for election contest, to be filed within 20 days of the
Municipal Election), or under the 2-day period for appeal to Common Pleas (under
Section 1407(a)). Further, Appellants have not made a compelling showing that they
were entitled to nunc pro tunc relief in Common Pleas. Given this, Appellants have
not carried their heavy burden to show that they have a clear right to relief and are
likely to prevail in their appeal here.



                                           21

                                    Pa.App.1077
      Case: 23-3166     Document: 146      Page: 1082       Date Filed: 01/10/2024




                       b. Clear Right to Relief as to Lawfullness of Board’s Action
       The merits issues raised on appeal in the Petition really involve two
interrelated questions. First, as a matter of state law under the Code, Appellants
argue the Board acted unlawfully in certifying the election, both because it did so
after the time period prescribed by the Code, and also because the Code, as
interpreted by the Pennsylvania Supreme Court’s precedent, requires that the
disputed ballots not be counted. Second, the Board’s action implicates a question of
federal law (i.e., the Materiality Provision) and its effect on how the Board is
obligated to canvass ballots, and which ballots must be counted. Both of those
questions bear on whether the Board acted properly, in interpreting the District Court
Order and, in reliance thereon, recanvassing the disputed ballots as and when it did.
Because these issues are intertwined, and given the state of the law on the federal
question, Appellants cannot show a clear right to relief.
      Specifically, The Pennsylvania Supreme Court has held the date requirement
is unambiguous and mandatory, and that undated ballots shall not be counted. Ball,
289 A.3d at 20. The Court also observed that “county boards of elections retain
authority to evaluate the ballots that they receive in future elections—including those
that fall within the date ranges derived from statutes indicating when it is possible to
send out mail-in and absentee ballots—for compliance with the Election
Code.” Ball, 289 A.3d at 23. However, the Court was evenly divided on whether
the disqualification of undated or incorrectly dated ballots would offend the
Materiality Provision. In addition, the District Court Order resolved the issue of the
Materiality Provision and granted relief on that basis, which the Board interpreted
as requring that it count the disputed ballots in this case. However, the District Court
Order is currently on appeal before the Third Circuit and has now been stayed


                                          22

                                    Pa.App.1078
       Case: 23-3166       Document: 146        Page: 1083       Date Filed: 01/10/2024




pending that appeal. Because it is unclear how the federal courts will resolve the
federal question,13 and because that federal question underlies the merits of
Appellants’ appeal, the Court cannot say that Appellants have established a clear
right to relief regarding whether the Board acted unlawfully. Appellants recognize
that the ultimate resolution of this issue may lie before the United States Supreme
Court. (See Appellants’ Br. at 5.)
                  2. Balancing of Harms
       In addition to a clear right to relief, injunctive relief demands a strong showing
on a second, particularly important factor: that “greater injury would result from
refusing the injunction than from granting it, and, concomitantly, the issuance of an
injunction will not substantially harm other interested parties in the proceedings.”
SEIU Healthcare, 104 A.3d at 502. This factor requires the Court to balance
potential harm to the parties, and in so doing “the harm to the public must also be
considered.” Valley Forge Hist. Soc. v. Washington Mem’l Chapel, 426 A.2d 1123,
1129 (Pa. 1981); accord Commonwealth ex rel. Corbett v. Snyder, 977 A.2d 28, 42
(Pa. Cmwlth. 2009), appeal denied, 999 A.2d 1247 (Pa. 2010).
       Appellants’ argument—that denial of the injunction here would undermine
public confidence in the election process by effectively placing into office a
candidate who lost the election—raises a profound concern. The Court is mindful
that public confidence in elections, and especially the reality and public perception
of fairness in elections, is of paramount importance. Relatedly, the Court takes
seriously its duty to construe and apply the Code so as to maximize the franchise.
Pa. Democratic Party, 238 A.3d at 360-61. The prospect of an unelected, or
potentially unelected, person assuming public office, even temporarily, risks

       13
          As noted supra, the Third Circuit already once resolved this issue in Migliori, 36 F.4th
at 153, and the United States Supreme Court vacated that decision, 143 S. Ct. at 297.
                                               23

                                        Pa.App.1079
       Case: 23-3166       Document: 146        Page: 1084       Date Filed: 01/10/2024




upsetting these critical public interests, and an injunction preventing any candidate
from taking office could abate the risk of that harm. Weighing against that important
concern, however, is the harm of seating no candidate at all. This harm has at least
two aspects: it deprives the candidate who has been certified and provided with a
certificate of election of the opportunity to hold office, and it deprives the public of
an officer to serve on their behalf.
       The Court appreciates the gravity of the concerns expressed by Appellants in
this case regarding the need for public confidence in this Commonwealth’s free and
equal elections. See PA. CONST. art. I, § 5. The importance of that interest cannot
be overstated. But the finality of elections is also critical, and to that end, the General
Assembly has structured the appeal and contest provisions of the Code to raise and
resolve disputes as early as possible, so the boards of elections can perform their
functions under the Code lawfully and with confidence. Despite those procedures,
the Court did not receive the request for injunctive relief here until December 23,
2023. The timeframe on which the Court must consider that request, so close to the
time that the certified candidate is set to take office, makes holding the seat open the
only practical remedy for the harm Appellants allege. In light of the balancing of
harms the Court must undertake, the harm that would be created by an indefinite
vacancy pending this appeal14 also constrains the Court to deny the Application.
This result underscores the importance of bringing challenges pursuant to the Code
as early as possible.

       14
           Although the relief technically before the Court is an injunction pending this appeal,
Appellants essentially request a stay pending not only this appeal but also “until the final
determination of the subject appeal and the appeal of the related federal case through the United
States Court of Appeals in the Third Circuit and any proceedings in the United States Supreme
Court.” (Appellants’ Br. at 5.) Given the Third Circuit’s stay of the District Court Order through
potential review by the United States Supreme Court in that matter, it could be a substantial time
before the federal question is finally resolved, which could further prolong any vacancy.
                                               24

                                        Pa.App.1080
      Case: 23-3166     Document: 146     Page: 1085     Date Filed: 01/10/2024




IV.   CONCLUSION
      For the foregoing reasons, Appellants have not demonstrated a clear right to
relief on the merits of their appeal, and have not shown that greater injury would
result from denying the requested injunctive relief than from granting it. Because
they have not satisfied all of the factors, County of Allegheny, 544 A.2d at 1307, the
Court denied the Application.
      As a final note, the Court pauses to commend all counsel of record in this
matter for the impressive level of professionalism they have displayed throughout
this proceeding, much of which occurred on extremely short timelines between two
major holidays.




                                        __________________________________________
                                        RENÉE COHN JUBELIRER, President Judge




                                                                            Order Exit
                                         25                                 12/29/2023


                                   Pa.App.1081
   Case: 23-3166        Document: 146        Page: 1086   Date Filed: 01/10/2024




                                Towamencin Township
                                 Board of Supervisors
                                Reorganization Meeting
                                   January 2, 2024
                                      7:00 p.m.



OATHS OF OFFICE

Elected Supervisor – Kofi Osei
Elected Auditors – Tina Rumsey and James Collins


1. CALL TO ORDER
2. PLEDGE OF ALLEGIANCE
3. PUBLIC COMMENT
4. ELECTION OF OFFICERS
5. BOARD APPOINTMENTS
   Staff/Consultant Appointments
6. RESOLUTION 24-01 - REAPPOINTMENT OF EMERGENCY MANAGEMENT COORDINATOR
7. RESOLUTION 24-02 - REAPPOINTMENT OF TOWAMENCIN MUNICIPAL AUTHORITY MEMBER
8. RESOLUTION 24-03 - REAPPOINTMENT TO ZONING HEARING BOARD
9. RESOLUTION 24-04 - REAPPOINTMENT OF CITIZENS COMMITTEES
10. RESOLUTION 24-05 - DESIGNATING A DEPOSITORY
11. RESOLUTION 24-06 - 2024 MEETING SCHEDULE
12. RESOLUTION 24-07 - 2024 HOLIDAY SCHEDULE
13. RESOLUTION 24-08 - REAPPOINTMENT OF AUDITORS – Maillie LLP
14. DECEMBER WARRANT (2 OF 2)
15. ADJOURNMENT




                                     Pa.App.1082
     Case: 23-3166   Document: 146   Page: 1087   Date Filed: 01/10/2024




                     CERTIFICATE OF SERVICE

     I, Jacob B. Boyer, hereby certify that a copy of this supplemental

appendix has been served on all counsel of record using the Court’s

CM/ECF system.



January 10, 2024                      /s/ Jacob B. Boyer
                                      Jacob B. Boyer
                                      Counsel for Secretary of the
                                      Commonwealth Al Schmidt
